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                        EXHIBIT 2

        Proposed Redacted Declaration of Patrick Hurt
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re                                                        Chapter 11

    TPC GROUP INC., et al.,                                      Case No. 22-10493 (CTG)

                              Debtors.1                          Jointly Administered



    BAYSIDE CAPITAL, INC. and CERBERUS                           Adv. Pro. No. 22-50372 (CTG)
    CAPITAL MANAGEMENT, L.P.,

                              Plaintiffs,
    v.

    TPC GROUP INC.,

                              Defendant.


                                  DECLARATION OF PATRICK HURT

            I, Patrick Hurt, hereby declare that the following is true to the best of my knowledge,

information, and belief:

             1.     I am Deputy General Counsel of TPC Group Inc (“TPC”). Prior to starting at TPC,

I was a Senior Counsel at the Celanese Corporation. Before then, I was a corporate associate at

Vinson & Elkins. I hold a Bachelor’s degree in finance from Louisiana State University and a J.D.

from Louisiana State University.

             2.     By virtue of my role at TPC, I am familiar with the TPC’s business, day-to-day

operations, and books and records. I am familiar with the types of documents prepared in the



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            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: TPC Group Inc. (3618); TPC Holdings, Inc. (7380); TPC Group LLC (8313);
            Texas Butylene Chemical Corporation (7440); Texas Olefins Domestic International Sales Corporation
            (4241); TPC Phoenix Fuels LLC (9133); Port Neches Fuels, LLC (1641); and TP Capital Corp. (6248). Each
            Debtor’s corporate headquarters and mailing address is 500 Dallas St., Suite 2000, Houston, Texas 77042.
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normal course and scope of TPC’s business, I am familiar with the manner in which TPC’s records

are made and maintained, and I am qualified to attest in connection with the maintenance of the

TPC’s business records.

        3.     The copies of the records attached to this declaration and identified herein are true

and correct copies of original records prepared and maintained in the regular course and scope of

TPC’s business.

        4.     The copies of the records attached to this declaration and identified herein have

been prepared and/or maintained by the employees/personnel of TPC in the ordinary course of

business at or near the time of the acts, conditions, or events which they intend to convey.

        5.     The copies of the records attached to this declaration and identified below, are

maintained in the regular course and scope of business of TPC pursuant to certain business records

and retention policies.

        6.     On August 2, 2019, TPC issued 10.5% notes due in 2024 in the face amount of

$930 million (the “10.5% Notes”).         The terms of the 10.5% Notes, and the rights and

responsibilities of TPC, the various holders of 10.5% Notes, the trustee and collateral agent (U.S.

National Bank) (“US Bank” or “Trustee”) and various guarantors were set forth in an Indenture

signed that same day (the “10.5% Notes Indenture”), attached as Exhibit 1. The rights of US

Bank as trustee and collateral agent under the 10.5% Notes Indenture, and the rights of the holders

of notes under the 10.5% Notes Indenture were governed pursuant to an intercreditor agreement,

dated August 2, 2019 (as amended, modified, supplemented, or joined, the “2019 Intercreditor

Agreement”).

        7.     On February 2, 2021, the Company issued a new set of notes at 10.875% interest

(the “10.875% Notes”), in an aggregate principal amount of $153 million. To allow for the




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issuance of the 10.875% Notes, TPC issued a Supplemental Indenture with respect to the 10.5%

Notes (the “Supplemental Indenture”) and a new intercreditor agreement to govern the

relationship between its creditors, including the holders of the 10.5% Notes and the 10.875% Notes

(the “2021 Intercreditor Agreement”).

        8.      Section 9.02(e) of the 10.5% Notes Indenture provides: “Any amendment to, or

waiver of, the provisions of this Indenture, any Security Document or any other indenture

governing Permitted Additional Pari Passu Obligations that has the effect of releasing all or

substantially all of the Collateral from the Liens securing the Notes or otherwise modifies the

Intercreditor Agreement or other Security Documents in any manner adverse in any material

respect to the Holders will require the consent of the holders of at least 66-2/3% in aggregate

principal amount of the Notes and any Permitted Additional Pari Passu Obligations then

outstanding.” Exhibit 1, 10.5% Notes Indenture, § 9.02(e).

        9.      Section 6.05 of the 10.5% Notes Indenture provides: “Holders of a majority in

aggregate principal amount of the then outstanding Notes may direct the time, method and place

of conducting any proceeding for exercising any remedy available to the Trustee or exercising any

trust or power conferred on it. However, the Trustee may refuse to follow any direction that

conflicts with law or this Indenture that the Trustee determines may be unduly prejudicial to the

rights of other Holders or that may involve the Trustee in personal liability.” Exhibit 1, 10.5%

Notes Indenture, § 6.05.

        10.     To effectuate the execution and delivery of the Supplemental Indenture, 10.875%

Notes Indenture, and 2021 Intercreditor Agreement, on January 28 and 29, 2021, TPC received

consents (each letter, a “Consent Letter”) from various noteholders of its 10.5% Notes

representing $620,487,000.00 (66.7%) of the outstanding principal amount of $930,000,000.




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        11.     Each Consent Letter that TPC received, which was addressed to me, represented

and warranted that the signatory of that Consent Letter (1) was the beneficial owner, or the

investment manager or advisor representing the beneficial owners and with authority to act for

such beneficial owners, of a certain outstanding aggregate principal amount of the 10.5% Notes

owned by certain noteholders; (2) had not transferred the positions in the 10.5% Notes held as

beneficial owner, as attested to in the Consent Letter; and (3) that the Consent Letter been duly

authorized, executed, and delivered on the signatory’s behalf.

        12.     Each Consent Letter also confirmed the signatory’s consent—as beneficial owner

of or investment advisor to the noteholders that owned the aggregate principal amount of 10.5%

Notes attested to in the Consent Letter—to (1) the Supplemental Indenture; and (2) execution and

delivery of the 2021 Intercreditor agreement. Each Consent Letter further requested and directed

US Bank, as trustee and collateral agent, to execute and deliver the Supplemental Indenture and

the 2021 Intercreditor Agreement.

        13.     Each Consent Letter further provided (1) that the investment advisor was furnishing

the Consent Letter on behalf of the noteholders it advised that owned the 10.5% Notes; (2) the

value of the aggregate principal amount of notes owned by the noteholders; and (3) one or more

of the following: (i) the signature(s) of the beneficial owner and/or investment adviser; (ii) a

certification and confirmation from the bank holding the 10.5% Notes; (iii) a stamp or seal

providing a guarantee and authorized signature guaranteeing ownership of the 10.5% Notes (with

eighteen Consent Letters providing a medallion stamp of authenticity provided by the Securities

Transfer Agents Medallion Program (“STAMP”) verifying ownership of 10.5% Notes); and/or

(iv) a certified letter or account summary from the bank holding the 10.5% Notes verifying




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ownership of the 10.5% Notes. The smallest consenting noteholder amount was $25,000, while

the largest consenting noteholder amount was $104,982,000.00.

        14.     A true and correct copy of each of the Consent Letters received by TPC from

noteholders of TPC’s 10.5% Notes providing consent to certain transactions related to issuance of

the 10.875% Noes, addressed to me as Deputy General Counsel of TPC, and provided to US Bank,

is attached as follows:

        15.     Attached hereto as Exhibit 2 is a true and correct copy of a Consent of Noteholder

dated January 28, 2021, providing consent by AMC Credit Opportunities Management as

investment manager and J.P. Morgan Securities LLC as beneficial owner on behalf of noteholders

of                in outstanding principal amount of the 10.5% Notes.

        16.     Attached hereto as Exhibit 3 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by Benefit Street Partners LLC as investment manager

and Barclays Capital Incorporated as beneficial owner on behalf of noteholders of               in

outstanding principal amount of the 10.5% Notes.

        17.     Attached hereto as Exhibit 4 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by Benefit Street Partners LLC as investment manager

and J.P. Morgan Securities LLC as beneficial owner on behalf of noteholders of                  in

outstanding principal amount of the 10.5% Notes.

        18.     Attached hereto as Exhibit 5 is a true and correct copy of a Consent of Noteholder

dated January 28, 2021, providing consent by Fortress Creditor Advisors LLC as investment

manager and Goldman Sachs & Co. as beneficial owner on behalf of noteholders of

in outstanding principal amount of the 10.5% Notes.




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        19.     Attached hereto as Exhibit 6 is a true and correct copy of a Consent of Noteholder

dated January 28, 2021, providing consent by FDF I CM LLC as investment manager and U.S.

Bank N.A. as beneficial owner on behalf of noteholders of                  in outstanding principal

amount of the 10.5% Notes.

        20.     Attached hereto as Exhibit 7 is a true and correct copy of a Consent of Noteholder

dated January 28, 2021, providing consent by FDF II CM LLC as investment manager and U.S.

Bank N.A. as beneficial owner on behalf of noteholders of                  in outstanding principal

amount of the 10.5% Notes.

        21.     Attached hereto as Exhibit 8 is a true and correct copy of a Consent of Noteholder

dated January 28, 2021, providing consent by FDF III CM LLC as investment manager and U.S.

Bank N.A. as beneficial owner on behalf of noteholders of                  in outstanding principal

amount of the 10.5% Notes.

        22.     Attached hereto as Exhibit 9 is a true and correct copy of a Consent of Noteholder

dated January 28, 2021, providing consent by FDF IV CM LLC as investment manager and U.S.

Bank N.A. as beneficial owner on behalf of noteholders of                  in outstanding principal

amount of the 10.5% Notes.

        23.     Attached hereto as Exhibit 10 is a true and correct copy of a Consent of Noteholder

dated January 28, 2021, providing consent by FDF V CM LLC as investment manager and U.S.

Bank N.A. as beneficial owner on behalf of noteholders of                  in outstanding principal

amount of the 10.5% Notes.

        24.     Attached hereto as Exhibit 11 is a true and correct copy of a Consent of Noteholder

dated January 28, 2021, providing consent by Nut Tree Capital Management, LP as investment




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manager and Goldman Sachs & Co. LLC as beneficial owner on behalf of noteholders of

                  in outstanding principal amount of the 10.5% Notes.

        25.      Attached hereto as Exhibit 12 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by PGIM, Inc., as investment manager on behalf of

noteholders of                    in outstanding principal amount of the 10.5% Notes.

        26.      Attached hereto as Exhibit 13 is a true and correct copy of a Consent of Noteholder

dated January 28, 2021, providing consent by Redwood Capital Management, LLC as investment

manager and Morgan Stanley as beneficial owner on behalf of noteholders of                        in

outstanding principal amount of the 10.5% Notes.

        27.      Attached hereto as Exhibit 14 is a true and correct copy of a Consent of Noteholder

dated January 28, 2021, providing consent by Redwood Capital Management, LLC as investment

manager and Goldman Sachs & Co. LLC as beneficial owner on behalf of noteholders of

                   in outstanding principal amount of the 10.5% Notes.

        28.      Attached hereto as Exhibit 15 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and

Bank of New York Mellon as beneficial owner on behalf of noteholders of                          in

outstanding principal amount of the 10.5% Notes.

        29.      Attached hereto as Exhibit 16 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and

Amalgamated Bank as beneficial owner on behalf of noteholders of                     in outstanding

principal amount of the 10.5% Notes.

        30.      Attached hereto as Exhibit 17 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and




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Brown Brothers Harriman & Co. as beneficial owner on behalf of noteholders of                    in

outstanding principal amount of the 10.5% Notes.

        31.     Attached hereto as Exhibit 18 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and

Citibank NA DTC 0908 as beneficial owner on behalf of noteholders of                             in

outstanding principal amount of the 10.5% Notes.

        32.     Attached hereto as Exhibit 19 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and

Fiducie Desjardins as beneficial owner on behalf of noteholders of                  in outstanding

principal amount of the 10.5% Notes.

        33.     Attached hereto as Exhibit 20 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and

JP Morgan Chase Bank, National Association - 902 as beneficial owner on behalf of noteholders

of                 in outstanding principal amount of the 10.5% Notes.

        34.     Attached hereto as Exhibit 21 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and

Northern Trust as beneficial owner on behalf of noteholders of                      in outstanding

principal amount of the 10.5% Notes.

        35.     Attached hereto as Exhibit 22 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and

State Street Bank and Trust as beneficial owner on behalf of noteholders of                     in

outstanding principal amount of the 10.5% Notes.




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        36.      Attached hereto as Exhibit 23 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and

the Bank of New York Mellon/Mellon Trust of New England as beneficial owner on behalf of

noteholders of                in outstanding principal amount of the 10.5% Notes.

        37.      Attached hereto as Exhibit 24 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and

Wells Fargo Bank, National Association as beneficial owner on behalf of noteholders of

              in outstanding principal amount of the 10.5% Notes.

        38.      Attached hereto as Exhibit 25 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and

Caceis Bank France as beneficial owner on behalf of noteholders of                            in outstanding

principal amount of the 10.5% Notes.

        39.      Attached hereto as Exhibit 26 is a true and correct copy of a Consent of Noteholder

dated January 29, 2021, providing consent by MacKay Shields LLC as investment manager and

Mitsubishi UFJ Investor Services & Banking (Luxembourg) S.A. as beneficial owner on behalf of

noteholders of                in outstanding principal amount of the 10.5% Notes.2

        40.      In total the Consent Letters attached as Exhibit 2 through Exhibit 26 hereto

provided the consent to the Supplemental Indenture and 2021 Intercreditor Agreement of 129

separate noteholders of the 10.5% Notes, representing $620,487,000.00 (66.7%) of the outstanding

principal amount of $930,000,000.00.




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       The Supplemental Indenture was attached as Annex A to each of the Consent Letters attached hereto as
       Exhibits 2 through Exhibit 26. To avoid redundancy, the Supplemental Indenture is omitted from each of
       the Consent Letters.


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        41.    Following receipt of the Consent Letters, US Bank, as trustee and collateral agent,

executed the Supplemental Indenture and 2021 Intercreditor Agreement and delivered them to

TPC, as requested. US Bank did not raise any concerns regarding the effectiveness of the Consent

Letters provided.

        42.    No noteholder—now purportedly consenting or otherwise—raised any complaints

regarding the Consent Letters for nearly a year following execution of the 10.875% Notes,

Supplemental Indenture, or 2021 Intercreditor Agreement. In fact, the first concern that was raised

by any noteholder was in January 2022, nearly a year later, by Cerberus Capital Management, L.P.

and Bayside Capital, Inc., through their counsel, Milbank. No other noteholder has raised any

concerns or issues, either before or after, regarding the 10.875% Notes or the effectiveness of the

Consent Letters to provide consent of noteholders to the Supplemental Indenture and 2021

Intercreditor Agreement.

        43.    TPC’s issuance of the 10.875% Notes, the Supplemental Indenture, and the 2021

Intercreditor Agreement was announced publicly in press releases and was featured in disclosure

statements made by TPC. As Deputy General Counsel for TPC, I was involved the drafting of

these disclosure statements and press releases and have personal knowledge of them.

        44.    Attached hereto as Exhibit 27 is a true and correct copy of a Press Release issued

by TPC on February 2, 22021, which describes the 10.875% Notes, the 10.875% Notes Indenture,

10.5% Notes, and the Supplemental Indenture, and explains, among other things, that the 10.875%

Notes are senior in priority to the 10.5% Notes.

        45.    Attached hereto as Exhibit 28 is a true and correct copy of TPC’s Q1 2021 Quarterly

Report, which describes the 10.875% Notes, 10.875% Notes Indenture, 10.5% Notes, and the




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Supplemental Indenture and explains, among other things, that the 10.875% Notes are senior in

priority to the 10.5% Notes.

        46.    Attached hereto as Exhibit 29 is a true and correct copy of TPC’s Q2 2021 Quarterly

Report, which describes the 10.875% Notes, 10.875% Notes Indenture, 10.5% Notes, and the

Supplemental Indenture and explains, among other things, that the 10.875% Notes are senior in

priority to the 10.5% Notes.

        47.    Attached hereto as Exhibit 30 is a true and correct copy of TPC’s Q3 2021 Quarterly

Report, which describes the 10.875% Notes, 10.875% Notes Indenture, 10.5% Notes, and the

Supplemental Indenture and explains, among other things, that the 10.875% Notes are senior in

priority to the 10.5% Notes.

        48.    Attached hereto as Exhibit 31 is a true and correct copy of TPC’s 2021 Annual

Report, which describes the 10.875% Notes, 10.875% Notes Indenture, 10.5% Notes, and the

Supplemental Indenture and explains, among other things, that the 10.875% Notes are senior in

priority to the 10.5% Notes.

        49.    Attached hereto as Exhibit 32 is a true and correct copy of TPC’s Q1 Quarterly

Report, which describes the 10.875% Notes, 10.875% Notes Indenture, 10.5% Notes, and the

Supplemental Indenture and explains, among other things, that the 10.875% Notes are senior in

priority to the 10.5% Notes.

        50.    Attached hereto as Exhibit 33 is a true and correct copy of the Collateral Agent

Joinder Agreement, dated as of February 2, 2021, to the 2019 Intercreditor Agreement.

        51.    Attached hereto as Exhibit 34 is a true and correct copy of the Designation

Agreement and Officer’s Certificate, dated as of February 2, 2021, executed pursuant to section

10.5(b) of the 2019 Intercreditor Agreement.




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         52.    Prior to entering into the transaction for issuance of the 10.875% Notes, TPC

explored other options to improve its liquidity and, in this regard, received several offers from

potential lenders. In connection with this transaction, TPC received a proposal from Prudential

Global Investment Management (“PGIM”), through its counsel, Milbank LLP (“Milbank”).

         53.    On November 10, 2020, I, along with other members of TPC’s management team,

received an email from PGIM and Milbank providing an attached term sheet for a proposed notes

offering (the “Milbank Term Sheet”). A true and correct copy of the November 10, 2020 email

titled “Secured Notes Term Sheet” from PGIM and Milbank to Patrick Hurt, Bart DeJong, and

Andrew Grygiel, attaching the Milbank Term Sheet, is attached hereto as Exhibit 35.

         54.    The Milbank Term Sheet proposed the issuance of $253 million in new 9.5% senior

secured notes. In that regard, the Milbank Term Sheet proposed to release all liens on the collateral

securing the 10.5% Notes, transfer substantially all of TPC’s existing assets to a newly formed

subsidiary of TPC Group, Inc. called TPC Newco, LLC, and issue notes out of that subsidiary.

See Ex. 35, Milbank Term Sheet. This transaction, as proposed by PGIM through the Milbank

Term Sheet, would be effective without unanimous noteholder consent.

         55.    TPC ultimately decided not to pursue the notes issuance contained in the Milbank

Term Sheet, and instead pursued a transaction that eventually led to the issuance of the 10.875%

Notes, as described above.

                Pursuant to 28 U.S.C. § 1746, the undersigned makes the forgoing declaration as

of the date of its filing under penalty of perjury.

                                                        /s/ Patrick Hurt
                                                        Patrick Hurt
                                                        Deputy General Counsel, TPC Group Inc.




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                                                          Execution Version




                        TPC Group Inc.


         10.50% SENIOR SECURED NOTES DUE 2024


                          INDENTURE


                    Dated as of August 2, 2019


               U.S. Bank National Association

                    Trustee & Collateral Agent
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               INDENTURE dated as of August 2, 2019 among TPC Group Inc., a Delaware
corporation (the “Issuer”), the Guarantors (as defined herein) and U.S. Bank National
Association, a national banking association, as Trustee and Collateral Agent.

                The Issuer, the Guarantors and the Trustee agree as follows for the benefit of each
other and for the equal and ratable benefit of the Holders (as defined herein) of (a) the
$930,000,000 aggregate principal amount of the Issuer’s 10.50% Senior Secured Notes due 2024
issued on the date hereof (the “Initial Notes”) and (b) any Additional Notes (as defined herein)
that may be issued after the date hereof (all such securities in clauses (a) and (b) being referred to
collectively as the “Notes”):

                                            ARTICLE 1

                  DEFINITIONS AND INCORPORATION BY REFERENCE

Section 1.01   Definitions.

               “144A Global Note” means a Global Note substantially in the form of Exhibit A1
hereto bearing the Global Note Legend and the Private Placement Legend and deposited with or
on behalf of, and registered in the name of, the Depositary or its nominee that will be issued in a
denomination equal to the outstanding principal amount of the Notes sold in reliance on
Rule 144A.

               “ABL Facility Collateral Agent” means the collateral agent under the Credit
Agreement, which, on the Issue Date, was Bank of America, N.A., or if the Credit Agreement is
no longer outstanding, the “Successor ABL Facility Collateral Agent”.

               “ABL Facility Priority Collateral” has the meaning ascribed to such term in the
Intercreditor Agreement.

               “ ABL Liens” means all Liens in favor of the ABL Facility Collateral Agent on
Collateral securing the ABL Obligations.

               “ABL Obligations” means (i) the Indebtedness under the Credit Agreement and
other Obligations under the Credit Agreement incurred under Section 4.07(b)(1) and
Section 4.07(b)(15) (to the extent incurred under a Debt Facility), including any interest, fees,
expenses or indemnification obligations related thereto and (ii) certain Bank Products obligations
owed to an agent, an arranger or a lender or an affiliate of an agent, an arranger or a lender under
the Credit Agreement (or who was such a person at the time of the incurrence thereof) which are
Secured Bank Product Obligations (as defined in the Credit Agreement).

               “ABL Security Documents” means one or more security agreements, pledges,
mortgages, deeds of trust, pledge agreements, collateral assignments, trust deeds or other security
documents or instruments evidencing or creating or purporting to create any security interests in
favor of the ABL Facility Collateral Agent under the Credit Agreement.

               “Acquired Debt” means, with respect to any specified Person:
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                (1)    Indebtedness of any other Person existing at the time such other Person is
        merged with or into or became a Restricted Subsidiary of such specified Person, whether
        or not such Indebtedness is incurred in connection with, or in contemplation of, such
        other Person merging with or into, or becoming a Restricted Subsidiary of, such specified
        Person; and

                (2)    Indebtedness secured by a Lien encumbering any asset acquired by such
        specified Person.

                  “Additional Assets” means:

                (1)     any properties or assets to be used by the Issuer or a Restricted Subsidiary
        of the Issuer in a Permitted Business;

                (2)    capital expenditures by the Issuer or a Restricted Subsidiary of the Issuer
        in a Permitted Business;

                (3)     the Capital Stock of a Person that becomes a Restricted Subsidiary of the
        Issuer as a result of the acquisition of such Capital Stock by the Issuer or another
        Restricted Subsidiary of the Issuer; or

                (4)     Capital Stock constituting a Minority Interest in any Person that at such
        time is a Restricted Subsidiary of the Issuer.

               provided, however, that, in the case of clauses (3) and (4), such Restricted
Subsidiary is primarily engaged in a Permitted Business.

                “Additional Notes” means additional Notes (other than the Initial Notes) issued
under this Indenture in accordance with Sections 2.02, 4.07, and 4.10 hereof, as part of the same
series as the Initial Notes, whether or not they bear the same “CUSIP” number.

                “Affiliate” of any specified Person means any other Person directly or indirectly
controlling or controlled by or under direct or indirect common control with such specified
Person. For purposes of this definition, “control,” as used with respect to any Person, means the
possession, directly or indirectly, of the power to direct or cause the direction of the management
or policies of such Person, whether through the ownership of voting securities, by agreement or
otherwise. For purposes of this definition, the terms “controlling,” “controlled by” and “under
common control with” have correlative meanings.

                  “Agent” means any Registrar, co−registrar, Paying Agent or other agent appointed
hereunder.

                  “Applicable Premium” means, with respect to any Note on any redemption date,
the greater of:

                  (1)    1.0% of the principal amount of the Note; or




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               (2)    the excess of: (a) the present value at such redemption date of (i) the
       redemption price of the Note at August 1, 2021, (such redemption price being set forth in
       the table appearing in Section 3.07(b) hereof) plus (ii) all required interest payments due
       on the Note through August 1, 2021 (excluding accrued but unpaid interest to the
       applicable redemption date), computed using a discount rate equal to the Treasury Rate as
       of such redemption date plus 50 basis points; over (b) the principal amount of the Note.

                The Issuer will calculate, or cause to be calculated, the Applicable Premium and
deliver it and the calculation thereof to the Trustee in reasonable detail.

                “Applicable Procedures” means, with respect to any transfer or exchange of or for
beneficial interests in any Global Note, the rules and procedures of the Depositary that apply to
such transfer or exchange.

                 “Asset Acquisition” means:

               (1)     an Investment by the Issuer or any Restricted Subsidiary of the Issuer in
       any other Person pursuant to which such Person shall become a Restricted Subsidiary of
       the Issuer or any Restricted Subsidiary of the Issuer, or shall be merged with or into or
       consolidated with the Issuer or any Restricted Subsidiary of the Issuer; or

               (2)     the acquisition by the Issuer or any Restricted Subsidiary of the Issuer of
       the assets of any Person (other than a Restricted Subsidiary of the Issuer) which
       constitute all or substantially all of the assets of such Person or comprise any division or
       line of business of such Person or any other properties or assets of such Person other than
       in the ordinary course of business.

                 “Asset Sale” means:

               (1)     the sale, lease, conveyance or other disposition of any assets or rights of
       the Issuer and its Restricted Subsidiaries (including by way of a division or a
       Sale/Leaseback Transaction); provided that the sale, lease, conveyance or other
       disposition of all or substantially all of the assets of the Issuer and its Restricted
       Subsidiaries taken as a whole will be governed by Section 4.12 hereof and/or
       Section 5.01 hereof and not by Section 4.08 hereof; and

              (2)     the issuance or sale of Equity Interests in any of the Issuer’s Restricted
       Subsidiaries (other than preferred stock of Restricted Subsidiaries issued in compliance
       with Section 4.07 and directors’ qualifying shares or shares required by applicable law to
       be held by a Person other than the Issuer or a Restricted Subsidiary).

                 Notwithstanding the preceding, none of the following items will be deemed to be
an Asset Sale:

                (1)   any single transaction or series of related transactions that involves assets
       or Equity Interests of any Restricted Subsidiary of the Issuer having a Fair Market Value
       of less than $20.0 million;



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        (2)    a transfer of assets between or among the Issuer and any Restricted
Subsidiary of the Issuer; provided that any transfers from the Issuer or a Guarantor to a
Restricted Subsidiary of the Issuer of assets that constitute Collateral do not result in the
Lien on such Collateral being released;

        (3)     an issuance or sale of Equity Interests by a Restricted Subsidiary of the
Issuer to the Issuer or to another Restricted Subsidiary of the Issuer;

       (4)     the sale or lease of inventory, products or services or the lease, assignment
or sub−lease of any real or personal property;

       (5)     the sale or discounting of accounts receivable in the ordinary course of
business;

        (6)     any sale or other disposition of damaged, worn−out, obsolete or no longer
useful assets or properties;

       (7)     any sale of assets received by the Issuer or any of its Restricted
Subsidiaries upon the foreclosure, condemnation or similar action on a Lien;

        (8)    the sale or other disposition of cash, Cash Equivalents or Marketable
Securities;

        (9)     a sale of accounts receivable and related assets of the type specified in the
definition of “Receivables Financing” to a Receivables Subsidiary in a Qualified
Receivables Financing;

        (10) a transfer of accounts receivable and related assets of the type specified in
the definition of “Receivables Financing” (or a fractional undivided interest therein) by a
Receivables Subsidiary in a Qualified Receivables Financing;

       (11) a Restricted Payment that does not violate Section 4.05 hereof or a
Permitted Investment;

       (12) any sale of Equity Interests in, or Indebtedness or other securities of, an
Unrestricted Subsidiary;

       (13)    the granting of Liens not otherwise prohibited by this Indenture;

       (14) the surrender, or waiver of contract rights, leases or settlement, release or
surrender of contract, tort or other claims;

       (15) the grant in the ordinary course of business of any license of patents,
trademarks, know−how and any other intellectual property;

       (16)    the early termination or unwinding of any Hedging Obligations;




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               (17) sales, transfers and other dispositions of Investments in joint ventures to
       the extent required by, or made pursuant to, customary buy/sell arrangements between the
       joint venture parties set forth in joint venture arrangements or similar binding
       arrangements;

               (18) the lapse, cancellation or abandonment of intellectual property rights in
       the ordinary course of business, which in the reasonable good faith determination of the
       Issuer are not material to the conduct of the business of the Issuer and the Restricted
       Subsidiaries taken as a whole;

             (19) the sale of any property in a Sale/Leaseback Transaction within six
       months of the acquisition of such property;

               (20) any disposition of (x) Excluded Pipelines and (y) the real property upon
       which Excluded Pipelines disposed of pursuant to subclause (x) are located; provided that
       with respect to the disposition of real property the boundaries of the real property being
       disposed of shall have been described in a third−party survey; and

               (21)    any Permitted Asset Swap.

                 In the event that a transaction (or any portion thereof) meets the criteria of a
permitted Asset Sale and would also be a permitted Restricted Payment or Permitted Investment,
the Issuer, in its sole discretion, will be entitled to divide and classify such transaction (or any
portion thereof) as an Asset Sale and/or one or more of the types of permitted Restricted
Payments or Permitted Investments.

               “Bank Products” means any of the following products, services or facilities
extended to the Issuer or any Subsidiary of the Issuer: (a) Cash Management Services; (b)
products under Interest Rate Agreements, Currency Agreements or Commodity Agreements; (c)
commercial credit card and merchant card services; and (d) other banking products or services as
may be requested by the Issuer or any Subsidiary of the Issuer, other than loans or letters of
credit.

                “Bankruptcy Law” means Title 11, United States Bankruptcy Code of 1978, as
amended, or any similar U.S. federal or state law relating to bankruptcy, insolvency,
receivership, winding−up, liquidation, reorganization or relief of debtors or any amendment to,
succession to or change in any such law.

                “Beneficial Owner” has the meaning assigned to such term in Rule 13d−3 and
Rule 13d−5 under the Exchange Act, except that in calculating the beneficial ownership of any
particular “person” (as that term is used in Section 13(d)(3) of the Exchange Act), such “person”
will be deemed to have beneficial ownership of all securities that such “person” has the right to
acquire by conversion or exercise of other securities, whether such right is currently exercisable
or is exercisable only after the passage of time. The terms “Beneficially Owns” and “Beneficially
Owned” have a corresponding meaning.

               “Board of Directors” means:



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             (1)    with respect to a corporation, the board of directors of the corporation or
       any committee thereof duly authorized to act on behalf of such board;

              (2)     with respect to a partnership, the board of directors or other governing
       body of the general partner of the partnership;

              (3)   with respect to a limited liability company, the board of directors or other
       governing body, and in the absence of the same, the manager or board of managers or the
       managing member or members or any controlling committee thereof; and

              (4)     with respect to any other Person, the board or committee of such Person
       serving a similar function.

                “Borrowing Base” means the sum of (1) 90% of the book value (calculated in
accordance with GAAP) of the accounts receivable of the Issuer and its Restricted Subsidiaries
and (2) the lesser of (x) 95% of the net orderly liquidation value of all eligible inventory and (y)
80% of the cost of eligible inventory, in each case, of the Issuer and its Restricted Subsidiaries,
in each case as shown on the most recent consolidated balance sheet of the Issuer and its
Restricted Subsidiaries.

               “Business Day” means a day other than a Saturday, Sunday or other day on which
a place of payment is closed or on which banking institutions are authorized or required by law
to close in New York State.

                 “Capital Lease Obligation” means, at the time any determination is to be made,
the amount of the liability in respect of a lease that would at that time be required to be
capitalized on a balance sheet (excluding the footnotes thereto) prepared in accordance with
GAAP; provided that any obligations of the Issuer or its Restricted Subsidiaries, or of a special
purpose or other entity not consolidated with the Issuer and its Restricted Subsidiaries, either
existing on the Issue Date or created prior to any recharacterization described below (or any
refinancings thereof) (i) that were not included on the consolidated balance sheet of the Issuer as
capital lease obligations and (ii) that are subsequently recharacterized as capital lease obligations
or, in the case of such a special purpose or other entity becoming consolidated with the Issuer
and its Restricted Subsidiaries, due to a change in accounting treatment or otherwise, shall for all
purposes not be treated as Capital Lease Obligations or Indebtedness.

               “Capital Stock” means:

               (1)     in the case of a corporation, corporate stock;

              (2)     in the case of an association or business entity that is not a corporation,
       any and all shares, interests, participations, rights or other equivalents (however
       designated) of corporate stock;

               (3)    in the case of a partnership or limited liability company, partnership
       interests (whether general or limited) or membership interests; and




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              (4)     any other interest or participation that confers on a Person the right to
       receive a share of the profits and losses of, or distributions of assets of, the issuing
       Person, but excluding from all of the foregoing any debt securities convertible into
       Capital Stock, whether or not such debt securities include any right of participation with
       Capital Stock.

                 “Cash Contributions” means the aggregate amount of cash contributions made to
the capital of the Issuer or any Guarantor described in the definition of “Contribution
Indebtedness.”

              “Cash Equivalents” means:

               (1)    Canadian dollars, Euros, U.S. dollars or such local currencies held by the
       Issuer and any of its Restricted Subsidiaries from time to time in the ordinary course of
       business;

                (2)     securities issued or directly and fully guaranteed or insured by the
       government of the United States or any agency or instrumentality thereof (provided that
       the full faith and credit of such government is pledged in support of those securities)
       having maturities of not more than one year from the date of acquisition;

               (3)      certificates of deposit, time deposits and eurodollar time deposits with
       maturities of one year or less from the date of acquisition, bankers’ acceptances with
       maturities not exceeding one year and overnight bank deposits, in each case, with any
       lender party to the Credit Agreement having combined capital and surplus and undivided
       profits of not less than $500.0 million, whose debt has a rating, at the time as of which
       any investment made therein is made of at least A−1 by S&P or at least P−1 by Moody’s
       or having capital and surplus in excess of $500.0 million and a Thomson Bank Watch
       Rating of “B” or better;

               (4)     repurchase obligations for underlying securities of the types described in
       clauses (2) and (3) above entered into with any financial institution meeting the
       qualifications specified in clause (3) above;

            (5)     commercial paper having one of the two highest ratings obtainable from
       Moody’s or S&P and, in each case, maturing within one year after the date of acquisition;

              (6)     securities issued or fully guaranteed by any state or commonwealth of the
       United States, or by any political subdivision or taxing authority thereof having one of
       the two highest ratings obtainable from Moody’s or S&P, and, in each case, maturing
       within one year after the date of acquisition;

              (7)     money market funds at least 95% of the assets of which constitute Cash
       Equivalents of the kinds described in clauses (1) through (5) of this definition; and

               (8)     Indebtedness or preferred stock issued by Persons with a rating of “A” or
       higher from S&P or “A−2” from Moody’s with maturities of 24 months or less from the
       date of acquisition.


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                “Cash Management Services” means any services provided from time to time by
any lender under the Credit Agreement or any of its affiliates to the Issuer or any Subsidiary of
the Issuer in connection with operating, collections, payroll, trust, or other depository or
disbursement accounts or similar cash management arrangements, including automated
clearinghouse, e-Payables, electronic funds transfer, wire transfer, controlled disbursement,
overdraft, depository, information reporting, lockbox and stop payment services.

               “Change of Control” means the occurrence of any of the following:

                (1)    the direct or indirect sale, lease, transfer, conveyance or other disposition
       (other than by way of merger or consolidation), in one or a series of related transactions,
       of all or substantially all of the properties or assets of the Issuer and its Subsidiaries taken
       as a whole to any “person” (as that term is used in Section 13(d) of the Exchange Act),
       other than the Permitted Holders;

               (2)    the consummation of any transaction (including, without limitation, any
       merger or consolidation), the result of which is that any “person” (as defined above),
       other than the Permitted Holders, becomes the Beneficial Owner, directly or indirectly, of
       more than 50% of the Voting Stock of the Issuer, measured by voting power rather than
       number of shares; or

               (3)     the Issuer consolidates with, or merges with or into, any Person, or any
       Person consolidates with, or merges with or into, the Issuer, in any such event pursuant to
       a transaction in which any of the outstanding Voting Stock of the Issuer or such other
       Person is converted into or exchanged for cash, securities or other property, other than
       any such transaction where the Voting Stock of the Issuer outstanding immediately prior
       to such transaction constitutes or is converted into or exchanged for a majority of the
       outstanding shares of the Voting Stock of such surviving or transferee Person
       (immediately after giving effect to such transaction).

                 Notwithstanding the preceding, a conversion of the Issuer or any of its Restricted
Subsidiaries from a limited liability company, corporation, limited partnership or other form of
entity to a limited liability company, corporation, limited partnership or other form of entity or
an exchange of all of the outstanding Capital Stock in one form of entity for Capital Stock for
another form of entity shall not constitute a Change of Control, so long as following such
conversion or exchange the “persons” (as that term is used in Section 13(d)(3) of the Exchange
Act) who Beneficially Owned the Capital Stock of the Issuer immediately prior to such
transactions continue to Beneficially Own in the aggregate more than 50% of the Voting Stock
of such entity, or continue to Beneficially Own sufficient Equity Interests in such entity to elect a
majority of its directors, managers, trustees or other persons serving in a similar capacity for
such entity, and in either case no “person” Beneficially Owns more than 50% of the Voting
Stock of such entity.

               “Code” means the Internal Revenue Code of 1986, as amended.

                “Collateral” means all of the assets and properties subject (or purported to be
subject) to the Liens created by the Security Documents.



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                 “Collateral Agent” means U.S. Bank National Association, acting in its capacity
as collateral agent under the Security Documents, or any successor thereto.

              “Commodity Agreements” means, in respect of any Person, any forward contract,
commodity swap agreement, commodity option agreement or other similar agreement or
arrangement and designed to protect such Person against fluctuation in commodity prices.

                “Consolidated Adjusted EBITDA” means, with respect to any specified Person
for any period, the Consolidated Net Income of such Person for such period (A) plus, without
duplication to the extent the same was deducted in calculating Consolidated Net Income:

               (1)     provision for taxes based on income, profits or capital, including without
       limitation federal, state, local and foreign franchise and similar taxes, of such Person and
       its Restricted Subsidiaries, to the extent that such provision for taxes was deducted in
       computing such Consolidated Net Income; plus

               (2)     the Fixed Charges of such Person and its Restricted Subsidiaries for such
       period (including net losses on Hedging Obligations or other derivative instruments
       entered into for the purpose of hedging interest rate risk, to the extent included in Fixed
       Charges), to the extent that such Fixed Charges were deducted in computing such
       Consolidated Net Income; plus

               (3)    depreciation, amortization (including the amortization of turnaround costs,
       goodwill and other intangibles, amortization of deferred financing fees, catalyst
       amortization and any amortization included in pension, OPEB or other employee benefit
       expenses, but excluding amortization of prepaid cash expenses that were paid in a prior
       period) and other non−cash expenses (including without limitation write−downs and
       impairment of property, plant, equipment and intangibles and other long−lived assets
       (including pursuant to the application of ASC 350 and ASC 360) and the impact of
       purchase accounting, but excluding any such non−cash expense to the extent that it
       represents an accrual of or reserve for cash expenses in any future period or amortization
       of a prepaid cash expense that was paid in a prior period) of such Person and its
       Restricted Subsidiaries for such period to the extent that such depreciation, amortization
       and other non−cash expenses were deducted in computing such Consolidated Net
       Income; plus

               (4)     the amount of any restructuring charges (which, for the avoidance of
       doubt, shall include retention, severance, integration, business optimization, systems
       establishment cost or excess pension, OPEB, curtailment or other excess charges); plus

               (5)     the minority expense relating to any partner in a joint venture which is
       consolidated with the Issuer for accounting purposes and the minority interest expense
       consisting of subsidiary income attributable to minority equity interests of third parties in
       any non−Wholly-Owned Restricted Subsidiary in such period or any prior period, except
       to the extent of dividends declared or paid on Equity Interests held by third parties; plus

               (6)    the amount of management, consulting, monitoring and advisory fees and
       related expenses paid to the Equity Investors or any other Permitted Holder (or any


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       accruals related to such fees and related expenses) during such period; provided that such
       amount shall not exceed in any four quarter period the greater of (x) $2.5 million and
       (y) 1.0% of Consolidated Adjusted EBITDA of the Issuer and its Restricted Subsidiaries
       for such period; plus

               (7)     accretion of asset retirement obligations in accordance with SFAS
       No. 143, Accounting for Asset Retirement Obligations, and any similar accounting in
       prior periods; plus

               (8)     to the extent not otherwise included, the proceeds of any business
       interruption insurance received during such period; plus

              (9)     any adjustments that result from timing differences between the purchase
       of crude C4 in one period and the sale of finished butadiene in a later period, caused by
       monthly butadiene price changes, to the extent such adjustments are calculated in a
       manner consistent with the calculation of such adjustments as presented in the Offering
       Document; plus

               (10) any adjustments related to any impact from supplier plant shut downs,
       other than in the ordinary course of business; plus

              (11) any adjustments related to any impact from turnarounds other than in the
       ordinary course of business; minus

                (B) (1) non−cash items increasing such Consolidated Net Income for such period,
other than (i) any items which represent the reversal of any accrual of, or cash reserve for,
anticipated charges in any prior period where such accrual or reserve is no longer required and
(ii) any items which represent the impact of purchase accounting; and (2) the minority interest
income consisting of subsidiary losses attributable to the minority equity interests of third parties
in any non−Wholly-Owned Restricted Subsidiary.

               “Consolidated Net Income” means, with respect to any specified Person for any
period, the aggregate of the Net Income of such Person and its Restricted Subsidiaries for such
period, on a consolidated basis; provided that:

               (1)    any net after−tax extraordinary, unusual or nonrecurring gains or losses or
       income or expense or charge (including, without limitation, income, expenses and
       charges from litigation and arbitration settlements, severance, relocation and other
       restructuring costs), any severance or relocation expense, pre−operating expenses that are
       expensed and not capitalized, and fees, expenses or charges related to any offering of
       Equity Interests of such Person, any Investment, acquisition, disposition or incurrence or
       repayment of Indebtedness or other obligations permitted to be incurred hereunder (in
       each case, whether or not successful), including all fees, expenses and charges, and any
       financing charges (including relating to the Refinancing Transactions), including penalty
       interest and bank charges, related to any Indebtedness or other obligations, in each case,
       shall be excluded;




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       (2)     any net after−tax income or loss from disposed, abandoned, transferred,
closed or discontinued operations and any net after−tax gain or loss on disposal of
disposed, abandoned, transferred, closed or discontinued operations shall be excluded;

        (3)     any net after−tax gains or losses (less all fees and expenses or charges
relating thereto) attributable to business dispositions or asset dispositions other than in the
ordinary course of business (as determined in good faith by the Issuer) shall be excluded;

        (4)     any net after−tax income or loss (less all fees and expenses or charges
relating thereto) attributable to the early extinguishment of indebtedness and Hedging
Obligations or other derivative instruments shall be excluded;

         (5)    (A) the Net Income for such period of any Person that is not a Subsidiary,
or that is an Unrestricted Subsidiary, or that is accounted for by the equity method of
accounting, shall be included only to the extent of the amount of dividends or
distributions or other payments in respect of equity that are actually paid in cash (or to the
extent converted into cash) by the referent Person to the Issuer or a Restricted Subsidiary
thereof in respect of such period and (B) the Net Income for such period shall include any
dividend, distribution or other payments in respect of equity paid in cash by such Person
to the Issuer or a Restricted Subsidiary thereof in excess of the amount included in clause
(A);

       (6)     any increase in depreciation or amortization or any one−time non−cash
charges (such as purchased in−process research and development or capitalized
manufacturing profit in inventory) resulting from purchase accounting in connection with
any acquisition that is consummated prior to or after the Issue Date shall be excluded;

        (7)     accruals and reserves that are established within 12 months after an
acquisition’s closing date and that are so required to be established as a result of such
transaction in accordance with GAAP or as a result of a modification of accounting
policies shall be excluded;

        (8)    any impairment charges resulting from the application of ASC 350 and
ASC 360 and the amortization of intangibles pursuant to ASC 805 or asset write−offs
shall be excluded;

        (9)      any long−term incentive plan accruals and any compensation expense
realized from grants of stock appreciation or similar rights, stock options or other rights
to officers, directors and employees of such Person or any of its Restricted Subsidiaries
shall be excluded;

       (10) any asset impairment writedowns or writeoffs under GAAP or SEC
guidelines shall be excluded;

       (11) (A) any unrealized non−cash gains or losses or charges in respect of
Hedging Obligations (including those resulting from the application of Financial
Accounting Standards Codification No. 815−Derivatives and Hedging (or such successor
provision)), (B) any foreign exchange gains and losses and (C) any adjustments for


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       financial instruments, derivatives or Hedging Obligations required by GAAP shall be
       excluded except for any realized exchange gains or losses on derivative instruments
       which are included as offsets to operating items as part of a designated hedging
       relationship;

               (12) solely for the purpose of determining the amount available for Restricted
       Payments under Section 4.05(a)(C)(i) hereof, the Net Income of any Restricted
       Subsidiary of the Issuer (other than a Guarantor and any joint venture that is consolidated
       with the Issuer for accounting purposes) will be excluded to the extent that the
       declaration or payment of dividends or similar distributions by that Restricted Subsidiary
       of that Net Income is not at the date of determination permitted without any prior
       governmental approval (that has not been obtained) or, directly or indirectly, by operation
       of the terms of its charter or any agreement, instrument, judgment, decree, order, statute,
       rule or governmental regulation applicable to that Restricted Subsidiary or its
       stockholders or members, unless such restriction with respect to the payment of dividends
       or similar distributions has been legally waived; provided that Consolidated Net Income
       of such Person shall be increased by the amount of dividends or distributions or other
       payments that are actually paid in cash (or to the extent converted into cash) by such
       Person to the Issuer or another Restricted Subsidiary thereof in respect of such period, to
       the extent not already included therein;

              (13) the cumulative effect of a change in accounting principles shall be
       excluded; and

               (14) any non−cash compensation expense realized from employee benefit plans
       or post−employment benefit plans, grants of stock appreciation or similar rights, stock
       options or other rights to officers, directors and employees of such Person or any of its
       Restricted Subsidiaries shall be excluded.

                “Consolidated Total Indebtedness” means, as at any date of determination, an
amount equal to the sum of (1) the aggregate amount of all outstanding Indebtedness of the
Issuer and its Restricted Subsidiaries on a consolidated basis consisting of Indebtedness for
borrowed money and debt obligations evidenced by promissory notes and similar instruments, as
determined in accordance with GAAP (excluding for the avoidance of doubt all undrawn
amounts under revolving credit facilities and letters of credit and all obligations under Qualified
Receivables Financings, all Hedging Obligations and all Capital Lease Obligations) and (2) the
aggregate amount of all outstanding Disqualified Stock of the Issuer and its Restricted
Subsidiaries on a consolidated basis, with the amount of such Disqualified Stock equal to the
greater of their respective voluntary or involuntary liquidation preferences and maximum fixed
repurchase prices, in each case determined on a consolidated basis in accordance with GAAP.
For purposes hereof, the “maximum fixed repurchase price” of any Disqualified Stock that does
not have a fixed repurchase price shall be calculated in accordance with the terms of such
Disqualified Stock as if such Disqualified Stock were purchased on any date on which
Consolidated Total Indebtedness shall be required to be determined pursuant to this Indenture,
and if such price is based upon, or measured by, the Fair Market Value of such Disqualified
Stock, such Fair Market Value shall be determined reasonably and in good faith by the Issuer.
The U.S. Dollar−Equivalent principal amount of any Indebtedness denominated in a foreign


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currency will reflect the currency translation effects, determined in accordance with GAAP, of
Hedging Obligations for currency exchange risks with respect to the applicable currency in effect
on the date of determination of the U.S. Dollar−Equivalent principal amount of such
Indebtedness.

                “Contingent Obligations” means, with respect to any Person, any obligation of
such Person guaranteeing any performance, leases, dividends, taxes or other obligations that do
not constitute Indebtedness (“primary obligations”) of any other Person in any manner, whether
directly or indirectly, including, without limitation, any obligation of such Person, whether or not
contingent:

               (1)     to purchase any such primary obligation or any property constituting direct
       or indirect security thereof;

              (2)     to advance or supply funds (a) for the purchase or payment of any such
       primary obligation or (b) to maintain working capital or equity capital of the primary
       obligor or otherwise to maintain the net worth or solvency of the primary obligor; or

              (3)     to purchase property, securities or services primarily for the purpose of
       assuring the owner of any such primary obligation of the ability of the primary obligor to
       make payment of such obligation against loss in respect thereof.

               “Contribution Indebtedness” means Indebtedness of the Issuer or any Guarantor
in an aggregate principal amount not greater than twice the aggregate amount of cash
contributions (other than Excluded Contributions) made to the equity capital of the Issuer or such
Guarantor after the Issue Date, provided that:

               (1)    if the aggregate principal amount of such Contribution Indebtedness is
       greater than one times such cash contributions to the equity capital of the Issuer or such
       Guarantor, as applicable, the amount in excess shall be Indebtedness (other than secured
       Indebtedness) with a Stated Maturity later than the Stated Maturity of the Notes, and

              (2)     such Contribution Indebtedness (x) is incurred within 180 days after the
       making of such cash contributions and (y) is designated as Contribution Indebtedness
       pursuant to an Officer’s Certificate on the incurrence date thereof.

                “Corporate Trust Office of the Trustee” means the designated office of the
Trustee at which at any time its corporate trust business shall be administered, which office at the
date hereof is located at 13737 Noel Road Suite 800, Dallas, Texas 75240, Attention: Global
Corporate Trust Services, or such other address as the Trustee may designate from time to time
by notice to the Holders and the Issuer, or the designated corporate trust office of any successor
Trustee (or such other address as such successor Trustee may designate from time to time by
notice to the Holders and the Issuer).

                “Credit Agreement” means that certain Amended and Restated Credit Agreement,
dated as of the Issue Date, by and among TPC Holdings, Inc., a Delaware corporation, the Issuer,
the other borrowers party thereto from time to time, Bank of America, N.A., as administrative
agent and collateral agent, Merrill Lynch, Pierce, Fenner & Smith Incorporated and Wells Fargo


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Bank N.A., as joint lead arrangers, joint bookrunners and syndication agents, and the lenders
party thereto from time to time, providing for revolving credit borrowings and letters of credit,
including any related notes, Guarantees, collateral documents, instruments and agreements
executed in connection therewith, and, in each case, as amended, restated, modified, renewed,
refunded, replaced (whether upon or after termination or otherwise) or refinanced (including by
means of sales of debt securities to institutional investors) in whole or in part from time to time.

               “Currency Agreement” means, in respect of a Person, any foreign exchange
contract, currency swap agreement, futures contract, option contract or other similar agreement
as to which such Person is a party or a beneficiary.

              “Custodian” means the custodian appointed by the Depository with respect to any
Global Notes, or any successor entity thereto.

                “Debt Facilities” means one or more debt facilities (including, without limitation,
the Credit Agreement), indentures or commercial paper facilities, in each case with banks or
other institutional lenders or investors providing for revolving credit loans, term loans,
receivables financing (including through the sale of receivables to such lenders or to special
purpose entities formed to borrow from such lenders against such receivables), letters of credit or
other indebtedness, in each case, as amended, restated, modified, renewed, refunded, replaced
(whether upon or after termination or otherwise) or refinanced (including by means of sales of
debt securities to institutional investors) in whole or in part from time to time, including any
agreement or indenture extending the maturity thereof or otherwise restructuring all or any
portion of the indebtedness thereunder or increasing the amount loaned or issued thereunder or
altering the maturity thereof.

               “Default” means any event that is, or with the passage of time or the giving of
notice or both would be, an Event of Default.

               “Definitive Note” means a certificated, non−global Note registered in the name of
the Holder thereof and issued in accordance with Section 2.06 hereof, substantially in the form of
Exhibit A1 or A2 hereto, as applicable, except that such Note shall not bear the Global Note
Legend and shall not have the “Schedule of Exchanges of Interests in the Global Note” attached
thereto.

                “Depositary” means, with respect to the Notes issuable or issued in whole or in
part in global form, the Person specified in Section 2.03 hereof as the Depositary with respect to
the Notes, and any and all successors thereto appointed as depositary hereunder and having
become such pursuant to the applicable provision of this Indenture.

               “Designated Non−cash Consideration” means the Fair Market Value of non−cash
consideration received by the Issuer or one of its Restricted Subsidiaries in connection with an
Asset Sale that is so designated as “Designated Non−cash Consideration” pursuant to an
Officer’s Certificate, setting forth the basis of such valuation, less the amount of cash or Cash
Equivalents received in connection with a subsequent sale of such Designated Non−cash
Consideration.




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                “Designated Preferred Stock” means Preferred Stock of the Issuer or any direct or
indirect parent of the Issuer (other than Disqualified Stock) that is issued for cash (other than to
the Issuer or any of its Subsidiaries or an employee stock ownership plan or trust established by
the Issuer or any of its Subsidiaries) and is so designated as Designated Preferred Stock, pursuant
to an Officer’s Certificate, on the issuance date thereof, the cash proceeds of which are excluded
from the calculation set forth in Section 4.05(a)(C)(ii) hereof.

                “Disqualified Stock” means any Capital Stock that, by its terms (or by the terms
of any security into which it is convertible, or for which it is exchangeable, in each case, at the
option of the holder of the Capital Stock), or upon the happening of any event, matures or is
mandatorily redeemable, pursuant to a sinking fund obligation or otherwise, or redeemable at the
option of the holder of the Capital Stock, in whole or in part, on or prior to the date that is 91
days after the date on which the Notes mature. Notwithstanding the preceding sentence, any
Capital Stock will not constitute Disqualified Stock solely because the holders of the Capital
Stock have the right to require the Issuer to repurchase such Capital Stock upon the occurrence
of a change of control or an asset sale. The amount of Disqualified Stock deemed to be
outstanding at any time for purposes of this Indenture will be the maximum amount that the
Issuer and its Restricted Subsidiaries may become obligated to pay upon the maturity of, or
pursuant to any mandatory redemption provisions of, such Disqualified Stock, exclusive of
accrued dividends.

              “Domestic Subsidiary” means any Restricted Subsidiary of the Issuer that was
formed under the laws of the United States or any state of the United States or the District of
Columbia.

                “Equity Interests” means Capital Stock and all warrants, options or other rights to
acquire Capital Stock (but excluding any debt security that is convertible into, or exchangeable
for, Capital Stock).

                “Equity Investors” means each of FR XII Alpha AIV, LP, FR XII-A Alpha AIV,
LP, FR XII Charlie AIV, LP, FR XII-A Charlie AIV, LP. and SK Capital Partners III, L.P., and
their respective Affiliates.

                “Equity Offering” means (i) an offer and sale of Capital Stock (other than
Disqualified Stock) of the Issuer or (ii) an offer and sale of Capital Stock (other than Disqualified
Stock) of a direct or indirect parent of the Issuer (to the extent the net proceeds therefrom are
contributed to the equity capital of the Issuer) pursuant to (x) a registration statement that has
been declared effective by the SEC pursuant to the Securities Act (other than a registration
statement on Form S−8 or otherwise relating to equity securities issuable under any employee
benefit plan of the Issuer or such direct or indirect parent), or (y) a private issuance exempt from
registration under the Securities Act.

               “Exchange Act” means the Securities Exchange Act of 1934, as amended.

                “Excluded Contributions” means the net cash proceeds received by the Issuer
after the Issue Date from:

               (3)     contributions to its common equity capital, and


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              (4)     the sale (other than to a Subsidiary of the Issuer) of Capital Stock (other
       than Disqualified Stock and Designated Preferred Stock) of the Issuer,

                in each case designated as “Excluded Contributions” pursuant to an Officer’s
Certificate, the net cash proceeds of which are excluded from the calculation set forth in
Section 4.05(a)(C)(ii).

                “Excluded Pipelines” means (i) the Lubrizol pipeline, which runs from the TPC
plant to Lubrizol; (ii) the Ellington pipeline, which runs from the TPC plant to the Ellington
natural gas field; and (iii) the related structures, fixtures, buildings, equipment, easements,
pipelines, piping, vehicles, rolling stock, trailers and other tangible personal property reasonably
related to such pipelines; provided that, solely with respect to clause (iii), such property or other
assets are not material to the Collateral or the business operations of the Issuer and its Restricted
Subsidiaries taken as a whole; provided that the Fair Market Value of the Excluded Pipelines in
the aggregate shall not exceed $25.0 million as of the Issue Date, as set forth in the Officer’s
Certificate delivered by the Issuer to the Initial Purchasers and the Trustee on the Issue Date.

                “Excluded Subsidiary” shall mean, any (a) Unrestricted Subsidiary, (b) Subsidiary
that is not a Material Subsidiary, (c) Subsidiary that is not a Wholly-Owned Domestic Restricted
Subsidiary, (d) Subsidiary of the Issuer that is a direct or indirect Domestic Subsidiary of a
Foreign Subsidiary, (e) Domestic Subsidiary substantially all of whose assets consist of capital
stock and/or indebtedness of one or more Foreign Subsidiaries and any assets incidental thereto,
(f) Subsidiary that is a captive insurance company, (g) not-for-profit Subsidiary, (h) Subsidiary
that is prohibited by applicable law or regulation from providing a Guarantee of the Obligations
(for so long as such restrictions or any replacement or renewal thereof is in effect), (i) Subsidiary
that is prohibited by an enforceable contractual obligation existing on the Issue Date (or
applicable date of acquisition or formation) from providing a Note Guarantee, (j) Subsidiary to
the extent providing a Guarantee of the notes would result in material adverse tax consequences
to the Issuer or any Subsidiary as reasonably determined by the Issuer and (k) Receivables
Subsidiary.

                “Fair Market Value” means the value that would be paid by a willing buyer to an
unaffiliated willing seller in a transaction not involving distress or necessity of either party,
determined in good faith by (i) the principal financial officer of the Issuer for transactions less
than $50.0 million and (ii) the Board of Directors of the Issuer (unless otherwise provided in this
Indenture) for transactions valued at, or in excess of, $50.0 million.

                 “Fixed Charge Coverage Ratio” means with respect to any specified Person for
any period, the ratio of the Consolidated Adjusted EBITDA of such Person for such period to the
Fixed Charges of such Person for such period. In the event that the specified Person or any of its
Restricted Subsidiaries incurs, assumes, Guarantees, repays, repurchases, redeems, defeases or
otherwise discharges any Indebtedness (other than (i) ordinary working capital borrowings and
(ii) in the case of revolving credit borrowings or revolving advances under any Qualified
Receivables Financing, in which case interest expense will be computed based upon the average
daily balance of such Indebtedness during the applicable period) or issues, repurchases or
redeems preferred equity subsequent to the commencement of the period for which the Fixed
Charge Coverage Ratio is being calculated and on or prior to the date on which the event for


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which the calculation of the Fixed Charge Coverage Ratio is made (the “Calculation Date”),
then the Fixed Charge Coverage Ratio will be calculated giving pro forma effect to such
incurrence, assumption, Guarantee, repayment, repurchase, redemption, defeasance or other
discharge of Indebtedness, or such issuance, repurchase or redemption of preferred equity, and
the use of the proceeds therefrom, as if the same had occurred at the beginning of the applicable
four−quarter reference period.

                In addition, for purposes of calculating the Fixed Charge Coverage Ratio, Asset
Acquisitions, dispositions, mergers, consolidations and discontinued operations (as determined in
accordance with GAAP), and any related financing transactions, that the specified Person or any
of its Restricted Subsidiaries has both determined to make and made after the Issue Date and
during the four−quarter reference period or subsequent to such reference period and on or prior
to or simultaneously with the Calculation Date shall be calculated on a pro forma basis assuming
that all such Asset Acquisitions, dispositions, mergers, consolidations and discontinued
operations (and the change of any associated Fixed Charges and the change in Consolidated
Adjusted EBITDA resulting therefrom) had occurred on the first day of the four−quarter
reference period, including any pro forma expense and cost reductions and other operating
improvements that have occurred or are reasonably expected to occur, in the reasonable
judgment of the chief financial officer of the Issuer (regardless of whether these cost savings or
operating improvements could then be reflected in pro forma financial statements in accordance
with Regulation S−X promulgated under the Securities Act or any other regulation or policy of
the SEC related thereto). Any Person that is a Restricted Subsidiary on the Calculation Date will
be deemed to have been a Restricted Subsidiary at all times during such four−quarter period, and
if, since the beginning of the four−quarter reference period, any Person that subsequently became
a Restricted Subsidiary or was merged with or into the Issuer or any of its other Restricted
Subsidiaries since the beginning of such period shall have made any acquisition, Investment,
disposition, merger, consolidation or discontinued operation, in each case with respect to an
operating unit of a business, that would have required adjustment pursuant to this definition, then
the Fixed Charge Coverage Ratio shall be adjusted giving pro forma effect thereto for such
period as if such Asset Acquisition, disposition, discontinued operation, merger or consolidation
had occurred at the beginning of the applicable four−quarter reference period. Any Person that is
not a Restricted Subsidiary on the Calculation Date will be deemed not to have been a Restricted
Subsidiary at any time during such four−quarter period.

                For purposes of this definition, whenever pro forma effect is to be given to any
transaction, the pro forma calculations shall be made in good faith by a responsible financial or
accounting officer of the Issuer. If any Indebtedness bears a floating rate of interest and is being
given pro forma effect, the interest on such Indebtedness shall be calculated as if the rate in
effect on the Calculation Date had been the applicable rate for the entire period (taking into
account any Hedging Obligations applicable to such Indebtedness if such Hedging Obligation
has a remaining term in excess of 12 months). Interest on a Capital Lease Obligation shall be
deemed to accrue at an interest rate reasonably determined by a responsible financial or
accounting officer of the Issuer to be the rate of interest implicit in such Capital Lease
Obligation. For purposes of making the computation referred to above, interest on any
Indebtedness under a revolving credit facility computed on a pro forma basis shall be computed
based upon the average daily balance of such Indebtedness during the applicable period. Interest
on Indebtedness that may optionally be determined at an interest rate based upon a factor of a


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prime or similar rate, a eurocurrency interbank offered rate, or other rate, shall be deemed to
have been based upon the rate actually chosen, or, if none, then based upon such optional rate
chosen as the Issuer may designate. Any such pro forma calculation may include adjustments
appropriate, in the reasonable determination of the Issuer as set forth in an Officer’s Certificate,
to reflect operating expense reductions reasonably expected to result from any acquisition or
merger.

              “Fixed Charges” means, with respect to any specified Person for any period, the
sum, without duplication, of:

               (1)     the consolidated interest expense of such Person and its Restricted
       Subsidiaries for such period, whether paid or accrued, excluding amortization of deferred
       financing fees, debt issuance costs and commissions, fees and expenses and the
       expensing of any bridge, commitment or other financing fees, commissions, discounts,
       yield and other fees and charges (including any interest expense) related to any
       receivables facility but including original issue discount, non−cash interest payments, the
       interest component of any deferred payment obligations (classified as Indebtedness under
       this Indenture), the interest component of all payments associated with Capital Lease
       Obligations and net of the effect of all payments made or received pursuant to Hedging
       Obligations in respect of interest rates; plus

               (2)    the consolidated interest expense of such Person and its Restricted
       Subsidiaries that was capitalized during such period; provided that for purposes of
       calculating consolidated interest expense, no effect shall be given to the discount and/or
       premium resulting from the bifurcation of derivatives under Standards Codification
       No. 815—Derivatives and Hedging and related interpretations as a result of the terms of
       the Indebtedness to which such consolidated interest expense relate; plus

               (3)    all cash dividend payments or other cash distributions on any series of
       preferred equity of such Person and all other dividend payments or other distributions on
       the Disqualified Stock of such Person; less

               (4)     interest income; less

               (5)    non−cash interest expense attributable to movement in mark to market
       valuation of Hedging Obligations or other derivatives under GAAP; less

               (6)     accretion or accrual of discounted liabilities not constituting Indebtedness;
       and less

              (7)     any expense resulting from the discounting of Indebtedness in connection
       with the application of purchase accounting in connection with any acquisition.

                “Foreign Subsidiary” means any Restricted Subsidiary that is not organized under
the laws of the United States of America or any state thereof or the District of Columbia.

                “GAAP” means generally accepted accounting principles in the United States, set
forth in the opinions and pronouncements of the Accounting Principles Board of the American


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Institute of Certified Public Accountants and statements and pronouncements of the Financial
Accounting Standards Board or in such other statements by such other entity as have been
approved by a significant segment of the accounting profession, as in effect on the Issue Date. At
any time after the Issue Date, the Issuer may elect to apply IFRS accounting principles in lieu of
GAAP and, upon any such election, references herein to GAAP shall thereafter be construed to
mean IFRS (except as otherwise provided in this Indenture); provided that any such election,
once made, shall be irrevocable; provided, further, any calculation or determination in this
Indenture that requires the application of GAAP for periods that include fiscal quarters ended
prior to the Issuer’s election to apply IFRS shall remain as previously calculated or determined in
accordance with GAAP. The Issuer shall give notice of any such election made in accordance
with this definition to the Trustee.

               “Global Note Legend” means the legend set forth in Section 2.06(f)(2) hereof,
which is required to be placed on all Global Notes issued under this Indenture.

                “Global Notes” means, individually and collectively, each of the Restricted
Global Notes and the Unrestricted Global Notes deposited with or on behalf of and registered in
the name of the Depositary or its nominee, substantially in the form of Exhibit A1 or A2 hereto,
as applicable, and that bears the Global Note Legend and that has the “Schedule of Exchanges of
Interests in the Global Note” attached thereto, issued in accordance with Section 2.01, 2.06(b)(4),
2.06(d)(2) or 2.06(d)(3).

                “Guarantee” means a guarantee, other than by endorsement of negotiable
instruments for collection in the ordinary course of business, direct or indirect, in any manner,
including, without limitation, by way of a pledge of assets or through letters of credit or
reimbursement agreements in respect thereof, of all or any part of any Indebtedness (whether
arising by virtue of partnership arrangements, or by agreements to keep−well, to purchase assets,
goods, securities or services, to take or pay or to maintain financial statement conditions or
otherwise).

              “Guarantors” means (1) the Subsidiaries of the Issuer that execute a Note
Guarantee on the Issue Date and (2) any other Subsidiary of the Issuer that executes a Note
Guarantee in accordance with the provisions of this Indenture.

                “Hedging Obligations” means, with respect to any specified Person, the
obligations of such Person under Interest Rate Agreements, Currency Agreements or Commodity
Agreements.

              “Holder” means a Person in whose name a Note is registered in the register
maintained by the Registrar.

              “Indebtedness” means, with respect to any specified Person, any indebtedness of
such Person, whether or not contingent:

               (1)    in respect of borrowed money;

               (2)      evidenced by (A) bonds, notes, debentures or similar instruments or
       (B) letters of credit (or reimbursement agreements in respect thereof), provided that the


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       underlying obligation in respect of which the letter of credit was issued would, under one
       or more of clauses (1) above or (3) through (7) below, be treated as being Indebtedness;

               (3)    in respect of banker’s acceptances;

               (4)    representing Capital Lease Obligations;

              (5)     representing the balance deferred and unpaid of the purchase price of any
       property or services due more than six months after such property is acquired or such
       services are completed;

              (6)     to the extent not otherwise included in this definition, net obligations of
       such Person under Commodity Agreements, Currency Agreements and Interest Rate
       Agreements (the amount of any such obligations to be equal at any time to the
       termination value of such agreement or arrangement giving rise to such obligation that
       would be payable by such Person at such time); or

               (7)     to the extent not otherwise included, with respect to the Issuer and its
       Restricted Subsidiaries, the amount then outstanding (i.e., advanced, and received by, and
       available for use by, the Issuer or any of its Restricted Subsidiaries) under any
       Receivables Financing (as set forth in the books and records of the Issuer or any
       Restricted Subsidiary of the Issuer and confirmed by the agent, trustee or other
       representative of the institution or group providing such Receivables Financing),

        if and to the extent any of the preceding items (other than letters of credit and Hedging
Obligations) would appear as a liability upon a balance sheet of the specified Person prepared in
accordance with GAAP. In addition, the term “Indebtedness” includes (i) all Indebtedness of
others secured by a Lien on any asset of the specified Person (whether or not such Indebtedness
is assumed by the specified Person); provided, however, that the amount of such Indebtedness
shall be the lesser of (x) the Fair Market Value of such asset as such date of determination and
(y) the amount of such Indebtedness of such other Person; and (ii) to the extent not otherwise
included, the Guarantee by the specified Person of any Indebtedness of any other Person.

                Notwithstanding the foregoing, “Indebtedness” shall not include (a) accrued
expenses, royalties and trade payables; (b) Contingent Obligations; (c) asset retirement
obligations and obligations in respect of reclamation and workers’ compensation (including
pensions and retiree medical care) that are not overdue by more than 90 days; or (d) any
obligations under Currency Agreements, Commodity Agreements and Interest Rate Agreements;
provided that such Agreements are entered into for bona fide hedging purposes of the Issuer or
its Restricted Subsidiaries (as determined in good faith by the Board of Directors or senior
management of the Issuer, whether or not accounted for as a hedge in accordance with GAAP)
and, in the case of Currency Agreements or Commodity Agreements, such Currency Agreements
or Commodity Agreements are related to business transactions of the Issuer or its Restricted
Subsidiaries entered into in the ordinary course of business and, in the case of Interest Rate
Agreements, such Interest Rate Agreements substantially correspond in terms of notional
amount, duration and interest rates, as applicable, to Indebtedness of the Issuer or its Restricted
Subsidiaries incurred without violation of this Indenture.



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               “Indenture” means this Indenture, as amended or supplemented from time to time.

              “Indirect Participant” means a Person who holds a beneficial interest in a Global
Note through a Participant.

               “Initial Notes” has the meaning assigned to it in the preamble to this Indenture.

               “Initial Mortgaged Property” means each parcel of real property designated as
being subject to a Mortgage on Schedule C to the Purchase Agreement dated July 19, 2019,
among the Issuer and the Initial Purchasers, and the improvements and fixtures located thereon.

              “Initial Purchasers” means BofA Securities, Inc., Citigroup Global Markets Inc.,
Wells Fargo Securities, LLC, Deutsche Bank Securities Inc. and Goldman Sachs & Co. LLC.

               “Intercreditor Agreement” means that certain Intercreditor Agreement dated as of
the Issue Date by and among the Issuer, the other grantors party thereto, the ABL Facility
Collateral Agent and the Collateral Agent, as amended, modified, restated, supplemented or
replaced from time to time.

               “Interest Rate Agreement” means with respect to any Person any interest rate
protection agreement, interest rate future agreement, interest rate option agreement, interest rate
swap agreement, interest rate cap agreement, interest rate collar agreement, interest rate hedge
agreement or other similar agreement or arrangement as to which such Person is party or a
beneficiary.

               “Investment Grade Rating” means a Moody’s rating of Baa3 (or the equivalent)
or higher and an S&P rating of BBB− (or the equivalent) or higher or, if either such Rating
Agency ceases to rate the Notes for reasons outside of the Issuer’s control, the equivalent
investment grade credit rating from any other Rating Agency.

               “Investment Grade Securities” means:

              (1)     securities issued or directly and fully Guaranteed or insured by the U.S.
       government or any agency or instrumentality thereof (other than Cash Equivalents) and in
       each case with maturities not exceeding two years from the date of acquisition;

              (2)     investments in any fund that invests exclusively in investments of the type
       described in clause (1) which fund may also hold immaterial amounts of cash pending
       investment and/or distribution; and

              (3)     corresponding instruments in countries other than the United States
       customarily utilized for high quality investments and in each case with maturities not
       exceeding two years from the date of acquisition.

                “Investments” means, with respect to any Person, all direct or indirect investments
by such Person in other Persons (including Affiliates) in the forms of loans (including
Guarantees or other obligations), advances or capital contributions (excluding accounts
receivable, trade credit and advances to customers and commission, travel and similar advances


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to officers, employees and consultants made in the ordinary course of business), purchases or
other acquisitions for consideration of Indebtedness, Equity Interests or other securities, together
with all items that are or would be classified as investments on a balance sheet prepared in
accordance with GAAP.

               “Issue Date” means August 2, 2019.

                 “Lien” means, with respect to any asset, any mortgage, lien, pledge, charge,
security interest or encumbrance of any kind in respect of such asset, whether or not filed,
recorded or otherwise perfected under applicable law, including any conditional sale or other title
retention agreement, any lease in the nature thereof, any option or other agreement to sell or give
a security interest in and any filing of or agreement to give any financing statement under the
Uniform Commercial Code (or equivalent statutes) of any jurisdiction.

                “Marketable Securities” means, with respect to any Asset Sale, any readily
marketable equity securities that are (i) traded on The New York Stock Exchange, the American
Stock Exchange or the Nasdaq National Market; and (ii) issued by a corporation having a total
equity market capitalization of not less than $250.0 million; provided that the excess of (A) the
aggregate amount of securities of any one such corporation held by the Issuer and any Restricted
Subsidiary of the Issuer over (B) ten times the average daily trading volume of such securities
during the 20 immediately preceding trading days shall be deemed not to be Marketable
Securities, as determined on the date of the contract relating to such Asset Sale.

               “Material Subsidiary” shall mean any Subsidiary of the Issuer whose gross assets
or earnings before interest, tax, depreciation or amortization on a consolidated basis (calculated
on a basis consistent with the calculations used in preparing the Issuer’s consolidated financial
statements) (excluding intra-group items) are equal to or exceed 5% of the Total Assets or
Consolidated Adjusted EBITDA of the Issuer and its Restricted Subsidiaries; provided that any
Subsidiary shall be deemed a Material Subsidiary if either (a) the Total Assets of such Subsidiary
would cause the Total Assets of all Subsidiaries which are not Material Subsidiaries to exceed
10% of the Total Assets or (b) the Consolidated Adjusted EBITDA of such Subsidiary would
cause the Consolidated Adjusted EBITDA of all Subsidiaries which are not Material Subsidiaries
to exceed 10% of the Consolidated Adjusted EBITDA.

               “Minority Interest” means the percentage interest represented by any class of
Capital Stock of a Restricted Subsidiary that is not owned by the Issuer or a Restricted
Subsidiary.

              “Moody’s” means Moody’s Investors Service, Inc. and any successor to its rating
agency business.

               “Mortgage” means each mortgage, deed of trust or deed to secure debt creating a
Lien on the Mortgaged Property granted by the Issuer or any Guarantor in favor of the Collateral
Agent for the benefit of the Secured Parties securing the Notes Obligations, in each case as
amended, modified, restated, supplemented or replaced from time to time.

               “Mortgaged Property” means all right, title and interest of the Issuer and the
Guarantors in and to (i) the Initial Mortgaged Property and (ii) each additional parcel of real


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property (and the improvements and fixtures located thereon) that becomes subject to a
Mortgage pursuant to Section 4.19 hereof.

                “Net Income” means, with respect to any Person for any period, the net income
(loss) of such Person for such period, determined in accordance with GAAP and before any
reduction in respect of dividends on preferred interests, excluding, however, (a) any gain or loss,
together with any related provision for taxes on such gain or loss, realized in connection with
(1) any Asset Sale (including, without limitation, dispositions pursuant to Sale/Leaseback
Transactions) or (2) the disposition of any securities by such Person or any of its Subsidiaries or
the extinguishment of any Indebtedness of such Person or any of its Subsidiaries and (b) any
extraordinary or nonrecurring gain or loss, together with any related provision for taxes on such
extraordinary or nonrecurring gain or loss.

                “Net Leverage Ratio” means, as of any date of determination (the “Net Leverage
Ratio Calculation Date”), the ratio of (i) the Consolidated Total Indebtedness of the Issuer and
its Restricted Subsidiaries as of the end of the most recent fiscal quarter for which internal
financial statements are available, less an amount equal to the amount of any cash and Cash
Equivalents of the Issuer and its Restricted Subsidiaries as of such date, to (ii) Consolidated
Adjusted EBITDA of the Issuer and its Restricted Subsidiaries for the most recently ended four
fiscal quarters ending immediately prior to such date for which internal financial statements are
available.

                In the event that the Issuer or any Restricted Subsidiary of the Issuer incurs,
assumes, guarantees, redeems, repays, retires or extinguishes any Indebtedness (other than
Indebtedness incurred or repaid under any revolving credit facility unless such Indebtedness has
been permanently repaid and has not been replaced) or issues or redeems Disqualified Stock or
preferred stock subsequent to the commencement of the period for which the Net Leverage Ratio
is being calculated but prior to or simultaneously with the event for which the calculation of the
Net Leverage Ratio is made, then the Net Leverage Ratio shall be calculated giving pro format
effect to such issuance, assumption, guarantee, redemption, retirement or extinguishment of
Indebtedness, or such issuance or redemption of Disqualified Stock or preferred stock, as if the
same had occurred immediately prior to the end of such most recent fiscal quarter end.

                For purposes of making the computation referred to above, Investments,
acquisitions, dispositions, mergers, amalgamations, consolidations and discontinued operations
(as determined in accordance with GAAP) that have been made by the Issuer or any of its
Restricted Subsidiaries during the four-quarter reference period or subsequent to such reference
period and on or prior to or simultaneously with the Net Leverage Ratio Calculation Date shall
be calculated on a pro forma basis assuming that all such Investments, acquisitions, dispositions,
mergers, amalgamations, consolidations and discontinued operations (and the change in
Consolidated Adjusted EBITDA resulting therefrom) had occurred on the first day of the four-
quarter reference period. If since the beginning of such period any Person that subsequently
became a Restricted Subsidiary of the Issuer or was merged with or into the Issuer or any of its
Restricted Subsidiaries since the beginning of such period shall have made any Investment,
acquisition, disposition, merger, amalgamation, consolidation and discontinued operation that
would have required adjustment pursuant to this definition, then the Net Leverage Ratio shall be
calculated giving pro forma effect thereto for such period as if such Investment, acquisition,


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disposition, merger, amalgamation, consolidation and discontinued operation had occurred at the
beginning of the applicable four-quarter period. For purposes of this definition, whenever pro
forma effect is to be given to an Investment, acquisition, disposition, merger or consolidation, the
pro forma calculation shall be made in good faith by a responsible financial or accounting officer
of the Issuer (and may include, for the avoidance of doubt, cost savings, synergies and operating
expense reductions resulting from such Investment, acquisition, merger, amalgamation or
consolidation which is being given pro forma effect that have been or are expected to be
realized).

                 “Net Proceeds” means the aggregate cash proceeds received by the Issuer or any
of its Restricted Subsidiaries in respect of any Asset Sale (including, without limitation, any cash
received upon the sale or other disposition of any Designated Non−cash Consideration received
in any Asset Sale and any cash payments received by way of deferred payment of principal
pursuant to a note or installment receivable or otherwise, but only as and when received, but
excluding the assumption by the acquiring Person of Indebtedness relating to the disposed assets
or other consideration received in any non−cash form), net of the direct costs relating to such
Asset Sale and the sale of such Designated Non−cash Consideration, including, without
limitation, legal, accounting and investment banking fees, and sales commissions, and any
relocation expenses incurred as a result of the Asset Sale, taxes paid or payable as a result of the
Asset Sale, in each case, after taking into account any available tax credits or deductions and any
tax sharing arrangements, amounts paid in connection with the termination of Hedging
Obligations repaid with Net Proceeds, and amounts required to be applied to the repayment of
Indebtedness secured by a Lien on the asset or assets that were the subject of such Asset Sale, all
distributions and other payments required to be made to Minority Interest holders in Subsidiaries
or joint ventures or to holders of royalty or similar interests as a result of such Asset Sale and any
reserve for adjustment in respect of the sale price of such asset or assets established in
accordance with GAAP, including without limitation, pension and post−employment benefit
liabilities and liabilities related to environmental matters or against any indemnification
obligations associated with such transaction.

               “Non−Recourse Debt” means Indebtedness:

               (1)     as to which neither the Issuer nor any of its Restricted Subsidiaries
       provides credit support of any kind (including any undertaking, agreement or instrument
       that would constitute Indebtedness) other than a pledge of the Equity Interests of any
       Unrestricted Subsidiaries, (b) is directly or indirectly liable (as a guarantor or otherwise)
       other than by virtue of a pledge of the Equity Interests of any Unrestricted Subsidiaries,
       or (c) constitutes the lender; and

              (2)     no default with respect to which (including any rights that the holders of
       the Indebtedness may have to take enforcement action against an Unrestricted
       Subsidiary) would permit, upon notice, lapse of time or both, any holder of any other
       Indebtedness (other than the Notes offered hereby) of the Issuer or any of its Restricted
       Subsidiaries to declare a default on such other Indebtedness or cause the payment of the
       Indebtedness to be accelerated or payable prior to its Stated Maturity.

               “Non−U.S. Person” means a Person who is not a U.S. Person.


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             “Note Documents” means this Indenture, the Notes, the Note Guarantees and the
Security Documents.

               “Note Guarantee” means the Guarantee by each Guarantor of the Issuer’s
obligations under this Indenture and the Notes, executed pursuant to the provisions of this
Indenture.

              “Note Liens” means all Liens in favor of the Collateral Agent on Collateral
securing the Notes Obligations, and any Permitted Additional Pari Passu Obligations.

                 “Notes” has the meaning assigned to it in the preamble to this Indenture. The
Initial Notes and any Additional Notes shall be treated as a single class for all purposes under
this Indenture, and unless the context otherwise requires, all references to the Notes shall include
the Initial Notes and any Additional Notes.

               “Notes Obligations” means the Indebtedness incurred and Obligations under this
Indenture, the Notes and the other Note Documents.

                “Notes Priority Collateral” has the meaning ascribed to the term “Notes First
Priority Collateral” in the Intercreditor Agreement.

                “Obligations” means any principal, interest (including Post Petition Interest),
penalties, fees, indemnifications, reimbursements, damages and other liabilities payable under
the documentation governing any Indebtedness.

              “Offering Document” means the offering memorandum, dated July 19, 2019,
pursuant to which the Initial Notes were offered to potential purchasers.

               “Officer” means, with respect to any Person, the Chairman of the Board, the Chief
Executive Officer, the President, the Chief Operating Officer, the Chief Financial Officer, the
Treasurer, any Assistant Treasurer, the Controller, the Secretary or any Vice−President of such
Person.

                 “Officer’s Certificate” means a certificate signed by an Officer of the Issuer or
any other Person, as the case may be, who must be a manager or director, the principal executive
officer, the principal financial officer, the treasurer or the principal accounting officer of the
Issuer (or of a Subsidiary of the Issuer acting in such capacity for the Issuer and its Subsidiaries,
as determined by the Issuer) or such other Person, that meets the requirements set forth in this
Indenture and is provided to the Trustee.

              “Opinion of Counsel” means an opinion from legal counsel that meets the
requirements of Section 14.05 hereof and is provided to the Trustee. Such counsel may be an
employee of or counsel to the Issuer or any Subsidiary of the Issuer.

               “Pari Passu Payment Lien Priority” means, relative to specified Indebtedness and
other obligations, having equal Lien priority to the Notes and the Note Guarantees on the
Collateral.



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              “Participant” means, with respect to the Depositary, a Person who has an account
with the Depositary.

                “Permitted Additional Pari Passu Obligations” means Obligations under any
additional Indebtedness in an amount not to exceed an amount such that immediately after giving
effect to the incurrence of such additional Indebtedness and the receipt and application of the
proceeds therefrom, the Issuer’s Senior Secured Net Leverage Ratio would not exceed 4.00 to
1.00, in each case that is permitted to be secured by Liens having Pari Passu Payment Lien
Priority relative to the Notes with respect to the Collateral and is not secured by any other assets;
provided, that (i) the representative of such Permitted Additional Pari Passu Obligation (other
than any Additional Notes) executes a joinder agreement to the applicable Security Documents
in the form attached thereto agreeing to be bound thereby and (ii) the Issuer has designated such
Indebtedness as “Permitted Additional Pari Passu Obligations” under the Security Agreement.

               “Permitted Asset Swap” means the concurrent purchase and sale or exchange of
Related Business Assets or a combination of Related Business Assets and cash or Cash
Equivalents between the Issuer or any of its Restricted Subsidiaries and another Person; provided
that any cash or Cash Equivalents received must be applied in accordance with Section 4.08
hereof.

                 “Permitted Business” means the businesses of the Issuer and its Subsidiaries
engaged in on the Issue Date and any other activities that are similar, ancillary or reasonably
related to, or a reasonable extension, expansion or development of, such businesses or ancillary
thereto.

                “Permitted Employee Stock Purchase Loans” means loans, in an aggregate
amount outstanding at any time not to exceed $25.0 million, whether made by the Issuer or any
third party (other than any Affiliate of the Issuer), to employees of the Issuer and its Subsidiaries
who become participants in the Issuer’s stock purchase program to enable such employees to
purchase Equity Interests in the Issuer or any of its parent entities.

                “Permitted Holders” means (i) the Equity Investors and Related Parties and
(ii) any Permitted Parent. Any Person or group whose acquisition of beneficial ownership
constitutes a Change of Control in respect of which a Change of Control Offer is made in
accordance with the requirements of this Indenture will thereafter, together with its Affiliates,
constitute an additional Permitted Holder.

               “Permitted Investments” means:

               (1)     any Investment in the Issuer or in a Restricted Subsidiary of the Issuer;

              (2)    any Investment in cash, Cash Equivalents, Marketable Securities or
       Investment Grade Securities;

              (3)      any Investment by the Issuer or any Restricted Subsidiary of the Issuer in
       a Person, if as a result of such Investment:

                       (a) such Person becomes a Restricted Subsidiary of the Issuer; or


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               (b) such Person, in one transaction or a series of related transactions, is
        merged, consolidated or amalgamated with or into, or transfers or conveys
        substantially all of its assets to, or is liquidated into, the Issuer or a Restricted
        Subsidiary of the Issuer;

and, in each case, any Investment held by any such Person;

        (4)   any Investment made as a result of the receipt of non−cash consideration
from an Asset Sale that was made pursuant to and in compliance with Section 4.08
hereof;

        (5)     any acquisition of assets or Capital Stock solely in exchange for the
issuance of Equity Interests (other than Disqualified Stock) of the Issuer or a direct or
indirect parent of the Issuer;

        (6)     any Investments received (i) in compromise or resolution of
(A) obligations of trade creditors or customers that were incurred in the ordinary course
of business of the Issuer or any of its Restricted Subsidiaries, including pursuant to any
plan of reorganization or similar arrangement upon the bankruptcy or insolvency of any
trade creditor or customer; or (B) litigation, arbitration or other disputes; or (ii) as a result
of a foreclosure by the Issuer or any of its Restricted Subsidiaries with respect to any
secured Investment or other transfer of title with respect to any secured Investment in
default;

        (7)     Investments represented by Hedging Obligations;

        (8)   loans or advances to officers, directors and employees made in the
ordinary course of business or consistent with the past practice of the Issuer or any
Restricted Subsidiary of the Issuer and Permitted Employee Stock Purchase Loans or
Guarantees thereof;

        (9)     repurchases of the Notes;

         (10) Investments in Permitted Businesses, joint ventures or Unrestricted
Subsidiaries having an aggregate Fair Market Value, taken together with all other
Investments made pursuant to this clause (10) that are at that time outstanding, not to
exceed the greater of (x) $40.0 million and (y) 5.0% of Total Assets; provided, however,
that if any Investment pursuant to this clause (10) is made in a Person that is not a
Restricted Subsidiary of the Issuer at the date of the making of such Investment and such
Person becomes a Restricted Subsidiary of the Issuer after such date, such Investment
shall thereafter be deemed to have been made pursuant to clause (1) above and shall
cease to have been made pursuant to this clause (10) for so long as such Person continues
to be a Restricted Subsidiary of the Issuer;

       (11) any Investment in a Receivables Subsidiary or any Investment by a
Receivables Subsidiary in any other Person in connection with a Qualified Receivables
Financing, including Investments of funds held in accounts permitted or required by the
arrangements governing such Qualified Receivables Financing or any related


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       Indebtedness; provided, however, that any Investment in a Receivables Subsidiary is in
       the form of a Purchase Money Note, contribution of additional receivables or an equity
       interest;

               (12) any transaction to the extent it constitutes an Investment that is permitted
       by and made in accordance with the provisions of Section 4.09(b) hereof (except for
       transactions described in clauses (6), (8), (10) and (12) of Section 4.09(b));

               (13) (A) Guarantees issued in accordance with Section 4.07 and Section 4.14
       hereof and (B) Guarantees of performance or other obligations (other than Indebtedness)
       arising in the ordinary course of business or consistent with past practice;

               (14) any Investment existing on the Issue Date and any Investment that
       replaces, refinances or refunds an existing Investment; provided, that the new Investment
       is in an amount that does not exceed the amount replaced, refinanced or refunded, and is
       made in the same Person as the Investment replaced, refinanced or refunded;

               (15) Investments consisting of purchases and acquisitions of parts, buildings,
       inventory, supplies, materials and equipment or purchases of contract rights or licenses or
       leases of intellectual property, in each case in the ordinary course of business;

                (16) additional Investments by the Issuer or any Restricted Subsidiary having
       an aggregate Fair Market Value (measured on the date each such Investment was made
       and without giving effect to subsequent changes in value), taken together with all other
       Investments made pursuant to this clause (16) that are at the time outstanding not to
       exceed the greater of (x) $40.0 million and (y) 5.0% of Total Assets; provided, however,
       that if any Investment pursuant to this clause (16) is made in a Person that is not a
       Restricted Subsidiary of the Issuer at the date of the making of such Investment and such
       Person becomes a Restricted Subsidiary of the Issuer after such date, such Investment
       shall thereafter be deemed to have been made pursuant to clause (1) above and shall
       cease to have been made pursuant to this clause (16) for so long as such Person continues
       to be a Restricted Subsidiary of the Issuer;

              (17) Investments in any Person to the extent such Investments consist of
       prepaid expenses, negotiable instruments held for collection and lease, utility and
       workers’ compensation, performance and other similar deposits made in the ordinary
       course of business by the Issuer or any of its Restricted Subsidiaries; and

               (18)    pledges or deposits made in the ordinary course of business.

                provided, however, that with respect to any Investment, the Issuer may, in its sole
discretion, allocate all or any portion of any Investment to one or more of the above clauses (1)
through (18) so that the entire Investment would be a Permitted Investment.

               “Permitted Liens” means:

              (1)    Liens securing Indebtedness and other Obligations under Debt Facilities
       incurred pursuant to Section 4.07(b)(1) hereof and/or securing Bank Products obligations


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related thereto; provided that so long as the Credit Agreement is outstanding, such Liens
are subject to the provisions of the Intercreditor Agreement (including with respect to the
relative priority of the ABL Facility Priority Collateral and Notes Priority Collateral);

       (2)     Liens in favor of the Issuer or any of its Restricted Subsidiaries;

        (3)     Liens on property of a Person existing at the time such Person is merged
with or into or consolidated with the Issuer or any Subsidiary of the Issuer; provided that
such Liens were in existence prior to the contemplation of such merger or consolidation
and do not extend to any assets other than those of the Person merged into or
consolidated with the Issuer or the Subsidiary;

        (4)     Liens on property (including Capital Stock) existing at the time of
acquisition of the property by the Issuer or any Subsidiary of the Issuer; provided that
such Liens were in existence prior to, such acquisition, and not incurred in contemplation
of, such acquisition;

        (5)     Liens or deposits to secure the performance of statutory or regulatory
obligations, or surety, appeal, indemnity or performance bonds, warranty and contractual
requirements or other obligations of a like nature incurred in the ordinary course of
business and Liens over cash deposits in connection with an acquisition, lease,
disposition or investment;

         (6)     Liens securing reimbursement obligations with respect to commercial
letters of credit which encumber documents and other assets relating to such letters of
credit and products and proceeds thereof and any cash cover relating to a letter of credit
or bank guarantee;

         (7)    Liens to secure Indebtedness (including Capital Lease Obligations)
permitted to be incurred pursuant to Section 4.07(b)(4) hereof covering only the assets
acquired with or financed by such Indebtedness; provided that such Lien (i) extends only
to the assets and/or Capital Stock, the acquisition, lease, design, construction, installation,
repair, replacement or improvement of which is financed thereby and any proceeds or
products thereof, accessions thereto, upgrades thereof and improvements thereto or
(ii) does not extend to any assets or property that constitute Collateral;

       (8)     Liens securing Indebtedness permitted to be incurred pursuant to
Section 4.07(b)(15) hereof;

       (9)     Liens existing on the Issue Date;

        (10) Liens for taxes, assessments or governmental charges or claims that are
not yet delinquent or that are being contested in good faith by appropriate proceedings
promptly instituted and diligently concluded; provided that any reserve or other
appropriate provision as is required in conformity with GAAP has been made therefor;

       (11) Liens incurred or deposits made in the ordinary course of business to
secure payment of workers’ compensation or to participate in any fund in connection


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with workmen’s compensation, unemployment insurance, old−age pensions or other
social security programs;

        (12) Liens imposed by law, such as carriers’, warehousemen’s, landlord’s,
lessor’s, suppliers, banks, repairmen’s and mechanics’ Liens, and Liens of landlords
securing obligations to pay lease payments that are not yet due and payable or in default,
in each case, incurred in the ordinary course of business;

        (13) leases or subleases granted to others that do not materially interfere with
the ordinary conduct of business of the Issuer or any of its Restricted Subsidiaries;

         (14) (A) survey exceptions, easements, rights of way, zoning and similar
restrictions, reservations or encumbrances in respect of real property or title defects that
were not incurred in connection with Indebtedness and that do not in the aggregate
materially adversely affect the value of said properties (as such properties are used by the
Issuer or its Subsidiaries) or materially impair their use in the operation of the business of
the Issuer and its Subsidiaries and (B) access agreements, easements, leases, licenses, use
agreements, utility agreements, service agreements, and other like encumbrances granted
by the Issuer or a Restricted Subsidiary of the Issuer to any other third party in
connection with the disposition of the Excluded Pipelines to, or the use or ownership of
the Excluded Pipelines by, such third party so long as such encumbrances do not in the
aggregate materially adversely affect the value of said properties (as such properties are
used by the Issuer or its Subsidiaries) or materially impair their use in the operation of the
business of the Issuer and its Subsidiaries;

       (15) Liens created for the benefit of (or to secure) the Notes issued on the Issue
Date and the Note Guarantees with respect thereto;

       (16) Liens to secure any Permitted Refinancing Indebtedness permitted to be
incurred under this Indenture; provided, however, that:

               (a) the new Lien shall be limited to all or part of the same property and
       assets that secured or, under the written agreements pursuant to which the original
       Lien arose, could secure the original Lien (plus improvements and accessions to,
       such property or proceeds or distributions thereof);

               (b) the Indebtedness secured by the new Lien is not increased to any
       amount greater than the sum of (x) the outstanding principal amount, or, if
       greater, committed amount, of the Permitted Refinancing Indebtedness and (y) an
       amount necessary to pay any fees and expenses, including premiums, related to
       such renewal, refunding, refinancing, replacement, defeasance or discharge; and

              (c) the new Lien shall have no greater priority relative to the Notes
       Obligations of the Liens securing the Indebtedness being renewed, refunded,
       refinanced, replaced, defeased or discharged;




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        (17) Liens arising from precautionary Uniform Commercial Code financing
statement filings regarding operating leases entered into by the Issuer or any of its
Restricted Subsidiaries in the ordinary course of business;

       (18) judgment Liens not giving rise to an Event of Default so long as any
appropriate legal proceedings that may have been duly initiated for the review of such
judgment shall not have been finally terminated or the period within which such legal
proceedings may be initiated shall not have expired;

       (19) Liens securing Indebtedness or other obligations of the Issuer or any
Subsidiary of the Issuer with respect to obligations that do not exceed the greater of
(x) $10.0 million and (y) 1.0% of Total Assets at any one time outstanding;

        (20) Liens on accounts receivable and related assets of the type specified in the
definition of “Receivables Financing” incurred in connection with a Qualified
Receivables Financing;

       (21)    licenses of intellectual property in the ordinary course of business;

       (22) Liens on Capital Stock of an Unrestricted Subsidiary that secure
Indebtedness or other obligations of such Unrestricted Subsidiary;

       (23) leases and subleases of real property which do not materially interfere
with the ordinary conduct of the business of the Issuer and its Restricted Subsidiaries;

       (24)    Liens to secure a defeasance trust;

       (25) Liens on equipment of the Issuer or any Restricted Subsidiary of the Issuer
granted in the ordinary course of business to clients of which such equipment is located;

       (26) Liens securing insurance premium financing arrangements, provided that
such Lien is limited to the applicable insurance contracts;

       (27)    [Reserved];

        (28) Liens arising under retention of title, hire purchase or conditional sale
arrangements arising under provisions in a supplier’s standard conditions of supply in
respect of goods or services supplied to the Issuer or any Restricted Subsidiary in the
ordinary course of business and on arm’s length terms;

       (29) Liens arising by way of set−off or pledge (in favor of the account holding
bank) arising by operation of law or pursuant to standard banking terms or conditions,
provided that the relevant bank account has not been set up nor has the relevant credit
balance arisen in order to implement a secured financing;

       (30) Liens securing Indebtedness permitted to be incurred pursuant to
Sections 4.07(b)(3) and 4.07(b)(17); provided that in the case of Section 4.07(b)(17),



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       such Lien may not extend to any assets other than the assets owned by the Restricted
       Subsidiaries incurring such Indebtedness;

              (31) Liens encumbering reasonable customary initial deposits and margin
       deposits and similar Liens attaching to commodity trading accounts or other brokerage
       accounts incurred in the ordinary course of business and not for speculative purposes;

              (32)    Liens securing Hedging Obligations;

                (33) any (a) interest or title of a lessor or sublessor under any lease;
       (b) restriction or encumbrance that the interest or title of such lessor or sublessor may be
       subject to (including, without limitation, ground leases or other prior leases of the
       demised premises, mortgages, mechanics’ Liens, tax Liens and easements);
       (c) subordination of the interest of the lessee or sublessee under such lease to any
       restrictions or encumbrance referred to in the preceding subclause (b) or (d) Liens over
       rental deposits with a lessor pursuant to a property lease entered into in the ordinary
       course of business;

               (34) Liens incurred under or in connection with lease and Sale/Leaseback
       Transactions and novations and any refinancings thereof (and Liens securing obligations
       under lease transaction documents relating thereto), including, without limitation, Liens
       over the assets which are the subject of such lease, sale and leaseback, novations,
       refinancings, assets and contract rights related thereto (including, without limitation, the
       right to receive rental rebates or deferred sale payments), sub−lease rights, insurances
       relating thereto and rental deposits;

               (35) Liens to secure Indebtedness and any related Guarantees on assets
       constituting Collateral that are junior in priority to the Liens on the Collateral securing
       the Notes;

             (36) Liens on the Collateral granted under the Security Documents in favor of
       the ABL Facility Collateral Agent and the Collateral Agent to secure the Notes, the Note
       Guarantees and any Permitted Additional Pari Passu Obligations; and

               (37) Liens arising under this Indenture in favor of the Trustee for its own
       benefit and similar Liens in favor of other trustees, agents and representatives arising
       under instruments governing Indebtedness permitted to be incurred under this Indenture,
       provided, however, that such Liens are solely for the benefit of the trustees, agents or
       representatives in their capacities as such and not for the benefit of the holders of such
       Indebtedness.

                “Permitted Parent” means any direct or indirect parent of the Issuer formed not
in connection with, or in contemplation of, a transaction that, assuming such parent was not so
formed, after giving effect thereto would constitute a Change of Control and any direct or
indirect parent of the Issuer formed in connection with an underwritten public Equity Offering.

              “Permitted Payments to Parent” means, without duplication as to amounts:



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               (1)    payments to any parent companies of the Issuer in amounts equal to the
       amounts required for any direct payment of the Issuer to pay fees and expenses (including
       franchise or similar taxes) required to maintain its corporate existence, customary salary,
       bonus and other benefits payable to officers and employees of any direct parent of the
       Issuer and general corporate overhead expenses of any direct parent of the Issuer to the
       extent such fees and expenses are attributable to the ownership or operation of the Issuer
       and its Subsidiaries; and

               (2)      for so long as the Issuer is a member of a group filing a consolidated or
       combined tax return with such parent companies, payments to such parent companies in
       respect of an allocable portion of the tax liabilities of such group that is attributable to the
       Issuer and its Subsidiaries (“Tax Payments”). The Tax Payments shall not exceed the
       lesser of (i) the amount of the relevant tax (including any penalties and interest) that the
       Issuer would owe if the Issuer were filing a separate tax return (or a separate consolidated
       or combined return with its Subsidiaries that are members of the consolidated or
       combined group), taking into account any carryovers and carrybacks of tax attributes
       (such as net operating losses) of the Issuer and such Subsidiaries from other taxable years
       and (ii) the net amount of the relevant tax that such parent companies actually owe to the
       appropriate taxing authority. Any Tax Payments received from the Issuer shall be paid
       over to the appropriate taxing authority within 30 days of such parent companies’ receipt
       of such Tax Payments or refunded to the Issuer.

                “Permitted Refinancing Indebtedness” means any Indebtedness of the Issuer or
any of its Restricted Subsidiaries issued in exchange for, or the net proceeds of which are used to
renew, refund, refinance, replace, defease or discharge other Indebtedness of the Issuer or any of
the Issuer’s Restricted Subsidiaries (other than intercompany Indebtedness); provided that:

              (1)      the principal amount (or accreted value, if applicable) of such Permitted
       Refinancing Indebtedness does not exceed the principal amount (or accreted value, if
       applicable) of the Indebtedness renewed, refunded, refinanced, replaced, defeased or
       discharged (plus any premium required to be paid on the Indebtedness being so renewed,
       refunded, replaced, defeased or discharged, plus the amount of all fees and expenses
       incurred in connection therewith);

                (2)    such Permitted Refinancing Indebtedness has a final maturity date equal to
       or later than the final maturity date of, and has a Weighted Average Life to Maturity
       equal to or greater than the remaining Weighted Average Life to Maturity of, the
       Indebtedness being renewed, refunded, refinanced, replaced, defeased or discharged;
       provided that this clause (2) shall not apply to debt under Debt Facilities;

               (3)    if the Indebtedness being renewed, refunded, refinanced, replaced,
       defeased or discharged is subordinated in right of payment to the Notes, such Permitted
       Refinancing Indebtedness has a final maturity date later than the final maturity date of,
       and is subordinated in right of payment to, the Notes on terms at least as favorable to the
       Holders as those contained in the documentation governing the Indebtedness being
       renewed, refunded, refinanced, replaced, defeased or discharged; and



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               (4)     such Permitted Refinancing Indebtedness shall not include Indebtedness of
       the Issuer or a Restricted Subsidiary of the Issuer that refinances Indebtedness of an
       Unrestricted Subsidiary.

                “Person” means any individual, corporation, partnership, joint venture,
association, joint−stock company, trust, unincorporated organization, limited liability company
or government or other entity.

               “Post Petition Interest” means any interest or entitlement to fees or expenses or
other charges that accrue after the commencement of any bankruptcy proceeding, whether or not
allowed or allowable in any such bankruptcy proceeding.

               “Private Placement Legend” means the legend set forth in Section 2.06(f)(1)
hereof to be placed on all Notes issued under this Indenture except where otherwise permitted by
the provisions of this Indenture.

                “Purchase Money Note” means a promissory note of a Receivables Subsidiary
evidencing a line of credit, which may be irrevocable, from the Issuer or any Subsidiary of the
Issuer to a Receivables Subsidiary in connection with a Qualified Receivables Financing, which
note is intended to finance that portion of the purchase price that is not paid by cash or a
contribution of equity.

               “QIB” means a “qualified institutional buyer” as defined in Rule 144A.

              “Qualified Receivables Financing” means any Receivables Financing of a
Receivables Subsidiary that meets the following conditions:

               (1)    the Board of Directors of the Issuer will have determined in good faith that
       such Qualified Receivables Financing (including financing terms, covenants, termination
       events and other provisions) is in the aggregate economically fair and reasonable to the
       Issuer and the Receivables Subsidiary,

              (2)     all sales of accounts receivable and related assets to the Receivables
       Subsidiary are made at Fair Market Value (as determined in good faith by the Issuer), and

               (3)     the financing terms, covenants, termination events and other provisions
       thereof will be market terms (as determined in good faith by the Issuer) and may include
       Standard Securitization Undertakings.

                The grant of a security interest in any accounts receivable of the Issuer or any of
its Restricted Subsidiaries (other than a Receivables Subsidiary) to secure a Debt Facility will not
be deemed a Qualified Receivables Financing. For purposes of this Indenture, a receivables
facility whether now in existence or arising in the future (and any replacement thereof with
substantially similar terms in the aggregate) will be deemed to be a Qualified Receivables
Financing that is not recourse to the Issuer (except for Standard Securitization Undertakings).

               “Rating Agency” means each of S&P and Moody’s, or if S&P or Moody’s or both
shall not make a rating on the Notes publicly available, a nationally recognized statistical rating


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organization or organizations, within the meaning of Section 3(a)(62) under the Exchange Act,
selected by the Issuer as a replacement agency or agencies for S&P or Moody’s, or both, as the
case may be.

                “Receivables Financing” means any transaction or series of transactions that may
be entered into by the Issuer or any of its Subsidiaries pursuant to which the Issuer or any of its
Subsidiaries may sell, convey or otherwise transfer to (a) a Receivables Subsidiary (in the case of
a transfer by the Issuer or any of its Subsidiaries), and (b) any other Person (in the case of a
transfer by a Receivables Subsidiary), or may grant a security interest in, any accounts receivable
(whether now existing or arising in the future) of the Issuer or any of its Subsidiaries, and any
assets related thereto including, without limitation, all collateral securing such accounts
receivable, all contracts and all Guarantees or other obligations in respect of such accounts
receivable, proceeds of such accounts receivable and other assets which are customarily
transferred or in respect of which security interests are customarily granted in connection with
asset securitization transactions involving accounts receivable and any Hedging Obligations
entered into by the Issuer or any such Subsidiary in connection with such accounts receivable.

                “Receivables Repurchase Obligation” means any obligation of a seller of
receivables in a Qualified Receivables Financing to repurchase receivables arising as a result of a
breach of a representation, warranty or covenant or otherwise, including as a result of a
receivable or portion thereof becoming subject to any asserted defense, dispute, off−set or
counterclaim of any kind as a result of any action taken by, any failure to take action by or any
other event relating to the seller.

                 “Receivables Subsidiary” means a Wholly−Owned Restricted Subsidiary of the
Issuer (or another Person formed for the purposes of engaging in a Qualified Receivables
Financing with the Issuer and to which the Issuer or any Subsidiary of the Issuer transfers
accounts receivable and related assets) which engages in no activities other than in connection
with the financing of accounts receivable of the Issuer and its Subsidiaries, all proceeds thereof
and all rights (contractual or other), collateral and other assets relating thereto, and any business
or activities incidental or related to such business, and which is designated by the Board of
Directors of the Issuer (as provided below) as a Receivables Subsidiary and:

               (1)     no portion of the Indebtedness or any other obligations (contingent or
       otherwise) of which (i) is Guaranteed by the Issuer or any other Subsidiary of the Issuer
       (excluding Guarantees of Obligations (other than the principal of, and interest on,
       Indebtedness) pursuant to Standard Securitization Undertakings), (ii) is recourse to or
       obligates the Issuer or any other Subsidiary of the Issuer in any way other than pursuant
       to Standard Securitization Undertakings, or (iii) subjects any property or asset of the
       Issuer or any other Subsidiary of the Issuer, directly or indirectly, contingently or
       otherwise, to the satisfaction thereof, other than pursuant to Standard Securitization
       Undertakings,

              (2)     with which neither the Issuer nor any other Subsidiary of the Issuer has
       any material contract, agreement, arrangement or understanding other than on terms
       which the Issuer reasonably believes to be no less favorable to the Issuer or such



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       Subsidiary than those that might be obtained at the time from Persons that are not
       Affiliates of the Issuer, and

               (3)    to which neither the Issuer nor any other Subsidiary of the Issuer has any
       obligation to maintain or preserve such entity’s financial condition or cause such entity to
       achieve certain levels of operating results. Any such designation by the Board of
       Directors of the Issuer shall be evidenced to the Trustee by filing with the Trustee a
       certified copy of the resolution of the Board of Directors of the Issuer giving effect to
       such designation and an Officer’s Certificate certifying that such designation complied
       with the foregoing conditions.

               “Refinancing Transactions” has the meaning set forth in the Offering Document.

               “Regulation S” means Regulation S promulgated under the Securities Act.

               “Regulation S Global Note” means a Global Note substantially in the form of
Exhibit A2 hereto deposited with or behalf of and registered in the name of the Depositary or its
nominee, issued in a denomination equal to the outstanding principal amount of the Notes sold in
reliance of Regulation S.

                “Related Business Assets” means assets (other than cash or Cash Equivalents)
used or useful in a Permitted Business; provided that any assets received by the Issuer or a
Restricted Subsidiary of the Issuer in exchange for assets transferred by the Issuer or a Restricted
Subsidiary of the Issuer shall not be deemed to be Related Business Assets if they consist of
securities of a Person, unless upon receipt of the securities of such Person, such Person would
become a Restricted Subsidiary of the Issuer.

               “Related Party” means:

               (1)    any controlling stockholder, partner, member, 50% (or more) owned
       Subsidiary (other than any portfolio company), or immediate family member (in the case
       of an individual) of any Equity Investor;

               (2)      any trust, corporation, partnership or other entity, the beneficiaries,
       stockholders, partners, owners or Persons beneficially holding a 50% or more controlling
       interest of which consist of any one or more Equity Investors and/or such other Persons
       referred to in the immediately preceding clause; or

               (3)     any Person with whom an Equity Investor or a Related Party (under
       clause (1) or (2) of this definition of Related Party) may be deemed as part of a “group”
       within the meaning of Section 13(d)(3) of the Exchange Act.

                “Reporting Failure” means the failure of the Issuer to hold conference calls with
respect to, or make available, post or otherwise deliver to the Trustee, within the time periods
specified in Section 4.03 (after giving effect to any grace period specified under Rule 12b−25
under the Exchange Act), the periodic reports, information, documents or other reports which the
Issuer or a parent Guarantor may be required to make available, post or otherwise deliver
pursuant to such provision.


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                “Representative” means BofA Securities, Inc., in its capacity as representative of
the several Initial Purchasers.

                “Responsible Officer” when used with respect to the Trustee, means any officer
within the corporate trust department of the Trustee, including any vice president, assistant vice
president, trust officer or any other officer of the Trustee customarily performing functions
similar to those performed by any of the above designated officers and also means, with respect
to a particular corporate trust matter, any other person to whom such matter is referred because
of such person’s knowledge of and familiarity with the particular subject and who shall have
direct responsibility for the administration of this Indenture.

              “Restricted Definitive Note” means a Definitive Note bearing the Private
Placement Legend.

               “Restricted Global Note” means a Global Note bearing the Private Placement
Legend.

               “Restricted Investment” means an Investment other than a Permitted Investment.

               “Restricted Period” means the 40−day distribution compliance period as defined
in Regulation S, as notified to the Trustee by the Issuer in writing.

                “Restricted Subsidiary” of a Person means any Subsidiary of the referent Person
that is not an Unrestricted Subsidiary. Unless otherwise indicated, when used herein, the term
“Restricted Subsidiary” shall refer to a Restricted Subsidiary of the Issuer.

               “Rule 144” means Rule 144 promulgated under the Securities Act.

               “Rule 144A” means Rule 144A promulgated under the Securities Act.

               “Rule 903” means Rule 903 promulgated under the Securities Act.

               “Rule 904” means Rule 904 promulgated under the Securities Act.

               “S&P” means S&P Global Ratings and any successor to its rating agency
business.

               “Sale/Leaseback Transaction” means an arrangement relating to property now
owned or hereafter acquired by the Issuer or a Restricted Subsidiary of the Issuer whereby the
Issuer or a Restricted Subsidiary of the Issuer transfers such property to a Person and the Issuer
or such Restricted Subsidiary leases it from such Person, other than leases between the Issuer and
a Restricted Subsidiary of the Issuer or between Restricted Subsidiaries of the Issuer.

               “SEC” means the Securities and Exchange Commission.

               “Secured Indebtedness” means any Indebtedness secured by a Lien.




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              “Secured Parties” means (i) the Holders of the Notes, (ii) the Trustee, (iii) the
Collateral Agent and (iv) any successors, indorsees, transferees and assigns of each of the
foregoing.

               “Securities Act” means the Securities Act of 1933, as amended.

               “Security Agreement” means the pledge and security agreement dated as of the
Issue Date among the Collateral Agent, for its benefit and for the benefit of the Trustee, the
Holders of the Notes and the holders of any Permitted Additional Pari Passu Obligations, the
Issuer and the Guarantors, as amended, modified, restated, supplemented or replaced from time
to time in accordance with its terms.

                “Security Documents” means the Security Agreement, any mortgages, the
Intercreditor Agreement and all of the security agreements, pledges, collateral assignments,
mortgages, deeds of trust, trust deeds or other instruments evidencing or creating or purporting to
create any security interests in favor of the Collateral Agent for its benefit and for the benefit of
the Trustee, the Holders of the Notes and the holders of any Permitted Additional Pari Passu
Obligations, in all or any portion of the Collateral, in each case as amended, modified, restated,
supplemented or replaced from time to time.

                “Senior Secured Net Leverage Ratio” means, as of any date of determination
(the “Senior Secured Net Leverage Ratio Calculation Date”), the ratio of (a) the Consolidated
Total Indebtedness of the Issuer and its Restricted Subsidiaries as of the end of the most recent
fiscal quarter for which internal financial statements are available that is secured by Liens, less
an amount equal to the amount of any cash and Cash Equivalents of the Issuer and its Restricted
Subsidiaries as of such date, to (b) Consolidated Adjusted EBITDA of the Issuer and its
Restricted Subsidiaries for the most recently ended four fiscal quarters ending immediately prior
to such date for which internal financial statements are available.

                In the event that the Issuer or any Restricted Subsidiary of the Issuer incurs,
assumes, Guarantees, redeems, repays, retires or extinguishes any Indebtedness (other than
Indebtedness incurred or repaid under any revolving credit facility unless such Indebtedness has
been permanently repaid and has not been replaced) or issues or redeems Disqualified Stock or
preferred stock subsequent to the commencement of the period for which the Senior Secured Net
Leverage Ratio is being calculated but prior to or simultaneously with the event for which the
calculation of the Senior Secured Net Leverage Ratio is made, then the Senior Secured Net
Leverage Ratio shall be calculated giving pro forma effect to such incurrence, assumption,
Guarantee, redemption, retirement or extinguishment of Indebtedness, or such issuance or
redemption of Disqualified Stock or preferred stock, as if the same had occurred immediately
prior to the end of such most recent fiscal quarter end.

                For purposes of making the computation referred to above, Investments,
acquisitions, dispositions, mergers, amalgamations, consolidations and discontinued operations
(as determined in accordance with GAAP) that have been made by the Issuer or any of its
Restricted Subsidiaries during the four−quarter reference period or subsequent to such reference
period and on or prior to or simultaneously with the Senior Secured Net Leverage Ratio
Calculation Date shall be calculated on a pro forma basis assuming that all such Investments,


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acquisitions, dispositions, mergers, amalgamations, consolidations and discontinued operations
(and the change in Consolidated Adjusted EBITDA resulting therefrom) had occurred on the first
day of the four−quarter reference period. If since the beginning of such period any Person that
subsequently became a Restricted Subsidiary of the Issuer or was merged with or into the Issuer
or any of its Restricted Subsidiaries since the beginning of such period shall have made any
Investment, acquisition, disposition, merger, amalgamation, consolidation or discontinued
operation that would have required adjustment pursuant to this definition, then the Senior
Secured Net Leverage Ratio shall be calculated giving pro forma effect thereto for such period as
if such Investment, acquisition, disposition, merger, amalgamation, consolidation or discontinued
operation had occurred at the beginning of the applicable four−quarter period. For purposes of
this definition, whenever pro forma effect is to be given to an Investment, acquisition,
disposition, merger or consolidation, the pro forma calculations shall be made in good faith by a
responsible financial or accounting officer of the Issuer (and may include, for the avoidance of
doubt, cost savings, synergies and operating expense reductions resulting from such Investment,
acquisition, merger, amalgamation or consolidation which is being given pro forma effect that
have been or are expected to be realized).

               “Significant Subsidiary” means any Subsidiary that would be a “significant
subsidiary” as defined in Article 1, Rule 1−02 of Regulation S−X, promulgated pursuant to the
Securities Act, as such Regulation is in effect on the Issue Date.

               “Standard Securitization Undertakings” means representations, warranties,
covenants, indemnities and Guarantees of performance entered into by the Issuer or any
Subsidiary of the Issuer which the Issuer has determined in good faith to be customary in a
Receivables Financing including, without limitation, those relating to the servicing of the assets
of a Receivables Subsidiary, it being understood that any Receivables Repurchase Obligation
shall be deemed to be a Standard Securitization Undertaking.

               “Stated Maturity” means, with respect to any installment of principal on any
series of Indebtedness, the date on which the final payment of principal was scheduled to be paid
in the documentation governing such Indebtedness as of the Issue Date, and will not include any
contingent obligations to repay, redeem or repurchase any such principal prior to the date
originally scheduled for the payment thereof.

               “Subsidiary” means, with respect to any specified Person:

                (1)   any corporation, association or other business entity of which more than
       50% of the total voting power of shares of Capital Stock entitled (without regard to the
       occurrence of any contingency and after giving effect to any voting agreement or
       stockholders’ agreement that effectively transfers voting power) to vote in the election of
       directors, managers or trustees of the corporation, association or other business entity is
       at the time owned or controlled, directly or indirectly, by that Person or one or more of
       the other Subsidiaries of that Person (or a combination thereof); and

               (2)    any partnership (a) the sole general partner or the managing general
       partner of which is such Person or a Subsidiary of such Person or (b) the only general




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       partners of which are that Person or one or more Subsidiaries of that Person (or any
       combination thereof).

             “TIA” means the Trust Indenture Act of 1939, as amended (15 U.S.C.
§§ 77aaa−77bbbb).

               “Total Assets” means the total consolidated assets of the Issuer and its Restricted
Subsidiaries, as shown on the most recent balance sheet of the Issuer

                “Total Non-Guarantor Assets” means the total assets of the Restricted
Subsidiaries of the Issuer that are not Guarantors, as shown on the most recent balance sheet of
the Issuer.

               “Treasury Rate” means, as of any redemption date, the yield to maturity as of
such redemption date of United States Treasury securities with a constant maturity (as compiled
and published in the most recent Federal Reserve Statistical Release H. 15(519) that has become
publicly available at least two Business Days prior to the redemption date (or, if such Statistical
Release is no longer published, any publicly available source of similar market data)) most
nearly equal to the period from the redemption date to August 1, 2021; provided, however, that if
the period from the redemption date to August 1, 2021, is less than one year, the weekly average
yield on actually traded United States Treasury securities adjusted to a constant maturity of one
year will be used.

               “Trustee” means U.S. Bank National Association until a successor replaces it in
accordance with the applicable provisions of this Indenture and thereafter means the successor
serving hereunder.

                “U.S. Dollar Equivalent” means with respect to any monetary amount in a
currency other than U.S. dollars, at any time for determination thereof, the amount of U.S.
dollars obtained by converting such foreign currency involved in such computation into U.S.
dollars at the spot rate for the purchase of U.S. dollars with the applicable foreign currency as
published in The Wall Street Journal in the “Exchange Rates” column under the heading
“Currency Trading” on the date two Business Days prior to such determination.

                “U.S. Government Securities” means direct obligations of, or obligations
Guaranteed by, the United States of America, and the payment for which the United States
pledges its full faith and credit.

               “U.S. Person” means a U.S. Person as defined in Rule 902(k) promulgated under
the Securities Act.

               “Unrestricted Definitive Note” means a Definitive Note that does not bear and is
not required to bear the Private Placement Legend.

               “Unrestricted Global Note” means a Global Note that does not bear and is not
required to bear the Private Placement Legend.

               “Unrestricted Subsidiary” means:


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              (1)    any Subsidiary of the Issuer that at the time of determination shall be
       designated an Unrestricted Subsidiary by the Board of Directors of the Issuer in the
       manner provided below;

               (2)    TPC Pipeline Holding Company LLC and TPC Pipeline Company LLC;
       provided that, for the avoidance of doubt, (i) TPC Pipeline Company LLC shall not own
       any material assets as of the Issue Date other than the Excluded Pipelines, (ii) TPC
       Pipeline Holding Company LLC shall not own any material assets as of the Issue Date
       other than the Equity Interests of TPC Pipeline Company LLC and (iii) any such
       Subsidiary shall cease to be an Unrestricted Subsidiary if the Board of Directors
       designates such Subsidiary as a Restricted Subsidiary as set forth below; and

               (3)    any Subsidiary of an Unrestricted Subsidiary.

                The Board of Directors of the Issuer may designate any Subsidiary of the Issuer
(including any newly acquired or newly formed Subsidiary of the Issuer) to be an Unrestricted
Subsidiary unless such Subsidiary or any of its Subsidiaries owns any Equity Interests or
Indebtedness of, or owns or holds any Lien on any property of, the Issuer or any other Subsidiary
of the Issuer that is not a Subsidiary of the Subsidiary to be so designated; provided, however,
that the Subsidiary to be so designated and its Subsidiaries do not at the time of designation have
and do not thereafter incur Non−Recourse Debt (other than Guarantees of performance of the
Unrestricted Subsidiary in the ordinary course of business, excluding Guarantees of Indebtedness
for borrowed money); provided further, however, that either:

                      (a) the Subsidiary to be so designated has total consolidated assets of
               $1,000 or less; or

                      (b) if such Subsidiary has consolidated assets greater than $1,000, then
               such designation would be permitted under Section 4.05 hereof.

               The Board of Directors of the Issuer may designate any Unrestricted Subsidiary to
be a Restricted Subsidiary of the Issuer; provided, however, that immediately after giving effect
to such designation:

               (x) (1) the Issuer could incur $1.00 of additional Indebtedness pursuant to
Section 4.07(a) hereof or (2) the Fixed Charge Coverage Ratio for the Issuer and its Restricted
Subsidiaries would be equal to or greater than such ratio for the Issuer and its Restricted
Subsidiaries immediately prior to such designation, in each case on a pro forma basis taking into
account such designation, and

               (y) no Event of Default shall have occurred and be continuing.

               Any such designation by the Board of Directors of the Issuer shall be evidenced to
the Trustee by promptly filing with the Trustee a copy of the resolution of the applicable Board
of Directors giving effect to such designation and an Officer’s Certificate certifying that such
designation complied with the foregoing provisions.




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              “Voting Stock” of any specified Person as of any date means the Capital Stock of
such Person that is at the time entitled to vote in the election of the Board of Directors of such
Person.

               “Weighted Average Life to Maturity” means, when applied to any Indebtedness at
any date, the number of years obtained by dividing:

               (1)      the sum of the products obtained by multiplying (a) the amount of each
        then remaining installment, sinking fund, serial maturity or other required payments of
        principal, including payment at final maturity, in respect of the Indebtedness, by (b) the
        number of years (calculated to the nearest one−twelfth) that will elapse between such
        date and the making of such payment; by

               (2)     the then outstanding principal amount of such Indebtedness.

               “Wholly-Owned Domestic Restricted Subsidiary” means any Domestic Subsidiary
that is a Wholly-Owned Restricted Subsidiary.

               “Wholly−Owned Restricted Subsidiary” of any specified Person means a
Subsidiary of such Person all of the outstanding Capital Stock or other ownership interests of
which (other than directors’ qualifying shares) will at the time be owned by such Person or by
one or more Wholly−Owned Restricted Subsidiaries of such Person.

Section 1.02   Other Definitions.

 Term                                                  Defined in Section

 “Affiliate Transaction”                                     4.09
 “After−Acquired Real Property”                              4.18
 “Alternate Offer”                                           4.12
 “Applicable Premium Deficit”                                8.04
 “Asset Sale Offer”                                          4.08
 “Authentication Order”                                      2.02
 “Change of Control Offer”                                   4.12
 “Change of Control Payment”                                 4.12
 “Change of Control Payment Date”                            4.12
 “Covenant Defeasance”                                       8.03
 “DTC”                                                       2.03
 “Event of Default”                                          6.01
 “Excess Proceeds”                                           4.08
 “Fall−Away Period”                                          4.16
 “Flood Insurance Laws”                                      4.19
 “incur”                                                    4.07(a)
 “Issuer”                                                  Preamble
 “Legal Defeasance”                                          8.02
 “Limited Condition Transaction”                             4.21
 “Mortgage Policies”                                         4.19


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 Term                                                 Defined in Section

 “Offer Period”                                             4.08
 “Paying Agent”                                             2.03
 “Payment Default”                                          6.01
 “Permitted Debt”                                          4.07(b)
 “Registrar”                                                2.03
 “Restricted Payments”                                      4.05
 “Suspended Covenants”                                      4.16
 “Title Company”                                            4.19
 “Transaction Agreement Date”                               4.21

Section 1.03   Incorporation by Reference of Trust Indenture Act.

               This Indenture is not and shall not be qualified by the TIA and no provisions of
the TIA are incorporated by reference in and made a part of this Indenture.

Section 1.04   Rules of Construction.

               Unless the context otherwise requires:

               (i)     a term has the meaning assigned to it;

               (ii)   an accounting term not otherwise defined has the meaning assigned to it in
        accordance with GAAP;

               (iii)   “or” is not exclusive;

               (iv)    words in the singular include the plural, and in the plural include the
        singular;

               (v)     “will” shall be interpreted to express a command;

               (vi)    provisions apply to successive events and transactions; and

                (vii) references to sections of or rules under the Securities Act will be deemed
        to include substitute, replacement of successor sections or rules adopted by the SEC from
        time to time.

                                           ARTICLE 2

                                           THE NOTES

Section 2.01   Form and Dating.

                (a)     General. The Notes and the Trustee’s certificate of authentication will be
substantially in the form of Exhibits A1 and A2 hereto. The Notes may have notations, legends
or endorsements required by law, stock exchange rule or usage. Each Note will be dated the date


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of its authentication. The Notes shall be in denominations of $2,000 and integral multiples of
$1,000 in excess of $2,000.

               The terms and provisions contained in the Notes will constitute, and are hereby
expressly made, a part of this Indenture and the Issuer, the Guarantors and the Trustee, by their
execution and delivery of this Indenture, expressly agree to such terms and provisions and to be
bound thereby. However, to the extent any provision of any Note conflicts with the express
provisions of this Indenture, the provisions of this Indenture shall govern and be controlling.

                (b)     Global Notes. Notes issued in global form will be substantially in the form
of Exhibits A1 or A2 hereto (including the Global Note Legend thereon and the “Schedule of
Exchanges of Interests in the Global Note” attached thereto). Definitive Notes will be
substantially in the form of Exhibit A1 hereto (but without the Global Note Legend thereon and
without the “Schedule of Exchanges of Interests in the Global Note” attached thereto). Each
Global Note will represent such of the outstanding Notes as will be specified therein and each
shall provide that it represents the aggregate principal amount of outstanding Notes from time to
time endorsed thereon and that the aggregate principal amount of outstanding Notes represented
thereby may from time to time be reduced or increased, as appropriate, to reflect exchanges and
redemptions. Any endorsement of a Global Note to reflect the amount of any increase or
decrease in the aggregate principal amount of outstanding Notes represented thereby will be
made by the Trustee or the Custodian, at the written direction of the Trustee, in accordance with
instructions given by the Holder thereof as required by Section 2.06 hereof.

                (c)     None of the Trustee or any Agent shall have any responsibility or
obligation to any beneficial owner of an interest in a Global Note, a member of, or a Participant
or Indirect Participant in, the Depositary or other Person with respect to the accuracy of the
records of the Depositary or its nominee or of any Participant or Indirect Participant in, or
member thereof, with respect to any ownership interest in the Notes or with respect to the
delivery to any Participant, Indirect Participant, member, beneficial owner or other Person (other
than the Depositary) of any notice (including any notice of redemption) or the payment of any
amount or delivery of any Notes (or other security or property) under or with respect to such
Notes. All notices and communications to be given to the Holders and all payments to be made
to Holders in respect of the Notes shall be given or made only to or upon the order of the
registered Holders (which shall be the Depositary or its nominee in the case of a Global Note).
The rights of beneficial owners in any Global Note shall be exercised only through the
Depositary subject to the Applicable Procedures of the Depositary. The Trustee and each Agent
may conclusively rely and shall be fully protected in relying upon information furnished by the
Depositary with respect to its members, Participants, Indirect Participants and any beneficial
owners. Neither the Trustee nor any Agent shall have any responsibility or liability for actions
take or not taken by the Depositary.

Section 2.02   Execution and Authentication.

               (a)     At least one Officer must sign the Notes for the Issuer by manual or
facsimile signature.




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               (b)     If an Officer whose signature is on a Note no longer holds that office at
the time a Note is authenticated, the Note will nevertheless be valid.

                (c)   A Note will not be valid until authenticated by the manual signature of the
Trustee. The signature will be conclusive evidence that the Note has been authenticated under
this Indenture.

                (d)     The Trustee will, upon receipt of a written order of the Issuer signed by
two Officers of the Issuer (an “Authentication Order”), authenticate Notes for original issue that
may be validly issued under this Indenture, including any Additional Notes. The aggregate
principal amount of Notes outstanding at any time may not exceed the aggregate principal
amount of Notes authorized for issuance by the Issuer pursuant to one or more Authentication
Orders, except as provided in Section 2.07 hereof. Subject to compliance with Sections 4.07 and
4.10 of this Indenture, the Issuer may issue an unlimited amount of Additional Notes under this
Indenture from time to time after the Issue Date having identical terms and conditions as the
Initial Notes other than the issue date, issue price, the first interest payment date and the first date
from which interest will accrue; provided that if any Additional Notes are not fungible with the
Initial Notes for U.S. federal income tax purposes, such Additional Notes will be issued as a
separate series under this Indenture and will have a separate CUSIP number and ISIN from the
Initial Notes.

                (e)     The Trustee may appoint an authenticating agent acceptable to the Issuer
to authenticate Notes. An authenticating agent may authenticate Notes whenever the Trustee may
do so. Each reference in this Indenture to authentication by the Trustee includes authentication
by such agent. An authenticating agent has the same rights as an Agent to deal with Holders or
an Affiliate of the Issuer.

Section 2.03    Registrar and Paying Agent.

              (a)     The Issuer will maintain a register of Notes at its registered office in
which the Holders of the Notes will be registered.

                (b)     The Issuer will maintain an office or agency where Notes may be
presented for registration of transfer or for exchange (“Registrar”) and an office or agency where
Notes may be presented for payment (“Paying Agent”). The Registrar will keep a register of the
Holders and the Notes and of their transfer and exchange. The Issuer may appoint one or more
co−registrars and one or more additional Paying Agents. The term “Registrar” includes any
co−registrar and the term “Paying Agent” includes any additional paying agent. The Issuer may
change any Paying Agent or Registrar without notice to any Holder. The Issuer will notify the
Trustee in writing of the name and address of any Agent not a party to this Indenture. The Issuer
or any of the Issuer’s Restricted Subsidiaries may act as Paying Agent or Registrar.

               (c)    The Issuer initially appoints The Depository Trust Company (“DTC”) to
act as Depositary with respect to the Global Notes.

              (d)      The Issuer initially appoints the Trustee to act as the Registrar and Paying
Agent with respect to the Global Notes.



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Section 2.04   Paying Agent to Hold Money in Trust.

                The Issuer will require each Paying Agent other than the Trustee to agree in
writing that the Paying Agent will hold in trust for the benefit of Holders or the Trustee all
money held by the Paying Agent for the payment of principal, premium or interest on the Notes,
and will notify the Trustee in writing of any default by the Issuer in making any such payment.
While any such default continues, the Trustee may require a Paying Agent to pay all money held
by it to the Trustee. The Issuer at any time may require a Paying Agent to pay all money held by
it to the Trustee. Upon payment over to the Trustee, the Paying Agent (if other than the Issuer or
a Subsidiary of the Issuer) will have no further liability for the money. If the Issuer or a
Subsidiary of the Issuer acts as Paying Agent, it will segregate and hold in a separate trust fund
for the benefit of the Holders all money held by it as Paying Agent. Upon any bankruptcy or
reorganization proceedings relating to the Issuer, the Trustee will serve as Paying Agent for the
Notes.

Section 2.05   Holder Lists.

                The Trustee will preserve in as current a form as is reasonably practicable the
most recent list available to it of the names and addresses of all Holders. If the Trustee is not the
Registrar, the Issuer will furnish to the Trustee at least seven Business Days before each interest
payment date and at such other times as the Trustee may request in writing, a list in such form
and as of such date as the Trustee may reasonably require of the names and addresses of the
Holders.

Section 2.06   Transfer and Exchange.

               (a)     Transfer and Exchange of Global Notes. A Global Note may not be
transferred except as a whole by the Depositary to a nominee of the Depositary, by a nominee of
the Depositary to the Depositary or to another nominee of the Depositary, or by the Depositary
or any such nominee to a successor Depositary or a nominee of such successor Depositary. All
Global Notes will be exchanged by the Issuer for Definitive Notes if:

              (1)      the Issuer delivers to the Trustee written notice from the Depositary that it
       is unwilling or unable to continue to act as Depositary or that it is no longer a clearing
       agency registered under the Exchange Act and, in either case, a successor Depositary is
       not appointed by the Issuer within 120 days after the date of such notice from the
       Depositary;

               (2)    the Issuer, at its option and subject to the procedures of the Depositary,
       determine that the Global Notes (in whole but not in part) should be exchanged for
       Definitive Notes and deliver a written notice to such effect to the Trustee; or

              (3)      there has occurred and is continuing an Event of Default with respect to
       the Notes.

               Upon the occurrence of either of the preceding events in clauses (1), (2) or (3)
above, Definitive Notes shall be issued in such names as the Depositary shall instruct the Trustee
in writing. Global Notes also may be exchanged or replaced, in whole or in part, as provided in


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Sections 2.07 and 2.10 hereof. Every Note authenticated and delivered in exchange for, or in lieu
of, a Global Note or any portion thereof, pursuant to this Section 2.06 or Section 2.07 or 2.10
hereof, shall be authenticated and delivered in the form of, and shall be, a Global Note. A Global
Note may not be exchanged for another Note other than as provided in this Section 2.06(a),
however, beneficial interests in a Global Note may be transferred and exchanged as provided in
Section 2.06(b) or (c) hereof.

                (b)      Transfer and Exchange of Beneficial Interests in the Global Notes. The
transfer and exchange of beneficial interests in the Global Notes will be effected through the
Depositary, in accordance with the provisions of this Indenture and the Applicable Procedures.
Beneficial interests in the Restricted Global Notes will be subject to restrictions on transfer
comparable to those set forth herein to the extent required by the Securities Act. Transfers of
beneficial interests in the Global Notes also will require compliance with either clause (1) or (2)
below, as applicable, as well as one or more of the other following clauses, as applicable:

               (1)     Transfer of Beneficial Interests in the Same Global Note. Beneficial
       interests in any Restricted Global Note may be transferred to Persons who take delivery
       thereof in the form of a beneficial interest in the same Restricted Global Note in
       accordance with the transfer restrictions set forth in the Private Placement Legend.

               (2)     All Other Transfers and Exchanges of Beneficial Interests in Global
       Notes. In connection with all transfers and exchanges of beneficial interests that are not
       subject to Section 2.06(b)(1) above, the transferor of such beneficial interest must deliver
       to the Registrar either:

                       (A)    both:

                              (i)     a written order from a Participant or an Indirect Participant
                                      given to the Depositary in accordance with the Applicable
                                      Procedures directing the Depositary to credit or cause to be
                                      credited a beneficial interest in another Global Note in an
                                      amount equal to the beneficial interest to be transferred or
                                      exchanged; and

                              (ii)    instructions given in accordance with the Applicable
                                      Procedures containing information regarding the
                                      Participant account to be credited with such increase; or

                       (B)    both:

                              (i)     a written order from a Participant or an Indirect Participant
                                      given to the Depositary in accordance with the Applicable
                                      Procedures directing the Depositary to cause to be issued a
                                      Definitive Note in an amount equal to the beneficial
                                      interest to be transferred or exchanged; and

                              (ii)    instructions given by the Depositary to the Registrar
                                      containing information regarding the Person in whose name


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                                      such Definitive Note shall be registered to effect the
                                      transfer or exchange referred to in clause (1) above.

                Upon satisfaction of all of the requirements for transfer or exchange of beneficial
interests in Global Notes contained in this Indenture and the Notes or otherwise applicable under
the Securities Act, the Trustee shall adjust the principal amount of the relevant Global Note(s)
pursuant to Section 2.06(g) hereof.

               (3)     Transfer of Beneficial Interests to Another Restricted Global Note. A
       beneficial interest in any Restricted Global Note may be transferred to a Person who
       takes delivery thereof in the form of a beneficial interest in another Restricted Global
       Note if the transfer complies with the requirements of Section 2.06(b)(2) above and the
       Registrar receives:

                       (A)      if the transferee will take delivery in the form of a beneficial
               interest in the 144A Global Note, then the transferor must deliver a certificate in
               the form of Exhibit B hereto, including the certifications in item (1) thereof;

                       (B)      if the transferee will take delivery in the form of a beneficial
               interest in the Regulation S Global Note, then the transferor must deliver a
               certificate in the form of Exhibit B hereto, including the certifications in item (2)
               thereof.

               (4)     Transfer and Exchange of Beneficial Interests in a Restricted Global Note
       for Beneficial Interests in an Unrestricted Global Note. A beneficial interest in any
       Restricted Global Note may be exchanged by any holder thereof for a beneficial interest
       in an Unrestricted Global Note or transferred to a Person who takes delivery thereof in
       the form of a beneficial interest in an Unrestricted Global Note if the exchange or transfer
       complies with the requirements of Section 2.06(b)(2) above and the Registrar receives the
       following:

                       (A)    if the holder of such beneficial interest in a Restricted Global Note
               proposes to exchange such beneficial interest for a beneficial interest in an
               Unrestricted Global Note, a certificate from such holder in the form of Exhibit C
               hereto, including the certifications in item (1)(a) thereof; or

                       (B)     if the holder of such beneficial interest in a Restricted Global Note
               proposes to transfer such beneficial interest to a Person who shall take delivery
               thereof in the form of a beneficial interest in an Unrestricted Global Note, a
               certificate from such holder in the form of Exhibit B hereto, including the
               certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(b)(4), if the Issuer so requests or if
       the Applicable Procedures so require, an Opinion of Counsel in form reasonably
       acceptable to the Issuer to the effect that such exchange or transfer is in compliance with
       the Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.


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       If any such transfer is effected pursuant to Section 2.06(b)(4) above at a time when an
Unrestricted Global Note has not yet been issued, the Issuer shall issue and, upon receipt of an
Authentication Order in accordance with Section 2.02 hereof, the Trustee shall authenticate one
or more Unrestricted Global Notes in an aggregate principal amount equal to the aggregate
principal amount of beneficial interests transferred pursuant to Section 2.06(b)(4) above.

        Beneficial interests in an Unrestricted Global Note cannot be exchanged for, or
transferred to Persons who take delivery thereof in the form of, a beneficial interest in a
Restricted Global Note.

               (c)     Transfer or Exchange of Beneficial Interests for Definitive Notes.

               (1)     Beneficial Interests in Restricted Global Notes to Restricted Definitive
       Notes. If any holder of a beneficial interest in a Restricted Global Note proposes to
       exchange such beneficial interest for a Restricted Definitive Note or to transfer such
       beneficial interest to a Person who takes delivery thereof in the form of a Restricted
       Definitive Note, then, upon receipt by the Registrar of the following documentation:

                       (A)     if the holder of such beneficial interest in a Restricted Global Note
               proposes to exchange such beneficial interest for a Restricted Definitive Note, a
               certificate from such holder in the form of Exhibit C hereto, including the
               certifications in item (2)(a) thereof;

                       (B)    if such beneficial interest is being transferred to a QIB in
               accordance with Rule 144A, a certificate to the effect set forth in Exhibit B
               hereto, including the certifications in item (1) thereof;

                       (C)      if such beneficial interest is being transferred to a Non−U.S.
               Person in an offshore transaction in accordance with Rule 903 or Rule 904, a
               certificate to the effect set forth in Exhibit B hereto, including the certifications in
               item (2) thereof;

                       (D)     if such beneficial interest is being transferred pursuant to an
               exemption from the registration requirements of the Securities Act in accordance
               with Rule 144, a certificate to the effect set forth in Exhibit B hereto, including
               the certifications in item (3)(a) thereof;

                       (E)     if such beneficial interest is being transferred to the Issuer or any
               of its Subsidiaries, a certificate to the effect set forth in Exhibit B hereto,
               including the certifications in item (3)(b) thereof; or

                       (F)     if such beneficial interest is being transferred pursuant to an
               effective registration statement under the Securities Act, a certificate to the effect
               set forth in Exhibit B hereto, including the certifications in item (3)(c) thereof;

       and the Trustee shall cause the aggregate principal amount of the applicable Global Note
       to be reduced accordingly pursuant to Section 2.06(g) hereof, and the Issuer shall execute
       and the Trustee shall authenticate and deliver to the Person designated in the instructions


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a Definitive Note in the appropriate principal amount. Any Definitive Note issued in
exchange for a beneficial interest in a Restricted Global Note pursuant to this
Section 2.06(c) shall be registered in such name or names and in such authorized
denomination or denominations as the holder of such beneficial interest shall instruct the
Registrar through instructions from the Depositary and the Participant or Indirect
Participant. The Trustee shall deliver such Definitive Notes to the Persons in whose
names such Notes are so registered. Any Definitive Note issued in exchange for a
beneficial interest in a Restricted Global Note pursuant to this Section 2.06(c)(1) shall
bear the Private Placement Legend and shall be subject to all restrictions on transfer
contained therein.

        (2)     Beneficial Interests in Restricted Global Notes to Unrestricted Definitive
Notes. A holder of a beneficial interest in a Restricted Global Note may exchange such
beneficial interest for an Unrestricted Definitive Note or may transfer such beneficial
interest to a Person who takes delivery thereof in the form of an Unrestricted Definitive
Note only if the Registrar receives the following:

                 (A)     if the holder of such beneficial interest in a Restricted Global Note
        proposes to exchange such beneficial interest for an Unrestricted Definitive Note,
        a certificate from such holder in the form of Exhibit C hereto, including the
        certifications in item (1)(b) thereof; or

                (B)     if the holder of such beneficial interest in a Restricted Global Note
        proposes to transfer such beneficial interest to a Person who shall take delivery
        thereof in the form of an Unrestricted Definitive Note, a certificate from such
        holder in the form of Exhibit B hereto, including the certifications in item (4)
        thereof;

and, in each such case set forth in this Section 2.06(c)(2), if the Issuer so requests or if the
Applicable Procedures so require, an Opinion of Counsel in form reasonably acceptable
to the Issuer to the effect that such exchange or transfer is in compliance with the
Securities Act and that the restrictions on transfer contained herein and in the Private
Placement Legend are no longer required in order to maintain compliance with the
Securities Act.

        (3)     Beneficial Interests in Unrestricted Global Notes to Unrestricted
Definitive Notes. If any holder of a beneficial interest in an Unrestricted Global Note
proposes to exchange such beneficial interest for a Definitive Note or to transfer such
beneficial interest to a Person who takes delivery thereof in the form of a Definitive Note,
then, upon satisfaction of the conditions set forth in Section 2.06(b)(2) hereof, the Trustee
will cause the aggregate principal amount of the applicable Global Note to be reduced
accordingly pursuant to Section 2.06(g) hereof, and the Issuer will execute and the
Trustee will authenticate and deliver to the Person designated in the instructions a
Definitive Note in the appropriate principal amount. Any Definitive Note issued in
exchange for a beneficial interest pursuant to this Section 2.06(c)(3) will be registered in
such name or names and in such authorized denomination or denominations as the holder
of such beneficial interest requests through instructions to the Registrar from or through


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the Depositary and the Participant or Indirect Participant. The Trustee will deliver such
Definitive Notes to the Persons in whose names such Notes are so registered. Any
Definitive Note issued in exchange for a beneficial interest pursuant to this
Section 2.06(c)(3) will not bear the Private Placement Legend.

       (d)     Transfer and Exchange of Definitive Notes for Beneficial Interests.

        (1)     Restricted Definitive Notes to Beneficial Interests in Restricted Global
Notes. If any Holder of a Restricted Definitive Note proposes to exchange such Note for a
beneficial interest in a Restricted Global Note or to transfer such Restricted Definitive
Notes to a Person who takes delivery thereof in the form of a beneficial interest in a
Restricted Global Note, then, upon receipt by the Registrar of the following
documentation:

               (A)     if the Holder of such Restricted Definitive Note proposes to
       exchange such Note for a beneficial interest in a Restricted Global Note, a
       certificate from such Holder in the form of Exhibit C hereto, including the
       certifications in item (2)(b) thereof;

               (B)    if such Restricted Definitive Note is being transferred to a QIB in
       accordance with Rule 144A, a certificate to the effect set forth in Exhibit B
       hereto, including the certifications in item (1) thereof;

               (C)     if such Restricted Definitive Note is being transferred to a
       Non−U.S. Person in an offshore transaction in accordance with Rule 903 or
       Rule 904, a certificate to the effect set forth in Exhibit B hereto, including the
       certifications in item (2) thereof;

              (D)     if such Restricted Definitive Note is being transferred pursuant to
       an exemption from the registration requirements of the Securities Act in
       accordance with Rule 144, a certificate to the effect set forth in Exhibit B hereto,
       including the certifications in item (3)(a) thereof;

               (E)     if such Restricted Definitive Note is being transferred to the Issuer
       or any of the Issuer’s Subsidiaries, a certificate to the effect set forth in Exhibit B
       hereto, including the certifications in item (3)(b) thereof; or

               (F)      if such Restricted Definitive Note is being transferred pursuant to
       an effective registration statement under the Securities Act, a certificate to the
       effect set forth in Exhibit B hereto, including the certifications in item (3)(c)
       thereof;

and the Trustee will cancel the Restricted Definitive Note, increase or cause to be
increased the aggregate principal amount of, in the case of clause (A) above, the
appropriate Restricted Global Note, in the case of clause (B) above, the 144A Global
Note, and in the case of clause (C) above, the Regulation S Global Note.




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               (2)     Restricted Definitive Notes to Beneficial Interests in Unrestricted Global
       Notes. A Holder of a Restricted Definitive Note may exchange such Note for a beneficial
       interest in an Unrestricted Global Note or transfer such Restricted Definitive Note to a
       Person who takes delivery thereof in the form of a beneficial interest in an Unrestricted
       Global Note only if the Registrar receives the following:

                       (A)     if the Holder of such Definitive Notes proposes to exchange such
               Notes for a beneficial interest in the Unrestricted Global Note, a certificate from
               such Holder in the form of Exhibit C hereto, including the certifications in item
               (1)(c) thereof; or

                       (B)     if the Holder of such Definitive Notes proposes to transfer such
               Notes to a Person who shall take delivery thereof in the form of a beneficial
               interest in the Unrestricted Global Note, a certificate from such Holder in the form
               of Exhibit B hereto, including the certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(d)(2), if the Issuer so requests or if
       the Applicable Procedures so require, an Opinion of Counsel in form reasonably
       acceptable to the Issuer to the effect that such exchange or transfer is in compliance with
       the Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.

       Upon satisfaction of the conditions of any of the clauses in this Section 2.06(d)(2), the
Trustee will cancel the Definitive Notes and increase or cause to be increased the aggregate
principal amount of the Unrestricted Global Note.

               (3)     Unrestricted Definitive Notes to Beneficial Interests in Unrestricted
       Global Notes. A Holder of an Unrestricted Definitive Note may exchange such Note for a
       beneficial interest in an Unrestricted Global Note or transfer such Definitive Notes to a
       Person who takes delivery thereof in the form of a beneficial interest in an Unrestricted
       Global Note at any time. Upon receipt of a request for such an exchange or transfer, the
       Trustee will cancel the applicable Unrestricted Definitive Note and increase or cause to
       be increased the aggregate principal amount of one of the Unrestricted Global Notes.

               If any such exchange or transfer from a Definitive Note to a beneficial interest is
effected pursuant to Section 2.06(d)(2), or 2.06(d)(3) above at a time when an Unrestricted
Global Note has not yet been issued, the Issuer will issue and, upon receipt of an Authentication
Order in accordance with Section 2.02 hereof, the Trustee will authenticate one or more
Unrestricted Global Notes in an aggregate principal amount equal to the principal amount of
Definitive Notes so transferred.

                (e)     Transfer and Exchange of Definitive Notes for Definitive Notes. Upon
request by a Holder of Definitive Notes and such Holder’s compliance with the provisions of this
Section 2.06(e), the Registrar will register the transfer or exchange of Definitive Notes. Prior to
such registration of transfer or exchange, the requesting Holder must present or surrender to the
Registrar the Definitive Notes duly endorsed or accompanied by a written instruction of transfer



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in form satisfactory to the Registrar duly executed by such Holder or by its attorney, duly
authorized in writing. In addition, the requesting Holder must provide any additional
certifications, documents and information, as applicable, required pursuant to the following
provisions of this Section 2.06(e).

               (1)    Restricted Definitive Notes to Restricted Definitive Notes. Any Restricted
       Definitive Note may be transferred to and registered in the name of Persons who take
       delivery thereof in the form of a Restricted Definitive Note if the Registrar receives the
       following:

                       (A)     if the transfer will be made pursuant to Rule 144A, then the
               transferor must deliver a certificate in the form of Exhibit B hereto, including the
               certifications in item (1) thereof;

                       (B)     if the transfer will be made pursuant to Rule 903 or Rule 904, then
               the transferor must deliver a certificate in the form of Exhibit B hereto, including
               the certifications in item (2) thereof; and

                        (C)     if the transfer will be made pursuant to any other exemption from
               the registration requirements of the Securities Act, then the transferor must deliver
               a certificate in the form of Exhibit B hereto, including the certifications,
               certificates and Opinion of Counsel required by item (3) thereof, if applicable.

               (2)    Restricted Definitive Notes to Unrestricted Definitive Notes. Any
       Restricted Definitive Note may be exchanged by the Holder thereof for an Unrestricted
       Definitive Note or transferred to a Person or Persons who take delivery thereof in the
       form of an Unrestricted Definitive Note if the Registrar receives the following:

                       (A)    if the Holder of such Restricted Definitive Notes proposes to
               exchange such Notes for an Unrestricted Definitive Note, a certificate from such
               Holder in the form of Exhibit C hereto, including the certifications in item (1)(d)
               thereof; or

                       (B)    if the Holder of such Restricted Definitive Notes proposes to
               transfer such Notes to a Person who shall take delivery thereof in the form of an
               Unrestricted Definitive Note, a certificate from such Holder in the form of
               Exhibit B hereto, including the certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(e)(2), if the Issuer so requests or if the
       Applicable Procedures so require, an Opinion of Counsel in form reasonably acceptable
       to the Issuer to the effect that such exchange or transfer is in compliance with the
       Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.

               (3)     Unrestricted Definitive Notes to Unrestricted Definitive Notes. A Holder
       of Unrestricted Definitive Notes may transfer such Notes to a Person who takes delivery
       thereof in the form of an Unrestricted Definitive Note. Upon receipt of a request to


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       register such a transfer, the Registrar shall register the Unrestricted Definitive Notes
       pursuant to the instructions from the Holder thereof.

               (f)    Legends. The following legends will appear on the face of all Global
Notes and Definitive Notes issued under this Indenture unless specifically stated otherwise in the
applicable provisions of this Indenture.

               (1)    Private Placement Legend.

                       (A)     Except as permitted by subparagraph (B) below, each Global Note
               and each Definitive Note (and all Notes issued in exchange therefor or
               substitution thereof) shall bear the legend in substantially the following form:

       “THE SECURITY (OR ITS PREDECESSOR) EVIDENCED HEREBY WAS
       ORIGINALLY ISSUED IN A TRANSACTION EXEMPT FROM REGISTRATION
       UNDER SECTION 5 OF THE UNITED STATES SECURITIES ACT OF 1933, AS
       AMENDED (THE “SECURITIES ACT”), AND THE SECURITY EVIDENCED
       HEREBY MAY NOT BE OFFERED, SOLD OR OTHERWISE TRANSFERRED IN
       THE ABSENCE OF SUCH REGISTRATION OR AN APPLICABLE EXEMPTION
       THEREFROM. EACH PURCHASER OF THE SECURITY EVIDENCED HEREBY IS
       HEREBY NOTIFIED THAT THE SELLER MAY BE RELYING ON THE
       EXEMPTION FROM THE PROVISIONS OF SECTION 5 OF THE SECURITIES ACT
       PROVIDED BY RULE 144A THEREUNDER. THE HOLDER OF THE SECURITY
       EVIDENCED HEREBY AGREES FOR THE BENEFIT OF THE ISSUER THAT
       (A) SUCH SECURITY MAY BE RESOLD, PLEDGED OR OTHERWISE
       TRANSFERRED, ONLY (1)(A) INSIDE THE UNITED STATES TO A PERSON
       WHO THE SELLER REASONABLY BELIEVES IS A QUALIFIED INSTITUTIONAL
       BUYER (AS DEFINED IN RULE 144A UNDER THE SECURITIES ACT)
       PURCHASING FOR ITS OWN ACCOUNT OR FOR THE ACCOUNT OF A
       QUALIFIED INSTITUTIONAL BUYER IN A TRANSACTION MEETING THE
       REQUIREMENTS OF RULE 144A UNDER THE SECURITIES ACT, (B) OUTSIDE
       THE UNITED STATES TO A FOREIGN PERSON IN A TRANSACTION MEETING
       THE REQUIREMENTS OF RULE 903 OR RULE 904 OF REGULATION S UNDER
       THE SECURITIES ACT, (C) PURSUANT TO AN EXEMPTION FROM
       REGISTRATION UNDER THE SECURITIES ACT PROVIDED BY RULE 144
       THEREUNDER (IF APPLICABLE) OR (D) IN ACCORDANCE WITH ANOTHER
       EXEMPTION FROM THE REGISTRATION REQUIREMENTS OF THE
       SECURITIES ACT (AND BASED UPON AN OPINION OF COUNSEL
       ACCEPTABLE TO THE ISSUER IF THE ISSUER SO REQUESTS), (2) TO THE
       ISSUER OR (3) PURSUANT TO AN EFFECTIVE REGISTRATION STATEMENT
       AND, IN EACH CASE, IN ACCORDANCE WITH ANY APPLICABLE SECURITIES
       LAWS OF ANY STATE OF THE UNITED STATES OR ANY OTHER APPLICABLE
       JURISDICTION AND (B) THE HOLDER WILL, AND EACH SUBSEQUENT
       HOLDER IS REQUIRED TO, NOTIFY ANY PURCHASER OF THE SECURITY
       EVIDENCED HEREBY OF THE RESALE RESTRICTIONS SET FORTH IN
       CLAUSE (A) ABOVE. NO REPRESENTATION CAN BE MADE AS TO THE



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AVAILABILITY OF THE EXEMPTION PROVIDED BY RULE 144 FOR RESALE
OF THE SECURITY EVIDENCED HEREBY.

EACH HOLDER OF THE SECURITY (OR INTEREST HEREIN) SHALL BE
DEEMED TO HAVE REPRESENTED AND WARRANTED THAT EITHER (A) NO
PORTION OF THE ASSETS USED BY SUCH HOLDER TO ACQUIRE OR HOLD
THE SECURITY (OR INTEREST HEREIN) CONSTITUTES ASSETS OF AN
EMPLOYEE BENEFIT PLAN SUBJECT TO TITLE I OF THE U.S. EMPLOYEE
RETIREMENT INCOME SECURITY ACT OF 1974, AS AMENDED (“ERISA”), A
PLAN, INDIVIDUAL RETIREMENT ACCOUNT, KEOGH PLAN OR OTHER
ARRANGEMENT THAT IS SUBJECT TO SECTION 4975 OF THE U.S. INTERNAL
REVENUE CODE OF 1986, AS AMENDED (THE “CODE”), OR PROVISIONS
UNDER ANY FEDERAL, STATE, LOCAL, NON-U.S. OR OTHER LAWS OR
REGULATIONS THAT ARE SIMILAR TO SUCH PROVISIONS OF ERISA OR THE
CODE (COLLECTIVELY, “SIMILAR LAWS”) OR (B) THE PURCHASE AND
HOLDING OF THE SECURITY (OR INTEREST HEREIN) BY SUCH HOLDER
WILL NOT CONSTITUTE OR RESULT IN A NON-EXEMPT PROHIBITED
TRANSACTION UNDER SECTION 406 OF ERISA OR SECTION 4975 OF THE
CODE OR SIMILAR VIOLATION UNDER ANY APPLICABLE SIMILAR LAWS,
AND NONE OF THE ISSUER, THE INITIAL PURCHASERS, THE GUARANTORS
NOR ANY OF THEIR RESPECTIVE AFFILIATES IS A FIDUCIARY OF SUCH
HOLDER IN CONNECTION WITH THE PURCHASE AND HOLDING OF THE
SECURITY (OR INTEREST HEREIN).”

               (B)     Notwithstanding the foregoing, any Global Note or Definitive Note
       issued pursuant to clauses (b)(4), (c)(2), (c)(3), (d)(2), (d)(3), (e)(2) or (e)(3) of
       this Section 2.06 (and all Notes issued in exchange therefor or substitution
       thereof) will not bear the Private Placement Legend.

        (2)    Global Note Legend. Each Global Note will bear a legend in substantially
the following form:

“THIS GLOBAL NOTE IS HELD BY THE DEPOSITARY (AS DEFINED IN THE
INDENTURE GOVERNING THIS NOTE) OR ITS NOMINEE IN CUSTODY FOR
THE BENEFIT OF THE BENEFICIAL OWNERS HEREOF, AND IS NOT
TRANSFERABLE TO ANY PERSON UNDER ANY CIRCUMSTANCES EXCEPT
THAT (1) THE TRUSTEE MAY MAKE SUCH NOTATIONS HEREON AS MAY BE
REQUIRED PURSUANT TO SECTION 2.01 AND SECTION 2.06 OF THE
INDENTURE, (2) THIS GLOBAL NOTE MAY BE EXCHANGED IN WHOLE BUT
NOT IN PART PURSUANT TO SECTION 2.06(a) OF THE INDENTURE, (3) THIS
GLOBAL NOTE MAY BE DELIVERED TO THE TRUSTEE FOR CANCELLATION
PURSUANT TO SECTION 2.11 OF THE INDENTURE AND (4) THIS GLOBAL
NOTE MAY BE TRANSFERRED TO A SUCCESSOR DEPOSITARY WITH THE
PRIOR WRITTEN CONSENT OF THE ISSUER.

UNLESS AND UNTIL IT IS EXCHANGED IN WHOLE OR IN PART FOR NOTES
IN DEFINITIVE FORM, THIS NOTE MAY NOT BE TRANSFERRED EXCEPT AS A


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       WHOLE BY THE DEPOSITARY TO A NOMINEE OF THE DEPOSITARY OR BY A
       NOMINEE OF THE DEPOSITARY TO THE DEPOSITARY OR ANOTHER
       NOMINEE OF THE DEPOSITARY OR BY THE DEPOSITARY OR ANY SUCH
       NOMINEE TO A SUCCESSOR DEPOSITARY OR A NOMINEE OF SUCH
       SUCCESSOR DEPOSITARY. UNLESS THIS CERTIFICATE IS PRESENTED BY
       AN AUTHORIZED REPRESENTATIVE OF THE DEPOSITORY TRUST
       COMPANY (“DTC”), TO THE ISSUER OR ITS AGENT FOR REGISTRATION OF
       TRANSFER, EXCHANGE OR PAYMENT, AND ANY CERTIFICATE ISSUED IS
       REGISTERED IN THE NAME OF CEDE & CO. OR SUCH OTHER NAME AS MAY
       BE REQUESTED BY AN AUTHORIZED REPRESENTATIVE OF DTC (AND ANY
       PAYMENT IS MADE TO CEDE & CO. OR SUCH OTHER ENTITY AS MAY BE
       REQUESTED BY AN AUTHORIZED REPRESENTATIVE OF DTC), ANY
       TRANSFER, PLEDGE OR OTHER USE HEREOF FOR VALUE OR OTHERWISE
       BY OR TO ANY PERSON IS WRONGFUL INASMUCH AS THE REGISTERED
       OWNER HEREOF, CEDE & CO., HAS AN INTEREST HEREIN.”

                (g)     Cancellation and/or Adjustment of Global Notes. At such time as all
beneficial interests in a particular Global Note have been exchanged for Definitive Notes or a
particular Global Note has been redeemed, repurchased or canceled in whole and not in part,
each such Global Note will be returned to or retained and canceled by the Trustee in accordance
with Section 2.11 hereof. At any time prior to such cancellation, if any beneficial interest in a
Global Note is exchanged for or transferred to a Person who will take delivery thereof in the
form of a beneficial interest in another Global Note or for Definitive Notes, the principal amount
of Notes represented by such Global Note will be reduced accordingly and an endorsement will
be made on such Global Note by the Trustee or by the Depositary at the direction of the Trustee
to reflect such reduction; and if the beneficial interest is being exchanged for or transferred to a
Person who will take delivery thereof in the form of a beneficial interest in another Global Note,
such other Global Note will be increased accordingly and an endorsement will be made on such
Global Note by the Trustee or by the Depositary at the direction of the Trustee to reflect such
increase.

               (h)     General Provisions Relating to Transfers and Exchanges.

              (1)     To permit registrations of transfers and exchanges, the Issuer will execute
       and the Trustee will authenticate Global Notes and Definitive Notes upon receipt of an
       Authentication Order in accordance with Section 2.02 hereof or at the Registrar’s request.

               (2)     No service charge will be made to a holder of a beneficial interest in a
       Global Note or to a Holder of a Definitive Note for any registration of transfer or
       exchange, but the Issuer may require payment of a sum sufficient to cover any transfer
       tax or similar governmental charge payable in connection therewith (other than any such
       transfer taxes or similar governmental charge payable upon exchange or transfer pursuant
       to Sections 2.10, 3.06, 4.08, 4.12 and 9.05 hereof).

             (3)     The Registrar will not be required to register the transfer of or exchange of
       any Note selected for redemption in whole or in part, except the unredeemed portion of
       any Note being redeemed in part.


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               (4)     All Global Notes and Definitive Notes issued upon any registration of
       transfer or exchange of Global Notes or Definitive Notes will be the valid obligations of
       the Issuer, evidencing the same debt, and entitled to the same benefits under this
       Indenture, as the Global Notes or Definitive Notes surrendered upon such registration of
       transfer or exchange.

               (5)    Neither the Registrar nor the Issuer will be required:

                       (A)    to issue, to register the transfer of or to exchange any Notes during
               a period beginning at the opening of business 15 days before the giving of a
               notice of redemption of Notes to be redeemed under Section 3.02 hereof or
               purchased pursuant to an offer to purchase and ending at the close of business on
               the day such notice of redemption is given;

                     (B)     to register the transfer of or to exchange any Note selected for
               redemption in whole or in part, except the unredeemed portion of any Note being
               redeemed in part; or

                      (C)     to register the transfer of or to exchange a Note between a record
               date and the next succeeding interest payment date.

               (6)     Prior to due presentment for the registration of a transfer of any Note, the
       Trustee, any Agent and the Issuer may deem and treat the Person in whose name any
       Note is registered as the absolute owner of such Note for the purpose of receiving
       payment of principal of and interest on such Notes and for all other purposes, and none of
       the Trustee, any Agent or the Issuer shall be affected by notice to the contrary.

              (7)    The Trustee will authenticate Global Notes and Definitive Notes in
       accordance with the provisions of Section 2.02 hereof.

              (8)     All certifications, certificates and Opinions of Counsel required to be
       submitted to the Registrar pursuant to this Section 2.06 to effect a registration of transfer
       or exchange may be submitted by facsimile.

               (9)     Neither the Trustee nor any Agent shall have any obligation or duty to
       monitor, determine or inquire as to compliance with any tax or securities laws with
       respect to any restrictions on transfer imposed under this Indenture or under applicable
       law (including any transfers between or among Depositary Participants, Indirect
       Participants, members or beneficial owners in any Global Note) other than to require
       delivery of such certificates and other documentation or evidence as are expressly
       required by, and to do so if and when expressly required by, the terms of this Indenture,
       and to examine the same to determine substantial compliance as to form with the express
       requirements hereof.

Section 2.07   Replacement Notes.

               (a)    If any mutilated Note is surrendered to the Trustee or the Issuer and the
Trustee receives evidence to its satisfaction of the destruction, loss or theft of any Note, the


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Issuer will issue and the Trustee, upon receipt of an Authentication Order, will authenticate a
replacement Note if the Trustee’s requirements are met. An indemnity bond must be supplied by
the Holder that is sufficient in the judgment of the Trustee and the Issuer to protect the Issuer, the
Trustee, any Agent and any authenticating agent from any loss that any of them may suffer if a
Note is replaced. The Issuer may charge for its expenses in replacing a Note.

                (b)      Every replacement Note is an additional obligation of the Issuer and will
be entitled to all of the benefits of this Indenture equally and proportionately with all other Notes
duly issued hereunder.

Section 2.08   Outstanding Notes.

                 (a)    The Notes outstanding at any time are all the Notes authenticated by the
Trustee except for those canceled by it, those delivered to it for cancellation, those reductions in
the interest in a Global Note effected by the Trustee in accordance with the provisions hereof,
and those described in this Section 2.08 as not outstanding. Except as set forth in Section 2.09
hereof, a Note does not cease to be outstanding because the Issuer or an Affiliate of the Issuer
holds the Note; however, Notes held by the Issuer or a Subsidiary of the Issuer shall not be
deemed to be outstanding for purposes of Section 3.07(a) and Section 9.02(a) hereof.

               (b)    If a Note is replaced pursuant to Section 2.07 hereof, it ceases to be
outstanding unless the Trustee receives proof satisfactory to it that the replaced Note is held by a
protected purchaser.

                (c)     If the principal amount of any Note is considered paid under Section 4.01
hereof, it ceases to be outstanding and interest on it ceases to accrue.

                (d)    If the Paying Agent (other than the Issuer, a Subsidiary of the Issuer or an
Affiliate of any thereof) holds, on a redemption date or maturity date, money sufficient to pay
Notes payable on that date, then on and after that date such Notes will be deemed to be no longer
outstanding and will cease to accrue interest.

Section 2.09   Treasury Notes.

                In determining whether the Holders of the required principal amount of Notes
have concurred in any direction, waiver or consent, Notes owned by the Issuer or any Guarantor,
or by any Person directly or indirectly controlling or controlled by or under direct or indirect
common control with the Issuer or any Guarantor, will be considered as though not outstanding,
except that for the purposes of determining whether the Trustee will be protected in relying on
any such direction, waiver or consent, only Notes that a Responsible Officer of the Trustee
actually knows are so owned will be so disregarded.

Section 2.10   Temporary Notes.

                (a)     Until certificates representing Notes are ready for delivery, the Issuer may
prepare and the Trustee, upon receipt of an Authentication Order, will authenticate temporary
Notes. Temporary Notes will be substantially in the form of certificated Notes but may have
variations that the Issuer considers appropriate for temporary Notes and as may be reasonably


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acceptable to the Trustee. Without unreasonable delay, the Issuer will prepare and the Trustee
will authenticate definitive Notes in exchange for temporary Notes.

               (b)    Holders of temporary Notes will be entitled to all of the benefits of this
Indenture.

Section 2.11   Cancellation.

                The Issuer at any time may deliver Notes to the Trustee for cancellation. The
Registrar and Paying Agent will forward to the Trustee any Notes surrendered to them for
registration of transfer, exchange or payment. The Trustee and no one else will cancel all Notes
surrendered for registration of transfer, exchange, payment, replacement or cancellation and will
dispose of such canceled Notes in its customary manner (subject to the record retention
requirement of the Exchange Act). Certification of the disposition of all canceled Notes will be
delivered to the Issuer at the Issuer’s written request. The Issuer may not issue new Notes to
replace Notes that it has paid or that have been delivered to the Trustee for cancellation.

Section 2.12   Defaulted Interest.

                If the Issuer defaults in a payment of interest on the Notes, it will pay the
defaulted interest in any lawful manner plus, to the extent lawful, interest payable on the
defaulted interest, to the Persons who are Holders on a subsequent special record date, in each
case at the rate provided in the Notes and in Section 4.01 hereof. The Issuer will notify the
Trustee in writing of the amount of defaulted interest proposed to be paid on each Note and the
date of the proposed payment. The Issuer will fix or cause to be fixed each such special record
date and payment date; provided that no such special record date may be less than ten days prior
to the related payment date for such defaulted interest. At least 15 days before the special record
date, the Issuer (or, upon the written request of the Issuer, the Trustee in the name and at the
expense of the Issuer) will mail or cause to be mailed, or otherwise deliver notice in accordance
with the applicable procedures of DTC, to Holders a notice that states the special record date, the
related payment date and the amount of such interest to be paid.

Section 2.13   CUSIP Numbers.

                 The Issuer in issuing the Notes may use “CUSIP” numbers (if then generally in
use), and, if so, the Trustee shall use “CUSIP” numbers in notices of redemption as a
convenience to Holders; provided that any such notice may state that no representation is made
as to the correctness of such numbers either as printed on the Notes or as contained in any notice
of a redemption and that reliance may be placed only on the other identification numbers printed
on the Notes, and any such redemption shall not be affected by any defect in or omission of such
numbers. The Issuer will promptly notify the Trustee in writing of any change in the “CUSIP”
numbers.

                                           ARTICLE 3

                               REDEMPTION AND PREPAYMENT

Section 3.01   Notices to Trustee.


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                If the Issuer elects to redeem Notes pursuant to the optional redemption
provisions of Section 3.07 hereof, it must furnish to the Trustee, at least 30 days but not more
than 60 days before a redemption date, or such shorter notice period as the Trustee and Issuer
shall agree, an Officer’s Certificate setting forth:

               (1)     the clause of this Indenture pursuant to which the redemption shall occur;

               (2)     the redemption date;

               (3)     the principal amount of Notes to be redeemed;

               (4)     the redemption price; and

               (5)     the applicable CUSIP Numbers.

Section 3.02   Selection of Notes to Be Redeemed.

               (a)      If less than all of the Notes are to be redeemed at any time, the Trustee
will select Notes for redemption on a pro rata basis (or, in the case of notes in global form, the
notes represented thereby will be selected in accordance with DTC’s prescribed method), and in
any case in accordance with DTC procedures to the extent applicable.

               (b)     In the event of partial redemption or purchase by lot, the particular Notes
to be redeemed or purchased will be selected, unless otherwise provided herein, not less than 30
nor more than 60 days prior to the redemption date by the Trustee from the outstanding Notes
not previously called for redemption.

                (c)    The Trustee will promptly notify the Issuer in writing of the Notes
selected for redemption and, in the case of any Note selected for partial redemption or purchase,
the principal amount thereof to be redeemed. Notes and portions of Notes selected will be in
amounts of $2,000 or whole multiples of $1,000 in excess of $2,000; provided that no Notes of
$2,000 or less shall be redeemed in part. Except as provided in the preceding sentence,
provisions of this Indenture that apply to Notes called for redemption also apply to portions of
Notes called for redemption.

Section 3.03   Notice of Redemption.

                (a)    At least 15 days but not more than 60 days before a redemption date, the
Issuer will mail or cause to be mailed, by first class mail or otherwise deliver in accordance with
the applicable procedures of DTC, a notice of redemption to each Holder whose Notes are to be
redeemed at its registered address, except that redemption notices may be mailed or otherwise
delivered in accordance with the applicable procedures of DTC more than 60 days prior to a
redemption date if the notice is issued in connection with a defeasance of the Notes or a
satisfaction and discharge of this Indenture pursuant to Articles 8 or 11 hereof.

             (b)      The notice will identify the Notes (including CUSIP Numbers) to be
redeemed and will state:



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               (1)     the redemption date;

               (2)     the redemption price;

              (3)     if any Note is being redeemed in part, the portion of the principal amount
       of such Note to be redeemed and that, after the redemption date upon surrender of such
       Note, a new Note or Notes in principal amount equal to the unredeemed portion will be
       issued upon cancellation of the original Note;

               (4)     the name and address of the Trustee;

               (5)     that Notes called for redemption must be surrendered to the Trustee to
       collect the redemption price;

               (6)    that, unless the Issuer defaults in making such redemption payment,
       interest on Notes called for redemption ceases to accrue on and after the redemption date;

              (7)    the paragraph of the Notes and/or Section of this Indenture pursuant to
       which the Notes called for redemption are being redeemed;

             (8)   that no representation is made as to the correctness or accuracy of the
       CUSIP number, if any, listed in such notice or printed on the Notes; and

               (9)     any condition to the related redemption, if any.

                (c)    At the Issuer’s written request, the Trustee will give the notice of
redemption in the Issuer’s name and at its expense; provided, however, that the Issuer has
delivered to the Trustee, at least 45 days prior to the redemption date (or such shorter period of
time that is agreed upon by the Issuer and the Trustee), an Officer’s Certificate requesting that
the Trustee give such notice and setting forth the information to be stated in such notice as
provided in Section 3.03(b).

Section 3.04   Effect of Notice of Redemption.

                 Once notice of redemption is sent in accordance with Section 3.03 hereof, Notes
called for redemption become irrevocably due and payable on the redemption date at the
redemption price, except as provided for in Section 3.07(e) hereof. The notice, if sent in
accordance with Section 3.03 hereof, shall be conclusively presumed to have been given,
whether or not the Holder receives such notice. In any case, failure to send such notice or any
defect in the notice to the Holder designated for redemption in whole or in part shall not affect
the validity of the proceedings for the redemption of any other Note.

Section 3.05   Deposit of Redemption Price.

               (a)      One Business Day prior to the redemption date, the Issuer will deposit
with the Trustee or with the Paying Agent money sufficient to pay the redemption price of and
accrued interest on all Notes to be redeemed on that date. The Trustee or the Paying Agent will
promptly return to the Issuer any money deposited with the Trustee or the Paying Agent by the


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Issuer in excess of the amounts necessary to pay the redemption price of, and accrued interest on,
all Notes to be redeemed.

               (b)     If the Issuer complies with the provisions of Section 3.05(a), on and after
the redemption date, interest will cease to accrue on the Notes or the portions of Notes called for
redemption. If a Note is redeemed on or after an interest record date but on or prior to the related
interest payment date, then any accrued and unpaid interest shall be paid to the Person in whose
name such Note was registered at the close of business on such record date. If any Note called
for redemption is not so paid upon surrender for redemption because of the failure of the Issuer
to comply with Section 3.05(a), interest shall be paid on the unpaid principal, from the
redemption date until such principal is paid, and to the extent lawful on any interest not paid on
such unpaid principal, in each case at the rate provided in the Notes and in Section 4.01 hereof.

Section 3.06   Notes Redeemed in Part.

                Upon surrender of a Note that is redeemed in part, the Issuer will issue and, upon
receipt of an Authentication Order, the Trustee will authenticate for the Holder at the expense of
the Issuer a new Note equal in principal amount to the unredeemed or unpurchased portion of the
Note surrendered, provided that each new Note will be in a principal amount of $2,000 or an
integral multiple of $1,000 in excess of $2,000. It is understood that, notwithstanding anything
in this Indenture to the contrary, only an Authentication Order and not an Opinion of Counsel or
Officer’s Certificate is required for the Trustee to authenticate such new Note.

Section 3.07   Optional Redemption.

               (a)      At any time prior to August 1, 2021, the Issuer may on any one or more
occasions redeem up to 35% of the aggregate principal amount of Notes issued under this
Indenture (including any Additional Notes) at a redemption price of 110.50% of the principal
amount thereof, plus accrued and unpaid interest on the Notes redeemed to, but not including, the
redemption date (subject to the right of Holders on the relevant record date to receive interest due
on the relevant interest payment date), with the net cash proceeds of one or more Equity
Offerings; provided that:

              (1)     at least 50% of the aggregate principal amount of Notes issued under this
       Indenture (including any Additional Notes issued after the Issue Date, but excluding
       Notes held by the Issuer and its Subsidiaries) remains outstanding immediately after the
       occurrence of such redemption (unless all of such Notes are redeemed); and

              (2)    the redemption occurs within 180 days of the date of the closing of such
       Equity Offering.

                Except pursuant to this Section 3.07(a) or as otherwise set forth below, the Notes
will not be redeemable at the Issuer’s option prior to August 1, 2021. The Issuer will not,
however, be prohibited from acquiring the Notes by means other than a redemption, whether
pursuant to a tender offer, open market purchase or otherwise, so long as the acquisition does not
violate the terms of this Indenture.




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                (b)     On or after August 1, 2021, the Issuer may redeem all or a part of the
Notes, at the redemption prices (expressed as percentages of principal amount) set forth below
plus accrued and unpaid interest, if any, on the Notes redeemed to, but not including, the
applicable redemption date, if redeemed during the 12−month period beginning on August 1 of
the years indicated below, subject to the rights of Holders on the relevant record date to receive
interest due on the relevant interest payment date:

         Year                                                           Percentage
         2021                                                           107.875%
         2022                                                           103.938%
         2023 and thereafter                                            100.000%

               Unless the Issuer defaults in the payment of the redemption price or unless any
condition to the redemption described in the notice of redemption is not satisfied, interest will
cease to accrue on the Notes or portions thereof called for redemption on the applicable
redemption date.

               (c)      At any time prior to August 1, 2021, the Issuer may also redeem all or a
part of the Notes, at a redemption price equal to 100% of the aggregate principal amount thereof
plus the Applicable Premium as of, and accrued and unpaid interest, if any, on the Notes to be
redeemed to, but not including, the date of redemption (subject to the rights of Holders on the
relevant record date to receive interest due on the relevant interest payment date).

              (d)    Any redemption pursuant to this Section 3.07 shall be made pursuant to
and in compliance with the provisions of Sections 3.01 through 3.06 hereof.

               (e)

                       (A)     Any notice of redemption made in connection with a related
               transaction or event (including an Equity Offering, contribution, Change of
               Control, Asset Sale or other transaction) may, at the Issuer’s discretion, be given
               prior to the completion or the occurrence thereof, and any such redemption or
               notice may, at the Issuer’s discretion, be subject to one or more conditions
               precedent, including, but not limited to, the completion or occurrence of the
               related transaction or event, as the case may be.

                       (B)      The Issuer may redeem Notes pursuant to one or more of the
               relevant provisions hereof, and a single notice of redemption may be delivered
               with respect to redemptions made pursuant to different provisions. Any such
               notice may provide that redemptions made pursuant to different provisions will
               have different redemption dates. In addition, if such redemption is subject to
               satisfaction of one or more conditions precedent, such notice will describe each
               such condition, and if applicable, will state that, in the Issuer’s discretion, the
               redemption date may be delayed until such time (including more than 60 days
               after the date the notice of redemption was mailed or delivered, including by
               electronic transmission) as any or all such conditions are satisfied (or waived by
               the Issuer in its sole discretion), or that such redemption may not occur and such


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               notice may be rescinded in the event that any or all such conditions are not
               satisfied (or waived by the Issuer in its sole discretion) by the redemption date, or
               by the redemption date as so delayed, or that such notice may be rescinded at any
               time in the Issuer’s discretion if in the good faith judgment of the Issuer any of all
               of such conditions will not be satisfied. In addition, the Issuer may provide in
               such notice that payment of the redemption price and performance of the Issuer’s
               obligations with respect to such redemption may be performed by another Person.

                       (C)     In no event will the Trustee be responsible for monitoring, or
               charged with knowledge of, the maximum aggregate amount of Notes eligible
               under this Indenture to be redeemed. Notes will remain outstanding until
               redeemed, notwithstanding that they have been called for redemption or are
               subject to a notice of redemption.

Section 3.08   Mandatory Redemption.

              The Issuer shall not be required to make mandatory redemption or sinking fund
payments with respect to the Notes.

Section 3.09   Calculation of Redemption Price

              Neither the Trustee nor any Agent shall have an obligation to calculate the
redemption price of any Notes.

                                            ARTICLE 4

                                           COVENANTS

Section 4.01   Payment of Notes.

                (a)    The Issuer will pay or cause to be paid the principal of, premium, if any,
and interest on the Notes on the dates and in the manner provided in the Notes. Principal,
premium, if any, and interest will be considered paid on the date due if the Paying Agent, if other
than the Issuer or a Subsidiary of the Issuer, holds as of 10:00 a.m. New York City Time on the
Business Day immediately preceding the due date money deposited by the Issuer in immediately
available funds and designated for and sufficient to pay all principal of, premium, if any, and
interest, then due.

                (b)     The Issuer will pay interest on overdue principal at the rate specified
therefor in the Notes, and it shall pay interest on overdue installments of interest at the same rate
borne by the Notes to the extent lawful.

Section 4.02   Maintenance of Office or Agency.

               (a)     The Issuer will maintain in the Borough of Manhattan, the City of New
York, an office or agency (which may be an office of the Trustee or an affiliate of the Trustee,
Registrar or co−registrar) where Notes may be surrendered for registration of transfer or for
exchange and where notices and demands to or upon the Issuer (other than the type contemplated


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by Section 14.13) in respect of the Notes and this Indenture may be served. The Issuer will give
prompt written notice to the Trustee of the location, and any change in the location, of such
office or agency. If at any time the Issuer fails to maintain any such required office or agency or
fails to furnish the Trustee with the address thereof, such presentations, surrenders, notices and
demands may be made or served at the Corporate Trust Office of the Trustee.

                (b)    The Issuer may also from time to time designate one or more other offices
or agencies where the Notes may be presented or surrendered for any or all such purposes and
may from time to time rescind such designations; provided, however, that no such designation or
rescission will in any manner relieve the Issuer of its obligation to maintain an office or agency
in the Borough of Manhattan, the City of New York for such purposes. The Issuer will give
prompt written notice to the Trustee of any such designation or rescission and of any change in
the location of any such other office or agency.

               (c)    The Issuer hereby designates the Corporate Trust Office of the Trustee as
one such office or agency of the Issuer in accordance with Section 2.03 hereof.

Section 4.03   Reports.

               (a)     So long as any Notes are outstanding, the Issuer shall make available
without cost to the Trustee:

               (1)     as soon as available but within 90 days after the end of each financial year
       of the Issuer, all annual financial statements that would be required to be contained in a
       filing with the SEC on Form 10-K of the Issuer, plus a “Management’s Discussion and
       Analysis of Financial Condition and Results of Operations”, a presentation of EBITDA
       and Adjusted EBITDA of the Issuer substantially consistent with the presentation thereof
       in the Offering Document and derived from such financial information and a report on
       the annual financial statements by the Issuer’s independent registered public accounting
       firm;

               (2)     as soon as available but within 45 days after the end of each of the first
       three fiscal quarters of each financial year of the Issuer, all quarterly financial statements
       that would be required to be contained in a filing with the SEC on Form 10- Q of the
       Issuer, plus a “Management’s Discussion and Analysis of Financial Condition and
       Results of Operations” and a presentation of EBITDA and Adjusted EBITDA of the
       Issuer substantially consistent with the presentation thereof in the Offering Document and
       derived from such financial information; and

               (3)     promptly from time to time after the occurrence of an event required to be
       therein reported, such other reports (in each case, without exhibits) containing
       substantially the same information required to be contained in a Current Report on
       Form 8-K under Item 1.01 (Entry into a Material Definitive Agreement), 1.03
       (Bankruptcy or Receivership), 2.01 (Completion of Acquisition or Disposition of Assets),
       2.03 (Creation of a Direct Financial Obligation or an Obligation under an Off-Balance
       Sheet Arrangement of a Registrant), 2.04 (Triggering Events That Accelerate or Increase
       a Direct Financial Obligation or an Obligation under an Off-Balance Sheet Arrangement),



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4.02 (Non-Reliance on Previously Issued Financial Statements or a Related Audit Report
or Completed Interim Review), 5.01 (Changes in Control of Registrant), 5.02(a)(1) and
(c)(1) (Departure of Directors or Certain Officers; Election of Directors; Appointment of
Certain Officers) and 5.03(b) (Changes in Fiscal Year); provided, however, that no report
in this clause (3) shall be required to be furnished if the Issuer determines in its good faith
judgment that such event is not material to the Holders or the business, assets, operations,
financial position or prospects of the Issuer and the Restricted Subsidiaries of the Issuer.

       (b)     With respect to the reports required to be furnished by Section 4.03(a):

               (1)     no such reports referenced under clause (iii) above will be required
       to include as an exhibit or summary of terms of, any employment or
       compensatory arrangement agreement, plan or understanding between the Issuer
       (or any of its Subsidiaries) and any director, manager or executive officer, of the
       Issuer (or any of its Subsidiaries);

              (2)    in no event will such reports be required to comply with Section
       302, Section 404 or Section 906 of the Sarbanes-Oxley Act of 2002, or related
       Items 307 and 308 of Regulation S-K promulgated by the SEC;

              (3)    in no event will such report be required to comply with Item 302 of
       Regulation S-K promulgated by the SEC;

               (4)     in no event will such reports be required to comply with Rule 3-10
       of Regulation S-X promulgated by the SEC or contain separate financial
       statement for the Issuer, the Guarantors or other Subsidiaries the shares of which
       may be pledged to secure the notes or any Guarantee that would be required under
       (i) Section 3-09 of Regulation S-X or (ii) Section 3-16 of Regulation S-X,
       respectively, promulgated by the SEC;

              (5)     in no event will such reports be required to comply with
       Regulation G under the Exchange Act or Item 10(e) of Regulation S-K
       promulgated by the SEC with respect to any non-GAAP financial measures
       contained therein;

               (6)     no such reports referenced under clause (iii) above will be required
       to be furnished if the Issuer determined in its good faith judgment that such event
       is not material to the holders or the business, assets, operations or financial
       position of the Issuer and its Restricted Subsidiaries, taken as a whole;

               (7)     in no event will such reports be required to comply with Item 601
       of Regulation S-K promulgated by the SEC (with respect to exhibits) or, with
       respect to reports reference in clause (iii) above, to include as an exhibit copies of
       any agreements, financial statements or other items that would be required to be
       filed as exhibits to a current report on Form 8-K;




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                      (8)     trade secrets and other confidential information that is
               competitively sensitive in the good faith and reasonable determination of the
               Issuer may be excluded from any disclosure;

                      (9)     such information will not be required to include information that is
               not otherwise similar to information contained in the Offering Document;

                      (10) to the extent that the Issuer is not a reporting company under the
               Exchange Act, in no event will such reports be required to be presented in
               compliance with the requirements of the Public Company Accounting Oversight
               Board; and

                     (11) in no event will such reports contain compensation or beneficial
               ownership information.

                (c)     The Issuer will hold a quarterly conference call for the Holders of the
Notes, securities analysts and prospective investors to discuss financial information for the
previous fiscal quarter or previous fiscal year, as applicable, to be held as soon as reasonably
practicable after furnishing or posting the financial information as set forth in 4.03(a). No fewer
than three days prior to the conference call, the Issuer shall post on its website the time and date
of such conference call and provide instructions for Holders of Notes, securities analysts and
prospective investors to obtain access to such call.

                (d)    For so long as any Notes remain outstanding, if at any time they are not
required furnish the information required by Section 4.03(a), the Issuer and the Guarantors will
furnish to the Holders and to prospective purchasers of the Notes or beneficial owner of the
Notes in connection with any sale thereof, upon their request, the information required to be
delivered pursuant to Rule 144A(d)(4) under the Securities Act.

                (e)    In the event that any direct or indirect parent of the Issuer becomes a
Guarantor of the Notes, the Issuer may satisfy its obligations under this Section 4.03 with respect
to financial information relating to the Issuer by furnishing financial information relating to such
parent; provided that the same is accompanied by information that explains in reasonable detail
the differences between the information relating to such parent, on the one hand, and the
information relating to the Issuer and its Restricted Subsidiaries on a standalone basis, on the
other hand.

                (f)      Notwithstanding the foregoing, the requirements of this Section 4.03 shall
be deemed satisfied by posting reports on the (i) Issuer’s website (or on the publicly available
website of any of its parent companies or Subsidiaries) or (ii) a password-protected online data
system that will require a confidentiality acknowledgment, including Intralinks, SyndTrak or
ClearPar provided that access shall also be granted to any bona fide prospective investor, any
securities analyst (to the extent providing analysis of investment in the notes) or any market
maker in the notes who agrees to treat such information as confidential) containing the financial
information (including a “Management’s Discussion and Analysis of Financial Condition and
Results of Operations” section) that would be required to be included in such reports, subject to
exceptions consistent with the presentation of financial information in the Offering Document.



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                (g)     It is understood that the Trustee shall have no obligation whatsoever to
determine whether or not such information, documents or reports have been posted on the
Issuer’s website, other online data system or filed with the SEC. The posting or delivery of such
reports, information and documents to the Trustee is for informational purposes only and the
Trustee’s receipt of such shall not constitute constructive notice of any information contained
therein or determinable from information contained therein, including the Issuer’s compliance
with any of its covenants hereunder (as to which the Trustee is entitled to rely exclusively on
Officer’s Certificates).

              (h)    The Trustee has no duty or obligation to monitor the occurrence of a
Purchase Trigger Event as defined in the Intercreditor Agreement or give notice thereof to any
Person.

Section 4.04   Compliance Certificate.

                (a)      The Issuer shall deliver to the Trustee within 120 days after the end of
each fiscal year of the Issuer (beginning with the fiscal year ended December 31, 2019) an
Officer’s Certificate stating that in the course of the performance by the signers of their duties as
Officers they would normally have knowledge of any Default and whether or not the signers
know of any Default that occurred during such period. If they do, the certificate shall describe
the Default, its status and what action the Issuer is taking or proposes to take with respect
thereto.

               (b)      So long as any of the Notes are outstanding, the Issuer will deliver to the
Trustee, forthwith upon any Officer becoming aware of any Default or Event of Default, an
Officer’s Certificate specifying such Default or Event of Default and what action the Issuer is
taking or propose to take with respect thereto.

Section 4.05   Restricted Payments.

                 (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, directly or indirectly:

               (1)     declare or pay any dividend or make any other payment or distribution on
       account of the Issuer’s or any of its Restricted Subsidiaries’ Equity Interests (including,
       without limitation, any payment in connection with any merger or consolidation
       involving the Issuer or any of its Restricted Subsidiaries) or to the direct or indirect
       holders of the Issuer’s or any of its Restricted Subsidiaries’ Equity Interests in their
       capacity as such (other than dividends or distributions payable in Equity Interests (other
       than Disqualified Stock) of the Issuer and other than dividends or distributions payable to
       the Issuer or a Restricted Subsidiary of the Issuer);

              (2)     purchase, redeem or otherwise acquire or retire for value (including,
       without limitation, in connection with any merger or consolidation involving the Issuer)
       any Equity Interests of the Issuer or any direct or indirect parent of the Issuer;

              (3)    make any payment on or with respect to, or purchase, redeem, defease or
       otherwise acquire or retire for value, any Indebtedness of the Issuer or any Guarantor that


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is contractually subordinated to the Notes or to any Note Guarantee (excluding (x) any
intercompany Indebtedness between or among the Issuer and any of its Restricted
Subsidiaries or (y) the purchase, repurchase or other acquisition of Indebtedness that is
contractually subordinated to the Notes or to any Note Guarantee, as the case may be,
purchased in anticipation of satisfying a sinking fund obligation, principal installment or
final maturity, in each case due within one year of the date of purchase, repurchase or
acquisition), except a payment of interest or principal at the Stated Maturity thereof; or

        (4)     make any Restricted Investment (all such payments and other actions set
forth in these clauses (1) through (4) above being collectively referred to as “Restricted
Payments”), unless, at the time of and after giving effect to such Restricted Payment:

              (A)    no Default or Event of Default has occurred and is continuing or
       would occur as a consequence of such Restricted Payment;

               (B)    the Issuer would, after giving pro forma effect thereto as if such
       Restricted Payment had been made at the beginning of the applicable four−quarter
       period, have been permitted to incur at least $1.00 of additional Indebtedness
       pursuant to Section 4.07(a); and

                (C)      such Restricted Payment, together with the aggregate amount of all
       other Restricted Payments made by the Issuer and its Restricted Subsidiaries since
       the Issue Date (excluding Restricted Payments permitted by clauses (2), (3), (4),
       (5), (6), (8), (9), (10), (11), (12), (13), (15), (16), (17) and (19) of Section 4.05(b)
       hereof), is less than the sum, without duplication, of:

                       (i)     50% of the Consolidated Net Income of the Issuer for the
                               period (taken as one accounting period) from the beginning
                               of the first fiscal quarter of the Issuer commencing after the
                               Issue Date occurred to the end of the Issuer’s most recently
                               ended fiscal quarter for which internal financial statements
                               are available at the time of such Restricted Payment (or, if
                               such Consolidated Net Income for such period is a deficit,
                               less 100% of such deficit); plus

                       (ii)    100% of the aggregate net proceeds, including cash and the
                               Fair Market Value of property other than cash, received by
                               the Issuer since the Issue Date (x) as a contribution to its
                               common equity capital or (y) from the issue or sale of
                               Equity Interests of the Issuer or any direct or indirect parent
                               of the Issuer (other than Disqualified Stock, Designated
                               Preferred Stock, Excluded Contributions or Cash
                               Contributions) or from the issue or sale of convertible or
                               exchangeable Disqualified Stock or convertible or
                               exchangeable debt securities that have been converted into
                               or exchanged for such Equity Interests (other than Equity




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                              Interests (or Disqualified Stock or debt securities) sold to a
                              Subsidiary of the Issuer); plus

                      (iii)   to the extent that any Restricted Investment that was made
                              after the Issue Date is sold for cash or otherwise liquidated
                              or repaid for cash, 100% of the aggregate amount received
                              in cash and the Fair Market Value of property other than
                              cash received; plus

                      (iv)    to the extent that any Unrestricted Subsidiary of the Issuer
                              designated as such after the Issue Date is redesignated as a
                              Restricted Subsidiary of the Issuer after the Issue Date or
                              has been merged into, consolidated or amalgamated with or
                              into, or transfers or conveys its assets to, the Issuer or a
                              Restricted Subsidiary of the Issuer, 100% of the Fair
                              Market Value of the Issuer’s Investment in such Subsidiary
                              as of the date of such redesignation, combination or transfer
                              (or of the assets transferred or conveyed, as applicable)
                              after deducting any Indebtedness associated with the
                              Unrestricted Subsidiary so designated or combined or any
                              Indebtedness associated with the assets so transferred or
                              conveyed; plus

                      (v)     100% of any dividends or distributions received by the
                              Issuer or a Restricted Subsidiary of the Issuer after the
                              Issue Date from an Unrestricted Subsidiary of the Issuer, to
                              the extent that such dividends or distributions were not
                              otherwise included in the Consolidated Net Income of the
                              Issuer for such period.

       (b)     The provisions of Section 4.05(a) hereof will not prohibit:

        (1)     the payment of any dividend or distribution or the consummation of any
redemption within 60 days after the date of declaration of the dividend or distribution or
giving of the redemption notice, as the case may be, if, at the date of declaration or
notice, the dividend, distribution or redemption payment would have complied with the
provisions of this Indenture;

        (2)     the making of any Restricted Payment in exchange for, or out of the net
cash proceeds of the substantially concurrent sale (other than to a Subsidiary of the
Issuer) of, Equity Interests of the Issuer or any direct or indirect parent of the Issuer
(other than Disqualified Stock) or from the substantially concurrent contribution of
common equity capital to the Issuer; provided that the amount of any such net cash
proceeds that are utilized for any such Restricted Payment will be excluded from clause
(C)(ii) of Section 4.05(a) hereof;




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        (3)     the repurchase, redemption, defeasance or other acquisition or retirement
for value of Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer that is
contractually subordinated to the Notes or to any Note Guarantee with the net cash
proceeds from a substantially concurrent incurrence of Permitted Refinancing
Indebtedness;

         (4)    the payment of any dividend (or, in the case of any partnership or limited
liability company, any similar distribution) by a Restricted Subsidiary of the Issuer to the
holders of its Equity Interests on a pro rata basis;

        (5)     the repurchase, redemption or other acquisition or retirement (or dividends
or distributions to any direct or indirect parent of the Issuer to finance any such
repurchase, redemption or other acquisition or retirement) for value of any Equity
Interests of the Issuer or any Restricted Subsidiary of the Issuer or any direct or indirect
parent of the Issuer held by any current or former officer, director, consultant or
employee of the Issuer or any of its Restricted Subsidiaries or any direct or indirect
parent of the Issuer pursuant to any equity subscription agreement, stock option
agreement, shareholders’ or members’ agreement or similar agreement, plan or
arrangement; provided that the aggregate price paid for all such repurchased, redeemed,
acquired or retired Equity Interests may not exceed $10.0 million in any calendar year
(which shall increase to $20.0 million subsequent to the consummation of an
underwritten public Equity Offering by the Issuer or any of its direct or indirect parent
entities) (with unused amounts in any calendar year being permitted to be carried over for
the next two succeeding calendar years); provided, further, that the amount in any
calendar year may be increased by an amount not to exceed:

       (i)      the cash proceeds received by the Issuer or any of its Restricted
Subsidiaries from the sale of Equity Interests (other than Disqualified Stock) of the Issuer
or any direct or indirect parent of the Issuer (to the extent contributed to the Issuer) to
members of management, directors or consultants of the Issuer and its Restricted
Subsidiaries or any direct or indirect parent of the Issuer that occurs after the Issue Date
(provided that the amount of such cash proceeds utilized for any such repurchase,
retirement, other acquisition, or dividend or distribution will not increase the amount
available for Restricted Payments under clause (C)(ii) of Section 4.05(a) hereof); plus

        (ii)    the cash proceeds of key man life insurance policies received by the Issuer
or any direct or indirect parent of the Issuer (to the extent contributed to the Issuer) and
its Restricted Subsidiaries after the Issue Date;

provided that the Issuer may elect to apply all or any portion of the aggregate increase
contemplated by (i) and (ii) above in any single calendar year;

       (6)     the repurchase of Equity Interests deemed to occur upon the exercise of
stock options or warrants to the extent such Equity Interests represent a portion of the
exercise price of those stock options or warrants;




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        (7)     the declaration and payment of regularly scheduled or accrued dividends
or distributions to holders of any class or series of Disqualified Stock of the Issuer or any
Restricted Subsidiary of the Issuer issued on or after the Issue Date in accordance with
Section 4.07(a) hereof;

       (8)     Permitted Payments to Parent;

       (9)    purchases of receivables pursuant to a Receivables Repurchase Obligation
in connection with a Qualified Receivables Financing;

        (10) the declaration and payment of dividends or distributions to holders of any
class or series of Designated Preferred Stock (other than Disqualified Stock) issued after
the Issue Date and the declaration and payment of dividends to any direct or indirect
parent of the Issuer, the proceeds of which will be used to fund the payment of dividends
or distributions to holders of any class or series of Designated Preferred Stock (other than
Disqualified Stock) of any direct or indirect parent of the Issuer issued after the Issue
Date; provided, however, that (A) for the most recently ended four full fiscal quarters for
which internal financial statements are available immediately preceding the date of
issuance of such Designated Preferred Stock, after giving effect to such issuance (and the
payment of dividends or distributions) on a pro forma basis, the Issuer could incur an
additional $1.00 of Indebtedness pursuant to the Fixed Charge Coverage Ratio, and
(B) the aggregate amount of dividends declared and paid pursuant to this clause (10) does
not exceed the net cash proceeds actually received by the Issuer (including any such
proceeds contributed to the Issuer by any direct or indirect parent of the Issuer) from any
such sale of Designated Preferred Stock (other than Disqualified Stock) issued after the
Issue Date;

        (11) any Restricted Payment made in connection with the Refinancing
Transactions (including payments made in connection with the consummation of the
offering of the Initial Notes) and the fees and expenses related thereto;

      (12) Restricted Payments in an aggregate amount equal to the amount of
Excluded Contributions previously received by the Issuer and its Restricted Subsidiaries;

       (13) other Restricted Payments in an aggregate amount not to exceed
$30.0 million since the Issue Date;

       (14) the satisfaction of change of control obligations and asset sale obligations
once the Issuer has fulfilled its obligations under this Indenture with respect to a Change
of Control or an Asset Sale;

       (15) the repayment of intercompany debt that was permitted to be incurred
under this Indenture;

        (16) cash dividends or other distributions on the Issuer’s Capital Stock used to,
or the making of loans to any direct or indirect parent of the Issuer to, fund the payment
of fees and expenses owed by the Issuer or its Restricted Subsidiaries to Affiliates, to the



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       extent permitted by Section 4.09 hereof (except for transactions described in
       Section 4.09(b)(6));

               (17) the payment of dividends or distributions on the Issuer’s common equity
       (or the payment of dividends or distributions to a direct or indirect parent of the Issuer to
       fund the payment by such parent of dividends or distributions on its common equity) of
       up to 6.0% per calendar year of the net proceeds received by the Issuer from any public
       Equity Offering or contributed to the Issuer by a direct or indirect parent of the Issuer
       from any public Equity Offering; provided that the amount of any such net cash proceeds
       that are utilized for any such Restricted Payment will be excluded from clause (C)(ii) of
       Section 4.05(a) hereof; and

              (18) the distribution, as a dividend or otherwise, of shares of Capital Stock of,
       or Indebtedness owed to the Issuer or a Restricted Subsidiary of the Issuer by,
       Unrestricted Subsidiaries (other than Unrestricted Subsidiaries the primary assets of
       which are cash and/or Cash Equivalents); and

               (19) any Restricted Payment so long as immediately after giving effect to the
       making of such Restricted Payment, the Issuer’s Net Leverage Ratio does not exceed
       3.00 to 1.00;

        provided, however, that at the time of, and after giving effect to, any Restricted Payment
permitted under clauses (10), (17) or (19) of this Section 4.05(b), no Default or Event of Default
shall have occurred and be continuing or would occur as a consequence thereof.

                (c)     The amount of all Restricted Payments (other than cash) will be the Fair
Market Value on the date of the Restricted Payment of the asset(s) or securities proposed to be
transferred or issued by the Issuer or such Restricted Subsidiary, as the case may be, pursuant to
the Restricted Payment. In the event that a Restricted Payment meets the criteria of more than
one of the exceptions described in (1) through (19) above or is entitled to be made pursuant to
Section 4.05(a), the Issuer shall, in its sole discretion, classify such Restricted Payment (or
portion thereof) on the date made or later reclassify such Restricted Payment (or portion thereof)
in any manner that complies with this Section 4.05.

Section 4.06   Dividend and Other Payment Restrictions Affecting Subsidiaries.

                (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
that is not a Guarantor to, directly or indirectly, create or permit to exist or become effective any
consensual encumbrance or restriction on the ability of the Issuer or any of its Restricted
Subsidiary that is not a Guarantor to:

               (1)     pay dividends or make any other distributions on its Capital Stock to the
       Issuer or any of its Restricted Subsidiaries, or with respect to any other interest or
       participation in, or measured by, its profits, or pay any Indebtedness owed to the Issuer or
       any of its Restricted Subsidiaries;

               (2)     make loans or advances to the Issuer or any of its Restricted Subsidiaries;
       or


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               (3)     sell, lease or transfer any of its properties or assets to the Issuer or any of
       its Restricted Subsidiaries.

                 (b)    The restrictions in Section 4.06(a) hereof will not apply to encumbrances
or restrictions existing under or by reason of:

              (1)     agreements governing Indebtedness outstanding on the Issue Date,
       including pursuant to the Credit Agreement and Hedging Obligations and the related
       documentation;

               (2)    this Indenture, the Notes, the Note Guarantees (and any Additional Notes
       and related Guarantees under this Indenture or other Permitted Additional Pari Passu
       Obligations) and the Security Documents;

                (3)    applicable law, rule, regulation, order, approval, license, permit or similar
       restriction;

                (4)     any instrument governing Indebtedness or Capital Stock of a Person
       acquired by the Issuer or any of its Restricted Subsidiaries as in effect at the time of such
       acquisition (except to the extent such Indebtedness or Capital Stock was incurred in
       connection with or in contemplation of such acquisition), which encumbrance or
       restriction is not applicable to any Person, or the properties or assets of any Person, other
       than the Person, or the property or assets of the Person, so acquired; provided that, in the
       case of Indebtedness, such Indebtedness was permitted by the terms of this Indenture to
       be incurred;

               (5)    non−assignment provisions or subletting restrictions in contracts, leases
       and licenses entered into in the ordinary course of business;

                (6)    purchase money obligations for property (including Capital Stock)
       acquired in the ordinary course of business and Capital Lease Obligations that impose
       restrictions on the property purchased or leased of the nature described in
       Section 4.06(a)(3) hereof;

               (7)     any agreement for the sale or other disposition of the Capital Stock or
       assets of a Restricted Subsidiary of the Issuer that restricts distributions by that Restricted
       Subsidiary pending closing of the sale or other disposition;

              (8)     Permitted Refinancing Indebtedness; provided that the restrictions
       contained in the agreements governing such Permitted Refinancing Indebtedness are not
       materially more restrictive, taken as a whole, than those contained in the agreements
       governing the Indebtedness being refinanced;

               (9)     Liens permitted to be incurred under Section 4.10 hereof that limit the
       right of the debtor to dispose of the assets securing such Indebtedness;

               (10) provisions limiting the disposition or distribution of assets or property or
       transfer of Capital Stock in joint venture agreements, asset sale agreements,


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sale−leaseback agreements, stock sale agreements, limited liability company
organizational documents, and other similar agreements entered into in the ordinary
course of business, consistent with past practice or with the approval of the Issuer’s
Board of Directors, which limitation is applicable only to the assets, property or Capital
Stock that are the subject of such agreements;

         (11) any encumbrance or restriction of a Receivables Subsidiary effected in
connection with a Qualified Receivables Financing; provided, however, that such
restrictions apply only to such Receivables Subsidiary;

         (12) restrictions on cash, Cash Equivalents, Marketable Securities or other
deposits or net worth imposed by customers or lessors under contracts or leases entered
into in the ordinary course of business;

        (13) other Indebtedness of Restricted Subsidiaries that are non−Guarantors that
is incurred subsequent to the Issue Date pursuant to Section 4.07 hereof;

        (14) encumbrances on property that exist at the time the property was acquired
by the Issuer or a Restricted Subsidiary of the Issuer;

       (15)    contractual encumbrances or restrictions in effect on the Issue Date;

        (16) customary provisions in master limited partnership agreements, joint
venture agreements or arrangements and other similar agreements or arrangements
relating solely to such master limited partnership or joint venture;

        (17) any encumbrance or restriction with respect to an Unrestricted Subsidiary
pursuant to or by reason of an agreement that the Unrestricted Subsidiary is a party to or
entered into before the date on which such Unrestricted Subsidiary became a Restricted
Subsidiary of the Issuer; provided that such agreement was not entered into in
anticipation of the Unrestricted Subsidiary becoming a Restricted Subsidiary of the Issuer
and any such encumbrance or restriction does not extend to any assets or property of the
Issuer or any Restricted Subsidiary other than the assets and property of such
Unrestricted Subsidiary;

         (18) any encumbrance or restriction contained in the terms of any Indebtedness
or any agreement pursuant to which such Indebtedness was incurred if either (x) the
encumbrance or restriction applies only in the event of a payment default or a default
with respect to a financial covenant in such Indebtedness or agreement or (y) the Issuer
determines that any such encumbrance or restriction will not materially affect the Issuer’s
ability to make principal or interest payments on the Notes, as determined in good faith
by the Issuer, whose determination shall be conclusive;

         (19) provisions with respect to the receipt of a rebate on an operating lease
until all obligations due to a lessor on other operating leases are satisfied or other
customary restrictions in respect of assets or contract rights acquired by a Restricted
Subsidiary of the Issuer in connection with a Sale/Leaseback Transaction;



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               (20) Permitted Additional Pari Passu Obligations or any other Secured
       Indebtedness otherwise permitted to be incurred pursuant to Sections 4.07 and 4.10
       hereof that limit the right of the debtor to dispose of the assets securing such
       Indebtedness;

               (21) encumbrances and restrictions contained in contracts entered into in the
       ordinary course of business, not relating to any Indebtedness, and that do not,
       individually or in the aggregate, detract from the value of property or assets of the Issuer
       or any Restricted Subsidiary of the Issuer or the ability of the Issuer or such Restricted
       Subsidiary to realize such value, or to make any distributions relating to such property or
       assets in each case in any material respect; and

              (22) any encumbrances or restrictions imposed by any amendments or
       refinancings of the contracts, instruments or obligations referred to above in clauses (1)
       through (21); provided that such encumbrances and restrictions contained in such
       amendments or refinancings are not materially more restrictive, taken as a whole, than
       such encumbrances and restrictions prior to such amendment or refinancing.

                (c)      For purposes of determining compliance with this Section 4.06, (i) the
priority of any preferred stock in receiving dividends or liquidating distributions prior to
dividends or liquidating distributions being paid on ordinary shares shall not be deemed a
restriction on the ability to make distributions on Capital Stock and (ii) the subordination of
loans or advances made to the Issuer or a Restricted Subsidiary of the Issuer to other
Indebtedness incurred by the Issuer or any such Restricted Subsidiary shall not be deemed a
restriction on the ability to make loans or advances.

Section 4.07   Incurrence of Indebtedness and Issuance of Preferred Equity.

                 (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, directly or indirectly, create, incur, issue, assume, guarantee or otherwise become directly or
indirectly liable, contingently or otherwise, with respect to (collectively, “incur”) any
Indebtedness (including Acquired Debt), and the Issuer will not issue any Disqualified Stock and
will not permit any of its Restricted Subsidiaries to issue any shares of preferred equity;
provided, however, that the Issuer may incur Indebtedness (including Acquired Debt) or issue
Disqualified Stock, and the Issuer or any Restricted Subsidiary of the Issuer may incur
Indebtedness (including Acquired Debt) or issue preferred equity, if on the date thereof the Fixed
Charge Coverage Ratio for the Issuer’s most recently ended four full fiscal quarters for which
internal financial statements are available immediately preceding the date on which such
additional Indebtedness is incurred or such Disqualified Stock or such preferred equity is issued,
as the case may be, would have been at least 2.0 to 1.0, determined on a pro forma basis
(including a pro forma application of the net proceeds therefrom), as if the additional
Indebtedness had been incurred or the Disqualified Stock or the preferred equity had been issued,
as the case may be, at the beginning of such four−quarter period; provided, further, that
Restricted Subsidiaries of the Issuer that are not Guarantors may not incur Indebtedness or issue
any shares of preferred equity if, after giving pro forma effect to such incurrence or issuance
(including a pro forma application of the net proceeds therefrom), Indebtedness or preferred



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equity at any one time outstanding and incurred by Restricted Subsidiaries of the Issuer that are
not Guarantors pursuant to this Section 4.07(a) shall exceed $50.0 million.

                (b)    The provisions of Section 4.07(a) hereof will not prohibit the incurrence of
any of the following items of Indebtedness (collectively, “Permitted Debt”):

               (1)    the incurrence under Debt Facilities by the Issuer or any of its Restricted
       Subsidiaries of Indebtedness and letters of credit and bankers’ acceptances thereunder in
       an aggregate principal amount under this clause (1) (with letters of credit deemed to have
       a principal amount equal to the maximum potential liability of the Issuer and its
       Restricted Subsidiaries thereunder) not to exceed the greater of (x) $300.0 million and
       (y) the Borrowing Base as of the date of incurrence of such Indebtedness outstanding at
       any one time;

               (2)     the incurrence by the Issuer and its Restricted Subsidiaries of Indebtedness
       to the extent outstanding on the Issue Date;

               (3)     the incurrence by the Issuer and its Restricted Subsidiaries (including any
       future Guarantor) of Indebtedness represented by the Notes and the related Note
       Guarantees to be issued on the Issue Date (but excluding any Additional Notes issued
       after the Issue Date);

               (4)      Indebtedness (including Capital Lease Obligations), Disqualified Stock
       and preferred stock incurred by the Issuer or any Restricted Subsidiary of the Issuer, to
       finance the purchase, lease, design, construction, installation, repair, replacement or
       improvement of property (real or personal) or equipment that is used or useful in a
       Permitted Business, whether through the direct purchase of assets or the Capital Stock of
       any Person owning such assets and Indebtedness arising from the conversion of the
       obligations of the Issuer or any Restricted Subsidiary of the Issuer under or pursuant to
       any “synthetic lease” transactions to on-balance sheet Indebtedness of the Issuer or such
       Restricted Subsidiary, in an aggregate principal amount which, when aggregated with the
       principal amount of all other Indebtedness, Disqualified Stock and preferred stock
       incurred pursuant to this clause (4), does not exceed the greater of (x) $40.0 million and
       (y) 5.0% of Total Assets at the time of incurrence; provided that Capital Lease
       Obligations incurred by the Issuer or any Restricted Subsidiary of the Issuer pursuant to
       this clause (4) in connection with a Sale/Leaseback Transaction shall not be subject to the
       foregoing limitation so long as the proceeds of such Sale/Leaseback Transaction are used
       by the Issuer or such Restricted Subsidiary to permanently repay outstanding
       Indebtedness of the Issuer and the Restricted Subsidiaries that was secured by a Lien on
       the assets subject to any such Capital Lease Obligations immediately prior to the entry
       into such Sale/Leaseback Transaction;

               (5)    the incurrence by the Issuer or any of its Restricted Subsidiaries of
       Permitted Refinancing Indebtedness in exchange for, or the net proceeds of which are
       used to renew, refund, refinance, replace, defease or discharge any Indebtedness (other
       than intercompany Indebtedness) that was permitted by this Indenture to be incurred




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under Section 4.07(a) hereof or clauses (2), (3), (4), (5), (12), (16) or (17) of this
Section 4.07(b);

       (6)    the incurrence by the Issuer or any of its Restricted Subsidiaries of
intercompany Indebtedness and cash management pooling obligations and arrangements
between or among the Issuer and any of its Restricted Subsidiaries; provided, however,
that:

                (A)     if the Issuer or any Guarantor is the obligor on such Indebtedness
        (other than cash management pooling obligations) and the payee is not the Issuer
        or a Guarantor, such Indebtedness must be expressly subordinated to the prior
        payment in full in cash of all Obligations then due with respect to the Notes, in
        the case of the Issuer, or the Note Guarantee, in the case of a Guarantor; and

                (B)     (i) any subsequent issuance or transfer of Equity Interests that
        results in any such Indebtedness being held by a Person other than the Issuer or a
        Restricted Subsidiary of the Issuer, and (ii) any sale or other transfer of any such
        Indebtedness to a Person that is not either the Issuer or a Restricted Subsidiary of
        the Issuer, will be deemed, in each case, to constitute an incurrence of such
        Indebtedness by the Issuer or such Restricted Subsidiary, as the case may be, that
        was not permitted by this clause (6);

        (7)     the issuance by any of the Issuer’s Restricted Subsidiaries to the Issuer or
to any of its Restricted Subsidiaries of shares of preferred equity; provided, however,
that:

                (A)    any subsequent issuance or transfer of Equity Interests that results
        in any such preferred equity being held by a Person other than the Issuer or a
        Restricted Subsidiary of the Issuer, and

                 (B)     any sale or other transfer of any such preferred equity to a Person
        that is not either the Issuer or a Restricted Subsidiary of the Issuer,

        will be deemed, in each case, to constitute an issuance of such preferred equity by
        such Restricted Subsidiary that was not permitted by this clause (7);

      (8)    the incurrence by the Issuer or any of its Restricted Subsidiaries of
Hedging Obligations other than for speculative purposes;

        (9)    the Guarantee by the Issuer or any of its Restricted Subsidiaries of
Indebtedness and cash management pooling obligations and arrangements of the Issuer or
a Restricted Subsidiary of the Issuer that was permitted to be incurred by another
provision of this Section 4.07 (including Section 4.07(a) hereof); provided that if the
Indebtedness being guaranteed is subordinated to or pari passu with the Notes, then the
Guarantee shall be subordinated or pari passu, as applicable, to the same extent as the
Indebtedness guaranteed;




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        (10) the incurrence by the Issuer or any of its Restricted Subsidiaries of
Indebtedness in respect of workers’ compensation claims, payment obligations in
connection with health or other types of social security benefits, unemployment or other
insurance or self−insurance obligations, reclamation, statutory obligations, bankers’
acceptances, bid, performance, surety or similar bonds and letters of credit or completion
or performance guarantees (including without limitation, performance guarantees
pursuant to flying contracts, supply agreements or equipment leases), or other similar
obligations in the ordinary course of business or consistent with past practice;

        (11) the incurrence by the Issuer or any of its Restricted Subsidiaries of
Indebtedness arising from the honoring by a bank or other financial institution of a check,
draft or similar instrument inadvertently drawn against insufficient funds and other
obligations in respect of Bank Products;

        (12) Indebtedness, Disqualified Stock or preferred equity of the Issuer or any
Restricted Subsidiary of the Issuer incurred or issued to finance an acquisition or of
Persons that are acquired by the Issuer or any of its Restricted Subsidiaries or merged
into a Restricted Subsidiary of the Issuer in accordance with the terms of this Indenture;
provided, however, that for any such indebtedness outstanding under this clause (12) in
excess of $40.0 million, after giving effect to such acquisition and the incurrence of such
Indebtedness, Disqualified Stock and preferred equity either:

              (A)    the Issuer would be permitted to incur at least $1.00 of additional
       Indebtedness pursuant to Section 4.07(a) hereof; or

             (B)     the Fixed Charge Coverage Ratio would not be less than
       immediately prior to such acquisition;

        (13) Indebtedness incurred by a Receivables Subsidiary in a Qualified
Receivables Financing that is not recourse to the Issuer or any Restricted Subsidiary of
the Issuer other than a Receivables Subsidiary (except for Standard Securitization
Undertakings);

        (14) the incurrence of Indebtedness arising from agreements of the Issuer or a
Restricted Subsidiary of the Issuer providing for indemnification, adjustment of purchase
price, earn outs, or similar obligations, in each case, incurred or assumed in connection
with the disposition or acquisition of any business, assets or a Subsidiary in accordance
with the terms of this Indenture, other than Guarantees of Indebtedness incurred or
assumed by any Person acquiring all or any portion of such business, assets or Subsidiary
for the purpose of financing such acquisition;

        (15) the incurrence by the Issuer or any of its Restricted Subsidiaries of
additional Indebtedness or the issuance of Disqualified Stock or preferred equity in an
aggregate principal amount (or accreted value, as applicable) or having an aggregate
liquidation preference at any time outstanding not to exceed the greater of
(x) $50.0 million and (y) 5.0% of Total Assets (it being understood that any
Indebtedness, Disqualified Stock or preferred equity incurred pursuant to this clause (15)



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       shall cease to be deemed incurred or outstanding for purposes of this Section 4.07 from
       and after the date on which the Issuer could have incurred such Indebtedness or
       Disqualified Stock or preferred equity under Section 4.07(a) hereof without reliance upon
       this clause (15));

               (16)    Contribution Indebtedness;

               (17) Indebtedness of Restricted Subsidiaries of the Issuer that are not
       Guarantors in an amount not to exceed, in the aggregate at any one time outstanding the
       greater of (x) $40.0 million and (y) 10.0% of Total Non-Guarantor Assets (it being
       understood that any Indebtedness incurred pursuant to this clause (17) shall cease to be
       deemed incurred or outstanding for purposes of this clause (17) but shall be deemed
       incurred under Section 4.07(a) from and after the first date on which such Restricted
       Subsidiary could have incurred such Indebtedness under Section 4.07(a) without reliance
       on this clause (17));

              (18) Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer
       supported by a letter of credit or bank guarantee issued pursuant to a Debt Facility, in a
       principal amount not in excess of the stated amount of such letter of credit or bank
       guarantee; and

               (19) Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer
       consisting of (x) the financing of insurance premiums or (y) take or pay obligations
       contained in supply arrangements, in each case, in the ordinary course of business.

                (c)     The Issuer will not incur, and will not permit any Guarantor to incur, any
Indebtedness (including Permitted Debt) that is contractually subordinated in right of payment to
any other Indebtedness of the Issuer or such Guarantor unless such Indebtedness is also
contractually subordinated in right of payment to the Notes and the applicable Note Guarantee on
substantially identical terms; provided, however, that no Indebtedness shall be deemed to be
contractually subordinated in right of payment to any other Indebtedness solely by virtue of
being unsecured or by virtue of being secured on a first or junior Lien basis.

                 (d)     For purposes of determining compliance with this Section 4.07, in the
event that an item of proposed Indebtedness, Disqualified Stock or preferred equity meets the
criteria of more than one of the categories of Permitted Debt described in clauses (1) through
(19) above or is entitled to be incurred pursuant to Section 4.07(a) hereof, the Issuer will be
permitted to classify such item of Indebtedness, Disqualified Stock or preferred equity on the
date of its incurrence and will only be required to include the amount and type of such
Indebtedness, Disqualified Stock or preferred equity in one of the above clauses, although the
Issuer may divide and classify an item of Indebtedness, Disqualified Stock or preferred equity in
one or more of the types of Indebtedness, Disqualified Stock or preferred equity and may later
reclassify all or a portion of such item of Indebtedness, Disqualified Stock or preferred equity, in
any manner that complies with this Section 4.07; provided that all Indebtedness outstanding
under the Credit Agreement on the Issue Date shall be treated as incurred on the Issue Date
under Section 4.07(b)(1) and shall not later be reclassified.




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                 (e)     The accrual of interest or dividends, the accretion or amortization of
original issue discount, the payment of interest on any Indebtedness in the form of additional
Indebtedness with the same terms, the reclassification of preferred equity as Indebtedness due to
a change in accounting principles, the payment of dividends on Disqualified Stock or preferred
equity in the form of additional shares of the same class of Disqualified Stock or preferred equity
and unrealized losses or charges in respect of Hedging Obligations (including those resulting
from the application of Standards Codification No. 815—Derivatives and Hedging) will not be
deemed to be an incurrence of Indebtedness or an issuance of Disqualified Stock or preferred
equity for purposes of this Section 4.07; provided, in each such case (other than preferred stock
that is not Disqualified Stock), that the amount of any such accrual, accretion or payment is
included in Fixed Charges of the Issuer as accrued. Notwithstanding any other provision of this
Section 4.07, the maximum amount of Indebtedness that the Issuer or any Restricted Subsidiary
of the Issuer may incur pursuant to this Section 4.07 shall not be deemed to be exceeded solely
as a result of fluctuations in exchange rates or currency values.

                (f)     For purposes of determining compliance with any U.S. dollar denominated
restriction on the incurrence of Indebtedness where the Indebtedness incurred is denominated in
a different currency, the amount of such Indebtedness will be the U.S. Dollar Equivalent
determined on the date of the establishment of the facility or instrument under which such
Indebtedness was incurred; provided, however, that if such Indebtedness denominated in a
different currency is subject to a Currency Agreement with respect to U.S. dollars, covering all
principal, premium, if any, and interest payable on such Indebtedness, the amount of such
Indebtedness expressed in U.S. dollars will be as provided in such Currency Agreement. The
principal amount of any refinancing Indebtedness incurred in the same currency as the
Indebtedness being refinanced will be the U.S. Dollar Equivalent of the Indebtedness refinanced,
except to the extent that (i) such U.S. Dollar Equivalent was determined based on a Currency
Agreement, in which case the refinancing Indebtedness will be determined in accordance with
the preceding sentence, and (ii) the principal amount of the refinancing Indebtedness exceeds the
principal amount of the Indebtedness being refinanced, in which case the U.S. Dollar Equivalent
of such excess, as appropriate, will be determined on the date such refinancing Indebtedness is
incurred.

               (g)    The amount of any Indebtedness outstanding as of any date will be:

               (1)    the accreted value of the Indebtedness, in the case of any Indebtedness
       issued with original issue discount; (2) the principal amount of the Indebtedness, in the
       case of any other Indebtedness; and

               (2)     in respect of Indebtedness of another Person secured by a Lien on the
       assets of the specified Person, the lesser of:

                      (A)     the Fair Market Value of such assets at the date of determination;
               and

                      (B)     the amount of the Indebtedness of the other Person.

Section 4.08   Asset Sales.



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             (a)    The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, consummate an Asset Sale unless:

              (1)      the Issuer (or the Restricted Subsidiary of the Issuer, as the case may be)
       receives consideration at the time of the Asset Sale at least equal to the Fair Market Value
       (such Fair Market Value to be determined on the date of contractually agreeing to such
       Asset Sale) of the assets or Equity Interests issued or sold or otherwise disposed of;

               (2)    at least 75% of the aggregate consideration received from such Asset Sale
       and all other Asset Sales since the Issue Date, on a cumulative basis, by the Issuer or such
       Restricted Subsidiary is in the form of cash, Cash Equivalents, Marketable Securities or
       Additional Assets, or any combination thereof. For purposes of this provision, each of the
       following shall be deemed to be cash:

                      (A)     any liabilities of the Issuer or any Restricted Subsidiary of the
              Issuer (other than contingent liabilities and liabilities that are by their terms
              subordinated to the Notes or any Note Guarantee) that are assumed by the
              transferee of any such assets and as a result of which the Issuer or such Restricted
              Subsidiary is released from further liability;

                      (B)    any securities, notes, other obligations or assets received by the
              Issuer or any such Restricted Subsidiary from such transferee that are converted
              by the Issuer or such Restricted Subsidiary into cash or Cash Equivalents within
              180 days of the receipt thereof, to the extent of the cash or Cash Equivalents
              received in that conversion;

                      (C)     any Designated Non−cash Consideration received by the Issuer or
              any of its Restricted Subsidiaries in such Asset Sale; provided that the aggregate
              Fair Market Value of such Designated Non−cash Consideration, taken together
              with the Fair Market Value at the time of receipt of all other Designated
              Non−cash Consideration received pursuant to this clause (C) less the amount of
              Net Proceeds previously realized in cash from prior Designated Non−cash
              Consideration is less than the greater of (x) $40.0 million and (y) 5.0% of Total
              Assets at the time of the receipt of such Designated Non−cash Consideration
              (with the Fair Market Value of each item of Designated Non−cash Consideration
              being measured at the time received and without giving effect to subsequent
              changes in value); and

                      (D)     accounts receivable of a business retained by the Issuer or any of
              its Restricted Subsidiaries, as the case may be, following the sale of such
              business; provided that such accounts receivable (i) are not past due more than 90
              days and (ii) do not have a payment date greater than 120 days from the date of
              the invoices creating such accounts receivable; and

                     (E)     any Capital Stock or assets of the kind referred to in
              Section 4.08(b)(1)(F), (G) or (H).




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               (3)   if such Asset Sale involves the disposition of Collateral, the Issuer or such
       Restricted Subsidiary has complied with the provisions of this Indenture and the Security
       Documents; and

               (4)     if such Asset Sale involves the disposition of Notes Priority Collateral or,
       after the discharge of ABL Obligations, the disposition of ABL Facility Priority
       Collateral, and, if any property other than cash or Cash Equivalents is included in such
       Net Proceeds, such property shall be made subject to the Note Liens.

                (b)     Within 365 days after the receipt of any Net Proceeds from an Asset Sale,
the Issuer (or the applicable Restricted Subsidiary of the Issuer, as the case may be) may:

               (1)    apply such Net Proceeds, at its option:

                     (A)     to the extent such Net Proceeds constitute proceeds from the sale
               of ABL Facility Priority Collateral, to repay Indebtedness under the Credit
               Agreement secured by such ABL Facility Priority Collateral;

                      (B)     to the extent such Net Proceeds constitute proceeds from the sale
               of Notes Priority Collateral, to permanently repay, equally and ratably, the Notes
               and any Permitted Additional Pari Passu Obligations;

                        (C)    if the assets subject of such Asset Sale do not constitute Collateral,
               but constitute collateral for other pari passu Indebtedness, which Lien is permitted
               by this Indenture, to reduce Obligations under such other pari passu Indebtedness
               that is secured by such Lien (provided that such reduction, in the case of
               revolving credit Indebtedness, correspondingly and permanently reduces
               commitments thereunder);

                       (D)     if the assets subject of such Asset Sale do not constitute Collateral
               or collateral for any pari passu Indebtedness, to permanently reduce (or offer to
               reduce) Obligations under the Notes and other pari passu Indebtedness (and to
               correspondingly and permanently reduce commitments with respect thereto);
               provided that the Issuer shall equally and ratably reduce Obligations under the
               Notes and any Permitted Additional Pari Passu Obligations on a pro rata basis;
               provided that all reductions of or offers to reduce Obligations under the Notes
               shall be made pursuant to and in compliance with Section 3.07 or through
               open−market purchases (to the extent such purchases are at or above 100.0% of
               the principal amount thereof) or by making an offer (in accordance with the
               procedures set forth below for an Asset Sale Offer) to all Holders to purchase
               their Notes at 100.0% of the principal amount thereof, plus the amount of accrued
               but unpaid interest, if any, on the amount of Notes to be repurchased;

                       (E)    if the assets subject of such Asset Sale are the property or assets of
               a Restricted Subsidiary of the Issuer that is not a Guarantor, to permanently
               reduce Indebtedness of such Restricted Subsidiary (and to correspondingly and
               permanently reduce commitments with respect thereto), other than Indebtedness
               owed to the Issuer or another Restricted Subsidiary of the Issuer;


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                       (F)    to acquire all or substantially all of the assets of, or any Capital
               Stock of, another Permitted Business; provided, that in the case of any such
               acquisition of Capital Stock, such Person is or becomes a Restricted Subsidiary of
               the Issuer;

                       (G)     to acquire other short− or long−term assets that are not classified
               as current assets under GAAP and that are used or useful in a Permitted Business;
               or

                       (H)    to invest in Additional Assets; or

               (2)      enter into a binding commitment to apply the Net Proceeds pursuant to
       Section 4.08(b)(1)(F), (G) or (H), provided that such binding commitment shall be treated
       as a permitted application of the Net Proceeds from the date of such commitment until
       the earlier of (x) the date on which such acquisition or expenditure is consummated, and
       (y) the 180th day following the expiration of the aforementioned 365 day period.

        In the case of Section 4.08(b)(1)(F), (G) and (H), the assets acquired with the Net
Proceeds from an Asset Sale of assets constituting Collateral (or assets received in exchange
therefor pursuant to Section 4.08(a)(2)) shall be pledged as Collateral under the Security
Documents (except that the aggregate Net Proceeds from Asset Sales of assets constituting
Collateral (or assets received in exchange therefor pursuant to Section 4.08(a)(2)), taken together
with all other Net Proceeds from Asset Sales of assets constituting Collateral (or assets received
in exchange therefor pursuant to Section 4.08(a)(2)) previously excluded, may be excluded from
this requirement in an aggregate amount not to exceed the greater of (x) $40.0 million and
(y) 5.0% of Total Assets at the time of the receipt of such Net Proceeds or such exchange).

               (c)    Pending the final application of any Net Proceeds, the Issuer may
temporarily reduce revolving credit borrowings or otherwise invest the Net Proceeds in any
manner that is not prohibited by this Indenture.

                (d)     Any Net Proceeds from Asset Sales that are not applied or invested as
provided in Section 4.08(b) will constitute “Excess Proceeds.” Not later than the 366th day (or
such later date as permitted by Section 4.08(b)(2)) from the later of the date of such Asset Sale or
the receipt of such Net Proceeds, if the aggregate amount of Excess Proceeds exceeds
$25.0 million, within ten Business Days thereof, the Issuer will make an offer to all Holders of
Notes (an “Asset Sale Offer”) and (x) in the case of Net Proceeds from Notes Priority Collateral,
to the holders of any other Permitted Additional Pari Passu Obligations containing provisions
similar to those set forth in this Indenture with respect to offers to purchase or redeem with the
proceeds of sales of assets or (y) in the case of any other Net Proceeds, to all holders of other
Permitted Additional Pari Passu Obligations containing provisions similar to those set forth in
this Indenture with respect to offers to purchase or redeem with the proceeds of sales of assets to
purchase the maximum principal amount of Notes and Permitted Additional Pari Passu
Obligations that may be purchased out of the Excess Proceeds. The offer price in any Asset Sale
Offer will be equal to 100% of the principal amount plus accrued and unpaid interest, if any, to,
but excluding, the date of purchase and will be payable in cash. If any Excess Proceeds remain
after consummation of an Asset Sale Offer, the Issuer or any Restricted Subsidiary of the Issuer


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may use those Excess Proceeds for any purpose not otherwise prohibited by this Indenture. If the
aggregate principal amount of Notes and Permitted Additional Pari Passu Obligations tendered
into such Asset Sale Offer exceeds the amount of Excess Proceeds, the Trustee will select the
Notes to be purchased on a pro rata basis. Upon completion of each Asset Sale Offer, the
amount of Excess Proceeds will be reset at zero.

               (e)     The Issuer will comply with the requirements of Rule 14e−1 under the
Exchange Act and any other securities laws and regulations thereunder to the extent those laws
and regulations are applicable in connection with each repurchase of Notes pursuant to an Asset
Sale Offer. To the extent that the provisions of any securities laws or regulations conflict with
the Asset Sale provisions of this Indenture, the Issuer will comply with the applicable securities
laws and regulations and will not be deemed to have breached its obligations under the Asset
Sale provisions of this Indenture by virtue of such compliance.

                (f)      Not later than the date upon which written notice of an Asset Sale Offer is
delivered to the Trustee as provided above, the Issuer shall deliver to the Trustee an Officer’s
Certificate as to (i) the amount of the Excess Proceeds, (ii) the allocation of the Net Proceeds
from the Asset Sales pursuant to which such Asset Sale Offer is being made and (iii) the
compliance of such allocation with the provisions of this Section 4.08. Upon the expiration of the
period for which the Asset Sale Offer remains open (the “Offer Period”), the Issuer shall deliver
to the Trustee for cancellation the Notes or portions thereof that have been properly tendered to
and are to be accepted by the Issuer. No later than one Business Day preceding any date of
purchase, the Issuer shall deposit with the Trustee (or a Paying Agent, if not the Trustee) the
purchase price for the tendered Notes and the Trustee (or a Paying Agent, if not the Trustee)
shall, on the date of purchase, mail or deliver payment to each tendering Holder in the amount of
the purchase price. In the event that the Excess Proceeds delivered by the Issuer to the Trustee is
greater than the purchase price of the Notes tendered, the Trustee shall deliver the excess to the
Issuer immediately after the expiration of the Offer Period for application in accordance with this
Section 4.08.

                (g)     Holders electing to have a Note purchased shall be required to surrender
the Note, with the form entitled “Option of Holder to Elect Purchase” attached to the Note duly
completed, to the Issuer at the address specified in the notice at least three Business Days prior to
the purchase date. Holders shall be entitled to withdraw their election if the Trustee or the Issuer
receives not later than one Business Day prior to the purchase date, a telegram, telex, facsimile
transmission or letter setting forth the name of the Holder, the principal amount of the Note
which was delivered by the Holder for purchase and a statement that such Holder is withdrawing
his election to have such Note purchased. If at the end of the Offer Period more Notes are
tendered pursuant to an Asset Sale Offer than the Issuer is required to purchase, selection of such
Notes for purchase shall be made by the Trustee in compliance with the requirements of the
principal national securities exchange, if any, on which such Notes are listed, or if such Notes are
not so listed, on a pro rata basis, by lot or by such other method as the Trustee shall deem fair
and appropriate (and in such manner as complies with applicable legal requirements); provided
that no Notes of $2,000 or less shall be purchased in part.

               (h)     Notices of an Asset Sale Offer shall be mailed by the Issuer by first class
mail, postage prepaid, or otherwise delivered in accordance with the applicable procedures of


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DTC, at least 30 but not more than 60 days before the purchase date to each Holder at such
Holder’s registered address. If any Note is to be purchased in part only, any notice of purchase
that relates to such Security shall state the portion of the principal amount thereof that is to be
purchased.

               (i)     A new Note in principal amount equal to the unpurchased portion of any
Note purchased in part shall be issued in the name of the Holder thereof upon cancellation of the
original Note. On and after the purchase date, unless the Issuer defaults in payment of the
purchase price, interest shall cease to accrue on Notes or portions thereof purchased.

Section 4.09   Transactions with Affiliates.

                (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, make any payment to, or sell, lease, transfer or otherwise dispose of any of its properties or
assets to, or purchase any property or assets from, or enter into or make or amend any
transaction, contract, agreement, understanding, loan, advance or guarantee with, or for the
benefit of, any Affiliate of the Issuer (each, an “Affiliate Transaction”), involving aggregate
consideration in excess of $10.0 million, unless:

               (1)     the Affiliate Transaction is on terms that are not materially less favorable
       to the Issuer or the relevant Restricted Subsidiary than those that would have been
       obtained in a comparable transaction by the Issuer or such Restricted Subsidiary with an
       unrelated Person; and

               (2)      the Issuer delivers to the Trustee with respect to any Affiliate Transaction
       or series of related Affiliate Transactions involving aggregate consideration in excess of
       $40.0 million, a resolution of the Board of Directors of the Issuer certifying that such
       Affiliate Transaction complies with this Section 4.09 and that such Affiliate Transaction
       has been approved by a majority of the disinterested members, if any, of the Board of
       Directors of the Issuer.

                (b)     The following items will not be deemed to be Affiliate Transactions and,
therefore, will not be subject to the provisions of Section 4.09(a) hereof:

               (1)     any employment agreement, employee benefit plan, officer or director
       indemnification agreement or any similar arrangement entered into by the Issuer or any
       of its Restricted Subsidiaries in the ordinary course of business or consistent with past
       practice and payments pursuant thereto;

               (2)     transactions (including a merger) between or among the Issuer and/or any
       of its Restricted Subsidiaries;

               (3)      transactions with a Person (other than an Unrestricted Subsidiary of the
       Issuer) that is an Affiliate of the Issuer solely because the Issuer owns, directly or through
       a Restricted Subsidiary of the Issuer, an Equity Interest in, or controls, such Person;




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        (4)     payment of reasonable fees to, and indemnity provided on behalf of,
officers, directors, employees or consultants of the Issuer or any of its Restricted
Subsidiaries or any direct or indirect parent of the Issuer;

        (5)     any contribution to the capital of the Issuer or any issuance of Equity
Interests (other than Disqualified Stock) of the Issuer to Affiliates of the Issuer or to any
director, officer, employee or consultant of the Issuer or any direct or indirect parent of
the Issuer, and the granting and performance of registration rights;

          (6)   Restricted Payments and Investments that do not violate Section 4.05
hereof;

        (7)    the entering into any agreement to pay, and the payment of, customary
annual management, consulting, monitoring and advisory fees to the Equity Investors in
an amount not to exceed in any four quarter period the greater of (x) $2.5 million and
(y) 1.0% of Consolidated Adjusted EBITDA of the Issuer and its Restricted Subsidiaries
for such period and related expenses;

       (8)     loans or advances to employees or consultants in the ordinary course of
business or consistent with past practice;

          (9)   any transaction effected as part of a Qualified Receivables Financing;

        (10) any transaction in which the Issuer or any of its Restricted Subsidiaries, as
the case may be, delivers to the Trustee a letter from an accounting, appraisal or
investment banking firm of national standing stating that such transaction is fair to the
Issuer or such Restricted Subsidiary from a financial point of view or that such
transaction meets the requirements of clause (1) of Section 4.09(a);

        (11) the existence of, or the performance by the Issuer or any of its Restricted
Subsidiaries of its obligations under the terms of, any acquisition agreements or
members’ or stockholders’ agreement or related documents to which it is a party as of the
Issue Date and any amendment thereto or similar agreements which it may enter into
thereafter; provided, however, that the existence of, or the performance by the Issuer or
any of its Restricted Subsidiaries of its obligations under, any future amendment to any
such existing agreement or under any similar agreement entered into after the Issue Date
shall only be permitted by this clause (11) to the extent that the terms of any such existing
agreement, together with all amendments thereto, taken as a whole, or such new
agreement are not otherwise more disadvantageous to the Holders taken as a whole than
the original agreement as in effect on the Issue Date;

        (12) transactions with Unrestricted Subsidiaries, customers, clients, suppliers,
joint ventures, joint venture partners or purchasers or sellers of goods or services or
lessors or lessees of property, in each case in the ordinary course of business and
otherwise in compliance with the terms of this Indenture which are, in the aggregate
(taking into account all the costs and benefits associated with such transactions),
materially no less favorable to the Issuer or its Restricted Subsidiaries than those that
would have been obtained in a comparable transaction by the Issuer or such Restricted


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       Subsidiary with an unrelated Person, in the reasonable determination of the Board of
       Directors of the Issuer or senior management of either of them, or are on terms at least as
       favorable as might reasonably have been obtained at such time from an unaffiliated party;

              (13) (x) guarantees of performance by the Issuer and its Restricted Subsidiaries
       of Unrestricted Subsidiaries in the ordinary course of business, except for guarantees of
       Indebtedness in respect of borrowed money, and (y) pledges of Equity Interests of
       Unrestricted Subsidiaries for the benefit of lenders of Unrestricted Subsidiaries;

              (14) if such Affiliate Transaction is with a Person in its capacity as a holder of
       Indebtedness or Capital Stock of the Issuer or any Restricted Subsidiary of the Issuer
       where such Person is treated no more favorably than the holders of Indebtedness or
       Capital Stock of the Issuer or any Restricted Subsidiary of the Issuer;

              (15) transactions effected pursuant to agreements in effect on the Issue Date
       and any amendment, modification or replacement of such agreement (so long as such
       amendment or replacement is not materially more disadvantageous to the Holders, taken
       as a whole);

               (16) payments to the Equity Investors made for any financial advisory,
       financing or other investment banking activities, including without limitation, in
       connection with acquisitions or divestitures, which payments are approved by a majority
       of the Board of Directors;

               (17) the Refinancing Transactions and the payment of all fees and expenses
       related to the Refinancing Transactions, in each case, as contemplated in the Offering
       Document;

               (18)     intellectual property licenses in the ordinary course of business; and

              (19) transactions between the Issuer or any of its Restricted Subsidiaries and
       any Person, a director of which is also a director of the Issuer; provided, however, that
       such director abstains from voting as a director of the Issuer on any matter involving such
       other Person.

Section 4.10   Liens.

                (a)      The Issuer will not, and will not permit any Restricted Subsidiary of the
Issuer to, directly or indirectly, create, incur or assume any Lien (other than Permitted Liens) on
any asset or property of the Issuer or such Restricted Subsidiary that secures any Indebtedness of
the Issuer or such Restricted Subsidiary or any related Guarantees, except that the Issuer and any
Restricted Subsidiary of the Issuer may incur or suffer to exist Liens on assets not constituting
Collateral, so long as the Issuer or such Restricted Subsidiary effectively provides that the Notes
or the applicable Note Guarantee, as the case may be, shall be equally and ratably secured with
(or on a senior basis to, in the case such Lien secures any Indebtedness that is contractually
subordinated in right of payment to the Notes or the applicable Note Guarantee) the Indebtedness
or related Guarantees secured by such Lien.



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                (b)     Section 4.10(a) will not require the Issuer or any Restricted Subsidiary of
the Issuer to secure the Notes if the relevant Lien consists of a Permitted Lien. Any Lien which is
granted to secure the Notes or such Note Guarantee under Section 4.10(a) shall be automatically
released and discharged at the same time as the release of the Lien that gave rise to the obligation
to secure the Notes or such Note Guarantee under Section 4.10(a).

                (c)     For purposes of determining compliance with this Section 4.10, (i) a Lien
need not be incurred solely by reference to one category of Permitted Liens described in the
definition thereof but is permitted to be incurred in part under any combination thereof and of
any other available exemption and (ii) in the event that a Lien (or any portion thereof) meets the
criteria of one of more of the categories of Permitted Liens, the Issuer will, in its sole discretion,
be entitled to divide, classify or reclassify, in whole or in part, any such Lien (or any portion
thereof) among one or more of such categories or clauses in any manner.

Section 4.11   [Reserved].

Section 4.12   Offer to Repurchase Upon Change of Control.

                 (a)     Upon the occurrence of a Change of Control, the Issuer will make an offer
(a “Change of Control Offer”) to each Holder to repurchase all or any part (equal to $2,000 or an
integral multiple of $1,000 in excess of $2,000) of that Holder’s Notes at a purchase price in cash
equal to 101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid
interest, if any, on the Notes repurchased to, but not including, the date of purchase, subject to
the rights of Holders on the relevant record date to receive interest due on the relevant interest
payment date (the “Change of Control Payment”). Within 30 days following any Change of
Control, except to the extent that the Issuer has exercised its right to redeem the Notes in
accordance with Article 3 of this Indenture, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, describing the transaction or transactions that constitute the Change of Control and
stating:

              (1)     that the Change of Control Offer is being made pursuant to this
       Section 4.12 and that all Notes properly tendered pursuant to such Change of Control
       Offer will be accepted for payment;

               (2)    the purchase price and the purchase date, which shall be no earlier than 15
       days and no later than 60 days from the date such notice is mailed or otherwise delivered
       in accordance with the applicable procedures of DTC (the “Change of Control Payment
       Date”);

               (3)     that any Note not tendered will continue to accrue interest;

               (4)    that, unless the Issuer defaults in the payment of the Change of Control
       Payment, all Notes accepted for payment pursuant to the Change of Control Offer will
       cease to accrue interest after the Change of Control Payment Date;

              (5)    that Holders electing to have any Notes purchased pursuant to a Change of
       Control Offer will be required to surrender the Notes, with the form entitled “Option of


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          Holder to Elect Purchase” attached to the Notes completed, or transfer by book−entry
          transfer, to the Trustee at the address specified in the notice prior to the close of business
          on the third Business Day preceding the Change of Control Payment Date;

                  (6)     that Holders will be entitled to withdraw their election if the Trustee
          receives, not later than the close of business on the second Business Day preceding the
          Change of Control Payment Date, a telegram, telex, facsimile transmission or letter
          setting forth the name of the Holder, the principal amount of Notes delivered for
          purchase, and a statement that such Holder is withdrawing his election to have the Notes
          purchased; and

                  (7)    that Holders whose Notes are being purchased only in part will be issued
          new Notes equal in principal amount to the unpurchased portion of the Notes
          surrendered, which unpurchased portion must be equal to $2,000 in principal amount or
          an integral multiple of $1,000 in excess of $2,000.

               The Issuer will comply with the requirements of Rule 14e−1 under the Exchange
Act and any other securities laws and regulations thereunder to the extent those laws and
regulations are applicable in connection with the repurchase of the Notes as a result of a Change
of Control. To the extent that the provisions of any securities laws or regulations conflict with
the provisions of this Section 4.12 hereof, the Issuer will comply with the applicable securities
laws and regulations and will not be deemed to have breached its obligations under this
Section 4.12 by virtue of such compliance.

               (b)    On the Business Day immediately preceding the Change of Control
Payment Date, the Issuer will, to the extent lawful, deposit with the Paying Agent an amount
equal to the Change of Control Payment in respect of all Notes or portions of Notes accepted for
payment.

                 (c)     On the Change of Control Payment Date, the Issuer will, to the extent
lawful:

                 (1)     accept for payment all Notes or portions of Notes (in a minimum principal
          amount of $2,000 and integral multiples of $1,000 in excess of $2,000) properly tendered
          pursuant to the Change of Control Offer and not properly withdrawn; and

                 (2)     deliver or cause to be delivered to the Trustee the Notes properly accepted
          together with an Officer’s Certificate stating the aggregate principal amount of Notes or
          portions of Notes being purchased by the Issuer.

                The Paying Agent will promptly mail or otherwise deliver in accordance with the
applicable procedures of DTC to each Holder properly tendered the Change of Control Payment
for such Notes, and the Trustee, upon receipt of an Authentication Order, will promptly
authenticate and mail or otherwise deliver in accordance with the applicable procedures of DTC
(or cause to be transferred by book entry) to each Holder a new Note equal in principal amount
to any unpurchased portion of the Notes surrendered, if any; provided, that each new Note will
be in a principal amount of $2,000 or an integral multiple of $1,000 in excess of $2,000. The



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Issuer will publicly announce the results of the Change of Control Offer on or as soon as
reasonably practicable after the Change of Control Payment Date.

                (d)    In the event that Holders of not less than 90% in aggregate principal
amount of the outstanding Notes accept a Change of Control Offer, Alternate Offer or other
tender offer to purchase all of the Notes and the Issuer (or any third party making such Change of
Control Offer, Alternate Offer or other tender offer to purchase all of the Notes in lieu of the
Issuer) purchases all of the Notes held by such Holders, the Issuer shall have the right, upon not
less than 15 nor more than 60 days prior notice, given not more than 15 days following the
purchase pursuant to the Change of Control Offer, Alternate Offer or other tender offer to
purchase all of the Notes, to redeem all of the Notes that remain outstanding following such
purchase at a redemption price in cash equal to the price offered to each other Holder in the
Change of Control Offer, Alternate Offer or other tender offer plus, to the extent not included in
the Change of Control Offer, Alternate Offer or other tender offer, accrued and unpaid interest, if
any on the Notes that remain outstanding, to, but excluding, to the date of redemption (subject to
the right of Holders of record on the relevant record date to receive interest due on the relevant
interest payment date).

                (e)      Notwithstanding anything to the contrary in this Section 4.12, the Issuer
will not be required to make a Change of Control Offer upon a Change of Control if (1) a third
party makes the Change of Control Offer in the manner, at the times and otherwise in
compliance with the requirements set forth in this Section 4.12 and purchases all Notes properly
tendered and not withdrawn under the Change of Control Offer, (2) notice of redemption of all
outstanding Notes has been previously or is concurrently electronically delivered or mailed
pursuant to Section 3.03 hereof, unless and until there is a default in payment of the applicable
redemption price or (3) in connection with or in contemplation of any Change of Control, the
Issuer has made an offer to purchase (an “Alternate Offer”) any and all Notes validly tendered at
a cash price equal to or higher than the Change of Control Payment and has purchased all Notes
properly tendered in accordance with the terms of the Alternate Offer. Notwithstanding anything
to the contrary contained in this Indenture, a Change of Control Offer or an Alternate Offer may
be made in advance of a Change of Control, conditioned upon the consummation of such Change
of Control, if a definitive agreement is in place for the Change of Control at the time the Change
of Control Offer or the Alternate Offer is made. The closing date of any such Change of Control
Offer or any such Alternate Offer made in advance of a Change of Control may be changed to
conform to the actual closing date of the Change of Control; provided that such closing date is
not earlier than 15 days nor later than 60 days from the date the Change of Control Offer notice
is sent as described in Section 4.12(a) hereof, subject to the extension in the event of a
conditional offer.

               (f)     The Issuer’s obligation to make a Change of Control Offer pursuant to this
Section 4.12 may be waived or modified or terminated with the written consent of the Holders of
a majority in principal amount of the Notes then outstanding (including consents obtained in
connection with a tender offer or exchange offer for the Notes) prior to the occurrence of such
Change of Control.

Section 4.13   [Reserved].



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Section 4.14   Additional Note Guarantees.

                 If any Restricted Subsidiary of the Issuer (other than any Excluded Subsidiary)
that is not already a Guarantor Guarantees any Debt Facilities of the Issuer (or any other
Restricted Subsidiary), then such Restricted Subsidiary will become a Guarantor and execute a
supplemental indenture substantially in the form of Exhibit D hereto and the applicable Security
Documents or joinders or supplements thereto and deliver an Opinion of Counsel and Officer’s
Certificate required by this Indenture to the Trustee within 30 days of the date on which it was
acquired or created; provided that this Section 4.14 shall not be applicable to any Guarantee of
any Restricted Subsidiary of the Issuer that existed at the time such Person became a Restricted
Subsidiary of the Issuer and was not incurred in connection with, or in contemplation of, such
Person becoming a Restricted Subsidiary of the Issuer.

Section 4.15   Designation of Restricted and Unrestricted Subsidiaries.

                (a)     The Board of Directors of the Issuer may designate any Restricted
Subsidiary of the Issuer to be an Unrestricted Subsidiary if that designation would not cause a
Default. If a Restricted Subsidiary of the Issuer is designated as an Unrestricted Subsidiary, the
aggregate Fair Market Value of all outstanding Investments owned by the Issuer and its
Restricted Subsidiaries in the Subsidiary designated as an Unrestricted Subsidiary will be
deemed to be an Investment made as of the time of the designation and will reduce the amount
available for Restricted Payments under Section 4.05 hereof or under one or more clauses of the
definition of Permitted Investments, as determined by the Issuer. That designation will only be
permitted if the Investment would be permitted at that time and if the Restricted Subsidiary
otherwise meets the definition of an Unrestricted Subsidiary. The Board of Directors of the
Issuer may redesignate any Unrestricted Subsidiary to be a Restricted Subsidiary if that
redesignation would not cause a Default.

                (b)     Any designation of a Subsidiary of the Issuer as an Unrestricted
Subsidiary will be evidenced to the Trustee by filing with the Trustee a certified copy of a
resolution of the Board of Directors giving effect to such designation and an Officer’s Certificate
certifying that such designation complied with the preceding conditions and was permitted by
Section 4.05 hereof. If, at any time, any Unrestricted Subsidiary would fail to meet the preceding
requirements as an Unrestricted Subsidiary, it will thereafter cease to be an Unrestricted
Subsidiary for purposes of this Indenture and any Indebtedness of such Subsidiary will be
deemed to be incurred by a Restricted Subsidiary of the Issuer as of such date and, if such
Indebtedness is not permitted to be incurred as of such date under Section 4.07 hereof, the Issuer
will be in default of such covenant. The Board of Directors of the Issuer may at any time
designate any Unrestricted Subsidiary to be a Restricted Subsidiary of the Issuer; provided that
such designation will be deemed to be an incurrence of Indebtedness by a Restricted Subsidiary
of the Issuer of any outstanding Indebtedness of such Unrestricted Subsidiary, and such
designation will only be permitted if (1) (x) the Issuer could incur such Indebtedness pursuant to
Section 4.07(a) hereof, or (y) the Fixed Charge Coverage Ratio for the Issuer and its Restricted
Subsidiaries would be equal to or greater than such ratio for the Issuer and its Restricted
Subsidiaries immediately prior to such designation, in each case on a pro forma basis taking into
account such designation; and (2) no Default or Event of Default would be in existence
following such designation.


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Section 4.16   Changes in Covenants upon Notes being Rated Investment Grade.

                (a)     During any period of time and beginning on the day that (a) the Notes
have an Investment Grade Rating and (b) no Default or Event of Default has occurred and is
continuing under this Indenture, the Issuer and its Restricted Subsidiaries will not be subject to
the covenants contained in Sections 4.05, 4.06, 4.07, 4.08, 4.09, 4.14 (but only with respect to
any Person that is required to become a Guarantor after the commencement of the applicable
suspension date), 4.15 and 5.01(a)(4) (collectively, the “Suspended Covenants”) shall terminate.
If the Issuer and its Restricted Subsidiaries are not subject to these covenants for any period of
time as a result of the previous sentence (a “Fall−Away Period”) and, subsequently, the ratings
assigned to the Notes are withdrawn or downgraded so the Notes no longer have an Investment
Grade Rating or an Event of Default (other than with respect to a Suspended Covenant) occurs
and is continuing, then the Issuer and its Restricted Subsidiaries will thereafter again be subject
to these covenants. The ability of the Issuer and its Restricted Subsidiaries to make Restricted
Payments after the time of such withdrawal, downgrade or Event of Default will be calculated as
if the covenant governing Restricted Payments had been in effect during the entire period of time
from the Issue Date. Notwithstanding the foregoing, the continued existence after the end of the
Fall−Away Period of facts and circumstances or obligations arising from transactions that
occurred during a Fall−Away Period shall not constitute a breach of any covenant set forth in this
Indenture or cause an Event of Default hereunder. Promptly after the commencement of the
Fall-Away Period, the Issuer shall deliver to the Trustee an Officer’s Certificate certifying to
such event.

                (b)     Neither the Trustee nor any Agent shall have any liability or responsibility
with respect to, or obligation or duty to monitor, determine or inquire (i) as to the Issuer’s or any
Guarantor’s compliance with any covenant under this Indenture (other than the covenant to make
payment on the Notes), (ii) as to whether or not the rating of the Notes has been adjusted, or
(iii) as to whether or not a Fall−Away Period has occurred or is continuing.

Section 4.17   Further Assurances, Instruments and Acts.

                (a)    The Issuer shall execute and deliver such further instruments and do such
further acts as may be reasonably necessary or proper to carry out more effectively the purpose
of this Indenture.

               (b)      The Issuer and the Guarantors shall execute and deliver such additional
instruments, certificates or documents, and take all such actions as may be reasonably required
from time to time in order to:

               (1)     carry out more effectively the purposes of the Security Documents;

              (2)     create, grant, perfect and maintain the validity, effectiveness and priority
       of any of the Security Documents and the Liens created, or intended to be created, by the
       Security Documents; and

              (3)     ensure the protection and enforcement of any of the rights granted or
       intended to be granted to the Trustee under any other instrument executed in connection
       therewith.


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Section 4.18   Real Property.

                The Issuer shall notify the Collateral Agent in writing within 30 days after the
acquisition of any real property owned by the Issuer or any Guarantor that has a fair market
value in excess of $5,000,000 that is not subject to the existing Mortgages (the “After−Acquired
Real Property”), and, within 180 days after the acquisition of such owned real property, as such
date may be extended by the Collateral Agent, deliver to the Collateral Agent, with respect to
such owned real property, each of the documents described in Section 4.19 hereof (but excluding
the documents described in clause (h) thereof) and such other documents as may be reasonably
requested by the Collateral Agent to evidence the Liens contemplated by this Indenture and the
Mortgages.

Section 4.19   Post-Closing Matters.

                The Issuer and the Guarantors shall deliver to the Collateral Agent within 180
days after the Issue Date (or such longer period as the Collateral Agent shall agree), to the extent
not previously provided, each of the following documents with respect to the Notes Priority
Collateral, as appropriate:

               (a)     Mortgages. With respect to each Mortgaged Property, counterparts of a
Mortgage, together with the assignments of leases and rents referred to therein, in proper form
for recording in the appropriate recording office of the political subdivision where such
Mortgaged Property is located, duly executed and acknowledged by the Issuer or the applicable
Guarantor effective to create a valid and enforceable first-priority (with respect to Notes Priority
Collateral) mortgage Lien, subject to no Liens other than Permitted Liens, on each Mortgaged
Property, except to the extent such Mortgaged Property is located in a jurisdiction which imposes
mortgage recording taxes, intangible taxes, documentary taxes or other similar fees and charges,
the subject Mortgage shall only secure an amount equal to the fair market value of such
Mortgaged Property as reasonably determined, in good faith, by the Issuer and such other
instruments necessary to grant the interests purported to be granted by such Mortgage (and to
record such Mortgage in the appropriate recording offices) under the laws of any applicable
jurisdiction.

                (b)     Title Insurance. With respect to each Mortgage encumbering any
Mortgaged Property, a policy of title insurance (or commitment to issue such a policy) in an
amount not to exceed the fair market value of such Mortgaged Property as reasonably
determined, in good faith, by the Issuer (such policies collectively, the “Mortgage Policies”)
issued by any title insurance company (the “Title Company”), insuring (or committing to insure)
that such Mortgage constitutes a valid and enforceable first-priority (with respect to Notes
Priority Collateral) mortgage Lien on the respective Mortgaged Property, free and clear of all
Liens other than Permitted Liens, which Mortgage Policies shall (A) not include the general title
exception for mechanics’ liens and (B) provide for such affirmative insurance as the
Representative may reasonably request and which is available in the applicable jurisdiction at
commercially reasonable rates and (C) otherwise be in form and substance reasonably
satisfactory to the Representative.




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                (c)     Surveys. With respect to each Mortgaged Property, the Issuer shall deliver
all surveys as reasonably deemed necessary by the Representative certified to the Collateral
Agent for its benefit, for the benefit of the Trustee, for the benefit of the Holders and for the
benefit of the Title Company prepared by an independent professional licensed land surveyor or
an affidavit of “no change” executed by the Issuer with respect to any existing survey, sufficient
for the Title Company to delete the survey exception (if permitted in the relevant jurisdiction)
and issue a “same-as-survey” endorsement to the Mortgage Policies to the extent such
endorsement is available in the relevant jurisdiction at commercially reasonable rates.

                 (d)    Fixture Filings. With respect to each Mortgaged Property, to the extent the
Mortgages are not sufficient to qualify as a fixture filing under applicable laws of the
jurisdiction, a copy of a filed UCC-1 in the jurisdiction in which such Mortgaged Property is
located in order to perfect the Lien on and security interest in the fixtures encumbered by the
applicable Mortgage in favor of the Collateral Agent for its benefit and the benefit of the Trustee
and the Holders.

                (e)      Title Insurance Documents. With respect to each Mortgaged Property,
such affidavits, certificates, information and instruments as shall be reasonably and customarily
required to induce the Title Company to issue the Mortgage Policies.

              (f)      Collateral Fees and Expenses. Evidence of payment by the Issuer of all
search and examination charges, escrow charges and related charges, title insurance premiums,
filing, documentary, stamp, intangible and mortgage recording taxes, fees, charges, costs and
expenses required for the recording of the Mortgages, fixture filings and issuance of the
Mortgage Policies and endorsements required pursuant to clause (b) above.

                (g)    Real Estate Opinion Letter. The opinion of counsel to the Issuer in the
jurisdiction in which a Mortgaged Property is located, dated as of the date of the Mortgages and
addressed to the Representative, the Trustee and the Collateral Agent, in form and substance
reasonably satisfactory to the Representative, relating to the enforceability of the Mortgages.

Section 4.20   [Reserved].

Section 4.21   Limited Condition Transactions; Measuring Compliance.

                 (a)    With respect to any (i) Investment or acquisition, in each case, the
consummation by the Issuer or any Subsidiary of the Issuer of which is not conditioned on
availability of, or on obtaining, third-party financing for such Investment or acquisition (whether
by merger, amalgamation, consolidation or other business combination or the acquisition of
Capital Stock or otherwise) as applicable and (ii) redemption, repurchase, defeasance,
satisfaction and discharge or repayment of Indebtedness, Disqualified Stock or preferred stock
requiring irrevocable notice in advance of such redemption, repurchase, defeasance, satisfaction
and discharge or repayment (any transaction described in clauses (i) or (ii), a “Limited Condition
Transaction”), in each case for purposes of determining:

               (1)     whether any Indebtedness (including Acquired Debt), Disqualified Stock
       or preferred stock that is being incurred or issued in connection with such Limited
       Condition Transaction is permitted to be incurred in compliance with Section 4.07;


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        (2)    whether any Lien being incurred in connection with such Limited
Condition Transaction or to secure any such Indebtedness, Disqualified Stock or
preferred stock is permitted to be incurred in accordance with Section 4.10;

       (3)    whether any other transaction undertaken or proposed to be undertaken in
connection with such Limited Condition Transaction complies with the covenants or
agreements contained in this Indenture or the Notes; and

       (4)      any calculation of the Fixed Charge Coverage Ratio, Net Leverage Ratio,
Senior Secured Net Leverage Ratio, Net Income, Consolidated Net Income, and/or
Consolidated Adjusted EBITDA and/or Total Assets and, whether a Default or Event of
Default exists in connection with the foregoing,

at the option of the Issuer, the date that the definitive agreement (or other relevant
definitive documentation) for such Limited Condition Transaction is entered into (the
“Transaction Agreement Date”) may be used as the applicable date of determination, as
the case may be, in each case with such pro forma adjustments as are appropriate and
consistent with the pro forma adjustment provisions set forth in the definition of “Fixed
Charge Coverage Ratio” or “Net Leverage Ratio” or “Senior Secured Net Leverage
Ratio” or “Consolidated Adjusted EBITDA” and if the Issuer or the Restricted
Subsidiaries could have taken such action on the relevant Transaction Agreement Date in
compliance with the applicable ratios or other provisions, such provisions shall be
deemed to have been complied with. For the avoidance of doubt, if the Issuer elects to
use the Transaction Agreement Date as the applicable date of determination in
accordance with the foregoing, (a) such election may not be revoked, (b) any fluctuation
or change in the Fixed Charge Coverage Ratio, Net Leverage Ratio, Senior Secured Net
Leverage Ratio, Net Income, Consolidated Net Income, Consolidated Adjusted EBITDA
or Total Assets of the Issuer, the target business, or assets to be acquired subsequent to
the Transaction Agreement Date and prior to the consummation of such Limited
Condition Transaction, will not be taken into account for purposes of determining
whether any Indebtedness, Disqualified Stock, preferred stock or Lien that is being
incurred or issued in connection with such Limited Condition Transaction is permitted to
be incurred or issued or in connection with compliance by the Issuer or any of the
Restricted Subsidiaries with any other provision of this Indenture or the Notes or any
other action or transaction undertaken in connection with such Limited Condition
Transaction and (c) until such Limited Condition Transaction is consummated or the
definitive agreements related thereto are terminated, such Limited Condition Transaction
and all transactions proposed to be undertaken in connection therewith (including the
incurrence of Indebtedness and Liens) will be given pro forma effect when determining
compliance of other transactions (including the incurrence or issuance of Indebtedness,
Disqualified Stock, preferred stock and Liens unrelated to such Investment, acquisition or
repayment, repurchase or refinancing of Indebtedness) that are consummated after the
Transaction Agreement Date and on or prior to the consummation of such Limited
Condition Transaction and any such transactions (including any incurrence or issuance of
Indebtedness, Disqualified Stock or preferred stock and the use of proceeds thereof) will
be deemed to have occurred on the Transaction Agreement Date and outstanding
thereafter for purposes of calculating any baskets or ratios under this Indenture after the


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       date of such agreement and before the consummation of such Limited Condition
       Transaction; provided that for purposes of any such calculation of the Fixed Charge
       Coverage Ratio, consolidated interest expense will be calculated using an assumed
       interest rate for the Indebtedness to be incurred in connection with such Limited
       Condition Transaction based on the indicative interest margin contained in any financing
       commitment documentation with respect to such Indebtedness or, if no such indicative
       interest margin exists, as reasonably determined by the Issuer in good faith.

              (b)     Compliance with any requirement relating to absence of Default or Event
of Default may be determined as of the Transaction Agreement Date and not as of any later date
as would otherwise be required under this Indenture.

                (c)     In the event an item of Indebtedness, Disqualified Stock or preferred stock
(or any portion thereof) is incurred or issued or other transaction is undertaken on the same date
that any other item of Indebtedness, Disqualified Stock or preferred stock (or any portion
thereof) is incurred or issued, any other Lien is incurred or other transaction is undertaken, then
the Fixed Charge Coverage Ratio will be calculated with respect to such incurrence, issuance or
other transaction without regard to any other incurrence, issuance or transaction. Each item of
Indebtedness, Disqualified Stock or preferred stock that is incurred or issued and each other
transaction undertaken will be deemed to have been incurred, issued or taken first, to the extent
available, pursuant to the relevant Fixed Charge Coverage Ratio test.



                                              ARTICLE 5

                                            SUCCESSORS

Section 5.01   Consolidation, Amalgamation, Merger, or Sale of Assets.

                (a)     The Issuer will not, directly or indirectly: (i) consolidate, amalgamate or
merge with or into another Person; or (ii) sell, assign, transfer, convey or otherwise dispose of
(including by way of division) all or substantially all of the Issuer’s properties or assets
(determined on a consolidated basis for the Issuer and its Restricted Subsidiaries) in one or more
related transactions to another Person, unless:

               (1)     either:

                       (A)       the Issuer is the surviving entity; or

                       (B)    the Person formed by or surviving any such consolidation or
               merger (if other than the Issuer) or to which such sale, assignment, transfer,
               conveyance or other disposition has been made is a corporation, partnership
               (including a master limited partnership) or limited liability company organized or
               existing under the laws of the United States, any state of the United States or the
               District of Columbia;




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        (2)     the Person formed by or surviving any such consolidation or merger (if
other than the Issuer) or the Person to which such sale, assignment, transfer, conveyance
or other disposition has been made assumes all the obligations of the Issuer under the
Notes, this Indenture and the Security Documents pursuant a supplemental indenture and
amendments to the Security Documents;

       (3)     immediately after such transaction, no Default or Event of Default exists;

       (4)     either:

               (A)    the Issuer or the Person formed by or surviving any such
       consolidation or merger (if other than the Issuer), or to which such sale,
       assignment, transfer, conveyance or other disposition has been made would, on
       the date of such transaction after giving pro forma effect thereto and any related
       financing transactions as if the same had occurred at the beginning of the
       applicable four−quarter period be permitted to incur at least $1.00 of additional
       Indebtedness pursuant to Section 4.07(a) hereof; or

               (B)   the Fixed Charge Coverage Ratio for the successor entity and its
       Restricted Subsidiaries would not be less than such ratio for the Issuer and its
       Restricted Subsidiaries immediately prior to such transaction;

        (5)     the successor entity causes such amendments, supplements or other
instruments to be executed, delivered, filed and recorded, as applicable, in such
jurisdictions as may be required by applicable law to preserve and protect the Lien of the
Security Documents on the Collateral owned by or transferred to the successor entity;

        (6)     the Collateral owned by or transferred to the successor entity shall
(a) continue to constitute Collateral under this Indenture and the Security Documents,
(b) be subject to the Lien in favor of the Collateral Agent for the benefit of the Trustee
and the Holders, and (c) not be subject to any Lien other than Permitted Liens; and

        (7)     the property and assets of the Person which is merged or consolidated with
or into the successor entity, to the extent that they are property or assets of the types
which would constitute Collateral under the Security Documents, shall be treated as
after-acquired property and the successor entity shall take such action as may be
reasonably necessary to cause such property and assets to be made subject to the Lien of
the Security Documents in the manner and to the extent required in this Indenture; and

       (8)     the Issuer has delivered to the Trustee an Officer’s Certificate and an
Opinion of Counsel, each stating that such consolidation, amalgamation, merger, sale,
assignment, transfer, conveyance or other disposition and such supplemental indenture
and amendments comply with this Indenture and the Security Documents and that all
conditions precedent therein provided for relating to such transaction have been complied
with.




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                (b)     The Issuer shall not, directly or indirectly, lease all or substantially all of
the properties and assets of it and its Restricted Subsidiaries taken as a whole, in one or more
related transactions, to any other Person.

                (c)     This Section 5.01 will not apply to:

               (1)     a merger of the Issuer with an Affiliate solely for the purpose of
        reincorporating the Issuer under the laws of Canada or any province or territory thereof or
        the United States, any state of the United States or the District of Columbia; and

                (2)    any consolidation, amalgamation, merger, or any sale, assignment,
        transfer, conveyance, lease or other disposition of assets between or among the Issuer and
        any Guarantor.

Section 5.02    Successor Substituted.

                 Upon any consolidation or merger, or any sale, assignment, transfer, lease,
conveyance or other disposition of all or substantially all of the properties or assets of the Issuer,
in a transaction that is subject to, and that complies with the provisions of, Section 5.01 hereof,
the successor Person formed by such consolidation or into or with which the Issuer is merged or
to which such sale, assignment, transfer, lease, conveyance or other disposition is made shall
succeed to, and be substituted for (so that from and after the date of such consolidation, merger,
sale, assignment, transfer, lease, conveyance or other disposition, the provisions of this Indenture
referring to the “Issuer” shall refer instead to the successor Person and not to the Issuer), and
may exercise every right and power of the Issuer under this Indenture with the same effect as if
such successor Person had been named as the Issuer herein; provided, however, that the Issuer
shall not be relieved from the obligation to pay the principal of and interest on the Notes except
in the case of a sale of all or substantially all of the Issuer’s properties or assets in a transaction
that is subject to, and that complies with the provisions of, Section 5.01 hereof.

Section 5.03    Evidence to Be Given to Trustee.

               No consolidation, merger, sale, conveyance, transfer or lease shall be effective
unless the Trustee shall receive an Officer’s Certificate and an Opinion of Counsel as conclusive
evidence that any such consolidation, merger, sale, conveyance, transfer or lease and any such
assumption and, if a supplemental indenture is required in connection with such transaction, such
supplemental indenture, complies with the provisions of this Article 5.

                                              ARTICLE 6

                                   DEFAULTS AND REMEDIES

Section 6.01    Events of Default and Remedies.

                Each of the following is an “Event of Default”:

                (1)     default for 30 days in the payment when due of interest on the Notes;



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       (2)     default in the payment when due (at maturity, upon redemption or
otherwise) of the principal of, or premium, if any, on, the Notes;

       (3)     failure by the Issuer or any of the Issuer’s Restricted Subsidiaries for 60
days (or 180 days in the case of a Reporting Failure) after notice to the Issuer by the
Trustee or the Holders of at least 25% in aggregate principal amount of the Notes then
outstanding voting as a single class to comply with any of the other agreements in this
Indenture or the Security Documents;

        (4)    default under any mortgage, indenture or instrument under which there
may be issued or by which there may be secured or evidenced any Indebtedness for
money borrowed by the Issuer or any of the Issuer’s Restricted Subsidiaries that are
Significant Subsidiaries or any group of the Issuer’s Restricted Subsidiaries that taken as
a whole would constitute a Significant Subsidiary of the Issuer (or the payment of which
is guaranteed by the Issuer or any of the Issuer’s Restricted Subsidiaries), whether such
Indebtedness or Guarantee now exists, or is created after the Issue Date (but excluding
Indebtedness owing to the Issuer or a Restricted Subsidiary of the Issuer), if that default:

              (A)     is caused by a failure to pay principal on such Indebtedness prior to
       the expiration of the grace period provided in such Indebtedness following the
       Stated Maturity of such Indebtedness (a “Payment Default”); or

               (B)    results in the acceleration of such Indebtedness prior to its Stated
       Maturity, and, in each case, the principal amount of any such Indebtedness,
       together with the principal amount of any other such Indebtedness under which
       there has been a Payment Default or the maturity of which has been so
       accelerated, aggregates $35.0 million or more;

        (5)    failure by the Issuer or any of the Issuer’s Restricted Subsidiaries that are
Significant Subsidiaries, or any group of the Issuer’s Restricted Subsidiaries that taken as
a whole would constitute a Significant Subsidiary, to pay final and non−appealable
judgments entered by a court or courts of competent jurisdiction aggregating in excess of
$35.0 million (net of any amounts which are covered by insurance or bonded), which
judgments are not paid, waived, satisfied, discharged or stayed for a period of 60 days;

        (6)     the Issuer or any of the Issuer’s Restricted Subsidiaries that is a Significant
Subsidiary or any group of the Issuer’s Restricted Subsidiaries that, taken together, would
constitute a Significant Subsidiary pursuant to or within the meaning of Bankruptcy Law:

               (A)     commences a voluntary case, or proceeding (including the filing of
       a notice of intention in respect thereof),

              (B)     consents to the entry of an order for relief against it in an
       involuntary case or proceeding,

              (C)   consents to the appointment of a custodian, receiver,
       receiver−manager, administrative receiver, administrator, liquidator, trustee,



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       liquidation custodian, sequestrator, conservator, or similar official of it or for all
       or substantially all of its property, or

               (D)     makes a general assignment for the benefit of its creditors.

      (7)    a court of competent jurisdiction enters an order or decree under any
Bankruptcy Law that:

              (A)     is for relief against the Issuer or any of the Issuer’s Restricted
       Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s Restricted
       Subsidiaries that, taken together, would constitute a Significant Subsidiary in an
       involuntary case or proceeding;

                (B)    appoints a custodian, receiver, receiver−manager, administrative
       receiver, administrator, liquidator, trustee, liquidation custodian, sequestrator,
       conservator, or similar official of the Issuer or any of the Issuer’s Restricted
       Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s Restricted
       Subsidiaries that, taken together, would constitute a Significant Subsidiary or for
       all or substantially all of the property of the Issuer or any of the Issuer’s
       Restricted Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s
       Restricted Subsidiaries that, taken together, would constitute a Significant
       Subsidiary; or

               (C)    orders the liquidation, winding up, or dissolution or a suspension
       of payments against the Issuer or any of the Issuer’s Restricted Subsidiaries that is
       a Significant Subsidiary or any group of the Issuer’s Restricted Subsidiaries that,
       taken together, would constitute a Significant Subsidiary;

and the order or decree remains unstayed and in effect for 60 consecutive days;

        (8)     except as permitted by this Indenture, any Note Guarantee of any
Restricted Subsidiary of the Issuer that is a Significant Subsidiary or any group of the
Issuer’s Restricted Subsidiaries that taken as a whole would constitute a Significant
Subsidiary of the Issuer is held in any judicial proceeding to be unenforceable or invalid
or ceases for any reason to be in full force and effect (other than in accordance with the
terms of such Note Guarantee and this Indenture), or any Guarantor, or any Person acting
on behalf of any such Guarantor, denies or disaffirms its obligations under its Note
Guarantee and such Default continues for ten days;

         (9)     any (x) Security Document governing a security interest with respect to
any Collateral having a Fair Market Value in excess of $35.0 million or (y) obligation
under the Security Documents of the Issuer or any of the Issuer’s Restricted Subsidiaries
that is a Significant Subsidiary or any group of Restricted Subsidiaries of the Issuer that,
taken together as of the latest audited consolidated financial statements for the Issuer and
its Restricted Subsidiaries would constitute a Significant Subsidiary ceases to be in full
force and effect (except as contemplated by the terms of this Indenture and the Note
Guarantees and except for the failure of any security interest with respect to the Collateral
to remain in full force and effect, which is governed by clause (10) below) or is declared


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       null and void in a judicial proceeding or the Issuer or any Guarantor that is a Significant
       Subsidiary or group of Guarantors that taken together as of the latest audited consolidated
       financial statements of the Issuer and its Restricted Subsidiaries would constitute a
       Significant Subsidiary denies or disaffirms its obligations under this Indenture, its Note
       Guarantee or any Security Document and the Issuer fails to cause such Guarantor or
       Guarantors, as the case may be, to rescind such denials or disaffirmations within 60 days;

               (10) with respect to any Collateral having a Fair Market Value in excess of
       $35.0 million, individually or in the aggregate, (A) the failure of the security interest with
       respect to such Collateral under the Security Documents, at any time, to be in full force
       and effect for any reason other than in accordance with their terms and the terms of this
       Indenture and other than the satisfaction in full of all obligations under this Indenture and
       discharge of this Indenture if such failure continues for 60 days or (B) the declaration that
       the security interest with respect to such Collateral created under the Security Documents
       or under this Indenture is invalid or unenforceable, if such Default continues for 60 days
       or (C) the assertion by the Issuer or any Guarantor, in any pleading in any court of
       competent jurisdiction, that any such security interest is invalid or unenforceable.

Section 6.02   Acceleration.

                (a)    In the case of an Event of Default specified in clause (6) or (7) of
Section 6.01 hereof, with respect to the Issuer or any Restricted Subsidiary of the Issuer that is a
Significant Subsidiary or any group of Restricted Subsidiaries of the Issuer that, taken together,
would constitute a Significant Subsidiary, all outstanding Notes will become due and payable
immediately without further action or notice. If any other Event of Default occurs and is
continuing, the Trustee or the Holders of at least 25% in aggregate principal amount of the then
outstanding Notes may declare all the Notes to be due and payable immediately. Upon any such
declaration, the Notes shall become due and payable immediately.

                (b)    In the event of any Event of Default specified in clause (4) of
Section 6.01, such Event of Default and all consequences thereof (excluding, however, any
resulting payment default) will be annulled, waived and rescinded, automatically and without
any action by the Trustee or the Holders, if within 20 days after such Event of Default arose the
Issuer delivers an Officer’s Certificate to the Trustee stating that (x) the Indebtedness or
Guarantee that is the basis for such Event of Default has been discharged or (y) the holders
thereof have rescinded or waived the acceleration, notice or action (as the case may be) giving
rise to such Event of Default or (z) the default that is the basis for such Event of Default has been
cured, it being understood that in no event shall an acceleration of the principal amount of the
Notes as described in this Section 6.02 be annulled, waived or rescinded upon the happening of
any such events.

Section 6.03   Other Remedies.

               (a)    If an Event of Default occurs and is continuing, the Trustee may pursue
any available remedy to collect the payment of principal, premium and interest on the Notes or to
enforce the performance of any provision of the Notes, Note Guarantees or this Indenture,




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including giving instructions to the Collateral Agent to take enforcement action in accordance
with the terms of the Security Documents.

               (b)     The Trustee may maintain a proceeding even if it does not possess any of
the Notes or does not produce any of them in the proceeding. A delay or omission by the Trustee
or any Holder in exercising any right or remedy accruing upon an Event of Default shall not
impair the right or remedy or constitute a waiver of or acquiescence in the Event of Default. All
remedies are cumulative to the extent permitted by law.

Section 6.04      Waiver of Past Defaults.

                Holders of not less than a majority in aggregate principal amount of the then
outstanding Notes by written notice to the Trustee may, on behalf of the Holders of all of the
Notes, rescind an acceleration or waive an existing Default or Event of Default and its
consequences hereunder except a continuing Default or Event of Default in the payment of
interest or premium on, or the principal of, the Notes. Upon any such rescission or waiver, such
Default shall cease to exist, and any Event of Default arising therefrom shall be deemed to have
been cured for every purpose of this Indenture; but no such waiver shall extend to any
subsequent or other Default or impair any right consequent thereon.

Section 6.05      Control by Majority.

                Holders of a majority in aggregate principal amount of the then outstanding Notes
may direct the time, method and place of conducting any proceeding for exercising any remedy
available to the Trustee or exercising any trust or power conferred on it. However, the Trustee
may refuse to follow any direction that conflicts with law or this Indenture that the Trustee
determines may be unduly prejudicial to the rights of other Holders or that may involve the
Trustee in personal liability.

Section 6.06      Limitation on Suits.

                  (a)     A Holder may pursue a remedy with respect to this Indenture or the Notes
only if:

                  (1)      such Holder has previously given the Trustee written notice that an Event
           of Default is continuing;

                  (2)    Holders of at least 25% in aggregate principal amount of the then
           outstanding Notes have requested the Trustee in writing to pursue the remedy;

                   (3)     such Holder or Holders offer and, if requested, provide to the Trustee
           security or indemnity satisfactory to the Trustee against any loss, liability or expense;

                   (4)     the Trustee does not comply with the request within 60 days after receipt
           of the request and the offer of security or indemnity; and




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              (5)     during such 60−day period, Holders of a majority in aggregate principal
       amount of the then outstanding Notes do not give the Trustee a written direction
       inconsistent with such request.

               (b)     A Holder may not use this Indenture to prejudice the rights of another
Holder or to obtain a preference or priority over another Holder.

Section 6.07   Rights of Holders to Receive Payment.

                Notwithstanding any other provision of this Indenture, the contractual right of any
Holder to bring suit for the payment of principal, premium, if any, and interest on its Note, on or
after the respective due dates expressed or provided for in such Note , shall not be amended
without the consent of such Holder.

Section 6.08   Collection Suit by Trustee.

                If an Event of Default specified in clauses (1) or (2) of Section 6.01 hereof occurs
and is continuing, the Trustee is authorized to recover judgment in its own name and as trustee of
an express trust against the Issuer for the whole amount of principal of, premium, if any, and
interest remaining unpaid on, the Notes and interest on overdue principal and, to the extent
lawful, interest and such further amount as shall be sufficient to cover the costs and expenses of
collection, including the reasonable compensation, expenses, disbursements and advances of the
Trustee, its agents and counsel.

Section 6.09   Trustee or Collateral Agent May File Proofs of Claim.

                The Trustee or the Collateral Agent is authorized to file such proofs of claim and
other papers or documents as may be necessary or advisable in order to have the claims of the
Trustee or the Collateral Agent (including any claim for the compensation, expenses,
disbursements and advances of the Trustee or the Collateral Agent, their agents and counsel) and
the Holders allowed in any judicial proceedings relative to the Issuer (or any other obligor upon
the Notes), its creditors or its property and shall be entitled and empowered to collect, receive
and distribute any money or other property payable or deliverable on any such claims and any
custodian in any such judicial proceeding is hereby authorized by each Holder to make such
payments to the Trustee or the Collateral Agent, and in the event that the Trustee shall consent to
the making of such payments directly to the Holders, to pay to the Trustee or the Collateral
Agent any amount due to it for the reasonable and documented compensation, expenses,
disbursements and advances of the Trustee or the Collateral Agent, their agents and counsel, and
any other amounts due the Trustee or the Collateral Agent under Section 7.07 hereof. To the
extent that the payment of any such compensation, expenses, disbursements and advances of the
Trustee or the Collateral Agent, their agents and counsel, and any other amounts due the Trustee
under Section 7.07 hereof out of the estate in any such proceeding, shall be denied for any
reason, payment of the same shall be secured by a Lien on, and shall be paid out of, any and all
distributions, dividends, money, securities and other properties that the Holders may be entitled
to receive in such proceeding whether in liquidation or under any plan of reorganization or
arrangement or otherwise. Nothing herein contained shall be deemed to authorize the Trustee or
the Collateral Agent to authorize or consent to or accept or adopt on behalf of any Holder any



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plan of reorganization, arrangement, adjustment or composition affecting the Notes or the rights
of any Holder, or to authorize the Trustee or the Collateral Agent to vote in respect of the claim
of any Holder in any such proceeding.

Section 6.10   Priorities.

                (a)     If the Trustee collects any money pursuant to this Article 6, it shall,
subject to the Intercreditor Agreement (to the extent applicable), pay out the money in the
following order:

               First: to the Trustee, the Collateral Agent, and each of their respective agents and
attorneys for amounts due under Section 7.07 hereof, including payment of all compensation,
expenses and liabilities incurred, and all advances made, by the Trustee and the Collateral Agent
and the costs and expenses of collection;

             Second: to Holders for amounts due and unpaid on the Notes for principal,
premium and interest, ratably, without preference or priority of any kind, according to the
amounts due and payable on the Notes for principal, premium and interest, respectively; and

                Third: to the Issuer or to such party as a court of competent jurisdiction shall
direct in writing.

              (b)     The Trustee may fix a record date and payment date for any payment to
Holders pursuant to this Section 6.10.

Section 6.11   Undertaking for Costs.

                 In any suit for the enforcement of any right or remedy under this Indenture or in
any suit against the Trustee or the Collateral Agent for any action taken or omitted by it as a
Trustee or the Collateral Agent, a court in its discretion may require the filing by any party
litigant in the suit of an undertaking to pay the costs of the suit, and the court in its discretion
may assess reasonable costs, including reasonable attorneys’ fees and expenses against any party
litigant in the suit, having due regard to the merits and good faith of the claims or defenses made
by the party litigant. This Section 6.11 does not apply to a suit by the Trustee or the Collateral
Agent, a suit by a Holder pursuant to Section 6.07 hereof, or a suit by Holders of more than 10%
in aggregate principal amount of the then outstanding Notes.

                                            ARTICLE 7

                                             TRUSTEE

Section 7.01   Duties of Trustee.

                (a)      If an Event of Default has occurred and is continuing, the Trustee will
exercise such of the rights and powers vested in it by this Indenture, and use the same degree of
care and skill in its exercise, as a prudent person would exercise or use under the circumstances
in the conduct of such person’s own affairs.



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               (b)    Except during the continuance of an Event of Default:

               (1)     the duties of the Trustee will be determined solely by the express
       provisions of this Indenture and the Trustee need perform only those duties that are
       specifically set forth in this Indenture and no others, and no implied covenants or
       obligations shall be read into this Indenture against the Trustee; and

                (2)     in the absence of bad faith on its part, the Trustee may conclusively rely,
       as to the truth of the statements and the correctness of the opinions expressed therein,
       upon certificates or opinions furnished to the Trustee and conforming to the requirements
       of this Indenture. However, with respect to certificates or opinions specifically required
       by any provision hereof to be furnished to it, the Trustee will examine the certificates and
       opinions to determine whether or not they conform to the requirements of this Indenture
       (but need not confirm or investigate the accuracy of mathematical calculations or other
       facts stated therein).

                (c)    The Trustee may not be relieved from liabilities for its own negligent
action, its own negligent failure to act, or its own willful misconduct, except that:

               (1)    this Section 7.01(c) does not limit the effect of Section 7.01(b);

               (2)    the Trustee will not be liable for any error of judgment made in good faith
       by a Responsible Officer, unless it is proved that the Trustee was negligent in
       ascertaining the pertinent facts; and

               (3)    the Trustee will not be liable with respect to any action it takes or omits to
       take in good faith in accordance with a direction received by it pursuant to Sections 6.04
       and 6.05 hereof, relating to the time, method and place of conducting any proceeding for
       any remedy available to the Trustee, or exercising any trust or power conferred upon the
       Trustee, under this Indenture with respect to the Notes.

              (d)    No provision of this Indenture will require the Trustee to expend or risk its
own funds or incur any liability.

                (e)    The Trustee will not be liable for interest on or the investment of any
money received by it except as the Trustee may agree in writing with the Issuer. Money held in
trust by the Trustee need not be segregated from other funds except to the extent required by law.

                (f)    Whether or not therein expressly so provided, every provision of this
Indenture that in any way relates to the Trustee is subject to Section 7.01.

Section 7.02   Rights of Trustee.

                (a)     The Trustee may conclusively rely and shall be fully protected in acting or
refraining from acting upon any resolution, certificate, statement, instrument, opinion, report,
notice, request, direction, consent, order, bond, debenture, note, other evidence of indebtedness
or other paper or document believed by it to be genuine and to have been signed or presented by
the proper Person.


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                (b)    Before the Trustee acts or refrains from acting, it may require an Officer’s
Certificate or an Opinion of Counsel or both. The Trustee will not be liable for any action it takes
or omits to take in good faith in reliance on such Officer’s Certificate or Opinion of Counsel. The
Trustee may consult with counsel of its own selection and the advice of such counsel or any
Opinion of Counsel will be full and complete authorization and protection from liability in
respect of any action taken, suffered or omitted by it hereunder in good faith and in reliance
thereon.

               (c)     The Trustee may act through its attorneys and agents and will not be
responsible for the misconduct, negligence or failure to act of any attorney or agent appointed
with due care.

               (d)      The Trustee will not be liable for any action it takes, suffers or omits to
take in good faith that it believes to be authorized or within the discretion or rights or powers
conferred upon it by this Indenture.

                (e)    Unless otherwise specifically provided in this Indenture, any demand,
request, direction or notice from the Issuer or any Guarantor, as applicable, will be sufficient if
signed by an Officer of the Issuer or such Guarantor, as applicable.

                 (f)     The Trustee will be under no obligation to exercise any of the rights or
powers vested in it by this Indenture or the Security Documents at the request or direction of any
of the Holders unless such Holders have offered to the Trustee indemnity or security satisfactory
to it against the losses, liabilities and expenses that might be incurred by it in compliance with
such request or direction.

                 (g)     In no event shall the Trustee be responsible or liable for special, indirect,
punitive, or consequential loss or damage of any kind whatsoever (including, but not limited to,
loss of profit) irrespective of whether the Trustee has been advised of the likelihood of such loss
or damage and regardless of the form of action.

               (h)     The Trustee shall not be deemed to have notice of any Default or Event of
Default unless a Responsible Officer of the Trustee has actual knowledge thereof or unless
written notice of any event which is in fact such a default is received by the Trustee at the
Corporate Trust Office of the Trustee, and such notice references the Notes and this Indenture.

               (i)     The rights, privileges, protections, immunities and benefits given to the
Trustee, including, without limitation, its right to be indemnified, are extended to, and shall be
enforceable by, the Trustee in each of its capacities hereunder as Collateral Agent, Registrar and
Paying Agent, and each Agent, custodian and other Person employed to act hereunder.

               (j)      The Trustee may request that the Issuer and each Guarantor deliver an
Officer’s Certificate setting forth the names of individuals and/or titles of Officers authorized at
such time to take specified actions pursuant to this Indenture, which Officer’s Certificate may be
signed by any Person authorized to sign an Officer’s Certificate, including any Person specified
as so authorized in any such certificate previously delivered and not superseded.




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                 (k)    Notwithstanding any provision herein to the contrary, in no event shall the
Trustee be liable for any failure or delay in the performance of its obligations under this
Indenture because of circumstances beyond its control, including, but not limited to, nuclear or
natural catastrophes or acts of God, flood, war (whether declared or undeclared), terrorism, fire,
riot, strikes or work stoppages for any reason, embargo, government action, including any laws,
ordinances, regulations or the like which restrict or prohibit the providing of the services
contemplated by this Indenture, inability to obtain material, equipment, or communications or
computer (software and hardware) facilities, or the failure of equipment or interruption of
utilities, communications or computer (software and hardware) facilities, and other causes
beyond its control whether or not of the same class or kind as specifically named above.

                (l)     The Trustee shall not be bound to make any investigation into the facts or
matters stated in any resolution, certificate, statement, instrument, opinion, report, notice,
request, direction, consent, order, bond, debenture, note, other evidence of indebtedness or other
paper or document, but the Trustee, in its discretion, may make such further inquiry or
investigation into such facts or matters as it may see fit, and, if the Trustee shall determine to
make such further inquiry or investigation, it shall be entitled to examine the books, records and
premises of the Issuer, personally or by agent or attorney at the sole cost of the Issuer and shall
incur no liability or additional liability of any kind by reason of such inquiry or investigation.

              (m)      The Trustee shall not be required to give any bond or surety in respect of
the performance of its powers and duties hereunder.

Section 7.03   Individual Rights of Trustee.

                The Trustee in its individual or any other capacity may become the owner or
pledgee of Notes and may otherwise deal with either Issuer or any Guarantor or any Affiliate of
either Issuer or any Guarantor with the same rights it would have if it were not Trustee.
However, in the event that the Trustee acquires any conflicting interest it must (i) eliminate such
conflict within 90 days or (ii) resign. Any Agent may do the same with like rights and duties.
The Trustee is also subject to Section 7.10 hereof.

Section 7.04   Trustee’s Disclaimer.

                 The Trustee will not be responsible for and makes no representation as to the
validity or adequacy of any offering materials, this Indenture, the Notes or any Note Guarantee,
it shall not be accountable for the Issuer’s use of the proceeds from the Notes or any money paid
to the Issuer or upon the Issuer’s direction under any provision of this Indenture, it will not be
responsible for the use or application of any money received by any Paying Agent other than the
Trustee, and it will not be responsible for any statement or recital herein or any statement in the
Notes, any Note Guarantee or any other document in connection with the sale of the Notes or
pursuant to this Indenture other than its certificate of authentication.

Section 7.05   Notice of Defaults.

               If a Default or Event of Default occurs and is continuing and if it is known to the
Trustee, the Trustee will mail or otherwise deliver in accordance with the applicable procedures
of DTC, to Holders a notice of the Default or Event of Default within 90 days after it occurs.


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Except in the case of a Default or Event of Default in payment of principal of, premium, if any,
or interest on, any Note, the Trustee may and shall be protected in withholding the notice if and
so long as it in good faith determines that withholding the notice is in the interests of the
Holders.

Section 7.06   [Reserved].

Section 7.07   Compensation and Indemnity.

               (a)      The Issuer will pay to each of the Trustee and the Collateral Agent from
time to time such compensation, as agreed in writing from time to time, for its acceptance and
administration of this Indenture, the Intercreditor Agreement and/or the other the Security
Documents and services hereunder. The Trustee’s and the Collateral Agent’s compensation will
not be limited by any law on compensation of a trustee of an express trust. The Issuer will
reimburse each of the Trustee and the Collateral Agent promptly upon request for all reasonable
and documented disbursements, advances and expenses incurred or made by it in addition to the
compensation for its services. Such expenses will include the reasonable and documented
compensation, disbursements and expenses of each of the Trustee’s and the Collateral Agent’s
agents and counsel.

                 (b)       The Issuer and each Guarantor, jointly and severally, will indemnify each
of the Trustee and the Collateral Agent and hold each of them harmless from and against any and
all losses, liabilities, claims, damages, costs or expenses incurred by it arising out of or in
connection with the acceptance or administration of its duties or the exercise of its rights under
this Indenture, the Intercreditor Agreement and/or the other the Security Documents, including
the reasonable and documented costs and expenses of enforcing this Indenture, the Intercreditor
Agreement and/or the other the Security Documents against the Issuer and the Guarantors
(including this Section 7.07) and defending itself against any claim (whether asserted by the
Issuer, the Guarantors, any Holder or any other Person) or liability in connection with the
exercise or performance of any of its powers or duties hereunder, except to the extent any such
loss, liability or expense is the result of its own gross negligence or willful misconduct. The
Trustee or the Collateral Agent, as the case may be, will notify the Issuer promptly of any claim
of which it or a Responsible Officer has received written notice for which it may seek indemnity.
Failure by the Trustee or the Collateral Agent, as the case may be, to so notify the Issuer will not
relieve the Issuer or any of the Guarantors of their obligations hereunder.

                (c)     The obligations of the Issuer and the Guarantors under this Section 7.07
will survive the satisfaction and discharge of this Indenture, the payment of the Notes and/or the
resignation or removal of the Trustee or the Collateral Agent.

               (d)     To secure the Issuer’s and the Guarantors’ payment obligations in this
Section 7.07, each of the Trustee and the Collateral Agent will have a Lien prior to the Notes on
all money or property held or collected by the Trustee, except that held in trust to pay principal
and interest on particular Notes. Such Lien will survive the satisfaction and discharge of this
Indenture, the payment of the Notes and/or the resignation or removal of the Trustee or the
Collateral Agent.




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                (e)    When the Trustee or the Collateral Agent incurs expenses or renders
services after an Event of Default specified in clause (6) or (7) of Section 6.01 hereof occurs, the
expenses and the compensation for the services (including the fees and expenses of its agents and
counsel) are intended to constitute expenses of administration under any Bankruptcy Law.

Section 7.08   Replacement of Trustee.

               (a)     A resignation or removal of the Trustee and appointment of a successor
Trustee will become effective only upon the successor Trustee’s acceptance of appointment as
provided in this Section 7.08.

               (b)     The Trustee may resign at any time and be discharged from the trust
hereby created by so notifying the Issuer in writing. The Holders of a majority in aggregate
principal amount of the then outstanding Notes may remove the Trustee by so notifying the
Trustee and the Issuer in writing not less than 30 days prior to the effective date of such removal.
The Issuer may remove the Trustee if:

               (1)     the Trustee fails to comply with Section 7.10 hereof;

              (2)     the Trustee is adjudged a bankrupt or an insolvent or an order for relief is
       entered with respect to the Trustee under any Bankruptcy Law;

               (3)     a custodian or public officer takes charge of the Trustee or its property; or

               (4)     the Trustee becomes incapable of acting.

                (c)    If the Trustee resigns or is removed or if a vacancy exists in the office of
Trustee for any reason, the Issuer will promptly appoint a successor Trustee. Within one year
after the successor Trustee takes office, the Holders of a majority in aggregate principal amount
of the then outstanding Notes may appoint a successor Trustee to replace the successor Trustee
appointed by the Issuer.

                (d)     If a successor Trustee does not take office within 30 days after the retiring
Trustee resigns or is removed, the retiring or removed Trustee, the Issuer, or the Holders of at
least 10% in aggregate principal amount of the then outstanding Notes may, at the expense of the
Issuer, petition any court of competent jurisdiction for the appointment of a successor Trustee.

                 (e)    If the Trustee, after written request by any Holder who has been a Holder
for at least six months, fails to comply with Section 7.10 hereof, such Holder may petition at the
expense of the Issuer any court of competent jurisdiction for the removal of the Trustee and the
appointment of a successor Trustee.

                (f)    A successor Trustee will deliver a written acceptance of its appointment to
the retiring Trustee and to the Issuer. Thereupon, the resignation or removal of the retiring
Trustee will become effective, and the successor Trustee will have all the rights, powers and
duties of the Trustee under this Indenture. The successor Trustee will mail a notice of its
succession to Holders. The retiring Trustee will promptly transfer all property held by it as
Trustee to the successor Trustee; provided all sums owing to the Trustee hereunder have been


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paid and subject to the Lien provided for in Section 7.07 hereof. Notwithstanding replacement of
the Trustee pursuant to this Section 7.08, the Issuer’s obligations under Section 7.07 hereof will
continue for the benefit of the retiring Trustee.

                (g)    The retiring Trustee shall have no responsibility or liability for any action
or inaction of a successor Trustee.

Section 7.09   Successor Trustee by Merger, etc.

                If the Trustee consolidates, merges or converts into, or transfers all or
substantially all of its corporate trust business (including this transaction) to, another corporation,
the successor corporation without any further act will be the successor Trustee.

Section 7.10   Eligibility; Disqualification.

               There will at all times be a Trustee hereunder that is a corporation organized and
doing business under the laws of the United States of America or of any state thereof that is
authorized under such laws to exercise corporate trustee power, that is subject to supervision or
examination by federal or state authorities and that has a combined capital and surplus of at least
$50.0 million as set forth in its most recent published annual report of condition.

                                            ARTICLE 8

                  LEGAL DEFEASANCE AND COVENANT DEFEASANCE

Section 8.01   Option to Effect Legal Defeasance or Covenant Defeasance.

                The Issuer may at any time, at the option of the Issuer’s Board of Directors
evidenced by a resolution set forth in an Officer’s Certificate, elect to have either Section 8.02 or
8.03 hereof be applied to all outstanding Notes and Note Guarantees upon compliance with the
conditions set forth below in this Article 8.

Section 8.02   Legal Defeasance and Discharge.

                (a)     Upon the Issuer’s exercise under Section 8.01 hereof of the option
applicable to this Section 8.02, the Issuer and each of the Guarantors will, subject to the
satisfaction of the conditions set forth in Section 8.04 hereof, be deemed to have been discharged
from their obligations with respect to all outstanding Notes (including the Note Guarantees) on
the date the conditions set forth below are satisfied (hereinafter, “Legal Defeasance”). For this
purpose, Legal Defeasance means that the Issuer and the Guarantors will be deemed to have paid
and discharged the entire Indebtedness represented by the outstanding Notes (including the Note
Guarantees), which will thereafter be deemed to be “outstanding” only for the purposes of
Section 8.05 hereof and the other Sections of this Indenture referred to in clauses (1) and (2)
below, and to have satisfied all their other obligations under such Notes, the Note Guarantees
and this Indenture (and the Trustee, on written demand of and at the expense of the Issuer, shall
execute instruments acknowledging the same), except for the following provisions which will
survive until otherwise terminated or discharged hereunder:



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               (1)     the rights of Holders of outstanding Notes to receive payments in respect
       of the principal of, or interest or premium, if any, on, such Notes when such payments are
       due from the trust referred to in Section 8.05 hereof;

               (2)     the Issuer’s obligations with respect to such Notes under Sections 2.02,
       2.03, 2.04, 2.05, 2.06, 2.07, 2.08, 2.09, 2.10 and Section 4.02 hereof;

              (3)     the rights, powers, trusts, duties and immunities of the Trustee hereunder
       and the Issuer’s and the Guarantors’ obligations in connection therewith; and

               (4)     this Article 8.

               (b)     Subject to compliance with this Article 8, the Issuer may exercise its
option under this Section 8.02 notwithstanding the prior exercise of its option under Section 8.03
hereof.

Section 8.03   Covenant Defeasance.

                Upon the Issuer’s exercise under Section 8.01 hereof of the option applicable to
this Section 8.03, the Issuer and each of the Guarantors will, subject to the satisfaction of the
conditions set forth in Section 8.04 hereof, be released from each of their obligations under the
covenants contained in Sections 4.03, 4.05, 4.06, 4.07, 4.08, 4.09, 4.10, 4.12, 4.14, 4.16, 4.17,
4.18 and 4.19 and Section 5.01(a)(3) and 5.01(a)(4) hereof with respect to the outstanding Notes
on and after the date the conditions set forth in Section 8.04 hereof are satisfied
(hereinafter, “Covenant Defeasance”), and the Notes will thereafter be deemed not “outstanding”
for the purposes of any direction, waiver, consent or declaration or act of Holders (and the
consequences of any thereof) in connection with such covenants, but will continue to be deemed
“outstanding” for all other purposes hereunder (it being understood that such Notes will not be
deemed outstanding for accounting purposes). For this purpose, Covenant Defeasance means
that, with respect to the outstanding Notes and Note Guarantees, the Issuer and the Guarantors
may omit to comply with and will have no liability in respect of any term, condition or limitation
set forth in any such covenant, whether directly or indirectly, by reason of any reference
elsewhere herein to any such covenant or by reason of any reference in any such covenant to any
other provision herein or in any other document and such omission to comply with such
covenants will not constitute a Default or an Event of Default under Section 6.01 hereof, but,
except as specified in this Section 8.03, the remainder of this Indenture and such Notes and Note
Guarantees will be unaffected thereby. In addition, upon the Issuer’s exercise under Section 8.01
hereof of the option applicable to this Section 8.03, subject to the satisfaction of the conditions
set forth in Section 8.04 hereof, clauses (3) through (5) of Section 6.01 hereof will not constitute
Events of Default.

Section 8.04   Conditions to Legal or Covenant Defeasance.

               In order to exercise either Legal Defeasance or Covenant Defeasance under either
Section 8.02 or 8.03 hereof:

               (1)     the Issuer must irrevocably deposit with the Trustee, in trust, for the
       benefit of the Holders, cash in U.S. dollars, non−callable U.S. Government Securities, or


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a combination thereof, in such amounts as will be sufficient, in the case of non-callable
U.S. Government Securities or a combination of cash in U.S. Dollars and non-callable
U.S. Government Securities, in the written opinion of a U.S. nationally recognized
investment bank, appraisal firm, or firm of independent public accountants delivered to
the Trustee, to pay the principal of, premium, if any, and interest on, the outstanding
Notes on the stated date for payment thereof or on the applicable redemption date, as the
case may be, and the Issuer must specify whether the Notes are being defeased to such
stated date for payment or to a particular redemption date; provided that upon any
redemption that required the payment of the Applicable Premium, the amount deposited
will be sufficient for purposes of this Indenture to the extent that an amount is deposited
with the Trustee equal to the Applicable Premium calculated as of the date of the notice
of redemption, with any deficit as of the date of redemption (any such amount, the
“Applicable Premium Deficit”) only required to be deposited with the Trustee on or prior
to the date of redemption. Any Applicable Premium Deficit will be set forth in an
Officer’s Certificate delivered to the Trustee simultaneously with the deposit of such
Applicable Premium Deficit that confirms that such Applicable Premium Deficit will be
applied toward such redemption;

        (2)     in the case of an election under Section 8.02 hereof, the Issuer must
deliver to the Trustee an Opinion of Counsel (subject to customary exceptions and
exclusions) confirming that:

               (A)   the Issuer has received from, or there has been published by, the
       Internal Revenue Service a ruling; or

               (B)   since the Issue Date there has been a change in the applicable
       federal income tax law,

in either case to the effect that, and based thereon such Opinion of Counsel shall confirm
that, the Holders of the outstanding Notes will not recognize income, gain or loss for
federal income tax purposes as a result of such Legal Defeasance and will be subject to
federal income tax on the same amounts, in the same manner and at the same times as
would have been the case if such Legal Defeasance had not occurred;

        (3)     in the case of an election under Section 8.03 hereof, the Issuer must
deliver to the Trustee an Opinion of Counsel (subject to customary exceptions and
exclusions) confirming that the Holders of the outstanding Notes will not recognize
income, gain or loss for federal income tax purposes as a result of such Covenant
Defeasance and will be subject to federal income tax on the same amounts, in the same
manner and at the same times as would have been the case if such Covenant Defeasance
had not occurred;

        (4)    no Default or Event of Default shall have occurred and be continuing on
the date of such deposit (other than a Default or Event of Default resulting from the
borrowing of funds to be applied to such deposit and the grant of any Lien securing such
borrowing);




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               (5)     such Legal Defeasance or Covenant Defeasance will not result in a breach
       or violation of, or constitute a default under, any material agreement or instrument (other
       than this Indenture) to which the Issuer or any of its Subsidiaries is a party or by which
       the Issuer or any of its Subsidiaries is bound;

               (6)     the Issuer must deliver to the Trustee an Officer’s Certificate stating that
       the deposit was not made by the Issuer with the intent of preferring the Holders over the
       other creditors of the Issuer with the intent of defeating, hindering, delaying or
       defrauding any creditors of the Issuer or others; and

              (7)    the Issuer must deliver to the Trustee an Officer’s Certificate and an
       Opinion of Counsel, each stating that all conditions precedent relating to the Legal
       Defeasance or the Covenant Defeasance have been complied with.

Section 8.05   Deposited Money and Government Securities to be Held in Trust; Other
               Miscellaneous Provisions.

                (a)     Subject to Section 8.06 hereof, all money and non−callable U.S.
Government Securities (including the proceeds thereof) deposited with the Trustee (or other
qualifying trustee, collectively for purposes of this Section 8.05, the “Trustee”) pursuant to
Section 8.04 hereof in respect of the outstanding Notes will be held in trust and applied by the
Trustee, in accordance with the provisions of such Notes and this Indenture, to the payment,
either directly or through any Paying Agent (including the Issuer acting as Paying Agent) as the
Trustee may determine, to the Holders of such Notes of all sums due and to become due thereon
in respect of principal, premium, if any, and interest, but such money need not be segregated
from other funds except to the extent required by law.

               (b)    The Issuer will pay and indemnify the Trustee against any tax, fee or other
charge imposed on or assessed against the cash or non−callable U.S. Government Securities
deposited pursuant to Section 8.04 hereof or the principal and interest received in respect thereof
other than any such tax, fee or other charge which by law is for the account of the Holders of the
outstanding Notes.

                (c)     Notwithstanding anything in this Article 8 to the contrary, the Trustee will
deliver or pay to the Issuer from time to time upon the written request of the Issuer any money or
non−callable U.S. Government Securities held by it as provided in Section 8.04 hereof which, in
the opinion of a nationally recognized firm of independent public accountants expressed in a
written certification thereof delivered to the Trustee (which may be the opinion delivered under
clause (1) of Section 8.04 hereof), are in excess of the amount thereof that would then be
required to be deposited to effect an equivalent Legal Defeasance or Covenant Defeasance.

Section 8.06   Repayment to the Issuer.

                 Any money deposited with the Trustee or any Paying Agent, or then held by the
Issuer, in trust for the payment of the principal of, premium or interest on, any Note and
remaining unclaimed for two years after such principal, premium or interest has become due and
payable shall be paid to the Issuer on its written request or (if then held by the Issuer) will be
discharged from such trust; and the Holders will thereafter be permitted to look only to the Issuer


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for payment thereof, and all liability of the Trustee or such Paying Agent with respect to such
trust money, and all liability of the Issuer as trustee thereof, will thereupon cease; provided,
however, that the Trustee or such Paying Agent, before being required to make any such
repayment, shall, at the expense of the Issuer, cause to be published once, in the New York
Times and The Wall Street Journal (national edition), notice that such money remains unclaimed
and that, after a date specified therein, which will not be less than 30 days from the date of such
notification or publication, any unclaimed balance of such money then remaining will be repaid
to the Issuer.

Section 8.07   Reinstatement.

                If the Trustee or Paying Agent is unable to apply any U.S. dollars or non−callable
U.S. Government Securities in accordance with Section 8.02 or 8.03 hereof, as the case may be,
by reason of any order or judgment of any court or governmental authority enjoining, restraining
or otherwise prohibiting such application, then the Issuer’s and the Guarantors’ obligations under
this Indenture and the Notes and the Note Guarantees will be revived and reinstated as though no
deposit had occurred pursuant to Section 8.02 or 8.03 hereof until such time as the Trustee or
Paying Agent is permitted to apply all such money in accordance with Section 8.02 or 8.03
hereof, as the case may be; provided, however, that, if the Issuer makes any payment of principal
of, premium, if any, or interest on, any Note following the reinstatement of its obligations, the
Issuer will be subrogated to the rights of the Holders of such Notes to receive such payment from
the money held by the Trustee or Paying Agent.

                                           ARTICLE 9

                        AMENDMENT, SUPPLEMENT AND WAIVER

Section 9.01   Without Consent of Holders.

               (a)     Notwithstanding Section 9.02 of this Indenture, the Issuer and the Trustee
may amend or supplement this Indenture or the Notes or the Note Guarantees or any Security
Document without the consent of any Holder to cure any ambiguity, omission, defect or
inconsistency or to provide for the assumption by a successor corporation, partnership or limited
liability company of the obligations of the Issuer under this Indenture, the Notes and the Security
Documents:

              (1)     to provide for uncertificated Notes in addition to or in place of certificated
       Notes (provided that the uncertificated notes are issued in registered form for purposes of
       Section 163(f) of the Code);

               (2)     to add guarantees with respect to the Notes or to evidence the release of
       any Guarantor from its Note Guarantee and under the Security Documents as provided in
       this Indenture;

               (3)     to further secure the Notes;

               (4)     to add to the covenants of the Issuer for the benefit of the Holders;



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               (5)    to surrender any right or power conferred upon the Issuer;

              (6)     to make any change that does not adversely affect the rights of any
       Holder;

              (7)     to evidence or provide for the acceptance of appointment under this
       Indenture of a successor Trustee;

              (8)     to conform the text of this Indenture, the Note Guarantees or the Notes to
       any provision of the “Description of the Notes” section of the Offering Document;

              (9)    to make certain changes to this Indenture to provide for the issuance of
       Additional Notes;

              (10) to provide for the release of Collateral from the Liens of this Indenture and
       the Security Documents when permitted or required by the Security Documents or this
       Indenture; or

              (11) to secure any Permitted Additional Pari Passu Obligations under the
       Security Documents and to appropriately include the same in the lntercreditor
       Agreement.

                (b)    Upon the request of the Issuer accompanied by a resolution of its Board of
Directors authorizing the execution of any such amendment or supplemental indenture, and upon
receipt by the Trustee of the documents described in Section 9.06 hereof, the Trustee will join
with the Issuer and the Guarantors in the execution of any amendment or supplemental indenture
authorized or permitted by the terms of this Indenture and to make any further appropriate
agreements and stipulations that may be therein contained, but the Trustee will not be obligated
to enter into such amendment or supplemental indenture that affects its own rights, duties or
immunities under this Indenture or otherwise.

Section 9.02   With Consent of Holders.

                (a)    Except as provided in this Section 9.02, the Issuer, the Guarantors and the
Trustee and, if applicable, the Collateral Agent, may amend or supplement this Indenture
(including, without limitation, Sections 4.08 and 4.12 hereof) and the Notes or the Note
Guarantees with the consent of the Holders of at least a majority in aggregate principal amount
of the then outstanding Notes voting as a single class (including, without limitation, consents
obtained in connection with a tender offer or exchange offer for, or purchase of, the Notes), and,
subject to Sections 6.04 and 6.07 hereof, any existing Default or Event of Default (other than a
Default or Event of Default in the payment of the principal of, premium, if any, or interest on,
the Notes, except a payment default resulting from an acceleration that has been rescinded) or
compliance with any provision of this Indenture, any Security Document or the Notes or the
Note Guarantees may be waived with the consent of the Holders of a majority in aggregate
principal amount of the then outstanding Notes voting as a single class (including, without
limitation, consents obtained in connection with a tender offer or exchange offer for, or purchase
of, the Notes). Section 2.08 hereof shall determine which Notes are considered to be
“outstanding” for purposes of this Section 9.02.


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               (b)     Upon the written request of the Issuer accompanied by a resolution of its
Boards of Directors authorizing the execution of any such amended or supplemental indenture,
and upon the filing with the Trustee of evidence satisfactory to the Trustee of the consent of the
Holders as aforesaid, and upon receipt by the Trustee of the documents described in Section 9.06
hereof, the Trustee will join with the Issuer and the Guarantors in the execution of such amended
or supplemental indenture unless such amended or supplemental indenture directly affects the
Trustee’s own rights, duties or immunities under this Indenture or otherwise, in which case the
Trustee may in its discretion, but will not be obligated to, enter into such amended or
supplemental Indenture.

                 (c)      It is not be necessary for the consent of the Holders under this
Section 9.02 to approve the particular form of any proposed amendment, supplement or waiver,
but it is sufficient if such consent approves the substance thereof.

                (d)    After an amendment, supplement or waiver under this Section 9.02
becomes effective, the Issuer will mail (or otherwise deliver pursuant to the procedures of DTC)
to the Holders affected thereby a notice briefly describing the amendment, supplement or waiver.
Any failure of the Issuer to send such notice, or any defect therein, will not, however, in any way
impair or affect the validity of any such amendment, supplement or waiver. Subject to
Sections 6.04 and 6.07 hereof, the Holders of a majority in aggregate principal amount of the
Notes then outstanding voting as a single class may waive compliance in a particular instance by
the Issuer or any Guarantor with any provision of this Indenture, the Intercreditor Agreement, the
other the Security Documents or the Notes or the Note Guarantees. However, without the
consent of each Holder affected thereby, an amendment, supplement or waiver under this
Section 9.02 may not (with respect to any Notes held by a non−consenting Holder):

            (1)     reduce the principal amount of Notes whose Holders must consent to an
       amendment, supplement or waiver;

              (2)     reduce the principal of or extend the fixed maturity of any Note or alter the
       provisions with respect to the redemption of the Notes (for the avoidance of doubt,
       repurchases of the Notes by the Issuer pursuant to Sections 4.08 and 4.12 hereof are not
       redemptions of the Notes);

               (3)     reduce the rate of or extend the time for payment of interest, including
       default interest, or premium on any Note;

              (4)     waive a Default or Event of Default in the payment of principal of, or
       premium, if any, or interest on, the Notes (except a rescission of acceleration of the Notes
       by the Holders of at least a majority in aggregate principal amount of the then
       outstanding Notes and a waiver of the payment default that resulted from such
       acceleration);

               (5)    make any Note payable in money other than that stated in the Notes;

               (6)     make any change in the provisions of this Indenture relating to waivers of
       past Defaults or impair the rights of Holders of Notes to receive payments of principal of,
       or interest of premium, if any, on the Notes;


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              (7)     waive a redemption payment with respect to any Note (for the avoidance
       of doubt, any payment required by Sections 4.08 or 4.12 hereof is not a redemption
       payment);

               (8)     release any Guarantor that is a Significant Subsidiary of the Issuer from
       any of its obligations under its Note Guarantee or this Indenture, except in accordance
       with the terms of this Indenture;

               (9)     make any change in the preceding amendment and waiver provisions; or

               (10) make any change in the provisions in the Intercreditor Agreement or this
       Indenture dealing with the application of proceeds of Collateral that would adversely
       affect the Holders.

                (e)     Any amendment to, or waiver of, the provisions of this Indenture, any
Security Document or any other indenture governing Permitted Additional Pari Passu
Obligations that has the effect of releasing all or substantially all of the Collateral from the Liens
securing the Notes or otherwise modifies the Intercreditor Agreement or other Security
Documents in any manner adverse in any material respect to the Holders will require the consent
of the holders of at least 66- 2/3% in aggregate principal amount of the Notes and any Permitted
Additional Pari Passu Obligations then outstanding.

Section 9.03   Intentionally Omitted.

Section 9.04   Revocation and Effect of Consents.

                 Until an amendment, supplement or waiver becomes effective, a consent to it by a
Holder is a continuing consent by the Holder and every subsequent Holder or portion of a Note
that evidences the same debt as the consenting Holder’s Note, even if notation of the consent is
not made on any Note. However, any such Holder or subsequent Holder may revoke the consent
as to its Note if the Trustee receives written notice of revocation before the date the amendment,
supplement or waiver becomes effective. After an amendment, supplement or waiver becomes
effective in accordance with its terms, it thereafter binds every Holder.

Section 9.05   Notation on or Exchange of Notes.

               The Trustee may place an appropriate notation about an amendment, supplement
or waiver on any Note thereafter authenticated. The Issuer in exchange for all Notes may issue
and the Trustee shall, upon receipt of an Authentication Order, authenticate new Notes that
reflect the amendment, supplement or waiver.

                Failure to make the appropriate notation or issue a new Note will not affect the
validity and effect of such amendment, supplement or waiver.

Section 9.06   Trustee to Sign Amendments, etc.

                The Trustee will sign any amended or supplemental indenture authorized pursuant
to this Article 9 if the amendment or supplement does not adversely affect the rights, duties,


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liabilities or immunities of the Trustee. The Issuer may not sign an amended or supplemental
indenture until the Issuer’s Board of Directors approves it. In executing any amended or
supplemental indenture, the Trustee will be provided with and (subject to Section 7.01 hereof)
will be fully protected in conclusively relying upon, in addition to the documents required by
Section 14.04 hereof, an Officer’s Certificate and an Opinion of Counsel stating that the
execution of such amended or supplemental indenture is authorized or permitted by this
Indenture and that such amended or supplemental indenture is the legal, valid and binding
obligation of the Issuer or Guarantor, as applicable, enforceable against the Issuer or the
Guarantor, as applicable, in accordance with its terms.

                                          ARTICLE 10

                                     NOTE GUARANTEES

Section 10.01 Guarantee.

                (a)     Subject to this Article 10, each of the Guarantors hereby, jointly and
severally, unconditionally Guarantees to each Holder of a Note authenticated and delivered by
the Trustee and to the Trustee and the Collateral Agent and their respective successors and
assigns, irrespective of the validity and enforceability of this Indenture, the Notes or the
obligations of the Issuer hereunder or thereunder, that:

               (1)     the principal of, premium, if any, and interest on, the Notes will be
       promptly paid in full when due, whether at maturity, by acceleration, redemption or
       otherwise, and interest on the overdue principal of and interest on the Notes, if any, if
       lawful, and all other obligations of the Issuer to the Holders or the Trustee or the
       Collateral Agent hereunder or thereunder will be promptly paid in full or performed, all
       in accordance with the terms hereof and thereof; and

               (2)    in case of any extension of time of payment or renewal of any Notes or
       any of such other obligations, that same will be promptly paid in full when due or
       performed in accordance with the terms of the extension or renewal, whether at stated
       maturity, by acceleration or otherwise.

               Failing payment when due of any amount so guaranteed or any performance so
guaranteed for whatever reason, the Guarantors will be jointly and severally obligated to pay the
same immediately. Each Guarantor agrees that this is a Guarantee of payment and not a
Guarantee of collection.

                (b)    The Guarantors hereby agree that their obligations hereunder are
unconditional, irrespective of the validity, regularity or enforceability of the Notes or this
Indenture, the absence of any action to enforce the same, any waiver or consent by any Holder
with respect to any provisions hereof or thereof, the recovery of any judgment against the Issuer,
any action to enforce the same or any other circumstance which might otherwise constitute a
legal or equitable discharge or defense of a Guarantor. Each Guarantor hereby waives diligence,
presentment, demand of payment, filing of claims with a court in the event of insolvency or
bankruptcy of either Issuer, any right to require a proceeding first against the Issuer, protest,



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notice and all demands whatsoever and covenant that this Note Guarantee will not be discharged
except by complete performance of the obligations contained in the Notes and this Indenture.

                 (c)     If any Holder or the Trustee is required by any court or otherwise to return
to the Issuer, the Guarantors or any custodian, trustee, liquidator or other similar official acting in
relation to either the Issuer or the Guarantors, any amount paid by either to the Trustee or the
Collateral Agent or such Holder, this Note Guarantee, to the extent theretofore discharged, will
be reinstated in full force and effect.

                (d)     Each Guarantor agrees that it will not be entitled to any right of
subrogation in relation to the Holders in respect of any obligations guaranteed hereby until
payment in full of all obligations guaranteed hereby. Each Guarantor further agrees that, as
between the Guarantors, on the one hand, and the Holders, the Collateral Agent and the Trustee,
on the other hand, (1) the maturity of the obligations guaranteed hereby may be accelerated as
provided in Article 6 hereof for the purposes of this Note Guarantee, notwithstanding any stay,
injunction or other prohibition preventing such acceleration in respect of the obligations
guaranteed hereby, and (2) in the event of any declaration of acceleration of such obligations as
provided in Article 6 hereof, such obligations (whether or not due and payable) will forthwith
become due and payable by the Guarantors for the purpose of this Note Guarantee. The
Guarantors will have the right to seek contribution from any non−paying Guarantor so long as
the exercise of such right does not impair the rights of the Holders under the Note Guarantee.

Section 10.02 Limitation on Guarantor Liability.

                  Each Guarantor, and by its acceptance of Notes, each Holder, hereby confirms
that it is the intention of all such parties that the Note Guarantee of such Guarantor not constitute
a fraudulent transfer or conveyance for purposes of Bankruptcy Law, the Uniform Fraudulent
Conveyance Act, the Uniform Fraudulent Transfer Act or any similar federal, state or provincial
law in any jurisdiction to the extent applicable to any Note Guarantee. To effectuate the
foregoing intention, the Trustee, the Collateral Agent, the Holders and the Guarantors hereby
irrevocably agree that the obligations of such Guarantor will be limited to the maximum amount
that will, after giving effect to such maximum amount and all other contingent and fixed
liabilities of such Guarantor that are relevant under such laws, and after giving effect to any
collections from, rights to receive contribution from or payments made by or on behalf of any
other Guarantor in respect of the obligations of such other Guarantor under this Article 10, result
in the obligations of such Guarantor under its Note Guarantee not constituting a fraudulent
transfer or conveyance.

Section 10.03 Intentionally Omitted.

Section 10.04 Guarantors May Consolidate, etc., on Certain Terms.

                (a)    Except as otherwise provided in this Section 10.04, a Guarantor may not
sell or otherwise dispose of (including by way of division) all or substantially all of its assets to,
or consolidate with or merge or amalgamate with or into (whether or not such Guarantor is the
surviving Person) another Person, other than the Issuer or another Guarantor, unless:




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              (1)      immediately after giving effect to such transaction, no Default or Event of
       Default exists; and

              (2)     either:

               (A)     the Person acquiring the property in any such sale or disposition or the
       Person formed by or surviving any such consolidation or merger assumes all the
       obligations of that Guarantor under this Indenture, its Note Guarantee, the Intercreditor
       Agreement and the other Security Documents, pursuant to, in the case of this Indenture
       and the relevant agreements, a supplemental indenture ; or

              (B)    the Net Proceeds of such sale or other disposition are applied in
       accordance with the applicable provisions of this Indenture.

                In case of any such consolidation, merger, amalgamation, sale or conveyance and
upon the assumption by the successor Person, by supplemental indenture, executed and delivered
to the Trustee and satisfactory in form to the Trustee, of the Note Guarantee and the due and
punctual performance of all of the covenants and conditions of this Indenture to be performed by
the Guarantor, such successor Person will succeed to and be substituted for the Guarantor with
the same effect as if it had been named herein as a Guarantor. Such successor Person thereupon
may cause to be signed any or all of the Note Guarantees to be endorsed upon all of the Notes
issuable hereunder which theretofore shall not have been signed by the Issuer and delivered to
the Trustee. All the Note Guarantees so issued will in all respects have the same legal rank and
benefit under this Indenture as the Note Guarantees theretofore and thereafter issued in
accordance with the terms of this Indenture as though all of such Note Guarantees had been
issued at the date of the execution hereof.

                (b)    Except as set forth in Articles 4 and 5 hereof, and notwithstanding
Sections 10.04(a)(2)(A) and 10.04(a)(2)(B) above, nothing contained in this Indenture or in any
of the Notes will prevent any consolidation, merger or amalgamation of a Guarantor with or into
the Issuer or another Guarantor, or will prevent any sale or conveyance of the property of a
Guarantor as an entirety or substantially as an entirety to the Issuer or another Guarantor.

Section 10.05 Releases.

              (a)     The Note Guarantee of a Guarantor will be automatically released and
discharged:

                (1)     in connection with any sale, disposition or transfer of all or substantially
       all of the assets of that Guarantor (including by way of merger, amalgamation, or
       consolidation) to a Person that is not (either before or after giving effect to such
       transaction) the Issuer or a Restricted Subsidiary of the Issuer, if the sale, disposition or
       transfer does not violate Section 4.08 hereof;

               (2)     in connection with any sale, disposition or transfer of all of the Capital
       Stock of that Guarantor to a Person that is not (either before or after giving effect to such
       transaction) the Issuer or a Restricted Subsidiary of the Issuer, if the sale, disposition or
       transfer does not violate Section 4.08 hereof;


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              (3)     if the Issuer designates any Restricted Subsidiary that is a Guarantor to be
       an Unrestricted Subsidiary in accordance with the applicable provisions of this Indenture;

              (4)    upon Legal Defeasance in accordance with Article 8 hereof or satisfaction
       and discharge of this Indenture in accordance with Article 11 and Article 8 hereof; or

              (5)    upon such Guarantor becoming an Excluded Subsidiary, so long as such
       Guarantor does not Guarantee any Debt Facilities of the Issuer or any of its Restricted
       Subsidiaries.

                (b)    Any Guarantor not released from its obligations under its Note Guarantee
as provided in this Section 10.05 will remain liable for the full amount of principal of and
interest and premium, if any, on the Notes and for the other obligations of any Guarantor under
this Indenture as provided in this Article 10.

                                           ARTICLE 11

                                 SATISFACTION AND DISCHARGE

Section 11.01 Satisfaction and Discharge.

                (a)    This Indenture will be discharged and will cease to be of further effect as
to all Notes issued hereunder, when:

               (1)     either:

               (A)     all Notes that have been authenticated and, except lost, stolen or destroyed
       Notes that have been replaced or paid and Notes for whose payment money has been
       deposited in trust or segregated and held in trust by the Issuer and thereafter repaid to the
       Issuer, have been delivered to the Trustee for cancellation; or

               (B)      all Notes that have not been delivered to the Trustee for cancellation have
       become due and payable by reason of the mailing (or delivery in accordance with the
       procedures of DTC) of a notice of redemption or otherwise or will become due and
       payable within one year or may be called for redemption within one year and the Issuer
       or any Guarantor has irrevocably deposited or caused to be deposited with the Trustee as
       trust funds in trust solely for the benefit of the Holders, cash in U.S. dollars, non−callable
       U.S. Government Securities, or a combination thereof, in such amounts as will be
       sufficient, in the case of non-callable U.S. Government Securities or a combination of
       cash in U.S. Dollars and U.S. Government Securities, in the opinion of a U.S. nationally
       recognized investment bank, appraisal firm or firm of independent public accountants,
       without consideration of any reinvestment of interest, to pay and discharge the entire
       Indebtedness (including all principal and interest) on the Notes not delivered to the
       Trustee for cancellation; provided that (i) upon any redemption that requires the payment
       of the Applicable Premium, the amount deposited will be sufficient for purposes of this
       Indenture to the extent that an amount is deposited with the Trustee equal to the
       Applicable Premium calculated as of the date of the notice of redemption, with any
       Applicable Premium Deficit only required to be deposited with the Trustee on or prior to


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       the date of redemption and (ii) any Applicable Premium Deficit will be set forth in an
       Officer’s Certificate delivered to the Trustee simultaneously with the deposit of such
       Applicable Premium Deficit that confirms that such Applicable Premium Deficit will be
       applied toward such redemption;

               (2)     the Issuer or any Guarantor has paid or caused to be paid all sums payable
       by it under this Indenture; and

              (3)     the Issuer has delivered irrevocable written instructions to the Trustee
       under this Indenture to apply the deposited money toward the payment of the Notes at
       maturity or on the redemption date, as the case may be.

                (b)    In addition, an Officer’s Certificate and an Opinion of Counsel have been
delivered to the Trustee stating that all conditions precedent to satisfaction and discharge have
been satisfied.

                (c)    Notwithstanding the satisfaction and discharge of this Indenture, if money
has been deposited with the Trustee pursuant to Section 11.01(a)(1)(B), the provisions of
Sections 11.02 and 8.06 hereof will survive such satisfaction and discharge. In addition, nothing
in this Section 11.01 will be deemed to discharge those provisions of Section 7.07 hereof, or any
other provision hereof, that, by their terms, survive the satisfaction and discharge of this
Indenture.

Section 11.02 Application of Trust Money.

               (a)     Subject to the provisions of Section 8.06 hereof, all money deposited with
the Trustee pursuant to Section 11.01 hereof shall be held in trust and applied by it, in
accordance with the provisions of the Notes and this Indenture, to the payment, either directly or
through any Paying Agent (including the Issuer acting as its own Paying Agent) as the Trustee
may determine, to the Persons entitled thereto, of the principal (and premium, if any) and interest
for whose payment such money has been deposited with the Trustee; but such money need not be
segregated from other funds except to the extent required by law.

                (b)     If the Trustee or Paying Agent is unable to apply any money or U.S.
Government Securities in accordance with Section 11.01 hereof by reason of any legal
proceeding or by reason of any order or judgment of any court or governmental authority
enjoining, restraining or otherwise prohibiting such application, the Issuer’s and any Guarantor’s
obligations under this Indenture and the Notes and Note Guarantees, as applicable, shall be
revived and reinstated as though no deposit had occurred pursuant to Section 11.01 hereof;
provided that if the Issuer has made any payment of principal of, premium, if any, or interest on,
any Notes because of the reinstatement of its obligations, the Issuer shall be subrogated to the
rights of the Holders of such Notes to receive such payment from the money or U.S. Government
Securities held by the Trustee or Paying Agent.




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                                           ARTICLE 12

                                COLLATERAL AND SECURITY

Section 12.01 Security Documents; Additional Collateral; Intercreditor Agreement.

                (a)     Security Documents. In order to secure the due and punctual payment of
the Notes Obligations and any Permitted Additional Pari Passu Obligations, the Issuer, the
Guarantors, the Collateral Agent and the other parties thereto have simultaneously with the
execution of this Indenture entered or, in accordance with the provisions of Section 4.14,
Section 4.17, Section 4.19 and this Article 12, will enter into the Security Documents. In the
event of a conflict or inconsistency between the terms of this Indenture and the Security
Documents, the Security Documents shall control. The Issuer shall, and shall cause each of its
Restricted Subsidiaries to, and each Restricted Subsidiary shall, make all filings (including
filings of continuation statements and amendments to UCC financing statements that may be
necessary to continue the effectiveness of such UCC financing statements) and take all other
actions as are reasonably necessary or required by the Security Documents to maintain (at the
sole cost and expense of the Issuer and its Restricted Subsidiaries) the security interest created by
the Security Documents in the Collateral (other than with respect to any Collateral the security
interest in which is not required to be perfected under the Security Documents) as a perfected
security interest subject only to Permitted Liens.

                (b)     Additional Collateral. With respect to assets acquired after the Issue Date,
the Issuer or the applicable Guarantor will take the actions required by the Security Agreement
or Section 4.18 of this Indenture.

                (c)      Intercreditor Agreement. The Security Documents, the Trustee, the
Collateral Agent and the Holders are bound by the terms of the Intercreditor Agreement and each
Holder of a Note, by accepting such Note, agrees to all the terms and provisions of the
Intercreditor Agreement and the other Security Documents. Notwithstanding anything to the
contrary, (i) the liens and security interests granted to the Collateral Agent pursuant to the
Security Documents and all rights and obligations of the Trustee and Collateral Agent hereunder
in respect of the Collateral are expressly subject to the Intercreditor Agreement and (ii) the
exercise of any right or remedy by the Trustee and the Collateral Agent hereunder in respect of
the Collateral is subject to the limitation and provisions of the Intercreditor Agreement. In the
event of any conflict or inconsistency between the terms of the Intercreditor Agreement and the
terms of this Indenture or any Security Document, the terms of the Intercreditor Agreement, shall
govern.

Section 12.02 Intentionally Omitted.

Section 12.03 Release of Collateral.

               The Liens securing the Notes and the Guarantees will, automatically and without
the need for any further action by any Person be released:




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               (a)    in whole or in part, as applicable, as to all or any portion of the property
subject to such Liens which has been taken by eminent domain, condemnation or other similar
circumstances in accordance with the terms of Section 4.08;

                (b)     in whole upon:

                (1)      payment in full of the principal of, together with accrued and unpaid
        interest, if any, on the Notes and all other Obligations under this Indenture, the Note
        Guarantees and the Security Documents that are due and payable at or prior to the time
        such principal, together with accrued and unpaid interest, if any, are paid;

                (2)     satisfaction and discharge of this Indenture as set forth under Article 11; or

               (3)     a legal defeasance or covenant defeasance of this Indenture as set forth
        under Article 8;

                (c)      in part, as to any property that (i) is sold, transferred or otherwise disposed
of by the Issuer or any Guarantor (other than to the Issuer or another Guarantor) in a transaction
not prohibited by this Indenture at the time of such transfer or disposition, including, without
limitation, as a result of a transaction of the type permitted under Sections 4.08 and 5.01 or (ii) is
owned or at any time acquired by a Guarantor that has been released from its Guarantee,
concurrently with the release of such Guarantee;

              (d)     as to property that constitutes all or substantially all of the Collateral
securing the Notes, with the consent of each Holder of the Notes and each holder of any
Permitted Additional Pari Passu Obligations outstanding;

               (e)     as to property that constitutes less than all or substantially all of the
Collateral securing the Notes, with the consent of the Holders of at least 66 2/3% of the
aggregate principal amount of Notes (including, without limitation, consents obtained in
connection with a tender offer or exchange offer for, or purchase of, Notes) and any Permitted
Additional Pari Passu Obligations outstanding;

                (f)     as to any Excluded Pipelines subject to a security interest granted under a
mortgage, security agreement or other security interest in favor of the Collateral Agent, upon the
disposition of such Excluded Pipeline, in a transaction not prohibited by this Indenture at the
time of such sale, transfer or disposition;

                (g)     as to real property upon which any Excluded Pipelines are situated, upon
the Collateral Agent’s receipt from the Issuer of an Officer’s Certificate certifying that the
release of the Collateral Agent’s Liens on such real property does not materially adversely affect
or impair (1) the business operations of the Issuer and its Restricted Subsidiaries as a whole or
(2) the validity or priority of the Lien of the Collateral Agent pursuant to the Security Documents
on the balance of the Mortgaged Property; and

             (h)     in part, in accordance with the applicable provisions of the Intercreditor
Agreement and the other Security Documents.



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              Any release of Collateral permitted by this Section 12.03 shall be deemed not to
impair the remaining Liens under this Indenture and the Security Documents in contravention
thereof.

Section 12.04 Form and Sufficiency of Release.

                In the event that either the Issuer or any Guarantor has sold, exchanged, or
otherwise disposed of or proposes to sell, exchange or otherwise dispose of any portion of the
Collateral that, under the terms of this Indenture may be sold, exchanged or otherwise disposed
of by the Issuer or any Guarantor, and the Issuer or such Guarantor requests the Trustee in
writing to furnish a written disclaimer, release or quitclaim of any interest in such property under
this Indenture, the applicable Guarantee and the Security Documents, upon receipt of an
Officer’s Certificate and Opinion of Counsel to the effect that such release complies with
Section 12.03 and specifying the provision in Section 12.03 pursuant to which such release is
being made (upon which the Trustee may exclusively and conclusively rely), the Trustee shall
execute, acknowledge and deliver to the Issuer or such Guarantor (or instruct the Collateral
Agent to do the same and upon receipt thereof the Collateral Agent shall execute, acknowledge
and deliver) such an instrument in the form provided by the Issuer, and providing for release
without recourse and shall take such other action as the Issuer or such Guarantor may reasonably
request and as necessary to effect such release.

Section 12.05 Possession and Use of Collateral.

                Subject to the provisions of the Security Documents, the Issuer and the
Guarantors shall have the right to remain in possession and retain exclusive control of and to
exercise all rights with respect to the Collateral (other than monies or U.S. Government
Obligations deposited pursuant to Article 8 or Article 11, and other than as set forth in the
Security Documents and this Indenture), to freely operate, manage, develop, lease, use, consume
and enjoy the Collateral (other than monies and U.S. Government Obligations deposited pursuant
to Article 8 or Article 11 and other than as set forth in the Security Documents and this
Indenture), to alter or repair any Collateral so long as such alterations and repairs do not
materially impair the Lien of the Security Documents thereon, and to collect, receive, use, invest
and dispose of the reversions, remainders, interest, rents, lease payments, issues, profits,
revenues, proceeds and other income thereof and to effect transactions permitted under
Sections 4.08 and 5.01.

Section 12.06 Intentionally Omitted.

Section 12.07 Collateral Agent.

               (a)     The Trustee and each of the Holders by acceptance of the Notes hereby
appoint the Collateral Agent as the Trustee’s and Holders’ collateral agent under this Indenture
and the Security Documents and the Trustee and each of the Holders by acceptance of the Notes
hereby irrevocably authorizes the Collateral Agent to take such action on its behalf under the
provisions of this Indenture and the Security Documents and to exercise such powers and
perform such duties as are expressly delegated to the Collateral Agent by the terms of this
Indenture and the Security Documents, together with such powers as are reasonably incidental



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thereto. The Collateral Agent agrees to act as such on the express conditions contained in this
Section 12.07. The provisions of this Section 12.07 are solely for the benefit of the Collateral
Agent and none of the Trustee, any of the Holders, the Issuer or any of the Guarantors shall have
any rights as a third party beneficiary of any of the provisions contained herein other than as
expressly provided in Section 12.03. Notwithstanding any provision to the contrary contained
elsewhere in this Indenture and the Security Documents, the Collateral Agent shall not have any
duties or responsibilities, except those expressly set forth herein or in the Security Documents,
nor shall the Collateral Agent have or be deemed to have any fiduciary relationship with the
Trustee, any Holder, the Issuer or any Guarantor, and no implied covenants, functions,
responsibilities, duties, obligations or liabilities shall be read into this Indenture and the Security
Documents or otherwise exist against the Collateral Agent. Without limiting the generality of the
foregoing sentence, the use of the term “agent” in this Indenture with reference to the Collateral
Agent shall not be construed to connote any fiduciary or other implied (or express) obligations
arising under agency doctrine of any applicable law. Instead, such term is used merely as a
matter of market custom, and is intended to create or reflect only an administrative relationship
between independent contracting parties. Except as expressly otherwise provided in this
Indenture and the Security Documents, the Collateral Agent shall exercise or refrain from
exercising any discretionary rights or taking or refraining from taking any actions which the
Collateral Agent is expressly entitled to take or assert under this Indenture and the Security
Documents, including the exercise of remedies pursuant to Article 6, and any action so taken or
not taken shall be deemed consented to by the Trustee and the Holders.

                (b)     The Collateral Agent may execute any of its duties under this Indenture
and the Security Documents by or through agents, employees or attorneys−in−fact and shall be
entitled to advice of counsel concerning all matters pertaining to such duties. The Collateral
Agent shall not be responsible for the negligence or misconduct of any agent, employee or
attorney−in−fact that it selects as long as such selection was made with due care.

                (c)     None of the Collateral Agent or any of its agents or employees shall (i) be
liable for any action taken or omitted to be taken by any of them under or in connection with this
Indenture or the transactions contemplated hereby (except for its own gross negligence or willful
misconduct) or under or in connection with any Security Document or the transactions
contemplated thereby (except for its own gross negligence or willful misconduct), or (ii) be
responsible in any manner to the Trustee or any Holder for any recital, statement, representation,
warranty, covenant or agreement made by the Issuer or any Guarantor, contained in this
Indenture or any indenture, or in any certificate, report, statement or other document referred to
or provided for in, or received by the Collateral Agent under or in connection with, this
Indenture, any other indenture or the Security Documents, or the validity, effectiveness,
genuineness, enforceability or sufficiency of this Indenture, any other indenture or the Security
Documents, or for any failure of the Issuer or any Guarantor or any other party to this Indenture
or the Security Documents to perform its obligations hereunder or thereunder. None of the
Collateral Agent or any of its agents or employees shall be under any obligation to the Trustee or
any Holder to ascertain or to inquire as to the observance or performance of any of the
agreements contained in, or conditions of, this Indenture, any other indenture or the Security
Documents or to inspect the properties, books or records of the Issuer or any Guarantor.




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                (d)     The Collateral Agent shall not be deemed to have actual knowledge or
notice of the occurrence of any Default or Event of Default, unless the Collateral Agent shall
have received written notice from the Trustee or the Issuer referring to this Indenture, describing
such Default or Event of Default and stating that such notice is a “notice of default.” The
Collateral Agent shall take such action with respect to such Default or Event of Default as may
be requested by the Trustee in accordance with Article 6 (subject to this Section 12.07);
provided, however, that unless and until the Collateral Agent has received any such request, the
Collateral Agent may (but shall not be obligated to) take such action, or refrain from taking such
action, with respect to such Default or Event of Default as it shall deem advisable.

                 (e)     A resignation or removal of the Collateral Agent and appointment of a
successor Collateral Agent shall become effective only upon the successor Collateral Agent’s
acceptance of appointment as provided in this Section 12.07(e). The Collateral Agent may resign
in writing at any time by so notifying the Issuer, the Trustee and each trustee, agent or
representative of holders of Permitted Additional Pari Passu Obligations at least 30 days prior to
the proposed date of resignation. The Issuer may remove the Collateral Agent if: (i) the
Collateral Agent (x) fails to meet the requirements for being a Trustee under Section 7.10 (prior
to the discharge or defeasance of this Indenture) and (y) following the discharge or defeasance of
this Indenture, fails to meet the requirements for being the trustee, agent or representative of
holders of any extant Permitted Additional Pari Passu Obligations; (ii) the Collateral Agent is
adjudged a bankrupt or an insolvent or an order for relief is entered with respect to the Collateral
Agent under any Bankruptcy Law; (iii) a custodian or public officer takes charge of the
Collateral Agent or its property; or (iv) the Collateral Agent becomes incapable of acting. If the
Collateral Agent resigns or is removed or if a vacancy exists in the office of Collateral Agent for
any reason, the Issuer shall promptly appoint a successor Collateral Agent which complies with
the eligibility requirements contained in this Indenture and each indenture, credit agreement or
other agreements which any Permitted Additional Pari Passu Obligations (other than Additional
Notes) are incurred. If a successor Collateral Agent does not take office within ten days after the
retiring Collateral Agent resigns or is removed, the retiring or removed Collateral Agent, the
Issuer or the holders of at least 10% in principal amount of the then outstanding principal amount
of (x) the Notes and (y) Permitted Additional Pari Passu Obligations (to the extent the trustee,
agent or representative of holders of such Permitted Additional Pari Passu Obligations executed
a joinder to the Security Agreement) may petition any court of competent jurisdiction, at the
expense of the Issuer for the appointment of a successor Collateral Agent. A successor Collateral
Agent shall deliver a written acceptance of its appointment to the retiring Collateral Agent and to
the Issuer. Thereupon, the resignation or removal of the retiring Collateral Agent shall become
effective, and the successor Collateral Agent shall have all the rights, powers and the duties of
the Collateral Agent under this Indenture and the Security Documents. The successor Collateral
Agent shall mail a notice of its succession to the Trustee and each trustee, agent or representative
of holders of Permitted Additional Pari Passu Obligations. The retiring Collateral Agent shall
promptly transfer all property held by it as Collateral Agent to the successor Collateral Agent,
provided that all sums owing to the Collateral Agent hereunder have been paid. Notwithstanding
replacement of the Collateral Agent pursuant to this Section 12.07(e), the Issuer’s obligations
under this Section 12.07 and Section 12.12 shall continue for the benefit of the retiring Collateral
Agent.




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                 (f)     Except as otherwise explicitly provided herein or in the Security
Documents, neither the Collateral Agent nor any of its officers, directors, employees or agents
shall be liable for failure to demand, collect or realize upon any of the Collateral or for any delay
in doing so or shall be under any obligation to sell or otherwise dispose of any Collateral upon
the request of any other Person or to take any other action whatsoever with regard to the
Collateral or any part thereof. The Collateral Agent shall be accountable only for amounts that it
actually receives as a result of the exercise of such powers, and neither the Collateral Agent nor
any of its officers, directors, employees or agents shall be responsible for any act or failure to act
hereunder, except for its own willful misconduct, gross negligence or bad faith.

                 (g)    The Trustee is authorized and directed in writing by the Holders and the
Holders by acquiring the Notes are deemed to have authorized the Trustee, as applicable, to
(i) enter into the Security Documents, (ii) bind the Holders on the terms as set forth in the
Security Documents and (iii) perform and observe its obligations under the Security Documents.
The Collateral Agent is authorize and directed by the Trustee and the Holders and the Holders by
acquiring the Notes and deemed to have authorized the Collateral Agent to (i) enter into the
Security Documents, (ii) bind the Trustee and the Holders on the terms as set forth in the
Security Documents and (iii) perform and observe its obligations under the Security Documents.

                 (h)    Neither the Collateral Agent nor the Trustee shall have any obligation
whatsoever to assure that the Collateral exists or is owned by the Issuer and the Guarantors or is
cared for, protected or insured or has been encumbered, or that the Collateral Agent’s Liens have
been properly or sufficiently or lawfully created, perfected, protected, maintained or enforced or
are entitled to any particular priority, or to determine whether all of the Grantor’s property
constituting collateral intended to be subject to the Lien and security interest of the Security
Documents has been properly and completely listed or delivered, as the case may be, or the
genuineness, validity, marketability or sufficiency thereof or title thereto, or to exercise at all or
in any particular manner or under any duty of care, disclosure or fidelity, or to continue
exercising, any of the rights, authorities and powers granted or available to the Collateral Agent
pursuant to this Indenture or any Security Document, it being understood and agreed that in
respect of the Collateral, or any act, omission or event related thereto, the Collateral Agent may
act in any manner it may deem appropriate, in its sole discretion given the Collateral Agent’s
own interest in the Collateral, and that neither the Collateral Agent nor the Trustee shall have any
other duty or liability whatsoever as to any of the foregoing.

               (i)       The Collateral Agent (i) shall not be liable for any action it takes or omits
to take in good faith it believes to be authorized or within its rights or powers, or for any error of
judgment made in good faith by an authorized officer, unless it is proved that the Collateral
Agent was negligent in ascertaining the pertinent facts, (ii) shall not be liable for interest on any
money received by it except as the Collateral Agent may agree in writing with the Issuer (and
money held in trust by the Collateral Agent need not be segregated from other funds except to
the extent required by law), and (iii) may consult with counsel of its selection and the advice or
opinion of such counsel as to matters of law shall be full and complete authorization and
protection from liability in respect of any action taken, omitted or suffered by it in good faith and
in accordance with the advice or opinion of such counsel. The grant of permissive rights or
powers to the Collateral Agent shall not be construed to impose duties to act. In no event shall
the Collateral Agent be responsible or liable for special, indirect, punitive or consequential loss


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or damage of any kind whatsoever (including, but not limited to, loss of profit) irrespective of
whether the Collateral Agent has been advised of the likelihood of such loss or damage and
regardless of the form of action.

                (j)     Notwithstanding anything to the contrary in this Indenture (including this
Article 12), in the event of a foreclosure on the Mortgaged Property and/or the exercise of its
remedies under the Security Documents, the Trustee and Collateral Agent agree that they shall
not take any action that results in the disturbance, extinguishment or termination of any
Permitted Liens granted pursuant to clause 14(B) of the definition thereof. Upon the request of
the Issuer, the Collateral Agent shall enter into (x) in the case of any such Permitted Lien that is a
lease, a subordination non−disturbance and attornment agreement and (y) in the case of any such
other Permitted Lien, a nondisturbance agreement, consent or such other agreement which, in
each case, confirms that in the event of a foreclosure on the Mortgaged Property and/or exercise
of remedies under the Security Documents, the Collateral Agent (and its successors and assigns)
will not disturb, extinguish or terminate any such Permitted Liens (or the rights thereunder). Any
request by the Issuer pursuant to the preceding sentence shall be evidenced by a certificate from
an officer of the Issuer which certificate shall certify that (1) the Permitted Liens in question do
not materially adversely affect or impair (A) the business operations of the Issuer and its
Restricted Subsidiaries as a whole or (B) the validity or priority of the Lien of the Mortgages on
the balance of the Mortgaged Property and (2) the applicable non−disturbance agreement,
consent or other agreement provides that the Permitted Liens in question are subordinate to the
Lien in favor of the Collateral Agent on the Mortgaged Property.

                 (k)    The Trustee and the Collateral Agent shall be deemed to have exercised
reasonable care in the custody of the Collateral in their possession if the Collateral is accorded
treatment substantially equal to that which it accords its own property and shall not be liable or
responsible for any loss or diminution in the value of any Collateral, by reason of the act or
omission of any carrier, forwarding agent or other agent or bailee selected by the Trustee or the
Collateral Agent in good faith. Neither the Trustee nor the Collateral Agent shall be responsible
for filing any financing or continuation statements or recording any documents or instruments in
any public office at any time or times or otherwise perfecting or maintaining the perfection of
any security interest in the Collateral.

Section 12.08 Purchaser Protected.

                No purchaser or grantee of any property or rights purporting to be released shall
be bound to ascertain the authority of the Collateral Agent or Trustee to execute the release or to
inquire as to the existence of any conditions herein prescribed for the exercise of such authority
so long as the conditions set forth in Section 12.04 have been satisfied.

Section 12.09 Authorization of Actions to Be Taken by the Collateral Agent Under the Security
              Documents.

                The Holders agree that the Collateral Agent shall be entitled to the rights,
privileges, protections immunities, indemnities and benefits provided to the Collateral Agent by
the Security Documents. Furthermore, each holder of a Note, by accepting such Note, consents




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to the terms of and authorizes and directs the Trustee (in each of its capacities) and the Collateral
Agent to enter into and perform the Security Documents in each of its capacities thereunder.

Section 12.10 Authorization of Receipt of Funds by the Trustee Under the Security Agreement.

               The Trustee is authorized to receive any funds for the benefit of Holders
distributed under the Security Documents to the Trustee, to apply such funds as provided in
Section 6.10 hereof.

Section 12.11 Powers Exercisable by Receiver or Collateral Agent.

                In case the Collateral shall be in the possession of a receiver or trustee, lawfully
appointed, the powers conferred in this Article 12 upon the Issuer or any Guarantor, as
applicable, with respect to the release, sale or other disposition of such property may be
exercised by such receiver or trustee, and an instrument signed by such receiver or trustee shall
be deemed the equivalent of any similar instrument of the Issuer or any Guarantor, as applicable,
or of any officer or officers thereof required by the provisions of this Article 12.

Section 12.12 Compensation and Indemnification.

                The Collateral Agent shall be entitled to the compensation and indemnification set
forth in Section 7.07 (with the references to the Trustee therein being deemed to refer to the
Collateral Agent).

                                           ARTICLE 13

                                           [RESERVED]



                                           ARTICLE 14

                                       MISCELLANEOUS

Section 14.01 Intentionally Omitted.

Section 14.02 Notices.

                (a)     Any notice, direction, request, instruction, document, or communication
by the Issuer, any Guarantor or the Trustee to the others is duly given if in writing and delivered
in Person or by first class mail (registered or certified, return receipt requested), facsimile
transmission electronically in PDF format or overnight air courier guaranteeing next day
delivery, to the others’ address:

       If to either Issuer and/or any Guarantor:

               TPC Group Inc.
               One Allen Center


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               500 Dallas Street, Suite 1000
               Houston, Texas 77002
               Facsimile: (832) 415-0456
               Attention: Marilyn Moore Basso
               Email: Marilyn.MooreBasso@tpcgrp.com

               With a copy to:

               Simpson Thacher & Bartlett LLP
               425 Lexington Avenue
               New York, New York 10017
               Facsimile: (212) 455-2502
               Attention: David Azarkh, Esq.
               Email: dazarkh@stblaw.com

       If to the Trustee or the Collateral Agent:

               U.S. Bank National Association
               Global Corporate Trust Services
               13737 Noel Road, Suite 800
               Dallas, Texas 75240
               Facsimile: (972) 581-1670

                The Issuer, any Guarantor or the Trustee, by notice to the others, may designate
additional or different addresses for subsequent notices or communications; provided, however,
that notices to the Trustee shall only be effective upon actual receipt.

               (b)     All notices and communications (other than those sent to Holders) will be
deemed to have been duly given: at the time delivered by hand, if personally delivered; five
calendar days after being deposited in the mail, postage prepaid, if mailed; when receipt
acknowledged, if transmitted by facsimile; when sent, if sent electronically in PDF format and
the next Business Day after timely delivery to the courier, if sent by overnight air courier
guaranteeing next day delivery.

                (c)     Notwithstanding any other provision hereof or of any Note, where this
Indenture or any Note provides for notice of any event (including any notice of redemption) to
any holder of an interest in a Global Note (whether by email or otherwise), such notice shall be
sufficiently given if given to DTC or other applicable Depositary for such note (or its designee)
according to the applicable procedures of DTC or such Depositary. Any notice or
communication to a Holder of a Definitive Note will be mailed by first class mail, certified or
registered, return receipt requested, or by overnight air courier guaranteeing next day delivery to
its address shown on the register kept by the Registrar. Failure to send a notice or
communication to a Holder as provided herein or any defect in it will not affect its sufficiency
with respect to other Holders.

              (d)     If a notice or communication is sent in the manner provided in this
Section 14.02 within the time prescribed, it is duly given, whether or not the addressee receives
it.


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               (e)    If the Issuer sends a notice or communication to Holders, it will send a
copy to the Trustee and each Agent at the same time.

                (f)     In respect of this Indenture, the Trustee and Collateral Agent shall not
have any duty or obligation to verify or confirm that the Person sending instructions, directions,
reports, notices or other communications or information by electronic transmission is, in fact, a
Person authorized to give such instructions, directions, reports, notices or other communications
or information on behalf of the party purporting to send such electronic transmission; and neither
the Trustee nor the Collateral Agent shall have any liability for any losses, liabilities, costs or
expenses incurred or sustained by any party as a result of such reliance upon or compliance with
such instructions, directions, reports, notices or other communications or information. Each other
party agrees to assume all risks arising out of the use of electronic methods to submit
instructions, directions, reports, notices or other communications or information to the Trustee
and the Collateral Agent, including without limitation the risk of the Trustee and the Collateral
Agent acting on unauthorized instructions, notices, reports or other communications or
information, and the risk of interception and misuse by third parties.

Section 14.03 [Reserved].

Section 14.04 Certificate and Opinion as to Conditions Precedent.

                Upon any request or application by the Issuer to the Trustee to take any action
under this Indenture (other than in connection with the Authentication Order, dated the date
hereof, and delivered to the Trustee in connection with the issuance of the Initial Notes), the
Issuer shall furnish to the Trustee:

              (1)      an Officer’s Certificate (which must include the statements set forth in
       Section 14.05 hereof) stating that, in the opinion of the signers, all conditions precedent
       and covenants, if any, provided for in this Indenture relating to the proposed action have
       been satisfied; and

              (2)    an Opinion of Counsel (which must include the statements set forth in
       Section 14.05 hereof) stating that, in the opinion of such counsel, all such conditions
       precedent and covenants have been satisfied.

Section 14.05 Statements Required in Certificate or Opinion.

              Each certificate or opinion with respect to compliance with a condition or
covenant provided for in this Indenture must include substantially:

              (1)    a statement that the Person making such certificate or opinion has read
       such covenant or condition;

               (2)    a brief statement as to the nature and scope of the examination or
       investigation upon which the statements or opinions contained in such certificate or
       opinion are based;




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              (3)     a statement that, in the opinion of such Person, he or she has made such
       examination or investigation as is necessary to enable him or her to express an informed
       opinion as to whether or not such covenant or condition has been satisfied; and

              (4)     a statement as to whether or not, in the opinion of such Person, such
       condition or covenant has been satisfied.

Section 14.06 Rules by Trustee and Agents.

             The Trustee may make reasonable rules for action by or at a meeting of Holders.
The Agents may make reasonable rules and set reasonable requirements for its functions.

Section 14.07 No Personal Liability of Directors, Officers, Employees and Stockholders.

                To the extent permitted by law, no past, present or future director, manager,
officer, employee, incorporator, stockholder or member of the Issuer, any parent of the Issuer or
any Subsidiary, as such, will have any liability for any obligations of the Issuer or the Guarantors
under the Notes, this Indenture, the Note Guarantees or for any claim based on, in respect of, or
by reason of, such obligations or their creation. Each Holder by accepting a Note waives and
releases all such liability. The waiver and release are part of the consideration for issuance of the
Notes.

Section 14.08 Governing Law.

           (a)   THIS INDENTURE, THE NOTES, AND THE NOTE GUARANTEES
SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH THE LAWS
OF THE STATE OF NEW YORK.

                 (b)    Each party hereto irrevocably and unconditionally submits to the
jurisdiction of the Supreme Court of the State of New York sitting in the Borough of Manhattan,
New York County and of the United States District Court of the Southern District of New York
sitting in the Borough of Manhattan, and any appellate court from any jurisdiction thereof, in any
action or proceeding arising out of or relating to this Indenture, the Notes or the Note
Guarantees, or for recognition or enforcement of any judgment, and each of the parties hereto
hereby irrevocably and unconditionally agrees that all claims in respect of any such action or
proceeding may be heard and determined in such New York State or, to the extent permitted by
law, in such Federal court. Each party hereto agrees that a final judgment in any such action or
proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the
judgment or in any other manner provided by law. Nothing in this Indenture shall affect any right
that any party hereto or any Secured Party may otherwise have to bring any action or proceeding
relating to this Indenture against any party hereto or its properties in the courts of any
jurisdiction.

                (c)     Each party hereto irrevocably and unconditionally waives, to the fullest
extent it may legally and effectively do so, any objection which it may now or hereafter have to
the laying of venue of any suit, action or proceeding arising out of or relating to this Indenture in
any court referred to in Section 14.08(b) hereto. Each party hereto irrevocably waives, to the



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fullest extent permitted by law, the defense of an inconvenient forum to the maintenance of such
action or proceeding in any such court.

               (d)     Each party hereto irrevocably consents to service of process in the manner
provided for notices in Section 14.02 hereof, such service to be effective upon receipt.

       Nothing in this Indenture will affect the right of any party hereto or any Secured Party to
       serve process in any other manner permitted by law.

Section 14.09 Successors.

               All agreements of the Issuer in this Indenture and the Notes will bind its
successors. All agreements of the Trustee in this Indenture will bind its successors. All
agreements of each Guarantor in this Indenture will bind its successors, except as otherwise
provided in Section 10.04.

Section 14.10 Severability.

              In case any provision in this Indenture or in the Notes is invalid, illegal or
unenforceable, the validity, legality and enforceability of the remaining provisions will not in
any way be affected or impaired thereby.

Section 14.11 Counterpart Originals.

                The parties may sign any number of copies of this Indenture. Each signed copy
will be an original, but all of them together represent the same agreement. The exchange of
copies of this Indenture and of signature pages by facsimile or PDF transmission shall constitute
effective execution and delivery of this Indenture as to the parties hereto and may be used in lieu
of the original Indenture for all purposes. Signatures of the parties hereto transmitted by
facsimile or PDF shall be deemed to be their original signatures for all purposes.

Section 14.12 Table of Contents, Headings, etc.

                The Table of Contents, Cross−Reference Table and Headings of the Articles and
Sections of this Indenture have been inserted for convenience of reference only, are not to be
considered a part of this Indenture and will in no way modify or restrict any of the terms or
provisions hereof.

Section 14.13 Waiver of Immunity.

                To the extent that any of the Issuer or the Guarantors has or hereafter may acquire
any immunity from jurisdiction of any court or from any legal process (whether through service
of notice, attachment prior to judgment, attachment in aid of execution or execution, on the
ground of sovereignty or otherwise) with respect to itself or its property, it hereby irrevocably
waives, to the fullest extent permitted by applicable law, such immunity in respect of its
obligations under this Indenture, Note and/or Note Guarantees.

Section 14.14 Waiver of Jury Trial.


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           ALL PARTIES HERETO HEREBY IRREVOCABLY WAIVE ALL RIGHTS
TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER
BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO
THIS INDENTURE, THE NOTES, THE NOTE GUARANTEES, THE SECURITY
DOCUMENTS, THE INTERCREDITOR AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY OR THEREBY.

Section 14.15 U.S.A. Patriot Act.

                The parties hereto acknowledge that in accordance with Section 326 of the U.S.A.
Patriot Act, the Trustee, like all financial institutions and in order to help fight the funding of
terrorism and money laundering, is required to obtain, verify, and record information that
identifies each person or legal entity that establishes a relationship or opens an account with the
Trustee. The parties to this Indenture agree that they will provide the Trustee with such
information as it may request in order for the Trustee to satisfy the requirements of the U.S.A.
Patriot Act.

                                 [Signatures on following page]




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                                                                                    EXHIBIT A1

                                  [Face of 144A Global Note]

[Insert the Global Note Legend, if applicable pursuant to the provisions of the Indenture]

[Insert the Private Placement Legend, if applicable pursuant to the provisions of the Indenture]


                                                     CUSIP/ISIN 89236Y AB0 / US89236YAB02

                             10.50% Senior Secured Note due 2024

       No.                                                                               $

                                           TPC Group Inc.
                                           One Allen Center
                                      500 Dallas Street, Suite 1000
                                         Houston, Texas 77002

       promise to pay to CEDE & CO. or registered assigns,

       the principal sum of _______________ DOLLARS on August 1, 2024.

       Interest Payment Dates: February 1 and August 1

       Record Dates: January 15 and July 15

       Dated: August 2 ,2019




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                                                 TPC GROUP INC.


                                                 By:
                                                       Name:
                                                       Title:



        This is one of the Notes referred to
in the within−mentioned Indenture:

 U.S. BANK NATIONAL ASSOCIATION,
 as Trustee


 By:
                         Authorized Signatory




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                                  [Back of 144A Global Note]
                             10.50% Senior Secured Notes due 2024

               Capitalized terms used herein have the meanings assigned to them in the
Indenture referred to below unless otherwise indicated.

                (1)    INTEREST. TPC Group Inc., a Delaware corporation (the “Issuer”),
promises to pay interest on the principal amount of this Note at 10.50% per annum from August
2, 2019 until maturity. The Issuer will pay interest semi−annually in arrears on February 1 and
August 1 of each year, or if any such day is not a Business Day, on the next succeeding Business
Day (each, an “Interest Payment Date”). Interest on the Notes will accrue from the most recent
date to which interest has been paid or, if no interest has been paid, from August 2, 2019 until the
principal hereof is due. The first Interest Payment Date shall be February 1, 2020. The Issuer will
pay interest on overdue principal at the rate borne by the Notes, and it shall pay interest on
overdue installments of interest at the same rate to the extent lawful. Interest will be computed
on the basis of a 360−day year of twelve 30−day months.

                (2)      METHOD OF PAYMENT. The Issuer will pay interest on the Notes
(except defaulted interest) to the Persons who are registered Holders at the close of business on
the January 15 or July 15 immediately preceding the Interest Payment Date (whether or not a
Business Day), even if such Notes are canceled after such record date and on or before such
Interest Payment Date, except as provided in Section 2.12 of the Indenture with respect to
defaulted interest. Payments in respect of Notes represented by Global Notes (including
principal, premium, if any, and interest) shall be made by wire transfer of immediately available
funds to the accounts specified by The Depository Trust Company or any successor depositary.
The Issuer will make all payments in respect of a Definitive Note (including principal, premium,
if any, and interest), at the office of each Paying Agent, except that, at the option of the Issuer,
payment of interest may be made by mailing a check to the registered address of each Holder
thereof; provided, however, that payments on the Notes may also be made in the case of a Holder
of at least $1,000,000 aggregate principal amount of Notes, by wire transfer to a U.S. dollar
account maintained by the payee with a bank in the United States if such Holder elects payment
by wire transfer by giving written notice to the Trustee or a Paying Agent to such effect
designating such account no later than 30 days immediately preceding the relevant due date for
payment (or such other date as the Trustee may accept in its discretion). Such payment will be in
such coin or currency of the United States of America as at the time of payment is legal tender
for payment of public and private debts.

               (3)     PAYING AGENT AND REGISTRAR. Initially, U.S. Bank National
Association, the Trustee under the Indenture, will act as Paying Agent and Registrar. The Issuer
may change any Paying Agent or Registrar without notice to any Holder. The Issuer or any of the
Issuer’s Subsidiaries may act in any such capacity.

               (4)     INDENTURE. The Issuer issued the Notes under an Indenture dated as of
August 2, 2019 (the “Indenture”) among the Issuer, the Guarantors and the Trustee. The terms of
the Notes include those stated in the Indenture. Terms defined in the Indenture and not defined
herein have the meanings ascribed thereto in the Indenture. The Notes are subject to all the terms
and provisions of the Indenture, and Holders are referred to the Indenture for a statement of such


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terms. To the extent any provision of this Note conflicts with the express provisions of the
Indenture, the provisions of the Indenture shall govern and be controlling.

                The Notes are senior secured obligations of the Issuer. This Note is one of the
Notes referred to in the Indenture. The Notes include the Initial Notes and any Additional Notes.
The Initial Notes and any Additional Notes are treated as a single class of securities under the
Indenture. The Indenture imposes certain limitations on the ability of the Issuer and its Restricted
Subsidiaries to, among other things, make certain Investments and other Restricted Payments,
pay dividends and other distributions, incur Indebtedness, enter into consensual restrictions upon
the payment of certain dividends and distributions by such Restricted Subsidiaries, issue or sell
shares of capital stock of the Issuer and such Restricted Subsidiaries, enter into or permit certain
transactions with Affiliates, create or incur Liens and make asset sales. The Indenture also
imposes limitations on the ability of the Issuer and each Guarantor to consolidate or merge with
or into any other Person or convey, transfer or lease all or substantially all of its property.

                To guarantee the due and punctual payment of the principal and interest on the
Notes and all other amounts payable by the Issuer under the Indenture, the Notes and the
Security Documents when and as the same shall be due and payable, whether at maturity, by
acceleration or otherwise, according to the terms of the Notes and the Indenture, the Guarantors
have, jointly and severally, unconditionally guaranteed the Obligations of the Issuer under the
Notes on a senior secured basis pursuant to the terms of the Indenture.

                The Notes shall be secured by Liens and security interests, subject to Permitted
Liens, in the Collateral on the terms and conditions set forth in the Indenture, the Intercreditor
Agreement and the other Security Documents. The Collateral Agent holds the Collateral in trust
for the benefit of the Holders of the Notes Obligations and the Trustee and the Holders, in each
case pursuant to the Security Documents. The Collateral will also secure obligations under
Permitted Additional Pari Passu Obligations and Indebtedness and other Obligations permitted
under the Indenture to be secured.

                Each Holder by accepting this Note consents and agrees to the terms of the
Intercreditor Agreement and the other Security Documents as the same may be in effect or may
be amended from time to time in accordance with their terms and the Indenture authorizes and
directs the Collateral Agent and the Trustee, as applicable, to enter into the Intercreditor
Agreement and the other Security Documents and to perform its obligations and exercise its
rights thereunder in accordance therewith.

               (5)     OPTIONAL REDEMPTION.

                (a)     At any time prior to August 1, 2021, the Issuer may on any one or more
occasions redeem up to 35% of the aggregate principal amount of Notes issued under the
Indenture at a redemption price of 110.50% of the principal amount thereof, plus accrued and
unpaid interest to, but not including, the redemption date (subject to the right of Holders on the
relevant record date to receive interest due on the relevant interest payment date), with the net
cash proceeds of one or more Equity Offerings; provided that:




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               (1)     at least 50% of the aggregate principal amount of Notes issued under the
Indenture (including any Additional Notes issued after the Issue Date, but excluding Notes held
by the Issuer and its Subsidiaries, including the Issuer) remains outstanding immediately after the
occurrence of such redemption (unless all of such Notes are redeemed); and

              (2)      the redemption occurs within 180 days of the date of the closing of such
Equity Offering.

               (b)     On or after August 1, 2021, the Issuer may redeem all or a part of the
Notes at the redemption prices (expressed as percentages of principal amount) set forth below
plus accrued and unpaid interest on the Notes redeemed to, but not including, the applicable
redemption date, if redeemed during the 12−month period beginning on August 1 of the years
indicated below, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date:

                          Year                                         Percentage
                          2021                                         107.875%
                          2022                                         103.938%
                          2023 and thereafter                          100.000%

               Unless the Issuer defaults in the payment of the redemption price or unless any
condition to the redemption described in the notice of redemption is not satisfied, interest will
cease to accrue on the Notes or portions thereof called for redemption on the applicable
redemption date.

                (c)     The Notes will be subject to redemption as a whole, but not in part, at the
option of the Issuer at any time, at 100% of the principal amount, plus accrued and unpaid
interest on the Notes to be redeemed to, but not including, the redemption date (subject to the
right of Holders on the relevant record date to receive interest due on the relevant Interest
Payment Date).

               (d)      At any time prior to August 1, 2021, the Issuer may also redeem all or a
part of the Notes, at a redemption price equal to 100% of the aggregate principal amount hereof
plus the Applicable Premium as of, and accrued and unpaid interest to, but not including, the
date of redemption, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date.

               (6)     MANDATORY REDEMPTION.

              The Issuer is not required to make mandatory redemption or sinking fund
payments with respect to the Notes.

                (7)    NOTICE OF REDEMPTION. Notice of redemption will be mailed, or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, at least 15 days but not more than 60 days before the redemption date to each Holder
whose Notes are to be redeemed at its registered address, except that redemption notices may be
mailed more than 60 days prior to a redemption date, or otherwise deliver notice in accordance
with the applicable procedures of DTC, with a copy to the Trustee, if the notice is issued in


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connection with a defeasance of the Notes or a satisfaction or discharge of the Indenture. Notes
in denominations larger than $2,000 may be redeemed in part but only in whole multiples of
$1,000 in excess of $2,000.

               (8)     REPURCHASE AT THE OPTION OF HOLDER.

                (a)     If there is a Change of Control, the Issuer will make an offer (a “Change
of Control Offer”) to each Holder to repurchase all or any part (equal to $2,000 or an integral
multiple of $1,000 in excess of $2,000) of that Holder’s Notes at a purchase price in cash equal
to 101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid interest
on the Notes repurchased to, but not including, the date of purchase, subject to the rights of
Holders on the relevant record date to receive interest due on the relevant interest payment date.
Within 30 days following any Change of Control, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, setting forth the procedures governing the Change of Control Offer as required by the
Indenture.

                (b)     If the Issuer or a Restricted Subsidiary of the Issuer consummates any
Asset Sales, within ten Business Days of each date on which the aggregate amount of Excess
Proceeds exceeds $25.0 million, the Issuer will commence an offer to all Holders and (x) in the
case of Net Proceeds from Notes Priority Collateral, to the holders of any other Permitted
Additional Pari Passu Obligations containing provisions similar to those set forth in this
Indenture with respect to offers to purchase or redeem with the proceeds of sales of assets or
(y) in the case of any other Net Proceeds, to all holders of other Permitted Additional Pari Passu
Obligations containing provisions similar to those set forth in the Indenture with respect to offers
to purchase or redeem with the proceeds of sales of assets (an “Asset Sale Offer”) pursuant to
Section 4.08 of the Indenture to purchase the maximum principal amount of Notes and Permitted
Additional Pari Passu Obligations, as appropriate, that may be purchased out of the Excess
Proceeds at an offer price in cash in an amount equal to 100% of the principal amount thereof
plus accrued and unpaid interest thereon to, but excluding, the date of purchase, in accordance
with the procedures set forth in the Indenture. To the extent that any Excess Proceeds remain
after the consummation of an Asset Sale Offer, the Issuer or any Restricted Subsidiary of the
Issuer may use those Excess Proceeds for any purpose not otherwise prohibited by the Indenture.
If the aggregate principal amount of Notes and Permitted Additional Pari Passu Obligations, as
appropriate, tendered into such Asset Sale Offer exceeds the amount of Excess Proceeds, the
Trustee shall select the Notes to be purchased on a pro rata basis. Holders that are the subject of
an offer to purchase will receive an Asset Sale Offer from the Issuer prior to any related purchase
date and may elect to have such Notes purchased by completing the form entitled “Option of
Holder to Elect Purchase” attached to the Notes.

                (9)    DENOMINATIONS, TRANSFER, EXCHANGE. The Notes are in
registered form without coupons in denominations of $2,000 and integral multiples of $1,000 in
excess of $2,000. The transfer of Notes may be registered and Notes may be exchanged as
provided in the Indenture. The Registrar and the Trustee may require a Holder, among other
things, to furnish appropriate endorsements and transfer documents and the Issuer may require a
Holder to pay any taxes and fees required by law or permitted by the Indenture. The Issuer need
not exchange or register the transfer of any Note or portion of a Note selected for redemption,


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except for the unredeemed portion of any Note being redeemed in part. Also, the Issuer need not
exchange or register the transfer of any Notes for a period of 15 days before a selection of Notes
to be redeemed or during the period between a record date and the corresponding Interest
Payment Date.

                (10) PERSONS DEEMED OWNERS. The registered Holder may be treated as
its owner for all purposes.

              (11) AMENDMENT, SUPPLEMENT AND WAIVER. The provisions
governing amendment, supplement and waiver of any provision of the Indenture, the Notes or
the Note Guarantees are set forth in Article 9 of the Indenture.

               (12) DEFAULTS AND REMEDIES. The Events of Default relating to the Notes
are defined in Section 6.01 of the Indenture.

                (13) DISCHARGE AND DEFEASANCE. Subject to certain conditions, the
Issuer at any time may terminate some or all of its obligations under the Notes, the Note
Guarantees and the Indenture if the Issuer deposits with the Trustee money or U.S. Government
Securities for the payment of principal of and interest on the Notes to redemption or maturity, as
the case may be.

                 (14) TRUSTEE DEALINGS WITH ISSUER. The Trustee, in its individual or
any other capacity, may make loans to, accept deposits from, and perform services for the Issuer
or its Affiliates, and may otherwise deal with the Issuer or its Affiliates, as if it were not the
Trustee.

                (15) NO RECOURSE AGAINST OTHERS. A director, manager, officer,
employee, incorporator, member or stockholder of the Issuer or any of the Guarantors, as such,
will not have any liability for any obligations of the Issuer or the Guarantors under the Notes, the
Note Guarantees or the Indenture or for any claim based on, in respect of, or by reason of, such
obligations or their creation. Each Holder by accepting a Note waives and releases all such
liability. The waiver and release are part of the consideration for the issuance of the Notes.

              (16) AUTHENTICATION. This Note will not be valid until authenticated by the
manual signature of the Trustee or an authenticating agent.

                (17) ABBREVIATIONS. Customary abbreviations may be used in the name of a
Holder or an assignee, such as: TEN COM (= tenants in common), TEN ENT (= tenants by the
entireties), JT TEN (= joint tenants with right of survivorship and not as tenants in common),
CUST (= Custodian), and U/G/M/A (= Uniform Gifts to Minors Act).

               (18) CUSIP NUMBERS. Pursuant to a recommendation promulgated by the
Committee on Uniform Security Identification Procedures, the Issuer has caused CUSIP numbers
to be printed on the Notes, and CUSIP numbers may be used in notices of redemption as a
convenience to Holders. No representation is made as to the accuracy of such numbers either as
printed on the Notes or as contained in any notice of redemption, and reliance may be placed
only on the other identification numbers placed thereon.



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           (19) GOVERNING LAW. THE INDENTURE, THIS NOTE AND THE NOTE
GUARANTEES SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK.




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               The Issuer will furnish to any Holder upon written request and without charge a
copy of the Indenture. Requests may be made to:

                                          TPC Group Inc.
                                          One Allen Center
                                     500 Dallas Street, Suite 1000
                                        Houston, Texas 77002




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                                     ASSIGNMENT FORM

       To assign this Note, fill in the form below:

       (I) or (we) assign and transfer this Note

       to:
                                      (Insert assignee’s legal name)


                                (Insert assignee’s soc. sec. or tax I.D. no.)




                          (Print or type assignee’s name, address and zip code)

       and irrevocably

       appoint
       to transfer this Note on the books of the Issuer. The agent may substitute another to act
for him.

       Date:

                                      Your Signature:
                                                        (Sign exactly as your name appears on the
                                                        face of this Note)

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                        OPTION OF HOLDER TO ELECT PURCHASE

               If you want to elect to have this Note purchased by the Issuer pursuant to
Section 4.08 or 4.12 of the Indenture, check the appropriate box below:

                    Section 4.08                                   Section 4.12

               If you want to elect to have only part of the Note purchased by the Issuer pursuant
to Section 4.08 or Section 4.12 of the Indenture, state the amount you elect to have purchased:

                                                 $

       Date:

                                     Your Signature:
                                                       (Sign exactly as your name appears on the
                                                       face of this Note)

                                     Tax Identification No.:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
       guarantor acceptable to the Trustee).




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SCHEDULE OF TRANSFERS AND EXCHANGES OF INTERESTS IN THE 144A GLOBAL
                              NOTE*

              The following exchanges of a part of this 144A Global Note for an interest in
another Global Note or for a Definitive Note, or exchanges of a part of another Global Note or
Definitive Note for an interest in this 144A Global Note, have been made:

                                                                     Principal Amount of
                                                                       this Global Note        Signature of
                       Amount of decrease      Amount of increase       following such     authorized signatory
 Date of Transfer or   in Principal Amount    in Principal Amount        decrease (or          of Trustee or
     Exchange           of this Global Note    of this Global Note         increase)            Custodian


* This schedule should be included only if the Note is issued in global form




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                                                                          EXHIBIT A2

                        [Face of Regulation S Global Note]

                         [Insert the Global Note Legend]

                    [Insert the Private Placement Legend]


                                         CUSIP/ISIN U8925W AD3 / USU8925WAD30

                    10.50% Senior Secured Note due 2024

No.                                                                             $

                                   TPC Group Inc.
                                   One Allen Center
                              500 Dallas Street, Suite 1000
                                 Houston, Texas 77002

promise to pay to CEDE & CO. or registered assigns,

the principal sum of _______________ DOLLARS on August 1, 2024.

Interest Payment Dates: February 1 and August 1

Record Dates: January 15 and July 15

Dated: August 2 ,2019




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                                                 TPC GROUP INC.


                                                 By:
                                                       Name:
                                                       Title:



        This is one of the Notes referred to
in the within−mentioned Indenture:

 U.S. BANK NATIONAL ASSOCIATION,
 as Trustee


 By:
                         Authorized Signatory




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                               [Back of Regulation S Global Note]
                              10.50% Senior Secured Note due 2024

               Capitalized terms used herein have the meanings assigned to them in the
Indenture referred to below unless otherwise indicated.

                (1)    INTEREST. TPC Group Inc., a Delaware corporation (the “Issuer”),
promises to pay interest on the principal amount of this Note at 10.50% per annum from August
2, 2019 until maturity. The Issuer will pay interest semi−annually in arrears on February 1 and
August 1 of each year, or if any such day is not a Business Day, on the next succeeding Business
Day (each, an “Interest Payment Date”). Interest on the Notes will accrue from the most recent
date to which interest has been paid or, if no interest has been paid, from August 2, 2019 until the
principal hereof is due. The first Interest Payment Date shall be February 1, 2020. The Issuer will
pay interest on overdue principal at the rate borne by the Notes, and it shall pay interest on
overdue installments of interest at the same rate to the extent lawful. Interest will be computed
on the basis of a 360−day year of twelve 30−day months.

                (2)      METHOD OF PAYMENT. The Issuer will pay interest on the Notes
(except defaulted interest) to the Persons who are registered Holders at the close of business on
the January 15 or July 15 immediately preceding the Interest Payment Date (whether or not a
Business Day), even if such Notes are canceled after such record date and on or before such
Interest Payment Date, except as provided in Section 2.12 of the Indenture with respect to
defaulted interest. Payments in respect of Notes represented by Global Notes (including
principal, premium, if any, and interest) shall be made by wire transfer of immediately available
funds to the accounts specified by The Depository Trust Company or any successor depositary.
The Issuer will make all payments in respect of a Definitive Note (including principal, premium,
if any, and interest), at the office of each Paying Agent, except that, at the option of the Issuer,
payment of interest may be made by mailing a check to the registered address of each Holder
thereof; provided, however, that payments on the Notes may also be made in the case of a Holder
of at least $1,000,000 aggregate principal amount of Notes, by wire transfer to a U.S. dollar
account maintained by the payee with a bank in the United States if such Holder elects payment
by wire transfer by giving written notice to the Trustee or a Paying Agent to such effect
designating such account no later than 30 days immediately preceding the relevant due date for
payment (or such other date as the Trustee may accept in its discretion). Such payment will be in
such coin or currency of the United States of America as at the time of payment is legal tender
for payment of public and private debts.

               (3)     PAYING AGENT AND REGISTRAR. Initially, U.S. Bank National
Association, the Trustee under the Indenture, will act as Paying Agent and Registrar. The Issuer
may change any Paying Agent or Registrar without notice to any Holder. The Issuer or any of the
Issuer’s Subsidiaries may act in any such capacity.

               (4)     INDENTURE. The Issuer issued the Notes under an Indenture dated as of
August 2, 2019 (the “Indenture”) among the Issuer, the Guarantors and the Trustee. The terms of
the Notes include those stated in the Indenture. Terms defined in the Indenture and not defined
herein have the meanings ascribed thereto in the Indenture. The Notes are subject to all the terms
and provisions of the Indenture, and Holders are referred to the Indenture for a statement of such


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terms. To the extent any provision of this Note conflicts with the express provisions of the
Indenture, the provisions of the Indenture shall govern and be controlling.

                The Notes are senior secured obligations of the Issuer. This Note is one of the
Notes referred to in the Indenture. The Notes include the Initial Notes and any Additional Notes.
The Initial Notes and any Additional Notes are treated as a single class of securities under the
Indenture. The Indenture imposes certain limitations on the ability of the Issuer and its Restricted
Subsidiaries to, among other things, make certain Investments and other Restricted Payments,
pay dividends and other distributions, incur Indebtedness, enter into consensual restrictions upon
the payment of certain dividends and distributions by such Restricted Subsidiaries, issue or sell
shares of capital stock of the Issuer and such Restricted Subsidiaries, enter into or permit certain
transactions with Affiliates, create or incur Liens and make asset sales. The Indenture also
imposes limitations on the ability of the Issuer and each Guarantor to consolidate or merge with
or into any other Person or convey, transfer or lease all or substantially all of its property.

                To guarantee the due and punctual payment of the principal and interest on the
Notes and all other amounts payable by the Issuer under the Indenture, the Notes and the
Security Documents when and as the same shall be due and payable, whether at maturity, by
acceleration or otherwise, according to the terms of the Notes and the Indenture, the Guarantors
have, jointly and severally, unconditionally guaranteed the Obligations of the Issuer under the
Notes on a senior secured basis pursuant to the terms of the Indenture.

                The Notes shall be secured by Liens and security interests, subject to Permitted
Liens, in the Collateral on the terms and conditions set forth in the Indenture, the Intercreditor
Agreement and the other Security Documents. The Collateral Agent holds the Collateral in trust
for the benefit of the Holders of the Notes Obligations and the Trustee and the Holders, in each
case pursuant to the Security Documents. The Collateral will also secure obligations under
Permitted Additional Pari Passu Obligations and Indebtedness and other Obligations permitted
under the Indenture to be secured.

                Each Holder by accepting this Note consents and agrees to the terms of the
Intercreditor Agreement and the other Security Documents as the same may be in effect or may
be amended from time to time in accordance with their terms and the Indenture authorizes and
directs the Collateral Agent and the Trustee, as applicable, to enter into the Intercreditor
Agreement and the other Security Documents and to perform its obligations and exercise its
rights thereunder in accordance therewith.

               (5)     OPTIONAL REDEMPTION.

                (a)     At any time prior to August 1, 2021, the Issuer may on any one or more
occasions redeem up to 35% of the aggregate principal amount of Notes issued under the
Indenture at a redemption price of 110.50% of the principal amount thereof, plus accrued and
unpaid interest to, but not including, the redemption date (subject to the right of Holders on the
relevant record date to receive interest due on the relevant interest payment date), with the net
cash proceeds of one or more Equity Offerings; provided that:




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               (1)     at least 50% of the aggregate principal amount of Notes issued under the
Indenture (including any Additional Notes issued after the Issue Date, but excluding Notes held
by the Issuer and its Subsidiaries, including the Issuer) remains outstanding immediately after the
occurrence of such redemption (unless all of such Notes are redeemed); and

              (2)      the redemption occurs within 180 days of the date of the closing of such
Equity Offering.

               (b)     On or after August 1, 2021, the Issuer may redeem all or a part of the
Notes at the redemption prices (expressed as percentages of principal amount) set forth below
plus accrued and unpaid interest on the Notes redeemed to, but not including, the applicable
redemption date, if redeemed during the 12−month period beginning on August 1 of the years
indicated below, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date:

                          Year                                         Percentage
                          2021                                         107.875%
                          2022                                         103.938%
                          2023 and thereafter                          100.000%

               Unless the Issuer defaults in the payment of the redemption price or unless any
condition to the redemption described in the notice of redemption is not satisfied, interest will
cease to accrue on the Notes or portions thereof called for redemption on the applicable
redemption date.

                (c)     The Notes will be subject to redemption as a whole, but not in part, at the
option of the Issuer at any time, at 100% of the principal amount, plus accrued and unpaid
interest on the Notes to be redeemed to, but not including, the redemption date (subject to the
right of Holders on the relevant record date to receive interest due on the relevant Interest
Payment Date).

               (d)      At any time prior to August 1, 2021, the Issuer may also redeem all or a
part of the Notes, at a redemption price equal to 100% of the aggregate principal amount hereof
plus the Applicable Premium as of, and accrued and unpaid interest to, but not including, the
date of redemption, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date.

               (6)     MANDATORY REDEMPTION.

              The Issuer is not required to make mandatory redemption or sinking fund
payments with respect to the Notes.

                (7)    NOTICE OF REDEMPTION. Notice of redemption will be mailed, or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, at least 15 days but not more than 60 days before the redemption date to each Holder
whose Notes are to be redeemed at its registered address, except that redemption notices may be
mailed more than 60 days prior to a redemption date, or otherwise deliver notice in accordance
with the applicable procedures of DTC, with a copy to the Trustee, if the notice is issued in


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connection with a defeasance of the Notes or a satisfaction or discharge of the Indenture. Notes
in denominations larger than $2,000 may be redeemed in part but only in whole multiples of
$1,000 in excess of $2,000.

               (8)     REPURCHASE AT THE OPTION OF HOLDER.

                (a)     If there is a Change of Control, the Issuer will make an offer (a “Change
of Control Offer”) to each Holder to repurchase all or any part (equal to $2,000 or an integral
multiple of $1,000 in excess of $2,000) of that Holder’s Notes at a purchase price in cash equal
to 101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid interest
on the Notes repurchased to, but not including, the date of purchase, subject to the rights of
Holders on the relevant record date to receive interest due on the relevant interest payment date.
Within 30 days following any Change of Control, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, setting forth the procedures governing the Change of Control Offer as required by the
Indenture.

                (b)     If the Issuer or a Restricted Subsidiary of the Issuer consummates any
Asset Sales, within ten Business Days of each date on which the aggregate amount of Excess
Proceeds exceeds $25.0 million, the Issuer will commence an offer to all Holders and (x) in the
case of Net Proceeds from Notes Priority Collateral, to the holders of any other Permitted
Additional Pari Passu Obligations containing provisions similar to those set forth in this
Indenture with respect to offers to purchase or redeem with the proceeds of sales of assets or
(y) in the case of any other Net Proceeds, to all holders of other Permitted Additional Pari Passu
Obligations containing provisions similar to those set forth in the Indenture with respect to offers
to purchase or redeem with the proceeds of sales of assets (an “Asset Sale Offer”) pursuant to
Section 4.08 of the Indenture to purchase the maximum principal amount of Notes and Permitted
Additional Pari Passu Obligations, as appropriate, that may be purchased out of the Excess
Proceeds at an offer price in cash in an amount equal to 100% of the principal amount thereof
plus accrued and unpaid interest thereon to, but excluding, the date of purchase, in accordance
with the procedures set forth in the Indenture. To the extent that any Excess Proceeds remain
after the consummation of an Asset Sale Offer, the Issuer or any Restricted Subsidiary of the
Issuer may use those Excess Proceeds for any purpose not otherwise prohibited by the Indenture.
If the aggregate principal amount of Notes and Permitted Additional Pari Passu Obligations, as
appropriate, tendered into such Asset Sale Offer exceeds the amount of Excess Proceeds, the
Trustee shall select the Notes to be purchased on a pro rata basis. Holders that are the subject of
an offer to purchase will receive an Asset Sale Offer from the Issuer prior to any related purchase
date and may elect to have such Notes purchased by completing the form entitled “Option of
Holder to Elect Purchase” attached to the Notes.

                (9)    DENOMINATIONS, TRANSFER, EXCHANGE. The Notes are in
registered form without coupons in denominations of $2,000 and integral multiples of $1,000 in
excess of $2,000. The transfer of Notes may be registered and Notes may be exchanged as
provided in the Indenture. The Registrar and the Trustee may require a Holder, among other
things, to furnish appropriate endorsements and transfer documents and the Issuer may require a
Holder to pay any taxes and fees required by law or permitted by the Indenture. The Issuer need
not exchange or register the transfer of any Note or portion of a Note selected for redemption,


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except for the unredeemed portion of any Note being redeemed in part. Also, the Issuer need not
exchange or register the transfer of any Notes for a period of 15 days before a selection of Notes
to be redeemed or during the period between a record date and the corresponding Interest
Payment Date.

                (10) PERSONS DEEMED OWNERS. The registered Holder may be treated as
its owner for all purposes.

              (11) AMENDMENT, SUPPLEMENT AND WAIVER. The provisions governing
amendment, supplement and waiver of any provision of the Indenture, the Notes or the Note
Guarantees are set forth in Article 9 of the Indenture.

               (12) DEFAULTS AND REMEDIES. The Events of Default relating to the Notes
are defined in Section 6.01 of the Indenture.

                (13) DISCHARGE AND DEFEASANCE. Subject to certain conditions, the
Issuer at any time may terminate some or all of its obligations under the Notes, the Note
Guarantees and the Indenture if the Issuer deposits with the Trustee money or U.S. Government
Securities for the payment of principal of and interest on the Notes to redemption or maturity, as
the case may be.

                 (14) TRUSTEE DEALINGS WITH ISSUER. The Trustee, in its individual or
any other capacity, may make loans to, accept deposits from, and perform services for the Issuer
or its Affiliates, and may otherwise deal with the Issuer or its Affiliates, as if it were not the
Trustee.

                (15) NO RECOURSE AGAINST OTHERS. A director, manager, officer,
employee, incorporator, member or stockholder of the Issuer or any of the Guarantors, as such,
will not have any liability for any obligations of the Issuer or the Guarantors under the Notes, the
Note Guarantees or the Indenture or for any claim based on, in respect of, or by reason of, such
obligations or their creation. Each Holder by accepting a Note waives and releases all such
liability. The waiver and release are part of the consideration for the issuance of the Notes.

              (16) AUTHENTICATION. This Note will not be valid until authenticated by the
manual signature of the Trustee or an authenticating agent.

                (17) ABBREVIATIONS. Customary abbreviations may be used in the name of a
Holder or an assignee, such as: TEN COM (= tenants in common), TEN ENT (= tenants by the
entireties), JT TEN (= joint tenants with right of survivorship and not as tenants in common),
CUST (= Custodian), and U/G/M/A (= Uniform Gifts to Minors Act).

               (18) CUSIP NUMBERS. Pursuant to a recommendation promulgated by the
Committee on Uniform Security Identification Procedures, the Issuer has caused CUSIP numbers
to be printed on the Notes, and CUSIP numbers may be used in notices of redemption as a
convenience to Holders. No representation is made as to the accuracy of such numbers either as
printed on the Notes or as contained in any notice of redemption, and reliance may be placed
only on the other identification numbers placed thereon.



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           (19) GOVERNING LAW. THE INDENTURE, THIS NOTE AND THE NOTE
GUARANTEES SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK.

               The Issuer will furnish to any Holder upon written request and without charge a
copy of the Indenture. Requests may be made to:

                                          TPC Group Inc.
                                          One Allen Center
                                     500 Dallas Street, Suite 1000
                                        Houston, Texas 77002




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                                     ASSIGNMENT FORM

       To assign this Note, fill in the form below:

       (I) or (we) assign and transfer this Note

       to:
                                      (Insert assignee’s legal name)


                                (Insert assignee’s soc. sec. or tax I.D. no.)




                          (Print or type assignee’s name, address and zip code)

       and irrevocably

       appoint
       to transfer this Note on the books of the Issuer. The agent may substitute another to act
for him.

       Date:

                                      Your Signature:
                                                        (Sign exactly as your name appears on the
                                                        face of this Note)

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                        OPTION OF HOLDER TO ELECT PURCHASE

               If you want to elect to have this Note purchased by the Issuer pursuant to
Section 4.08 or 4.12 of the Indenture, check the appropriate box below:

                    Section 4.08                                   Section 4.12

               If you want to elect to have only part of the Note purchased by the Issuer pursuant
to Section 4.08 or Section 4.12 of the Indenture, state the amount you elect to have purchased:

                                                 $

       Date:

                                     Your Signature:
                                                       (Sign exactly as your name appears on the
                                                       face of this Note)

                                     Tax Identification No.:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
       guarantor acceptable to the Trustee).




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SCHEDULE OF TRANSFERS AND EXCHANGES OF INTERESTS IN THE REGULATION
                         S GLOBAL NOTE*

              The following exchanges of a part of this Regulation S Global Note for an interest
in another Global Note or for a Definitive Note, or exchanges of a part of another Global Note or
Definitive Note for an interest in this Regulation S Global Note, have been made:

                                                                     Principal Amount of
                                                                       this Global Note        Signature of
                       Amount of decrease      Amount of increase       following such     authorized signatory
 Date of Transfer or   in Principal Amount    in Principal Amount        decrease (or          of Trustee or
     Exchange           of this Global Note    of this Global Note         increase)            Custodian



* This schedule should be included only if the Note is issued in global form




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                                                                                        EXHIBIT B

                           FORM OF CERTIFICATE OF TRANSFER

TPC Group Inc.
One Allen Center
500 Dallas Street, Suite 1000
Houston, Texas 77002

U.S. Bank National Association,
as Trustee and Registrar
Global Corporate Trust Services
13737 Noel Road, Suite 800
Dallas, Texas 75240
Facsimile: (972) 581-1670

                           Re: 10.50% Senior Secured Notes due 2024

               Reference is hereby made to the Indenture, dated as of August 2, 2019
(the “Indenture”), among TPC Group Inc. (the “Issuer”), the Guarantors and U.S. Bank National
Association, as trustee and collateral agent. Capitalized terms used but not defined herein shall
have the meanings given to them in the Indenture.

                ______________, (the “Transferor”) owns and proposes to transfer the Note[s] or
interest in such Note[s] specified in Annex A hereto, in the principal amount of $ _______ in
such Note[s] or interests (the “Transfer”), to __________ (the “Transferee”), as further specified
in Annex A hereto. In connection with the Transfer, the Transferor hereby certifies that:

                                  [CHECK ALL THAT APPLY]

                1.      Check if Transferee will take delivery of a beneficial interest in the
144A Global Note or a Restricted Definitive Note pursuant to Rule 144A. The Transfer is
being effected pursuant to and in accordance with Rule 144A under the Securities Act of 1933,
as amended (the “Securities Act”), and, accordingly, the Transferor hereby further certifies that
the beneficial interest or Definitive Note is being transferred to a Person that the Transferor
reasonably believes is purchasing the beneficial interest or Definitive Note for its own account,
or for one or more accounts with respect to which such Person exercises sole investment
discretion, and such Person and each such account is a “qualified institutional buyer” within the
meaning of Rule 144A in a transaction meeting the requirements of Rule 144A, and such
Transfer is in compliance with any applicable blue sky securities laws of any state of the United
States. Upon consummation of the proposed Transfer in accordance with the terms of the
Indenture, the transferred beneficial interest or Definitive Note will be subject to the restrictions
on transfer enumerated in the Private Placement Legend printed on the 144A Global Note and/or
the Restricted Definitive Note and in the Indenture and the Securities Act.

               2.      Check if Transferee will take delivery of a beneficial interest in the
Regulation S Global Note or a Restricted Definitive Note pursuant to Regulation S. The
Transfer is being effected pursuant to and in accordance with Rule 903 or Rule 904 under the


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Securities Act and, accordingly, the Transferor hereby further certifies that (i) the Transfer is not
being made to a Person in the United States and (x) at the time the buy order was originated, the
Transferee was outside the United States or such Transferor and any Person acting on its behalf
reasonably believed and believes that the Transferee was outside the United States or (y) the
transaction was executed in, on or through the facilities of a designated offshore securities
market and neither such Transferor nor any Person acting on its behalf knows that the transaction
was prearranged with a buyer in the United States, (ii) no directed selling efforts have been made
in contravention of the requirements of Rule 903(b) or Rule 904(b) of Regulation S under the
Securities Act, (iii) the transaction is not part of a plan or scheme to evade the registration
requirements of the Securities Act and (iv) if the proposed transfer is being made prior to the
expiration of the Restricted Period, the transfer is not being made to a U.S. Person or for the
account or benefit of a U.S. Person (other than an Initial Purchaser). Upon consummation of the
proposed transfer in accordance with the terms of the Indenture, the transferred beneficial
interest or Definitive Note will be subject to the restrictions on Transfer enumerated in the
Private Placement Legend printed on the Regulation S Global Note and/or the Restricted
Definitive Note and in the Indenture and the Securities Act.

              3.     Check if Transferee will take delivery of a beneficial interest in a
Restricted Definitive Note pursuant to any provision of the Securities Act other than
Rule 144A or Regulation S.

              (a)    such Transfer is being effected pursuant to and in accordance with
Rule 144 under the Securities Act; or

                 (b)   such Transfer is being effected to the Issuer or a subsidiary of the Issuer
thereof; or

                (c)    such Transfer is being effected pursuant to an effective registration
statement under the Securities Act and in compliance with the prospectus delivery requirements
of the Securities Act.

             4.     Check if Transferee will take delivery of a beneficial interest in an
Unrestricted Global Note or of an Unrestricted Definitive Note.

                (a)      Check if Transfer is pursuant to Rule 144. (i) The Transfer is being
effected pursuant to and in accordance with Rule 144 under the Securities Act and in compliance
with the transfer restrictions contained in the Indenture and any applicable blue sky securities
laws of any state of the United States and (ii) the restrictions on transfer contained in the
Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will no longer be
subject to the restrictions on transfer enumerated in the Private Placement Legend printed on the
Restricted Global Notes, on Restricted Definitive Notes and in the Indenture.

               (b)     Check if Transfer is Pursuant to Regulation S. (i) The Transfer is being
effected pursuant to and in accordance with Rule 903 or Rule 904 under the Securities Act and in
compliance with the transfer restrictions contained in the Indenture and any applicable blue sky



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securities laws of any state of the United States and (ii) the restrictions on transfer contained in
the Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will no longer be
subject to the restrictions on transfer enumerated in the Private Placement Legend printed on the
Restricted Global Notes, on Restricted Definitive Notes and in the Indenture.

                (c)     Check if Transfer is Pursuant to Other Exemption. (i) The Transfer is
being effected pursuant to and in compliance with an exemption from the registration
requirements of the Securities Act other than Rule 144, Rule 903 or Rule 904 and in compliance
with the transfer restrictions contained in the Indenture and any applicable blue sky securities
laws of any State of the United States and (ii) the restrictions on transfer contained in the
Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will not be subject to
the restrictions on transfer enumerated in the Private Placement Legend printed on the Restricted
Global Notes or Restricted Definitive Notes and in the Indenture.

                This certificate and the statements contained herein are made for your benefit and
the benefit of the Issuer.


                                                      [Insert Name of Transferor]

                                                      By:
                                                            Name:
                                                            Title:

       Dated:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                           ANNEX A TO CERTIFICATE OF TRANSFER

1.    The Transferor owns and proposes to transfer the following:

                                     [CHECK ONE OF (a) OR (b)]

(a)          a beneficial interest in the:

      (i)          144A Global Note (CUSIP ____________________________________), or

      (ii)         Regulation S Global Note (CUSIP ______________________________), or

(b)          a Restricted Definitive Note.

2.    After the Transfer the Transferee will hold:

                                             [CHECK ONE]

(a)          a beneficial interest in the:

      (i)          144A Global Note (CUSIP ____________________________________), or

      (ii)         Regulation S Global Note (CUSIP ______________________________), or

      (iii)        Unrestricted Global Note (CUSIP ______________________________), or

(b)          a Restricted Definitive Note.

(c)          an Unrestricted Definitive Note,

      in accordance with the terms of the Indenture.




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                                                                                         EXHIBIT C

                           FORM OF CERTIFICATE OF EXCHANGE

TPC Group Inc.
One Allen Center
500 Dallas Street, Suite 1000
Houston, Texas 77002

U.S. Bank National Association,
as Trustee and Registrar
Global Corporate Trust Services
13737 Noel Road, Suite 800
Dallas, Texas 75240
Facsimile: (972) 581-1670



                            Re: 10.50% Senior Secured Notes due 2024

                                         (CUSIP ________)

               Reference is hereby made to the Indenture, dated as of August 2, 2019
(the “Indenture”), among TPC Group Inc. (the “Issuer”), the Guarantors and U.S. Bank National
Association, as trustee and collateral agent. Capitalized terms used but not defined herein shall
have the meanings given to them in the Indenture.

                 __________________, (the “Owner”) owns and proposes to exchange the Note[s]
or interest in such Note[s] specified herein, in the principal amount of $ _______ in such Note[s]
or interests (the “Exchange”). In connection with the Exchange, the Owner hereby certifies that:

              1.    Exchange of Restricted Definitive Notes or Beneficial Interests in a
Restricted Global Note for Unrestricted Definitive Notes or Beneficial Interests in an
Unrestricted Global Note

                (a)          Check if Exchange is from beneficial interest in a Restricted
Global Note to beneficial interest in an Unrestricted Global Note. In connection with the
Exchange of the Owner’s beneficial interest in a Restricted Global Note for a beneficial interest
in an Unrestricted Global Note in an equal principal amount, the Owner hereby certifies (i) the
beneficial interest is being acquired for the Owner’s own account without transfer, (ii) such
Exchange has been effected in compliance with the transfer restrictions applicable to the Global
Notes and pursuant to and in accordance with the Securities Act of 1933, as amended
(the “Securities Act”), (iii) the restrictions on transfer contained in the Indenture and the Private
Placement Legend are not required in order to maintain compliance with the Securities Act and
the beneficial interest in an Unrestricted Global Note is being acquired in compliance with any
applicable blue sky securities laws of any state of the United States.




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                 (b)         Check if Exchange is from beneficial interest in a Restricted
Global Note to Unrestricted Definitive Note. In connection with the Exchange of the Owner’s
beneficial interest in a Restricted Global Note for an Unrestricted Definitive Note, the Owner
hereby certifies (i) the Definitive Note is being acquired for the Owner’s own account without
transfer, (ii) such Exchange has been effected in compliance with the transfer restrictions
applicable to the Restricted Global Notes and pursuant to and in accordance with the Securities
Act, (iii) the restrictions on transfer contained in the Indenture and the Private Placement Legend
are not required in order to maintain compliance with the Securities Act and (iv) the Definitive
Note is being acquired in compliance with any applicable blue sky securities laws of any state of
the United States.

                 (c)         Check if Exchange is from Restricted Definitive Note to beneficial
interest in an Unrestricted Global Note. In connection with the Owner’s Exchange of a
Restricted Definitive Note for a beneficial interest in an Unrestricted Global Note, the Owner
hereby certifies (i) the beneficial interest is being acquired for the Owner’s own account without
transfer, (ii) such Exchange has been effected in compliance with the transfer restrictions
applicable to Restricted Definitive Notes and pursuant to and in accordance with the Securities
Act, (iii) the restrictions on transfer contained in the Indenture and the Private Placement Legend
are not required in order to maintain compliance with the Securities Act and (iv) the beneficial
interest is being acquired in compliance with any applicable blue sky securities laws of any state
of the United States.

                (d)        Check if Exchange is from Restricted Definitive Note to
Unrestricted Definitive Note. In connection with the Owner’s Exchange of a Restricted
Definitive Note for an Unrestricted Definitive Note, the Owner hereby certifies (i) the
Unrestricted Definitive Note is being acquired for the Owner’s own account without transfer,
(ii) such Exchange has been effected in compliance with the transfer restrictions applicable to
Restricted Definitive Notes and pursuant to and in accordance with the Securities Act, (iii) the
restrictions on transfer contained in the Indenture and the Private Placement Legend are not
required in order to maintain compliance with the Securities Act and (iv) the Unrestricted
Definitive Note is being acquired in compliance with any applicable blue sky securities laws of
any state of the United States.

              2.    Exchange of Restricted Definitive Notes or Beneficial Interests in
Restricted Global Notes for Restricted Definitive Notes or Beneficial Interests in Restricted
Global Notes

                (a)        Check if Exchange is from beneficial interest in a Restricted
Global Note to Restricted Definitive Note. In connection with the Exchange of the Owner’s
beneficial interest in a Restricted Global Note for a Restricted Definitive Note with an equal
principal amount, the Owner hereby certifies that the Restricted Definitive Note is being
acquired for the Owner’s own account without transfer. Upon consummation of the proposed
Exchange in accordance with the terms of the Indenture, the Restricted Definitive Note issued
will continue to be subject to the restrictions on transfer enumerated in the Private Placement
Legend printed on the Restricted Definitive Note and in the Indenture and the Securities Act.




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                (b)         Check if Exchange is from Restricted Definitive Note to beneficial
interest in a Restricted Global Note. In connection with the Exchange of the Owner’s
Restricted Definitive Note for a beneficial interest in the [CHECK ONE] (a)          144A Global
Note,     Regulation S Global Note with an equal principal amount, the Owner hereby certifies
the beneficial interest is being acquired for the Owner’s own account without transfer and such
Exchange has been effected in compliance with the transfer restrictions applicable to the
Restricted Global Notes and pursuant to and in accordance with the Securities Act, and in
compliance with any applicable blue sky securities laws of any state of the United States. Upon
consummation of the proposed Exchange in accordance with the terms of the Indenture, the
beneficial interest issued will be subject to the restrictions on transfer enumerated in the Private
Placement Legend printed on the relevant Restricted Global Note and in the Indenture and the
Securities Act.

                This certificate and the statements contained herein are made for your benefit and
the benefit of the Issuer.


                                                               [Insert Name of Transferor]

                                                      By:
                                                            Name:
                                                            Title:

       Dated:




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                                                                                      EXHIBIT D

                       [FORM OF SUPPLEMENTAL INDENTURE
                  TO BE DELIVERED BY SUBSEQUENT GUARANTORS]

                SUPPLEMENTAL INDENTURE (this “Supplemental Indenture”), dated as of
_______, 200__, among __________________________ (the “New Guarantor”), TPC Group
Inc. (the “Issuer”), each other existing Guarantor under the Indenture referred to below and U.S.
Bank National Association, as trustee under the Indenture referred to below (the “Trustee”).
Capitalized terms used but not defined herein shall have the meanings given to them in the
Indenture.

                                       WITNESETH

                WHEREAS, the Issuer and the existing Guarantors have heretofore executed and
delivered to the Trustee an indenture (as amended, supplemented or otherwise modified,
the “Indenture”), dated as of August 2, 2019 providing for the issuance of 10.50% Senior
Secured Notes due 2024 (the “Notes”);

               WHEREAS, Section 4.14 of the Indenture provides that under certain
circumstances the New Guarantor shall execute and deliver to the Trustee a supplemental
indenture pursuant to which the New Guarantor shall unconditionally Guarantee all of the
Issuer’s Obligations under the Notes and the Indenture on the terms and conditions set forth
herein (the “Note Guarantee”); and

               WHEREAS, pursuant to Section 9.01 of the Indenture, the Trustee, the Issuer and
the existing Guarantors are authorized to execute and deliver this Supplemental Indenture.

                NOW, THEREFORE, in consideration of the foregoing and for other good and
valuable consideration, the receipt of which is hereby acknowledged, the New Guarantor, the
Issuer, the other Guarantors and the Trustee mutually covenant and agree for the equal and
ratable benefit of the Holders as follows:

              1.     DEFINED TERMS. Defined terms used herein without definition shall
have the meanings assigned to them in the Indenture.

                2.     AGREEMENT TO GUARANTEE. The New Guarantor hereby agrees,
jointly and severally with all existing Guarantors (if any), to provide an unconditional Note
Guarantee on the terms and subject to the conditions set forth in Article 10 of the Indenture and
to be bound by all other applicable provisions of the Indenture and the Notes and to perform all
of the obligations and agreements of a Guarantor under the Indenture.

                3.      NO RECOURSE AGAINST OTHERS. To the extent permitted by law, no
past, present or future director, manager, officer, employee, incorporator, stockholder or member
of the Issuer, any parent of the Issuer or any Subsidiary, as such, will have any liability for any
obligations of the Issuer or the Guarantors under the Notes, this Supplemental Indenture, the
Note Guarantees or for any claim based on, in respect of, or by reason of, such obligations or



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their creation. Each Holder by accepting a Note waives and releases all such liability. The waiver
and release are part of the consideration for issuance of the Notes.

               4.      NOTICES. All notices or other communications to the New Guarantor
shall be given as provided in Section 14.02 of the Indenture.

               5.      RATIFICATION OF INDENTURE; SUPPLEMENTAL INDENTURES
PART OF INDENTURE. Except as expressly amended hereby, the Indenture is in all respects
ratified and confirmed and all the terms, conditions and provisions thereof shall remain in full
force and effect. This Supplemental Indenture shall form a part of the Indenture for all purposes,
and every Holder of Notes heretofore or hereafter authenticated and delivered shall be bound
hereby.

          6.    GOVERNING LAW. THE INDENTURE, THIS SUPPLEMENTAL
INDENTURE, THE NOTES AND THE NOTE GUARANTEES SHALL BE GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW
YORK.

           7.    ALL PARTIES HERETO HEREBY IRREVOCABLY WAIVE ALL
RIGHTS TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM
(WHETHER BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR
RELATING TO THIS SUPPLEMENTAL INDENTURE, THE INDENTURE, THE NOTES,
THE NOTE GUARANTEES, THE SECURITY DOCUMENTS, THE INTERCREDITOR
AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY.

              8.      COUNTERPARTS. The parties may sign any number of copies of this
Supplemental Indenture. Each signed copy shall be an original, but all of them together represent
the same agreement. The exchange of copies of this Supplemental Indenture and of signature
pages by facsimile or PDF transmission shall constitute effective execution and delivery of this
Supplemental Indenture as to the parties hereto and may be used in lieu of the original
Supplemental Indenture for all purposes. Signatures of the parties hereto transmitted by facsimile
or PDF shall be deemed to be their original signatures for all purposes.

              9.     EFFECT OF HEADINGS. The Section headings herein are for
convenience only and shall not affect the construction hereof.

                10.      TRUSTEE MAKES NO REPRESENTATION. The Trustee makes no
representation as to the recitals contained in this Supplemental Indenture or any representation as
to the validity or sufficiency of this Supplemental Indenture.




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               IN WITNESS WHEREOF, the parties hereto have caused this Supplemental
Indenture to be duly executed and attested, all as of the date first above written.

Dated: _____________, 20

                                            [NEW GUARANTOR]


                                            By:
                                                  Name:
                                                  Title:

                                            ISSUER:

                                            TPC GROUP INC.


                                            By:
                                                  Name:
                                                  Title:

                                            EXISTING GUARANTORS:

                                            TP GROUP LLC


                                            By:
                                                  Name:
                                                  Title:

                                            TP CAPITAL CORPORATION


                                            By:
                                                  Name:
                                                  Title:

                                            TEXAS BUTYLENE CHEMICAL
                                            CORPORATION


                                            By:
                                                  Name:
                                                  Title:




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                               TEXAS OLEFINS
                               DOMESTIC-INTERNATIONAL SALES
                               CORPORATION


                               By:
                                     Name:
                                     Title:

                               PORT NECHES FUELS, LLC


                               By:
                                     Name:
                                     Title:

                               TPC PHOENIX FUELS LLC


                               By:
                                     Name:
                                     Title:

                               U.S. BANK NATIONAL ASSOCIATION,
                               as Trustee


                               By:
                                     Name:
                                     Title:




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                Exhibits 2 through Exhibit 26




             [FILED UNDER SEAL.]
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Source: TPC Group

February 02, 2021 16:48 ET


TPC Group Successfully Enters into Note Purchase Agreement
HOUSTON, Feb. 02, 2021 (GLOBE NEWSWIRE) -- TPC Group Inc. (the “Company”) announced today that it
has successfully entered into an agreement for the issuance and sale of $153 million aggregate principal amount
of new 10.875 percent Senior Secured Notes due 2024 (the “New Notes”). The New Notes were issued in a
private placement that was exempt from the registration requirements of the Securities Act of 1933, as amended
(the “Securities Act”). The New Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on
a senior secured basis by all of the Company’s existing or future direct and indirect domestic subsidiaries, other
than certain excluded subsidiaries (collectively, the “Subsidiary Guarantors”).

The net proceeds from the offering will be used to repay and terminate the Company’s $70 million term loan credit
facility (the “Apollo Term Loan”), to pay all fees and expenses related to the transactions and for general corporate
purposes. Interest on the New Notes begins accruing on the issue date of the New Notes at a rate of 10.875
percent per year and is payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each
year, commencing on May 1, 2021.

“As part of our ongoing efforts to enhance our financial position, I am pleased with the outcome of this
refinancing,” said Ed Dineen, TPC Group President and CEO. “These New Notes provide us with an additional
layer of liquidity as we continue to recover from the widespread impacts of Covid-19.”

The New Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future
unsecured indebtedness and the existing 10.5 percent Notes (the “Existing Notes”) to the extent of the value of
the Existing Notes collateral. The New Notes are effectively subordinated to the revolving asset-based (ABL)
credit facility and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by
assets or properties not constituting collateral securing the Existing Notes to the extent of the value of such
assets and properties.

The New Notes and the related guarantees have not been registered under the Securities Act, or the securities
laws of any state or other jurisdiction, and may not be offered or sold in the United States without registration or an
applicable exemption from the Securities Act and applicable state securities or blue sky laws and foreign
securities laws.

This press release shall not constitute an offer to sell or the solicitation of an offer to buy, any securities, nor shall
there be any sales of the New Notes in any jurisdiction in which such offer, solicitation or sale would be unlawful
prior to registration or qualification under the securities laws of any such jurisdiction.

Moelis & Company LLC acted as financial advisor to the Company in connection with this transaction.

About TPC Group
TPC Group, headquartered in Houston, is a leading producer of value-added products derived from petrochemical
raw materials such as C4 hydrocarbons, and provider of critical infrastructure and logistics services along the
Gulf Coast. The Company sells its products into a wide range of performance, specialty and intermediate
markets, including synthetic rubber, fuels, lubricant additives, plastics and surfactants. With an operating history
of 75 years, TPC Group has a manufacturing facility in the industrial corridor adjacent to the Houston Ship
Channel and operates product terminals in Port Neches, Texas and Lake Charles, Louisiana.

              Andrew Grygiel, Sara Cronin, Media
CONTACT:
              Investor Relations Relations
PHONE:        713.840.2045       713.475.5243
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              TPC Group Inc.
         QUARTERLY REPORT
           Quarter ended March 31, 2021




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Exhibit I – TPC Group Inc. Annual Report for the year ended December 31, 2020




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                                                     DEFINITIONS OF TERMS

     Capitalized and other terms used throughout this Quarterly Report, unless the specific context otherwise requires or indicates have
the meanings ascribed to them below:

     •    ABL – our asset-based loan facility originally entered in December 2012, which was repaid, amended, and restated in
          conjunction with the refinancing of our debt on August 2, 2019 and again amended on February 2, 2021 to permit the issuance
          of the 10.875% Notes. The ABL is scheduled to mature in August 2024. For a detailed description of the ABL see Note G
          to our condensed consolidated financial statements on pages 30–36 of this Quarterly Report for the quarter ended March 31,
          2021;
     •    ASC - Accounting Standards Codification, which is the sole source of authoritative generally accepted accounting principles
          in the United States, other than rules and regulations issued by the Securities and Exchange Commission (SEC) that apply to
          SEC registrants;
     •    ASU - Accounting Standards Update, which the Financial Accounting Standards Board (FASB) issues to communicate
          changes to the ASC. ASUs are not authoritative standards;
     •    Company, us, we, and our - TPC Group Inc. and its subsidiaries;
     •    GAAP – Generally Accepted Accounting Principles in the United States;
     •    Gross profit contribution (“GPC”) - as used herein, is defined as revenue less cost of sales as reported in our consolidated
          statements of operations and comprehensive income. GPC is the residual amount that is available, after deducting the
          variable costs to produce and distribute our products from revenue, to cover all other expenses;
     •    Holdings - TPC Holdings Inc., a Delaware corporation, which, upon consummation of the Merger, became the direct parent
          of TPCGI. Holdings and Parent are affiliates of our Sponsors formed by investment funds affiliated with our Sponsors in
          order to acquire TPCGI;
     •    Merger – the December 20, 2012 merger of Sawgrass Merger Sub Inc., a Delaware corporation, which merged with and into
          TPCGI, with TPCGI surviving the Merger as a direct wholly-owned subsidiary of Holdings and an indirect wholly-owned
          subsidiary of Parent;
     •    New Term Loan – the Delayed Draw Term Loan Facility entered into on February 3, 2020, which provides for a delayed
          draw term loan of up to $70 million for a term of one year. For a detailed description of the New Term Loan see Note G to
          our condensed consolidated financial statements on pages 30-36 of this Quarterly Report for the quarter ended March 31,
          2021;
     •    Old Term Loan – the Senior Secured Delayed Draw Term Loan Facility, scheduled to mature in December 2020, for which
          the outstanding balance of $50 million was repaid with the net proceeds from issuance of the 10.5% Notes and which was
          terminated in conjunction with the refinancing of our debt on August 2, 2019;
     •    Parent - Sawgrass Holdings LP, a Delaware limited partnership, which, upon consummation of the Merger became the direct
          parent of Holdings and indirect parent of TPCGI. Parent and Holdings are affiliates of our Sponsors formed by investment
          funds affiliated with our Sponsors in order to acquire TPCGI;
     •    Sponsors - First Reserve Management, L.P. and SK Capital Partners;
     •    TPCGI - TPC Group Inc., a Delaware corporation, not including any of its subsidiaries;
     •    TPCGLLC - TPC Group LLC, a Texas limited liability company and the principal subsidiary of TPCGI;
     •    TPCPF - TPC Phoenix Fuels LLC, a Texas limited liability company and wholly owned subsidiary of TPCGLLC.
     •    8.75% Notes – the $805 million principal amount of Senior Secured Notes due in December 2020, which were redeemed
          with the net proceeds from issuance of the 10.5% Notes in conjunction with the refinancing of our debt on August 2, 2019;
     •    10.5% Notes – the $930 million principal amount of Senior Secured Notes due August 1, 2024 issued in conjunction with the
          refinancing of our debt on August 2, 2019. For a detailed description of the 10.5% Notes see Note G to our condensed
          consolidated financial statements on pages 30-36 of this Quarterly Report for the quarter ended March 31, 2021;
     •    10.875% Notes – the $153 million principal amount of Senior Secured Notes due August 1, 2024, which were issued on
          February 2, 2021 and for which a portion of the proceeds were used to repay and terminate the New Term Loan.


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                                                          Explanatory Note

      This Quarterly Report is highly confidential and has been prepared pursuant to the terms of the Indenture (the “10.5% Indenture”)
dated as of August 2, 2019, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and U.S.
Bank, National Association, as trustee and collateral agent, with respect to the 10.5% Notes, as amended by the Supplemental Indenture
dated as of February 2, 2021, and the Indenture (the “10.875% Indenture” and collectively with the 10.5% Indenture, the “Indentures”)
dated as of February 2, 2021, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and the
U.S. Bank, National Association, as trustee and collateral agent, with respect to the 10.875% Notes. Unlike companies with securities
that are registered under the Securities Exchange Act of 1934 (the “Exchange Act”) or traded on a national securities exchange, the
Company is not required to file reports with the Securities and Exchange Commission and, except as provided under the Indentures, the
Company is not required to deliver any reports to holders of its securities. As a result, this Quarterly Report does not include all the
information that would be required to be included in a Quarterly Report on Form 10-Q that is filed pursuant to the Exchange Act,
including, among other things, a description of the material risks faced by the Company. Moreover, this Quarterly Report does not
include all the information that may be material to holders of the Company’s securities, including the 10.5% Notes, and should not be
relied upon by any person in making an investment decision with respect to the Company’s securities. Except as strictly required
pursuant to the terms of the Indentures, the Company undertakes no obligation to update or revise any information contained in this
Quarterly Report. The Company’s Annual Report for the year ended December 31, 2020, which is attached hereto as Exhibit I, is
included for informational purposes only and has not been updated or revised.

      This Quarterly Report shall not constitute an offer to sell, or the solicitation of an offer to buy, any securities of the Company,
including the 10.5% Notes and the 10.875% Notes. Distribution of this Quarterly Report to any person other than holders of the 10.5%
Notes and the 10.875% Notes is unauthorized and any disclosure of any of its contents without the Company’s prior written consent is
prohibited. By accepting delivery of this Quarterly Report, you agree to the foregoing and not to make any photocopies, in whole or in
part, of this Quarterly Report or any documents or materials relating to the Company that are provided in connection with this Quarterly
Report.




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                            CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS


      This Quarterly Report contains forward-looking statements that do not directly or exclusively relate to historical facts. You can
typically identify forward-looking statements by the use of forward-looking words, such as “will,” “may,” “might,” “should,” “can,”
“could,” “project,” “believe,” “anticipate,” “expect,” “estimate,” “continue,” “potential,” “plan,” “forecast” and other words of similar
import. Forward-looking statements include information concerning possible or assumed future results of our operations, including the
following:

         •   business strategies;
         •   operating and growth initiatives and opportunities, including proposed capital projects;
         •   existing and expected competition and competitive position;
         •   market outlook and trends in our industry;
         •   expected financial condition;
         •   future cash flows, including insurance proceeds;
         •   financing sources and availability;
         •   expected results of operations;
         •   future capital and other expenditures;
         •   availability and price of raw materials and inventories;
         •   the business cyclicality of the petrochemicals industry;
         •   effects of seasonality;
         •   plans and objectives of management or the sponsors;
         •   future compliance with orders and agreements with regulatory agencies;
         •   environmental matters;
         •   the impact of the COVID-19 pandemic on the global economy;
         •   expected outcomes of insurance settlements, legal, environmental or regulatory proceedings and their expected effects on
             our results of operations;
         •   expectations, strategies and plans for individual assets and products (including the ability to maintain plant utilization
             rates), business segments and the company as a whole;
         •   anticipated restructuring, divestiture and consolidation activities;
         •   cost reduction and control efforts and targets;
         •   compliance and other costs and potential disruption or interruption of production or operation due to accident, interruptions
             in sources of raw materials, cyber security incidents, terrorism, political unrest, natural disasters or other unforeseen events;
             and
         •   any other statements regarding future growth, future cash needs, future operations, business plans and future financial
             results.

      These forward-looking statements represent our intentions, plans, expectations, assumptions and beliefs about future events and
are subject to risks, uncertainties and other factors, including risks and uncertainties such as volatility in the petrochemicals industry,
limitations on the Company’s access to capital, the timing and amount of insurance proceeds received, the effects of competition,
leverage and debt service, general economic conditions, third-party claims, governmental litigation and investigations, and extensive
environmental, health and safety laws and regulations. Many of those factors are outside of our control and could cause actual results
to differ materially from the results expressed or implied by the forward-looking statements.

      In light of these risks, uncertainties and assumptions, the events described in the forward-looking statements might not occur or
might occur to a different extent or at a different time than we have described. Except as may be required by applicable law or
agreement, we undertake no obligation to update or revise any forward-looking statements, whether as a result of new information,
future events or otherwise.




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                                                    EBITDA AND ADJUSTED EBITDA

      EBITDA and Adjusted EBITDA are not measures computed in accordance with GAAP. A non-GAAP financial measure is a
numerical measure of historical or future financial performance, financial position or cash flows that excludes amounts, or is subject to
adjustments that have the effect of excluding amounts, that are included in the most directly comparable measure calculated and
presented in accordance with GAAP in the balance sheets, statements of operations, or statements of cash flows (or equivalent
statements); or includes amounts, or is subject to adjustments that have the effect of including amounts, that are excluded from the most
directly comparable measure so calculated and presented.
      We are including a presentation of EBITDA and Adjusted EBITDA in this Quarterly Report because their presentation is required
under the Indenture governing the New Notes. In addition, the Indenture governing the New Notes contains debt incurrence ratios that
are calculated by reference to Adjusted EBITDA. Non-compliance with the debt incurrence ratios contained in the Indenture would
prohibit us from being able to incur additional indebtedness other than pursuant to specified exceptions.
      We calculate EBITDA as earnings before interest, taxes, depreciation and amortization and we calculate Adjusted EBITDA as
EBITDA, adjusted to remove or add back certain items, including the impact of butadiene price changes. These items are identified
below in the reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss), the GAAP measure most directly comparable to
EBITDA and Adjusted EBITDA. Our calculation of EBITDA and Adjusted EBITDA may be different from the calculations used by
other companies; therefore, they may not be comparable to other companies.
     The following table provides a reconciliation of EBITDA and Adjusted EBITDA to Net Loss for the periods specified (in
thousands).

                                                                                   Three Months Ended March 31,
                                                                                      2021             2020
                Net loss                                                       $          (73,291)     $          (51,403)
                   Income tax benefit                                                     (18,756)                (11,981)
                   Interest expense, net                                                   28,157                  25,437
                   Depreciation and amortization (1)                                       19,328                  15,597
                EBITDA                                                                    (44,562)                (22,350)
                   Impact of butadiene price changes (2)                                      (55)                    813
                   Port Neches Incident (3)                                                 4,927                  23,112
                   Non recurring items (4)                                                 63,508                     -

                Adjusted EBITDA                                                $           23,818      $            1,575




    (1) Includes depreciation, amortization of deferred turnaround and catalyst costs and amortization of patents for all periods presented.
    (2) Adjustment to remove the estimated temporary impact on our operating results of month-to-month changes in the contract price of butadiene.
        For further discussion see “Management’s Discussion and Analysis of Financial Condition and Results of Operations”.
    (3) Adjustment to remove the losses and costs incurred, net of actual and probable insurance recoveries, for the three months ended March 31,
        2021 and 2020, respectively, as a direct result of the Port Neches incident (discussed on pages 9-11).
    (4) Adjustments to remove the impact of certain non-recurring items for 2021 include $63.2 million of costs and volume adjustments related to
        February’s freeze event and incremental expenses directly related to our response to the COVID-19 pandemic of $0.3 million.




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MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

     The following discussion and analysis of our financial condition and results of operations should be read in conjunction with the
unaudited condensed consolidated financial statements and accompanying notes included in this Quarterly Report for the quarter ended
March 31, 2021, as well as the audited consolidated financial statements and related notes included in our Annual Report for the year
ended December 31, 2020 (attached as Exhibit I).

     Overview

     We are a leading North American producer of value-added products derived from petrochemical raw materials such as C4
hydrocarbons. Our products are sold to producers of a wide range of performance, specialty and intermediate products, including
synthetic rubber, fuels, lubricant additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 9-11).
      We also provide critical infrastructure and logistics services along the Gulf Coast. Our Houston processing facility, as well as
our terminals, provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers
and raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and
ocean-going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served
by barges.
     The primary drivers of our businesses are general economic and industrial growth. For a more detailed discussion, see page 9 of
our Annual Report for the year ended December 31, 2020 (attached as Exhibit I).

Material Industry and Business Trends

     For a detailed historical perspective of material industry trends, see “Management’s Discussion and Analysis of Financial
Condition and Results of Operations’ on pages 9, 10 and 11 of our Annual Report for the year ended December 31, 2020 (attached as
Exhibit I).

Current Market and Business Conditions

      On March 11, 2020, the World Health Organization declared the ongoing COVID-19 outbreak a pandemic and recommended
containment and mitigation measures worldwide. The pandemic has resulted in widespread adverse impacts on the global economy.
With various government-imposed quarantines and travel restrictions, we experienced significant disruptions in 2020 as the pandemic
and its impact on the global economy spread through most of our markets. While many of these disruptions have subsided, some have
continued into the first quarter of 2021, particularly miles driven which remain somewhat below pre-COVID-19 levels.
      For employees who are considered essential and are working in plants, we continue to adhere to, at a minimum, government
recommended protocols and best practices related to social distancing, hygiene and the use of additional personal protective equipment.
TPC’s Crisis Management Team (“CMT”) has helped to safely mitigate exposure risk by quickly identifying and isolating any confirmed
cases amongst our employees. These measures have not only enabled us to continue to operate our facilities safely but have also helped
TPC maintain a largely consistent supply chain. Additionally, the CMT has worked closely with senior leadership to tailor a
comprehensive Return to Workplace plan for each site. At the time of this filing, a significant portion of TPC’s workforce (non-
essential workers) continue to work remotely from their homes but we expect fewer and fewer employees to work remotely on a full
time basis as we move into the latter part of Q2 and into Q3 of this year. Our employees' health and well-being continue to remain a
key priority.
      By the end of 2020, much of the effects of COVID-19 on our operating results had dissipated. Demand in most business segments
was back to pre-COVID levels and commodity pricing has continued to recover. Crude oil prices increased late in the second quarter
of 2020 and continued to rise throughout the third quarter as supply and demand fundamentals improved. This ultimately drove higher
feedstock costs, which proved beneficial to product prices and margins in the third and fourth quarters of 2020. This continued into
the first quarter of 2021.
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      However, even with the COVID related challenges subsiding, we experienced two significant setbacks in the first quarter. First,
early on the morning of January 9, 2021, there was a fire at the Houston Technical Center. There were no injuries and no offsite or
environmental impacts as a result of the event, however, there is considerable damage to the facility and the housed equipment. In the
absence of a functioning laboratory, the Company had to secure short term outsourcing solutions for all of our quality control testing
needs. Since late February, we have replaced the majority of the outsourced testing with in-house testing in a combination of TPC and
rental facilities, thereby substantially reducing the incremental costs. Between response costs, outsourcing costs, rental expenses and
the cost of rebuilding the Technical Center, we estimate that the fire will cost the Company approximately $26 million.
      Second, the significant freeze that hit the U.S., particularly the Texas and western Louisiana gulf coast in mid-February, impacted
virtually every petrochemical plant in a significant way from Lake Charles, Louisiana west along the gulf coast of Texas all the way
down to Brownsville, Texas. Natural gas supply was significantly impacted with spot pricing jumping from $2.50/MMBtu to over
$9,000/MMBtu. Electricity pricing increased to unprecedented levels. The Governor of Texas implemented mandatory curtailments
to major industrial users. Consequently, in addition to the shutdowns directly caused by the freeze, limitations on natural gas and
skyrocketing electricity costs forced many manufacturers to curtail operations.
      As a result of the freeze, TPC’s Houston plant lost steam from all of our boilers and had to shut down the entire facility. Due to
the record low temperatures, significant damage occurred to our plant. Repairs took over 45 days to complete. Some units began
restart efforts in mid-March with most units back up and operating by the end of March. Our final unit came back on-line April 9th.
As a result of these operating issues, sales in the February and March timeframes were reduced between 25% and 100%. As we enter
into April, we expect to get back to more normal operations with sales expected to recover to 75-90% of our annual operating plan
levels. Demand is robust in all chemical product areas and customer inventories have been depleted as a result of the supply disruptions.
We expect it will take us well into the third quarter to fully recover inventory levels and be able to fill all pent-up customer demand.
      With the rebound in crude oil prices, most other commodity prices have also recovered and may present some tailwinds for our
business in the near-term. In addition, we expect the recovery in customer demand to continue, absent a significant resurgence of
COVID-19. The extent to which COVID-19 will adversely impact our business, financial condition and results of operations will
depend on numerous evolving factors, which are highly uncertain, rapidly changing and cannot be predicted. But, with growing
numbers of vaccinations occurring and customers’ low inventory levels after the February freeze, we are optimistic that demand will
continue to stay strong through the balance of 2021.
      The impacts of COVID-19, the global oil and trade wars, and the fallout from the Port Neches plant explosion all converged to
create challenges in the market that influenced commodity prices and spreads in 2020. The biggest impacts to our business were in the
butadiene, PIB and MTBE segments. The third quarter of 2020 saw an increase in demand for all of our products including raffinate
(sold to the refining industry for the production of alkylate), butene-1 (used primarily as a comonomer for polyethylene and used in
many single serve packaging applications), diisobutylene (DIB which is used in resins for the tire industry) and polyisobutylene (PIB)
which also continued in the fourth quarter. All this demand growth persisted into early 2021 prior to the freeze. Margins continue to
improve as commodity pricing remains strong. MTBE margins are now back to pre-COVID levels and butadiene pricing is at levels
not seen since the first quarter of 2019.
      Early in the second quarter of 2020, we signed a new MTBE offtake contract with one of the world’s largest independent fuels
and commodity trading firms. The contract is market based and provides a secure outlet for 100% of our MTBE production through
the end of 2023. Since the new MTBE offtake contract is market based, we are subject to greater pricing volatility than under our
previous offtake contract. With the recent recovery in MTBE margins, TPC is realizing 100% of the uptick in margins accruing to TPC
under this new contract. From time to time TPC may enter into short term agreements that provide the opportunity to lock in the value
resulting from the ULR and Isobutane spread.
        In the butadiene area, third and fourth quarter 2020 sales strengthened compared to our first and second quarter levels. China,
Europe and the U.S. all reported increases in new car sales. New car sales around the globe continue to be strong as miles driven
continue to improve. This has also resulted in replacement tire sales recovering, leading us to forecast stronger sales in 2021. Coming
out of the February freeze impact, rubber and tire inventories are at extremely low levels, giving us more confidence in our 2021 forecast.
      COVID-19 not only impacted demand for butadiene in 2020, but it also has had a major impact on pricing, leading to our low
point in the June-July time frame of 19.6 cents per pound. After dropping precipitously in the second quarter, butadiene prices increased
steadily through the end of 2020. As the economy began to recover in the second half of 2020, so did the price for butadiene, rising
130% from its low point of 19.6 cents per pound in June-July to 46.0 cents per pound in December. This continued into 2021 with
pricing for April reaching 50.7 cents per pound and the May price settling at 55.3 cents per pound.
     Demand for butene-1 has been solid throughout the COVID-19 outbreak and continues to be strong so far in 2021.
     On May 12, 2020 we completed key milestones on the Port Neches terminal, enabling us to resume selling raffinate to our largest
customer. With strengthening demand and the terminal opening, we were able to return to normal sales levels by the end of the second
quarter. In January 2021, we completed the second phase of our Port Neches terminal and began bringing in butadiene over our dock

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and into refurbished tanks, which enabled us to begin selling and transporting additional volumes of butadiene to major customers in
the Beaumont and Port Neches area.
      In response to the loss of our Port Neches crude C4 processing capacity, we have been actively pursuing tolling opportunities with
third parties within the industry. In January 2021, we signed a long-term contract with a third-party processor for crude C4 processing
and began sending crude C4’s to this processor through enhancements made to our Port Neches terminal during the second phase of our
refurbishment of these assets. We are now receiving butadiene and raffinate back from the third-party processor. This third-party toll
processing deal grows in volume throughout 2021 and into the first quarter of 2022.
      After a very strong first quarter of 2020 for our PIB business, the second quarter was the low point for this business segment due
to COVID-19 impacts on miles driven and its impact on lubricant and fuel additive demand. The third and fourth quarter demand
increased significantly from our second quarter sales levels, with sales volumes for all of 2020 recovering to 85% of our annual operating
plan. Demand for PIB to start 2021 was at record levels in January. Like other product areas, our PIB business was impacted by the
freeze. Coming out of the freeze, all customers are at extremely low levels of inventory in their supply chain. Demand for their
products, particularly fuel and lubricant additives, is very strong. Thus, as we enter the second quarter, we are optimistic with the sales
prospects for the next several quarters as we and our customers fill this demand by rebuilding supply chain inventories.

Dock Incident – 2018

      On June 13, 2018, an ocean-going bulk carrier navigating in the Port of Houston Ship Channel veered off course and struck a barge
stationed at our primary Houston facility dock. The incident caused substantial damage to both the barge and the dock facilities. There
were no significant injuries and there was no environmental impact from the incident.
      The damaged dock was returned to full barge and ship service in August 2018 after temporary repairs of approximately $5 million
which, excluding a $0.25 million deductible, were reimbursed from insurance proceeds in September 2018. The insurance proceeds
were accounted for as an offset to the actual dock repair costs. The total amount of the insurance deductible and uninsured logistics
and legal expenses recognized in our reported 2018 earnings was $1.5 million and the margin on estimated lost sales volume was
approximately $6.0 million. The revenue and cost of sales related to the lost sales volume for the C4 Processing segment were estimated
to be $4 million and $2 million, respectively, and for the Performance Products segment were estimated to be $13 million and $9 million,
respectively.
     We are finalizing the legal agreements with the Port Authority for the additional land needed to rebuild the dock. Additionally,
we have reached an agreement with insurers on the scope of the rebuild and we are preparing for construction bids. The expectation is
to begin construction late in the second quarter of this year. We anticipate that the entire cost, which we currently estimate to be $30-
$35 million, will be reimbursed by our insurance carriers.

Port Neches Incident – 2019

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” We anticipate future engagement with OSHA regarding these issues
including a settlement conference scheduled for August 2021.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident. The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019
incident. The Company also was served with an information request under Section 114 of the federal Clean Air Act. The request
seeks information about the incident as well as the Company’s Risk Management Compliance program at both the Port Neches and
Houston facilities. Such requests are typically the first step in EPA enforcement. We anticipate that there likely will be additional
enforcement matters, claims for cost recovery, and/or claims for natural resource damages from these and other similar agencies.
     The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,600 property claims have been resolved and approximately 1,540 additional eligible claims are working through the claims process.
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The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial statements. The Company
also provided an emotional support hotline staffed by licensed professional counselors from Samaritan Counseling Center of Southeast
Texas.
      In addition to the property claims, sixty-four private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred lawsuits – which
typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual plaintiff cases now
pending. Twenty-nine of the sixty-four private party lawsuits, including approximately 600 individual plaintiffs, are awaiting transfer
to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of subrogation claims filed by
homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and
a revised schedule will likely be entered in summer 2021 as the plaintiffs filed an amended master petition in Q2 2021 adding additional
defendants. Those defendants have not yet been served or made an appearance in the litigation. A hearing on class certification is not
expected before Q4 2021 at the earliest.
      Four different sets of insurance policies in effect at the time provide coverage for costs and losses incurred as a result of the Port
Neches incident. Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible
is $10.0 million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying
for business interruption coverage. As of March 31, 2021, we have paid $74.4 million of costs and collected $200.0 million under these
policies, of which $12.1 million has been specifically designated as business interruption coverage and $187.9 million has been
designated as an unallocated payment on account. Of the unallocated proceeds of $187.9 million, $74.2 million are recorded as a
deferred gain due to the net book value of the affected assets being lower than the value that we will receive. Reimbursable costs under
this policy recorded in 2019 and 2020 were $64.7 million and $58.0 million, respectively. Reimbursable costs for the three months
ended March 31, 2021 were $2.5 million. Of these costs, we currently estimate that $113.7 million will be recoverable.
      Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of March 31, 2021, we have accrued third-party claim amounts of $168.3 million, have paid $125.9
million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $51.5 million and we
have collected $15.3 million of this amount. We anticipate collecting a total of $35.6 million for the remainder of these expenses. Costs
recorded under this policy in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional
amount was incurred for claims of $3.1 million and for defense costs of $35.6 million. So far in 2021, an additional $3.3 million was
added primarily for commercial claims.
     Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of March 31, 2021, we have incurred
and paid $51.4 million of costs and have collected the full $25.0 million of coverage under this policy. We incurred $23.1 million,
$28.0 million and $0.3 million of these costs in 2019, 2020 and 2021 respectively.
      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We expect to recover
the fair market value at the time of the event on these materials.
      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits.
      On January 13, 2021 we executed an additional unallocated Proof of Loss for $40.0 million under our property and business
interruption policies and received the funds in January and February 2021. In addition, on April 28, 2021 we executed a $30.0 million
unallocated Proof of Loss and as of the issuance of this Quarterly Report (i.e. May 14, 2021), we have received $9.45 million. As of this
report date we paid out $127.9 million on liability claims. Excluding claims, we have also paid approximately $181.3 million in
response, defense, pollution, and other costs. Total proceeds anticipated to cover booked costs equal $278.0 million with any additional
proceeds received to be booked as a gain until the claim is fully settled.
     For the quarter ended March 31, 2021, we had recognized a net amount of losses and incurred costs of $4.9 million, which reflected
$8.1 million in losses and incurred costs offset by $3.2 million of insurance proceeds. The net amount of $8.1 million included
estimated liability claims expected to be in excess of our liability insurance coverage of $3.3 million. Additionally, the net amount of
response cost losses of $1.7 million represents costs incurred directly related to the ongoing incident response and cleanup activities for
which insurance coverage was not considered probable or costs were in excess of certain insurance coverage limitations.


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     The following table summarizes the net amount of losses and current costs for the three months ended March 31, 2021 (in millions):


                                                                                            Insurance
                                                                             Cost           anticipated          Net cost
                                      Liability claims                   $          3       $      -             $     3
                                      Response costs                                5                3                 2
                                                                         $          8       $          3         $        5


     The following table summarizes the net amount of inception to date losses and costs incurred as of March 31, 2021 (in millions):

                                                                                                           Insurance
                                                                                            Cost           anticipated        Net cost
                            Response and cleanup costs
                            Incurred as of December 31, 2019                            $       287        $     195          $    92

                            Incurred three months ended March 31, 2020                           80                  57       $    23

                            Incurred three months ended June 30, 2020                            27                  24       $     3
                            Incurred three months ended September 30, 2020                       13                  14       $    (1)

                            Incurred three months ended December 31, 2020                          9              (16)        $    25

                            Incurred three months ended March 31, 2021                             8                  3             5

                            Incurred as of March 31, 2021                               $       424        $     277          $   147



Dehydro unit turnaround - 2020

       The third scheduled turnaround of the dehydro unit commenced on February 1, 2020 and was safely completed within budget, but
it did have a significant schedule delay due to issues with a compressor overhaul and our 505 waste heat boiler. The scope of the project
and the total cost of approximately $48 million were in line with our expectation.

Coronavirus – 2021

      The global coronavirus (or COVID-19) pandemic continues to cause considerable uncertainty in the marketplace, and efforts to
stop the virus are also having significant economic consequences. Though the government restrictions across the world have generally
started to ease and vaccines have become available to help prevent COVID-19 infections, the extent and duration of measures
implemented to try to slow the spread of the virus, such as travel bans and restrictions, border closures, quarantines, and business and
government shutdowns have caused, and may continue to cause, reduced demand and operational delays. In 2020, global markets
experienced a precipitous decline in oil prices in response to concerns regarding the potential impacts of the COVID-19 outbreak on
worldwide oil demand and the anticipated increases in oil production from Russia and OPEC, which have impacted margins in our
raffinate and MTBE businesses. Although commodity prices have recovered considerably, we expect the outlook for 2021 to remain
uncertain due to the rapidly evolving conditions, and we cannot estimate the scope of their impact on our business, our results of
operations, our financial condition, our personnel, our customers, our suppliers or the global economy. We continue to assess the
potential impact of COVID-19 on our staff and operations and have implemented appropriate mitigation plans, including precautions
with regard to employee and facility hygiene, imposed travel limitations on our employees and directed our employees to work remotely
whenever possible. We also continue to work with our suppliers to understand the potential impacts to our supply chain, and at this
time, we have not identified any material risks to our supply chain. This is a rapidly evolving situation, and we will continue to monitor
developments affecting our workforce and our suppliers and take additional precautions as we believe are warranted.

Technical Center Fire - 2021

      Early on the morning of January 9, 2021, the TPC Houston operations team responded to a fire alarm in the Technical Center.
The Technical Center, located on the southwest side of the facility, which contains quality control and research and development
activities, had a fire in the mechanical room. TPC’s Emergency Response Team responded to the incident with assistance from the
Houston Fire Department. The Company coordinated with local officials and emergency responders to quickly resolve the issue.
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There were no injuries to TPC employees and no offsite or environmental impacts as a result of the event; however, one emergency
responder sustained an ankle injury while responding to the event. As a result of the fire, there is considerable damage to the facility
and the housed equipment. Fortunately, over 75% of the equipment is salvageable, but, in the absence of a functioning laboratory the
Company had to secure short term outsourcing solutions for all of the quality control testing needs. Since late February, however, we
have replaced the majority of the outsourced testing with in-house testing in a combination of TPC and rental facilities, thereby
substantially reducing the incremental costs. Between response costs, outsourcing costs, rental expenses and the cost of rebuilding the
Technical Center, we estimate that the fire will cost the Company approximately $26 million.

February Weather Event – 2021

      In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter weather.
Due to abnormally low temperatures for an extended period of time, facilities in the region experienced disruption to their operations,
resulting in lost production and additional maintenance costs. We anticipate that the total financial impact of this freeze event, between
incremental costs for repairs, higher energy costs and lost volumes, will be upwards of $70 million.
      We are taking a number of steps to offset the impact of these two events. This includes commercial and procurement initiatives,
capital and cost reductions and various other cash preservation initiatives. In addition, we have seen marked improvement in underlying
business conditions, especially a more favorable commodity price environment. Collectively these offsets are expected to be sufficient
to compensate for the 2021 cash impacts of the freeze and the Technical Center fire.

Insurance Renewal

     We seek to maintain comprehensive insurance coverage at commercially reasonable rates. Although we carry property and
casualty insurance to cover certain risks, our insurance policies do not cover all types of losses and liabilities, and our insurance may
not be sufficient to cover the full extent of losses or liabilities for which we are insured. Due to significant recent insurance claims in
the petrochemical industry, insurance market conditions have tightened, and we cannot guarantee that we will be able to renew our
current insurance policies on favorable terms, or at all.

Results of Operations

     Contractual linkages of raw material costs and selling prices of finished products to commodity indices

      Most of our raw material feedstock costs and finished product selling prices are determined by application of contractual formulas
linked to commodity market indices and, in most cases, the indices used to determine raw material feedstock costs are the same indices
used to determine finished product selling prices.
     As of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model and which is more commensurate with the valuable and consistent service we
provide to the industry.
      Although linkage of most of our raw material costs and selling prices to the same indices and our restructured crude C4 supply
contracts provide some degree of consistency in our average material margin per pound (which we define as the difference between
average revenue per pound and average raw material cost per pound) during periods in which the underlying commodity indices are
relatively stable, there are various factors that can have a significant impact on our average material margin per pound, including those
listed below. Moreover, even a relatively minor increase or decrease in average material margin per pound can have a significant
impact on our overall profitability given the magnitude of our sales volumes.
         •   We may purchase raw material feedstocks in a given month based on market indices for that month, and then sell the
             related finished products in a later month based on market indices for the later month. Changes in selling prices of finished
             products, based on changes in the underlying market indices between the month the raw material feedstocks are purchased
             and the month the related finished products are sold causes variation in our average material margin per pound. For
             example, we may purchase the components of a crude C4 stream based on formulas that reflect the respective January
             commodity indices but then sell the finished products at pricing formulas based on the respective February commodity
             indices. If the indices for January and February are the same, we would expect to realize substantially the same unit
             margins regardless of the absolute value of the indices. However, for any components of the stream for which the
             respective index increases between January and February, we would expect to realize a temporary margin expansion until
             pricing stabilizes; and conversely, if the index decreases, we would expect to realize a temporary margin contraction. The
             magnitude of the effect on the average material margin per pound and the material margin percentage in a given month
             depends on the magnitude of the change in the underlying indices compared to the prior month and the quantity of inventory


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             at the end of the prior month as a result of its impact on the moving average cost of finished products sold in the subsequent
             month.
         •   Although most of our supply and sales contracts contain index-based formulas, varying proportions of our raw material
             purchases and finished product sales are done on a spot basis or otherwise negotiated terms. In addition, while many of
             the index-based formulas in our contracts are simply based on a percentage of the relevant index, others apply adjustment
             factors to the market indices that do not fluctuate with changes in the underlying index. As supply and sales contracts are
             renegotiated, the amounts of such adjustment factors can change, thus the average material margin per pound would be
             impacted.
         •   Under some of our raw material purchase contracts, the cost of the raw materials is based on a percentage of the relevant
             market index, and under some of our sales contracts, the selling price of the related finished product is based on a higher
             percentage of the same market index. As a result, the average material margin per pound tends to be higher during periods
             in which the market indices are higher and tends to be lower during periods when the market indices are lower.
         •   Finished product selling price formulas under some of our sales contracts, primarily in the Performance Products segment,
             are based on commodity indices not for the period in which the sale occurs but for either a prior or subsequent period.
             The effect on average material margin per pound of the selling price formulas can be significant during times of rapidly
             increasing or decreasing market indices.

     Butadiene Price Impact

      As discussed above, a substantial portion of our finished product selling prices and raw material costs are linked to the same
commodity indices and this linkage mitigates, to varying degrees, our exposure to volatility in our profit margins. As also documented
above, as of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model, which are more commensurate with the valuable and consistent service we
provide to the industry. However, the stabilizing effect of these factors on our profit margins is lessened when we do not purchase the
feedstock and sell the finished product in the same period. Regarding butadiene, which has historically been the largest individual
product line in our C4 Processing segment, the linkage between our raw material cost and finished product selling price is the published
contract price for butadiene. As a result of purchasing crude C4 in one month and selling finished butadiene in the subsequent month,
the GPC per pound we report in the subsequent month will expand when the price of butadiene increases and will contract when the
price of butadiene declines due to the impact of beginning inventory (quantity and unit cost) on the moving average cost of finished
butadiene sold in the subsequent month.
      As shown in the presentation of EBITDA and Adjusted EBITDA on page 6 of this Quarterly Report, we adjust EBITDA to remove
the estimated temporary impact on our reported GPC of the month-to-month changes in the contract price of butadiene. The rationale
for the adjustment is that the temporary impacts of butadiene price changes distort the underlying business performance.
     The table below shows, for each period presented, the impact on our reported GPC (in millions) of purchasing crude C4 in one
period and selling finished butadiene in a later period at higher or lower butadiene contract prices. The impact on reported GPC for
each period is the sum of the monthly impacts, which are dependent on the magnitude of the contract price change each month and the
quantity of butadiene inventory at the beginning of each month.
                                                                                             Three Months Ended
                                                                                                  March 31,
                                                                                              2021        2020
                      Positive (negative) impact on GPC                                  $       -      $       (1)




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     Average material margin per pound

     The table below provides the average material margin per pound (defined above) for each period presented.

                                                                                     Three Months Ended
                                                                                          March 31,
                                                                                       2021       2020

                                 Average revenue per pound                           $      0.42     $     0.40
                                 Average raw material cost per pound                        0.22           0.24
                                 Average material margin per pound                          0.20           0.16

      As discussed above, our material margin per pound and reported GPC reflect the temporary impact of month-to-month changes in
the contract price of butadiene. As provided in the table above, and in the discussion of cost of sales for the first quarter of 2021
compared to the first quarter of 2020 on page 16, the impact of butadiene price changes on GPC was neutral in the current year quarter
and a negative $1 million in the prior year quarter. Excluding the temporary impact of butadiene price changes on both the current and
prior year quarters, average material margin per pound was $0.20 and $0.15 for each of the three months ended March 31, 2021 and
2020, respectively.

     The following table summarizes the primary indices which impact our revenues and raw material costs by segment.



     Segment / Finished Product                             Revenues                           Raw Material Costs

 C4 Processing Segment
  Butadiene                                   Butadiene                                  Butadiene
  Butene – 1                                  Unleaded regular gasoline                  Unleaded regular gasoline
  Raffinates                                  Unleaded regular gasoline                  Unleaded regular gasoline

 Performance Products Segment
  Polyisobutylene                             Isobutane                                  Butane
  Diisobutylene                               Isobutane                                  Butane
  MTBE                                        MTBE                                       Isobutane, methanol


     The following table summarizes the average commodity index prices for each period presented.

                                                                                Three Months Ended March 31,
                                                                                2021       2020       % Chg.
                       Average commodity prices:
                        Butadiene (cents/lb) (1)                                  43.9              40.8           8%
                        Unleaded regular gasoline (cents/gal) (2)                174.3             133.4          31%
                        Normal butane (cents/gal) (3)                             94.1              56.9          65%
                        Isobutane (cents/gal) (3)                                 93.0              62.8          48%
                        MTBE (cents/gal) (2)                                     183.4             173.1           6%
                        Methanol (cents/gal) (4)                                 148.2             113.8          30%

     (1) Industry pricing was obtained through IHS.
     (2) Industry pricing was obtained through Platts.
     (3) Industry pricing was obtained through Oil Price Information Service.
     (4) Industry pricing was obtained through J. Jordan.


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      The following table provides unaudited sales volumes, revenue, cost of sales, GPC and operating expenses by operating segment
(amounts in thousands) for the three-month periods ended March 31, 2021 and 2020. Please refer to this information, as well as our
unaudited condensed consolidated financial statements and accompanying notes included elsewhere in this Quarterly Report for the
quarter ended March 31, 2021, when reading our discussion and analysis of results of operations below. All information provided in
the table below, except sales volumes, is derived from our unaudited Condensed Consolidated Statements of Operations.

                                                                                       Three Months Ended
                                                                                            March 31,
                                                                                        2021        2020

                                 Sales volumes (pounds) (1):
                                   C4 Processing                                        275,064        349,729
                                   Performance Products                                 187,455        195,024
                                                                                        462,519        544,753

                                 Revenue:
                                  C4 Processing                                    $ 109,763       $ 124,350
                                  Performance Products                                82,052          91,474
                                                                                   $ 191,815       $ 215,824
                                 Cost of sales (2):
                                  C4 Processing                                    $     83,974    $ 102,867
                                  Performance Products                                   52,896       58,385
                                                                                   $ 136,870       $ 161,252

                                 GPC:
                                  C4 Processing                                    $     25,789    $    21,483
                                  Performance Products                                   29,156         33,089

                                                                                   $     54,945    $    54,572

                                 Operating expenses (2):
                                  C4 Processing                                    $     31,404    $    28,498
                                  Performance Products                                   19,860         16,786
                                                                                   $     51,264    $    45,284




    (1) Sales volumes represent product sales volumes only and do not include volumes of products delivered under tolling or similar arrangements,
        in which we do not purchase the raw materials, but process raw materials for another party for a specified fee.
    (2) Cost of sales does not include operating expenses, and cost of sales and operating expenses do not include depreciation and amortization
        expenses.




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Three months ended March 31, 2021 versus three months ended March 31, 2020

     Revenue

      Total revenue for the first quarter of 2021 was $191.8 million compared to $215.8 million for the first quarter of 2020. The
decrease of $24.0 million, or 11%, reflected a 15% decrease in overall sales volume and a 5% increase in average revenue per pound.
The lower overall sales volume reflected lower sales volumes for both operating segments. The increase in overall average revenue
per pound primarily reflected an increase in average revenue per pound for the C4 Processing segment, partially offset by a decline in
the average selling price for the Performance Products segment. Variances in average selling prices for both operating segments
reflected the variances in the commodity market indices to which a substantial portion of our finished product selling prices are linked
(see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 12 - 13 and the
table of commodity indices to which a substantial portion of our selling prices are linked on page 14).
      C4 Processing segment revenue of $109.8 million for the first quarter of 2021 was down $14.6 million, or 12%, compared to first
quarter of 2020 revenue of $124.4 million. The lower revenue for the current year quarter reflected the combined impact of a 21%
decrease in sales volume, which had a negative impact of $31 million, and a 12% increase in average revenue per pound, which had a
positive impact of $16 million. The decrease in sales volume primarily reflected the Houston plant being offline for half of the quarter
due to the February freeze event. The higher average selling price for the segment reflected increases in the average benchmark price
for butadiene and the average price of unleaded regular gasoline of 8% and 31%, respectively (see the table of commodity indices to
which a substantial portion of our C4 Processing segment selling prices are linked on page 14).
      Performance Products segment revenue for the first quarter of 2021 was $82.1 million compared to $91.5 million for the
comparable prior year quarter. The $9.4 million, or 10%, decrease in revenue was driven by a 4% decrease in sales volume, which had
a negative impact of $7.9 million. Although the sales volumes were impacted by the February freeze event in first quarter of 2021, the
effect on PIB sales was somewhat muted by our inventory position as of the end of January, while the effect on MTBE volumes was
offset by the absence of a Dehydro Turnaround this year. Average revenue per pound for the segment decreased 7% resulting in a
negative impact of $1.5 million. The decrease in average revenue per pound reflected the fact that a higher proportion of our first
quarter sales consisted of lower priced MTBE (see the table of commodity indices to which a substantial portion of our Performance
Products segment selling prices are linked on page 14).

     Cost of Sales

      Total cost of sales for the first quarter of 2021 was $136.9 million compared to $161.3 million for the first quarter of 2020. The
overall decrease reflected the combined impact of lower sales volumes, as discussed above, and the decrease in the average cost of raw
materials included in the average cost of our finished products for both operating segments. Variances in raw material costs for both
operating segments reflected the variances in the commodity market indices to which a substantial portion of our raw material costs are
linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 12-13
and the table of commodity indices to which a substantial portion of our raw material costs are linked on page 14).
      C4 Processing segment cost of sales in the first quarter of 2021 was $84.0 million versus $102.9 million for the comparable prior
year quarter, resulting in a decrease of $18.9 million. An LCM adjustment of $8.4 million was booked in the first quarter of 2020 and
accounts for a portion of the $18.9 million variance. Removing that impact, there was a 21% decrease in sales volume discussed above.
Aside from the adjustment, the raw material pricing on a cents per pound basis was higher in the first quarter of 2021 over the first
quarter of 2020 due to increases in the average benchmark price for butadiene and the average price of unleaded regular gasoline of 8%
and 31%, respectively (see the table of commodity indices to which a substantial portion of our C4 Processing segment raw material
costs are linked on page 14). As discussed above, in spite of the linkage between the cost of crude C4 we purchase and the price at
which we sell finished butadiene, our average raw material costs and profit margins in a given period are impacted by purchasing crude
C4 in one period and selling finished butadiene in a subsequent period during times of butadiene price volatility. As a result of such
month-to-month movements in the contract price of butadiene, our profit margins in the first quarter of 2020 reflected a negative
butadiene pricing impact of $1 million.
     Performance Products segment cost of sales was $52.9 million in the first quarter of 2021 compared to $58.4 million for the
comparable prior year quarter. The $5.5 million decrease reflected an LCM adjustment of $1.6 million and 4% decrease in sales
volume, as discussed above. There was also a 15% decrease in the average cost of the raw material component of the finished products
sold mainly related to selling lower cost inventory such as PIB in the first quarter of 2021.
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in the overall average revenue per pound and average raw material cost per pound for the first quarter of 2021 compared
to the first quarter of 2020.

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     Operating Expenses

      Operating expenses incurred in the first quarter of 2021 were $51.3 million compared to $45.3 million for the prior year quarter.
The $6.0 million increase reflected higher insurance expenses of $9.1 million primarily due to the 2019 Port Neches Incident, higher
property taxes of $0.3 million and higher incentive compensation of $0.7 million. This was partially offset by $2.2 million lower
manufacturing expenses primarily due to the Port Neches headcount reductions and performing less routine maintenance work due to
the efforts expended on the Freeze event that was not considered part of period operating costs, $0.8 million lower 401K costs, $0.3
million lower supply chain costs, $0.3 million lower sales and use taxes, $0.3 million lower selling expenses and $0.2 million lower
benefits.

     General and Administrative Expenses

     General and administrative expenses in the first quarter of 2021 were $8.3 million compared to $8.2 million in the first quarter of
2020. The increase of $0.1 million consisted primarily of $1.3 million higher incentive compensation partially offset by lower expenses
primarily related to human resources, accounting, legal and 401K costs.

     Depreciation and Amortization

      Depreciation and amortization expense in the first quarter of 2021 was $19.3 million compared to $15.6 million for the comparable
prior year quarter. The $3.7 million increase reflected higher depreciation of $1.6 million and higher net turnaround and catalyst
amortization of $2.1 million. The $1.6 million increase in depreciation reflected the net impact of capital additions less retirements
during the past year. Higher turnaround and catalyst amortization were driven by three months of amortization of the dehydro
turnaround in 2021 whereas the dehydro turnaround occurred in the first quarter of 2020 so amortization didn’t begin until April 2020.

     Loss on Port Neches Incident, net

       The Company recognized $4.9 million in losses related to the Port Neches incident in the first quarter of 2021 versus a $23.1
million loss in the first quarter of 2020. Additional losses for the current quarter consisted of incremental response, clean-up and
liability defense costs for which insurance coverage was not considered probable and costs in excess of insurance coverage limitations.
The net amount reflected total incremental costs of $8.1 million, partially offset by probable incremental insurance proceeds of $3.2
million.

     COVID-19 Expenses

     The expense of $0.3 million represents the incremental expenses directly related to our response to the COVID-19 pandemic.

     Freeze Event Expenses

     The $29.8 million of freeze event expenses for the three months ending March 31, 2021 relate to costs incurred as a result of
extreme winter weather experienced by large parts of the southern United States, including Texas and Louisiana where the Company’s
operations are located. The costs include extensive emergency repairs, utility costs and overtime personnel costs.

     Technical Center Event Expenses

      In January of 2021 a fire occurred in the Technical Center at the Houston Plant. The Technical Center is used for quality control
and research and development activities. The $5.0 million of Technical Center fire expenses for the three months ending March 31,
2021 relates to costs incurred as a result of a fire. The expenses primarily represent event response costs, outsourced quality control
testing and rental expenses to house equipment and employees until the Technical Center rebuild is complete.

     Interest Expense

      Interest expense for the first quarter of 2021 was $28.2 million compared to $25.4 million for the first quarter of 2020. The $2.8
million increase was primarily due to $2.6 million higher interest expense on the 10.875% Notes, $0.4 million higher debt discount
expense related to both the write-off of unamortized New Term Loan discount upon the payoff of the loan in February as well as
additional discount amortization related to the 10.875% Notes, higher ABL interest of $0.3 million, $0.3 million higher interest on the
10.5% Notes, higher interest expense related to the New Term Loan of $0.3 million and $0.5 higher other net interest expense related
primarily to insurance financing and lower interest income versus the prior year. This was partially offset by lower net deferred
financing costs of $1.6 million on the New Term Loan as exit and extension fee costs were not exercised as originally anticipated.
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     Other, Net

     Other, net for the prior year quarter included various miscellaneous expenses, none of which were individually significant.

     Income Tax Benefit

     The effective income tax rates for the first quarters of 2021 and 2020 were the projected effective rates for the full years 2021 and
2020 of 20.4% and 18.9%, respectively. The projected effective rate for the full year 2021 and 2020 reflected the federal statutory rate
of 21% on a projected pretax loss, reduced by the projected state income taxes and permanent differences.
      In response to the global pandemic related to the outbreak of COVID-19, on March 27, 2020, the Coronavirus Aid, Relief, and
Economic Security Act (the "CARES Act") was enacted in the US to grant relief to taxpayers. The CARES Act provides numerous
tax provisions and other stimulus measures, including temporary changes regarding the prior and future utilization of net operating
losses, temporary changes to the prior and future limitations on interest deductions, temporary suspension of certain payment
requirements for the employer portion of social security taxes, technical corrections from prior tax legislation for tax depreciation of
certain qualified improvement property and the creation of certain refundable employee retention credits. The Company does not
currently expect the CARES Act to have a material impact on its tax expense. The Company will continue to monitor legislative and
regulatory developments related to COVID-19 and will record the associated tax impacts as discrete events in the periods that guidance
is finalized, or the Company is able to estimate an impact.

Liquidity and Capital Resources

     Our financing arrangements at March 31, 2021 consisted primarily of the 10.875% Notes, the 10.5% Notes, and the ABL Facility.
In addition, we financed our 2020 insurance renewal premiums through Aon Premium Finance LLC, an affiliate of our Broker, Aon
PLC.
     At March 31, 2021, we had total long-term debt of $1,063.6 million (excluding deferred financing costs of $16.5 million), which
consisted of the 10.875% Notes of $153.0 million and the 10.5% Notes of $930.0 million. Cash on hand was $46.6 million and we had
no short-term money market investments (with maturities of less than three months) or short-term investments (with original maturities
between 90 days and one year).
     At March 31, 2021 the ABL borrowing base was sufficient to support $38.9 million of additional borrowings. As of March 31,
2021, we were in compliance with all covenants set forth in the Indentures governing the 10.875% Notes and the 10.5% Notes.
     The additional borrowing capacity of $38.9 million under the ABL plus the cash on hand of $46.6 million provided total liquidity
of $85.5 million at March 31, 2021, which was more than the targeted liquidity we have considered necessary to support our operations
and provide ample cushion to maneuver through future market volatility and operational upsets.

     ABL Facility

     The ABL Facility is available on a revolving basis to finance our working capital needs and for general corporate purposes. The
ABL Facility was composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” revolving
tranche (the ABL FILO) when amended and restated on August 2, 2019. Commitments under the ABL FILO reduce, and commitments
under the ABL Revolver equally and simultaneously increase, by $2.5 million on each of the first three anniversaries of the August 2,
2019 amendment and restatement.
        The credit agreement governing the ABL Facility contains covenants that impose restrictions on, among other things, additional
indebtedness, liens, investments, advances, guarantees and mergers and acquisitions. These covenants also place restrictions on asset
sales, sale and leaseback transactions, dividends, payments between us and our subsidiaries and certain transactions with affiliates
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.
     On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.
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     10.5% Notes

      The 10.5% Notes were issued on August 2, 2019 in conjunction with the refinancing of our debt. The net proceeds from the
issuance of the 10.5% Notes were $918.3 million after underwriters and other fees and expenses of $11.7 million. The net proceeds
from the issuance of the 10.5% Notes were used to redeem and pay accrued interest due on the 8.75% Notes of $816.2 million, to repay
the outstanding loan balance and pay accrued interest due on the Old Term Loan of $50.3 million and to repay the outstanding loan
balance and pay accrued interest due on the ABL of $35.9 million.
     The 10.5% Notes are due August 1, 2024 and interest is paid semi-annually in arrears on February 1 and August 1.
      On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 2, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the 10.5% Notes (the “10.5% Indenture”). On February 2, 2021, TPCGI and the
guarantors entered into a Supplemental Indenture, dated as of February 2, 2021, with U.S. Bank National Association, as trustee and
collateral agent, for the 10.5% Notes (the “10.5% Supplemental Indenture”). The 10.5% Supplemental Indenture modified the 10.5%
Indenture to match certain restrictions contained in the 10.875% Indenture (as defined below) on our ability to incur additional
indebtedness, pay dividends on or make other distributions or repurchase our capital stock, make certain investments, enter into certain
types of transactions with affiliates, create liens, sell certain assets or merge with or into other companies. We may also be required to
make an offer to repurchase the 10.5% Notes at a price equal to 102% of the principal amount of 10.5% Notes so repurchased, plus
accrued and unpaid interest, if any, upon receipt of certain insurance proceeds, and subject further to other conditions and limitations.
      The 10.5% Notes are effectively subordinated to the 10.875% Notes and are subordinated to the ABL Facility and the Company’s
and the subsidiary guarantors’ existing and future indebtedness secured by assets or properties not constituting collateral securing the
10.5% Notes to the extent of the value of such assets and properties. The 10.5% Notes rank senior in right of payment to all of TPCGI’s
and the subsidiary guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally in
right of payment with all TPCGI’s and the subsidiary guarantors’ existing and future liabilities that are not so subordinated, including
the ABL. The 10.5 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness to the extent of the value of the 10.5% Notes collateral.
      The 10.5% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.
     On February 2, 2021 we issued $153 million of 10.875% Senior Secured Notes and repaid the $70 million New Term Loan we
had in place with Apollo Global Management to provide additional liquidity against any uncertainty around timing of future insurance
recoveries, including business interruption recoveries, over the next year.

     10.875% Notes

     The net proceeds from the offering of the 10.875% Notes were used to repay and terminate the $70 million New Term Loan, to
pay all fees and expenses related to the transactions and for general corporate purposes. The 10.875% Notes are due August 1, 2024
and interest will be paid quarterly in arrears on February 1, May 1, August 1 and November 1.
     On February 2, 2021, TPCGI and the guarantors entered into the Indenture, dated as of February 2, 2021, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.875% Indenture”).
     The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by all
subsidiary guarantors.
      The 10.875 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness and the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.875% Notes are effectively
subordinated to the ABL Facility and the Company’s and the subsidiary guarantors’ existing and future indebtedness secured by assets
or properties not constituting collateral securing the 10.875% Notes to the extent of the value of such assets and properties.
      The 10.875% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.




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     Insurance Premium Financing

     As of March 31, 2021, we have $3.3 million remaining of the insurance premiums we financed through Aon Premium Finance
LLC. The first down payment and the first installment were paid in July 2020 and the remainder is payable in monthly installments
following the applicable renewal date through April 2021.

     Sources and Uses of Cash

      Our principal sources of liquidity are our existing cash and cash equivalents, short-term investments, cash generated from
operations and borrowings under our ABL. In addition to these sources, another source of liquidity over the near-term will be insurance
proceeds received under our various insurance policies, including our property damage and business interruption policies. Business
interruption coverage became effective on January 12, 2020 after the forty-five-day deductible period and from that date on will replace
the earnings the Port Neches plant would have contributed except as a result of the explosion incident on November 27, 2019 that shut
down the plant. The timing of receipt of additional insurance proceeds under our policies is uncertain at this time. We may also, from
time to time, generate cash from opportunistic sales of non-core assets. Our principal uses of cash are to provide working capital, meet
debt service requirements, fund capital expenditures and finance our strategic plans, including possible acquisitions. We may also seek
to finance our capital expenditures under capital leases or other debt arrangements that provide liquidity or favorable borrowing terms.
Our business may not generate sufficient cash flows from operations and future borrowings under our ABL Facility may not be available
to us in an amount sufficient to enable us to pay our indebtedness or to fund our other liquidity needs. Our ability to generate sufficient
cash depends on, among other factors, prevailing economic conditions, many of which are beyond our control. In addition, upon the
occurrence of certain events, such as a change in control, we could be required to repay or refinance our indebtedness. Any future
acquisitions, joint ventures or other similar transactions may require additional capital and there can be no assurance that any such
capital will be available to us on acceptable terms or at all. However, based on our current level of operations and available cash,
including the liquidity generated by the issuance of the 10.875% Notes, we believe that our cash flow from operations, together with
availability under the ABL and proceeds received under our insurance policies, will provide sufficient liquidity to fund our current
obligations, projected working capital requirements, debt service requirements and capital spending requirements for the foreseeable
future.
      Our liquidity requirements will be significant primarily due to the annual debt service requirements on the 10.5% Notes, which
are estimated to be $97.7 million, annual debt service requirements on the 10.875% Notes, which are approximately $16.6 million, our
baseline capital expenditures, which fall within the range of $70 to $80 million, our turnaround and catalyst costs, which would typically
be in the range of $20 to $30 million in years we do not perform a dehydro unit turnaround and $35 to $40 million in years we do
perform a dehydro unit turnaround, and cash requirements related to the Port Neches incident in advance of insurance recoveries or in
excess of insurance coverage limits.
       As market conditions warrant and subject to the Company’s contractual restrictions and liquidity position, we, our affiliates and/or
our equity holders, including the Sponsors and their affiliates, may from time to time repurchase the Company’s outstanding debt
securities in privately negotiated or open market transactions, by tender offer or otherwise. Should we decide to engage in such
transactions in the future, any such purchases may be funded by incurring new debt, including borrowings under our ABL. Any new
debt may also be secured debt. We may also use available cash on our balance sheet or new equity capital. The amounts involved in
any such transactions, individually or in the aggregate, may be material. Further, any such purchases may result in us acquiring and
retiring a substantial amount of the 10.875% Notes or the 10.5% Notes, with the attendant reduction in the trading liquidity of any such
Notes.




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     Cash Flow Summary

     The following table summarizes changes in cash and cash equivalents for the periods indicated (in thousands):

                                                                              Three Months Ended
                                                                                   March 31,
                                                                               2021        2020
                              Cash flows provided by (used in):
                               Operating activities                           $ (12,970)     $ (38,869)
                               Investing activities                             (23,723)       (18,766)
                               Financing activities                              64,830       117,812
                              Change in cash and cash equivalents             $ 28,137       $ 60,177

     Operating Activities

      For the three months ended March 31, 2021, net use of cash for operating activities was $13.0 million. The net loss of $73.3
million, deferred turnaround and catalyst costs of $0.8 million, and deferred income tax benefit of $18.8 million were partially offset by
non-cash expenses of $57.0 million and a decrease in working capital of $22.9 million. Non-cash expenses consisted of depreciation
and amortization of $19.3 million, amortization of debt issuance costs of $3.7 million and non-cash expenses related to the Port Neches
incident of $34.0 million.
      Trade accounts receivable were $38.2 million at March 31, 2021 compared to $73.4 million at December 31, 2020. The decrease
of $35.2 million reflected lower revenue of $41.1 million in March 2021 compared to December 2020 and an increase in days of sales
outstanding from 29 days at December 31, 2020 to 32 days at March 31, 2021. The increase in days outstanding reflected the regional
impact of Winter Storm Uri. Trade accounts receivable were 100 % and 99% current at March 31, 2021 and December 31, 2020,
respectively.
      Our inventory at March 31, 2021 was $42.9 million compared to $45.4 million at December 31, 2020. The $2.5 million decrease
in inventory value reflected a 15% decrease in total volume, which had an impact of $6.7 million, partially offset by an 11% increase in
overall average cost per pound, which had an impact of $4.2 million.
      For the three months ended March 31, 2020, net use of cash for operating activities was $38.9 million. The net loss of $51.4
million, deferred turnaround and catalyst costs of $25.8 million, deferred income tax benefit of $12.0 million and an increase in working
capital of $1.2 million were partially offset by non-cash expenses of $51.5 million. Non-cash expenses consisted of depreciation and
amortization of $15.6 million, amortization of debt issuance costs of $0.9 million and non-cash expenses related to the Port Neches
incident of $35.0 million.
     Investing activities

      During the quarters ended March 31, 2021 and 2020, we invested $23.7 million and $18.8 million, respectively, in the form of
capital expenditures.

     Financing activities

      Cash of $64.8 million was generated during the first quarter of 2021 from net proceeds of $150.0 million from issuance of the
10.875% Notes partially offset by repayment of the $70.0 million New Term Loan, repayment of $9.8 million of financed insurance
premiums, and debt issuance costs of $5.4 million. Cash generated during the first quarter of 2020 was $117.8 million from net
borrowings on the New Term Loan of $69.3 million and borrowings on the ABL of $50.0 million, partially offset by deferred financing
costs of $1.5 million.

     Off-Balance-Sheet Arrangements

      We do not currently utilize any off-balance-sheet arrangements to enhance our liquidity and capital resource positions, or for any
other purpose.




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              CONDENSED CONSOLIDATED FINANCIAL STATEMENTS



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                                                            TPC Group Inc.
                                        CONDENSED CONSOLIDATED BALANCE SHEETS
                                          (In thousands, except share and per share amounts)


                                                                                                    March 31,      December 31,
                                                                                                      2021             2020
                                                                                                   (Unaudited)
                                              ASSETS
  Current assets:
   Cash and cash equivalents                                                                   $        46,589     $     18,452
   Trade accounts receivable                                                                            38,237           73,447
   Insurance receivable - Port Neches incident                                                          24,040           23,289
   Inventories                                                                                          42,868           45,435
   Other current assets                                                                                 33,413           41,123
          Total current assets                                                                         185,147          201,746
  Property, plant and equipment, net                                                                   707,560          703,273
  Intangible assets, net                                                                                 3,880            3,880
  Other assets, net                                                                                     49,677           55,850
          Total assets                                                                         $       946,264     $    964,749
                      LIABILITIES AND STOCKHOLDER'S DEFICIT
  Current liabilities:
   Accounts payable                                                                            $       113,118     $    113,092
   Accrued liabilities                                                                                  66,812           92,635
   Short-term debt                                                                                       3,319           13,098
   Accrued liabilities - Port Neches incident                                                          121,102           90,262
          Total current liabilities                                                                    304,351          309,087
  Long-term debt, net of deferred financing costs                                                     1,063,619         985,321
  Deferred income taxes                                                                                 (18,756)            -
          Total liabilities                                                                           1,349,214        1,294,408
  Commitments and contingencies
  Stockholder's deficit:
    Common stock, $0.01 par value, 2,000 shares authorized,
      1,030 issued and outstanding                                                                         -                -
    Additional paid-in capital                                                                         478,314          478,314
    Accumulated deficit                                                                               (878,603)        (805,312)
    Accumulated other comprehensive loss                                                                (2,661)          (2,661)
          Total stockholder's deficit                                                                 (402,950)        (329,659)
          Total liabilities and stockholder's deficit                                          $       946,264     $    964,749


The accompanying notes are an integral part of these condensed consolidated financial statements.




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                                                         TPC Group Inc.
           CONDENSED CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE LOSS
                                                           (In thousands)
                                                           (Unaudited)


                                                                                         Three Months Ended
                                                                                              March 31,
                                                                                         2021         2020
                   Revenue                                                            $ 191,815      $   215,824
                   Cost of sales (excludes items listed below)                          136,870          161,252
                   Operating expenses                                                    51,264           45,284
                   General and administrative expenses                                    8,259            8,171
                   Depreciation and amortization                                         19,328           15,597
                   Loss on Port Neches incident, net of insurance recovery                4,927           23,112
                   COVID-19 expenses                                                        252              -
                   Freeze event expenses                                                 29,849              -
                   Technical Center fire event expenses                                   4,956              -
                   Income (loss) from operations                                          (63,890)       (37,592)
                   Other expense:
                    Interest expense                                                       28,157         25,437
                    Other, net                                                                -              355
                   Loss before income taxes                                               (92,047)       (63,384)
                   Income tax benefit                                                     (18,756)       (11,981)
                   Net loss                                                           $ (73,291)     $   (51,403)




The accompanying notes are an integral part of these condensed consolidated financial statements.




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                                                            TPC Group Inc.
                             CONDENSED CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                             (In thousands)
                                                              (Unaudited)


                                                                                          Three Months Ended
                                                                                               March 31,
                                                                                           2021        2020
                  Cash provided by (used in) operating activities                       $ (12,970)    $ (38,869)
                  Cash flows from investing activities:
                   Capital expenditures                                                    (23,723)     (18,766)
                        Cash used in investing activities                                  (23,723)     (18,766)
                  Cash flows from financing activities:
                   Net proceeds from issuance of 10.875% notes                             150,000          -
                   Net proceeds from term loan                                                 -         69,300
                   Payment on term loan                                                    (70,000)         -
                   Net proceeds from ABL Facility borrowings                                   -         50,000
                   Insurance finance repayments                                             (9,778)         -
                   Debt issuance costs                                                      (5,392)      (1,488)
                        Cash provided by financing activities                               64,830      117,812
                  Increase in cash and cash equivalents                                     28,137       60,177
                  Cash and cash equivalents, beginning of period                            18,452       85,159
                  Cash and cash equivalents, end of period                              $ 46,589      $ 145,336




The accompanying notes are an integral part of these condensed consolidated financial statements.




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                                                            TPC Group Inc.
                           NOTES TO CONDENSED CONSOLIDATED FINANCIAL STATEMENTS
                                                               (Unaudited)

NOTE A – BASIS OF PRESENTATION

     1.    Definition of Terms

      Certain terms used throughout these unaudited condensed consolidated financial statements and accompanying notes are defined
on page 3 of this Quarterly Report, which should be referred to when reading these interim unaudited condensed consolidated financial
statements and accompanying notes.

     2.    Organization

      The accompanying consolidated financial statements include the accounts of TPCGI and its direct wholly owned and indirect
subsidiaries. TPCGI’s direct wholly owned subsidiaries include TPCGLLC and Texas Petrochemicals Netherlands B.V., and its
indirect subsidiaries, which are all wholly owned subsidiaries of TPCGLLC, include Texas Butylene Chemical Corporation, Texas
Olefins Domestic International Sales Corporation, Port Neches Fuels LLC, TP Capital Corp., TPC Pipeline Holding Company LLC and
TPC Pipeline Company LLC.

     3.    Principles of Consolidation

     The Company’s unaudited condensed consolidated financial statements include the accounts of TPCGI and its direct and indirect
subsidiaries, after the elimination of all significant intercompany accounts and transactions. The unaudited condensed consolidated
financial statements presented have been prepared by us in accordance with GAAP.

     4.    Interim Financial Statements

     The unaudited condensed consolidated financial statements have been prepared in accordance with GAAP. Our December 31,
2020 Condensed Consolidated Balance Sheet data was derived from audited financial statements.

     The unaudited condensed consolidated financial statements contained in this Quarterly Report include all material adjustments of
a normal and recurring nature that, in the opinion of management, are necessary for a fair statement of the results for the interim periods.
The results of operations for the interim periods presented in this Quarterly Report are not necessarily indicative of the results to be
expected for a full year or any other interim period.

     The interim condensed consolidated financial statements should be read together with the audited consolidated financial statements
and related notes thereto included in TPC Group Inc.’s Annual Report for the year ended December 31, 2020, which is attached to this
Quarterly Report as Exhibit I.

NOTE B – DESCRIPTION OF BUSINESS
See Note B to our Annual Report for the year ended December 31, 2020, which is attached to this Quarterly Report as Exhibit I.




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NOTE C – RISKS AND UNCERTAINTIES RELATED TO THE COVID-19 PANDEMIC

      In March 2020, the World Health Organization declared the outbreak of COVID-19 to be a pandemic. The global coronavirus
(COVID-19) pandemic continues to cause considerable uncertainty in the marketplace, and efforts to stop the virus are also having
significant economic consequences. Though the government restrictions across the world have generally started to ease and vaccines
have become available to help prevent COVID-19 infections, the extent and duration of measures implemented to try to slow the spread
of the virus, such as travel bans and restrictions, border closures, quarantines, and business and government shutdowns have caused,
and may continue to cause, reduced demand and operational delays. The COVID-19 outbreak has impacted the addressable market for
the Company’s products, and the Company’s business continues to be exposed to risks and uncertainties related to the pandemic. The
Company has taken several actions to deal with the pandemic. These include enabling its employees to work from home and suspending
all non-essential travel. The ultimate impact and the extent to which the COVID-19 pandemic will continue to affect the business,
results of operation and financial condition is difficult to predict and depends on numerous evolving factors outside of the Company’s
control including: the duration and scope of the pandemic; government, social, business and other actions that have been and will be
taken in response to the pandemic; and the effect of the pandemic on short and long-term general economic conditions. This uncertainty
also affects management’s accounting estimates and assumptions, which could result in greater variability in a variety of areas that
depend on these estimates and assumptions.

NOTE D – RECENT ACCOUNTING DEVELOPMENTS

Accounting Guidance Issued but Not Yet Adopted as of March 31, 2021

       Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company continues to evaluate its population of leases and
is continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting
for logistics equipment. The Company anticipates recognition of additional assets and corresponding liabilities related to leases upon
adoption, effective January 1, 2022.

      Defined Benefit Plans – ASU 2018-14, Compensation—Retirement Benefits, amends disclosure requirements for employers that
sponsor defined benefit pension or other postretirement plans. For public business entities, the amendments are effective for fiscal years
ending after December 15, 2020. For all other entities the amendments are effective for fiscal years ending after December 15,
2021. Early adoption is permitted. The Company anticipates some changes to the disclosures required to comply with this standard.

      Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management does not expect that changes required by the new standard will materially impact the Company's financial statements and
related disclosures.

NOTE E – DETAIL AND DISCUSSION OF CERTAIN CONDENSED CONSOLIDATED BALANCE SHEET CAPTIONS

     Cash and Cash Equivalents
      Cash and cash equivalents included amounts on deposit with banks, cash invested temporarily in investments with original
maturities of three months or less, and cash on hand. We maintain cash balances that are insured by the Federal Deposit Insurance
Corporation (“FDIC”). As of March 31, 2021, we had $46.6 million in cash and cash equivalents, which were subject to a $0.25 million
per account FDIC insurance coverage limit. We believe the likelihood of any loss of cash and cash equivalents is remote and that we
are not exposed to any significant credit risk on cash and cash equivalents.


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     Inventories
     Inventories, as of the dates presented, were as follows (in thousands):

                                                                                   March 31,            December 31,
                                                                                    2021                   2020

                        Finished goods                                         $         14,419         $       24,665
                        Raw materials and chemical supplies                              28,449                 20,770
                                                                               $         42,868         $       45,435


     The decrease in inventory value reflected a 15% decrease in total volume, which had an impact of $6.7 million, partially offset
by an 11% increase in overall average cost per pound, which had an impact of $4.2 million.


     Other Current Assets
     Other current assets, as of the dates presented, were as follows (in thousands):

                                                                                       March 31,            December 31,
                                                                                        2021                   2020
                   Prepaid insurance premiums                                      $          10,443        $       21,002
                   Spare parts inventory                                                      15,846                15,741
                   Prepaid expense and other                                                   7,124                 4,380
                                                                                   $          33,413        $       41,123



     Property, Plant and Equipment
     Property, plant and equipment, as of the dates presented, were as follows (in thousands):

                                                                                            March 31,       December 31,
                                                                                             2021              2020

                   Land and land improvements                                           $       52,839      $       52,839
                   Plant and equipment                                                       1,128,972           1,108,577
                   Construction in progress                                                     87,215              93,903
                   Other                                                                        55,564              52,464
                                                                                             1,324,590           1,307,783
                     Accumulated depreciation                                                 (617,030)           (604,510)
                                                                                        $     707,560       $      703,273




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     Intangible Assets
      There were no changes in the carrying amount of our intangible assets, for the three months ended March 31, 2021. The gross
carrying amounts and accumulated amortization of intangible assets, as of the dates presented, were as follows (in thousands):

                                                                           Gross                                  Net
                                                                          Carrying           Accumulated        Carrying
                                                                           Value             Amortization        Value
                      March 31, 2021
                       Technology license                               $     3,880          $         -       $      3,880
                       Patents                                               23,100                (23,100)               -
                                                                        $    26,980          $     (23,100)    $      3,880


     Other Assets
     Other assets, as of the dates presented, were as follows (in thousands):

                                                                                       March 31,            December 31,
                                                                                        2021                   2020
                             Deferred turnaround costs                             $          36,157      $        40,308
                             Catalyst and solvent costs                                       11,683               13,693
                             Other deferred charges                                            1,837                1,849
                                                                                   $          49,677      $        55,850


     The decrease in the deferred turnaround and catalyst costs reflected the Dehydro turnaround completed in first quarter 2020.


     Accrued Liabilities
     Accrued liabilities, as of the dates presented, were as follows (in thousands):
                                                                                           March 31,      December 31,
                                                                                            2021             2020
                           Accrued payroll and benefits                                $         22,261   $        17,537
                           Net pension liability                                                  7,456             8,493
                           Accrued freight                                                        5,628             5,875
                           Accrued interest                                                      19,167            41,231
                           Accrued property and sales tax                                        10,568            13,991
                           Other                                                                  1,732             5,508
                                                                                       $         66,812   $        92,635




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     Accrued Liabilities – Port Neches Incident
     Accrued liabilities for the Port Neches Incident, as of the dates presented, were as follows (in thousands):
                                                                                       March 31,         December 31,
                                                                                        2021                2020
                            Total of losses and costs recognized                   $      424,982        $    416,817
                            Deferred gain on insurance                                     74,206              36,694
                            Invoices / settlements paid                                  (304,808)           (293,874)
                            Unpaid invoices included in payables                          (16,378)            (12,507)
                            Asset write-offs                                              (56,900)            (56,868)
                                                                                   $      121,102        $     90,262

                            Accrued response / clean-up costs                      $       79,025        $    46,258
                            Estimated claims liability                                     42,077             44,004
                                                                                   $      121,102        $    90,262


NOTE F – SHORT-TERM DEBT

       Our short-term financing arrangements at March 31, 2021 and December 31, 2020 consisted of insurance premium financing. In
June 2020 we financed $2.3 million of insurance premiums through Aon Premium Finance LLC. The initial down payment and the
first installment payment were due in July 2020 with the remaining payments scheduled to be paid over the next nine months through
April 2021. We financed approximately $39.0 million of additional insurance premiums through Aon Premium Finance LLC for
insurance coverages that were renewed during the third quarter, making additional down payments and increasing the amount of the
remaining monthly payments through April 2021.

NOTE G – LONG-TERM DEBT

     Outstanding debt as of the dates presented, was as follows (in thousands):
                                                                                  March 31,          December 31,
                                                                                    2021                2020
                  Notes                                                         $ 1,083,000          $       930,000
                  New Term Loan                                                         -                     70,000
                  Unamortized discount on New Term Loan                                 -                       (286)
                  Unamortized discount on Notes                                      (2,857)                     -
                  Total long-term debt                                            1,080,143                  999,714
                    Less: deferred financing costs                                  (16,524)                 (14,393)
                  Long-term debt net of deferred financing costs                $ 1,063,619          $       985,321



     Our financing arrangements at March 31, 2021 were comprised of the 10.875% Notes and the 10.5% Notes. As of March 31,
2021, we were in compliance with all covenants set forth in the Indentures governing the 10.875% Notes and the 10.5% Notes.

     ABL

     TPCGI is the lead borrower under the ABL and certain domestic subsidiaries of TPCGI are co-borrowers (or may be designated
co-borrowers) on a joint and several basis.


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     The ABL is composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” tranche (the
ABL FILO). Commitments under the ABL FILO will be reduced, and commitments under the ABL Revolver equally and
simultaneously increased, by $2.5 million on each of the first three anniversaries of the August 2019 amendment and restatement.
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.
     As of March 31, 2021, we had no borrowings outstanding on the ABL and the combined ABL Revolver and ABL FILO borrowing
bases provided us with the ability to borrow up to $38.9 million.
      The ABL Revolver commitments may be increased by an aggregate principal amount of not more than $150 million, subject only
to the consent of the new or existing lenders providing such increases. The lenders under this facility are under no obligation to provide
any such additional commitments, and any increase in commitments will be subject to customary conditions precedent.
Notwithstanding any such increase in the facility size, TPCGI’s ability to borrow under the facility will remain limited at all times by
the borrowing base (to the extent the borrowing base is less than the commitments).
      Loans under the ABL Revolver bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate
equal to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR
rate plus 1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be
1.75% (and may subsequently decrease to 1.50% or increase to 2.00% depending on average excess availability) and with respect to
base rate borrowings will initially be 0.75% (and may subsequently decrease to 0.50% or increase to 1.00% depending on average excess
availability).
      Loans under the ABL FILO bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate equal
to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR rate plus
1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be 3.00% (and
may subsequently decrease to 2.75% or increase to 3.25% depending on average excess availability) and with respect to base rate
borrowings will initially be 2.00% (and may subsequently decrease to 1.75% or increase to 2.25% depending on average excess
availability).
      The ABL provides for all applicable margins to be reduced by 0.25% during any fiscal quarter for which the Total Leverage Ratio,
as defined in the ABL credit agreement, as of the last day of the immediately preceding fiscal quarter, is less than 5.0 to 1.0.
      In addition to paying interest on outstanding principal under the ABL, TPCGI is required to pay a commitment fee at an initial rate
of 0.500% per annum in respect of the unutilized commitments thereunder. The commitment fee rate subsequently may be reduced to
0.375% depending on the amount of excess availability under the ABL. TPCGI must also pay customary letter of credit fees and
fronting fees for each letter of credit issued.
      If, at any time, (i) an Event of Default is continuing or (ii) Excess Availability is less than the greater of (x) 12.5% of Availability
and (y) $12.5 million, TPCGI shall comply with a minimum Fixed Charge Coverage Ratio for the most recent period of four consecutive
fiscal quarters of at least 1.0 to 1.0. Such requirement shall continue until the date that no Event of Default exists, and Excess
Availability shall have been not less than the greater of (x) 12.5% of Availability and (y) $12.5 million for a period of 21 consecutive
calendar days.
      If at any time the aggregate amount of loans and letters of credit outstanding under either the ABL Revolver or under the ABL
FILO exceeds the lesser of (a) the applicable total commitments and (b) the applicable borrowing base, TPCGI will be required to prepay
loans outstanding and/or cash collateralize outstanding letters of credit in an aggregate amount equal to the amount of any such excess,
without any reduction of the commitments. Under certain circumstances, if the aggregate amount available under the ABL is less than
the greater of (1) 12.5% of the lesser of (i) the total commitments under such facility and (ii) the borrowing base and (2) $12.5 million
for 5 consecutive business days, or if certain defaults occur, all collateral proceeds collected through the cash management system in
favor of the collateral agent will be swept to a collection account and applied daily to repay outstanding loans and cash collateralize
letters of credit under the ABL.
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       TPCGI may voluntarily repay loans outstanding under the ABL Revolver and under the ABL FILO at any time without premium
or penalty other than customary “breakage” costs with respect to LIBOR loans. All outstanding loans under the ABL Revolver must
be repaid before any loans outstanding under the ABL FILO may be repaid. Any subsequent borrowings under the ABL would be
made first under the ABL FILO (subject to availability) and next under the ABL Revolver (subject to availability). We may elect at
any time to reduce the unutilized portion of the commitment amount under the ABL. We may elect at any time to terminate the ABL
FILO commitments in full (but not in part) provided that 30 Day Excess Availability, as defined in the Credit Agreement and calculated
on a pro forma basis, would not be less than the greater of (a) 17.5% of availability and (b) $25 million if the Fixed Charge Coverage
Ratio is at least 1.0 to 1.0 or 30 Day Excess Availability would not be less than 22.5% of availability if the Fixed Charge Coverage Ratio
is less than 1.0 to 1.0.
      Pursuant to a Guarantee, dated as of August 2, 2019, among Parent, TPCGI, the other guarantors party thereto and Bank of
America, N.A., as administrative agent and collateral agent, all obligations under the Senior Secured Asset-Based Revolving Credit
Agreement are unconditionally guaranteed by substantially all existing and future, direct and indirect, wholly-owned material restricted
domestic subsidiaries of TPCGI, subject to certain exceptions, including, any applicable legal, regulatory or contractual constraints and
to the requirement that such guarantee will not cause material adverse tax consequences.
     The borrowers under the ABL are jointly and severally liable for all borrowings and other obligations thereunder. Pursuant to a
Pledge and Security Agreement, dated as of August 2, 2019, among Parent, TPCGI, the subsidiary grantors and Bank of America, N.A.,
as administrative agent and collateral agent, and any additional borrowers that may become party thereto from time to time, such
obligations and the guarantees of such obligations are secured, subject to permitted liens and other exceptions, by:

     •   a first-priority lien on the following:

                  (a)       accounts receivable, including those arising from the sale of inventory and other goods and services
                            (including related contracts and contract rights, inventory, tax refunds, cash and cash equivalents);
                  (b)       inventory;
                  (c)       intercompany notes and intellectual property and other intangible assets to the extent attached to or necessary
                            to sell any of the foregoing;
                  (d)       deposit and investment accounts (and all cash, checks and other negotiable instruments, funds and other
                            evidences of payment held therein, but not any identifiable proceeds of Notes First Priority Collateral (as
                            defined below));
                  (e)       to the extent evidencing, governing, securing or otherwise related to any of the foregoing and the other
                            Revolver First Priority Collateral (as defined below), all documents, general intangibles (excluding
                            intellectual property), instruments, investment property (but not stock in subsidiaries or equity interest in any
                            limited liability company or other entity constituting Notes First Priority Collateral), commercial tort claims,
                            letters of credit, supporting obligations and letter of credit rights;
                  (f)       all loans payable by a grantor to any other grantor to the extent made using proceeds of advances under the
                            ABL Facility;
                  (g)       books and records, documents, supporting obligations, chattel paper, instruments, payment intangibles and
                            general intangibles relating to any of the foregoing; and
                  (h)       all proceeds and products of any or all of the foregoing in whatever form received, in each case above subject
                            to certain qualifications and exclusions (collectively, the “Revolver First Priority Collateral”); and

     •   a second-priority lien on assets not constituting Revolver First Priority Collateral subject to certain qualifications and
         exclusions (the “Notes First Priority Collateral”).

    The ABL contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the ability of
TPCGI and certain of its subsidiaries to:

     •   incur additional indebtedness;
     •   create liens;
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     •    engage in mergers or consolidations;
     •    sell or transfer assets;
     •    pay dividends and distributions or repurchase its capital stock;
     •    make investments, loans or advances;
     •    prepay certain indebtedness;
     •    engage in certain transactions with affiliates;
     •    designate certain subsidiaries as restricted or unrestricted by the covenants; and
     •    change its lines of business.

      In addition, at any time when an event of default is continuing or the aggregate amount available under the ABL is less than the
greater of (a) 12.5% of the lesser of (1) the total commitments and (2) the borrowing base and (b) $12.5 million (or a lesser amount if a
significant asset sale has occurred), TPCGI will be required to maintain a minimum fixed charge coverage ratio of 1.0:1.0.
      The ABL also contains a customary “holding company” covenant that restricts Parent’s ability to take certain actions and contains
certain customary additional affirmative covenants, representations and warranties, conditions to making loans, indemnification
provisions and events of default, including (subject in certain cases to customary grace and cure periods) material inaccuracy of
representations, non-payment of obligations under the ABL, violation of affirmative and negative covenants, non-payment or
acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of the credit documents (or the assertion
by Parent or a borrower of any such invalidity), change of control and loss of lien perfection or priority.
      On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.5% Notes

     The 10.5% Notes are due August 1, 2024 and interest will be paid semi-annually in arrears on February 1 and August 1.

      Indenture Governing the 10.5% Notes

      On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 2, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the 10.5% Notes, (the “10.5% Indenture”). On February 2, 2021, TPCGI and the
guarantors entered into a Supplemental Indenture, dated as of February 2, 2021, with U.S. Bank National Association, as trustee and
collateral agent, for the 10.5% Notes (the “10.5% Supplemental Indenture”). The 10.5% Supplemental Indenture modified the 10.5%
Indenture to match certain restrictions contained in the 10.875% Indenture (as defined below) on our ability to incur additional
indebtedness, pay dividends on or make other distributions or repurchase our capital stock, make certain investments, enter into certain
types of transactions with affiliates, create liens, sell certain assets or merge with or into other companies. We may also be required to
make an offer to repurchase the 10.5% Notes at a price equal to 102% of the principal amount of 10.5% Notes so repurchased, plus
accrued and unpaid interest, if any, upon receipt of certain insurance proceeds, and subject further to other conditions and limitations.
      The 10.5% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. (“Holdings”) and on a senior secured basis by
all of TPCGI’s existing and future direct and indirect domestic subsidiaries other than certain excluded subsidiaries (the “subsidiary
guarantors” and together with Holdings, the “guarantors”) that guarantee obligations under the ABL.
       The 10.5% Notes are effectively subordinated to the 10.875% Notes and are subordinated to the ABL Facility and the Company’s
and the subsidiary guarantors’ existing and future indebtedness secured by assets or properties not constituting collateral securing the
10.5% Notes to the extent of the value of such assets and properties. The 10.5% Notes rank senior in right of payment to all of TPCGI’s
and the subsidiary guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally in
right of payment with all TPCGI’s and the subsidiary guarantors’ existing and future liabilities that are not so subordinated, including
the ABL. The 10.5 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes and the guarantees are structurally subordinated
to all existing and future liabilities and preferred stock of any of its subsidiaries that do not guarantee the 10.5% Notes effectively senior
to TPCGI’s and the subsidiary guarantors’ indebtedness that is unsecured or that is secured by junior liens to the extent of the value of
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the assets securing the 10.5% Notes and the guarantees, and effectively junior to TPCGI’s ABL to the extent of the value of the assets
that secure TPCGI’s ABL on a first-priority basis.
      The 10.5% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the subsidiary
guarantors’ assets (in each case, other than TPCGI’s and the subsidiary guarantors’ assets that secure the ABL on a first-priority basis),
subject to certain exceptions and permitted liens. Subject to certain exceptions and permitted liens, the 10.5% Notes and the guarantees
are also secured on a second-priority basis by TPCGI’s and the subsidiary guarantors’ assets that secure our ABL on a first-priority
basis.
      The 10.5% Notes become redeemable as of August 1, 2021 at the redemption prices specified in the 10.5% Indenture. The
redemption price for the period from (and including) August 1, 2021 through July 31, 2022 is 107.875% and for the period from (and
including) August 1, 2022 through July 31, 2023 is 103.938%. The 10.5% Notes become redeemable at par as of August 1, 2023.
Unless otherwise redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an
offer to repurchase the 10.5% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if
any. TPCGI may also be required to make an offer to repurchase the 10.5% Notes at a price equal to 102% of the principal amount of
10.5% Notes so repurchased, plus accrued and unpaid interest, if any, upon receipt of certain insurance proceeds, and subject further to
other conditions and limitations. In addition, at any time prior to August 1, 2021, TPCGI may redeem, subject to certain conditions,
up to 35% of the 10.5% Notes at a redemption price of 110.50% with the net cash proceeds from one or more equity offerings.
      In addition, upon the sale of certain assets or the receipt of insurance proceeds in connection with certain casualty events, in each
case, in which TPCGI and its subsidiaries do not apply the proceeds as required, the holders of the 10.5% Notes may require TPCGI to
purchase for cash all or a portion of its 10.5% Notes at a purchase price equal to 100% of the principal amount of the 10.5% Notes, plus
accrued and unpaid interest, if any, to, but excluding, the repurchase date.
      The 10.5% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted subsidiaries
to (subject to certain exceptions):
     •   incur additional debt, issue disqualified stock or issue certain preferred stock;
     •   pay dividends on or make certain distributions and other restricted payments;
     •   create certain liens or encumbrances;
     •   sell assets;
     •   enter into transactions with affiliates;
     •   limit ability of restricted subsidiaries to make payments to TPCGI;
     •   consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •   designate TPCGI’s subsidiaries as unrestricted subsidiaries.
      The 10.5% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.5% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.5% Notes to be due and payable.
      On February 2, 2021 we issued $153 million of 10.875% Senior Secured Notes and repaid the $70 million New Term Loan we
had in place with Apollo Global Management to provide additional liquidity against any uncertainty around timing of future insurance
recoveries, including business interruption recoveries, over the next year.

     10.875% Notes

      The net proceeds from the offering of the 10.875% Notes were used to repay and terminate the $70 million New Term Loan, to
pay all fees and expenses related to the transactions and for general corporate purposes. The 10.875% Notes are due August 1, 2024 and
interest will be paid quarterly in arrears on February 1, May 1, August 1 and November 1.



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      Indenture Governing the 10.875% Notes

     On February 2, 2021, TPCGI and the guarantors entered into the Indenture, dated as of February 2, 2021, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.875% Indenture”).
     The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by all
subsidiary guarantors.
      The 10.875 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness and the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.875% Notes are effectively
subordinated to the ABL Facility and the Company’s and the subsidiary guarantors’ existing and future indebtedness secured by assets
or properties not constituting collateral securing the 10.875% Notes to the extent of the value of such assets and properties.
       The 10.875% Notes are TPCGI’s and the guarantees are the guarantors’ senior secured obligations and rank senior in right of
payment to the 10.5% Notes and all of TPCGI’s and the guarantors’ future debt that is expressly subordinated in right of payment to the
10.875% Notes and rank equally in right of payment with all TPCGI’s and the guarantors’ existing and future liabilities that are not so
subordinated, including the ABL. The 10.875% Notes and the guarantees are structurally subordinated to all existing and future
liabilities and preferred stock of any of its subsidiaries that do not guarantee the 10.875% Notes effectively senior to TPCGI’s and the
guarantors’ indebtedness that is unsecured or that is secured by junior liens to the extent of the value of the assets securing the 10.875%
Notes and the guarantees, and effectively junior to TPCGI’s ABL to the extent of the value of the assets that secure TPCGI’s ABL on a
first-priority basis.
      The 10.875% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the guarantors’
assets (in each case, other than TPCGI’s and the guarantors’ assets that secure the ABL on a first-priority basis), subject to certain
exceptions and permitted liens. Subject to certain exceptions and permitted liens, the 10.875% Notes and the guarantees are also
secured on a second-priority basis by TPCGI’s and the guarantors’ assets that secure our ABL on a first-priority basis.
      The 10.875% Notes are redeemable at the redemption prices specified in the 10.875% Indenture. The 10.875% Notes are
redeemable prior to August 2, 2022 at a price equal to 100% of the principal amount of the Notes to be redeemed, plus accrued and
unpaid interest to, but excluding, the redemption date, plus the applicable “make-whole premium.” The redemption price for the period
from (and including) August 2, 2022 through February 1, 2023 is 108.1563% and for the period from (and including) February 2, 2023
through August 1, 2023 is 104.0781%. The 10.875% Notes become redeemable at par as of August 2, 2023. Unless otherwise
redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an offer to repurchase
the 10.875% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if any.
      In addition, upon the sale of certain assets or the receipt of insurance proceeds in connection with certain casualty events, in each
case, in which TPCGI and its subsidiaries do not apply the proceeds as required, the holders of the 10.875% Notes may require TPCGI
to purchase for cash all or a portion of its 10.875% Notes at a purchase price equal to 100% of the principal amount of the 10.875%
Notes, plus accrued and unpaid interest, if any, to, but excluding, the repurchase date.
     The 10.875% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted
subsidiaries to (subject to certain exceptions):
     •   incur additional debt, issue disqualified stock or issue certain preferred stock;
     •   pay dividends on or make certain distributions and other restricted payments;
     •   create certain liens or encumbrances;
     •   sell assets;
     •   enter into transactions with affiliates;
     •   limit ability of restricted subsidiaries to make payments to TPCGI;
     •   consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •   designate TPCGI’s subsidiaries as unrestricted subsidiaries.
     The 10.875% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
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holders of at least 25% in principal amount of the then outstanding 10.875% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.875% Notes to be due and payable.

NOTE H – REVENUE

     We operate in two principal business segments, C4 Processing and Performance Products. The following table disaggregates
revenue for each segment by major activity and by domestic and foreign for each period presented.

                                                                             Three Months Ended
                                                                                  March 31,
                                                                             2021           2020
                            Revenue by segment
                             C4 Processing
                                 Product sales                           $    103,822     $     117,727
                                 Process revenue                                  524               612
                                 Terminalling revenue                           2,293             2,432
                                 Service fees                                     774               681
                                 Shipping and handling                          2,350             2,898
                                                                         $    109,763     $     124,350

                              Performance Products
                                  Product sales                                77,626            86,626
                                  Terminalling revenue                            -                  38
                                  Shipping and handling                         4,426             4,810
                                                                         $     82,052     $      91,474
                                                                         $    191,815     $     215,824

                            Revenue by geographic location
                             United States                               $    178,906     $     201,892
                             All foreign countries                             12,909            13,932
                                                                         $    191,815     $     215,824



NOTE I – PORT NECHES INCIDENT

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” We anticipate future engagement with OSHA regarding these issues
including a settlement conference scheduled for August 2021.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
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events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA) served the Company with an
information request under Section 114 of the federal Clean Air Act. The request seeks information about the incident as well as the
Company’s Risk Management Compliance program at both the Port Neches and Houston facilities. Such requests are typically the first
step in EPA enforcement. We anticipate that there likely will be additional enforcement matters, claims for cost recovery, and/or claims
for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,600 property claims have been resolved and approximately 1,540 additional eligible claims are working through the claims process.
The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial statements. The Company
also provided an emotional support hotline staffed by licensed professional counselors from Samaritan Counseling Center of Southeast
Texas.
      In addition to the property claims, sixty-four private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred lawsuits – which
typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual plaintiff cases now
pending. Twenty-nine of the sixty-four private party lawsuits, including approximately 600 individual plaintiffs, are awaiting transfer
to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of subrogation claims filed by
homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. A revised schedule is expected as the
plaintiffs filed amended master petitions in Q2 2021 adding additional defendants. A hearing on class certification is not expected
before Q4 2021 at the earliest.
      Four different sets of insurance policies in effect at the time provide coverage for costs and losses incurred as a result of the Port
Neches incident. Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible
is $10.0 million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying
for business interruption coverage. As of March 31, 2021, we have paid $74.4 million of costs and collected $200.0 million under these
policies, of which $12.1 million has been specifically designated as business interruption coverage and $187.9 million has been
designated as an unallocated payment on account. Of the unallocated proceeds of $187.9 million, $74.2 million are recorded as a
deferred gain due to the net book value of the affected assets being lower than the value that we will receive. Reimbursable costs under
this policy recorded in 2019 and 2020 were $64.7 million and $58.0 million, respectively. Reimbursable costs for the three months
ended March 31, 2021 were $2.5 million. Of these costs, we currently estimate that $113.7 million will be recoverable.
      Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of March 31, 2021, we have accrued third-party claim amounts of $168.3 million, have paid $125.9
million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $51.5 million and we
have collected $15.3 million of this amount. We anticipate collecting a total of $35.6 million for these expenses. Costs recorded under
this policy in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional amount was
incurred for claims of $3.1 million and for defense costs of $35.6 million. So far in 2021, an additional $3.3 million was added for
primarily commercial claims with no additional defense costs.
     Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of March 31, 2021, we have incurred
and paid $51.4 million of costs and have collected the full $25.0 million of coverage under this policy. We incurred $23.1 million,
$28.0 million and $0.3 million of these costs in 2019, 2020 and 2021 respectively.
      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We expect to recover
the fair market value at the time of the event on these materials.
      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits.

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      On January 13, 2021 we executed an additional unallocated Proof of Loss for $40.0 million under our property and business
interruption policies and received the funds in January and February 2021. In addition, on April 28, 2021 we executed a $30.0 million
unallocated Proof of Loss and as of the issuance of this Quarterly Report (i.e. May 14, 2021), we have received $9.45 million. As of this
report date we paid out $127.9 million on liability claims. Excluding claims, we have also paid approximately $181.3 million in
response, defense, pollution, and other costs. Total proceeds anticipated to cover booked costs equal $278.0 million with any additional
proceeds received to be booked as a gain until the claim is fully settled.
     For the quarter ended March 31, 2021, we had recognized a net amount of losses and incurred costs of $4.9 million, which reflected
$8.1 million in losses and incurred costs offset by $3.2 million of insurance proceeds. The net amount of $8.1 million included
estimated liability claims expected to be in excess of our liability insurance coverage of $3.3 million. Additionally, the net amount of
response cost losses of $1.7 million represents costs incurred directly related to the ongoing incident response and cleanup activities for
which insurance coverage was not considered probable or costs were in excess of certain insurance coverage limitations.

NOTE J – COVID-19 EXPENSES

     The $0.3 million of COVID-19 expenses for the three months ending March 31, 2021 relate to costs incurred as a result of
precautionary measures taken by the Company to prevent the spread of COVID-19 at TPC sites. The costs include protective gear for
employees, increased sanitation of TPC sites, and enhancements to workspaces to promote safety.

NOTE K – FREEZE EVENT EXPENSES

     The $29.8 million of freeze event expenses for the three months ending March 31, 2021 relate to costs incurred as a result of
extreme winter weather experienced by large parts of the southern United States, including Texas and Louisiana where the Company’s
operations are located. The costs include extensive emergency repairs, utility costs and overtime personnel costs.

NOTE L – TECHNICAL CENTER FIRE EVENT EXPENSES

      In January of 2021 a fire occurred in the Technical Center at the Houston Plant. The Technical Center is used for quality control
and research and development activities. The $5.0 million of Technical Center fire expenses for the three months ending March 31,
2021 relates to costs incurred as a result of a fire. The expenses primarily represent event response costs, outsourced quality control
testing and rental expenses to house equipment and employees until the Technical Center rebuild is complete.

  NOTE M – INCOME TAXES

     The effective income tax rates for the first quarters of 2021 and 2020 were the projected effective rates for the full years 2021 and
2020 of 20.4% and 18.9%, respectively. The projected effective rate for the full year 2021 and 2020 reflected the federal statutory rate
of 21% on a projected pretax loss, reduced by the projected state income taxes and permanent differences.
      In response to the global pandemic related to the outbreak of COVID-19, on March 27, 2020, the Coronavirus Aid, Relief, and
Economic Security Act (the "CARES Act") was enacted in the US to grant relief to taxpayers. The CARES Act provides numerous
tax provisions and other stimulus measures, including temporary changes regarding the prior and future utilization of net operating
losses, temporary changes to the prior and future limitations on interest deductions, temporary suspension of certain payment
requirements for the employer portion of social security taxes, technical corrections from prior tax legislation for tax depreciation of
certain qualified improvement property and the creation of certain refundable employee retention credits. The Company does not
currently expect the CARES Act to have a material impact on its tax expense. The Company will continue to monitor legislative and
regulatory developments related to COVID-19 and will record the associated tax impacts as discrete events in the periods that guidance
is finalized, or the Company is able to estimate an impact.

NOTE N – COMMITMENTS AND CONTINGENCIES (see Note Q of Exhibit I for additional discussion)

     Legal Matters

      From time to time, we are party to routine litigation incidental to the normal course of our business, consisting primarily of claims
for personal injury or exposure to our chemical products or feedstocks, and environmental matters. We intend to defend these actions
vigorously and believe, based on currently available information, that adverse results or judgments from such actions, if any, will not
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be material to our financial condition, results of operations or cash flows. We record reserves for contingencies when information
available indicates that a loss is probable, and the amount of the loss is reasonably estimable. Management’s judgment may prove
materially inaccurate, and such judgment is subject to the uncertainty of litigation. Many of the personal injury or product exposure
lawsuits to which we are a party are covered by insurance subject to certain self-insured retention amounts.
      Our contractual arrangements with our customers and suppliers are typically very complicated and can include, for example,
complex index-based pricing formulas that determine the price for our feedstocks or finished products. Due to the complicated nature
of our contractual arrangements, we can, from time to time, be involved in disputes with our customers and suppliers regarding the
interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the normal course of our business,
seldom result in actual formal litigation, and are typically resolved in the context of the broader commercial relationship that we have
with the customer or supplier.
      On December 10, 2020, the Company received a notice from a customer asserting a purported breach of the parties’ MTBE sales
agreement. The customer asserts that it had properly exercised the right of first refusal provided in the sales agreement and that the
Company’s subsequent agreement with another customer constitutes a breach of the sales agreement. The Company disputes and
intends to aggressively defend the customer’s possible claim. The parties have set up a mediation to take place in Q2 2021 as required
in the dispute resolution provisions of the sales agreement. No lawsuit has been filed.
      As described above, we record reserves for contingencies when information available indicates that a loss is probable, and the
amount of the loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment is subject to
the uncertainty of the dispute resolution or litigation process. As of March 31, 2021, we have not recognized any material reserves
related to unresolved disputes with customers and suppliers.
       Sixty-four private party lawsuits, including five class actions, are pending in Texas state court related to the November 2019
incident at our Port Neches plant. The petitions bring a variety of claims sounding in negligence, gross negligence, nuisance, and
trespass. The plaintiffs in these cases allege in the most general way that we were negligent and/or grossly negligent by breaching
duties to, among other things, (1) maintain unspecified plant equipment, (2) develop, implement, and maintain proper procedures for
storage of chemicals at the facility, and (3) warn the public concerning the risks and dangers of the chemicals maintained at the
facility. The petitions also allege that these and other breaches caused damages, including property damage, medical care and expenses,
pain and suffering, physical impairment, lost earnings, disfigurement, medical monitoring, mental anguish, and injury to
business. Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas
state court cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated
the 128th District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred
lawsuits – which typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual
plaintiff cases now pending. Twenty-nine of the sixty-four private party lawsuits, including approximately 600 individual plaintiffs,
are awaiting transfer to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of
subrogation claims filed by homeowners’ insurance companies. The Court has been conducting monthly status conferences. The
Court entered a Case Management Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no
longer in effect, and a revised schedule will likely be entered in summer 2021 as the plaintiffs filed an amended master petition in Q2
2021 adding additional defendants. Those defendants have not yet been served or made an appearance in the litigation. A hearing on
class certification is not expected before Q4 2021 at the earliest.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident. The United States Environmental Protection Agency (EPA) is investigating the
Company as a result of the 2019 incident. The Company also was served with an information request under Section 114 of the federal
Clean Air Act. The request seeks information about the incident as well as the Company’s Risk Management Program compliance
record at both the Port Neches and Houston facilities. Such requests are typically the first step in EPA enforcement. We anticipate
that there likely will be additional enforcement matters, claims for cost recovery, and/or claims for natural resources damages from
TCEQ, EPA, and OSHA.
     Because these lawsuits, which we intend to vigorously defend, are in their early stages, we are unable to determine if a loss is
probable or estimate the amount or range of potential loss and therefore have not established any reserves, but we believe the amounts
involved may be material.

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      Beyond the matters in active litigation, the Company has received other claims and demands, through its formal claims process
and otherwise, from individuals, companies, and insurers claiming damages as a result of the incident. The Company is in the process
of reviewing these claims. It is possible some of these claims may result in additional litigation.

     Environmental and Safety Matters

      Our Company is subject to federal, state, local and foreign laws, regulations, rules and ordinances from various governing agencies
that regulate human health, safety, security and the environment
     We are committed to maintaining compliance with applicable environmental, health, safety (including process safety) and security
(“EHS&S”) legal requirements, and we have developed policies and management systems intended to identify the various EHS&S legal
requirements applicable to our operations and facilities. We work to enhance and assure compliance with applicable requirements,
ensure the safety of our employees, contractors, community neighbors and customers, and minimize the generation of wastes, the
emission of air contaminants and the discharge of pollutants. These EHS&S management systems also serve to foster efficiency and
improvement and to reduce operating risks.
      In the ordinary course of business, we undertake frequent environmental inspections and monitoring and are sometimes subject to
investigations by governmental authorities. In addition, our production facilities require a number of environmental permits and
authorizations that are subject to renewal, modification and, in certain circumstances, revocation. Actual or alleged violations of
environmental laws or permit requirements or the discovery of releases of hazardous substances at or from our facilities could result in
restrictions or prohibitions on plant operations, significant remedial expenditures, substantial civil or criminal sanctions, as well as,
under some environmental laws, the assessment of strict and/or joint and several liability. Moreover, changes in environmental
regulations or the terms of our environmental permits could inhibit or interrupt our operations, or require us to modify our facilities or
operations. Accordingly, environmental or regulatory matters may cause us to incur significant unanticipated losses, costs or liabilities.
     In addition to the requirements imposed upon us by law, we also enter into other agreements from time to time with state and local
environmental agencies either to avoid the risks of potential regulatory action against us or to implement improvements that exceed
current legal requirements.
      The Company has agreed to indemnify third parties for environmental and other liabilities pursuant to various agreements,
including asset divestiture agreements and leases. Many of these obligations contain monetary and/or time limitations, but others do not
provide for those limitations. The Company is not aware of any probable and reasonably estimable losses associated with any of these
obligations.

     Port Neches Incident

     The Occupational Safety and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port
Neches plant in December 2019. OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations
and three willful citations with total proposed penalties of approximately $0.5 million. The Company has appealed these citations.
We strongly disagree with the characterization of some of the alleged violations as “willful.” We anticipate future engagement with
OSHA regarding these issues.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA)
served the Company with an information request under Section 114 of the federal Clean Air Act. The request seeks information about
the incident as well as the Company’s Risk Management Program compliance record at both the Port Neches and Houston facilities.
Such requests are typically the first step in EPA enforcement. We anticipate that there likely will be additional enforcement matters,
claims for cost recovery, and/or claims for natural resources damages from TCEQ, EPA, and OSHA. The Company may have insurance
coverage for some of the foregoing claims for environmental cleanup.




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                  NOTES TO CONDENSED CONSOLIDATED FINANCIAL STATEMENTS – (Continued)
                                                            (Unaudited)

NOTE O – DEFINED BENEFIT PENSION PLAN

     For the periods presented, periodic pension expense consisted of the following components (in thousands):
                                                                              Three Months Ended
                                                                                   March 31,
                                                                              2021         2020
                               Components of net periodic pension cost:
                                Service cost                              $      182    $      319
                                Interest cost                                     75           143
                                Expected return on assets                       (159)         (235)
                                Amortization of prior service cost               (12)           (9)
                                Amortization of actuarial loss                   126           139
                                                                          $      212    $      357




NOTE P – SUBSEQUENT EVENTS

    On April 28, 2021, we executed a $30.0 million unallocated Proof of Loss. As of May 14, 2021, the issuance date of this Quarterly
Report, we have received $9.45 million.




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                                                                  Exhibit I




              TPC Group Inc.
             ANNUAL REPORT
           Year ended December 31, 2020




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                                                   DEFINITIONS OF TERMS

     Capitalized and other terms used throughout this Annual Report for the year ended December 31, 2020, unless the specific context
otherwise requires or indicates, have the meanings ascribed to them below:

     •   ABL – our asset-based loan facility originally entered in December 2012, which was repaid, amended, and restated in
         conjunction with the refinancing of our debt on August 2, 2019 and again amended on February 2, 2021 to permit the issuance
         of the 10.875% Notes. The ABL is scheduled to mature in August 2024. For a detailed description of the ABL see Note H
         to our audited financial statements on pages 49-53 of this Annual Report for the year ended December 31, 2020;
     •   ASC - Accounting Standards Codification, which is the sole source of authoritative generally accepted accounting principles
         in the United States, other than rules and regulations issued by the Securities and Exchange Commission (SEC) that apply to
         SEC registrants;
     •   ASU - Accounting Standards Update, which the Financial Accounting Standards Board (FASB) issues to communicate
         changes to the ASC. ASUs are not authoritative standards;
     •   Company, us, we, and our - TPC Group Inc. and its subsidiaries;
     •   GAAP – Generally Accepted Accounting Principles in the United States;
     •   Gross profit contribution (“GPC”) - as used herein, is defined as revenue less cost of sales as reported in our consolidated
         statements of operations and comprehensive income. GPC is the residual amount that is available, after deducting the
         variable costs to produce and distribute our products from revenue, to cover all other expenses;
     •   Holdings - TPC Holdings Inc., a Delaware corporation, which, upon consummation of the Merger, became the direct parent
         of TPCGI. Holdings and Parent are affiliates of our Sponsors formed by investment funds affiliated with our Sponsors in
         order to acquire TPCGI;
     •   Merger – the December 20, 2012 merger of Sawgrass Merger Sub Inc., a Delaware corporation, which merged with and into
         TPCGI, with TPCGI surviving the Merger as a direct wholly-owned subsidiary of Holdings and an indirect wholly-owned
         subsidiary of Parent;
     •   New Term Loan – the Delayed Draw Term Loan Facility entered into on February 3, 2020, which provides for a delayed
         draw term loan of up to $70 million for a term of one year. For a detailed description of the New Term Loan see Note H to
         our audited financial statements on pages 49-53 of this Annual Report for the year ended December 31, 2020;
     •   Old Term Loan – the Senior Secured Delayed Draw Term Loan Facility, scheduled to mature in December 2020, for which
         the outstanding balance of $50 million was repaid with the net proceeds from issuance of the 10.5% Notes and which was
         terminated in conjunction with the refinancing of our debt on August 2, 2019;
     •   Parent - Sawgrass Holdings LP, a Delaware limited partnership, which, upon consummation of the Merger became the direct
         parent of Holdings and indirect parent of TPCGI. Parent and Holdings are affiliates of our Sponsors formed by investment
         funds affiliated with our Sponsors in order to acquire TPCGI;
     •   Sponsors - First Reserve Management, L.P. and SK Capital Partners;
     •   TPCGI - TPC Group Inc., a Delaware corporation, not including any of its subsidiaries;
     •   TPCGLLC - TPC Group LLC, a Texas limited liability company and the principal subsidiary of TPCGI;
     •   TPCPF - TPC Phoenix Fuels LLC, a Texas limited liability company and wholly owned subsidiary of TPCGLLC.
     •   8.75% Notes – the $805 million principal amount of Senior Secured Notes due in December 2020, which were redeemed
         with the net proceeds from issuance of the 10.5% Notes in conjunction with the refinancing of our debt on August 2, 2019;
     •   10.5% Notes – the $930 million principal amount of Senior Secured Notes due August 1, 2024 issued in conjunction with the
         refinancing of our debt on August 2, 2019. For a detailed description of the 10.5% Notes see Note H to our audited financial
         statements on pages 49-53 of this Annual Report for the year ended December 31, 2020;
     •   10.875% Notes – the $153 million principal amount of Senior Secured Notes due August 1, 2024, which were issued on
         February 2, 2021 and for which a portion of the proceeds were used to repay and terminate the New Term Loan.



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                                                     EXPLANATORY NOTE

      This Annual Report is highly confidential and has been prepared pursuant to the terms of the Indenture (the “10.5% Indenture”)
dated as of August 2, 2019, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and U.S.
Bank, National Association, as trustee and collateral agent, with respect to the 10.5% Notes, as amended by the Supplemental Indenture
dated as of February 2, 2021, and the Indenture (the “10.875% Indenture” and collectively with the 10.5% Indenture, the “Indentures”)
dated as of February 2, 2021, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and the
U.S. Bank, National Association, as trustee and collateral agent, with respect to the 10.875% Notes. Unlike companies with securities
that are registered under the Securities Exchange Act of 1934 (the “Exchange Act”) or traded on a national securities exchange, the
Company is not required to file reports with the Securities and Exchange Commission and, except as provided under the Indentures, the
Company is not required to deliver any reports to holders of its securities. As a result, this Annual Report does not include all the
information that would be required to be included in an Annual Report on Form 10-K that is filed pursuant to the Exchange Act,
including, among other things, a description of the material risks faced by the Company. Moreover, this Annual Report does not include
all the information that may be material to holders of the Company’s securities, including the 10.5% Notes, and should not be relied
upon by any person in making an investment decision with respect to the Company’s securities. Except as strictly required pursuant to
the terms of the Indentures, the Company undertakes no obligation to update or revise any information contained in this Annual Report.

      This Annual Report shall not constitute an offer to sell, or the solicitation of an offer to buy, any securities of the Company,
including the 10.5% Notes and the 10.875% Notes. Distribution of this Annual Report to any person other than holders of the 10.5%
Notes and the 10.875% Notes is unauthorized and any disclosure of any of its contents without the Company’s prior written consent is
prohibited. By accepting delivery of this Annual Report, you agree to the foregoing and not to make any photocopies, in whole or in
part, of this Annual Report or any documents or materials relating to the Company that are provided in connection with this Annual
Report.




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                            CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS


      This Annual Report contains forward-looking statements that do not directly or exclusively relate to historical facts. You can
typically identify forward-looking statements by the use of forward-looking words, such as “will,” “may,” “might,” “should,” “can,”
“could,” “project,” “believe,” “anticipate,” “expect,” “estimate,” “continue,” “potential,” “plan,” “forecast” and other words of similar
import. Forward-looking statements include information concerning possible or assumed future results of our operations, including the
following:

         •   business strategies;
         •   operating and growth initiatives and opportunities, including proposed capital projects;
         •   existing and expected competition and competitive position;
         •   market outlook and trends in our industry;
         •   expected financial condition;
         •   future cash flows, including insurance proceeds;
         •   financing sources and availability;
         •   expected results of operations;
         •   future capital and other expenditures;
         •   availability and price of raw materials and inventories;
         •   the business cyclicality of the petrochemicals industry;
         •   effects of seasonality;
         •   plans and objectives of management or the sponsors;
         •   future compliance with orders and agreements with regulatory agencies;
         •   environmental matters;
         •   expected outcomes of insurance settlements, legal, environmental or regulatory proceedings and their expected effects on
             our results of operations;
         •   expectations, strategies and plans for individual assets and products (including the ability to maintain plant utilization
             rates), business segments and the company as a whole;
         •   anticipated restructuring, divestiture and consolidation activities;
         •   cost reduction and control efforts and targets;
         •   compliance and other costs and potential disruption or interruption of production or operation due to accident, interruptions
             in sources of raw materials, cyber security incidents, terrorism, political unrest, natural disasters or other unforeseen events;
             and
         •   any other statements regarding future growth, future cash needs, future operations, business plans and future financial
             results.

      These forward-looking statements represent our intentions, plans, expectations, assumptions and beliefs about future events and
are subject to risks, uncertainties and other factors, including risks and uncertainties such as volatility in the petrochemicals industry,
limitations on the Company’s access to capital, the timing and amount of insurance proceeds received, the effects of competition,
leverage and debt service, general economic conditions, third-party claims, governmental litigation and investigations, and extensive
environmental, health and safety laws and regulations. Many of those factors are outside of our control and could cause actual results
to differ materially from the results expressed or implied by the forward-looking statements.

      In light of these risks, uncertainties and assumptions, the events described in the forward-looking statements might not occur or
might occur to a different extent or at a different time than we have described. Except as may be required by applicable law or
agreement, we undertake no obligation to update or revise any forward-looking statements, whether as a result of new information,
future events or otherwise.




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                               SELECTED HISTORICAL CONSOLIDATED FINANCIAL DATA

     The following table presents selected historical consolidated financial data (in thousands) at the dates and for the periods indicated.
This selected historical consolidated financial data should be read in conjunction with “Management’s Discussion and Analysis of
Financial Condition and Results of Operations” and the historical consolidated financial statements, together with the related notes,
included elsewhere in this Annual Report.

      The Balance Sheet and Statements of Operations and Cash Flows Data presented below have been derived from the Company’s
audited consolidated financial statements. The “Other Financial Data” presented below is unaudited, non-GAAP information.
Consolidated Balance Sheets as of December 31, 2018, 2017 and 2016 and Consolidated Statements of Operations and Comprehensive
Loss and Consolidated Statements of Cash Flows for the years ended December 31, 2017 and 2016 are not included in this Annual
Report.




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                                                                                                          Year Ended December 31,
                                                                         2020                 2019                2018               2017               2016


Statements of Operations Data:
Revenue                                                          $        751,390         $   1,464,926      $    1,626,835      $   1,609,068      $   1,114,459
Cost of sales (excludes items listed below)                               519,063             1,031,833           1,253,054          1,256,669           807,868
Operating expenses                                                        181,059              179,936              183,328           176,963            164,827
General and administrative expenses                                        27,970               28,695               26,337            32,202             25,572
Depreciation and amortization                                              74,155               81,002              141,708           139,904            137,113
Loss on Port Neches incident, net of insurance recovery                    50,141               91,895                    -                 -                  -
COVID-19 expenses                                                            1,896                    -                   -                 -                  -
Repair and other expenses related to dock incident                              -                     -               1,459                 -                  -
Business interruption insurance recovery                                   (12,100)                   -                  (567)              -                  -
Gain on sale of HRVOC allowances                                                -                     -                   -             (6,152)                -
Hurricane Harvey expenses                                                       -                     -                   -             7,512                  -
Capital project write-offs                                                      -                     -                   -                 946             6,875
Gain on sale of plant                                                           -                     -                   -                 -              (5,037)
  Income (loss) from operations                                            (90,794)             51,565               21,516             1,024             (22,759)
Interest expense                                                          112,933              101,729               89,305            81,662             82,617
Other (income) expense                                                          182               1,565                  (889)          1,270              (1,803)
  Loss before income taxes                                                (203,909)             (51,729)            (66,900)           (81,908)          (103,573)
Income tax benefit                                                         (15,745)             (10,238)            (13,698)           (56,094)           (34,989)
  Net loss                                                       $        (188,164)       $     (41,491)     $      (53,202)     $     (25,814)     $     (68,584)



Statements of Cash Flows Data:
Cash flows from operating activities                             $         (88,865)       $    117,354       $       30,817      $     36,478       $      (2,138)
Cash flows from investing activities
  Capital expenditures                                                     (55,889)             (53,957)            (63,717)           (45,652)           (42,861)
  Proceeds from sale of assets                                                  -                     -                   -                 -             59,913
Cash flows from financing activities
  Proceeds from issuance of 10.5% Notes                                         -              930,000                    -                 -                  -
  Redemption of 8.75% Notes                                                     -              (805,000)
  Repayment of Old Term Loan                                                    -               (50,000)
  Net proceeds from (paydowns on) ABL                                           -               (40,000)             32,000            (12,500)           (52,500)
  Proceeds from New Term Loan                                              69,300                     -                   -                 -                  -
  Insurance finance borrowings                                             42,492                     -                   -                 -                  -
  Insurance finance repayments                                             (29,395)                   -                   -                 -                  -
  Debt issuance costs                                                       (4,344)             (14,902)                 (502)          (5,149)            (3,131)
  Equity contributions (returns), net                                               (6)              (141)                -                  19           15,019
  Proceeds from Old Term Loan borrowings                                        -                     -                   -            25,000             25,000



Balance Sheet Data (end of period):
Cash and cash equivalents                                        $         18,452         $     85,159       $           995     $      2,397       $       4,201
Trade accounts receivable                                                  73,477               83,882               93,962            95,833             81,246
Insurance receivable - Port Neches incident                                23,289              185,477                    -                     -                  -
Inventories                                                                45,435               52,058               68,092            72,564             66,491
Property, plant and equipment, net                                        703,273              684,844              702,090           749,442            815,746
Total assets                                                              964,749             1,173,502             976,706           999,579           1,059,478
Current liabilities                                                       309,087              387,164              171,816           162,336            153,569
Long-term debt, net of deferred financing costs                           985,321              915,772              882,362           844,821            831,504
Deferred income taxes                                                           -               13,271               22,276            36,740             92,978
Total liabilities                                                        1,294,408            1,316,207           1,076,454          1,043,897          1,078,051
Total equity (deficit)                                                    (329,659)            (142,705)            (99,748)           (44,318)           (18,573)

Other Non-GAAP Financial Data:
EBITDA (1)                                                       $         (16,821)       $    131,002       $      164,113      $    139,658       $    116,157
Adjusted EBITDA (1)                                                        45,875              231,418              167,321           170,014            109,602




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(1) EBITDA and Adjusted EBITDA are not measures computed in accordance with GAAP. A non-GAAP financial measure is a numerical
    measure of historical or future financial performance, financial position or cash flows that excludes amounts, or is subject to adjustments that
    have the effect of excluding amounts, that are included in the most directly comparable measure calculated and presented in accordance with
    GAAP in the balance sheets, statements of operations, or statements of cash flows (or equivalent statements); or includes amounts, or is
    subject to adjustments that have the effect of including amounts, that are excluded from the most directly comparable measure so calculated
    and presented.
     We are including a presentation of EBITDA and Adjusted EBITDA in this Annual Report because their presentation is required under the
     Indentures. In addition, the Indentures contain debt incurrence ratios that are calculated by reference to Adjusted EBITDA. Non-
     compliance with the debt incurrence ratios contained in the Indentures would prohibit us from being able to incur additional indebtedness
     other than pursuant to specified exceptions.
     We calculate EBITDA as earnings before interest, taxes, depreciation and amortization and we calculate Adjusted EBITDA as EBITDA,
     adjusted to remove or add back certain items, including the impact of butadiene price changes. These items are identified below in the
     reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss), the GAAP measure most directly comparable to EBITDA and
     Adjusted EBITDA. Our calculation of EBITDA and Adjusted EBITDA may be different from the calculations used by other companies;
     therefore, they may not be comparable to other companies.
 The following table provides a reconciliation of EBITDA and Adjusted EBITDA to Net Loss for the periods specified.

                                                                                    Year Ended December 31,
                                                          2020               2019            2018           2017                  2016


 Net Loss                                            $     (188,164)   $      (41,491)   $      (53,202)   $      (25,814)   $      (68,584)
   Income tax benefit                                      (15,745)           (10,238)         (13,698)           (56,094)          (34,989)
   Interest expense, net                                   112,933            101,729           89,305             81,662            82,617
   Depreciation and amortization (1)                        74,155             81,002          141,708            139,904           137,113
 EBITDA                                                     (16,821)          131,002          164,113            139,658           116,157
   Impact of butadiene price changes (2)                      5,211             8,014            (3,709)           18,540            (9,265)
   Port Neches Incident (3)                                  50,141            91,895               -                 -                 -
   Write-offs (4)                                               -                 -                 -                 -               6,875
   Other non-recurring items (5)                              7,344               507             6,917            11,816            (4,165)

 Adjusted EBITDA                                     $       45,875    $      231,418    $     167,321     $      170,014    $      109,602




(1) Includes depreciation, amortization of deferred turnaround and catalyst costs and amortization of patents for all periods presented.
(2) Adjustment to remove the estimated temporary impact on our operating results of month-to-month changes in the contract price of butadiene.
    For further discussion see “Management’s Discussion and Analysis of Financial Condition and Results of Operations”.
(3) Adjustment to remove the losses and costs incurred, net of actual and probable insurance recoveries as a direct result of the Port Neches
    incident (discussed on pages 12-14).
(4) Adjustments to remove charges for the write-offs of accumulated costs for certain capital projects.
(5) Adjustments to remove the impact of certain non-recurring items for 2020 which include incremental expenses directly related to the impact
    of Hurricane Laura and Tropical Storm Beta of $0.5 million, the estimated impact of lost sales due to Hurricane Laura and Tropical Storm
    Beta of $4.4 million, the incremental expenses directly related to our response to the COVID-19 pandemic of $1.9 million, and refinancing
    optimization expenses of $0.5 million. The adjustment for 2019 removes refinancing optimization expenses incurred in advance of
    refinancing our debt on August 2, 2019. The adjustment for 2018 removes a $0.6 million business interruption insurance recovery related
    to Hurricane Harvey and the insurance deductible and uninsured logistics and legal expenses related to the Houston dock incident (discussed
    on page 12) of $1.5 million and adds $6.0 million of estimated margin impact of lost sales volume as a direct result of the dock incident.
    The adjustment for 2017 removes incremental expenses directly related to the impact of Hurricane Harvey of $7.5 million, certain corporate
    optimization initiatives of $1.6 million and a gain from the sale of environmental emissions credits of $6.1 million and adds $8.8 million of
    estimated impact of lost sales due to Hurricane Harvey. The adjustment for 2016 removes the book gain of $5.0 million from the sale of our
    Baytown plant in the fourth quarter of 2016 and earnings, net of dividends received, from our interest in a joint venture we sold in 2016.




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  MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

     The following discussion and analysis of our financial condition and results of operations should be read in conjunction with the
consolidated financial statements and accompanying notes, which are included elsewhere in this Annual Report.

     Overview

     We are a leading North American producer of value-added products derived from petrochemical raw materials such as C4
hydrocarbons. Our products are sold to producers of a wide range of performance, specialty and intermediate products, including
synthetic rubber, fuels, lubricant additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
      In our C4 Processing segment, we process the crude C4 stream into higher value components, namely butadiene, butene-1 and
raffinates. Butadiene is primarily used to produce synthetic rubber that is mainly used in tires and other automotive products; butene-
1 is primarily used in the manufacture of polyethylene plastic resins and synthetic alcohols; and raffinates are primarily used in the
production of alkylate, a component of premium unleaded gasoline.
      In our Performance Products segment, we process isobutylene, which we purchase as a raw material and also produce internally,
to produce polyisobutylene (“PIB”), diisobutylene (“DIB”), and methyl tertiary-butyl ether (“MTBE”). PIB is primarily used in the
production of fuel and lubricant additives, caulks, adhesives, sealants and packaging; DIB is primarily used in the manufacture of
surfactants, plasticizers and resins; and MTBE is primarily used as a gasoline blending stock.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 12-14). The Houston plant, in addition to processing crude C4, also produces PIB, DIB,
and MTBE. The raw material isobutylene processed at our Houston facility is sourced from processing crude C4, third-party supply
and internal on-purpose production. The feedstock for our on-purpose isobutylene production is isobutane, which is a plentiful natural
gas liquid resulting from shale gas development. As discussed in more detail under “Current Market and Business Conditions” below,
in order to replace the lost crude C4 processing capacity at our Port Neches plant, we recently entered into a long-term contract with a
third-party to process a substantial portion of our crude C4 supply and return butadiene and raffinate to us.
     We also provide critical infrastructure and logistics services along the Gulf Coast. Both our Houston processing facility and our
terminals provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers and
raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and ocean-
going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served by
barges.
      The primary drivers of our businesses are general economic and industrial growth. Our results are impacted by the effects of
economic upturns or downturns on our customers and our suppliers, as well as on our own costs to produce, sell and deliver our products.
Our customers generally use our products in their own production processes; therefore, if our customers curtail production of their
products, our results could be materially affected. In particular, our feedstock costs and product prices are susceptible to volatility in
pricing and availability of crude oil, natural gas, natural gas liquids such as isobutane and oil-related products such as unleaded regular
gasoline. Prices for these products tend to be volatile as well as cyclical, as a result of global and local economic factors, worldwide
political events, weather patterns and the economics of oil and natural gas exploration and production, among other things.

Material Industry Trends

      We receive crude C4 feedstock for our C4 Processing segment from steam crackers, which are designed to process naphtha and
natural gas liquids (“NGL’s”) as feedstocks for ethylene production. Crude C4 is a by-product of the ethylene production process, and
the volume of crude C4 produced by the process is driven by both the volume of ethylene produced and the composition of the steam
cracker feedstock. Some major ethylene producers have the flexibility to shift from light feedstocks, such as NGL’s (ethane, propane
and butane), to heavier feedstocks, such as naphtha, or vice versa depending on the economics of the feedstock. When ethylene
producers process heavier feedstock, greater volumes of crude C4 are produced. However, when light feedstocks (i.e. NGL’s) are
inexpensive relative to heavy feedstocks, the producers may choose to process those light feedstocks instead, a process referred to as
“light cracking,” which results in lower volumes of crude C4 production. In recent years, lighter cracking by domestic ethylene
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producers has been prevalent as a result of an abundant supply of cost advantaged NGL feedstocks (particularly ethane), and we
experienced the largest impact of the shift from heavier to lighter ethylene cracker feedstocks between 2007 and 2009. In 2015, we
experienced an increase in domestic delivery rates, which reflected more favorable economics for propane and butane cracking compared
to the lighter ethane feedstock. However, over the course of 2016 and 2017, ethane feedstock economics were generally more favorable,
which again resulted in relatively lower domestic delivery rates of crude C4’s. Domestic delivery rates were positively impacted
beginning the latter part of 2017 as newly constructed ethylene crackers in North America came on-line, making more crude C4
feedstock available. Domestic crude C4 feedstock supply continued to grow in 2019 as additional new North American ethylene
crackers came on-line. Those crackers produced additional C4 feedstock in 2020 as they ramped up rates and ran for the full year.
Some constraints regarding our ability to process all of the incremental crude C4 available arose in 2020 due to the outage at our Port
Neches facility. Some amount of the crude C4 produced by the ethylene crackers needed to be consumed through suppliers recycling
the material (referred to as co-cracking) because of short-term limitations in butadiene extraction capacity. TPC has taken steps to
minimize the impact of the Port Neches outage. We ramped up production rates on our largest butadiene extraction unit and converted
one of our butadiene extraction trains (the furfural unit) at our Houston plant, which had been in butane removal service for our raffinate
business since 2014, back to butadiene extraction service. We also restarted our hydrotreating unit, which converts crude C4’s to
butylenes, and are operating the unit at maximum rates in an effort to consume a larger volume of crude C4’s from our suppliers. This
unit has also gone through significant optimization throughout 2020 further increasing crude C4 consumption.
     The supply of butadiene is driven by ethylene cracker operating rates and feedstock composition. Because butadiene is a small
co-product stream in relation to the quantity and value of ethylene and propylene produced in a cracker, butadiene supply is relatively
insensitive to its demand and/or price. In addition, butadiene cannot be stored for long periods of time. Therefore, the price of
butadiene can be highly volatile based on relatively small changes in supply or demand.
       Demand for butadiene strengthened in early 2018 and pricing began an upward trend in response to producer supply constraints
in the early part of the year and strong demand through the third quarter of 2018. As a result of softening demand partly due to typical
seasonality, butadiene pricing declined over the course of the fourth quarter of 2018 and remained relatively stable through the first four
months of 2019. With new car sales demand softening globally over the balance of 2019, butadiene pricing declined 30% over the last
eight months of the year to 34 cents per pound. Our Port Neches plant outage in late November curtailed the domestic supply of
butadiene, which contributed to a 25% increase in the contract price over the first two months of 2020. However, as a result of
temporary weakened global demand linked to the coronavirus, the price of butadiene declined by 50% through July of 2020 as
automotive and tire plants shutdown for much of the second quarter. As the economy began to recover in the second half of 2020, so
did the price of butadiene, rising 130% from its low point of 19.6 cents per pound in June-July to 46 cents per pound in December.
     The North American region continued to be a net importer of butadiene and its derivatives (synthetic rubber and tires) in 2020 and
we expect this to continue in 2021; however, as we look forward, we expect strong global economic growth, combined with the continued
ramp-up of new North American tire plants, to provide growth for the additional butadiene supply that will come from the new ethylene
crackers, which we expect will shrink the amount of imports over the next few years. Further, as we look forward, we expect NGL’s,
due to shale gas, to continue to provide favorable ethylene production economics to North America leading to additional ethylene
crackers being built in the future (2026-2028) bringing additional crude C4’s and butadiene to market. This should lead to additional
butadiene consuming derivative plants being built over the next 6-8 years in North America.
      Beginning in the latter part of 2016 and through 2019, we successfully restructured our C4 processing business by renegotiating
essentially all of our crude C4 supply contracts. As of the end of 2020, approximately 90% of our contracted crude C4 volume was
under the new business model. The primary objective of the restructured business model was to create more stability in the profit
margins we realize on all components of the entire crude C4 streams commensurate with the valuable service we provide to our suppliers.
The restructured model minimizes our downside risk during periods of weaker prices for the commodities upon which the values of our
products are based, as it provides us with a fixed processing margin and energy recovery fee sufficient to cover our processing costs and
a sustainable minimum profit margin. The restructured model also provides us with upside margin sharing with our suppliers when the
value of crude C4 streams, which is based on the value we receive for our products, exceeds a floor value. The margin sharing
mechanism of the restructured contracts is accomplished through direct linkage between the value we receive for the extracted products
and what we pay our suppliers for the components of the crude C4 stream.
     In addition to the margin stability, risk mitigation and upside sharing in the supplier margins, the restructured crude C4 supply
contracts also provide for larger discounts on the price we pay for contained butane as well as an energy fee for having to process larger
volumes of butane in our system. The larger discounts and energy fee offset the cost we incur to remove the butane and/or the negative
impact on the value of and margins realized on our raffinate streams when the contained butane exceeds certain minimum levels.
      The remainder of our crude C4 supply continues to be purchased on a component basis under contractual arrangements not based
on the restructured model and on a spot basis. Under these supply arrangements we are exposed to more commodity risk as they do
not provide the same downside protection as the restructured contracts and there is no direct linkage between the value we receive for
the extracted products and what we pay for various components of the crude C4. Under these arrangements, the profit margins on our

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raffinates, which are the second largest part of the crude C4 stream after butadiene, are directly impacted by the price of unleaded regular
gasoline (ULR) since we buy and sell the butylenes contained in the raffinate streams based on a factor of ULR. The price of ULR
impacts the margins on the raffinate we produce from these streams in two ways. One impact is dependent on the absolute price of
ULR, which impacts the spread between what we pay for the contained butylenes and what we sell them for. We buy and sell the
butylenes on a percentage of ULR basis, so a higher ULR price results in a wider spread and a more positive impact on our margins.
The other impact is dependent on the quantity of inventory and the magnitude of volatility in the ULR price from period to period as we
may purchase the contained butylenes in one period and then sell them in a subsequent period.
      Our MTBE margins in 2020 were negatively impacted by the effects of COVID-19 starting in March and reached a low point in
April due to the MTBE to unleaded regular gasoline (ULR) spread falling from an average of 42 cents per gallon in the first quarter to
4.5 and 2.2 cents per gallon in the second and third quarters, respectively. High raw material isobutane and methanol costs in relation
to the value of MTBE also had a negative impact on MTBE margins during this period. Margins for MTBE, starting at the end of the
third quarter of 2020, began to expand as the MTBE-ULR spread grew to 11.3 cent per gallon. However, the strength of methanol and
butane pricing tempered the margin expansion.

Current Market and Business Conditions

     On March 11, 2020, the World Health Organization declared the ongoing COVID-19 outbreak a pandemic and recommended
containment and mitigation measures worldwide. The pandemic has resulted in widespread adverse impacts on the global economy.
With various government-imposed quarantines and travel restrictions, we experienced significant disruptions in the second quarter of
2020 as the pandemic and its impact on the global economy spread through most of our markets.
      For employees who are considered essential and are working in plants, we have at a minimum, implemented government
recommended protocols and best practices related to social distancing, hygiene and the use of additional personal protective equipment.
TPC’s Crisis Management Team (“CMT”) has helped to safely mitigate exposure risk by quickly identifying and isolating twenty-two
confirmed cases amongst our employees, all of which contracted COVID-19 outside the workplace. These measures have not only
enabled us to continue to operate our facilities safely but have also helped TPC maintain a largely consistent supply chain. Additionally,
the CMT has worked closely with senior leadership to tailor a comprehensive Return to Workplace plan for each site. At the time of this
filing, a significant portion of TPC’s workforce (non-essential workers) continue to work remotely from their homes. Our employees'
health and well-being continue to remain a key priority.
      By the end of March 2020, we witnessed the effects of COVID-19 on our operating results when declining commodity prices
resulted in compressed margins and a $10 million lower of cost and net realizable value inventory adjustment. The expected declines
in consumer demand occurred in March and the second quarter, with the low points in our business in the March-June timeframe. Crude
oil prices increased late in the second quarter and continued to rise throughout the third quarter as supply and demand fundamentals
improved. This ultimately drove higher feedstock costs, which proved beneficial to product prices and margins in the third and fourth
quarters of 2020.
      Despite the partial rebound in crude oil prices, commodity prices may continue to present a challenge for our business in the near-
term. However, we expect the recovery in customer demand to continue, absent a significant resurgence of COVID-19. The extent to
which COVID-19 will adversely impact our business, financial condition and results of operations will depend on numerous evolving
factors, which are highly uncertain, rapidly changing and cannot be predicted.
      The impacts of COVID-19, the global oil and trade wars, and the fallout from the Port Neches plant explosion have all converged
to create challenges in the market that influence commodity prices and spreads. Throughout 2020, the biggest impacts to our business
were in the butadiene, PIB and MTBE segments. The third quarter saw an increase in demand for all of our products including raffinate
(sold to the refining industry for the production of alkylate), butene-1 (used primarily as a comonomer for polyethylene and used in
many single serve packaging applications) and diisobutylene (DIB which is used in resins for the tire industry). Demand for butadiene
was strong and we saw a significant increase in demand for PIB in the third quarter which continued in the fourth quarter.
      Throughout 2020, we saw a continuation of the commodity headwinds that started in the first quarter of 2020 in our MTBE business
with weaker MTBE to isobutane spreads as our primary demand regions of Mexico, Central and South America saw a significant
reduction in gasoline demand. Since the low point on volume and margins in March and April, our MTBE business segment has
continued to recover in both volume and margins. However, the impact of stronger isobutane and methanol pricing on MTBE margins
persisted during the fourth quarter. During this challenging period, we have capitalized on our operational flexibility and moved some
feedstock normally used for MTBE production into our raffinate business to benefit from the stronger demand and margins in alkylate.
We also optimized our hydrotreating and raffinate train operations to maximize our production of butene-1.
     Early in the second quarter, we signed a new MTBE offtake contract with one of the world’s largest independent fuels and
commodity trading firms. The contract is market based and provides a secure outlet for 100% of our MTBE production through the
end of 2023. Since the new MTBE offtake contract is market based, we are subject to greater pricing volatility than under our previous
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offtake contract.
       The closure of automotive production globally during late March and early April resulted in the closure of virtually all tire
manufacturing operations and with that the closure or significant cut back in production levels at the key synthetic rubber plants that
supply raw material to the tire companies. The key raw material we supply to the synthetic rubber industry is butadiene, and its major
use is in tires. As a result of automotive production shutdowns and fewer miles driven with government imposed social distancing
requirements, major tire plants significantly curtailed production, impacting global demand for synthetic rubber and the consumption of
butadiene during the second quarter. Exacerbated by our limited access to certain customers due to the Port Neches incident, our sales
for the prior quarters were markedly lower than what we had projected in our annual operating plan (AOP), hitting the low point in
April. However, third and fourth quarter sales strengthened compared to our first and second quarter levels. China, Europe and the U.S.
all reported increases in new car sales. Additionally, replacement tire sales are recovering, leading us to forecast stronger sales in 2021.

      COVID-19 has not only impacted demand for butadiene, but it also has had a major impact on pricing, leading to our low point in
the June-July time frame of 19.6 cents per pound. After dropping precipitously in the second quarter, butadiene prices increased steadily
through the end of 2020. As the economy began to recover in the second half of 2020, so did the price for butadiene, rising 130% from
its low point of 19.6 cents per pound in June-July to 46 cents per pound in December.
     Demand for butene-1 continued to be solid in the third and fourth quarters. Butene-1 demand remains strong, as demand for
polyethylene single serve packaging continues to grow during the COVID-19 outbreak.
     On May 12, 2020 we completed key milestones on the Port Neches terminal, enabling us to resume selling raffinate to our largest
customer. With strengthening demand and the terminal opening, we were able to return to normal sales levels by the end of the second
quarter. In January 2021, we completed the second phase of our Port Neches terminal and began importing butadiene over our dock
and into refurbished tanks, which enabled us to begin selling and transporting additional volumes of butadiene to major customers in
the Beaumont and Port Neches area.
      In response to the loss of our Port Neches crude C4 processing capacity, we have been actively pursuing tolling opportunities with
third parties within the industry. In January 2021, we signed a long-term contract with a third-party processor for crude C4 processing
and began sending crude C4’s to this processor through enhancements made to our Port Neches terminal in the second phase of our
refurbishment of these assets. We are now receiving butadiene and raffinate back from the third-party processor. This third-party toll
processing deal grows in volume throughout 2021 and into the first quarter of 2022 bringing our butadiene volumes available for sale
back to pre-incident levels. As we look to further increase capacities within our system, we are moving forward with a debottleneck of
our Houston butadiene extraction unit that will increase existing capacity by approximately 25% by the end of 2022.
      After a very strong first quarter for our PIB business, the second quarter was the low point for this business segment due to COVID-
19 impacts on miles driven and its impact on lubricant and fuel additive demand. The third and fourth quarter demand increased
significantly from our second quarter sales levels, with sales volumes for all of 2020 recovering to 85% of our annual operating plan.

Dock Incident – 2018

      On June 13, 2018, an ocean-going bulk carrier navigating in the Port of Houston Ship Channel veered off course and struck a barge
stationed at our primary Houston facility dock. The incident caused substantial damage to both the barge and the dock facilities. There
were no significant injuries and there was no environmental impact from the incident.
      The damaged dock was returned to full barge and ship service in August 2018 after temporary repairs of approximately $5 million
which, excluding a $0.25 million deductible, were reimbursed from insurance proceeds in September 2018. The insurance proceeds
were accounted for as an offset to the actual dock repair costs. The total amount of the insurance deductible and uninsured logistics
and legal expenses recognized in our reported 2018 earnings was $1.5 million and the margin on estimated lost sales volume was
approximately $6.0 million. The revenue and cost of sales related to the lost sales volume for the C4 Processing segment were estimated
to be $4 million and $2 million, respectively, and for the Performance Products segment were estimated to be $13 million and $9 million,
respectively.
      We are currently finalizing the legal agreements with the Port Authority for the additional land needed to rebuild the dock and the
agreements are expected to be finalized by the end of March. Additionally, we have reached an agreement with insurers on the scope
of the rebuild and we are preparing for construction bids. The expectation is to begin construction late in the second quarter of this
year. We anticipate that the entire cost, which we currently estimate to be $30-35 million, will be reimbursed by our insurance carriers.
Port Neches Incident – 2019

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.

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       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” We anticipate future engagement with OSHA regarding these issues
including a settlement conference scheduled for August 2021.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA) served the Company with an
information request under Section 114 of the federal Clean Air Act. The request seeks information about the incident as well as the
Company’s Risk Management Compliance program at both the Port Neches and Houston facilities. Such requests are typically the first
step in EPA enforcement. We anticipate that there likely will be additional enforcement matters, claims for cost recovery, and/or claims
for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,500 property claims have been resolved and approximately 1,600 additional eligible claims are working through the claims process.
The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial statements. The Company
also provided an emotional support hotline staffed by licensed professional counselors from Samaritan Counseling Center of Southeast
Texas.
      In addition to the property claims, sixty-one private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred lawsuits – which
typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual plaintiff cases now
pending. Twenty-seven of the sixty-one private party lawsuits, including approximately 565 individual plaintiffs, are awaiting transfer
to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of subrogation claims filed by
homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. A hearing on class certification is not
expected before Q4 2021 at the earliest.
      Four different sets of insurance policies, under the insurance coverage we had in effect at the time, provide coverage for costs
and losses incurred as a result of the Port Neches incident. Our quota-share property and business interruption policies provide up to
$850.0 million of coverage. The deductible is $10.0 million, with varying coverage sub-limits for some category costs, as well as a
45-day waiting period before qualifying for business interruption coverage. As of December 31, 2020, we have paid $67.7 million of
costs and collected $160.0 million under this policy, of which $12.1 million has been specifically designated as business interruption
coverage and $147.9 million has been designated as an unallocated payment on account. Of the unallocated proceeds of $147.9
million, $36.7 million are recorded as a deferred gain due to the net book value of the affected assets being lower than the value that
we will receive. Reimbursable costs under this policy recorded in 2020 and 2019 total $58.0 million and $64.7 million, respectively.
Of these costs we currently estimate that $111.2 million will be recoverable.
 Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of December 31, 2020, we have incurred third-party claim amounts of $165.0 million, have paid
$120.7 million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $49.8 million
and we have collected $15.3 million of this amount. We anticipate collecting a total of $35.2 million for these expenses. Costs
recorded under this policy in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional
amount was incurred for claims of $3.1 million and for defense costs of $35.6 million.
      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of December 31, 2020, we have
incurred and paid $51.1 million of costs and have collected the full $25.0 million of coverage under this policy. We incurred $23.1
million of these costs in 2019 and an additional $28.0 million in 2020.



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      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage
with a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.4 million. We expect to
recover the fair market value at the time of the event on these materials.
     Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that
exceed the policy coverage limits.
      On January 13, 2021 we executed an additional unallocated Proof of Loss for $40.0 million under our property and business
interruption policies and received the funds in January and February 2021. As of the issuance of this 2020 Annual Report (i.e. March
24, 2021), we have paid out $127.4 million on liability claims. Excluding claims, we have also paid approximately $178.9 million in
response, defense, pollution, and other costs. Additional proceeds anticipated to cover book costs equal $280.6 million with
additional recovery anticipated as a gain.
      For the year ended December 31, 2020, we had recognized a net amount of losses and incurred costs of $50.1 million, which
reflected $129.4 million in losses and incurred costs offset by $79.3 million of insurance proceeds. The net amount of $50.1 million
included estimated liability claims expected to be in excess of our liability insurance coverage of $3.1 million. Additionally, the net
amount of response cost losses of $47.2 million represents costs incurred directly related to the ongoing incident response and cleanup
activities for which insurance coverage was not considered probable or costs were in excess of certain insurance coverage limitations.
     The following table summarizes the net amount of losses and current costs for the year ended December 31, 2020 (in millions):


                                                                                             Insurance
                                                                               Cost          anticipated          Net cost
                                 Liability claims                         $        3         $      -             $     3
                                 Response costs                                  126                  79               47
                                                                          $      129         $        79          $     50


     The following table summarizes the net amount of inception to date losses and costs incurred as of December 31, 2020 (in millions):

                                                                                                                 Insurance
                                                                                                      Cost       anticipated   Net cost
                                            Response and cleanup costs
                                            Incurred as of December 31, 2019                      $        287   $     195     $    92

                                            Incurred three months ended March 31, 2020                      80          57     $    23

                                            Incurred three months ended June 30, 2020                       27          24     $     3
                                            Incurred three months ended September 30, 2020                  13          14     $    (1)

                                            Incurred three months ended December 31, 2020                    9          (16)   $    25

                                            Incurred as of December 31, 2020                      $        416   $     274     $   142




Coronavirus – 2021

      The global coronavirus (or COVID-19) pandemic continues to cause considerable uncertainty in the marketplace, and efforts to
stop the virus are also having significant economic consequences. Though the government restrictions across the world have generally
started to ease and vaccines have become available to help prevent COVID-19 infections, the extent and duration of measures
implemented to try to slow the spread of the virus, such as travel bans and restrictions, border closures, quarantines, and business and
government shutdowns have caused, and may continue to cause, reduced demand and operational delays. In 2020, global markets
experienced a precipitous decline in oil prices in response to concerns regarding the potential impacts of the COVID-19 outbreak on
worldwide oil demand and the anticipated increases in oil production from Russia and OPEC, which have impacted margins in our
raffinate and MTBE businesses. Although commodity prices have recovered considerably, we expect the outlook for 2021 to remain
uncertain due to the rapidly evolving conditions, and we cannot estimate the scope of their impact on our business, our results of
operations, our financial condition, our personnel, our customers, our suppliers or the global economy. We continue to assess the
potential impact of COVID-19 on our staff and operations and have implemented appropriate mitigation plans, including precautions

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with regard to employee and facility hygiene, imposed travel limitations on our employees and directed our employees to work remotely
whenever possible. We also continue to work with our suppliers to understand the potential impacts to our supply chain, and at this
time, we have not identified any material risks to our supply chain. This is a rapidly evolving situation, and we will continue to monitor
developments affecting our workforce and our suppliers and take additional precautions as we believe are warranted.

Technical Center Fire - 2021

      Early on the morning of January 9, 2021, the TPC Houston operations team responded to a fire alarm in the Technical Center.
The Technical Center, located on the southwest side of the facility, which contains quality control and research and development
activities, had a fire in the mechanical room. TPC’s Emergency Response Team responded to the incident with assistance from the
Houston Fire Department. The Company coordinated with local officials and emergency responders to quickly resolve the issue.
There were no injuries to TPC employees and no offsite or environmental impacts as a result of the event; however, one emergency
responder sustained an ankle injury while responding to the event. As a result of the fire, there is considerable damage to the facility
and the housed equipment. Fortunately, over 75% of the equipment is salvageable, but, in the absence of a functioning laboratory the
Company had to secure short term outsourcing solutions for all of the quality control testing needs. Since late February, however, we
have replaced the majority of the outsourced testing with inhouse testing in a combination of TPC and rental facilities, thereby
substantially reducing the incremental costs. Between response costs, outsourcing costs, rental expenses and the cost of rebuilding the
Technical Center, we estimate that the fire will cost the Company approximately $11.5 million. Please also refer to Note T, Subsequent
Events.

February Weather Event – 2021

      In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter
weather. Due to abnormally low temperatures for an extended period of time, facilities in the region experienced disruption to
their operations, resulting in lost production and additional maintenance costs. We anticipate that the total financial impact of
this freeze event, between incremental costs for repairs, higher energy costs and lost volumes, will be between $50 million and
$60 million. Please also refer to Note T, Subsequent Events.

     We are taking a number of steps to offset the impact of these two events. This includes commercial and procurement initiatives,
and capital and cost reductions. At this point, we have defined actions to offset about 70% of the impact, and we are pursuing additional
opportunities.

Insurance Renewal

      We seek to maintain comprehensive insurance coverage, and we renewed all of our insurance coverages during 2020 with terms
and conditions that we believe are consistent with those generally prevailing in insurance markets, although at substantially higher
premiums than the expiring coverages. Although we carry property and casualty insurance to cover certain risks, our insurance policies
do not cover all types of losses and liabilities, and our insurance may not be sufficient to cover the full extent of losses or liabilities for
which we are insured. Due to significant recent insurance claims in the petrochemical industry, insurance market conditions have
tightened, and we cannot guarantee that we will be able to renew our current insurance policies on favorable terms, or at all.

Dehydrogenation Unit

       The third scheduled turnaround of the dehydro unit commenced on February 1, 2020 and was safely completed within budget, but
it did have a significant schedule delay due to issues with a compressor overhaul and our 505 waste heat boiler. The scope of the project
and the total cost of approximately $48 million were in line with our expectations.

Results of Operations

     Contractual linkages of raw material costs and selling prices of finished products to commodity indices

      Most of our raw material feedstock costs and finished product selling prices are determined by application of contractual formulas
linked to commodity market indices and, in most cases, the indices used to determine raw material feedstock costs are the same indices
used to determine finished product selling prices.
     As discussed above under “Material Industry Trends”, as of the end of 2017 we completed a restructuring of our C4 Processing
business model, which provides the segment with higher and more stable earnings compared to the previous model, and is more
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commensurate with the valuable and consistent service we provide to the industry.
      Although linkage of most of our raw material costs and selling prices to the same indices and our restructured crude C4 supply
contracts provide some degree of consistency in our average material margin per pound (which we define as the difference between
average revenue per pound and average raw material cost per pound) during periods in which the underlying commodity indices are
relatively stable, there are various factors that can have a significant impact on our average material margin per pound, including those
listed below. Moreover, even a relatively minor increase or decrease in average material margin per pound can have a significant
impact on our overall profitability given the magnitude of our sales volumes.

         •   We may purchase raw material feedstocks in a given month based on market indices for that month, and then sell the
             related finished products in a later month based on market indices for the later month. Changes in selling prices of finished
             products, based on changes in the underlying market indices between the month the raw material feedstocks are purchased
             and the month the related finished products are sold causes variation in our average material margin per pound. For
             example, we may purchase the components of a crude C4 stream based on formulas that reflect the respective January
             commodity indices but then sell the finished products at pricing formulas based on the respective February commodity
             indices. If the indices for January and February are the same, we would expect to realize substantially the same unit
             margins regardless of the absolute value of the indices. However, for any components of the stream for which the
             respective index increases between January and February, we would expect to realize a temporary margin expansion until
             pricing stabilizes; and conversely, if the index decreases, we would expect to realize a temporary margin contraction. The
             magnitude of the effect on the average material margin per pound and the material margin percentage in a given month
             depends on the magnitude of the change in the underlying indices compared to the prior month and the quantity of inventory
             at the end of the prior month as a result of its impact on the moving average cost of finished products sold in the subsequent
             month.
         •   Although most of our supply and sales contracts contain index-based formulas, varying proportions of our raw material
             purchases and finished product sales are done on a spot basis or otherwise negotiated terms. In addition, while many of
             the index-based formulas in our contracts are simply based on a percentage of the relevant index, others apply adjustment
             factors to the market indices that do not fluctuate with changes in the underlying index. As supply and sales contracts are
             renegotiated, the amounts of such adjustment factors can change, thus the average material margin per pound would be
             impacted.
         •   Under some of our raw material purchase contracts, the costs of the raw materials are based on a percentage of the relevant
             market index, and under some of our sales contracts, the selling price of the related finished product is based on a higher
             percentage of the same market index. As a result, the average material margin per pound tends to be higher during periods
             in which the market indices are higher and tends to be lower during periods when the market indices are lower.
         •   Finished product selling price formulas under some of our sales contracts, primarily in the Performance Products segment,
             are based on commodity indices not for the period in which the sale occurs but for either a prior or subsequent period.
             The effect on average material margin per pound of the selling price formulas can be significant during times of rapidly
             increasing or decreasing market indices.

Butadiene Price Impact

      As discussed above, a substantial portion of our finished product selling prices and raw material costs are linked to the same
commodity indices and this linkage mitigates, to varying degrees, our exposure to volatility in our profit margins. As also discussed
above, as of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model, which are more commensurate with the valuable and consistent service we
provide to the industry. However, the stabilizing effect of these factors on our profit margins is lessened when we do not purchase the
feedstock and sell the finished product in the same period. Regarding butadiene, which has historically been the largest individual
product line in our C4 Processing segment, the linkage between our raw material cost and finished product selling price is the published
contract price for butadiene. As a result of purchasing crude C4 in one month and selling finished butadiene in the subsequent month,
the GPC per pound we report in the subsequent month will expand when the price of butadiene increases and will contract when the
price of butadiene declines due to the impact of beginning inventory (quantity and unit cost) on the moving average cost of finished
butadiene sold in the subsequent month.
      As shown in the presentation of EBITDA and Adjusted EBITDA on page 8 of this Annual Report, we adjust EBITDA to remove
the estimated temporary impact on our reported GPC of the month-to-month changes in the contract price of butadiene. The rationale
for the adjustment is that the temporary impacts of butadiene price changes distort the underlying business performance.


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     The table below shows, for each period presented, the impact on our reported GPC (in millions) of purchasing crude C4 in one
period and selling finished butadiene in a later period at higher or lower butadiene contract prices. The impact on reported GPC for
each period is the sum of the monthly impacts, which are dependent on the magnitude of the contract price change each month and the
quantity of butadiene inventory at the beginning of each month.

                                                                                  Year Ended December 31,
                                                                                2020        2019       2018

                        Positive (negative) impact on GPC                   $        (5)       $     (8)   $        4



     Average material margin per pound

     The table below provides the average material margin per pound (defined above) for each period presented.


                                                                                   Year Ended December 31,
                                                                            2020            2019           2018

                   Average revenue per pound ($)                        $        0.30      $        0.40   $        0.50
                   Average raw material cost per pound ($)                       0.16               0.24            0.34
                   Average material margin per pound ($)                         0.14               0.16            0.16



      As discussed above, our material margin per pound and reported GPC reflect the temporary impact of month-to-month changes in
the contract price of butadiene. As provided in the table above, and in the discussion of cost of sales for 2020 versus 2019 on pages
19-20 and for 2019 versus 2018 on page 22, the impact of butadiene price changes on GPC was a negative $5 million in 2020, a negative
$8 million in 2019, and a positive $4 million in 2018. Excluding the temporary impact of butadiene price changes on all three years,
average material margin per pound would be $0.15 for 2020 and $0.16 for 2019 and 2018.

     The following table summarizes the primary indices which impact our revenues and raw material costs by segment.

     Segment / Finished Product                         Revenues                               Raw Material Costs

 C4 Processing Segment
  Butadiene                                 Butadiene                                Butadiene
  Butene – 1                                Unleaded regular gasoline                Unleaded regular gasoline
  Raffinates                                Unleaded regular gasoline                Unleaded regular gasoline

 Performance Products Segment
  Polyisobutylene                           Isobutane                                Butane
  Diisobutylene                             Isobutane                                Butane
  MTBE                                      MTBE                                     Isobutane, methanol




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     The following table summarizes the average commodity index prices for each period presented.

                                                              Year Ended December 31,                  Year Ended December 31,
                                                            2020       2019      % Chg.              2019       2018      % Chg.
          Average commodity prices:
           Butadiene (cents/lb) (1)                            30.6          44.0        -30%          44.0        62.2          -29%
           Unleaded regular gasoline (cents/gal) (2)          114.7         171.6        -33%         171.6       189.8          -10%
           Butane (cents/gal) (3)                              58.6          65.2        -10%          65.2       101.9          -36%
           Isobutane (cents/gal) (3)                           58.5          73.9        -21%          73.9       109.9          -33%
           MTBE (cents/gal) (2)                               127.7         197.5        -35%         197.5       223.8          -12%
           Methanol (cents/gal) (4)                           101.3         116.3        -13%         116.3       147.8          -21%



     (1) Industry pricing was obtained through IHS.
     (2) Industry pricing was obtained through Platts.
     (3) Industry pricing was obtained through Oil Price Information Service.
     (4) Industry pricing was obtained through J. Jordan.

      The following table provides sales volumes, revenue, cost of sales, GPC and operating expenses by operating segment (amounts
in thousands) for the years ended December 31, 2020, 2019 and 2018. Please refer to this information, as well as our consolidated
financial statements and accompanying notes included elsewhere in this Annual Report, when reading our discussion and analysis of
results of operations below. All information provided in the table below, except sales volumes, is derived from our Consolidated
Statements of Operations. Sales volumes for all periods presented constitute unaudited information.

                                                                                    Year Ended December 31,
                                                                      2020                2019                    2018

                  Sales volumes (pounds) (1):
                    C4 Processing                                      1,474,078                2,326,067           1,988,264
                    Performance Products                               1,055,889                1,379,245           1,254,734
                                                                       2,529,967                3,705,312           3,242,998
                  Revenue:
                   C4 Processing                                $        407,181     $           922,204      $     1,043,164
                   Performance Products                                  344,209                 542,722              583,671
                                                                $        751,390     $          1,464,926     $     1,626,835
                  Cost of sales (2):
                   C4 Processing                                $        300,342     $           700,421      $       853,517
                   Performance Products                                  218,721                 331,412              399,537
                                                                $        519,063     $          1,031,833     $     1,253,054
                  GPC
                   C4 Processing                                $        106,839     $           221,783      $       189,647
                   Performance Products                                  125,488                 211,310              184,134
                                                                $        232,327     $           433,093      $       373,781
                  Operating expenses (2):
                   C4 Processing                                $        109,916     $           112,870      $       117,592
                   Performance Products                                   71,143                  67,066               65,736
                                                                $        181,059     $           179,936      $       183,328



    (5) Sales volumes represent product sales volumes only and do not include volumes of products delivered under tolling or similar arrangements,
        in which we do not purchase the raw materials, but process raw materials for another party for a specified fee.
    (6) Cost of sales does not include operating expenses, and cost of sales and operating expenses do not include depreciation and amortization
        expenses.

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Year ended December 31, 2020 versus year ended December 31, 2019

     Revenue

      Total revenue for 2020 was $751.4 million compared to $1,464.9 million for 2019. The decrease of $713.5 million, or 49%,
reflected a 32% decrease in overall sales volume and a 25% decrease in average revenue per pound. The lower overall sales volume
reflected decreases for both the C4 Processing segment and the Performance Products segment. The lower overall average revenue per
pound reflected lower average selling prices for both operating segments. Variances in average selling prices for both operating
segments reflected variances in the commodity market indices to which a substantial portion of our finished product selling prices are
linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 15-16
and the table of commodity indices to which a substantial portion of selling prices are linked on page 17).
      C4 Processing segment revenue of $407.2 million for 2020 was down $515.0 million, or 56%, compared to 2019 revenue of $922.2
million. The lower revenue for 2020 reflected a 37% decrease in sales volume, which had a negative impact of $354 million, and a
30% decrease in average revenue per pound, which had a negative impact of $161 million. The decrease in sales volume for 2020
primarily reflected a combination of the loss of our crude C4 processing capacity resulting from the shutdown of our Port Neches facility
and customer demand impact from COVID, which would have been mitigated with connectivity to butadiene and raffinate customers
from our PNO location. Sales volume for 2019 was driven by strong demand for all products, and raffinate demand for alkylation by
our refinery customers was especially strong over the last three quarters of the year. The 30% decrease in average revenue per pound
for the segment reflected a 30% decrease in the average benchmark price for butadiene and a 33% decrease in average price of unleaded
regular gasoline (see the table of commodity indices to which a substantial portion of our C4 Processing segment selling prices are
linked on page 17).
      Performance Products segment revenue for 2020 was $344.2 million compared to $542.7 million for the prior year. The $198.5
million, or 37%, decrease in revenue reflected a 23% decrease in sales volume, which had a negative impact of $109 million, and a 17%
decrease in average revenue per pound, which had a negative impact of $90 million. The decrease in average revenue per pound
reflected decreases in the prices of isobutane and MTBE of 21% and 35%, respectively (see the table of commodity indices to which a
substantial portion of our Performance Products segment selling prices are linked on page 17). The lower sales volume was driven
primarily by weaker PIB demand due in large part to the global slowdown in new car sales. MTBE sales volume was down 28% which
reflected lower production volumes as we elected to move feedstock used for MTBE production into our raffinate business because of
significant margin erosion on MTBE and the effects of the 2020 first quarter turnaround.

     Cost of Sales

      Total cost of sales for 2020 was $519.1 million compared to $1,031.8 million for 2019. The significantly lower cost of sales in
the current year period reflected the overall decrease in sales volume discussed above and the substantial decline in the average cost of
raw materials included in the average cost of the finished products sold by both operating segments. Variances in raw material costs
for both operating segments reflected the variances in the commodity market indices to which a substantial portion of our raw material
costs are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages
15-16 and the table of commodity indices to which a substantial portion of our raw material costs are linked on page 17).
      C4 Processing segment cost of sales for 2020 was $300.3 million versus $700.4 million for the prior year. The decrease reflected
the impact of the 37% decrease in sales volume discussed above and a 44% decrease in the average cost of the raw material component
of the finished products sold. The lower average cost of raw materials reflected decreases in the average benchmark price for butadiene
and the average price of unleaded regular gasoline of 30% and 33%, respectively (see the table of commodity indices to which a
substantial portion of our C4 Processing segment raw material costs are linked on page 17). As discussed above, in spite of the linkage
between the cost of crude C4 we purchase and the price at which we sell finished butadiene, our average raw material costs and profit
margins in a given period are impacted by purchasing crude C4 in one period and selling finished butadiene in a subsequent period
during times of butadiene price volatility. As a result of such month-to-month movements in the contract price of butadiene, our profit
margins in 2020 reflected a negative butadiene pricing impact of $5 million and our profit margins in 2019 reflected a negative butadiene
pricing impact of $8 million, which resulted in a favorable year-over-year impact on profit margins of $3 million.
      Performance Products segment cost of sales was $218.7 million for 2020 compared to $331.4 million for 2019. The $112.7
million, or 34%, decrease reflected a 23% decrease in the sales volume discussed above and a 19% decrease in the average cost of the
raw material component of the finished products sold. The lower average cost of raw materials reflected decreases in the average price
of butane, isobutane and methanol of 10%, 21% and 13%, respectively (see the table of commodity indices to which a substantial portion
of our Performance Products segment raw material costs are linked on page 17).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
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the variations in overall average revenue per pound and average raw material cost per pound for 2020 compared to 2019.

     Operating Expenses

      Operating expenses incurred during 2020 were $181.1 million compared to $179.9 million incurred during 2019. The $1.2 million
increase included $19 million higher insurance costs primarily due to the PNO incident, $2.3 million higher sales and use taxes, $1.2
million higher property taxes, as well as $0.8 million higher employee benefits. This was partially offset by lower fixed supply chain
expenses of $3.9 million, lower 401-K and incentive compensation costs of $7.6 million, $10.1 million lower manufacturing overhead
costs and $0.5 million lower selling costs. Lower manufacturing costs of $10.1 million included $13.7 million lower PNO facility costs
and $1.4 million lower support group costs, partially offset by higher maintenance expenses which included inspections and repairs.
The lower fixed supply chain expenses largely reflected lower pipeline repair and inspection expenses.

     General and Administrative Expenses

     General and administrative expenses for 2020 were $28.0 million versus $28.7 million for the prior year. The $0.7 million
decrease consisted primarily of lower personnel-related expenses.

     Depreciation and Amortization

      Depreciation and amortization expenses were $74.2 million in 2020 compared to $81.0 million in 2019. The $6.8 million decrease
reflected lower depreciation of $3.8 million and lower turnaround amortization of $4.5 million partly offset by higher catalyst
amortization of $1.5 million. The $3.8 million decrease in depreciation expense primarily represents a $4.7 million decrease in certain
technology assets that were fully depreciated in early 2020 offset by $0.9 million increase in deprecation for assets put into service in
2020. In general, depreciation expense varies due to the net impact of capital additions less retirements and write-offs. The $4.5
million net decrease in turnaround amortization reflects the lower dehydro turnaround amortization as a result of the lower total
turnaround cost of the unit’s third scheduled turnaround during the first quarter of 2020. In addition, the write-off of deferred turnaround
costs related to the Port Neches incident in the fourth quarter of 2019, lowered the turnaround amortization in future periods.

     Loss on Port Neches Incident, net

      For the current year, the $50.1 million loss related to the Port Neches incident (discussed on pages 12-14) reflected $129.4 million
in losses and incurred costs offset by $79.3 million of insurance proceeds. The net amount of $50.1 million included estimated liability
claims expected to be in excess of our liability insurance coverage of $3.1 million. Additionally, the net amount of response cost losses
of $47.2 million represents costs incurred directly related to the ongoing incident response and cleanup activities for which insurance
coverage was not considered probable or costs were in excess of certain insurance coverage limitations.
       For the prior year, the comparative loss related to the Port Neches incident (discussed on pages 12-14) was $91.9 million. This
loss reflected the amount of asset write-offs and costs incurred as a direct result of the Port Neches incident, net of insurance
reimbursement received and for which future receipt was considered to be probable. The net loss consisted of $19.0 million for the
write-off of deferred turnaround costs related to the Port Neches site, insurance deductibles of $11.1 million, and estimated third-party
liability claims expected to be in excess of insurance policy coverage of $61.8 million.

     Business Interruption Insurance Recovery

      The $12.1 million of business interruption insurance recovery represents the amount received on our PNO incident business
interruption claim.

     COVID-19 Expenses

     The expense of $1.9 million represents the incremental expenses directly related to our response to the COVID-19 pandemic.

     Interest Expense

      Interest expense for 2020 was $112.9 million compared to $101.7 million for 2019. The $11.2 million increase primarily reflected
the impact of the refinancing of our debt on August 2, 2019 and consisted of a net increase in interest expense on the 10.5% Notes
compared to the 8.75% Notes of $7.4 million, an increase in interest expense on the New Term Loan of $3.7 million and higher net


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other interest expense of $0.4 million which included interest on the financing of insurance premiums. This was partially offset by
lower interest on the ABL facility of $0.3 million.
      The $7.4 million higher interest on the Notes reflected $13.5 million higher interest, partially offset by $6.1 million lower deferred
financing and discount costs versus prior year. The $3.7 million higher interest on the Old Term Loan included $1.8 million higher
interest and $1.9 million higher deferred financing cost amortization in conjunction with the refinancing of this loan on February 3,
2020.

     Other, Net

     Other than refinancing optimization expenses in 2019 of $0.5 million, both the current and prior year amounts included various
miscellaneous income and expense items, none of which were individually significant.

Income Tax Benefit

      The effective income tax benefit rates for 2020 and 2019 were 7.7% and 19.8%, respectively. The effective rates for both periods
reflected the federal statutory rate of 21% and state income taxes, net of federal benefit, adjusted for the impact of permanent book/tax
differences, the credit for increasing research activities and adjustments for prior year permanent book/tax differences that were
identified upon completion of the tax return for each year. The lower effective benefit rate for 2020 reflected the establishment of a
$27.7 million valuation allowance.
      Prior to recording the valuation allowance, we had a net deferred tax asset at December 31, 2020 of $27.7 million, which reflected
deferred tax assets of $153.7 million and deferred tax liabilities of $126.0 million. Based on assessment of both positive and negative
evidence, we have concluded that it is more likely than not that the Company will not be able to realize the benefit of the deferred tax
assets recorded at December 31, 2020. In the event that the actual outcome of future tax consequences differs from management
estimates and assumptions, the resulting change to the provision for income taxes could have a material impact on the consolidated
results of operations and statements of financial position. Please refer to Note O Income Taxes.
      Our net operating loss for 2020 was $9.0 million, which reflects our pretax book loss of $203.9 million which was substantially
offset by taxable temporary differences of $135.1 million related to differences in book and tax treatment of insurance proceeds related
to the Port Neches incident and disallowed interest expense of $69.5 million. The book pretax loss reflects the significant loss of
production and distribution capability resulting from the Port Neches incident as well as the negative impact of COVID-19 on demand
for our products and the overall economy.

Year ended December 31, 2019 versus year ended December 31, 2018

     Revenue

      Total revenue for 2019 was $1,464.9 million compared to $1,626.8 million for 2018. The decrease of $161.9 million, or 10%,
reflected a 21% decrease in overall average revenue per pound, partially offset by a 14% increase in overall sales volume. The lower
overall average revenue per pound reflected lower average selling prices for both operating segments. The higher overall sales volume
reflected increases for both the C4 Processing segment and the Performance Products segment. Variances in average selling prices for
both operating segments reflected variances in the commodity market indices to which a substantial portion of our finished product
selling prices are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices”
on pages 15-16 and the table of commodity indices to which a substantial portion of selling prices are linked on page 17).
      C4 Processing segment revenue of $922.2 million for 2019 was down $121.0 million, or 12%, compared to 2018 revenue of
$1,043.2 million. The lower revenue for 2019 reflected a 24% decrease in average revenue per pound, which had a negative impact of
$245 million, partially offset by a 17% increase in sales volume, which had a positive impact of $124 million. The 24% decrease in
average revenue per pound for the segment reflected a 29% decrease in the average benchmark price for butadiene and a 10% decrease
in average price of unleaded regular gasoline (see the table of commodity indices to which a substantial portion of our C4 Processing
segment selling prices are linked on page 17). Sales volume for 2019 was driven by strong demand for all products, and raffinate
demand for alkylation by our refinery customers was especially strong over the last three quarters of the year. Although the Port Neches
incident, which occurred in late November (discussed on pages 12-14) was a significant event, it did not have a material impact on the
segment’s 2019 reported operating results. Regarding 2018, production and sales volumes were negatively impacted by crude C4
supply constraints due to supplier outages, as well as freezing temperatures and ship channel fog issues in the first quarter, some
carryover of the first quarter issues and operational issues in our crude C4 processing system in the second quarter and the dock incident
(discussed on page 12) in the third quarter.


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      Performance Products segment revenue for 2019 was $542.7 million compared to $583.7 million for the prior year. The $41.0
million, or 7%, decrease in revenue reflected a 15% decrease in average revenue per pound, which had a negative impact of $71 million,
partially offset by a 10% increase in sales volume, which had a positive impact of $30 million. The decrease in average revenue per
pound reflected decreases in the prices of isobutane and MTBE of 33% and 12%, respectively (see the table of commodity indices to
which a substantial portion of our Performance Products segment selling prices are linked on page 17). The increase in sales volume
reflected a full year of operation of the dehydro unit in 2019 whereas production for 2018 was curtailed by a seventy-day turnaround
and revamp of the unit in the first quarter and the dock incident (discussed on page 12) in second quarter 2018. The increase in
production and sales volume of the dehydro unit was somewhat offset by weaker PIB demand due in large part to the global slowdown
in new car sales.

     Cost of Sales

      Total cost of sales for 2019 was $1,031.8 million compared to $1,253.1 million for 2018. The overall decrease of $221.3 million
was driven primarily by a substantial decline in the average cost of raw materials included in the average cost of the finished products
sold by both operating segments, partially offset by higher overall sales volume as discussed above. Variances in raw material costs
for both operating segments reflected the variances in the commodity market indices to which a substantial portion of our raw material
costs are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages
15-16 and the table of commodity indices to which a substantial portion of our raw material costs are linked on page 17).
      C4 Processing segment cost of sales for 2019 was $700.4 million versus $853.5 million for the prior year. The decrease of $153.1
million, or 18%, for the segment reflected the impact of a 32% decrease in the average cost of the raw material component of the finished
products sold, partially offset by the 17% increase in sales volume discussed above. The lower average cost of raw materials reflected
decreases in the average benchmark price of butadiene and the average price of unleaded regular gasoline of 29% and 10%, respectively
(see the table of commodity indices to which a substantial portion of our C4 Processing segment raw material costs are linked on page
17). As discussed above, in spite of the linkage between the cost of crude C4 we purchase and the price at which we sell finished
butadiene, our average raw material costs and profit margins in a given period are impacted by purchasing crude C4 in one period and
selling finished butadiene in a subsequent period during times of butadiene price volatility. As a result of such month-to-month
movements in the contract price of butadiene, our profit margins in 2019 reflected a negative butadiene pricing impact of $8 million and
our profit margins in 2018 reflected a positive butadiene pricing impact of $4 million, which resulted in an unfavorable year-over-year
impact on profit margins of $12 million for 2019 compared to 2018.
      Performance Products segment cost of sales was $331.4 million for 2019 compared to $399.5 million for 2018. The $68.1 million,
or 17%, decrease was driven by a 28% decrease in the average cost of the raw material component of the finished products we sold,
partially offset by the 10% increase in sales volume discussed above. The lower average cost of raw materials reflected decreases in
the average prices of butane, isobutane and methanol of 36%, 33% and 21%, respectively (see the table of commodity indices to which
a substantial portion of our Performance Products segment raw material costs are linked on page 17).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in overall average revenue per pound and average raw material cost per pound for 2019 compared to 2018.

     Operating Expenses

      Operating expenses incurred during 2019 were $179.9 million compared to $183.3 million incurred during 2018. The $3.4 million
decrease reflected lower maintenance expenses of $9.4 million and lower rental expenses of $2.7 million, partially offset by higher fixed
supply chain expenses of $6.8 million, higher personnel expenses of $1.2 million and higher technology expenses of $0.6 million. The
lower maintenance expenses in large part reflected the absence of incremental maintenance expenses incurred in the first half of 2018
related to the freeze damage incurred at both of our plant sites, the unplanned dehydro outage in the first quarter of 2018 and the
operational issues in our crude C4 Processing system in the second quarter of 2018. The lower rental expenses reflected the incremental
cost of temporary rental boilers at our Port Neches facility in the prior year to mitigate the impact of the site’s primary steam supplier’s
outage. The higher fixed supply chain expenses reflected an increase in third party storage facility expense and higher pipeline repair
and inspection expenses.

     General and Administrative Expenses

      General and administrative expenses for 2019 were $28.7 million versus $26.3 million for the prior year. The $2.4 million
increase consisted primarily of higher personnel-related expenses.


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     Depreciation and Amortization

      Depreciation and amortization expense was $81.0 million compared to $141.7 million in 2018. The $60.7 million decrease
reflected lower depreciation of $61.9 million, lower turnaround amortization of $0.5 million and higher catalyst amortization of $1.7
million. The decrease in depreciation expense reflected a substantial number of plant and equipment assets that were revalued with
remaining estimated useful lives of six years in conjunction with the Merger in December 2012 and which were fully depreciated as of
the end of 2018.

     Loss on Port Neches Incident, net

      The $91.9 million loss related to the Port Neches incident (discussed on pages 12-14) reflected the amount of asset write-offs and
costs incurred as a direct result of the Port Neches incident, net of insurance reimbursement received and for which future receipt was
considered to be probable. The net loss consists of $19.0 million for the write-off of deferred turnaround costs related to the Port
Neches site, insurance deductibles of $11.1 million, and estimated third-party liability claims expected to be in excess of insurance
policy coverage of $61.8 million.

     Business Interruption Insurance Recovery

      The $0.6 million of business interruption insurance recovery represents the full amount received on our Hurricane Harvey business
interruption claim.

     Repair and Other Expenses Related to Dock Incident

      The expense of $1.5 million for 2018 included the insurance deductible of $0.25 million and the uninsured incremental logistics
and legal expenses directly related to the dock incident in the second quarter.

     Interest Expense

      Interest expense for 2019 was $101.7 million compared to $89.3 million for 2018. The $12.4 million increase reflected the impact
of the refinancing of our debt on August 2, 2019 and consisted of a net increase in interest on the 10.5% Notes compared to the 8.75%
Notes of $13.5 million, write-off of the discount on the 8.75% Notes of $1.6 million and the write-off of deferred financing costs related
to the 8.75% Notes and the New Term Loan of $4.8 million, partially offset by the impact of repayment of the Old Term Loan in
conjunction with the refinancing of $6.3 million, lower interest on the ABL facility due to lower average borrowings of $0.9 million
and higher interest income of $0.4 million.

     Other, Net

     Other than refinancing optimization expenses in 2019 of $0.5 million, both the current and prior year amounts included various
miscellaneous income and expense items, none of which were individually significant.

     Income Tax Benefit

       The effective income tax benefit rates for 2019 and 2018 were 19.8% and 20.5%, respectively. The effective rates for both periods
reflected the federal statutory rate of 21% and state income taxes, net of federal benefit, adjusted for the impact of permanent book/tax
differences, the credit for increasing research activities and adjustments for prior year permanent book/tax differences that were
identified upon completion of the tax return for each year. The lower effective benefit rate for 2019 reflected the impact of a higher
state tax, net of federal benefit, on a substantially lower pretax loss.
      The 2019 book pretax loss of $51.7 million included a net loss related to the Port Neches incident (discussed on pages 12-14) of
$91.9 million, which consisted of losses and costs incurred of $287.4 million, offset by $10.0 million of liability insurance proceeds
received in 2019 and probable insurance proceeds receivable of $185.5 million recorded at December 31, 2019. Our 2019 tax net
operating loss was $93.1 million, which included tax deductions of $241.5 million for incurred ordinary and necessary expenses related
to the Port Neches incident, offset by $10.0 million of insurance proceeds we received in 2019.
     We had a net deferred tax liability at December 31, 2019 of $13.3 million, which reflected deferred tax liabilities of $148.8 million
and deferred tax assets of $135.5 million. Based on assessment of both positive and negative evidence, we have concluded that it is
more likely than not that the Company will realize the benefit of the deferred tax assets recorded at December 31, 2019. The Company’s
long-range plan, which was completed prior to the Port Neches incident, projected use of all net operating losses generated through 2018
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within the next five years as well as utilization of a significant portion of the disallowed interest deduction carryforward. The loss of
income reflected in the long-range plan due to the shutdown of the Port Neches facility will be replaced by business interruption
insurance recoveries, which went into effect on January 12, 2020 after a forty-five-day deductible period.

Liquidity and Capital Resources

     Net Debt and Liquidity

     As of December 31, 2020, our financing arrangements consisted principally of the 10.5% Notes, the ABL Facility and the New
Term Loan. In addition, we financed our 2020 insurance renewal premiums through Aon Premium Finance LLC, an affiliate of our
Broker, Aon PLC.

      At December 31, 2020, we had total long-term debt of $985.3 million (excluding deferred financing costs of $14.7 million), Long-
term debt consisted of $930.0 million of 10.5% Notes and $70.0 million of the New Term Loan; we had no borrowings on the ABL
Facility. Despite the fact that the New Term Loan’s extended maturity date was in August of 2021, we classified the New Term Loan
as long-term because we were able to refinance the loan, as discussed below, prior to the issuance of this Annual Report. Cash on hand
was $18.5 million and we had no short-term money market investments (with maturities of less than three months) or short-term
investments (with original maturities between 90 days and one year).
      The ABL borrowing base was sufficient to support borrowings of $75.6 million and combined with cash on hand of $18.5 million,
provided total liquidity of $94.1 million at December 31, 2020. Based on our current estimates of operating income and the uncertainty
surrounding the timing of insurance proceeds, the Company refinanced the New Term Loan on February 2, 2021 to add incremental
liquidity. As discussed in more detail below, on February 2, 2021 TPCGI issued and sold $153 million of 10.875% Senior Secured
Notes. We are currently considering additional opportunities to improve liquidity.

     New Term Loan

      On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provided for a delayed draw term loan of up to $70.0 million and a term of one-year. Availability
under the Term Loan was limited to a maximum of four draws with a minimum of $5.0 million per draw. Subject to certain exceptions,
the Company’s obligations with respect of the Term Loan were secured by liens on and security interests in all collateral securing the
10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment with those liens and security interests
granted pursuant to the 10.5% Indenture . On March 18, 2020, we drew on the facility and received $70.0 million less a 1% original
issue discount fee. In May 2020 the lenders agreed to grant the Company the option to extend the maturity date to August 5, 2021.
The Term Loan is classified as long-term debt as of December 31, 2020. This treatment is appropriate where short-term debt is replaced
with long-term debt after the report date but prior to the issuance of the annual report. This loan was repaid on February 2, 2021 with
some of the proceeds received from issuance and sale of the 10.875% Notes.

     ABL Facility

     The ABL Facility is available on a revolving basis to finance our working capital needs and for general corporate purposes. The
ABL Facility was composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” revolving
tranche (the ABL FILO) when amended and restated on August 2, 2019. Commitments under the ABL FILO reduce, and commitments
under the ABL Revolver equally and simultaneously increase, by $2.5 million on each of the first three anniversaries of the August 2,
2019 amendment and restatement.
        The credit agreement governing the ABL Facility contains covenants that impose restrictions on, among other things, additional
indebtedness, liens, investments, advances, guarantees and mergers and acquisitions. These covenants also place restrictions on asset
sales, sale and leaseback transactions, dividends, payments between us and our subsidiaries and certain transactions with affiliates
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.
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     On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.5% Notes

      The 10.5% Notes were issued on August 2, 2019 in conjunction with the refinancing of our debt. The net proceeds from the
issuance of the 10.5% Notes were $918.3 million after underwriters and other fees and expenses of $11.7 million. The net proceeds
from the issuance of the 10.5% Notes were used to redeem and pay accrued interest due on the 8.75% Notes of $816.2 million, to repay
the outstanding loan balance and pay accrued interest due on the Old Term Loan of $50.3 million and to repay the outstanding loan
balance and pay accrued interest due on the ABL of $35.9 million.
     The 10.5% Notes are due August 1, 2024 and interest is paid semi-annually in arrears on February 1 and August 1.
      The 10.5% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.
     On February 2,2021 the 10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875%
Notes and to make certain other changes to certain covenants contained therein.

     10.875% Notes

       On February 2, 2021 TPCGI issued and sold $153 million aggregate principal amount of 10.875% Notes to certain holders of the
10.5% Notes. The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by
all of the Company’s existing or future direct and indirect domestic subsidiaries, other than certain excluded subsidiaries (collectively,
the “Subsidiary Guarantors”).
      The net proceeds from the offering were used to repay and terminate the $70 million New Term Loan, to pay all fees and expenses
related to the transactions and for general corporate purposes. Interest on the 10.875% Notes began accruing on the issue date and is
payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each year, commencing on May 1, 2021. The 10.875
% Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness and
the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes are effectively subordinated to the ABL
Facility and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by assets or properties not
constituting collateral securing the 10.5% Notes to the extent of the value of such assets and properties. The 10.875% Indenture contains
certain covenants, agreements and events of default which are customary with respect to non-investment grade debt securities, including
limitations on our ability to incur additional indebtedness, pay dividends on or make other distributions or repurchase our capital stock,
make certain investments, enter into certain types of transactions with affiliates, create liens, sell certain assets or merge with or into
other companies.

     Insurance Premium Financing

      As of December 31, 2020, we have financed $23.6 million of insurance premiums though Aon Premium Finance LLC. The first
down payment and the first installment were paid in July 2020 and the remainder is payable in monthly installments following the
applicable renewal date through April 2021.

      Sources and Uses of Cash

      Our principal sources of liquidity are our existing cash and cash equivalents, short-term investments, cash generated from
operations and borrowings under our ABL. In addition to these sources, another source of liquidity over the near-term will be insurance
proceeds received under our various insurance policies, including our property damage and business interruption policies. Business
interruption coverage became effective on January 12, 2020 after the forty-five-day deductible period and from that date on will replace
the earnings the Port Neches plant would have contributed except as a result of the explosion incident on November 27, 2019 that shut
down the plant. The timing of receipt of the additional insurance proceeds under our policies is uncertain at this time. We may also,
from time to time, generate cash from opportunistic sales of non-core assets. Our principal uses of cash are to provide working capital,
meet debt service requirements, fund capital expenditures and finance our strategic plans, including possible acquisitions. We may also
seek to finance our capital expenditures under capital leases or other debt arrangements that provide liquidity or favorable borrowing
terms. Our business may not generate sufficient cash flows from operations and future borrowings under our ABL Facility may not be
available to us in an amount sufficient to enable us to pay our indebtedness or to fund our other liquidity needs. Our ability to generate
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sufficient cash depends on, among other factors, prevailing economic conditions, many of which are beyond our control. In addition,
upon the occurrence of certain events, such as a change in control, we could be required to repay or refinance our indebtedness. Any
future acquisitions, joint ventures or other similar transactions may require additional capital and there can be no assurance that any
such capital will be available to us on acceptable terms or at all. However, based on our current level of operations and available cash,
including the liquidity generated by the issuance of the 10.875% Notes, we believe that our cash flow from operations, together with
availability under the ABL and proceeds received under our insurance policies, will provide sufficient liquidity to fund our current
obligations, projected working capital requirements, debt service requirements and capital spending requirements for the foreseeable
future.
      Our liquidity requirements will be significant primarily due to the annual debt service requirements on the 10.5% Notes, which
are estimated to be $97.7 million, annual debt service requirements on the 10.875% Notes, which are approximately $11.6 million, our
baseline capital expenditures, which fall within the range of $70 to $80 million, our turnaround and catalyst costs, which would typically
be in the range of $20 to $30 million in years we do not perform a dehydro unit turnaround and $35 to $40 million in years we do
perform a dehydro unit turnaround, and cash requirements related to the Port Neches incident in advance of insurance recoveries or in
excess of insurance coverage limits.
      As market conditions warrant and subject to the Company’s contractual restrictions and liquidity position, we, our affiliates and/or
our equity holders, including the Sponsors and their affiliates, may from time to time repurchase the Company’s outstanding debt
securities in privately negotiated or open market transactions, by tender offer or otherwise. If in the future we should decide to engage
in such transactions, any such purchases may be funded by incurring new debt, including borrowings under our ABL. Any new debt
may also be secured debt. We may also use available cash on our balance sheet or new equity capital. The amounts involved in any
such transactions, individually or in the aggregate, may be material. Further, any such purchases may result in us acquiring and retiring
a substantial amount of the 10.5% Notes, with the attendant reduction in the trading liquidity of any such Notes.

     Cash Flow Summary

     The following table summarizes changes in cash and cash equivalents for the periods indicated (in thousands):

                                                                            Year Ended December 31,
                                                                2020                 2019                     2018
              Cash flows provided by (used in):
               Operating activities                      $          (88,865)    $          117,354     $           30,817
               Investing activities                                 (55,889)               (53,957)               (63,717)
               Financing activities                                  78,047                 20,767                 31,498
              Change in cash and cash equivalents        $          (66,707)    $           84,164     $             (1,402)


     Operating Activities

      For the year ended December 31, 2020, net cash used in operating activities was $88.9 million. The net loss of $188.2 million,
deferred turnaround and catalyst costs of $28.0 million, deferred income tax benefit of $13.6 million and an increase in working capital
of $6.6 million were partially offset by non-cash expenses of $147.5 million. Non-cash expenses consisted of depreciation and
amortization of $74.1 million, amortization of debt issuance costs of $8.4 million and non-cash expenses related to the Port Neches
incident of $65.0 million.
      Trade accounts receivable were $73.4 million at December 31, 2020 compared to $83.9 million at December 31, 2019. The $10.5
million decrease primarily reflected lower revenue of $23.5 million in December 2020 compared to December 2019 and an increase in
the days outstanding from 26 days at December 31, 2019 to 29 days at December 31, 2020. Trade accounts receivable were 99%
current at both December 31, 2020 and 2019.
      Our inventory at December 31, 2020 was $45.4 million compared to $52.1 million at December 31, 2019. The decrease of $6.7
million reflected a 11% decrease in overall average cost per pound, which accounted for $5.8 million of the decrease, and a 2% decrease
in physical inventory volumes, which accounted for the remainder of the decrease. The decrease in average cost per pound was driven
primarily by a 30% decrease in the benchmark price of butadiene comparing the prices for December 2020 to December 2019.
      For the year ended December 31, 2019, net cash generated from operating activities was $117.4 million. The net loss of $41.5
million, deferred income tax benefit of $8.7 million and deferred plant turnaround and catalyst costs of $29.6 were more than offset by
non-cash expenses of $164.8 million and a $32.4 million decrease in working capital. Non-cash expenses consisted of depreciation


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and amortization of $81.0 million, amortization and write-off of debt issuance costs of $12.5 million and non-cash expenses related to
the Port Neches incident of $71.3 million.
      In 2018, net cash generated from operating activities was $30.8 million. The net loss of $53.2 million, deferred tax benefit of $13.9
million and deferred plant turnaround and catalyst costs of $53.0 million were more than offset by non-cash expenses of $147.7 million
and a $3.1 million decrease in working capital. Non-cash expenses consisted primarily of depreciation and amortization of $141.7
million and debt issuance costs of $6.0 million.

     Investing Activities

      During 2020, 2019, and 2018 we invested $55.9 million, $54.0 million, and $63.7 million, respectively, in the form of capital
expenditures, which consisted primarily of baseline spending. In addition to baseline capital investment, 2020 included replacing
capacity due to the volumes lost as a result of the Port Neches incident, 2019 included infrastructure improvements in preparation for
the increased crude C4 supply from the new ethylene crackers coming on line and 2018 included capital spending related to the dehydro
revamp in the first quarter and expansion of capacity at our Port Neches facility as part of our crude C4 processing upgrade program.

     Financing Activities

     Cash of $78.0 million was generated in 2020 from net borrowings on the New Term Loan of $69.3 million and net borrowings to
finance our insurance premiums of $13.0 million. These amounts were partially offset by debt issuance costs of $4.3 million.

      Net cash generated from financing activities in 2019 was $20.8 million, which consisted of $35.0 million of net borrowings due
to the refinancing on August 2, 2019 and the related debt issuance costs of $14.0 million.

     Net cash generated from financing activities in 2018 was $31.5 million, which consisted of $32.0 million of net borrowings under
the ABL and debt issuance costs of $0.5 million related to the amendment of the ABL in May 2018.

Contractual Obligations

     The following table presents our contractual cash obligations at December 31, 2020 (in thousands).

                                                                                 Payments Due By Year

                                                         Total            2021          2022-2023        2024-2025        After 2025

               Notes (1)                               $ 1,083,000   $          -   $           -       $ 1,083,000   $            -
               Interest on Notes (1)                       408,324        112,764         228,578            66,982                -
               Operating leases (2)                        163,400         35,162          60,090            31,052           37,096
                                                   $    1,654,724    $ 147,926      $ 288,668           $ 1,181,034   $       37,096


     (1) Our financing arrangements at March 24, 2021 comprised the $930 million 10.50% Senior Secured Notes due August 2024 and the $153
     million 10.875% Senior Secured Notes due August 2024. Interest on the 10.5% Notes will be paid in arrears on February 1 and August 1 of
     each year through the August 1, 2024 maturity date. Interest on the 10.875% Notes will be paid in arrears on February 1, May 1, August 1 and
     Nov 1 of each year through the August 1, 2024 maturity date.
     (2) Operating leases consist primarily of leases for barges and tugs, railcars, docks and terminals. Periods covered by operating lease
     commitments range from less than one year to a maximum of thirteen years.

      The above table does not include our long-term crude C4 feedstock purchase contracts, as those commitments generally cannot be
estimated on a forward-looking basis because: (1) the amount we are obligated to purchase under these contracts is a percentage of
volume of crude C4 produced by a particular supplier, which varies depending on the production methods utilized and the aggregate
volume produced by the supplier; and (2) the price for this variable volume is based on certain commodity price indices which vary over
time. Our commitments under our long-term crude C4 feedstock purchase contracts are not subject to a specified maximum volume or
cap, though as a practical matter the commitments are limited by the production capacity of the supplier. During 2020, we obtained
99.8% of our crude C4 feedstocks under these long-term feedstock purchase contracts (excluding spot purchases and contracts with
terms of less than one year), for aggregate expenditures of $173.9 million.


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     Off-Balance-Sheet Arrangements

      We do not currently utilize any off-balance-sheet arrangements to enhance our liquidity and capital resource positions, or for any
other purpose.

Critical Accounting Policies and Estimates

      In preparing our financial statements in conformity with accounting principles generally accepted in the United States of America,
we make certain estimates and assumptions about future events that could significantly affect the amounts of reported assets, liabilities,
revenues and expenses, as well as the disclosure of contingent assets and liabilities in the financial statements and accompanying notes.
Some of our accounting policies require the application of significant judgment by management to select the appropriate assumptions
to determine these estimates. By their nature, these judgments are subject to an inherent degree of uncertainty; therefore, actual results
may differ significantly from estimated results. We base our judgments on our historical experience, knowledge of the business and
industry, advice from experts and consultants, business forecasts and other available information, as appropriate.
      Our most critical accounting policies, which reflect significant management estimates and judgment to determine amounts reported
in our consolidated financial statements, are as follows:

     Inventory Cost

      Our inventories consist of raw materials and finished products and are valued at the lower of average cost or market. Costs of
finished products include raw materials, energy, labor and manufacturing overhead. We may enter into product exchange agreements
with suppliers and customers for raw materials and/or finished goods in the normal course of business. Under these arrangements we
deliver product volumes to the exchange partner to be delivered in-kind back to us or receive product volumes to be delivered in-kind
by us to the exchange partner in the future, generally in the short term. Product exchanges typically benefit both parties from a logistical
perspective and provide for additional flexibility regarding both receipt of raw materials from suppliers and delivery of finished goods
to customers. Exchange balances due to or from exchange partners are recorded in inventory at the lower of average cost or market
and do not impact the consolidated statements of operations and comprehensive income, as they are recognized at the carrying amount.
Our inventory levels can vary significantly depending on availability of raw materials, especially crude C4, plant operations, customer
demand and seasonality. In addition to potential fluctuations in the amounts of physical inventories we carry, we can be exposed to
potential devaluations in net realizable value of our inventories, especially our fuel-related products, during periods of rapidly declining
unleaded regular gasoline prices and demand for fuel-additive products. A significant amount of judgment is required to determine the
appropriate normal range of plant production activity and plant operating expenses regarding plant overhead cost absorption and to
determine the appropriate market valuation of inventories to assess recoverability of the carrying cost of our inventory. Use of different
estimates and assumptions to determine the appropriate amounts of overhead absorption and market value for inventory valuation
purposes, when such market is below cost, could have a significant impact on our financial condition and results of operations from
period to period.

      The average cost of our inventory at the end of any period reflects the carrying cost of raw materials and finished goods inventory
on hand at the beginning of the period and the actual cost of raw material purchases and finished goods production during the period.
The actual costs of most of our raw materials are based on contractual arrangements which, in various ways, link the purchase costs to
a commodity price index. Downward movement in commodity price indices between the times raw materials are purchased and the
related finished products are sold can result in reductions in realizable value of the inventory prior to the sale of our finished products.
Such reductions in realizable value can occur despite the index-based pricing in our contracts, because the effect of using matching
indices is lessened when we do not purchase the feedstock and sell the finished product in the same period. If it is determined at the
balance sheet date that the carrying value of the inventory will not be recovered based on management’s best estimates and assumptions
regarding inventory turnover rates and future selling prices, the carrying value of the inventory is written down to net realizable value
through lower-of-cost-or-market (net realizable value) adjustments.

     Property, Plant and Equipment

      Property, plant and equipment are stated at depreciated historical cost. Depreciation of property, plant and equipment is computed
using the straight-line method over the estimated useful lives of the assets. Maintenance and repairs and minor renewals are charged
to expense as incurred while major improvements, renewals and betterments are capitalized. Interest is capitalized on long-term
construction projects using our internal cost of debt rate, or at the rate at which funds are borrowed specifically for a certain project. A
significant amount of judgment is required in various circumstances to determine the appropriate recognition of costs as capital
expenditures or expenses, estimated useful lives of property, plant and equipment, and when and by how much carrying amounts may
be impaired. Use of different estimates and assumptions to determine capital versus expense treatment of costs, useful lives of assets
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and impairment of long-lived assets could have a significant impact on our financial condition and results of operations from period to
period. The estimated useful lives of our main categories of fixed assets are as presented below.

                                                                                                 Estimated Useful Lives
                                                                                                       (in years)
                     Plant equipment                                                                     5 - 35
                     Pipelines                                                                          15 - 40
                     Buildings and land improvements                                                    15 - 45
                     Technology assets                                                                   5 -6


     Intangible Assets

     Our intangible assets include patents and a technology license for the butadiene extraction process at our Port Neches facility.
Patents are amortized using the straight-line method over useful lives. Our technology license has no legal, regulatory, contractual,
competitive, economic or other factors that would limit its useful life. Consequently, we have determined its useful life to be indefinite.

     Plant Turnaround Costs

       We use the deferral method to account for costs of major scheduled plant turnarounds. Plant turnarounds are scheduled and
require partial or complete shutdowns of chemical processing units for significant overhaul and refurbishment, for periods typically
lasting from two to four weeks. Under the deferral method, we defer the cost of a turnaround project and amortize the cost over the
period between the completion of the turnaround and the next scheduled turnaround, which typically occurs from three to five years
after the most recently completed turnaround. If the next scheduled turnaround occurs sooner than originally anticipated, any remaining
deferred cost from the previous turnaround is charged to expense at that time. If the next scheduled turnaround occurs later than
originally anticipated, the amortization period for the previous turnaround cost is not extended. The deferral method of accounting for
turnaround costs requires judgment as to the specific costs to be included in a major turnaround project and requires estimates and
assumptions regarding the period of time over which the costs will be amortized. Use of different estimates and assumptions could
have a significant impact on our financial condition and results of operations from period to period.

     Income Tax Assets and Liabilities

      We account for income taxes in accordance with ASC 740, Income Taxes. Determination of tax related assets and liabilities to
be recorded and the appropriate recognition of tax positions taken on tax returns requires a significant amount of judgment. Regarding
realization of our deferred tax assets and the need for a valuation allowance against deferred tax assets at each balance sheet date, we
consider both positive and negative evidence of sufficient taxable income within the carry-back and/or carry-forward periods as provided
under applicable tax law. Based on our significant net deferred tax asset position and future reversals of existing taxable temporary
differences, as well as our historical operating results, we have concluded that a valuation allowance should be recorded for the entire
amount of the deferred tax asset. Regarding assessment of taxable income exclusive of reversing temporary differences and carry-
forwards, we consider both our recent historical operating results, as well as our expectations of future operating results; however,
historical results are given more weight than our expectations of future profitability, which is inherently uncertain.

     Revenue Recognition

        We recognize revenue in accordance with ASC 606, Revenue from Contracts with Customers. We adopted ASC 606 as of
January 1, 2019 and applied the modified retrospective transition method to all contracts not completed as of the adoption date. The
new revenue recognition standard provides a five-step analysis of transactions to determine when and how revenue is recognized. The
premise of the guidance is that a company should recognize revenue to depict the transfer of promised goods or services to customers
in an amount that reflects the consideration to which the entity expects to be entitled in exchange for those goods or services. The
impact of the new standard on our consolidated financial statements was immaterial.

     Derivatives and Hedging

      We account for derivative instruments in accordance with ASC 815, Derivatives and Hedging. Such instruments are measured
at fair value and recognized as assets or liabilities in the consolidated balance sheets. Accounting for changes in the fair value of a
derivative depends on the intended use of the derivative and the resulting designation established at the inception of the derivative. For
derivatives that are designated as fair value hedges, changes in fair value are recognized currently though earnings with an offsetting,
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partial mark-to-fair-value of the hedged item. For derivatives designated as cash flow hedges and meeting the effectiveness guidelines
of ASC 815, changes in fair value, to the extent effective, are recognized as other comprehensive income or loss until the hedged item
is recognized in earnings. Hedge effectiveness is measured at least quarterly based on the relative changes in fair value between the
derivative contract and the hedged item over time, or in the case of options, based on the change in intrinsic value. Any change in fair
value of a derivative resulting from ineffectiveness or an excluded component of the gain or loss, such as time value for option contracts,
is recognized immediately in earnings. For any derivative instrument not designated as a hedge at inception, changes in fair value of
the instrument are recognized in earnings in the period in which the change occurs.

     Contingent Liabilities

       We record reserves for contingent liabilities when information available indicates that a loss is probable, and the amount of the
loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment may be subject to the
uncertainty of dispute resolution or litigation. Contractual arrangements with our customers and suppliers are typically complicated
and can include, for example, complex index-based pricing formulas that determine the price for our feedstocks or finished products.
Due to the complicated nature of our contractual arrangements, we can, from time to time, be involved in disputes with our customers
and suppliers regarding the interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the
normal course of our business, seldom result in actual formal litigation and are typically resolved in the context of the broader
commercial relationship that we have with the customer or supplier. Regarding any such disputes, we record reserves for contingent
liabilities when information available indicates that a loss is probable, and the amount of the loss is reasonably estimable.

     Stock-Based Compensation

      We account for stock-based compensation in accordance with ASC 718, Compensation-Stock Compensation. Expense related to
stock-based compensation awards is recognized in our financial statements based on the grant date fair values of the respective awards.
The amount of grant date fair value recognized as expense in our financial statements is based on an estimate of the number of awards
that are ultimately expected to vest, and the related expense is recognized ratably over the vesting period. Forfeitures are estimated at
the time of grant and revised, if necessary, in subsequent periods if actual forfeitures differ from the estimates.

     Benefit Plans

We sponsor a noncontributory defined benefit pension plan for approximately 130 union-represented employees at our Port Neches
facility. The actuarial determination of the projected benefit obligation and related benefit expense requires certain assumptions,
including discount rate, expected return on plan assets, rate of future compensation increases and mortality rates. These assumptions
require considerable judgment and can have a significant impact on the amount of the obligation and periodic expense recognized.

Recent Accounting Developments

     Accounting Standards Adopted in 2020

       Fair Value Measurement – As required, we adopted ASU 2018-13, Disclosure Framework - Changes to the Disclosure
Requirements for Fair Value Measurement, which amended ASC 820, Fair Value Measurement, as of January 1, 2020. The Company
will, when applicable, disclose at Fair Value any derivative assets and liabilities or investments in entities. However, based on our
assessment, the standard has currently had little or no impact on our consolidated financial position, results of operations or cash flows.

      Accounting Guidance Issued but Not Yet Adopted as of December 31, 2020

       Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company continues to evaluate its population of leases and
is continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting
for logistics equipment. The Company anticipates recognition of additional assets and corresponding liabilities related to leases upon
adoption, effective January 1, 2022.


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      Defined Benefit Plans – ASU 2018-14, Compensation—Retirement Benefits, amends disclosure requirements for employers that
sponsor defined benefit pension or other postretirement plans. For public business entities, the amendments are effective for fiscal years
ending after December 15, 2020. For all other entities the amendments are effective for fiscal years ending after December 15,
2021. Early adoption is permitted. The Company anticipates some changes to the disclosures.

       Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management does not expect that changes required by the new standard will materially impact the Company's financial statements and
related disclosures.




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                     CONSOLIDATED FINANCIAL STATEMENTS



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                                                                                    Grant Thornton LLP
                                                                                    700 Milam Street, Suite 300
REPORT OF INDEPENDENT CERTIFIED PUBLIC ACCOUNTANTS                                  Houston, TX 77002
                                                                                    T 832.476.4600
                                                                                    F 713.655.8741

Board of Managers of Sawgrass Holdings GP LLC
Board of Directors and Stockholder of TPC Group Inc. and Subsidiaries

We have audited the accompanying consolidated financial statements of TPC Group Inc. (a
Delaware corporation) and subsidiaries, which comprise the consolidated balance sheets as of
December 31, 2020 and 2019, and the related consolidated statements of operations and
comprehensive loss, changes in stockholder’s deficit, and cash flows for each of the three years
in the period ended December 31, 2020, and the related notes to the financial statements.

Management’s responsibility for the financial statements
Management is responsible for the preparation and fair presentation of these consolidated
financial statements in accordance with accounting principles generally accepted in the United
States of America; this includes the design, implementation, and maintenance of internal
control relevant to the preparation and fair presentation of consolidated financial statements
that are free from material misstatement, whether due to fraud or error.
Auditor’s responsibility

Our responsibility is to express an opinion on these consolidated financial statements based
on our audits. We conducted our audits in accordance with auditing standards generally
accepted in the United States of America. Those standards require that we plan and perform
the audit to obtain reasonable assurance about whether the consolidated financial statements
are free from material misstatement.

An audit involves performing procedures to obtain audit evidence about the amounts and
disclosures in the consolidated financial statements. The procedures selected depend on the
auditor’s judgment, including the assessment of the risks of material misstatement of the
consolidated financial statements, whether due to fraud or error. In making those risk
assessments, the auditor considers internal control relevant to the entity’s preparation and fair
presentation of the consolidated financial statements in order to design audit procedures that
are appropriate in the circumstances, but not for the purpose of expressing an opinion on the
effectiveness of the entity’s internal control. Accordingly, we express no such opinion. An
audit also includes evaluating the appropriateness of accounting policies used and the
reasonableness of significant accounting estimates made by management, as well as evaluating
the overall presentation of the consolidated financial statements.


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    We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis
    for our audit opinion.

    Opinion
    In our opinion, the consolidated financial statements referred to above present fairly, in all material
    respects, the financial position of TPC Group Inc. and subsidiaries as of December 31, 2020 and
    2019, and the results of their operations and their cash flows for each of the three years in the
    period ended December 31, 2020 in accordance with accounting principles generally accepted in
    the United States of America.




             Houston, Texas
             March 24, 2021




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                                                    CONSOLIDATED BALANCE SHEETS
                                                (In thousands, except share and per share amounts)


                                                                                                            December 31,
                                                                                                     2020                  2019

                                                      ASSETS
          Current assets:
           Cash and cash equivalents                                                             $     18,452       $        85,159
           Trade accounts receivable                                                                   73,447                83,882
           Insurance receivable - Port Neches incident                                                 23,289               185,477
           Inventories                                                                                 45,435                52,058
           Other current assets                                                                        41,123                21,690
                  Total current assets                                                                201,746               428,266
          Property, plant and equipment, net                                                          703,273               684,844
          Intangible assets, net                                                                        3,880                 6,768
          Other assets, net                                                                            55,850                53,624
                  Total assets                                                                   $    964,749       $      1,173,502

                              LIABILITIES AND STOCKHOLDER'S DEFICIT
          Current liabilities:
           Accounts payable                                                                      $    113,092       $       117,716
           Accrued liabilities                                                                         92,635                78,038
           Short-term debt                                                                             13,098                   -
           Accrued liabilities - Port Neches incident                                                  90,262               191,410
                  Total current liabilities                                                           309,087               387,164
          Long-term debt, net of deferred financing costs                                             985,321               915,772
          Deferred income taxes                                                                           -                  13,271
                  Total liabilities                                                                  1,294,408             1,316,207
          Commitments and contingencies
          Stockholder's equity (deficit):
            Common stock, $0.01 par value, 2,000 shares authorized,
              1,030 issued and outstanding                                                                -                     -
            Additional paid-in capital                                                                478,314               478,320
            Accumulated deficit                                                                      (805,312)             (617,148)
            Accumulated other comprehensive loss                                                       (2,661)               (3,877)
                  Total stockholder's deficit                                                        (329,659)             (142,705)
                  Total liabilities and stockholder's deficit                                    $    964,749       $      1,173,502




The accompanying notes are an integral part of these consolidated financial statements.


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                    CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE LOSS
                                                                  (In thousands)


                                                                                              Year Ended December 31,
                                                                                       2020            2019           2018
    Revenue                                                                        $      751,390    $   1,464,926    $   1,626,835
    Cost of sales (excludes items listed below)                                           519,063        1,031,833        1,253,054
    Operating expenses                                                                    181,059          179,936          183,328
    General and administrative expenses                                                    27,970           28,695           26,337
    Depreciation and amortization                                                          74,155           81,002          141,708
    Loss on Port Neches incident, net of insurance recovery                                50,141           91,895              -
    Business interruption insurance recovery                                              (12,100)             -               (567)
    COVID-19 expenses                                                                       1,896              -                -
    Repair and other expenses related to dock incident                                        -                -              1,459
    Income (loss) from operations                                                         (90,794)         51,565           21,516
    Other (income) expense:
     Interest expense                                                                     112,933         101,729           89,305
     Other, net                                                                               182           1,565             (889)
    Loss before income taxes                                                           (203,909)           (51,729)         (66,900)
    Income tax benefit                                                                    (15,745)         (10,238)         (13,698)
    Net loss                                                                           (188,164)           (41,491)         (53,202)

    Change in funded status of defined benefit plan, net of tax
     effect of ($323), $352 and $592, respectively                                          1,216           (1,325)          (2,228)

    Comprehensive loss                                                             $   (186,948)     $     (42,816)   $     (55,430)




The accompanying notes are an integral part of these consolidated financial statements.




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                                               CONSOLIDATED STATEMENT OF STOCKHOLDER’S DEFICIT
                                                                        (In thousands)
                                                                                                                          Accumulated
                                                                                      Additional                             Other
                                                       Common Stock                    Paid-in           Accumulated     Comprehensive        Total
                                                      Shares     Amount                Capital             deficit       Income (Loss)        Deficit

 Balances - December 31, 2017                                  1         -                478,461            (522,455)            (324)         (44,318)

 Net loss                                                  -             -                     -              (53,202)             -            (53,202)
 Change in funded status of defined
  benefit plan, net of tax benefit of $592                 -             -                     -                  -             (2,228)           (2,228)

 Balances - December 31, 2018                                  1             -            478,461            (575,657)          (2,552)         (99,748)

 Net loss                                                  -             -                     -              (41,491)             -            (41,491)
 Return of equity contributions                            -             -                   (141)                -                -                (141)
 Change in funded status of defined
  benefit plan, net of tax benefit of $352                 -             -                     -                  -             (1,325)           (1,325)

 Balances - December 31, 2019                                  1    $    -       $        478,320        $   (617,148)   $      (3,877)   $    (142,705)

 Net loss                                                  -             -                     -             (188,164)             -           (188,164)
 Return of equity contributions                            -             -                         (6)            -                -                    (6)
 Change in funded status of defined
  benefit plan, net of tax benefit of ($323)               -             -                     -                  -              1,216            1,216

 Balances - December 31, 2020                                  1    $    -       $        478,314        $   (805,312)   $      (2,661)   $    (329,659)




The accompanying notes are an integral part of this consolidated financial statement.




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                                         CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                                   (In thousands)


                                                                                                   Year Ended December 31,
                                                                                            2020             2019          2018
                Cash flows from operating activities:
                 Net loss                                                              $    (188,164)    $    (41,491)   $   (53,202)
                 Adjustments to reconcile net loss to cash flows provided by
                     operating activities:
                   Depreciation                                                               47,075           50,931        112,863
                   Turnaround amortization                                                    17,851           22,353         22,844
                   Catalyst amortization                                                       6,341            4,831          3,113
                   Patent amortization                                                         2,888            2,887          2,888
                   Port Neches Incident, net of cash expense                                  65,021           71,325            -
                   Amortization / write-off of debt issuance costs                             8,443           12,501          6,040
                   Deferred income taxes                                                     (13,594)          (8,653)       (13,873)
                   Deferred turnaround cost                                                  (22,505)         (20,956)       (49,869)
                   Deferred catalyst cost                                                     (5,537)          (8,745)        (3,766)
                   Capital projects write-off                                                    -                -              -
                 Changes in assets and liabilities:
                   Accounts receivable                                                        10,435           10,080          1,870
                   Inventories                                                                 7,633           11,592          4,472
                   Accounts payable                                                          (19,698)         (32,278)        19,445
                   Other assets and liabilities, net                                          (5,054)          42,977        (22,008)
                      Cash provided by (used in) operating activities                        (88,865)         117,354         30,817
                Cash flows from investing activities:
                 Capital expenditures                                                        (55,889)         (53,957)       (63,717)
                      Cash used in investing activities                                      (55,889)         (53,957)       (63,717)
                Cash flows from financing activities:
                 Proceeds from issuance of 10.5% Notes                                           -            930,000            -
                 Payment of 8.75% Notes                                                          -           (805,000)           -
                 Payment of Term Loan                                                            -            (50,000)           -
                 Net proceeds from (paydowns on) ABL Facility                                    -            (40,000)        32,000
                 Proceeds from Term Loan                                                      69,300              -              -
                 Insurance finance borrowings                                                 42,492              -              -
                 Insurance finance repayments                                                (29,395)             -              -
                 Debt issuance costs                                                          (4,344)         (14,092)          (502)
                 Equity contributions (returns), net                                               (6)           (141)           -
                      Cash provided by financing activities                                  78,047            20,767         31,498
                Increase (decrease) in cash and cash equivalents                             (66,707)          84,164         (1,402)
                Cash and cash equivalents, beginning of period                                85,159              995          2,397
                Cash and cash equivalents, end of period                               $     18,452      $     85,159    $      995




The accompanying notes are an integral part of these consolidated financial statements.



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                                   NOTES TO CONSOLIDATED FINANCIAL STATEMENTS
NOTE A – BASIS OF PRESENTATION

      1.   Definition of Terms

    Certain terms used throughout these consolidated financial statements and accompanying notes are defined on page 3 of this
Report, which should be referred to when reading these consolidated financial statements and accompanying notes.

     2.    Organization

      The accompanying consolidated financial statements include the accounts of TPCGI and its direct wholly owned and indirect
subsidiaries. TPCGI’s direct wholly owned subsidiaries include TPCGLLC and Texas Petrochemicals Netherlands B.V., and its
indirect subsidiaries, which are all wholly owned subsidiaries of TPCGLLC, include Texas Butylene Chemical Corporation, Texas
Olefins Domestic International Sales Corporation, TPC Phoenix Fuels LLC, Port Neches Fuels LLC, TP Capital Corp., TPC Pipeline
Holding Company LLC and TPC Pipeline Company LLC.

      3.   Principles of Consolidation

     The Company’s consolidated financial statements include the accounts of TPCGI and its direct and indirect subsidiaries, after the
elimination of all significant intercompany accounts and transactions. The financial statements presented have been prepared by us in
accordance with GAAP.

NOTE B – DESCRIPTION OF BUSINESS

      We are a leading North American producer of value-added products derived primarily from C4 hydrocarbons. Our products are
sold to producers of a wide range of performance, specialty and intermediate products, including synthetic rubber, fuels, lubricant
additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
      In our C4 Processing segment, we process crude C4 into higher value components, namely butadiene, butene-1 and raffinates.
Butadiene is primarily used to produce synthetic rubber that is mainly used in tires and other automotive products; butene-1 is primarily
used in the manufacture of polyethylene plastic resins and synthetic alcohols; and raffinates are primarily used in the production of
alkylate, a component of premium unleaded gasoline.
      In our Performance Products segment, we process isobutylene, which we purchase as a raw material and also produce internally,
to produce polyisobutylene (“PIB”), diisobutylene (“DIB”), and methyl tertiary-butyl ether (“MTBE”).
      PIB is primarily used in the production of fuel and lubricant additives, caulks, adhesives, sealants and packaging; DIB is primarily
used in the manufacture of surfactants, plasticizers and resins; and MTBE is primarily used as a gasoline blending stock.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 12-14). The Houston plant, in addition to processing crude C4, also produces PIB, DIB,
and MTBE. The raw material isobutylene processed at our Houston facility is sourced from processing crude C4, third party supply
and internal on-purpose production. The feedstock for our on-purpose isobutylene production is isobutane, which is a plentiful natural
gas liquid resulting from shale gas development. Early in the second quarter, we signed a new MTBE offtake contract with one of the
world’s largest independent fuels and commodity trading firms, in an effort to replace crude C4 capacity. The contract is market based
and provides a secure outlet for 100% of our MTBE production through the end of 2023. Since the new MTBE offtake contract is
market based, we are subject to greater pricing volatility than under our previous offtake contract.




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     We also provide critical infrastructure and logistics services along the Gulf Coast. Our Houston processing facility and our
terminals provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers and
raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and ocean-
going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served by
barges.

      The primary drivers of our businesses are general economic and industrial growth. Our results are impacted by the effects of
economic upturns or downturns on our customers and our suppliers, as well as on our own costs to produce, sell and deliver our products.
Our customers generally use our products in their own production processes; therefore, if our customers curtail production of their
products, our results could be materially affected. In particular, our feedstock costs and product prices are susceptible to volatility in
pricing and availability of crude oil, natural gas and oil-related products such as unleaded regular gasoline. Prices for these products
tend to be volatile as well as cyclical, as a result of global and local economic factors, worldwide political events, weather patterns and
the economics of oil and natural gas exploration and production, among other things.

NOTE C – RISKS AND UNCERTAINTIES RELATED TO THE COVID-19 PANDEMIC

      In March 2020, the World Health Organization declared the outbreak of COVID-19 to be a pandemic. The global coronavirus
(COVID-19) pandemic continues to cause considerable uncertainty in the marketplace, and efforts to stop the virus are also having
significant economic consequences. Though the government restrictions across the world have generally started to ease and vaccines
have become available to help prevent COVID-19 infections, the extent and duration of measures implemented to try to slow the spread
of the virus, such as travel bans and restrictions, border closures, quarantines, and business and government shutdowns have caused,
and may continue to cause, reduced demand and operational delays. The COVID-19 outbreak has impacted the addressable market for
the Company’s products, and the Company’s business continues to be exposed to risks and uncertainties related to the pandemic. The
Company has taken several actions to deal with the pandemic. These include enabling its employees to work from home and suspending
all non-essential travel. The ultimate impact and the extent to which the COVID-19 pandemic will continue to affect the business,
results of operation and financial condition is difficult to predict and depends on numerous evolving factors outside of the Company’s
control including: the duration and scope of the pandemic; government, social, business and other actions that have been and will be
taken in response to the pandemic; and the effect of the pandemic on short and long-term general economic conditions. This uncertainty
also affects management’s accounting estimates and assumptions, which could result in greater variability in a variety of areas that
depend on these estimates and assumptions.

NOTE D – GOING CONCERN

     The consolidated financial statements of the Company have been prepared on a going concern basis, which contemplates the
realization of assets and the discharge of liabilities in the normal course of business. When preparing financial statements, management
has the responsibility to evaluate whether there are conditions or events, considered in the aggregate, that create substantial doubt about
the Company’s ability to continue as a going concern within one year after the date that the financial statements are issued. In applying
the accounting guidance, the Company considered its current financial condition and liquidity sources, including current funds available,
forecasted future cash flows and its unconditional obligations due over the next 12 months.

      The Company has sustained operating losses due to the Port Neches plant explosion in 2019 and as a result of market complications
from COVID-19. While the Company’s assessment of forecasted cash flow and available liquidity for 2021 includes significant PNO-
related insurance receipts, the amount and timing is uncertain and largely outside of the Company’s control. The Company can exercise
some control over capital spending, but there is no guarantee that alternate forms of additional capital will be available.


NOTE E– SIGNIFICANT ACCOUNTING POLICIES

     1.    Use of Estimates

     The preparation of financial statements in conformity with generally accepted accounting principles requires management to make
estimates and assumptions that affect the reported amount of assets and liabilities and disclosure of contingent assets and liabilities at
the date of the financial statements and the reported amounts of revenues and expenses during the reporting periods. Significant
estimates include liabilities and insurance proceeds related to the Port Neches incident (see Note J), impairment considerations,


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allowance for doubtful accounts, inventory valuation, pension plan assumptions, environmental and litigation reserves and provision for
income taxes. Actual results could differ from those estimates.

     2.    Cash and Cash Equivalents

       Cash and cash equivalents include amounts on deposit with banks, cash invested temporarily in investments with original
maturities of three months or less, and cash on hand. We maintain cash balances that are insured by the Federal Deposit Insurance
Corporation (“FDIC”). At December 31, 2020 and 2019, we had $18.5 million and $85.2 million, respectively, in cash and cash
equivalents, which were subject to a $0.25 million per financial institution FDIC insurance coverage limit. We believe that the
likelihood of any loss of cash and cash equivalents is remote and that we are not exposed to any significant credit risk on cash and cash
equivalents.

     3.    Accounts Receivable

      We extend credit to our customers in the normal course of business and generally do not require collateral for trade accounts
receivable. We perform ongoing credit evaluations of our customers and, in some instances, require letters of credit or additional
guarantees in support of contracted amounts. We review the collectability of trade receivables and use the allowance method to record
bad debt expense for amounts that we believe may be uncollectible. We believe no allowance was necessary as of December 31, 2020
and 2019. Write-offs are recorded at the time a customer receivable is deemed uncollectible.

     4.    Inventories

      Inventories consist of raw materials and finished goods and are valued at the lower of average cost or net realizable value. Costs
of finished products include raw materials, energy, labor and manufacturing overhead. We may enter into product exchange agreements
with suppliers and customers for raw materials and/or finished goods in the normal course of business. Under these arrangements we
deliver product volumes to the exchange partner to be delivered in-kind back to us or we receive product volumes to be delivered in-
kind by us to the exchange partner in the future, generally in the short term. Product exchanges typically benefit both parties from a
logistical perspective and provide for additional flexibility regarding both receipt of raw materials from suppliers and delivery of finished
goods to customers. Exchange balances due to or from exchange partners are recorded in inventory at the lower of average cost or net
realizable value and do not impact the consolidated statements of operations and comprehensive loss, as they are recognized at the
carrying amount. At December 31, 2020 we had no exchange receivable position and our exchange payable position was $0.6 million.
At December 31, 2019 we had no exchange receivable position and our exchange payable position was $0.8 million.

     5.    Property, Plant and Equipment

     Property, plant and equipment are stated at depreciated historical cost. Depreciation of property, plant and equipment is computed
using the straight-line method over estimated useful lives ranging from five to forty-five years for financial reporting purposes and
accelerated methods for income tax purposes. Maintenance and repairs and minor renewals are charged to expense as incurred while
major improvements, renewals and betterments are capitalized.
     Upon retirement or sale of an asset, the asset cost and the related accumulated depreciation are removed from the accounts and
any resulting gain or loss is reflected in results of operations.

     The estimated useful lives for our main categories of fixed assets are shown in the table below.

                                                                                                Estimated Useful Lives
                                                                                                      (in years)
                   Plant equipment                                                                      5 - 35
                   Pipelines                                                                           15 - 40
                   Buildings and land improvements                                                     15 - 45
                   Technology assets                                                                    5 -6




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     6.    Intangible Assets

     Our intangible assets include patents and a technology license for the butadiene extraction process used at our Port Neches facility.
Patents are amortized using the straight-line method over their useful lives. Our technology license has no legal, regulatory, contractual,
competitive, economic, or other factors that would limit its useful life; consequently, we have determined its useful life to be indefinite.

     7.    Impairment

    We follow ASC 350, Intangibles—Goodwill and Other, regarding impairment of the carrying value of our intangible assets and
ASC 360, Property, Plant and Equipment, regarding impairment of the carrying value of our property, plant and equipment.
      An impairment loss is recognized only if the carrying value of a long-lived asset or asset group is not recoverable and is measured
as the excess of the carrying value over the fair value. The carrying amount of a long-lived asset or asset group is considered not
recoverable if it exceeds the sum of the undiscounted cash flows expected to result from the use of the long-lived asset or asset group.
Because our long-lived intangible asset (one technology license) is fundamental to and inseparable from the respective long-lived
manufacturing assets, we assess impairment of the technology license together with the respective long-lived manufacturing assets based
on the undiscounted future cash flows related to the respective manufacturing processes.
     We assess our indefinite lived intangible assets and our long-lived assets for impairment annually, during the fourth quarter of
each year using a measurement date of December 31 or more frequently if events or changes in circumstances indicate that the carrying
amount of these assets may not be recoverable.

     8.    Plant Turnaround Costs

      Plant turnarounds are major scheduled events and require partial or complete shutdowns of chemical processing units for
significant overhaul and refurbishment, for periods typically lasting from two to four weeks. We use the deferral method to account
for the cost of turnarounds. Under the deferral method the costs of major scheduled plant turnarounds are deferred on the balance sheet
and charged to depreciation and amortization expense on a straight-line basis during the period until the next scheduled turnaround.

     9.    Debt Issuance Costs

      Direct costs incurred in connection with the issuance of long-term debt or modification of a credit facility, if the borrowing capacity
of the new arrangement is greater than or equal to the borrowing capacity of the previous arrangement, are deferred and amortized as
interest expense over the term of the debt or credit facility. Deferred debt issuance costs are reported as an offset to long-term debt on
our consolidated balance sheets.

     10. Revenue Recognition

         We recognize revenue in accordance with ASC 606, Revenue from Contracts with Customers, which we adopted as of January
1, 2019. We applied the modified retrospective transition method to all contracts not completed as of the adoption date. This revenue
recognition standard provides for a five-step analysis of transactions to determine when and how revenue is recognized. The premise
of the guidance is that a company should recognize revenue to depict the transfer of promised goods or services to customers in an
amount that reflects the consideration to which the entity expects to be entitled in exchange for those goods or services.
     Substantially all our revenues are derived through contractual arrangements with customers. We consider contractual
arrangements to be in place when both parties have approved the contract, are committed to perform, the rights of the parties and payment
terms have been identified, the contract has commercial substance and collectability is probable.
     Revenue is recognized when the obligations under the terms of a contractual arrangement with the customer have been satisfied.
This generally occurs at the point in time when performance obligations are fulfilled and control transfers to the customer. Revenue is
measured as the amount of consideration we expect to receive in exchange for transferring goods. Customer incentives are generally
based on volumes purchased and recognized over the period earned.

     11. Insurance Recoveries

    If an insurance claim as of the balance sheet date relates to a recovery of incurred losses, we recognize the recovery up to the
amount of the loss incurred, if the recovery is probable. Such recognized insurance proceeds are recorded as a receivable and an offset
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to the related losses incurred. We do not recognize any net gains related to insurance proceeds unless the proceeds have been received
and any contingencies related to the proceeds have been adequately resolved.

     12. Environmental Remediation Costs

     Anticipated expenditures related to investigation and remediation of contaminated sites, which include operating facilities and
waste disposal sites, are accrued when it is probable a liability has been incurred and the amount of the liability can be reasonably
estimated.

     13. Comprehensive Loss

     Comprehensive loss is reported in accordance with ASC 220, Comprehensive Income. Our comprehensive loss is defined as net
income adjusted for the change (net of tax) in the funded status of our defined benefit pension plan.

     14. Income Taxes

     We account for income taxes in accordance with ASC 740, Income Taxes.
      We recognize deferred taxes at enacted tax rates on temporary differences between the carrying amounts of assets and liabilities
for financial and tax reporting purposes.
     We record a valuation allowance on net deferred tax assets when it is more likely than not that these assets will not be realized.
      We recognize interest and penalties related to uncertain tax positions taken or to be taken as part of income tax expense. We
incurred no penalty or interest expenses in 2020, 2019 or 2018.

     15. Stock-Based Compensation

     We account for stock-based compensation in accordance with ASC 718, Compensation—Stock Compensation. Expense related to
stock-based compensation awards is recognized in our financial statements based on the grant date fair values of the respective awards.
The amount of grant date fair value recognized as expense in our financial statements is based on an estimate of the number of awards
that are ultimately expected to vest, and the related expense is recognized ratably over the vesting period. Forfeitures are estimated at
the time of grant and revised, if necessary, in subsequent periods if actual forfeitures differ from the estimates.

     16. Asset Retirement Obligations

      We follow ASC 410, Asset Retirement and Environmental Obligations, regarding accounting for obligations associated with the
retirement of tangible long-lived assets and the associated asset retirement costs. The provisions of this statement apply to legal
obligations associated with the retirement of long-lived assets that result from the acquisition, construction, development and/or normal
operation of a long-lived asset.
       We have asset retirement obligations with respect to certain of our chemical processing assets due to various legal obligations to
clean and/or dispose of various components of the chemical plants at the time they are retired. However, these components can be used
for extended and indeterminate periods of time as long as they are properly maintained and/or upgraded. It is our practice and current
intent to maintain our chemical processing assets and continue making improvements to those assets based on technological advances.
As a result, we believe our facilities have indeterminate lives for purposes of estimating asset retirement obligations because dates or
ranges of dates upon which we would retire chemical processing assets cannot reasonably be estimated at this time. When a date or
range of dates can reasonably be estimated for the retirement of any component part of a chemical plant, an estimate of the cost of
performing the retirement activities will be provided and a liability will be recorded for the fair value of that cost using established
present value techniques. We did not record any asset retirement obligations related to the retirement of any component parts of our
facilities as of December 31, 2020 and 2019.

     17. Shipping and Handling Costs

     We account for shipping and handling costs as a fulfillment activity and not a separate performance obligation. Shipping and
handling costs billed to customers in conjunction with sale transactions are recorded as a component of revenue and shipping and
handling costs incurred by us are included in cost of sales in the Consolidated Statements of Operations and Comprehensive Loss.
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     18. Financial Instruments

      The carrying amounts for cash and cash equivalents, receivables and payables approximate fair value because of the short maturity
of these instruments. At December 31, 2020, our long-term debt consisted of the fixed rate 10.5% Notes, which had a carrying amount
of $930.0 million and a fair value of approximately $774.2 million. At December 31, 2019, our long-term debt consisted of the fixed
rate 10.5% Notes, which had a carrying amount of $930.0 million and a fair value of approximately $939.4 million. There were no
borrowings on the ABL at December 31, 2020 and December 31, 2019.

     19. Fair Value Option

       ASC 825, Financial Instruments, allows entities to choose, at specified election dates, to measure eligible financial assets and
liabilities at fair value that are not otherwise required to be measured at fair value. If a company elects the fair value option for an
eligible item, changes in that item's fair value in subsequent reporting periods must be recognized in current earnings. We have not
elected to measure any of our eligible financial assets and liabilities at fair value.

     20. Recent Accounting Developments

     Accounting Standards Adopted in 2020

       Fair Value Measurement – As required, we adopted ASU 2018-13, Disclosure Framework - Changes to the Disclosure
Requirements for Fair Value Measurement, which amended ASC 820, Fair Value Measurement, as of January 1, 2020. The Company
will, when applicable, disclose at Fair Value any derivative assets and liabilities or investments in entities. However, based on our
assessment, the standard has currently had little or no impact on our consolidated financial position, results of operations or cash flows.

      Accounting Guidance Issued but Not Yet Adopted as of December 31, 2020

       Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company continues to evaluate its population of leases and
is continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting
for logistics equipment. The Company anticipates recognition of additional assets and corresponding liabilities related to leases upon
adoption, effective January 1, 2022.

      Defined Benefit Plans – ASU 2018-14, Compensation—Retirement Benefits, amends disclosure requirements for employers that
sponsor defined benefit pension or other postretirement plans. For public business entities, the amendments are effective for fiscal years
ending after December 15, 2020. For all other entities the amendments are effective for fiscal years ending after December 15,
2021. Early adoption is permitted. The Company anticipates some changes to the disclosures required to comply with this standard.

       Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management does not expect that changes required by the new standard will materially impact the Company's financial statements and
related disclosures.




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NOTE F – DETAIL AND DISCUSSION OF CERTAIN CONSOLIDATED BALANCE SHEET CAPTIONS

     Inventories

     Inventories, as of the dates presented, were as follows (in thousands):
                                                                                                  December 31,
                                                                                              2020           2019

                    Finished goods                                                      $      24,665       $     31,632
                    Raw materials and chemical supplies                                        20,770             20,426

                                                                                        $      45,435       $     52,058


      The decrease of $6.6 million reflected an 11% decrease in overall average cost per pound, which accounted for $5.8 million of the
decrease, and a 2% decrease in physical inventory volumes, which accounted for the remainder of the decrease. The decrease in average
cost per pound was driven primarily by a 34% decrease in the benchmark price of butadiene comparing the prices for December 2020
to December 2019.

     Other Current Assets

     Other current assets, as of the dates presented, were as follows (in thousands):

                                                                                            December 31,
                                                                                    2020                   2019
                     Prepaid insurance premiums                                 $       21,002      $           342
                     Spare parts inventory                                              15,741               14,675
                     Prepaid expense and other                                           4,380                6,673
                                                                                $       41,123      $        21,690


          The increase in Other Current Assets relates to the financing of a substantial portion of our insurance premiums in 2020 for
policies renewed through 2021. Due to significant recent insurance claims in the petrochemical industry, insurance market conditions
tightened, and we renewed our policies at substantially higher premiums than the expiring coverages.




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     Property, Plant and Equipment

     Property, plant and equipment, as of the dates presented, were as follows (in thousands):

                                                                                                  December 31,
                                                                                              2020           2019

                     Land and land improvements                                          $      52,839    $         52,839
                     Plant and equipment                                                     1,108,577           1,071,744
                     Construction in progress                                                   93,903              66,830
                     Other                                                                      52,464              50,971
                                                                                             1,307,783           1,242,384
                          Accumulated depreciation                                            (604,510)           (557,540)
                                                                                         $    703,273     $       684,844


     The net increase in Property, Plant and Equipment primarily relates to the $27 million net increase in construction in progress
(CIP), which consists of the new Port Neches Plant terminal project that was started in 2020 but not completed by December 31, 2020.
The change also reflects the $11 million CIP write off of Port Neches projects in 2019, which lowered 2019 CIP.

     Intangible Assets

     Changes in the carrying amount of our intangible assets, for the periods presented, were as follows (in thousands):

                                                                            Intangible          Accumulated               Carrying
                                                                              assets            amortization               value

               Balance at December 31, 2018                             $       26,980          $     (17,325)      $          9,655
               Amortization                                                        -                   (2,887)                (2,887)
               Balance at December 31, 2019                                     26,980                (20,212)                 6,768
               Amortization                                                        -                   (2,888)                (2,888)
               Balance at December 31, 2020                             $       26,980          $     (23,100)      $         3,880



     The gross carrying amounts and accumulated amortization of intangible assets, as of the dates presented, were as follows (in
thousands):

                                                                         Gross                                   Net
                                                                        carrying         Accumulated           carrying
                                                                         value           amortization           value
                         December 31, 2019
                          Technology license                        $        3,880       $         -       $      3,880
                          Patents                                           23,100             (20,212)           2,888

                                                                    $       26,980       $     (20,212)    $      6,768
                         December 31, 2020
                          Technology license                        $        3,880       $         -       $      3,880
                          Patents                                           23,100             (23,100)               -
                                                                    $       26,980       $     (23,100)    $      3,880

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      The technology license is related to the butadiene extraction process at the Port Neches facility, which was shut down indefinitely
due to the explosion incident on November 27, 2019 (see Note J). Our current position is that it is more likely than not that this licensed
process will be used in the future, so we do not consider the carrying value of the intangible to be impaired. If future facts and/or
circumstances indicate an impairment of the carrying value of this asset we will recognize an impairment charge.

     Patent amortization expense for year ending December 31, 2020 was $2,888, after which the patents are fully amortized.

     Other Assets

     Other assets, as of the dates presented, were as follows (in thousands):

                                                                                         December 31,
                                                                                  2020                  2019
                           Deferred turnaround costs                          $        40,308    $        35,654
                           Catalyst and solvent costs                                  13,693             14,870
                           Other deferred charges                                       1,849              3,100
                                                                              $        55,850    $        53,624


     The increase in deferred turnaround costs in 2020 is solely attributable to the Houston facility. The Port Neches facility is
currently operating as a terminal (and not a production facility) and therefore has not had any turnaround activity during 2020.

     Accrued Liabilities
     Accrued liabilities, as of the dates presented, were as follows (in thousands):
                                                                                         December 31,
                                                                                  2020                  2019

                         Accrued payroll and benefits                     $         17,537       $         12,007
                         Net pension liability                                       8,493                  7,870
                         Accrued freight                                             5,875                  6,799
                         Accrued interest                                           41,231                 40,967
                         Property and sales tax                                     13,991                  9,894
                         Other                                                       5,508                    501
                                                                          $         92,635       $         78,038


      The net increase in accrued payroll and benefits liabilities represents an increase deferred payroll taxes as well as an increase in
incentive compensation accrued liabilities, not yet paid, year over year. As part of the Company’s cash preservation measures, incentive
compensation payments for the year ended December 31, 2019 were deferred and are to be paid in 2021. The increase in property and
sales tax liabilities versus prior year reflects higher unpaid property tax assessments, a portion of which is currently under appeal. The
property tax balance at December 31, 2020 includes $5.1 million and $2.2 million in unpaid taxes related to tax appeals for the years
2020 and 2019 respectively. A $6.3 million property tax payment was made in January of 2021, excluding amounts under appeal.
Accrued interest was fairly consistent year over year and the slight increase largely reflects higher interest on the New Term Loan.
Payments on the New Term Loan are made quarterly, with the last payment occurring in December 2020. Interest on the $930 million
principal amount of the 10.5% Notes is paid semiannually on February 1 and August 2.




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     Accrued Liabilities – Port Neches Incident

     Port Neches incident accrued liabilities, as of the dates presented, were as follows (in thousands):

                                                                                                  December 31,
                                                                                              2020            2019
                 Total of losses and costs recognized                                    $     416,817      $    287,372
                 Deferred gain on insurance                                                     36,694               -
                 Invoices / settlements paid                                                  (293,874)          (30,570)
                 Unpaid invoices included in payables                                          (12,507)           (7,875)
                 Asset write-offs                                                              (56,868)          (57,517)
                                                                                                90,262           191,410
                 Accrued response / clean-up costs                                       $      46,258      $      47,566
                 Estimated claims liability                                                     44,004           143,844
                                                                                         $      90,262      $    191,410



       The above reconciliation reflects $416.8 million and $287.4 million of losses and costs related to the Port Neches incident as of
December 31, 2020 and December 31, 2019 respectively (see Note J). The reconciliation provides the main components of the accrued
liability for each year. These amounts are shown on the accompanying consolidated balance sheet at December 31, 2020 and December
31, 2019.
      For 2020, the amount of loss on the Port Neches incident, net of insurance recoveries, of $50.1 million showing on the Consolidated
Statements of Operations and Comprehensive Loss is the total amount of additional losses and costs of $129.4 million incurred during
the year less $56.0 million of insurance recoveries received related to 2020 losses and costs and probable insurance recoveries receivable
of $23.3 million at December 31, 2020. As of the issuance date of this report, March 24, 2021, we have received $40.0 million in
additional insurance proceeds in 2021.

      For 2019, the amount of loss on the Port Neches incident, net of insurance recoveries, of $91.9 million showing on the Consolidated
Statements of Operations and Comprehensive Loss reflected the total amount of losses and costs of $287.4 million less insurance
recoveries received in 2019 of $10.0 million and probable insurance recoveries receivable of $185.5 million at December 31, 2019. As
of the issuance date of the December 31, 2019 report, $165.0 million in additional insurance proceeds was received.

NOTE G – SHORT-TERM DEBT

      Our short-term financing arrangements at December 31, 2020 consisted of insurance premium financing. In June 2020 we
financed $2.3 million of insurance premiums through Aon Premium Finance LLC. The initial down payment and the first installment
payment were due in July 2020 with the remaining payments scheduled to be paid over the next nine months through April 2021. We
financed approximately $39.0 million of additional insurance premiums through Aon Premium Finance LLC for insurance coverages
that were renewed during the third quarter, making additional down payments and increasing the amount of the remaining monthly
payments through April 2021.




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NOTE H – LONG-TERM DEBT

     Outstanding debt as of the dates presented, was as follows (in thousands):
                                                                                                 December 31,
                                                                                          2020                  2019
                         Notes                                                        $    930,000       $       930,000
                         New Term Loan                                                      70,000                   -
                         Unamortized discount on New Term Loan                                (286)                  -
                         Total long-term debt                                              999,714               930,000
                           Less: deferred financing costs                                  (14,393)              (14,228)
                         Long-term debt net of deferred financing costs               $    985,321       $       915,772

     Our financing arrangements at December 31, 2020 were comprised of the 10.5% Notes, the New Term Loan and the ABL. As of
December 31, 2020, we were in compliance with all covenants set forth in the Indenture governing the 10.5% Notes and the credit
agreement governing the ABL.

     New Term Loan

     On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provides for a delayed draw term loan of up to $70 million and a term of one-year.

     Availability under the New Term Loan is limited to a maximum of four draws with a minimum of $5 million per draw.

      Subject to certain exceptions, the Company’s obligations with respect of the New Term Loan are secured by liens on and security
interests in all collateral securing the 10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment
with those liens and security interests granted pursuant to the Indenture governing the 10.5% Notes.
      The ABR loans under the New Term Loan bear interest at an Alternate Base Rate plus an Applicable Margin of 6%. The Alternate
Base Rate is equal to a fluctuating rate per annum equal to the greatest of (i) the rate of interest last quoted by The Wall Street Journal
(or, other national publication selected by the Administrative Agent in consultation with the Borrower) as the United States “prime rate”
(the “Prime Rate”), (ii) the Federal Funds Rate plus 0.50%, (iii) the LIBOR Rate determined by the Administrative Agent (with a term
equivalent to one month), published as of approximately 11:00 a.m. (London time) two Business Days prior to the date at which the
Alternate Base Rate is being determined, plus 1.00%, and (iv) in the case of ABR Loans, 2.50% per annum. The Prime Rate is not
necessarily the lowest rate that the Administrative Agent is charging to any corporate customer. Interest is due on the last Business Day
of each calendar quarter.
      The LIBOR Loans under the New Term Loan have a LIBOR Rate and an Applicable Margin of 7% applied. The LIBOR Rate is
the per annum rate of interest (rounded up to the nearest 1/100th of 1%) determined by the Administrative Agent at or about 11:00 a.m.
(London time) two Business Days prior to an Interest Period, for a term equivalent to such period, equal to the London Interbank Offered
Rate, or comparable or successor rate approved by the Administrative Agent, as published on the applicable Bloomberg screen page (or
other commercially available source designated by the Administrative Agent from time to time); provided, that any comparable or
successor rate shall be applied by the Administrative Agent in a manner consistent with market practice; provided further, that in no
event shall the LIBOR Rate be less than 1.50%. Interest payments are due quarterly in arrears.
      The New Term Loan contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the
ability of TPCGI and certain of its subsidiaries to:

     •    pay dividends on or make certain distributions and other restricted payments;
     •    incur additional debt, issue disqualified stock or issue certain preferred stock;
     •    create certain liens or encumbrances;
     •    sell assets;
     •    enter into transactions with affiliates;

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     •    limit ability of restricted subsidiaries to make payments to TPCGI;
     •    consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets;
     •    change its lines of business;

     •    designate TPCGI’s subsidiaries as unrestricted subsidiaries; and

     •    in addition to the foregoing, with respect to the borrower and its subsidiaries, incur certain liabilities.

      The New Term Loan also contains certain customary additional affirmative covenants, representations and warranties, conditions
to making loans, indemnification provisions and events of default, including (subject in certain cases to customary grace and cure
periods) material inaccuracy of representations, non-payment of obligations under the New Term Loan, violation of affirmative and
negative covenants, non-payment or acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of
the credit documents (or the assertion of any such invalidity), certain casualty events, change of control and loss of lien perfection or
priority.
      On March 18, 2020, we drew on the facility and received $70 million less a 1% original issue discount fee. On May 15, 2020 we
and the lenders agreed to amend the New Term Loan. The amendment extended the maturity date from February 2, 2021 to August 5,
2021. In addition, the amendment increased the Applicable Margin on ABR Loans from 6% to 7% and on LIBOR Loans from 7% to
8% as of the date of the amendment. Although the New Term Loan matures in less than one year, as of December 31, 2020, it has been
classified as long-term debt, as it was refinanced in February 2021. See Note T, Subsequent Events, for further discussion.
     ABL

     TPCGI is the lead borrower under the ABL and certain domestic subsidiaries of TPCGI are co-borrowers (or may be designated
co-borrowers) on a joint and several basis.
     The ABL is composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” tranche (the
ABL FILO). Commitments under the ABL FILO will be reduced, and commitments under the ABL Revolver equally and
simultaneously increased, by $2.5 million on each of the first three anniversaries of the August 2019 amendment and restatement.
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.

     As of December 31, 2020, we had no borrowings outstanding on the ABL and the combined ABL Revolver and ABL FILO
borrowing bases provided us with the ability to borrow up to $75.6 million.
      The ABL Revolver commitments may be increased by an aggregate principal amount of not more than $150 million, subject only
to the consent of the new or existing lenders providing such increases. The lenders under this facility are under no obligation to provide
any such additional commitments, and any increase in commitments will be subject to customary conditions precedent.
Notwithstanding any such increase in the facility size, TPCGI’s ability to borrow under the facility will remain limited at all times by
the borrowing base (to the extent the borrowing base is less than the commitments).
      Loans under the ABL Revolver bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate
equal to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR
rate plus 1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be
1.75% (and may subsequently decrease to 1.50% or increase to 2.00% depending on average excess availability) and with respect to
base rate borrowings will initially be 0.75% (and may subsequently decrease to 0.50% or increase to 1.00% depending on average excess
availability).
      Loans under the ABL FILO bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate equal
to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR rate plus
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1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be 3.00% (and
may subsequently decrease to 2.75% or increase to 3.25% depending on average excess availability) and with respect to base rate
borrowings will initially be 2.00% (and may subsequently decrease to 1.75% or increase to 2.25% depending on average excess
availability).
      The ABL provides for all applicable margins to be reduced by 0.25% during any fiscal quarter for which the Total Leverage Ratio,
as defined in the ABL credit agreement, as of the last day of the immediately preceding fiscal quarter, is less than 5.0 to 1.0.
      In addition to paying interest on outstanding principal under the ABL, TPCGI is required to pay a commitment fee at an initial rate
of 0.500% per annum in respect of the unutilized commitments thereunder. The commitment fee rate subsequently may be reduced to
0.375% depending on the amount of excess availability under the ABL. TPCGI must also pay customary letter of credit fees and
fronting fees for each letter of credit issued.
      If, at any time, (i) an Event of Default is continuing or (ii) Excess Availability is less than the greater of (x) 12.5% of Availability
and (y) $12.5 million, TPCGI shall comply with a minimum Fixed Charge Coverage Ratio for the most recent period of four consecutive
fiscal quarters of at least 1.0 to 1.0. Such requirement shall continue until the date that no Event of Default exists, and Excess
Availability shall have been not less than the greater of (x) 12.5% of Availability and (y) $12.5 million for a period of 21 consecutive
calendar days.
      If at any time the aggregate amount of loans and letters of credit outstanding under either the ABL Revolver or under the ABL
FILO exceeds the lesser of (a) the applicable total commitments and (b) the applicable borrowing base, TPCGI will be required to prepay
loans outstanding and/or cash collateralize outstanding letters of credit in an aggregate amount equal to the amount of any such excess,
without any reduction of the commitments. Under certain circumstances, if the aggregate amount available under the ABL is less than
the greater of (1) 12.5% of the lesser of (i) the total commitments under such facility and (ii) the borrowing base and (2) $12.5 million
for 5 consecutive business days, or if certain defaults occur, all collateral proceeds collected through the cash management system in
favor of the collateral agent will be swept to a collection account and applied daily to repay outstanding loans and cash collateralize
letters of credit under the ABL.
       TPCGI may voluntarily repay loans outstanding under the ABL Revolver and under the ABL FILO at any time without premium
or penalty other than customary “breakage” costs with respect to LIBOR loans. All outstanding loans under the ABL Revolver must
be repaid before any loans outstanding under the ABL FILO may be repaid. Any subsequent borrowings under the ABL would be
made first under the ABL FILO (subject to availability) and next under the ABL Revolver (subject to availability). We may elect at
any time to reduce the unutilized portion of the commitment amount under the ABL. We may elect at any time to terminate the ABL
FILO commitments in full (but not in part) provided that 30 Day Excess Availability, as defined in the Credit Agreement and calculated
on a pro forma basis, would not be less than the greater of (a) 17.5% of availability and (b) $25 million if the Fixed Charge Coverage
Ratio is at least 1.0 to 1.0 or 30 Day Excess Availability would not be less than 22.5% of availability if the Fixed Charge Coverage Ratio
is less than 1.0 to 1.0.
      Pursuant to a Guarantee, dated as of August 2, 2019, among Parent, TPCGI, the other guarantors party thereto and Bank of
America, N.A., as administrative agent and collateral agent, all obligations under the Senior Secured Asset-Based Revolving Credit
Agreement are unconditionally guaranteed by substantially all existing and future, direct and indirect, wholly-owned material restricted
domestic subsidiaries of TPCGI, subject to certain exceptions, including, any applicable legal, regulatory or contractual constraints and
to the requirement that such guarantee will not cause material adverse tax consequences.
     The borrowers under the ABL are jointly and severally liable for all borrowings and other obligations thereunder. Pursuant to a
Pledge and Security Agreement, dated as of August 2, 2019, among Parent, TPCGI, the subsidiary grantors and Bank of America, N.A.,
as administrative agent and collateral agent, and any additional borrowers that may become party thereto from time to time, such
obligations and the guarantees of such obligations are secured, subject to permitted liens and other exceptions, by:

     •    a first-priority lien on the following:

                  (a)       accounts receivable, including those arising from the sale of inventory and other goods and services
                            (including related contracts and contract rights, inventory, tax refunds, cash and cash equivalents);
                  (b)       inventory;
                  (c)       intercompany notes and intellectual property and other intangible assets to the extent attached to or necessary
                            to sell any of the foregoing;


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                  (d)       deposit and investment accounts (and all cash, checks and other negotiable instruments, funds and other
                            evidences of payment held therein, but not any identifiable proceeds of Notes First Priority Collateral (as
                            defined below));
                  (e)       to the extent evidencing, governing, securing or otherwise related to any of the foregoing and the other
                            Revolver First Priority Collateral (as defined below), all documents, general intangibles (excluding
                            intellectual property), instruments, investment property (but not stock in subsidiaries or equity interest in any
                            limited liability company or other entity constituting Notes First Priority Collateral), commercial tort claims,
                            letters of credit, supporting obligations and letter of credit rights;
                  (f)       all loans payable by a grantor to any other grantor to the extent made using proceeds of advances under the
                            ABL Facility;
                  (g)       books and records, documents, supporting obligations, chattel paper, instruments, payment intangibles and
                            general intangibles relating to any of the foregoing; and
                  (h)       all proceeds and products of any or all of the foregoing in whatever form received, in each case above subject
                            to certain qualifications and exclusions (collectively, the “Revolver First Priority Collateral”); and

     •   a second-priority lien on assets not constituting Revolver First Priority Collateral subject to certain qualifications and
         exclusions (the “Notes First Priority Collateral”).

    The ABL contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the ability of
TPCGI and certain of its subsidiaries to:

     •   incur additional indebtedness;
     •   create liens;
     •   engage in mergers or consolidations;
     •   sell or transfer assets;
     •   pay dividends and distributions or repurchase its capital stock;
     •   make investments, loans or advances;
     •   prepay certain indebtedness;
     •   engage in certain transactions with affiliates;
     •   designate certain subsidiaries as restricted or unrestricted by the covenants; and
     •   change its lines of business.

      In addition, at any time when an event of default is continuing or the aggregate amount available under the ABL is less than the
greater of (a) 12.5% of the lesser of (1) the total commitments and (2) the borrowing base and (b) $12.5 million (or a lesser amount if a
significant asset sale has occurred), TPCGI will be required to maintain a minimum fixed charge coverage ratio of 1.0:1.0.
      The ABL also contains a customary “holding company” covenant that restricts Parent’s ability to take certain actions and contains
certain customary additional affirmative covenants, representations and warranties, conditions to making loans, indemnification
provisions and events of default, including (subject in certain cases to customary grace and cure periods) material inaccuracy of
representations, non-payment of obligations under the ABL, violation of affirmative and negative covenants, non-payment or
acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of the credit documents (or the assertion
by Parent or a borrower of any such invalidity), change of control and loss of lien perfection or priority.
      On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.




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     10.5% Notes

     The 10.5% Notes are due August 1, 2024 and interest will be paid semi-annually in arrears on February 1 and August 1.

      Indenture Governing the 10.5% Notes

     On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 02, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.5% Indenture”).
     The 10.5% Notes are guaranteed by all of TPCGI’s existing or future direct and indirect domestic subsidiaries other than certain
excluded subsidiaries (the “guarantors”) that guarantee obligations under the ABL.
       The 10.5% Notes are TPCGI’s and the guarantees are the guarantors’ senior secured obligations and rank senior in right of payment
to all of TPCGI’s and the guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally
in right of payment with all TPCGI’s and the guarantors’ existing and future liabilities that are not so subordinated, including the ABL.
The 10.5% Notes and the guarantees are structurally subordinated to all existing and future liabilities and preferred stock of any of its
subsidiaries that do not guarantee the 10.5% Notes effectively senior to TPCGI’s and the guarantors’ indebtedness that is unsecured or
that is secured by junior liens to the extent of the value of the assets securing the 10.5% Notes and the guarantees, and effectively junior
to TPCGI’s ABL to the extent of the value of the assets that secure TPCGI’s ABL on a first-priority basis.
      The 10.5% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the guarantors’ assets
(in each case, other than TPCGI’s and the guarantors’ assets that secure the ABL on a first-priority basis), subject to certain exceptions
and permitted liens. Subject to certain exceptions and permitted liens, the 10.5% Notes and the guarantees are also secured on a second-
priority basis by TPCGI’s and the guarantors’ assets that secure our ABL on a first-priority basis.
       The 10.5% Notes become redeemable as of August 1, 2021 at the redemption prices specified in the 10.5% Indenture. The
redemption price for the period from (and including) August 1, 2021 through July 31, 2022 is 107.875% and for the period from (and
including) August 1, 2022 through July 31, 2023 is 103.938%. The 10.5% Notes become redeemable at par as of August 1, 2023.
Unless otherwise redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an
offer to repurchase the 10.5% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if
any. In addition, at any time prior to August 1, 2021, TPCGI may redeem, subject to certain conditions, up to 35% of the 10.5% Notes
at a redemption price of 110.50% with the net cash proceeds from one or more equity offerings.
      The 10.5% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted subsidiaries
to (subject to certain exceptions):

     •    incur additional debt, issue disqualified stock or issue certain preferred stock;
     •    pay dividends on or make certain distributions and other restricted payments;
     •    create certain liens or encumbrances;
     •    sell assets;
     •    enter into transactions with affiliates;
     •    limit ability of restricted subsidiaries to make payments to TPCGI;
     •    consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •    designate TPCGI’s subsidiaries as unrestricted subsidiaries.

      The 10.5% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.5% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.5% Notes to be due and payable.
     On February 2, 2021 we issued $153 million of 10.875% Senior Secured Notes and repaid the $70 million New Term Loan we
had in place with Apollo Global Management to provide additional liquidity against any uncertainty around timing of future insurance
recoveries, including business interruption recoveries, over the next year.

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NOTE I – REVENUE

     We operate in two principal business segments, C4 Processing and Performance Products. The following table disaggregates
revenue for each segment by major activity and by domestic and foreign.

                                                                           Year Ended December 31,
                                                                    2020            2019           2018
                     Revenue by segment
                      C4 Processing
                          Product sales                         $   382,557     $    889,744     $ 1,012,450
                          Process revenue                             2,228            6,208           6,190
                          Terminalling revenue                        7,164            8,916           9,828
                          Service fees                                2,386            5,818           5,518
                          Shipping and handling                      12,846           11,518           9,178
                                                                $   407,181     $    922,204     $ 1,043,164

                       Performance Products
                           Product sales                            328,160          524,213          563,500
                           Terminalling revenue                          75              150            3,226
                           Shipping and handling                     15,974           18,359           16,945
                                                                $   344,209     $    542,722     $    583,671
                                                                $   751,390     $ 1,464,926      $ 1,626,835

                     Revenue by geographic location
                      United Sates                              $   711,818     $ 1,341,470      $ 1,483,515
                      All foreign countries                          39,572         123,456          143,320
                                                                $   751,390     $ 1,464,926      $ 1,626,835


NOTE J – PORT NECHES INCIDENT

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” We anticipate future engagement with OSHA regarding these issues
including a settlement conference scheduled for August 2021.

      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA) served the Company with an
information request under Section 114 of the federal Clean Air Act. The request seeks information about the incident as well as the
Company’s Risk Management Program compliance program at both the Port Neches and Houston facilities. Such requests are typically
the first step in EPA enforcement. We anticipate that there likely will be additional enforcement matters, claims for cost recovery,
and/or claims for natural resource damages from these and other similar agencies. However, we are unable to estimate a liability
associated with such claims at this time.
     The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
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damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,500 property claims have been resolved and approximately 1,600 additional eligible claims are working through the claims process.
The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial statements. The Company
also provided an emotional support hotline staffed by licensed professional counselors from Samaritan Counseling Center of Southeast
Texas.
      In addition to the property claims, sixty-one private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred lawsuits – which
typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual plaintiff cases now
pending. Twenty-seven of the sixty-one private party lawsuits, including approximately 565 individual plaintiffs, are awaiting transfer
to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of subrogation claims filed by
homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. A hearing on class certification is not
expected before Q4 2021 at the earliest.
      Four different sets of insurance policies, under the insurance coverage we had in effect at the time, provide coverage for costs and
losses incurred as a result of the Port Neches incident. Our quota-share property and business interruption policies provide up to $850.0
million of coverage. The deductible is $10.0 million and certain categories of costs are subject to varying coverage sub-limits. In
addition, the policies contain a 45-day waiting period before business interruption qualifies for coverage. As of December 31, 2020,
we have paid $67.7 million of costs and collected $160.0 million under this policy, of which $12.1 million has been specifically
designated as business interruption coverage and $147.9 million has been designated as an unallocated payment on account. Of the
unallocated proceeds of $147.9 million, $36.7 million are recorded as a deferred gain due to the net book value of the affected assets
being lower than the value that we will receive. Reimbursable costs under this policy recorded in 2020 and 2019 total $58.0 million
and $64.7 million, respectively. Of these costs we currently estimate that $111.2 million will be recoverable.
         Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of December 31, 2020, we have incurred third-party claim amounts of $165.0 million, have paid
$120.7 million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $49.8 million
and we have collected $15.3 million of this amount. We anticipate collecting a total of $35.2 million for these expenses. Costs recorded
under this policy in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional amount
was incurred for claims of $3.1 million and for defense costs of $35.6 million.
      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of December 31, 2020, we have
incurred and paid $51.1 million of costs and have collected the full $25.0 million of coverage under this policy. We incurred $23.1
million of these costs in 2019 and an additional $28.0 million in 2020.
      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.4 million. We expect to recover
the fair market value at the time of the event on these materials.
     Costs that we will not recover from insurance include turnaround amortization, fines, certain consulting and legal costs as well as
any costs that may exceed various applicable sub-limits within the policies and any costs that exceed the policy coverage limits.
      On January 13, 2021 we executed an additional unallocated Proof of Loss for $40.0 million under our property and business
interruption policies and received the funds in January and February 2021. As of the issuance of this 2020 Annual Report (i.e. March
24, 2021), we have paid out $127.4 million on liability claims. Excluding claims, we have also paid approximately $178.9 million in
response, defense, pollution, and other costs. Additional proceeds anticipated to cover book costs equal $280.6 million with
additional recovery anticipated as a gain.
      For the year ended December 31, 2020, we had recognized a net amount of losses and incurred costs of $50.1 million, which
reflected $129.4 million in losses and incurred costs offset by $79.3 million of insurance proceeds. The net amount of $50.1 million
included estimated liability claims expected to be in excess of our liability insurance coverage of $3.1 million. Additionally, the net
amount of response cost losses of $47.2 million represents costs incurred directly related to the ongoing incident response and cleanup
activities for which insurance coverage was not considered probable or costs were in excess of certain insurance coverage limitations.
     For the prior year, ended December 31, 2019, we had recognized a net amount of losses and incurred costs $91.9 million, which
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reflected $287.4 million in losses and incurred costs offset by $195.5 million of insurance proceeds, of which $10.0 million was received
in 2019 and $185.5 million was recorded as an insurance receivable since recovery of that amount was determined to be probable. The
net amount of $91.9 million consisted of a write-off of deferred turnaround costs of $19.0 million, insurance deductibles of $11.1 million
and estimated liability claims expected to be in excess of our liability insurance coverage of $61.8 million.

NOTE K – BUSINESS INTERRUPTION INSURANCE RECOVERY

     During the fourth quarter of 2018 the Company received $0.6 million in insurance proceeds, which represented the full amount of
our Hurricane Harvey business interruption claim.

NOTE L – COVID-19 EXPENSES

     The $1.9 million of COVID-19 expenses relate to costs incurred as a result of precautionary measures taken by the Company to
prevent the spread of COVID-19 at TPC sites. The costs include protective gear for employees, increased sanitation of TPC sites, and
enhancements to workspaces to promote safety.

NOTE M – REPAIR AND OTHER EXPENSES RELATED TO DOCK INCIDENT

      These expenses of $1.5 million for the year ended December 31, 2018 consisted of a $0.25 million insurance deductible and
uninsured logistics and legal expenses incurred as a direct result of the damage to the main dock at our Houston facility in June 2018.
All temporary repair costs, except for the deductible, were offset by insurance proceeds received in 2018.

NOTE N – FAIR VALUE

      Within the framework for measuring fair value, ASC 820, Fair Value Measurements and Disclosures, establishes a fair value
hierarchy, which requires an entity to maximize the use of observable inputs and minimize the use of unobservable inputs when
measuring fair value. The standard defines the three levels of inputs used to measure fair value as follows:

         •   Level 1: Inputs are unadjusted quoted prices for identical assets or liabilities in active markets, which primarily consist
             of financial instruments, traded on exchange or futures markets.
         •   Level 2: Inputs are other than quoted prices in active markets (included in Level 1), which are directly or indirectly
             observable as of the financial reporting date, including derivative instruments transacted primarily in over-the-counter
             markets.
         •   Level 3: Unobservable inputs, which include inputs derived through extrapolation or interpolation that cannot be
             corroborated by observable market data.

      As of December 31, 2020, and 2019, we had no outstanding assets or liabilities measured at fair value on a recurring basis except
for the fair value of our pension plan assets and short-term investments which were measured using Level 1 and Level 3 inputs.




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NOTE O – INCOME TAXES

         The significant components of deferred tax assets and liabilities are shown below as of the dates presented (in thousands):

                                                                                         December 31,
                                                                                  2020                    2019

                       Deferred tax assets:
                        Loss and credit carryforwards                      $           94,580       $          94,612
                        Disallowed interest                                            47,761                  33,176
                        Accrued and other expenses                                      8,648                   5,679
                        Inventory                                                       2,678                   2,030
                              Total deferred tax assets                               153,667                135,497
                          Less: Valuation allowance                                   (27,703)                   -
                       Deferred tax assets less valuation allowance        $          125,964       $        135,497
                       Deferred tax liabilities:
                        Property, plant and equipment                      $         (101,651)      $       (100,750)
                        Insurance proceeds receivable                                 (10,610)               (38,950)
                        Deferred turnaround costs                                      (8,512)                (7,487)
                        Prepaid expenses                                               (4,462)                  (309)
                        Intangible assets                                                (729)                (1,272)
                              Total deferred tax liabilities                         (125,964)              (148,768)
                              Net deferred tax liability                   $               -        $         (13,271)


          We analyze both positive and negative evidence available to us to provide a reasonable basis for us to assess the realizability
of our deferred tax assets. ASC 740 “Accounting for Income Taxes” requires that a valuation allowance be established for a deferred
tax asset if it is more likely than not that the related tax benefit will not be realized. Realization of deferred tax assets depends on the
existence of sufficient taxable income of the appropriate character within the carryback and carryforward period available under the tax
law. Our assessment of the realizability of our deferred tax assets considered the following four sources of future taxable income:

          •    Future reversal of existing temporary differences;
          •    Future taxable income exclusive of reversing temporary differences and carryforwards;
          •    Taxable income in prior carryback years; and
          •    Tax planning strategies.

      Reversal of exiting taxable temporary differences existing at December 31, 2020 would not generate sufficient taxable income to
utilize our deferred tax assets as of that date as we were in a net deferred tax position of $27.7 million.
     Regarding future taxable income, we considered our annual net operating losses since 2014 and the uncertainty of sufficient future
taxable income to be objective evidence that is it more likely than not that the benefit of our deferred tax assets will not be fully realized.
     We have no taxable income in carryback periods and do not have tax planning strategies that provide positive evidence that our
deferred tax assets will be realized.
      As a result of our analysis we have concluded that it is more likely than not that we will not realize the full benefit of our deferred
tax assets and have therefore established a deferred tax asset valuation allowance of $27.7 million at December 31, 2020.
      The primary components of our deferred tax assets at December 31, 2020 were $94.6 million related to net operating losses and
credit carryforwards and $47.8 million related to the amount of temporarily disallowed interest deductions. Our cumulative pretax net
operating losses of $440.4 million consisted of $281.0 million of pre-2018 net operating losses and post-2017 pretax net operating losses
of $159.4 million. Pretax disallowed interest deductions for 2020, 2019 and 2018 were $69.5 million, $101.7 million and $56.3 million,
respectively. All pre-2018 net operating losses have a 20-year carryforward period and can be used to offset up to 100% of future
taxable income in any year. All post-2017 net operating losses and disallowed interest deductions can be carried forward indefinitely;

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however, the use of post-2017 net operating losses will be limited to 80% of future taxable income in any year.
      Our deferred tax liabilities consist primarily of the tax effect of temporary differences between the book and tax basis of property
plant and equipment, due to cumulative differences between book and tax depreciation, and the tax effect of cumulative differences
between book and tax treatment of insurance proceeds in 2019 and 2020 related to the Port Neches incident
      Our net operating loss for 2020 was $9.0 million, which reflects our pretax book loss of $203.9 million which was substantially
offset by taxable temporary differences of $135.1 million related to differences in book and tax treatment of insurance proceeds related
to the Port Neches incident and disallowed interest expense of $69.5 million. The book pretax loss reflects the significant loss of
production and distribution capability resulting from the Port Neches incident as well as the negative impact of COVID-19 on demand
for our products and the overall economy.
      We have conducted an evaluation of tax positions taken on previous tax returns. Based on that evaluation, we concluded that it
is more likely than not, based on the technical merits of our tax positions, that we are entitled to the economic benefits resulting from
positions taken on our tax returns. Consequently, we have not recorded any liabilities related to uncertain tax positions and have not
reversed any benefits previously recognized. Therefore, we have not recognized any interest or penalties related to uncertain tax
positions.
     We file a consolidated federal income tax return and state tax returns in Texas and Louisiana.
     IRS audits of 2011, 2012 and 2013 were concluded during 2015 and by letter dated July 1, 2015, we were notified by the IRS that
no changes would be needed to the tax returns filed for those years. All years subsequent to 2013 remain open for examination and we
have not been notified by the IRS of any impending examinations.
      In 2012, the Texas Comptroller of Public Accounts completed franchise tax audits for the fiscal years ended June 30, 2007, 2008
and 2009. Based on the results of those audits, the Texas Comptroller of Public Accounts and the Company reached a settlement
pursuant to which the Company paid a total of $0.3 million in additional taxes and interest related to the three years covered by the
audit. All years subsequent to fiscal 2009 remain open for examination and we have not been notified by the Texas Comptroller of
Public Accounts of any impending examinations.
     Our income tax benefit was comprised of the following for the periods presented (in thousands):

                                                                                Year Ended December 31,
                                                                            2020         2019         2018
                           Current:
                            Federal                                     $    (2,079)   $ (2,079)    $      -
                            State                                               (71)        494            175
                           Deferred
                            Federal                                         (41,214)      (8,936)       (14,079)
                            State                                               (84)         283            206
                           Valuation allowance                               27,703          -              -
                           Income tax benefit                           $ (15,745)     $ (10,238)   $ (13,698)




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     The provision for income taxes differs from the amount computed by applying the statutory federal income tax rate to income
before income taxes. The reasons for this difference are as follows for the periods presented (in thousands):

                                                                                            Year Ended December 31,
                                                                                   2020              2019                   2018
    Loss before income taxes                                               $       (203,909)     $       (51,729)       $     (66,900)
    Statutory federal income tax rate                                                   21%                  21%                  21%
    Computed "expected" federal income tax benefit                                  (42,821)             (10,863)             (14,049)
    Increase (decrease) in tax resulting from:
      Credit for increasing research and development activities                        (305)               (150)                   (249)
      State tax, net of federal benefit                                                (122)                614                     301
      Other, net                                                                       (200)                161                     299
    Valuation allowance                                                              27,703                 -                       -
    Total income tax benefit                                               $        (15,745)     $       (10,238)       $     (13,698)



NOTE P – SUPPLEMENTAL DISLOSURES OF CASH FLOW INFORMATION

     Cash paid (received) for interest and taxes, for the periods presented, were as follows (in thousands):

                                                                                            Year Ended December 31,
                                                                                     2020              2019         2018
          Interest payments, net                                               $      104,245        $   52,099     $       83,727
          Income tax payments (refunds), net                                           (1,662)           (1,912)               121


NOTE Q – COMMITMENTS AND CONTINGENCIES

      We lease office space, dock space, tank cars, barges, tugboats and various types of equipment under non-cancelable operating
leases expiring on various dates through December 2033. The future minimum lease payments under non-cancelable operating leases,
in excess of one year, at December 31, 2020 consisted of the following (in thousands):

                                                2021                           $      35,162
                                                2022                                  33,058
                                                2023                                  27,032
                                                2024                                  16,172
                                                2025                                  14,880
                                                2026 and thereafter                   37,096
                                                                               $     163,400


      Rent expense included in operating expenses and general and administrative expenses was $14.0 million, $13.7 million and $13.0
million for 2020, 2019 and 2018, respectively. Rent expense included in cost of sales was $61.1 million, $53.6 million and $45.8
million for 2020, 2019 and 2018, respectively.

     1.   Purchase Commitments

     We have purchase commitments incident to the ordinary conduct of business. The prices of such purchase commitments are
based on indices, which are determined from the prevailing market rates for the associated products. These commitments generally
have provisions permitting cancellation upon satisfaction of notification requirements.
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     2.    Legal Matters

      From time to time, we are party to routine litigation incidental to the normal course of our business, consisting primarily of claims
for personal injury or exposure to our chemical products or feedstocks, and environmental matters. We intend to defend these actions
vigorously and believe, based on currently available information, that adverse results or judgments from such actions, if any, will not
be material to our financial condition, results of operations or cash flows. We record reserves for contingencies when information
available indicates that a loss is probable, and the amount of the loss is reasonably estimable. Management’s judgment may prove
materially inaccurate, and such judgment is subject to the uncertainty of litigation. Many of the personal injury or product exposure
lawsuits to which we are a party are covered by insurance subject to certain self-insured retention amounts.
      Our contractual arrangements with our customers and suppliers are typically very complicated and can include, for example,
complex index-based pricing formulas that determine the price for our feedstocks or finished products. Due to the complicated nature
of our contractual arrangements, we can, from time to time, be involved in disputes with our customers and suppliers regarding the
interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the normal course of our business,
seldom result in actual formal litigation, and are typically resolved in the context of the broader commercial relationship that we have
with the customer or supplier.
      On December 10, 2020, the Company received a notice from a customer asserting a purported breach of the parties’ MTBE sales
agreement. The customer asserts that it had properly exercised the right of first refusal provided in the sales agreement and that the
Company’s subsequent agreement with another customer constitutes a breach of the sales agreement. The Company disputes and
intends to aggressively defend the customer’s possible claim. The parties are working to set up a mediation as required in the dispute
resolution provisions of the sales agreement. No lawsuit has been filed.
      As described above, we record reserves for contingencies when information available indicates that a loss is probable, and the
amount of the loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment is subject to
the uncertainty of the dispute resolution or litigation process. As of December 31, 2020, we have not recognized any material reserves
related to unresolved disputes with customers and suppliers.
       Sixty-one private party lawsuits, including five class actions, are pending in Texas state court related to the November 2019
incident at our Port Neches plant. The petitions bring a variety of claims sounding in negligence, gross negligence, nuisance, and
trespass. The plaintiffs in these cases allege in the most general way that we were negligent and/or grossly negligent by breaching
duties to, among other things, (1) maintain unspecified plant equipment, (2) develop, implement, and maintain proper procedures for
storage of chemicals at the facility, and (3) warn the public concerning the risks and dangers of the chemicals maintained at the
facility. The petitions also allege that these and other breaches caused damages, including property damage, medical care and expenses,
pain and suffering, physical impairment, lost earnings, disfigurement, medical monitoring, mental anguish, and injury to
business. Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas
state court cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated
the 128th District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred
lawsuits – which typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual
plaintiff cases now pending. Twenty-seven of the sixty-one private party lawsuits, including approximately 565 individual plaintiffs,
are awaiting transfer to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of
subrogation claims filed by homeowners’ insurance companies. The Court has been conducting monthly status conferences. The
Court entered a Case Management Order on November 17, 2020 setting a schedule and parameters for discovery. A hearing on class
certification is not expected before Q4 2021 at the earliest.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA)
served the Company with an information request under Section 114 of the federal Clean Air Act. The request seeks information about
the incident as well as the Company’s Risk Management Program compliance record at both the Port Neches and Houston facilities.
Such requests are typically the first step in EPA enforcement. We anticipate that there likely will be additional enforcement matters,
claims for cost recovery, and/or claims for natural resources damages from TCEQ, EPA, and OSHA.
     Because these lawsuits, which we intend to vigorously defend, are in their early stages, we are unable to determine if a loss is
probable or estimate the amount or range of potential loss and therefore have not established any reserves, but we believe the amounts
involved may be material.

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      Beyond the matters in active litigation, the Company has received other claims and demands, through its formal claims process
and otherwise, from individuals, companies, and insurers claiming damages as a result of the incident. The Company is in the process
of reviewing these claims. It is possible some of these claims may result in additional litigation.

     3.       Environmental and Safety Matters

      Our Company is subject to federal, state, local and foreign laws, regulations, rules and ordinances from various governing agencies
that regulate human health, safety, security and the environment. These include, for example:

          •     The federal Resource Conservation and Recovery Act (“RCRA”) and comparable state laws that impose requirements for
                the generation, handling, transportation, treatment, storage, disposal and cleanup of waste from our facilities.
          •     The federal Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”) also known as
                “Superfund,” and comparable state laws that regulate the cleanup of hazardous substances that may have been released at
                properties currently or previously owned or operated by us or locations to which we have sent waste for disposal.
                        Under CERCLA and comparable State of Texas Laws, at this time TPC has not identified any liability of material
                         significance for previously disposed substances and wastes, or for remediation of contaminated property to
                         prevent future contamination.
          •     The federal Clean Water Act (“CWA”) and analogous state laws and regulations that impose detailed permit requirements
                and strict controls on discharges of wastewater from our facilities.
          •     The federal Clean Air Act (“CAA”) and comparable state laws and regulations that impose obligations related to air
                emissions, including federal and state laws and regulations that recently took effect or are currently under development to
                address greenhouse gas (“GHG”) emissions.
                        At this time, we anticipate that the Environmental Protection Agency’s (“EPA”) recently adopted Boiler
                         Maximum Achievable Control Technology (“MACT”) regulation package will only require the Company to
                         implement work practices, recordkeeping, and reporting, and will not require any substantial capital investments.
                        Regarding GHG emission requirements, the Company is subject to annual reporting of emissions and to air
                         permitting for projects but currently is not subject to any other requirements.
                        Air quality standards intended to protect the environment, including the National Ambient Air Quality Standards
                         (“NAAQS”) promulgated by the EPA to address ambient air quality concerns, continue to evolve. The federal
                         CAA requires that the EPA periodically review the science upon which the NAAQS are based and the standards
                         themselves. As a result of this review, the EPA has in recent years lowered certain NAAQS, including the
                         standards for sulfur dioxide, ozone and particulate matter, and may do so again in the future, for these or other
                         pollutants. Changes to the NAAQS may increase the cost of our operations, require the installation of emissions
                         controls, or reduce or delay available business opportunities.
          •     Chemical product safety regulation including the federal Toxic Substances Control Act (“TSCA”) and the Emergency
                Planning and Community Right-to-Know Act (“EPCRA”) that impose notification, reporting, record-keeping and testing
                requirements, and restrictions relating to chemical substances and/or mixtures as well as certain reporting on the storage,
                use and releases of hazardous chemicals to federal, state, and local governments.
                        TSCA reform legislation was enacted in June 2016, expanding EPA’s authority to review and regulate new and
                         existing chemicals. EPA’s implementation of this legislation may increase the cost of our operations, require
                         changes to our supply chain and logistics practices or delay available business opportunities.
                        Similar compliance laws related to chemical product safety in jurisdictions outside the United States where our
                         products are distributed such as the European Union’s regulatory framework concerning the Registration,
                         Evaluation and Authorization of Chemicals (known as REACH), may increase the cost of our operations, require
                         changes to our supply chain and logistics practices or delay available business opportunities.
                        In June 2013, the EPA finalized its second list of chemicals subject to its Endocrine Disruptor Screening Program
                         (“EDSP”) and included MTBE, a major product for the Company, in this final list. EPA will issue test orders to
                         manufacturers of MTBE at some time in the future, at which time TPC will be required to embark on an initial
                         two-year test program along with other MTBE manufacturers. TPC has joined a consortium with the other major
                         manufacturers of MTBE to manage the test program and share costs. Based on the results of the initial testing
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                      to determine if MTBE exhibits endocrine disrupting properties, EPA may decide some years in the future to
                      include MTBE in a second round of tests to evaluate MTBE’s potency as a potential endocrine disruptor.
         •   The Occupational Safety and Health Act and comparable state statutes, laws and regulations including OSHA’s Process
             Safety Management standard which imposes requirements on regulated entities relating to the management of hazards
             associated with highly hazardous chemicals.
                     The Company expects to incur capital expenditures in the future as part of our ongoing baseline capital
                      expenditure program to address the findings of ongoing process hazard assessments, including expenditures to
                      upgrade equipment and instrumentation.
         •   United States Department of Homeland Security’s Marine Transportation Security Act (“MTSA”) which establishes
             standards for security at marine-based chemical facilities.
      We are committed to maintaining compliance with applicable environmental, health, safety (including process safety) and security
(“EHS&S”) legal requirements, and we have developed policies and management systems intended to identify the various EHS&S legal
requirements applicable to our operations and facilities. We work to enhance and assure compliance with applicable requirements,
ensure the safety of our employees, contractors, community neighbors and customers, and minimize the generation of wastes, the
emission of air contaminants and the discharge of pollutants. These EHS&S management systems also serve to foster efficiency and
improvement and to reduce operating risks.
      In the ordinary course of business, we undertake frequent environmental inspections and monitoring and are sometimes subject to
investigations by governmental authorities. In addition, our production facilities require a number of environmental permits and
authorizations that are subject to renewal, modification and, in certain circumstances, revocation. Actual or alleged violations of
environmental laws or permit requirements or the discovery of releases of hazardous substances at or from our facilities could result in
restrictions or prohibitions on plant operations, significant remedial expenditures, substantial civil or criminal sanctions, as well as,
under some environmental laws, the assessment of strict and/or joint and several liability. Moreover, changes in environmental
regulations or the terms of our environmental permits could inhibit or interrupt our operations or require us to modify our facilities or
operations. Accordingly, environmental or regulatory matters may cause us to incur significant unanticipated losses, costs or liabilities.
      In addition to the requirements imposed upon us by law, we also enter into other agreements from time to time with state and local
environmental agencies either to avoid the risks of potential regulatory action against us or to implement improvements that exceed
current legal requirements. To that end, in April 2015, we signed an Agreed Order with the TCEQ requiring us to achieve continued
reductions in our emissions of butadiene and other volatile organic compounds at our Houston Facility and undertook a new five-year,
$20 million incremental spending program on environmental performance projects. The Agreed Order is in effect for five years from
the effective date of the order or until compliance with all terms and conditions of the order, whichever is later. We expect to implement
the required measures and incur the incremental spending through a combination of (a) increases in our annual maintenance and capital
expenditures throughout the five-year period and (b) additional expenditures in connection with our regularly scheduled turnarounds
(typically occurring every three to four years). We expect to fund the incremental expenditures from our operations and/or from
borrowings under the Revolving Credit Facility and do not expect the expenditures to have a material impact on our operations or
liquidity.
      The Company has agreed to indemnify third parties for environmental and other liabilities pursuant to various agreements,
including asset divestiture agreements and leases. Many of these obligations contain monetary and/or time limitations, but others do
not provide for those limitations. The Company is not aware of any probable and reasonably estimable losses associated with any of
these obligations.
     The Occupational Safety and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port
Neches plant in December 2019. OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations
and three willful citations with total proposed penalties of approximately $0.5 million. The Company has appealed these citations.
We strongly disagree with the characterization of some of the alleged violations as “willful.” We anticipate future engagement with
OSHA regarding these issues.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA)
served the Company with an information request under Section 114 of the federal Clean Air Act. The request seeks information about
the incident as well as the Company’s Risk Management Program compliance record at both the Port Neches and Houston facilities.
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Such requests are typically the first step in EPA enforcement. We anticipate that there likely will be additional enforcement matters,
claims for cost recovery, and/or claims for natural resources damages from TCEQ, EPA, and OSHA. The Company may have insurance
coverage for some of the foregoing claims for environmental cleanup.

NOTE R – EMPLOYEE BENEFITS

      1.    Retirement Plan

      We sponsor a defined contribution plan that is available to all full-time employees on the date of hire. The plan allows employees
to contribute up to 60% of their base compensation to a tax-deferred fund not to exceed $19,500 for 2020, $19,000 for 2019, and $18,500
for 2018.
     For non-represented employees, we match at the rate of one dollar for each dollar contributed by the employee up to 5% of the
employee’s annual earnings. Non-represented employees also participate in our discretionary plan which, based on business
performance, may contribute up to 6% of the employee’s annual earnings.
     For represented employees, we match at a rate of one dollar for each dollar contributed by the employee up to 7% of the employee’s
annual earnings. Represented employees do not participate in the discretionary plan.
      Company contributions for both non-represented and represented employees vest immediately.
     Our expense to match employee contributions, including discretionary contributions, during the years ended December 31, 2020,
2019 and 2018 was $2.0 million, $5.6 million and $4.7 million, respectively.

      2.    Stock Compensation Plans

      On December 29, 2012, Parent adopted the 2012 Long-Term Incentive Plan (the “2012 Plan”), which permits it to grant awards
of profit interests to certain of the Company’s officers and employees, in the form of Class B Management Interests and Class C
Management Interests (“Class B and Class C Interests,” collectively). The Class B and Class C Interests under the 2012 Plan constitute
performance-based awards, and the amount of payouts for these awards is based on the amount of distributable assets available upon
the occurrence of an Exit Event (defined below) to the general and limited partners at the time of their disposal, distribution or sale of
their ownership stake in the Company.
       We utilized a Monte Carlo simulation model to estimate the grant date fair value of Class B and Class C Interests granted on
December 29, 2012. The key factors that will create value in these awards include: (1) the year of the “Exit Event” (either an initial
public offering or subsequent public offering of the equity of the Company, or the merger, consolidation, sale of interests or sale of the
Company), (2) the probability that an Exit Event will occur in a particular year, which is based on management’s assessment of when
this is likely to occur, (3) the probability that the Exit Event will result in a sufficient return on invested capital to trigger a payout to the
Class B and Class C Interests, (4) the risk-free interest rate, which is based on the U.S. Treasury yield curve in effect at the time of grant
with maturities equal to the grant’s expected life, and (5) the ultimate exit value of the Company, which was estimated using a Monte
Carlo simulation.
     As of December 31, 2012, based on the results of the Monte Carlo simulation, we determined that no Exit Event timing or valuation
is more probable than any other and, therefore, were unable to determine a grant date fair value for the awards granted under the 2012
Plan and did not recognize any expense related to the awards in the year ended December 31, 2012. Additionally, there have been no
changes in events or circumstances since that original assessment as of December 31, 2012 that allowed us to determine an Exit Event
timing or valuation that is more probable than any other and, therefore, have been unable to determine a grant date fair value for any
awards granted under the 2012 Plan. Consequently, we did not recognize any expense related to the awards for the years ended
December 31, 2020, 2019 and 2018.
     The Company will continue to review the assumptions used to assess value of the awards granted under the 2012 Long-Term
Incentive Plan and if at any point in the future we are able to determine a probable timing or valuation of an Exit Event we will value
the awards and recognize compensation expense.

      Defined Benefit Pension Plan

      We sponsor a cash balance plan (the “Cash Balance Plan”) for the benefit of represented employees at the Port Neches facility.
Participation in the Cash Balance Plan is subject to terms of negotiated contracts. For participating employees, the Cash Balance Plan

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benefit formula provides annual pay credits from 4% to 12% of eligible pay, depending on age and service, plus accrued interest. The
plan’s assets are maintained by trustees in separately managed portfolios consisting of equity and fixed income securities.
     Provided below, as of and for the years ended, were the components of the changes in the benefit obligation and plan assets and a
reconciliation of the funded status to the liabilities recognized in the consolidated balance sheets (in thousands):

                                                                                                December 31,
                                                                                            2020           2019
                      Change in benefit obligation:
                       Benefit obligation at beginning of period                        $    22,647         $   19,082
                       Service cost                                                             946              1,006
                       Interest cost                                                            429                652
                       Benefits paid                                                         (6,231)            (1,112)
                       Actuarial loss                                                         1,119              3,019
                       Plan amendments                                                         (703)                 -
                        Benefit obligation at end of period                                  18,207             22,647
                      Change in plan assets:
                       Fair value of plan assets at beginning of period                      14,777             12,176
                       Actual return on plan assets                                             317              1,615
                       Employer contributions                                                   851              2,098
                       Benefits paid                                                         (6,231)            (1,112)
                        Fair value of plan assets at end of period                            9,714             14,777
                      Unfunded status, end of period                                $         (8,493)   $       (7,870)

                      Reconciliation of accrued liability:
                       Accrued liability at beginning of period                         $       (367)       $   (1,080)
                       Net periodic pension cost for the period                               (1,174)           (1,385)
                       Total one-time costs                                                   (1,839)              -
                       Employer contributions                                                    851             2,098
                        Accrued liability at end of period                                    (2,529)             (367)
                      Accumulated amounts recognized in OCI (before tax)                      (5,964)           (7,503)
                      Net liability recognized in Consolidated Balance Sheets       $         (8,493)   $       (7,870)




    The net pension liability at both December 31, 2020 and 2019 were recorded in accrued liabilities.

     On April 30, 2020, the Company terminated 68 employees as part of a Reduction in Force (“RIF”) resulting from the Port Neches
incident. The Cash Balance Plan was re-measured as of April 30, 2020 to reflect settlement accounting, retroactive plan amendments,
and the RIF.
     Two plan amendments were executed in 2020 and resulted in a $702.2 million decrease in the projected benefit obligation.
      The one-time costs incurred of $1.8 million relate to the RIF and the resulting changes to the Cash Balance Plan. A curtailment
gain of $0.5 million was triggered at the April 30, 2020 RIF when the Cash Balance Plan’s expected future years of service decreased
by 54%. Additionally, settlement accounting was triggered initially on April 30th when eligible employees elected a lump sum payment
and the lump sum payouts from the Cash Balance Plan exceeded the expected sum of the plan’s service cost and interest cost.
Settlement accounting was triggered two more times in 2020 for total settlement charges of $2.4 million.




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     Provided below, for the periods presented, were the components of net pension expense (in thousands):

                                                                           Year Ended December 31,
                                                                        2020            2019            2018
                         Components of net pension expense:
                          Service cost                            $          946    $    1,006      $     1,202
                          Interest cost                                      429           652              490
                          Expected return on assets                         (753)         (681)            (789)
                          Amortization of prior service cost                 (43)          (35)               -
                          Amortization of net actuarial loss                 595           443              135
                                                                  $        1,174    $    1,385      $     1,038


     The projected net pension expense for the year ending December 31, 2021 consists of the following components (in thousands):

                               Service cost                                               $         728
                               Interest cost                                                        299
                               Expected return on assets                                           (634)
                               Amortization of prior service costs                                  (47)
                               Amortization of net actuarial loss                                   503
                                                                                          $         849



     The following actuarial assumptions were used to determine benefit obligations as of the dates presented:

                                                                            December 31,
                                                                        2020           2019

                             Discount rate                              1.81%           2.70%
                             Rate of compensation increase              4.00%           4.50%


     The following actuarial assumptions were used to determine net periodic benefit cost for the periods presented:

                                                                          Year Ended December 31,
                                                                   2020             2019          2018

                           Discount rate                          2.70%             3.81%           3.14%
                           Expected return on plan assets         6.50%             6.50%           6.50%
                           Rate of compensation increase          4.50%             4.50%           4.50%


     The measurement date for our Cash Balance Plan is as of the end of our fiscal year. Our Cash Balance Plan assets are managed
by outside investment managers. Our investment strategy with respect to the Cash Balance Plan assets is to maximize returns while
preserving principal. At December 31, 2020, Cash Balance Plan assets were invested 89.0% in equity mutual funds, 7.9% in fixed
income mutual funds and 3.1% in cash equivalents. The expected return on assets assumption was determined based on the anticipated
performance of the various asset classes in the Cash Balance Plan’s portfolio.
      The following table presents the Cash Balance Plan assets using the fair value hierarchy as of December 31, 2020. The fair value
hierarchy has three levels based on the reliability of the inputs used to determine fair value. See Note N for a brief description of the
three levels under the fair value hierarchy.


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                           Category                              Total            Level 1           Level 2             Level 3

                           Cash and equivalents              $       302      $         302     $       -           $       -
                           Mutual funds - equity                   8,643              8,643             -                   -
                           Mutual funds - fixed income               769                -               -                   769

                                                             $     9,714      $       8,945     $       -           $       769


     Provided below, for the periods presented, are benefit payments expected to be paid to eligible plan participants under our Cash
Balance Plan (in thousands):
                                             2021                                 $         3,429
                                             2022                                             557
                                             2023                                           1,827
                                             2024                                             539
                                             2025                                           1,707
                                             2026 and thereafter                            7,703


NOTE S – CONCENTRATION RISKS

      We had sales to customers outside the United States during years ended December 31, 2020, 2019 and 2018 of $39.6 million,
$123.5 million and $143.2 million, respectively. Our top five customers accounted for an aggregate of 47.2%, 43.3%, and 50.6% of
our revenues for years ended December 31, 2020, 2019 and 2018, respectively.

     Sales to customers who accounted for at least 10% of our sales for the periods presented were as follows:

                                                                            Year Ended December 31,
                                                                        2020         2019         2018
                             Trafigura Trading, LLC                     15%                 *                  *
                             Afton Chemical Corporation                 11%                 *                  *
                             Lukoil Pan Americas, LLC                    *               14%                  17%
                             Goodyear - SRI Global                       *               10%                  10%


                           * Less than 10%

     We perform ongoing credit evaluations of our customers and generally do not require collateral for accounts receivable.
Historically, our credit losses have been minimal.

     Customers who accounted for at least 10% of our accounts receivable balance, as of the dates presented were as follows:

                                                                                          December 31,
                                                                                      2020           2019
                           Afton Chemical Corporation                                 18%                     15%
                           Goodyear - SRI Global                                      12%                      *

                           * Less than 10%




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     A small number of suppliers for our feedstocks account for a significant percentage of our feedstock purchases. Our top five
suppliers accounted for an aggregate of 65.6%, 48.3%, and 46.5% of our vendor feedstock purchases in the years ended December 31,
2020, 2019 and 2018, respectively.

      Some of the employees at our Port Neches facility are covered by collective bargaining agreements that expire on January 31,
2022. To the extent that we experience work stoppages in the future as a result of labor disagreements, a prolonged labor disturbance
at one or more of our facilities could have a material adverse effect on our operations.

NOTE T – SUBSEQUENT EVENTS

     Technical Center Fire

      Early on the morning of January 9, 2021, the TPC Houston operations team responded to a fire alarm in the Technical Center.
The Technical Center, located on the southwest side of the facility, which contains quality control and research and development
activities, had a fire in the mechanical room. TPC’s Emergency Response Team responded to the incident with assistance from the
Houston Fire Department. The Company coordinated with local officials and emergency responders to quickly resolve the issue. There
were no injuries to TPC employees and no offsite or environmental impacts; however, one emergency responder sustained an injury
while responding to the event. As a result of the fire, there is considerable damage to the facility and the housed equipment.
Fortunately, over 75% of the equipment is salvageable, but, in the absence of a functioning laboratory the Company had to secure short
term outsourcing solutions for all of the quality control testing needs. Since late February, however, we have replaced the majority of
the outsourced testing by inhouse testing in a combination of TPC and rental facilities, substantially reducing the incremental costs.
Between response costs, outsourcing costs, rental expenses and the cost of rebuilding the Technical Center, we estimate that the fire will
cost the Company approximately $11.5 million.

     C4 Processing Agreement

     In January 2021 TPC signed a long-term contract with a third-party crude C4 toll processor and began sending crude C4’s to this
processor through enhancements made to the Port Neches terminal in the second phase of the refurbishment of these assets. The
agreement uses TPC Group’s logistic and storage facilities, along with its commercial agreements for feedstock and product sales, to
supply a steady stream of crude C4’s to the third-party processor. The agreement uses available butadiene extraction capacity to process
the Crude C4 and return the finished butadiene and raffinate products to TPC Group for distribution.

     Refinancing

     On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.875% Notes

     On February 2, 2021 the 10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875%
Notes and to make certain other changes to certain covenants contained therein. Simultaneously, TPCGI issued and sold $153 million
aggregate principal amount of the 10.875% Notes to certain holders of the 10.5% Notes. The 10.875% Notes are guaranteed on a senior
unsecured basis by TPC Holdings, Inc. and on a senior secured basis by all of the Company’s existing or future direct and indirect
domestic subsidiaries, other than certain excluded subsidiaries (collectively, the “Subsidiary Guarantors”).
      The net proceeds from the offering were used to repay and terminate the $70 million Term Loan, to pay all fees and expenses
related to the transactions and for general corporate purposes. Interest on the 10.875% Notes began accruing on the issue date and is
payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each year, commencing on May 1, 2021. The 10.875%
Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness and the
10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes are effectively subordinated to the ABL Facility
and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by assets or properties not constituting
collateral securing the 10.5% Notes to the extent of the value of such assets and properties.

     February Weather Event

     In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter weather.
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Due to the extreme weather, our facilities in the region experienced disruption to their operations, resulting in lost production and
additional maintenance costs. We anticipate that the total financial impact of this freeze event, between incremental costs for repairs,
higher energy costs and lost volumes, will be between $50 million and $60 million.




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               TPC Group Inc.
         QUARTERLY REPORT
            Quarter ended June 30, 2021




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Exhibit I – TPC Group Inc. Annual Report for the year ended December 31, 2020




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                                                      DEFINITIONS OF TERMS

     Capitalized and other terms used throughout this Quarterly Report, unless the specific context otherwise requires or indicates have
the meanings ascribed to them below:

     •    ABL – our asset-based loan facility originally entered in December 2012, which was repaid, amended, and restated in
          conjunction with the refinancing of our debt on August 2, 2019 and again amended on February 2, 2021 to permit the issuance
          of the 10.875% Notes. The ABL is scheduled to mature in August 2024. For a detailed description of the ABL see Note G
          to our condensed consolidated financial statements on pages 33–38 of this Quarterly Report for the quarter ended June 30,
          2021;
     •    ASC - Accounting Standards Codification, which is the sole source of authoritative generally accepted accounting principles
          in the United States, other than rules and regulations issued by the Securities and Exchange Commission (SEC) that apply to
          SEC registrants;
     •    ASU - Accounting Standards Update, which the Financial Accounting Standards Board (FASB) issues to communicate
          changes to the ASC. ASUs are not authoritative standards;
     •    Company, us, we, and our - TPC Group Inc. and its subsidiaries;
     •    GAAP – Generally Accepted Accounting Principles in the United States;
     •    Gross profit contribution (“GPC”) - as used herein, is defined as revenue less cost of sales as reported in our consolidated
          statements of operations and comprehensive income. GPC is the residual amount that is available, after deducting the
          variable costs to produce and distribute our products from revenue, to cover all other expenses;
     •    Holdings - TPC Holdings Inc., a Delaware corporation, which, upon consummation of the Merger, became the direct parent
          of TPCGI. Holdings and Parent are affiliates of our Sponsors formed by investment funds affiliated with our Sponsors in
          order to acquire TPCGI;
     •    Merger – the December 20, 2012 merger of Sawgrass Merger Sub Inc., a Delaware corporation, which merged with and into
          TPCGI, with TPCGI surviving the Merger as a direct wholly-owned subsidiary of Holdings and an indirect wholly-owned
          subsidiary of Parent;
     •    New Term Loan – the Delayed Draw Term Loan Facility entered into on February 3, 2020, which provided for a delayed
          draw term loan of up to $70 million for a term of one year, and which the outstanding balance of $70 million was repaid with
          the net proceeds from issuance of the 10.875% Notes;
     •    Old Term Loan – the Senior Secured Delayed Draw Term Loan Facility, scheduled to mature in December 2020, for which
          the outstanding balance of $50 million was repaid with the net proceeds from issuance of the 10.5% Notes and which was
          terminated in conjunction with the refinancing of our debt on August 2, 2019;
     •    Parent - Sawgrass Holdings LP, a Delaware limited partnership, which, upon consummation of the Merger became the direct
          parent of Holdings and indirect parent of TPCGI. Parent and Holdings are affiliates of our Sponsors formed by investment
          funds affiliated with our Sponsors in order to acquire TPCGI;
     •    Sponsors - First Reserve Management, L.P. and SK Capital Partners;
     •    TPCGI - TPC Group Inc., a Delaware corporation, not including any of its subsidiaries;
     •    TPCGLLC - TPC Group LLC, a Texas limited liability company and the principal subsidiary of TPCGI;
     •    TPCPF - TPC Phoenix Fuels LLC, a Texas limited liability company and wholly owned subsidiary of TPCGLLC;
     •    8.75% Notes – the $805 million principal amount of Senior Secured Notes due in December 2020, which were redeemed
          with the net proceeds from issuance of the 10.5% Notes in conjunction with the refinancing of our debt on August 2, 2019;
     •    10.5% Notes – the $930 million principal amount of Senior Secured Notes due August 1, 2024 issued in conjunction with the
          refinancing of our debt on August 2, 2019. For a detailed description of the 10.5% Notes see Note G to our condensed
          consolidated financial statements on pages 33–38 of this Quarterly Report for the quarter ended June 30, 2021;
     •    10.875% Notes – the $153 million principal amount of Senior Secured Notes due August 1, 2024, which were issued on
          February 2, 2021 and for which a portion of the proceeds were used to repay and terminate the New Term Loan. For a
          detailed description of the 10.875% Notes see Note G to our condensed consolidated financial statements on pages 33–38 of
          this Quarterly Report for the quarter ended June 30, 2021.

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                                                      EXPLANATORY NOTE

      This Quarterly Report is highly confidential and has been prepared pursuant to the terms of the Indenture (the “10.5% Indenture”)
dated as of August 2, 2019, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and U.S.
Bank, National Association, as trustee and collateral agent, with respect to the 10.5% Notes, as amended by the Supplemental Indenture
dated as of February 2, 2021, and the Indenture (the “10.875% Indenture” and collectively with the 10.5% Indenture, the “Indentures”)
dated as of February 2, 2021, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and the
U.S. Bank, National Association, as trustee and collateral agent, with respect to the 10.875% Notes. Unlike companies with securities
that are registered under the Securities Exchange Act of 1934 (the “Exchange Act”) or traded on a national securities exchange, the
Company is not required to file reports with the Securities and Exchange Commission and, except as provided under the Indentures, the
Company is not required to deliver any reports to holders of its securities. As a result, this Quarterly Report does not include all the
information that would be required to be included in a Quarterly Report on Form 10-Q that is filed pursuant to the Exchange Act,
including, among other things, a description of the material risks faced by the Company. Moreover, this Quarterly Report does not
include all the information that may be material to holders of the Company’s securities, including the 10.5% Notes, and should not be
relied upon by any person in making an investment decision with respect to the Company’s securities. Except as strictly required
pursuant to the terms of the Indentures, the Company undertakes no obligation to update or revise any information contained in this
Quarterly Report. The Company’s Annual Report for the year ended December 31, 2020, which is attached hereto as Exhibit I, is
included for informational purposes only and has not been updated or revised.
      This Quarterly Report shall not constitute an offer to sell, or the solicitation of an offer to buy, any securities of the Company,
including the 10.5% Notes and the 10.875% Notes. Distribution of this Quarterly Report to any person other than holders of the 10.5%
Notes and the 10.875% Notes is unauthorized and any disclosure of any of its contents without the Company’s prior written consent is
prohibited. By accepting delivery of this Quarterly Report, you agree to the foregoing and not to make any photocopies, in whole or in
part, of this Quarterly Report or any documents or materials relating to the Company that are provided in connection with this Quarterly
Report.




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                            CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS

      This Quarterly Report contains forward-looking statements that do not directly or exclusively relate to historical facts. You can
typically identify forward-looking statements by the use of forward-looking words, such as “will,” “may,” “might,” “should,” “can,”
“could,” “project,” “believe,” “anticipate,” “expect,” “estimate,” “continue,” “potential,” “plan,” “forecast” and other words of similar
import. Forward-looking statements include information concerning possible or assumed future results of our operations, including the
following:

         •   business strategies;
         •   operating and growth initiatives and opportunities, including proposed capital projects;
         •   existing and expected competition and competitive position;
         •   market outlook and trends in our industry;
         •   expected financial condition;
         •   future cash flows, including insurance proceeds;
         •   financing sources and availability;
         •   expected results of operations;
         •   future capital and other expenditures;
         •   availability and price of raw materials and inventories;
         •   the business cyclicality of the petrochemicals industry;
         •   effects of seasonality;
         •   plans and objectives of management or the sponsors;
         •   future compliance with orders and agreements with regulatory agencies;
         •   environmental matters;
         •   the impact of the COVID-19 pandemic on the global economy;
         •   expected outcomes of insurance settlements, legal, environmental or regulatory proceedings and their expected effects on
             our results of operations;
         •   expectations, strategies and plans for individual assets and products (including the ability to maintain plant utilization
             rates), business segments and the company as a whole;
         •   anticipated restructuring, divestiture and consolidation activities;
         •   cost reduction and control efforts and targets;
         •   compliance and other costs and potential disruption or interruption of production or operation due to accident, interruptions
             in sources of raw materials, cyber security incidents, terrorism, political unrest, natural disasters or other unforeseen events;
             and
         •   any other statements regarding future growth, future cash needs, future operations, business plans and future financial
             results.

      These forward-looking statements represent our intentions, plans, expectations, assumptions and beliefs about future events and
are subject to risks, uncertainties and other factors, including risks and uncertainties such as volatility in the petrochemicals industry,
limitations on the Company’s access to capital, the timing and amount of insurance proceeds received, the effects of competition,
leverage and debt service, general economic conditions, third-party claims, governmental litigation and investigations, and extensive
environmental, health and safety laws and regulations. Many of those factors are outside of our control and could cause actual results
to differ materially from the results expressed or implied by the forward-looking statements.
      In light of these risks, uncertainties and assumptions, the events described in the forward-looking statements might not occur or
might occur to a different extent or at a different time than we have described. Except as may be required by applicable law or
agreement, we undertake no obligation to update or revise any forward-looking statements, whether as a result of new information,
future events or otherwise.




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                                                    EBITDA AND ADJUSTED EBITDA

      EBITDA and Adjusted EBITDA are not measures computed in accordance with GAAP. A non-GAAP financial measure is a
numerical measure of historical or future financial performance, financial position or cash flows that excludes amounts, or is subject to
adjustments that have the effect of excluding amounts, that are included in the most directly comparable measure calculated and
presented in accordance with GAAP in the balance sheets, statements of operations, or statements of cash flows (or equivalent
statements); or includes amounts, or is subject to adjustments that have the effect of including amounts, that are excluded from the most
directly comparable measure so calculated and presented.
      We are including a presentation of EBITDA and Adjusted EBITDA in this Quarterly Report because their presentation is required
under the Indenture governing the New Notes. In addition, the Indenture governing the New Notes contains debt incurrence ratios that
are calculated by reference to Adjusted EBITDA. Non-compliance with the debt incurrence ratios contained in the Indenture would
prohibit us from being able to incur additional indebtedness other than pursuant to specified exceptions.
      We calculate EBITDA as earnings before interest, taxes, depreciation and amortization and we calculate Adjusted EBITDA as
EBITDA, adjusted to remove or add back certain items, including the impact of butadiene price changes. These items are identified
below in the reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss), the GAAP measure most directly comparable to
EBITDA and Adjusted EBITDA. Our calculation of EBITDA and Adjusted EBITDA may be different from the calculations used by
other companies; therefore, they may not be comparable to other companies.
     The following table provides a reconciliation of EBITDA and Adjusted EBITDA to Net Loss for the periods specified (in
thousands).

                                                                              Three Months Ended                 Six Months Ended
                                                                                   June 30,                          June 30,
                                                                               2021         2020                2021          2020

      Net income (loss)                                                      $ (46,665)    $ (37,500)        $ (119,956)     $ (88,903)
        Income tax expense (benefit)                                           (10,394)       (10,966)          (29,150)         (22,947)
        Interest expense, net                                                   30,413         28,817            58,570           54,254
        Depreciation and amortization (1)                                       19,091         18,026            38,419           33,623
      EBITDA                                                                    (7,555)        (1,623)          (52,117)         (23,973)
        Impact of butadiene price changes (2)                                  (3,139)          9,761            (3,194)          10,574
        Port Neches Incident (3)                                               30,139           2,907            35,066           26,019
        Non-recurring items (4)                                                 7,142             -              70,650              -

      Adjusted EBITDA                                                        $ 26,587      $ 11,045          $ 50,405        $    12,620



    (1) Includes depreciation, amortization of deferred turnaround and catalyst costs and amortization of patents for all periods presented.
    (2) Adjustment to remove the estimated temporary impact on our operating results of month-to-month changes in the contract price of butadiene.
        For further discussion see “Management’s Discussion and Analysis of Financial Condition and Results of Operations”.
    (3) Adjustment to remove the losses and costs incurred, net of actual and probable insurance recoveries, for the three and six months ended June
        30, 2021 and 2020, respectively, as a direct result of the Port Neches incident (discussed on pages 9-12).
    (4) Adjustments to remove the impact of certain non-recurring items. Such non-recurring items for the three and six months ended June 30,
        2021 include $6.7 million and $69.9 million, respectively, of costs and volume adjustments related to February’s freeze event and incremental
        expenses directly related to our response to the COVID-19 pandemic of $0.1 million and $0.3 million, respectively.




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  MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

     The following discussion and analysis of our financial condition and results of operations should be read in conjunction with the
unaudited condensed consolidated financial statements and accompanying notes included in this Quarterly Report for the quarter ended
June 30, 2021, as well as the audited consolidated financial statements and related notes included in our Annual Report for the year
ended December 31, 2020 (attached as Exhibit I).

     Overview

     We are a leading North American producer of value-added products derived from petrochemical raw materials such as C4
hydrocarbons. Our products are sold to producers of a wide range of performance, specialty and intermediate products, including
synthetic rubber, fuels, lubricant additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 9-12).
      We also provide critical infrastructure and logistics services along the Gulf Coast. Our Houston processing facility, as well as
our terminals, provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers
and raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and
ocean-going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served
by barges.
     The primary drivers of our businesses are general economic and industrial growth. For a more detailed discussion, see page 9 of
our Annual Report for the year ended December 31, 2020 (attached as Exhibit I).

Material Industry and Business Trends

     For a detailed historical perspective of material industry trends, see “Management’s Discussion and Analysis of Financial
Condition and Results of Operations’ on pages 9, 10 and 11 of our Annual Report for the year ended December 31, 2020 (attached as
Exhibit I).

Current Market and Business Conditions

     On March 11, 2020, the World Health Organization declared the ongoing COVID-19 outbreak a pandemic and recommended
containment and mitigation measures worldwide.
      For employees who are considered essential and are working in plants, we continue to adhere to, at a minimum, government
recommended protocols and best practices related to social distancing, hygiene and the use of additional personal protective equipment.
TPC’s Crisis Management Team (“CMT”) has helped to safely mitigate exposure risk by quickly identifying and isolating any confirmed
cases amongst our employees. These measures have not only enabled us to continue to operate our facilities safely but have also helped
TPC maintain a largely consistent supply chain. Additionally, the CMT has worked closely with senior leadership to tailor a
comprehensive Return to Workplace plan for each site. At the time of this filing, a significant portion of TPC’s workforce (non-
essential workers) continue to work remotely from their homes but we expect fewer and fewer employees to work remotely on a full-
time basis as we move further into the third quarter of this year. Our employees' health and well-being continue to remain a key priority.
     For the most part, the effects of COVID-19 on our operating results have dissipated. Demand in most business segments, with
exception of our fuels business, is now back to pre-COVID levels and commodity pricing has recovered. Crude oil prices are now
above pre-COVID levels and supply-demand fundamentals have improved, which was beneficial to product prices and margins in the
second quarter of 2021.
      Despite the resolution of the COVID related challenges, we have experienced several setbacks in the second quarter and continuing
into the third quarter as we are dealing with the after-effects of the first quarter freeze and several other operational issues. Specifically,
one of our PIB units was delayed in starting back up and did not return to service until mid-April. We also experienced fouling in a


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major column used in butadiene service, forcing us to place an alternative column in service. While fortunate to have this backup
capability, it did reduce butadiene production rates which limited our sales volumes for the second quarter in this segment. Additionally,
while proactively changing out a valve in our dehydro unit, we experienced an issue with one of our waste heat boilers which lengthened
the planned four-day outage to thirteen days. This resulted in lower MTBE sales in the month of June.
      Along with the rebound in crude oil prices, most other commodity prices have also recovered and resulted in some tailwinds for
our business in the second quarter. We expect this to continue in the third quarter. With regards to our fuels segment, demand is weak
in our raffinate business, which we sell to refiners for alkylate production. With lesser jet and diesel fuel demand, refiners have adjusted
their operations producing more of their own butylenes for alkylation and, thus, impacting our sales. We built significant inventory
during the second quarter and the expected lower net realizable value has resulted in the lower-of-cost-or-market adjustment (“LCM
adjustment”) you see in our financials. We continue to look for new outlets and have recently found an export opportunity as well as
co-cracking interest from the olefins industry, which along with increasing demand for jet fuel, should help our inventory levels, be it
at potentially lower than normal sales prices.
      The impacts of COVID-19, the global oil and trade wars, and the fallout from the Port Neches plant explosion all converged to
create challenges in the market that influenced commodity prices and spreads in 2020. The biggest impacts to our business were in the
butadiene, PIB and MTBE segments. Demand has improved in all areas, partly due to the effects of the freeze which limited product
availability in many areas of the chemical industry, and the market has rebounded solidly in all areas except the raffinate market as
previously discussed. MTBE margins during the second quarter were back to pre-COVID levels and approached five-year highs during
the quarter. Working with our MTBE offtake customer, we were successful in locking in gasoline to isobutane spreads near five-year
highs on half of our volumes for the May-September months. While demand continues to be solid, early in the third quarter, strong
isobutane and methanol pricing have impacted our margins for MTBE. Butadiene pricing, due to very strong demand and supply
limitations, is at levels not seen since the first quarter of 2017. Coming out of the February freeze impact, rubber and tire inventories
were at extremely low levels. Since the short-term price drop in February, butadiene pricing has risen from a contract level of 41.5
cents per pound, to 62 cents per pound in June, 72 cents per pound in July and 90 cents per pound in August.
      Demand for butene-1 has been solid throughout the COVID-19 outbreak and continues to be strong so far in 2021. Upcoming
catalyst and operational changes will increase production capabilities in the fourth quarter by 10-15%. Recent steam issues at our
Houston plant forced us to reduce rates in various units, which impacted butadiene, butene-1 and MTBE volumes in July and early
August.
      In response to the loss of our Port Neches crude C4 processing capacity, in January 2021 we signed a long-term contract with
BASF-TOTAL Petrochemical (“BTP”) for crude C4 processing and began sending crude C4’s to the BTP through enhancements made
to our Port Neches terminal during the second phase of our terminal project. We are now receiving butadiene back from the BTP. In
June we were able to increase volumes from the BTP over 60% and in early July have demonstrated another 20% in throughput volume.
Work continues at our Port Neches terminal where we are adding additional tankage and pumping capabilities to allow us to sustain the
early July volumes and to enable us to achieve another 20% growth milestone in the second quarter of 2022.
      Demand for PIB was at record levels in January 2021. Like other product areas, our PIB business was impacted by the freeze.
Coming out of the freeze, all customers were at extremely low levels of inventory in their supply chain. Demand for most product
areas, particularly fuel and lubricant additives, is very strong. In the industrial segment, which includes caulks, sealants and adhesives,
demand has also strengthened. As a result, second quarter sales volumes were at a level that, even with the production/sales impacts
of the freeze, we are forecasting that we will now exceed our operating plan for the year. Thanks to solid production, our inventories
continue to rebound and will allow us to take on this increase in demand across all market segments.

Dock Incident – 2018

      On June 13, 2018, an ocean-going bulk carrier navigating in the Port of Houston Ship Channel veered off course and struck a barge
stationed at our primary Houston facility dock. The incident caused substantial damage to both the barge and the dock facilities. There
were no significant injuries and there was no environmental impact from the incident.
      The damaged dock was returned to full barge and ship service in August 2018 after temporary repairs of approximately $5 million
which, excluding a $0.25 million deductible, were reimbursed from insurance proceeds in September 2018. The insurance proceeds
were accounted for as an offset to the actual dock repair costs. The total amount of the insurance deductible and uninsured logistics
and legal expenses recognized in our reported 2018 earnings was $1.5 million and the margin on estimated lost sales volume was
approximately $6.0 million. The revenue and cost of sales related to the lost sales volume for the C4 Processing segment were estimated
to be $4 million and $2 million, respectively, and for the Performance Products segment were estimated to be $13 million and $9 million,
respectively.
      Legal agreements with the Port Authority for the additional land needed to rebuild the dock have been finalized and we expect to
receive the permit in the next few weeks. All of the design packages have been finalized and provided to the insurance carriers;


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however, we are waiting for final agreement on two remaining items before beginning construction, hopefully sometime in the fourth
quarter of 2021. We anticipate that the entire cost, which we currently estimate to be $30-$35 million, will be reimbursed by our
insurance carriers.

Port Neches Incident – 2019

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” We anticipate future engagement with OSHA regarding these issues
including a mandatory settlement conference scheduled for August 5-6, and 24-26, 2021.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management Compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice has initiated an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,670 property claims have been resolved and approximately 1,430 additional eligible claims are pending action by the claimant in the
claims process. The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial
statements. The Company also provided an emotional support hotline staffed by licensed professional counselors from Samaritan
Counseling Center of Southeast Texas.
      In addition to the property claims, sixty-seven private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred lawsuits – which
typically include dozens of plaintiffs in each – are severed into individual cases with over 1650 individual plaintiff cases now pending.
Twenty-nine of the sixty-seven private party lawsuits, including approximately 600 individual plaintiffs, are awaiting transfer to the pre-
trial court. Additionally, more than 750 other properties are the subject of litigation as a result of subrogation claims filed by
homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and
a revised schedule will likely be entered in third quarter 2021 as the plaintiffs filed an amended master petition in Q2 2021 adding
additional defendants. A hearing on class certification is not expected before Q4 2021 at the earliest.
    Four different sets of insurance policies in effect at the time provide coverage for costs and losses incurred as a result of the Port
Neches Incident.
     On an event to date basis, TPC has incurred $434.1 million dollars of costs associated with the PNO Event and anticipates
recovering $257.0 million of these costs through insurance proceeds. At the end of the first quarter of 2021 we anticipated collecting
$278.0 million. The $21.0 million change in estimate is a result of lowering the probability of proceed collection based on current
claim status. It does not constitute a view that these funds are not collectable, just that they do not currently meet the probability test.
We have collected $372.8 million dollars of insurance proceeds and have paid out $316.1 million. Any proceeds collected in excess of
book costs will be reflected as a deferred gain until the claim is fully settled.




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     The following table summarizes the PNO Event spend and reimbursements, event to date, as of June 30, 2021 (in millions):

                                                                                               Net         Proceeds                    Invoices
                               Insurance Policies              Costs         Recovery          Costs       Collected                     Paid
                   Property/Business Interuption (BI)      $    130.3        $      97.1   $        33.2   $     230.0                 $      80.5
                   Liability                                    168.1             100.0             68.1         100.0                       129.5
                   Defense                                       55.3               31.2            24.1            15.3                      53.5
                   Pollution                                     51.8               25.0            26.8            25.0                      46.6
                   Inventory                                         3.8             3.7             0.1             2.5                       -
                   Not Recoverable                               24.8               -               24.8            -                          6.0
                                     Total                 $    434.1        $    257.0    $    177.1      $     372.8                 $     316.1

                                                                                                                                   .

     Property/Business Interruption Policies

      Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible is $10.0
million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying for business
interruption coverage. As of June 30, 2021, we have paid $80.5 million of costs and collected $230.0 million under these policies, of
which $12.1 million has been specifically designated as business interruption coverage and $217.9 million has been designated as an
unallocated payment on account. Of the unallocated proceeds of $217.9 million, $120.8 million are recorded as a deferred gain
primarily due to the net book value of the affected assets being lower than the value that we will receive. Reimbursable costs under
this policy recorded in 2019 and 2020 were $52.4 million and $58.8 million, respectively. Reimbursable costs for the first quarter of
2021 were $2.5 million and for the three months ended June 30, 2021 we made a change in estimate adjustment and reduced probable
anticipated recoverable costs by $16.6 million. This change was based on proposed adjustments from insurance carriers for which we
have supported positions that counter their assessment. We currently estimate that $97.1 million will be recoverable under this policy.
     On April 28, 2021 we executed a $30.0 million unallocated Partial Proof of Loss and received those funds by the 1st week of June.
In addition, on August 4, 2021 we executed a $28 million unallocated Partial Proof of Loss under these policies bringing the total to
$258 million. As of the date of the issuance of this report we have received $8.8 million of this amount.

     For the periods presented, property insurance incremental costs consisted of the following components (in millions):
                                                                                            Q1              Q2
                 Property Insurance Incremental Costs       2019             2020          2021            2021                    Total
               Costs                                            64.7              58.0           2.5             5.1           $           130.3
               Recovery                                         52.4              58.8           2.5           (16.6)          $            97.1
               Proceeds Collected                                -               160.0         40.0            30.0            $           230.0
                  To expense                                     -               111.2           2.5           (16.6)          $            97.1
                  To deferred gain                               -                36.7         37.5            46.6            $           120.8
                  Business Insurance (BI)                        -                12.1          -               -              $            12.1
               Invoices paid                                    10.6              59.7           4.1             6.1           $            80.5

                                                                                                                           .
     Liability/Defense Policies

      Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of June 30, 2021, we have accrued third-party claim amounts of $168.1 million, have paid $129.5
million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $55.3 million and we
have collected $15.3 million of this amount. We anticipate collecting a total of $31.2 million for these expenses. Costs recorded under
these policies in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional amount was
incurred for claims of $3.1 million and for defense costs of $35.6 million. So far in 2021, an additional $3.2 million was added primarily

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for commercial claims and an additional $5.5M in defense costs. To date we have paid $53.5 million of these defense cost invoices.
      We have reached an agreement with the majority of our liability insurers to settle our claims for reimbursement of eligible liability
defense costs we incurred in 2020. As a result of this agreement, we anticipate receiving an additional $16.7 million of defense costs
bringing the total expected recovery to $31.2 million. As of this report date we have received $6.2 million of those additional costs.

     For the periods presented, liability insurance incremental costs consisted of the following components (in millions):

                                                                                          Q1             Q2
                Liability Insurance Incremental Costs       2019           2020          2021           2021                  Total
              Costs                                           161.8            3.1           3.3           (0.1)      $            168.1
              Recovery                                        100.0           -              -              -         $            100.0
              Proceeds Collected                               10.0          90.0            -              -         $            100.0
              Invoices paid                                    18.0         102.7            5.2            3.6       $            129.5


                                                                                                              .
     For the periods presented, defense insurance incremental costs consisted of the following components (in millions):

                                                                                          Q1             Q2
                Defense Insurance Incremental Costs         2019           2020          2021           2021                      Total
              Costs                                            14.2          35.6            1.7            3.8           $          55.3
              Recovery                                         15.5          19.7            0.4            (4.4)         $          31.2
              Proceeds Collected                                -            15.3            -              -             $          15.3
              Invoices paid                                     2.0          48.8            1.5            1.2           $          53.5

                                                                                                                      .
      Environmental/Pollution Policies

      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of June 30, 2021, we have incurred
$51.8 million of costs and paid $46.6 million of those costs and have collected the full $25.0 million of coverage under this policy. We
incurred $23.1 million, $28.0 million and $0.7 million of these costs in 2019, 2020 and 2021 respectively.

     For the periods presented, pollution insurance incremental costs consisted of the following components (in millions):

                                                                                           Q1             Q2
               Pollution Insurance Incremental Costs        2019           2020           2021           2021                     Total
             Costs                                             23.1           28.0               0.3            0.4           $      51.8
             Recovery                                          23.1            1.9            -                 -             $      25.0
             Proceeds Collected                                 -             25.0            -                 -             $      25.0
             Invoices paid                                      -             46.1               0.1            0.4           $      46.6
                                                                                                                          .

     Inventory Policy

      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We executed a $2.5
million Partial Proof of Loss under this policy and received the total $2.5 million in June. We expect to recover the fair market value at
the time of the event on these materials which is estimated to be $4.5 million.




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     For the periods presented, inventory insurance incremental costs consisted of the following components (in millions):

                                                                                           Q1             Q2
             Inventory Insurance Incremental Costs         2019           2020            2021           2021                Total
           Costs                                               4.4            (1.0)           0.4            -           $       3.8
           Recovery                                            4.4            (1.0)           0.3            -           $       3.7
           Proceeds Collected                                  -              -               -               2.5        $       2.5
           Invoices paid (N/A)                                 -              -               -              -           $       -

                                                                                                                     .
     Not Recoverable

      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits.

Coronavirus – 2021

      The global coronavirus (or COVID-19) pandemic continues to cause considerable uncertainty in the marketplace, and efforts to
stop the virus are also having significant economic consequences. Though the government restrictions across the world have generally
started to ease and vaccines have become available to help prevent COVID-19 infections, the extent and duration of measures
implemented to try to slow the spread of the virus, such as travel bans and restrictions, border closures, quarantines, and business and
government shutdowns have caused, and may continue to cause, reduced demand and operational delays. In 2020, global markets
experienced a precipitous decline in oil prices in response to concerns regarding the potential impacts of the COVID-19 outbreak on
worldwide oil demand and the anticipated increases in oil production from Russia and OPEC, which have impacted margins in our
raffinate and MTBE businesses. Although commodity prices have recovered considerably, we expect the outlook for 2021 to remain
uncertain due to the rapidly evolving conditions, and we cannot estimate the scope of their impact on our business, our results of
operations, our financial condition, our personnel, our customers, our suppliers or the global economy. We continue to assess the
potential impact of COVID-19 on our staff and operations and have implemented appropriate mitigation plans, including precautions
with regard to employee and facility hygiene and imposed travel limitations on our employees whenever possible. We also continue to
work with our suppliers to understand the potential impacts to our supply chain, and at this time, we have not identified any material
risks to our supply chain. This is a rapidly evolving situation, and we will continue to monitor developments affecting our workforce
and our suppliers and take additional precautions as we believe are warranted.

Technical Center Fire - 2021

      Early on the morning of January 9, 2021, the TPC Houston operations team responded to a fire alarm in the Technical Center.
The Technical Center, located on the southwest side of the facility, which contains quality control and research and development
activities, had a fire in the mechanical room. TPC’s Emergency Response Team responded to the incident with assistance from the
Houston Fire Department. The Company coordinated with local officials and emergency responders to quickly resolve the issue.
There were no injuries to TPC employees and no offsite or environmental impacts as a result of the event; however, one emergency
responder sustained an ankle injury while responding to the event. As a result of the fire, there is considerable damage to the facility
and the housed equipment. Fortunately, over 75% of the equipment is salvageable, but, in the absence of a functioning laboratory the
Company had to secure short term outsourcing solutions for all of the quality control testing needs. Since late February, however, we
have replaced the majority of the outsourced testing with in-house testing in a combination of TPC and rental facilities, thereby
substantially reducing the incremental costs. Between response costs, outsourcing costs, rental expenses and the cost of rebuilding the
Technical Center, we estimate that the fire will cost the Company approximately $26 million.

February Weather Event – 2021

      In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter weather.
Due to abnormally low temperatures for an extended period of time, facilities in the region experienced disruption to their operations,
resulting in lost production and additional maintenance costs. We anticipate that the total financial impact of this freeze event, between
incremental costs for repairs, higher energy costs and lost volumes, will be upwards of $70 million.
     We are taking a number of steps to offset the impact of these two events. This includes commercial and procurement initiatives,


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capital and cost reductions and various other cash preservation initiatives. In addition, we have seen marked improvement in underlying
business conditions, especially a more favorable commodity price environment. Collectively these offsets are expected to be sufficient
to compensate for the 2021 cash impacts of the freeze and the Technical Center fire.

Insurance Renewal

      We seek to maintain comprehensive insurance coverage at commercially reasonable rates. Although we carry property and casualty
insurance to cover certain risks, our insurance policies do not cover all types of losses and liabilities, and our insurance may not be
sufficient to cover the full extent of losses or liabilities for which we may be liable. Despite persistently tight insurance market
conditions, we have renewed all our expiring insurance coverages on substantially the same terms at premium increases in line with
market conditions. We have financed the premiums through an affiliate of our broker, requiring us to pay 25% of the premium upfront
with the remainder payable in monthly installments through March 2022. Although we have been able to replace our insurance in
2021, we may not be able to do so in the future.

Results of Operations

     Contractual linkages of raw material costs and selling prices of finished products to commodity indices

      Most of our raw material feedstock costs and finished product selling prices are determined by application of contractual formulas
linked to commodity market indices and, in most cases, the indices used to determine raw material feedstock costs are the same indices
used to determine finished product selling prices.
     As of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model and which is more commensurate with the valuable and consistent service we
provide to the industry.
      Although linkage of most of our raw material costs and selling prices to the same indices and our restructured crude C4 supply
contracts provide some degree of consistency in our average material margin per pound (which we define as the difference between
average revenue per pound and average raw material cost per pound) during periods in which the underlying commodity indices are
relatively stable, there are various factors that can have a significant impact on our average material margin per pound, including those
listed below. Moreover, even a relatively minor increase or decrease in average material margin per pound can have a significant
impact on our overall profitability given the magnitude of our sales volumes.
         •   We may purchase raw material feedstocks in a given month based on market indices for that month, and then sell the
             related finished products in a later month based on market indices for the later month. Changes in selling prices of finished
             products, based on changes in the underlying market indices between the month the raw material feedstocks are purchased
             and the month the related finished products are sold causes variation in our average material margin per pound. For
             example, we may purchase the components of a crude C4 stream based on formulas that reflect the respective January
             commodity indices but then sell the finished products at pricing formulas based on the respective February commodity
             indices. If the indices for January and February are the same, we would expect to realize substantially the same unit
             margins regardless of the absolute value of the indices. However, for any components of the stream for which the
             respective index increases between January and February, we would expect to realize a temporary margin expansion until
             pricing stabilizes; and conversely, if the index decreases, we would expect to realize a temporary margin contraction. The
             magnitude of the effect on the average material margin per pound and the material margin percentage in a given month
             depends on the magnitude of the change in the underlying indices compared to the prior month and the quantity of inventory
             at the end of the prior month as a result of its impact on the moving average cost of finished products sold in the subsequent
             month.
         •   Although most of our supply and sales contracts contain index-based formulas, varying proportions of our raw material
             purchases and finished product sales are done on a spot basis or otherwise negotiated terms. In addition, while many of
             the index-based formulas in our contracts are simply based on a percentage of the relevant index, others apply adjustment
             factors to the market indices that do not fluctuate with changes in the underlying index. As supply and sales contracts are
             renegotiated, the amounts of such adjustment factors can change, thus the average material margin per pound would be
             impacted.
         •   Under some of our raw material purchase contracts, the cost of the raw materials is based on a percentage of the relevant
             market index, and under some of our sales contracts, the selling price of the related finished product is based on a higher
             percentage of the same market index. As a result, the average material margin per pound tends to be higher during periods
             in which the market indices are higher and tends to be lower during periods when the market indices are lower.


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         •   Finished product selling price formulas under some of our sales contracts, primarily in the Performance Products segment,
             are based on commodity indices not for the period in which the sale occurs but for either a prior or subsequent period.
             The effect on average material margin per pound of the selling price formulas can be significant during times of rapidly
             increasing or decreasing market indices.

     Butadiene Price Impact

      As discussed above, a substantial portion of our finished product selling prices and raw material costs are linked to the same
commodity indices and this linkage mitigates, to varying degrees, our exposure to volatility in our profit margins. As also documented
above, as of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model, which are more commensurate with the valuable and consistent service we
provide to the industry. However, the stabilizing effect of these factors on our profit margins is lessened when we do not purchase the
feedstock and sell the finished product in the same period. Regarding butadiene, which has historically been the largest individual
product line in our C4 Processing segment, the linkage between our raw material cost and finished product selling price is the published
contract price for butadiene. As a result of purchasing crude C4 in one month and selling finished butadiene in the subsequent month,
the GPC per pound we report in the subsequent month will expand when the price of butadiene increases and will contract when the
price of butadiene declines due to the impact of beginning inventory (quantity and unit cost) on the moving average cost of finished
butadiene sold in the subsequent month.
      As shown in the presentation of EBITDA and Adjusted EBITDA on page 6 of this Quarterly Report, we adjust EBITDA to remove
the estimated temporary impact on our reported GPC of the month-to-month changes in the contract price of butadiene. The rationale
for the adjustment is that the temporary impacts of butadiene price changes distort the underlying business performance.
     The table below shows, for each period presented, the impact on our reported GPC (in millions) of purchasing crude C4 in one
period and selling finished butadiene in a later period at higher or lower butadiene contract prices. The impact on reported GPC for
each period is the sum of the monthly impacts, which are dependent on the magnitude of the contract price change each month and the
quantity of butadiene inventory at the beginning of each month.

                                                          Three Months Ended                 Six Months Ended
                                                                June 30,                          June 30,
                                                           2021          2020                2021        2020
             Positive (negative) impact on GPC           $        3        $      (10)   $        3     $      (11)



     Average material margin per pound

     The table below provides the average material margin per pound (defined above) for each period presented.

                                                                      Three Months Ended              Six Months Ended
                                                                            June 30,                       June 30,
                                                                       2021        2020               2021          2020

                 Average revenue per pound                            $    0.49    $     0.21     $     0.46     $    0.30
                 Average raw material cost per pound                       0.29          0.10           0.26          0.17
                 Average material margin per pound                         0.20          0.11           0.20          0.13

      As discussed above, our material margin per pound and reported GPC reflect the temporary impact of month-to-month changes in
the contract price of butadiene. Provided in the table above and reflected in the discussion of cost of sales for the three and six months
ended June 30, 2021 compared to the comparable prior year periods on pages 17 and 19 are the impacts of butadiene price changes on
GPC for the respective periods. Excluding the temporary impact of butadiene price changes on all periods presented, the average
material margin per pound would be $0.19 and $0.13 for the three months ended June 30, 2021 and 2020, respectively, and $0.19 and
$0.14 for the six months ended June 30, 2021 and 2020, respectively.




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    The following table summarizes the primary indices which impact our revenues and raw material costs by segment.



    Segment / Finished Product                             Revenues                      Raw Material Costs

C4 Processing Segment
 Butadiene                                   Butadiene                           Butadiene
 Butene – 1                                  Unleaded regular gasoline           Unleaded regular gasoline
 Raffinates                                  Unleaded regular gasoline           Unleaded regular gasoline

Performance Products Segment
 Polyisobutylene                             Isobutane                           Butane
 Diisobutylene                               Isobutane                           Butane
 MTBE                                        MTBE                                Isobutane, methanol


    The following table summarizes the average commodity index prices for each period presented.

                                                      Three Months Ended June 30,             Six Months Ended June 30,
                                                     2021        2020      % Chg.            2021       2020      % Chg.
Average commodity prices:
 Butadiene (cents/lb) (1)                                56.0          21.4      162%           50.0           31.1   61%
 Unleaded regular gasoline (cents/gal) (2)              206.1          85.0      142%          190.2          109.2   74%
 Normal butane (cents/gal) (3)                           97.5          43.4      125%           95.8           50.2   91%
 Isobutane (cents/gal) (3)                               98.0          43.6      125%           95.5           53.2   80%
 MTBE (cents/gal) (2)                                   219.3          87.7      150%          201.4          130.4   54%
 Methanol (cents/gal) (4)                               160.0          95.4       68%          154.1          104.6   47%


    (1) Industry pricing was obtained through IHS.
    (2) Industry pricing was obtained through Platts.
    (3) Industry pricing was obtained through Oil Price Information Service.
    (4) Industry pricing was obtained through J. Jordan.




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The following table provides unaudited sales volumes, revenue, cost of sales, GPC and operating expenses by operating segment
(amounts in thousands) for the three and six-month periods ended June 30, 2021 and 2020. Please refer to this information, as well as
our unaudited condensed consolidated financial statements and accompanying notes included elsewhere in this Quarterly Report for the
quarter ended June 30, 2021, when reading our discussion and analysis of results of operations below. All information provided in the
table below, except sales volumes, is derived from our unaudited Condensed Consolidated Statements of Operations.

                                                                     Three Months Ended               Six Months Ended
                                                                           June 30,                        June 30,
                                                                      2021          2020              2021          2020

                  Sales volumes (pounds) (1):
                    C4 Processing                                     321,769        368,078         596,833        717,807
                    Performance Products                              304,237        280,995         491,692        476,020
                                                                      626,006        649,073       1,088,525      1,193,827

                  Revenue:
                   C4 Processing                                 $ 164,006       $    72,594       $ 273,769      $ 196,944
                   Performance Products                            140,007            66,551         222,059        158,025
                                                                 $ 304,013       $ 139,145         $ 495,828      $ 354,969
                  Cost of sales (2):
                   C4 Processing                                 $ 120,289       $    56,163       $ 204,263      $ 159,030
                   Performance Products                             91,126            45,250         144,022        103,635
                                                                 $ 211,415       $ 101,413         $ 348,285      $ 262,665

                  GPC:
                   C4 Processing                                 $     43,717    $    16,431       $ 69,506       $ 37,914
                   Performance Products                                48,881         21,301         78,037         54,390

                                                                 $     92,598    $    37,732       $ 147,543      $ 92,304

                  Operating expenses (2):
                   C4 Processing                                 $     34,941    $    26,142       $ 66,345       $ 54,640
                   Performance Products                                21,892         15,492         41,752         32,278
                                                                 $     56,833    $    41,634       $ 108,097      $ 86,918




    (1) Sales volumes represent product sales volumes only and do not include volumes of products delivered under tolling or similar arrangements,
        in which we do not purchase the raw materials, but process raw materials for another party for a specified fee.
    (2) Cost of sales does not include operating expenses, and cost of sales and operating expenses do not include depreciation and amortization
        expenses.




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Three months ended June 30, 2021 versus three months ended June 30, 2020

     Revenue

      Total revenue for the second quarter of 2021 was $304.0 million compared to $139.1 million for the second quarter of 2020. The
increase of $164.9 million, or 119%, reflected a 127% increase in average revenue per pound and a 4% decrease in overall sales volume.
The increase in overall average revenue per pound reflected higher selling prices for both operating segments and the lower overall sales
volume reflected lower sales volumes for the C4 Processing segment. Variances in average selling prices for both operating segments
reflected the variances in the commodity market indices to which a substantial portion of our finished product selling prices are linked
(see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 13-14 and the
table of commodity indices to which a substantial portion of our selling prices are linked on page 15).
      C4 Processing segment revenue of $164.0 million for the second quarter of 2021 increased $91.4 million, or 126%, compared to
second quarter of 2020 revenue of $72.6 million. The higher revenue for the current year quarter reflected the combined impact of a
158% increase in revenue per pound, which had a positive impact of $97.9 million, and a 13% decrease in sales volumes, which had a
negative impact of $6.5 million. The decrease in sales volume is mostly related to operational issues with our BD finishing tower.
The higher average selling price for the segment reflected increases in the average benchmark price for butadiene and the average price
of unleaded regular gasoline of 162% and 142%, respectively (see the table of commodity indices to which a substantial portion of our
C4 Processing segment selling prices are linked on page 15).
      Performance Products segment revenue for the second quarter of 2021 was $140.0 million versus $66.6 million for the comparable
prior year quarter. The $73.4 million, or 110%, increase in revenue reflected the combined impact of a 94% increase in average revenue
per pound, which had a positive impact of $53.1 million, and an 8% increase in sales volume, which had a positive impact of $20.3
million. The higher average revenue per pound reflected substantial increases in the prices of butane and MTBE of 125% and 150%,
respectively (see the table of commodity indices to which a substantial portion of our Performance Products segment selling prices are
linked on page 15). Sales volumes were driven primarily by an 84% increase in PIB demand.

     Cost of Sales

      Total cost of sales for the second quarter of 2021 was $211.4 million compared to $101.4 million for the second quarter of 2020.
The overall increase was driven primarily by a substantial increase in the average cost of raw materials only slightly offset by the lower
sales volume discussed above. Variances in raw material costs for both operating segments reflected the changes in the commodity
market indices to which a substantial portion of our raw material costs are linked (see “Contractual linkages of raw material costs and
selling prices of finished products to commodity indices” on pages 13-14 and the table of commodity indices to which a substantial
portion of our raw material costs are linked on page 15).
      C4 Processing segment cost of sales in the second quarter of 2021 was $120.3 million versus $56.2 million for the comparable
prior year quarter. The variance from the prior year quarter primarily reflected a significantly higher average cost of raw materials
driven by increases in the average benchmark price for butadiene and the average price of unleaded regular gasoline of 162% and 142%,
respectively (see the table of commodity indices to which a substantial portion of our C4 Processing segment raw material costs are
linked on page 15) and the $7.5 million LCM adjustment that was recorded in the current year quarter. As discussed above, in spite of
the linkage between the cost of crude C4 we purchase and the price at which we sell finished butadiene, our average raw material costs
and profit margins in a given period are impacted by purchasing crude C4 in one period and selling finished butadiene in a subsequent
period during times of butadiene price volatility. As a result of such month-to-month movements in the contract price of butadiene,
our profit margins in the second quarter of 2021 reflected a positive butadiene pricing impact of $3 million and our profit margins in the
second quarter of 2020 reflected a negative butadiene pricing impact of $10 million, which resulted in a favorable year-over-year impact
on profit margins of $13 million.
     Performance Products segment cost of sales was $91.1 million in the second quarter of 2021 versus to $45.3 million for the
comparable prior year quarter. The $45.8 million increase reflected the combined impact of a 110% increase in the average cost of the
raw material component of the finished products sold and the higher sales volumes described above. The higher average cost of raw
materials reflected increases in the average price of butane, isobutane and methanol of 125%, 125% and 68%, respectively (see the table
of commodity indices to which a substantial portion of our Performance Products segment raw material costs are linked on page 15).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in overall average revenue per pound and average raw material cost per pound for the second quarter of 2021 compared
to the second quarter of 2020.




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     Operating Expenses

      Operating expenses incurred in the second quarter of 2021 were $56.8 million compared to $41.6 million for the prior year quarter.
The primary components of the $15.2 million increase are $9.0 million higher insurance costs, $5.6 million higher manufacturing costs,
$2.5 million higher incentive compensation accruals and $0.3 million higher 401K costs. This was partly offset by $0.7 million lower
pipeline maintenance costs related to TPC’s supply chain activities, $0.9 million lower benefit costs, $0.5 million lower sales and use
taxes and $0.1 million lower selling costs.

     General and Administrative Expenses

      General and administrative expenses in the second quarter of 2021 were $8.1 million compared to $5.9 million in the second
quarter of 2020. The increase of $2.2 million was primarily due to higher incentive compensation accruals of $2.1 million in the current
year quarter.

     Depreciation and Amortization

      Depreciation and amortization expense in the second quarter of 2021 was $19.1 million compared to $18.0 million for the
comparable prior year quarter. The $1.1 million increase reflected higher depreciation of $1.0 million and higher net turnaround and
catalyst amortization of $0.1 million. The $1.0 million depreciation increase reflected the net impact of higher capital additions,
primarily plant related, less retirements during the past year. Higher amortization of $0.1 million includes $0.8 million higher
turnaround and catalyst expense partly offset by $0.7 million lower patent amortization as the latter assets were fully depreciated at the
end of 2020.

     Loss on Port Neches Incident, net

      The $30.1 million loss related to the Port Neches incident recognized in the second quarter of 2021 consisted of incremental
response, clean-up and liability defense costs for which insurance coverage was not considered probable, costs in excess of insurance
coverage limits, and a change in accounting estimate for collectability of insurance proceeds previously reported as collectible. This
change does not reflect that these costs will not be collected but only that at this point in the claim status they cannot be deemed probable
to collect and booked as such. TPC will continue to vigorously pursue collection of these expenses. The net amount reflected total
incremental costs of $9.2 million, plus the additional insurance proceeds previously deemed collectible of $21.0 million.

     Business Interruption Insurance Recoveries

      As of June 30, 2020, the Company had secured $11.0 million in business interruption insurance proceeds to reimburse lost profits
for the first quarter of the year.

     Interest Expense

      Interest expense for the second quarter of 2021 was $30.4 million compared to $28.8 million for the second quarter of 2020. The
$1.6 million increase included an increase of $4.3 million in interest on the 10.875% Notes issued in February 2021, partly offset by
$1.6 million lower interest on the New Term Loan which was paid off with the proceeds from the 10.875% Notes and $1.4 million lower
deferred financing interest amortization related to the New Term Loan.

     Other, Net

      Both the current and prior year quarters included various miscellaneous income and expense items, none of which were
individually significant.

     Income Tax Benefit

      The income tax provisions for the second quarters of 2021 and 2020 represent the differences between the income tax provisions
for the six-month periods ended June 30, 2021 and 2020 and the income tax provisions for the three-month periods ended March 31,
2021 and 2020, respectively. The effective tax rates applied to pretax loss for the six months ended June 30, 2021 and 2020 were the
projected effective rates for the respective full years ending December 31, which reflected the federal statutory rate of 21% appropriately
adjusted for the state tax provision and permanent book/tax differences. The projected full-year 2021 effective income tax rate applied
to pretax loss for the six months ended June 30, 2021 and 2020 was 19.6% was 20.5%, respectively. The effective tax rate for the


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second quarter of 2021 was 18.3% which represents the decrease in the projected full year rate from 20.4% applied to pretax income for
the three months ended March 31 to 19.6% applied to pretax income for the six months ended June 30.

Six months ended June 30, 2021 versus six months ended June 30, 2020

     Revenue

     Total revenue for the six months ended June 30, 2021 was $495.8 million compared to $355.0 million for the six months ended
June 30, 2020. The increase of $140.8 million, or 40%, reflected a 53% increase in average revenue per pound partially offset by a 9%
decrease in overall sales volume. Both operating segments witnessed an increase in average revenue per pound. The decrease in
overall sales volume reflected a decrease in the C4 Processing segment partially offset by a slight increase in sales volume for the
Performance Product segment. Variances in average selling prices for both operating segments reflected the variances in the
commodity market indices to which a substantial portion of our finished product selling prices are linked (see “Contractual linkages of
raw material costs and selling prices of finished products to commodity indices” on pages 13-14 and the table of commodity indices to
which a substantial portion of our selling prices are linked on page 15).
      C4 Processing segment revenue of $273.8 million for the six months ended June 30, 2021 was up $76.9 million, or 39%, compared
to the six months ended June 30, 2020 revenue of $196.9 million. The higher revenue for the current six-month period reflected a 67%
increase in average revenue per pound, which had a positive impact of $103.6 million, partially offset by a 17% decrease in sales volume,
which had a negative impact of $26.7 million. The decrease in sales volume for the first half of 2021 reflects the Houston plant being
offline for half of the first quarter due to the February freeze event and the operational issues with our BD finishing tower. The overall
67% increase in average revenue per pound for the segment reflected a 61% increase in the average benchmark price for butadiene and
an 74% increase in the average price of unleaded regular gasoline (see the table of commodity indices to which a substantial portion of
our C4 Processing segment selling prices are linked on page 15).
      Performance Products segment revenue for the six months ended June 30, 2021 was $222.1 million compared to $158.0 million
for the comparable prior year period. The increase of $64.1 million, or 41%, reflected a 36% increase in revenue per pound, which had
a positive impact of $53 million, and a 3% increase in sales volumes, which had a positive impact of $11 million. The increase in
average revenue per pound reflected substantial increases in the prices of butane and MTBE of 91% and 54%, respectively (see the table
of commodity indices to which a substantial portion of our Performance Products segment selling prices are linked on page 15).
Although the sales volumes were impacted by the February freeze event in first quarter of 2021, the effect on PIB sales was somewhat
muted by our inventory position as of the end of January and PIB demand continued to climb during the second quarter. The effect on
MTBE volumes was offset by the absence of a Dehydro Turnaround this year.

     Cost of Sales

      Total cost of sales for the six months ended June 30, 2021 was $348.3 million compared to $262.7 million for the six months ended
June 30, 2020. The increase in cost of sales in the current year period reflected a modest overall decrease in sales volume discussed
above offset by an increase in the average cost of raw materials included in the average cost of the finished products sold by both
operating segments. Variances in raw material costs for both operating segments reflected the changes in the commodity market indices
to which a substantial portion of our raw material costs are linked (see “Contractual linkages of raw material costs and selling prices of
finished products to commodity indices” on pages 13-14 and the table of commodity indices to which a substantial portion of our raw
material costs are linked on page 15).
       C4 Processing segment cost of sales for the six months ended June 30, 2021 was $204.3 million versus $159.0 million for the
comparable prior year period. The increase reflected the impact of the 17% decrease in sales volume discussed above and a 73%
increase in the average cost of the raw material component of the finished products sold. The higher average cost of raw materials
reflected increases in the average benchmark price for butadiene and the average price of unleaded regular gasoline of 61% and 74%,
respectively (see the table of commodity indices to which a substantial portion of our C4 Processing segment raw material costs are
linked on page 15). As discussed above, in spite of the linkage between the cost of crude C4 we purchase and the price at which we
sell finished butadiene, our average raw material costs and profit margins in a given period are impacted by purchasing crude C4 in one
period and selling finished butadiene in a subsequent period during times of butadiene price volatility. As a result of such month-to-
month movements in the contract price of butadiene, our profit margins in the first half of 2021 reflected a positive butadiene pricing
impact of $3 million and our profit margins in the first half of 2020 reflected a negative butadiene pricing impact of $11 million, which
resulted in an favorable year-over-year impact on profit margins of $14 million.
      Performance Products segment cost of sales was $144.0 million for the six months ended June 30, 2021 compared to $103.6
million for the six months ended June 30, 2020. The $40.4 million increase reflected a 3% increase in the sales volume discussed above
and a 38% increase in the average cost of the raw material component of the finished products sold. The higher average cost of raw
materials reflected increases in the average price of butane, isobutane and methanol of 91%, 80% and 47%, respectively (see the table

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of commodity indices to which a substantial portion of our Performance Products segment raw material costs are linked on page 15).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in overall average revenue per pound and average raw material cost per pound for the six months ended June 30, 2021
compared to the six months ended June 30, 2020.
     Operating Expenses

     Operating expenses incurred in the first half of 2021 were $108.1 million compared to $86.9 million for the first half of 2020.
The $21.2 million increase reflected $18.1 million higher insurance expense, $3.3 million higher manufacturing costs, $3.2 million
higher incentive compensation accruals and $0.3 million higher property taxes. This was partly offset by $0.9 million lower pipeline
maintenance costs related to TPC’s supply chain activities, $1.1 million lower benefit costs, $0.5 million lower 401K costs, $0.8 million
lower sales and use taxes and $0.4 million lower selling costs.

     General and Administrative Expenses

     General and administrative expenses for the first half of 2021 were $16.4 million versus $14.1 million for the first half of 2020.
The $2.3 million increase reflected $3.3 million higher incentive compensation partly offset by lower legal, accounting and other
administrative costs.

     Depreciation and Amortization

      Depreciation and amortization expense in the first half of 2021 was $38.4 million compared to $33.6 million for the first half of
2020. The $4.8 million increase reflected higher depreciation of $2.6 million and higher turnaround and catalyst amortization of $2.2
million. The increase in depreciation expense reflected the net impact of higher capital additions less retirements during the past year.
Higher amortization of $2.2 million includes $3.6 million higher turnaround and catalyst expense primarily related to the Dehydro unit
partly offset by $1.4 million lower patent amortization as the latter assets were fully depreciated at the end of 2020.

     Loss on Port Neches Incident, net

       The $35.0 million loss related to the Port Neches incident recognized in the first six months of 2021 consisted of incremental
response, clean-up, and liability defense costs for which insurance coverage was not considered probable, costs in excess of insurance
coverage limits, and a change in accounting estimate for collectability of insurance proceeds previously reported as collectible. This
change does not reflect that these costs will not be collected but only that at this point in the current claim status they cannot be deemed
probable to collect and booked as such. TPC will continue to vigorously pursue collection of these expenses. The net amount reflected
total incremental costs of $17.3 million, plus the reduction in the estimate for probable collection of insurance proceeds of $17.7 million.

     Business Interruption Insurance Recoveries

      As of June 30, 2020, the Company had secured $11.0 million in business interruption insurance proceeds to reimburse lost profits
for the first quarter of the year.

     Interest Expense

      Interest expense for the six months ended June 30, 2021 was $58.6 million compared to $54.3 million for the six months ended
June 30, 2020. The $4.3 million increase reflected an increase of $6.9 million in interest on the 10.875% Notes issued in February
2021, partly offset by $1.2 million lower interest on the New Term Loan which was paid off with the proceeds of the 10.875% Notes
and $3.0 million lower deferred financing amortization related to the New Term Loan. Other net interest costs increased by $1.6 million
and includes $0.6 million higher ABL related interest expense.

     Other, Net

     Both the current and prior year six-month periods ending June 30th included various miscellaneous income and expense items,
none of which were individually significant.




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     Income Tax Expense / Benefit

      The effective tax rates applied to pretax loss for the six months ended June 30, 2021 and 2020 were the projected effective rates
for the respective full years ending December 31, which reflected the federal statutory rate of 21% appropriately adjusted for the state
tax provision and permanent book/tax differences. The projected full-year 2021 effective income tax rate applied to pretax loss of $149.1
million for the six months ended June 30, 2021 was 19.6% and the projected 2020 full-year effective income tax rate applied to pretax
loss of $111.8 million for the six months ended June 30, 2020 was 20.5%.
In response to the global pandemic related to the outbreak of COVID-19, on March 27, 2020, the Coronavirus Aid, Relief, and Economic
Security Act (the "CARES Act") was enacted in the US to grant relief to taxpayers. The CARES Act provides numerous tax provisions
and other stimulus measures, including temporary changes regarding the prior and future utilization of net operating losses, temporary
changes to the prior and future limitations on interest deductions, temporary suspension of certain payment requirements for the
employer portion of social security taxes, technical corrections from prior tax legislation for tax depreciation of certain qualified
improvement property and the creation of certain refundable employee retention credits. The Company does not currently expect the
CARES Act to have a material impact on its income tax expense or cash flows for 2020. The Company will continue to monitor
legislative and regulatory developments related to COVID-19 and will record the associated income tax impacts as discrete events in
the periods that guidance is finalized, or the Company is able to estimate an impact.

Liquidity and Capital Resources

     Our financing arrangements at June 30, 2021 consisted primarily of the 10.875% Notes and the 10.5% Notes. In addition, we
financed our 2021 insurance renewal premiums through Aon Premium Finance LLC, an affiliate of our Broker, Aon PLC.
     At June 30, 2021, we had total long-term debt of $1,065.0 million (excluding deferred financing costs of $15.4 million), which
consisted of the 10.875% Notes of $153.0 million and the 10.5% Notes of $930.0 million. Cash on hand was $27.0 million and we had
no short-term money market investments (with maturities of less than three months) or short-term investments (with original maturities
between 90 days and one year).
     At June 30, 2021 the ABL borrowing base was sufficient to support $112.5 million of additional borrowings. As of June 30,
2021, we were in compliance with all covenants set forth in the Indentures governing the 10.875% Notes and the 10.5% Notes.
     The additional borrowing capacity of $112.5 million under the ABL plus the cash on hand of $27.0 million provided total liquidity
of $139.5 million at June 30, 2021, which was more than the targeted liquidity we consider necessary to support our operations and
provide ample cushion to maneuver through future market volatility and operational upsets.

     ABL Facility

     The ABL Facility is available on a revolving basis to finance our working capital needs and for general corporate purposes. The
ABL Facility was composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” revolving
tranche (the ABL FILO) when amended and restated on August 2, 2019. Commitments under the ABL FILO reduce, and commitments
under the ABL Revolver equally and simultaneously increase, by $2.5 million on each of the first three anniversaries of the August 2,
2019 amendment and restatement.
        The credit agreement governing the ABL Facility contains covenants that impose restrictions on, among other things, additional
indebtedness, liens, investments, advances, guarantees and mergers and acquisitions. These covenants also place restrictions on asset
sales, sale and leaseback transactions, dividends, payments between us and our subsidiaries and certain transactions with affiliates
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.
     On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.




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     10.5% Notes

      The 10.5% Notes were issued on August 2, 2019 in conjunction with the refinancing of our debt. The net proceeds from the
issuance of the 10.5% Notes were $918.3 million after underwriters and other fees and expenses of $11.7 million. The net proceeds
from the issuance of the 10.5% Notes were used to redeem and pay accrued interest due on the 8.75% Notes of $816.2 million, to repay
the outstanding loan balance and pay accrued interest due on the Old Term Loan of $50.3 million and to repay the outstanding loan
balance and pay accrued interest due on the ABL of $35.9 million.
     The 10.5% Notes are due August 1, 2024 and interest is paid semi-annually in arrears on February 1 and August 1.
      On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 2, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the 10.5% Notes (the “10.5% Indenture”). On February 2, 2021, TPCGI and the
guarantors entered into a Supplemental Indenture, dated as of February 2, 2021, with U.S. Bank National Association, as trustee and
collateral agent, for the 10.5% Notes (the “10.5% Supplemental Indenture”). The 10.5% Supplemental Indenture modified the 10.5%
Indenture to match certain restrictions contained in the 10.875% Indenture (as defined below) on our ability to incur additional
indebtedness, pay dividends on or make other distributions or repurchase our capital stock, make certain investments, enter into certain
types of transactions with affiliates, create liens, sell certain assets or merge with or into other companies. We may also be required to
make an offer to repurchase the 10.5% Notes at a price equal to 102% of the principal amount of 10.5% Notes so repurchased, plus
accrued and unpaid interest, if any, upon receipt of certain insurance proceeds, and subject further to other conditions and limitations.
      The 10.5% Notes are effectively subordinated to the 10.875% Notes and are subordinated to the ABL Facility and the Company’s
and the subsidiary guarantors’ existing and future indebtedness secured by assets or properties not constituting collateral securing the
10.5% Notes to the extent of the value of such assets and properties. The 10.5% Notes rank senior in right of payment to all of TPCGI’s
and the subsidiary guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally in
right of payment with all TPCGI’s and the subsidiary guarantors’ existing and future liabilities that are not so subordinated, including
the ABL. The 10.5 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness to the extent of the value of the 10.5% Notes collateral.
      The 10.5% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.

     10.875% Notes

      The net proceeds from the offering of the 10.875% Notes were used to repay and terminate the $70 million New Term Loan, to
pay all fees and expenses related to the transactions and for general corporate purposes. The 10.875% Notes are due August 1, 2024
and interest will be paid quarterly in arrears on February 1, May 1, August 1 and November 1.
     On February 2, 2021, TPCGI and the guarantors entered into the Indenture, dated as of February 2, 2021, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.875% Indenture”).
     The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by all
subsidiary guarantors.
      The 10.875 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness and the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.875% Notes are effectively
subordinated to the ABL Facility and the Company’s and the subsidiary guarantors’ existing and future indebtedness secured by assets
or properties not constituting collateral securing the 10.875% Notes to the extent of the value of such assets and properties.
      The 10.875% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.

     Insurance Premium Financing

      As of June 30, 2021, we have $13.6 million of the insurance premiums we financed through Aon Premium Finance LLC recorded
as short-term debt. The first down payment and the first installment were paid in July 2021 and the remainder is payable in monthly
installments following the applicable renewal date through March of 2022.



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     Sources and Uses of Cash

      Our principal sources of liquidity are our existing cash and cash equivalents, short-term investments, cash generated from
operations and borrowings under our ABL. In addition to these sources, another source of liquidity over the near-term will be insurance
proceeds received under our various insurance policies, including our property damage and business interruption policies. Business
interruption coverage became effective on January 12, 2020 after the forty-five-day deductible period and from that date on will replace
the earnings the Port Neches plant would have contributed except as a result of the explosion incident on November 27, 2019 that shut
down the plant. The timing of receipt of additional insurance proceeds under our policies is uncertain at this time. We may also, from
time to time, generate cash from opportunistic sales of non-core assets. Our principal uses of cash are to provide working capital, meet
debt service requirements, fund capital expenditures and finance our strategic plans, including possible acquisitions. We may also seek
to finance our capital expenditures under capital leases or other debt arrangements that provide liquidity or favorable borrowing terms.
Our business may not generate sufficient cash flows from operations and future borrowings under our ABL Facility may not be available
to us in an amount sufficient to enable us to pay our indebtedness or to fund our other liquidity needs. Our ability to generate sufficient
cash depends on, among other factors, prevailing economic conditions, many of which are beyond our control. In addition, upon the
occurrence of certain events, such as a change in control, we could be required to repay or refinance our indebtedness. Any future
acquisitions, joint ventures or other similar transactions may require additional capital and there can be no assurance that any such
capital will be available to us on acceptable terms or at all. However, based on our current level of operations and available cash,
including the liquidity generated by the issuance of the 10.875% Notes, we believe that our cash flow from operations, together with
availability under the ABL and proceeds received under our insurance policies, will provide sufficient liquidity to fund our current
obligations, projected working capital requirements, debt service requirements and capital spending requirements for the foreseeable
future.
      Our liquidity requirements will be significant primarily due to the annual debt service requirements on the 10.5% Notes, which
are estimated to be $97.7 million, annual debt service requirements on the 10.875% Notes, which are approximately $16.6 million, our
baseline capital expenditures, which fall within the range of $70 to $80 million, our turnaround and catalyst costs, which would typically
be in the range of $20 to $30 million in years we do not perform a dehydro unit turnaround and $35 to $40 million in years we do
perform a dehydro unit turnaround, and cash requirements related to the Port Neches incident in advance of insurance recoveries or in
excess of insurance coverage limits.
       As market conditions warrant and subject to the Company’s contractual restrictions and liquidity position, we, our affiliates and/or
our equity holders, including the Sponsors and their affiliates, may from time to time repurchase the Company’s outstanding debt
securities in privately negotiated or open market transactions, by tender offer or otherwise. Should we decide to engage in such
transactions in the future, any such purchases may be funded by incurring new debt, including borrowings under our ABL. Any new
debt may also be secured debt. We may also use available cash on our balance sheet or new equity capital. The amounts involved in
any such transactions, individually or in the aggregate, may be material. Further, any such purchases may result in us acquiring and
retiring a substantial amount of the 10.875% Notes or the 10.5% Notes, with the attendant reduction in the trading liquidity of any such
Notes.

     Cash Flow Summary

     The following table summarizes changes in cash and cash equivalents for the periods indicated (in thousands):

                                                                                 Six Months Ended
                                                                                      June 30,
                                                                                 2021          2020
                                  Cash flows provided by (used in):
                                   Operating activities                      $ (15,834)     $ (41,043)
                                   Investing activities                        (50,653)       (34,420)
                                   Financing activities                         75,033       102,834
                                  Change in cash and cash equivalents        $    8,546     $ 27,371


     Operating Activities

      For the six months ended June 30, 2021, net use of cash for operating activities was $15.8 million. The net loss of $120.0 million,
deferred turnaround and catalyst costs of $4.4 million, and deferred income tax benefit of $29.2 million were partially offset by non-
cash expenses of $129.0 million and a decrease in working capital of $8.8 million. Non-cash expenses consisted of depreciation and


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amortization of $38.4 million, amortization of debt issuance costs of $5.2 million and non-cash expenses related to the Port Neches
incident of $85.4 million.
     Trade accounts receivable were $91.2 million at June 30, 2021 compared to $73.4 million at December 31, 2020. The increase
of $17.8 million reflected higher revenue of $94.6 million in June 2021 compared to December 2020 while the days of sales outstanding
remained unchanged at 29 days for June 30, 2021 and December 31, 2020. Trade accounts receivable were 99% current at June 30,
2021 and December 31, 2020.
      Our inventory at June 30, 2021 was $100.3 million compared to $45.4 million at December 31, 2020. The $54.9 million increase
in inventory value reflected a 57% increase in total volume, which had an impact of $26.0 million, and a 40% increase in overall average
cost per pound, which had an impact of $28.9 million, of which $16.2 million related to Raffinate inventories.
      For the six months ended June 30, 2020, net use of cash for operating activities was $41.0 million. The net loss of $88.9 million,
deferred turnaround and catalyst costs of $24.2 million, deferred income tax benefit of $22.9 million, and the accrual of business
interruption proceeds of $2.4 million, were partially offset by a decrease in working capital of $28.2 million and by non-cash expenses
of $69.2 million. Non-cash expenses consisted of depreciation and amortization of $33.6 million, net non-cash expenses related to the
Port Neches incident of $32.4 million and amortization of debt issuance costs of $3.2 million.

     Investing activities

      During the six months ended June 30, 2021 and 2020, we invested $50.7 million and $34.4 million, respectively, in the form of
capital expenditures.

     Financing activities

      Cash of $75.0 million was generated during the first six months of 2021 from net proceeds of $150.0 million from issuance of the
10.875% Notes and $13.6 million from insurance financings, partially offset by repayment of the $70.0 million New Term Loan,
repayment of $13.1 million of financed insurance premiums, and debt issuance costs of $5.5 million. Cash of $102.8 million was
generated during the first six months of 2020 from net borrowings on the New Term Loan of $69.3 million, net borrowings on the New
ABL of $34.5 million, and borrowings to finance our insurance premiums of $2.3 million, partially offset by deferred financing costs
of $3.3 million.

     Off-Balance-Sheet Arrangements

      We do not currently utilize any off-balance-sheet arrangements to enhance our liquidity and capital resource positions, or for any
other purpose.




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              CONDENSED CONSOLIDATED FINANCIAL STATEMENTS



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                                                            TPC Group Inc.
                                        CONDENSED CONSOLIDATED BALANCE SHEETS
                                          (In thousands, except share and per share amounts)


                                                                                                    June 30,       December 31,
                                                                                                      2021             2020
                                                                                                   (Unaudited)

                                              ASSETS
  Current assets:
   Cash and cash equivalents                                                                   $        26,998     $     18,452
   Trade accounts receivable                                                                            91,246           73,447
   Insurance receivable - Port Neches incident                                                          17,166           23,289
   Inventories                                                                                         100,323           45,435
   Other current assets                                                                                 35,106           41,123
          Total current assets                                                                         270,839          201,746
  Property, plant and equipment, net                                                                   718,589          703,273
  Intangible assets, net                                                                                 3,880            3,880
  Other assets, net                                                                                     46,568           55,850
          Total assets                                                                         $      1,039,876    $    964,749

                      LIABILITIES AND STOCKHOLDER'S DEFICIT
  Current liabilities:
   Accounts payable                                                                            $       171,571     $    113,092
   Accrued liabilities                                                                                 101,355           92,635
   Short-term debt                                                                                      13,637           13,098
   Accrued liabilities - Port Neches incident                                                          167,132           90,262
          Total current liabilities                                                                    453,695          309,087
  Long-term debt, net of deferred financing costs                                                     1,064,971         985,321
  Deferred income taxes                                                                                 (29,175)            -
          Total liabilities                                                                           1,489,491        1,294,408
  Commitments and contingencies
  Stockholder's deficit:
    Common stock, $0.01 par value, 2,000 shares authorized,
      1,030 issued and outstanding                                                                          -               -
    Additional paid-in capital                                                                          478,314         478,314
    Accumulated deficit                                                                                (925,268)       (805,312)
    Accumulated other comprehensive loss                                                                 (2,661)         (2,661)
          Total stockholder's deficit                                                                  (449,615)       (329,659)
          Total liabilities and stockholder's deficit                                          $      1,039,876    $    964,749


The accompanying notes are an integral part of these condensed consolidated financial statements.




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                                                             TPC Group Inc.
           CONDENSED CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE LOSS
                                                                 (In thousands)
                                                                 (Unaudited)

                                                                       Three Months Ended              Six Months Ended
                                                                             June 30,                       June 30,
                                                                       2021           2020            2021           2020

       Revenue                                                       $ 304,013      $ 139,145       $ 495,828     $ 354,969
       Cost of sales (excludes items listed below)                     211,415        101,413         348,285       262,665
       Operating expenses                                               56,833         41,634         108,097        86,918
       General and administrative expenses                               8,094          5,932          16,353        14,103
       Depreciation and amortization                                    19,091         18,026          38,419        33,623
       Loss on Port Neches incident, net of insurance recovery          30,139          2,907          35,066        26,019
       Business interruption insurance recoveries                          -          (11,000)            -         (11,000)
       COVID-19 expenses                                                   132            -               384           -
       Freeze event expenses                                             3,509            -            33,358           -
       Technical Center fire event expenses                              1,265            -             6,221           -

       Income (loss) from operations                                    (26,465)      (19,767)         (90,355)        (57,359)

       Other (income) expense:
        Interest expense                                                   30,413      28,817           58,570         54,254
        Other, net                                                            181        (118)             181            237

       Income (loss) before income taxes                                (57,059)      (48,466)        (149,106)       (111,850)

       Income tax expense (benefit)                                     (10,394)      (10,966)         (29,150)        (22,947)

       Net income (loss)                                             $ (46,665)     $ (37,500)      $ (119,956)   $    (88,903)

       Comprehensive income (loss)                                   $ (46,665)     $ (37,500)      $ (119,956)   $    (88,903)



       .




The accompanying notes are an integral part of these condensed consolidated financial statements.




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                                                                TPC Group Inc.
                             CONDENSED CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                                 (In thousands)
                                                                  (Unaudited)


                                                                                            Six Months Ended
                                                                                                 June 30,
                                                                                            2021          2020
                      Cash provided by (used in) operating activities                     $ (15,834)   $ (41,043)
                      Cash flows from investing activities:
                       Capital expenditures                                                 (50,653)     (34,420)
                            Cash used in investing activities                               (50,653)     (34,420)
                      Cash flows from financing activities:
                       Net proceeds from issuance of 10.875% notes                          150,000          -
                       Net proceeds from term loan                                              -         69,300
                       Payment on term loan                                                 (70,000)         -
                       Net proceeds from ABL Facility borrowings                                -         34,500
                       Proceeds from insurance finance debt                                  13,637        2,284
                       Insurance finance repayments                                         (13,097)         -
                       Debt issuance costs                                                   (5,507)      (3,250)
                            Cash provided by financing activities                            75,033      102,834
                      Increase in cash and cash equivalents                                   8,546       27,371
                      Cash and cash equivalents, beginning of period                         18,452       85,159
                      Cash and cash equivalents, end of period                            $ 26,998     $ 112,530




The accompanying notes are an integral part of these condensed consolidated financial statements.




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                           NOTES TO CONDENSED CONSOLIDATED FINANCIAL STATEMENTS
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NOTE A – BASIS OF PRESENTATION

     1.    Definition of Terms

      Certain terms used throughout these unaudited condensed consolidated financial statements and accompanying notes are defined
on page 3 of this Quarterly Report, which should be referred to when reading these interim unaudited condensed consolidated financial
statements and accompanying notes.

     2.    Organization

      The accompanying consolidated financial statements include the accounts of TPCGI and its direct wholly owned and indirect
subsidiaries. TPCGI’s direct wholly owned subsidiaries include TPCGLLC and Texas Petrochemicals Netherlands B.V., and its
indirect subsidiaries, which are all wholly owned subsidiaries of TPCGLLC, include Texas Butylene Chemical Corporation, Texas
Olefins Domestic International Sales Corporation, Port Neches Fuels LLC, TP Capital Corp., TPC Pipeline Holding Company LLC and
TPC Pipeline Company LLC.

     3.    Principles of Consolidation

     The Company’s unaudited condensed consolidated financial statements include the accounts of TPCGI and its direct and indirect
subsidiaries, after the elimination of all significant intercompany accounts and transactions. The unaudited condensed consolidated
financial statements presented have been prepared by us in accordance with GAAP.

     4.    Interim Financial Statements

     The unaudited condensed consolidated financial statements have been prepared in accordance with GAAP. Our December 31,
2020 Condensed Consolidated Balance Sheet data was derived from audited financial statements.
     The unaudited condensed consolidated financial statements contained in this Quarterly Report include all material adjustments of
a normal and recurring nature that, in the opinion of management, are necessary for a fair statement of the results for the interim periods.
The results of operations for the interim periods presented in this Quarterly Report are not necessarily indicative of the results to be
expected for a full year or any other interim period.
     The interim condensed consolidated financial statements should be read together with the audited consolidated financial statements
and related notes thereto included in TPC Group Inc.’s Annual Report for the year ended December 31, 2020, which is attached to this
Quarterly Report as Exhibit I.

NOTE B – DESCRIPTION OF BUSINESS

See Note B to our Annual Report for the year ended December 31, 2020, which is attached to this Quarterly Report as Exhibit I.




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NOTE C – RISKS AND UNCERTAINTIES RELATED TO THE COVID-19 PANDEMIC

      In March 2020, the World Health Organization declared the outbreak of COVID-19 to be a pandemic. The global coronavirus
(COVID-19) pandemic continues to cause considerable uncertainty in the marketplace, and efforts to stop the virus are also having
significant economic consequences. Though the government restrictions across the world have generally started to ease and vaccines
have become available to help prevent COVID-19 infections, the extent and duration of measures implemented to try to slow the spread
of the virus, such as travel bans and restrictions, border closures, quarantines, and business and government shutdowns have caused,
and may continue to cause, reduced demand and operational delays. The COVID-19 outbreak has impacted the addressable market for
the Company’s products, and the Company’s business continues to be exposed to risks and uncertainties related to the pandemic. The
Company has taken several actions to deal with the pandemic. These include enabling its employees to work from home and suspending
all non-essential travel. The ultimate impact and the extent to which the COVID-19 pandemic will continue to affect the business,
results of operation and financial condition is difficult to predict and depends on numerous evolving factors outside of the Company’s
control including: the duration and scope of the pandemic; government, social, business and other actions that have been and will be
taken in response to the pandemic; and the effect of the pandemic on short and long-term general economic conditions. This uncertainty
also affects management’s accounting estimates and assumptions, which could result in greater variability in a variety of areas that
depend on these estimates and assumptions.

NOTE D – RECENT ACCOUNTING DEVELOPMENTS

     Accounting Guidance Issued but Not Yet Adopted as of June 30, 2021

       Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company continues to evaluate its population of leases and
is continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting
for logistics equipment. The Company anticipates recognition of additional assets and corresponding liabilities related to leases upon
adoption, effective January 1, 2022.

      Defined Benefit Plans – ASU 2018-14, Compensation—Retirement Benefits, amends disclosure requirements for employers that
sponsor defined benefit pension or other postretirement plans. For public business entities, the amendments are effective for fiscal years
ending after December 15, 2020. For all other entities the amendments are effective for fiscal years ending after December 15,
2021. Early adoption is permitted. The Company anticipates some changes to the disclosures required to comply with this standard.

      Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management, in discussion with our tax consultants, have concluded that changes required by the new standard will not impact the
Company's financial statements and related tax disclosures.

NOTE E – DETAIL AND DISCUSSION OF CERTAIN CONDENSED CONSOLIDATED BALANCE SHEET CAPTIONS

     Cash and Cash Equivalents

      Cash and cash equivalents included amounts on deposit with banks, cash invested temporarily in investments with original
maturities of three months or less, and cash on hand. We maintain cash balances that are insured by the Federal Deposit Insurance
Corporation (“FDIC”). As of June 30, 2021, we had $27.0 million in cash and cash equivalents, which were subject to a $0.25 million
per account FDIC insurance coverage limit. We believe the likelihood of any loss of cash and cash equivalents is remote and that we
are not exposed to any significant credit risk on cash and cash equivalents.



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     Inventories
     Inventories, as of the dates presented, were as follows (in thousands) :

                                                                                         June 30,         December 31,
                                                                                           2021              2020

                          Finished goods                                            $       54,360        $       24,665
                          Raw materials and chemical supplies                               45,963                20,770
                                                                                    $      100,323        $       45,435


     The increase in inventory value of $54.9 million reflected a 57% increase in total volume, which had an impact of $26.0 million
along with a 40% increase in overall average cost per pound, which had an impact of $28.9 million.

     Other Current Assets

     Other current assets, as of the dates presented, were as follows (in thousands):

                                                                                        June 30,          December 31,
                                                                                          2021               2020
                     Prepaid insurance premiums                                     $       12,949        $       21,002
                     Spare parts inventory                                                  16,234                15,741
                     Prepaid expense and other                                               5,923                 4,380
                                                                                    $       35,106        $       41,123
                     .                                                          .

     Property, Plant and Equipment
     Property, plant and equipment, as of the dates presented, were as follows (in thousands):

                                                                                               June 30,       December 31,
                                                                                                 2021            2020

                   Land and land improvements                                              $      52,839      $       52,839
                   Plant and equipment                                                         1,136,844           1,108,577
                   Construction in progress                                                      102,157              93,903
                   Other                                                                          55,944              52,464
                                                                                               1,347,784           1,307,783
                    Accumulated depreciation                                                    (629,195)           (604,510)
                                                                                           $       718,589    $      703,273




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     Intangible Assets

    There were no changes in the carrying amount of our intangible assets, for the six months ended June 30, 2021. The gross carrying
amounts and accumulated amortization of intangible assets, as of the dates presented, were as follows (in thousands):

                                                                          Gross                                      Net
                                                                         Carrying             Accumulated          Carrying
                                                                          Value               Amortization          Value
                         June 31, 2021
                          Technology license                            $    3,880            $         -          $    3,880
                          Patents                                           23,100                  (23,100)                -
                                                                        $   26,980            $     (23,100)       $    3,880


     Other Assets

     Other assets, as of the dates presented, were as follows (in thousands):

                                                                                            June 30,           December 31,
                                                                                              2021                2020
                            Deferred turnaround costs                               $             31,808       $        40,308
                            Catalyst and solvent costs                                            12,915                13,693
                            Other deferred charges                                                 1,845                 1,849
                                                                                    $             46,568       $        55,850


     The decrease in the deferred turnaround costs reflects the amortization of turnaround costs in the first two quarters of 2021.

     Accrued Liabilities

     Accrued liabilities, as of the dates presented, were as follows (in thousands):

                                                                                        June 30, 2021          December 31,
                                                                                            2021                  2020
                           Accrued interest                                             $          43,757      $       41,231
                           Accrued payroll and benefits                                            26,048              17,537
                           Accrued property and sales tax                                          13,865              13,991
                           Net pension liability                                                    7,332               8,493
                           Accrued freight                                                          5,365               5,875
                           Other                                                                    4,988               5,508
                                                                                        $         101,355      $       92,635




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     Accrued Liabilities – Port Neches Incident

     Accrued liabilities for the Port Neches Incident, as of the dates presented, were as follows (in thousands):

                                                                                          June 30,                 December 31,
                                                                                            2021                      2020

                        Total of losses and costs recognized                          $      434,147               $       416,817
                        Deferred gain on insurance                                           120,805                        36,694
                        Invoices / settlements paid                                         (316,110)                     (293,874)
                        Unpaid invoices included in payables                                 (14,810)                      (12,507)
                        Asset write-offs                                                     (56,900)                      (56,868)
                                                                                      $      167,132               $        90,262

                        Accrued response / clean-up costs                             $      128,818               $        46,258
                        Estimated claims liability                                            38,314                        44,004
                                                                                      $      167,132               $        90,262
                                                                                                               .
NOTE F – SHORT-TERM DEBT

     Our short-term financing arrangements at June 30, 2021 and December 31, 2020 consisted of insurance premiums financing. The
$13.6 million balance at June 30, 2021 represents insurance premiums financed for nine months in June 2021, with the first payment
due in July 2021 and the final payment due in March 2022. The $13.1 million balance at December 31, 2020 represented the four
remaining installments of the ten months of insurance premiums financed 2020 that were paid in full in April 2021.

NOTE G – LONG-TERM DEBT

     Outstanding debt as of the dates presented, was as follows (in thousands):
                                                                                      June 30,             December 31,
                                                                                       2021                   2020
                    10.5% Notes                                                   $       930,000          $           930,000
                    10.875% Notes                                                         153,000                          -
                    New Term Loan                                                             -                         70,000
                    Unamortized discount on New Term Loan                                     -                           (286)
                    Unamortized discount on notes                                          (2,643)                         -
                    Total long-term debt                                            1,080,357                          999,714
                      Less: deferred financing costs                                  (15,386)                         (14,393)
                    Long-term debt net of deferred financing costs                $ 1,064,971              $           985,321

                    .                                                                                  .
    Our financing arrangements at June 30, 2021 were comprised of the 10.875% Notes and the 10.5% Notes. As of June 30, 2021,
we were in compliance with all covenants set forth in the Indentures governing the 10.875% Notes and the 10.5% Notes.

     ABL

     TPCGI is the lead borrower under the ABL and certain domestic subsidiaries of TPCGI are co-borrowers (or may be designated
co-borrowers) on a joint and several basis.
     The ABL is composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” tranche (the
ABL FILO). Commitments under the ABL FILO will be reduced, and commitments under the ABL Revolver equally and
simultaneously increased, by $2.5 million on each of the first three anniversaries of the August 2019 amendment and restatement.


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      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.
     As of June 30, 2021, we had no borrowings outstanding on the ABL and the combined ABL Revolver and ABL FILO borrowing
bases provided us with the ability to borrow up to $112.5 million.
      The ABL Revolver commitments may be increased by an aggregate principal amount of not more than $150 million, subject only
to the consent of the new or existing lenders providing such increases. The lenders under this facility are under no obligation to provide
any such additional commitments, and any increase in commitments will be subject to customary conditions precedent.
Notwithstanding any such increase in the facility size, TPCGI’s ability to borrow under the facility will remain limited at all times by
the borrowing base (to the extent the borrowing base is less than the commitments).
      Loans under the ABL Revolver bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate
equal to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR
rate plus 1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be
1.75% (and may subsequently decrease to 1.50% or increase to 2.00% depending on average excess availability) and with respect to
base rate borrowings will initially be 0.75% (and may subsequently decrease to 0.50% or increase to 1.00% depending on average excess
availability).
      Loans under the ABL FILO bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate equal
to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR rate plus
1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be 3.00% (and
may subsequently decrease to 2.75% or increase to 3.25% depending on average excess availability) and with respect to base rate
borrowings will initially be 2.00% (and may subsequently decrease to 1.75% or increase to 2.25% depending on average excess
availability).
      The ABL provides for all applicable margins to be reduced by 0.25% during any fiscal quarter for which the Total Leverage Ratio,
as defined in the ABL credit agreement, as of the last day of the immediately preceding fiscal quarter, is less than 5.0 to 1.0.
      In addition to paying interest on outstanding principal under the ABL, TPCGI is required to pay a commitment fee at an initial rate
of 0.500% per annum in respect of the unutilized commitments thereunder. The commitment fee rate subsequently may be reduced to
0.375% depending on the amount of excess availability under the ABL. TPCGI must also pay customary letter of credit fees and
fronting fees for each letter of credit issued.
      If, at any time, (i) an Event of Default is continuing or (ii) Excess Availability is less than the greater of (x) 12.5% of Availability
and (y) $12.5 million, TPCGI shall comply with a minimum Fixed Charge Coverage Ratio for the most recent period of four consecutive
fiscal quarters of at least 1.0 to 1.0. Such requirement shall continue until the date that no Event of Default exists, and Excess
Availability shall have been not less than the greater of (x) 12.5% of Availability and (y) $12.5 million for a period of 21 consecutive
calendar days.
      If at any time the aggregate amount of loans and letters of credit outstanding under either the ABL Revolver or under the ABL
FILO exceeds the lesser of (a) the applicable total commitments and (b) the applicable borrowing base, TPCGI will be required to prepay
loans outstanding and/or cash collateralize outstanding letters of credit in an aggregate amount equal to the amount of any such excess,
without any reduction of the commitments. Under certain circumstances, if the aggregate amount available under the ABL is less than
the greater of (1) 12.5% of the lesser of (i) the total commitments under such facility and (ii) the borrowing base and (2) $12.5 million
for 5 consecutive business days, or if certain defaults occur, all collateral proceeds collected through the cash management system in
favor of the collateral agent will be swept to a collection account and applied daily to repay outstanding loans and cash collateralize
letters of credit under the ABL.
     TPCGI may voluntarily repay loans outstanding under the ABL Revolver and under the ABL FILO at any time without premium
or penalty other than customary “breakage” costs with respect to LIBOR loans. All outstanding loans under the ABL Revolver must
be repaid before any loans outstanding under the ABL FILO may be repaid. Any subsequent borrowings under the ABL would be
made first under the ABL FILO (subject to availability) and next under the ABL Revolver (subject to availability). We may elect at

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any time to reduce the unutilized portion of the commitment amount under the ABL. We may elect at any time to terminate the ABL
FILO commitments in full (but not in part) provided that 30 Day Excess Availability, as defined in the Credit Agreement and calculated
on a pro forma basis, would not be less than the greater of (a) 17.5% of availability and (b) $25 million if the Fixed Charge Coverage
Ratio is at least 1.0 to 1.0 or 30 Day Excess Availability would not be less than 22.5% of availability if the Fixed Charge Coverage Ratio
is less than 1.0 to 1.0.
      Pursuant to a Guarantee, dated as of August 2, 2019, among Parent, TPCGI, the other guarantors party thereto and Bank of
America, N.A., as administrative agent and collateral agent, all obligations under the Senior Secured Asset-Based Revolving Credit
Agreement are unconditionally guaranteed by substantially all existing and future, direct and indirect, wholly-owned material restricted
domestic subsidiaries of TPCGI, subject to certain exceptions, including, any applicable legal, regulatory or contractual constraints and
to the requirement that such guarantee will not cause material adverse tax consequences.
     The borrowers under the ABL are jointly and severally liable for all borrowings and other obligations thereunder. Pursuant to a
Pledge and Security Agreement, dated as of August 2, 2019, among Parent, TPCGI, the subsidiary grantors and Bank of America, N.A.,
as administrative agent and collateral agent, and any additional borrowers that may become party thereto from time to time, such
obligations and the guarantees of such obligations are secured, subject to permitted liens and other exceptions, by:
     •   a first-priority lien on the following:

                  (a)       accounts receivable, including those arising from the sale of inventory and other goods and services
                            (including related contracts and contract rights, inventory, tax refunds, cash and cash equivalents);
                  (b)       inventory;
                  (c)       intercompany notes and intellectual property and other intangible assets to the extent attached to or necessary
                            to sell any of the foregoing;
                  (d)       deposit and investment accounts (and all cash, checks and other negotiable instruments, funds and other
                            evidences of payment held therein, but not any identifiable proceeds of Notes First Priority Collateral (as
                            defined below));
                  (e)       to the extent evidencing, governing, securing or otherwise related to any of the foregoing and the other
                            Revolver First Priority Collateral (as defined below), all documents, general intangibles (excluding
                            intellectual property), instruments, investment property (but not stock in subsidiaries or equity interest in any
                            limited liability company or other entity constituting Notes First Priority Collateral), commercial tort claims,
                            letters of credit, supporting obligations and letter of credit rights;
                  (f)       all loans payable by a grantor to any other grantor to the extent made using proceeds of advances under the
                            ABL Facility;
                  (g)       books and records, documents, supporting obligations, chattel paper, instruments, payment intangibles and
                            general intangibles relating to any of the foregoing; and
                  (h)       all proceeds and products of any or all of the foregoing in whatever form received, in each case above subject
                            to certain qualifications and exclusions (collectively, the “Revolver First Priority Collateral”); and
     •   a second-priority lien on assets not constituting Revolver First Priority Collateral subject to certain qualifications and
         exclusions (the “Notes First Priority Collateral”).
    The ABL contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the ability of
TPCGI and certain of its subsidiaries to:
     •   incur additional indebtedness;
     •   create liens;
     •   engage in mergers or consolidations;
     •   sell or transfer assets;
     •   pay dividends and distributions or repurchase its capital stock;
     •   make investments, loans or advances;


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     •    prepay certain indebtedness;
     •    engage in certain transactions with affiliates;
     •    designate certain subsidiaries as restricted or unrestricted by the covenants; and
     •    change its lines of business.
      In addition, at any time when an event of default is continuing or the aggregate amount available under the ABL is less than the
greater of (a) 12.5% of the lesser of (1) the total commitments and (2) the borrowing base and (b) $12.5 million (or a lesser amount if a
significant asset sale has occurred), TPCGI will be required to maintain a minimum fixed charge coverage ratio of 1.0:1.0.
      The ABL also contains a customary “holding company” covenant that restricts Parent’s ability to take certain actions and contains
certain customary additional affirmative covenants, representations and warranties, conditions to making loans, indemnification
provisions and events of default, including (subject in certain cases to customary grace and cure periods) material inaccuracy of
representations, non-payment of obligations under the ABL, violation of affirmative and negative covenants, non-payment or
acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of the credit documents (or the assertion
by Parent or a borrower of any such invalidity), change of control and loss of lien perfection or priority.
      On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.5% Notes

     The 10.5% Notes are due August 1, 2024 and interest will be paid semi-annually in arrears on February 1 and August 1.

      Indenture Governing the 10.5% Notes

      On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 2, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the 10.5% Notes, (the “10.5% Indenture”). On February 2, 2021, TPCGI and the
guarantors entered into a Supplemental Indenture, dated as of February 2, 2021, with U.S. Bank National Association, as trustee and
collateral agent, for the 10.5% Notes (the “10.5% Supplemental Indenture”). The 10.5% Supplemental Indenture modified the 10.5%
Indenture to match certain restrictions contained in the 10.875% Indenture (as defined below) on our ability to incur additional
indebtedness, pay dividends on or make other distributions or repurchase our capital stock, make certain investments, enter into certain
types of transactions with affiliates, create liens, sell certain assets or merge with or into other companies. We may also be required to
make an offer to repurchase the 10.5% Notes at a price equal to 102% of the principal amount of 10.5% Notes so repurchased, plus
accrued and unpaid interest, if any, upon receipt of certain insurance proceeds, and subject further to other conditions and limitations.
      The 10.5% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. (“Holdings”) and on a senior secured basis by
all of TPCGI’s existing and future direct and indirect domestic subsidiaries other than certain excluded subsidiaries (the “subsidiary
guarantors” and together with Holdings, the “guarantors”) that guarantee obligations under the ABL.
       The 10.5% Notes are effectively subordinated to the 10.875% Notes and are subordinated to the ABL Facility and the Company’s
and the subsidiary guarantors’ existing and future indebtedness secured by assets or properties not constituting collateral securing the
10.5% Notes to the extent of the value of such assets and properties. The 10.5% Notes rank senior in right of payment to all of TPCGI’s
and the subsidiary guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally in
right of payment with all TPCGI’s and the subsidiary guarantors’ existing and future liabilities that are not so subordinated, including
the ABL. The 10.5 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes and the guarantees are structurally subordinated
to all existing and future liabilities and preferred stock of any of its subsidiaries that do not guarantee the 10.5% Notes effectively senior
to TPCGI’s and the subsidiary guarantors’ indebtedness that is unsecured or that is secured by junior liens to the extent of the value of
the assets securing the 10.5% Notes and the guarantees, and effectively junior to TPCGI’s ABL to the extent of the value of the assets
that secure TPCGI’s ABL on a first-priority basis.
      The 10.5% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the subsidiary
guarantors’ assets (in each case, other than TPCGI’s and the subsidiary guarantors’ assets that secure the ABL on a first-priority basis),
subject to certain exceptions and permitted liens. Subject to certain exceptions and permitted liens, the 10.5% Notes and the guarantees
are also secured on a second-priority basis by TPCGI’s and the subsidiary guarantors’ assets that secure our ABL on a first-priority
basis.

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      The 10.5% Notes become redeemable as of August 1, 2021 at the redemption prices specified in the 10.5% Indenture. The
redemption price for the period from (and including) August 1, 2021 through July 31, 2022 is 107.875% and for the period from (and
including) August 1, 2022 through July 31, 2023 is 103.938%. The 10.5% Notes become redeemable at par as of August 1, 2023.
Unless otherwise redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an
offer to repurchase the 10.5% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if
any. TPCGI may also be required to make an offer to repurchase the 10.5% Notes at a price equal to 102% of the principal amount of
10.5% Notes so repurchased, plus accrued and unpaid interest, if any, upon receipt of certain insurance proceeds, and subject further to
other conditions and limitations. In addition, at any time prior to August 1, 2021, TPCGI may redeem, subject to certain conditions,
up to 35% of the 10.5% Notes at a redemption price of 110.50% with the net cash proceeds from one or more equity offerings.
      In addition, upon the sale of certain assets or the receipt of insurance proceeds in connection with certain casualty events, in each
case, in which TPCGI and its subsidiaries do not apply the proceeds as required, the holders of the 10.5% Notes may require TPCGI to
purchase for cash all or a portion of its 10.5% Notes at a purchase price equal to 100% of the principal amount of the 10.5% Notes, plus
accrued and unpaid interest, if any, to, but excluding, the repurchase date.
      The 10.5% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted subsidiaries
to (subject to certain exceptions):
     •   incur additional debt, issue disqualified stock or issue certain preferred stock;
     •   pay dividends on or make certain distributions and other restricted payments;
     •   create certain liens or encumbrances;
     •   sell assets;
     •   enter into transactions with affiliates;
     •   limit ability of restricted subsidiaries to make payments to TPCGI;
     •   consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •   designate TPCGI’s subsidiaries as unrestricted subsidiaries.
      The 10.5% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.5% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.5% Notes to be due and payable.
      On February 2, 2021 we issued $153 million of 10.875% Senior Secured Notes and repaid the $70 million New Term Loan we
had in place with Apollo Global Management to provide additional liquidity against any uncertainty around timing of future insurance
recoveries, including business interruption recoveries, over the next year.

     10.875% Notes

      The net proceeds from the offering of the 10.875% Notes were used to repay and terminate the $70 million New Term Loan, to
pay all fees and expenses related to the transactions and for general corporate purposes. The 10.875% Notes are due August 1, 2024 and
interest will be paid quarterly in arrears on February 1, May 1, August 1 and November 1.
      Indenture Governing the 10.875% Notes

     On February 2, 2021, TPCGI and the guarantors entered into the Indenture, dated as of February 2, 2021, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.875% Indenture”).
     The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by all
subsidiary guarantors.
      The 10.875 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness and the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.875% Notes are effectively
subordinated to the ABL Facility and the Company’s and the subsidiary guarantors’ existing and future indebtedness secured by assets
or properties not constituting collateral securing the 10.875% Notes to the extent of the value of such assets and properties.

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       The 10.875% Notes are TPCGI’s and the guarantees are the guarantors’ senior secured obligations and rank senior in right of
payment to the 10.5% Notes and all of TPCGI’s and the guarantors’ future debt that is expressly subordinated in right of payment to the
10.875% Notes and rank equally in right of payment with all TPCGI’s and the guarantors’ existing and future liabilities that are not so
subordinated, including the ABL. The 10.875% Notes and the guarantees are structurally subordinated to all existing and future
liabilities and preferred stock of any of its subsidiaries that do not guarantee the 10.875% Notes effectively senior to TPCGI’s and the
guarantors’ indebtedness that is unsecured or that is secured by junior liens to the extent of the value of the assets securing the 10.875%
Notes and the guarantees, and effectively junior to TPCGI’s ABL to the extent of the value of the assets that secure TPCGI’s ABL on a
first-priority basis.
      The 10.875% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the guarantors’
assets (in each case, other than TPCGI’s and the guarantors’ assets that secure the ABL on a first-priority basis), subject to certain
exceptions and permitted liens. Subject to certain exceptions and permitted liens, the 10.875% Notes and the guarantees are also
secured on a second-priority basis by TPCGI’s and the guarantors’ assets that secure our ABL on a first-priority basis.
      The 10.875% Notes are redeemable at the redemption prices specified in the 10.875% Indenture. The 10.875% Notes are
redeemable prior to August 2, 2022 at a price equal to 100% of the principal amount of the Notes to be redeemed, plus accrued and
unpaid interest to, but excluding, the redemption date, plus the applicable “make-whole premium.” The redemption price for the period
from (and including) August 2, 2022 through February 1, 2023 is 108.1563% and for the period from (and including) February 2, 2023
through August 1, 2023 is 104.0781%. The 10.875% Notes become redeemable at par as of August 2, 2023. Unless otherwise
redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an offer to repurchase
the 10.875% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if any.
      In addition, upon the sale of certain assets or the receipt of insurance proceeds in connection with certain casualty events, in each
case, in which TPCGI and its subsidiaries do not apply the proceeds as required, the holders of the 10.875% Notes may require TPCGI
to purchase for cash all or a portion of its 10.875% Notes at a purchase price equal to 100% of the principal amount of the 10.875%
Notes, plus accrued and unpaid interest, if any, to, but excluding, the repurchase date.
     The 10.875% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted
subsidiaries to (subject to certain exceptions):
     •   incur additional debt, issue disqualified stock or issue certain preferred stock;
     •   pay dividends on or make certain distributions and other restricted payments;
     •   create certain liens or encumbrances;
     •   sell assets;
     •   enter into transactions with affiliates;
     •   limit ability of restricted subsidiaries to make payments to TPCGI;
     •   consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •   designate TPCGI’s subsidiaries as unrestricted subsidiaries.
      The 10.875% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.875% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.875% Notes to be due and payable.




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NOTE H – REVENUE

     We operate in two principal business segments, C4 Processing and Performance Products. The following table disaggregates
revenue for each segment by major activity and by domestic and foreign for each period presented.

                                                            Three Months Ended                 Six Months Ended
                                                                  June 30,                          June 30,
                                                            2021           2020               2021           2020
             Revenue by segment
              C4 Processing
                  Product sales                        $    156,576    $     67,253      $    260,399     $   184,980
                  Process revenue                               678             520             1,202           1,132
                  Terminalling revenue                        2,885           1,378             5,178           3,811
                  Service fees                                1,308             374             2,083           1,055
                  Shipping and handling                       2,559           3,069             4,907           5,966
                                                       $    164,006    $     72,594      $    273,769     $   196,944
               Performance Products
                   Product sales                       $    135,519    $     63,549      $    213,145     $   150,175
                   Terminalling revenue                         -                38               -                75
                   Shipping and handling                      4,488           2,964             8,914           7,775
                                                       $    140,007    $     66,551      $    222,059     $   158,025
                                                       $    304,013    $    139,145      $    495,828     $   354,969

             Revenue by geographic location
              United States                            $    289,599    $    129,466      $    468,504     $   331,358
              All foreign countries                          14,414           9,679            27,324          23,611
                                                       $    304,013    $    139,145      $    495,828     $   354,969



NOTE I – PORT NECHES INCIDENT

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” We anticipate future engagement with OSHA regarding these issues
including a mandatory settlement conference scheduled for August 5-6, and 24-26, 2021.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
     The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management Compliance program at both the Port Neches and Houston

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facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice has initiated an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,670 property claims have been resolved and approximately 1,430 additional eligible claims are pending action by the claimant in the
claims process. The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial
statements. The Company also provided an emotional support hotline staffed by licensed professional counselors from Samaritan
Counseling Center of Southeast Texas.
      In addition to the property claims, sixty-seven private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred lawsuits – which
typically include dozens of plaintiffs in each – are severed into individual cases with over 1650 individual plaintiff cases now pending.
Twenty-nine of the sixty-seven private party lawsuits, including approximately 600 individual plaintiffs, are awaiting transfer to the pre-
trial court. Additionally, more than 750 other properties are the subject of litigation as a result of subrogation claims filed by
homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and
a revised schedule will likely be entered in third quarter 2021 as the plaintiffs filed an amended master petition in Q2 2021 adding
additional defendants. A hearing on class certification is not expected before Q4 2021 at the earliest.
    Four different sets of insurance policies in effect at the time provide coverage for costs and losses incurred as a result of the Port
Neches Incident.
     On an event to date basis, TPC has incurred $434.1 million dollars of costs associated with the PNO Event and anticipates
recovering $257.0 million of these costs through insurance proceeds. At the end of the first quarter of 2021 we anticipated collecting
$278.0 million. The $21.0 million change in estimate is a result of lowering the probability of proceed collection based on the current
claims status. It does not constitute a view that these funds are not collectable, just that they do not currently meet the probability test.
We have collected $372.8 million dollars of insurance proceeds and have paid out $316.1 million. Any proceeds collected in excess of
book costs will be reflected as a deferred gain until the claim is fully settled.

     Property/Business Interruption Policies

      Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible is $10.0
million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying for business
interruption coverage. As of June 30, 2021, we have paid $80.5 million of costs and collected $230.0 million under these policies, of
which $12.1 million has been specifically designated as business interruption coverage and $217.9 million has been designated as an
unallocated payment on account. Of the unallocated proceeds of $217.9 million, $120.8 million are recorded as a deferred gain
primarily due to the net book value of the affected assets being lower than the value that we will receive. Reimbursable costs under
this policy recorded in 2019 and 2020 were $52.4 million and $58.8 million, respectively. Reimbursable costs for the first quarter of
2021 were $2.5 million and for the three months ended June 30, 2021 we made a change in estimate adjustment and reduced probable
anticipated recoverable costs by $16.6 million. This change was based on proposed adjustments from insurance carriers for which we
have supported positions that counter their assessment but due to the current claim status we could no longer deem these proceeds as
probable. We currently estimate that $97.1 million will be recoverable under this policy.
     On April 28, 2021 we executed a $30.0 million unallocated Partial Proof of Loss and received those funds by the 1st week of June.
In addition, on August 4, 2021 we executed a $28 million unallocated Partial Proof of Loss under these policies bringing the total to
$258 million. As of the date of the issuance of this report we have received $8.8 million of this amount.

     Liability/Defense Policies

      Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of June 30, 2021, we have accrued third-party claim amounts of $168.1 million, have paid $129.5


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million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $55.3 million and we
have collected $15.3 million of this amount. We anticipate collecting a total of $31.2 million for these expenses. Costs recorded under
these policies in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional amount was
incurred for claims of $3.1 million and for defense costs of $35.6 million. So far in 2021, an additional $3.2 million was added primarily
for commercial claims and an additional $5.5M in defense costs. To date we have paid $53.5 million of these defense cost invoices.
      We have reached an agreement with the majority of our liability insurers to settle our claims for reimbursement of eligible liability
defense costs we incurred in 2020. As a result of this agreement, we anticipate receiving an additional $16.7 million of defense costs
bringing the total expected recovery to $31.2 million. As of this report date we have received $6.2 million of those additional costs.

      Environmental/Pollution Policies

     Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of June 30, 2021, we have incurred
$51.8 million and paid $46.6 million of those costs and have collected the full $25.0 million of coverage under this policy. We incurred
$23.1 million, $28.0 million and $0.7 million of these costs in 2019, 2020 and 2021 respectively.

     Inventory Policy

      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We executed a $2.5
million Partial Proof of Loss under this policy and received the total $2.5 million in June. We expect to recover the fair market value at
the time of the event on these materials which is estimated to be $4.5 million.

     Not Recoverable

      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits.

NOTE J – COVID-19 EXPENSES

      The $0.1 million and $0.4 million of COVID-19 expenses for the three and six months ended June 30, 2021 relate to costs incurred
as a result of precautionary measures taken by the Company to prevent the spread of COVID-19 at TPC sites. The costs include
protective gear for employees, increased sanitation of TPC sites, and enhancements to workspaces to promote safety.

NOTE K – FREEZE EVENT EXPENSES

      The freeze event expenses of $3.5 million and $33.4 million for the three and six months ended June 30, 2021 relate to costs
incurred as a result of extreme winter weather experienced by large parts of the southern United States, including Texas and Louisiana
where the Company’s operations are located. The costs include extensive emergency repairs, utility costs and overtime personnel costs.

NOTE L – TECHNICAL CENTER FIRE EVENT EXPENSES

     In January of 2021 a fire occurred in the Technical Center at the Houston Plant. The Technical Center is used for quality control
and research and development activities. The $1.3 million and $6.2 million of Technical Center fire expenses for the three and six
months ended June 30, 2021 relates to costs incurred as a result of a fire. The expenses primarily represent event response costs,
outsourced quality control testing and rental expenses to house equipment and employees until the Technical Center rebuild is complete.

  NOTE M – INCOME TAXES

      The income tax provisions for the second quarters of 2021 and 2020 represent the differences between the income tax provisions
for the six-month periods ended June 30, 2021 and 2020 and the income tax provisions for the quarters ended March 31, 2021 and 2020,
respectively. The effective tax rates applied to pretax loss for the six months ended June 30, 2021 and 2020 were the projected effective
rates for the respective full years ending December 31, which reflected the federal statutory rate of 21% appropriately adjusted for the


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state tax provision and permanent book/tax differences. The projected full-year 2020 effective income tax rate applied to pretax loss
for the six months ended June 30, 2021 and 2020 was 19.6% and 20.5%, respectively.
      In response to the global pandemic related to the outbreak of COVID-19, on March 27, 2020, the Coronavirus Aid, Relief, and
Economic Security Act (the "CARES Act") was enacted in the US to grant relief to taxpayers. The CARES Act provides numerous
tax provisions and other stimulus measures, including temporary changes regarding the prior and future utilization of net operating
losses, temporary changes to the prior and future limitations on interest deductions, temporary suspension of certain payment
requirements for the employer portion of social security taxes, technical corrections from prior tax legislation for tax depreciation of
certain qualified improvement property and the creation of certain refundable employee retention credits. The Company does not
currently expect the CARES Act to have a material impact on its tax expense. The Company will continue to monitor legislative and
regulatory developments related to COVID-19 and will record the associated tax impacts as discrete events in the periods that guidance
is finalized, or the Company is able to estimate an impact.

NOTE N – COMMITMENTS AND CONTINGENCIES (see Note Q of Exhibit I for additional discussion)

     Legal Matters

      From time to time, we are party to routine litigation incidental to the normal course of our business, consisting primarily of claims
for personal injury or exposure to our chemical products or feedstocks, and environmental matters. We intend to defend these actions
vigorously and believe, based on currently available information, that adverse results or judgments from such actions, if any, will not
be material to our financial condition, results of operations or cash flows. We record reserves for contingencies when information
available indicates that a loss is probable, and the amount of the loss is reasonably estimable. Management’s judgment may prove
materially inaccurate, and such judgment is subject to the uncertainty of litigation. Many of the personal injury or product exposure
lawsuits to which we are a party are covered by insurance subject to certain self-insured retention amounts.
      Our contractual arrangements with our customers and suppliers are typically very complicated and can include, for example,
complex index-based pricing formulas that determine the price for our feedstocks or finished products. Due to the complicated nature
of our contractual arrangements, we can, from time to time, be involved in disputes with our customers and suppliers regarding the
interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the normal course of our business,
seldom result in actual formal litigation, and are typically resolved in the context of the broader commercial relationship that we have
with the customer or supplier.
     On December 10, 2020, the Company received a notice from a customer asserting a purported breach of the parties’ MTBE sales
agreement. The customer asserts that it had properly exercised the right of first refusal provided in the sales agreement and that the
Company’s subsequent agreement with another customer constitutes a breach of the sales agreement. The Company disputes and
intends to aggressively defend the customer’s possible claim. A mediation took place in May 2021 as required in the dispute resolution
provisions of the sales agreement. No settlement was reached at that mediation, and no lawsuit has yet been filed.
      As described above, we record reserves for contingencies when information available indicates that a loss is probable, and the
amount of the loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment is subject to
the uncertainty of the dispute resolution or litigation process. As of June 30, 2021, we have not recognized any material reserves related
to unresolved disputes with customers and suppliers.
       Sixty-seven private party lawsuits, including five class actions, are pending in Texas state court related to the November 2019
incident at our Port Neches plant. The petitions bring a variety of claims sounding in negligence, gross negligence, nuisance, and
trespass. The plaintiffs in these cases allege in the most general way that we were negligent and/or grossly negligent by breaching
duties to, among other things, (1) maintain unspecified plant equipment, (2) develop, implement, and maintain proper procedures for
storage of chemicals at the facility, and (3) warn the public concerning the risks and dangers of the chemicals maintained at the
facility. The petitions also allege that these and other breaches caused damages, including property damage, medical care and expenses,
pain and suffering, physical impairment, lost earnings, disfigurement, medical monitoring, mental anguish, and injury to
business. Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas
state court cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated
the 128th District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred
lawsuits – which typically include dozens of plaintiffs in each – are severed into individual cases with over 1,650 individual plaintiff
cases now pending. Twenty-nine of the sixty-seven private party lawsuits, including approximately 600 individual plaintiffs, are
awaiting transfer to the pre-trial court. Additionally, more than 750 other properties are the subject of litigation as a result of subrogation
claims filed by homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a


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Case Management Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect,
and a revised schedule will likely be entered in Q3 2021 as the plaintiffs filed an amended master petition in Q2 2021 adding additional
defendants. A hearing on class certification is not expected before Q4 2021 at the earliest.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident. The United States Environmental Protection Agency (EPA) is investigating the
Company as a result of the 2019 incident. The Company also was served with an information request under Section 114 of the federal
Clean Air Act. The request seeks information about the incident as well as the Company’s Risk Management Program compliance
record at both the Port Neches and Houston facilities. Such requests are typically the first step in EPA enforcement. We anticipate
that there likely will be additional enforcement matters, claims for cost recovery, and/or claims for natural resources damages from
TCEQ, EPA, and OSHA.
     Because these lawsuits, which we intend to vigorously defend, are in their early stages, we are unable to determine if a loss is
probable or estimate the amount or range of potential loss and therefore have not established any reserves, but we believe the amounts
involved may be material.
      Beyond the matters in active litigation, the Company has received other claims and demands, through its formal claims process
and otherwise, from individuals, companies, and insurers claiming damages as a result of the incident. The Company is in the process
of reviewing these claims. It is possible some of these claims may result in additional litigation.

     Environmental and Safety Matters

      Our Company is subject to federal, state, local and foreign laws, regulations, rules and ordinances from various governing agencies
that regulate human health, safety, security and the environment.
      We are committed to maintaining compliance with applicable environmental, health, safety (including process safety) and security
(“EHS&S”) legal requirements, and we have developed policies and management systems intended to identify the various EHS&S legal
requirements applicable to our operations and facilities. We work to enhance and assure compliance with applicable requirements,
ensure the safety of our employees, contractors, community neighbors and customers, and minimize the generation of wastes, the
emission of air contaminants and the discharge of pollutants. These EHS&S management systems also serve to foster efficiency and
improvement and to reduce operating risks.
      In the ordinary course of business, we undertake frequent environmental inspections and monitoring and are sometimes subject to
investigations by governmental authorities. In addition, our production facilities require a number of environmental permits and
authorizations that are subject to renewal, modification and, in certain circumstances, revocation. Actual or alleged violations of
environmental laws or permit requirements or the discovery of releases of hazardous substances at or from our facilities could result in
restrictions or prohibitions on plant operations, significant remedial expenditures, substantial civil or criminal sanctions, as well as,
under some environmental laws, the assessment of strict and/or joint and several liability. Moreover, changes in environmental
regulations or the terms of our environmental permits could inhibit or interrupt our operations or require us to modify our facilities or
operations. Accordingly, environmental or regulatory matters may cause us to incur significant unanticipated losses, costs or liabilities.
     In addition to the requirements imposed upon us by law, we also enter into other agreements from time to time with state and local
environmental agencies either to avoid the risks of potential regulatory action against us or to implement improvements that exceed
current legal requirements.
      The Company has agreed to indemnify third parties for environmental and other liabilities pursuant to various agreements,
including asset divestiture agreements and leases. Many of these obligations contain monetary and/or time limitations, but others do not
provide for those limitations. The Company is not aware of any probable and reasonably estimable losses associated with any of these
obligations.

     Port Neches Incident

     The Occupational Safety and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port
Neches plant in December 2019. OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations
and three willful citations with total proposed penalties of approximately $0.5 million. The Company has appealed these citations.


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                   NOTES TO CONDENSED CONSOLIDATED FINANCIAL STATEMENTS – (Continued)
                                                               (Unaudited)

We strongly disagree with the characterization of some of the alleged violations as “willful.” We anticipate future engagement with
OSHA regarding these issues.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident.
      On October 30, 2020, the United States Environmental Protection Agency (EPA) served the Company with an information request
under Section 114 of the federal Clean Air Act. The request seeks information about the incident as well as the Company’s Risk
Management Program compliance record at both the Port Neches and Houston facilities. Such requests are typically the first step in
EPA enforcement. We have recently received two additional subpoenas from the EPA for documents and data and are in the process
of responding to those subpoenas. We anticipate that there likely will be additional enforcement matters, claims for cost recovery,
and/or claims for natural resources damages from TCEQ, EPA, and OSHA. The Company may have insurance coverage for some of
the foregoing claims for environmental cleanup.

NOTE O – DEFINED BENEFIT PENSION PLAN

     For the periods presented, periodic pension expense consisted of the following components (in thousands):

                                                                 Three Months Ended                 Six Months Ended
                                                                           June 30,                        June 30,
                                                                    2021              2020          2021              2020
            Components of net periodic pension cost:
              Service cost                                      $      182      $        237    $      364      $        556
              Interest cost                                             75               114           150               257
              Expected return on assets                               (159)             (186)         (318)             (421)
              Amortization of prior service cost                       (12)              (11)          (24)              (20)
             Amortization of actuarial loss                            126               163           252               302
             Settlement charge                                         -               1,166           -               1,166
             Curtailment (credit)/charge                               -                (539)          -                (539)
                                                                $        212    $        944    $      424      $      1,301


NOTE P – SUBSEQUENT EVENTS

      We evaluated subsequent events through August 13, 2021, the date the financial statements were issued. As of the date of this
report, we have successfully renewed and financed all of our insurance premiums. Insurance premiums financed in July were $29.7
million for our property renewal and an additional $1.0 million for liability policies renewed in June.
      Additionally, on August 4, 2021, we executed a $28.0 million unallocated Partial Proof of Loss under our property and business
interruption policies. As of the date of issuance of this quarterly report we have received $8.8 million. We have also reached
agreement with the majority of our liability insurers to settle our claims for reimbursement of eligible liability defense costs we incurred
in 2020. As a result of this agreement, we received $6.2 million in early August 2021.




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                                                                  Exhibit I




               TPC Group Inc.
             ANNUAL REPORT
           Year ended December 31, 2020




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                                                   DEFINITIONS OF TERMS

     Capitalized and other terms used throughout this Annual Report for the year ended December 31, 2020, unless the specific context
otherwise requires or indicates, have the meanings ascribed to them below:

     •   ABL – our asset-based loan facility originally entered in December 2012, which was repaid, amended, and restated in
         conjunction with the refinancing of our debt on August 2, 2019 and again amended on February 2, 2021 to permit the issuance
         of the 10.875% Notes. The ABL is scheduled to mature in August 2024. For a detailed description of the ABL see Note H
         to our audited financial statements on pages 49-53 of this Annual Report for the year ended December 31, 2020;
     •   ASC - Accounting Standards Codification, which is the sole source of authoritative generally accepted accounting principles
         in the United States, other than rules and regulations issued by the Securities and Exchange Commission (SEC) that apply to
         SEC registrants;
     •   ASU - Accounting Standards Update, which the Financial Accounting Standards Board (FASB) issues to communicate
         changes to the ASC. ASUs are not authoritative standards;
     •   Company, us, we, and our - TPC Group Inc. and its subsidiaries;
     •   GAAP – Generally Accepted Accounting Principles in the United States;
     •   Gross profit contribution (“GPC”) - as used herein, is defined as revenue less cost of sales as reported in our consolidated
         statements of operations and comprehensive income. GPC is the residual amount that is available, after deducting the
         variable costs to produce and distribute our products from revenue, to cover all other expenses;
     •   Holdings - TPC Holdings Inc., a Delaware corporation, which, upon consummation of the Merger, became the direct parent
         of TPCGI. Holdings and Parent are affiliates of our Sponsors formed by investment funds affiliated with our Sponsors in
         order to acquire TPCGI;
     •   Merger – the December 20, 2012 merger of Sawgrass Merger Sub Inc., a Delaware corporation, which merged with and into
         TPCGI, with TPCGI surviving the Merger as a direct wholly-owned subsidiary of Holdings and an indirect wholly-owned
         subsidiary of Parent;
     •   New Term Loan – the Delayed Draw Term Loan Facility entered into on February 3, 2020, which provides for a delayed
         draw term loan of up to $70 million for a term of one year. For a detailed description of the New Term Loan see Note H to
         our audited financial statements on pages 49-53 of this Annual Report for the year ended December 31, 2020;
     •   Old Term Loan – the Senior Secured Delayed Draw Term Loan Facility, scheduled to mature in December 2020, for which
         the outstanding balance of $50 million was repaid with the net proceeds from issuance of the 10.5% Notes and which was
         terminated in conjunction with the refinancing of our debt on August 2, 2019;
     •   Parent - Sawgrass Holdings LP, a Delaware limited partnership, which, upon consummation of the Merger became the direct
         parent of Holdings and indirect parent of TPCGI. Parent and Holdings are affiliates of our Sponsors formed by investment
         funds affiliated with our Sponsors in order to acquire TPCGI;
     •   Sponsors - First Reserve Management, L.P. and SK Capital Partners;
     •   TPCGI - TPC Group Inc., a Delaware corporation, not including any of its subsidiaries;
     •   TPCGLLC - TPC Group LLC, a Texas limited liability company and the principal subsidiary of TPCGI;
     •   TPCPF - TPC Phoenix Fuels LLC, a Texas limited liability company and wholly owned subsidiary of TPCGLLC.
     •   8.75% Notes – the $805 million principal amount of Senior Secured Notes due in December 2020, which were redeemed
         with the net proceeds from issuance of the 10.5% Notes in conjunction with the refinancing of our debt on August 2, 2019;
     •   10.5% Notes – the $930 million principal amount of Senior Secured Notes due August 1, 2024 issued in conjunction with the
         refinancing of our debt on August 2, 2019. For a detailed description of the 10.5% Notes see Note H to our audited financial
         statements on pages 49-53 of this Annual Report for the year ended December 31, 2020;
     •   10.875% Notes – the $153 million principal amount of Senior Secured Notes due August 1, 2024, which were issued on
         February 2, 2021 and for which a portion of the proceeds were used to repay and terminate the New Term Loan.



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                                                     EXPLANATORY NOTE

      This Annual Report is highly confidential and has been prepared pursuant to the terms of the Indenture (the “10.5% Indenture”)
dated as of August 2, 2019, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and U.S.
Bank, National Association, as trustee and collateral agent, with respect to the 10.5% Notes, as amended by the Supplemental Indenture
dated as of February 2, 2021, and the Indenture (the “10.875% Indenture” and collectively with the 10.5% Indenture, the “Indentures”)
dated as of February 2, 2021, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and the
U.S. Bank, National Association, as trustee and collateral agent, with respect to the 10.875% Notes. Unlike companies with securities
that are registered under the Securities Exchange Act of 1934 (the “Exchange Act”) or traded on a national securities exchange, the
Company is not required to file reports with the Securities and Exchange Commission and, except as provided under the Indentures, the
Company is not required to deliver any reports to holders of its securities. As a result, this Annual Report does not include all the
information that would be required to be included in an Annual Report on Form 10-K that is filed pursuant to the Exchange Act,
including, among other things, a description of the material risks faced by the Company. Moreover, this Annual Report does not include
all the information that may be material to holders of the Company’s securities, including the 10.5% Notes, and should not be relied
upon by any person in making an investment decision with respect to the Company’s securities. Except as strictly required pursuant to
the terms of the Indentures, the Company undertakes no obligation to update or revise any information contained in this Annual Report.

      This Annual Report shall not constitute an offer to sell, or the solicitation of an offer to buy, any securities of the Company,
including the 10.5% Notes and the 10.875% Notes. Distribution of this Annual Report to any person other than holders of the 10.5%
Notes and the 10.875% Notes is unauthorized and any disclosure of any of its contents without the Company’s prior written consent is
prohibited. By accepting delivery of this Annual Report, you agree to the foregoing and not to make any photocopies, in whole or in
part, of this Annual Report or any documents or materials relating to the Company that are provided in connection with this Annual
Report.




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                            CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS


      This Annual Report contains forward-looking statements that do not directly or exclusively relate to historical facts. You can
typically identify forward-looking statements by the use of forward-looking words, such as “will,” “may,” “might,” “should,” “can,”
“could,” “project,” “believe,” “anticipate,” “expect,” “estimate,” “continue,” “potential,” “plan,” “forecast” and other words of similar
import. Forward-looking statements include information concerning possible or assumed future results of our operations, including the
following:

         •   business strategies;
         •   operating and growth initiatives and opportunities, including proposed capital projects;
         •   existing and expected competition and competitive position;
         •   market outlook and trends in our industry;
         •   expected financial condition;
         •   future cash flows, including insurance proceeds;
         •   financing sources and availability;
         •   expected results of operations;
         •   future capital and other expenditures;
         •   availability and price of raw materials and inventories;
         •   the business cyclicality of the petrochemicals industry;
         •   effects of seasonality;
         •   plans and objectives of management or the sponsors;
         •   future compliance with orders and agreements with regulatory agencies;
         •   environmental matters;
         •   expected outcomes of insurance settlements, legal, environmental or regulatory proceedings and their expected effects on
             our results of operations;
         •   expectations, strategies and plans for individual assets and products (including the ability to maintain plant utilization
             rates), business segments and the company as a whole;
         •   anticipated restructuring, divestiture and consolidation activities;
         •   cost reduction and control efforts and targets;
         •   compliance and other costs and potential disruption or interruption of production or operation due to accident, interruptions
             in sources of raw materials, cyber security incidents, terrorism, political unrest, natural disasters or other unforeseen events;
             and
         •   any other statements regarding future growth, future cash needs, future operations, business plans and future financial
             results.

      These forward-looking statements represent our intentions, plans, expectations, assumptions and beliefs about future events and
are subject to risks, uncertainties and other factors, including risks and uncertainties such as volatility in the petrochemicals industry,
limitations on the Company’s access to capital, the timing and amount of insurance proceeds received, the effects of competition,
leverage and debt service, general economic conditions, third-party claims, governmental litigation and investigations, and extensive
environmental, health and safety laws and regulations. Many of those factors are outside of our control and could cause actual results
to differ materially from the results expressed or implied by the forward-looking statements.

      In light of these risks, uncertainties and assumptions, the events described in the forward-looking statements might not occur or
might occur to a different extent or at a different time than we have described. Except as may be required by applicable law or
agreement, we undertake no obligation to update or revise any forward-looking statements, whether as a result of new information,
future events or otherwise.




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                                SELECTED HISTORICAL CONSOLIDATED FINANCIAL DATA

      The following table presents selected historical consolidated financial data (in thousands) at the dates and for the periods indicated.
This selected historical consolidated financial data should be read in conjunction with “Management’s Discussion and Analysis of
Financial Condition and Results of Operations” and the historical consolidated financial statements, together with the related notes,
included elsewhere in this Annual Report.

      The Balance Sheet and Statements of Operations and Cash Flows Data presented below have been derived from the Company’s
audited consolidated financial statements. The “Other Financial Data” presented below is unaudited, non-GAAP information.
Consolidated Balance Sheets as of December 31, 2018, 2017 and 2016 and Consolidated Statements of Operations and Comprehensive
Loss and Consolidated Statements of Cash Flows for the years ended December 31, 2017 and 2016 are not included in this Annual
Report.




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                                                                                                          Year Ended December 31,
                                                                         2020                 2019                2018               2017               2016


Statements of Operations Data:
Revenue                                                          $        751,390         $   1,464,926      $    1,626,835      $   1,609,068      $   1,114,459
Cost of sales (excludes items listed below)                               519,063             1,031,833           1,253,054          1,256,669           807,868
Operating expenses                                                        181,059              179,936              183,328           176,963            164,827
General and administrative expenses                                        27,970               28,695               26,337            32,202             25,572
Depreciation and amortization                                              74,155               81,002              141,708           139,904            137,113
Loss on Port Neches incident, net of insurance recovery                    50,141               91,895                    -                 -                  -
COVID-19 expenses                                                            1,896                    -                   -                 -                  -
Repair and other expenses related to dock incident                              -                     -               1,459                 -                  -
Business interruption insurance recovery                                   (12,100)                   -                  (567)              -                  -
Gain on sale of HRVOC allowances                                                -                     -                   -             (6,152)                -
Hurricane Harvey expenses                                                       -                     -                   -             7,512                  -
Capital project write-offs                                                      -                     -                   -                 946             6,875
Gain on sale of plant                                                           -                     -                   -                 -              (5,037)
  Income (loss) from operations                                            (90,794)             51,565               21,516             1,024             (22,759)
Interest expense                                                          112,933              101,729               89,305            81,662             82,617
Other (income) expense                                                          182               1,565                  (889)          1,270              (1,803)
  Loss before income taxes                                                (203,909)             (51,729)            (66,900)           (81,908)          (103,573)
Income tax benefit                                                         (15,745)             (10,238)            (13,698)           (56,094)           (34,989)
  Net loss                                                       $        (188,164)       $     (41,491)     $      (53,202)     $     (25,814)     $     (68,584)



Statements of Cash Flows Data:
Cash flows from operating activities                             $         (88,865)       $    117,354       $       30,817      $     36,478       $      (2,138)
Cash flows from investing activities
  Capital expenditures                                                     (55,889)             (53,957)            (63,717)           (45,652)           (42,861)
  Proceeds from sale of assets                                                  -                     -                   -                 -             59,913
Cash flows from financing activities
  Proceeds from issuance of 10.5% Notes                                         -              930,000                    -                 -                  -
  Redemption of 8.75% Notes                                                     -              (805,000)
  Repayment of Old Term Loan                                                    -               (50,000)
  Net proceeds from (paydowns on) ABL                                           -               (40,000)             32,000            (12,500)           (52,500)
  Proceeds from New Term Loan                                              69,300                     -                   -                 -                  -
  Insurance finance borrowings                                             42,492                     -                   -                 -                  -
  Insurance finance repayments                                             (29,395)                   -                   -                 -                  -
  Debt issuance costs                                                       (4,344)             (14,902)                 (502)          (5,149)            (3,131)
  Equity contributions (returns), net                                               (6)              (141)                -                  19           15,019
  Proceeds from Old Term Loan borrowings                                        -                     -                   -            25,000             25,000



Balance Sheet Data (end of period):
Cash and cash equivalents                                        $         18,452         $     85,159       $           995     $      2,397       $       4,201
Trade accounts receivable                                                  73,477               83,882               93,962            95,833             81,246
Insurance receivable - Port Neches incident                                23,289              185,477                    -                     -                  -
Inventories                                                                45,435               52,058               68,092            72,564             66,491
Property, plant and equipment, net                                        703,273              684,844              702,090           749,442            815,746
Total assets                                                              964,749             1,173,502             976,706           999,579           1,059,478
Current liabilities                                                       309,087              387,164              171,816           162,336            153,569
Long-term debt, net of deferred financing costs                           985,321              915,772              882,362           844,821            831,504
Deferred income taxes                                                           -               13,271               22,276            36,740             92,978
Total liabilities                                                        1,294,408            1,316,207           1,076,454          1,043,897          1,078,051
Total equity (deficit)                                                    (329,659)            (142,705)            (99,748)           (44,318)           (18,573)

Other Non-GAAP Financial Data:
EBITDA (1)                                                       $         (16,821)       $    131,002       $      164,113      $    139,658       $    116,157
Adjusted EBITDA (1)                                                        45,875              231,418              167,321           170,014            109,602




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(1) EBITDA and Adjusted EBITDA are not measures computed in accordance with GAAP. A non-GAAP financial measure is a numerical
    measure of historical or future financial performance, financial position or cash flows that excludes amounts, or is subject to adjustments that
    have the effect of excluding amounts, that are included in the most directly comparable measure calculated and presented in accordance with
    GAAP in the balance sheets, statements of operations, or statements of cash flows (or equivalent statements); or includes amounts, or is
    subject to adjustments that have the effect of including amounts, that are excluded from the most directly comparable measure so calculated
    and presented.
     We are including a presentation of EBITDA and Adjusted EBITDA in this Annual Report because their presentation is required under the
     Indentures. In addition, the Indentures contain debt incurrence ratios that are calculated by reference to Adjusted EBITDA. Non-
     compliance with the debt incurrence ratios contained in the Indentures would prohibit us from being able to incur additional indebtedness
     other than pursuant to specified exceptions.
     We calculate EBITDA as earnings before interest, taxes, depreciation and amortization and we calculate Adjusted EBITDA as EBITDA,
     adjusted to remove or add back certain items, including the impact of butadiene price changes. These items are identified below in the
     reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss), the GAAP measure most directly comparable to EBITDA and
     Adjusted EBITDA. Our calculation of EBITDA and Adjusted EBITDA may be different from the calculations used by other companies;
     therefore, they may not be comparable to other companies.
 The following table provides a reconciliation of EBITDA and Adjusted EBITDA to Net Loss for the periods specified.

                                                                                    Year Ended December 31,
                                                          2020               2019            2018           2017                  2016


 Net Loss                                            $     (188,164)   $      (41,491)   $      (53,202)   $      (25,814)   $      (68,584)
   Income tax benefit                                      (15,745)           (10,238)         (13,698)           (56,094)          (34,989)
   Interest expense, net                                   112,933            101,729           89,305             81,662            82,617
   Depreciation and amortization (1)                        74,155             81,002          141,708            139,904           137,113
 EBITDA                                                     (16,821)          131,002          164,113            139,658           116,157
   Impact of butadiene price changes (2)                      5,211             8,014            (3,709)           18,540            (9,265)
   Port Neches Incident (3)                                  50,141            91,895               -                 -                 -
   Write-offs (4)                                               -                 -                 -                 -               6,875
   Other non-recurring items (5)                              7,344               507             6,917            11,816            (4,165)

 Adjusted EBITDA                                     $       45,875    $      231,418    $     167,321     $      170,014    $      109,602




(1) Includes depreciation, amortization of deferred turnaround and catalyst costs and amortization of patents for all periods presented.
(2) Adjustment to remove the estimated temporary impact on our operating results of month-to-month changes in the contract price of butadiene.
    For further discussion see “Management’s Discussion and Analysis of Financial Condition and Results of Operations”.
(3) Adjustment to remove the losses and costs incurred, net of actual and probable insurance recoveries as a direct result of the Port Neches
    incident (discussed on pages 12-14).
(4) Adjustments to remove charges for the write-offs of accumulated costs for certain capital projects.
(5) Adjustments to remove the impact of certain non-recurring items for 2020 which include incremental expenses directly related to the impact
    of Hurricane Laura and Tropical Storm Beta of $0.5 million, the estimated impact of lost sales due to Hurricane Laura and Tropical Storm
    Beta of $4.4 million, the incremental expenses directly related to our response to the COVID-19 pandemic of $1.9 million, and refinancing
    optimization expenses of $0.5 million. The adjustment for 2019 removes refinancing optimization expenses incurred in advance of
    refinancing our debt on August 2, 2019. The adjustment for 2018 removes a $0.6 million business interruption insurance recovery related
    to Hurricane Harvey and the insurance deductible and uninsured logistics and legal expenses related to the Houston dock incident (discussed
    on page 12) of $1.5 million and adds $6.0 million of estimated margin impact of lost sales volume as a direct result of the dock incident.
    The adjustment for 2017 removes incremental expenses directly related to the impact of Hurricane Harvey of $7.5 million, certain corporate
    optimization initiatives of $1.6 million and a gain from the sale of environmental emissions credits of $6.1 million and adds $8.8 million of
    estimated impact of lost sales due to Hurricane Harvey. The adjustment for 2016 removes the book gain of $5.0 million from the sale of our
    Baytown plant in the fourth quarter of 2016 and earnings, net of dividends received, from our interest in a joint venture we sold in 2016.




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  MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

     The following discussion and analysis of our financial condition and results of operations should be read in conjunction with the
consolidated financial statements and accompanying notes, which are included elsewhere in this Annual Report.

     Overview

     We are a leading North American producer of value-added products derived from petrochemical raw materials such as C4
hydrocarbons. Our products are sold to producers of a wide range of performance, specialty and intermediate products, including
synthetic rubber, fuels, lubricant additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
      In our C4 Processing segment, we process the crude C4 stream into higher value components, namely butadiene, butene-1 and
raffinates. Butadiene is primarily used to produce synthetic rubber that is mainly used in tires and other automotive products; butene-
1 is primarily used in the manufacture of polyethylene plastic resins and synthetic alcohols; and raffinates are primarily used in the
production of alkylate, a component of premium unleaded gasoline.
      In our Performance Products segment, we process isobutylene, which we purchase as a raw material and also produce internally,
to produce polyisobutylene (“PIB”), diisobutylene (“DIB”), and methyl tertiary-butyl ether (“MTBE”). PIB is primarily used in the
production of fuel and lubricant additives, caulks, adhesives, sealants and packaging; DIB is primarily used in the manufacture of
surfactants, plasticizers and resins; and MTBE is primarily used as a gasoline blending stock.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 12-14). The Houston plant, in addition to processing crude C4, also produces PIB, DIB,
and MTBE. The raw material isobutylene processed at our Houston facility is sourced from processing crude C4, third-party supply
and internal on-purpose production. The feedstock for our on-purpose isobutylene production is isobutane, which is a plentiful natural
gas liquid resulting from shale gas development. As discussed in more detail under “Current Market and Business Conditions” below,
in order to replace the lost crude C4 processing capacity at our Port Neches plant, we recently entered into a long-term contract with a
third-party to process a substantial portion of our crude C4 supply and return butadiene and raffinate to us.
     We also provide critical infrastructure and logistics services along the Gulf Coast. Both our Houston processing facility and our
terminals provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers and
raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and ocean-
going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served by
barges.
      The primary drivers of our businesses are general economic and industrial growth. Our results are impacted by the effects of
economic upturns or downturns on our customers and our suppliers, as well as on our own costs to produce, sell and deliver our products.
Our customers generally use our products in their own production processes; therefore, if our customers curtail production of their
products, our results could be materially affected. In particular, our feedstock costs and product prices are susceptible to volatility in
pricing and availability of crude oil, natural gas, natural gas liquids such as isobutane and oil-related products such as unleaded regular
gasoline. Prices for these products tend to be volatile as well as cyclical, as a result of global and local economic factors, worldwide
political events, weather patterns and the economics of oil and natural gas exploration and production, among other things.

Material Industry Trends

      We receive crude C4 feedstock for our C4 Processing segment from steam crackers, which are designed to process naphtha and
natural gas liquids (“NGL’s”) as feedstocks for ethylene production. Crude C4 is a by-product of the ethylene production process, and
the volume of crude C4 produced by the process is driven by both the volume of ethylene produced and the composition of the steam
cracker feedstock. Some major ethylene producers have the flexibility to shift from light feedstocks, such as NGL’s (ethane, propane
and butane), to heavier feedstocks, such as naphtha, or vice versa depending on the economics of the feedstock. When ethylene
producers process heavier feedstock, greater volumes of crude C4 are produced. However, when light feedstocks (i.e. NGL’s) are
inexpensive relative to heavy feedstocks, the producers may choose to process those light feedstocks instead, a process referred to as
“light cracking,” which results in lower volumes of crude C4 production. In recent years, lighter cracking by domestic ethylene
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producers has been prevalent as a result of an abundant supply of cost advantaged NGL feedstocks (particularly ethane), and we
experienced the largest impact of the shift from heavier to lighter ethylene cracker feedstocks between 2007 and 2009. In 2015, we
experienced an increase in domestic delivery rates, which reflected more favorable economics for propane and butane cracking compared
to the lighter ethane feedstock. However, over the course of 2016 and 2017, ethane feedstock economics were generally more favorable,
which again resulted in relatively lower domestic delivery rates of crude C4’s. Domestic delivery rates were positively impacted
beginning the latter part of 2017 as newly constructed ethylene crackers in North America came on-line, making more crude C4
feedstock available. Domestic crude C4 feedstock supply continued to grow in 2019 as additional new North American ethylene
crackers came on-line. Those crackers produced additional C4 feedstock in 2020 as they ramped up rates and ran for the full year.
Some constraints regarding our ability to process all of the incremental crude C4 available arose in 2020 due to the outage at our Port
Neches facility. Some amount of the crude C4 produced by the ethylene crackers needed to be consumed through suppliers recycling
the material (referred to as co-cracking) because of short-term limitations in butadiene extraction capacity. TPC has taken steps to
minimize the impact of the Port Neches outage. We ramped up production rates on our largest butadiene extraction unit and converted
one of our butadiene extraction trains (the furfural unit) at our Houston plant, which had been in butane removal service for our raffinate
business since 2014, back to butadiene extraction service. We also restarted our hydrotreating unit, which converts crude C4’s to
butylenes, and are operating the unit at maximum rates in an effort to consume a larger volume of crude C4’s from our suppliers. This
unit has also gone through significant optimization throughout 2020 further increasing crude C4 consumption.
     The supply of butadiene is driven by ethylene cracker operating rates and feedstock composition. Because butadiene is a small
co-product stream in relation to the quantity and value of ethylene and propylene produced in a cracker, butadiene supply is relatively
insensitive to its demand and/or price. In addition, butadiene cannot be stored for long periods of time. Therefore, the price of
butadiene can be highly volatile based on relatively small changes in supply or demand.
       Demand for butadiene strengthened in early 2018 and pricing began an upward trend in response to producer supply constraints
in the early part of the year and strong demand through the third quarter of 2018. As a result of softening demand partly due to typical
seasonality, butadiene pricing declined over the course of the fourth quarter of 2018 and remained relatively stable through the first four
months of 2019. With new car sales demand softening globally over the balance of 2019, butadiene pricing declined 30% over the last
eight months of the year to 34 cents per pound. Our Port Neches plant outage in late November curtailed the domestic supply of
butadiene, which contributed to a 25% increase in the contract price over the first two months of 2020. However, as a result of
temporary weakened global demand linked to the coronavirus, the price of butadiene declined by 50% through July of 2020 as
automotive and tire plants shutdown for much of the second quarter. As the economy began to recover in the second half of 2020, so
did the price of butadiene, rising 130% from its low point of 19.6 cents per pound in June-July to 46 cents per pound in December.
     The North American region continued to be a net importer of butadiene and its derivatives (synthetic rubber and tires) in 2020 and
we expect this to continue in 2021; however, as we look forward, we expect strong global economic growth, combined with the continued
ramp-up of new North American tire plants, to provide growth for the additional butadiene supply that will come from the new ethylene
crackers, which we expect will shrink the amount of imports over the next few years. Further, as we look forward, we expect NGL’s,
due to shale gas, to continue to provide favorable ethylene production economics to North America leading to additional ethylene
crackers being built in the future (2026-2028) bringing additional crude C4’s and butadiene to market. This should lead to additional
butadiene consuming derivative plants being built over the next 6-8 years in North America.
      Beginning in the latter part of 2016 and through 2019, we successfully restructured our C4 processing business by renegotiating
essentially all of our crude C4 supply contracts. As of the end of 2020, approximately 90% of our contracted crude C4 volume was
under the new business model. The primary objective of the restructured business model was to create more stability in the profit
margins we realize on all components of the entire crude C4 streams commensurate with the valuable service we provide to our suppliers.
The restructured model minimizes our downside risk during periods of weaker prices for the commodities upon which the values of our
products are based, as it provides us with a fixed processing margin and energy recovery fee sufficient to cover our processing costs and
a sustainable minimum profit margin. The restructured model also provides us with upside margin sharing with our suppliers when the
value of crude C4 streams, which is based on the value we receive for our products, exceeds a floor value. The margin sharing
mechanism of the restructured contracts is accomplished through direct linkage between the value we receive for the extracted products
and what we pay our suppliers for the components of the crude C4 stream.
     In addition to the margin stability, risk mitigation and upside sharing in the supplier margins, the restructured crude C4 supply
contracts also provide for larger discounts on the price we pay for contained butane as well as an energy fee for having to process larger
volumes of butane in our system. The larger discounts and energy fee offset the cost we incur to remove the butane and/or the negative
impact on the value of and margins realized on our raffinate streams when the contained butane exceeds certain minimum levels.
      The remainder of our crude C4 supply continues to be purchased on a component basis under contractual arrangements not based
on the restructured model and on a spot basis. Under these supply arrangements we are exposed to more commodity risk as they do
not provide the same downside protection as the restructured contracts and there is no direct linkage between the value we receive for
the extracted products and what we pay for various components of the crude C4. Under these arrangements, the profit margins on our

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raffinates, which are the second largest part of the crude C4 stream after butadiene, are directly impacted by the price of unleaded regular
gasoline (ULR) since we buy and sell the butylenes contained in the raffinate streams based on a factor of ULR. The price of ULR
impacts the margins on the raffinate we produce from these streams in two ways. One impact is dependent on the absolute price of
ULR, which impacts the spread between what we pay for the contained butylenes and what we sell them for. We buy and sell the
butylenes on a percentage of ULR basis, so a higher ULR price results in a wider spread and a more positive impact on our margins.
The other impact is dependent on the quantity of inventory and the magnitude of volatility in the ULR price from period to period as we
may purchase the contained butylenes in one period and then sell them in a subsequent period.
      Our MTBE margins in 2020 were negatively impacted by the effects of COVID-19 starting in March and reached a low point in
April due to the MTBE to unleaded regular gasoline (ULR) spread falling from an average of 42 cents per gallon in the first quarter to
4.5 and 2.2 cents per gallon in the second and third quarters, respectively. High raw material isobutane and methanol costs in relation
to the value of MTBE also had a negative impact on MTBE margins during this period. Margins for MTBE, starting at the end of the
third quarter of 2020, began to expand as the MTBE-ULR spread grew to 11.3 cent per gallon. However, the strength of methanol and
butane pricing tempered the margin expansion.

Current Market and Business Conditions

     On March 11, 2020, the World Health Organization declared the ongoing COVID-19 outbreak a pandemic and recommended
containment and mitigation measures worldwide. The pandemic has resulted in widespread adverse impacts on the global economy.
With various government-imposed quarantines and travel restrictions, we experienced significant disruptions in the second quarter of
2020 as the pandemic and its impact on the global economy spread through most of our markets.
      For employees who are considered essential and are working in plants, we have at a minimum, implemented government
recommended protocols and best practices related to social distancing, hygiene and the use of additional personal protective equipment.
TPC’s Crisis Management Team (“CMT”) has helped to safely mitigate exposure risk by quickly identifying and isolating twenty-two
confirmed cases amongst our employees, all of which contracted COVID-19 outside the workplace. These measures have not only
enabled us to continue to operate our facilities safely but have also helped TPC maintain a largely consistent supply chain. Additionally,
the CMT has worked closely with senior leadership to tailor a comprehensive Return to Workplace plan for each site. At the time of this
filing, a significant portion of TPC’s workforce (non-essential workers) continue to work remotely from their homes. Our employees'
health and well-being continue to remain a key priority.
      By the end of March 2020, we witnessed the effects of COVID-19 on our operating results when declining commodity prices
resulted in compressed margins and a $10 million lower of cost and net realizable value inventory adjustment. The expected declines
in consumer demand occurred in March and the second quarter, with the low points in our business in the March-June timeframe. Crude
oil prices increased late in the second quarter and continued to rise throughout the third quarter as supply and demand fundamentals
improved. This ultimately drove higher feedstock costs, which proved beneficial to product prices and margins in the third and fourth
quarters of 2020.
      Despite the partial rebound in crude oil prices, commodity prices may continue to present a challenge for our business in the near-
term. However, we expect the recovery in customer demand to continue, absent a significant resurgence of COVID-19. The extent to
which COVID-19 will adversely impact our business, financial condition and results of operations will depend on numerous evolving
factors, which are highly uncertain, rapidly changing and cannot be predicted.
      The impacts of COVID-19, the global oil and trade wars, and the fallout from the Port Neches plant explosion have all converged
to create challenges in the market that influence commodity prices and spreads. Throughout 2020, the biggest impacts to our business
were in the butadiene, PIB and MTBE segments. The third quarter saw an increase in demand for all of our products including raffinate
(sold to the refining industry for the production of alkylate), butene-1 (used primarily as a comonomer for polyethylene and used in
many single serve packaging applications) and diisobutylene (DIB which is used in resins for the tire industry). Demand for butadiene
was strong and we saw a significant increase in demand for PIB in the third quarter which continued in the fourth quarter.
      Throughout 2020, we saw a continuation of the commodity headwinds that started in the first quarter of 2020 in our MTBE business
with weaker MTBE to isobutane spreads as our primary demand regions of Mexico, Central and South America saw a significant
reduction in gasoline demand. Since the low point on volume and margins in March and April, our MTBE business segment has
continued to recover in both volume and margins. However, the impact of stronger isobutane and methanol pricing on MTBE margins
persisted during the fourth quarter. During this challenging period, we have capitalized on our operational flexibility and moved some
feedstock normally used for MTBE production into our raffinate business to benefit from the stronger demand and margins in alkylate.
We also optimized our hydrotreating and raffinate train operations to maximize our production of butene-1.
     Early in the second quarter, we signed a new MTBE offtake contract with one of the world’s largest independent fuels and
commodity trading firms. The contract is market based and provides a secure outlet for 100% of our MTBE production through the
end of 2023. Since the new MTBE offtake contract is market based, we are subject to greater pricing volatility than under our previous
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offtake contract.
       The closure of automotive production globally during late March and early April resulted in the closure of virtually all tire
manufacturing operations and with that the closure or significant cut back in production levels at the key synthetic rubber plants that
supply raw material to the tire companies. The key raw material we supply to the synthetic rubber industry is butadiene, and its major
use is in tires. As a result of automotive production shutdowns and fewer miles driven with government imposed social distancing
requirements, major tire plants significantly curtailed production, impacting global demand for synthetic rubber and the consumption of
butadiene during the second quarter. Exacerbated by our limited access to certain customers due to the Port Neches incident, our sales
for the prior quarters were markedly lower than what we had projected in our annual operating plan (AOP), hitting the low point in
April. However, third and fourth quarter sales strengthened compared to our first and second quarter levels. China, Europe and the U.S.
all reported increases in new car sales. Additionally, replacement tire sales are recovering, leading us to forecast stronger sales in 2021.

      COVID-19 has not only impacted demand for butadiene, but it also has had a major impact on pricing, leading to our low point in
the June-July time frame of 19.6 cents per pound. After dropping precipitously in the second quarter, butadiene prices increased steadily
through the end of 2020. As the economy began to recover in the second half of 2020, so did the price for butadiene, rising 130% from
its low point of 19.6 cents per pound in June-July to 46 cents per pound in December.
     Demand for butene-1 continued to be solid in the third and fourth quarters. Butene-1 demand remains strong, as demand for
polyethylene single serve packaging continues to grow during the COVID-19 outbreak.
     On May 12, 2020 we completed key milestones on the Port Neches terminal, enabling us to resume selling raffinate to our largest
customer. With strengthening demand and the terminal opening, we were able to return to normal sales levels by the end of the second
quarter. In January 2021, we completed the second phase of our Port Neches terminal and began importing butadiene over our dock
and into refurbished tanks, which enabled us to begin selling and transporting additional volumes of butadiene to major customers in
the Beaumont and Port Neches area.
      In response to the loss of our Port Neches crude C4 processing capacity, we have been actively pursuing tolling opportunities with
third parties within the industry. In January 2021, we signed a long-term contract with a third-party processor for crude C4 processing
and began sending crude C4’s to this processor through enhancements made to our Port Neches terminal in the second phase of our
refurbishment of these assets. We are now receiving butadiene and raffinate back from the third-party processor. This third-party toll
processing deal grows in volume throughout 2021 and into the first quarter of 2022 bringing our butadiene volumes available for sale
back to pre-incident levels. As we look to further increase capacities within our system, we are moving forward with a debottleneck of
our Houston butadiene extraction unit that will increase existing capacity by approximately 25% by the end of 2022.
      After a very strong first quarter for our PIB business, the second quarter was the low point for this business segment due to COVID-
19 impacts on miles driven and its impact on lubricant and fuel additive demand. The third and fourth quarter demand increased
significantly from our second quarter sales levels, with sales volumes for all of 2020 recovering to 85% of our annual operating plan.

Dock Incident – 2018

      On June 13, 2018, an ocean-going bulk carrier navigating in the Port of Houston Ship Channel veered off course and struck a barge
stationed at our primary Houston facility dock. The incident caused substantial damage to both the barge and the dock facilities. There
were no significant injuries and there was no environmental impact from the incident.
      The damaged dock was returned to full barge and ship service in August 2018 after temporary repairs of approximately $5 million
which, excluding a $0.25 million deductible, were reimbursed from insurance proceeds in September 2018. The insurance proceeds
were accounted for as an offset to the actual dock repair costs. The total amount of the insurance deductible and uninsured logistics
and legal expenses recognized in our reported 2018 earnings was $1.5 million and the margin on estimated lost sales volume was
approximately $6.0 million. The revenue and cost of sales related to the lost sales volume for the C4 Processing segment were estimated
to be $4 million and $2 million, respectively, and for the Performance Products segment were estimated to be $13 million and $9 million,
respectively.
      We are currently finalizing the legal agreements with the Port Authority for the additional land needed to rebuild the dock and the
agreements are expected to be finalized by the end of March. Additionally, we have reached an agreement with insurers on the scope
of the rebuild and we are preparing for construction bids. The expectation is to begin construction late in the second quarter of this
year. We anticipate that the entire cost, which we currently estimate to be $30-35 million, will be reimbursed by our insurance carriers.
Port Neches Incident – 2019

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.

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       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” We anticipate future engagement with OSHA regarding these issues
including a settlement conference scheduled for August 2021.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA) served the Company with an
information request under Section 114 of the federal Clean Air Act. The request seeks information about the incident as well as the
Company’s Risk Management Compliance program at both the Port Neches and Houston facilities. Such requests are typically the first
step in EPA enforcement. We anticipate that there likely will be additional enforcement matters, claims for cost recovery, and/or claims
for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,500 property claims have been resolved and approximately 1,600 additional eligible claims are working through the claims process.
The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial statements. The Company
also provided an emotional support hotline staffed by licensed professional counselors from Samaritan Counseling Center of Southeast
Texas.
      In addition to the property claims, sixty-one private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred lawsuits – which
typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual plaintiff cases now
pending. Twenty-seven of the sixty-one private party lawsuits, including approximately 565 individual plaintiffs, are awaiting transfer
to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of subrogation claims filed by
homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. A hearing on class certification is not
expected before Q4 2021 at the earliest.
      Four different sets of insurance policies, under the insurance coverage we had in effect at the time, provide coverage for costs
and losses incurred as a result of the Port Neches incident. Our quota-share property and business interruption policies provide up to
$850.0 million of coverage. The deductible is $10.0 million, with varying coverage sub-limits for some category costs, as well as a
45-day waiting period before qualifying for business interruption coverage. As of December 31, 2020, we have paid $67.7 million of
costs and collected $160.0 million under this policy, of which $12.1 million has been specifically designated as business interruption
coverage and $147.9 million has been designated as an unallocated payment on account. Of the unallocated proceeds of $147.9
million, $36.7 million are recorded as a deferred gain due to the net book value of the affected assets being lower than the value that
we will receive. Reimbursable costs under this policy recorded in 2020 and 2019 total $58.0 million and $64.7 million, respectively.
Of these costs we currently estimate that $111.2 million will be recoverable.
 Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of December 31, 2020, we have incurred third-party claim amounts of $165.0 million, have paid
$120.7 million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $49.8 million
and we have collected $15.3 million of this amount. We anticipate collecting a total of $35.2 million for these expenses. Costs
recorded under this policy in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional
amount was incurred for claims of $3.1 million and for defense costs of $35.6 million.
      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of December 31, 2020, we have
incurred and paid $51.1 million of costs and have collected the full $25.0 million of coverage under this policy. We incurred $23.1
million of these costs in 2019 and an additional $28.0 million in 2020.



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      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage
with a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.4 million. We expect to
recover the fair market value at the time of the event on these materials.
     Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that
exceed the policy coverage limits.
      On January 13, 2021 we executed an additional unallocated Proof of Loss for $40.0 million under our property and business
interruption policies and received the funds in January and February 2021. As of the issuance of this 2020 Annual Report (i.e. March
24, 2021), we have paid out $127.4 million on liability claims. Excluding claims, we have also paid approximately $178.9 million in
response, defense, pollution, and other costs. Additional proceeds anticipated to cover book costs equal $280.6 million with
additional recovery anticipated as a gain.
      For the year ended December 31, 2020, we had recognized a net amount of losses and incurred costs of $50.1 million, which
reflected $129.4 million in losses and incurred costs offset by $79.3 million of insurance proceeds. The net amount of $50.1 million
included estimated liability claims expected to be in excess of our liability insurance coverage of $3.1 million. Additionally, the net
amount of response cost losses of $47.2 million represents costs incurred directly related to the ongoing incident response and cleanup
activities for which insurance coverage was not considered probable or costs were in excess of certain insurance coverage limitations.
     The following table summarizes the net amount of losses and current costs for the year ended December 31, 2020 (in millions):


                                                                                             Insurance
                                                                               Cost          anticipated          Net cost
                                 Liability claims                         $        3         $      -             $     3
                                 Response costs                                  126                  79               47
                                                                          $      129         $        79          $     50


     The following table summarizes the net amount of inception to date losses and costs incurred as of December 31, 2020 (in millions):

                                                                                                                 Insurance
                                                                                                      Cost       anticipated   Net cost
                                            Response and cleanup costs
                                            Incurred as of December 31, 2019                      $        287   $     195     $    92

                                            Incurred three months ended March 31, 2020                      80          57     $    23

                                            Incurred three months ended June 30, 2020                       27          24     $     3
                                            Incurred three months ended September 30, 2020                  13          14     $    (1)

                                            Incurred three months ended December 31, 2020                    9          (16)   $    25

                                            Incurred as of December 31, 2020                      $        416   $     274     $   142




Coronavirus – 2021

      The global coronavirus (or COVID-19) pandemic continues to cause considerable uncertainty in the marketplace, and efforts to
stop the virus are also having significant economic consequences. Though the government restrictions across the world have generally
started to ease and vaccines have become available to help prevent COVID-19 infections, the extent and duration of measures
implemented to try to slow the spread of the virus, such as travel bans and restrictions, border closures, quarantines, and business and
government shutdowns have caused, and may continue to cause, reduced demand and operational delays. In 2020, global markets
experienced a precipitous decline in oil prices in response to concerns regarding the potential impacts of the COVID-19 outbreak on
worldwide oil demand and the anticipated increases in oil production from Russia and OPEC, which have impacted margins in our
raffinate and MTBE businesses. Although commodity prices have recovered considerably, we expect the outlook for 2021 to remain
uncertain due to the rapidly evolving conditions, and we cannot estimate the scope of their impact on our business, our results of
operations, our financial condition, our personnel, our customers, our suppliers or the global economy. We continue to assess the
potential impact of COVID-19 on our staff and operations and have implemented appropriate mitigation plans, including precautions

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with regard to employee and facility hygiene, imposed travel limitations on our employees and directed our employees to work remotely
whenever possible. We also continue to work with our suppliers to understand the potential impacts to our supply chain, and at this
time, we have not identified any material risks to our supply chain. This is a rapidly evolving situation, and we will continue to monitor
developments affecting our workforce and our suppliers and take additional precautions as we believe are warranted.

Technical Center Fire - 2021

      Early on the morning of January 9, 2021, the TPC Houston operations team responded to a fire alarm in the Technical Center.
The Technical Center, located on the southwest side of the facility, which contains quality control and research and development
activities, had a fire in the mechanical room. TPC’s Emergency Response Team responded to the incident with assistance from the
Houston Fire Department. The Company coordinated with local officials and emergency responders to quickly resolve the issue.
There were no injuries to TPC employees and no offsite or environmental impacts as a result of the event; however, one emergency
responder sustained an ankle injury while responding to the event. As a result of the fire, there is considerable damage to the facility
and the housed equipment. Fortunately, over 75% of the equipment is salvageable, but, in the absence of a functioning laboratory the
Company had to secure short term outsourcing solutions for all of the quality control testing needs. Since late February, however, we
have replaced the majority of the outsourced testing with inhouse testing in a combination of TPC and rental facilities, thereby
substantially reducing the incremental costs. Between response costs, outsourcing costs, rental expenses and the cost of rebuilding the
Technical Center, we estimate that the fire will cost the Company approximately $11.5 million. Please also refer to Note T, Subsequent
Events.

February Weather Event – 2021

      In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter
weather. Due to abnormally low temperatures for an extended period of time, facilities in the region experienced disruption to
their operations, resulting in lost production and additional maintenance costs. We anticipate that the total financial impact of
this freeze event, between incremental costs for repairs, higher energy costs and lost volumes, will be between $50 million and
$60 million. Please also refer to Note T, Subsequent Events.

     We are taking a number of steps to offset the impact of these two events. This includes commercial and procurement initiatives,
and capital and cost reductions. At this point, we have defined actions to offset about 70% of the impact, and we are pursuing additional
opportunities.

Insurance Renewal

      We seek to maintain comprehensive insurance coverage, and we renewed all of our insurance coverages during 2020 with terms
and conditions that we believe are consistent with those generally prevailing in insurance markets, although at substantially higher
premiums than the expiring coverages. Although we carry property and casualty insurance to cover certain risks, our insurance policies
do not cover all types of losses and liabilities, and our insurance may not be sufficient to cover the full extent of losses or liabilities for
which we are insured. Due to significant recent insurance claims in the petrochemical industry, insurance market conditions have
tightened, and we cannot guarantee that we will be able to renew our current insurance policies on favorable terms, or at all.

Dehydrogenation Unit

       The third scheduled turnaround of the dehydro unit commenced on February 1, 2020 and was safely completed within budget, but
it did have a significant schedule delay due to issues with a compressor overhaul and our 505 waste heat boiler. The scope of the project
and the total cost of approximately $48 million were in line with our expectations.

Results of Operations

     Contractual linkages of raw material costs and selling prices of finished products to commodity indices

      Most of our raw material feedstock costs and finished product selling prices are determined by application of contractual formulas
linked to commodity market indices and, in most cases, the indices used to determine raw material feedstock costs are the same indices
used to determine finished product selling prices.
     As discussed above under “Material Industry Trends”, as of the end of 2017 we completed a restructuring of our C4 Processing
business model, which provides the segment with higher and more stable earnings compared to the previous model, and is more
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commensurate with the valuable and consistent service we provide to the industry.
      Although linkage of most of our raw material costs and selling prices to the same indices and our restructured crude C4 supply
contracts provide some degree of consistency in our average material margin per pound (which we define as the difference between
average revenue per pound and average raw material cost per pound) during periods in which the underlying commodity indices are
relatively stable, there are various factors that can have a significant impact on our average material margin per pound, including those
listed below. Moreover, even a relatively minor increase or decrease in average material margin per pound can have a significant
impact on our overall profitability given the magnitude of our sales volumes.

         •   We may purchase raw material feedstocks in a given month based on market indices for that month, and then sell the
             related finished products in a later month based on market indices for the later month. Changes in selling prices of finished
             products, based on changes in the underlying market indices between the month the raw material feedstocks are purchased
             and the month the related finished products are sold causes variation in our average material margin per pound. For
             example, we may purchase the components of a crude C4 stream based on formulas that reflect the respective January
             commodity indices but then sell the finished products at pricing formulas based on the respective February commodity
             indices. If the indices for January and February are the same, we would expect to realize substantially the same unit
             margins regardless of the absolute value of the indices. However, for any components of the stream for which the
             respective index increases between January and February, we would expect to realize a temporary margin expansion until
             pricing stabilizes; and conversely, if the index decreases, we would expect to realize a temporary margin contraction. The
             magnitude of the effect on the average material margin per pound and the material margin percentage in a given month
             depends on the magnitude of the change in the underlying indices compared to the prior month and the quantity of inventory
             at the end of the prior month as a result of its impact on the moving average cost of finished products sold in the subsequent
             month.
         •   Although most of our supply and sales contracts contain index-based formulas, varying proportions of our raw material
             purchases and finished product sales are done on a spot basis or otherwise negotiated terms. In addition, while many of
             the index-based formulas in our contracts are simply based on a percentage of the relevant index, others apply adjustment
             factors to the market indices that do not fluctuate with changes in the underlying index. As supply and sales contracts are
             renegotiated, the amounts of such adjustment factors can change, thus the average material margin per pound would be
             impacted.
         •   Under some of our raw material purchase contracts, the costs of the raw materials are based on a percentage of the relevant
             market index, and under some of our sales contracts, the selling price of the related finished product is based on a higher
             percentage of the same market index. As a result, the average material margin per pound tends to be higher during periods
             in which the market indices are higher and tends to be lower during periods when the market indices are lower.
         •   Finished product selling price formulas under some of our sales contracts, primarily in the Performance Products segment,
             are based on commodity indices not for the period in which the sale occurs but for either a prior or subsequent period.
             The effect on average material margin per pound of the selling price formulas can be significant during times of rapidly
             increasing or decreasing market indices.

Butadiene Price Impact

      As discussed above, a substantial portion of our finished product selling prices and raw material costs are linked to the same
commodity indices and this linkage mitigates, to varying degrees, our exposure to volatility in our profit margins. As also discussed
above, as of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model, which are more commensurate with the valuable and consistent service we
provide to the industry. However, the stabilizing effect of these factors on our profit margins is lessened when we do not purchase the
feedstock and sell the finished product in the same period. Regarding butadiene, which has historically been the largest individual
product line in our C4 Processing segment, the linkage between our raw material cost and finished product selling price is the published
contract price for butadiene. As a result of purchasing crude C4 in one month and selling finished butadiene in the subsequent month,
the GPC per pound we report in the subsequent month will expand when the price of butadiene increases and will contract when the
price of butadiene declines due to the impact of beginning inventory (quantity and unit cost) on the moving average cost of finished
butadiene sold in the subsequent month.
      As shown in the presentation of EBITDA and Adjusted EBITDA on page 8 of this Annual Report, we adjust EBITDA to remove
the estimated temporary impact on our reported GPC of the month-to-month changes in the contract price of butadiene. The rationale
for the adjustment is that the temporary impacts of butadiene price changes distort the underlying business performance.


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     The table below shows, for each period presented, the impact on our reported GPC (in millions) of purchasing crude C4 in one
period and selling finished butadiene in a later period at higher or lower butadiene contract prices. The impact on reported GPC for
each period is the sum of the monthly impacts, which are dependent on the magnitude of the contract price change each month and the
quantity of butadiene inventory at the beginning of each month.

                                                                                  Year Ended December 31,
                                                                                2020        2019       2018

                        Positive (negative) impact on GPC                   $        (5)       $     (8)   $        4



     Average material margin per pound

     The table below provides the average material margin per pound (defined above) for each period presented.


                                                                                   Year Ended December 31,
                                                                            2020            2019           2018

                   Average revenue per pound ($)                        $        0.30      $        0.40   $        0.50
                   Average raw material cost per pound ($)                       0.16               0.24            0.34
                   Average material margin per pound ($)                         0.14               0.16            0.16



      As discussed above, our material margin per pound and reported GPC reflect the temporary impact of month-to-month changes in
the contract price of butadiene. As provided in the table above, and in the discussion of cost of sales for 2020 versus 2019 on pages
19-20 and for 2019 versus 2018 on page 22, the impact of butadiene price changes on GPC was a negative $5 million in 2020, a negative
$8 million in 2019, and a positive $4 million in 2018. Excluding the temporary impact of butadiene price changes on all three years,
average material margin per pound would be $0.15 for 2020 and $0.16 for 2019 and 2018.

     The following table summarizes the primary indices which impact our revenues and raw material costs by segment.

     Segment / Finished Product                         Revenues                               Raw Material Costs

 C4 Processing Segment
  Butadiene                                 Butadiene                                Butadiene
  Butene – 1                                Unleaded regular gasoline                Unleaded regular gasoline
  Raffinates                                Unleaded regular gasoline                Unleaded regular gasoline

 Performance Products Segment
  Polyisobutylene                           Isobutane                                Butane
  Diisobutylene                             Isobutane                                Butane
  MTBE                                      MTBE                                     Isobutane, methanol




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     The following table summarizes the average commodity index prices for each period presented.

                                                              Year Ended December 31,                  Year Ended December 31,
                                                            2020       2019      % Chg.              2019       2018      % Chg.
          Average commodity prices:
           Butadiene (cents/lb) (1)                            30.6          44.0        -30%           44.0        62.2         -29%
           Unleaded regular gasoline (cents/gal) (2)          114.7         171.6        -33%          171.6       189.8         -10%
           Butane (cents/gal) (3)                              58.6          65.2        -10%           65.2       101.9         -36%
           Isobutane (cents/gal) (3)                           58.5          73.9        -21%           73.9       109.9         -33%
           MTBE (cents/gal) (2)                               127.7         197.5        -35%          197.5       223.8         -12%
           Methanol (cents/gal) (4)                           101.3         116.3        -13%          116.3       147.8         -21%



     (1) Industry pricing was obtained through IHS.
     (2) Industry pricing was obtained through Platts.
     (3) Industry pricing was obtained through Oil Price Information Service.
     (4) Industry pricing was obtained through J. Jordan.

      The following table provides sales volumes, revenue, cost of sales, GPC and operating expenses by operating segment (amounts
in thousands) for the years ended December 31, 2020, 2019 and 2018. Please refer to this information, as well as our consolidated
financial statements and accompanying notes included elsewhere in this Annual Report, when reading our discussion and analysis of
results of operations below. All information provided in the table below, except sales volumes, is derived from our Consolidated
Statements of Operations. Sales volumes for all periods presented constitute unaudited information.

                                                                                    Year Ended December 31,
                                                                      2020                2019                     2018

                  Sales volumes (pounds) (1):
                    C4 Processing                                      1,474,078                2,326,067           1,988,264
                    Performance Products                               1,055,889                1,379,245           1,254,734
                                                                       2,529,967                3,705,312           3,242,998
                  Revenue:
                   C4 Processing                                $        407,181     $           922,204       $    1,043,164
                   Performance Products                                  344,209                 542,722              583,671
                                                                $        751,390     $          1,464,926      $    1,626,835
                  Cost of sales (2):
                   C4 Processing                                $        300,342     $           700,421       $      853,517
                   Performance Products                                  218,721                 331,412              399,537
                                                                $        519,063     $          1,031,833      $    1,253,054
                  GPC
                   C4 Processing                                $        106,839     $           221,783       $      189,647
                   Performance Products                                  125,488                 211,310              184,134
                                                                $        232,327     $           433,093       $      373,781
                  Operating expenses (2):
                   C4 Processing                                $        109,916     $           112,870       $      117,592
                   Performance Products                                   71,143                  67,066               65,736
                                                                $        181,059     $           179,936       $      183,328



    (5) Sales volumes represent product sales volumes only and do not include volumes of products delivered under tolling or similar arrangements,
        in which we do not purchase the raw materials, but process raw materials for another party for a specified fee.
    (6) Cost of sales does not include operating expenses, and cost of sales and operating expenses do not include depreciation and amortization
        expenses.

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Year ended December 31, 2020 versus year ended December 31, 2019

     Revenue

      Total revenue for 2020 was $751.4 million compared to $1,464.9 million for 2019. The decrease of $713.5 million, or 49%,
reflected a 32% decrease in overall sales volume and a 25% decrease in average revenue per pound. The lower overall sales volume
reflected decreases for both the C4 Processing segment and the Performance Products segment. The lower overall average revenue per
pound reflected lower average selling prices for both operating segments. Variances in average selling prices for both operating
segments reflected variances in the commodity market indices to which a substantial portion of our finished product selling prices are
linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 15-16
and the table of commodity indices to which a substantial portion of selling prices are linked on page 17).
      C4 Processing segment revenue of $407.2 million for 2020 was down $515.0 million, or 56%, compared to 2019 revenue of $922.2
million. The lower revenue for 2020 reflected a 37% decrease in sales volume, which had a negative impact of $354 million, and a
30% decrease in average revenue per pound, which had a negative impact of $161 million. The decrease in sales volume for 2020
primarily reflected a combination of the loss of our crude C4 processing capacity resulting from the shutdown of our Port Neches facility
and customer demand impact from COVID, which would have been mitigated with connectivity to butadiene and raffinate customers
from our PNO location. Sales volume for 2019 was driven by strong demand for all products, and raffinate demand for alkylation by
our refinery customers was especially strong over the last three quarters of the year. The 30% decrease in average revenue per pound
for the segment reflected a 30% decrease in the average benchmark price for butadiene and a 33% decrease in average price of unleaded
regular gasoline (see the table of commodity indices to which a substantial portion of our C4 Processing segment selling prices are
linked on page 17).
      Performance Products segment revenue for 2020 was $344.2 million compared to $542.7 million for the prior year. The $198.5
million, or 37%, decrease in revenue reflected a 23% decrease in sales volume, which had a negative impact of $109 million, and a 17%
decrease in average revenue per pound, which had a negative impact of $90 million. The decrease in average revenue per pound
reflected decreases in the prices of isobutane and MTBE of 21% and 35%, respectively (see the table of commodity indices to which a
substantial portion of our Performance Products segment selling prices are linked on page 17). The lower sales volume was driven
primarily by weaker PIB demand due in large part to the global slowdown in new car sales. MTBE sales volume was down 28% which
reflected lower production volumes as we elected to move feedstock used for MTBE production into our raffinate business because of
significant margin erosion on MTBE and the effects of the 2020 first quarter turnaround.

     Cost of Sales

      Total cost of sales for 2020 was $519.1 million compared to $1,031.8 million for 2019. The significantly lower cost of sales in
the current year period reflected the overall decrease in sales volume discussed above and the substantial decline in the average cost of
raw materials included in the average cost of the finished products sold by both operating segments. Variances in raw material costs
for both operating segments reflected the variances in the commodity market indices to which a substantial portion of our raw material
costs are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages
15-16 and the table of commodity indices to which a substantial portion of our raw material costs are linked on page 17).
      C4 Processing segment cost of sales for 2020 was $300.3 million versus $700.4 million for the prior year. The decrease reflected
the impact of the 37% decrease in sales volume discussed above and a 44% decrease in the average cost of the raw material component
of the finished products sold. The lower average cost of raw materials reflected decreases in the average benchmark price for butadiene
and the average price of unleaded regular gasoline of 30% and 33%, respectively (see the table of commodity indices to which a
substantial portion of our C4 Processing segment raw material costs are linked on page 17). As discussed above, in spite of the linkage
between the cost of crude C4 we purchase and the price at which we sell finished butadiene, our average raw material costs and profit
margins in a given period are impacted by purchasing crude C4 in one period and selling finished butadiene in a subsequent period
during times of butadiene price volatility. As a result of such month-to-month movements in the contract price of butadiene, our profit
margins in 2020 reflected a negative butadiene pricing impact of $5 million and our profit margins in 2019 reflected a negative butadiene
pricing impact of $8 million, which resulted in a favorable year-over-year impact on profit margins of $3 million.
      Performance Products segment cost of sales was $218.7 million for 2020 compared to $331.4 million for 2019. The $112.7
million, or 34%, decrease reflected a 23% decrease in the sales volume discussed above and a 19% decrease in the average cost of the
raw material component of the finished products sold. The lower average cost of raw materials reflected decreases in the average price
of butane, isobutane and methanol of 10%, 21% and 13%, respectively (see the table of commodity indices to which a substantial portion
of our Performance Products segment raw material costs are linked on page 17).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
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the variations in overall average revenue per pound and average raw material cost per pound for 2020 compared to 2019.

     Operating Expenses

      Operating expenses incurred during 2020 were $181.1 million compared to $179.9 million incurred during 2019. The $1.2 million
increase included $19 million higher insurance costs primarily due to the PNO incident, $2.3 million higher sales and use taxes, $1.2
million higher property taxes, as well as $0.8 million higher employee benefits. This was partially offset by lower fixed supply chain
expenses of $3.9 million, lower 401-K and incentive compensation costs of $7.6 million, $10.1 million lower manufacturing overhead
costs and $0.5 million lower selling costs. Lower manufacturing costs of $10.1 million included $13.7 million lower PNO facility costs
and $1.4 million lower support group costs, partially offset by higher maintenance expenses which included inspections and repairs.
The lower fixed supply chain expenses largely reflected lower pipeline repair and inspection expenses.

     General and Administrative Expenses

     General and administrative expenses for 2020 were $28.0 million versus $28.7 million for the prior year. The $0.7 million
decrease consisted primarily of lower personnel-related expenses.

     Depreciation and Amortization

      Depreciation and amortization expenses were $74.2 million in 2020 compared to $81.0 million in 2019. The $6.8 million decrease
reflected lower depreciation of $3.8 million and lower turnaround amortization of $4.5 million partly offset by higher catalyst
amortization of $1.5 million. The $3.8 million decrease in depreciation expense primarily represents a $4.7 million decrease in certain
technology assets that were fully depreciated in early 2020 offset by $0.9 million increase in deprecation for assets put into service in
2020. In general, depreciation expense varies due to the net impact of capital additions less retirements and write-offs. The $4.5
million net decrease in turnaround amortization reflects the lower dehydro turnaround amortization as a result of the lower total
turnaround cost of the unit’s third scheduled turnaround during the first quarter of 2020. In addition, the write-off of deferred turnaround
costs related to the Port Neches incident in the fourth quarter of 2019, lowered the turnaround amortization in future periods.

     Loss on Port Neches Incident, net

      For the current year, the $50.1 million loss related to the Port Neches incident (discussed on pages 12-14) reflected $129.4 million
in losses and incurred costs offset by $79.3 million of insurance proceeds. The net amount of $50.1 million included estimated liability
claims expected to be in excess of our liability insurance coverage of $3.1 million. Additionally, the net amount of response cost losses
of $47.2 million represents costs incurred directly related to the ongoing incident response and cleanup activities for which insurance
coverage was not considered probable or costs were in excess of certain insurance coverage limitations.
       For the prior year, the comparative loss related to the Port Neches incident (discussed on pages 12-14) was $91.9 million. This
loss reflected the amount of asset write-offs and costs incurred as a direct result of the Port Neches incident, net of insurance
reimbursement received and for which future receipt was considered to be probable. The net loss consisted of $19.0 million for the
write-off of deferred turnaround costs related to the Port Neches site, insurance deductibles of $11.1 million, and estimated third-party
liability claims expected to be in excess of insurance policy coverage of $61.8 million.

     Business Interruption Insurance Recovery

      The $12.1 million of business interruption insurance recovery represents the amount received on our PNO incident business
interruption claim.

     COVID-19 Expenses

     The expense of $1.9 million represents the incremental expenses directly related to our response to the COVID-19 pandemic.

     Interest Expense

      Interest expense for 2020 was $112.9 million compared to $101.7 million for 2019. The $11.2 million increase primarily reflected
the impact of the refinancing of our debt on August 2, 2019 and consisted of a net increase in interest expense on the 10.5% Notes
compared to the 8.75% Notes of $7.4 million, an increase in interest expense on the New Term Loan of $3.7 million and higher net


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other interest expense of $0.4 million which included interest on the financing of insurance premiums. This was partially offset by
lower interest on the ABL facility of $0.3 million.
      The $7.4 million higher interest on the Notes reflected $13.5 million higher interest, partially offset by $6.1 million lower deferred
financing and discount costs versus prior year. The $3.7 million higher interest on the Old Term Loan included $1.8 million higher
interest and $1.9 million higher deferred financing cost amortization in conjunction with the refinancing of this loan on February 3,
2020.

     Other, Net

     Other than refinancing optimization expenses in 2019 of $0.5 million, both the current and prior year amounts included various
miscellaneous income and expense items, none of which were individually significant.

Income Tax Benefit

      The effective income tax benefit rates for 2020 and 2019 were 7.7% and 19.8%, respectively. The effective rates for both periods
reflected the federal statutory rate of 21% and state income taxes, net of federal benefit, adjusted for the impact of permanent book/tax
differences, the credit for increasing research activities and adjustments for prior year permanent book/tax differences that were
identified upon completion of the tax return for each year. The lower effective benefit rate for 2020 reflected the establishment of a
$27.7 million valuation allowance.
      Prior to recording the valuation allowance, we had a net deferred tax asset at December 31, 2020 of $27.7 million, which reflected
deferred tax assets of $153.7 million and deferred tax liabilities of $126.0 million. Based on assessment of both positive and negative
evidence, we have concluded that it is more likely than not that the Company will not be able to realize the benefit of the deferred tax
assets recorded at December 31, 2020. In the event that the actual outcome of future tax consequences differs from management
estimates and assumptions, the resulting change to the provision for income taxes could have a material impact on the consolidated
results of operations and statements of financial position. Please refer to Note O Income Taxes.
      Our net operating loss for 2020 was $9.0 million, which reflects our pretax book loss of $203.9 million which was substantially
offset by taxable temporary differences of $135.1 million related to differences in book and tax treatment of insurance proceeds related
to the Port Neches incident and disallowed interest expense of $69.5 million. The book pretax loss reflects the significant loss of
production and distribution capability resulting from the Port Neches incident as well as the negative impact of COVID-19 on demand
for our products and the overall economy.

Year ended December 31, 2019 versus year ended December 31, 2018

     Revenue

      Total revenue for 2019 was $1,464.9 million compared to $1,626.8 million for 2018. The decrease of $161.9 million, or 10%,
reflected a 21% decrease in overall average revenue per pound, partially offset by a 14% increase in overall sales volume. The lower
overall average revenue per pound reflected lower average selling prices for both operating segments. The higher overall sales volume
reflected increases for both the C4 Processing segment and the Performance Products segment. Variances in average selling prices for
both operating segments reflected variances in the commodity market indices to which a substantial portion of our finished product
selling prices are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices”
on pages 15-16 and the table of commodity indices to which a substantial portion of selling prices are linked on page 17).
      C4 Processing segment revenue of $922.2 million for 2019 was down $121.0 million, or 12%, compared to 2018 revenue of
$1,043.2 million. The lower revenue for 2019 reflected a 24% decrease in average revenue per pound, which had a negative impact of
$245 million, partially offset by a 17% increase in sales volume, which had a positive impact of $124 million. The 24% decrease in
average revenue per pound for the segment reflected a 29% decrease in the average benchmark price for butadiene and a 10% decrease
in average price of unleaded regular gasoline (see the table of commodity indices to which a substantial portion of our C4 Processing
segment selling prices are linked on page 17). Sales volume for 2019 was driven by strong demand for all products, and raffinate
demand for alkylation by our refinery customers was especially strong over the last three quarters of the year. Although the Port Neches
incident, which occurred in late November (discussed on pages 12-14) was a significant event, it did not have a material impact on the
segment’s 2019 reported operating results. Regarding 2018, production and sales volumes were negatively impacted by crude C4
supply constraints due to supplier outages, as well as freezing temperatures and ship channel fog issues in the first quarter, some
carryover of the first quarter issues and operational issues in our crude C4 processing system in the second quarter and the dock incident
(discussed on page 12) in the third quarter.


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      Performance Products segment revenue for 2019 was $542.7 million compared to $583.7 million for the prior year. The $41.0
million, or 7%, decrease in revenue reflected a 15% decrease in average revenue per pound, which had a negative impact of $71 million,
partially offset by a 10% increase in sales volume, which had a positive impact of $30 million. The decrease in average revenue per
pound reflected decreases in the prices of isobutane and MTBE of 33% and 12%, respectively (see the table of commodity indices to
which a substantial portion of our Performance Products segment selling prices are linked on page 17). The increase in sales volume
reflected a full year of operation of the dehydro unit in 2019 whereas production for 2018 was curtailed by a seventy-day turnaround
and revamp of the unit in the first quarter and the dock incident (discussed on page 12) in second quarter 2018. The increase in
production and sales volume of the dehydro unit was somewhat offset by weaker PIB demand due in large part to the global slowdown
in new car sales.

     Cost of Sales

      Total cost of sales for 2019 was $1,031.8 million compared to $1,253.1 million for 2018. The overall decrease of $221.3 million
was driven primarily by a substantial decline in the average cost of raw materials included in the average cost of the finished products
sold by both operating segments, partially offset by higher overall sales volume as discussed above. Variances in raw material costs
for both operating segments reflected the variances in the commodity market indices to which a substantial portion of our raw material
costs are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages
15-16 and the table of commodity indices to which a substantial portion of our raw material costs are linked on page 17).
      C4 Processing segment cost of sales for 2019 was $700.4 million versus $853.5 million for the prior year. The decrease of $153.1
million, or 18%, for the segment reflected the impact of a 32% decrease in the average cost of the raw material component of the finished
products sold, partially offset by the 17% increase in sales volume discussed above. The lower average cost of raw materials reflected
decreases in the average benchmark price of butadiene and the average price of unleaded regular gasoline of 29% and 10%, respectively
(see the table of commodity indices to which a substantial portion of our C4 Processing segment raw material costs are linked on page
17). As discussed above, in spite of the linkage between the cost of crude C4 we purchase and the price at which we sell finished
butadiene, our average raw material costs and profit margins in a given period are impacted by purchasing crude C4 in one period and
selling finished butadiene in a subsequent period during times of butadiene price volatility. As a result of such month-to-month
movements in the contract price of butadiene, our profit margins in 2019 reflected a negative butadiene pricing impact of $8 million and
our profit margins in 2018 reflected a positive butadiene pricing impact of $4 million, which resulted in an unfavorable year-over-year
impact on profit margins of $12 million for 2019 compared to 2018.
      Performance Products segment cost of sales was $331.4 million for 2019 compared to $399.5 million for 2018. The $68.1 million,
or 17%, decrease was driven by a 28% decrease in the average cost of the raw material component of the finished products we sold,
partially offset by the 10% increase in sales volume discussed above. The lower average cost of raw materials reflected decreases in
the average prices of butane, isobutane and methanol of 36%, 33% and 21%, respectively (see the table of commodity indices to which
a substantial portion of our Performance Products segment raw material costs are linked on page 17).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in overall average revenue per pound and average raw material cost per pound for 2019 compared to 2018.

     Operating Expenses

      Operating expenses incurred during 2019 were $179.9 million compared to $183.3 million incurred during 2018. The $3.4 million
decrease reflected lower maintenance expenses of $9.4 million and lower rental expenses of $2.7 million, partially offset by higher fixed
supply chain expenses of $6.8 million, higher personnel expenses of $1.2 million and higher technology expenses of $0.6 million. The
lower maintenance expenses in large part reflected the absence of incremental maintenance expenses incurred in the first half of 2018
related to the freeze damage incurred at both of our plant sites, the unplanned dehydro outage in the first quarter of 2018 and the
operational issues in our crude C4 Processing system in the second quarter of 2018. The lower rental expenses reflected the incremental
cost of temporary rental boilers at our Port Neches facility in the prior year to mitigate the impact of the site’s primary steam supplier’s
outage. The higher fixed supply chain expenses reflected an increase in third party storage facility expense and higher pipeline repair
and inspection expenses.

     General and Administrative Expenses

      General and administrative expenses for 2019 were $28.7 million versus $26.3 million for the prior year. The $2.4 million
increase consisted primarily of higher personnel-related expenses.


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     Depreciation and Amortization

      Depreciation and amortization expense was $81.0 million compared to $141.7 million in 2018. The $60.7 million decrease
reflected lower depreciation of $61.9 million, lower turnaround amortization of $0.5 million and higher catalyst amortization of $1.7
million. The decrease in depreciation expense reflected a substantial number of plant and equipment assets that were revalued with
remaining estimated useful lives of six years in conjunction with the Merger in December 2012 and which were fully depreciated as of
the end of 2018.

     Loss on Port Neches Incident, net

      The $91.9 million loss related to the Port Neches incident (discussed on pages 12-14) reflected the amount of asset write-offs and
costs incurred as a direct result of the Port Neches incident, net of insurance reimbursement received and for which future receipt was
considered to be probable. The net loss consists of $19.0 million for the write-off of deferred turnaround costs related to the Port
Neches site, insurance deductibles of $11.1 million, and estimated third-party liability claims expected to be in excess of insurance
policy coverage of $61.8 million.

     Business Interruption Insurance Recovery

      The $0.6 million of business interruption insurance recovery represents the full amount received on our Hurricane Harvey business
interruption claim.

     Repair and Other Expenses Related to Dock Incident

      The expense of $1.5 million for 2018 included the insurance deductible of $0.25 million and the uninsured incremental logistics
and legal expenses directly related to the dock incident in the second quarter.

     Interest Expense

      Interest expense for 2019 was $101.7 million compared to $89.3 million for 2018. The $12.4 million increase reflected the impact
of the refinancing of our debt on August 2, 2019 and consisted of a net increase in interest on the 10.5% Notes compared to the 8.75%
Notes of $13.5 million, write-off of the discount on the 8.75% Notes of $1.6 million and the write-off of deferred financing costs related
to the 8.75% Notes and the New Term Loan of $4.8 million, partially offset by the impact of repayment of the Old Term Loan in
conjunction with the refinancing of $6.3 million, lower interest on the ABL facility due to lower average borrowings of $0.9 million
and higher interest income of $0.4 million.

     Other, Net

     Other than refinancing optimization expenses in 2019 of $0.5 million, both the current and prior year amounts included various
miscellaneous income and expense items, none of which were individually significant.

     Income Tax Benefit

       The effective income tax benefit rates for 2019 and 2018 were 19.8% and 20.5%, respectively. The effective rates for both periods
reflected the federal statutory rate of 21% and state income taxes, net of federal benefit, adjusted for the impact of permanent book/tax
differences, the credit for increasing research activities and adjustments for prior year permanent book/tax differences that were
identified upon completion of the tax return for each year. The lower effective benefit rate for 2019 reflected the impact of a higher
state tax, net of federal benefit, on a substantially lower pretax loss.
      The 2019 book pretax loss of $51.7 million included a net loss related to the Port Neches incident (discussed on pages 12-14) of
$91.9 million, which consisted of losses and costs incurred of $287.4 million, offset by $10.0 million of liability insurance proceeds
received in 2019 and probable insurance proceeds receivable of $185.5 million recorded at December 31, 2019. Our 2019 tax net
operating loss was $93.1 million, which included tax deductions of $241.5 million for incurred ordinary and necessary expenses related
to the Port Neches incident, offset by $10.0 million of insurance proceeds we received in 2019.
     We had a net deferred tax liability at December 31, 2019 of $13.3 million, which reflected deferred tax liabilities of $148.8 million
and deferred tax assets of $135.5 million. Based on assessment of both positive and negative evidence, we have concluded that it is
more likely than not that the Company will realize the benefit of the deferred tax assets recorded at December 31, 2019. The Company’s
long-range plan, which was completed prior to the Port Neches incident, projected use of all net operating losses generated through 2018
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within the next five years as well as utilization of a significant portion of the disallowed interest deduction carryforward. The loss of
income reflected in the long-range plan due to the shutdown of the Port Neches facility will be replaced by business interruption
insurance recoveries, which went into effect on January 12, 2020 after a forty-five-day deductible period.

Liquidity and Capital Resources

     Net Debt and Liquidity

     As of December 31, 2020, our financing arrangements consisted principally of the 10.5% Notes, the ABL Facility and the New
Term Loan. In addition, we financed our 2020 insurance renewal premiums through Aon Premium Finance LLC, an affiliate of our
Broker, Aon PLC.

      At December 31, 2020, we had total long-term debt of $985.3 million (excluding deferred financing costs of $14.7 million), Long-
term debt consisted of $930.0 million of 10.5% Notes and $70.0 million of the New Term Loan; we had no borrowings on the ABL
Facility. Despite the fact that the New Term Loan’s extended maturity date was in August of 2021, we classified the New Term Loan
as long-term because we were able to refinance the loan, as discussed below, prior to the issuance of this Annual Report. Cash on hand
was $18.5 million and we had no short-term money market investments (with maturities of less than three months) or short-term
investments (with original maturities between 90 days and one year).
      The ABL borrowing base was sufficient to support borrowings of $75.6 million and combined with cash on hand of $18.5 million,
provided total liquidity of $94.1 million at December 31, 2020. Based on our current estimates of operating income and the uncertainty
surrounding the timing of insurance proceeds, the Company refinanced the New Term Loan on February 2, 2021 to add incremental
liquidity. As discussed in more detail below, on February 2, 2021 TPCGI issued and sold $153 million of 10.875% Senior Secured
Notes. We are currently considering additional opportunities to improve liquidity.

     New Term Loan

      On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provided for a delayed draw term loan of up to $70.0 million and a term of one-year. Availability
under the Term Loan was limited to a maximum of four draws with a minimum of $5.0 million per draw. Subject to certain exceptions,
the Company’s obligations with respect of the Term Loan were secured by liens on and security interests in all collateral securing the
10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment with those liens and security interests
granted pursuant to the 10.5% Indenture . On March 18, 2020, we drew on the facility and received $70.0 million less a 1% original
issue discount fee. In May 2020 the lenders agreed to grant the Company the option to extend the maturity date to August 5, 2021.
The Term Loan is classified as long-term debt as of December 31, 2020. This treatment is appropriate where short-term debt is replaced
with long-term debt after the report date but prior to the issuance of the annual report. This loan was repaid on February 2, 2021 with
some of the proceeds received from issuance and sale of the 10.875% Notes.

     ABL Facility

     The ABL Facility is available on a revolving basis to finance our working capital needs and for general corporate purposes. The
ABL Facility was composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” revolving
tranche (the ABL FILO) when amended and restated on August 2, 2019. Commitments under the ABL FILO reduce, and commitments
under the ABL Revolver equally and simultaneously increase, by $2.5 million on each of the first three anniversaries of the August 2,
2019 amendment and restatement.
        The credit agreement governing the ABL Facility contains covenants that impose restrictions on, among other things, additional
indebtedness, liens, investments, advances, guarantees and mergers and acquisitions. These covenants also place restrictions on asset
sales, sale and leaseback transactions, dividends, payments between us and our subsidiaries and certain transactions with affiliates
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.
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     On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.5% Notes

      The 10.5% Notes were issued on August 2, 2019 in conjunction with the refinancing of our debt. The net proceeds from the
issuance of the 10.5% Notes were $918.3 million after underwriters and other fees and expenses of $11.7 million. The net proceeds
from the issuance of the 10.5% Notes were used to redeem and pay accrued interest due on the 8.75% Notes of $816.2 million, to repay
the outstanding loan balance and pay accrued interest due on the Old Term Loan of $50.3 million and to repay the outstanding loan
balance and pay accrued interest due on the ABL of $35.9 million.
     The 10.5% Notes are due August 1, 2024 and interest is paid semi-annually in arrears on February 1 and August 1.
      The 10.5% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.
     On February 2,2021 the 10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875%
Notes and to make certain other changes to certain covenants contained therein.

     10.875% Notes

       On February 2, 2021 TPCGI issued and sold $153 million aggregate principal amount of 10.875% Notes to certain holders of the
10.5% Notes. The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by
all of the Company’s existing or future direct and indirect domestic subsidiaries, other than certain excluded subsidiaries (collectively,
the “Subsidiary Guarantors”).
      The net proceeds from the offering were used to repay and terminate the $70 million New Term Loan, to pay all fees and expenses
related to the transactions and for general corporate purposes. Interest on the 10.875% Notes began accruing on the issue date and is
payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each year, commencing on May 1, 2021. The 10.875
% Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness and
the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes are effectively subordinated to the ABL
Facility and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by assets or properties not
constituting collateral securing the 10.5% Notes to the extent of the value of such assets and properties. The 10.875% Indenture contains
certain covenants, agreements and events of default which are customary with respect to non-investment grade debt securities, including
limitations on our ability to incur additional indebtedness, pay dividends on or make other distributions or repurchase our capital stock,
make certain investments, enter into certain types of transactions with affiliates, create liens, sell certain assets or merge with or into
other companies.

     Insurance Premium Financing

      As of December 31, 2020, we have financed $23.6 million of insurance premiums though Aon Premium Finance LLC. The first
down payment and the first installment were paid in July 2020 and the remainder is payable in monthly installments following the
applicable renewal date through April 2021.

      Sources and Uses of Cash

      Our principal sources of liquidity are our existing cash and cash equivalents, short-term investments, cash generated from
operations and borrowings under our ABL. In addition to these sources, another source of liquidity over the near-term will be insurance
proceeds received under our various insurance policies, including our property damage and business interruption policies. Business
interruption coverage became effective on January 12, 2020 after the forty-five-day deductible period and from that date on will replace
the earnings the Port Neches plant would have contributed except as a result of the explosion incident on November 27, 2019 that shut
down the plant. The timing of receipt of the additional insurance proceeds under our policies is uncertain at this time. We may also,
from time to time, generate cash from opportunistic sales of non-core assets. Our principal uses of cash are to provide working capital,
meet debt service requirements, fund capital expenditures and finance our strategic plans, including possible acquisitions. We may also
seek to finance our capital expenditures under capital leases or other debt arrangements that provide liquidity or favorable borrowing
terms. Our business may not generate sufficient cash flows from operations and future borrowings under our ABL Facility may not be
available to us in an amount sufficient to enable us to pay our indebtedness or to fund our other liquidity needs. Our ability to generate
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sufficient cash depends on, among other factors, prevailing economic conditions, many of which are beyond our control. In addition,
upon the occurrence of certain events, such as a change in control, we could be required to repay or refinance our indebtedness. Any
future acquisitions, joint ventures or other similar transactions may require additional capital and there can be no assurance that any
such capital will be available to us on acceptable terms or at all. However, based on our current level of operations and available cash,
including the liquidity generated by the issuance of the 10.875% Notes, we believe that our cash flow from operations, together with
availability under the ABL and proceeds received under our insurance policies, will provide sufficient liquidity to fund our current
obligations, projected working capital requirements, debt service requirements and capital spending requirements for the foreseeable
future.
      Our liquidity requirements will be significant primarily due to the annual debt service requirements on the 10.5% Notes, which
are estimated to be $97.7 million, annual debt service requirements on the 10.875% Notes, which are approximately $11.6 million, our
baseline capital expenditures, which fall within the range of $70 to $80 million, our turnaround and catalyst costs, which would typically
be in the range of $20 to $30 million in years we do not perform a dehydro unit turnaround and $35 to $40 million in years we do
perform a dehydro unit turnaround, and cash requirements related to the Port Neches incident in advance of insurance recoveries or in
excess of insurance coverage limits.
      As market conditions warrant and subject to the Company’s contractual restrictions and liquidity position, we, our affiliates and/or
our equity holders, including the Sponsors and their affiliates, may from time to time repurchase the Company’s outstanding debt
securities in privately negotiated or open market transactions, by tender offer or otherwise. If in the future we should decide to engage
in such transactions, any such purchases may be funded by incurring new debt, including borrowings under our ABL. Any new debt
may also be secured debt. We may also use available cash on our balance sheet or new equity capital. The amounts involved in any
such transactions, individually or in the aggregate, may be material. Further, any such purchases may result in us acquiring and retiring
a substantial amount of the 10.5% Notes, with the attendant reduction in the trading liquidity of any such Notes.

     Cash Flow Summary

     The following table summarizes changes in cash and cash equivalents for the periods indicated (in thousands):

                                                                            Year Ended December 31,
                                                                2020                 2019                     2018
              Cash flows provided by (used in):
               Operating activities                      $          (88,865)    $          117,354     $           30,817
               Investing activities                                 (55,889)               (53,957)               (63,717)
               Financing activities                                  78,047                 20,767                 31,498
              Change in cash and cash equivalents        $          (66,707)    $           84,164     $             (1,402)


     Operating Activities

      For the year ended December 31, 2020, net cash used in operating activities was $88.9 million. The net loss of $188.2 million,
deferred turnaround and catalyst costs of $28.0 million, deferred income tax benefit of $13.6 million and an increase in working capital
of $6.6 million were partially offset by non-cash expenses of $147.5 million. Non-cash expenses consisted of depreciation and
amortization of $74.1 million, amortization of debt issuance costs of $8.4 million and non-cash expenses related to the Port Neches
incident of $65.0 million.
      Trade accounts receivable were $73.4 million at December 31, 2020 compared to $83.9 million at December 31, 2019. The $10.5
million decrease primarily reflected lower revenue of $23.5 million in December 2020 compared to December 2019 and an increase in
the days outstanding from 26 days at December 31, 2019 to 29 days at December 31, 2020. Trade accounts receivable were 99%
current at both December 31, 2020 and 2019.
      Our inventory at December 31, 2020 was $45.4 million compared to $52.1 million at December 31, 2019. The decrease of $6.7
million reflected a 11% decrease in overall average cost per pound, which accounted for $5.8 million of the decrease, and a 2% decrease
in physical inventory volumes, which accounted for the remainder of the decrease. The decrease in average cost per pound was driven
primarily by a 30% decrease in the benchmark price of butadiene comparing the prices for December 2020 to December 2019.
      For the year ended December 31, 2019, net cash generated from operating activities was $117.4 million. The net loss of $41.5
million, deferred income tax benefit of $8.7 million and deferred plant turnaround and catalyst costs of $29.6 were more than offset by
non-cash expenses of $164.8 million and a $32.4 million decrease in working capital. Non-cash expenses consisted of depreciation


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and amortization of $81.0 million, amortization and write-off of debt issuance costs of $12.5 million and non-cash expenses related to
the Port Neches incident of $71.3 million.
      In 2018, net cash generated from operating activities was $30.8 million. The net loss of $53.2 million, deferred tax benefit of $13.9
million and deferred plant turnaround and catalyst costs of $53.0 million were more than offset by non-cash expenses of $147.7 million
and a $3.1 million decrease in working capital. Non-cash expenses consisted primarily of depreciation and amortization of $141.7
million and debt issuance costs of $6.0 million.

     Investing Activities

      During 2020, 2019, and 2018 we invested $55.9 million, $54.0 million, and $63.7 million, respectively, in the form of capital
expenditures, which consisted primarily of baseline spending. In addition to baseline capital investment, 2020 included replacing
capacity due to the volumes lost as a result of the Port Neches incident, 2019 included infrastructure improvements in preparation for
the increased crude C4 supply from the new ethylene crackers coming on line and 2018 included capital spending related to the dehydro
revamp in the first quarter and expansion of capacity at our Port Neches facility as part of our crude C4 processing upgrade program.

     Financing Activities

     Cash of $78.0 million was generated in 2020 from net borrowings on the New Term Loan of $69.3 million and net borrowings to
finance our insurance premiums of $13.0 million. These amounts were partially offset by debt issuance costs of $4.3 million.

      Net cash generated from financing activities in 2019 was $20.8 million, which consisted of $35.0 million of net borrowings due
to the refinancing on August 2, 2019 and the related debt issuance costs of $14.0 million.

     Net cash generated from financing activities in 2018 was $31.5 million, which consisted of $32.0 million of net borrowings under
the ABL and debt issuance costs of $0.5 million related to the amendment of the ABL in May 2018.

Contractual Obligations

     The following table presents our contractual cash obligations at December 31, 2020 (in thousands).

                                                                                 Payments Due By Year

                                                         Total            2021       2022-2023           2024-2025        After 2025

               Notes (1)                               $ 1,083,000   $          -   $         -         $ 1,083,000   $            -
               Interest on Notes (1)                       408,324        112,764       228,578              66,982                -
               Operating leases (2)                        163,400         35,162        60,090              31,052           37,096
                                                   $    1,654,724    $ 147,926      $ 288,668           $ 1,181,034   $       37,096


     (1) Our financing arrangements at March 24, 2021 comprised the $930 million 10.50% Senior Secured Notes due August 2024 and the $153
     million 10.875% Senior Secured Notes due August 2024. Interest on the 10.5% Notes will be paid in arrears on February 1 and August 1 of
     each year through the August 1, 2024 maturity date. Interest on the 10.875% Notes will be paid in arrears on February 1, May 1, August 1 and
     Nov 1 of each year through the August 1, 2024 maturity date.
     (2) Operating leases consist primarily of leases for barges and tugs, railcars, docks and terminals. Periods covered by operating lease
     commitments range from less than one year to a maximum of thirteen years.

      The above table does not include our long-term crude C4 feedstock purchase contracts, as those commitments generally cannot be
estimated on a forward-looking basis because: (1) the amount we are obligated to purchase under these contracts is a percentage of
volume of crude C4 produced by a particular supplier, which varies depending on the production methods utilized and the aggregate
volume produced by the supplier; and (2) the price for this variable volume is based on certain commodity price indices which vary over
time. Our commitments under our long-term crude C4 feedstock purchase contracts are not subject to a specified maximum volume or
cap, though as a practical matter the commitments are limited by the production capacity of the supplier. During 2020, we obtained
99.8% of our crude C4 feedstocks under these long-term feedstock purchase contracts (excluding spot purchases and contracts with
terms of less than one year), for aggregate expenditures of $173.9 million.


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     Off-Balance-Sheet Arrangements

      We do not currently utilize any off-balance-sheet arrangements to enhance our liquidity and capital resource positions, or for any
other purpose.

Critical Accounting Policies and Estimates

      In preparing our financial statements in conformity with accounting principles generally accepted in the United States of America,
we make certain estimates and assumptions about future events that could significantly affect the amounts of reported assets, liabilities,
revenues and expenses, as well as the disclosure of contingent assets and liabilities in the financial statements and accompanying notes.
Some of our accounting policies require the application of significant judgment by management to select the appropriate assumptions
to determine these estimates. By their nature, these judgments are subject to an inherent degree of uncertainty; therefore, actual results
may differ significantly from estimated results. We base our judgments on our historical experience, knowledge of the business and
industry, advice from experts and consultants, business forecasts and other available information, as appropriate.
      Our most critical accounting policies, which reflect significant management estimates and judgment to determine amounts reported
in our consolidated financial statements, are as follows:

     Inventory Cost

      Our inventories consist of raw materials and finished products and are valued at the lower of average cost or market. Costs of
finished products include raw materials, energy, labor and manufacturing overhead. We may enter into product exchange agreements
with suppliers and customers for raw materials and/or finished goods in the normal course of business. Under these arrangements we
deliver product volumes to the exchange partner to be delivered in-kind back to us or receive product volumes to be delivered in-kind
by us to the exchange partner in the future, generally in the short term. Product exchanges typically benefit both parties from a logistical
perspective and provide for additional flexibility regarding both receipt of raw materials from suppliers and delivery of finished goods
to customers. Exchange balances due to or from exchange partners are recorded in inventory at the lower of average cost or market
and do not impact the consolidated statements of operations and comprehensive income, as they are recognized at the carrying amount.
Our inventory levels can vary significantly depending on availability of raw materials, especially crude C4, plant operations, customer
demand and seasonality. In addition to potential fluctuations in the amounts of physical inventories we carry, we can be exposed to
potential devaluations in net realizable value of our inventories, especially our fuel-related products, during periods of rapidly declining
unleaded regular gasoline prices and demand for fuel-additive products. A significant amount of judgment is required to determine the
appropriate normal range of plant production activity and plant operating expenses regarding plant overhead cost absorption and to
determine the appropriate market valuation of inventories to assess recoverability of the carrying cost of our inventory. Use of different
estimates and assumptions to determine the appropriate amounts of overhead absorption and market value for inventory valuation
purposes, when such market is below cost, could have a significant impact on our financial condition and results of operations from
period to period.

      The average cost of our inventory at the end of any period reflects the carrying cost of raw materials and finished goods inventory
on hand at the beginning of the period and the actual cost of raw material purchases and finished goods production during the period.
The actual costs of most of our raw materials are based on contractual arrangements which, in various ways, link the purchase costs to
a commodity price index. Downward movement in commodity price indices between the times raw materials are purchased and the
related finished products are sold can result in reductions in realizable value of the inventory prior to the sale of our finished products.
Such reductions in realizable value can occur despite the index-based pricing in our contracts, because the effect of using matching
indices is lessened when we do not purchase the feedstock and sell the finished product in the same period. If it is determined at the
balance sheet date that the carrying value of the inventory will not be recovered based on management’s best estimates and assumptions
regarding inventory turnover rates and future selling prices, the carrying value of the inventory is written down to net realizable value
through lower-of-cost-or-market (net realizable value) adjustments.

     Property, Plant and Equipment

      Property, plant and equipment are stated at depreciated historical cost. Depreciation of property, plant and equipment is computed
using the straight-line method over the estimated useful lives of the assets. Maintenance and repairs and minor renewals are charged
to expense as incurred while major improvements, renewals and betterments are capitalized. Interest is capitalized on long-term
construction projects using our internal cost of debt rate, or at the rate at which funds are borrowed specifically for a certain project. A
significant amount of judgment is required in various circumstances to determine the appropriate recognition of costs as capital
expenditures or expenses, estimated useful lives of property, plant and equipment, and when and by how much carrying amounts may
be impaired. Use of different estimates and assumptions to determine capital versus expense treatment of costs, useful lives of assets
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and impairment of long-lived assets could have a significant impact on our financial condition and results of operations from period to
period. The estimated useful lives of our main categories of fixed assets are as presented below.

                                                                                                 Estimated Useful Lives
                                                                                                       (in years)
                     Plant equipment                                                                     5 - 35
                     Pipelines                                                                          15 - 40
                     Buildings and land improvements                                                    15 - 45
                     Technology assets                                                                   5 -6


     Intangible Assets

     Our intangible assets include patents and a technology license for the butadiene extraction process at our Port Neches facility.
Patents are amortized using the straight-line method over useful lives. Our technology license has no legal, regulatory, contractual,
competitive, economic or other factors that would limit its useful life. Consequently, we have determined its useful life to be indefinite.

     Plant Turnaround Costs

       We use the deferral method to account for costs of major scheduled plant turnarounds. Plant turnarounds are scheduled and
require partial or complete shutdowns of chemical processing units for significant overhaul and refurbishment, for periods typically
lasting from two to four weeks. Under the deferral method, we defer the cost of a turnaround project and amortize the cost over the
period between the completion of the turnaround and the next scheduled turnaround, which typically occurs from three to five years
after the most recently completed turnaround. If the next scheduled turnaround occurs sooner than originally anticipated, any remaining
deferred cost from the previous turnaround is charged to expense at that time. If the next scheduled turnaround occurs later than
originally anticipated, the amortization period for the previous turnaround cost is not extended. The deferral method of accounting for
turnaround costs requires judgment as to the specific costs to be included in a major turnaround project and requires estimates and
assumptions regarding the period of time over which the costs will be amortized. Use of different estimates and assumptions could
have a significant impact on our financial condition and results of operations from period to period.

     Income Tax Assets and Liabilities

      We account for income taxes in accordance with ASC 740, Income Taxes. Determination of tax related assets and liabilities to
be recorded and the appropriate recognition of tax positions taken on tax returns requires a significant amount of judgment. Regarding
realization of our deferred tax assets and the need for a valuation allowance against deferred tax assets at each balance sheet date, we
consider both positive and negative evidence of sufficient taxable income within the carry-back and/or carry-forward periods as provided
under applicable tax law. Based on our significant net deferred tax asset position and future reversals of existing taxable temporary
differences, as well as our historical operating results, we have concluded that a valuation allowance should be recorded for the entire
amount of the deferred tax asset. Regarding assessment of taxable income exclusive of reversing temporary differences and carry-
forwards, we consider both our recent historical operating results, as well as our expectations of future operating results; however,
historical results are given more weight than our expectations of future profitability, which is inherently uncertain.

     Revenue Recognition

        We recognize revenue in accordance with ASC 606, Revenue from Contracts with Customers. We adopted ASC 606 as of
January 1, 2019 and applied the modified retrospective transition method to all contracts not completed as of the adoption date. The
new revenue recognition standard provides a five-step analysis of transactions to determine when and how revenue is recognized. The
premise of the guidance is that a company should recognize revenue to depict the transfer of promised goods or services to customers
in an amount that reflects the consideration to which the entity expects to be entitled in exchange for those goods or services. The
impact of the new standard on our consolidated financial statements was immaterial.

     Derivatives and Hedging

      We account for derivative instruments in accordance with ASC 815, Derivatives and Hedging. Such instruments are measured
at fair value and recognized as assets or liabilities in the consolidated balance sheets. Accounting for changes in the fair value of a
derivative depends on the intended use of the derivative and the resulting designation established at the inception of the derivative. For
derivatives that are designated as fair value hedges, changes in fair value are recognized currently though earnings with an offsetting,
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partial mark-to-fair-value of the hedged item. For derivatives designated as cash flow hedges and meeting the effectiveness guidelines
of ASC 815, changes in fair value, to the extent effective, are recognized as other comprehensive income or loss until the hedged item
is recognized in earnings. Hedge effectiveness is measured at least quarterly based on the relative changes in fair value between the
derivative contract and the hedged item over time, or in the case of options, based on the change in intrinsic value. Any change in fair
value of a derivative resulting from ineffectiveness or an excluded component of the gain or loss, such as time value for option contracts,
is recognized immediately in earnings. For any derivative instrument not designated as a hedge at inception, changes in fair value of
the instrument are recognized in earnings in the period in which the change occurs.

     Contingent Liabilities

       We record reserves for contingent liabilities when information available indicates that a loss is probable, and the amount of the
loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment may be subject to the
uncertainty of dispute resolution or litigation. Contractual arrangements with our customers and suppliers are typically complicated
and can include, for example, complex index-based pricing formulas that determine the price for our feedstocks or finished products.
Due to the complicated nature of our contractual arrangements, we can, from time to time, be involved in disputes with our customers
and suppliers regarding the interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the
normal course of our business, seldom result in actual formal litigation and are typically resolved in the context of the broader
commercial relationship that we have with the customer or supplier. Regarding any such disputes, we record reserves for contingent
liabilities when information available indicates that a loss is probable, and the amount of the loss is reasonably estimable.

     Stock-Based Compensation

      We account for stock-based compensation in accordance with ASC 718, Compensation-Stock Compensation. Expense related to
stock-based compensation awards is recognized in our financial statements based on the grant date fair values of the respective awards.
The amount of grant date fair value recognized as expense in our financial statements is based on an estimate of the number of awards
that are ultimately expected to vest, and the related expense is recognized ratably over the vesting period. Forfeitures are estimated at
the time of grant and revised, if necessary, in subsequent periods if actual forfeitures differ from the estimates.

     Benefit Plans

We sponsor a noncontributory defined benefit pension plan for approximately 130 union-represented employees at our Port Neches
facility. The actuarial determination of the projected benefit obligation and related benefit expense requires certain assumptions,
including discount rate, expected return on plan assets, rate of future compensation increases and mortality rates. These assumptions
require considerable judgment and can have a significant impact on the amount of the obligation and periodic expense recognized.

Recent Accounting Developments

     Accounting Standards Adopted in 2020

       Fair Value Measurement – As required, we adopted ASU 2018-13, Disclosure Framework - Changes to the Disclosure
Requirements for Fair Value Measurement, which amended ASC 820, Fair Value Measurement, as of January 1, 2020. The Company
will, when applicable, disclose at Fair Value any derivative assets and liabilities or investments in entities. However, based on our
assessment, the standard has currently had little or no impact on our consolidated financial position, results of operations or cash flows.

      Accounting Guidance Issued but Not Yet Adopted as of December 31, 2020

       Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company continues to evaluate its population of leases and
is continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting
for logistics equipment. The Company anticipates recognition of additional assets and corresponding liabilities related to leases upon
adoption, effective January 1, 2022.


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      Defined Benefit Plans – ASU 2018-14, Compensation—Retirement Benefits, amends disclosure requirements for employers that
sponsor defined benefit pension or other postretirement plans. For public business entities, the amendments are effective for fiscal years
ending after December 15, 2020. For all other entities the amendments are effective for fiscal years ending after December 15,
2021. Early adoption is permitted. The Company anticipates some changes to the disclosures.

       Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management does not expect that changes required by the new standard will materially impact the Company's financial statements and
related disclosures.




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                     CONSOLIDATED FINANCIAL STATEMENTS



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                                                                                    Grant Thornton LLP
                                                                                    700 Milam Street, Suite 300
REPORT OF INDEPENDENT CERTIFIED PUBLIC ACCOUNTANTS                                  Houston, TX 77002
                                                                                    T 832.476.4600
                                                                                    F 713.655.8741

Board of Managers of Sawgrass Holdings GP LLC
Board of Directors and Stockholder of TPC Group Inc. and Subsidiaries

We have audited the accompanying consolidated financial statements of TPC Group Inc. (a
Delaware corporation) and subsidiaries, which comprise the consolidated balance sheets as of
December 31, 2020 and 2019, and the related consolidated statements of operations and
comprehensive loss, changes in stockholder’s deficit, and cash flows for each of the three years
in the period ended December 31, 2020, and the related notes to the financial statements.

Management’s responsibility for the financial statements
Management is responsible for the preparation and fair presentation of these consolidated
financial statements in accordance with accounting principles generally accepted in the United
States of America; this includes the design, implementation, and maintenance of internal
control relevant to the preparation and fair presentation of consolidated financial statements
that are free from material misstatement, whether due to fraud or error.
Auditor’s responsibility

Our responsibility is to express an opinion on these consolidated financial statements based
on our audits. We conducted our audits in accordance with auditing standards generally
accepted in the United States of America. Those standards require that we plan and perform
the audit to obtain reasonable assurance about whether the consolidated financial statements
are free from material misstatement.

An audit involves performing procedures to obtain audit evidence about the amounts and
disclosures in the consolidated financial statements. The procedures selected depend on the
auditor’s judgment, including the assessment of the risks of material misstatement of the
consolidated financial statements, whether due to fraud or error. In making those risk
assessments, the auditor considers internal control relevant to the entity’s preparation and fair
presentation of the consolidated financial statements in order to design audit procedures that
are appropriate in the circumstances, but not for the purpose of expressing an opinion on the
effectiveness of the entity’s internal control. Accordingly, we express no such opinion. An
audit also includes evaluating the appropriateness of accounting policies used and the
reasonableness of significant accounting estimates made by management, as well as evaluating
the overall presentation of the consolidated financial statements.


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    We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis
    for our audit opinion.

    Opinion
    In our opinion, the consolidated financial statements referred to above present fairly, in all material
    respects, the financial position of TPC Group Inc. and subsidiaries as of December 31, 2020 and
    2019, and the results of their operations and their cash flows for each of the three years in the
    period ended December 31, 2020 in accordance with accounting principles generally accepted in
    the United States of America.




             Houston, Texas
             March 24, 2021




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                                                    CONSOLIDATED BALANCE SHEETS
                                                (In thousands, except share and per share amounts)


                                                                                                            December 31,
                                                                                                     2020                  2019

                                                      ASSETS
          Current assets:
           Cash and cash equivalents                                                             $     18,452       $        85,159
           Trade accounts receivable                                                                   73,447                83,882
           Insurance receivable - Port Neches incident                                                 23,289               185,477
           Inventories                                                                                 45,435                52,058
           Other current assets                                                                        41,123                21,690
                  Total current assets                                                                201,746               428,266
          Property, plant and equipment, net                                                          703,273               684,844
          Intangible assets, net                                                                        3,880                 6,768
          Other assets, net                                                                            55,850                53,624
                  Total assets                                                                   $    964,749       $      1,173,502

                              LIABILITIES AND STOCKHOLDER'S DEFICIT
          Current liabilities:
           Accounts payable                                                                      $    113,092       $       117,716
           Accrued liabilities                                                                         92,635                78,038
           Short-term debt                                                                             13,098                   -
           Accrued liabilities - Port Neches incident                                                  90,262               191,410
                  Total current liabilities                                                           309,087               387,164
          Long-term debt, net of deferred financing costs                                             985,321               915,772
          Deferred income taxes                                                                           -                  13,271
                  Total liabilities                                                                  1,294,408             1,316,207
          Commitments and contingencies
          Stockholder's equity (deficit):
            Common stock, $0.01 par value, 2,000 shares authorized,
              1,030 issued and outstanding                                                                -                     -
            Additional paid-in capital                                                                478,314               478,320
            Accumulated deficit                                                                      (805,312)             (617,148)
            Accumulated other comprehensive loss                                                       (2,661)               (3,877)
                  Total stockholder's deficit                                                        (329,659)             (142,705)
                  Total liabilities and stockholder's deficit                                    $    964,749       $      1,173,502




The accompanying notes are an integral part of these consolidated financial statements.


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                    CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE LOSS
                                                                  (In thousands)


                                                                                              Year Ended December 31,
                                                                                       2020            2019           2018
    Revenue                                                                        $      751,390    $   1,464,926    $   1,626,835
    Cost of sales (excludes items listed below)                                           519,063        1,031,833        1,253,054
    Operating expenses                                                                    181,059          179,936          183,328
    General and administrative expenses                                                    27,970           28,695           26,337
    Depreciation and amortization                                                          74,155           81,002          141,708
    Loss on Port Neches incident, net of insurance recovery                                50,141           91,895              -
    Business interruption insurance recovery                                              (12,100)             -               (567)
    COVID-19 expenses                                                                       1,896              -                -
    Repair and other expenses related to dock incident                                        -                -              1,459
    Income (loss) from operations                                                         (90,794)         51,565           21,516
    Other (income) expense:
     Interest expense                                                                     112,933         101,729           89,305
     Other, net                                                                               182           1,565             (889)
    Loss before income taxes                                                           (203,909)           (51,729)         (66,900)
    Income tax benefit                                                                    (15,745)         (10,238)         (13,698)
    Net loss                                                                           (188,164)           (41,491)         (53,202)

    Change in funded status of defined benefit plan, net of tax
     effect of ($323), $352 and $592, respectively                                          1,216           (1,325)          (2,228)

    Comprehensive loss                                                             $   (186,948)     $     (42,816)   $     (55,430)




The accompanying notes are an integral part of these consolidated financial statements.




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                                               CONSOLIDATED STATEMENT OF STOCKHOLDER’S DEFICIT
                                                                        (In thousands)
                                                                                                                          Accumulated
                                                                                      Additional                             Other
                                                       Common Stock                    Paid-in           Accumulated     Comprehensive        Total
                                                      Shares     Amount                Capital             deficit       Income (Loss)        Deficit

 Balances - December 31, 2017                                  1         -                478,461            (522,455)            (324)         (44,318)

 Net loss                                                  -             -                     -              (53,202)             -            (53,202)
 Change in funded status of defined
  benefit plan, net of tax benefit of $592                 -             -                     -                  -             (2,228)           (2,228)

 Balances - December 31, 2018                                  1             -            478,461            (575,657)          (2,552)         (99,748)

 Net loss                                                  -             -                     -              (41,491)             -            (41,491)
 Return of equity contributions                            -             -                   (141)                -                -                (141)
 Change in funded status of defined
  benefit plan, net of tax benefit of $352                 -             -                     -                  -             (1,325)           (1,325)

 Balances - December 31, 2019                                  1    $    -       $        478,320        $   (617,148)   $      (3,877)   $    (142,705)

 Net loss                                                  -             -                     -             (188,164)             -           (188,164)
 Return of equity contributions                            -             -                         (6)            -                -                    (6)
 Change in funded status of defined
  benefit plan, net of tax benefit of ($323)               -             -                     -                  -              1,216            1,216

 Balances - December 31, 2020                                  1    $    -       $        478,314        $   (805,312)   $      (2,661)   $    (329,659)




The accompanying notes are an integral part of this consolidated financial statement.




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                                         CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                                   (In thousands)


                                                                                                   Year Ended December 31,
                                                                                            2020             2019          2018
                Cash flows from operating activities:
                 Net loss                                                              $    (188,164)    $    (41,491)   $   (53,202)
                 Adjustments to reconcile net loss to cash flows provided by
                     operating activities:
                   Depreciation                                                               47,075           50,931        112,863
                   Turnaround amortization                                                    17,851           22,353         22,844
                   Catalyst amortization                                                       6,341            4,831          3,113
                   Patent amortization                                                         2,888            2,887          2,888
                   Port Neches Incident, net of cash expense                                  65,021           71,325            -
                   Amortization / write-off of debt issuance costs                             8,443           12,501          6,040
                   Deferred income taxes                                                     (13,594)          (8,653)       (13,873)
                   Deferred turnaround cost                                                  (22,505)         (20,956)       (49,869)
                   Deferred catalyst cost                                                     (5,537)          (8,745)        (3,766)
                   Capital projects write-off                                                    -                -              -
                 Changes in assets and liabilities:
                   Accounts receivable                                                        10,435           10,080          1,870
                   Inventories                                                                 7,633           11,592          4,472
                   Accounts payable                                                          (19,698)         (32,278)        19,445
                   Other assets and liabilities, net                                          (5,054)          42,977        (22,008)
                      Cash provided by (used in) operating activities                        (88,865)         117,354         30,817
                Cash flows from investing activities:
                 Capital expenditures                                                        (55,889)         (53,957)       (63,717)
                      Cash used in investing activities                                      (55,889)         (53,957)       (63,717)
                Cash flows from financing activities:
                 Proceeds from issuance of 10.5% Notes                                           -            930,000            -
                 Payment of 8.75% Notes                                                          -           (805,000)           -
                 Payment of Term Loan                                                            -            (50,000)           -
                 Net proceeds from (paydowns on) ABL Facility                                    -            (40,000)        32,000
                 Proceeds from Term Loan                                                      69,300              -              -
                 Insurance finance borrowings                                                 42,492              -              -
                 Insurance finance repayments                                                (29,395)             -              -
                 Debt issuance costs                                                          (4,344)         (14,092)          (502)
                 Equity contributions (returns), net                                               (6)           (141)           -
                      Cash provided by financing activities                                  78,047            20,767         31,498
                Increase (decrease) in cash and cash equivalents                             (66,707)          84,164         (1,402)
                Cash and cash equivalents, beginning of period                                85,159              995          2,397
                Cash and cash equivalents, end of period                               $     18,452      $     85,159    $      995




The accompanying notes are an integral part of these consolidated financial statements.



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                                   NOTES TO CONSOLIDATED FINANCIAL STATEMENTS
NOTE A – BASIS OF PRESENTATION

      1.   Definition of Terms

    Certain terms used throughout these consolidated financial statements and accompanying notes are defined on page 3 of this
Report, which should be referred to when reading these consolidated financial statements and accompanying notes.

     2.    Organization

      The accompanying consolidated financial statements include the accounts of TPCGI and its direct wholly owned and indirect
subsidiaries. TPCGI’s direct wholly owned subsidiaries include TPCGLLC and Texas Petrochemicals Netherlands B.V., and its
indirect subsidiaries, which are all wholly owned subsidiaries of TPCGLLC, include Texas Butylene Chemical Corporation, Texas
Olefins Domestic International Sales Corporation, TPC Phoenix Fuels LLC, Port Neches Fuels LLC, TP Capital Corp., TPC Pipeline
Holding Company LLC and TPC Pipeline Company LLC.

      3.   Principles of Consolidation

     The Company’s consolidated financial statements include the accounts of TPCGI and its direct and indirect subsidiaries, after the
elimination of all significant intercompany accounts and transactions. The financial statements presented have been prepared by us in
accordance with GAAP.

NOTE B – DESCRIPTION OF BUSINESS

      We are a leading North American producer of value-added products derived primarily from C4 hydrocarbons. Our products are
sold to producers of a wide range of performance, specialty and intermediate products, including synthetic rubber, fuels, lubricant
additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
      In our C4 Processing segment, we process crude C4 into higher value components, namely butadiene, butene-1 and raffinates.
Butadiene is primarily used to produce synthetic rubber that is mainly used in tires and other automotive products; butene-1 is primarily
used in the manufacture of polyethylene plastic resins and synthetic alcohols; and raffinates are primarily used in the production of
alkylate, a component of premium unleaded gasoline.
      In our Performance Products segment, we process isobutylene, which we purchase as a raw material and also produce internally,
to produce polyisobutylene (“PIB”), diisobutylene (“DIB”), and methyl tertiary-butyl ether (“MTBE”).
      PIB is primarily used in the production of fuel and lubricant additives, caulks, adhesives, sealants and packaging; DIB is primarily
used in the manufacture of surfactants, plasticizers and resins; and MTBE is primarily used as a gasoline blending stock.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 12-14). The Houston plant, in addition to processing crude C4, also produces PIB, DIB,
and MTBE. The raw material isobutylene processed at our Houston facility is sourced from processing crude C4, third party supply
and internal on-purpose production. The feedstock for our on-purpose isobutylene production is isobutane, which is a plentiful natural
gas liquid resulting from shale gas development. Early in the second quarter, we signed a new MTBE offtake contract with one of the
world’s largest independent fuels and commodity trading firms, in an effort to replace crude C4 capacity. The contract is market based
and provides a secure outlet for 100% of our MTBE production through the end of 2023. Since the new MTBE offtake contract is
market based, we are subject to greater pricing volatility than under our previous offtake contract.




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     We also provide critical infrastructure and logistics services along the Gulf Coast. Our Houston processing facility and our
terminals provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers and
raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and ocean-
going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served by
barges.

      The primary drivers of our businesses are general economic and industrial growth. Our results are impacted by the effects of
economic upturns or downturns on our customers and our suppliers, as well as on our own costs to produce, sell and deliver our products.
Our customers generally use our products in their own production processes; therefore, if our customers curtail production of their
products, our results could be materially affected. In particular, our feedstock costs and product prices are susceptible to volatility in
pricing and availability of crude oil, natural gas and oil-related products such as unleaded regular gasoline. Prices for these products
tend to be volatile as well as cyclical, as a result of global and local economic factors, worldwide political events, weather patterns and
the economics of oil and natural gas exploration and production, among other things.

NOTE C – RISKS AND UNCERTAINTIES RELATED TO THE COVID-19 PANDEMIC

      In March 2020, the World Health Organization declared the outbreak of COVID-19 to be a pandemic. The global coronavirus
(COVID-19) pandemic continues to cause considerable uncertainty in the marketplace, and efforts to stop the virus are also having
significant economic consequences. Though the government restrictions across the world have generally started to ease and vaccines
have become available to help prevent COVID-19 infections, the extent and duration of measures implemented to try to slow the spread
of the virus, such as travel bans and restrictions, border closures, quarantines, and business and government shutdowns have caused,
and may continue to cause, reduced demand and operational delays. The COVID-19 outbreak has impacted the addressable market for
the Company’s products, and the Company’s business continues to be exposed to risks and uncertainties related to the pandemic. The
Company has taken several actions to deal with the pandemic. These include enabling its employees to work from home and suspending
all non-essential travel. The ultimate impact and the extent to which the COVID-19 pandemic will continue to affect the business,
results of operation and financial condition is difficult to predict and depends on numerous evolving factors outside of the Company’s
control including: the duration and scope of the pandemic; government, social, business and other actions that have been and will be
taken in response to the pandemic; and the effect of the pandemic on short and long-term general economic conditions. This uncertainty
also affects management’s accounting estimates and assumptions, which could result in greater variability in a variety of areas that
depend on these estimates and assumptions.

NOTE D – GOING CONCERN

     The consolidated financial statements of the Company have been prepared on a going concern basis, which contemplates the
realization of assets and the discharge of liabilities in the normal course of business. When preparing financial statements, management
has the responsibility to evaluate whether there are conditions or events, considered in the aggregate, that create substantial doubt about
the Company’s ability to continue as a going concern within one year after the date that the financial statements are issued. In applying
the accounting guidance, the Company considered its current financial condition and liquidity sources, including current funds available,
forecasted future cash flows and its unconditional obligations due over the next 12 months.

      The Company has sustained operating losses due to the Port Neches plant explosion in 2019 and as a result of market complications
from COVID-19. While the Company’s assessment of forecasted cash flow and available liquidity for 2021 includes significant PNO-
related insurance receipts, the amount and timing is uncertain and largely outside of the Company’s control. The Company can exercise
some control over capital spending, but there is no guarantee that alternate forms of additional capital will be available.


NOTE E– SIGNIFICANT ACCOUNTING POLICIES

     1.    Use of Estimates

     The preparation of financial statements in conformity with generally accepted accounting principles requires management to make
estimates and assumptions that affect the reported amount of assets and liabilities and disclosure of contingent assets and liabilities at
the date of the financial statements and the reported amounts of revenues and expenses during the reporting periods. Significant
estimates include liabilities and insurance proceeds related to the Port Neches incident (see Note J), impairment considerations,

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allowance for doubtful accounts, inventory valuation, pension plan assumptions, environmental and litigation reserves and provision for
income taxes. Actual results could differ from those estimates.

     2.    Cash and Cash Equivalents

       Cash and cash equivalents include amounts on deposit with banks, cash invested temporarily in investments with original
maturities of three months or less, and cash on hand. We maintain cash balances that are insured by the Federal Deposit Insurance
Corporation (“FDIC”). At December 31, 2020 and 2019, we had $18.5 million and $85.2 million, respectively, in cash and cash
equivalents, which were subject to a $0.25 million per financial institution FDIC insurance coverage limit. We believe that the
likelihood of any loss of cash and cash equivalents is remote and that we are not exposed to any significant credit risk on cash and cash
equivalents.

     3.    Accounts Receivable

      We extend credit to our customers in the normal course of business and generally do not require collateral for trade accounts
receivable. We perform ongoing credit evaluations of our customers and, in some instances, require letters of credit or additional
guarantees in support of contracted amounts. We review the collectability of trade receivables and use the allowance method to record
bad debt expense for amounts that we believe may be uncollectible. We believe no allowance was necessary as of December 31, 2020
and 2019. Write-offs are recorded at the time a customer receivable is deemed uncollectible.

     4.    Inventories

      Inventories consist of raw materials and finished goods and are valued at the lower of average cost or net realizable value. Costs
of finished products include raw materials, energy, labor and manufacturing overhead. We may enter into product exchange agreements
with suppliers and customers for raw materials and/or finished goods in the normal course of business. Under these arrangements we
deliver product volumes to the exchange partner to be delivered in-kind back to us or we receive product volumes to be delivered in-
kind by us to the exchange partner in the future, generally in the short term. Product exchanges typically benefit both parties from a
logistical perspective and provide for additional flexibility regarding both receipt of raw materials from suppliers and delivery of finished
goods to customers. Exchange balances due to or from exchange partners are recorded in inventory at the lower of average cost or net
realizable value and do not impact the consolidated statements of operations and comprehensive loss, as they are recognized at the
carrying amount. At December 31, 2020 we had no exchange receivable position and our exchange payable position was $0.6 million.
At December 31, 2019 we had no exchange receivable position and our exchange payable position was $0.8 million.

     5.    Property, Plant and Equipment

     Property, plant and equipment are stated at depreciated historical cost. Depreciation of property, plant and equipment is computed
using the straight-line method over estimated useful lives ranging from five to forty-five years for financial reporting purposes and
accelerated methods for income tax purposes. Maintenance and repairs and minor renewals are charged to expense as incurred while
major improvements, renewals and betterments are capitalized.
      Upon retirement or sale of an asset, the asset cost and the related accumulated depreciation are removed from the accounts and
any resulting gain or loss is reflected in results of operations.

     The estimated useful lives for our main categories of fixed assets are shown in the table below.

                                                                                                Estimated Useful Lives
                                                                                                      (in years)
                   Plant equipment                                                                      5 - 35
                   Pipelines                                                                           15 - 40
                   Buildings and land improvements                                                     15 - 45
                   Technology assets                                                                    5 -6




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     6.    Intangible Assets

     Our intangible assets include patents and a technology license for the butadiene extraction process used at our Port Neches facility.
Patents are amortized using the straight-line method over their useful lives. Our technology license has no legal, regulatory, contractual,
competitive, economic, or other factors that would limit its useful life; consequently, we have determined its useful life to be indefinite.

     7.    Impairment

    We follow ASC 350, Intangibles—Goodwill and Other, regarding impairment of the carrying value of our intangible assets and
ASC 360, Property, Plant and Equipment, regarding impairment of the carrying value of our property, plant and equipment.
      An impairment loss is recognized only if the carrying value of a long-lived asset or asset group is not recoverable and is measured
as the excess of the carrying value over the fair value. The carrying amount of a long-lived asset or asset group is considered not
recoverable if it exceeds the sum of the undiscounted cash flows expected to result from the use of the long-lived asset or asset group.
Because our long-lived intangible asset (one technology license) is fundamental to and inseparable from the respective long-lived
manufacturing assets, we assess impairment of the technology license together with the respective long-lived manufacturing assets based
on the undiscounted future cash flows related to the respective manufacturing processes.
     We assess our indefinite lived intangible assets and our long-lived assets for impairment annually, during the fourth quarter of
each year using a measurement date of December 31 or more frequently if events or changes in circumstances indicate that the carrying
amount of these assets may not be recoverable.

     8.    Plant Turnaround Costs

      Plant turnarounds are major scheduled events and require partial or complete shutdowns of chemical processing units for
significant overhaul and refurbishment, for periods typically lasting from two to four weeks. We use the deferral method to account
for the cost of turnarounds. Under the deferral method the costs of major scheduled plant turnarounds are deferred on the balance sheet
and charged to depreciation and amortization expense on a straight-line basis during the period until the next scheduled turnaround.

     9.    Debt Issuance Costs

      Direct costs incurred in connection with the issuance of long-term debt or modification of a credit facility, if the borrowing capacity
of the new arrangement is greater than or equal to the borrowing capacity of the previous arrangement, are deferred and amortized as
interest expense over the term of the debt or credit facility. Deferred debt issuance costs are reported as an offset to long-term debt on
our consolidated balance sheets.

     10. Revenue Recognition

         We recognize revenue in accordance with ASC 606, Revenue from Contracts with Customers, which we adopted as of January
1, 2019. We applied the modified retrospective transition method to all contracts not completed as of the adoption date. This revenue
recognition standard provides for a five-step analysis of transactions to determine when and how revenue is recognized. The premise
of the guidance is that a company should recognize revenue to depict the transfer of promised goods or services to customers in an
amount that reflects the consideration to which the entity expects to be entitled in exchange for those goods or services.
     Substantially all our revenues are derived through contractual arrangements with customers. We consider contractual
arrangements to be in place when both parties have approved the contract, are committed to perform, the rights of the parties and payment
terms have been identified, the contract has commercial substance and collectability is probable.
     Revenue is recognized when the obligations under the terms of a contractual arrangement with the customer have been satisfied.
This generally occurs at the point in time when performance obligations are fulfilled and control transfers to the customer. Revenue is
measured as the amount of consideration we expect to receive in exchange for transferring goods. Customer incentives are generally
based on volumes purchased and recognized over the period earned.

     11. Insurance Recoveries

    If an insurance claim as of the balance sheet date relates to a recovery of incurred losses, we recognize the recovery up to the
amount of the loss incurred, if the recovery is probable. Such recognized insurance proceeds are recorded as a receivable and an offset
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to the related losses incurred. We do not recognize any net gains related to insurance proceeds unless the proceeds have been received
and any contingencies related to the proceeds have been adequately resolved.

     12. Environmental Remediation Costs

     Anticipated expenditures related to investigation and remediation of contaminated sites, which include operating facilities and
waste disposal sites, are accrued when it is probable a liability has been incurred and the amount of the liability can be reasonably
estimated.

     13. Comprehensive Loss

     Comprehensive loss is reported in accordance with ASC 220, Comprehensive Income. Our comprehensive loss is defined as net
income adjusted for the change (net of tax) in the funded status of our defined benefit pension plan.

     14. Income Taxes

     We account for income taxes in accordance with ASC 740, Income Taxes.
      We recognize deferred taxes at enacted tax rates on temporary differences between the carrying amounts of assets and liabilities
for financial and tax reporting purposes.
     We record a valuation allowance on net deferred tax assets when it is more likely than not that these assets will not be realized.
      We recognize interest and penalties related to uncertain tax positions taken or to be taken as part of income tax expense. We
incurred no penalty or interest expenses in 2020, 2019 or 2018.

     15. Stock-Based Compensation

     We account for stock-based compensation in accordance with ASC 718, Compensation—Stock Compensation. Expense related to
stock-based compensation awards is recognized in our financial statements based on the grant date fair values of the respective awards.
The amount of grant date fair value recognized as expense in our financial statements is based on an estimate of the number of awards
that are ultimately expected to vest, and the related expense is recognized ratably over the vesting period. Forfeitures are estimated at
the time of grant and revised, if necessary, in subsequent periods if actual forfeitures differ from the estimates.

     16. Asset Retirement Obligations

      We follow ASC 410, Asset Retirement and Environmental Obligations, regarding accounting for obligations associated with the
retirement of tangible long-lived assets and the associated asset retirement costs. The provisions of this statement apply to legal
obligations associated with the retirement of long-lived assets that result from the acquisition, construction, development and/or normal
operation of a long-lived asset.
       We have asset retirement obligations with respect to certain of our chemical processing assets due to various legal obligations to
clean and/or dispose of various components of the chemical plants at the time they are retired. However, these components can be used
for extended and indeterminate periods of time as long as they are properly maintained and/or upgraded. It is our practice and current
intent to maintain our chemical processing assets and continue making improvements to those assets based on technological advances.
As a result, we believe our facilities have indeterminate lives for purposes of estimating asset retirement obligations because dates or
ranges of dates upon which we would retire chemical processing assets cannot reasonably be estimated at this time. When a date or
range of dates can reasonably be estimated for the retirement of any component part of a chemical plant, an estimate of the cost of
performing the retirement activities will be provided and a liability will be recorded for the fair value of that cost using established
present value techniques. We did not record any asset retirement obligations related to the retirement of any component parts of our
facilities as of December 31, 2020 and 2019.

     17. Shipping and Handling Costs

     We account for shipping and handling costs as a fulfillment activity and not a separate performance obligation. Shipping and
handling costs billed to customers in conjunction with sale transactions are recorded as a component of revenue and shipping and
handling costs incurred by us are included in cost of sales in the Consolidated Statements of Operations and Comprehensive Loss.
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     18. Financial Instruments

      The carrying amounts for cash and cash equivalents, receivables and payables approximate fair value because of the short maturity
of these instruments. At December 31, 2020, our long-term debt consisted of the fixed rate 10.5% Notes, which had a carrying amount
of $930.0 million and a fair value of approximately $774.2 million. At December 31, 2019, our long-term debt consisted of the fixed
rate 10.5% Notes, which had a carrying amount of $930.0 million and a fair value of approximately $939.4 million. There were no
borrowings on the ABL at December 31, 2020 and December 31, 2019.

     19. Fair Value Option

       ASC 825, Financial Instruments, allows entities to choose, at specified election dates, to measure eligible financial assets and
liabilities at fair value that are not otherwise required to be measured at fair value. If a company elects the fair value option for an
eligible item, changes in that item's fair value in subsequent reporting periods must be recognized in current earnings. We have not
elected to measure any of our eligible financial assets and liabilities at fair value.

     20. Recent Accounting Developments

     Accounting Standards Adopted in 2020

       Fair Value Measurement – As required, we adopted ASU 2018-13, Disclosure Framework - Changes to the Disclosure
Requirements for Fair Value Measurement, which amended ASC 820, Fair Value Measurement, as of January 1, 2020. The Company
will, when applicable, disclose at Fair Value any derivative assets and liabilities or investments in entities. However, based on our
assessment, the standard has currently had little or no impact on our consolidated financial position, results of operations or cash flows.

      Accounting Guidance Issued but Not Yet Adopted as of December 31, 2020

       Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company continues to evaluate its population of leases and
is continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting
for logistics equipment. The Company anticipates recognition of additional assets and corresponding liabilities related to leases upon
adoption, effective January 1, 2022.

      Defined Benefit Plans – ASU 2018-14, Compensation—Retirement Benefits, amends disclosure requirements for employers that
sponsor defined benefit pension or other postretirement plans. For public business entities, the amendments are effective for fiscal years
ending after December 15, 2020. For all other entities the amendments are effective for fiscal years ending after December 15,
2021. Early adoption is permitted. The Company anticipates some changes to the disclosures required to comply with this standard.

       Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management does not expect that changes required by the new standard will materially impact the Company's financial statements and
related disclosures.




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NOTE F – DETAIL AND DISCUSSION OF CERTAIN CONSOLIDATED BALANCE SHEET CAPTIONS

     Inventories

     Inventories, as of the dates presented, were as follows (in thousands):
                                                                                                 December 31,
                                                                                             2020           2019

                    Finished goods                                                      $      24,665       $     31,632
                    Raw materials and chemical supplies                                        20,770             20,426
                                                                                        `                   `
                                                                                        $      45,435       $     52,058


      The decrease of $6.6 million reflected an 11% decrease in overall average cost per pound, which accounted for $5.8 million of the
decrease, and a 2% decrease in physical inventory volumes, which accounted for the remainder of the decrease. The decrease in average
cost per pound was driven primarily by a 34% decrease in the benchmark price of butadiene comparing the prices for December 2020
to December 2019.

     Other Current Assets

     Other current assets, as of the dates presented, were as follows (in thousands):

                                                                                            December 31,
                                                                                    2020                   2019
                     Prepaid insurance premiums                                 $       21,002      $           342
                     Spare parts inventory                                              15,741               14,675
                     Prepaid expense and other                                           4,380                6,673
                                                                                $       41,123      $        21,690


          The increase in Other Current Assets relates to the financing of a substantial portion of our insurance premiums in 2020 for
policies renewed through 2021. Due to significant recent insurance claims in the petrochemical industry, insurance market conditions
tightened, and we renewed our policies at substantially higher premiums than the expiring coverages.




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     Property, Plant and Equipment

     Property, plant and equipment, as of the dates presented, were as follows (in thousands):

                                                                                                  December 31,
                                                                                              2020           2019

                     Land and land improvements                                          $      52,839     $        52,839
                     Plant and equipment                                                     1,108,577           1,071,744
                     Construction in progress                                                   93,903              66,830
                     Other                                                                      52,464              50,971
                                                                                             1,307,783           1,242,384
                         Accumulated depreciation                                             (604,510)           (557,540)
                                                                                         `                 `
                                                                                         $    703,273      $      684,844


     The net increase in Property, Plant and Equipment primarily relates to the $27 million net increase in construction in progress
(CIP), which consists of the new Port Neches Plant terminal project that was started in 2020 but not completed by December 31, 2020.
The change also reflects the $11 million CIP write off of Port Neches projects in 2019, which lowered 2019 CIP.

     Intangible Assets

     Changes in the carrying amount of our intangible assets, for the periods presented, were as follows (in thousands):

                                                                            Intangible          Accumulated               Carrying
                                                                              assets            amortization               value

               Balance at December 31, 2018                             $       26,980          $     (17,325)      $          9,655
               Amortization                                                        -                   (2,887)                (2,887)
               Balance at December 31, 2019                                     26,980                (20,212)                 6,768
               Amortization                                                        -                   (2,888)                (2,888)
               Balance at December 31, 2020                             $       26,980          $     (23,100)      $         3,880



     The gross carrying amounts and accumulated amortization of intangible assets, as of the dates presented, were as follows (in
thousands):

                                                                         Gross                                  Net
                                                                        carrying         Accumulated          carrying
                                                                         value           amortization          value
                         December 31, 2019
                          Technology license                        $        3,880       $        -       $       3,880
                          Patents                                           23,100            (20,212)            2,888

                                                                    $       26,980       $    (20,212)    $       6,768
                         December 31, 2020
                          Technology license                        $        3,880       $        -       $       3,880
                          Patents                                           23,100            (23,100)                -
                                                                    $       26,980       $    (23,100)    $       3,880

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      The technology license is related to the butadiene extraction process at the Port Neches facility, which was shut down indefinitely
due to the explosion incident on November 27, 2019 (see Note J). Our current position is that it is more likely than not that this licensed
process will be used in the future, so we do not consider the carrying value of the intangible to be impaired. If future facts and/or
circumstances indicate an impairment of the carrying value of this asset we will recognize an impairment charge.

     Patent amortization expense for year ending December 31, 2020 was $2,888, after which the patents are fully amortized.

     Other Assets

     Other assets, as of the dates presented, were as follows (in thousands):

                                                                                          December 31,
                                                                                   2020                  2019
                           Deferred turnaround costs                          $        40,308     $         35,654
                           Catalyst and solvent costs                                  13,693               14,870
                           Other deferred charges                                       1,849                3,100
                                                                              $        55,850     $         53,624


     The increase in deferred turnaround costs in 2020 is solely attributable to the Houston facility. The Port Neches facility is
currently operating as a terminal (and not a production facility) and therefore has not had any turnaround activity during 2020.

     Accrued Liabilities
     Accrued liabilities, as of the dates presented, were as follows (in thousands):
                                                                                          December 31,
                                                                                  2020                   2019

                         Accrued payroll and benefits                     $          17,537       $         12,007
                         Net pension liability                                        8,493                  7,870
                         Accrued freight                                              5,875                  6,799
                         Accrued interest                                            41,231                 40,967
                         Property and sales tax                                      13,991                  9,894
                         Other                                                        5,508                    501
                                                                          $          92,635       $         78,038


      The net increase in accrued payroll and benefits liabilities represents an increase deferred payroll taxes as well as an increase in
incentive compensation accrued liabilities, not yet paid, year over year. As part of the Company’s cash preservation measures, incentive
compensation payments for the year ended December 31, 2019 were deferred and are to be paid in 2021. The increase in property and
sales tax liabilities versus prior year reflects higher unpaid property tax assessments, a portion of which is currently under appeal. The
property tax balance at December 31, 2020 includes $5.1 million and $2.2 million in unpaid taxes related to tax appeals for the years
2020 and 2019 respectively. A $6.3 million property tax payment was made in January of 2021, excluding amounts under appeal.
Accrued interest was fairly consistent year over year and the slight increase largely reflects higher interest on the New Term Loan.
Payments on the New Term Loan are made quarterly, with the last payment occurring in December 2020. Interest on the $930 million
principal amount of the 10.5% Notes is paid semiannually on February 1 and August 2.




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     Accrued Liabilities – Port Neches Incident

     Port Neches incident accrued liabilities, as of the dates presented, were as follows (in thousands):

                                                                                                  December 31,
                                                                                              2020            2019
                 Total of losses and costs recognized                                    $     416,817      $     287,372
                 Deferred gain on insurance                                                     36,694                -
                 Invoices / settlements paid                                                  (293,874)           (30,570)
                 Unpaid invoices included in payables                                          (12,507)            (7,875)
                 Asset write-offs                                                              (56,868)           (57,517)
                                                                                                90,262            191,410
                 Accrued response / clean-up costs                                       $      46,258      $      47,566
                 Estimated claims liability                                                     44,004            143,844
                                                                                         $      90,262      $     191,410


       The above reconciliation reflects $416.8 million and $287.4 million of losses and costs related to the Port Neches incident as of
December 31, 2020 and December 31, 2019 respectively (see Note J). The reconciliation provides the main components of the accrued
liability for each year. These amounts are shown on the accompanying consolidated balance sheet at December 31, 2020 and December
31, 2019.
      For 2020, the amount of loss on the Port Neches incident, net of insurance recoveries, of $50.1 million showing on the Consolidated
Statements of Operations and Comprehensive Loss is the total amount of additional losses and costs of $129.4 million incurred during
the year less $56.0 million of insurance recoveries received related to 2020 losses and costs and probable insurance recoveries receivable
of $23.3 million at December 31, 2020. As of the issuance date of this report, March 24, 2021, we have received $40.0 million in
additional insurance proceeds in 2021.

      For 2019, the amount of loss on the Port Neches incident, net of insurance recoveries, of $91.9 million showing on the Consolidated
Statements of Operations and Comprehensive Loss reflected the total amount of losses and costs of $287.4 million less insurance
recoveries received in 2019 of $10.0 million and probable insurance recoveries receivable of $185.5 million at December 31, 2019. As
of the issuance date of the December 31, 2019 report, $165.0 million in additional insurance proceeds was received.

NOTE G – SHORT-TERM DEBT

      Our short-term financing arrangements at December 31, 2020 consisted of insurance premium financing. In June 2020 we
financed $2.3 million of insurance premiums through Aon Premium Finance LLC. The initial down payment and the first installment
payment were due in July 2020 with the remaining payments scheduled to be paid over the next nine months through April 2021. We
financed approximately $39.0 million of additional insurance premiums through Aon Premium Finance LLC for insurance coverages
that were renewed during the third quarter, making additional down payments and increasing the amount of the remaining monthly
payments through April 2021.




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NOTE H – LONG-TERM DEBT

     Outstanding debt as of the dates presented, was as follows (in thousands):
                                                                                                 December 31,
                                                                                          2020                  2019
                         Notes                                                        $    930,000       $       930,000
                         New Term Loan                                                      70,000                   -
                         Unamortized discount on New Term Loan                                (286)                  -
                         Total long-term debt                                              999,714               930,000
                           Less: deferred financing costs                                  (14,393)              (14,228)
                         Long-term debt net of deferred financing costs               $    985,321       $       915,772

     Our financing arrangements at December 31, 2020 were comprised of the 10.5% Notes, the New Term Loan and the ABL. As of
December 31, 2020, we were in compliance with all covenants set forth in the Indenture governing the 10.5% Notes and the credit
agreement governing the ABL.

     New Term Loan

     On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provides for a delayed draw term loan of up to $70 million and a term of one-year.

     Availability under the New Term Loan is limited to a maximum of four draws with a minimum of $5 million per draw.

      Subject to certain exceptions, the Company’s obligations with respect of the New Term Loan are secured by liens on and security
interests in all collateral securing the 10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment
with those liens and security interests granted pursuant to the Indenture governing the 10.5% Notes.
      The ABR loans under the New Term Loan bear interest at an Alternate Base Rate plus an Applicable Margin of 6%. The Alternate
Base Rate is equal to a fluctuating rate per annum equal to the greatest of (i) the rate of interest last quoted by The Wall Street Journal
(or, other national publication selected by the Administrative Agent in consultation with the Borrower) as the United States “prime rate”
(the “Prime Rate”), (ii) the Federal Funds Rate plus 0.50%, (iii) the LIBOR Rate determined by the Administrative Agent (with a term
equivalent to one month), published as of approximately 11:00 a.m. (London time) two Business Days prior to the date at which the
Alternate Base Rate is being determined, plus 1.00%, and (iv) in the case of ABR Loans, 2.50% per annum. The Prime Rate is not
necessarily the lowest rate that the Administrative Agent is charging to any corporate customer. Interest is due on the last Business Day
of each calendar quarter.
      The LIBOR Loans under the New Term Loan have a LIBOR Rate and an Applicable Margin of 7% applied. The LIBOR Rate is
the per annum rate of interest (rounded up to the nearest 1/100th of 1%) determined by the Administrative Agent at or about 11:00 a.m.
(London time) two Business Days prior to an Interest Period, for a term equivalent to such period, equal to the London Interbank Offered
Rate, or comparable or successor rate approved by the Administrative Agent, as published on the applicable Bloomberg screen page (or
other commercially available source designated by the Administrative Agent from time to time); provided, that any comparable or
successor rate shall be applied by the Administrative Agent in a manner consistent with market practice; provided further, that in no
event shall the LIBOR Rate be less than 1.50%. Interest payments are due quarterly in arrears.
      The New Term Loan contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the
ability of TPCGI and certain of its subsidiaries to:

     •    pay dividends on or make certain distributions and other restricted payments;
     •    incur additional debt, issue disqualified stock or issue certain preferred stock;
     •    create certain liens or encumbrances;
     •    sell assets;
     •    enter into transactions with affiliates;
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     •    limit ability of restricted subsidiaries to make payments to TPCGI;
     •    consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets;
     •    change its lines of business;

     •    designate TPCGI’s subsidiaries as unrestricted subsidiaries; and

     •    in addition to the foregoing, with respect to the borrower and its subsidiaries, incur certain liabilities.

      The New Term Loan also contains certain customary additional affirmative covenants, representations and warranties, conditions
to making loans, indemnification provisions and events of default, including (subject in certain cases to customary grace and cure
periods) material inaccuracy of representations, non-payment of obligations under the New Term Loan, violation of affirmative and
negative covenants, non-payment or acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of
the credit documents (or the assertion of any such invalidity), certain casualty events, change of control and loss of lien perfection or
priority.
      On March 18, 2020, we drew on the facility and received $70 million less a 1% original issue discount fee. On May 15, 2020 we
and the lenders agreed to amend the New Term Loan. The amendment extended the maturity date from February 2, 2021 to August 5,
2021. In addition, the amendment increased the Applicable Margin on ABR Loans from 6% to 7% and on LIBOR Loans from 7% to
8% as of the date of the amendment. Although the New Term Loan matures in less than one year, as of December 31, 2020, it has been
classified as long-term debt, as it was refinanced in February 2021. See Note T, Subsequent Events, for further discussion.
     ABL

     TPCGI is the lead borrower under the ABL and certain domestic subsidiaries of TPCGI are co-borrowers (or may be designated
co-borrowers) on a joint and several basis.
     The ABL is composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” tranche (the
ABL FILO). Commitments under the ABL FILO will be reduced, and commitments under the ABL Revolver equally and
simultaneously increased, by $2.5 million on each of the first three anniversaries of the August 2019 amendment and restatement.
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.

     As of December 31, 2020, we had no borrowings outstanding on the ABL and the combined ABL Revolver and ABL FILO
borrowing bases provided us with the ability to borrow up to $75.6 million.
      The ABL Revolver commitments may be increased by an aggregate principal amount of not more than $150 million, subject only
to the consent of the new or existing lenders providing such increases. The lenders under this facility are under no obligation to provide
any such additional commitments, and any increase in commitments will be subject to customary conditions precedent.
Notwithstanding any such increase in the facility size, TPCGI’s ability to borrow under the facility will remain limited at all times by
the borrowing base (to the extent the borrowing base is less than the commitments).
      Loans under the ABL Revolver bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate
equal to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR
rate plus 1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be
1.75% (and may subsequently decrease to 1.50% or increase to 2.00% depending on average excess availability) and with respect to
base rate borrowings will initially be 0.75% (and may subsequently decrease to 0.50% or increase to 1.00% depending on average excess
availability).
      Loans under the ABL FILO bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate equal
to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR rate plus
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1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be 3.00% (and
may subsequently decrease to 2.75% or increase to 3.25% depending on average excess availability) and with respect to base rate
borrowings will initially be 2.00% (and may subsequently decrease to 1.75% or increase to 2.25% depending on average excess
availability).
      The ABL provides for all applicable margins to be reduced by 0.25% during any fiscal quarter for which the Total Leverage Ratio,
as defined in the ABL credit agreement, as of the last day of the immediately preceding fiscal quarter, is less than 5.0 to 1.0.
      In addition to paying interest on outstanding principal under the ABL, TPCGI is required to pay a commitment fee at an initial rate
of 0.500% per annum in respect of the unutilized commitments thereunder. The commitment fee rate subsequently may be reduced to
0.375% depending on the amount of excess availability under the ABL. TPCGI must also pay customary letter of credit fees and
fronting fees for each letter of credit issued.
      If, at any time, (i) an Event of Default is continuing or (ii) Excess Availability is less than the greater of (x) 12.5% of Availability
and (y) $12.5 million, TPCGI shall comply with a minimum Fixed Charge Coverage Ratio for the most recent period of four consecutive
fiscal quarters of at least 1.0 to 1.0. Such requirement shall continue until the date that no Event of Default exists, and Excess
Availability shall have been not less than the greater of (x) 12.5% of Availability and (y) $12.5 million for a period of 21 consecutive
calendar days.
      If at any time the aggregate amount of loans and letters of credit outstanding under either the ABL Revolver or under the ABL
FILO exceeds the lesser of (a) the applicable total commitments and (b) the applicable borrowing base, TPCGI will be required to prepay
loans outstanding and/or cash collateralize outstanding letters of credit in an aggregate amount equal to the amount of any such excess,
without any reduction of the commitments. Under certain circumstances, if the aggregate amount available under the ABL is less than
the greater of (1) 12.5% of the lesser of (i) the total commitments under such facility and (ii) the borrowing base and (2) $12.5 million
for 5 consecutive business days, or if certain defaults occur, all collateral proceeds collected through the cash management system in
favor of the collateral agent will be swept to a collection account and applied daily to repay outstanding loans and cash collateralize
letters of credit under the ABL.
       TPCGI may voluntarily repay loans outstanding under the ABL Revolver and under the ABL FILO at any time without premium
or penalty other than customary “breakage” costs with respect to LIBOR loans. All outstanding loans under the ABL Revolver must
be repaid before any loans outstanding under the ABL FILO may be repaid. Any subsequent borrowings under the ABL would be
made first under the ABL FILO (subject to availability) and next under the ABL Revolver (subject to availability). We may elect at
any time to reduce the unutilized portion of the commitment amount under the ABL. We may elect at any time to terminate the ABL
FILO commitments in full (but not in part) provided that 30 Day Excess Availability, as defined in the Credit Agreement and calculated
on a pro forma basis, would not be less than the greater of (a) 17.5% of availability and (b) $25 million if the Fixed Charge Coverage
Ratio is at least 1.0 to 1.0 or 30 Day Excess Availability would not be less than 22.5% of availability if the Fixed Charge Coverage Ratio
is less than 1.0 to 1.0.
      Pursuant to a Guarantee, dated as of August 2, 2019, among Parent, TPCGI, the other guarantors party thereto and Bank of
America, N.A., as administrative agent and collateral agent, all obligations under the Senior Secured Asset-Based Revolving Credit
Agreement are unconditionally guaranteed by substantially all existing and future, direct and indirect, wholly-owned material restricted
domestic subsidiaries of TPCGI, subject to certain exceptions, including, any applicable legal, regulatory or contractual constraints and
to the requirement that such guarantee will not cause material adverse tax consequences.
     The borrowers under the ABL are jointly and severally liable for all borrowings and other obligations thereunder. Pursuant to a
Pledge and Security Agreement, dated as of August 2, 2019, among Parent, TPCGI, the subsidiary grantors and Bank of America, N.A.,
as administrative agent and collateral agent, and any additional borrowers that may become party thereto from time to time, such
obligations and the guarantees of such obligations are secured, subject to permitted liens and other exceptions, by:

     •    a first-priority lien on the following:

                  (a)       accounts receivable, including those arising from the sale of inventory and other goods and services
                            (including related contracts and contract rights, inventory, tax refunds, cash and cash equivalents);
                  (b)       inventory;
                  (c)       intercompany notes and intellectual property and other intangible assets to the extent attached to or necessary
                            to sell any of the foregoing;


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                  (d)       deposit and investment accounts (and all cash, checks and other negotiable instruments, funds and other
                            evidences of payment held therein, but not any identifiable proceeds of Notes First Priority Collateral (as
                            defined below));
                  (e)       to the extent evidencing, governing, securing or otherwise related to any of the foregoing and the other
                            Revolver First Priority Collateral (as defined below), all documents, general intangibles (excluding
                            intellectual property), instruments, investment property (but not stock in subsidiaries or equity interest in any
                            limited liability company or other entity constituting Notes First Priority Collateral), commercial tort claims,
                            letters of credit, supporting obligations and letter of credit rights;
                  (f)       all loans payable by a grantor to any other grantor to the extent made using proceeds of advances under the
                            ABL Facility;
                  (g)       books and records, documents, supporting obligations, chattel paper, instruments, payment intangibles and
                            general intangibles relating to any of the foregoing; and
                  (h)       all proceeds and products of any or all of the foregoing in whatever form received, in each case above subject
                            to certain qualifications and exclusions (collectively, the “Revolver First Priority Collateral”); and

     •   a second-priority lien on assets not constituting Revolver First Priority Collateral subject to certain qualifications and
         exclusions (the “Notes First Priority Collateral”).

    The ABL contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the ability of
TPCGI and certain of its subsidiaries to:

     •   incur additional indebtedness;
     •   create liens;
     •   engage in mergers or consolidations;
     •   sell or transfer assets;
     •   pay dividends and distributions or repurchase its capital stock;
     •   make investments, loans or advances;
     •   prepay certain indebtedness;
     •   engage in certain transactions with affiliates;
     •   designate certain subsidiaries as restricted or unrestricted by the covenants; and
     •   change its lines of business.

      In addition, at any time when an event of default is continuing or the aggregate amount available under the ABL is less than the
greater of (a) 12.5% of the lesser of (1) the total commitments and (2) the borrowing base and (b) $12.5 million (or a lesser amount if a
significant asset sale has occurred), TPCGI will be required to maintain a minimum fixed charge coverage ratio of 1.0:1.0.
      The ABL also contains a customary “holding company” covenant that restricts Parent’s ability to take certain actions and contains
certain customary additional affirmative covenants, representations and warranties, conditions to making loans, indemnification
provisions and events of default, including (subject in certain cases to customary grace and cure periods) material inaccuracy of
representations, non-payment of obligations under the ABL, violation of affirmative and negative covenants, non-payment or
acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of the credit documents (or the assertion
by Parent or a borrower of any such invalidity), change of control and loss of lien perfection or priority.
      On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.




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     10.5% Notes

     The 10.5% Notes are due August 1, 2024 and interest will be paid semi-annually in arrears on February 1 and August 1.

      Indenture Governing the 10.5% Notes

     On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 02, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.5% Indenture”).
     The 10.5% Notes are guaranteed by all of TPCGI’s existing or future direct and indirect domestic subsidiaries other than certain
excluded subsidiaries (the “guarantors”) that guarantee obligations under the ABL.
       The 10.5% Notes are TPCGI’s and the guarantees are the guarantors’ senior secured obligations and rank senior in right of payment
to all of TPCGI’s and the guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally
in right of payment with all TPCGI’s and the guarantors’ existing and future liabilities that are not so subordinated, including the ABL.
The 10.5% Notes and the guarantees are structurally subordinated to all existing and future liabilities and preferred stock of any of its
subsidiaries that do not guarantee the 10.5% Notes effectively senior to TPCGI’s and the guarantors’ indebtedness that is unsecured or
that is secured by junior liens to the extent of the value of the assets securing the 10.5% Notes and the guarantees, and effectively junior
to TPCGI’s ABL to the extent of the value of the assets that secure TPCGI’s ABL on a first-priority basis.
      The 10.5% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the guarantors’ assets
(in each case, other than TPCGI’s and the guarantors’ assets that secure the ABL on a first-priority basis), subject to certain exceptions
and permitted liens. Subject to certain exceptions and permitted liens, the 10.5% Notes and the guarantees are also secured on a second-
priority basis by TPCGI’s and the guarantors’ assets that secure our ABL on a first-priority basis.
       The 10.5% Notes become redeemable as of August 1, 2021 at the redemption prices specified in the 10.5% Indenture. The
redemption price for the period from (and including) August 1, 2021 through July 31, 2022 is 107.875% and for the period from (and
including) August 1, 2022 through July 31, 2023 is 103.938%. The 10.5% Notes become redeemable at par as of August 1, 2023.
Unless otherwise redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an
offer to repurchase the 10.5% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if
any. In addition, at any time prior to August 1, 2021, TPCGI may redeem, subject to certain conditions, up to 35% of the 10.5% Notes
at a redemption price of 110.50% with the net cash proceeds from one or more equity offerings.
      The 10.5% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted subsidiaries
to (subject to certain exceptions):

     •    incur additional debt, issue disqualified stock or issue certain preferred stock;
     •    pay dividends on or make certain distributions and other restricted payments;
     •    create certain liens or encumbrances;
     •    sell assets;
     •    enter into transactions with affiliates;
     •    limit ability of restricted subsidiaries to make payments to TPCGI;
     •    consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •    designate TPCGI’s subsidiaries as unrestricted subsidiaries.

      The 10.5% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.5% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.5% Notes to be due and payable.
     On February 2, 2021 we issued $153 million of 10.875% Senior Secured Notes and repaid the $70 million New Term Loan we
had in place with Apollo Global Management to provide additional liquidity against any uncertainty around timing of future insurance
recoveries, including business interruption recoveries, over the next year.
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NOTE I – REVENUE

     We operate in two principal business segments, C4 Processing and Performance Products. The following table disaggregates
revenue for each segment by major activity and by domestic and foreign.

                                                                           Year Ended December 31,
                                                                    2020            2019           2018
                     Revenue by segment
                      C4 Processing
                          Product sales                         $    382,557    $    889,744     $ 1,012,450
                          Process revenue                              2,228           6,208           6,190
                          Terminalling revenue                         7,164           8,916           9,828
                          Service fees                                 2,386           5,818           5,518
                          Shipping and handling                       12,846          11,518           9,178
                                                                $    407,181    $    922,204     $ 1,043,164

                       Performance Products
                           Product sales                             328,160         524,213          563,500
                           Terminalling revenue                           75             150            3,226
                           Shipping and handling                      15,974          18,359           16,945
                                                                $    344,209    $    542,722     $    583,671
                                                                $    751,390    $ 1,464,926      $ 1,626,835

                     Revenue by geographic location
                      United Sates                              $    711,818    $ 1,341,470      $ 1,483,515
                      All foreign countries                           39,572        123,456          143,320
                                                                $    751,390    $ 1,464,926      $ 1,626,835


NOTE J – PORT NECHES INCIDENT

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” We anticipate future engagement with OSHA regarding these issues
including a settlement conference scheduled for August 2021.

      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA) served the Company with an
information request under Section 114 of the federal Clean Air Act. The request seeks information about the incident as well as the
Company’s Risk Management Program compliance program at both the Port Neches and Houston facilities. Such requests are typically
the first step in EPA enforcement. We anticipate that there likely will be additional enforcement matters, claims for cost recovery,
and/or claims for natural resource damages from these and other similar agencies. However, we are unable to estimate a liability
associated with such claims at this time.

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      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,500 property claims have been resolved and approximately 1,600 additional eligible claims are working through the claims process.
The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial statements. The Company
also provided an emotional support hotline staffed by licensed professional counselors from Samaritan Counseling Center of Southeast
Texas.
      In addition to the property claims, sixty-one private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred lawsuits – which
typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual plaintiff cases now
pending. Twenty-seven of the sixty-one private party lawsuits, including approximately 565 individual plaintiffs, are awaiting transfer
to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of subrogation claims filed by
homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. A hearing on class certification is not
expected before Q4 2021 at the earliest.
      Four different sets of insurance policies, under the insurance coverage we had in effect at the time, provide coverage for costs and
losses incurred as a result of the Port Neches incident. Our quota-share property and business interruption policies provide up to $850.0
million of coverage. The deductible is $10.0 million and certain categories of costs are subject to varying coverage sub-limits. In
addition, the policies contain a 45-day waiting period before business interruption qualifies for coverage. As of December 31, 2020,
we have paid $67.7 million of costs and collected $160.0 million under this policy, of which $12.1 million has been specifically
designated as business interruption coverage and $147.9 million has been designated as an unallocated payment on account. Of the
unallocated proceeds of $147.9 million, $36.7 million are recorded as a deferred gain due to the net book value of the affected assets
being lower than the value that we will receive. Reimbursable costs under this policy recorded in 2020 and 2019 total $58.0 million
and $64.7 million, respectively. Of these costs we currently estimate that $111.2 million will be recoverable.
         Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of December 31, 2020, we have incurred third-party claim amounts of $165.0 million, have paid
$120.7 million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $49.8 million
and we have collected $15.3 million of this amount. We anticipate collecting a total of $35.2 million for these expenses. Costs recorded
under this policy in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional amount
was incurred for claims of $3.1 million and for defense costs of $35.6 million.
      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of December 31, 2020, we have
incurred and paid $51.1 million of costs and have collected the full $25.0 million of coverage under this policy. We incurred $23.1
million of these costs in 2019 and an additional $28.0 million in 2020.
      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.4 million. We expect to recover
the fair market value at the time of the event on these materials.
     Costs that we will not recover from insurance include turnaround amortization, fines, certain consulting and legal costs as well as
any costs that may exceed various applicable sub-limits within the policies and any costs that exceed the policy coverage limits.
      On January 13, 2021 we executed an additional unallocated Proof of Loss for $40.0 million under our property and business
interruption policies and received the funds in January and February 2021. As of the issuance of this 2020 Annual Report (i.e. March
24, 2021), we have paid out $127.4 million on liability claims. Excluding claims, we have also paid approximately $178.9 million in
response, defense, pollution, and other costs. Additional proceeds anticipated to cover book costs equal $280.6 million with
additional recovery anticipated as a gain.
      For the year ended December 31, 2020, we had recognized a net amount of losses and incurred costs of $50.1 million, which
reflected $129.4 million in losses and incurred costs offset by $79.3 million of insurance proceeds. The net amount of $50.1 million
included estimated liability claims expected to be in excess of our liability insurance coverage of $3.1 million. Additionally, the net
amount of response cost losses of $47.2 million represents costs incurred directly related to the ongoing incident response and cleanup
activities for which insurance coverage was not considered probable or costs were in excess of certain insurance coverage limitations.
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      For the prior year, ended December 31, 2019, we had recognized a net amount of losses and incurred costs $91.9 million, which
reflected $287.4 million in losses and incurred costs offset by $195.5 million of insurance proceeds, of which $10.0 million was received
in 2019 and $185.5 million was recorded as an insurance receivable since recovery of that amount was determined to be probable. The
net amount of $91.9 million consisted of a write-off of deferred turnaround costs of $19.0 million, insurance deductibles of $11.1 million
and estimated liability claims expected to be in excess of our liability insurance coverage of $61.8 million.

NOTE K – BUSINESS INTERRUPTION INSURANCE RECOVERY

     During the fourth quarter of 2018 the Company received $0.6 million in insurance proceeds, which represented the full amount of
our Hurricane Harvey business interruption claim.

NOTE L – COVID-19 EXPENSES

     The $1.9 million of COVID-19 expenses relate to costs incurred as a result of precautionary measures taken by the Company to
prevent the spread of COVID-19 at TPC sites. The costs include protective gear for employees, increased sanitation of TPC sites, and
enhancements to workspaces to promote safety.

NOTE M – REPAIR AND OTHER EXPENSES RELATED TO DOCK INCIDENT

      These expenses of $1.5 million for the year ended December 31, 2018 consisted of a $0.25 million insurance deductible and
uninsured logistics and legal expenses incurred as a direct result of the damage to the main dock at our Houston facility in June 2018.
All temporary repair costs, except for the deductible, were offset by insurance proceeds received in 2018.

NOTE N – FAIR VALUE

      Within the framework for measuring fair value, ASC 820, Fair Value Measurements and Disclosures, establishes a fair value
hierarchy, which requires an entity to maximize the use of observable inputs and minimize the use of unobservable inputs when
measuring fair value. The standard defines the three levels of inputs used to measure fair value as follows:

         •   Level 1: Inputs are unadjusted quoted prices for identical assets or liabilities in active markets, which primarily consist
             of financial instruments, traded on exchange or futures markets.
         •   Level 2: Inputs are other than quoted prices in active markets (included in Level 1), which are directly or indirectly
             observable as of the financial reporting date, including derivative instruments transacted primarily in over-the-counter
             markets.
         •   Level 3: Unobservable inputs, which include inputs derived through extrapolation or interpolation that cannot be
             corroborated by observable market data.

      As of December 31, 2020, and 2019, we had no outstanding assets or liabilities measured at fair value on a recurring basis except
for the fair value of our pension plan assets and short-term investments which were measured using Level 1 and Level 3 inputs.




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NOTE O – INCOME TAXES

         The significant components of deferred tax assets and liabilities are shown below as of the dates presented (in thousands):

                                                                                         December 31,
                                                                                  2020                    2019

                       Deferred tax assets:
                        Loss and credit carryforwards                      $           94,580       $          94,612
                        Disallowed interest                                            47,761                  33,176
                        Accrued and other expenses                                      8,648                   5,679
                        Inventory                                                       2,678                   2,030
                              Total deferred tax assets                               153,667                135,497
                          Less: Valuation allowance                                   (27,703)                   -
                       Deferred tax assets less valuation allowance        $          125,964       $        135,497
                       Deferred tax liabilities:
                        Property, plant and equipment                      $         (101,651)      $       (100,750)
                        Insurance proceeds receivable                                 (10,610)               (38,950)
                        Deferred turnaround costs                                      (8,512)                (7,487)
                        Prepaid expenses                                               (4,462)                  (309)
                        Intangible assets                                                (729)                (1,272)
                              Total deferred tax liabilities                         (125,964)              (148,768)
                              Net deferred tax liability                   $               -        $         (13,271)


          We analyze both positive and negative evidence available to us to provide a reasonable basis for us to assess the realizability
of our deferred tax assets. ASC 740 “Accounting for Income Taxes” requires that a valuation allowance be established for a deferred
tax asset if it is more likely than not that the related tax benefit will not be realized. Realization of deferred tax assets depends on the
existence of sufficient taxable income of the appropriate character within the carryback and carryforward period available under the tax
law. Our assessment of the realizability of our deferred tax assets considered the following four sources of future taxable income:

          •    Future reversal of existing temporary differences;
          •    Future taxable income exclusive of reversing temporary differences and carryforwards;
          •    Taxable income in prior carryback years; and
          •    Tax planning strategies.

      Reversal of exiting taxable temporary differences existing at December 31, 2020 would not generate sufficient taxable income to
utilize our deferred tax assets as of that date as we were in a net deferred tax position of $27.7 million.
     Regarding future taxable income, we considered our annual net operating losses since 2014 and the uncertainty of sufficient future
taxable income to be objective evidence that is it more likely than not that the benefit of our deferred tax assets will not be fully realized.
      We have no taxable income in carryback periods and do not have tax planning strategies that provide positive evidence that our
deferred tax assets will be realized.
      As a result of our analysis we have concluded that it is more likely than not that we will not realize the full benefit of our deferred
tax assets and have therefore established a deferred tax asset valuation allowance of $27.7 million at December 31, 2020.
      The primary components of our deferred tax assets at December 31, 2020 were $94.6 million related to net operating losses and
credit carryforwards and $47.8 million related to the amount of temporarily disallowed interest deductions. Our cumulative pretax net
operating losses of $440.4 million consisted of $281.0 million of pre-2018 net operating losses and post-2017 pretax net operating losses
of $159.4 million. Pretax disallowed interest deductions for 2020, 2019 and 2018 were $69.5 million, $101.7 million and $56.3 million,
respectively. All pre-2018 net operating losses have a 20-year carryforward period and can be used to offset up to 100% of future
taxable income in any year. All post-2017 net operating losses and disallowed interest deductions can be carried forward indefinitely;
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however, the use of post-2017 net operating losses will be limited to 80% of future taxable income in any year.
      Our deferred tax liabilities consist primarily of the tax effect of temporary differences between the book and tax basis of property
plant and equipment, due to cumulative differences between book and tax depreciation, and the tax effect of cumulative differences
between book and tax treatment of insurance proceeds in 2019 and 2020 related to the Port Neches incident
      Our net operating loss for 2020 was $9.0 million, which reflects our pretax book loss of $203.9 million which was substantially
offset by taxable temporary differences of $135.1 million related to differences in book and tax treatment of insurance proceeds related
to the Port Neches incident and disallowed interest expense of $69.5 million. The book pretax loss reflects the significant loss of
production and distribution capability resulting from the Port Neches incident as well as the negative impact of COVID-19 on demand
for our products and the overall economy.
      We have conducted an evaluation of tax positions taken on previous tax returns. Based on that evaluation, we concluded that it
is more likely than not, based on the technical merits of our tax positions, that we are entitled to the economic benefits resulting from
positions taken on our tax returns. Consequently, we have not recorded any liabilities related to uncertain tax positions and have not
reversed any benefits previously recognized. Therefore, we have not recognized any interest or penalties related to uncertain tax
positions.
     We file a consolidated federal income tax return and state tax returns in Texas and Louisiana.
     IRS audits of 2011, 2012 and 2013 were concluded during 2015 and by letter dated July 1, 2015, we were notified by the IRS that
no changes would be needed to the tax returns filed for those years. All years subsequent to 2013 remain open for examination and we
have not been notified by the IRS of any impending examinations.
      In 2012, the Texas Comptroller of Public Accounts completed franchise tax audits for the fiscal years ended June 30, 2007, 2008
and 2009. Based on the results of those audits, the Texas Comptroller of Public Accounts and the Company reached a settlement
pursuant to which the Company paid a total of $0.3 million in additional taxes and interest related to the three years covered by the
audit. All years subsequent to fiscal 2009 remain open for examination and we have not been notified by the Texas Comptroller of
Public Accounts of any impending examinations.
     Our income tax benefit was comprised of the following for the periods presented (in thousands):

                                                                                Year Ended December 31,
                                                                            2020         2019         2018
                           Current:
                            Federal                                     $    (2,079)   $ (2,079)    $      -
                            State                                               (71)        494            175
                           Deferred
                            Federal                                         (41,214)      (8,936)       (14,079)
                            State                                               (84)         283            206
                           Valuation allowance                               27,703          -              -
                           Income tax benefit                           $ (15,745)     $ (10,238)   $ (13,698)




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     The provision for income taxes differs from the amount computed by applying the statutory federal income tax rate to income
before income taxes. The reasons for this difference are as follows for the periods presented (in thousands):

                                                                                            Year Ended December 31,
                                                                                   2020              2019                   2018
    Loss before income taxes                                               $       (203,909)     $       (51,729)       $     (66,900)
    Statutory federal income tax rate                                                   21%                  21%                  21%
    Computed "expected" federal income tax benefit                                  (42,821)             (10,863)             (14,049)
    Increase (decrease) in tax resulting from:
      Credit for increasing research and development activities                        (305)               (150)                   (249)
      State tax, net of federal benefit                                                (122)                614                     301
      Other, net                                                                       (200)                161                     299
    Valuation allowance                                                              27,703                 -                       -
    Total income tax benefit                                               $        (15,745)     $       (10,238)       $     (13,698)



NOTE P – SUPPLEMENTAL DISLOSURES OF CASH FLOW INFORMATION

     Cash paid (received) for interest and taxes, for the periods presented, were as follows (in thousands):

                                                                                            Year Ended December 31,
                                                                                     2020              2019         2018
          Interest payments, net                                               $      104,245        $   52,099     $       83,727
          Income tax payments (refunds), net                                           (1,662)           (1,912)               121


NOTE Q – COMMITMENTS AND CONTINGENCIES

      We lease office space, dock space, tank cars, barges, tugboats and various types of equipment under non-cancelable operating
leases expiring on various dates through December 2033. The future minimum lease payments under non-cancelable operating leases,
in excess of one year, at December 31, 2020 consisted of the following (in thousands):

                                                2021                           $      35,162
                                                2022                                  33,058
                                                2023                                  27,032
                                                2024                                  16,172
                                                2025                                  14,880
                                                2026 and thereafter                   37,096
                                                                               $     163,400


      Rent expense included in operating expenses and general and administrative expenses was $14.0 million, $13.7 million and $13.0
million for 2020, 2019 and 2018, respectively. Rent expense included in cost of sales was $61.1 million, $53.6 million and $45.8
million for 2020, 2019 and 2018, respectively.

     1.    Purchase Commitments

     We have purchase commitments incident to the ordinary conduct of business. The prices of such purchase commitments are
based on indices, which are determined from the prevailing market rates for the associated products. These commitments generally
have provisions permitting cancellation upon satisfaction of notification requirements.
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     2.    Legal Matters

      From time to time, we are party to routine litigation incidental to the normal course of our business, consisting primarily of claims
for personal injury or exposure to our chemical products or feedstocks, and environmental matters. We intend to defend these actions
vigorously and believe, based on currently available information, that adverse results or judgments from such actions, if any, will not
be material to our financial condition, results of operations or cash flows. We record reserves for contingencies when information
available indicates that a loss is probable, and the amount of the loss is reasonably estimable. Management’s judgment may prove
materially inaccurate, and such judgment is subject to the uncertainty of litigation. Many of the personal injury or product exposure
lawsuits to which we are a party are covered by insurance subject to certain self-insured retention amounts.
      Our contractual arrangements with our customers and suppliers are typically very complicated and can include, for example,
complex index-based pricing formulas that determine the price for our feedstocks or finished products. Due to the complicated nature
of our contractual arrangements, we can, from time to time, be involved in disputes with our customers and suppliers regarding the
interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the normal course of our business,
seldom result in actual formal litigation, and are typically resolved in the context of the broader commercial relationship that we have
with the customer or supplier.
      On December 10, 2020, the Company received a notice from a customer asserting a purported breach of the parties’ MTBE sales
agreement. The customer asserts that it had properly exercised the right of first refusal provided in the sales agreement and that the
Company’s subsequent agreement with another customer constitutes a breach of the sales agreement. The Company disputes and
intends to aggressively defend the customer’s possible claim. The parties are working to set up a mediation as required in the dispute
resolution provisions of the sales agreement. No lawsuit has been filed.
      As described above, we record reserves for contingencies when information available indicates that a loss is probable, and the
amount of the loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment is subject to
the uncertainty of the dispute resolution or litigation process. As of December 31, 2020, we have not recognized any material reserves
related to unresolved disputes with customers and suppliers.
       Sixty-one private party lawsuits, including five class actions, are pending in Texas state court related to the November 2019
incident at our Port Neches plant. The petitions bring a variety of claims sounding in negligence, gross negligence, nuisance, and
trespass. The plaintiffs in these cases allege in the most general way that we were negligent and/or grossly negligent by breaching
duties to, among other things, (1) maintain unspecified plant equipment, (2) develop, implement, and maintain proper procedures for
storage of chemicals at the facility, and (3) warn the public concerning the risks and dangers of the chemicals maintained at the
facility. The petitions also allege that these and other breaches caused damages, including property damage, medical care and expenses,
pain and suffering, physical impairment, lost earnings, disfigurement, medical monitoring, mental anguish, and injury to
business. Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas
state court cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated
the 128th District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred
lawsuits – which typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual
plaintiff cases now pending. Twenty-seven of the sixty-one private party lawsuits, including approximately 565 individual plaintiffs,
are awaiting transfer to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of
subrogation claims filed by homeowners’ insurance companies. The Court has been conducting monthly status conferences. The
Court entered a Case Management Order on November 17, 2020 setting a schedule and parameters for discovery. A hearing on class
certification is not expected before Q4 2021 at the earliest.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA)
served the Company with an information request under Section 114 of the federal Clean Air Act. The request seeks information about
the incident as well as the Company’s Risk Management Program compliance record at both the Port Neches and Houston facilities.
Such requests are typically the first step in EPA enforcement. We anticipate that there likely will be additional enforcement matters,
claims for cost recovery, and/or claims for natural resources damages from TCEQ, EPA, and OSHA.
     Because these lawsuits, which we intend to vigorously defend, are in their early stages, we are unable to determine if a loss is
probable or estimate the amount or range of potential loss and therefore have not established any reserves, but we believe the amounts
involved may be material.
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      Beyond the matters in active litigation, the Company has received other claims and demands, through its formal claims process
and otherwise, from individuals, companies, and insurers claiming damages as a result of the incident. The Company is in the process
of reviewing these claims. It is possible some of these claims may result in additional litigation.

     3.       Environmental and Safety Matters

      Our Company is subject to federal, state, local and foreign laws, regulations, rules and ordinances from various governing agencies
that regulate human health, safety, security and the environment. These include, for example:

          •     The federal Resource Conservation and Recovery Act (“RCRA”) and comparable state laws that impose requirements for
                the generation, handling, transportation, treatment, storage, disposal and cleanup of waste from our facilities.
          •     The federal Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”) also known as
                “Superfund,” and comparable state laws that regulate the cleanup of hazardous substances that may have been released at
                properties currently or previously owned or operated by us or locations to which we have sent waste for disposal.
                    ▪    Under CERCLA and comparable State of Texas Laws, at this time TPC has not identified any liability of material
                         significance for previously disposed substances and wastes, or for remediation of contaminated property to
                         prevent future contamination.
          •     The federal Clean Water Act (“CWA”) and analogous state laws and regulations that impose detailed permit requirements
                and strict controls on discharges of wastewater from our facilities.
          •     The federal Clean Air Act (“CAA”) and comparable state laws and regulations that impose obligations related to air
                emissions, including federal and state laws and regulations that recently took effect or are currently under development to
                address greenhouse gas (“GHG”) emissions.
                    ▪    At this time, we anticipate that the Environmental Protection Agency’s (“EPA”) recently adopted Boiler
                         Maximum Achievable Control Technology (“MACT”) regulation package will only require the Company to
                         implement work practices, recordkeeping, and reporting, and will not require any substantial capital investments.
                    ▪    Regarding GHG emission requirements, the Company is subject to annual reporting of emissions and to air
                         permitting for projects but currently is not subject to any other requirements.
                    ▪    Air quality standards intended to protect the environment, including the National Ambient Air Quality Standards
                         (“NAAQS”) promulgated by the EPA to address ambient air quality concerns, continue to evolve. The federal
                         CAA requires that the EPA periodically review the science upon which the NAAQS are based and the standards
                         themselves. As a result of this review, the EPA has in recent years lowered certain NAAQS, including the
                         standards for sulfur dioxide, ozone and particulate matter, and may do so again in the future, for these or other
                         pollutants. Changes to the NAAQS may increase the cost of our operations, require the installation of emissions
                         controls, or reduce or delay available business opportunities.
          •     Chemical product safety regulation including the federal Toxic Substances Control Act (“TSCA”) and the Emergency
                Planning and Community Right-to-Know Act (“EPCRA”) that impose notification, reporting, record-keeping and testing
                requirements, and restrictions relating to chemical substances and/or mixtures as well as certain reporting on the storage,
                use and releases of hazardous chemicals to federal, state, and local governments.
                    ▪    TSCA reform legislation was enacted in June 2016, expanding EPA’s authority to review and regulate new and
                         existing chemicals. EPA’s implementation of this legislation may increase the cost of our operations, require
                         changes to our supply chain and logistics practices or delay available business opportunities.
                    ▪    Similar compliance laws related to chemical product safety in jurisdictions outside the United States where our
                         products are distributed such as the European Union’s regulatory framework concerning the Registration,
                         Evaluation and Authorization of Chemicals (known as REACH), may increase the cost of our operations, require
                         changes to our supply chain and logistics practices or delay available business opportunities.
                    ▪    In June 2013, the EPA finalized its second list of chemicals subject to its Endocrine Disruptor Screening Program
                         (“EDSP”) and included MTBE, a major product for the Company, in this final list. EPA will issue test orders to
                         manufacturers of MTBE at some time in the future, at which time TPC will be required to embark on an initial
                         two-year test program along with other MTBE manufacturers. TPC has joined a consortium with the other major
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                      manufacturers of MTBE to manage the test program and share costs. Based on the results of the initial testing
                      to determine if MTBE exhibits endocrine disrupting properties, EPA may decide some years in the future to
                      include MTBE in a second round of tests to evaluate MTBE’s potency as a potential endocrine disruptor.
         •   The Occupational Safety and Health Act and comparable state statutes, laws and regulations including OSHA’s Process
             Safety Management standard which imposes requirements on regulated entities relating to the management of hazards
             associated with highly hazardous chemicals.
                  ▪   The Company expects to incur capital expenditures in the future as part of our ongoing baseline capital
                      expenditure program to address the findings of ongoing process hazard assessments, including expenditures to
                      upgrade equipment and instrumentation.
         •   United States Department of Homeland Security’s Marine Transportation Security Act (“MTSA”) which establishes
             standards for security at marine-based chemical facilities.
      We are committed to maintaining compliance with applicable environmental, health, safety (including process safety) and security
(“EHS&S”) legal requirements, and we have developed policies and management systems intended to identify the various EHS&S legal
requirements applicable to our operations and facilities. We work to enhance and assure compliance with applicable requirements,
ensure the safety of our employees, contractors, community neighbors and customers, and minimize the generation of wastes, the
emission of air contaminants and the discharge of pollutants. These EHS&S management systems also serve to foster efficiency and
improvement and to reduce operating risks.
      In the ordinary course of business, we undertake frequent environmental inspections and monitoring and are sometimes subject to
investigations by governmental authorities. In addition, our production facilities require a number of environmental permits and
authorizations that are subject to renewal, modification and, in certain circumstances, revocation. Actual or alleged violations of
environmental laws or permit requirements or the discovery of releases of hazardous substances at or from our facilities could result in
restrictions or prohibitions on plant operations, significant remedial expenditures, substantial civil or criminal sanctions, as well as,
under some environmental laws, the assessment of strict and/or joint and several liability. Moreover, changes in environmental
regulations or the terms of our environmental permits could inhibit or interrupt our operations or require us to modify our facilities or
operations. Accordingly, environmental or regulatory matters may cause us to incur significant unanticipated losses, costs or liabilities.
      In addition to the requirements imposed upon us by law, we also enter into other agreements from time to time with state and local
environmental agencies either to avoid the risks of potential regulatory action against us or to implement improvements that exceed
current legal requirements. To that end, in April 2015, we signed an Agreed Order with the TCEQ requiring us to achieve continued
reductions in our emissions of butadiene and other volatile organic compounds at our Houston Facility and undertook a new five-year,
$20 million incremental spending program on environmental performance projects. The Agreed Order is in effect for five years from
the effective date of the order or until compliance with all terms and conditions of the order, whichever is later. We expect to implement
the required measures and incur the incremental spending through a combination of (a) increases in our annual maintenance and capital
expenditures throughout the five-year period and (b) additional expenditures in connection with our regularly scheduled turnarounds
(typically occurring every three to four years). We expect to fund the incremental expenditures from our operations and/or from
borrowings under the Revolving Credit Facility and do not expect the expenditures to have a material impact on our operations or
liquidity.
      The Company has agreed to indemnify third parties for environmental and other liabilities pursuant to various agreements,
including asset divestiture agreements and leases. Many of these obligations contain monetary and/or time limitations, but others do
not provide for those limitations. The Company is not aware of any probable and reasonably estimable losses associated with any of
these obligations.
     The Occupational Safety and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port
Neches plant in December 2019. OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations
and three willful citations with total proposed penalties of approximately $0.5 million. The Company has appealed these citations.
We strongly disagree with the characterization of some of the alleged violations as “willful.” We anticipate future engagement with
OSHA regarding these issues.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA)

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served the Company with an information request under Section 114 of the federal Clean Air Act. The request seeks information about
the incident as well as the Company’s Risk Management Program compliance record at both the Port Neches and Houston facilities.
Such requests are typically the first step in EPA enforcement. We anticipate that there likely will be additional enforcement matters,
claims for cost recovery, and/or claims for natural resources damages from TCEQ, EPA, and OSHA. The Company may have insurance
coverage for some of the foregoing claims for environmental cleanup.

NOTE R – EMPLOYEE BENEFITS

      1.    Retirement Plan

      We sponsor a defined contribution plan that is available to all full-time employees on the date of hire. The plan allows employees
to contribute up to 60% of their base compensation to a tax-deferred fund not to exceed $19,500 for 2020, $19,000 for 2019, and $18,500
for 2018.
     For non-represented employees, we match at the rate of one dollar for each dollar contributed by the employee up to 5% of the
employee’s annual earnings. Non-represented employees also participate in our discretionary plan which, based on business
performance, may contribute up to 6% of the employee’s annual earnings.
     For represented employees, we match at a rate of one dollar for each dollar contributed by the employee up to 7% of the employee’s
annual earnings. Represented employees do not participate in the discretionary plan.
      Company contributions for both non-represented and represented employees vest immediately.
     Our expense to match employee contributions, including discretionary contributions, during the years ended December 31, 2020,
2019 and 2018 was $2.0 million, $5.6 million and $4.7 million, respectively.

      2.    Stock Compensation Plans

      On December 29, 2012, Parent adopted the 2012 Long-Term Incentive Plan (the “2012 Plan”), which permits it to grant awards
of profit interests to certain of the Company’s officers and employees, in the form of Class B Management Interests and Class C
Management Interests (“Class B and Class C Interests,” collectively). The Class B and Class C Interests under the 2012 Plan constitute
performance-based awards, and the amount of payouts for these awards is based on the amount of distributable assets available upon
the occurrence of an Exit Event (defined below) to the general and limited partners at the time of their disposal, distribution or sale of
their ownership stake in the Company.
       We utilized a Monte Carlo simulation model to estimate the grant date fair value of Class B and Class C Interests granted on
December 29, 2012. The key factors that will create value in these awards include: (1) the year of the “Exit Event” (either an initial
public offering or subsequent public offering of the equity of the Company, or the merger, consolidation, sale of interests or sale of the
Company), (2) the probability that an Exit Event will occur in a particular year, which is based on management’s assessment of when
this is likely to occur, (3) the probability that the Exit Event will result in a sufficient return on invested capital to trigger a payout to the
Class B and Class C Interests, (4) the risk-free interest rate, which is based on the U.S. Treasury yield curve in effect at the time of grant
with maturities equal to the grant’s expected life, and (5) the ultimate exit value of the Company, which was estimated using a Monte
Carlo simulation.
     As of December 31, 2012, based on the results of the Monte Carlo simulation, we determined that no Exit Event timing or valuation
is more probable than any other and, therefore, were unable to determine a grant date fair value for the awards granted under the 2012
Plan and did not recognize any expense related to the awards in the year ended December 31, 2012. Additionally, there have been no
changes in events or circumstances since that original assessment as of December 31, 2012 that allowed us to determine an Exit Event
timing or valuation that is more probable than any other and, therefore, have been unable to determine a grant date fair value for any
awards granted under the 2012 Plan. Consequently, we did not recognize any expense related to the awards for the years ended
December 31, 2020, 2019 and 2018.
     The Company will continue to review the assumptions used to assess value of the awards granted under the 2012 Long-Term
Incentive Plan and if at any point in the future we are able to determine a probable timing or valuation of an Exit Event we will value
the awards and recognize compensation expense.




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     Defined Benefit Pension Plan

      We sponsor a cash balance plan (the “Cash Balance Plan”) for the benefit of represented employees at the Port Neches facility.
Participation in the Cash Balance Plan is subject to terms of negotiated contracts. For participating employees, the Cash Balance Plan
benefit formula provides annual pay credits from 4% to 12% of eligible pay, depending on age and service, plus accrued interest. The
plan’s assets are maintained by trustees in separately managed portfolios consisting of equity and fixed income securities.
     Provided below, as of and for the years ended, were the components of the changes in the benefit obligation and plan assets and a
reconciliation of the funded status to the liabilities recognized in the consolidated balance sheets (in thousands):

                                                                                                December 31,
                                                                                            2020           2019
                      Change in benefit obligation:
                       Benefit obligation at beginning of period                        $    22,647         $   19,082
                       Service cost                                                             946              1,006
                       Interest cost                                                            429                652
                       Benefits paid                                                         (6,231)            (1,112)
                       Actuarial loss                                                         1,119              3,019
                       Plan amendments                                                         (703)                 -
                        Benefit obligation at end of period                                  18,207             22,647
                      Change in plan assets:
                       Fair value of plan assets at beginning of period                      14,777             12,176
                       Actual return on plan assets                                             317              1,615
                       Employer contributions                                                   851              2,098
                       Benefits paid                                                         (6,231)            (1,112)
                        Fair value of plan assets at end of period                            9,714             14,777
                      Unfunded status, end of period                                $         (8,493)   $       (7,870)

                      Reconciliation of accrued liability:
                       Accrued liability at beginning of period                         $       (367)       $   (1,080)
                       Net periodic pension cost for the period                               (1,174)           (1,385)
                       Total one-time costs                                                   (1,839)              -
                       Employer contributions                                                    851             2,098
                        Accrued liability at end of period                                    (2,529)             (367)
                      Accumulated amounts recognized in OCI (before tax)                      (5,964)           (7,503)
                      Net liability recognized in Consolidated Balance Sheets       $         (8,493)   $       (7,870)




    The net pension liability at both December 31, 2020 and 2019 were recorded in accrued liabilities.

     On April 30, 2020, the Company terminated 68 employees as part of a Reduction in Force (“RIF”) resulting from the Port Neches
incident. The Cash Balance Plan was re-measured as of April 30, 2020 to reflect settlement accounting, retroactive plan amendments,
and the RIF.
     Two plan amendments were executed in 2020 and resulted in a $702.2 million decrease in the projected benefit obligation .
      The one-time costs incurred of $1.8 million relate to the RIF and the resulting changes to the Cash Balance Plan. A curtailment
gain of $0.5 million was triggered at the April 30, 2020 RIF when the Cash Balance Plan’s expected future years of service decreased
by 54%. Additionally, settlement accounting was triggered initially on April 30 th when eligible employees elected a lump sum payment
and the lump sum payouts from the Cash Balance Plan exceeded the expected sum of the plan’s service cost and interest cost.
Settlement accounting was triggered two more times in 2020 for total settlement charges of $2.4 million.
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     Provided below, for the periods presented, were the components of net pension expense (in thousands):

                                                                           Year Ended December 31,
                                                                        2020            2019            2018
                         Components of net pension expense:
                           Service cost                           $          946    $    1,006      $     1,202
                           Interest cost                                     429           652              490
                           Expected return on assets                        (753)         (681)            (789)
                           Amortization of prior service cost                (43)          (35)               -
                           Amortization of net actuarial loss                595           443              135
                                                                  $        1,174    $    1,385      $     1,038


     The projected net pension expense for the year ending December 31, 2021 consists of the following components (in thousands):

                               Service cost                                               $          728
                               Interest cost                                                         299
                               Expected return on assets                                            (634)
                               Amortization of prior service costs                                   (47)
                               Amortization of net actuarial loss                                    503
                                                                                          $         849



     The following actuarial assumptions were used to determine benefit obligations as of the dates presented:

                                                                            December 31,
                                                                        2020           2019

                             Discount rate                              1.81%           2.70%
                             Rate of compensation increase              4.00%           4.50%


     The following actuarial assumptions were used to determine net periodic benefit cost for the periods presented:

                                                                          Year Ended December 31,
                                                                   2020             2019          2018

                           Discount rate                          2.70%             3.81%           3.14%
                           Expected return on plan assets         6.50%             6.50%           6.50%
                           Rate of compensation increase          4.50%             4.50%           4.50%


     The measurement date for our Cash Balance Plan is as of the end of our fiscal year. Our Cash Balance Plan assets are managed
by outside investment managers. Our investment strategy with respect to the Cash Balance Plan assets is to maximize returns while
preserving principal. At December 31, 2020, Cash Balance Plan assets were invested 89.0% in equity mutual funds, 7.9% in fixed
income mutual funds and 3.1% in cash equivalents. The expected return on assets assumption was determined based on the anticipated
performance of the various asset classes in the Cash Balance Plan’s portfolio.
      The following table presents the Cash Balance Plan assets using the fair value hierarchy as of December 31, 2020. The fair value
hierarchy has three levels based on the reliability of the inputs used to determine fair value. See Note N for a brief description of the
three levels under the fair value hierarchy.

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                           Category                              Total            Level 1       Level 2         Level 3

                           Cash and equivalents              $       302      $         302     $     -         $   -
                           Mutual funds - equity                   8,643              8,643           -             -
                           Mutual funds - fixed income               769                -             -             769

                                                             $     9,714      $       8,945     $     -         $   769


     Provided below, for the periods presented, are benefit payments expected to be paid to eligible plan participants under our Cash
Balance Plan (in thousands):
                                             2021                                 $         3,429
                                             2022                                             557
                                             2023                                           1,827
                                             2024                                             539
                                             2025                                           1,707
                                             2026 and thereafter                            7,703


NOTE S – CONCENTRATION RISKS

      We had sales to customers outside the United States during years ended December 31, 2020, 2019 and 2018 of $39.6 million,
$123.5 million and $143.2 million, respectively. Our top five customers accounted for an aggregate of 47.2%, 43.3%, and 50.6% of
our revenues for years ended December 31, 2020, 2019 and 2018, respectively.

     Sales to customers who accounted for at least 10% of our sales for the periods presented were as follows:

                                                                            Year Ended December 31,
                                                                        2020         2019         2018
                             Trafigura Trading, LLC                     15%                 *              *
                             Afton Chemical Corporation                 11%                 *              *
                             Lukoil Pan Americas, LLC                    *               14%              17%
                             Goodyear - SRI Global                       *               10%              10%


                           * Less than 10%

     We perform ongoing credit evaluations of our customers and generally do not require collateral for accounts receivable.
Historically, our credit losses have been minimal.

     Customers who accounted for at least 10% of our accounts receivable balance, as of the dates presented were as follows:

                                                                                          December 31,
                                                                                      2020           2019
                           Afton Chemical Corporation                                 18%                 15%
                           Goodyear - SRI Global                                      12%                  *

                           * Less than 10%




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     A small number of suppliers for our feedstocks account for a significant percentage of our feedstock purchases. Our top five
suppliers accounted for an aggregate of 65.6%, 48.3%, and 46.5% of our vendor feedstock purchases in the years ended December 31,
2020, 2019 and 2018, respectively.
      Some of the employees at our Port Neches facility are covered by collective bargaining agreements that expire on January 31,
2022. To the extent that we experience work stoppages in the future as a result of labor disagreements, a prolonged labor disturbance
at one or more of our facilities could have a material adverse effect on our operations.
NOTE T – SUBSEQUENT EVENTS

     Technical Center Fire

      Early on the morning of January 9, 2021, the TPC Houston operations team responded to a fire alarm in the Technical Center.
The Technical Center, located on the southwest side of the facility, which contains quality control and research and development
activities, had a fire in the mechanical room. TPC’s Emergency Response Team responded to the incident with assistance from the
Houston Fire Department. The Company coordinated with local officials and emergency responders to quickly resolve the issue. There
were no injuries to TPC employees and no offsite or environmental impacts; however, one emergency responder sustained an injury
while responding to the event. As a result of the fire, there is considerable damage to the facility and the housed equipment.
Fortunately, over 75% of the equipment is salvageable, but, in the absence of a functioning laboratory the Company had to secure short
term outsourcing solutions for all of the quality control testing needs. Since late February, however, we have replaced the majority of
the outsourced testing by inhouse testing in a combination of TPC and rental facilities, substantially reducing the incremental costs.
Between response costs, outsourcing costs, rental expenses and the cost of rebuilding the Technical Center, we estimate that the fire will
cost the Company approximately $11.5 million.

     C4 Processing Agreement

     In January 2021 TPC signed a long-term contract with a third-party crude C4 toll processor and began sending crude C4’s to this
processor through enhancements made to the Port Neches terminal in the second phase of the refurbishment of these assets. The
agreement uses TPC Group’s logistic and storage facilities, along with its commercial agreements for feedstock and product sales, to
supply a steady stream of crude C4’s to the third-party processor. The agreement uses available butadiene extraction capacity to process
the Crude C4 and return the finished butadiene and raffinate products to TPC Group for distribution.

     Refinancing

     On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.875% Notes

     On February 2, 2021 the 10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875%
Notes and to make certain other changes to certain covenants contained therein. Simultaneously, TPCGI issued and sold $153 million
aggregate principal amount of the 10.875% Notes to certain holders of the 10.5% Notes. The 10.875% Notes are guaranteed on a senior
unsecured basis by TPC Holdings, Inc. and on a senior secured basis by all of the Company’s existing or future direct and ind irect
domestic subsidiaries, other than certain excluded subsidiaries (collectively, the “Subsidiary Guarantors”).
      The net proceeds from the offering were used to repay and terminate the $70 million Term Loan, to pay all fees and expenses
related to the transactions and for general corporate purposes. Interest on the 10.875% Notes began accruing on the issue date and is
payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each year, commencing on May 1, 2021. The 10.875%
Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness and the
10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes are effectively subordinated to the ABL Facility
and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by assets or properties not constituting
collateral securing the 10.5% Notes to the extent of the value of such assets and properties.

     February Weather Event

     In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter weather.

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Due to the extreme weather, our facilities in the region experienced disruption to their operations, resulting in lost production and
additional maintenance costs. We anticipate that the total financial impact of this freeze event, between incremental costs for repairs,
higher energy costs and lost volumes, will be between $50 million and $60 million.




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               TPC Group Inc.
         QUARTERLY REPORT
         Quarter ended September 30, 2021




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Exhibits

Exhibit I – TPC Group Inc. Annual Report for the year ended December 31, 2020




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                                                      DEFINITIONS OF TERMS

     Capitalized and other terms used throughout this Quarterly Report, unless the specific context otherwise requires or indicates have
the meanings ascribed to them below:

     •    ABL – our asset-based loan facility originally entered in December 2012, which was repaid, amended, and restated in
          conjunction with the refinancing of our debt on August 2, 2019 and again amended on February 2, 2021 to permit the issuance
          of the 10.875% Notes. The ABL is scheduled to mature in August 2024. For a detailed description of the ABL see Note G
          to our condensed consolidated financial statements on pages 33-38 of this Quarterly Report for the quarter ended September
          30, 2021;
     •    ASC - Accounting Standards Codification, which is the sole source of authoritative generally accepted accounting principles
          in the United States, other than rules and regulations issued by the Securities and Exchange Commission (SEC) that apply to
          SEC registrants;
     •    ASU - Accounting Standards Update, which the Financial Accounting Standards Board (FASB) issues to communicate
          changes to the ASC. ASUs are not authoritative standards;
     •    Company, us, we, and our - TPC Group Inc. and its subsidiaries;
     •    GAAP – Generally Accepted Accounting Principles in the United States;
     •    Gross profit contribution (“GPC”) - as used herein, is defined as revenue less cost of sales as reported in our consolidated
          statements of operations and comprehensive income. GPC is the residual amount that is available, after deducting the
          variable costs to produce and distribute our products from revenue, to cover all other expenses;
     •    Holdings - TPC Holdings Inc., a Delaware corporation, which, upon consummation of the Merger, became the direct parent
          of TPCGI. Holdings and Parent are affiliates of our Sponsors formed by investment funds affiliated with our Sponsors in
          order to acquire TPCGI;
     •    Merger – the December 20, 2012 merger of Sawgrass Merger Sub Inc., a Delaware corporation, which merged with and into
          TPCGI, with TPCGI surviving the Merger as a direct wholly-owned subsidiary of Holdings and an indirect wholly-owned
          subsidiary of Parent;
     •    New Term Loan – the Delayed Draw Term Loan Facility entered into on February 3, 2020, which provided for a delayed
          draw term loan of up to $70 million for a term of one year, and which the outstanding balance of $70 million was repaid with
          the net proceeds from issuance of the 10.875% Notes;
     •    Old Term Loan – the Senior Secured Delayed Draw Term Loan Facility, scheduled to mature in December 2020, for which
          the outstanding balance of $50 million was repaid with the net proceeds from issuance of the 10.5% Notes and which was
          terminated in conjunction with the refinancing of our debt on August 2, 2019;
     •    Parent - Sawgrass Holdings LP, a Delaware limited partnership, which, upon consummation of the Merger became the direct
          parent of Holdings and indirect parent of TPCGI. Parent and Holdings are affiliates of our Sponsors formed by investment
          funds affiliated with our Sponsors in order to acquire TPCGI;
     •    Sponsors - First Reserve Management, L.P. and SK Capital Partners;
     •    TPCGI - TPC Group Inc., a Delaware corporation, not including any of its subsidiaries;
     •    TPCGLLC - TPC Group LLC, a Texas limited liability company and the principal subsidiary of TPCGI;
     •    TPCPF - TPC Phoenix Fuels LLC, a Texas limited liability company and wholly owned subsidiary of TPCGLLC;
     •    8.75% Notes – the $805 million principal amount of Senior Secured Notes due in December 2020, which were redeemed
          with the net proceeds from issuance of the 10.5% Notes in conjunction with the refinancing of our debt on August 2, 2019;
     •    10.5% Notes – the $930 million principal amount of Senior Secured Notes due August 1, 2024 issued in conjunction with the
          refinancing of our debt on August 2, 2019. For a detailed description of the 10.5% Notes see Note G to our condensed
          consolidated financial statements on pages 33-38 of this Quarterly Report for the quarter ended September 30, 2021;
     •    10.875% Notes – the $153 million principal amount of Senior Secured Notes due August 1, 2024, which were issued on
          February 2, 2021 and for which a portion of the proceeds were used to repay and terminate the New Term Loan. For a
          detailed description of the 10.875% Notes see Note G to our condensed consolidated financial statements on pages 33-38 of
          this Quarterly Report for the quarter ended September 30, 2021.

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                                                          Explanatory Note

       This Quarterly Report is highly confidential and has been prepared pursuant to the terms of the Indenture (the “10.5% Indenture”)
dated as of August 2, 2019, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and U.S.
Bank, National Association, as trustee and collateral agent, with respect to the 10.5% Notes, as amended by the Supplemental Indenture
dated as of February 2, 2021, and the Indenture (the “10.875% Indenture” and collectively with the 10.5% Indenture, the “Indentures”)
dated as of February 2, 2021, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and the
U.S. Bank, National Association, as trustee and collateral agent, with respect to the 10.875% Notes. Unlike companies with securities
that are registered under the Securities Exchange Act of 1934 (the “Exchange Act”) or traded on a national securities exchange, the
Company is not required to file reports with the Securities and Exchange Commission and, except as provided under the Indentures, the
Company is not required to deliver any reports to holders of its securities. As a result, this Quarterly Report does not include all the
information that would be required to be included in a Quarterly Report on Form 10-Q that is filed pursuant to the Exchange Act,
including, among other things, a description of the material risks faced by the Company. Moreover, this Quarterly Report does not
include all the information that may be material to holders of the Company’s securities, including the 10.5% Notes and the 10.875%
Notes, and should not be relied upon by any person in making an investment decision with respect to the Company’s securities. Except
as strictly required pursuant to the terms of the Indentures, the Company undertakes no obligation to update or revise any information
contained in this Quarterly Report. The Company’s Annual Report for the year ended December 31, 2020, which is attached hereto as
Exhibit I, is included for informational purposes only and has not been updated or revised.
      This Quarterly Report shall not constitute an offer to sell, or the solicitation of an offer to buy, any securities of the Company,
including the 10.5% Notes and the 10.875% Notes. Distribution of this Quarterly Report to any person other than holders of the 10.5%
Notes and the 10.875% Notes is unauthorized and any disclosure of any of its contents without the Company’s prior written consent is
prohibited. By accepting delivery of this Quarterly Report, you agree to the foregoing and not to make any photocopies, in whole or in
part, of this Quarterly Report or any documents or materials relating to the Company that are provided in connection with this Quarterly
Report.




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                            CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS

      This Quarterly Report contains forward-looking statements that do not directly or exclusively relate to historical facts. You can
typically identify forward-looking statements by the use of forward-looking words, such as “will,” “may,” “might,” “should,” “can,”
“could,” “project,” “believe,” “anticipate,” “expect,” “estimate,” “continue,” “potential,” “plan,” “forecast” and other words of similar
import. Forward-looking statements include information concerning possible or assumed future results of our operations, including the
following:

         •   business strategies;
         •   operating and growth initiatives and opportunities, including proposed capital projects;
         •   existing and expected competition and competitive position;
         •   market outlook and trends in our industry;
         •   expected financial condition;
         •   future cash flows, including insurance proceeds;
         •   liquidity needs, financing sources and availability;
         •   expected results of operations;
         •   future capital and other expenditures;
         •   availability and price of raw materials and inventories;
         •   the business cyclicality of the petrochemicals industry;
         •   effects of seasonality;
         •   plans and objectives of management or the sponsors;
         •   future compliance with orders and agreements with regulatory agencies;
         •   environmental matters;
         •   the impact of the COVID-19 pandemic on the global economy;
         •   expected outcomes of insurance settlements, legal, environmental or regulatory proceedings and their expected effects on
             our results of operations;
         •   expectations, strategies and plans for individual assets and products (including the ability to maintain plant utilization
             rates), business segments and the company as a whole;
         •   anticipated restructuring, divestiture and consolidation activities;
         •   cost reduction and control efforts and targets;
         •   compliance and other costs and potential disruption or interruption of production or operation due to accident, fires,
             explosions, interruptions in sources of raw materials, cyber security incidents, terrorism, political unrest, natural disasters
             or other unforeseen events; and
         •   any other statements regarding future growth, future cash needs, future operations, business plans and future financial
             results.

      These forward-looking statements represent our intentions, plans, expectations, assumptions and beliefs about future events and
are subject to risks, uncertainties and other factors, including risks and uncertainties such as volatility in the petrochemicals industry,
limitations on the Company’s access to capital, the timing and amount of insurance proceeds received, the effects of competition,
leverage and debt service, general economic conditions, third-party claims, governmental litigation and investigations, and extensive
environmental, health and safety laws and regulations. Many of those factors are outside of our control and could cause actual results
to differ materially from the results expressed or implied by the forward-looking statements.
      In light of these risks, uncertainties and assumptions, the events described in the forward-looking statements might not occur or
might occur to a different extent or at a different time than we have described. Except as may be required by applicable law or
agreement, we undertake no obligation to update or revise any forward-looking statements, whether as a result of new information,
future events or otherwise.




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                                                    EBITDA AND ADJUSTED EBITDA

      EBITDA and Adjusted EBITDA are not measures computed in accordance with GAAP. A non-GAAP financial measure is a
numerical measure of historical or future financial performance, financial position or cash flows that excludes amounts, or is subject to
adjustments that have the effect of excluding amounts, that are included in the most directly comparable measure calculated and
presented in accordance with GAAP in the balance sheets, statements of operations, or statements of cash flows (or equivalent
statements); or includes amounts, or is subject to adjustments that have the effect of including amounts, that are excluded from the most
directly comparable measure so calculated and presented.

      We are including a presentation of EBITDA and Adjusted EBITDA in this Quarterly Report because their presentation is required
under the Indentures governing the 10.5% Notes and the 10.875% Notes. In addition, the Indentures contain debt incurrence ratios that
are calculated by reference to Adjusted EBITDA. Non-compliance with the debt incurrence ratios contained in the Indentures would
prohibit us from being able to incur additional indebtedness other than pursuant to specified exceptions.

      We calculate EBITDA as earnings before interest, taxes, depreciation and amortization and we calculate Adjusted EBITDA as
EBITDA, adjusted to remove or add back certain items, including the impact of butadiene price changes. These items are identified
below in the reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss), the GAAP measure most directly comparable to
EBITDA and Adjusted EBITDA. Our calculation of EBITDA and Adjusted EBITDA may be different from the calculations used by
other companies; therefore, they may not be comparable to other companies.

      The following table provides a reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss) for the periods specified
(in thousands).

                                                                                 Three Months Ended                Nine Months Ended
                                                                                   September 30,                     September 30,
                                                                                  2021        2020                 2021         2020

              Net income (loss)                                                 $ (32,298)     $ (23,395)      $ (152,254)    $ (112,298)
                Income tax expense (benefit)                                        (10,612)      (6,498)          (39,762)       (29,445)
                Interest expense, net                                                30,888       29,383            89,458         83,637
                Depreciation and amortization (1)                                    18,653       18,953            57,072         52,576
              EBITDA                                                                 6,631        18,443           (45,486)        (5,530)
                Impact of butadiene price changes (2)                                (8,406)      (1,823)          (11,600)         8,751
                Port Neches Incident (3)                                                109       (1,160)           35,175         24,859
                Non-recurring items (4)                                               7,181        6,431            77,831          6,431

              Adjusted EBITDA                                                   $    5,515     $ 21,891        $   55,920     $    34,511




    (1) Includes depreciation, amortization of deferred turnaround and catalyst costs and amortization of patents for all periods presented.

    (2) Adjustment to remove the estimated temporary impact on our operating results of month-to-month changes in the contract price of butadiene.
        For further discussion see “Management’s Discussion and Analysis of Financial Condition and Results of Operations”.

    (3) Adjustment to remove the losses and costs incurred, net of actual and probable insurance recoveries, for the three and nine months ended
        September 30, 2021 and 2020, respectively, as a direct result of the Port Neches incident (discussed on pages 8-12).

    (4) Adjustments to remove the impact of certain non-recurring items. Such non-recurring items for the three and nine months ended September
        30, 2021 include $6.4 million and $76.3 million, respectively, of costs and volume adjustments related to February’s freeze event and
        incremental expenses directly related to our response to the COVID-19 pandemic of $0.2 million and $0.6 million, respectively. Non-
        recurring items for the three and nine-month periods ended September 30, 2020 include incremental expenses recognized in the third quarter
        of 2020 directly related to the impact of Hurricane Laura and Tropical Storm Beta of $0.4 million, the estimated impact of lost sales due to
        Hurricane Laura and Tropical Storm Beta of $4.4 million, and the incremental expenses directly related to our response to the COVID-19
        pandemic of $1.6 million.


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  MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

      The following discussion and analysis of our financial condition and results of operations should be read in conjunction with the
unaudited condensed consolidated financial statements and accompanying notes included in this Quarterly Report for the quarter ended
September 30, 2021, as well as the audited consolidated financial statements and related notes included in our Annual Report for the
year ended December 31, 2020 (attached as Exhibit I).

     Overview

     We are a leading North American producer of value-added products derived from petrochemical raw materials such as C4
hydrocarbons. Our products are sold to producers of a wide range of performance, specialty and intermediate products, including
synthetic rubber, fuels, lubricant additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 8-12).
      We also provide critical infrastructure and logistics services along the Gulf Coast. Our Houston processing facility, as well as
our terminals, provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers
and raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and
ocean-going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served
by barges.
     The primary drivers of our businesses are general economic and industrial growth. For a more detailed discussion, see page 9 of
our Annual Report for the year ended December 31, 2020 (attached as Exhibit I).

Material Industry and Business Trends

     For a detailed historical perspective of material industry trends, see “Management’s Discussion and Analysis of Financial
Condition and Results of Operations”, discussed on pages 9-11 of our Annual Report for the year ended December 31, 2020 (attached
as Exhibit I).

Current Market and Business Conditions

     For the most part, the effects of COVID-19 on our operating results have dissipated. Demand in most business segments, with
exception of our fuels business, is now back to pre-COVID levels. Commodity pricing, which had provided good returns during the
second quarter and early into the third quarter, has now reversed course. Crude oil and natural gas prices are now well above pre-
COVID levels and have led to significant price increases in two of our key feedstocks – isobutane and methanol - resulting in a significant
impact on our fuels business. Supply-demand fundamentals have been strong in our butadiene, butene-1 and PIB businesses along with
DIB. This was beneficial to product prices, particularly butadiene, in the third quarter of 2021.
      Despite the current mitigation of challenges related to COVID, we have continued to experience several setbacks in the third
quarter as we are dealing with the after-effects of the first quarter freeze and several other operational issues. Specifically, we have
experienced repeated outages with our boilers in our utilities area. Boiler 9, our oldest boiler, experienced a three-week outage in late
June followed by another outage in late July, this time for four weeks. In late September, boiler 9 once again experienced significant
tube failures and we had to bring the unit back down for repairs. Shortly thereafter, boilers 10 and 11 experienced leaks and we had to
shut down both of those units as well. Fortunately, our waste heat boilers in our dehydro unit have continued to run allowing us to
maintain production in our PIB and DIB units. However, with boilers 9, 10 and 11 down for repairs until late October or early
November, we lost butadiene, butene-1 and all of our fuels production for over 30 days. These production reductions limited our sales
volumes for the third quarter in all of these segments.
      In our fuels segment, up until the middle of September, demand was weak in our raffinate business, which we sell to refiners for
alkylate production. With lesser jet and diesel fuel demand, refiners have adjusted their operations, producing more of their own
butylenes for alkylation and, thus, impacting our sales. We built significant inventory during the second and early third quarters and
the expected lower net realizable value has resulted in the lower-of-cost-or-market adjustment (“LCM adjustment”) in our financial
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statements. We did find new outlets for raffinate sales during the third quarter. This along with increased demand from one of our
largest customers due to Hurricane Ida issues limiting their normal butylene supply, helped control inventory build. Due to our
operating issues combined with this stronger demand, we saw inventories fall by almost half from the peak level we experienced early
in Q3.
      Demand has been strong in all product areas and limited product availability has further tightened the supply/demand
fundamentals, mainly in butadiene, butene-1, and, to a lesser extent, raffinate. MTBE margins during the early part of the third quarter
remained at five-year high levels. Working with our MTBE offtake customer, we were successful in locking in gasoline to isobutane
spreads near these five-year highs on half of our volumes for the May-September months. While demand continues to be solid, strong
isobutane and methanol pricing began impacting our margins for MTBE reducing them to five-year lows towards the end of the quarter.
Butadiene pricing, due to very strong demand and supply limitations, is at levels not seen since the first quarter of 2017. Following the
February freeze event, rubber and tire inventories were at extremely low levels and continue to be constrained. Since the short-term
price drop in February, butadiene pricing has risen from a contract level of $0.415/lb. to $0.97/lb. in September. Rolling power outages
in China, which affected the operating rates at many of the butadiene derivative consuming plants, have led to excess material in Asia
and have driven Asia pricing down dramatically at the end of the third quarter, which created downward pressure on U.S. pricing.
Butadiene prices dropped to $0.90/lb. at the beginning of the fourth quarter and the November price declined further to $0.80/lb.
      Demand for butene-1 has been solid throughout the COVID-19 outbreak and continues to be strong so far in 2021. Upcoming
catalyst and operational changes will increase TPC’s production capabilities by year end 10-15%.
     In response to the loss of our Port Neches crude C4 processing capacity, in January 2021 we signed a long-term contract with
BASF-TOTAL Petrochemical (“BTP”) for crude C4 processing and began sending crude C4’s to BTP through enhancements made to
our Port Neches terminal during the second phase of our terminal project. We are now receiving butadiene back from BTP. In June,
due to the installation of new pump capacity, we increased volumes from BTP to over 3,250 barrels per day. In early July, we
demonstrated another increase in throughput volume capacity to almost 5,000 barrels per day. We have been able to maintain these
demonstrated rates which has helped to limit the sales control levels to our customer base. Work continues at our Port Neches terminal
where we are adding additional tankage and pumping capabilities to better sustain these higher production rates.
      Demand for PIB was at record levels in January 2021. Like other product areas, our PIB business was impacted by the freeze.
Coming out of the freeze, all customers were at extremely low levels of inventory in their supply chain. Demand for most product
areas, particularly fuel and lubricant additives, is very strong. In the industrial segment, which includes caulks, sealants and adhesives,
demand has also strengthened. Third quarter PIB sales volumes were at a level that, even with the production/sales impacts of the
freeze, we are now expecting that we will exceed our 2021 operating plan by close to 20 percent. Thanks to solid production, our PIB
inventories continue to rebound and will allow us to take on this increase in demand across all market segments. Strong demand and
higher feedstock prices have allowed us to realize a number of price increases in our PIB industrial segment which is about 20% of our
PIB business.

Dock Incident – 2018

      On June 13, 2018, an ocean-going bulk carrier navigating in the Port of Houston Ship Channel veered off course and struck a barge
stationed at our primary Houston facility dock. The incident caused substantial damage to both the barge and the dock facilities. There
were no significant injuries and there was no environmental impact from the incident.
      The damaged dock was returned to full barge and ship service in August 2018 after temporary repairs of approximately $5 million
which, excluding a $0.25 million deductible, were reimbursed from insurance proceeds in September 2018. The insurance proceeds
were accounted for as an offset to the actual dock repair costs. The total amount of the insurance deductible and uninsured logistics
and legal expenses recognized in our reported 2018 earnings was $1.5 million and the margin on estimated lost sales volume was
approximately $6.0 million. The revenue and cost of sales related to the lost sales volume for the C4 Processing segment were estimated
to be $4 million and $2 million, respectively, and for the Performance Products segment were estimated to be $13 million and $9 million,
respectively.
     We are close to finalizing the agreements with the Houston Port Authority and our insurance carriers around the rebuild of the
dock and we expect to commence the project, fully covered by insurance, early in the new year.

Port Neches Incident – 2019

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
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OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took place August 5-6, and 19-20,
2021. The citations were not resolved, and OSHA filed its complaint on September 9, 2021. It is anticipated that trial will take place
in Q4 2022.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,700 property claims have been resolved and approximately 1,400 additional eligible claims are pending action by the claimant in the
claims process. The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial
statements. The Company also provided an emotional support hotline staffed by licensed professional counselors from Samaritan
Counseling Center of Southeast Texas.
      In addition to the property claims, fifty-nine private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to file short-form
petitions in the MDL proceeding, which currently includes approximately 1,695 individual plaintiffs. Approximately 350 individual
plaintiffs have cases pending in Jefferson County, Texas which have not yet been non-suited or abated. Additionally, claims have been
made for more than 750 other properties, and more than 350 properties are the subject of litigation as a result of subrogation claims filed
by homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and
a revised schedule will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2 and Q3 2021 adding
additional defendants and many of those additional defendants have either moved to dismiss the claims against them or filed
jurisdictional challenges. A hearing on class certification is not expected before the second half of 2022 at the earliest.
      Four different sets of insurance policies in effect at the time of the incident provide coverage for costs and losses incurred as a
result of the Port Neches Incident.
      On an event to date basis, TPC has incurred $435.9 million of costs associated with the PNO Event and anticipates recovering
$257.0 million of these costs through insurance proceeds to be paid directly to the Company. $1.7 million was paid on our behalf to a
third party that suffered a loss at the site as a result of the incident. We have no basis for a change in estimate for the third quarter, but
the estimate is subject to change as claims are evaluated. As of September 30, 2021, we have collected $415.6 million dollars of
insurance proceeds and have paid out $323.5 million. Any proceeds collected in excess of book costs will be reflected as a deferred
gain until the claim is fully settled.




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     The following table summarizes the PNO Event spend and reimbursements, event to date, as of September 30, 2021 (in millions):

                                                                                                          Net              Proceeds                Invoices
                                 Insurance Policies                  Costs        Recovery               Costs             Collected                 Paid
                     Property/Business Interuption (BI)         $      131.8      $      94.3        $      37.5           $   258.0               $            81.4
                     Liability                                         166.2            100.0               66.2               100.0                           132.0
                     Defense                                            57.7             35.6               22.1                30.1                            55.1
                     Pollution                                          51.5             25.0               26.5                25.0                            49.0
                     Inventory                                           3.8              3.8                -                   2.5                             -
                     Not Recoverable                                    24.9              -                 24.9                 -                               6.0
                                       Total                    $      435.9      $     258.7        $     177.2           $   415.6               $           323.5

                                                                                                                                               .
     Property/Business Interruption Policies

      Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible is $10.0
million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying for business
interruption coverage. As of September 30, 2021, we have paid $81.4 million of costs and collected $258.0 million under these policies,
of which $12.1 million has been specifically designated as business interruption coverage and $245.9 million has been designated as
unallocated payments on account. $1.7 million was paid to a third party on our behalf as a result of a loss they incurred as a result of
the incident. Of the unallocated proceeds of $245.9 million, $153.2 million are recorded as a deferred gain primarily due to the net
book value of the affected assets being lower than the value that we will receive. Reimbursable costs under this policy recorded in
2019 and 2020 were $52.4 million and $58.8 million, respectively. As of the end of the first half of 2021, reimbursable costs were
reduced by $14.1 million due to the change in accounting estimate for probable insurance proceed recovery. This change was based
on proposed adjustments from insurance carriers for which we have supported positions that counter their assessment. For the quarter
ending September 30, 2021 we reduced our estimate another $4.4 million for labor costs that we do not anticipate collecting. We
currently estimate that $92.6 million will be recoverable under this policy for property losses.
     On October 19, 2021 we executed a $43.0 million unallocated Partial Proof of Loss. As of the date of the issuance of this report
we have received $37.6 million of this amount.
     For the periods presented, property insurance incremental costs consisted of the following components (in millions):

                                                                                               Q1                 Q2              Q3
                  Property Insurance Incremental Costs        2019             2020           2021               2021            2021                          Total
                 Costs                                    $     64.7             58.0            2.5                 5.1               1.5                 $     131.8
                 Recovery                                 $     52.4             58.8            2.5               (16.6)              (2.8)               $         94.3
                 Proceeds Collected                       $      -              160.0           40.0               30.0              28.0                  $     258.0
                    To offset expense                     $      -              111.2            2.5               (16.6)              (4.4)               $         92.7
                    To deferred gain                      $      -               36.7           37.5               46.6              32.4                  $     153.2
                    Business Interruption (BI)            $      -               12.1            -                  -                  -                   $         12.1
                 Invoices paid                            $     10.6             59.7            4.1                 6.1               0.9                 $         81.4

                                                                                                                                                       .
     Liability/Defense Policies

      Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of September 30, 2021, we have accrued third-party claim amounts of $166.2 million, have paid
$132.0 million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $57.7 million
and we have collected $30.1 million of this amount. We anticipate collecting a total of $35.6 million for these expenses. Costs recorded
under these policies in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional amount
was incurred for claims of $3.1 million and for defense costs of $35.6 million. As of the end of September 2021, an additional $1.3
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million for liability has been incurred and an additional $7.9 million in defense costs. To date we have paid $55.1 million of these
defense cost invoices.
     For the periods presented, liability insurance incremental costs consisted of the following components (in millions):

                                                                                      Q1           Q2           Q3
                  Liability Insurance Incremental Costs       2019       2020        2021         2021         2021             Total
                 Costs                                    $    161.8           3.1      3.3         (0.1)        (1.9)      $        166.2
                 Recovery                                 $    100.0          -         -            -            -         $        100.0
                 Proceeds Collected                       $     10.0          90.0      -            -            -         $        100.0
                 Invoices paid                            $     18.0      102.7         5.2          3.6          2.5       $        132.0


                                                                                                              .
     For the periods presented, defense insurance incremental costs consisted of the following components (in millions):

                                                                                      Q1           Q2           Q3
                Defense Insurance Incremental Costs           2019       2020        2021         2021         2021                 Total
                Costs                                     $     14.2          35.6      1.7              3.8          2.4       $      57.7
                Recovery                                  $     15.5          19.7      0.4          (4.4)            4.4       $      35.6
                Proceeds Collected                        $      -            15.3      -            -            14.8          $      30.1
                Invoices paid                             $      2.0          48.8      1.5              1.2          1.6       $      55.1

                                                                                                                            .
      Environmental/Pollution Policies

      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of September 30, 2021, we have
incurred $51.5 million of costs, paid $49.0 million of those costs and have collected the full $25.0 million of coverage under this policy.
We incurred $23.1 million, $28.0 million and $0.4 million of these costs in 2019, 2020 and 2021 respectively.
     For the periods presented, pollution insurance incremental costs consisted of the following components (in millions):

                                                                                      Q1           Q2           Q3
                Pollution Insurance Incremental Costs         2019       2020        2021         2021         2021                 Total
                Costs                                     $     23.1          28.0          0.3          0.4      (0.3)         $      51.5
                Recovery                                  $     23.1           1.9      -                -            -         $      25.0
                Proceeds Collected                        $      -            25.0      -                -            -         $      25.0
                Invoices paid                             $      -            46.1          0.1          0.4          2.4       $      49.0
                                                                                                                            .

     Inventory Policy

      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We expect to recover
the fair market value at the time of the event on these materials which is estimated to be $4.5 million.




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     For the periods presented, inventory insurance incremental costs consisted of the following components (in millions):

                                                                                    Q1          Q2          Q3
                 Inventory Insurance Incremental Costs       2019      2020        2021        2021        2021              Total
                 Costs                                   $      4.4        (1.0)      0.4         -            -         $       3.8
                 Recovery                                $      4.4        (1.0)      0.4         -            -         $       3.8
                 Proceeds Collected                      $      -          -          -           2.5          -         $       2.5
                 Invoices paid (N/A)                     $      -          -          -           -            -         $       -

                                                                                                                     .
     Not Recoverable

      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits.

Coronavirus – 2021

      On March 11, 2020, the World Health Organization declared the ongoing COVID-19 outbreak a pandemic and recommended
containment and mitigation measures worldwide. For employees who are considered essential and are working in plants, we adhere to,
at a minimum, government recommended protocols and best practices related to social distancing, hygiene and the use of additional
personal protective equipment. TPC’s Crisis Management Team (“CMT”) has helped to safely mitigate exposure risk by quickly
identifying and isolating any confirmed cases amongst our employees. These measures have not only enabled us to continue to operate
our facilities safely but have also helped TPC maintain a largely consistent supply chain. Additionally, the CMT has worked closely
with senior leadership to tailor a comprehensive Return to Workplace plan for each site. At the time of this filing, a significant portion
of TPC’s workforce (non-essential workers) are still working remotely from their homes. We continue to review the level of new cases
and are hopeful that early next year we will have employees return to site work on a more regular basis. Our employees' health and
well-being remain a key priority.
      For the most part, the effects of COVID-19 on our operating results have dissipated with government restrictions across the world
easing and the availability of vaccines to help prevent COVID-19 infections. We continue to monitor and assess the potential impact
of COVID-19 and the possibility of future variants on our staff and operations and have implemented appropriate mitigation plans and
will take additional precautions as we believe are warranted. We also work with our suppliers to understand any potential impacts to
our supply chain, and at this time, we have not identified any material risks to our supply chain.

Technical Center Fire - 2021

      Early on the morning of January 9, 2021, the TPC Houston operations team responded to a fire alarm in the Technical Center.
The Technical Center, located on the southwest side of the facility, which contains quality control and research and development
activities, had a fire in the mechanical room. TPC’s Emergency Response Team responded to the incident with assistance from the
Houston Fire Department. The Company coordinated with local officials and emergency responders to quickly resolve the issue.
There were no injuries to TPC employees and no offsite or environmental impacts as a result of the event; however, one emergency
responder sustained an ankle injury while responding to the event. As a result of the fire, there is considerable damage to the facility
and the housed equipment. Fortunately, over 75% of the equipment is salvageable, but, in the absence of a functioning laboratory the
Company had to secure short term outsourcing solutions for all of the quality control testing needs. Since late February, however, we
have replaced the majority of the outsourced testing with in-house testing in a combination of TPC and rental facilities, thereby
substantially reducing the incremental costs. In view of our recent operational challenges and their impact on liquidity, we have decided
to defer rebuilding the technical center for the time being and cover all of our analytical and R&D needs through leased facilities.

February Weather Event – 2021

      In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter weather.
Due to abnormally low temperatures for an extended period of time, facilities in the region experienced disruption to their operations,
resulting in lost production and additional maintenance costs. The total financial impact of this freeze event, between incremental costs
for repairs, higher energy costs and lost volumes, has been upwards of $76 million.


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Insurance Renewal

      We seek to maintain comprehensive insurance coverage at commercially reasonable rates. Although we carry property and casualty
insurance to cover certain risks, our insurance policies do not cover all types of losses and liabilities, and our insurance may not be
sufficient to cover the full extent of losses or liabilities for which we may be liable. Despite persistently tight insurance market
conditions, we have renewed all our expiring insurance coverages on substantially the same terms at premium increases in line with
market conditions. We have financed the premiums through an affiliate of our broker, requiring us to pay 25% of the premium upfront
with the remainder payable in monthly installments through March 2022. Although we have been able to replace our insurance in
2021, we may not be able to do so in the future.

Results of Operations

     Contractual linkages of raw material costs and selling prices of finished products to commodity indices

      Most of our raw material feedstock costs and finished product selling prices are determined by application of contractual formulas
linked to commodity market indices and, in most cases, the indices used to determine raw material feedstock costs are the same indices
used to determine finished product selling prices.
     As of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model and which is more commensurate with the valuable and consistent service we
provide to the industry.
      Although linkage of most of our raw material costs and selling prices to the same indices and our restructured crude C4 supply
contracts provide some degree of consistency in our average material margin per pound (which we define as the difference between
average revenue per pound and average raw material cost per pound) during periods in which the underlying commodity indices are
relatively stable, there are various factors that can have a significant impact on our average material margin per pound, including those
listed below. Moreover, even a relatively minor increase or decrease in average material margin per pound can have a significant
impact on our overall profitability given the magnitude of our sales volumes.
         •   We may purchase raw material feedstocks in a given month based on market indices for that month, and then sell the
             related finished products in a later month based on market indices for the later month. Changes in selling prices of finished
             products, based on changes in the underlying market indices between the month the raw material feedstocks are purchased
             and the month the related finished products are sold causes variation in our average material margin per pound. For
             example, we may purchase the components of a crude C4 stream based on formulas that reflect the respective January
             commodity indices but then sell the finished products at pricing formulas based on the respective February commodity
             indices. If the indices for January and February are the same, we would expect to realize substantially the same unit
             margins regardless of the absolute value of the indices. However, for any components of the stream for which the
             respective index increases between January and February, we would expect to realize a temporary margin expansion until
             pricing stabilizes; and conversely, if the index decreases, we would expect to realize a temporary margin contraction. The
             magnitude of the effect on the average material margin per pound and the material margin percentage in a given month
             depends on the magnitude of the change in the underlying indices compared to the prior month and the quantity of inventory
             at the end of the prior month as a result of its impact on the moving average cost of finished products sold in the subsequent
             month.
         •   Although most of our supply and sales contracts contain index-based formulas, varying proportions of our raw material
             purchases and finished product sales are done on a spot basis or otherwise negotiated terms. In addition, while many of
             the index-based formulas in our contracts are simply based on a percentage of the relevant index, others apply adjustment
             factors to the market indices that do not fluctuate with changes in the underlying index. As supply and sales contracts are
             renegotiated, the amounts of such adjustment factors can change, thus the average material margin per pound would be
             impacted.
         •   Under some of our raw material purchase contracts, the cost of the raw materials is based on a percentage of the relevant
             market index, and under some of our sales contracts, the selling price of the related finished product is based on a higher
             percentage of the same market index. As a result, the average material margin per pound tends to be higher during periods
             in which the market indices are higher and tends to be lower during periods when the market indices are lower.
         •   Finished product selling price formulas under some of our sales contracts, primarily in the Performance Products segment,
             are based on commodity indices not for the period in which the sale occurs but for either a prior or subsequent period.
             The effect on average material margin per pound of the selling price formulas can be significant during times of rapidly
             increasing or decreasing market indices.

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     Butadiene Price Impact

      As discussed above, a substantial portion of our finished product selling prices and raw material costs are linked to the same
commodity indices and this linkage mitigates, to varying degrees, our exposure to volatility in our profit margins. As also documented
above, as of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model, which are more commensurate with the valuable and consistent service we
provide to the industry. However, the stabilizing effect of these factors on our profit margins is lessened when we do not purchase the
feedstock and sell the finished product in the same period. Regarding butadiene, which has historically been the largest individual
product line in our C4 Processing segment, the linkage between our raw material cost and finished product selling price is the published
contract price for butadiene. As a result of purchasing crude C4 in one month and selling finished butadiene in the subsequent month,
the GPC per pound we report in the subsequent month will expand when the price of butadiene increases and will contract when the
price of butadiene declines due to the impact of beginning inventory (quantity and unit cost) on the moving average cost of finished
butadiene sold in the subsequent month.
      As shown in the presentation of EBITDA and Adjusted EBITDA on page 6 of this Quarterly Report, we adjust EBITDA to remove
the estimated temporary impact on our reported GPC of the month-to-month changes in the contract price of butadiene. The rationale
for the adjustment is that the temporary impacts of butadiene price changes distort the underlying business performance.
      The table below shows, for each period presented, the impact on our reported GPC of purchasing crude C4 in one period and
selling finished butadiene in a later period at higher or lower butadiene contract prices. The impact on reported GPC for each period is
the sum of the monthly impacts, which are dependent on the magnitude of the contract price change each month and the quantity of
butadiene inventory at the beginning of each month.

     Impact on reported GPC as of the dates presented, was as follows (in millions):
                                                           Three Months Ended              Nine Months Ended
                                                              September 30,                   September 30,
                                                            2021        2020                2021        2020
               Positive (negative) impact on GPC         $         8        $          2   $      12        $          (9)

     Average material margin per pound

     The table below provides the average material margin per pound (defined above) for each period presented.

                                                                    Three Months Ended                     Nine Months Ended
                                                                       September 30,                         September 30,
                                                                     2021        2020                      2021         2020

              Average revenue per pound                                $        0.60   $   0.27        $        0.51         $   0.29
              Average raw material cost per pound                      $        0.41   $   0.12        $        0.32         $   0.15
              Average material margin per pound                        $        0.19   $   0.15        $        0.19         $   0.14

      As discussed above, our material margin per pound and reported GPC reflect the temporary impact of month-to-month changes in
the contract price of butadiene. Provided in the table above and reflected in the discussion of cost of sales for the three and nine months
ended September 30, 2021 compared to the comparable prior year periods starting on pages 17 and 19 are the impacts of butadiene price
changes on GPC for the respective periods. Excluding the temporary impact of butadiene price changes on all periods presented, the
average material margin per pound would be $0.18 and $0.15 for the three months ended September 30, 2021 and 2020, respectively,
and $0.19 and $0.14 for the nine months ended September 30, 2021 and 2020, respectively.




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    The following table summarizes the primary indices which impact our revenues and raw material costs by segment.



     Segment / Finished Product                            Revenues                      Raw Material Costs

C4 Processing Segment
 Butadiene                                   Butadiene                           Butadiene
 Butene – 1                                  Unleaded regular gasoline           Unleaded regular gasoline
 Raffinates                                  Unleaded regular gasoline           Unleaded regular gasoline

Performance Products Segment
 Polyisobutylene                             Isobutane                           Butane
 Di isobutylene                              Isobutane                           Butane
 MTBE                                        MTBE                                Isobutane, methanol


    The following table summarizes the average commodity index prices for each period presented.

                                                   Three Months Ended September 30,          Nine Months Ended September 30,
                                                    2021         2020      % Chg.              2021       2020      % Chg.
Average commodity prices:
 Butadiene (cents/lb) (1)                                86.3           22.5      284%            62.1         28.2    120%
 Unleaded regular gasoline (cents/gal) (2)              220.8          119.6       85%           200.4        112.7     78%
 Normal butane (cents/gal) (3)                          134.4           57.8      133%           108.7         52.7    106%
 Isobutane (cents/gal) (3)                              133.8           59.8      124%           108.3         55.4     95%
 MTBE (cents/gal) (2)                                   218.8          119.9       82%           207.2        126.9     63%
 Methanol (cents/gal) (4)                               167.4           83.9      100%           158.5         97.7     62%


    (1) Industry pricing was obtained through IHS.
    (2) Industry pricing was obtained through Platts.
    (3) Industry pricing was obtained through Oil Price Information Service.
    (4) Industry pricing was obtained through J. Jordan.




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      The following table provides unaudited sales volumes, revenue, cost of sales, GPC and operating expenses by operating segment
for the three and nine-month periods ended September 30, 2021 and 2020. Please refer to this information, as well as our unaudited
condensed consolidated financial statements and accompanying notes included elsewhere in this Quarterly Report for the quarter ended
September 30, 2021, when reading our discussion and analysis of results of operations below. All information provided in the table
below, except sales volumes, is derived from our unaudited Condensed Consolidated Statements of Operations.

     Segment data, as of the dates presented, was as follows (in thousands):

                                                                    Three Months Ended               Nine Months Ended
                                                                       September 30,                   September 30,
                                                                     2021        2020                2021        2020

                 Sales volumes (pounds) (1):
                   C4 Processing                                    408,461         392,785        1,005,294          1,110,592
                   Performance Products                             268,661         308,333          760,353            784,353
                                                                    677,122         701,118        1,765,647          1,894,945
                 Revenue:
                  C4 Processing                                 $ 264,900       $    93,518        $ 538,669      $ 290,462
                  Performance Products                            140,888            93,530          362,947        251,555
                                                                $ 405,788       $   187,048        $ 901,616      $ 542,017
                 Cost of sales (2):
                  C4 Processing                                 $ 220,656       $    60,755        $ 424,919      $ 219,785
                  Performance Products                            101,995            56,599          246,017        160,234

                                                                $ 322,651       $   117,354        $ 670,936      $ 380,019

                 GPC:
                  C4 Processing                                 $    44,244     $    32,763        $ 113,750      $     70,677
                  Performance Products                               38,893          36,931          116,930            91,321

                                                                $    83,137     $    69,694        $ 230,680      $ 161,998

                 Operating expenses (2):
                  C4 Processing                                 $    36,898     $    26,644        $ 103,243      $     81,284
                  Performance Products                               22,392          17,883           64,144            50,161
                                                                $    59,290     $    44,527        $ 167,387      $ 131,445


    (1) Sales volumes represent product sales volumes only and do not include volumes of products delivered under tolling or similar arrangements,
        in which we do not purchase the raw materials, but process raw materials for another party for a specified fee.
    (2) Cost of sales does not include operating expenses, and cost of sales and operating expenses do not include depreciation and amortization
        expenses.




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Three months ended September 30, 2021 versus three months ended September 30, 2020

     Revenue

      Total revenue for the third quarter of 2021 was $405.8 million compared to $187.0 million for the third quarter of 2020. The
increase of $218.8 million, or 117%, reflected a 125% increase in average revenue per pound and a decrease of 3% in overall sales
volume. The increase in overall average revenue per pound reflected higher selling prices for both operating segments and the slightly
lower overall sales volume reflected lower sales volumes for the performance products operating segment. Variances in average selling
prices for both operating segments reflected the variances in the commodity market indices to which a substantial portion of our finished
product selling prices are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity
indices” on pages 13-14 and the table of commodity indices to which a substantial portion of our selling prices are linked on page 15).
      C4 Processing segment revenue of $264.9 million for the third quarter of 2021 was up $171.4 million, or 183%, compared to third
quarter of 2020 revenue of $93.5 million. The higher revenue for the current year quarter reflected an increase in average revenue per
pound of 172%, which had a positive impact of $169.7 million, combined with a 4% increase in sales volume, which had a $1.7 million
positive impact. Sales volumes increased only slightly and were mainly related to butadiene sales, which we purchased to resell. With
the operational issues related to the steam system, we had an offsetting decrease in butene-1 and raffinate volumes. The higher average
selling price for the segment reflected increases in the average benchmark price for butadiene and the average price of unleaded regular
gasoline of 284% and 85%, respectively (see the table of commodity indices to which a substantial portion of our C4 Processing segment
selling prices are linked on page 15).
      Performance Products segment revenue for the third quarter of 2021 was $140.9 million versus $93.5 million for the comparable
prior year quarter. The $47.4 million, or 51%, increase in revenue reflected the combined impact of a 73% increase in average revenue
per pound, which had a positive impact of $44.5 million, and a 13% decrease in sales volume, which had a positive impact of $2.9
million as the positive impact of increased higher priced PIB volumes more than offset the negative impact of decreased lower priced
MTBE volumes. The higher average revenue per pound reflected an increase in the price of MTBE of 82% and a substantial increase
in the price of butane of 133% to which a substantial portion of our Performance Products segment selling prices are linked (see table
on page 15).

     Cost of Sales

      Total cost of sales for the third quarter of 2021 was $322.7 million compared to $117.4 million for the third quarter of 2020. The
overall increase was driven primarily by a substantial increase in the average cost of raw materials. Variances in raw material costs for
both operating segments reflected the variances in the commodity market indices to which a substantial portion of our raw material costs
are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 13-
14 and the table of commodity indices to which a substantial portion of our raw material costs are linked on page 15).
      C4 Processing segment cost of sales in the third quarter of 2021 was $220.7 million versus $60.8 million for the comparable prior
year quarter. The variance from the prior year quarter reflected a 389% increase in the average cost of the crude C4 raw material
purchased. Since we are purchasing most of our crude C4 raw materials based on the weighted average selling price of the components,
the higher average cost of raw materials reflected increases in the average benchmark price for butadiene and the average price of
unleaded regular gasoline of 284% and 85%, respectively (see the table of commodity indices to which a substantial portion of our C4
Processing segment raw material costs are linked on page 15). As discussed above, in spite of the linkage between the cost of crude
C4 we purchase and the price at which we sell finished butadiene, our average raw material costs and profit margins in a given period
are impacted by purchasing crude C4 in one period and selling finished butadiene in a subsequent period during times of butadiene price
volatility. As a result of such month-to-month movements in the contract price of butadiene, our profit margins in the third quarter of
2021 reflected a positive butadiene pricing impact of $8 million and our profit margins in the third quarter of 2020 reflected a positive
butadiene pricing impact of $2 million, which resulted in a favorable year-over-year impact on profit margins of $6 million.
      Performance Products segment cost of sales was $102.0 million in the third quarter of 2021 versus $56.6 million for the comparable
prior year quarter. The $45.4 million increase reflected the combined impact of a 120% increase in the average cost of the raw material
component of the finished products sold and the lower sales volume discussed above. The higher average cost of raw materials reflected
increases in the average price of butane, isobutane and methanol of 133%, 124% and 100%, respectively (see the table of commodity
indices to which a substantial portion of our Performance Products segment raw material costs are linked on page 15).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in overall average revenue per pound and average raw material cost per pound for the third quarter of 2021 compared to
the third quarter of 2020.


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     Operating Expenses

     Operating expenses incurred in the third quarter of 2021 were $59.3 million compared to $44.5 million for the prior year quarter.
The $14.8 million increase was largely driven by repair costs associated with the unplanned boiler outages and the boiler feedwater
system. Other contributors were the thermal oxidizer rental costs at the PNO terminal, increased 401(k) matching contributions, higher
incentive compensation accruals and higher insurance costs.

     General and Administrative Expenses

     General and administrative expenses in the third quarter of 2021 were $9.2 million compared to $6.7 million in the third quarter
of 2020. The $2.5 million increase was all driven by higher incentive compensation accruals, as the program, which was eliminated in
2020 due to the economic downturn amid COVID-19 concerns, was reinstated in 2021.

     Depreciation and Amortization

       Depreciation and amortization expense in the third quarter of 2021 was $18.7 million compared to $19.0 million for the comparable
prior year quarter. The $0.3 million decrease was comprised of $1.4 million lower turnaround, catalyst and patent amortization. The
latter included $0.7 million lower patent amortization in 2021 as the patent (related to the butadiene extraction process used at our Port
Neches facility) was fully amortized at the end of 2020. This was partly offset by a $1.1 million increase in depreciation due to the net
impact of capital additions less retirements during comparable periods.

     Loss (gain) on Port Neches Incident, net

      The $0.1 million additional loss related to the Port Neches incident recognized in the third quarter of 2021 consisted of additional
defense costs being mostly offset by a lowered estimate for claims liability accruals and small reductions in the response costs.
Although the defense cost insurance recovery estimate was increased by approximately $4.0 million, it was offset by the reduction in
the anticipated property insurance recovery as certain internal labor costs are now deemed unrecoverable.

     Business Interruption Insurance Recoveries

      For the three months ended September 30, 2020, the Company had secured $1.1 million in business interruption insurance proceeds
to reimburse lost profits for the first quarter of the year. As of the date of this report, no additional proceeds have been categorized as
reimbursement of lost profits.

     Interest Expense

      Interest expense for the third quarter of 2021 was $30.9 million compared to $29.4 million for the third quarter of 2020. The $1.5
million increase included an increase of $4.2 million in interest on the 10.875% Notes issued in February 2021 and $0.7 million higher
interest related to the ABL facility. This was partly offset by $1.7 million lower interest on the New Term Loan which was paid off
with the proceeds from the 10.875% Notes and $1.7 million lower deferred financing cost amortization related to the New Term Loan.

       Other, Net

      The current and prior year quarters included various miscellaneous income and expense items, none of which were individually
significant.

     Income Tax Benefit

      The income tax provisions for the third quarters of 2021 and 2020 represent the differences between the income tax provisions for
the nine-month periods ended September 30, 2021 and 2020 and the income tax provisions for the six-month periods ended June 30,
2021 and 2020, respectively. The effective tax rates applied to the pretax loss for the nine months ended September 30, 2021 and 2020
were the projected effective rates for the respective full years ending December 31, which reflected the federal statutory rate of 21%
appropriately adjusted for the state tax provision and permanent book/tax differences. The projected full-year 2021 effective income
tax rate applied to the pretax loss for the nine months ended September 30, 2021 was 20.7% and the projected full-year 2020 effective
income tax rate applied to the pretax loss for the nine months ended September 30, 2020 was 20.8%. The effective tax rate for the third
quarter of 2021 was 24.7% which represents the increase in the projected full year rate from 18.3% applied to the pretax income for the
six months ended June 30 to 20.7% applied to the pretax income for the nine months ended September 30.




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Nine months ended September 30, 2021 versus nine months ended September 30, 2020

     Revenue

      Total revenue for the nine months ended September 30, 2021 was $901.6 million compared to $542.0 million for the nine months
ended September 30, 2020. The increase of $359.6 million, or 66%, reflected a 79% increase in average revenue per pound offset by
a 7% decrease in overall sales volume. The decrease in overall sales volume reflects lower sales volume in both operating segments.
Likewise, the overall increase in average revenue per pound was true for both operating segments. Variances in average selling prices
for both operating segments reflected the variances in the commodity market indices to which a substantial portion of our finished
product selling prices are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity
indices” on pages 13-14 and the table of commodity indices to which a substantial portion of our selling prices are linked on page 15).
      C4 Processing segment revenue of $538.7 million for the nine months ended September 30, 2021 was up $248.2 million, or 85%,
compared to revenue for the nine months ended September 30, 2020 of $290.5 million. The higher revenue for the current nine-month
period reflected a 105% increase in average revenue per pound, which had a positive impact of $271 million and a 9% decrease in sales
volume, which had a negative impact of $23 million. The decrease in the sales volume for the first nine months of 2021 reflects the
Houston plant being offline for half of the first quarter due to the February freeze event, the operational issues with our BD finishing
tower in the second quarter, and issues with our steam system impacting production and sales volume of butadiene, butene-1 and
raffinate. The overall 105% increase in average revenue per pound for the segment reflected a 120% increase in the average benchmark
price for butadiene and a 78% increase in the average price of unleaded regular gasoline (see the table of commodity indices to which a
substantial portion of our C4 Processing segment selling prices are linked on page 15).
      Performance Products segment revenue for the nine months ended September 30, 2021 was $362.9 million compared to $251.6
million for the comparable prior year period. The increase of $111.3 million, or 44%, reflected a 49% increase in overall revenue per
pound, which had a positive impact of $98 million, and a 3% decrease in sales volume, which had a positive impact of $13 million as
the positive effect of increased higher priced PIB sales volumes more than offset the negative effect of decreased lower price MTBE.
The increase in average revenue per pound reflected substantial increases in the prices of butane and MTBE of 106% and 63%,
respectively (see the table of commodity indices to which a substantial portion of our Performance Products segment selling prices are
linked on page 15). Although the sales volumes were impacted by the February freeze event in first quarter of 2021, the effect on PIB
sales was somewhat offset by our inventory position as of the end of January and PIB demand continued to be strong during the second
and third quarters. Although current year MTBE volumes were affected by the Texas freeze event and the third quarter boiler outages,
the impact when compared to 2020, was offset by the absence of a Dehydro Turnaround this year.

     Cost of Sales

      Total cost of sales for the nine months ended September 30, 2021 was $670.9 million compared to $380.0 million for the nine
months ended September 30, 2020. The significantly higher cost of sales in the current year period reflected the substantial increase in
the average cost of raw materials included in the average cost of the finished products sold by both operating segments, partially offset
by the overall decrease in sales volume discussed above. Variances in raw material costs for both operating segments reflected the
variances in the commodity market indices to which a substantial portion of our raw material costs are linked (see “Contractual linkages
of raw material costs and selling prices of finished products to commodity indices” on pages 13-14 and the table of commodity indices
to which a substantial portion of our raw material costs are linked on page 15).
       C4 Processing segment cost of sales for the nine months ended September 30, 2021 was $424.9 million versus $219.8 million for
the comparable prior year period. The increase reflected the impact of the 9% decrease in sales volume discussed above and a 158%
increase in the average cost of the raw material component of the finished products sold. The higher average cost of raw materials
reflected increases in the average benchmark price for butadiene and the average price of unleaded regular gasoline of 120% and 78%,
respectively (see the table of commodity indices to which a substantial portion of our C4 Processing segment raw material costs are
linked on page 15). As discussed above, in spite of the linkage between the cost of crude C4 we purchase and the price at which we
sell finished butadiene, our average raw material costs and profit margins in a given period are impacted by purchasing crude C4 in one
period and selling finished butadiene in a subsequent period during times of butadiene price volatility. As a result of such month-to-
month movements in the contract price of butadiene, our profit margins in the first nine months of 2021 reflected a positive butadiene
pricing impact of $12 million and our profit margins in the first nine months of 2020 reflected a negative butadiene pricing impact of
$9 million, which resulted in a favorable year-over-year impact on profit margins of $21 million.
      Performance Products segment cost of sales was $246.0 million for the nine months ended September 30, 2021 compared to $160.2
million for the nine months ended September 30, 2020. The $85.8 million increase reflected a 3% decrease in the sales volume
discussed above and a 65% increase in the average cost of the raw material component of the finished products sold. The higher average
cost of raw materials reflected increases in the average price of butane, isobutane and methanol of 106%, 95% and 62%, respectively


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(see the table of commodity indices to which a substantial portion of our Performance Products segment raw material costs are linked
on page 15).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in overall average revenue per pound and average raw material cost per pound for the nine months ended September 30,
2021 compared to the nine months ended September 30, 2020.

     Operating Expenses

       Operating expenses incurred for the nine months ended September 30, 2021 were $167.4 million versus $131.4 million for the
first nine months of 2020. The $36.0 million increase is largely driven by higher insurance expense, which increased largely as a result
of the PNO Incident, repair costs associated with the unplanned boiler outages and boiler feedwater system repair costs, thermal oxidizer
rental costs, higher incentive compensation expense due to the temporary suspension of the bonus program in 2020, and higher 401K
company matching contributions.

     General and Administrative Expenses

      General and administrative expenses for the nine months ended September 30, 2021 were $25.6 million versus $20.8 million for
the nine months ended September 30, 2020. The $4.8 million increase was driven by a $5.9 million increase in incentive compensation
expense which due to the suspension of the bonus program in 2020, partially offset by lower legal, accounting and administrative costs.

     Depreciation and Amortization

      Depreciation and amortization expense for the nine months ended September 30, 2021 was $57.1 million compared to $52.6
million for the comparable period of 2020. The $4.5 million increase included the following: (i) higher depreciation of $3.7 million,
which in general varies due to the net impact of capital additions less retirements and write-offs; (ii) higher turnaround and catalyst
amortization of $3.0 million where Dehydro related costs drove a significant portion of the increase and (iii) an offset of $2.2 million
related to lower patent amortization, the patent related to the butadiene extraction process used at our Port Neches facility was fully
amortized at the end of 2020.

     Loss (gain) on Port Neches Incident, net

      The $35.2 million loss related to the Port Neches incident recognized in the first nine months of 2021 consisted of incremental
response, clean-up and liability defense costs for which insurance coverage was not considered probable, costs in excess of insurance
coverage limits, and a change in accounting estimate for collectability of insurance proceeds previously reported as collectible. This
change does not indicate that these costs will not be recovered but only that at this point in the claim they cannot be deemed probable to
collect and book as such. TPC will continue to vigorously pursue collection of these expenses. The net amount reflected total
incremental costs of $17.4 million, plus the reduction in the estimate for probable collection of insurance proceeds of $17.8 million.

     Business Interruption Insurance Recoveries

      As of September 30, 2020, the Company had secured $12.1 million in business interruption insurance proceeds to reimburse lost
profits for the first quarter of the year. Since the second quarter, no additional insurance proceeds were categorized as reimbursement
of lost profits.

     Interest Expense

     Interest expense for the nine months ended September 30, 2021 was $89.4 million compared to $83.6 million for the nine months
ended September 30, 2020. The $5.8 million increase reflects an increase of $11.0 million in interest on the 10.875% Notes issued in
February 2021 and higher other net interest costs of $2.5 million which includes $1.3 million higher ABL related interest expense. This
was partly offset by $2.9 million lower interest on the New Term Loan which was paid off with the proceeds of the 10.875% Notes and
$4.8 million lower deferred financing amortization related to the New Term Loan.

     Other, Net

     Both the current and prior year nine-month periods ending September 30th included various miscellaneous income and expense
items, none of which were individually significant.

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     Income Tax Expense / Benefit

      The effective tax rates applied to the pretax loss for the nine months ended September 30, 2021 and 2020 were the projected
effective rates for the respective full years ending December 31, which reflected the federal statutory rate of 21% appropriately adjusted
for the state tax provision and permanent book/tax differences. The projected full-year 2021 effective income tax rate applied to the
pretax loss of $192.0 million for the nine months ended September 30, 2021 was 20.7% and the projected 2020 full-year effective
income tax rate applied to the pretax loss of $141.7 million for the nine months ended September 30, 2020 was 20.8%.
Liquidity and Capital Resources

     Our financing arrangements at September 30, 2021 consisted primarily of the 10.875% Notes, the 10.5% Notes and our ABL
Credit Facility. In addition, we financed our 2021 insurance renewal premiums through Aon Premium Finance LLC, an affiliate of our
Broker, Aon PLC.
     At September 30, 2021, we had total long-term debt of $1,120.6 million (including deferred financing costs of $14.5 million),
which consisted of the 10.875% Notes of $153.0 million and the 10.5% Notes of $930.0 million. Cash on hand was $7.7 million
(excluding $4.4 million of restricted cash) and we had no short-term money market investments (with maturities of less than three
months) or short-term investments (with original maturities between 90 days and one year).
    As of September 30, 2021, we had $54.5 million in borrowings outstanding on the ABL and the combined ABL Revolver and
ABL FILO borrowing bases were sufficient to support $67.6 million of additional borrowings. As of September 30, 2021, we were in
compliance with all covenants set forth in the Indentures governing the 10.875% Notes and the 10.5% Notes.
     The additional borrowing capacity of $67.6 million under the ABL plus the cash on hand of $7.7 million (excluding restricted
cash) provided total liquidity of $75.3 million at September 30, 2021.

     ABL Facility

     The ABL Facility is available on a revolving basis to finance our working capital needs and for general corporate purposes. The
ABL Facility was composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” revolving
tranche (the ABL FILO) when amended and restated on August 2, 2019. Commitments under the ABL FILO reduce, and commitments
under the ABL Revolver equally and simultaneously increase, by $2.5 million on each of the first three anniversaries of the August 2,
2019 amendment and restatement.
        The credit agreement governing the ABL Facility contains covenants that impose restrictions on, among other things, additional
indebtedness, liens, investments, advances, guarantees and mergers and acquisitions. These covenants also place restrictions on asset
sales, sale and leaseback transactions, dividends, payments between us and our subsidiaries and certain transactions with affiliates.
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.
     On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.5% Notes

      The 10.5% Notes were issued on August 2, 2019 in conjunction with the refinancing of our debt. The net proceeds from the
issuance of the 10.5% Notes were $918.3 million after underwriters and other fees and expenses of $11.7 million. The net proceeds
from the issuance of the 10.5% Notes were used to redeem and pay accrued interest due on the 8.75% Notes of $816.2 million, to repay
the outstanding loan balance and pay accrued interest due on the Old Term Loan of $50.3 million and to repay the outstanding loan
balance and pay accrued interest due on the ABL of $35.9 million.
     The 10.5% Notes are due August 1, 2024 and interest is paid semi-annually in arrears on February 1 and August 1.
     On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 2, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the 10.5% Notes (the “10.5% Indenture”). On February 2, 2021, TPCGI and the
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guarantors entered into a Supplemental Indenture, dated as of February 2, 2021, with U.S. Bank National Association, as trustee and
collateral agent, for the 10.5% Notes (the “10.5% Supplemental Indenture”). The 10.5% Supplemental Indenture modified the 10.5%
Indenture to match certain restrictions contained in the 10.875% Indenture (as defined below) on our ability to incur additional
indebtedness, pay dividends on or make other distributions or repurchase our capital stock, make certain investments, enter into certain
types of transactions with affiliates, create liens, sell certain assets or merge with or into other companies. We may also be required to
make an offer to repurchase the 10.5% Notes at a price equal to 102% of the principal amount of 10.5% Notes so repurchased, plus
accrued and unpaid interest, if any, upon receipt of certain insurance proceeds, and subject further to other conditions and limitations.
      The 10.5% Notes are effectively subordinated to the 10.875% Notes and are subordinated to the ABL Facility and the Company’s
and the subsidiary guarantors’ existing and future indebtedness secured by assets or properties not constituting collateral securing the
10.5% Notes to the extent of the value of such assets and properties. The 10.5% Notes rank senior in right of payment to all of TPCGI’s
and the subsidiary guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally in
right of payment with all TPCGI’s and the subsidiary guarantors’ existing and future liabilities that are not so subordinated, including
the ABL. The 10.5 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness to the extent of the value of the 10.5% Notes collateral.
      The 10.5% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.

     10.875% Notes

      The net proceeds from the offering of the 10.875% Notes were used to repay and terminate the $70 million New Term Loan, to
pay all fees and expenses related to the transactions and for general corporate purposes. The 10.875% Notes are due August 1, 2024
and interest is paid quarterly in arrears on February 1, May 1, August 1 and November 1.
     On February 2, 2021, TPCGI and the guarantors entered into the Indenture, dated as of February 2, 2021, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.875% Indenture”).
     The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by all
subsidiary guarantors.
      The 10.875% Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness and the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.875% Notes are effectively
subordinated to the ABL Facility and the Company’s and the subsidiary guarantors’ existing and future indebtedness secured by assets
or properties not constituting collateral securing the 10.875% Notes to the extent of the value of such assets and properties.
      The 10.875% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.

     Insurance Premium Financing

     As of September 30, 2021, we have $25.8 million of the insurance premiums we financed through Aon Premium Finance LLC
recorded as short-term debt. The first down payment and the first installment were paid in July 2021 and the remainder is payable in
monthly installments following the applicable renewal date through March of 2022.

     Sources and Uses of Cash

      Our principal sources of liquidity are our existing cash and cash equivalents, short-term investments, cash generated from
operations and borrowings under our ABL. In addition to these sources, another source of liquidity over the near-term will be insurance
proceeds received under our various insurance policies, including our property damage and business interruption policies. Business
interruption coverage became effective on January 12, 2020 after the forty-five-day deductible period and from that date on will replace
the earnings the Port Neches plant would have contributed except as a result of the explosion incident on November 27, 2019 that shut
down the plant. The timing of receipt of additional insurance proceeds under our policies is uncertain at this time. We may also, from
time to time, generate cash from opportunistic sales of non-core assets. Our principal uses of cash are to provide working capital, meet
debt service requirements, fund capital expenditures and finance our strategic plans, including possible acquisitions. We may also seek
to finance our capital expenditures under capital leases or other debt arrangements that provide liquidity or favorable borrowing terms.
Our business may not generate sufficient cash flows from operations and future borrowings under our ABL Facility may not be available
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to us in an amount sufficient to enable us to pay our indebtedness or to fund our other liquidity needs. Our ability to generate sufficient
cash depends on, among other factors, prevailing economic conditions, many of which are beyond our control. In addition, upon the
occurrence of certain events, such as a change in control, we could be required to repay or refinance our indebtedness. Any future
acquisitions, joint ventures or other similar transactions may require additional capital and there can be no assurance that any such
capital will be available to us on acceptable terms or at all. The Company’s liquidity position has been challenged by recent
developments described above under “Current Market and Business Conditions”. Our management has taken actions to enhance
liquidity to manage this challenge. However, there can be no assurances that these actions will sufficiently improve our liquidity given
the uncertainty of the timing of further insurance proceeds, it is likely that additional steps may be required.
      Our liquidity requirements are significant primarily due to the annual debt service requirements on the 10.5% Notes, which are
estimated to be $97.7 million, annual debt service requirements on the 10.875% Notes, which are approximately $16.6 million, our
baseline capital expenditures.
       As market conditions warrant and subject to the Company’s contractual restrictions and liquidity position, we, our affiliates and/or
our equity holders, including the Sponsors and their affiliates, may from time to time repurchase the Company’s outstanding debt
securities in privately negotiated or open market transactions, by tender offer or otherwise. Should we decide to engage in such
transactions in the future, any such purchases may be funded by incurring new debt, including borrowings under our ABL. Any new
debt may also be secured debt. We may also use available cash on our balance sheet or new equity capital. The amounts involved in
any such transactions, individually or in the aggregate, may be material. Further, any such purchases may result in us acquiring and
retiring a substantial amount of the 10.875% Notes or the 10.5% Notes, with the attendant reduction in the trading liquidity of any such
Notes.

     Cash Flow Summary

     The following table summarizes changes in cash and cash equivalents for the periods indicated (in thousands):

                                                                                Nine Months Ended
                                                                                  September 30,
                                                                                2021         2020
                                 Cash flows provided by (used in):
                                  Operating activities                      $ (77,002)    $ (112,447)
                                  Investing activities                        (70,572)       (45,448)
                                  Financing activities                        141,219        123,503
                                 Change in cash and cash equivalents        $   (6,355)   $ (34,392)

     Operating Activities

      For the nine months ended September 30, 2021, net use of cash for operating activities was $77.0 million. The net loss of $152.3
million, deferred turnaround and catalyst costs of $9.4 million, deferred income tax benefit of $39.4 million, and an increase in working
capital of $60.4 million were partially offset by non-cash expenses of $184.5 million. Non-cash expenses consisted of depreciation and
amortization of $57.1 million, net non-cash expenses related to the Port Neches incident of $120.7 million and amortization of debt
issuance costs of $6.7 million. Working capital changes were primarily related to an increase in prepaid insurance and a decrease in
accrued interest.
      Trade accounts receivable were $119.9 million at September 30, 2021 compared to $73.4 million at December 31, 2020. The
increase of $46.5 million reflected higher revenue of $48.6 million in September 2021 compared to December 2020 while the days of
sales outstanding fell slightly to 28.5 days for September 30, 2021 versus 29 days in December 31, 2020. Trade accounts receivable
were 98% current at September 30, 2021 and 99% current at December 31, 2020.
      Our inventory at September 30, 2021 was $109.7 million compared to $45.4 million at December 31, 2020. The $64.2 million
increase in inventory value reflected a 74% increase in overall average cost per pound, which had an impact of $46.7 million and a 39%
increase in total volume, which had an impact of $17.5 million.
      For the nine months ended September 30, 2020, net use of cash for operating activities was $112.4 million. The net loss of $112.3
million, deferred turnaround and catalyst costs of $26.0 million, deferred income tax benefit of $29.5 million, the accrual of business
interruption proceeds of $1.1 million, and an increase in working capital of $30.1 million were partially offset by non-cash expenses of
$86.6 million. Non-cash expenses consisted of depreciation and amortization of $52.6 million, net non-cash expenses related to the
Port Neches incident of $28.2 million and amortization of debt issuance costs of $5.8 million. Working capital changes were primarily
related to an increase in prepaid insurance and a decrease in interest accrued.
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     Investing activities

     During the nine months ended September 30, 2021 and 2020, we invested $70.6 million and $45.4 million, respectively, in the
form of capital expenditures.

     Financing activities

     Cash of $141.2 million was generated during the first nine months of 2021 from net proceeds of $150.0 million from issuance of
the 10.875% Notes, $54.5 million of net borrowings on the ABL and $46.1 million from insurance financings, partially offset by
repayment of the $70.0 million New Term Loan, repayment of $33.4 million of financed insurance premiums, and debt issuance costs
of $6.0 million. Cash of $123.5 million was generated during the first nine months of 2020 from net borrowings on the New Te rm
Loan of $69.3 million, net borrowings on the New ABL of $34.5 million, and net borrowings to finance our insurance premiums of
$23.6 million, partially offset by deferred financing costs of $3.9 million.

     Off-Balance-Sheet Arrangements

      We do not currently utilize any off-balance-sheet arrangements to enhance our liquidity and capital resource positions, or for any
other purpose.




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               CONDENSED CONSOLIDATED FINANCIAL STATEMENTS



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                                                               TPC Group Inc.
                                         CONDENSED CONSOLIDATED BALANCE SHEETS
                                            (In thousands, except share and per share amounts)


                                                                                                 September 30,    December 31,
                                                                                                     2021             2020
                                                                                                  (Unaudited)

                                                 ASSETS
     Current assets:
      Cash and cash equivalents                                                                  $      7,707     $     18,452
      Restricted cash                                                                                   4,390              -
      Trade accounts receivable                                                                       119,923           73,447
      Insurance receivable - Port Neches incident                                                       6,781           23,289
      Inventories                                                                                     109,671           45,435
      Other current assets                                                                             58,511           41,123
             Total current assets                                                                     306,983          201,746
     Property, plant and equipment, net                                                               724,711          703,273
     Intangible assets, net                                                                             3,880            3,880
     Other assets, net                                                                                 45,929           55,850
             Total assets                                                                        $   1,081,503    $    964,749
                          LIABILITIES AND STOCKHOLDER'S DEFICIT
     Current liabilities:
      Accounts payable                                                                           $    172,890     $    113,092
      Accrued liabilities                                                                              89,012           92,635
      Short-term debt                                                                                  25,770           13,098
      Accrued liabilities - Port Neches incident                                                      193,343           90,262
             Total current liabilities                                                                481,015          309,087
     Long-term debt, net of deferred financing costs                                                 1,120,571         985,321
     Deferred income taxes                                                                             (39,447)            -
             Total liabilities                                                                       1,562,139        1,294,408
     Commitments and contingencies
     Stockholder's deficit:
       Common stock, $0.01 par value, 2,000 shares authorized,
         1,030 issued and outstanding                                                                      -               -
       Additional paid-in capital                                                                      478,314         478,314
       Accumulated deficit                                                                            (957,566)       (805,312)
       Accumulated other comprehensive loss                                                             (1,384)         (2,661)
             Total stockholder's deficit                                                              (480,636)       (329,659)
             Total liabilities and stockholder's deficit                                         $   1,081,503    $    964,749




The accompanying notes are an integral part of these condensed consolidated financial statements.




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                                                         TPC Group Inc.
           CONDENSED CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE LOSS
                                                           (In thousands)
                                                           (Unaudited)


                                                                      Three Months Ended              Nine Months Ended
                                                                         September 30,                  September 30,
                                                                      2021         2020               2021         2020
      Revenue                                                      $ 405,788     $    187,048       $ 901,616     $ 542,017
      Cost of sales (excludes items listed below)                    322,651          117,354         670,936       380,019
      Operating expenses                                              59,290           44,527         167,387       131,445
      General and administrative expenses                              9,224            6,701          25,577        20,804
      Depreciation and amortization                                   18,653           18,953          57,072        52,576
      Loss on Port Neches incident, net of insurance recovery            109           (1,160)         35,175        24,859
      Business interruption insurance recoveries                         -             (1,100)            -         (12,100)
      COVID-19 expenses                                                  233            1,607             617         1,607
      Freeze event expenses                                            6,351              -            39,709           -
      Technical Center fire event expenses                               588              -             6,809           -
      Income (loss) from operations                                   (11,311)            166        (101,666)       (57,193)
      Other (income) expense:
        Interest expense                                               30,888          29,383          89,458         83,637
        Other, net                                                        711             676             892            913
      Income (loss) before income taxes                               (42,910)        (29,893)       (192,016)      (141,743)
      Income tax expense (benefit)                                    (10,612)          (6,498)       (39,762)       (29,445)
      Net income (loss)                                            $ (32,298)    $    (23,395)      $ (152,254)   $ (112,298)

      Comprehensive income (loss)                                  $ (32,298)    $    (23,395)      $ (152,254)   $ (112,298)




The accompanying notes are an integral part of these condensed consolidated financial statements.




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                                                           TPC Group Inc.
                             CONDENSED CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                            (In thousands)
                                                             (Unaudited)


                                                                                        Nine Months Ended
                                                                                          September 30,
                                                                                        2021         2020
                Cash used in operating activities                                   $ (77,002)      $ (112,447)
                Cash flows from investing activities:
                  Capital expenditures                                                  (70,572)        (45,448)
                       Cash used in investing activities                                (70,572)        (45,448)
                Cash flows from financing activities:
                  Proceeds from issuance of 10.875% Notes                               150,000             -
                  Net proceeds from Term Loan                                               -            69,300
                  Pay off of Term Loan                                                  (70,000)            -
                  Net proceeds (payments) from ABL Facility borrowings                   54,500          34,500
                  Proceeds from insurance debt                                           46,115          42,607
                  Payments on insurance debt                                            (33,442)        (19,034)
                  Equity returns, net                                                       -                 (6)
                  Debt issuance costs                                                    (5,954)         (3,864)
                       Cash provided by financing activities                            141,219         123,503
                Decrease in cash and cash equivalents                                    (6,355)        (34,392)
                Restricted cash, beginning of period                                        -               -
                Cash and cash equivalents, beginning of period                           18,452          85,159

                Restricted cash, end of period                                            4,390             -
                Cash and cash equivalents, end of period                            $     7,707     $    50,767



                NOTE THERE ARE HIDDEN ROWS AFTER LINE 12 TO INSERT A LINE FOR FUTURE CHANGES


The accompanying notes are an integral part of these condensed consolidated financial statements.




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                           NOTES TO CONDENSED CONSOLIDATED FINANCIAL STATEMENTS
                                                               (Unaudited)

NOTE A – BASIS OF PRESENTATION

     1.    Definition of Terms

      Certain terms used throughout these unaudited condensed consolidated financial statements and accompanying notes are defined
on page 3 of this Quarterly Report, which should be referred to when reading these interim unaudited condensed consolidated financial
statements and accompanying notes.

     2.    Organization

      The accompanying consolidated financial statements include the accounts of TPCGI and its direct wholly owned and indirect
subsidiaries. TPCGI’s direct wholly owned subsidiaries include TPCGLLC and Texas Petrochemicals Netherlands B.V., and its
indirect subsidiaries, which are all wholly owned subsidiaries of TPCGLLC, include Texas Butylene Chemical Corporation, Texas
Olefins Domestic International Sales Corporation, TPC Phoenix Fuels LLC, Port Neches Fuels LLC, TP Capital Corp., TPC Pipeline
Holding Company LLC and TPC Pipeline Company LLC.

     3.    Principles of Consolidation

     The Company’s unaudited condensed consolidated financial statements include the accounts of TPCGI and its direct and indirect
subsidiaries, after the elimination of all significant intercompany accounts and transactions. The unaudited condensed consolidated
financial statements presented have been prepared by us in accordance with GAAP.

     4.    Interim Financial Statements

     The unaudited condensed consolidated financial statements have been prepared in accordance with GAAP. Our December 31,
2020 Condensed Consolidated Balance Sheet data was derived from audited financial statements.

     The unaudited condensed consolidated financial statements contained in this Quarterly Report include all material adjustments of
a normal and recurring nature that, in the opinion of management, are necessary for a fair statement of the results for the interim periods.
The results of operations for the interim periods presented in this Quarterly Report are not necessarily indicative of the results to be
expected for a full year or any other interim period.
     The interim condensed consolidated financial statements should be read together with the audited consolidated financial statements
and related notes thereto included in TPC Group Inc.’s Annual Report for the year ended December 31, 2020, which is attached to this
Quarterly Report as Exhibit I.

NOTE B – DESCRIPTION OF BUSINESS

     See Note B to our Annual Report for the year ended December 31, 2020, which is attached to this Quarterly Report as Exhibit I.




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                                                              (Unaudited)

NOTE C – RISKS AND UNCERTAINTIES RELATED TO THE COVID-19 PANDEMIC

      In March 2020, the World Health Organization declared the outbreak of COVID-19 to be a pandemic. The global coronavirus
(COVID-19) pandemic continues to cause considerable uncertainty in the marketplace, and efforts to stop the virus are also having
significant economic consequences. Though the government restrictions across the world have generally started to ease and vaccines
have become available to help prevent COVID-19 infections, the extent and duration of measures implemented to try to slow the spread
of the virus, such as travel bans and restrictions, border closures, quarantines, and business and government shutdowns have caused,
and may continue to cause, reduced demand and operational delays. The COVID-19 outbreak has impacted the addressable market for
the Company’s products, and the Company’s business continues to be exposed to risks and uncertainties related to the pandemic. The
Company has taken several actions to deal with the pandemic. These include enabling its employees to work from home and suspending
all non-essential travel. The ultimate impact and the extent to which the COVID-19 pandemic will continue to affect the business,
results of operation and financial condition is difficult to predict and depends on numerous evolving factors outside of the Company’s
control including: the duration and scope of the pandemic; government, social, business and other actions that have been and will be
taken in response to the pandemic; and the effect of the pandemic on short and long-term general economic conditions. This uncertainty
also affects management’s accounting estimates and assumptions, which could result in greater variability in a variety of areas that
depend on these estimates and assumptions.

NOTE D – RECENT ACCOUNTING DEVELOPMENTS

     Accounting Guidance Issued but Not Yet Adopted as of September 30, 2021
       Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company continues to evaluate its population of leases and
is continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting
for logistics equipment. The Company anticipates recognition of additional assets and corresponding liabilities related to leases upon
adoption, effective January 1, 2022.
      Defined Benefit Plans – ASU 2018-14, Compensation—Retirement Benefits, amends disclosure requirements for employers that
sponsor defined benefit pension or other postretirement plans. For public business entities, the amendments are effective for fiscal years
ending after December 15, 2020. For all other entities the amendments are effective for fiscal years ending after December 15,
2021. Early adoption is permitted. The Company anticipates some changes to the disclosures required to comply with this standard.
      Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management, in discussion with our tax consultants, have concluded that changes required by the new standard will not impact the
Company's financial statements and related tax disclosures.

NOTE E – DETAIL AND DISCUSSION OF CERTAIN CONDENSED CONSOLIDATED BALANCE SHEET CAPTIONS

     Cash

      Our cash balances as of September 30, 2021 are comprised of cash and cash equivalents and restricted cash. Cash and cash
equivalents included amounts on deposit with banks, cash invested temporarily in investments with original maturities of three months
or less, and cash on hand. Restricted cash included amounts on deposit with a bank, held in escrow as defined by contractual agreements
for the purpose of funding our committed portion of contractual agreements for capital projects to be completed in less than one year.
We maintain cash balances that are insured by the Federal Deposit Insurance Corporation (“FDIC”). As of September 30, 2021, we
had $7.7 million in cash and cash equivalents and $4.4 million in restricted cash, totaling $12.1 million in total cash on deposit with
banks, which were subject to a $0.25 million per account FDIC insurance coverage limit. We believe the likelihood of any loss of cash
and cash equivalents is remote and that we are not exposed to any significant credit risk on cash and cash equivalents.
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     Inventories

     Inventories, as of the dates presented, were as follows (in thousands):

                                                                                       September 30,        December 31,
                                                                                           2021                2020

                         Finished goods                                                $       56,489       $        24,665
                         Raw materials and chemical supplies                                   53,182                20,770
                                                                                       $    109,671         $        45,435


     The increase in inventory value of $64.2 million reflected a 39% increase in volume, which had an impact of $17.5 million along
with a 74% increase in overall average cost per pound, which had an impact of $46.7 million.

     Other Current Assets

     Other current assets, as of the dates presented, were as follows (in thousands):

                                                                                   September 30,        December 31,
                                                                                        2021               2020
                     Prepaid insurance premiums                                    $        33,658      $           21,002
                     Spare parts inventory                                                  16,453                  15,741
                     Prepaid expense and other                                               8,400                   4,380
                                                                                   $        58,511      $           41,123
                     .                                                         .

     Property, Plant and Equipment

     Property, plant and equipment, as of the dates presented, were as follows (in thousands):

                                                                                           September 30,        December 31,
                                                                                               2021                2020

                   Land and land improvements                                              $       52,839       $        52,839
                   Plant and equipment                                                          1,139,444             1,108,577
                   Construction in progress                                                       117,197                93,903
                   Other                                                                           56,219                52,464
                                                                                                1,365,699             1,307,783
                    Accumulated depreciation                                                     (640,988)             (604,510)
                                                                                           $     724,711        $      703,273




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     Intangible Assets

      There were no changes in the carrying amount of our intangible assets, for the nine months ended September 30, 2021. The gross
carrying amounts and accumulated amortization of intangible assets, as of the dates presented, were as follows (in thousands):

                                                                         Gross                                 Net
                                                                        Carrying         Accumulated         Carrying
                                                                         Value           Amortization         Value
                      September 30, 2021
                       Technology license                               $    3,880        $       -      $      3,880
                       Patents                                              23,100            (23,100)              -
                                                                        $   26,980        $   (23,100)   $      3,880


     Other Assets

     Other assets, as of the dates presented, were as follows (in thousands):

                                                                                       September 30,     December 31,
                                                                                           2021             2020
                            Deferred turnaround costs                                $        30,767     $        40,308
                            Catalyst and solvent costs                                        12,181              13,693
                            Other deferred charges                                             2,981               1,849
                                                                                     $        45,929     $        55,850


     The decrease in the deferred turnaround costs reflects the amortization of turnaround costs in the first three quarters of 2021.


     Accrued Liabilities
     Accrued liabilities, as of the dates presented, were as follows (in thousands):
                                                                                         September 30,   December 31,
                                                                                             2021           2020
                         Accrued interest                                                $     19,425    $        41,231
                         Accrued payroll and benefits                                          29,550             17,537
                         Accrued property and sales tax                                        16,895             13,991
                         Freeze related energy accrual                                          8,378                -
                         Net pension liability                                                  6,473              8,493
                         Accrued freight                                                        6,423              5,875
                         Other                                                                  1,868              5,508
                                                                                         $     89,012    $        92,635




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     Accrued Liabilities – Port Neches Incident

     Accrued liabilities, as of the dates presented, were as follows (in thousands):

                                                                                       September 30,         December 31,
                                                                                           2021                 2020

                     Total of losses and costs recognized                              $      434,227        $     416,817
                     Deferred gain on insurance                                               153,229               36,694
                     Invoices / settlements paid                                             (323,581)            (293,874)
                     Unpaid invoices included in payables                                     (13,632)             (12,507)
                     Asset write-offs                                                         (56,900)             (56,868)
                                                                                       $      193,343        $      90,262

                     Accrued response / clean-up costs                                 $     159,124         $      46,258
                     Estimated claims liability                                               34,219                44,004
                                                                                       $     193,343         $      90,262
                                                                                                         .
NOTE F– SHORT-TERM DEBT

      Our short-term financing arrangements at September 30, 2021 and December 31, 2020 consisted of insurance premium
financing. The $25.8 million balance at September 30, 2021 represents insurance premiums financed, where the first payment was
made in July 2021 and the final payment is due in March 2022. The $13.1 million balance at December 31, 2020 was paid in full in
April 2021 and represented four remaining installments of the ten months of insurance premiums financed in 2020.

NOTE G – LONG-TERM DEBT

     Outstanding long-term debt as of the dates presented, was as follows (in thousands):
                                                                                       September 30,         December 31,
                                                                                           2021                 2020
                 10.5% Notes                                                           $    930,000          $   930,000
                 10.875% Notes                                                              153,000                  -
                 New Term Loan                                                                  -                 70,000
                 ABL                                                                         54,500                  -
                 Unamortized discount on New Term Loan                                          -                   (286)
                 Unamortized discount on Notes                                               (2,429)                 -
                 Total long-term debt                                                    1,135,071               999,714
                   Less: deferred financing costs                                          (14,500)              (14,393)
                 Long-term debt net of deferred financing costs                        $ 1,120,571           $   985,321

                 .                                                                                       .
      Our financing arrangements at September 30, 2021 were comprised of the 10.875% Notes, the 10.5% Notes and our ABL Credit
Facility. As of September 30, 2021, we were in compliance with all covenants set forth in the Indentures governing the 10.875% Notes
and the 10.5% Notes.

     ABL

     TPCGI is the lead borrower under the ABL and certain domestic subsidiaries of TPCGI are co-borrowers (or may be designated
co-borrowers) on a joint and several basis.
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     The ABL is composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” tranche (the
ABL FILO). Commitments under the ABL FILO will be reduced, and commitments under the ABL Revolver equally and
simultaneously increased, by $2.5 million on each of the first three anniversaries of the August 2019 amendment and restatement.
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.
    As of September 30, 2021, we had $54.5 million in borrowings outstanding on the ABL and the combined ABL Revolver and
ABL FILO borrowing bases provided us with the ability to borrow up to $67.6 million.
      The ABL Revolver commitments may be increased by an aggregate principal amount of not more than $150 million, subject only
to the consent of the new or existing lenders providing such increases. The lenders under this facility are under no obligation to provide
any such additional commitments, and any increase in commitments will be subject to customary conditions precedent.
Notwithstanding any such increase in the facility size, TPCGI’s ability to borrow under the facility will remain limited at all times by
the borrowing base (to the extent the borrowing base is less than the commitments).
      Loans under the ABL Revolver bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate
equal to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR
rate plus 1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be
1.75% (and may subsequently decrease to 1.50% or increase to 2.00% depending on average excess availability) and with respect to
base rate borrowings will initially be 0.75% (and may subsequently decrease to 0.50% or increase to 1.00% depending on average excess
availability).
      Loans under the ABL FILO bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate equal
to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR rate plus
1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be 3.00% (and
may subsequently decrease to 2.75% or increase to 3.25% depending on average excess availability) and with respect to base rate
borrowings will initially be 2.00% (and may subsequently decrease to 1.75% or increase to 2.25% depending on average excess
availability).
      The ABL provides for all applicable margins to be reduced by 0.25% during any fiscal quarter for which the Total Leverage Ratio,
as defined in the ABL credit agreement, as of the last day of the immediately preceding fiscal quarter, is less than 5.0 to 1.0.
      In addition to paying interest on outstanding principal under the ABL, TPCGI is required to pay a commitment fee at an initial rate
of 0.500% per annum in respect of the unutilized commitments thereunder. The commitment fee rate subsequently may be reduced to
0.375% depending on the amount of excess availability under the ABL. TPCGI must also pay customary letter of credit fees and
fronting fees for each letter of credit issued.
      If, at any time, (i) an Event of Default is continuing or (ii) Excess Availability is less than the greater of (x) 12.5% of Availability
and (y) $12.5 million, TPCGI shall comply with a minimum Fixed Charge Coverage Ratio for the most recent period of four consecutive
fiscal quarters of at least 1.0 to 1.0. Such requirement shall continue until the date that no Event of Default exists, and Excess
Availability shall have been not less than the greater of (x) 12.5% of Availability and (y) $12.5 million for a period of 21 consecutive
calendar days.
      If at any time the aggregate amount of loans and letters of credit outstanding under either the ABL Revolver or under the ABL
FILO exceeds the lesser of (a) the applicable total commitments and (b) the applicable borrowing base, TPCGI will be required to prepay
loans outstanding and/or cash collateralize outstanding letters of credit in an aggregate amount equal to the amount of any such excess,
without any reduction of the commitments. Under certain circumstances, if the aggregate amount available under the ABL is less than
the greater of (1) 12.5% of the lesser of (i) the total commitments under such facility and (ii) the borrowing base and (2) $12.5 million
for 5 consecutive business days, or if certain defaults occur, all collateral proceeds collected through the cash management system in
favor of the collateral agent will be swept to a collection account and applied daily to repay outstanding loans and cash collateralize
letters of credit under the ABL.

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       TPCGI may voluntarily repay loans outstanding under the ABL Revolver and under the ABL FILO at any time without premium
or penalty other than customary “breakage” costs with respect to LIBOR loans. All outstanding loans under the ABL Revolver must
be repaid before any loans outstanding under the ABL FILO may be repaid. Any subsequent borrowings under the ABL would be
made first under the ABL FILO (subject to availability) and next under the ABL Revolver (subject to availability). We may elect at
any time to reduce the unutilized portion of the commitment amount under the ABL. We may elect at any time to terminate the ABL
FILO commitments in full (but not in part) provided that 30 Day Excess Availability, as defined in the Credit Agreement and calculated
on a pro forma basis, would not be less than the greater of (a) 17.5% of availability and (b) $25 million if the Fixed Charge Coverage
Ratio is at least 1.0 to 1.0 or 30 Day Excess Availability would not be less than 22.5% of availability if the Fixed Charge Coverage Ratio
is less than 1.0 to 1.0.
      Pursuant to a Guarantee, dated as of August 2, 2019, among Parent, TPCGI, the other guarantors party thereto and Bank of
America, N.A., as administrative agent and collateral agent, all obligations under the Senior Secured Asset-Based Revolving Credit
Agreement are unconditionally guaranteed by substantially all existing and future, direct and indirect, wholly-owned material restricted
domestic subsidiaries of TPCGI, subject to certain exceptions, including, any applicable legal, regulatory or contractual constraints and
to the requirement that such guarantee will not cause material adverse tax consequences.
     The borrowers under the ABL are jointly and severally liable for all borrowings and other obligations thereunder. Pursuant to a
Pledge and Security Agreement, dated as of August 2, 2019, among Parent, TPCGI, the subsidiary grantors and Bank of America, N.A.,
as administrative agent and collateral agent, and any additional borrowers that may become party thereto from time to time, such
obligations and the guarantees of such obligations are secured, subject to permitted liens and other exceptions, by:
     •   a first-priority lien on the following:

                  (a)       accounts receivable, including those arising from the sale of inventory and other goods and services
                            (including related contracts and contract rights, inventory, tax refunds, cash and cash equivalents);
                  (b)       inventory;
                  (c)       intercompany notes and intellectual property and other intangible assets to the extent attached to or necessary
                            to sell any of the foregoing;
                  (d)       deposit and investment accounts (and all cash, checks and other negotiable instruments, funds and other
                            evidences of payment held therein, but not any identifiable proceeds of Notes First Priority Collateral (as
                            defined below));
                  (e)       to the extent evidencing, governing, securing or otherwise related to any of the foregoing and the other
                            Revolver First Priority Collateral (as defined below), all documents, general intangibles (excluding
                            intellectual property), instruments, investment property (but not stock in subsidiaries or equity interest in any
                            limited liability company or other entity constituting Notes First Priority Collateral), commercial tort claims,
                            letters of credit, supporting obligations and letter of credit rights;
                  (f)       all loans payable by a grantor to any other grantor to the extent made using proceeds of advances under the
                            ABL Facility;
                  (g)       books and records, documents, supporting obligations, chattel paper, instruments, payment intangibles and
                            general intangibles relating to any of the foregoing; and
                  (h)       all proceeds and products of any or all of the foregoing in whatever form received, in each case above subject
                            to certain qualifications and exclusions (collectively, the “Revolver First Priority Collateral”); and
     •   a second-priority lien on assets not constituting Revolver First Priority Collateral subject to certain qualifications and
         exclusions (the “Notes First Priority Collateral”).
    The ABL contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the ability of
TPCGI and certain of its subsidiaries to:
     •   incur additional indebtedness;
     •   create liens;
     •   engage in mergers or consolidations;

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     •    sell or transfer assets;
     •    pay dividends and distributions or repurchase its capital stock;
     •    make investments, loans or advances;
     •    prepay certain indebtedness;
     •    engage in certain transactions with affiliates;
     •    designate certain subsidiaries as restricted or unrestricted by the covenants; and
     •    change its lines of business.
      In addition, at any time when an event of default is continuing or the aggregate amount available under the ABL is less than the
greater of (a) 12.5% of the lesser of (1) the total commitments and (2) the borrowing base and (b) $12.5 million (or a lesser amount if a
significant asset sale has occurred), TPCGI will be required to maintain a minimum fixed charge coverage ratio of 1.0:1.0.
      The ABL also contains a customary “holding company” covenant that restricts Parent’s ability to take certain actions and contains
certain customary additional affirmative covenants, representations and warranties, conditions to making loans, indemnification
provisions and events of default, including (subject in certain cases to customary grace and cure periods) material inaccuracy of
representations, non-payment of obligations under the ABL, violation of affirmative and negative covenants, non-payment or
acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of the credit documents (or the assertion
by Parent or a borrower of any such invalidity), change of control and loss of lien perfection or priority.
      On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.5% Notes

     The 10.5% Notes are due August 1, 2024 and interest will be paid semi-annually in arrears on February 1 and August 1.

      Indenture Governing the 10.5% Notes

      On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 2, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the 10.5% Notes, (the “10.5% Indenture”). On February 2, 2021, TPCGI and the
guarantors entered into a Supplemental Indenture, dated as of February 2, 2021, with U.S. Bank National Association, as trustee and
collateral agent, for the 10.5% Notes (the “10.5% Supplemental Indenture”). The 10.5% Supplemental Indenture modified the 10.5%
Indenture to match certain restrictions contained in the 10.875% Indenture (as defined below) on our ability to incur additional
indebtedness, pay dividends on or make other distributions or repurchase our capital stock, make certain investments, enter into certain
types of transactions with affiliates, create liens, sell certain assets or merge with or into other companies. We may also be required to
make an offer to repurchase the 10.5% Notes at a price equal to 102% of the principal amount of 10.5% Notes so repurchased, plus
accrued and unpaid interest, if any, upon receipt of certain insurance proceeds, and subject further to other conditions and limitations.
      The 10.5% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. (“Holdings”) and on a senior secured basis by
all of TPCGI’s existing and future direct and indirect domestic subsidiaries other than certain excluded subsidiaries (the “subsidiary
guarantors” and together with Holdings, the “guarantors”) that guarantee obligations under the ABL.
       The 10.5% Notes are effectively subordinated to the 10.875% Notes and are subordinated to the ABL Facility and the Company’s
and the subsidiary guarantors’ existing and future indebtedness secured by assets or properties not constituting collateral securing the
10.5% Notes to the extent of the value of such assets and properties. The 10.5% Notes rank senior in right of payment to all of TPCGI’s
and the subsidiary guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally in
right of payment with all TPCGI’s and the subsidiary guarantors’ existing and future liabilities that are not so subordinated, including
the ABL. The 10.5 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes and the guarantees are structurally subordinated
to all existing and future liabilities and preferred stock of any of its subsidiaries that do not guarantee the 10.5% Notes effectively senior
to TPCGI’s and the subsidiary guarantors’ indebtedness that is unsecured or that is secured by junior liens to the extent of the value of
the assets securing the 10.5% Notes and the guarantees, and effectively junior to TPCGI’s ABL to the extent of the value of the assets
that secure TPCGI’s ABL on a first-priority basis.

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      The 10.5% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the subsidiary
guarantors’ assets (in each case, other than TPCGI’s and the subsidiary guarantors’ assets that secure the ABL on a first-priority basis),
subject to certain exceptions and permitted liens. Subject to certain exceptions and permitted liens, the 10.5% Notes and the guarantees
are also secured on a second-priority basis by TPCGI’s and the subsidiary guarantors’ assets that secure our ABL on a first-priority
basis.
      The 10.5% Notes become redeemable as of August 1, 2021 at the redemption prices specified in the 10.5% Indenture. The
redemption price for the period from (and including) August 1, 2021 through July 31, 2022 is 107.875% and for the period from (and
including) August 1, 2022 through July 31, 2023 is 103.938%. The 10.5% Notes become redeemable at par as of August 1, 2023.
Unless otherwise redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an
offer to repurchase the 10.5% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if
any. TPCGI may also be required to make an offer to repurchase the 10.5% Notes at a price equal to 102% of the principal amount of
10.5% Notes so repurchased, plus accrued and unpaid interest, if any, upon receipt of certain insurance proceeds, and subject further to
other conditions and limitations. In addition, at any time prior to August 1, 2021, TPCGI may redeem, subject to certain conditions,
up to 35% of the 10.5% Notes at a redemption price of 110.50% with the net cash proceeds from one or more equity offerings.
      In addition, upon the sale of certain assets or the receipt of insurance proceeds in connection with certain casualty events, in each
case, in which TPCGI and its subsidiaries do not apply the proceeds as required, the holders of the 10.5% Notes may require TPCGI to
purchase for cash all or a portion of its 10.5% Notes at a purchase price equal to 100% of the principal amount of the 10.5% Notes, plus
accrued and unpaid interest, if any, to, but excluding, the repurchase date.
      The 10.5% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted subsidiaries
to (subject to certain exceptions):
     •   incur additional debt, issue disqualified stock or issue certain preferred stock;
     •   pay dividends on or make certain distributions and other restricted payments;
     •   create certain liens or encumbrances;
     •   sell assets;
     •   enter into transactions with affiliates;
     •   limit ability of restricted subsidiaries to make payments to TPCGI;
     •   consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •   designate TPCGI’s subsidiaries as unrestricted subsidiaries.
      The 10.5% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.5% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.5% Notes to be due and payable.
      On February 2, 2021 we issued $153 million of 10.875% Senior Secured Notes and repaid the $70 million New Term Loan we
had in place with Apollo Global Management to provide additional liquidity against any uncertainty around timing of future insurance
recoveries, including business interruption recoveries, over the next year.

     10.875% Notes

      The net proceeds from the offering of the 10.875% Notes were used to repay and terminate the $70 million New Term Loan, to
pay all fees and expenses related to the transactions and for general corporate purposes. The 10.875% Notes are due August 1, 2024 and
interest will be paid quarterly in arrears on February 1, May 1, August 1 and November 1.
      Indenture Governing the 10.875% Notes

     On February 2, 2021, TPCGI and the guarantors entered into the Indenture, dated as of February 2, 2021, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.875% Indenture”).


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     The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by all
subsidiary guarantors.
      The 10.875 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness and the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.875% Notes are effectively
subordinated to the ABL Facility and the Company’s and the subsidiary guarantors’ existing and future indebtedness secured by assets
or properties not constituting collateral securing the 10.875% Notes to the extent of the value of such assets and properties.
       The 10.875% Notes are TPCGI’s and the guarantees are the guarantors’ senior secured obligations and rank senior in right of
payment to the 10.5% Notes and all of TPCGI’s and the guarantors’ future debt that is expressly subordinated in right of payment to the
10.875% Notes and rank equally in right of payment with all TPCGI’s and the guarantors’ existing and future liabilities that are not so
subordinated, including the ABL. The 10.875% Notes and the guarantees are structurally subordinated to all existing and future
liabilities and preferred stock of any of its subsidiaries that do not guarantee the 10.875% Notes effectively senior to TPCGI’s and the
guarantors’ indebtedness that is unsecured or that is secured by junior liens to the extent of the value of the assets securing the 10.875%
Notes and the guarantees, and effectively junior to TPCGI’s ABL to the extent of the value of the assets that secure TPCGI’s ABL on a
first-priority basis.
      The 10.875% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the guarantors’
assets (in each case, other than TPCGI’s and the guarantors’ assets that secure the ABL on a first-priority basis), subject to certain
exceptions and permitted liens. Subject to certain exceptions and permitted liens, the 10.875% Notes and the guarantees are also
secured on a second-priority basis by TPCGI’s and the guarantors’ assets that secure our ABL on a first-priority basis.
      The 10.875% Notes are redeemable at the redemption prices specified in the 10.875% Indenture. The 10.875% Notes are
redeemable prior to August 2, 2022 at a price equal to 100% of the principal amount of the Notes to be redeemed, plus accrued and
unpaid interest to, but excluding, the redemption date, plus the applicable “make-whole premium.” The redemption price for the period
from (and including) August 2, 2022 through February 1, 2023 is 108.1563% and for the period from (and including) February 2, 2023
through August 1, 2023 is 104.0781%. The 10.875% Notes become redeemable at par as of August 2, 2023. Unless otherwise
redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an offer to repurchase
the 10.875% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if any.
      In addition, upon the sale of certain assets or the receipt of insurance proceeds in connection with certain casualty events, in each
case, in which TPCGI and its subsidiaries do not apply the proceeds as required, the holders of the 10.875% Notes may require TPCGI
to purchase for cash all or a portion of its 10.875% Notes at a purchase price equal to 100% of the principal amount of the 10.875%
Notes, plus accrued and unpaid interest, if any, to, but excluding, the repurchase date.
     The 10.875% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted
subsidiaries to (subject to certain exceptions):
     •   incur additional debt, issue disqualified stock or issue certain preferred stock;
     •   pay dividends on or make certain distributions and other restricted payments;
     •   create certain liens or encumbrances;
     •   sell assets;
     •   enter into transactions with affiliates;
     •   limit ability of restricted subsidiaries to make payments to TPCGI;
     •   consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •   designate TPCGI’s subsidiaries as unrestricted subsidiaries.
      The 10.875% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.875% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.875% Notes to be due and payable.




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NOTE H – REVENUE

     We operate in two principal business segments, C4 Processing and Performance Products. The following table disaggregates
revenue for each segment by major activity and by domestic and foreign for each period presented (in thousands):

                                                           Three Months Ended                  Nine Months Ended
                                                              September 30,                      September 30,
                                                           2021           2020                2021           2020
           Revenue by segment
            C4 Processing
                Product sales                         $    256,883     $      87,275      $   517,282      $    272,255
                Process revenue                                739               464            1,941             1,596
                Terminalling revenue                         3,025             1,396            8,203             5,207
                Service fees                                 1,139               732            3,222             1,786
                Shipping and handling                        3,114             3,651            8,021             9,619
                                                      $    264,900     $      93,518      $   538,669      $    290,463

             Performance Products
                 Product sales                             135,916            89,632          349,061           239,807
                 Terminalling revenue                          -                 -                -                  75
                 Shipping and handling                       4,972             3,898           13,886            11,672
                                                      $    140,888     $      93,530      $   362,947      $    251,554
                                                      $    405,788     $    187,048       $   901,616      $    542,017

           Revenue by geographic location
            United States                             $    389,363     $    179,621       $   857,210      $    510,979
            All foreign countries                           16,425            7,427            44,406            31,038
                                                      $    405,788     $    187,048       $   901,616      $    542,017


NOTE I– PORT NECHES INCIDENT

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took place August 5-6, and 19-20,
2021. The citations were not resolved and OSHA filed its complaint on September 9, 2021. It is anticipated that trial will take place
in Q4 2022.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
     The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The

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Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,700 property claims have been resolved and approximately 1,400 additional eligible claims are pending action by the claimant in the
claims process. The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial
statements. The Company also provided an emotional support hotline staffed by licensed professional counselors from Samaritan
Counseling Center of Southeast Texas.
      In addition to the property claims, fifty-nine private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to file short-form
petitions in the MDL proceeding, which currently includes approximately 1,695 individual plaintiffs. Approximately 350 individual
plaintiffs, have cases pending in Jefferson County, Texas which have not yet been non-suited or abated. Additionally, claims have been
made for more than 750 other properties, and more than 350 properties are the subject of litigation as a result of subrogation claims filed
by homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and
a revised schedule will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2 and Q3 2021 adding
additional defendants and many of those additional defendants have either moved to dismiss the claims against them or filed
jurisdictional challenges. A hearing on class certification is not expected before the second half of 2022 at the earliest.
      Four different sets of insurance policies in effect at the time of the incident provide coverage for costs and losses incurred as a
result of the Port Neches Incident.
      On an event to date basis, TPC has incurred $435.9 million of costs associated with the PNO Event and anticipates recovering
$257.0 million of these costs through insurance proceeds to be paid directly to the Company. $1.7 million was paid on our behalf to a
third party that suffered a loss at the site as a result of the incident. We have no basis for a change in estimate for the third quarter, but
the estimate is subject to change as claims are evaluated. As of September 30, 2021, we have collected $415.6 million dollars of
insurance proceeds and have paid out $323.5 million. Any proceeds collected in excess of book costs will be reflected as a deferred
gain until the claim is fully settled.

     Property/Business Interruption Policies

      Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible is $10.0
million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying for business
interruption coverage. As of September 30, 2021, we have paid $81.4 million of costs and collected $258.0 million under these policies,
of which $12.1 million has been specifically designated as business interruption coverage and $245.9 million has been designated as
unallocated payments on account. $1.7 million was paid to a third party on our behalf as a result of a loss they incurred as a result of
the incident. Of the unallocated proceeds of $245.9 million, $153.2 million are recorded as a deferred gain primarily due to the net
book value of the affected assets being lower than the value that we will receive. Reimbursable costs under this policy recorded in
2019 and 2020 were $52.4 million and $58.8 million, respectively. As of the end of the first half of 2021, reimbursable costs were
reduced by $14.1 million due to the change in accounting estimate for probable insurance proceed recovery. This change was based
on proposed adjustments from insurance carriers for which we have supported positions that counter their assessment. For the quarter
ending September 30, 2021 we reduced our estimate another $4.4 million for labor costs that we do not anticipate collecting. We
currently estimate that $92.6 million will be recoverable under this policy for property losses.
     On October 19, 2021 we executed a $43.0 million unallocated Partial Proof of Loss. As of the date of the issuance of this report
we have received $37.6 million of this amount.




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     Liability/Defense Policies

       Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs related
to third-party claims. As of September 30, 2021, we have accrued third-party claim amounts of $166.2 million, have paid $132.0 million
of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $57.7 million and we have
collected $30.1 million of this amount. We anticipate collecting a total of $35.6 million for these expenses. Costs recorded under these
policies in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional amount was incurred
for claims of $3.1 million and for defense costs of $35.6 million. As of the end of September 2021, an additional $1.3 million for
liability has been incurred and an additional $7.9 million in defense costs. To date we have paid $55.1 million of these defense cost
invoices.
     Environmental/Pollution Policies

      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of September 30, 2021, we have
incurred $51.5 million of costs, paid $49.0 million of those costs and have collected the full $25.0 million of coverage under this
policy. We incurred $23.1 million, $28.0 million and $0.4 million of these costs in 2019, 2020 and 2021 respectively.

     Inventory Policy

      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We expect to recover
the fair market value at the time of the event on these materials which is estimated to be $4.5 million.

     Not Recoverable

      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits.


NOTE J – COVID-19 EXPENSES

      The $0.2 million and $0.6 million of COVID-19 expenses for the three and nine months ended September 30, 2021 relate to costs
incurred as a result of precautionary measures taken by the Company to prevent the spread of COVID-19 at TPC sites. The costs
include protective gear for employees, increased sanitation of TPC sites, and enhancements to workspaces to promote safety.

NOTE K – FREEZE EVENT EXPENSES

      The freeze event expenses of $6.4 million and $39.7 million for the three and nine months ended September 30, 2021 relate to
costs incurred as a result of extreme winter weather experienced by large parts of the southern United States, including Texas and
Louisiana where the Company’s operations are located. The costs include extensive emergency repairs, utility costs and overtime
personnel costs.

NOTE L – TECHNICAL CENTER FIRE EVENT EXPENSES

     In January of 2021 a fire occurred in the Technical Center at the Houston Plant. The Technical Center is used for quality control
and research and development activities. The $0.6 million and $6.8 million of Technical Center fire expenses for the three and nine
months ended September 30, 2021 relates to costs incurred as a result of a fire. The expenses primarily represent event response costs,
outsourced quality control testing and rental expenses to house equipment and employees.

  NOTE M – INCOME TAXES

      The income tax provisions for the third quarters of 2021 and 2020 represent the differences between the income tax provisions for
the nine-month periods ended September 30, 2021 and 2020 and the income tax provisions for the six-month periods ended June 30,
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2021 and 2020, respectively. The effective tax rates applied to pretax loss for the nine months ended September 30, 2021 and 2020
were the projected effective rates for the respective full years ending December 31, which reflected the federal statutory rate of 21%
appropriately adjusted for the state tax provision and permanent book/tax differences. The projected full-year 2021 effective income
tax rate applied to pretax loss for the nine months ended September 30, 2021 and 2020 was 20.7% and 20.8%, respectively.
      In response to the global pandemic related to the outbreak of COVID-19, on March 27, 2020, the Coronavirus Aid, Relief, and
Economic Security Act (the "CARES Act") was enacted in the US to grant relief to taxpayers. The CARES Act provides numerous
tax provisions and other stimulus measures, including temporary changes regarding the prior and future utilization of net operating
losses, temporary changes to the prior and future limitations on interest deductions, temporary suspension of certain payment
requirements for the employer portion of social security taxes, technical corrections from prior tax legislation for tax depreciation of
certain qualified improvement property and the creation of certain refundable employee retention credits. The Company does not
currently expect the CARES Act to have a material impact on its tax expense. The Company will continue to monitor legislative and
regulatory developments related to COVID-19 and will record the associated tax impacts as discrete events in the periods that guidance
is finalized, or the Company is able to estimate an impact.

NOTE N – COMMITMENTS AND CONTINGENCIES (see Note Q of Exhibit I for additional discussion)

     Legal Matters

      From time to time, we are party to routine litigation incidental to the normal course of our business, consisting primarily of claims
for personal injury or exposure to our chemical products or feedstocks, and environmental matters. We intend to defend these actions
vigorously and believe, based on currently available information, that adverse results or judgments from such actions, if any, will not
be material to our financial condition, results of operations or cash flows. We record reserves for contingencies when information
available indicates that a loss is probable, and the amount of the loss is reasonably estimable. Management’s judgment may prove
materially inaccurate, and such judgment is subject to the uncertainty of litigation. Many of the personal injury or product exposure
lawsuits to which we are a party are covered by insurance subject to certain self-insured retention amounts.
      Our contractual arrangements with our customers and suppliers are typically very complicated and can include, for example,
complex index-based pricing formulas that determine the price for our feedstocks or finished products. Due to the complicated nature
of our contractual arrangements, we can, from time to time, be involved in disputes with our customers and suppliers regarding the
interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the normal course of our business,
seldom result in actual formal litigation, and are typically resolved in the context of the broader commercial relationship that we have
with the customer or supplier.
     On December 10, 2020, the Company received a notice from a customer asserting a purported breach of the parties’ MTBE sales
agreement. The customer asserts that it had properly exercised the right of first refusal provided in the sales agreement and that the
Company’s subsequent agreement with another customer constitutes a breach of the sales agreement. The Company disputes and
intends to aggressively defend the customer’s possible claim. A mediation took place in May 2021 as required in the dispute resolution
provisions of the sales agreement. No settlement was reached at that mediation, and no lawsuit has yet been filed.
      As described above, we record reserves for contingencies when information available indicates that a loss is probable, and the
amount of the loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment is subject to
the uncertainty of the dispute resolution or litigation process. As of June 30, 2021, we have not recognized any material reserves related
to unresolved disputes with customers and suppliers.
       Fifty-nine private party lawsuits, including five class actions, are pending in Texas state court related to the November 2019
incident at our Port Neches plant. The petitions bring a variety of claims sounding in negligence, gross negligence, nuisance, and
trespass. The plaintiffs in these cases allege in the most general way that we were negligent and/or grossly negligent by breaching
duties to, among other things, (1) maintain unspecified plant equipment, (2) develop, implement, and maintain proper procedures for
storage of chemicals at the facility, and (3) warn the public concerning the risks and dangers of the chemicals maintained at the
facility. The petitions also allege that these and other breaches caused damages, including property damage, medical care and expenses,
pain and suffering, physical impairment, lost earnings, disfigurement, medical monitoring, mental anguish, and injury to
business. Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas
state court cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated
the 128th District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to
file short-form petitions in the MDL proceeding, which currently includes approximately 1,695 individual plaintiffs. Approximately
350 individual plaintiffs, have cases pending in Jefferson County, Texas which have not yet been non-suited or abated. Additionally,

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                                                              (Unaudited)

claims have been made for more than 750 other properties, and more than 350 properties are the subject of litigation as a result of
subrogation claims filed by homeowners’ insurance companies. The Court has been conducting monthly status conferences. The
Court entered a Case Management Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no
longer in effect, and a revised schedule will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2
and Q3 2021 adding additional defendants and many of those additional defendants have either moved to dismiss the claims against
them or filed jurisdictional challenges. A hearing on class certification is not expected before the second half of 2022 at the earliest.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident. The United States Environmental Protection Agency (EPA) is investigating the
Company as a result of the 2019 incident. The Company also was served with an information request under Section 114 of the federal
Clean Air Act. The request seeks information about the incident as well as the Company’s Risk Management Program compliance
record at both the Port Neches and Houston facilities. Such requests are typically the first step in EPA enforcement. We anticipate
that there likely will be additional enforcement matters, claims for cost recovery, and/or claims for natural resources damages from
TCEQ, EPA, and OSHA.
     Because these lawsuits, which we intend to vigorously defend, are in their early stages, we are unable to determine if a loss is
probable or estimate the amount or range of potential loss and therefore have not established any reserves, but we believe the amounts
involved may be material.
      Beyond the matters in active litigation, the Company has received other claims and demands, through its formal claims process
and otherwise, from individuals, companies, and insurers claiming damages as a result of the incident. The Company is in the process
of reviewing these claims. It is possible some of these claims may result in additional litigation.

     Environmental and Safety Matters

      Our Company is subject to federal, state, local and foreign laws, regulations, rules and ordinances from various governing agencies
that regulate human health, safety, security and the environment.
      We are committed to maintaining compliance with applicable environmental, health, safety (including process safety) and security
(“EHS&S”) legal requirements, and we have developed policies and management systems intended to identify the various EHS&S legal
requirements applicable to our operations and facilities. We work to enhance and assure compliance with applicable requirements,
ensure the safety of our employees, contractors, community neighbors and customers, and minimize the generation of wastes, the
emission of air contaminants and the discharge of pollutants. These EHS&S management systems also serve to foster efficiency and
improvement and to reduce operating risks.
      In the ordinary course of business, we undertake frequent environmental inspections and monitoring and are sometimes subject to
investigations by governmental authorities. In addition, our production facilities require a number of environmental permits and
authorizations that are subject to renewal, modification and, in certain circumstances, revocation. Actual or alleged violations of
environmental laws or permit requirements or the discovery of releases of hazardous substances at or from our facilities could result in
restrictions or prohibitions on plant operations, significant remedial expenditures, substantial civil or criminal sanctions, as well as,
under some environmental laws, the assessment of strict and/or joint and several liability. Moreover, changes in environmental
regulations or the terms of our environmental permits could inhibit or interrupt our operations or require us to modify our facilities or
operations. Accordingly, environmental or regulatory matters may cause us to incur significant unanticipated losses, costs or liabilities.
     In addition to the requirements imposed upon us by law, we also enter into other agreements from time to time with state and local
environmental agencies either to avoid the risks of potential regulatory action against us or to implement improvements that exceed
current legal requirements.
      The Company has agreed to indemnify third parties for environmental and other liabilities pursuant to various agreements,
including asset divestiture agreements and leases. Many of these obligations contain monetary and/or time limitations, but others do not
provide for those limitations. The Company is not aware of any probable and reasonably estimable losses associated with any of these
obligations.




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     Port Neches Incident

      The Occupational Safety and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port
Neches plant in December 2019. OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations
and three willful citations with total proposed penalties of approximately $0.5 million. The Company has appealed these citations.
We strongly disagree with the characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took
place August 5-6 and 19-20, 2021. The citations were not resolved, and OSHA filed its complaint on September 9, 2021. It is
anticipated that trial will take place in Q4 2022.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident.
      On October 30, 2020, the United States Environmental Protection Agency (EPA) served the Company with an information request
under Section 114 of the federal Clean Air Act. The request seeks information about the incident as well as the Company’s Risk
Management Program compliance record at both the Port Neches and Houston facilities. Such requests are typically the first step in
EPA enforcement. We have recently received two additional subpoenas from the EPA for documents and data and are in the process
of responding to those subpoenas. We anticipate that there likely will be additional enforcement matters, claims for cost recovery,
and/or claims for natural resources damages from TCEQ, EPA, and OSHA. The Company may have insurance coverage for some of
the foregoing claims for environmental cleanup.

NOTE O – DEFINED BENEFIT PENSION PLAN

     For the periods presented, periodic pension expense consisted of the following components (in thousands):
                                                                  Three Months Ended           Nine Months Ended
                                                                     September 30,               September 30,
                                                                   2021        2020            2021        2020
            Components of net periodic pension cost:
             Service cost                                     $        56     $    195     $      420    $     751
             Interest cost                                             28           99            178          356
             Expected return on assets                                (51)        (161)          (369)        (582)
             Amortization of prior service cost                         (4)        (12)           (28)         (32)
             Amortization of actuarial loss                            30          175            282          477
             Settlement charge                                        709          -              709        1,166
             Curtailment (credit)/charge                              -            -              -           (539)
                                                              $       768     $   296      $     1,192   $   1,597

       In June 2021, the lump sum distributions from the Plan exceeded the expected sum of the Service Cost and Interest Cost for 2021.
Settlement accounting required under FASB ASC 715 resulted in a settlement charge recognized as of June 30, 2021. However, once
a settlement occurs, each additional lump sum payment is considered a settlement and requires a re-measurement of Plan liabilities and
assets. Settlement accounting was triggered again by lump sum payments made from July 1, 2021 through August 31, 2021.

NOTE P – SUBSEQUENT EVENTS

     We evaluated subsequent events through November 12, 2021, the date the financial statements were issued.
      On October 19th, 2021, we executed a $43.0 million unallocated Partial Proof of Loss under our property and business interruption
policies. As of the date of issuance of this quarterly report we have received $37.6 million. We also reached agreements with respect
to the majority of our remaining outstanding claims for reimbursement of eligible liability defense costs we incurred in 2020. As a
result, we have received an additional $4.0 million of reimbursements since September 30, 2021.



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                                                                  Exhibit I




               TPC Group Inc.
             ANNUAL REPORT
           Year ended December 31, 2020




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                                                   DEFINITIONS OF TERMS

     Capitalized and other terms used throughout this Annual Report for the year ended December 31, 2020, unless the specific context
otherwise requires or indicates, have the meanings ascribed to them below:

     •   ABL – our asset-based loan facility originally entered in December 2012, which was repaid, amended, and restated in
         conjunction with the refinancing of our debt on August 2, 2019 and again amended on February 2, 2021 to permit the issuance
         of the 10.875% Notes. The ABL is scheduled to mature in August 2024. For a detailed description of the ABL see Note H
         to our audited financial statements on pages 49-53 of this Annual Report for the year ended December 31, 2020;
     •   ASC - Accounting Standards Codification, which is the sole source of authoritative generally accepted accounting principles
         in the United States, other than rules and regulations issued by the Securities and Exchange Commission (SEC) that apply to
         SEC registrants;
     •   ASU - Accounting Standards Update, which the Financial Accounting Standards Board (FASB) issues to communicate
         changes to the ASC. ASUs are not authoritative standards;
     •   Company, us, we, and our - TPC Group Inc. and its subsidiaries;
     •   GAAP – Generally Accepted Accounting Principles in the United States;
     •   Gross profit contribution (“GPC”) - as used herein, is defined as revenue less cost of sales as reported in our consolidated
         statements of operations and comprehensive income. GPC is the residual amount that is available, after deducting the
         variable costs to produce and distribute our products from revenue, to cover all other expenses;
     •   Holdings - TPC Holdings Inc., a Delaware corporation, which, upon consummation of the Merger, became the direct parent
         of TPCGI. Holdings and Parent are affiliates of our Sponsors formed by investment funds affiliated with our Sponsors in
         order to acquire TPCGI;
     •   Merger – the December 20, 2012 merger of Sawgrass Merger Sub Inc., a Delaware corporation, which merged with and into
         TPCGI, with TPCGI surviving the Merger as a direct wholly-owned subsidiary of Holdings and an indirect wholly-owned
         subsidiary of Parent;
     •   New Term Loan – the Delayed Draw Term Loan Facility entered into on February 3, 2020, which provides for a delayed
         draw term loan of up to $70 million for a term of one year. For a detailed description of the New Term Loan see Note H to
         our audited financial statements on pages 49-53 of this Annual Report for the year ended December 31, 2020;
     •   Old Term Loan – the Senior Secured Delayed Draw Term Loan Facility, scheduled to mature in December 2020, for which
         the outstanding balance of $50 million was repaid with the net proceeds from issuance of the 10.5% Notes and which was
         terminated in conjunction with the refinancing of our debt on August 2, 2019;
     •   Parent - Sawgrass Holdings LP, a Delaware limited partnership, which, upon consummation of the Merger became the direct
         parent of Holdings and indirect parent of TPCGI. Parent and Holdings are affiliates of our Sponsors formed by investment
         funds affiliated with our Sponsors in order to acquire TPCGI;
     •   Sponsors - First Reserve Management, L.P. and SK Capital Partners;
     •   TPCGI - TPC Group Inc., a Delaware corporation, not including any of its subsidiaries;
     •   TPCGLLC - TPC Group LLC, a Texas limited liability company and the principal subsidiary of TPCGI;
     •   TPCPF - TPC Phoenix Fuels LLC, a Texas limited liability company and wholly owned subsidiary of TPCGLLC.
     •   8.75% Notes – the $805 million principal amount of Senior Secured Notes due in December 2020, which were redeemed
         with the net proceeds from issuance of the 10.5% Notes in conjunction with the refinancing of our debt on August 2, 2019;
     •   10.5% Notes – the $930 million principal amount of Senior Secured Notes due August 1, 2024 issued in conjunction with the
         refinancing of our debt on August 2, 2019. For a detailed description of the 10.5% Notes see Note H to our audited financial
         statements on pages 49-53 of this Annual Report for the year ended December 31, 2020;
     •   10.875% Notes – the $153 million principal amount of Senior Secured Notes due August 1, 2024, which were issued on
         February 2, 2021 and for which a portion of the proceeds were used to repay and terminate the New Term Loan.



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                                                     EXPLANATORY NOTE

      This Annual Report is highly confidential and has been prepared pursuant to the terms of the Indenture (the “10.5% Indenture”)
dated as of August 2, 2019, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and U.S.
Bank, National Association, as trustee and collateral agent, with respect to the 10.5% Notes, as amended by the Supplemental Indenture
dated as of February 2, 2021, and the Indenture (the “10.875% Indenture” and collectively with the 10.5% Indenture, the “Indentures”)
dated as of February 2, 2021, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and the
U.S. Bank, National Association, as trustee and collateral agent, with respect to the 10.875% Notes. Unlike companies with securities
that are registered under the Securities Exchange Act of 1934 (the “Exchange Act”) or traded on a national securities exchange, the
Company is not required to file reports with the Securities and Exchange Commission and, except as provided under the Indentures, the
Company is not required to deliver any reports to holders of its securities. As a result, this Annual Report does not include all the
information that would be required to be included in an Annual Report on Form 10-K that is filed pursuant to the Exchange Act,
including, among other things, a description of the material risks faced by the Company. Moreover, this Annual Report does not include
all the information that may be material to holders of the Company’s securities, including the 10.5% Notes, and should not be relied
upon by any person in making an investment decision with respect to the Company’s securities. Except as strictly required pursuant to
the terms of the Indentures, the Company undertakes no obligation to update or revise any information contained in this Annual Report.

      This Annual Report shall not constitute an offer to sell, or the solicitation of an offer to buy, any securities of the Company,
including the 10.5% Notes and the 10.875% Notes. Distribution of this Annual Report to any person other than holders of the 10.5%
Notes and the 10.875% Notes is unauthorized and any disclosure of any of its contents without the Company’s prior written consent is
prohibited. By accepting delivery of this Annual Report, you agree to the foregoing and not to make any photocopies, in whole or in
part, of this Annual Report or any documents or materials relating to the Company that are provided in connection with this Annual
Report.




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                            CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS


      This Annual Report contains forward-looking statements that do not directly or exclusively relate to historical facts. You can
typically identify forward-looking statements by the use of forward-looking words, such as “will,” “may,” “might,” “should,” “can,”
“could,” “project,” “believe,” “anticipate,” “expect,” “estimate,” “continue,” “potential,” “plan,” “forecast” and other words of similar
import. Forward-looking statements include information concerning possible or assumed future results of our operations, including the
following:

         •   business strategies;
         •   operating and growth initiatives and opportunities, including proposed capital projects;
         •   existing and expected competition and competitive position;
         •   market outlook and trends in our industry;
         •   expected financial condition;
         •   future cash flows, including insurance proceeds;
         •   financing sources and availability;
         •   expected results of operations;
         •   future capital and other expenditures;
         •   availability and price of raw materials and inventories;
         •   the business cyclicality of the petrochemicals industry;
         •   effects of seasonality;
         •   plans and objectives of management or the sponsors;
         •   future compliance with orders and agreements with regulatory agencies;
         •   environmental matters;
         •   expected outcomes of insurance settlements, legal, environmental or regulatory proceedings and their expected effects on
             our results of operations;
         •   expectations, strategies and plans for individual assets and products (including the ability to maintain plant utilization
             rates), business segments and the company as a whole;
         •   anticipated restructuring, divestiture and consolidation activities;
         •   cost reduction and control efforts and targets;
         •   compliance and other costs and potential disruption or interruption of production or operation due to accident, interruptions
             in sources of raw materials, cyber security incidents, terrorism, political unrest, natural disasters or other unforeseen events;
             and
         •   any other statements regarding future growth, future cash needs, future operations, business plans and future financial
             results.

      These forward-looking statements represent our intentions, plans, expectations, assumptions and beliefs about future events and
are subject to risks, uncertainties and other factors, including risks and uncertainties such as volatility in the petrochemicals industry,
limitations on the Company’s access to capital, the timing and amount of insurance proceeds received, the effects of competition,
leverage and debt service, general economic conditions, third-party claims, governmental litigation and investigations, and extensive
environmental, health and safety laws and regulations. Many of those factors are outside of our control and could cause actual results
to differ materially from the results expressed or implied by the forward-looking statements.

      In light of these risks, uncertainties and assumptions, the events described in the forward-looking statements might not occur or
might occur to a different extent or at a different time than we have described. Except as may be required by applicable law or
agreement, we undertake no obligation to update or revise any forward-looking statements, whether as a result of new information,
future events or otherwise.




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                                SELECTED HISTORICAL CONSOLIDATED FINANCIAL DATA

      The following table presents selected historical consolidated financial data (in thousands) at the dates and for the periods indicated.
This selected historical consolidated financial data should be read in conjunction with “Management’s Discussion and Analysis of
Financial Condition and Results of Operations” and the historical consolidated financial statements, together with the related notes,
included elsewhere in this Annual Report.

      The Balance Sheet and Statements of Operations and Cash Flows Data presented below have been derived from the Company’s
audited consolidated financial statements. The “Other Financial Data” presented below is unaudited, non-GAAP information.
Consolidated Balance Sheets as of December 31, 2018, 2017 and 2016 and Consolidated Statements of Operations and Comprehensive
Loss and Consolidated Statements of Cash Flows for the years ended December 31, 2017 and 2016 are not included in this Annual
Report.




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                                                                                                          Year Ended December 31,
                                                                         2020                 2019                2018               2017               2016


Statements of Operations Data:
Revenue                                                          $        751,390         $   1,464,926      $    1,626,835      $   1,609,068      $   1,114,459
Cost of sales (excludes items listed below)                               519,063             1,031,833           1,253,054          1,256,669           807,868
Operating expenses                                                        181,059              179,936              183,328           176,963            164,827
General and administrative expenses                                        27,970               28,695               26,337            32,202             25,572
Depreciation and amortization                                              74,155               81,002              141,708           139,904            137,113
Loss on Port Neches incident, net of insurance recovery                    50,141               91,895                    -                 -                  -
COVID-19 expenses                                                            1,896                    -                   -                 -                  -
Repair and other expenses related to dock incident                              -                     -               1,459                 -                  -
Business interruption insurance recovery                                   (12,100)                   -                  (567)              -                  -
Gain on sale of HRVOC allowances                                                -                     -                   -             (6,152)                -
Hurricane Harvey expenses                                                       -                     -                   -             7,512                  -
Capital project write-offs                                                      -                     -                   -                 946             6,875
Gain on sale of plant                                                           -                     -                   -                 -              (5,037)
  Income (loss) from operations                                            (90,794)             51,565               21,516             1,024             (22,759)
Interest expense                                                          112,933              101,729               89,305            81,662             82,617
Other (income) expense                                                          182               1,565                  (889)          1,270              (1,803)
  Loss before income taxes                                                (203,909)             (51,729)            (66,900)           (81,908)          (103,573)
Income tax benefit                                                         (15,745)             (10,238)            (13,698)           (56,094)           (34,989)
  Net loss                                                       $        (188,164)       $     (41,491)     $      (53,202)     $     (25,814)     $     (68,584)



Statements of Cash Flows Data:
Cash flows from operating activities                             $         (88,865)       $    117,354       $       30,817      $     36,478       $      (2,138)
Cash flows from investing activities
  Capital expenditures                                                     (55,889)             (53,957)            (63,717)           (45,652)           (42,861)
  Proceeds from sale of assets                                                  -                     -                   -                 -             59,913
Cash flows from financing activities
  Proceeds from issuance of 10.5% Notes                                         -              930,000                    -                 -                  -
  Redemption of 8.75% Notes                                                     -              (805,000)
  Repayment of Old Term Loan                                                    -               (50,000)
  Net proceeds from (paydowns on) ABL                                           -               (40,000)             32,000            (12,500)           (52,500)
  Proceeds from New Term Loan                                              69,300                     -                   -                 -                  -
  Insurance finance borrowings                                             42,492                     -                   -                 -                  -
  Insurance finance repayments                                             (29,395)                   -                   -                 -                  -
  Debt issuance costs                                                       (4,344)             (14,902)                 (502)          (5,149)            (3,131)
  Equity contributions (returns), net                                               (6)              (141)                -                  19           15,019
  Proceeds from Old Term Loan borrowings                                        -                     -                   -            25,000             25,000



Balance Sheet Data (end of period):
Cash and cash equivalents                                        $         18,452         $     85,159       $           995     $      2,397       $       4,201
Trade accounts receivable                                                  73,477               83,882               93,962            95,833             81,246
Insurance receivable - Port Neches incident                                23,289              185,477                    -                     -                  -
Inventories                                                                45,435               52,058               68,092            72,564             66,491
Property, plant and equipment, net                                        703,273              684,844              702,090           749,442            815,746
Total assets                                                              964,749             1,173,502             976,706           999,579           1,059,478
Current liabilities                                                       309,087              387,164              171,816           162,336            153,569
Long-term debt, net of deferred financing costs                           985,321              915,772              882,362           844,821            831,504
Deferred income taxes                                                           -               13,271               22,276            36,740             92,978
Total liabilities                                                        1,294,408            1,316,207           1,076,454          1,043,897          1,078,051
Total equity (deficit)                                                    (329,659)            (142,705)            (99,748)           (44,318)           (18,573)

Other Non-GAAP Financial Data:
EBITDA (1)                                                       $         (16,821)       $    131,002       $      164,113      $    139,658       $    116,157
Adjusted EBITDA (1)                                                        45,875              231,418              167,321           170,014            109,602




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(1) EBITDA and Adjusted EBITDA are not measures computed in accordance with GAAP. A non-GAAP financial measure is a numerical
    measure of historical or future financial performance, financial position or cash flows that excludes amounts, or is subject to adjustments that
    have the effect of excluding amounts, that are included in the most directly comparable measure calculated and presented in accordance with
    GAAP in the balance sheets, statements of operations, or statements of cash flows (or equivalent statements); or includes amounts, or is
    subject to adjustments that have the effect of including amounts, that are excluded from the most directly comparable measure so calculated
    and presented.
     We are including a presentation of EBITDA and Adjusted EBITDA in this Annual Report because their presentation is required under the
     Indentures. In addition, the Indentures contain debt incurrence ratios that are calculated by reference to Adjusted EBITDA. Non-
     compliance with the debt incurrence ratios contained in the Indentures would prohibit us from being able to incur additional indebtedness
     other than pursuant to specified exceptions.
     We calculate EBITDA as earnings before interest, taxes, depreciation and amortization and we calculate Adjusted EBITDA as EBITDA,
     adjusted to remove or add back certain items, including the impact of butadiene price changes. These items are identified below in the
     reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss), the GAAP measure most directly comparable to EBITDA and
     Adjusted EBITDA. Our calculation of EBITDA and Adjusted EBITDA may be different from the calculations used by other companies;
     therefore, they may not be comparable to other companies.
 The following table provides a reconciliation of EBITDA and Adjusted EBITDA to Net Loss for the periods specified.

                                                                                    Year Ended December 31,
                                                          2020               2019            2018           2017                  2016


 Net Loss                                            $     (188,164)   $      (41,491)   $      (53,202)   $      (25,814)   $      (68,584)
   Income tax benefit                                      (15,745)           (10,238)          (13,698)          (56,094)          (34,989)
   Interest expense, net                                   112,933            101,729            89,305            81,662            82,617
   Depreciation and amortization (1)                        74,155             81,002           141,708           139,904           137,113
 EBITDA                                                     (16,821)          131,002           164,113           139,658           116,157
   Impact of butadiene price changes (2)                     5,211              8,014            (3,709)           18,540            (9,265)
   Port Neches Incident (3)                                 50,141             91,895               -                 -                 -
   Write-offs (4)                                              -                  -                 -                 -               6,875
   Other non-recurring items (5)                             7,344                507             6,917            11,816            (4,165)

 Adjusted EBITDA                                     $      45,875     $      231,418    $      167,321    $      170,014    $      109,602




(1) Includes depreciation, amortization of deferred turnaround and catalyst costs and amortization of patents for all periods presented.
(2) Adjustment to remove the estimated temporary impact on our operating results of month-to-month changes in the contract price of butadiene.
    For further discussion see “Management’s Discussion and Analysis of Financial Condition and Results of Operations”.
(3) Adjustment to remove the losses and costs incurred, net of actual and probable insurance recoveries as a direct result of the Port Neches
    incident (discussed on pages 12-14).
(4) Adjustments to remove charges for the write-offs of accumulated costs for certain capital projects.
(5) Adjustments to remove the impact of certain non-recurring items for 2020 which include incremental expenses directly related to the impact
    of Hurricane Laura and Tropical Storm Beta of $0.5 million, the estimated impact of lost sales due to Hurricane Laura and Tropical Storm
    Beta of $4.4 million, the incremental expenses directly related to our response to the COVID-19 pandemic of $1.9 million, and refinancing
    optimization expenses of $0.5 million. The adjustment for 2019 removes refinancing optimization expenses incurred in advance of
    refinancing our debt on August 2, 2019. The adjustment for 2018 removes a $0.6 million business interruption insurance recovery related
    to Hurricane Harvey and the insurance deductible and uninsured logistics and legal expenses related to the Houston dock incident (discussed
    on page 12) of $1.5 million and adds $6.0 million of estimated margin impact of lost sales volume as a direct result of the dock incident.
    The adjustment for 2017 removes incremental expenses directly related to the impact of Hurricane Harvey of $7.5 million, certain corporate
    optimization initiatives of $1.6 million and a gain from the sale of environmental emissions credits of $6.1 million and adds $8.8 million of
    estimated impact of lost sales due to Hurricane Harvey. The adjustment for 2016 removes the book gain of $5.0 million from the sale of our
    Baytown plant in the fourth quarter of 2016 and earnings, net of dividends received, from our interest in a joint venture we sold in 2016.




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  MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

     The following discussion and analysis of our financial condition and results of operations should be read in conjunction with the
consolidated financial statements and accompanying notes, which are included elsewhere in this Annual Report.

     Overview

     We are a leading North American producer of value-added products derived from petrochemical raw materials such as C4
hydrocarbons. Our products are sold to producers of a wide range of performance, specialty and intermediate products, including
synthetic rubber, fuels, lubricant additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
      In our C4 Processing segment, we process the crude C4 stream into higher value components, namely butadiene, butene-1 and
raffinates. Butadiene is primarily used to produce synthetic rubber that is mainly used in tires and other automotive products; butene-
1 is primarily used in the manufacture of polyethylene plastic resins and synthetic alcohols; and raffinates are primarily used in the
production of alkylate, a component of premium unleaded gasoline.
      In our Performance Products segment, we process isobutylene, which we purchase as a raw material and also produce internally,
to produce polyisobutylene (“PIB”), diisobutylene (“DIB”), and methyl tertiary-butyl ether (“MTBE”). PIB is primarily used in the
production of fuel and lubricant additives, caulks, adhesives, sealants and packaging; DIB is primarily used in the manufacture of
surfactants, plasticizers and resins; and MTBE is primarily used as a gasoline blending stock.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 12-14). The Houston plant, in addition to processing crude C4, also produces PIB, DIB,
and MTBE. The raw material isobutylene processed at our Houston facility is sourced from processing crude C4, third-party supply
and internal on-purpose production. The feedstock for our on-purpose isobutylene production is isobutane, which is a plentiful natural
gas liquid resulting from shale gas development. As discussed in more detail under “Current Market and Business Conditions” below,
in order to replace the lost crude C4 processing capacity at our Port Neches plant, we recently entered into a long-term contract with a
third-party to process a substantial portion of our crude C4 supply and return butadiene and raffinate to us.
     We also provide critical infrastructure and logistics services along the Gulf Coast. Both our Houston processing facility and our
terminals provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers and
raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and ocean-
going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served by
barges.
      The primary drivers of our businesses are general economic and industrial growth. Our results are impacted by the effects of
economic upturns or downturns on our customers and our suppliers, as well as on our own costs to produce, sell and deliver our products.
Our customers generally use our products in their own production processes; therefore, if our customers curtail production of their
products, our results could be materially affected. In particular, our feedstock costs and product prices are susceptible to volatility in
pricing and availability of crude oil, natural gas, natural gas liquids such as isobutane and oil-related products such as unleaded regular
gasoline. Prices for these products tend to be volatile as well as cyclical, as a result of global and local economic factors, worldwide
political events, weather patterns and the economics of oil and natural gas exploration and production, among other things.

Material Industry Trends

      We receive crude C4 feedstock for our C4 Processing segment from steam crackers, which are designed to process naphtha and
natural gas liquids (“NGL’s”) as feedstocks for ethylene production. Crude C4 is a by-product of the ethylene production process, and
the volume of crude C4 produced by the process is driven by both the volume of ethylene produced and the composition of the steam
cracker feedstock. Some major ethylene producers have the flexibility to shift from light feedstocks, such as NGL’s (ethane, propane
and butane), to heavier feedstocks, such as naphtha, or vice versa depending on the economics of the feedstock. When ethylene
producers process heavier feedstock, greater volumes of crude C4 are produced. However, when light feedstocks (i.e. NGL’s) are
inexpensive relative to heavy feedstocks, the producers may choose to process those light feedstocks instead, a process referred to as
“light cracking,” which results in lower volumes of crude C4 production. In recent years, lighter cracking by domestic ethylene
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producers has been prevalent as a result of an abundant supply of cost advantaged NGL feedstocks (particularly ethane), and we
experienced the largest impact of the shift from heavier to lighter ethylene cracker feedstocks between 2007 and 2009. In 2015, we
experienced an increase in domestic delivery rates, which reflected more favorable economics for propane and butane cracking compared
to the lighter ethane feedstock. However, over the course of 2016 and 2017, ethane feedstock economics were generally more favorable,
which again resulted in relatively lower domestic delivery rates of crude C4’s. Domestic delivery rates were positively impacted
beginning the latter part of 2017 as newly constructed ethylene crackers in North America came on-line, making more crude C4
feedstock available. Domestic crude C4 feedstock supply continued to grow in 2019 as additional new North American ethylene
crackers came on-line. Those crackers produced additional C4 feedstock in 2020 as they ramped up rates and ran for the full year.
Some constraints regarding our ability to process all of the incremental crude C4 available arose in 2020 due to the outage at our Port
Neches facility. Some amount of the crude C4 produced by the ethylene crackers needed to be consumed through suppliers recycling
the material (referred to as co-cracking) because of short-term limitations in butadiene extraction capacity. TPC has taken steps to
minimize the impact of the Port Neches outage. We ramped up production rates on our largest butadiene extraction unit and converted
one of our butadiene extraction trains (the furfural unit) at our Houston plant, which had been in butane removal service for our raffinate
business since 2014, back to butadiene extraction service. We also restarted our hydrotreating unit, which converts crude C4’s to
butylenes, and are operating the unit at maximum rates in an effort to consume a larger volume of crude C4’s from our suppliers. This
unit has also gone through significant optimization throughout 2020 further increasing crude C4 consumption.
     The supply of butadiene is driven by ethylene cracker operating rates and feedstock composition. Because butadiene is a small
co-product stream in relation to the quantity and value of ethylene and propylene produced in a cracker, butadiene supply is relatively
insensitive to its demand and/or price. In addition, butadiene cannot be stored for long periods of time. Therefore, the price of
butadiene can be highly volatile based on relatively small changes in supply or demand.
       Demand for butadiene strengthened in early 2018 and pricing began an upward trend in response to producer supply constraints
in the early part of the year and strong demand through the third quarter of 2018. As a result of softening demand partly due to typical
seasonality, butadiene pricing declined over the course of the fourth quarter of 2018 and remained relatively stable through the first four
months of 2019. With new car sales demand softening globally over the balance of 2019, butadiene pricing declined 30% over the last
eight months of the year to 34 cents per pound. Our Port Neches plant outage in late November curtailed the domestic supply of
butadiene, which contributed to a 25% increase in the contract price over the first two months of 2020. However, as a result of
temporary weakened global demand linked to the coronavirus, the price of butadiene declined by 50% through July of 2020 as
automotive and tire plants shutdown for much of the second quarter. As the economy began to recover in the second half of 2020, so
did the price of butadiene, rising 130% from its low point of 19.6 cents per pound in June-July to 46 cents per pound in December.
     The North American region continued to be a net importer of butadiene and its derivatives (synthetic rubber and tires) in 2020 and
we expect this to continue in 2021; however, as we look forward, we expect strong global economic growth, combined with the continued
ramp-up of new North American tire plants, to provide growth for the additional butadiene supply that will come from the new ethylene
crackers, which we expect will shrink the amount of imports over the next few years. Further, as we look forward, we expect NGL’s,
due to shale gas, to continue to provide favorable ethylene production economics to North America leading to additional ethylene
crackers being built in the future (2026-2028) bringing additional crude C4’s and butadiene to market. This should lead to additional
butadiene consuming derivative plants being built over the next 6-8 years in North America.
      Beginning in the latter part of 2016 and through 2019, we successfully restructured our C4 processing business by renegotiating
essentially all of our crude C4 supply contracts. As of the end of 2020, approximately 90% of our contracted crude C4 volume was
under the new business model. The primary objective of the restructured business model was to create more stability in the profit
margins we realize on all components of the entire crude C4 streams commensurate with the valuable service we provide to our suppliers.
The restructured model minimizes our downside risk during periods of weaker prices for the commodities upon which the values of our
products are based, as it provides us with a fixed processing margin and energy recovery fee sufficient to cover our processing costs and
a sustainable minimum profit margin. The restructured model also provides us with upside margin sharing with our suppliers when the
value of crude C4 streams, which is based on the value we receive for our products, exceeds a floor value. The margin sharing
mechanism of the restructured contracts is accomplished through direct linkage between the value we receive for the extracted products
and what we pay our suppliers for the components of the crude C4 stream.
     In addition to the margin stability, risk mitigation and upside sharing in the supplier margins, the restructured crude C4 supply
contracts also provide for larger discounts on the price we pay for contained butane as well as an energy fee for having to process larger
volumes of butane in our system. The larger discounts and energy fee offset the cost we incur to remove the butane and/or the negative
impact on the value of and margins realized on our raffinate streams when the contained butane exceeds certain minimum levels.
      The remainder of our crude C4 supply continues to be purchased on a component basis under contractual arrangements not based
on the restructured model and on a spot basis. Under these supply arrangements we are exposed to more commodity risk as they do
not provide the same downside protection as the restructured contracts and there is no direct linkage between the value we receive for
the extracted products and what we pay for various components of the crude C4. Under these arrangements, the profit margins on our

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raffinates, which are the second largest part of the crude C4 stream after butadiene, are directly impacted by the price of unleaded regular
gasoline (ULR) since we buy and sell the butylenes contained in the raffinate streams based on a factor of ULR. The price of ULR
impacts the margins on the raffinate we produce from these streams in two ways. One impact is dependent on the absolute price of
ULR, which impacts the spread between what we pay for the contained butylenes and what we sell them for. We buy and sell the
butylenes on a percentage of ULR basis, so a higher ULR price results in a wider spread and a more positive impact on our margins.
The other impact is dependent on the quantity of inventory and the magnitude of volatility in the ULR price from period to period as we
may purchase the contained butylenes in one period and then sell them in a subsequent period.
      Our MTBE margins in 2020 were negatively impacted by the effects of COVID-19 starting in March and reached a low point in
April due to the MTBE to unleaded regular gasoline (ULR) spread falling from an average of 42 cents per gallon in the first quarter to
4.5 and 2.2 cents per gallon in the second and third quarters, respectively. High raw material isobutane and methanol costs in relation
to the value of MTBE also had a negative impact on MTBE margins during this period. Margins for MTBE, starting at the end of the
third quarter of 2020, began to expand as the MTBE-ULR spread grew to 11.3 cent per gallon. However, the strength of methanol and
butane pricing tempered the margin expansion.

Current Market and Business Conditions

     On March 11, 2020, the World Health Organization declared the ongoing COVID-19 outbreak a pandemic and recommended
containment and mitigation measures worldwide. The pandemic has resulted in widespread adverse impacts on the global economy.
With various government-imposed quarantines and travel restrictions, we experienced significant disruptions in the second quarter of
2020 as the pandemic and its impact on the global economy spread through most of our markets.
      For employees who are considered essential and are working in plants, we have at a minimum, implemented government
recommended protocols and best practices related to social distancing, hygiene and the use of additional personal protective equipment.
TPC’s Crisis Management Team (“CMT”) has helped to safely mitigate exposure risk by quickly identifying and isolating twenty-two
confirmed cases amongst our employees, all of which contracted COVID-19 outside the workplace. These measures have not only
enabled us to continue to operate our facilities safely but have also helped TPC maintain a largely consistent supply chain. Additionally,
the CMT has worked closely with senior leadership to tailor a comprehensive Return to Workplace plan for each site. At the time of this
filing, a significant portion of TPC’s workforce (non-essential workers) continue to work remotely from their homes. Our employees'
health and well-being continue to remain a key priority.
      By the end of March 2020, we witnessed the effects of COVID-19 on our operating results when declining commodity prices
resulted in compressed margins and a $10 million lower of cost and net realizable value inventory adjustment. The expected declines
in consumer demand occurred in March and the second quarter, with the low points in our business in the March-June timeframe. Crude
oil prices increased late in the second quarter and continued to rise throughout the third quarter as supply and demand fundamentals
improved. This ultimately drove higher feedstock costs, which proved beneficial to product prices and margins in the third and fourth
quarters of 2020.
      Despite the partial rebound in crude oil prices, commodity prices may continue to present a challenge for our business in the near-
term. However, we expect the recovery in customer demand to continue, absent a significant resurgence of COVID-19. The extent to
which COVID-19 will adversely impact our business, financial condition and results of operations will depend on numerous evolving
factors, which are highly uncertain, rapidly changing and cannot be predicted.
      The impacts of COVID-19, the global oil and trade wars, and the fallout from the Port Neches plant explosion have all converged
to create challenges in the market that influence commodity prices and spreads. Throughout 2020, the biggest impacts to our business
were in the butadiene, PIB and MTBE segments. The third quarter saw an increase in demand for all of our products including raffinate
(sold to the refining industry for the production of alkylate), butene-1 (used primarily as a comonomer for polyethylene and used in
many single serve packaging applications) and diisobutylene (DIB which is used in resins for the tire industry). Demand for butadiene
was strong and we saw a significant increase in demand for PIB in the third quarter which continued in the fourth quarter.
      Throughout 2020, we saw a continuation of the commodity headwinds that started in the first quarter of 2020 in our MTBE business
with weaker MTBE to isobutane spreads as our primary demand regions of Mexico, Central and South America saw a significant
reduction in gasoline demand. Since the low point on volume and margins in March and April, our MTBE business segment has
continued to recover in both volume and margins. However, the impact of stronger isobutane and methanol pricing on MTBE margins
persisted during the fourth quarter. During this challenging period, we have capitalized on our operational flexibility and moved some
feedstock normally used for MTBE production into our raffinate business to benefit from the stronger demand and margins in alkylate.
We also optimized our hydrotreating and raffinate train operations to maximize our production of butene-1.
     Early in the second quarter, we signed a new MTBE offtake contract with one of the world’s largest independent fuels and
commodity trading firms. The contract is market based and provides a secure outlet for 100% of our MTBE production through the
end of 2023. Since the new MTBE offtake contract is market based, we are subject to greater pricing volatility than under our previous
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offtake contract.
       The closure of automotive production globally during late March and early April resulted in the closure of virtually all tire
manufacturing operations and with that the closure or significant cut back in production levels at the key synthetic rubber plants that
supply raw material to the tire companies. The key raw material we supply to the synthetic rubber industry is butadiene, and its major
use is in tires. As a result of automotive production shutdowns and fewer miles driven with government imposed social distancing
requirements, major tire plants significantly curtailed production, impacting global demand for synthetic rubber and the consumption of
butadiene during the second quarter. Exacerbated by our limited access to certain customers due to the Port Neches incident, our sales
for the prior quarters were markedly lower than what we had projected in our annual operating plan (AOP), hitting the low point in
April. However, third and fourth quarter sales strengthened compared to our first and second quarter levels. China, Europe and the U.S.
all reported increases in new car sales. Additionally, replacement tire sales are recovering, leading us to forecast stronger sales in 2021.

      COVID-19 has not only impacted demand for butadiene, but it also has had a major impact on pricing, leading to our low point in
the June-July time frame of 19.6 cents per pound. After dropping precipitously in the second quarter, butadiene prices increased steadily
through the end of 2020. As the economy began to recover in the second half of 2020, so did the price for butadiene, rising 130% from
its low point of 19.6 cents per pound in June-July to 46 cents per pound in December.
     Demand for butene-1 continued to be solid in the third and fourth quarters. Butene-1 demand remains strong, as demand for
polyethylene single serve packaging continues to grow during the COVID-19 outbreak.
     On May 12, 2020 we completed key milestones on the Port Neches terminal, enabling us to resume selling raffinate to our largest
customer. With strengthening demand and the terminal opening, we were able to return to normal sales levels by the end of the second
quarter. In January 2021, we completed the second phase of our Port Neches terminal and began importing butadiene over our dock
and into refurbished tanks, which enabled us to begin selling and transporting additional volumes of butadiene to major customers in
the Beaumont and Port Neches area.
      In response to the loss of our Port Neches crude C4 processing capacity, we have been actively pursuing tolling opportunities with
third parties within the industry. In January 2021, we signed a long-term contract with a third-party processor for crude C4 processing
and began sending crude C4’s to this processor through enhancements made to our Port Neches terminal in the second phase of our
refurbishment of these assets. We are now receiving butadiene and raffinate back from the third-party processor. This third-party toll
processing deal grows in volume throughout 2021 and into the first quarter of 2022 bringing our butadiene volumes available for sale
back to pre-incident levels. As we look to further increase capacities within our system, we are moving forward with a debottleneck of
our Houston butadiene extraction unit that will increase existing capacity by approximately 25% by the end of 2022.
      After a very strong first quarter for our PIB business, the second quarter was the low point for this business segment due to COVID-
19 impacts on miles driven and its impact on lubricant and fuel additive demand. The third and fourth quarter demand increased
significantly from our second quarter sales levels, with sales volumes for all of 2020 recovering to 85% of our annual operating plan.

Dock Incident – 2018

      On June 13, 2018, an ocean-going bulk carrier navigating in the Port of Houston Ship Channel veered off course and struck a barge
stationed at our primary Houston facility dock. The incident caused substantial damage to both the barge and the dock facilities. There
were no significant injuries and there was no environmental impact from the incident.
      The damaged dock was returned to full barge and ship service in August 2018 after temporary repairs of approximately $5 million
which, excluding a $0.25 million deductible, were reimbursed from insurance proceeds in September 2018. The insurance proceeds
were accounted for as an offset to the actual dock repair costs. The total amount of the insurance deductible and uninsured logistics
and legal expenses recognized in our reported 2018 earnings was $1.5 million and the margin on estimated lost sales volume was
approximately $6.0 million. The revenue and cost of sales related to the lost sales volume for the C4 Processing segment were estimated
to be $4 million and $2 million, respectively, and for the Performance Products segment were estimated to be $13 million and $9 million,
respectively.
      We are currently finalizing the legal agreements with the Port Authority for the additional land needed to rebuild the dock and the
agreements are expected to be finalized by the end of March. Additionally, we have reached an agreement with insurers on the scope
of the rebuild and we are preparing for construction bids. The expectation is to begin construction late in the second quarter of this
year. We anticipate that the entire cost, which we currently estimate to be $30-35 million, will be reimbursed by our insurance carriers.
Port Neches Incident – 2019

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.

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       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” We anticipate future engagement with OSHA regarding these issues
including a settlement conference scheduled for August 2021.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA) served the Company with an
information request under Section 114 of the federal Clean Air Act. The request seeks information about the incident as well as the
Company’s Risk Management Compliance program at both the Port Neches and Houston facilities. Such requests are typically the first
step in EPA enforcement. We anticipate that there likely will be additional enforcement matters, claims for cost recovery, and/or claims
for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,500 property claims have been resolved and approximately 1,600 additional eligible claims are working through the claims process.
The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial statements. The Company
also provided an emotional support hotline staffed by licensed professional counselors from Samaritan Counseling Center of Southeast
Texas.
      In addition to the property claims, sixty-one private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred lawsuits – which
typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual plaintiff cases now
pending. Twenty-seven of the sixty-one private party lawsuits, including approximately 565 individual plaintiffs, are awaiting transfer
to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of subrogation claims filed by
homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. A hearing on class certification is not
expected before Q4 2021 at the earliest.
      Four different sets of insurance policies, under the insurance coverage we had in effect at the time, provide coverage for costs
and losses incurred as a result of the Port Neches incident. Our quota-share property and business interruption policies provide up to
$850.0 million of coverage. The deductible is $10.0 million, with varying coverage sub-limits for some category costs, as well as a
45-day waiting period before qualifying for business interruption coverage. As of December 31, 2020, we have paid $67.7 million of
costs and collected $160.0 million under this policy, of which $12.1 million has been specifically designated as business interruption
coverage and $147.9 million has been designated as an unallocated payment on account. Of the unallocated proceeds of $147.9
million, $36.7 million are recorded as a deferred gain due to the net book value of the affected assets being lower than the value that
we will receive. Reimbursable costs under this policy recorded in 2020 and 2019 total $58.0 million and $64.7 million, respectively.
Of these costs we currently estimate that $111.2 million will be recoverable.
 Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of December 31, 2020, we have incurred third-party claim amounts of $165.0 million, have paid
$120.7 million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $49.8 million
and we have collected $15.3 million of this amount. We anticipate collecting a total of $35.2 million for these expenses. Costs
recorded under this policy in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional
amount was incurred for claims of $3.1 million and for defense costs of $35.6 million.
      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of December 31, 2020, we have
incurred and paid $51.1 million of costs and have collected the full $25.0 million of coverage under this policy. We incurred $23.1
million of these costs in 2019 and an additional $28.0 million in 2020.



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      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage
with a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.4 million. We expect to
recover the fair market value at the time of the event on these materials.
     Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that
exceed the policy coverage limits.
      On January 13, 2021 we executed an additional unallocated Proof of Loss for $40.0 million under our property and business
interruption policies and received the funds in January and February 2021. As of the issuance of this 2020 Annual Report (i.e. March
24, 2021), we have paid out $127.4 million on liability claims. Excluding claims, we have also paid approximately $178.9 million in
response, defense, pollution, and other costs. Additional proceeds anticipated to cover book costs equal $280.6 million with
additional recovery anticipated as a gain.
      For the year ended December 31, 2020, we had recognized a net amount of losses and incurred costs of $50.1 million, which
reflected $129.4 million in losses and incurred costs offset by $79.3 million of insurance proceeds. The net amount of $50.1 million
included estimated liability claims expected to be in excess of our liability insurance coverage of $3.1 million. Additionally, the net
amount of response cost losses of $47.2 million represents costs incurred directly related to the ongoing incident response and cleanup
activities for which insurance coverage was not considered probable or costs were in excess of certain insurance coverage limitations.
     The following table summarizes the net amount of losses and current costs for the year ended December 31, 2020 (in millions):


                                                                                             Insurance
                                                                               Cost          anticipated          Net cost
                                 Liability claims                         $        3         $      -             $     3
                                 Response costs                                  126                  79               47
                                                                          $      129         $        79          $     50


     The following table summarizes the net amount of inception to date losses and costs incurred as of December 31, 2020 (in millions):

                                                                                                                 Insurance
                                                                                                      Cost       anticipated   Net cost
                                            Response and cleanup costs
                                            Incurred as of December 31, 2019                      $        287   $     195     $    92

                                            Incurred three months ended March 31, 2020                      80          57     $    23

                                            Incurred three months ended June 30, 2020                       27          24     $     3
                                            Incurred three months ended September 30, 2020                  13          14     $    (1)

                                            Incurred three months ended December 31, 2020                    9          (16)   $    25

                                            Incurred as of December 31, 2020                      $        416   $     274     $   142




Coronavirus – 2021

      The global coronavirus (or COVID-19) pandemic continues to cause considerable uncertainty in the marketplace, and efforts to
stop the virus are also having significant economic consequences. Though the government restrictions across the world have generally
started to ease and vaccines have become available to help prevent COVID-19 infections, the extent and duration of measures
implemented to try to slow the spread of the virus, such as travel bans and restrictions, border closures, quarantines, and business and
government shutdowns have caused, and may continue to cause, reduced demand and operational delays. In 2020, global markets
experienced a precipitous decline in oil prices in response to concerns regarding the potential impacts of the COVID-19 outbreak on
worldwide oil demand and the anticipated increases in oil production from Russia and OPEC, which have impacted margins in our
raffinate and MTBE businesses. Although commodity prices have recovered considerably, we expect the outlook for 2021 to remain
uncertain due to the rapidly evolving conditions, and we cannot estimate the scope of their impact on our business, our results of
operations, our financial condition, our personnel, our customers, our suppliers or the global economy. We continue to assess the
potential impact of COVID-19 on our staff and operations and have implemented appropriate mitigation plans, including precautions
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with regard to employee and facility hygiene, imposed travel limitations on our employees and directed our employees to work remotely
whenever possible. We also continue to work with our suppliers to understand the potential impacts to our supply chain, and at this
time, we have not identified any material risks to our supply chain. This is a rapidly evolving situation, and we will continue to monitor
developments affecting our workforce and our suppliers and take additional precautions as we believe are warranted.

Technical Center Fire - 2021

      Early on the morning of January 9, 2021, the TPC Houston operations team responded to a fire alarm in the Technical Center.
The Technical Center, located on the southwest side of the facility, which contains quality control and research and development
activities, had a fire in the mechanical room. TPC’s Emergency Response Team responded to the incident with assistance from the
Houston Fire Department. The Company coordinated with local officials and emergency responders to quickly resolve the issue.
There were no injuries to TPC employees and no offsite or environmental impacts as a result of the event; however, one emergency
responder sustained an ankle injury while responding to the event. As a result of the fire, there is considerable damage to the facility
and the housed equipment. Fortunately, over 75% of the equipment is salvageable, but, in the absence of a functioning laboratory the
Company had to secure short term outsourcing solutions for all of the quality control testing needs. Since late February, however, we
have replaced the majority of the outsourced testing with inhouse testing in a combination of TPC and rental facilities, thereby
substantially reducing the incremental costs. Between response costs, outsourcing costs, rental expenses and the cost of rebuilding the
Technical Center, we estimate that the fire will cost the Company approximately $11.5 million. Please also refer to Note T, Subsequent
Events.

February Weather Event – 2021

      In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter
weather. Due to abnormally low temperatures for an extended period of time, facilities in the region experienced disruption to
their operations, resulting in lost production and additional maintenance costs. We anticipate that the total financial impact of
this freeze event, between incremental costs for repairs, higher energy costs and lost volumes, will be between $50 million and
$60 million. Please also refer to Note T, Subsequent Events.

     We are taking a number of steps to offset the impact of these two events. This includes commercial and procurement initiatives,
and capital and cost reductions. At this point, we have defined actions to offset about 70% of the impact, and we are pursuing additional
opportunities.

Insurance Renewal

      We seek to maintain comprehensive insurance coverage, and we renewed all of our insurance coverages during 2020 with terms
and conditions that we believe are consistent with those generally prevailing in insurance markets, although at substantially higher
premiums than the expiring coverages. Although we carry property and casualty insurance to cover certain risks, our insurance policies
do not cover all types of losses and liabilities, and our insurance may not be sufficient to cover the full extent of losses or liabilities for
which we are insured. Due to significant recent insurance claims in the petrochemical industry, insurance market conditions have
tightened, and we cannot guarantee that we will be able to renew our current insurance policies on favorable terms, or at all.

Dehydrogenation Unit

      The third scheduled turnaround of the dehydro unit commenced on February 1, 2020 and was safely completed within budget, but
it had a significant schedule delay due to issues with a compressor overhaul and our 505 waste heat boiler. The scope of the project
and the total cost of approximately $48 million were in line with our expectations.

Results of Operations

     Contractual linkages of raw material costs and selling prices of finished products to commodity indices

      Most of our raw material feedstock costs and finished product selling prices are determined by application of contractual formulas
linked to commodity market indices and, in most cases, the indices used to determine raw material feedstock costs are the same indices
used to determine finished product selling prices.
     As discussed above under “Material Industry Trends”, as of the end of 2017 we completed a restructuring of our C4 Processing
business model, which provides the segment with higher and more stable earnings compared to the previous model, and is more
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commensurate with the valuable and consistent service we provide to the industry.
      Although linkage of most of our raw material costs and selling prices to the same indices and our restructured crude C4 supply
contracts provide some degree of consistency in our average material margin per pound (which we define as the difference between
average revenue per pound and average raw material cost per pound) during periods in which the underlying commodity indices are
relatively stable, there are various factors that can have a significant impact on our average material margin per pound, including those
listed below. Moreover, even a relatively minor increase or decrease in average material margin per pound can have a significant
impact on our overall profitability given the magnitude of our sales volumes.

         •   We may purchase raw material feedstocks in a given month based on market indices for that month, and then sell the
             related finished products in a later month based on market indices for the later month. Changes in selling prices of finished
             products, based on changes in the underlying market indices between the month the raw material feedstocks are purchased
             and the month the related finished products are sold causes variation in our average material margin per pound. For
             example, we may purchase the components of a crude C4 stream based on formulas that reflect the respective January
             commodity indices but then sell the finished products at pricing formulas based on the respective February commodity
             indices. If the indices for January and February are the same, we would expect to realize substantially the same unit
             margins regardless of the absolute value of the indices. However, for any components of the stream for which the
             respective index increases between January and February, we would expect to realize a temporary margin expansion until
             pricing stabilizes; and conversely, if the index decreases, we would expect to realize a temporary margin contraction. The
             magnitude of the effect on the average material margin per pound and the material margin percentage in a given month
             depends on the magnitude of the change in the underlying indices compared to the prior month and the quantity of inventory
             at the end of the prior month as a result of its impact on the moving average cost of finished products sold in the subsequent
             month.
         •   Although most of our supply and sales contracts contain index-based formulas, varying proportions of our raw material
             purchases and finished product sales are done on a spot basis or otherwise negotiated terms. In addition, while many of
             the index-based formulas in our contracts are simply based on a percentage of the relevant index, others apply adjustment
             factors to the market indices that do not fluctuate with changes in the underlying index. As supply and sales contracts are
             renegotiated, the amounts of such adjustment factors can change, thus the average material margin per pound would be
             impacted.
         •   Under some of our raw material purchase contracts, the costs of the raw materials are based on a percentage of the relevant
             market index, and under some of our sales contracts, the selling price of the related finished product is based on a higher
             percentage of the same market index. As a result, the average material margin per pound tends to be higher during periods
             in which the market indices are higher and tends to be lower during periods when the market indices are lower.
         •   Finished product selling price formulas under some of our sales contracts, primarily in the Performance Products segment,
             are based on commodity indices not for the period in which the sale occurs but for either a prior or subsequent period.
             The effect on average material margin per pound of the selling price formulas can be significant during times of rapidly
             increasing or decreasing market indices.

Butadiene Price Impact

      As discussed above, a substantial portion of our finished product selling prices and raw material costs are linked to the same
commodity indices and this linkage mitigates, to varying degrees, our exposure to volatility in our profit margins. As also discussed
above, as of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model, which are more commensurate with the valuable and consistent service we
provide to the industry. However, the stabilizing effect of these factors on our profit margins is lessened when we do not purchase the
feedstock and sell the finished product in the same period. Regarding butadiene, which has historically been the largest individual
product line in our C4 Processing segment, the linkage between our raw material cost and finished product selling price is the published
contract price for butadiene. As a result of purchasing crude C4 in one month and selling finished butadiene in the subsequent month,
the GPC per pound we report in the subsequent month will expand when the price of butadiene increases and will contract when the
price of butadiene declines due to the impact of beginning inventory (quantity and unit cost) on the moving average cost of finished
butadiene sold in the subsequent month.
      As shown in the presentation of EBITDA and Adjusted EBITDA on page 8 of this Annual Report, we adjust EBITDA to remove
the estimated temporary impact on our reported GPC of the month-to-month changes in the contract price of butadiene. The rationale
for the adjustment is that the temporary impacts of butadiene price changes distort the underlying business performance.


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     The table below shows, for each period presented, the impact on our reported GPC (in millions) of purchasing crude C4 in one
period and selling finished butadiene in a later period at higher or lower butadiene contract prices. The impact on reported GPC for
each period is the sum of the monthly impacts, which are dependent on the magnitude of the contract price change each month and the
quantity of butadiene inventory at the beginning of each month.

                                                                                  Year Ended December 31,
                                                                                2020        2019       2018

                        Positive (negative) impact on GPC                   $        (5)       $     (8)   $     4



     Average material margin per pound

     The table below provides the average material margin per pound (defined above) for each period presented.


                                                                                   Year Ended December 31,
                                                                            2020            2019           2018

                   Average revenue per pound ($)                        $        0.30      $        0.40   $        0.50
                   Average raw material cost per pound ($)                       0.16               0.24            0.34
                   Average material margin per pound ($)                         0.14               0.16            0.16



      As discussed above, our material margin per pound and reported GPC reflect the temporary impact of month-to-month changes in
the contract price of butadiene. As provided in the table above, and in the discussion of cost of sales for 2020 versus 2019 on pages
19-20 and for 2019 versus 2018 on page 22, the impact of butadiene price changes on GPC was a negative $5 million in 2020, a negative
$8 million in 2019, and a positive $4 million in 2018. Excluding the temporary impact of butadiene price changes on all three years,
average material margin per pound would be $0.15 for 2020 and $0.16 for 2019 and 2018.

     The following table summarizes the primary indices which impact our revenues and raw material costs by segment.

     Segment / Finished Product                         Revenues                               Raw Material Costs

 C4 Processing Segment
  Butadiene                                 Butadiene                                Butadiene
  Butene – 1                                Unleaded regular gasoline                Unleaded regular gasoline
  Raffinates                                Unleaded regular gasoline                Unleaded regular gasoline

 Performance Products Segment
  Polyisobutylene                           Isobutane                                Butane
  Diisobutylene                             Isobutane                                Butane
  MTBE                                      MTBE                                     Isobutane, methanol




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     The following table summarizes the average commodity index prices for each period presented.

                                                              Year Ended December 31,                  Year Ended December 31,
                                                            2020       2019      % Chg.              2019       2018      % Chg.
          Average commodity prices:
           Butadiene (cents/lb) (1)                            30.6          44.0        -30%          44.0        62.2          -29%
           Unleaded regular gasoline (cents/gal) (2)          114.7         171.6        -33%         171.6       189.8          -10%
           Butane (cents/gal) (3)                              58.6          65.2        -10%          65.2       101.9          -36%
           Isobutane (cents/gal) (3)                           58.5          73.9        -21%          73.9       109.9          -33%
           MTBE (cents/gal) (2)                               127.7         197.5        -35%         197.5       223.8          -12%
           Methanol (cents/gal) (4)                           101.3         116.3        -13%         116.3       147.8          -21%



     (1) Industry pricing was obtained through IHS.
     (2) Industry pricing was obtained through Platts.
     (3) Industry pricing was obtained through Oil Price Information Service.
     (4) Industry pricing was obtained through J. Jordan.

      The following table provides sales volumes, revenue, cost of sales, GPC and operating expenses by operating segment (amounts
in thousands) for the years ended December 31, 2020, 2019 and 2018. Please refer to this information, as well as our consolidated
financial statements and accompanying notes included elsewhere in this Annual Report, when reading our discussion and analysis of
results of operations below. All information provided in the table below, except sales volumes, is derived from our Consolidated
Statements of Operations. Sales volumes for all periods presented constitute unaudited information.

                                                                                    Year Ended December 31,
                                                                      2020                2019                    2018

                  Sales volumes (pounds) (1):
                    C4 Processing                                      1,474,078                2,326,067           1,988,264
                    Performance Products                               1,055,889                1,379,245           1,254,734
                                                                       2,529,967                3,705,312           3,242,998
                  Revenue:
                   C4 Processing                                $        407,181     $           922,204      $     1,043,164
                   Performance Products                                  344,209                 542,722              583,671
                                                                $        751,390     $          1,464,926     $     1,626,835
                  Cost of sales (2):
                   C4 Processing                                $        300,342     $           700,421      $       853,517
                   Performance Products                                  218,721                 331,412              399,537
                                                                $        519,063     $          1,031,833     $     1,253,054
                  GPC
                   C4 Processing                                $        106,839     $           221,783      $       189,647
                   Performance Products                                  125,488                 211,310              184,134
                                                                $        232,327     $           433,093      $       373,781
                  Operating expenses (2):
                   C4 Processing                                $        109,916     $           112,870      $       117,592
                   Performance Products                                   71,143                  67,066               65,736
                                                                $        181,059     $           179,936      $       183,328



    (5) Sales volumes represent product sales volumes only and do not include volumes of products delivered under tolling or similar arrangements,
        in which we do not purchase the raw materials, but process raw materials for another party for a specified fee.
    (6) Cost of sales does not include operating expenses, and cost of sales and operating expenses do not include depreciation and amortization
        expenses.

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Year ended December 31, 2020 versus year ended December 31, 2019

     Revenue

      Total revenue for 2020 was $751.4 million compared to $1,464.9 million for 2019. The decrease of $713.5 million, or 49%,
reflected a 32% decrease in overall sales volume and a 25% decrease in average revenue per pound. The lower overall sales volume
reflected decreases for both the C4 Processing segment and the Performance Products segment. The lower overall average revenue per
pound reflected lower average selling prices for both operating segments. Variances in average selling prices for both operating
segments reflected variances in the commodity market indices to which a substantial portion of our finished product selling prices are
linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 15-16
and the table of commodity indices to which a substantial portion of selling prices are linked on page 17).
      C4 Processing segment revenue of $407.2 million for 2020 was down $515.0 million, or 56%, compared to 2019 revenue of $922.2
million. The lower revenue for 2020 reflected a 37% decrease in sales volume, which had a negative impact of $354 million, and a
30% decrease in average revenue per pound, which had a negative impact of $161 million. The decrease in sales volume for 2020
primarily reflected a combination of the loss of our crude C4 processing capacity resulting from the shutdown of our Port Neches facility
and customer demand impact from COVID, which would have been mitigated with connectivity to butadiene and raffinate customers
from our PNO location. Sales volume for 2019 was driven by strong demand for all products, and raffinate demand for alkylation by
our refinery customers was especially strong over the last three quarters of the year. The 30% decrease in average revenue per pound
for the segment reflected a 30% decrease in the average benchmark price for butadiene and a 33% decrease in average price of unleaded
regular gasoline (see the table of commodity indices to which a substantial portion of our C4 Processing segment selling prices are
linked on page 17).
      Performance Products segment revenue for 2020 was $344.2 million compared to $542.7 million for the prior year. The $198.5
million, or 37%, decrease in revenue reflected a 23% decrease in sales volume, which had a negative impact of $109 million, and a 17%
decrease in average revenue per pound, which had a negative impact of $90 million. The decrease in average revenue per pound
reflected decreases in the prices of isobutane and MTBE of 21% and 35%, respectively (see the table of commodity indices to which a
substantial portion of our Performance Products segment selling prices are linked on page 17). The lower sales volume was driven
primarily by weaker PIB demand due in large part to the global slowdown in new car sales. MTBE sales volume was down 28% which
reflected lower production volumes as we elected to move feedstock used for MTBE production into our raffinate business because of
significant margin erosion on MTBE and the effects of the 2020 first quarter turnaround.

     Cost of Sales

      Total cost of sales for 2020 was $519.1 million compared to $1,031.8 million for 2019. The significantly lower cost of sales in
the current year period reflected the overall decrease in sales volume discussed above and the substantial decline in the average cost of
raw materials included in the average cost of the finished products sold by both operating segments. Variances in raw material costs
for both operating segments reflected the variances in the commodity market indices to which a substantial portion of our raw material
costs are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages
15-16 and the table of commodity indices to which a substantial portion of our raw material costs are linked on page 17).
      C4 Processing segment cost of sales for 2020 was $300.3 million versus $700.4 million for the prior year. The decrease reflected
the impact of the 37% decrease in sales volume discussed above and a 44% decrease in the average cost of the raw material component
of the finished products sold. The lower average cost of raw materials reflected decreases in the average benchmark price for butadiene
and the average price of unleaded regular gasoline of 30% and 33%, respectively (see the table of commodity indices to which a
substantial portion of our C4 Processing segment raw material costs are linked on page 17). As discussed above, in spite of the linkage
between the cost of crude C4 we purchase and the price at which we sell finished butadiene, our average raw material costs and profit
margins in a given period are impacted by purchasing crude C4 in one period and selling finished butadiene in a subsequent period
during times of butadiene price volatility. As a result of such month-to-month movements in the contract price of butadiene, our profit
margins in 2020 reflected a negative butadiene pricing impact of $5 million and our profit margins in 2019 reflected a negative butadiene
pricing impact of $8 million, which resulted in a favorable year-over-year impact on profit margins of $3 million.
      Performance Products segment cost of sales was $218.7 million for 2020 compared to $331.4 million for 2019. The $112.7
million, or 34%, decrease reflected a 23% decrease in the sales volume discussed above and a 19% decrease in the average cost of the
raw material component of the finished products sold. The lower average cost of raw materials reflected decreases in the average price
of butane, isobutane and methanol of 10%, 21% and 13%, respectively (see the table of commodity indices to which a substantial portion
of our Performance Products segment raw material costs are linked on page 17).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
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the variations in overall average revenue per pound and average raw material cost per pound for 2020 compared to 2019.

     Operating Expenses

      Operating expenses incurred during 2020 were $181.1 million compared to $179.9 million incurred during 2019. The $1.2 million
increase included $19 million higher insurance costs primarily due to the PNO incident, $2.3 million higher sales and use taxes, $1.2
million higher property taxes, as well as $0.8 million higher employee benefits. This was partially offset by lower fixed supply chain
expenses of $3.9 million, lower 401-K and incentive compensation costs of $7.6 million, $10.1 million lower manufacturing overhead
costs and $0.5 million lower selling costs. Lower manufacturing costs of $10.1 million included $13.7 million lower PNO facility costs
and $1.4 million lower support group costs, partially offset by higher maintenance expenses which included inspections and repairs.
The lower fixed supply chain expenses largely reflected lower pipeline repair and inspection expenses.

     General and Administrative Expenses

     General and administrative expenses for 2020 were $28.0 million versus $28.7 million for the prior year. The $0.7 million
decrease consisted primarily of lower personnel-related expenses.

     Depreciation and Amortization

      Depreciation and amortization expenses were $74.2 million in 2020 compared to $81.0 million in 2019. The $6.8 million decrease
reflected lower depreciation of $3.8 million and lower turnaround amortization of $4.5 million partly offset by higher catalyst
amortization of $1.5 million. The $3.8 million decrease in depreciation expense primarily represents a $4.7 million decrease in certain
technology assets that were fully depreciated in early 2020 offset by $0.9 million increase in deprecation for assets put into service in
2020. In general, depreciation expense varies due to the net impact of capital additions less retirements and write-offs. The $4.5
million net decrease in turnaround amortization reflects the lower dehydro turnaround amortization as a result of the lower total
turnaround cost of the unit’s third scheduled turnaround during the first quarter of 2020. In addition, the write-off of deferred turnaround
costs related to the Port Neches incident in the fourth quarter of 2019, lowered the turnaround amortization in future periods.

     Loss on Port Neches Incident, net

      For the current year, the $50.1 million loss related to the Port Neches incident (discussed on pages 12-14) reflected $129.4 million
in losses and incurred costs offset by $79.3 million of insurance proceeds. The net amount of $50.1 million included estimated liability
claims expected to be in excess of our liability insurance coverage of $3.1 million. Additionally, the net amount of response cost losses
of $47.2 million represents costs incurred directly related to the ongoing incident response and cleanup activities for which insurance
coverage was not considered probable or costs were in excess of certain insurance coverage limitations.
       For the prior year, the comparative loss related to the Port Neches incident (discussed on pages 12-14) was $91.9 million. This
loss reflected the amount of asset write-offs and costs incurred as a direct result of the Port Neches incident, net of insurance
reimbursement received and for which future receipt was considered to be probable. The net loss consisted of $19.0 million for the
write-off of deferred turnaround costs related to the Port Neches site, insurance deductibles of $11.1 million, and estimated third-party
liability claims expected to be in excess of insurance policy coverage of $61.8 million.

     Business Interruption Insurance Recovery

      The $12.1 million of business interruption insurance recovery represents the amount received on our PNO incident business
interruption claim.

     COVID-19 Expenses

     The expense of $1.9 million represents the incremental expenses directly related to our response to the COVID-19 pandemic.

     Interest Expense

      Interest expense for 2020 was $112.9 million compared to $101.7 million for 2019. The $11.2 million increase primarily reflected
the impact of the refinancing of our debt on August 2, 2019 and consisted of a net increase in interest expense on the 10.5% Notes
compared to the 8.75% Notes of $7.4 million, an increase in interest expense on the New Term Loan of $3.7 million and higher net


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other interest expense of $0.4 million which included interest on the financing of insurance premiums. This was partially offset by
lower interest on the ABL facility of $0.3 million.
      The $7.4 million higher interest on the Notes reflected $13.5 million higher interest, partially offset by $6.1 million lower deferred
financing and discount costs versus prior year. The $3.7 million higher interest on the Old Term Loan included $1.8 million higher
interest and $1.9 million higher deferred financing cost amortization in conjunction with the refinancing of this loan on February 3,
2020.

     Other, Net

     Other than refinancing optimization expenses in 2019 of $0.5 million, both the current and prior year amounts included various
miscellaneous income and expense items, none of which were individually significant.

Income Tax Benefit

      The effective income tax benefit rates for 2020 and 2019 were 7.7% and 19.8%, respectively. The effective rates for both periods
reflected the federal statutory rate of 21% and state income taxes, net of federal benefit, adjusted for the impact of permanent book/tax
differences, the credit for increasing research activities and adjustments for prior year permanent book/tax differences that were
identified upon completion of the tax return for each year. The lower effective benefit rate for 2020 reflected the establishment of a
$27.7 million valuation allowance.
      Prior to recording the valuation allowance, we had a net deferred tax asset at December 31, 2020 of $27.7 million, which reflected
deferred tax assets of $153.7 million and deferred tax liabilities of $126.0 million. Based on assessment of both positive and negative
evidence, we have concluded that it is more likely than not that the Company will not be able to realize the benefit of the deferred tax
assets recorded at December 31, 2020. In the event that the actual outcome of future tax consequences differs from management
estimates and assumptions, the resulting change to the provision for income taxes could have a material impact on the consolidated
results of operations and statements of financial position. Please refer to Note O Income Taxes.
      Our net operating loss for 2020 was $9.0 million, which reflects our pretax book loss of $203.9 million which was substantially
offset by taxable temporary differences of $135.1 million related to differences in book and tax treatment of insurance proceeds related
to the Port Neches incident and disallowed interest expense of $69.5 million. The book pretax loss reflects the significant loss of
production and distribution capability resulting from the Port Neches incident as well as the negative impact of COVID-19 on demand
for our products and the overall economy.

Year ended December 31, 2019 versus year ended December 31, 2018

     Revenue

      Total revenue for 2019 was $1,464.9 million compared to $1,626.8 million for 2018. The decrease of $161.9 million, or 10%,
reflected a 21% decrease in overall average revenue per pound, partially offset by a 14% increase in overall sales volume. The lower
overall average revenue per pound reflected lower average selling prices for both operating segments. The higher overall sales volume
reflected increases for both the C4 Processing segment and the Performance Products segment. Variances in average selling prices for
both operating segments reflected variances in the commodity market indices to which a substantial portion of our finished product
selling prices are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices”
on pages 15-16 and the table of commodity indices to which a substantial portion of selling prices are linked on page 17).
      C4 Processing segment revenue of $922.2 million for 2019 was down $121.0 million, or 12%, compared to 2018 revenue of
$1,043.2 million. The lower revenue for 2019 reflected a 24% decrease in average revenue per pound, which had a negative impact of
$245 million, partially offset by a 17% increase in sales volume, which had a positive impact of $124 million. The 24% decrease in
average revenue per pound for the segment reflected a 29% decrease in the average benchmark price for butadiene and a 10% decrease
in average price of unleaded regular gasoline (see the table of commodity indices to which a substantial portion of our C4 Processing
segment selling prices are linked on page 17). Sales volume for 2019 was driven by strong demand for all products, and raffinate
demand for alkylation by our refinery customers was especially strong over the last three quarters of the year. Although the Port Neches
incident, which occurred in late November (discussed on pages 12-14) was a significant event, it did not have a material impact on the
segment’s 2019 reported operating results. Regarding 2018, production and sales volumes were negatively impacted by crude C4
supply constraints due to supplier outages, as well as freezing temperatures and ship channel fog issues in the first quarter, some
carryover of the first quarter issues and operational issues in our crude C4 processing system in the second quarter and the dock incident
(discussed on page 12) in the third quarter.


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      Performance Products segment revenue for 2019 was $542.7 million compared to $583.7 million for the prior year. The $41.0
million, or 7%, decrease in revenue reflected a 15% decrease in average revenue per pound, which had a negative impact of $71 million,
partially offset by a 10% increase in sales volume, which had a positive impact of $30 million. The decrease in average revenue per
pound reflected decreases in the prices of isobutane and MTBE of 33% and 12%, respectively (see the table of commodity indices to
which a substantial portion of our Performance Products segment selling prices are linked on page 17). The increase in sales volume
reflected a full year of operation of the dehydro unit in 2019 whereas production for 2018 was curtailed by a seventy-day turnaround
and revamp of the unit in the first quarter and the dock incident (discussed on page 12) in second quarter 2018. The increase in
production and sales volume of the dehydro unit was somewhat offset by weaker PIB demand due in large part to the global slowdown
in new car sales.

     Cost of Sales

      Total cost of sales for 2019 was $1,031.8 million compared to $1,253.1 million for 2018. The overall decrease of $221.3 million
was driven primarily by a substantial decline in the average cost of raw materials included in the average cost of the finished products
sold by both operating segments, partially offset by higher overall sales volume as discussed above. Variances in raw material costs
for both operating segments reflected the variances in the commodity market indices to which a substantial portion of our raw material
costs are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages
15-16 and the table of commodity indices to which a substantial portion of our raw material costs are linked on page 17).
      C4 Processing segment cost of sales for 2019 was $700.4 million versus $853.5 million for the prior year. The decrease of $153.1
million, or 18%, for the segment reflected the impact of a 32% decrease in the average cost of the raw material component of the finished
products sold, partially offset by the 17% increase in sales volume discussed above. The lower average cost of raw materials reflected
decreases in the average benchmark price of butadiene and the average price of unleaded regular gasoline of 29% and 10%, respectively
(see the table of commodity indices to which a substantial portion of our C4 Processing segment raw material costs are linked on page
17). As discussed above, in spite of the linkage between the cost of crude C4 we purchase and the price at which we sell finished
butadiene, our average raw material costs and profit margins in a given period are impacted by purchasing crude C4 in one period and
selling finished butadiene in a subsequent period during times of butadiene price volatility. As a result of such month-to-month
movements in the contract price of butadiene, our profit margins in 2019 reflected a negative butadiene pricing impact of $8 million and
our profit margins in 2018 reflected a positive butadiene pricing impact of $4 million, which resulted in an unfavorable year-over-year
impact on profit margins of $12 million for 2019 compared to 2018.
      Performance Products segment cost of sales was $331.4 million for 2019 compared to $399.5 million for 2018. The $68.1 million,
or 17%, decrease was driven by a 28% decrease in the average cost of the raw material component of the finished products we sold,
partially offset by the 10% increase in sales volume discussed above. The lower average cost of raw materials reflected decreases in
the average prices of butane, isobutane and methanol of 36%, 33% and 21%, respectively (see the table of commodity indices to which
a substantial portion of our Performance Products segment raw material costs are linked on page 17).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in overall average revenue per pound and average raw material cost per pound for 2019 compared to 2018.

     Operating Expenses

      Operating expenses incurred during 2019 were $179.9 million compared to $183.3 million incurred during 2018. The $3.4 million
decrease reflected lower maintenance expenses of $9.4 million and lower rental expenses of $2.7 million, partially offset by higher fixed
supply chain expenses of $6.8 million, higher personnel expenses of $1.2 million and higher technology expenses of $0.6 million. The
lower maintenance expenses in large part reflected the absence of incremental maintenance expenses incurred in the first half of 2018
related to the freeze damage incurred at both of our plant sites, the unplanned dehydro outage in the first quarter of 2018 and the
operational issues in our crude C4 Processing system in the second quarter of 2018. The lower rental expenses reflected the incremental
cost of temporary rental boilers at our Port Neches facility in the prior year to mitigate the impact of the site’s primary steam supplier’s
outage. The higher fixed supply chain expenses reflected an increase in third party storage facility expense and higher pipeline repair
and inspection expenses.

     General and Administrative Expenses

      General and administrative expenses for 2019 were $28.7 million versus $26.3 million for the prior year. The $2.4 million
increase consisted primarily of higher personnel-related expenses.


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     Depreciation and Amortization

      Depreciation and amortization expense was $81.0 million compared to $141.7 million in 2018. The $60.7 million decrease
reflected lower depreciation of $61.9 million, lower turnaround amortization of $0.5 million and higher catalyst amortization of $1.7
million. The decrease in depreciation expense reflected a substantial number of plant and equipment assets that were revalued with
remaining estimated useful lives of six years in conjunction with the Merger in December 2012 and which were fully depreciated as of
the end of 2018.

     Loss on Port Neches Incident, net

      The $91.9 million loss related to the Port Neches incident (discussed on pages 12-14) reflected the amount of asset write-offs and
costs incurred as a direct result of the Port Neches incident, net of insurance reimbursement received and for which future receipt was
considered to be probable. The net loss consists of $19.0 million for the write-off of deferred turnaround costs related to the Port
Neches site, insurance deductibles of $11.1 million, and estimated third-party liability claims expected to be in excess of insurance
policy coverage of $61.8 million.

     Business Interruption Insurance Recovery

      The $0.6 million of business interruption insurance recovery represents the full amount received on our Hurricane Harvey business
interruption claim.

     Repair and Other Expenses Related to Dock Incident

      The expense of $1.5 million for 2018 included the insurance deductible of $0.25 million and the uninsured incremental logistics
and legal expenses directly related to the dock incident in the second quarter.

     Interest Expense

      Interest expense for 2019 was $101.7 million compared to $89.3 million for 2018. The $12.4 million increase reflected the impact
of the refinancing of our debt on August 2, 2019 and consisted of a net increase in interest on the 10.5% Notes compared to the 8.75%
Notes of $13.5 million, write-off of the discount on the 8.75% Notes of $1.6 million and the write-off of deferred financing costs related
to the 8.75% Notes and the New Term Loan of $4.8 million, partially offset by the impact of repayment of the Old Term Loan in
conjunction with the refinancing of $6.3 million, lower interest on the ABL facility due to lower average borrowings of $0.9 million
and higher interest income of $0.4 million.

     Other, Net

     Other than refinancing optimization expenses in 2019 of $0.5 million, both the current and prior year amounts included various
miscellaneous income and expense items, none of which were individually significant.

     Income Tax Benefit

       The effective income tax benefit rates for 2019 and 2018 were 19.8% and 20.5%, respectively. The effective rates for both periods
reflected the federal statutory rate of 21% and state income taxes, net of federal benefit, adjusted for the impact of permanent book/tax
differences, the credit for increasing research activities and adjustments for prior year permanent book/tax differences that were
identified upon completion of the tax return for each year. The lower effective benefit rate for 2019 reflected the impact of a higher
state tax, net of federal benefit, on a substantially lower pretax loss.
      The 2019 book pretax loss of $51.7 million included a net loss related to the Port Neches incident (discussed on pages 12-14) of
$91.9 million, which consisted of losses and costs incurred of $287.4 million, offset by $10.0 million of liability insurance proceeds
received in 2019 and probable insurance proceeds receivable of $185.5 million recorded at December 31, 2019. Our 2019 tax net
operating loss was $93.1 million, which included tax deductions of $241.5 million for incurred ordinary and necessary expenses related
to the Port Neches incident, offset by $10.0 million of insurance proceeds we received in 2019.
     We had a net deferred tax liability at December 31, 2019 of $13.3 million, which reflected deferred tax liabilities of $148.8 million
and deferred tax assets of $135.5 million. Based on assessment of both positive and negative evidence, we have concluded that it is
more likely than not that the Company will realize the benefit of the deferred tax assets recorded at December 31, 2019. The Company’s
long-range plan, which was completed prior to the Port Neches incident, projected use of all net operating losses generated through 2018
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within the next five years as well as utilization of a significant portion of the disallowed interest deduction carryforward. The loss of
income reflected in the long-range plan due to the shutdown of the Port Neches facility will be replaced by business interruption
insurance recoveries, which went into effect on January 12, 2020 after a forty-five-day deductible period.

Liquidity and Capital Resources

     Net Debt and Liquidity

     As of December 31, 2020, our financing arrangements consisted principally of the 10.5% Notes, the ABL Facility and the New
Term Loan. In addition, we financed our 2020 insurance renewal premiums through Aon Premium Finance LLC, an affiliate of our
Broker, Aon PLC.

      At December 31, 2020, we had total long-term debt of $985.3 million (excluding deferred financing costs of $14.7 million), Long-
term debt consisted of $930.0 million of 10.5% Notes and $70.0 million of the New Term Loan; we had no borrowings on the ABL
Facility. Despite the fact that the New Term Loan’s extended maturity date was in August of 2021, we classified the New Term Loan
as long-term because we were able to refinance the loan, as discussed below, prior to the issuance of this Annual Report. Cash on hand
was $18.5 million and we had no short-term money market investments (with maturities of less than three months) or short-term
investments (with original maturities between 90 days and one year).
      The ABL borrowing base was sufficient to support borrowings of $75.6 million and combined with cash on hand of $18.5 million,
provided total liquidity of $94.1 million at December 31, 2020. Based on our current estimates of operating income and the uncertainty
surrounding the timing of insurance proceeds, the Company refinanced the New Term Loan on February 2, 2021 to add incremental
liquidity. As discussed in more detail below, on February 2, 2021 TPCGI issued and sold $153 million of 10.875% Senior Secured
Notes. We are currently considering additional opportunities to improve liquidity.

     New Term Loan

      On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provided for a delayed draw term loan of up to $70.0 million and a term of one-year. Availability
under the Term Loan was limited to a maximum of four draws with a minimum of $5.0 million per draw. Subject to certain exceptions,
the Company’s obligations with respect of the Term Loan were secured by liens on and security interests in all collateral securing the
10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment with those liens and security interests
granted pursuant to the 10.5% Indenture . On March 18, 2020, we drew on the facility and received $70.0 million less a 1% original
issue discount fee. In May 2020 the lenders agreed to grant the Company the option to extend the maturity date to August 5, 2021.
The Term Loan is classified as long-term debt as of December 31, 2020. This treatment is appropriate where short-term debt is replaced
with long-term debt after the report date but prior to the issuance of the annual report. This loan was repaid on February 2, 2021 with
some of the proceeds received from issuance and sale of the 10.875% Notes.

     ABL Facility

     The ABL Facility is available on a revolving basis to finance our working capital needs and for general corporate purposes. The
ABL Facility was composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” revolving
tranche (the ABL FILO) when amended and restated on August 2, 2019. Commitments under the ABL FILO reduce, and commitments
under the ABL Revolver equally and simultaneously increase, by $2.5 million on each of the first three anniversaries of the August 2,
2019 amendment and restatement.
        The credit agreement governing the ABL Facility contains covenants that impose restrictions on, among other things, additional
indebtedness, liens, investments, advances, guarantees and mergers and acquisitions. These covenants also place restrictions on asset
sales, sale and leaseback transactions, dividends, payments between us and our subsidiaries and certain transactions with affiliates
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.
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     On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.5% Notes

      The 10.5% Notes were issued on August 2, 2019 in conjunction with the refinancing of our debt. The net proceeds from the
issuance of the 10.5% Notes were $918.3 million after underwriters and other fees and expenses of $11.7 million. The net proceeds
from the issuance of the 10.5% Notes were used to redeem and pay accrued interest due on the 8.75% Notes of $816.2 million, to repay
the outstanding loan balance and pay accrued interest due on the Old Term Loan of $50.3 million and to repay the outstanding loan
balance and pay accrued interest due on the ABL of $35.9 million.
     The 10.5% Notes are due August 1, 2024 and interest is paid semi-annually in arrears on February 1 and August 1.
      The 10.5% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.
     On February 2,2021 the 10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875%
Notes and to make certain other changes to certain covenants contained therein.

     10.875% Notes

       On February 2, 2021 TPCGI issued and sold $153 million aggregate principal amount of 10.875% Notes to certain holders of the
10.5% Notes. The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by
all of the Company’s existing or future direct and indirect domestic subsidiaries, other than certain excluded subsidiaries (collectively,
the “Subsidiary Guarantors”).
      The net proceeds from the offering were used to repay and terminate the $70 million New Term Loan, to pay all fees and expenses
related to the transactions and for general corporate purposes. Interest on the 10.875% Notes began accruing on the issue date and is
payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each year, commencing on May 1, 2021. The 10.875
% Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness and
the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes are effectively subordinated to the ABL
Facility and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by assets or properties not
constituting collateral securing the 10.5% Notes to the extent of the value of such assets and properties. The 10.875% Indenture contains
certain covenants, agreements and events of default which are customary with respect to non-investment grade debt securities, including
limitations on our ability to incur additional indebtedness, pay dividends on or make other distributions or repurchase our capital stock,
make certain investments, enter into certain types of transactions with affiliates, create liens, sell certain assets or merge with or into
other companies.

     Insurance Premium Financing

      As of December 31, 2020, we have financed $23.6 million of insurance premiums though Aon Premium Finance LLC. The first
down payment and the first installment were paid in July 2020 and the remainder is payable in monthly installments following the
applicable renewal date through April 2021.

      Sources and Uses of Cash

      Our principal sources of liquidity are our existing cash and cash equivalents, short-term investments, cash generated from
operations and borrowings under our ABL. In addition to these sources, another source of liquidity over the near-term will be insurance
proceeds received under our various insurance policies, including our property damage and business interruption policies. Business
interruption coverage became effective on January 12, 2020 after the forty-five-day deductible period and from that date on will replace
the earnings the Port Neches plant would have contributed except as a result of the explosion incident on November 27, 2019 that shut
down the plant. The timing of receipt of the additional insurance proceeds under our policies is uncertain at this time. We may also,
from time to time, generate cash from opportunistic sales of non-core assets. Our principal uses of cash are to provide working capital,
meet debt service requirements, fund capital expenditures and finance our strategic plans, including possible acquisitions. We may also
seek to finance our capital expenditures under capital leases or other debt arrangements that provide liquidity or favorable borrowing
terms. Our business may not generate sufficient cash flows from operations and future borrowings under our ABL Facility may not be
available to us in an amount sufficient to enable us to pay our indebtedness or to fund our other liquidity needs. Our ability to generate
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sufficient cash depends on, among other factors, prevailing economic conditions, many of which are beyond our control. In addition,
upon the occurrence of certain events, such as a change in control, we could be required to repay or refinance our indebtedness. Any
future acquisitions, joint ventures or other similar transactions may require additional capital and there can be no assurance that any
such capital will be available to us on acceptable terms or at all. However, based on our current level of operations and available cash,
including the liquidity generated by the issuance of the 10.875% Notes, we believe that our cash flow from operations, together with
availability under the ABL and proceeds received under our insurance policies, will provide sufficient liquidity to fund our current
obligations, projected working capital requirements, debt service requirements and capital spending requirements for the foreseeable
future.
      Our liquidity requirements will be significant primarily due to the annual debt service requirements on the 10.5% Notes, which
are estimated to be $97.7 million, annual debt service requirements on the 10.875% Notes, which are approximately $11.6 million, our
baseline capital expenditures, which fall within the range of $70 to $80 million, our turnaround and catalyst costs, which would typically
be in the range of $20 to $30 million in years we do not perform a dehydro unit turnaround and $35 to $40 million in years we do
perform a dehydro unit turnaround, and cash requirements related to the Port Neches incident in advance of insurance recoveries or in
excess of insurance coverage limits.
      As market conditions warrant and subject to the Company’s contractual restrictions and liquidity position, we, our affiliates and/or
our equity holders, including the Sponsors and their affiliates, may from time to time repurchase the Company’s outstanding debt
securities in privately negotiated or open market transactions, by tender offer or otherwise. If in the future we should decide to engage
in such transactions, any such purchases may be funded by incurring new debt, including borrowings under our ABL. Any new debt
may also be secured debt. We may also use available cash on our balance sheet or new equity capital. The amounts involved in any
such transactions, individually or in the aggregate, may be material. Further, any such purchases may result in us acquiring and retiring
a substantial amount of the 10.5% Notes, with the attendant reduction in the trading liquidity of any such Notes.

     Cash Flow Summary

     The following table summarizes changes in cash and cash equivalents for the periods indicated (in thousands):

                                                                            Year Ended December 31,
                                                                2020                 2019                     2018
               Cash flows provided by (used in):
                Operating activities                     $          (88,865)    $          117,354     $           30,817
                Investing activities                                (55,889)               (53,957)               (63,717)
                Financing activities                                 78,047                 20,767                 31,498
               Change in cash and cash equivalents       $          (66,707)    $           84,164     $             (1,402)


     Operating Activities

      For the year ended December 31, 2020, net cash used in operating activities was $88.9 million. The net loss of $188.2 million,
deferred turnaround and catalyst costs of $28.0 million, deferred income tax benefit of $13.6 million and an increase in working capital
of $6.6 million were partially offset by non-cash expenses of $147.5 million. Non-cash expenses consisted of depreciation and
amortization of $74.1 million, amortization of debt issuance costs of $8.4 million and non-cash expenses related to the Port Neches
incident of $65.0 million.
      Trade accounts receivable were $73.4 million at December 31, 2020 compared to $83.9 million at December 31, 2019. The $10.5
million decrease primarily reflected lower revenue of $23.5 million in December 2020 compared to December 2019 and an increase in
the days outstanding from 26 days at December 31, 2019 to 29 days at December 31, 2020. Trade accounts receivable were 99%
current at both December 31, 2020 and 2019.
      Our inventory at December 31, 2020 was $45.4 million compared to $52.1 million at December 31, 2019. The decrease of $6.7
million reflected a 11% decrease in overall average cost per pound, which accounted for $5.8 million of the decrease, and a 2% decrease
in physical inventory volumes, which accounted for the remainder of the decrease. The decrease in average cost per pound was driven
primarily by a 30% decrease in the benchmark price of butadiene comparing the prices for December 2020 to December 2019.
      For the year ended December 31, 2019, net cash generated from operating activities was $117.4 million. The net loss of $41.5
million, deferred income tax benefit of $8.7 million and deferred plant turnaround and catalyst costs of $29.6 were more than offset by
non-cash expenses of $164.8 million and a $32.4 million decrease in working capital. Non-cash expenses consisted of depreciation


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and amortization of $81.0 million, amortization and write-off of debt issuance costs of $12.5 million and non-cash expenses related to
the Port Neches incident of $71.3 million.
      In 2018, net cash generated from operating activities was $30.8 million. The net loss of $53.2 million, deferred tax benefit of $13.9
million and deferred plant turnaround and catalyst costs of $53.0 million were more than offset by non-cash expenses of $147.7 million
and a $3.1 million decrease in working capital. Non-cash expenses consisted primarily of depreciation and amortization of $141.7
million and debt issuance costs of $6.0 million.

     Investing Activities

      During 2020, 2019, and 2018 we invested $55.9 million, $54.0 million, and $63.7 million, respectively, in the form of capital
expenditures, which consisted primarily of baseline spending. In addition to baseline capital investment, 2020 included replacing
capacity due to the volumes lost as a result of the Port Neches incident, 2019 included infrastructure improvements in preparation for
the increased crude C4 supply from the new ethylene crackers coming on line and 2018 included capital spending related to the dehydro
revamp in the first quarter and expansion of capacity at our Port Neches facility as part of our crude C4 processing upgrade program.

     Financing Activities

     Cash of $78.0 million was generated in 2020 from net borrowings on the New Term Loan of $69.3 million and net borrowings to
finance our insurance premiums of $13.0 million. These amounts were partially offset by debt issuance costs of $4.3 million.

      Net cash generated from financing activities in 2019 was $20.8 million, which consisted of $35.0 million of net borrowings due
to the refinancing on August 2, 2019 and the related debt issuance costs of $14.0 million.

     Net cash generated from financing activities in 2018 was $31.5 million, which consisted of $32.0 million of net borrowings under
the ABL and debt issuance costs of $0.5 million related to the amendment of the ABL in May 2018.

Contractual Obligations

     The following table presents our contractual cash obligations at December 31, 2020 (in thousands).

                                                                                 Payments Due By Year

                                                         Total            2021          2022-2023        2024-2025        After 2025

               Notes (1)                               $ 1,083,000   $          -   $           -       $ 1,083,000   $            -
               Interest on Notes (1)                       408,324        112,764         228,578            66,982                -
               Operating leases (2)                        163,400         35,162          60,090            31,052           37,096
                                                   $    1,654,724    $ 147,926      $ 288,668           $ 1,181,034   $       37,096


     (1) Our financing arrangements at March 24, 2021 comprised the $930 million 10.50% Senior Secured Notes due August 2024 and the $153
     million 10.875% Senior Secured Notes due August 2024. Interest on the 10.5% Notes will be paid in arrears on February 1 and August 1 of
     each year through the August 1, 2024 maturity date. Interest on the 10.875% Notes will be paid in arrears on February 1, May 1, August 1 and
     Nov 1 of each year through the August 1, 2024 maturity date.
     (2) Operating leases consist primarily of leases for barges and tugs, railcars, docks and terminals. Periods covered by operating lease
     commitments range from less than one year to a maximum of thirteen years.

      The above table does not include our long-term crude C4 feedstock purchase contracts, as those commitments generally cannot be
estimated on a forward-looking basis because: (1) the amount we are obligated to purchase under these contracts is a percentage of
volume of crude C4 produced by a particular supplier, which varies depending on the production methods utilized and the aggregate
volume produced by the supplier; and (2) the price for this variable volume is based on certain commodity price indices which vary over
time. Our commitments under our long-term crude C4 feedstock purchase contracts are not subject to a specified maximum volume or
cap, though as a practical matter the commitments are limited by the production capacity of the supplier. During 2020, we obtained
99.8% of our crude C4 feedstocks under these long-term feedstock purchase contracts (excluding spot purchases and contracts with
terms of less than one year), for aggregate expenditures of $173.9 million.


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     Off-Balance-Sheet Arrangements

      We do not currently utilize any off-balance-sheet arrangements to enhance our liquidity and capital resource positions, or for any
other purpose.

Critical Accounting Policies and Estimates

      In preparing our financial statements in conformity with accounting principles generally accepted in the United States of America,
we make certain estimates and assumptions about future events that could significantly affect the amounts of reported assets, liabilities,
revenues and expenses, as well as the disclosure of contingent assets and liabilities in the financial statements and accompanying notes.
Some of our accounting policies require the application of significant judgment by management to select the appropriate assumptions
to determine these estimates. By their nature, these judgments are subject to an inherent degree of uncertainty; therefore, actual results
may differ significantly from estimated results. We base our judgments on our historical experience, knowledge of the business and
industry, advice from experts and consultants, business forecasts and other available information, as appropriate.
      Our most critical accounting policies, which reflect significant management estimates and judgment to determine amounts reported
in our consolidated financial statements, are as follows:

     Inventory Cost

      Our inventories consist of raw materials and finished products and are valued at the lower of average cost or market. Costs of
finished products include raw materials, energy, labor and manufacturing overhead. We may enter into product exchange agreements
with suppliers and customers for raw materials and/or finished goods in the normal course of business. Under these arrangements we
deliver product volumes to the exchange partner to be delivered in-kind back to us or receive product volumes to be delivered in-kind
by us to the exchange partner in the future, generally in the short term. Product exchanges typically benefit both parties from a logistical
perspective and provide for additional flexibility regarding both receipt of raw materials from suppliers and delivery of finished goods
to customers. Exchange balances due to or from exchange partners are recorded in inventory at the lower of average cost or market
and do not impact the consolidated statements of operations and comprehensive income, as they are recognized at the carrying amount.
Our inventory levels can vary significantly depending on availability of raw materials, especially crude C4, plant operations, customer
demand and seasonality. In addition to potential fluctuations in the amounts of physical inventories we carry, we can be exposed to
potential devaluations in net realizable value of our inventories, especially our fuel-related products, during periods of rapidly declining
unleaded regular gasoline prices and demand for fuel-additive products. A significant amount of judgment is required to determine the
appropriate normal range of plant production activity and plant operating expenses regarding plant overhead cost absorption and to
determine the appropriate market valuation of inventories to assess recoverability of the carrying cost of our inventory. Use of different
estimates and assumptions to determine the appropriate amounts of overhead absorption and market value for inventory valuation
purposes, when such market is below cost, could have a significant impact on our financial condition and results of operations from
period to period.

      The average cost of our inventory at the end of any period reflects the carrying cost of raw materials and finished goods inventory
on hand at the beginning of the period and the actual cost of raw material purchases and finished goods production during the period.
The actual costs of most of our raw materials are based on contractual arrangements which, in various ways, link the purchase costs to
a commodity price index. Downward movement in commodity price indices between the times raw materials are purchased and the
related finished products are sold can result in reductions in realizable value of the inventory prior to the sale of our finished products.
Such reductions in realizable value can occur despite the index-based pricing in our contracts, because the effect of using matching
indices is lessened when we do not purchase the feedstock and sell the finished product in the same period. If it is determined at the
balance sheet date that the carrying value of the inventory will not be recovered based on management’s best estimates and assumptions
regarding inventory turnover rates and future selling prices, the carrying value of the inventory is written down to net realizable value
through lower-of-cost-or-market (net realizable value) adjustments.

     Property, Plant and Equipment

      Property, plant and equipment are stated at depreciated historical cost. Depreciation of property, plant and equipment is computed
using the straight-line method over the estimated useful lives of the assets. Maintenance and repairs and minor renewals are charged
to expense as incurred while major improvements, renewals and betterments are capitalized. Interest is capitalized on long-term
construction projects using our internal cost of debt rate, or at the rate at which funds are borrowed specifically for a certain project. A
significant amount of judgment is required in various circumstances to determine the appropriate recognition of costs as capital
expenditures or expenses, estimated useful lives of property, plant and equipment, and when and by how much carrying amounts may
be impaired. Use of different estimates and assumptions to determine capital versus expense treatment of costs, useful lives of assets
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and impairment of long-lived assets could have a significant impact on our financial condition and results of operations from period to
period. The estimated useful lives of our main categories of fixed assets are as presented below.

                                                                                                 Estimated Useful Lives
                                                                                                       (in years)
                     Plant equipment                                                                     5 - 35
                     Pipelines                                                                          15 - 40
                     Buildings and land improvements                                                    15 - 45
                     Technology assets                                                                   5 -6


     Intangible Assets

     Our intangible assets include patents and a technology license for the butadiene extraction process at our Port Neches facility.
Patents are amortized using the straight-line method over useful lives. Our technology license has no legal, regulatory, contractual,
competitive, economic or other factors that would limit its useful life. Consequently, we have determined its useful life to be indefinite.

     Plant Turnaround Costs

       We use the deferral method to account for costs of major scheduled plant turnarounds. Plant turnarounds are scheduled and
require partial or complete shutdowns of chemical processing units for significant overhaul and refurbishment, for periods typically
lasting from two to four weeks. Under the deferral method, we defer the cost of a turnaround project and amortize the cost over the
period between the completion of the turnaround and the next scheduled turnaround, which typically occurs from three to five years
after the most recently completed turnaround. If the next scheduled turnaround occurs sooner than originally anticipated, any remaining
deferred cost from the previous turnaround is charged to expense at that time. If the next scheduled turnaround occurs later than
originally anticipated, the amortization period for the previous turnaround cost is not extended. The deferral method of accounting for
turnaround costs requires judgment as to the specific costs to be included in a major turnaround project and requires estimates and
assumptions regarding the period of time over which the costs will be amortized. Use of different estimates and assumptions could
have a significant impact on our financial condition and results of operations from period to period.

     Income Tax Assets and Liabilities

      We account for income taxes in accordance with ASC 740, Income Taxes. Determination of tax related assets and liabilities to
be recorded and the appropriate recognition of tax positions taken on tax returns requires a significant amount of judgment. Regarding
realization of our deferred tax assets and the need for a valuation allowance against deferred tax assets at each balance sheet date, we
consider both positive and negative evidence of sufficient taxable income within the carry-back and/or carry-forward periods as provided
under applicable tax law. Based on our significant net deferred tax asset position and future reversals of existing taxable temporary
differences, as well as our historical operating results, we have concluded that a valuation allowance should be recorded for the entire
amount of the deferred tax asset. Regarding assessment of taxable income exclusive of reversing temporary differences and carry-
forwards, we consider both our recent historical operating results, as well as our expectations of future operating results; however,
historical results are given more weight than our expectations of future profitability, which is inherently uncertain.

     Revenue Recognition

        We recognize revenue in accordance with ASC 606, Revenue from Contracts with Customers. We adopted ASC 606 as of
January 1, 2019 and applied the modified retrospective transition method to all contracts not completed as of the adoption date. The
new revenue recognition standard provides a five-step analysis of transactions to determine when and how revenue is recognized. The
premise of the guidance is that a company should recognize revenue to depict the transfer of promised goods or services to customers
in an amount that reflects the consideration to which the entity expects to be entitled in exchange for those goods or services. The
impact of the new standard on our consolidated financial statements was immaterial.

     Derivatives and Hedging

      We account for derivative instruments in accordance with ASC 815, Derivatives and Hedging. Such instruments are measured
at fair value and recognized as assets or liabilities in the consolidated balance sheets. Accounting for changes in the fair value of a
derivative depends on the intended use of the derivative and the resulting designation established at the inception of the derivative. For
derivatives that are designated as fair value hedges, changes in fair value are recognized currently though earnings with an offsetting,
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partial mark-to-fair-value of the hedged item. For derivatives designated as cash flow hedges and meeting the effectiveness guidelines
of ASC 815, changes in fair value, to the extent effective, are recognized as other comprehensive income or loss until the hedged item
is recognized in earnings. Hedge effectiveness is measured at least quarterly based on the relative changes in fair value between the
derivative contract and the hedged item over time, or in the case of options, based on the change in intrinsic value. Any change in fair
value of a derivative resulting from ineffectiveness or an excluded component of the gain or loss, such as time value for option contracts,
is recognized immediately in earnings. For any derivative instrument not designated as a hedge at inception, changes in fair value of
the instrument are recognized in earnings in the period in which the change occurs.

     Contingent Liabilities

       We record reserves for contingent liabilities when information available indicates that a loss is probable, and the amount of the
loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment may be subject to the
uncertainty of dispute resolution or litigation. Contractual arrangements with our customers and suppliers are typically complicated
and can include, for example, complex index-based pricing formulas that determine the price for our feedstocks or finished products.
Due to the complicated nature of our contractual arrangements, we can, from time to time, be involved in disputes with our customers
and suppliers regarding the interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the
normal course of our business, seldom result in actual formal litigation and are typically resolved in the context of the broader
commercial relationship that we have with the customer or supplier. Regarding any such disputes, we record reserves for contingent
liabilities when information available indicates that a loss is probable, and the amount of the loss is reasonably estimable.

     Stock-Based Compensation

      We account for stock-based compensation in accordance with ASC 718, Compensation-Stock Compensation. Expense related to
stock-based compensation awards is recognized in our financial statements based on the grant date fair values of the respective awards.
The amount of grant date fair value recognized as expense in our financial statements is based on an estimate of the number of awards
that are ultimately expected to vest, and the related expense is recognized ratably over the vesting period. Forfeitures are estimated at
the time of grant and revised, if necessary, in subsequent periods if actual forfeitures differ from the estimates.

     Benefit Plans

We sponsor a noncontributory defined benefit pension plan for approximately 130 union-represented employees at our Port Neches
facility. The actuarial determination of the projected benefit obligation and related benefit expense requires certain assumptions,
including discount rate, expected return on plan assets, rate of future compensation increases and mortality rates. These assumptions
require considerable judgment and can have a significant impact on the amount of the obligation and periodic expense recognized.

Recent Accounting Developments

     Accounting Standards Adopted in 2020

       Fair Value Measurement – As required, we adopted ASU 2018-13, Disclosure Framework - Changes to the Disclosure
Requirements for Fair Value Measurement, which amended ASC 820, Fair Value Measurement, as of January 1, 2020. The Company
will, when applicable, disclose at Fair Value any derivative assets and liabilities or investments in entities. However, based on our
assessment, the standard has currently had little or no impact on our consolidated financial position, results of operations or cash flows.

      Accounting Guidance Issued but Not Yet Adopted as of December 31, 2020

       Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company continues to evaluate its population of leases and
is continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting
for logistics equipment. The Company anticipates recognition of additional assets and corresponding liabilities related to leases upon
adoption, effective January 1, 2022.


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      Defined Benefit Plans – ASU 2018-14, Compensation—Retirement Benefits, amends disclosure requirements for employers that
sponsor defined benefit pension or other postretirement plans. For public business entities, the amendments are effective for fiscal years
ending after December 15, 2020. For all other entities the amendments are effective for fiscal years ending after December 15,
2021. Early adoption is permitted. The Company anticipates some changes to the disclosures.

       Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management does not expect that changes required by the new standard will materially impact the Company's financial statements and
related disclosures.




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                     CONSOLIDATED FINANCIAL STATEMENTS



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                                                                                    Grant Thornton LLP
                                                                                    700 Milam Street, Suite 300
REPORT OF INDEPENDENT CERTIFIED PUBLIC ACCOUNTANTS                                  Houston, TX 77002
                                                                                    T 832.476.4600
                                                                                    F 713.655.8741

Board of Managers of Sawgrass Holdings GP LLC
Board of Directors and Stockholder of TPC Group Inc. and Subsidiaries

We have audited the accompanying consolidated financial statements of TPC Group Inc. (a
Delaware corporation) and subsidiaries, which comprise the consolidated balance sheets as of
December 31, 2020 and 2019, and the related consolidated statements of operations and
comprehensive loss, changes in stockholder’s deficit, and cash flows for each of the three years
in the period ended December 31, 2020, and the related notes to the financial statements.

Management’s responsibility for the financial statements
Management is responsible for the preparation and fair presentation of these consolidated
financial statements in accordance with accounting principles generally accepted in the United
States of America; this includes the design, implementation, and maintenance of internal
control relevant to the preparation and fair presentation of consolidated financial statements
that are free from material misstatement, whether due to fraud or error.
Auditor’s responsibility

Our responsibility is to express an opinion on these consolidated financial statements based
on our audits. We conducted our audits in accordance with auditing standards generally
accepted in the United States of America. Those standards require that we plan and perform
the audit to obtain reasonable assurance about whether the consolidated financial statements
are free from material misstatement.

An audit involves performing procedures to obtain audit evidence about the amounts and
disclosures in the consolidated financial statements. The procedures selected depend on the
auditor’s judgment, including the assessment of the risks of material misstatement of the
consolidated financial statements, whether due to fraud or error. In making those risk
assessments, the auditor considers internal control relevant to the entity’s preparation and fair
presentation of the consolidated financial statements in order to design audit procedures that
are appropriate in the circumstances, but not for the purpose of expressing an opinion on the
effectiveness of the entity’s internal control. Accordingly, we express no such opinion. An
audit also includes evaluating the appropriateness of accounting policies used and the
reasonableness of significant accounting estimates made by management, as well as evaluating
the overall presentation of the consolidated financial statements.


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    We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis
    for our audit opinion.

    Opinion
    In our opinion, the consolidated financial statements referred to above present fairly, in all material
    respects, the financial position of TPC Group Inc. and subsidiaries as of December 31, 2020 and
    2019, and the results of their operations and their cash flows for each of the three years in the
    period ended December 31, 2020 in accordance with accounting principles generally accepted in
    the United States of America.




             Houston, Texas
             March 24, 2021




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                                                    CONSOLIDATED BALANCE SHEETS
                                                (In thousands, except share and per share amounts)


                                                                                                            December 31,
                                                                                                     2020                  2019

                                                      ASSETS
          Current assets:
           Cash and cash equivalents                                                             $     18,452       $        85,159
           Trade accounts receivable                                                                   73,447                83,882
           Insurance receivable - Port Neches incident                                                 23,289               185,477
           Inventories                                                                                 45,435                52,058
           Other current assets                                                                        41,123                21,690
                  Total current assets                                                                201,746               428,266
          Property, plant and equipment, net                                                          703,273               684,844
          Intangible assets, net                                                                        3,880                 6,768
          Other assets, net                                                                            55,850                53,624
                  Total assets                                                                   $    964,749       $      1,173,502

                              LIABILITIES AND STOCKHOLDER'S DEFICIT
          Current liabilities:
           Accounts payable                                                                      $    113,092       $       117,716
           Accrued liabilities                                                                         92,635                78,038
           Short-term debt                                                                             13,098                   -
           Accrued liabilities - Port Neches incident                                                  90,262               191,410
                  Total current liabilities                                                           309,087               387,164
          Long-term debt, net of deferred financing costs                                             985,321               915,772
          Deferred income taxes                                                                           -                  13,271
                  Total liabilities                                                                  1,294,408             1,316,207
          Commitments and contingencies
          Stockholder's equity (deficit):
            Common stock, $0.01 par value, 2,000 shares authorized,
              1,030 issued and outstanding                                                                -                     -
            Additional paid-in capital                                                                478,314               478,320
            Accumulated deficit                                                                      (805,312)             (617,148)
            Accumulated other comprehensive loss                                                       (2,661)               (3,877)
                  Total stockholder's deficit                                                        (329,659)             (142,705)
                  Total liabilities and stockholder's deficit                                    $    964,749       $      1,173,502




The accompanying notes are an integral part of these consolidated financial statements.


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                    CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE LOSS
                                                                  (In thousands)


                                                                                              Year Ended December 31,
                                                                                       2020            2019           2018
    Revenue                                                                        $      751,390    $   1,464,926    $   1,626,835
    Cost of sales (excludes items listed below)                                           519,063        1,031,833        1,253,054
    Operating expenses                                                                    181,059          179,936          183,328
    General and administrative expenses                                                    27,970           28,695           26,337
    Depreciation and amortization                                                          74,155           81,002          141,708
    Loss on Port Neches incident, net of insurance recovery                                50,141           91,895              -
    Business interruption insurance recovery                                              (12,100)             -               (567)
    COVID-19 expenses                                                                       1,896              -                -
    Repair and other expenses related to dock incident                                        -                -              1,459
    Income (loss) from operations                                                         (90,794)         51,565           21,516
    Other (income) expense:
     Interest expense                                                                     112,933         101,729           89,305
     Other, net                                                                               182           1,565             (889)
    Loss before income taxes                                                           (203,909)           (51,729)         (66,900)
    Income tax benefit                                                                    (15,745)         (10,238)         (13,698)
    Net loss                                                                           (188,164)           (41,491)         (53,202)

    Change in funded status of defined benefit plan, net of tax
     effect of ($323), $352 and $592, respectively                                          1,216           (1,325)          (2,228)

    Comprehensive loss                                                             $   (186,948)     $     (42,816)   $     (55,430)




The accompanying notes are an integral part of these consolidated financial statements.




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                                               CONSOLIDATED STATEMENT OF STOCKHOLDER’S DEFICIT
                                                                        (In thousands)
                                                                                                                          Accumulated
                                                                                      Additional                             Other
                                                       Common Stock                    Paid-in           Accumulated     Comprehensive        Total
                                                      Shares     Amount                Capital             deficit       Income (Loss)        Deficit

 Balances - December 31, 2017                                  1         -                478,461            (522,455)            (324)         (44,318)

 Net loss                                                  -             -                     -              (53,202)             -            (53,202)
 Change in funded status of defined
  benefit plan, net of tax benefit of $592                 -             -                     -                  -             (2,228)           (2,228)

 Balances - December 31, 2018                                  1             -            478,461            (575,657)          (2,552)         (99,748)

 Net loss                                                  -             -                     -              (41,491)             -            (41,491)
 Return of equity contributions                            -             -                   (141)                -                -                (141)
 Change in funded status of defined
  benefit plan, net of tax benefit of $352                 -             -                     -                  -             (1,325)           (1,325)

 Balances - December 31, 2019                                  1    $    -       $        478,320        $   (617,148)   $      (3,877)   $    (142,705)

 Net loss                                                  -             -                     -             (188,164)             -           (188,164)
 Return of equity contributions                            -             -                         (6)            -                -                    (6)
 Change in funded status of defined
  benefit plan, net of tax benefit of ($323)               -             -                     -                  -              1,216            1,216

 Balances - December 31, 2020                                  1    $    -       $        478,314        $   (805,312)   $      (2,661)   $    (329,659)




The accompanying notes are an integral part of this consolidated financial statement.




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                                         CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                                   (In thousands)


                                                                                                   Year Ended December 31,
                                                                                            2020             2019          2018
                Cash flows from operating activities:
                 Net loss                                                              $    (188,164)    $    (41,491)   $   (53,202)
                 Adjustments to reconcile net loss to cash flows provided by
                     operating activities:
                   Depreciation                                                               47,075           50,931        112,863
                   Turnaround amortization                                                    17,851           22,353         22,844
                   Catalyst amortization                                                       6,341            4,831          3,113
                   Patent amortization                                                         2,888            2,887          2,888
                   Port Neches Incident, net of cash expense                                  65,021           71,325            -
                   Amortization / write-off of debt issuance costs                             8,443           12,501          6,040
                   Deferred income taxes                                                     (13,594)          (8,653)       (13,873)
                   Deferred turnaround cost                                                  (22,505)         (20,956)       (49,869)
                   Deferred catalyst cost                                                     (5,537)          (8,745)        (3,766)
                   Capital projects write-off                                                    -                -              -
                 Changes in assets and liabilities:
                   Accounts receivable                                                        10,435           10,080          1,870
                   Inventories                                                                 7,633           11,592          4,472
                   Accounts payable                                                          (19,698)         (32,278)        19,445
                   Other assets and liabilities, net                                          (5,054)          42,977        (22,008)
                      Cash provided by (used in) operating activities                        (88,865)         117,354         30,817
                Cash flows from investing activities:
                 Capital expenditures                                                        (55,889)         (53,957)       (63,717)
                      Cash used in investing activities                                      (55,889)         (53,957)       (63,717)
                Cash flows from financing activities:
                 Proceeds from issuance of 10.5% Notes                                           -            930,000            -
                 Payment of 8.75% Notes                                                          -           (805,000)           -
                 Payment of Term Loan                                                            -            (50,000)           -
                 Net proceeds from (paydowns on) ABL Facility                                    -            (40,000)        32,000
                 Proceeds from Term Loan                                                      69,300              -              -
                 Insurance finance borrowings                                                 42,492              -              -
                 Insurance finance repayments                                                (29,395)             -              -
                 Debt issuance costs                                                          (4,344)         (14,092)          (502)
                 Equity contributions (returns), net                                               (6)           (141)           -
                      Cash provided by financing activities                                  78,047            20,767         31,498
                Increase (decrease) in cash and cash equivalents                             (66,707)          84,164         (1,402)
                Cash and cash equivalents, beginning of period                                85,159              995          2,397
                Cash and cash equivalents, end of period                               $     18,452      $     85,159    $      995




The accompanying notes are an integral part of these consolidated financial statements.



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                                                            TPC Group Inc.
                                   NOTES TO CONSOLIDATED FINANCIAL STATEMENTS
NOTE A – BASIS OF PRESENTATION

      1. Definition of Terms

    Certain terms used throughout these consolidated financial statements and accompanying notes are defined on page 3 of this
Report, which should be referred to when reading these consolidated financial statements and accompanying notes.

     2. Organization

      The accompanying consolidated financial statements include the accounts of TPCGI and its direct wholly owned and indirect
subsidiaries. TPCGI’s direct wholly owned subsidiaries include TPCGLLC and Texas Petrochemicals Netherlands B.V., and its
indirect subsidiaries, which are all wholly owned subsidiaries of TPCGLLC, include Texas Butylene Chemical Corporation, Texas
Olefins Domestic International Sales Corporation, TPC Phoenix Fuels LLC, Port Neches Fuels LLC, TP Capital Corp., TPC Pipeline
Holding Company LLC and TPC Pipeline Company LLC.

      3. Principles of Consolidation

     The Company’s consolidated financial statements include the accounts of TPCGI and its direct and indirect subsidiaries, after the
elimination of all significant intercompany accounts and transactions. The financial statements presented have been prepared by us in
accordance with GAAP.

NOTE B – DESCRIPTION OF BUSINESS

      We are a leading North American producer of value-added products derived primarily from C4 hydrocarbons. Our products are
sold to producers of a wide range of performance, specialty and intermediate products, including synthetic rubber, fuels, lubricant
additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
      In our C4 Processing segment, we process crude C4 into higher value components, namely butadiene, butene-1 and raffinates.
Butadiene is primarily used to produce synthetic rubber that is mainly used in tires and other automotive products; butene-1 is primarily
used in the manufacture of polyethylene plastic resins and synthetic alcohols; and raffinates are primarily used in the production of
alkylate, a component of premium unleaded gasoline.
      In our Performance Products segment, we process isobutylene, which we purchase as a raw material and also produce internally,
to produce polyisobutylene (“PIB”), diisobutylene (“DIB”), and methyl tertiary-butyl ether (“MTBE”).
      PIB is primarily used in the production of fuel and lubricant additives, caulks, adhesives, sealants and packaging; DIB is primarily
used in the manufacture of surfactants, plasticizers and resins; and MTBE is primarily used as a gasoline blending stock.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 12-14). The Houston plant, in addition to processing crude C4, also produces PIB, DIB,
and MTBE. The raw material isobutylene processed at our Houston facility is sourced from processing crude C4, third party supply
and internal on-purpose production. The feedstock for our on-purpose isobutylene production is isobutane, which is a plentiful natural
gas liquid resulting from shale gas development. Early in the second quarter, we signed a new MTBE offtake contract with one of the
world’s largest independent fuels and commodity trading firms, in an effort to replace crude C4 capacity. The contract is market based
and provides a secure outlet for 100% of our MTBE production through the end of 2023. Since the new MTBE offtake contract is
market based, we are subject to greater pricing volatility than under our previous offtake contract.




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                            NOTES TO CONSOLIDATED FINANCIAL STATEMENTS – (Continued)

     We also provide critical infrastructure and logistics services along the Gulf Coast. Our Houston processing facility and our
terminals provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers and
raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and ocean-
going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served by
barges.

      The primary drivers of our businesses are general economic and industrial growth. Our results are impacted by the effects of
economic upturns or downturns on our customers and our suppliers, as well as on our own costs to produce, sell and deliver our products.
Our customers generally use our products in their own production processes; therefore, if our customers curtail production of their
products, our results could be materially affected. In particular, our feedstock costs and product prices are susceptible to volatility in
pricing and availability of crude oil, natural gas and oil-related products such as unleaded regular gasoline. Prices for these products
tend to be volatile as well as cyclical, as a result of global and local economic factors, worldwide political events, weather patterns and
the economics of oil and natural gas exploration and production, among other things.

NOTE C – RISKS AND UNCERTAINTIES RELATED TO THE COVID-19 PANDEMIC

      In March 2020, the World Health Organization declared the outbreak of COVID-19 to be a pandemic. The global coronavirus
(COVID-19) pandemic continues to cause considerable uncertainty in the marketplace, and efforts to stop the virus are also having
significant economic consequences. Though the government restrictions across the world have generally started to ease and vaccines
have become available to help prevent COVID-19 infections, the extent and duration of measures implemented to try to slow the spread
of the virus, such as travel bans and restrictions, border closures, quarantines, and business and government shutdowns have caused,
and may continue to cause, reduced demand and operational delays. The COVID-19 outbreak has impacted the addressable market for
the Company’s products, and the Company’s business continues to be exposed to risks and uncertainties related to the pandemic. The
Company has taken several actions to deal with the pandemic. These include enabling its employees to work from home and suspending
all non-essential travel. The ultimate impact and the extent to which the COVID-19 pandemic will continue to affect the business,
results of operation and financial condition is difficult to predict and depends on numerous evolving factors outside of the Company’s
control including: the duration and scope of the pandemic; government, social, business and other actions that have been and will be
taken in response to the pandemic; and the effect of the pandemic on short and long-term general economic conditions. This uncertainty
also affects management’s accounting estimates and assumptions, which could result in greater variability in a variety of areas that
depend on these estimates and assumptions.

NOTE D – GOING CONCERN

     The consolidated financial statements of the Company have been prepared on a going concern basis, which contemplates the
realization of assets and the discharge of liabilities in the normal course of business. When preparing financial statements, management
has the responsibility to evaluate whether there are conditions or events, considered in the aggregate, that create substantial doubt about
the Company’s ability to continue as a going concern within one year after the date that the financial statements are issued. In applying
the accounting guidance, the Company considered its current financial condition and liquidity sources, including current funds available,
forecasted future cash flows and its unconditional obligations due over the next 12 months.

      The Company has sustained operating losses due to the Port Neches plant explosion in 2019 and as a result of market complications
from COVID-19. While the Company’s assessment of forecasted cash flow and available liquidity for 2021 includes significant PNO-
related insurance receipts, the amount and timing is uncertain and largely outside of the Company’s control. The Company can exercise
some control over capital spending, but there is no guarantee that alternate forms of additional capital will be available.


NOTE E– SIGNIFICANT ACCOUNTING POLICIES

     1. Use of Estimates

     The preparation of financial statements in conformity with generally accepted accounting principles requires management to make
estimates and assumptions that affect the reported amount of assets and liabilities and disclosure of contingent assets and liabilities at
the date of the financial statements and the reported amounts of revenues and expenses during the reporting periods. Significant
estimates include liabilities and insurance proceeds related to the Port Neches incident (see Note J), impairment considerations,

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allowance for doubtful accounts, inventory valuation, pension plan assumptions, environmental and litigation reserves and provision for
income taxes. Actual results could differ from those estimates.

     2. Cash and Cash Equivalents

       Cash and cash equivalents include amounts on deposit with banks, cash invested temporarily in investments with original
maturities of three months or less, and cash on hand. We maintain cash balances that are insured by the Federal Deposit Insurance
Corporation (“FDIC”). At December 31, 2020 and 2019, we had $18.5 million and $85.2 million, respectively, in cash and cash
equivalents, which were subject to a $0.25 million per financial institution FDIC insurance coverage limit. We believe that the
likelihood of any loss of cash and cash equivalents is remote and that we are not exposed to any significant credit risk on cash and cash
equivalents.

     3. Accounts Receivable

      We extend credit to our customers in the normal course of business and generally do not require collateral for trade accounts
receivable. We perform ongoing credit evaluations of our customers and, in some instances, require letters of credit or additional
guarantees in support of contracted amounts. We review the collectability of trade receivables and use the allowance method to record
bad debt expense for amounts that we believe may be uncollectible. We believe no allowance was necessary as of December 31, 2020
and 2019. Write-offs are recorded at the time a customer receivable is deemed uncollectible.

     4. Inventories

      Inventories consist of raw materials and finished goods and are valued at the lower of average cost or net realizable value. Costs
of finished products include raw materials, energy, labor and manufacturing overhead. We may enter into product exchange agreements
with suppliers and customers for raw materials and/or finished goods in the normal course of business. Under these arrangements we
deliver product volumes to the exchange partner to be delivered in-kind back to us or we receive product volumes to be delivered in-
kind by us to the exchange partner in the future, generally in the short term. Product exchanges typically benefit both parties from a
logistical perspective and provide for additional flexibility regarding both receipt of raw materials from suppliers and delivery of finished
goods to customers. Exchange balances due to or from exchange partners are recorded in inventory at the lower of average cost or net
realizable value and do not impact the consolidated statements of operations and comprehensive loss, as they are recognized at the
carrying amount. At December 31, 2020 we had no exchange receivable position and our exchange payable position was $0.6 million.
At December 31, 2019 we had no exchange receivable position and our exchange payable position was $0.8 million.

     5. Property, Plant and Equipment

     Property, plant and equipment are stated at depreciated historical cost. Depreciation of property, plant and equipment is computed
using the straight-line method over estimated useful lives ranging from five to forty-five years for financial reporting purposes and
accelerated methods for income tax purposes. Maintenance and repairs and minor renewals are charged to expense as incurred while
major improvements, renewals and betterments are capitalized.
     Upon retirement or sale of an asset, the asset cost and the related accumulated depreciation are removed from the accounts and
any resulting gain or loss is reflected in results of operations.

     The estimated useful lives for our main categories of fixed assets are shown in the table below.

                                                                                                Estimated Useful Lives
                                                                                                      (in years)
                   Plant equipment                                                                      5 - 35
                   Pipelines                                                                           15 - 40
                   Buildings and land improvements                                                     15 - 45
                   Technology assets                                                                    5 -6




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     6. Intangible Assets

     Our intangible assets include patents and a technology license for the butadiene extraction process used at our Port Neches facility.
Patents are amortized using the straight-line method over their useful lives. Our technology license has no legal, regulatory, contractual,
competitive, economic, or other factors that would limit its useful life; consequently, we have determined its useful life to be indefinite.

     7. Impairment

    We follow ASC 350, Intangibles—Goodwill and Other, regarding impairment of the carrying value of our intangible assets and
ASC 360, Property, Plant and Equipment, regarding impairment of the carrying value of our property, plant and equipment.
      An impairment loss is recognized only if the carrying value of a long-lived asset or asset group is not recoverable and is measured
as the excess of the carrying value over the fair value. The carrying amount of a long-lived asset or asset group is considered not
recoverable if it exceeds the sum of the undiscounted cash flows expected to result from the use of the long-lived asset or asset group.
Because our long-lived intangible asset (one technology license) is fundamental to and inseparable from the respective long-lived
manufacturing assets, we assess impairment of the technology license together with the respective long-lived manufacturing assets based
on the undiscounted future cash flows related to the respective manufacturing processes.
     We assess our indefinite lived intangible assets and our long-lived assets for impairment annually, during the fourth quarter of
each year using a measurement date of December 31 or more frequently if events or changes in circumstances indicate that the carrying
amount of these assets may not be recoverable.

     8. Plant Turnaround Costs

      Plant turnarounds are major scheduled events and require partial or complete shutdowns of chemical processing units for
significant overhaul and refurbishment, for periods typically lasting from two to four weeks. We use the deferral method to account
for the cost of turnarounds. Under the deferral method the costs of major scheduled plant turnarounds are deferred on the balance sheet
and charged to depreciation and amortization expense on a straight-line basis during the period until the next scheduled turnaround.

     9. Debt Issuance Costs

      Direct costs incurred in connection with the issuance of long-term debt or modification of a credit facility, if the borrowing capacity
of the new arrangement is greater than or equal to the borrowing capacity of the previous arrangement, are deferred and amortized as
interest expense over the term of the debt or credit facility. Deferred debt issuance costs are reported as an offset to long-term debt on
our consolidated balance sheets.

     10. Revenue Recognition

         We recognize revenue in accordance with ASC 606, Revenue from Contracts with Customers, which we adopted as of January
1, 2019. We applied the modified retrospective transition method to all contracts not completed as of the adoption date. This revenue
recognition standard provides for a five-step analysis of transactions to determine when and how revenue is recognized. The premise
of the guidance is that a company should recognize revenue to depict the transfer of promised goods or services to customers in an
amount that reflects the consideration to which the entity expects to be entitled in exchange for those goods or services.
     Substantially all our revenues are derived through contractual arrangements with customers. We consider contractual
arrangements to be in place when both parties have approved the contract, are committed to perform, the rights of the parties and payment
terms have been identified, the contract has commercial substance and collectability is probable.
     Revenue is recognized when the obligations under the terms of a contractual arrangement with the customer have been satisfied.
This generally occurs at the point in time when performance obligations are fulfilled and control transfers to the customer. Revenue is
measured as the amount of consideration we expect to receive in exchange for transferring goods. Customer incentives are generally
based on volumes purchased and recognized over the period earned.

     11. Insurance Recoveries

    If an insurance claim as of the balance sheet date relates to a recovery of incurred losses, we recognize the recovery up to the
amount of the loss incurred, if the recovery is probable. Such recognized insurance proceeds are recorded as a receivable and an offset
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to the related losses incurred. We do not recognize any net gains related to insurance proceeds unless the proceeds have been received
and any contingencies related to the proceeds have been adequately resolved.

     12. Environmental Remediation Costs

     Anticipated expenditures related to investigation and remediation of contaminated sites, which include operating facilities and
waste disposal sites, are accrued when it is probable a liability has been incurred and the amount of the liability can be reasonably
estimated.

     13. Comprehensive Loss

     Comprehensive loss is reported in accordance with ASC 220, Comprehensive Income. Our comprehensive loss is defined as net
income adjusted for the change (net of tax) in the funded status of our defined benefit pension plan.

     14. Income Taxes

     We account for income taxes in accordance with ASC 740, Income Taxes.
      We recognize deferred taxes at enacted tax rates on temporary differences between the carrying amounts of assets and liabilities
for financial and tax reporting purposes.
     We record a valuation allowance on net deferred tax assets when it is more likely than not that these assets will not be realized.
      We recognize interest and penalties related to uncertain tax positions taken or to be taken as part of income tax expense. We
incurred no penalty or interest expenses in 2020, 2019 or 2018.

     15. Stock-Based Compensation

     We account for stock-based compensation in accordance with ASC 718, Compensation—Stock Compensation. Expense related to
stock-based compensation awards is recognized in our financial statements based on the grant date fair values of the respective awards.
The amount of grant date fair value recognized as expense in our financial statements is based on an estimate of the number of awards
that are ultimately expected to vest, and the related expense is recognized ratably over the vesting period. Forfeitures are estimated at
the time of grant and revised, if necessary, in subsequent periods if actual forfeitures differ from the estimates.

     16. Asset Retirement Obligations

      We follow ASC 410, Asset Retirement and Environmental Obligations, regarding accounting for obligations associated with the
retirement of tangible long-lived assets and the associated asset retirement costs. The provisions of this statement apply to legal
obligations associated with the retirement of long-lived assets that result from the acquisition, construction, development and/or normal
operation of a long-lived asset.
       We have asset retirement obligations with respect to certain of our chemical processing assets due to various legal obligations to
clean and/or dispose of various components of the chemical plants at the time they are retired. However, these components can be used
for extended and indeterminate periods of time as long as they are properly maintained and/or upgraded. It is our practice and current
intent to maintain our chemical processing assets and continue making improvements to those assets based on technological advances.
As a result, we believe our facilities have indeterminate lives for purposes of estimating asset retirement obligations because dates or
ranges of dates upon which we would retire chemical processing assets cannot reasonably be estimated at this time. When a date or
range of dates can reasonably be estimated for the retirement of any component part of a chemical plant, an estimate of the cost of
performing the retirement activities will be provided and a liability will be recorded for the fair value of that cost using established
present value techniques. We did not record any asset retirement obligations related to the retirement of any component parts of our
facilities as of December 31, 2020 and 2019.

     17. Shipping and Handling Costs

     We account for shipping and handling costs as a fulfillment activity and not a separate performance obligation. Shipping and
handling costs billed to customers in conjunction with sale transactions are recorded as a component of revenue and shipping and
handling costs incurred by us are included in cost of sales in the Consolidated Statements of Operations and Comprehensive Loss.
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     18. Financial Instruments

      The carrying amounts for cash and cash equivalents, receivables and payables approximate fair value because of the short maturity
of these instruments. At December 31, 2020, our long-term debt consisted of the fixed rate 10.5% Notes, which had a carrying amount
of $930.0 million and a fair value of approximately $774.2 million. At December 31, 2019, our long-term debt consisted of the fixed
rate 10.5% Notes, which had a carrying amount of $930.0 million and a fair value of approximately $939.4 million. There were no
borrowings on the ABL at December 31, 2020 and December 31, 2019.

     19. Fair Value Option

       ASC 825, Financial Instruments, allows entities to choose, at specified election dates, to measure eligible financial assets and
liabilities at fair value that are not otherwise required to be measured at fair value. If a company elects the fair value option for an
eligible item, changes in that item's fair value in subsequent reporting periods must be recognized in current earnings. We have not
elected to measure any of our eligible financial assets and liabilities at fair value.

     20. Recent Accounting Developments

     Accounting Standards Adopted in 2020

       Fair Value Measurement – As required, we adopted ASU 2018-13, Disclosure Framework - Changes to the Disclosure
Requirements for Fair Value Measurement, which amended ASC 820, Fair Value Measurement, as of January 1, 2020. The Company
will, when applicable, disclose at Fair Value any derivative assets and liabilities or investments in entities. However, based on our
assessment, the standard has currently had little or no impact on our consolidated financial position, results of operations or cash flows.

      Accounting Guidance Issued but Not Yet Adopted as of December 31, 2020

       Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company continues to evaluate its population of leases and
is continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting
for logistics equipment. The Company anticipates recognition of additional assets and corresponding liabilities related to leases upon
adoption, effective January 1, 2022.

      Defined Benefit Plans – ASU 2018-14, Compensation—Retirement Benefits, amends disclosure requirements for employers that
sponsor defined benefit pension or other postretirement plans. For public business entities, the amendments are effective for fiscal years
ending after December 15, 2020. For all other entities the amendments are effective for fiscal years ending after December 15,
2021. Early adoption is permitted. The Company anticipates some changes to the disclosures required to comply with this standard.

       Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management does not expect that changes required by the new standard will materially impact the Company's financial statements and
related disclosures.




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NOTE F – DETAIL AND DISCUSSION OF CERTAIN CONSOLIDATED BALANCE SHEET CAPTIONS

     Inventories

     Inventories, as of the dates presented, were as follows (in thousands) :
                                                                                                 December 31,
                                                                                             2020           2019

                    Finished goods                                                      $      24,665       $     31,632
                    Raw materials and chemical supplies                                        20,770             20,426
                                                                                        `                   `
                                                                                        $      45,435       $     52,058


      The decrease of $6.6 million reflected an 11% decrease in overall average cost per pound, which accounted for $5.8 million of the
decrease, and a 2% decrease in physical inventory volumes, which accounted for the remainder of the decrease. The decrease in average
cost per pound was driven primarily by a 34% decrease in the benchmark price of butadiene comparing the prices for December 2020
to December 2019.

     Other Current Assets

     Other current assets, as of the dates presented, were as follows (in thousands):

                                                                                            December 31,
                                                                                    2020                   2019
                     Prepaid insurance premiums                                 $       21,002      $           342
                     Spare parts inventory                                              15,741               14,675
                     Prepaid expense and other                                           4,380                6,673
                                                                                $       41,123      $        21,690


          The increase in Other Current Assets relates to the financing of a substantial portion of our insurance premiums in 2020 for
policies renewed through 2021. Due to significant recent insurance claims in the petrochemical industry, insurance market conditions
tightened, and we renewed our policies at substantially higher premiums than the expiring coverages.




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     Property, Plant and Equipment

     Property, plant and equipment, as of the dates presented, were as follows (in thousands):

                                                                                                  December 31,
                                                                                              2020           2019

                     Land and land improvements                                          $      52,839     $        52,839
                     Plant and equipment                                                     1,108,577           1,071,744
                     Construction in progress                                                   93,903              66,830
                     Other                                                                      52,464              50,971
                                                                                             1,307,783           1,242,384
                         Accumulated depreciation                                             (604,510)           (557,540)
                                                                                         `                 `
                                                                                         $    703,273      $      684,844


     The net increase in Property, Plant and Equipment primarily relates to the $27 million net increase in construction in progress
(CIP), which consists of the new Port Neches Plant terminal project that was started in 2020 but not completed by December 31, 2020.
The change also reflects the $11 million CIP write off of Port Neches projects in 2019, which lowered 2019 CIP.

     Intangible Assets

     Changes in the carrying amount of our intangible assets, for the periods presented, were as follows (in thousands):

                                                                            Intangible          Accumulated              Carrying
                                                                              assets            amortization              value

               Balance at December 31, 2018                             $       26,980          $     (17,325)      $          9,655
               Amortization                                                        -                   (2,887)                (2,887)
               Balance at December 31, 2019                                     26,980                (20,212)                 6,768
               Amortization                                                        -                   (2,888)                (2,888)
               Balance at December 31, 2020                             $       26,980          $     (23,100)      $         3,880



     The gross carrying amounts and accumulated amortization of intangible assets, as of the dates presented, were as follows (in
thousands):

                                                                         Gross                                  Net
                                                                        carrying         Accumulated          carrying
                                                                         value           amortization          value
                         December 31, 2019
                          Technology license                        $        3,880       $        -       $      3,880
                          Patents                                           23,100            (20,212)           2,888

                                                                    $       26,980       $    (20,212)    $      6,768
                         December 31, 2020
                          Technology license                        $        3,880       $        -       $      3,880
                          Patents                                           23,100            (23,100)               -
                                                                    $       26,980       $    (23,100)    $      3,880

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      The technology license is related to the butadiene extraction process at the Port Neches facility, which was shut down indefinitely
due to the explosion incident on November 27, 2019 (see Note J). Our current position is that it is more likely than not that this licensed
process will be used in the future, so we do not consider the carrying value of the intangible to be impaired. If future facts and/or
circumstances indicate an impairment of the carrying value of this asset we will recognize an impairment charge.

     Patent amortization expense for year ending December 31, 2020 was $2,888, after which the patents are fully amortized.

     Other Assets

     Other assets, as of the dates presented, were as follows (in thousands):

                                                                                          December 31,
                                                                                   2020                  2019
                           Deferred turnaround costs                          $        40,308     $         35,654
                           Catalyst and solvent costs                                  13,693               14,870
                           Other deferred charges                                       1,849                3,100
                                                                              $        55,850     $         53,624


     The increase in deferred turnaround costs in 2020 is solely attributable to the Houston facility. The Port Neches facility is
currently operating as a terminal (and not a production facility) and therefore has not had any turnaround activity during 2020.

     Accrued Liabilities
     Accrued liabilities, as of the dates presented, were as follows (in thousands):
                                                                                          December 31,
                                                                                  2020                   2019

                         Accrued payroll and benefits                     $          17,537       $         12,007
                         Net pension liability                                        8,493                  7,870
                         Accrued freight                                              5,875                  6,799
                         Accrued interest                                            41,231                 40,967
                         Property and sales tax                                      13,991                  9,894
                         Other                                                        5,508                    501
                                                                          $          92,635       $         78,038


      The net increase in accrued payroll and benefits liabilities represents an increase deferred payroll taxes as well as an increase in
incentive compensation accrued liabilities, not yet paid, year over year. As part of the Company’s cash preservation measures, incentive
compensation payments for the year ended December 31, 2019 were deferred and are to be paid in 2021. The increase in property and
sales tax liabilities versus prior year reflects higher unpaid property tax assessments, a portion of which is currently under appeal. The
property tax balance at December 31, 2020 includes $5.1 million and $2.2 million in unpaid taxes related to tax appeals for the years
2020 and 2019 respectively. A $6.3 million property tax payment was made in January of 2021, excluding amounts under appeal.
Accrued interest was fairly consistent year over year and the slight increase largely reflects higher interest on the New Term Loan.
Payments on the New Term Loan are made quarterly, with the last payment occurring in December 2020. Interest on the $930 million
principal amount of the 10.5% Notes is paid semiannually on February 1 and August 2.




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     Accrued Liabilities – Port Neches Incident

     Port Neches incident accrued liabilities, as of the dates presented, were as follows (in thousands):

                                                                                                  December 31,
                                                                                              2020            2019
                 Total of losses and costs recognized                                    $     416,817      $     287,372
                 Deferred gain on insurance                                                     36,694                -
                 Invoices / settlements paid                                                  (293,874)           (30,570)
                 Unpaid invoices included in payables                                          (12,507)            (7,875)
                 Asset write-offs                                                              (56,868)           (57,517)
                                                                                                90,262            191,410
                 Accrued response / clean-up costs                                       $      46,258      $      47,566
                 Estimated claims liability                                                     44,004            143,844
                                                                                         $      90,262      $     191,410


       The above reconciliation reflects $416.8 million and $287.4 million of losses and costs related to the Port Neches incident as of
December 31, 2020 and December 31, 2019 respectively (see Note J). The reconciliation provides the main components of the accrued
liability for each year. These amounts are shown on the accompanying consolidated balance sheet at December 31, 2020 and December
31, 2019.
      For 2020, the amount of loss on the Port Neches incident, net of insurance recoveries, of $50.1 million showing on the Consolidated
Statements of Operations and Comprehensive Loss is the total amount of additional losses and costs of $129.4 million incurred during
the year less $56.0 million of insurance recoveries received related to 2020 losses and costs and probable insurance recoveries receivable
of $23.3 million at December 31, 2020. As of the issuance date of this report, March 24, 2021, we have received $40.0 million in
additional insurance proceeds in 2021.

      For 2019, the amount of loss on the Port Neches incident, net of insurance recoveries, of $91.9 million showing on the Consolidated
Statements of Operations and Comprehensive Loss reflected the total amount of losses and costs of $287.4 million less insurance
recoveries received in 2019 of $10.0 million and probable insurance recoveries receivable of $185.5 million at December 31, 2019. As
of the issuance date of the December 31, 2019 report, $165.0 million in additional insurance proceeds was received.

NOTE G – SHORT-TERM DEBT

      Our short-term financing arrangements at December 31, 2020 consisted of insurance premium financing. In June 2020 we
financed $2.3 million of insurance premiums through Aon Premium Finance LLC. The initial down payment and the first installment
payment were due in July 2020 with the remaining payments scheduled to be paid over the next nine months through April 2021. We
financed approximately $39.0 million of additional insurance premiums through Aon Premium Finance LLC for insurance coverages
that were renewed during the third quarter, making additional down payments and increasing the amount of the remaining monthly
payments through April 2021.




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NOTE H – LONG-TERM DEBT

     Outstanding debt as of the dates presented, was as follows (in thousands):
                                                                                                  December 31,
                                                                                           2020                  2019
                          Notes                                                        $    930,000       $       930,000
                          New Term Loan                                                      70,000                   -
                          Unamortized discount on New Term Loan                                (286)                  -
                          Total long-term debt                                              999,714               930,000
                            Less: deferred financing costs                                  (14,393)              (14,228)
                          Long-term debt net of deferred financing costs               $    985,321       $       915,772

     Our financing arrangements at December 31, 2020 were comprised of the 10.5% Notes, the New Term Loan and the ABL. As of
December 31, 2020, we were in compliance with all covenants set forth in the Indenture governing the 10.5% Notes and the credit
agreement governing the ABL.

     New Term Loan

     On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provides for a delayed draw term loan of up to $70 million and a term of one-year.

     Availability under the New Term Loan is limited to a maximum of four draws with a minimum of $5 million per draw.

      Subject to certain exceptions, the Company’s obligations with respect of the New Term Loan are secured by liens on and security
interests in all collateral securing the 10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment
with those liens and security interests granted pursuant to the Indenture governing the 10.5% Notes.
      The ABR loans under the New Term Loan bear interest at an Alternate Base Rate plus an Applicable Margin of 6%. The Alternate
Base Rate is equal to a fluctuating rate per annum equal to the greatest of (i) the rate of interest last quoted by The Wall Street Journal
(or, other national publication selected by the Administrative Agent in consultation with the Borrower) as the United States “prime rate”
(the “Prime Rate”), (ii) the Federal Funds Rate plus 0.50%, (iii) the LIBOR Rate determined by the Administrative Agent (with a term
equivalent to one month), published as of approximately 11:00 a.m. (London time) two Business Days prior to the date at which the
Alternate Base Rate is being determined, plus 1.00%, and (iv) in the case of ABR Loans, 2.50% per annum. The Prime Rate is not
necessarily the lowest rate that the Administrative Agent is charging to any corporate customer. Interest is due on the last Business Day
of each calendar quarter.
      The LIBOR Loans under the New Term Loan have a LIBOR Rate and an Applicable Margin of 7% applied. The LIBOR Rate is
the per annum rate of interest (rounded up to the nearest 1/100th of 1%) determined by the Administrative Agent at or about 11:00 a.m.
(London time) two Business Days prior to an Interest Period, for a term equivalent to such period, equal to the London Interbank Offered
Rate, or comparable or successor rate approved by the Administrative Agent, as published on the applicable Bloomberg screen page (or
other commercially available source designated by the Administrative Agent from time to time); provided, that any comparable or
successor rate shall be applied by the Administrative Agent in a manner consistent with market practice; provided further, that in no
event shall the LIBOR Rate be less than 1.50%. Interest payments are due quarterly in arrears.
      The New Term Loan contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the
ability of TPCGI and certain of its subsidiaries to:

     •    pay dividends on or make certain distributions and other restricted payments;
     •    incur additional debt, issue disqualified stock or issue certain preferred stock;
     •    create certain liens or encumbrances;
     •    sell assets;
     •    enter into transactions with affiliates;
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     •    limit ability of restricted subsidiaries to make payments to TPCGI;
     •    consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets;
     •    change its lines of business;

     •    designate TPCGI’s subsidiaries as unrestricted subsidiaries; and

     •    in addition to the foregoing, with respect to the borrower and its subsidiaries, incur certain liabilities.

      The New Term Loan also contains certain customary additional affirmative covenants, representations and warranties, conditions
to making loans, indemnification provisions and events of default, including (subject in certain cases to customary grace and cure
periods) material inaccuracy of representations, non-payment of obligations under the New Term Loan, violation of affirmative and
negative covenants, non-payment or acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of
the credit documents (or the assertion of any such invalidity), certain casualty events, change of control and loss of lien perfection or
priority.
      On March 18, 2020, we drew on the facility and received $70 million less a 1% original issue discount fee. On May 15, 2020 we
and the lenders agreed to amend the New Term Loan. The amendment extended the maturity date from February 2, 2021 to August 5,
2021. In addition, the amendment increased the Applicable Margin on ABR Loans from 6% to 7% and on LIBOR Loans from 7% to
8% as of the date of the amendment. Although the New Term Loan matures in less than one year, as of December 31, 2020, it has been
classified as long-term debt, as it was refinanced in February 2021. See Note T, Subsequent Events, for further discussion.
     ABL

     TPCGI is the lead borrower under the ABL and certain domestic subsidiaries of TPCGI are co-borrowers (or may be designated
co-borrowers) on a joint and several basis.
     The ABL is composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” tranche (the
ABL FILO). Commitments under the ABL FILO will be reduced, and commitments under the ABL Revolver equally and
simultaneously increased, by $2.5 million on each of the first three anniversaries of the August 2019 amendment and restatement.
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.

     As of December 31, 2020, we had no borrowings outstanding on the ABL and the combined ABL Revolver and ABL FILO
borrowing bases provided us with the ability to borrow up to $75.6 million.
      The ABL Revolver commitments may be increased by an aggregate principal amount of not more than $150 million, subject only
to the consent of the new or existing lenders providing such increases. The lenders under this facility are under no obligation to provide
any such additional commitments, and any increase in commitments will be subject to customary conditions precedent.
Notwithstanding any such increase in the facility size, TPCGI’s ability to borrow under the facility will remain limited at all times by
the borrowing base (to the extent the borrowing base is less than the commitments).
      Loans under the ABL Revolver bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate
equal to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR
rate plus 1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be
1.75% (and may subsequently decrease to 1.50% or increase to 2.00% depending on average excess availability) and with respect to
base rate borrowings will initially be 0.75% (and may subsequently decrease to 0.50% or increase to 1.00% depending on average excess
availability).
      Loans under the ABL FILO bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate equal
to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR rate plus
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1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be 3.00% (and
may subsequently decrease to 2.75% or increase to 3.25% depending on average excess availability) and with respect to base rate
borrowings will initially be 2.00% (and may subsequently decrease to 1.75% or increase to 2.25% depending on average excess
availability).
      The ABL provides for all applicable margins to be reduced by 0.25% during any fiscal quarter for which the Total Leverage Ratio,
as defined in the ABL credit agreement, as of the last day of the immediately preceding fiscal quarter, is less than 5.0 to 1.0.
      In addition to paying interest on outstanding principal under the ABL, TPCGI is required to pay a commitment fee at an initial rate
of 0.500% per annum in respect of the unutilized commitments thereunder. The commitment fee rate subsequently may be reduced to
0.375% depending on the amount of excess availability under the ABL. TPCGI must also pay customary letter of credit fees and
fronting fees for each letter of credit issued.
      If, at any time, (i) an Event of Default is continuing or (ii) Excess Availability is less than the greater of (x) 12.5% of Availability
and (y) $12.5 million, TPCGI shall comply with a minimum Fixed Charge Coverage Ratio for the most recent period of four consecutive
fiscal quarters of at least 1.0 to 1.0. Such requirement shall continue until the date that no Event of Default exists, and Excess
Availability shall have been not less than the greater of (x) 12.5% of Availability and (y) $12.5 million for a period of 21 consecutive
calendar days.
      If at any time the aggregate amount of loans and letters of credit outstanding under either the ABL Revolver or under the ABL
FILO exceeds the lesser of (a) the applicable total commitments and (b) the applicable borrowing base, TPCGI will be required to prepay
loans outstanding and/or cash collateralize outstanding letters of credit in an aggregate amount equal to the amount of any such excess,
without any reduction of the commitments. Under certain circumstances, if the aggregate amount available under the ABL is less than
the greater of (1) 12.5% of the lesser of (i) the total commitments under such facility and (ii) the borrowing base and (2) $12.5 million
for 5 consecutive business days, or if certain defaults occur, all collateral proceeds collected through the cash management system in
favor of the collateral agent will be swept to a collection account and applied daily to repay outstanding loans and cash collateralize
letters of credit under the ABL.
       TPCGI may voluntarily repay loans outstanding under the ABL Revolver and under the ABL FILO at any time without premium
or penalty other than customary “breakage” costs with respect to LIBOR loans. All outstanding loans under the ABL Revolver must
be repaid before any loans outstanding under the ABL FILO may be repaid. Any subsequent borrowings under the ABL would be
made first under the ABL FILO (subject to availability) and next under the ABL Revolver (subject to availability). We may elect at
any time to reduce the unutilized portion of the commitment amount under the ABL. We may elect at any time to terminate the ABL
FILO commitments in full (but not in part) provided that 30 Day Excess Availability, as defined in the Credit Agreement and calculated
on a pro forma basis, would not be less than the greater of (a) 17.5% of availability and (b) $25 million if the Fixed Charge Coverage
Ratio is at least 1.0 to 1.0 or 30 Day Excess Availability would not be less than 22.5% of availability if the Fixed Charge Coverage Ratio
is less than 1.0 to 1.0.
      Pursuant to a Guarantee, dated as of August 2, 2019, among Parent, TPCGI, the other guarantors party thereto and Bank of
America, N.A., as administrative agent and collateral agent, all obligations under the Senior Secured Asset-Based Revolving Credit
Agreement are unconditionally guaranteed by substantially all existing and future, direct and indirect, wholly-owned material restricted
domestic subsidiaries of TPCGI, subject to certain exceptions, including, any applicable legal, regulatory or contractual constraints and
to the requirement that such guarantee will not cause material adverse tax consequences.
     The borrowers under the ABL are jointly and severally liable for all borrowings and other obligations thereunder. Pursuant to a
Pledge and Security Agreement, dated as of August 2, 2019, among Parent, TPCGI, the subsidiary grantors and Bank of America, N.A.,
as administrative agent and collateral agent, and any additional borrowers that may become party thereto from time to time, such
obligations and the guarantees of such obligations are secured, subject to permitted liens and other exceptions, by:

     •    a first-priority lien on the following:

                  (a)       accounts receivable, including those arising from the sale of inventory and other goods and services
                            (including related contracts and contract rights, inventory, tax refunds, cash and cash equivalents);
                  (b)       inventory;
                  (c)       intercompany notes and intellectual property and other intangible assets to the extent attached to or necessary
                            to sell any of the foregoing;


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                  (d)       deposit and investment accounts (and all cash, checks and other negotiable instruments, funds and other
                            evidences of payment held therein, but not any identifiable proceeds of Notes First Priority Collateral (as
                            defined below));
                  (e)       to the extent evidencing, governing, securing or otherwise related to any of the foregoing and the other
                            Revolver First Priority Collateral (as defined below), all documents, general intangibles (excluding
                            intellectual property), instruments, investment property (but not stock in subsidiaries or equity interest in any
                            limited liability company or other entity constituting Notes First Priority Collateral), commercial tort claims,
                            letters of credit, supporting obligations and letter of credit rights;
                  (f)       all loans payable by a grantor to any other grantor to the extent made using proceeds of advances under the
                            ABL Facility;
                  (g)       books and records, documents, supporting obligations, chattel paper, instruments, payment intangibles and
                            general intangibles relating to any of the foregoing; and
                  (h)       all proceeds and products of any or all of the foregoing in whatever form received, in each case above subject
                            to certain qualifications and exclusions (collectively, the “Revolver First Priority Collateral”); and

     •   a second-priority lien on assets not constituting Revolver First Priority Collateral subject to certain qualifications and
         exclusions (the “Notes First Priority Collateral”).

    The ABL contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the ability of
TPCGI and certain of its subsidiaries to:

     •   incur additional indebtedness;
     •   create liens;
     •   engage in mergers or consolidations;
     •   sell or transfer assets;
     •   pay dividends and distributions or repurchase its capital stock;
     •   make investments, loans or advances;
     •   prepay certain indebtedness;
     •   engage in certain transactions with affiliates;
     •   designate certain subsidiaries as restricted or unrestricted by the covenants; and
     •   change its lines of business.

      In addition, at any time when an event of default is continuing or the aggregate amount available under the ABL is less than the
greater of (a) 12.5% of the lesser of (1) the total commitments and (2) the borrowing base and (b) $12.5 million (or a lesser amount if a
significant asset sale has occurred), TPCGI will be required to maintain a minimum fixed charge coverage ratio of 1.0:1.0.
      The ABL also contains a customary “holding company” covenant that restricts Parent’s ability to take certain actions and contains
certain customary additional affirmative covenants, representations and warranties, conditions to making loans, indemnification
provisions and events of default, including (subject in certain cases to customary grace and cure periods) material inaccuracy of
representations, non-payment of obligations under the ABL, violation of affirmative and negative covenants, non-payment or
acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of the credit documents (or the assertion
by Parent or a borrower of any such invalidity), change of control and loss of lien perfection or priority.
      On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.




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     10.5% Notes

     The 10.5% Notes are due August 1, 2024 and interest will be paid semi-annually in arrears on February 1 and August 1.

      Indenture Governing the 10.5% Notes

     On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 02, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.5% Indenture”).
     The 10.5% Notes are guaranteed by all of TPCGI’s existing or future direct and indirect domestic subsidiaries other than certain
excluded subsidiaries (the “guarantors”) that guarantee obligations under the ABL.
       The 10.5% Notes are TPCGI’s and the guarantees are the guarantors’ senior secured obligations and rank senior in right of payment
to all of TPCGI’s and the guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally
in right of payment with all TPCGI’s and the guarantors’ existing and future liabilities that are not so subordinated, including the ABL.
The 10.5% Notes and the guarantees are structurally subordinated to all existing and future liabilities and preferred stock of any of its
subsidiaries that do not guarantee the 10.5% Notes effectively senior to TPCGI’s and the guarantors’ indebtedness that is unsecured or
that is secured by junior liens to the extent of the value of the assets securing the 10.5% Notes and the guarantees, and effectively junior
to TPCGI’s ABL to the extent of the value of the assets that secure TPCGI’s ABL on a first-priority basis.
      The 10.5% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the guarantors’ assets
(in each case, other than TPCGI’s and the guarantors’ assets that secure the ABL on a first-priority basis), subject to certain exceptions
and permitted liens. Subject to certain exceptions and permitted liens, the 10.5% Notes and the guarantees are also secured on a second-
priority basis by TPCGI’s and the guarantors’ assets that secure our ABL on a first-priority basis.
       The 10.5% Notes become redeemable as of August 1, 2021 at the redemption prices specified in the 10.5% Indenture. The
redemption price for the period from (and including) August 1, 2021 through July 31, 2022 is 107.875% and for the period from (and
including) August 1, 2022 through July 31, 2023 is 103.938%. The 10.5% Notes become redeemable at par as of August 1, 2023.
Unless otherwise redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an
offer to repurchase the 10.5% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if
any. In addition, at any time prior to August 1, 2021, TPCGI may redeem, subject to certain conditions, up to 35% of the 10.5% Notes
at a redemption price of 110.50% with the net cash proceeds from one or more equity offerings.
      The 10.5% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted subsidiaries
to (subject to certain exceptions):

     •    incur additional debt, issue disqualified stock or issue certain preferred stock;
     •    pay dividends on or make certain distributions and other restricted payments;
     •    create certain liens or encumbrances;
     •    sell assets;
     •    enter into transactions with affiliates;
     •    limit ability of restricted subsidiaries to make payments to TPCGI;
     •    consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •    designate TPCGI’s subsidiaries as unrestricted subsidiaries.

      The 10.5% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.5% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.5% Notes to be due and payable.
     On February 2, 2021 we issued $153 million of 10.875% Senior Secured Notes and repaid the $70 million New Term Loan we
had in place with Apollo Global Management to provide additional liquidity against any uncertainty around timing of future insurance
recoveries, including business interruption recoveries, over the next year.
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NOTE I – REVENUE

     We operate in two principal business segments, C4 Processing and Performance Products. The following table disaggregates
revenue for each segment by major activity and by domestic and foreign.

                                                                           Year Ended December 31,
                                                                    2020            2019           2018
                     Revenue by segment
                      C4 Processing
                          Product sales                         $    382,557    $    889,744     $ 1,012,450
                          Process revenue                              2,228           6,208           6,190
                          Terminalling revenue                         7,164           8,916           9,828
                          Service fees                                 2,386           5,818           5,518
                          Shipping and handling                       12,846          11,518           9,178
                                                                $    407,181    $    922,204     $ 1,043,164

                       Performance Products
                           Product sales                             328,160         524,213          563,500
                           Terminalling revenue                           75             150            3,226
                           Shipping and handling                      15,974          18,359           16,945
                                                                $    344,209    $    542,722     $    583,671
                                                                $    751,390    $ 1,464,926      $ 1,626,835

                     Revenue by geographic location
                      United Sates                              $    711,818    $ 1,341,470      $ 1,483,515
                      All foreign countries                           39,572        123,456          143,320
                                                                $    751,390    $ 1,464,926      $ 1,626,835


NOTE J – PORT NECHES INCIDENT

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” We anticipate future engagement with OSHA regarding these issues
including a settlement conference scheduled for August 2021.

      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA) served the Company with an
information request under Section 114 of the federal Clean Air Act. The request seeks information about the incident as well as the
Company’s Risk Management Program compliance program at both the Port Neches and Houston facilities. Such requests are typically
the first step in EPA enforcement. We anticipate that there likely will be additional enforcement matters, claims for cost recovery,
and/or claims for natural resource damages from these and other similar agencies. However, we are unable to estimate a liability
associated with such claims at this time.

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      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,500 property claims have been resolved and approximately 1,600 additional eligible claims are working through the claims process.
The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial statements. The Company
also provided an emotional support hotline staffed by licensed professional counselors from Samaritan Counseling Center of Southeast
Texas.
      In addition to the property claims, sixty-one private party lawsuits, including five class actions, are pending in Texas state court
related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass. Limited
discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court cases to
one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th District
Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred lawsuits – which
typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual plaintiff cases now
pending. Twenty-seven of the sixty-one private party lawsuits, including approximately 565 individual plaintiffs, are awaiting transfer
to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of subrogation claims filed by
homeowners’ insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case
Management Order on November 17, 2020 setting a schedule and parameters for discovery. A hearing on class certification is not
expected before Q4 2021 at the earliest.
      Four different sets of insurance policies, under the insurance coverage we had in effect at the time, provide coverage for costs and
losses incurred as a result of the Port Neches incident. Our quota-share property and business interruption policies provide up to $850.0
million of coverage. The deductible is $10.0 million and certain categories of costs are subject to varying coverage sub-limits. In
addition, the policies contain a 45-day waiting period before business interruption qualifies for coverage. As of December 31, 2020,
we have paid $67.7 million of costs and collected $160.0 million under this policy, of which $12.1 million has been specifically
designated as business interruption coverage and $147.9 million has been designated as an unallocated payment on account. Of the
unallocated proceeds of $147.9 million, $36.7 million are recorded as a deferred gain due to the net book value of the affected assets
being lower than the value that we will receive. Reimbursable costs under this policy recorded in 2020 and 2019 total $58.0 million
and $64.7 million, respectively. Of these costs we currently estimate that $111.2 million will be recoverable.
         Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of December 31, 2020, we have incurred third-party claim amounts of $165.0 million, have paid
$120.7 million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $49.8 million
and we have collected $15.3 million of this amount. We anticipate collecting a total of $35.2 million for these expenses. Costs recorded
under this policy in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional amount
was incurred for claims of $3.1 million and for defense costs of $35.6 million.
      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of December 31, 2020, we have
incurred and paid $51.1 million of costs and have collected the full $25.0 million of coverage under this policy. We incurred $23.1
million of these costs in 2019 and an additional $28.0 million in 2020.
      We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.4 million. We expect to recover
the fair market value at the time of the event on these materials.
     Costs that we will not recover from insurance include turnaround amortization, fines, certain consulting and legal costs as well as
any costs that may exceed various applicable sub-limits within the policies and any costs that exceed the policy coverage limits.
      On January 13, 2021 we executed an additional unallocated Proof of Loss for $40.0 million under our property and business
interruption policies and received the funds in January and February 2021. As of the issuance of this 2020 Annual Report (i.e. March
24, 2021), we have paid out $127.4 million on liability claims. Excluding claims, we have also paid approximately $178.9 million in
response, defense, pollution, and other costs. Additional proceeds anticipated to cover book costs equal $280.6 million with
additional recovery anticipated as a gain.
      For the year ended December 31, 2020, we had recognized a net amount of losses and incurred costs of $50.1 million, which
reflected $129.4 million in losses and incurred costs offset by $79.3 million of insurance proceeds. The net amount of $50.1 million
included estimated liability claims expected to be in excess of our liability insurance coverage of $3.1 million. Additionally, the net
amount of response cost losses of $47.2 million represents costs incurred directly related to the ongoing incident response and cleanup
activities for which insurance coverage was not considered probable or costs were in excess of certain insurance coverage limitations.
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      For the prior year, ended December 31, 2019, we had recognized a net amount of losses and incurred costs $91.9 million, which
reflected $287.4 million in losses and incurred costs offset by $195.5 million of insurance proceeds, of which $10.0 million was received
in 2019 and $185.5 million was recorded as an insurance receivable since recovery of that amount was determined to be probable. The
net amount of $91.9 million consisted of a write-off of deferred turnaround costs of $19.0 million, insurance deductibles of $11.1 million
and estimated liability claims expected to be in excess of our liability insurance coverage of $61.8 million.

NOTE K – BUSINESS INTERRUPTION INSURANCE RECOVERY

     During the fourth quarter of 2018 the Company received $0.6 million in insurance proceeds, which represented the full amount of
our Hurricane Harvey business interruption claim.

NOTE L – COVID-19 EXPENSES

     The $1.9 million of COVID-19 expenses relate to costs incurred as a result of precautionary measures taken by the Company to
prevent the spread of COVID-19 at TPC sites. The costs include protective gear for employees, increased sanitation of TPC sites, and
enhancements to workspaces to promote safety.

NOTE M – REPAIR AND OTHER EXPENSES RELATED TO DOCK INCIDENT

      These expenses of $1.5 million for the year ended December 31, 2018 consisted of a $0.25 million insurance deductible and
uninsured logistics and legal expenses incurred as a direct result of the damage to the main dock at our Houston facility in June 2018.
All temporary repair costs, except for the deductible, were offset by insurance proceeds received in 2018.

NOTE N – FAIR VALUE

      Within the framework for measuring fair value, ASC 820, Fair Value Measurements and Disclosures, establishes a fair value
hierarchy, which requires an entity to maximize the use of observable inputs and minimize the use of unobservable inputs when
measuring fair value. The standard defines the three levels of inputs used to measure fair value as follows:

         •   Level 1: Inputs are unadjusted quoted prices for identical assets or liabilities in active markets, which primarily consist
             of financial instruments, traded on exchange or futures markets.
         •   Level 2: Inputs are other than quoted prices in active markets (included in Level 1), which are directly or indirectly
             observable as of the financial reporting date, including derivative instruments transacted primarily in over-the-counter
             markets.
         •   Level 3: Unobservable inputs, which include inputs derived through extrapolation or interpolation that cannot be
             corroborated by observable market data.

      As of December 31, 2020, and 2019, we had no outstanding assets or liabilities measured at fair value on a recurring basis except
for the fair value of our pension plan assets and short-term investments which were measured using Level 1 and Level 3 inputs.




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NOTE O – INCOME TAXES

         The significant components of deferred tax assets and liabilities are shown below as of the dates presented (in thousands):

                                                                                         December 31,
                                                                                  2020                    2019

                       Deferred tax assets:
                        Loss and credit carryforwards                      $           94,580       $          94,612
                        Disallowed interest                                            47,761                  33,176
                        Accrued and other expenses                                      8,648                   5,679
                        Inventory                                                       2,678                   2,030
                              Total deferred tax assets                               153,667                135,497
                          Less: Valuation allowance                                   (27,703)                   -
                       Deferred tax assets less valuation allowance        $          125,964       $        135,497
                       Deferred tax liabilities:
                        Property, plant and equipment                      $         (101,651)      $       (100,750)
                        Insurance proceeds receivable                                 (10,610)               (38,950)
                        Deferred turnaround costs                                      (8,512)                (7,487)
                        Prepaid expenses                                               (4,462)                  (309)
                        Intangible assets                                                (729)                (1,272)
                              Total deferred tax liabilities                         (125,964)              (148,768)
                              Net deferred tax liability                   $               -        $         (13,271)


          We analyze both positive and negative evidence available to us to provide a reasonable basis for us to assess the realizability
of our deferred tax assets. ASC 740 “Accounting for Income Taxes” requires that a valuation allowance be established for a deferred
tax asset if it is more likely than not that the related tax benefit will not be realized. Realization of deferred tax assets depends on the
existence of sufficient taxable income of the appropriate character within the carryback and carryforward period available under the tax
law. Our assessment of the realizability of our deferred tax assets considered the following four sources of future taxable income:

          •    Future reversal of existing temporary differences;
          •    Future taxable income exclusive of reversing temporary differences and carryforwards;
          •    Taxable income in prior carryback years; and
          •    Tax planning strategies.

      Reversal of exiting taxable temporary differences existing at December 31, 2020 would not generate sufficient taxable income to
utilize our deferred tax assets as of that date as we were in a net deferred tax position of $27.7 million.
     Regarding future taxable income, we considered our annual net operating losses since 2014 and the uncertainty of sufficient future
taxable income to be objective evidence that is it more likely than not that the benefit of our deferred tax assets will not be fully realized.
      We have no taxable income in carryback periods and do not have tax planning strategies that provide positive evidence that our
deferred tax assets will be realized.
      As a result of our analysis we have concluded that it is more likely than not that we will not realize the full benefit of our deferred
tax assets and have therefore established a deferred tax asset valuation allowance of $27.7 million at December 31, 2020.
      The primary components of our deferred tax assets at December 31, 2020 were $94.6 million related to net operating losses and
credit carryforwards and $47.8 million related to the amount of temporarily disallowed interest deductions. Our cumulative pretax net
operating losses of $440.4 million consisted of $281.0 million of pre-2018 net operating losses and post-2017 pretax net operating losses
of $159.4 million. Pretax disallowed interest deductions for 2020, 2019 and 2018 were $69.5 million, $101.7 million and $56.3 million,
respectively. All pre-2018 net operating losses have a 20-year carryforward period and can be used to offset up to 100% of future
taxable income in any year. All post-2017 net operating losses and disallowed interest deductions can be carried forward indefinitely;
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however, the use of post-2017 net operating losses will be limited to 80% of future taxable income in any year.
      Our deferred tax liabilities consist primarily of the tax effect of temporary differences between the book and tax basis of property
plant and equipment, due to cumulative differences between book and tax depreciation, and the tax effect of cumulative differences
between book and tax treatment of insurance proceeds in 2019 and 2020 related to the Port Neches incident
      Our net operating loss for 2020 was $9.0 million, which reflects our pretax book loss of $203.9 million which was substantially
offset by taxable temporary differences of $135.1 million related to differences in book and tax treatment of insurance proceeds related
to the Port Neches incident and disallowed interest expense of $69.5 million. The book pretax loss reflects the significant loss of
production and distribution capability resulting from the Port Neches incident as well as the negative impact of COVID-19 on demand
for our products and the overall economy.
      We have conducted an evaluation of tax positions taken on previous tax returns. Based on that evaluation, we concluded that it
is more likely than not, based on the technical merits of our tax positions, that we are entitled to the economic benefits resulting from
positions taken on our tax returns. Consequently, we have not recorded any liabilities related to uncertain tax positions and have not
reversed any benefits previously recognized. Therefore, we have not recognized any interest or penalties related to uncertain tax
positions.
     We file a consolidated federal income tax return and state tax returns in Texas and Louisiana.
     IRS audits of 2011, 2012 and 2013 were concluded during 2015 and by letter dated July 1, 2015, we were notified by the IRS that
no changes would be needed to the tax returns filed for those years. All years subsequent to 2013 remain open for examination and we
have not been notified by the IRS of any impending examinations.
      In 2012, the Texas Comptroller of Public Accounts completed franchise tax audits for the fiscal years ended June 30, 2007, 2008
and 2009. Based on the results of those audits, the Texas Comptroller of Public Accounts and the Company reached a settlement
pursuant to which the Company paid a total of $0.3 million in additional taxes and interest related to the three years covered by the
audit. All years subsequent to fiscal 2009 remain open for examination and we have not been notified by the Texas Comptroller of
Public Accounts of any impending examinations.
     Our income tax benefit was comprised of the following for the periods presented (in thousands):

                                                                                Year Ended December 31,
                                                                            2020         2019         2018
                           Current:
                            Federal                                     $    (2,079)   $ (2,079)    $      -
                            State                                               (71)        494            175
                           Deferred
                            Federal                                         (41,214)      (8,936)       (14,079)
                            State                                               (84)         283            206
                           Valuation allowance                               27,703          -              -
                           Income tax benefit                           $ (15,745)     $ (10,238)   $ (13,698)




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     The provision for income taxes differs from the amount computed by applying the statutory federal income tax rate to income
before income taxes. The reasons for this difference are as follows for the periods presented (in thousands):

                                                                                            Year Ended December 31,
                                                                                   2020              2019               2018
    Loss before income taxes                                               $       (203,909)     $       (51,729)   $     (66,900)
    Statutory federal income tax rate                                                   21%                  21%              21%
    Computed "expected" federal income tax benefit                                  (42,821)             (10,863)         (14,049)
    Increase (decrease) in tax resulting from:
      Credit for increasing research and development activities                        (305)               (150)               (249)
      State tax, net of federal benefit                                                (122)                614                 301
      Other, net                                                                       (200)                161                 299
    Valuation allowance                                                              27,703                 -                   -
    Total income tax benefit                                               $        (15,745)     $       (10,238)   $     (13,698)



NOTE P – SUPPLEMENTAL DISLOSURES OF CASH FLOW INFORMATION

     Cash paid (received) for interest and taxes, for the periods presented, were as follows (in thousands):

                                                                                            Year Ended December 31,
                                                                                     2020              2019         2018
          Interest payments, net                                               $      104,245        $   52,099     $   83,727
          Income tax payments (refunds), net                                           (1,662)           (1,912)           121


NOTE Q – COMMITMENTS AND CONTINGENCIES

      We lease office space, dock space, tank cars, barges, tugboats and various types of equipment under non-cancelable operating
leases expiring on various dates through December 2033. The future minimum lease payments under non-cancelable operating leases,
in excess of one year, at December 31, 2020 consisted of the following (in thousands):

                                                2021                           $      35,162
                                                2022                                  33,058
                                                2023                                  27,032
                                                2024                                  16,172
                                                2025                                  14,880
                                                2026 and thereafter                   37,096
                                                                               $     163,400


      Rent expense included in operating expenses and general and administrative expenses was $14.0 million, $13.7 million and $13.0
million for 2020, 2019 and 2018, respectively. Rent expense included in cost of sales was $61.1 million, $53.6 million and $45.8
million for 2020, 2019 and 2018, respectively.

     1.    Purchase Commitments

     We have purchase commitments incident to the ordinary conduct of business. The prices of such purchase commitments are
based on indices, which are determined from the prevailing market rates for the associated products. These commitments generally
have provisions permitting cancellation upon satisfaction of notification requirements.
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     2.    Legal Matters

      From time to time, we are party to routine litigation incidental to the normal course of our business, consisting primarily of claims
for personal injury or exposure to our chemical products or feedstocks, and environmental matters. We intend to defend these actions
vigorously and believe, based on currently available information, that adverse results or judgments from such actions, if any, will not
be material to our financial condition, results of operations or cash flows. We record reserves for contingencies when information
available indicates that a loss is probable, and the amount of the loss is reasonably estimable. Management’s judgment may prove
materially inaccurate, and such judgment is subject to the uncertainty of litigation. Many of the personal injury or product exposure
lawsuits to which we are a party are covered by insurance subject to certain self-insured retention amounts.
      Our contractual arrangements with our customers and suppliers are typically very complicated and can include, for example,
complex index-based pricing formulas that determine the price for our feedstocks or finished products. Due to the complicated nature
of our contractual arrangements, we can, from time to time, be involved in disputes with our customers and suppliers regarding the
interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the normal course of our business,
seldom result in actual formal litigation, and are typically resolved in the context of the broader commercial relationship that we have
with the customer or supplier.
      On December 10, 2020, the Company received a notice from a customer asserting a purported breach of the parties’ MTBE sales
agreement. The customer asserts that it had properly exercised the right of first refusal provided in the sales agreement and that the
Company’s subsequent agreement with another customer constitutes a breach of the sales agreement. The Company disputes and
intends to aggressively defend the customer’s possible claim. The parties are working to set up a mediation as required in the dispute
resolution provisions of the sales agreement. No lawsuit has been filed.
      As described above, we record reserves for contingencies when information available indicates that a loss is probable, and the
amount of the loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment is subject to
the uncertainty of the dispute resolution or litigation process. As of December 31, 2020, we have not recognized any material reserves
related to unresolved disputes with customers and suppliers.
       Sixty-one private party lawsuits, including five class actions, are pending in Texas state court related to the November 2019
incident at our Port Neches plant. The petitions bring a variety of claims sounding in negligence, gross negligence, nuisance, and
trespass. The plaintiffs in these cases allege in the most general way that we were negligent and/or grossly negligent by breaching
duties to, among other things, (1) maintain unspecified plant equipment, (2) develop, implement, and maintain proper procedures for
storage of chemicals at the facility, and (3) warn the public concerning the risks and dangers of the chemicals maintained at the
facility. The petitions also allege that these and other breaches caused damages, including property damage, medical care and expenses,
pain and suffering, physical impairment, lost earnings, disfigurement, medical monitoring, mental anguish, and injury to
business. Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas
state court cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated
the 128th District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, the transferred
lawsuits – which typically include dozens of plaintiffs in each – are severed into individual cases with approximately 539 individual
plaintiff cases now pending. Twenty-seven of the sixty-one private party lawsuits, including approximately 565 individual plaintiffs,
are awaiting transfer to the pre-trial court. Additionally, more than 700 other properties are the subject of litigation as a result of
subrogation claims filed by homeowners’ insurance companies. The Court has been conducting monthly status conferences. The
Court entered a Case Management Order on November 17, 2020 setting a schedule and parameters for discovery. A hearing on class
certification is not expected before Q4 2021 at the earliest.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA)
served the Company with an information request under Section 114 of the federal Clean Air Act. The request seeks information about
the incident as well as the Company’s Risk Management Program compliance record at both the Port Neches and Houston facilities.
Such requests are typically the first step in EPA enforcement. We anticipate that there likely will be additional enforcement matters,
claims for cost recovery, and/or claims for natural resources damages from TCEQ, EPA, and OSHA.
     Because these lawsuits, which we intend to vigorously defend, are in their early stages, we are unable to determine if a loss is
probable or estimate the amount or range of potential loss and therefore have not established any reserves, but we believe the amounts
involved may be material.
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      Beyond the matters in active litigation, the Company has received other claims and demands, through its formal claims process
and otherwise, from individuals, companies, and insurers claiming damages as a result of the incident. The Company is in the process
of reviewing these claims. It is possible some of these claims may result in additional litigation.

     3.       Environmental and Safety Matters

      Our Company is subject to federal, state, local and foreign laws, regulations, rules and ordinances from various governing agencies
that regulate human health, safety, security and the environment. These include, for example:

          •     The federal Resource Conservation and Recovery Act (“RCRA”) and comparable state laws that impose requirements for
                the generation, handling, transportation, treatment, storage, disposal and cleanup of waste from our facilities.
          •     The federal Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”) also known as
                “Superfund,” and comparable state laws that regulate the cleanup of hazardous substances that may have been released at
                properties currently or previously owned or operated by us or locations to which we have sent waste for disposal.
                    ▪    Under CERCLA and comparable State of Texas Laws, at this time TPC has not identified any liability of material
                         significance for previously disposed substances and wastes, or for remediation of contaminated property to
                         prevent future contamination.
          •     The federal Clean Water Act (“CWA”) and analogous state laws and regulations that impose detailed permit requirements
                and strict controls on discharges of wastewater from our facilities.
          •     The federal Clean Air Act (“CAA”) and comparable state laws and regulations that impose obligations related to air
                emissions, including federal and state laws and regulations that recently took effect or are currently under development to
                address greenhouse gas (“GHG”) emissions.
                    ▪    At this time, we anticipate that the Environmental Protection Agency’s (“EPA”) recently adopted Boiler
                         Maximum Achievable Control Technology (“MACT”) regulation package will only require the Company to
                         implement work practices, recordkeeping, and reporting, and will not require any substantial capital investments.
                    ▪    Regarding GHG emission requirements, the Company is subject to annual reporting of emissions and to air
                         permitting for projects but currently is not subject to any other requirements.
                    ▪    Air quality standards intended to protect the environment, including the National Ambient Air Quality Standards
                         (“NAAQS”) promulgated by the EPA to address ambient air quality concerns, continue to evolve. The federal
                         CAA requires that the EPA periodically review the science upon which the NAAQS are based and the standards
                         themselves. As a result of this review, the EPA has in recent years lowered certain NAAQS, including the
                         standards for sulfur dioxide, ozone and particulate matter, and may do so again in the future, for these or other
                         pollutants. Changes to the NAAQS may increase the cost of our operations, require the installation of emissions
                         controls, or reduce or delay available business opportunities.
          •     Chemical product safety regulation including the federal Toxic Substances Control Act (“TSCA”) and the Emergency
                Planning and Community Right-to-Know Act (“EPCRA”) that impose notification, reporting, record-keeping and testing
                requirements, and restrictions relating to chemical substances and/or mixtures as well as certain reporting on the storage,
                use and releases of hazardous chemicals to federal, state, and local governments.
                    ▪    TSCA reform legislation was enacted in June 2016, expanding EPA’s authority to review and regulate new and
                         existing chemicals. EPA’s implementation of this legislation may increase the cost of our operations, require
                         changes to our supply chain and logistics practices or delay available business opportunities.
                    ▪    Similar compliance laws related to chemical product safety in jurisdictions outside the United States where our
                         products are distributed such as the European Union’s regulatory framework concerning the Registration,
                         Evaluation and Authorization of Chemicals (known as REACH), may increase the cost of our operations, require
                         changes to our supply chain and logistics practices or delay available business opportunities.
                    ▪    In June 2013, the EPA finalized its second list of chemicals subject to its Endocrine Disruptor Screening Program
                         (“EDSP”) and included MTBE, a major product for the Company, in this final list. EPA will issue test orders to
                         manufacturers of MTBE at some time in the future, at which time TPC will be required to embark on an initial
                         two-year test program along with other MTBE manufacturers. TPC has joined a consortium with the other major
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                      manufacturers of MTBE to manage the test program and share costs. Based on the results of the initial testing
                      to determine if MTBE exhibits endocrine disrupting properties, EPA may decide some years in the future to
                      include MTBE in a second round of tests to evaluate MTBE’s potency as a potential endocrine disruptor.
         •   The Occupational Safety and Health Act and comparable state statutes, laws and regulations including OSHA’s Process
             Safety Management standard which imposes requirements on regulated entities relating to the management of hazards
             associated with highly hazardous chemicals.
                  ▪   The Company expects to incur capital expenditures in the future as part of our ongoing baseline capital
                      expenditure program to address the findings of ongoing process hazard assessments, including expenditures to
                      upgrade equipment and instrumentation.
         •   United States Department of Homeland Security’s Marine Transportation Security Act (“MTSA”) which establishes
             standards for security at marine-based chemical facilities.
      We are committed to maintaining compliance with applicable environmental, health, safety (including process safety) and security
(“EHS&S”) legal requirements, and we have developed policies and management systems intended to identify the various EHS&S legal
requirements applicable to our operations and facilities. We work to enhance and assure compliance with applicable requirements,
ensure the safety of our employees, contractors, community neighbors and customers, and minimize the generation of wastes, the
emission of air contaminants and the discharge of pollutants. These EHS&S management systems also serve to foster efficiency and
improvement and to reduce operating risks.
      In the ordinary course of business, we undertake frequent environmental inspections and monitoring and are sometimes subject to
investigations by governmental authorities. In addition, our production facilities require a number of environmental permits and
authorizations that are subject to renewal, modification and, in certain circumstances, revocation. Actual or alleged violations of
environmental laws or permit requirements or the discovery of releases of hazardous substances at or from our facilities could result in
restrictions or prohibitions on plant operations, significant remedial expenditures, substantial civil or criminal sanctions, as well as,
under some environmental laws, the assessment of strict and/or joint and several liability. Moreover, changes in environmental
regulations or the terms of our environmental permits could inhibit or interrupt our operations or require us to modify our facilities or
operations. Accordingly, environmental or regulatory matters may cause us to incur significant unanticipated losses, costs or liabilities.
      In addition to the requirements imposed upon us by law, we also enter into other agreements from time to time with state and local
environmental agencies either to avoid the risks of potential regulatory action against us or to implement improvements that exceed
current legal requirements. To that end, in April 2015, we signed an Agreed Order with the TCEQ requiring us to achieve continued
reductions in our emissions of butadiene and other volatile organic compounds at our Houston Facility and undertook a new five-year,
$20 million incremental spending program on environmental performance projects. The Agreed Order is in effect for five years from
the effective date of the order or until compliance with all terms and conditions of the order, whichever is later. We expect to implement
the required measures and incur the incremental spending through a combination of (a) increases in our annual maintenance and capital
expenditures throughout the five-year period and (b) additional expenditures in connection with our regularly scheduled turnarounds
(typically occurring every three to four years). We expect to fund the incremental expenditures from our operations and/or from
borrowings under the Revolving Credit Facility and do not expect the expenditures to have a material impact on our operations or
liquidity.
      The Company has agreed to indemnify third parties for environmental and other liabilities pursuant to various agreements,
including asset divestiture agreements and leases. Many of these obligations contain monetary and/or time limitations, but others do
not provide for those limitations. The Company is not aware of any probable and reasonably estimable losses associated with any of
these obligations.
     The Occupational Safety and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port
Neches plant in December 2019. OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations
and three willful citations with total proposed penalties of approximately $0.5 million. The Company has appealed these citations.
We strongly disagree with the characterization of some of the alleged violations as “willful.” We anticipate future engagement with
OSHA regarding these issues.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident. On October 30, 2020, the United States Environmental Protection Agency (EPA)

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served the Company with an information request under Section 114 of the federal Clean Air Act. The request seeks information about
the incident as well as the Company’s Risk Management Program compliance record at both the Port Neches and Houston facilities.
Such requests are typically the first step in EPA enforcement. We anticipate that there likely will be additional enforcement matters,
claims for cost recovery, and/or claims for natural resources damages from TCEQ, EPA, and OSHA. The Company may have insurance
coverage for some of the foregoing claims for environmental cleanup.

NOTE R – EMPLOYEE BENEFITS

      1. Retirement Plan

      We sponsor a defined contribution plan that is available to all full-time employees on the date of hire. The plan allows employees
to contribute up to 60% of their base compensation to a tax-deferred fund not to exceed $19,500 for 2020, $19,000 for 2019, and $18,500
for 2018.
     For non-represented employees, we match at the rate of one dollar for each dollar contributed by the employee up to 5% of the
employee’s annual earnings. Non-represented employees also participate in our discretionary plan which, based on business
performance, may contribute up to 6% of the employee’s annual earnings.
     For represented employees, we match at a rate of one dollar for each dollar contributed by the employee up to 7% of the employee’s
annual earnings. Represented employees do not participate in the discretionary plan.
      Company contributions for both non-represented and represented employees vest immediately.
     Our expense to match employee contributions, including discretionary contributions, during the years ended December 31, 2020,
2019 and 2018 was $2.0 million, $5.6 million and $4.7 million, respectively.

      2. Stock Compensation Plans

      On December 29, 2012, Parent adopted the 2012 Long-Term Incentive Plan (the “2012 Plan”), which permits it to grant awards
of profit interests to certain of the Company’s officers and employees, in the form of Class B Management Interests and Class C
Management Interests (“Class B and Class C Interests,” collectively). The Class B and Class C Interests under the 2012 Plan constitute
performance-based awards, and the amount of payouts for these awards is based on the amount of distributable assets available upon
the occurrence of an Exit Event (defined below) to the general and limited partners at the time of their disposal, distribution or sale of
their ownership stake in the Company.
       We utilized a Monte Carlo simulation model to estimate the grant date fair value of Class B and Class C Interests granted on
December 29, 2012. The key factors that will create value in these awards include: (1) the year of the “Exit Event” (either an initial
public offering or subsequent public offering of the equity of the Company, or the merger, consolidation, sale of interests or sale of the
Company), (2) the probability that an Exit Event will occur in a particular year, which is based on management’s assessment of when
this is likely to occur, (3) the probability that the Exit Event will result in a sufficient return on invested capital to trigger a payout to the
Class B and Class C Interests, (4) the risk-free interest rate, which is based on the U.S. Treasury yield curve in effect at the time of grant
with maturities equal to the grant’s expected life, and (5) the ultimate exit value of the Company, which was estimated using a Monte
Carlo simulation.
     As of December 31, 2012, based on the results of the Monte Carlo simulation, we determined that no Exit Event timing or valuation
is more probable than any other and, therefore, were unable to determine a grant date fair value for the awards granted under the 2012
Plan and did not recognize any expense related to the awards in the year ended December 31, 2012. Additionally, there have been no
changes in events or circumstances since that original assessment as of December 31, 2012 that allowed us to determine an Exit Event
timing or valuation that is more probable than any other and, therefore, have been unable to determine a grant date fair value for any
awards granted under the 2012 Plan. Consequently, we did not recognize any expense related to the awards for the years ended
December 31, 2020, 2019 and 2018.
     The Company will continue to review the assumptions used to assess value of the awards granted under the 2012 Long-Term
Incentive Plan and if at any point in the future we are able to determine a probable timing or valuation of an Exit Event we will value
the awards and recognize compensation expense.




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     Defined Benefit Pension Plan

      We sponsor a cash balance plan (the “Cash Balance Plan”) for the benefit of represented employees at the Port Neches facility.
Participation in the Cash Balance Plan is subject to terms of negotiated contracts. For participating employees, the Cash Balance Plan
benefit formula provides annual pay credits from 4% to 12% of eligible pay, depending on age and service, plus accrued interest. The
plan’s assets are maintained by trustees in separately managed portfolios consisting of equity and fixed income securities.
     Provided below, as of and for the years ended, were the components of the changes in the benefit obligation and plan assets and a
reconciliation of the funded status to the liabilities recognized in the consolidated balance sheets (in thousands):

                                                                                                December 31,
                                                                                            2020           2019
                      Change in benefit obligation:
                       Benefit obligation at beginning of period                        $    22,647         $   19,082
                       Service cost                                                             946              1,006
                       Interest cost                                                            429                652
                       Benefits paid                                                         (6,231)            (1,112)
                       Actuarial loss                                                         1,119              3,019
                       Plan amendments                                                         (703)                 -
                        Benefit obligation at end of period                                  18,207             22,647
                      Change in plan assets:
                       Fair value of plan assets at beginning of period                      14,777             12,176
                       Actual return on plan assets                                             317              1,615
                       Employer contributions                                                   851              2,098
                       Benefits paid                                                         (6,231)            (1,112)
                        Fair value of plan assets at end of period                            9,714             14,777
                      Unfunded status, end of period                                $         (8,493)   $       (7,870)

                      Reconciliation of accrued liability:
                       Accrued liability at beginning of period                         $       (367)       $   (1,080)
                       Net periodic pension cost for the period                               (1,174)           (1,385)
                       Total one-time costs                                                   (1,839)              -
                       Employer contributions                                                    851             2,098
                        Accrued liability at end of period                                    (2,529)             (367)
                      Accumulated amounts recognized in OCI (before tax)                      (5,964)           (7,503)
                      Net liability recognized in Consolidated Balance Sheets       $         (8,493)   $       (7,870)




    The net pension liability at both December 31, 2020 and 2019 were recorded in accrued liabilities.

     On April 30, 2020, the Company terminated 68 employees as part of a Reduction in Force (“RIF”) resulting from the Port Neches
incident. The Cash Balance Plan was re-measured as of April 30, 2020 to reflect settlement accounting, retroactive plan amendments,
and the RIF.
     Two plan amendments were executed in 2020 and resulted in a $702.2 million decrease in the projected benefit obligation .
      The one-time costs incurred of $1.8 million relate to the RIF and the resulting changes to the Cash Balance Plan. A curtailment
gain of $0.5 million was triggered at the April 30, 2020 RIF when the Cash Balance Plan’s expected future years of service decreased
by 54%. Additionally, settlement accounting was triggered initially on April 30 th when eligible employees elected a lump sum payment
and the lump sum payouts from the Cash Balance Plan exceeded the expected sum of the plan’s service cost and interest cost.
Settlement accounting was triggered two more times in 2020 for total settlement charges of $2.4 million.
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     Provided below, for the periods presented, were the components of net pension expense (in thousands):

                                                                           Year Ended December 31,
                                                                        2020            2019             2018
                         Components of net pension expense:
                           Service cost                           $          946    $    1,006       $     1,202
                           Interest cost                                     429           652               490
                           Expected return on assets                        (753)         (681)             (789)
                           Amortization of prior service cost                (43)          (35)                -
                           Amortization of net actuarial loss                595           443               135
                                                                  $        1,174    $    1,385       $     1,038


     The projected net pension expense for the year ending December 31, 2021 consists of the following components (in thousands):

                              Service cost                                                  $         728
                              Interest cost                                                           299
                              Expected return on assets                                              (634)
                              Amortization of prior service costs                                     (47)
                              Amortization of net actuarial loss                                      503
                                                                                            $        849



     The following actuarial assumptions were used to determine benefit obligations as of the dates presented:

                                                                            December 31,
                                                                        2020           2019

                             Discount rate                              1.81%           2.70%
                             Rate of compensation increase              4.00%           4.50%


     The following actuarial assumptions were used to determine net periodic benefit cost for the periods presented:

                                                                          Year Ended December 31,
                                                                   2020             2019          2018

                           Discount rate                           2.70%            3.81%            3.14%
                           Expected return on plan assets          6.50%            6.50%            6.50%
                           Rate of compensation increase           4.50%            4.50%            4.50%


     The measurement date for our Cash Balance Plan is as of the end of our fiscal year. Our Cash Balance Plan assets are managed
by outside investment managers. Our investment strategy with respect to the Cash Balance Plan assets is to maximize returns while
preserving principal. At December 31, 2020, Cash Balance Plan assets were invested 89.0% in equity mutual funds, 7.9% in fixed
income mutual funds and 3.1% in cash equivalents. The expected return on assets assumption was determined based on the anticipated
performance of the various asset classes in the Cash Balance Plan’s portfolio.
      The following table presents the Cash Balance Plan assets using the fair value hierarchy as of December 31, 2020. The fair value
hierarchy has three levels based on the reliability of the inputs used to determine fair value. See Note N for a brief description of the
three levels under the fair value hierarchy.

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                          NOTES TO CONSOLIDATED FINANCIAL STATEMENTS – (Continued)

                           Category                              Total            Level 1         Level 2         Level 3

                           Cash and equivalents              $       302      $         302      $      -         $   -
                           Mutual funds - equity                   8,643              8,643             -             -
                           Mutual funds - fixed income               769                -               -             769

                                                             $     9,714      $       8,945      $      -         $   769


     Provided below, for the periods presented, are benefit payments expected to be paid to eligible plan participants under our Cash
Balance Plan (in thousands):
                                             2021                                 $           3,429
                                             2022                                               557
                                             2023                                             1,827
                                             2024                                               539
                                             2025                                             1,707
                                             2026 and thereafter                              7,703

NOTE S – CONCENTRATION RISKS

      We had sales to customers outside the United States during years ended December 31, 2020, 2019 and 2018 of $39.6 million,
$123.5 million and $143.2 million, respectively. Our top five customers accounted for an aggregate of 47.2%, 43.3%, and 50.6% of
our revenues for years ended December 31, 2020, 2019 and 2018, respectively.

     Sales to customers who accounted for at least 10% of our sales for the periods presented were as follows:

                                                                            Year Ended December 31,
                                                                        2020         2019         2018
                             Trafigura Trading, LLC                     15%                 *                *
                             Afton Chemical Corporation                 11%                 *                *
                             Lukoil Pan Americas, LLC                    *               14%                17%
                             Goodyear - SRI Global                       *               10%                10%


                           * Less than 10%

     We perform ongoing credit evaluations of our customers and generally do not require collateral for accounts receivable.
Historically, our credit losses have been minimal.

     Customers who accounted for at least 10% of our accounts receivable balance, as of the dates presented were as follows:

                                                                                          December 31,
                                                                                      2020           2019
                           Afton Chemical Corporation                                 18%                   15%
                           Goodyear - SRI Global                                      12%                    *

                           * Less than 10%




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     A small number of suppliers for our feedstocks account for a significant percentage of our feedstock purchases. Our top five
suppliers accounted for an aggregate of 65.6%, 48.3%, and 46.5% of our vendor feedstock purchases in the years ended December 31,
2020, 2019 and 2018, respectively.
      Some of the employees at our Port Neches facility are covered by collective bargaining agreements that expire on January 31,
2022. To the extent that we experience work stoppages in the future as a result of labor disagreements, a prolonged labor disturbance
at one or more of our facilities could have a material adverse effect on our operations.
NOTE T – SUBSEQUENT EVENTS

     Technical Center Fire

      Early on the morning of January 9, 2021, the TPC Houston operations team responded to a fire alarm in the Technical Center.
The Technical Center, located on the southwest side of the facility, which contains quality control and research and development
activities, had a fire in the mechanical room. TPC’s Emergency Response Team responded to the incident with assistance from the
Houston Fire Department. The Company coordinated with local officials and emergency responders to quickly resolve the issue. There
were no injuries to TPC employees and no offsite or environmental impacts; however, one emergency responder sustained an injury
while responding to the event. As a result of the fire, there is considerable damage to the facility and the housed equipment.
Fortunately, over 75% of the equipment is salvageable, but, in the absence of a functioning laboratory the Company had to secure short
term outsourcing solutions for all of the quality control testing needs. Since late February, however, we have replaced the majority of
the outsourced testing by inhouse testing in a combination of TPC and rental facilities, substantially reducing the incremental costs.
Between response costs, outsourcing costs, rental expenses and the cost of rebuilding the Technical Center, we estimate that the fire will
cost the Company approximately $11.5 million.

     C4 Processing Agreement

     In January 2021 TPC signed a long-term contract with a third-party crude C4 toll processor and began sending crude C4’s to this
processor through enhancements made to the Port Neches terminal in the second phase of the refurbishment of these assets. The
agreement uses TPC Group’s logistic and storage facilities, along with its commercial agreements for feedstock and product sales, to
supply a steady stream of crude C4’s to the third-party processor. The agreement uses available butadiene extraction capacity to process
the Crude C4 and return the finished butadiene and raffinate products to TPC Group for distribution.

     Refinancing

     On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.875% Notes

     On February 2, 2021 the 10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875%
Notes and to make certain other changes to certain covenants contained therein. Simultaneously, TPCGI issued and sold $153 million
aggregate principal amount of the 10.875% Notes to certain holders of the 10.5% Notes. The 10.875% Notes are guaranteed on a senior
unsecured basis by TPC Holdings, Inc. and on a senior secured basis by all of the Company’s existing or future direct and indirect
domestic subsidiaries, other than certain excluded subsidiaries (collectively, the “Subsidiary Guarantors”).
      The net proceeds from the offering were used to repay and terminate the $70 million Term Loan, to pay all fees and expenses
related to the transactions and for general corporate purposes. Interest on the 10.875% Notes began accruing on the issue date and is
payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each year, commencing on May 1, 2021. The 10.875%
Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness and the
10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes are effectively subordinated to the ABL Facility
and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by assets or properties not constituting
collateral securing the 10.5% Notes to the extent of the value of such assets and properties.

     February Weather Event

     In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter weather.

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Due to the extreme weather, our facilities in the region experienced disruption to their operations, resulting in lost production and
additional maintenance costs. We anticipate that the total financial impact of this freeze event, between incremental costs for repairs,
higher energy costs and lost volumes, will be between $50 million and $60 million.




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            TPC GROUP INC.
             ANNUAL REPORT
       YEAR ENDED DECEMBER 31, 2021




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                                                   DEFINITIONS OF TERMS

     Capitalized and other terms used throughout this Annual Report for the year ended December 31, 2021, unless the specific context
otherwise requires or indicates, have the meanings ascribed to them below:

     •   ABL – our asset-based loan facility originally entered in December 2012, which was repaid, amended, and restated in
         conjunction with the refinancing of our debt on August 2, 2019 and again amended on February 2, 2021 to permit the issuance
         of the 10.875% Notes. The ABL is scheduled to mature in August 2024. For a detailed description of the ABL see Note H
         to our audited financial statements on pages 47-51 of this Annual Report for the year ended December 31, 2021;
     •   ASC - Accounting Standards Codification, which is the sole source of authoritative generally accepted accounting principles
         in the United States, other than rules and regulations issued by the Securities and Exchange Commission (SEC) that apply to
         SEC registrants;
     •   ASU - Accounting Standards Update, which the Financial Accounting Standards Board (FASB) issues to communicate
         changes to the ASC. ASUs are not authoritative standards;
     •   Company, us, we, and our - TPC Group Inc. and its subsidiaries;
     •   GAAP – Generally Accepted Accounting Principles in the United States;
     •   Gross profit contribution (“GPC”) - as used herein, is defined as revenue less cost of sales as reported in our consolidated
         statements of operations and comprehensive income. GPC is the residual amount that is available, after deducting the
         variable costs to produce and distribute our products from revenue, to cover all other expenses;
     •   Holdings - TPC Holdings Inc., a Delaware corporation, which, upon consummation of the Merger, became the direct parent
         of TPCGI. Holdings and Parent are affiliates of our Sponsors formed by investment funds affiliated with our Sponsors in
         order to acquire TPCGI;
     •   Merger – the December 20, 2012 merger of Sawgrass Merger Sub Inc., a Delaware corporation, which merged with and into
         TPCGI, with TPCGI surviving the Merger as a direct wholly-owned subsidiary of Holdings and an indirect wholly-owned
         subsidiary of Parent;
     •   New Term Loan – the Delayed Draw Term Loan Facility entered into on February 3, 2020, which provided for a delayed
         draw term loan of up to $70 million for a term of one year, and which the outstanding balance of $70 million was repaid with
         the net proceeds from issuance of the 10.875% Notes;
     •   Old Term Loan – the Senior Secured Delayed Draw Term Loan Facility, scheduled to mature in December 2020, for which
         the outstanding balance of $50 million was repaid with the net proceeds from issuance of the 10.5% Notes and which was
         terminated in conjunction with the refinancing of our debt on August 2, 2019;
     •   Parent - Sawgrass Holdings LP, a Delaware limited partnership, which, upon consummation of the Merger became the direct
         parent of Holdings and indirect parent of TPCGI. Parent and Holdings are affiliates of our Sponsors formed by our Sponsors
         in order to acquire TPCGI;
     •   Sponsors – investment funds sponsored by each of First Reserve Management, L.P. and SK Capital Partners;
     •   TPCGI - TPC Group Inc., a Delaware corporation, not including any of its subsidiaries;
     •   TPCGLLC - TPC Group LLC, a Texas limited liability company and the principal subsidiary of TPCGI;
     •   TPCPF - TPC Phoenix Fuels LLC, a Texas limited liability company and wholly owned subsidiary of TPCGLLC.
     •   8.75% Notes – the $805 million principal amount of Senior Secured Notes due in December 2020, which were redeemed
         with the net proceeds from issuance of the 10.5% Notes in conjunction with the refinancing of our debt on August 2, 2019;
     •   10.5% Notes – the $930 million principal amount of Senior Secured Notes due August 1, 2024 issued in conjunction with the
         refinancing of our debt on August 2, 2019. For a detailed description of the 10.5% Notes see Note H to our audited financial
         statements on pages 47-51 of this Annual Report for the year ended December 31, 2021;
     •   10.875% Notes – the $153 million principal amount of Senior Secured Notes due August 1, 2024, which were issued on
         February 2, 2021 and for which a portion of the proceeds were used to repay and terminate the New Term Loan. For a
         detailed description of the 10.875% Notes see Note H to our audited financial statements on pages 47-51 of this Annual Report
         for the year ended December 31, 2021.


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                                                     EXPLANATORY NOTE

       This Annual Report is highly confidential and has been prepared pursuant to the terms of the Indenture (the “10.5% Indenture”)
dated as of August 2, 2019, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and U.S.
Bank, National Association, as trustee and collateral agent, with respect to the 10.5% Notes, as amended by the Supplemental Indenture
dated as of February 2, 2021, and the Indenture (the “10.875% Indenture” and collectively with the 10.5% Indenture, the “Indentures”)
dated as of February 2, 2021, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and the
U.S. Bank, National Association, as trustee and collateral agent, with respect to the 10.875% Notes. Unlike companies with securities
that are registered under the Securities Exchange Act of 1934 (the “Exchange Act”) or traded on a national securities exchange, the
Company is not required to file reports with the Securities and Exchange Commission and, except as provided under the Indentures, the
Company is not required to deliver any reports to holders of its securities. As a result, this Annual Report does not include all the
information that would be required to be included in an Annual Report on Form 10-K that is filed pursuant to the Exchange Act,
including, among other things, a description of the material risks faced by the Company. Moreover, this Annual Report does not include
all the information that may be material to holders of the Company’s securities, including the 10.5% Notes and the 10.875% Notes, and
should not be relied upon by any person in making an investment decision with respect to the Company’s securities. Except as strictly
required pursuant to the terms of the Indentures, the Company undertakes no obligation to update or revise any information contained
in this Annual Report.

      This Annual Report shall not constitute an offer to sell, or the solicitation of an offer to buy, any securities of the Company,
including the 10.5% Notes and the 10.875% Notes. Distribution of this Annual Report to any person other than holders of the 10.5%
Notes and the 10.875% Notes is unauthorized and any disclosure of any of its contents without the Company’s prior written consent is
prohibited. By accepting delivery of this Annual Report, you agree to the foregoing and not to make any photocopies, in whole or in
part, of this Annual Report or any documents or materials relating to the Company that are provided in connection with this Annual
Report.




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                            CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS


      This Annual Report contains forward-looking statements that do not directly or exclusively relate to historical facts. You can
typically identify forward-looking statements by the use of forward-looking words, such as “will,” “may,” “might,” “should,” “can,”
“could,” “project,” “believe,” “anticipate,” “expect,” “estimate,” “continue,” “potential,” “plan,” “forecast” and other words of similar
import. Forward-looking statements include information concerning possible or assumed future results of our operations, including the
following:

         •   business strategies;
         •   operating and growth initiatives and opportunities, including proposed capital projects;
         •   existing and expected competition and competitive position;
         •   market outlook and trends in our industry;
         •   expected financial condition;
         •   future cash flows, including insurance proceeds;
         •   liquidity needs, financing sources and availability;
         •   expected results of operations;
         •   future capital and other expenditures;
         •   availability and price of raw materials and inventories;
         •   the business cyclicality of the petrochemicals industry;
         •   effects of seasonality;
         •   plans and objectives of management or the sponsors;
         •   future compliance with orders and agreements with regulatory agencies;
         •   environmental matters;
         •   the impact of the COVID-19 pandemic on the global economy;
         •   expected outcomes of insurance settlements, legal, environmental or regulatory proceedings and their expected effects on
             our results of operations;
         •   expectations, strategies and plans for individual assets and products (including the ability to maintain plant utilization
             rates), business segments and the company as a whole;
         •   anticipated restructuring, divestiture and consolidation activities;
         •   cost reduction and control efforts and targets;
         •   compliance and other costs and potential disruption or interruption of production or operation due to accident, fires,
             explosions, interruptions in sources of raw materials, cyber security incidents, terrorism, political unrest, natural disasters
             or other unforeseen events;
         •   any other statements regarding future growth, future cash needs, future operations, business plans and future financial
             results; and
         •   our ability to continue to operate as a going concern.

      These forward-looking statements represent our intentions, plans, expectations, assumptions and beliefs about future events and
are subject to risks, uncertainties and other factors, including risks and uncertainties such as volatility in the petrochemicals industry,
limitations on the Company’s access to capital, the timing and amount of insurance proceeds received, the effects of competition,
leverage and debt service, general economic conditions, third-party claims, governmental litigation and investigations, and extensive
environmental, health and safety laws and regulations. Many of those factors are outside of our control and could cause actual results
to differ materially from the results expressed or implied by the forward-looking statements.
      In light of these risks, uncertainties and assumptions, the events described in the forward-looking statements might not occur or
might occur to a different extent or at a different time than we have described. Except as may be required by applicable law or
agreement, we undertake no obligation to update or revise any forward-looking statements, whether as a result of new information,
future events or otherwise.



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                               SELECTED HISTORICAL CONSOLIDATED FINANCIAL DATA

     The following table presents selected historical consolidated financial data (in thousands) at the dates and for the periods indicated.
This selected historical consolidated financial data should be read in conjunction with “Management’s Discussion and Analysis of
Financial Condition and Results of Operations” and the historical consolidated financial statements, together with the related notes,
included elsewhere in this Annual Report.
      The Balance Sheet and Statements of Operations and Cash Flows Data presented below have been derived from the Company’s
audited consolidated financial statements. The “Other Financial Data” presented below is unaudited, non-GAAP information.
Consolidated Balance Sheets as of December 31, 2019, 2018 and 2017 and Consolidated Statements of Operations and Comprehensive
Loss and Consolidated Statements of Cash Flows for the years ended December 31, 2018 and 2017 are not included in this Annual
Report.




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                                                                                                     Year Ended December 31,
                                                                         2021             2020                 2019               2018               2017


Statements of Operations Data:
Revenue                                                          $       1,289,046    $    751,390         $   1,464,926      $   1,626,835      $   1,609,068
Cost of sales (excludes items listed below)                              1,005,322         519,063             1,031,833          1,253,054          1,256,669
Operating expenses                                                        221,556          181,059              179,936            183,328            176,963
General and administrative expenses                                        29,981           27,970               28,695             26,337             32,202
Depreciation and amortization                                              75,503           74,155               81,002            141,708            139,904
Loss on Port Neches incident, net of insurance recovery                    34,988           50,141               91,895                   -                 -
Net gain on asset disposal                                                (183,465)              -                     -                  -                 -
Business interruption insurance recovery                                   (87,592)         (12,100)                   -                 (567)              -
Freeze event                                                               40,293                -                     -                  -                 -
Tech Center event                                                            7,401               -                     -                  -                 -
COVID-19 expenses                                                               726           1,896                    -                  -                 -
Capital project write-offs                                                   2,287               -                     -                  -                 946
Repair and other expenses related to dock incident                              -                -                     -             1,459                  -
Gain on sale of HRVOC allowances                                                -                -                     -                  -             (6,152)
Hurricane Harvey expenses                                                       -                -                     -                  -             7,512
  Income (loss) from operations                                           142,046           (90,794)             51,565             21,516              1,024
Interest expense                                                          120,980          112,933              101,729             89,305             81,662
Other (income) expense                                                       2,476               182               1,565                 (889)          1,270
  Income (loss) before income taxes                                        18,590          (203,909)             (51,729)           (66,900)           (81,908)
Income tax expense (benefit)                                                 1,052          (15,745)             (10,238)           (13,698)           (56,094)
  Net income (loss)                                              $         17,538     $    (188,164)       $     (41,491)     $     (53,202)     $     (25,814)



Statements of Cash Flows Data:
Cash flows from operating activities                             $         66,424     $     (88,865)       $    117,354       $     30,817       $     36,478
Cash flows from investing activities
  Capital expenditures                                                    (111,637)         (55,889)             (53,957)           (63,717)           (45,652)
  Proceeds from sale of assets                                                  -                -                     -                  -                 -
Cash flows from financing activities
  Proceeds from issuance of 10.5% Notes                                         -                -              930,000                   -                 -
  Proceeds from issuance of 10.875% Notes                                 150,000                -                     -                  -                 -
  Redemption of 8.75% Notes                                                     -                -              (805,000)                 -                 -
  Repayment of Old Term Loan                                                    -                -               (50,000)                 -                 -
  Net proceeds from (paydowns on) ABL                                     114,000                -               (40,000)           32,000             (12,500)
  Proceeds from New Term Loan                                                   -           69,300                     -                  -                 -
  Repayment of New Term Loan                                               (70,000)              -                     -                  -                 -
  Insurance finance borrowings                                             46,115           42,492                     -                  -                 -
  Insurance finance repayments                                             (44,788)         (29,395)                   -                  -                 -
  Debt issuance costs                                                       (6,005)          (4,344)             (14,902)                (502)          (5,149)
  Equity contributions (returns), net                                           -                    (6)              (141)               -                  19
  Proceeds from Old Term Loan borrowings                                        -                -                     -                  -            25,000



Balance Sheet Data (end of period):
Cash and cash equivalents                                        $        159,313     $     18,452         $     85,159       $          995     $      2,397
Restricted cash                                                              3,248               -                     -                  -                     -
Trade accounts receivable                                                 126,645           73,477               83,882             93,962             95,833
Insurance receivable - Port Neches incident                                  3,402          23,289              185,477                   -                     -
Inventories                                                                74,487           45,435               52,058             68,092             72,564
Property, plant and equipment, net                                        755,390          703,273              684,844            702,090            749,442
Total assets                                                             1,223,257         964,749             1,173,502           976,706            999,579
Current liabilities                                                       352,348          309,087              387,164            171,816            162,336
Long-term debt, net of deferred financing costs                          1,181,528         985,321              915,772            882,362            844,821
Deferred income taxes                                                           -                -               13,271             22,276             36,740
Total liabilities                                                        1,533,876        1,294,408            1,316,207          1,076,454          1,043,897
Total equity (deficit)                                                    (310,619)        (329,659)            (142,705)           (99,748)           (44,318)




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(1) EBITDA and Adjusted EBITDA are not measures computed in accordance with GAAP. A non-GAAP financial measure is a numerical
    measure of historical or future financial performance, financial position or cash flows that excludes amounts, or is subject to adjustments that
    have the effect of excluding amounts, that are included in the most directly comparable measure calculated and presented in accordance with
    GAAP in the balance sheets, statements of operations, or statements of cash flows (or equivalent statements); or includes amounts, or is
    subject to adjustments that have the effect of including amounts, that are excluded from the most directly comparable measure so calculated
    and presented.
     We are including a presentation of EBITDA and Adjusted EBITDA in this Annual Report because their presentation is required under the
     Indentures. In addition, the Indentures contain debt incurrence ratios that are calculated by reference to Adjusted EBITDA. Non-
     compliance with the debt incurrence ratios contained in the Indentures would prohibit us from being able to incur additional indebtedness
     other than pursuant to specified exceptions.
     We calculate EBITDA as earnings before interest, taxes, depreciation and amortization and we calculate Adjusted EBITDA as EBITDA,
     adjusted to remove or add back certain items, including the impact of butadiene price changes. These items are identified below in the
     reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss), the GAAP measure most directly comparable to EBITDA and
     Adjusted EBITDA. Our calculation of EBITDA and Adjusted EBITDA may be different from the calculations used by other companies;
     therefore, they may not be comparable to other companies.
 The following table provides a reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss) for the periods specified.

                                                                                  Year Ended December 31,
                                                         2021              2020            2019           2018                   2017


 Net income (loss)                                  $       17,538    $     (188,164)   $      (41,491)   $      (53,202)   $      (25,814)
   Income tax expense (benefit)                              1,052           (15,745)         (10,238)          (13,698)          (56,094)
   Interest expense, net                                   120,980           112,933          101,729            89,305            81,662
   Depreciation and amortization (1)                        75,503            74,155           81,002           141,708           139,904
 EBITDA                                                    215,073           (16,821)         131,002           164,113           139,658
   Impact of butadiene price changes (2)                    (4,057)            5,211             8,014            (3,709)          18,540
   Port Neches Incident (3)                               (148,476)           50,141            91,895               -                -
   Other non-recurring items (4)                            81,373             7,344               507             6,917           11,816

 Adjusted EBITDA                                    $      143,913    $       45,875    $     231,418     $     167,321     $     170,014



(1) Includes depreciation, amortization of deferred turnaround and catalyst costs and amortization of patents for all periods presented.
(2) Adjustment to remove the estimated temporary impact on our operating results of month-to-month changes in the contract price of butadiene.
    For further discussion see “Management’s Discussion and Analysis of Financial Condition and Results of Operations”.
(3) Adjustment to remove the losses and costs incurred, net of actual and probable insurance recoveries as a direct result of the Port Neches
    incident (discussed on pages 12-14).
(4) Adjustments to remove the impact of certain non-recurring items for 2021 include $76.9 million of costs and volume adjustments related to
    February’s freeze, incremental expenses directly related to our response to the COVID-19 pandemic of $0.7 million, and business
    optimization expenses of $3.8 million. Adjustments to remove the impact of certain non-recurring items for 2020 include incremental
    expenses directly related to the impact of Hurricane Laura and Tropical Storm Beta of $0.5 million, the estimated impact of lost sales due to
    Hurricane Laura and Tropical Storm Beta of $4.4 million, the incremental expenses directly related to our response to the COVID-19
    pandemic of $1.9 million, and refinancing optimization expenses of $0.5 million. The adjustment for 2019 removes refinancing optimization
    expenses incurred in advance of refinancing our debt on August 2, 2019. The adjustment for 2018 removes a $0.6 million business
    interruption insurance recovery related to Hurricane Harvey and the insurance deductible and uninsured logistics and legal expenses related
    to the Houston dock incident (discussed on page 12) of $1.5 million and adds $6.0 million of estimated margin impact of lost sales volume
    as a direct result of the dock incident. The adjustment for 2017 removes incremental expenses directly related to the impact of Hurricane
    Harvey of $7.5 million, certain corporate optimization initiatives of $1.6 million and a gain from the sale of environmental emissions credits
    of $6.1 million and adds $8.8 million of estimated impact of lost sales due to Hurricane Harvey.




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  MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

     The following discussion and analysis of our financial condition and results of operations should be read in conjunction with the
consolidated financial statements and accompanying notes, which are included elsewhere in this Annual Report.

     Overview

     We are a leading North American producer of value-added products derived from petrochemical raw materials such as C4
hydrocarbons. Our products are sold to producers of a wide range of performance, specialty and intermediate products, including
synthetic rubber, fuels, lubricant additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
      In our C4 Processing segment, we process the crude C4 stream into higher value components, namely butadiene, butene-1 and
raffinates. Butadiene is primarily used to produce synthetic rubber that is mainly used in tires and other automotive products; butene-
1 is primarily used in the manufacture of polyethylene plastic resins and synthetic alcohols; and raffinates are primarily used in the
production of alkylate, a component of premium unleaded gasoline.
      In our Performance Products segment, we process isobutylene, which we purchase as a raw material and also produce internally,
to produce polyisobutylene (“PIB”), diisobutylene (“DIB”), and methyl tertiary-butyl ether (“MTBE”). PIB is primarily used in the
production of fuel and lubricant additives, caulks, adhesives, sealants and packaging; DIB is primarily used in the manufacture of
surfactants, plasticizers and resins; and MTBE is primarily used as a gasoline blending stock.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 12-14). The Houston plant, in addition to processing crude C4, also produces PIB, DIB,
and MTBE. The raw material isobutylene processed at our Houston facility is sourced from processing crude C4, third-party supply
and internal on-purpose production. The feedstock for our on-purpose isobutylene production is isobutane, which is a plentiful natural
gas liquid resulting from shale gas development. As discussed in more detail under “Current Market and Business Conditions” below,
in order to replace the lost crude C4 processing capacity at our Port Neches plant, in early 2021 we entered into a long-term contract
with a third-party to process a substantial portion of our crude C4 supply and return butadiene and raffinate to us.
     We also provide critical infrastructure and logistics services along the Gulf Coast. Both our Houston processing facility and our
terminals provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers and
raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and ocean-
going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served by
barges.
      The primary drivers of our businesses are general economic and industrial growth. Our results are impacted by the effects of
economic upturns or downturns on our customers and our suppliers and our ability to achieve on stream time and production targets in
our operating units. Our results are also dependent on our own costs to produce, sell and deliver our products. Our customers generally
use our products in their own production processes; therefore, if our customers curtail production of their products, our results could be
materially affected. In particular, our feedstock costs and product prices are susceptible to volatility in pricing and availability of crude
oil, natural gas, natural gas liquids such as isobutane and oil-related products such as unleaded regular gasoline. Prices for these
products tend to be volatile as well as cyclical, as a result of global and local economic factors, worldwide political events, weather
patterns and the economics of oil and natural gas exploration and production, among other things.

Material Industry Trends

     We receive crude C4 feedstock for our C4 Processing segment from steam crackers, which are designed to process naphtha and
natural gas liquids (“NGL’s”) as feedstocks for ethylene production. Crude C4 is a by-product of the ethylene production process, and
the volume of crude C4 produced by the process is driven by both the volume of ethylene produced and the composition of the steam
cracker feedstock. Some major ethylene producers have the flexibility to shift from light feedstocks, such as NGL’s (ethane, propane
and butane), to heavier feedstocks, such as naphtha, or vice versa depending on the economics of the feedstock. When ethylene
producers process heavier feedstock, greater volumes of crude C4 are produced. However, when light feedstocks (i.e. NGL’s) are
inexpensive relative to heavy feedstocks, the producers may choose to process those light feedstocks instead, a process referred to as

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“light cracking,” which results in lower volumes of crude C4 production but higher concentration of butadiene in the crude C4 stream.
In recent years, lighter cracking by domestic ethylene producers has been prevalent as a result of an abundant supply of cost advantaged
NGL feedstocks (particularly ethane), and we experienced the largest impact of the shift from heavier to lighter ethylene cracker
feedstocks between 2007 and 2009. In 2015, we experienced an increase in domestic delivery rates, which reflected more favorable
economics for propane and butane cracking compared to the lighter ethane feedstock. However, over the course of 2016 and 2017,
ethane feedstock economics were generally more favorable, which again resulted in relatively lower domestic delivery rates of crude
C4’s. Domestic delivery rates were positively impacted beginning the latter part of 2017 as newly constructed ethylene crackers in
North America came on-line, making more crude C4 feedstock available. Domestic crude C4 feedstock supply continued to grow in
2019 as additional new North American ethylene crackers came on-line. Those crackers produced additional C4 feedstock in 2020 as
they ramped up rates and ran for the full year. Some constraints regarding our ability to process all of the incremental crude C4 available
arose in 2020 due to the outage at our Port Neches facility. Some amount of the crude C4 produced by the ethylene crackers needed to
be consumed through suppliers recycling the material (referred to as co-cracking) because of short-term limitations in butadiene
extraction capacity. TPC has taken steps to minimize the impact of the Port Neches outage. We ramped up production rates on our
largest butadiene extraction unit and converted one of our butadiene extraction trains (the furfural unit) at our Houston plant, which had
been in butane removal service for our raffinate business since 2014, back to butadiene extraction service. We also restarted our
hydrotreating unit, which converts crude C4’s to butylenes, and are operating the unit at maximum rates in an effort to consume a larger
volume of crude C4’s from our suppliers. This unit has also gone through significant optimization throughout 2021 further increasing
crude C4 consumption. In the fourth quarter of 2021, we had a turnaround in this unit where we changed catalyst to enable higher
selectivity for butene-1 production in the total stream which will help us significantly increase our supply of butene-1 to our customer
base in 2022.
     The supply of butadiene is driven by ethylene cracker operating rates and feedstock composition. Because butadiene is a small
co-product stream in relation to the quantity and value of ethylene and propylene produced in a cracker, butadiene supply is relatively
insensitive to its demand and/or price. In addition, butadiene cannot be stored for long periods of time. Therefore, the price of
butadiene can be highly volatile based on relatively small changes in supply or demand.
      As an example, our Port Neches plant outage in late November 2019 curtailed the domestic supply of butadiene, which contributed
to a 25% increase in the contract price over the first two months of 2020. However, as a result of temporary weakened global demand
linked to the COVID-19 pandemic, the price of butadiene declined by 50% through July of 2020 as automotive and tire plants shutdown
for much of the second quarter. As the economy began to recover in the second half of 2020, so did the price of butadiene, rising 130%
from its low point of 19.6 cents per pound in June-July to 49 cents per pound in January 2021. There was a brief pricing dip in February-
March to 41.5 cents per pound. However, the Winter Storm Uri freeze that hit the Gulf Coast in February of 2021, shutdown most of
the petrochemical industry causing significant shortages of supply. Butadiene was one of products that was hit hard. This shutdown,
along with continued industry operating issues throughout much of 2021, led to the steady increase of butadiene pricing from the March
level of 41.5 to 97 cents per pound by September. With imports into the region and U.S. industry operating issues subsiding by Q4,
despite continued strong demand, the price of butadiene began to decrease reaching 65 cents per pound in December and its ultimate
low point of 62 cents per pound in January 2022. In February 2022 the price had moved back up to 65 cents per pound, while the
March price settled at 68 cents per pound.
      The North American region continued to be a net importer of butadiene and its derivatives (synthetic rubber and tires) in 2021 and
we expect this trend to continue in 2022; however, as we look forward, we expect strong global economic growth, combined with the
continued ramp-up of new North American tire plants, to provide growth for the additional butadiene supply that has come from the
new ethylene crackers. We expect the amount of imports over the next few years will remain steady and may even grow later this year
as the U.S. government moves forward with its efforts to bring nitrile rubber glove manufacturing back to the United States as part of
their efforts to combat impacts from health industry shortages created by the COVID-19 pandemic. To support nitrile rubber glove
manufacturing in the U.S., the U.S. government is providing grants not only to new glove plants, but also to build plants that will produce
the key raw material, nitrile butadiene rubber latex (NBR Latex). Current estimates are for close to 600 million pounds of “wet” NBR
Latex capacity to be built in the U.S. over the next 15-18 months, increasing the demand for butadiene by another 200 million pounds
annually. Further, as we look forward, we expect NGL’s, due to shale gas, to continue to provide favorable ethylene production
economics to North America leading to additional ethylene crackers being built in the future (2027-2029) and bringing additional crude
C4’s and butadiene to market. This should lead to additional butadiene consuming derivative plants being built over the next 6-8 years
in North America.
     Beginning in the latter part of 2016 and through 2019, we successfully restructured our C4 processing business by renegotiating
essentially all of our crude C4 supply contracts. As of the end of 2021, approximately 95% of our contracted crude C4 volume was
under the new business model. The primary objective of the restructured business model was to create more stability in the profit
margins we realize on all components of the entire crude C4 streams commensurate with the valuable service we provide to our suppliers.
The restructured model minimizes our downside risk during periods of weaker prices for the commodities upon which the values of our
products are based, as it provides us with a fixed processing margin and energy recovery fee sufficient to cover our processing costs and


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a sustainable minimum profit margin. The restructured model also provides us with upside margin sharing with our suppliers when the
value of crude C4 streams, which is based on the value we receive for our products, exceeds a floor value. The margin sharing
mechanism of the restructured contracts is accomplished through direct linkage between the value we receive for the extracted products
and what we pay our suppliers for the components of the crude C4 stream.
     In addition to the margin stability, risk mitigation and upside sharing in the supplier margins, the restructured crude C4 supply
contracts also provide for larger discounts on the price we pay for contained butane as well as an energy fee for having to process larger
volumes of butane in our system. The larger discounts and energy fee offset the cost we incur to remove the butane and/or the negative
impact on the value of and margins realized on our raffinate streams when the contained butane exceeds certain minimum levels.
      The remainder of our crude C4 supply continues to be purchased on a component basis under contractual arrangements not based
on the restructured model and on a spot basis. Under these supply arrangements, we are exposed to more commodity risk as they do
not provide the same downside protection as the restructured contracts and there is no direct linkage between the value we receive for
the extracted products and what we pay for various components of the crude C4. Under these arrangements, the profit margins on our
raffinates, which are the second largest part of the crude C4 stream after butadiene, are directly impacted by the price of unleaded regular
gasoline (ULR) since we buy and sell the butylenes contained in the raffinate streams based on a factor of ULR. The price of ULR
impacts the margins on the raffinate we produce from these streams in two ways. One impact is dependent on the absolute price of
ULR, which impacts the spread between what we pay for the contained butylenes and what we sell them for. We buy and sell the
butylenes on a percentage of ULR basis, so a higher ULR price results in a wider spread and a more positive impact on our margins.
The other impact is dependent on the quantity of inventory and the magnitude of volatility in the ULR price from period to period as we
may purchase the contained butylenes in one period and then sell them in a subsequent period.
      Our MTBE margins in 2021 were negatively impacted by the effects of COVID-19 starting in March and reached a low point in
April due to the MTBE to unleaded regular gasoline (ULR) spread falling from an average of 42 cents per gallon in the first quarter to
4.5 and 2.2 cents per gallon in the second and third quarters, respectively. High raw material isobutane and methanol costs in relation
to the value of MTBE also had a negative impact on MTBE margins during this period. Starting at the end of the third quarter of 2020,
margins for MTBE began to expand as the MTBE-ULR spread grew to 11.3 cent per gallon in the fourth quarter. However, the strength
of methanol and butane pricing tempered the margin expansion. Methanol continued to strengthen in early 2021, starting at 149 cents
per gallon in the first quarter and averaging 194 cents per gallon in the fourth quarter. Isobutane did the same, starting at 93 cents per
gallon in the first quarter and averaging 146 cents per gallon in the fourth quarter. MTBE-ULR spreads started 2021 at 11 cents per
gallon, grew slightly to 15 cents per gallon in the second quarter but fell to zero in the third quarter before rebounding to 23 cents per
gallon in the fourth quarter. However, MTBE-isobutane spreads (a key indicator of MTBE profitability) grew from 62 cents per gallon
in the fourth quarter 2020 (and an average of 69 cents for all of 2020) to 90 cents in the first quarter of 2021, 121 cents in the second
quarter, dipping to 85 cents in the third quarter and then rebounding to 104 cents in the fourth quarter for a total year 2021 average of
100 cents per gallon.

Current Market and Business Conditions

      For the most part, the effects of COVID-19 on our operating results have dissipated in 2022. Demand in all but one of our business
segments is strong and is now back to pre-COVID-19 levels. The one exception is our raffinate business used in the production of
alkylate, a key octane blend stock in premium gasoline. Recent refinery operating changes are generating additional alkylate feedstock
within the refineries, which have reduced their outside purchases taking us back to demand levels we saw in the second and third quarters
of last year. With the onset of hostilities between the Ukraine and Russia, commodity pricing has seen a significant increase with WTI
crude reaching a high of $123 per barrel. Crude oil and natural gas prices are now well above pre-COVID-19 levels and are supportive
of stronger prices and margins in all of our businesses. Supply-demand fundamentals are strong in our butadiene, butene-1, PIB, DIB,
and MTBE businesses. Strong commodity pricing along with planned industry outages for butadiene producers late in the first quarter
and through May of 2022 should provide continued demand and pricing strength through the second quarter of 2022 for this key product
line. Butadiene pricing hit its low point in January but has since moved up 3 cents per pound in each of February and March to 68 cents
per pound. With solid demand and industry supply constraints continuing, there will likely be further increases in April.
      We have recovered from the operating issues that plagued our HNO operations during much of 2021. We have successfully
restored our utility boiler operations and steam production back to nameplate capacities. We also completed three significant
turnarounds in the fourth quarter, one in our butadiene system bringing butadiene capacity back to full capacity, one on our
turbogenerator, and the other in our hydrotreating unit. The work on the hydrotreating unit has now allowed us to achieve an increase
in butene-1 production levels here early in the first quarter of 2022. The new catalyst we installed in the hydrotreater has not allowed
for the full increased production we had expected, but as work continues to optimize the new catalyst we will get closer to our targeted
production levels. In our fuels segment, up until the middle of September last year, demand was weak in our raffinate business. With
lesser jet and diesel fuel demand, refiners adjusted their operations, producing more of their own butylenes for alkylation and, thus,
impacting our sales. We built significant inventory during the second and early third quarters and the expected lower net realizable


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value has resulted in the lower of cost or net realizable value adjustment in our financial statements. We did find new outlets for
raffinate sales during the third quarter. This along with increased demand from one of our largest customers due to Hurricane Ida issues
limiting their normal butylene supply, helped control inventory build. Due to our operating issues combined with this stronger demand,
we saw inventories fall by almost half from the peak level we experienced early in the third quarter and by year end 2021 inventories
were actually slightly below target levels. Due to the above referenced raffinate demand issues coming back to affect our sales in early
2022, we are once again pursuing sales to the different outlets we found last year.
      We have experienced some constraints on BD production in the first quarter due to the ethylene industry cracking very light
feedstocks and a number of unplanned outages at some of our CC4 suppliers. As our contract manufacturer (BTP) for butadiene enters
their 60-day planned turnaround in mid-March and our CC4 suppliers recover from operating problems in February and March, CC4
supply will allow us to move back to nameplate capacities at our Houston plant in both our butadiene units and our hydrotreating unit
in March.
      MTBE margins, which ended 2021 on a strong note, have continued to strengthen in early 2022. Current MTBE-isobutane
spreads have grown to over 150 cents per gallon reaching as high as 200 cents per gallon when crude oil topped $120 a barrel. This
combined with slight price reductions in methanol from its peak pricing in the fourth quarter are helping margins in this key product
area for TPC. Non-formula pricing for PIB and DIB products moved up in March.
      Production under the long-term contract with BASF-TOTAL Petrochemical (“BTP”) for crude C4 processing that TPC signed in
early 2021 began on a small scale in mid first quarter 2021 and grew steadily throughout the rest of the year. Work continues at our
Port Neches terminal and BTP is expected to be in position to take an additional step change in crude C4 processing by mid-year 2022
after BTP completes a planned turnaround of their C4 processing unit. These higher production rates, once up and running, is part of
our overall plan to restore TPC’s butadiene production levels back to pre-PNO incident levels.
     Demand for PIB was at record levels in the first quarter of 2022 and forecasted demand for the balance of the year is strong.
Likewise, demand for DIB is at record levels supported by very strong domestic and export sales.

Dock Incident – 2018

      On June 13, 2018, an ocean-going bulk carrier navigating in the Port of Houston Ship Channel veered off course and struck a barge
stationed at our primary Houston facility dock. The incident caused substantial damage to both the barge and the dock facilities. There
were no significant injuries and there was no environmental impact from the incident.
      The damaged dock was returned to full barge and ship service in August 2018 after temporary repairs of approximately $5 million
which, excluding a $0.25 million deductible, were reimbursed from insurance proceeds in September 2018. The insurance proceeds
were accounted for as an offset to the actual dock repair costs. The total amount of the insurance deductible and uninsured logistics
and legal expenses recognized in our reported 2018 earnings was $1.5 million and the margin on estimated lost sales volume was
approximately $6.0 million. The revenue and cost of sales related to the lost sales volume for the C4 Processing segment were estimated
to be $4 million and $2 million, respectively, and for the Performance Products segment were estimated to be $13 million and $9 million,
respectively.
     We are close to finalizing approvals with the insurance carriers around the rebuild of the dock and we expect to commence the
project in the second quarter of 2022.

Port Neches Incident – 2019

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took place August 5-6, and 19-20,
2021. The citations were not resolved, and OSHA filed its complaint on September 9, 2021. The proceeding has been bifurcated into
two separate trials, the first of which will take place in Q4 2022 and the second of which will occur in Q1 2023.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these


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events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management Compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,700 property claims have been resolved and approximately 1,400 additional eligible claims are pending action by the claimant in the
claims process. The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial
statements. The Company also provided an emotional support hotline staffed by licensed professional counselors from Samaritan
Counseling Center of Southeast Texas.
       In addition to the property claims, approximately 190 private party lawsuits, including five class actions, are pending in Texas
state court related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass.
Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court
cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th
District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to file short-
form petitions in the MDL proceeding, which currently includes approximately 7,640 individual plaintiffs. Approximately 640
individual plaintiffs have cases pending in Jefferson County, Texas (some of which are duplicative with cases in the MDL) which have
not yet been non-suited or abated. Additionally, more than 820 properties are the subject of litigation as a result of subrogation claims
filed by insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case Management
Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and a revised schedule
will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2 and Q3 2021 adding additional defendants
and many of those additional defendants have either moved to dismiss the claims against them or filed jurisdictional challenges. A
hearing on class certification is not expected before the second half of 2022 at the earliest.
      Four different sets of insurance policies in effect at the time of the event provide coverage for costs and losses incurred as a
result of the Port Neches incident.
      On an event to date basis as of December 2021, TPC has incurred a loss amount of $436.6 million associated with the PNO Event.
This amount consists of both response related costs and associated write offs. TPC anticipates recovering $259.6 million of this loss
through insurance proceeds to be paid directly to the Company. The estimate is subject to change as claims are evaluated. As of
December 31, 2021, we have collected $537.6 million dollars of insurance proceeds and have paid out $342.3 million. Information
received in the fourth quarter of 2021 that categorizes the proceeds and assurance that this amount is a floor amount, allowed a
reclassification of proceeds from a Deferred Gain to a Recognized Gain. The gain is due to the recoverable value of assets being more
than the book value.
         The following table summarizes the PNO Event spend and reimbursements, event to date, as of December 31, 2021 (in
millions):
                                                                  Loss        Anticipated       Net      Proceeds                                  Invoices
                          Insurance Policies                     Amount        Recovery         Loss     Collected           GAIN         BI         Paid
            Property/Business Interuption (BI) (1)(2)           $    129.1     $    93.8    $     35.3   $   376.6       $    183.5   $    99.7    $    94.3
            Liability                                                164.3         100.0          64.3       100.0              -              -       133.4
            Defense                                                   60.2          35.2          25.0        35.2              -              -        59.3
            Pollution                                                 51.5          25.0          26.5        25.0              -              -        50.5
            Inventory                                                  6.6           5.6           1.0         2.5              -              -         -
            Not Recoverable (3)                                       24.9           -            24.9         -                -              -         6.5
                                  Total                         $    436.6     $   259.6    $    177.0   $   539.3       $    183.5   $    99.7    $   344.0

            (1) Includes $1.7 million paid to 3rd party.
            (2) Includes asset write-offs of $34.4 million
            (3) Includes turnaround amortization write-off of $18.8 million

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     Property/Business Interruption Policies

      Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible is $10.0
million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying for business
interruption coverage. As of December 31, 2021, we have incurred a cumulative loss amount of $129.1 million which includes asset
write-offs of $34.4 million. We have paid $94.3 million of invoices related to this policy. We have directly collected $374.9 million
and had another $1.7 million paid on our behalf to a third party under these policies, of which $99.7 million has been identified as
business interruption coverage and $275.2 million as property loss coverage which includes a gain of $183.5 million on assets where
recoverable value is greater than book value. Reimbursable costs under this policy recorded in 2019 and 2020 were $52.4 million and
$58.8 million, respectively. In 2021, reimbursable costs were reduced by $17.4 million due to a change in accounting estimate for
probable insurance proceed recovery. This change was based on proposed adjustments from insurance carriers for which we have
supported positions that counter their assessment. We currently estimate that $93.8 million will be recoverable under this policy for
property losses.
     Liability/Defense Policies

      Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of December 31, 2021, we have accrued third-party claim amounts of $164.3 million, have paid $133.4
million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $60.2 million and we
have collected $35.2 million of this amount. This is the total that we anticipate collecting for these defense costs. Costs recorded
under these policies in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional amount
was incurred for claims of $3.1 million and for defense costs of $35.6 million. As of the end of December 2021, liability claims have
been reduced $0.7 million and an additional $10.3 million in defense costs were incurred. To date we have paid $59.3 million of these
defense cost invoices.
     Environmental/Pollution Policies
      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of December 31, 2021, we have
incurred and paid $51.5 million of costs, paid $50.5 million of those costs and have collected the full $25.0 million of coverage under
this policy. We incurred $23.1 million, $28.0 million and $0.4 million of these costs in 2019, 2020 and 2021, respectively.
     Inventory Policy

     We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We are also pursuing
recovery of another $2.8 million in logistics costs under this policy. We expect to recover the fair market value at the time of the event
on these materials which is estimated to be $4.5 million plus the logistics costs of another $1.1 million.
     Not Recoverable

      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits.

Coronavirus – 2021

      On March 11, 2020, the World Health Organization declared the ongoing COVID-19 outbreak a pandemic and recommended
containment and mitigation measures worldwide. For employees who are considered essential and are working in plants, we adhere to,
at a minimum, government recommended protocols and best practices related to social distancing, hygiene and the use of additional
personal protective equipment. TPC’s Crisis Management Team (“CMT”) has helped to safely mitigate exposure risk by quickly
identifying and isolating any confirmed cases amongst our employees. These measures have not only enabled us to continue to operate
our facilities safely but have also helped TPC maintain a largely consistent supply chain. Additionally, the CMT has worked closely
with senior leadership to tailor a comprehensive Return to Workplace plan for each site. At the time of this filing, a significant portion
of TPC’s workforce (non-essential workers) are still working remotely from their homes. We continue to review the level of new cases
and are hopeful that in early 2022 we will have employees return to site work on a more regular basis. Our employees' health and well-
being remain a key priority.
     For the most part, the effects of COVID-19 on our operating results have dissipated with government restrictions across the world
easing and the availability of vaccines to help prevent COVID-19 infections. We continue to monitor and assess the potential impact


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of COVID-19 and the possibility of future variants on our staff and operations and have implemented appropriate mitigation plans and
will take additional precautions as we believe are warranted. We also work with our suppliers to understand any potential impacts to
our supply chain, and at this time, we have not identified any material risks to our supply chain.

Technical Center Fire - 2021

       Early on the morning of January 9, 2021, the Technical Center, located on the southwest side of the Houston facility, which
contains quality control and research and development activities, had a fire in the mechanical room. TPC’s Emergency Response Team
responded and coordinated with local officials and emergency responders to quickly resolve the issue. There were no injuries to TPC
employees and no offsite or environmental impacts as a result of the event; however, one emergency responder sustained an ankle injury
while responding to the event. As a result of the fire, there is considerable damage to the facility and the housed equipment. In the
absence of a functioning laboratory facility, the Company had to secure short term outsourcing solutions for all of the quality control
testing needs immediately following the event. Since late February 2021, however, we have salvaged over 75% of the lab equipment
in the Technical Center and replaced the majority of the outsourced testing with in-house testing in a combination of TPC and rental
facilities, thereby substantially reducing the incremental costs. To reestablish the full necessary laboratory functionality for research
and development as well as quality control, we are evaluating options including expanded leased facilities, rebuild of the Technical
Center or new construction onsite.

February Weather Event (Uri) – 2021

      In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter weather.
Due to abnormally low temperatures for an extended period of time, facilities in the region experienced disruption to their operations,
resulting in lost production and additional maintenance costs. This event also caused the HNO plant to experience upset conditions
resulting in multiple days of unauthorized air emissions. The TCEQ has investigated this emission event and referred it to the Texas
Attorney General for civil enforcement. The Attorney General filed suit seeking civil penalties in connection with this event on
February 23, 2022. The total financial impact of this freeze event, between incremental costs for repairs, higher energy costs and lost
volumes, has been upwards of $76 million.
Insurance Renewal

      We seek to maintain comprehensive insurance coverage at commercially reasonable rates. Although we carry property and casualty
insurance to cover certain risks, our insurance policies do not cover all types of losses and liabilities, and our insurance may not be
sufficient to cover the full extent of losses or liabilities for which we may be liable. Despite persistently tight insurance market
conditions, we have renewed all our expiring insurance coverages on substantially the same terms at premium increases in line with
market conditions. We have financed the premiums through an affiliate of our broker, requiring us to pay 25% of the premium upfront
with the remainder payable in monthly installments through March 2022. Although we have been able to replace our insurance in
2021, we may not be able to do so or may not be able to finance the premiums in the future.

Results of Operations

     Contractual linkages of raw material costs and selling prices of finished products to commodity indices

      Most of our raw material feedstock costs and finished product selling prices are determined by application of contractual formulas
linked to commodity market indices and, in most cases, the indices used to determine raw material feedstock costs are the same indices
used to determine finished product selling prices.
     As of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model, and which is more commensurate with the valuable and consistent service
we provide to the industry.
      Although linkage of most of our raw material costs and selling prices to the same indices and our restructured crude C4 supply
contracts provide some degree of consistency in our average material margin per pound (which we define as the difference between
average revenue per pound and average raw material cost per pound) during periods in which the underlying commodity indices are
relatively stable, there are various factors that can have a significant impact on our average material margin per pound, including those
listed below. Moreover, even a relatively minor increase or decrease in average material margin per pound can have a significant
impact on our overall profitability given the magnitude of our sales volumes.




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         •   We may purchase raw material feedstocks in a given month based on market indices for that month, and then sell the
             related finished products in a later month based on market indices for the later month. Changes in selling prices of finished
             products, based on changes in the underlying market indices between the month the raw material feedstocks are purchased
             and the month the related finished products are sold causes variation in our average material margin per pound. For
             example, we may purchase the components of a crude C4 stream based on formulas that reflect the respective January
             commodity indices but then sell the finished products at pricing formulas based on the respective February commodity
             indices. If the indices for January and February are the same, we would expect to realize substantially the same unit
             margins regardless of the absolute value of the indices. However, for any components of the stream for which the
             respective index increases between January and February, we would expect to realize a temporary margin expansion until
             pricing stabilizes; and conversely, if the index decreases, we would expect to realize a temporary margin contraction. The
             magnitude of the effect on the average material margin per pound and the material margin percentage in a given month
             depends on the magnitude of the change in the underlying indices compared to the prior month and the quantity of inventory
             at the end of the prior month as a result of its impact on the moving average cost of finished products sold in the subsequent
             month.
         •   Although most of our supply and sales contracts contain index-based formulas, varying proportions of our raw material
             purchases and finished product sales are done on a spot basis or otherwise negotiated terms. In addition, while many of
             the index-based formulas in our contracts are simply based on a percentage of the relevant index, others apply adjustment
             factors to the market indices that do not fluctuate with changes in the underlying index. As supply and sales contracts are
             renegotiated, the amounts of such adjustment factors can change, thus the average material margin per pound would be
             impacted.
         •   Under some of our raw material purchase contracts, the costs of the raw materials are based on a percentage of the relevant
             market index, and under some of our sales contracts, the selling price of the related finished product is based on a higher
             percentage of the same market index. As a result, the average material margin per pound tends to be higher during periods
             in which the market indices are higher and tends to be lower during periods when the market indices are lower.
         •   Finished product selling price formulas under some of our sales contracts, primarily in the Performance Products segment,
             are based on commodity indices not for the period in which the sale occurs but for either a prior or subsequent period.
             The effect on average material margin per pound of the selling price formulas can be significant during times of rapidly
             increasing or decreasing market indices.

Butadiene Price Impact

      As discussed above, a substantial portion of our finished product selling prices and raw material costs are linked to the same
commodity indices and this linkage mitigates, to varying degrees, our exposure to volatility in our profit margins. As also discussed
above, as of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model, which are more commensurate with the valuable and consistent service we
provide to the industry. However, the stabilizing effect of these factors on our profit margins is lessened when we do not purchase the
feedstock and sell the finished product in the same period. Regarding butadiene, which has historically been the largest individual
product line in our C4 Processing segment, the linkage between our raw material cost and finished product selling price is the published
contract price for butadiene. As a result of purchasing crude C4 in one month and selling finished butadiene in the subsequent month,
the GPC per pound we report in the subsequent month will expand when the price of butadiene increases and will contract when the
price of butadiene declines due to the impact of beginning inventory (quantity and unit cost) on the moving average cost of finished
butadiene sold in the subsequent month.
      As shown in the presentation of EBITDA and Adjusted EBITDA on page 8 of this Annual Report, we adjust EBITDA to remove
the estimated temporary impact on our reported GPC of the month-to-month changes in the contract price of butadiene. The rationale
for the adjustment is that the temporary impacts of butadiene price changes distort the underlying business performance.
     The table below shows, for each period presented, the impact on our reported GPC (in millions) of purchasing crude C4 in one
period and selling finished butadiene in a later period at higher or lower butadiene contract prices. The impact on reported GPC for




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each period is the sum of the monthly impacts, which are dependent on the magnitude of the contract price change each month and the
quantity of butadiene inventory at the beginning of each month.

     Impact on reported GPC as of the dates presented, was as follows (in millions):

                                                                                  Year Ended December 31,
                                                                                2021        2020       2019

                        Positive (negative) impact on GPC                   $           4       $      (5)   $   (8)



     Average material margin per pound

     The table below provides the average material margin per pound (defined above) for each period presented.


                                                                                   Year Ended December 31,
                                                                            2021            2020           2019

                   Average revenue per pound ($)                        $        0.53       $        0.30    $       0.40
                   Average raw material cost per pound ($)                       0.35                0.16            0.24
                   Average material margin per pound ($)                         0.18                0.14            0.16



      As discussed above, our material margin per pound and reported GPC reflect the temporary impact of month-to-month changes in
the contract price of butadiene. As provided in the table above, and in the discussion of cost of sales for 2021 versus 2020 on page 19
and for 2020 versus 2019 on pages 21-22, the impact of butadiene price changes on GPC was a positive $4 million in 2021, a negative
$5 million in 2020, and a negative $8 million in 2019. Excluding the temporary impact of butadiene price changes on all three years,
average material margin per pound would be $0.19 for 2021, $0.15 for 2020 and $0.16 for 2019.

     The following table summarizes the primary indices which impact our revenues and raw material costs by segment.

     Segment / Finished Product                         Revenues                                Raw Material Costs

 C4 Processing Segment
  Butadiene                                 Butadiene                                Butadiene
  Butene – 1                                Unleaded regular gasoline                Unleaded regular gasoline
  Raffinates                                Unleaded regular gasoline                Unleaded regular gasoline

 Performance Products Segment
  Polyisobutylene                           Isobutane                                Butane
  Diisobutylene                             Isobutane                                Butane
  MTBE                                      MTBE                                     Isobutane, methanol




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     The following table summarizes the average commodity index prices for each period presented.

                                                              Year Ended December 31,                 Year Ended December 31,
                                                            2021       2020       % Chg.            2020       2019       % Chg.
          Average commodity prices:
           Butadiene (cents/lb) (1)                            66.2        30.6          116%          30.6        44.0          -30%
           Unleaded regular gasoline (cents/gal) (2)          207.5       114.7           81%         114.7       171.6          -33%
           Butane (cents/gal) (3)                             117.9        58.6          101%          58.6        65.2          -10%
           Isobutane (cents/gal) (3)                          117.6        58.5          101%          58.5        73.9          -21%
           MTBE (cents/gal) (2)                               217.8       127.7           71%         127.7       197.5          -35%
           Methanol (cents/gal) (4)                           167.3       101.3           65%         101.3       116.3          -13%



     (1) Industry pricing was obtained through IHS.
     (2) Industry pricing was obtained through Platts.
     (3) Industry pricing was obtained through Oil Price Information Service.
     (4) Industry pricing was obtained through J. Jordan.

      The following table provides sales volumes, revenue, cost of sales, GPC and operating expenses by operating segment (amounts
in thousands) for the years ended December 31, 2021, 2020 and 2019. Please refer to this information, as well as our consolidated
financial statements and accompanying notes included elsewhere in this Annual Report, when reading our discussion and analysis of
results of operations below. All information provided in the table below, except sales volumes, is derived from our Consolidated
Statements of Operations. Sales volumes for all periods presented constitute unaudited information.

                                                                                    Year Ended December 31,
                                                                      2021                2020                    2019

                  Sales volumes (pounds) (1):
                    C4 Processing                                      1,439,319                1,474,078           2,326,067
                    Performance Products                                 977,235                1,055,889           1,379,245
                                                                       2,416,554                2,529,967           3,705,312

                  Revenue:
                   C4 Processing                                $        794,471     $           407,181      $       922,204
                   Performance Products                                  494,575                 344,209              542,722
                                                                $      1,289,046     $           751,390      $     1,464,926

                  Cost of sales (2):
                   C4 Processing                                $        660,375     $           300,342      $       700,421
                   Performance Products                                  344,947                 218,721              331,412
                                                                $      1,005,322     $           519,063      $     1,031,833
                  GPC
                   C4 Processing                                $        134,096     $           106,839      $       221,783
                   Performance Products                                  149,628                 125,488              211,310
                                                                $        283,724     $           232,327      $       433,093
                  Operating expenses (2):
                   C4 Processing                                $        138,241     $           109,916      $       112,870
                   Performance Products                                   83,315                  71,143               67,066
                                                                $        221,556     $           181,059      $       179,936




    (1) Sales volumes represent product sales volumes only and do not include volumes of products delivered under tolling or similar arrangements,
        in which we do not purchase the raw materials, but process raw materials for another party for a specified fee.
    (2) Cost of sales does not include operating expenses, and cost of sales and operating expenses do not include depreciation and amortization
        expenses.


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Year ended December 31, 2021 versus year ended December 31, 2020

     Revenue

      Total revenue for 2021 was $1,289.0 million compared to $751.4 million for 2020. The increase of $537.6 million, or 72%,
included a 4% decrease in overall sales volume and an 80% increase in average revenue per pound. The lower overall sales volume
reflected decreases for both the C4 Processing segment and the Performance Products segment. The higher overall average revenue
per pound was due to higher average selling prices for both operating segments. Variances in average selling prices for both operating
segments reflected variances in the commodity market indices to which a substantial portion of our finished product selling prices are
linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 15-16
and the table of commodity indices to which a substantial portion of selling prices are linked on page 17).
      C4 Processing segment revenue of $794.5 million for 2021 increased $387.3 million, or 95%, compared to 2020 revenue of $407.2
million. The higher revenue for 2021 was caused by a 2% decrease in sales volume, which had a negative impact of $6 million, and a
100% increase in average revenue per pound, which had a positive impact of $393 million. The decrease in sales volume for 2021 was
the result of the Houston plant being offline for half of the first quarter due to the February freeze event, the operational issues with our
BD finishing tower in the second quarter, and issues with our steam system in the third and fourth quarters impacting production of
butadiene, butene-1 and raffinate. The overall 100% increase in average revenue per pound for the segment was due to a 116% increase
in the average benchmark price for butadiene and an 81% increase in the average price of unleaded regular gasoline (see the table of
commodity indices to which a substantial portion of our C4 Processing segment selling prices are linked on page 17).
      Performance Products segment revenue for 2021 was $494.6 million compared to $344.2 million for the prior year. The $150.4
million, or 44%, increase in revenue reflected an overall 7% decrease in sales volume due to lower MTBE sales, but still resulted in a
positive impact of $6 million, due to increased PIB sales, and a 55% increase in average revenue per pound, which had a positive impact
of $144 million. The increase in average revenue per pound was caused by increases in the prices of isobutane and MTBE of 101%
and 71%, respectively (see the table of commodity indices to which a substantial portion of our Performance Products segment selling
prices are linked on page 17). Although the sales volumes were impacted by the February freeze event in the first quarter of 2021, the
effect on PIB sales was somewhat muted by our inventory position as of the end of January and PIB demand continued to climb during
the second quarter. The effect on MTBE volumes, when compared to 2020, was offset by the absence of a Dehydro Turnaround in
2021.

     Cost of Sales

      Total cost of sales for 2021 was $1,005.3 million compared to $519.1 million for 2020. The significantly higher cost of sales in
the current year period reflected the substantial increase in the average cost of raw materials included in the average cost of finished
products sold by both operating segments offset slightly by the overall decrease in sales volumes discussed above. The increases in
raw material costs for both operating segments reflected increases in the commodity market indices to which a substantial portion of our
raw material costs are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity
indices” on pages 15-16 and the table of commodity indices to which a substantial portion of our raw material costs are linked on page
17).
      C4 Processing segment cost of sales for 2021 was $660.4 million versus $300.3 million for the prior year. The increase reflected
the impact of a 168% increase in the average cost of the raw material component of the finished products sold. The higher average cost
of raw materials was caused by increases in the average benchmark price for butadiene and the average price of unleaded regular gasoline
of 116% and 81%, respectively (see the table of commodity indices to which a substantial portion of our C4 Processing segment raw
material costs are linked on page 17). As discussed above, in spite of the linkage between the cost of crude C4 we purchase and the
price at which we sell finished butadiene, our average raw material costs and profit margins in a given period are impacted by purchasing
crude C4 in one period and selling finished butadiene in a subsequent period during times of butadiene price volatility. As a result of
such month-to-month movements in the contract price of butadiene, our profit margins in 2021 reflected a positive butadiene pricing
impact of $4 million and our profit margins in 2020 reflected a negative butadiene pricing impact of $5 million, which resulted in a
favorable year-over-year impact on profit margins of $9 million.
      Performance Products segment cost of sales was $344.9 million for 2021 compared to $218.7 million for 2020. The $126.2
million, or 58%, increase reflected a 7% decrease in the sales volume discussed above and a 76% increase in the average cost of the raw
material component of the finished products sold. The higher average cost of raw materials was driven by increases in the average
price of butane, isobutane and methanol of 101%, 101% and 65%, respectively (see the table of commodity indices to which a substantial
portion of our Performance Products segment raw material costs are linked on page 17).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind

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the variations in overall average revenue per pound and average raw material cost per pound for 2021 compared to 2020.

     Operating Expenses

      Operating expenses incurred during 2021 were $221.6 million compared to $181.1 million incurred during 2020. The $40.5
million increase included higher manufacturing costs of $23.5 million (primarily driven by unplanned boiler and VCU outages as well
as the unplanned 1D-120 tower cleaning leading to unanticipated repair and maintenance costs and higher thermal oxidizer rental costs),
$20.1 million higher insurance costs primarily due to the PNO incident, $1.0 million higher sales and use taxes, and $2.9 million higher
incentive compensation and 401-K costs. This was partially offset by $5.2 million lower property taxes, as well as $1.8 million lower
employee benefits.

     General and Administrative Expenses

      General and administrative expenses for 2021 were $30.0 million versus $28.0 million for the prior year. The $2.0 million
increase consisted primarily of incentive compensation expense. This was partially offset by lower other administrative costs.

     Depreciation and Amortization

      Depreciation and amortization expenses were $75.5 million in 2021 compared to $74.2 million in 2020. The $1.3 million increase
included the following: (i) higher depreciation of $1.5 million, which in general varies due to the net impact of capital additions less
retirements and write-offs; (ii) higher turnaround and catalyst amortization of $2.7 million where Dehydro related costs drove a
significant portion of the increase and (iii) an offset of $2.9 million related to lower patent amortization, as the patent related to the
butadiene extraction process used at our Port Neches facility was fully amortized at the end of 2020.

     Loss (gain) on Port Neches Incident, net

      The year over year change from 2020 to 2021 was a gain of $198.6 million. This was primarily driven by a gain on proceeds
recovery for assets of $183.5 million offset by an estimate of unrecoverable property costs of $24.7 million. Costs incurred for liability
were adjusted down $3.9 million due to an overstatement of commercial claims. Environment, Defense, and Non-Recoverable costs
incurred during the year were lower by $35.9 million
     Business Interruption Insurance Recovery

      As of December 31, 2021, the Company had secured $99.7 million in business interruption insurance proceeds to reimburse for
lost profits. This amount is preliminary but is deemed a floor amount which allowed us to recognize the difference between this floor
amount and the previously recorded business interruption insurance proceeds of $12.1 million during the fourth quarter of 2021. Floor
amounts are $64.1 million for 2020, $25.5 million for first and second quarters of 2021, and $10.1 million for the third quarter 2021.
We expect to ultimately recover significantly more than the floor amount already recorded.

     COVID-19 Expenses

      The expenses of $0.7 million for 2021 and $1.9 million for 2020 represent the incremental expenses directly related to our response
to the COVID-19 pandemic.

     Interest Expense

      Interest expense for 2021 was $120.9 million compared to $112.9 million for 2020. The $8.0 million increase reflected an increase
of $15.2 million in interest on the 10.875% Notes which were issued in February 2021 and higher other net interest costs of $3.9 million
which includes $2.2 million higher ABL related interest expense. This was partly offset by $4.6 million lower interest on the New
Term Loan which was paid off with the proceeds of the 10.875% Notes and $6.5 million lower deferred financing amortization related
to the New Term Loan.
     Other, Net

     Other net expenses for 2021 included true ups for receipted amounts, business optimization expenses and other miscellaneous
immaterial income and expense items. Similarly, 2020 and 2019 both included various miscellaneous income and expense items, none
of which were individually significant.


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     Income Tax Expense (Benefit)

      The effective income tax expense (benefit) rates for 2021 and 2020 were 5.7% and 7.7%, respectively. The effective rates for
both periods reflected the federal statutory rate of 21% and state income taxes, net of federal benefit, adjusted for the impact of permanent
book/tax differences, the credit for increasing research activities and adjustments for prior year permanent book/tax differences that
were identified upon completion of the tax return for each year. The lower effective tax rate for 2021 reflected a decrease in the
valuation allowance to $25.0 million.
      Prior to recording the valuation allowance, we had a net deferred tax asset at December 31, 2021 of $25.0 million, which included
deferred tax assets of $143.1 million and deferred tax liabilities of $118.1 million. Based on an assessment of both positive and negative
evidence, we have concluded that it is more likely than not that the Company will not be able to realize the benefit of the deferred tax
assets recorded at December 31, 2021. In the event that the actual outcome of future tax consequences differs from management
estimates and assumptions, the resulting change to the provision for income taxes could have a material impact on the consolidated
results of operations and statements of financial position. Please refer to Note M Income Taxes.
      Our net taxable income for 2021 was $106.8 million, which reflects our pretax book income of $18.6 million which was increased
by taxable temporary differences of $19.9 million related to differences in book and tax treatment of insurance proceeds related to the
Port Neches incident and disallowed interest expense of $61.6 million. The pretax book income reflects the significant gain recognized
on insurance proceeds received from the Port Neches incident.

Year ended December 31, 2020 versus year ended December 31, 2019

     Revenue

      Total revenue for 2020 was $751.4 million compared to $1,464.9 million for 2019. The decrease of $713.5 million, or 49%,
reflected a 32% decrease in overall sales volume and a 25% decrease in average revenue per pound. The lower overall sales volume
reflected decreases for both the C4 Processing segment and the Performance Products segment. The lower overall average revenue per
pound reflected lower average selling prices for both operating segments. Variances in average selling prices for both operating
segments reflected variances in the commodity market indices to which a substantial portion of our finished product selling prices are
linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 15-16
and the table of commodity indices to which a substantial portion of selling prices are linked on page 17).
      C4 Processing segment revenue of $407.2 million for 2020 was down $515.0 million, or 56%, compared to 2019 revenue of $922.2
million. The lower revenue for 2020 reflected a 37% decrease in sales volume, which had a negative impact of $354 million, and a
30% decrease in average revenue per pound, which had a negative impact of $161 million. The decrease in sales volume for 2020
primarily reflected a combination of the loss of our crude C4 processing capacity resulting from the shutdown of our Port Neches facility
and customer demand impact from COVID, which would have been mitigated with connectivity to butadiene and raffinate customers
from our PNO location. Sales volume for 2019 was driven by strong demand for all products, and raffinate demand for alkylation by
our refinery customers was especially strong over the last three quarters of the year. The 30% decrease in average revenue per pound
for the segment reflected a 30% decrease in the average benchmark price for butadiene and a 33% decrease in average price of unleaded
regular gasoline (see the table of commodity indices to which a substantial portion of our C4 Processing segment selling prices are
linked on page 17).
      Performance Products segment revenue for 2020 was $344.2 million compared to $542.7 million for the prior year. The $198.5
million, or 37%, decrease in revenue reflected a 23% decrease in sales volume, which had a negative impact of $109 million, and a 17%
decrease in average revenue per pound, which had a negative impact of $90 million. The decrease in average revenue per pound
reflected decreases in the prices of isobutane and MTBE of 21% and 35%, respectively (see the table of commodity indices to which a
substantial portion of our Performance Products segment selling prices are linked on page 17). The lower sales volume was driven
primarily by weaker PIB demand due in large part to the global slowdown in new car sales. MTBE sales volume was down 28% which
reflected lower production volumes as we elected to move feedstock used for MTBE production into our raffinate business because of
significant margin erosion on MTBE and the effects of the 2020 first quarter turnaround.

     Cost of Sales

      Total cost of sales for 2020 was $519.1 million compared to $1,031.8 million for 2019. The significantly lower cost of sales in
the current year period reflected the overall decrease in sales volume discussed above and the substantial decline in the average cost of
raw materials included in the average cost of the finished products sold by both operating segments. Variances in raw material costs
for both operating segments reflected the variances in the commodity market indices to which a substantial portion of our raw material



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costs are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages
15-16 and the table of commodity indices to which a substantial portion of our raw material costs are linked on page 17).
      C4 Processing segment cost of sales for 2020 was $300.3 million versus $700.4 million for the prior year. The decrease reflected
the impact of the 37% decrease in sales volume discussed above and a 44% decrease in the average cost of the raw material component
of the finished products sold. The lower average cost of raw materials reflected decreases in the average benchmark price for butadiene
and the average price of unleaded regular gasoline of 30% and 33%, respectively (see the table of commodity indices to which a
substantial portion of our C4 Processing segment raw material costs are linked on page 17). As discussed above, in spite of the linkage
between the cost of crude C4 we purchase and the price at which we sell finished butadiene, our average raw material costs and profit
margins in a given period are impacted by purchasing crude C4 in one period and selling finished butadiene in a subsequent period
during times of butadiene price volatility. As a result of such month-to-month movements in the contract price of butadiene, our profit
margins in 2020 reflected a negative butadiene pricing impact of $5 million and our profit margins in 2019 reflected a negative butadiene
pricing impact of $8 million, which resulted in a favorable year-over-year impact on profit margins of $3 million.
      Performance Products segment cost of sales was $218.7 million for 2020 compared to $331.4 million for 2019. The $112.7
million, or 34%, decrease reflected a 23% decrease in the sales volume discussed above and a 19% decrease in the average cost of the
raw material component of the finished products sold. The lower average cost of raw materials reflected decreases in the average price
of butane, isobutane and methanol of 10%, 21% and 13%, respectively (see the table of commodity indices to which a substantial portion
of our Performance Products segment raw material costs are linked on page 17).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in overall average revenue per pound and average raw material cost per pound for 2020 compared to 2019.

     Operating Expenses

      Operating expenses incurred during 2020 were $181.1 million compared to $179.9 million incurred during 2019. The $1.2 million
increase included $19 million higher insurance costs primarily due to the PNO incident, $2.3 million higher sales and use taxes, $1.2
million higher property taxes, as well as $0.8 million higher employee benefits. This was partially offset by lower fixed supply chain
expenses of $3.9 million, lower 401-K and incentive compensation costs of $7.6 million, $10.1 million lower manufacturing overhead
costs and $0.5 million lower selling costs. Lower manufacturing costs of $10.1 million included $13.7 million lower PNO facility costs
and $1.4 million lower support group costs, partially offset by higher maintenance expenses which included inspections and repairs.
The lower fixed supply chain expenses largely reflected lower pipeline repair and inspection expenses.

     General and Administrative Expenses

     General and administrative expenses for 2020 were $28.0 million versus $28.7 million for the prior year. The $0.7 million
decrease consisted primarily of lower personnel-related expenses.

     Depreciation and Amortization

      Depreciation and amortization expenses were $74.2 million in 2020 compared to $81.0 million in 2019. The $6.8 million decrease
reflected lower depreciation of $3.8 million and lower turnaround amortization of $4.5 million partly offset by higher catalyst
amortization of $1.5 million. The $3.8 million decrease in depreciation expense primarily represents a $4.7 million decrease in certain
technology assets that were fully depreciated in early 2020 offset by $0.9 million increase in deprecation for assets put into service in
2020. In general, depreciation expense varies due to the net impact of capital additions less retirements and write-offs. The $4.5
million net decrease in turnaround amortization reflects the lower dehydro turnaround amortization as a result of the lower total
turnaround cost of the unit’s third scheduled turnaround during the first quarter of 2020. In addition, the write-off of deferred turnaround
costs related to the Port Neches incident in the fourth quarter of 2019, lowered the turnaround amortization in future periods.

     Loss on Port Neches Incident, net

      For the current year, the $50.1 million loss related to the Port Neches incident (discussed on pages 12-14) reflected $129.4 million
in losses and incurred costs offset by $79.3 million of insurance proceeds. The net amount of $50.1 million included estimated liability
claims expected to be in excess of our liability insurance coverage of $3.1 million. Additionally, the net amount of response cost losses
of $47.2 million represents costs incurred directly related to the ongoing incident response and cleanup activities for which insurance
coverage was not considered probable or costs were in excess of certain insurance coverage limitations.



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       For the prior year, the comparative loss related to the Port Neches incident (discussed on pages 12-14) was $91.9 million. This
loss reflected the amount of asset write-offs and costs incurred as a direct result of the Port Neches incident, net of insurance
reimbursement received and for which future receipt was considered to be probable. The net loss consisted of $19.0 million for the
write-off of deferred turnaround costs related to the Port Neches site, insurance deductibles of $11.1 million, and estimated third-party
liability claims expected to be in excess of insurance policy coverage of $61.8 million.

     Business Interruption Insurance Recovery

      The $12.1 million of business interruption insurance recovery represents the amount received on our PNO incident business
interruption claim.

     COVID-19 Expenses

     The expense of $1.9 million represents the incremental expenses directly related to our response to the COVID-19 pandemic.

     Interest Expense

      Interest expense for 2020 was $112.9 million compared to $101.7 million for 2019. The $11.2 million increase primarily reflected
the impact of the refinancing of our debt on August 2, 2019 and consisted of a net increase in interest expense on the 10.5% Notes
compared to the 8.75% Notes of $7.4 million, an increase in interest expense on the New Term Loan of $3.7 million and higher net
other interest expense of $0.4 million which included interest on the financing of insurance premiums. This was partially offset by
lower interest on the ABL facility of $0.3 million.
      The $7.4 million higher interest on the Notes reflected $13.5 million higher interest, partially offset by $6.1 million lower deferred
financing and discount costs versus prior year. The $3.7 million higher interest on the Old Term Loan included $1.8 million higher
interest and $1.9 million higher deferred financing cost amortization in conjunction with the refinancing of this loan on February 3,
2020.

     Other, Net

     Other than refinancing optimization expenses in 2019 of $0.5 million, both the current and prior year amounts included various
miscellaneous income and expense items, none of which were individually significant.

     Income Tax Benefit

      The effective income tax benefit rates for 2020 and 2019 were 7.7% and 19.8%, respectively. The effective rates for both periods
reflected the federal statutory rate of 21% and state income taxes, net of federal benefit, adjusted for the impact of permanent book/tax
differences, the credit for increasing research activities and adjustments for prior year permanent book/tax differences that were
identified upon completion of the tax return for each year. The lower effective benefit rate for 2020 reflected the establishment of a
$27.7 million valuation allowance.
      Prior to recording the valuation allowance, we had a net deferred tax asset at December 31, 2020 of $27.7 million, which reflected
deferred tax assets of $153.7 million and deferred tax liabilities of $126.0 million. Based on assessment of both positive and negative
evidence, we have concluded that it is more likely than not that the Company will not be able to realize the benefit of the deferred tax
assets recorded at December 31, 2020. In the event that the actual outcome of future tax consequences differs from management
estimates and assumptions, the resulting change to the provision for income taxes could have a material impact on the consolidated
results of operations and statements of financial position. Please refer to Note M Income Taxes.
      Our net operating loss for 2020 was $9.0 million, which reflects our pretax book loss of $203.9 million which was substantially
offset by taxable temporary differences of $135.1 million related to differences in book and tax treatment of insurance proceeds related
to the Port Neches incident and disallowed interest expense of $69.5 million. The book pretax loss reflects the significant loss of
production and distribution capability resulting from the Port Neches incident as well as the negative impact of COVID-19 on demand
for our products and the overall economy.




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Liquidity and Capital Resources

     Net Debt and Liquidity

     As of December 31, 2021, our financing arrangements consisted primarily of the 10.875% Notes, the 10.5% Notes and our ABL
Credit Facility. In addition, we financed our 2021 insurance renewal premiums through Aon Premium Finance LLC, an affiliate of our
Broker, Aon PLC.
      At December 31, 2021, we had total long-term debt of $1,181.5 million (including deferred financing costs of $13.3 million and
debt discount of $2.2 million), which consisted of the 10.875% Notes of $153.0 million and the 10.5% Notes of $930.0 million. Cash
on hand was $159.3 million (excluding $3.2 million of restricted cash) and we had no short-term money market investments (with
maturities of less than three months) or short-term investments (with original maturities between 90 days and one year).
     As of December 31, 2021, we had $114 million in borrowings outstanding on the ABL and the combined ABL Revolver and ABL
FILO borrowing bases were insufficient to support additional borrowings. As of December 31, 2021, we were in compliance with all
covenants set forth in the Indentures governing the 10.875% Notes and the 10.5% Notes.
      We did not have additional borrowing capacity under the ABL at December 31, 2021, therefore cash on hand reflected total
liquidity of $159.3 million (excluding restricted cash) at December 31, 2021.

     New Term Loan

      On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provided for a delayed draw term loan of up to $70.0 million and a term of one-year. Availability
under the Term Loan was limited to a maximum of four draws with a minimum of $5.0 million per draw. Subject to certain exceptions,
the Company’s obligations with respect of the Term Loan were secured by liens on and security interests in all collateral securing the
10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment with those liens and security interests
granted pursuant to the 10.5% Indenture. On March 18, 2020, we drew on the facility and received $70.0 million less a 1% original
issue discount fee. In May 2020 the lenders agreed to grant the Company the option to extend the maturity date to August 5, 2021.
This loan was repaid on February 2, 2021 with some of the proceeds received from issuance and sale of the 10.875% Notes.

     ABL Facility

     The ABL Facility is available on a revolving basis to finance our working capital needs and for general corporate purposes. The
ABL Facility was composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” revolving
tranche (the ABL FILO) when amended and restated on August 2, 2019. Commitments under the ABL FILO reduce, and commitments
under the ABL Revolver equally and simultaneously increase, by $2.5 million on each of the first three anniversaries of the August 2,
2019 amendment and restatement.
        The credit agreement governing the ABL Facility contains covenants that impose restrictions on, among other things, additional
indebtedness, liens, investments, advances, guarantees and mergers and acquisitions. These covenants also place restrictions on asset
sales, sale and leaseback transactions, dividends, payments between us and our subsidiaries and certain transactions with affiliates
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.

     On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.5% Notes

      The 10.5% Notes were issued on August 2, 2019 in conjunction with the refinancing of our debt. The net proceeds from the
issuance of the 10.5% Notes were $918.3 million after underwriters and other fees and expenses of $11.7 million. The net proceeds

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from the issuance of the 10.5% Notes were used to redeem and pay accrued interest due on the 8.75% Notes of $816.2 million, to repay
the outstanding loan balance and pay accrued interest due on the Old Term Loan of $50.3 million and to repay the outstanding loan
balance and pay accrued interest due on the ABL of $35.9 million.
     The 10.5% Notes are due August 1, 2024 and interest is paid semi-annually in arrears on February 1 and August 1.
      The 10.5% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.
     On February 2,2021 the 10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875%
Notes and to make certain other changes to certain covenants contained therein.

     10.875% Notes

       On February 2, 2021 TPCGI issued and sold $153 million aggregate principal amount of 10.875% Notes to certain holders of the
10.5% Notes. The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by
all of the Company’s existing or future direct and indirect domestic subsidiaries, other than certain excluded subsidiaries (collectively,
the “Subsidiary Guarantors”).
      The net proceeds from the offering were used to repay and terminate the $70 million New Term Loan, to pay all fees and expenses
related to the transactions and for general corporate purposes. Interest on the 10.875% Notes began accruing on the issue date and is
payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each year, commencing on May 1, 2021. The 10.875
% Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness and
the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes are effectively subordinated to the ABL
Facility and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by assets or properties not
constituting collateral securing the 10.5% Notes to the extent of the value of such assets and properties. The 10.875% Indenture contains
certain covenants, agreements and events of default which are customary with respect to non-investment grade debt securities, including
limitations on our ability to incur additional indebtedness, pay dividends on or make other distributions or repurchase our capital stock,
make certain investments, enter into certain types of transactions with affiliates, create liens, sell certain assets or merge with or into
other companies.

     Insurance Premium Financing

      As of December 31, 2021, we have $14.4 million of the insurance premiums we financed through Aon Premium Finance LLC.
The first down payment and the first installment were paid in July 2021 and the remainder is payable in monthly installments following
the applicable renewal date through March of 2022.

      Sources and Uses of Cash

      Our principal sources of liquidity are our existing cash and cash equivalents, short-term investments, cash generated from
operations and borrowings under our ABL. In addition to these sources, another source of liquidity over the near-term will be insurance
proceeds received under our various insurance policies, including our property damage and business interruption policies. Business
interruption coverage became effective on January 12, 2020 after the forty-five-day deductible period and from that date on will replace
the earnings the Port Neches plant would have contributed except as a result of the explosion incident on November 27, 2019 that shut
down the plant. The timing of receipt of the additional insurance proceeds under our policies is uncertain at this time. We may also,
from time to time, generate cash from opportunistic sales of non-core assets. Our principal uses of cash are to provide working capital,
meet debt service requirements, fund capital expenditures and finance our strategic plans, including possible acquisitions. We may also
seek to finance our capital expenditures under capital leases or other debt arrangements that provide liquidity or favorable borrowing
terms. Our business may not generate sufficient cash flows from operations and future borrowings under our ABL Facility may not be
available to us in an amount sufficient to enable us to pay our indebtedness or to fund our other liquidity needs. Our ability to generate
sufficient cash depends on, among other factors, prevailing economic conditions, many of which are beyond our control. In addition,
upon the occurrence of certain events, such as a change in control, we could be required to repay or refinance our indebtedness. Any
future acquisitions, joint ventures or other similar transactions may require additional capital and there can be no assurance that any
such capital will be available to us on acceptable terms or at all.
     We are currently engaged in discussions with our stakeholders, including our lenders and noteholders and their advisors and other
economic stakeholders, regarding optimizing our capital structure. In connection with these discussions, on February 3, 2022, the
Company entered into a forbearance agreement with a group representing nearly 90% of the Company’s 10.875% Notes and

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approximately 80% of the Company’s 10.5% Notes (the “Ad Hoc Group”). The Company did not make approximately $53 million in
total interest payments due on the 10.875% Notes and the 10.5% Notes on February 1, 2022; the payments are subject to a 30-day grace
period. Under the forbearance agreement, the Ad Hoc Group agreed to forbear from exercising remedies relating to the event of default
that will occur if the Company does not make the February 1 coupon payments within the 30-day grace period. The forbearance
agreement was initially effective until March 18, 2022 but was extended until April 18, 2022 on March 16th and may be further extended
by the Ad Hoc Group. In connection with the forbearance agreement, the Ad Hoc Group also agreed to provide the Company with
approximately $52 million of additional liquidity in the form of a commitment to purchase additional 10.875% senior secured priming
notes due 2024 (the “Additional Notes”). On March 2, 2022 and March 11, 2022, TPC Group Inc. issued the additional 10.875% Senior
Secured Notes due 2024. Proceeds from the sale of the Additional Notes will be used to support ongoing operations and to pay fees
and expenses associated with the transaction. As discussed in Note D Going Concern to our Audited Consolidated Financial Statements
included in this Annual Report, if we do not have sufficient liquidity from cash flow, proceeds from the Additional Notes, ABL
availability and proceeds from insurance policies to conduct our business operations in future periods, we may be required, but unable,
to refinance all or part of our existing debt, seek additional covenant relief from our lenders, sell assets, incur additional indebtedness,
or issue equity on terms acceptable to us, if at all. Therefore, our ability to continue our planned principal business operations would
be dependent on the actions of our lenders or obtaining additional debt and/or equity financing to repay outstanding indebtedness secured
notes and ABL. These factors raise substantial doubt about our ability to continue as a going concern.
      In connection with the forbearance agreement, the Ad Hoc Group also agreed to provide the Company with approximately $52
million of additional liquidity in the form of a commitment to purchase additional 10.875% Notes, which amounts were funded in March
2022. See Note R Subsequent Events to our Audited Consolidated Financial Statements included in this Annual Report for further
information.
      Our liquidity requirements will be significant primarily due to the annual debt service requirements on the 10.5% Notes, which
are estimated to be $97.7 million, annual debt service requirements on the 10.875% Notes, which are approximately $16.6 million, our
baseline capital expenditures, which fall within the range of $70 to $80 million per year but were $111.6 million in 2021 and forecast to
be approximately $107.5 million in 2022, our turnaround and catalyst costs, which would typically be in the range of $20 to $30 million
in years we do not perform a dehydro unit turnaround and $35 to $40 million in years we do perform a dehydro unit turnaround, and
cash requirements related to the Port Neches incident in advance of insurance recoveries or in excess of insurance coverage limits.
      As market conditions warrant and subject to the Company’s contractual restrictions and liquidity position, we, our affiliates and/or
our equity holders, including the Sponsors and their affiliates, may from time to time repurchase the Company’s outstanding debt
securities in privately negotiated or open market transactions, by tender offer or otherwise. If in the future we should decide to engage
in such transactions, any such purchases may be funded by incurring new debt, including borrowings under our ABL. Any new debt
may also be secured debt. We may also use available cash on our balance sheet or new equity capital. The amounts involved in any
such transactions, individually or in the aggregate, may be material. Further, any such purchases may result in us acquiring and retiring
a substantial amount of the 10.875% Notes or the 10.5% Notes, with the attendant reduction in the trading liquidity of any such Notes.

     Cash Flow Summary

     The following table summarizes changes in cash and cash equivalents for the periods indicated (in thousands):

                                                                               Year Ended December 31,
                                                                 2021                   2020                    2019
               Cash flows provided by (used in):
                Operating activities                      $           66,424      $         (88,865)     $         117,354
                Investing activities                                (111,637)               (55,889)               (53,957)
                Financing activities                                 189,322                 78,047                 20,767
               Change in cash and cash equivalents        $          144,109      $         (66,707)     $             84,164


     Operating Activities

      For the year ended December 31, 2021, net cash provided by operating activities was $66.4 million. Net income of $17.5 million,
depreciation and amortization of $75.5 million, amortization of debt issuance costs of $8.2 million, write-off of capital projects of $2.3
million and a decrease in working capital of $16.3 million was partially offset by deferred turnaround and catalyst costs of $17.0
million, deferred income tax of $0.4 million and $36.0 million of non-cash expenses related to the Port Neches incident.
     Trade accounts receivable were $126.6 million at December 31, 2021 compared to $73.4 million at December 31, 2020. The
$53.2 million increase primarily reflected higher revenue of $537.6 million in December 2021 compared to December 2020 and an

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increase in the days outstanding from 29 days at December 31, 2020 to 31 days at December 31, 2021. Trade accounts receivable were
99% current at both December 31, 2021 and 2020.
      Our inventory at December 31, 2021 was $74.5 million compared to $45.4 million at December 31, 2020. The increase of $29.1
million reflected a 79% increase in overall average cost per pound, which accounted for $32.8 million of the increase, and a 9% decrease
in physical inventory volumes, which accounted for an offset of $3.7 million. The increase in average cost per pound was driven
primarily by a 116% increase in the benchmark price of butadiene comparing the prices for December 2021 to December 2020.
      For the year ended December 31, 2020, net cash used in operating activities was $88.9 million. The net loss of $188.2 million,
deferred turnaround and catalyst costs of $28.0 million, deferred income tax benefit of $13.6 million and an increase in working capital
of $6.6 million were partially offset by non-cash expenses of $147.5 million. Non-cash expenses consisted of depreciation and
amortization of $74.1 million, amortization of debt issuance costs of $8.4 million and non-cash expenses related to the Port Neches
incident of $65.0 million.
      For the year ended December 31, 2019, net cash generated from operating activities was $117.4 million. The net loss of $41.5
million, deferred income tax benefit of $8.7 million and deferred plant turnaround and catalyst costs of $29.6 were more than offset by
non-cash expenses of $164.8 million and a $32.4 million decrease in working capital. Non-cash expenses consisted of depreciation
and amortization of $81.0 million, amortization and write-off of debt issuance costs of $12.5 million and non-cash expenses related to
the Port Neches incident of $71.3 million.

     Investing Activities

      During 2021, 2020, and 2019 we invested $111.6 million, $55.9 million, and $54.0 million, respectively, in the form of capital
expenditures, which consisted primarily of baseline spending. In addition to baseline capital investment, 2021 included operational
improvements to the steam system, 2020 included replacing capacity due to the volumes lost as a result of the Port Neches incident, and
2019 included infrastructure improvements in preparation for the increased crude C4 supply from the new ethylene crackers coming on
line.

     Financing Activities

      Cash of $189.3 million was generated in 2021 from net borrowings on the 10.875% Notes of $144.0 million, net borrowings on
the ABL facility of $114.0 million, and $1.3 million in net borrowings to finance our insurance premiums. These amounts were partially
offset by the repayment of the term loan of $70.0 million.

      Net cash generated from financing activities in 2020 was $78.0 million, which consisted of $69.3 million from net borrowings on
the New Term Loan and net borrowings to finance our insurance premiums of $13.0 million. These amounts were partially offset by
debt issuance costs of $4.3 million.

      Net cash generated from financing activities in 2019 was $20.8 million, which consisted of $35.0 million of net borrowings due
to the refinancing on August 2, 2019 and the related debt issuance costs of $14.0 million.

     Off-Balance-Sheet Arrangements

      We do not currently utilize any off-balance-sheet arrangements to enhance our liquidity and capital resource positions, or for any
other purpose.

Critical Accounting Policies and Estimates

      In preparing our financial statements in conformity with accounting principles generally accepted in the United States of America,
we make certain estimates and assumptions about future events that could significantly affect the amounts of reported assets, liabilities,
revenues and expenses, as well as the disclosure of contingent assets and liabilities in the financial statements and accompanying notes.
Some of our accounting policies require the application of significant judgment by management to select the appropriate assumptions
to determine these estimates. By their nature, these judgments are subject to an inherent degree of uncertainty; therefore, actual results
may differ significantly from estimated results. We base our judgments on our historical experience, knowledge of the business and
industry, advice from experts and consultants, business forecasts and other available information, as appropriate.
      Our most critical accounting policies, which reflect significant management estimates and judgment to determine amounts reported
in our consolidated financial statements, are as follows:



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     Inventory Cost

      Our inventories consist of raw materials and finished products and are valued at the lower of average cost or net realizable value.
Costs of finished products include raw materials, energy, labor and manufacturing overhead. We may enter into product exchange
agreements with suppliers and customers for raw materials and/or finished goods in the normal course of business. Under these
arrangements we deliver product volumes to the exchange partner to be delivered in-kind back to us or receive product volumes to be
delivered in-kind by us to the exchange partner in the future, generally in the short term. Product exchanges typically benefit both
parties from a logistical perspective and provide for additional flexibility regarding both receipt of raw materials from suppliers and
delivery of finished goods to customers. Exchange balances due to or from exchange partners are recorded in inventory at the lower of
average cost or net realizable value and do not impact the consolidated statements of operations and comprehensive income, as they are
recognized at the carrying amount. Our inventory levels can vary significantly depending on availability of raw materials, especially
crude C4, plant operations, customer demand and seasonality. In addition to potential fluctuations in the amounts of physical
inventories we carry, we can be exposed to potential devaluations in net realizable value of our inventories, especially our fuel-related
products, during periods of rapidly declining unleaded regular gasoline prices and demand for fuel-additive products. A significant
amount of judgment is required to determine the appropriate normal range of plant production activity and plant operating expenses
regarding plant overhead cost absorption and to determine the appropriate market valuation of inventories to assess recoverability of the
carrying cost of our inventory. Use of different estimates and assumptions to determine the appropriate amounts of overhead absorption
and market value for inventory valuation purposes, when such market is below cost, could have a significant impact on our financial
condition and results of operations from period to period.

      The average cost of our inventory at the end of any period reflects the carrying cost of raw materials and finished goods inventory
on hand at the beginning of the period and the actual cost of raw material purchases and finished goods production during the period.
The actual costs of most of our raw materials are based on contractual arrangements which, in various ways, link the purchase costs to
a commodity price index. Downward movement in commodity price indices between the times raw materials are purchased and the
related finished products are sold can result in reductions in realizable value of the inventory prior to the sale of our finished products.
Such reductions in realizable value can occur despite the index-based pricing in our contracts, because the effect of using matching
indices is lessened when we do not purchase the feedstock and sell the finished product in the same period. If it is determined at the
balance sheet date that the carrying value of the inventory will not be recovered based on management’s best estimates and assumptions
regarding inventory turnover rates and future selling prices, the carrying value of the inventory is written down to net realizable value
through lower of cost or net realizable value adjustments.

     Plant Turnaround Costs

       We use the deferral method to account for costs of major scheduled plant turnarounds. Plant turnarounds are scheduled and
require partial or complete shutdowns of chemical processing units for significant overhaul and refurbishment, for periods typically
lasting from two to four weeks. Under the deferral method, we defer the cost of a turnaround project and amortize the cost over the
period between the completion of the turnaround and the next scheduled turnaround, which typically occurs from three to five years
after the most recently completed turnaround. If the next scheduled turnaround occurs sooner than originally anticipated, any remaining
deferred cost from the previous turnaround is charged to expense at that time. If the next scheduled turnaround occurs later than
originally anticipated, the amortization period for the previous turnaround cost is not extended. The deferral method of accounting for
turnaround costs requires judgment as to the specific costs to be included in a major turnaround project and requires estimates and
assumptions regarding the period of time over which the costs will be amortized. Use of different estimates and assumptions could
have a significant impact on our financial condition and results of operations from period to period.

     Income Tax Assets and Liabilities

      We account for income taxes in accordance with ASC 740, Income Taxes. Determination of tax related assets and liabilities to
be recorded and the appropriate recognition of tax positions taken on tax returns requires a significant amount of judgment. Regarding
realization of our deferred tax assets and the need for a valuation allowance against deferred tax assets at each balance sheet date, we
consider both positive and negative evidence of sufficient taxable income within the carry-back and/or carry-forward periods as provided
under applicable tax law. Based on our significant net deferred tax asset position and future reversals of existing taxable temporary
differences, as well as our historical operating results, we have concluded that a valuation allowance should be recorded for the entire
amount of the deferred tax asset. Regarding assessment of taxable income exclusive of reversing temporary differences and carry-
forwards, we consider both our recent historical operating results, as well as our expectations of future operating results; however,
historical results are given more weight than our expectations of future profitability, which is inherently uncertain.




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     Revenue Recognition

      We recognize revenue in accordance with ASC 606, Revenue from Contracts with Customers. We adopted ASC 606 as of January
1, 2019 and applied the modified retrospective transition method to all contracts not completed as of the adoption date. The new
revenue recognition standard provides a five-step analysis of transactions to determine when and how revenue is recognized. The
premise of the guidance is that a company should recognize revenue to depict the transfer of promised goods or services to customers
in an amount that reflects the consideration to which the entity expects to be entitled in exchange for those goods or services. The
impact of the new standard on our consolidated financial statements was immaterial.

     Contingent Liabilities

       We record reserves for contingent liabilities when information available indicates that a loss is probable, and the amount of the
loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment may be subject to the
uncertainty of dispute resolution or litigation. Contractual arrangements with our customers and suppliers are typically complicated
and can include, for example, complex index-based pricing formulas that determine the price for our feedstocks or finished products.
Due to the complicated nature of our contractual arrangements, we can, from time to time, be involved in disputes with our customers
and suppliers regarding the interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the
normal course of our business, seldom result in actual formal litigation and are typically resolved in the context of the broader
commercial relationship that we have with the customer or supplier. Regarding any such disputes, we record reserves for contingent
liabilities when information available indicates that a loss is probable, and the amount of the loss is reasonably estimable.

     Benefit Plans

       We sponsor a noncontributory defined benefit pension plan for approximately 91 union-represented employees at our Port Neches
facility. The actuarial determination of the projected benefit obligation and related benefit expense requires certain assumptions,
including discount rate, expected return on plan assets, rate of future compensation increases and mortality rates. These assumptions
require considerable judgment and can have a significant impact on the amount of the obligation and periodic expense recognized.

Recent Accounting Developments

     Accounting Guidance Issued but Not Yet Adopted as of December 31, 2021

      Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company has evaluated its population of leases and is
continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting for
logistics equipment (barge and terminal leases). The Company expects to recognize operating lease liabilities of approximately $166
million and corresponding right-of-use assets of approximately $157 million with the difference recognized as a benefit to retained
earnings over the life of the leases
      Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management, in discussion with our tax consultants, have concluded that changes required by the new standard will not impact the
Company's financial statements and related tax disclosures.




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                     CONSOLIDATED FINANCIAL STATEMENTS



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                                                                                Grant Thornton LLP
REPORT OF INDEPENDENT CERTIFIED PUBLIC ACCOUNTANTS                              700 Milam Street, Suite 300
                                                                                Houston, TX 77002
                                                                                T 832.476.4600
                                                                                F 713.655.8741
Board of Managers of Sawgrass Holdings GP LLC
Board of Directors and Stockholders of TPC Group Inc. and Subsidiaries

Opinion
We have audited the accompanying consolidated financial statements of TPC Group Inc.
(a Delaware corporation) and subsidiaries (the “Company”), which comprise the
consolidated balance sheets as of December 31, 2021 and 2020, and the related
consolidated statements of operations and comprehensive income (loss), changes in
stockholder’s deficit, and cash flows the three years then ended, and the related notes to
the financial statements.

In our opinion, the accompanying consolidated financial statements present fairly, in all
material respects, the financial position of the Company as of December 31, 2021 and
2020, and the results of its operations and its cash flows for the three years then ended in
accordance with accounting principles generally accepted in the United States of America.

Basis for opinion
We conducted our audits of the consolidated financial statements in accordance with
auditing standards generally accepted in the United States of America (US GAAS). Our
responsibilities under those standards are further described in the Auditor’s
Responsibilities for the Audit of the Financial Statements section of our report. We are
required to be independent of the Company and to meet our other ethical responsibilities
in accordance with the relevant ethical requirements relating to our audits. We believe that
the audit evidence we have obtained is sufficient and appropriate to provide a basis for our
audit opinion.

Substantial doubt about the company’s ability to continue as a going concern
The accompanying consolidated financial statements have been prepared assuming that
the Company will continue as a going concern. As discussed in Note D to the financial
statements, the Company’s assessment of forecasted cash flow and available liquidity for
2022 includes significant insurance receipts, the amount and timing of which is uncertain
and largely outside the Company’s control, the Company failed to make their February 1,
2022 coupon payments causing an event of default on their Notes and has stated that
substantial doubt exists about the Company’s ability to continue as a going concern.
Management’s evaluation of the events and conditions and management’s plans regarding




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these matters are also described in Note D. The consolidated financial statements do not
include any adjustments that might result from the outcome of this uncertainty. Our opinion
is not modified with respect to this matter

Responsibilities of management for the financial statements
Management is responsible for the preparation and fair presentation of the consolidated
financial statements in accordance with accounting principles generally accepted in the
United States of America, and for the design, implementation, and maintenance of internal
control relevant to the preparation and fair presentation of consolidated financial
statements that are free from material misstatement, whether due to fraud or error.

In preparing the consolidated financial statements, management is required to evaluate
whether there are conditions or events, considered in the aggregate, that raise substantial
doubt about the Company’s ability to continue as a going concern for one year after the
date the financial statements are issued.

Auditor’s responsibilities for the audit of the financial statements
Our objectives are to obtain reasonable assurance about whether the consolidated
financial statements as a whole are free from material misstatement, whether due to fraud
or error, and to issue an auditor’s report that includes our opinion. Reasonable assurance
is a high level of assurance but is not absolute assurance and therefore is not a guarantee
that an audit conducted in accordance with US GAAS will always detect a material
misstatement when it exists. The risk of not detecting a material misstatement resulting
from fraud is higher than for one resulting from error, as fraud may involve collusion,
forgery, intentional omissions, misrepresentations, or the override of internal control.
Misstatements are considered material if there is a substantial likelihood that, individually
or in the aggregate, they would influence the judgment made by a reasonable user based
on the consolidated financial statements.


In performing an audit in accordance with US GAAS, we:


    •   Exercise professional judgment and maintain professional skepticism throughout
        the audit.
    •   Identify and assess the risks of material misstatement of the consolidated financial
        statements, whether due to fraud or error, and design and perform audit
        procedures responsive to those risks. Such procedures include examining, on a
        test basis, evidence regarding the amounts and disclosures in the financial
        statements.
    •   Obtain an understanding of internal control relevant to the audit in order to design
        audit procedures that are appropriate in the circumstances, but not for the purpose
        of expressing an opinion on the effectiveness of the Company’s internal control.
        Accordingly, no such opinion is expressed.


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                     •       Evaluate the appropriateness of accounting policies used and the reasonableness
                             of significant accounting estimates made by management, as well as evaluate the
                             overall presentation of the consolidated financial statements.
                     •       Conclude whether, in our judgment, there are conditions or events, considered in
                             the aggregate, that raise substantial doubt about the Company’s ability to continue
                             as a going concern for a reasonable period of time.


               We are required to communicate with those charged with governance regarding, among
               other matters, the planned scope and timing of the audit, significant audit findings, and
               certain internal control–related matters that we identified during the audit.




             Houston, Texas
             March 24, 2022




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                                                    CONSOLIDATED BALANCE SHEETS
                                                (In thousands, except share and per share amounts)


                                                                                                            December 31,
                                                                                                     2021                  2020
                                                      ASSETS
          Current assets:
           Cash and cash equivalents                                                             $    159,313       $        18,452
           Restricted cash                                                                              3,248                   -
           Trade accounts receivable                                                                  126,645                73,447
           Insurance receivable - Port Neches incident                                                  3,402                23,289
           Inventories                                                                                 74,487                45,435
           Other current assets                                                                        41,371                41,123
                  Total current assets                                                                408,466               201,746
          Property, plant and equipment, net                                                          755,390               703,273
          Intangible assets, net                                                                        3,880                 3,880
          Other assets, net                                                                            55,521                55,850
                  Total assets                                                                   $   1,223,257      $       964,749
                              LIABILITIES AND STOCKHOLDER'S DEFICIT
          Current liabilities:
           Accounts payable                                                                      $    208,561       $       113,092
           Accrued liabilities                                                                         94,456                92,635
           Short-term debt                                                                             14,424                13,098
           Accrued liabilities - Port Neches incident                                                  34,907                90,262
                  Total current liabilities                                                           352,348               309,087
          Long-term debt, net of deferred financing costs                                            1,181,528              985,321
                  Total liabilities                                                                  1,533,876             1,294,408
          Commitments and contingencies
          Stockholder's equity (deficit):
            Common stock, $0.01 par value, 2,000 shares authorized,
              1,030 issued and outstanding                                                                -                     -
            Additional paid-in capital                                                                478,314               478,314
            Accumulated deficit                                                                      (787,774)             (805,312)
            Accumulated other comprehensive loss                                                       (1,159)               (2,661)
                  Total stockholder's deficit                                                        (310,619)             (329,659)
                  Total liabilities and stockholder's deficit                                    $   1,223,257      $       964,749




The accompanying notes are an integral part of these consolidated financial statements.




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             CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE INCOME (LOSS)
                                                               (In thousands)


                                                                                           Year Ended December 31,
                                                                                      2021          2020           2019
 Revenue                                                                         $    1,289,046     $   751,390     $   1,464,926
 Cost of sales (excludes items listed below)                                          1,005,322         519,063         1,031,833
 Operating expenses                                                                     221,556         181,059           179,936
 General and administrative expenses                                                     29,981          27,970            28,695
 Depreciation and amortization                                                           75,503          74,155            81,002
 Loss on Port Neches incident, net of insurance recovery                                 34,988          50,141            91,895
 Net gain on asset disposal                                                            (183,465)            -                 -
 Business interruption insurance recovery                                               (87,592)        (12,100)              -
 Freeze event                                                                            40,293             -                 -
 Tech Center event                                                                        7,401             -                 -
 Capital projects write off                                                               2,287             -                 -
 COVID-19 expenses                                                                          726           1,896               -
 Income (loss) from operations                                                            142,046        (90,794)         51,565
 Other (income) expense:
  Interest expense                                                                        120,980       112,933          101,729
  Other, net                                                                                2,476           182            1,565
 Income (loss) before income taxes                                                         18,590       (203,909)         (51,729)
 Income tax expense (benefit)                                                               1,052        (15,745)         (10,238)
 Net income (loss)                                                                         17,538       (188,164)         (41,491)

 Change in funded status of defined benefit plan, net of tax
  effect of ($399), ($323) and $352, respectively                                           1,502          1,216           (1,325)
 Comprehensive income (loss)                                                     $         19,040   $   (186,948)   $     (42,816)




The accompanying notes are an integral part of these consolidated financial statements.




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                                               CONSOLIDATED STATEMENT OF STOCKHOLDER’S DEFICIT
                                                                        (In thousands)

                                                                                                                          Accumulated
                                                                                      Additional                             Other
                                                       Common Stock                    Paid-in           Accumulated     Comprehensive        Total
                                                      Shares     Amount                Capital             Deficit       Income (Loss)        Deficit

 Balances - December 31, 2018                                  1         -                478,461            (575,657)          (2,552)         (99,748)

 Net loss                                                  -             -                     -              (41,491)             -            (41,491)
 Return of equity contributions                            -             -                   (141)                -                -                (141)
 Change in funded status of defined
  benefit plan, net of tax benefit of $352                 -             -                     -                  -             (1,325)           (1,325)

 Balances - December 31, 2019                                  1             -            478,320            (617,148)          (3,877)        (142,705)

 Net loss                                                  -             -                     -             (188,164)             -           (188,164)
 Return of equity contributions                            -             -                         (6)            -                -                    (6)
 Change in funded status of defined
  benefit plan, net of tax expense of ($323)               -             -                     -                  -              1,216            1,216

 Balances - December 31, 2020                                  1    $    -       $        478,314        $   (805,312)   $      (2,661)   $    (329,659)

 Net income                                                -             -                     -              17,538               -             17,538
 Change in funded status of defined
  benefit plan, net of tax expense of ($399)               -             -                     -                  -              1,502            1,502

 Balances - December 31, 2021                                  1    $    -       $        478,314        $   (787,774)   $      (1,159)   $    (310,619)




The accompanying notes are an integral part of this consolidated financial statement.




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                                          CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                                      (In thousands)


                                                                                                      Year Ended December 31,
                                                                                           2021                2020           2019

               Cash flows from operating activities:
                Net income (loss)                                                      $     17,538        $   (188,164)    $    (41,491)
                Adjustments to reconcile net income (loss) to cash flows provided
                   by operating activities:
                  Depreciation                                                               48,577              47,075           50,931
                  Turnaround amortization                                                    19,656              17,851           22,353
                  Catalyst amortization                                                       7,270               6,341            4,831
                  Patent amortization                                                           -                 2,888            2,887
                  Port Neches incident, net of cash expense                                 (35,990)             65,021           71,325
                  Amortization/write-off of debt issuance costs                               8,211               8,443           12,501
                  Deferred income taxes                                                        (400)            (13,594)          (8,653)
                  Deferred turnaround cost                                                  (12,579)            (22,505)         (20,956)
                  Deferred catalyst cost                                                     (4,411)             (5,537)          (8,745)
                  Capital projects write-off                                                  2,287                 -                -
                Changes in assets and liabilities:
                  Accounts receivable                                                       (53,198)             10,435           10,080
                  Inventories                                                               (29,416)              7,633           11,592
                  Accounts payable                                                          104,999             (19,698)         (32,278)
                  Other assets and liabilities, net                                          (6,120)             (5,054)          42,977
                    Cash provided by (used in) operating activities                          66,424             (88,865)        117,354
               Cash flows from investing activities:
                Capital expenditures                                                       (111,637)            (55,889)         (53,957)
                    Cash used in investing activities                                      (111,637)            (55,889)         (53,957)
               Cash flows from financing activities:
                Proceeds from issuance of 10.5% Notes                                           -                   -            930,000
                Proceeds from issuance of 10.875% Notes                                     150,000                 -                -
                Payment of 8.75% Notes                                                          -                   -           (805,000)
                Payment of Term Loan                                                        (70,000)                -            (50,000)
                Net proceeds from (paydowns on) ABL Facility                                114,000                 -            (40,000)
                Proceeds from Term Loan                                                         -                69,300              -
                Insurance finance borrowings                                                 46,115              42,492              -
                Insurance finance repayments                                                (44,788)            (29,395)             -
                Debt issuance costs                                                          (6,005)             (4,344)         (14,092)
                Equity contributions (returns), net                                             -                     (6)           (141)
                    Cash provided by financing activities                                   189,322              78,047          20,767
               Net Increase (decrease) in cash and cash equivalents                         144,109             (66,707)         84,164
               Restricted cash, beginning of period                                               -                 -                -
               Cash and cash equivalents, beginning of period                                18,452              85,159              995
               Restricted cash, end of period                                                  3,248                -                -
               Cash and cash equivalents, end of period                                $    159,313        $     18,452     $    85,159


               stop here




The accompanying notes are an integral part of these consolidated financial statements.


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                                   NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

NOTE A – BASIS OF PRESENTATION

     1.    Definition of Terms

    Certain terms used throughout these consolidated financial statements and accompanying notes are defined on page 3 of this
Report, which should be referred to when reading these consolidated financial statements and accompanying notes.

     2.    Organization

      The accompanying consolidated financial statements include the accounts of TPCGI and its direct wholly owned and indirect
subsidiaries. TPCGI’s direct wholly owned subsidiaries include TPCGLLC and Texas Petrochemicals Netherlands B.V., and its
indirect subsidiaries, which are all wholly owned subsidiaries of TPCGLLC, include Texas Butylene Chemical Corporation, Texas
Olefins Domestic International Sales Corporation, TPC Phoenix Fuels LLC, Port Neches Fuels LLC, TP Capital Corp., TPC Pipeline
Holding Company LLC and TPC Pipeline Company LLC.

      3.   Principles of Consolidation

     The Company’s consolidated financial statements include the accounts of TPCGI and its direct and indirect subsidiaries, after the
elimination of all significant intercompany accounts and transactions. The financial statements presented have been prepared by us in
accordance with GAAP.

NOTE B – DESCRIPTION OF BUSINESS

     We are a leading North American producer of value-added products derived from petrochemical raw materials such as C4
hydrocarbons. Our products are sold to producers of a wide range of performance, specialty and intermediate products, including
synthetic rubber, fuels, lubricant additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
      In our C4 Processing segment, we process the crude C4 stream into higher value components, namely butadiene, butene-1 and
raffinates. Butadiene is primarily used to produce synthetic rubber that is mainly used in tires and other automotive products; butene-
1 is primarily used in the manufacture of polyethylene plastic resins and synthetic alcohols; and raffinates are primarily used in the
production of alkylate, a component of premium unleaded gasoline.
      In our Performance Products segment, we process isobutylene, which we purchase as a raw material and also produce internally,
to produce polyisobutylene (“PIB”), diisobutylene (“DIB”), and methyl tertiary-butyl ether (“MTBE”). PIB is primarily used in the
production of fuel and lubricant additives, caulks, adhesives, sealants and packaging; DIB is primarily used in the manufacture of
surfactants, plasticizers and resins; and MTBE is primarily used as a gasoline blending stock.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (see Note J Port Neches Incident). The Houston plant, in addition to processing crude C4, also produces PIB,
DIB, and MTBE. The raw material isobutylene processed at our Houston facility is sourced from processing crude C4, third-party
supply and internal on-purpose production. The feedstock for our on-purpose isobutylene production is isobutane, which is a plentiful
natural gas liquid resulting from shale gas development. In order to replace the lost crude C4 processing capacity at our Port Neches
plant, we recently entered into a long-term contract with a third-party to process a substantial portion of our crude C4 supply and return
butadiene and raffinate to us.
     We also provide critical infrastructure and logistics services along the Gulf Coast. Both our Houston processing facility and our
terminals provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers and
raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and ocean-


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going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served by
barges.
      The primary drivers of our businesses are general economic and industrial growth. Our results are impacted by the effects of
economic upturns or downturns on our customers and our suppliers and our ability to achieve on stream time and production targets in
our operating units. Our results are also dependent on our own costs to produce, sell and deliver our products. Our customers generally
use our products in their own production processes; therefore, if our customers curtail production of their products, our results could be
materially affected. In particular, our feedstock costs and product prices are susceptible to volatility in pricing and availability of crude
oil, natural gas, natural gas liquids such as isobutane and oil-related products such as unleaded regular gasoline. Prices for these
products tend to be volatile as well as cyclical, as a result of global and local economic factors, worldwide political events, weather
patterns and the economics of oil and natural gas exploration and production, among other things.

NOTE C – RISKS AND UNCERTAINTIES RELATED TO THE COVID-19 PANDEMIC

      In March 2020, the World Health Organization declared the outbreak of coronavirus (COVID-19) to be a pandemic, and as the
pandemic continues for a second year, the ultimate impact and the extent to which the COVID-19 pandemic will continue to affect the
business, results of operation and financial condition is difficult to predict and depends on numerous evolving factors outside of the
Company’s control including: the duration and scope of the pandemic; government, social, business and other actions that have been
and will be taken in response to the pandemic; and the effect of the pandemic on short and long-term general economic conditions.
This uncertainty also affects management’s accounting estimates and assumptions, which could result in greater variability in a variety
of areas that depend on these estimates and assumptions.

      Though government restrictions across the world (such as travel bans and restrictions, border closures and quarantines) have
generally eased and vaccines have become available to help prevent COVID-19 infections, a return to a more ordinary course of
economic and business activity is still dependent on the effectiveness of containment efforts, including the spread of additional virus
variants such as Delta and Omicron.

      The COVID-19 outbreak has impacted the addressable market for the Company’s products, and the Company’s business continues
to be exposed to risks and uncertainties related to the pandemic. The Company continues to work with our stakeholders (including
customers, suppliers, employees, business partners, and local communities) to mitigate the impact of the pandemic on our business.
Protecting the health and safety of our employees and their respective work locations while simultaneously maintaining business
continuity with our customers and suppliers continue to be key operational objectives.

NOTE D – GOING CONCERN

     The consolidated financial statements of the Company have been prepared on a going concern basis, which contemplates the
realization of assets and the discharge of liabilities in the normal course of business. When preparing financial statements, management
has the responsibility to evaluate whether there are conditions or events, considered in the aggregate, that create substantial doubt about
the Company’s ability to continue as a going concern within one year after the date that the financial statements are issued. In applying
the accounting guidance, the Company considered its current financial condition and liquidity sources, including current funds available,
forecasted future cash flows and its unconditional obligations due over the next 12 months.

      The Company has sustained operating losses due to the Port Neches plant explosion in 2019, as a result of market complications
from COVID-19 and the effects of Winter Storm Uri in 2021. While the Company’s assessment of forecasted cash flow and available
liquidity for 2022 includes significant PNO-related insurance receipts, the amount and timing are uncertain and largely outside of the
Company’s control. The Company can exercise some control over capital spending, but there is no guarantee that alternate forms of
additional capital will be available. On February 3, 2022, after missing approximately $53 million in total interest payments due on
February 1, 2022 on the Company’s 10.875% Notes and 10.5% Notes, the Company entered into a forbearance agreement with a group
representing nearly 90% of the Company’s 10.875% Notes and approximately 80% of the Company’s 10.5% Notes (the “Ad Hoc
Group”). Under the forbearance agreement, the Ad Hoc Group agreed to forbear from exercising remedies related to the event of
default for the Company’s failure to make the February 1 coupon payments within a 30-day grace period. The forbearance agreement
is effective until April 18, 2022 and may be extended by the Ad Hoc Group.

      In connection with the forbearance agreement, the Ad Hoc Group also agreed to provide the Company with approximately $52
million of additional liquidity in the form of a commitment to purchase additional 10.875% senior secured priming notes due 2024 (the
“Additional Notes”). On March 2, 2022 and March 11, 2022, TPC Group Inc. issued the additional 10.875% Senior Secured Notes

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due 2024. Proceeds from the sale of the Additional Notes will be used to support ongoing operations and to pay fees and expenses
associated with the transaction.

       If we do not have sufficient liquidity from cash flow, proceeds from the Additional Notes, ABL availability and proceeds from
insurance policies to conduct our business operations in future periods, we may be required, but unable, to refinance all or part of our
existing debt, seek additional covenant relief from our lenders, sell assets, incur indebtedness, or issue equity on terms acceptable to us,
if at all. Therefore, our ability to continue our planned principal business operations would be dependent on the actions of our lenders
or obtaining additional debt and/or equity financing to repay outstanding indebtedness, secured notes and ABL. These factors raise
substantial doubt about our ability to continue as a going concern.

     The accompanying Consolidated Financial Statements do not include any adjustments to reflect the possible future effects of this
uncertainty on the recoverability or classification of recorded asset amounts or the amounts or classification of liabilities.

NOTE E– SIGNIFICANT ACCOUNTING POLICIES

     1.    Use of Estimates

     The preparation of financial statements in conformity with generally accepted accounting principles requires management to make
estimates and assumptions that affect the reported amount of assets and liabilities and disclosure of contingent assets and liabilities at
the date of the financial statements and the reported amounts of revenues and expenses during the reporting periods. Significant
estimates include liabilities and insurance proceeds related to the Port Neches incident (see Note J Port Neches Incident), impairment
considerations, allowance for doubtful accounts, inventory valuation, pension plan assumptions, environmental and litigation reserves
and provision for income taxes. Actual results could differ from those estimates.

     2.    Cash and Cash Equivalents

       Our cash balances as of December 31, 2021 are comprised of cash and cash equivalents and restricted cash. Cash and cash
equivalents included amounts on deposit with banks, cash invested temporarily in investments with original maturities of three months
or less, and cash on hand. Restricted cash included amounts on deposit with a bank, held in escrow as defined by contractual agreements
for the purpose of funding our committed portion of contractual agreements for capital projects to be completed in less than one year.
We maintain cash balances that are insured by the Federal Deposit Insurance Corporation (“FDIC”). As of December 31, 2021, we had
$159.3 million in cash and cash equivalents and $3.2 million in restricted cash, totaling $162.5 million in total cash on deposit with
banks, which were subject to a $0.25 million per account FDIC insurance coverage limit. We believe the likelihood of any loss of cash
and cash equivalents is remote and that we are not exposed to any significant credit risk on cash and cash equivalents

     3.    Accounts Receivable

      We extend credit to our customers in the normal course of business and generally do not require collateral for trade accounts
receivable. We perform ongoing credit evaluations of our customers and, in some instances, require letters of credit or additional
guarantees in support of contracted amounts. We review the collectability of trade receivables and use the allowance method to record
bad debt expense for amounts that we believe may be uncollectible. We believe no allowance was necessary as of December 31, 2021
and 2020. Write-offs are recorded at the time a customer receivable is deemed uncollectible.

     4.    Inventories

      Inventories consist of raw materials and finished goods and are valued at the lower of average cost or net realizable value. Costs
of finished products include raw materials, energy, labor and manufacturing overhead. We may enter into product exchange agreements
with suppliers and customers for raw materials and/or finished goods in the normal course of business. Under these arrangements we
deliver product volumes to the exchange partner to be delivered in-kind back to us or we receive product volumes to be delivered in-
kind by us to the exchange partner in the future, generally in the short term. Product exchanges typically benefit both parties from a
logistical perspective and provide for additional flexibility regarding both receipt of raw materials from suppliers and delivery of finished
goods to customers. Exchange balances due to or from exchange partners are recorded in inventory at the lower of average cost or net
realizable value and do not impact the consolidated statements of operations and comprehensive loss, as they are recognized at the
carrying amount. At December 31, 2021 we had no exchange receivable position and our exchange payable position was $4.1 million.
At December 31, 2020 we had no exchange receivable position and our exchange payable position was $0.6 million.


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     5.    Property, Plant and Equipment

     Property, plant and equipment are stated at depreciated historical cost. Depreciation of property, plant and equipment is computed
using the straight-line method over estimated useful lives ranging from five to forty-five years for financial reporting purposes and
accelerated methods for income tax purposes. Maintenance and repairs and minor renewals are charged to expense as incurred while
major improvements, renewals and betterments are capitalized.
     Upon retirement or sale of an asset, the asset cost and the related accumulated depreciation are removed from the accounts and
any resulting gain or loss is reflected in results of operations.

     The estimated useful lives for our main categories of fixed assets are shown in the table below.

                                                                                                Estimated Useful Lives
                                                                                                      (in years)
                   Plant equipment                                                                      5 - 35
                   Pipelines                                                                           15 - 40
                   Buildings and land improvements                                                     15 - 45
                   Technology assets                                                                    5 -6

     6.    Intangible Assets

     Our intangible assets include patents and a technology license for the butadiene extraction process used at our Port Neches facility.
Patents are amortized using the straight-line method over their useful lives. Our technology license has no legal, regulatory, contractual,
competitive, economic, or other factors that would limit its useful life; consequently, we have determined its useful life to be indefinite.

     7.    Impairment

    We follow ASC 350, Intangibles—Goodwill and Other, regarding impairment of the carrying value of our intangible assets and
ASC 360, Property, Plant and Equipment, regarding impairment of the carrying value of our property, plant and equipment.
      An impairment loss is recognized only if the carrying value of a long-lived asset or asset group is not recoverable and is measured
as the excess of the carrying value over the fair value. The carrying amount of a long-lived asset or asset group is considered not
recoverable if it exceeds the sum of the undiscounted cash flows expected to result from the use of the long-lived asset or asset group.
Because our long-lived intangible asset (one technology license) is fundamental to and inseparable from the respective long-lived
manufacturing assets, we assess impairment of the technology license together with the respective long-lived manufacturing assets based
on the undiscounted future cash flows related to the respective manufacturing processes.
      We assess our indefinite lived intangible asset and the associated plant, property, and equipment for impairment annually, during
the fourth quarter of each year using a measurement date of December 31 or more frequently if events or changes in circumstances
indicate that the carrying amount of these assets may not be recoverable. Based on our analysis, projected cashflows generated by long-
lived assets, less associated operating costs, significantly exceed the current net book value of the assets. Therefore, no impairment is
required at this time.

     8.    Plant Turnaround Costs

      Plant turnarounds are major scheduled events and require partial or complete shutdowns of chemical processing units for
significant overhaul and refurbishment, for periods typically lasting from two to four weeks. We use the deferral method to account
for the cost of turnarounds. Under the deferral method the costs of major scheduled plant turnarounds are deferred on the balance sheet
and charged to depreciation and amortization expense on a straight-line basis during the period until the next scheduled turnaround.

     9.    Debt Issuance Costs

      Direct costs incurred in connection with the issuance of long-term debt or modification of a credit facility, if the borrowing capacity
of the new arrangement is greater than or equal to the borrowing capacity of the previous arrangement, are deferred and amortized as
interest expense over the term of the debt or credit facility. Deferred debt issuance costs are reported as an offset to long-term debt on
our consolidated balance sheets.

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     10. Revenue Recognition

         We recognize revenue in accordance with ASC 606, Revenue from Contracts with Customers, which we adopted as of January
1, 2019. We applied the modified retrospective transition method to all contracts not completed as of the adoption date. This revenue
recognition standard provides for a five-step analysis of transactions to determine when and how revenue is recognized. The premise
of the guidance is that a company should recognize revenue to depict the transfer of promised goods or services to customers in an
amount that reflects the consideration to which the entity expects to be entitled in exchange for those goods or services.
     Substantially all our revenues are derived through contractual arrangements with customers. We consider contractual
arrangements to be in place when both parties have approved the contract, are committed to perform, the rights of the parties and payment
terms have been identified, the contract has commercial substance and collectability is probable.
     Revenue is recognized when the obligations under the terms of a contractual arrangement with the customer have been satisfied.
This generally occurs at the point in time when performance obligations are fulfilled and control transfers to the customer. Revenue is
measured as the amount of consideration we expect to receive in exchange for transferring goods. Customer incentives are generally
based on volumes purchased and recognized over the period earned.

     11. Insurance Recoveries

      If an insurance claim as of the balance sheet date relates to a recovery of incurred losses, we recognize the recovery up to the
amount of the loss incurred, if the recovery is probable. Such recognized insurance proceeds are recorded as a receivable and an offset
to the related losses incurred. We do not recognize any net gains related to insurance proceeds unless the proceeds have been received
and any contingencies related to the proceeds have been adequately resolved.

     12. Environmental Remediation Costs

     Anticipated expenditures related to investigation and remediation of contaminated sites, which include operating facilities and
waste disposal sites, are accrued when it is probable a liability has been incurred and the amount of the liability can be reasonably
estimated.

     13. Comprehensive Income (Loss)

      Comprehensive income (loss) is reported in accordance with ASC 220, Comprehensive Income. Our comprehensive income
(loss) is defined as net income adjusted for the change (net of tax) in the funded status of our defined benefit pension plan.

     14. Income Taxes

     We account for income taxes in accordance with ASC 740, Income Taxes.
      We recognize deferred taxes at enacted tax rates on temporary differences between the carrying amounts of assets and liabilities
for financial and tax reporting purposes.
     We record a valuation allowance on net deferred tax assets when it is more likely than not that these assets will not be realized.
      We recognize interest and penalties related to uncertain tax positions taken or to be taken as part of income tax expense. We
incurred no penalty or interest expenses in 2021, 2020 or 2019.

     15. Asset Retirement Obligations

      We follow ASC 410, Asset Retirement and Environmental Obligations, regarding accounting for obligations associated with the
retirement of tangible long-lived assets and the associated asset retirement costs. The provisions of this statement apply to legal
obligations associated with the retirement of long-lived assets that result from the acquisition, construction, development and/or normal
operation of a long-lived asset.
      We have asset retirement obligations with respect to certain of our chemical processing assets due to various legal obligations to
clean and/or dispose of various components of the chemical plants at the time they are retired. However, these components can be used
for extended and indeterminate periods of time as long as they are properly maintained and/or upgraded. It is our practice and current
intent to maintain our chemical processing assets and continue making improvements to those assets based on technological advances.

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As a result, we believe our facilities have indeterminate lives for purposes of estimating asset retirement obligations because dates or
ranges of dates upon which we would retire chemical processing assets cannot reasonably be estimated at this time. When a date or
range of dates can reasonably be estimated for the retirement of any component part of a chemical plant, an estimate of the cost of
performing the retirement activities will be provided and a liability will be recorded for the fair value of that cost using established
present value techniques. We did not record any asset retirement obligations related to the retirement of any component parts of our
facilities as of December 31, 2021 and 2020.

     16. Shipping and Handling Costs

     We account for shipping and handling costs as a fulfillment activity and not a separate performance obligation. Shipping and
handling costs billed to customers in conjunction with sale transactions are recorded as a component of revenue and shipping and
handling costs incurred by us are included in cost of sales in the Consolidated Statements of Operations and Comprehensive Loss.

     17. Financial Instruments

      The carrying amounts for cash and cash equivalents, receivables and payables approximate fair value because of the short maturity
of these instruments. At December 31, 2021, our long-term debt consisted of (i) the fixed rate 10.5% Notes, which had a carrying
amount of $930.0 million and a fair value of approximately $672.1 million; (ii) the 10.875% Notes, which had a carrying amount of
$153.0 million and a fair value of approximately $162.5 million; and (iii) $114 million of ABL borrowings. At December 31, 2020,
our long-term debt consisted of the fixed rate 10.5% Notes, which had a carrying amount of $930.0 million and a fair value of
approximately $774.2 million. ABL borrowings at December 31, 2021 were $114 million, there were no borrowings at December 31,
2020.

     18. Fair Value Option

       ASC 825, Financial Instruments, allows entities to choose, at specified election dates, to measure eligible financial assets and
liabilities at fair value that are not otherwise required to be measured at fair value. If a company elects the fair value option for an
eligible item, changes in that item's fair value in subsequent reporting periods must be recognized in current earnings. We have not
elected to measure any of our eligible financial assets and liabilities at fair value.

     19. Recent Accounting Developments

     Accounting Guidance Issued but Not Yet Adopted as of December 31, 2021
      Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company continues to evaluate its population of leases and
is continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting
for logistics equipment. The Company expects to recognize operating lease liabilities of approximately $166 million and corresponding
right-of-use assets of approximately $157 million with the difference recognized as a benefit to retained earnings over the life of the
leases
      Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management, in discussion with our tax consultants, have concluded that changes required by the new standard will not impact the
Company's financial statements and related tax disclosures.




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NOTE F – DETAIL AND DISCUSSION OF CERTAIN CONSOLIDATED BALANCE SHEET CAPTIONS

     Inventories

     Inventories, as of the dates presented, were as follows (in thousands):
                                                                                                    December 31,
                                                                                                2021           2020

                    Finished goods                                                        $       41,444       $        24,665
                    Raw materials and chemical supplies                                           33,043                20,770
                                                                                          `                    `
                                                                                          $       74,487       $        45,435


     The increase of $29.1 million reflects the impact of a $32.8 million price increase year over year, largely in Crude C4, Butadiene
and PIB, partially offset by a $3.7 million 9% decrease in physical inventory volumes. The overall increase in the average cost per
pound was 79% and reflected substantial price increases among virtually all inventoried products when comparing the prices for
December 2021 to December 2020.


     Other Current Assets

     Other current assets, as of the dates presented, were as follows (in thousands):

                                                                                               December 31,
                                                                                        2021                  2020
                     Prepaid insurance premiums                                 $         22,002       $        21,002
                     Spare parts inventory                                                16,916                15,741
                     Prepaid expense and other                                             2,453                 4,380
                                                                                $         41,371       $        41,123


      Other Current Assets was relatively flat year over year. Fluctuations in prepaid expense and other include raw material price
adjustments and rent allowances receivable that were higher in the prior year.

     Property, Plant and Equipment

     Property, plant and equipment, as of the dates presented, were as follows (in thousands):

                                                                                              December 31,
                                                                                          2021           2020

                      Land and land improvements                                    $       52,839     $      52,839
                      Plant and equipment                                                1,141,740         1,108,577
                      Construction in progress                                             155,817            93,903
                      Other                                                                 58,073            52,464
                                                                                         1,408,469         1,307,783
                          Accumulated depreciation                                        (653,079)         (604,510)
                                                                                    `                  `
                                                                                    $     755,390      $      703,273



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     The $52.1 million net increase in Property, Plant and Equipment primarily reflects significant spend on key expansion, reliability
and safety initiatives as the company seeks to better position itself to meet the growing demands of the market.

     Intangible Assets

     The gross carrying amounts and accumulated amortization of intangible assets, as of the dates presented, were as follows (in
thousands):

                                                                         Gross                              Net
                                                                        Carrying      Accumulated         Carrying
                                                                         value        amortization         value
                         December 31, 2020
                          Technology license                         $     3,880      $         -        $      3,880
                          Patents                                         23,100            (23,100)                -
                                                                     $    26,980      $     (23,100)     $      3,880
                         December 31, 2021
                          Technology license                         $     3,880      $         -        $      3,880
                          Patents                                         23,100            (23,100)                -
                                                                     $    26,980      $     (23,100)     $      3,880


      The technology license is related to the butadiene extraction process at the Port Neches facility, which was shut down indefinitely
due to the explosion incident on November 27, 2019 (see Note J Port Neches Incident). Our current position is that it is more likely
than not that this licensed process will be used in the future, so we do not consider the carrying value of the intangible to be impaired.
If future facts and/or circumstances indicate an impairment of the carrying value of this asset, we will recognize an impairment charge.
Patents were fully amortized as of December 31, 2020.

     Other Assets

     Other assets, as of the dates presented, were as follows (in thousands):

                                                                                          December 31,
                                                                                   2021                  2020
                          Deferred turnaround costs                         $        33,229       $          40,308
                          Catalyst and solvent costs                                 12,129                  13,693
                          Other deferred charges                                     10,163                   1,849
                                                                            $        55,521       $          55,850


      The decrease in deferred turnaround costs primarily represents spend (net of amortization) for the twelve months ended December
2021. In this instance, amortization outpaced spend on new turnarounds. The DH2 turnaround was one of the significant new
turnarounds that occurred in 2020, and as a result helped fuel the increase in the account balance in 2020, however that balance has
declined in 2021 due to amortization until the next turnaround which is planned for 2022.
      The increase in other deferred charges relates to the BTP contract. Cash paid to BASF and TOTAL to fund the construction of
the pipeline are accounted for as a deferred asset, which TPC will amortize over the life of the project once the pipeline becomes
operational. Construction is due to be complete in 2022. These cash outlays are not treated as capital as TPC will not own the asset.




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     Accrued Liabilities
     Accrued liabilities, as of the dates presented, were as follows (in thousands):
                                                                                           December 31,
                                                                               2021                        2020

                        Accrued interest                                 $         43,917          $         41,231
                        Property and sales tax                                     14,154                    13,991
                        Accrued payroll and benefits                               10,705                    17,537
                        Freeze related energy accrual                               8,790                       -
                        Accrued freight                                             7,974                     5,875
                        Net pension liability                                       5,687                     8,493
                        Other                                                       3,229                     5,508
                                                                         $         94,456          $         92,635

      As part of the Company’s cash preservation measures due to COVID-19, incentive compensation payments for the year ended
December 31, 2019 were deferred in 2020 and were paid in 2021 instead, thus leading to a decrease in accrued payroll and benefits.
Actuarial gains and plan contributions reduced the net pension liability during 2021 versus 2020. Freeze related energy costs were
incurred due to Winter Storm Uri in February 2021. Accrued interest was fairly consistent year over year and the slight increase largely
reflects higher interest on the new 10.875% Notes. Interest on the $930 million principal amount of the 10.5% Notes is paid
semiannually on February 1 and August 2.

     Accrued Liabilities – Port Neches Incident

     Port Neches incident accrued liabilities, as of the dates presented, were as follows (in thousands):

                                                                                       December 31,              December 31,
                                                                                          2021                      2020

                   Total of losses and costs recognized                                $        436,573          $     416,817
                   Deferred gain on insurance                                                       -                   36,694
                   Invoices / settlements paid                                                 (343,952)              (293,874)
                   Unpaid invoices included in payables                                            (758)               (12,507)
                   Asset write-offs                                                             (56,956)               (56,868)
                                                                                       $         34,907          $      90,262

                   Accrued response / clean-up costs                                   $          4,065          $     46,258
                   Estimated claims liability                                                    30,842                44,004
                                                                                       $         34,907          $     90,262
                                                                                                             .

    The above reconciliation reflects $436.6 million and $416.8 million of losses and costs related to the Port Neches incident as of
December 31, 2021 and December 31, 2020 respectively (see Note J Port Neches Incident). The reconciliation provides the main
components of the accrued liability for each year. These amounts are shown on the accompanying consolidated balance sheet at
December 31, 2021 and December 31, 2020.
      For 2021, the amount of loss on the Port Neches incident, net of insurance recoveries, of $35.0 million showing on the Consolidated
Statements of Operations and Comprehensive Loss is the total amount of additional losses and costs of $18.1 million incurred during
the year plus an increase of $16.9 million in estimated insurance recovery as a result of lowering the probable recovery amount based
on feedback from insurers. TPC still maintains a position that these costs are recoverable and will continue to pursue collection. The
Consolidated Statements of Operations and Comprehensive Income (Loss) also reflects a $183.5 million gain on asset disposal related
to the insurance recovery for the PNO assets.


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      For 2020, the amount of loss on the Port Neches incident, net of insurance recoveries, of $50.1 million showing on the Consolidated
Statements of Operations and Comprehensive Loss is the total amount of additional losses and costs of $129.4 million incurred during
the year less $56.0 million of insurance recoveries received related to 2020 losses and costs and probable insurance recoveries receivable
of $23.3 million at December 31, 2020.

NOTE G – SHORT-TERM DEBT

     Our short-term financing arrangements at December 31, 2021 and December 31, 2020 included insurance premium financing. As
of December 31, 2021, and December 31, 2020 we have $14.4 million and $13.1 million respectively of insurance premiums we financed
through Aon Premium Finance LLC. The first down payment and the first installment were paid in July 2021 and the remainder is
payable in monthly installments following the applicable renewal date through March of 2022.

NOTE H – LONG-TERM DEBT

     Outstanding debt as of the dates presented, was as follows (in thousands):
                                                                                 December 31,       December 31,
                                                                                     2021               2020
                  10.5% Notes                                                    $     930,000          $   930,000
                  10.875% Notes                                                        153,000                  -
                  New Term Loan                                                            -                 70,000
                  ABL                                                                  114,000                  -
                  Unamortized discount on New Term Loan                                    -                   (286)
                  Unamortized discount on Notes                                         (2,214)                 -
                  Total long-term debt                                               1,194,786              999,714
                    Less: deferred financing costs                                     (13,258)             (14,393)
                  Long-term debt net of deferred financing costs                 $   1,181,528          $   985,321

                  .                                                                                 .
      Our financing arrangements at December 31, 2021 were comprised of the 10.5% Notes, the 10.875% Notes and the ABL. As of
December 31, 2021, we were in compliance with all covenants set forth in the Indenture governing the 10.5% Notes, the 10.875% Notes
and the credit agreement governing the ABL.

     New Term Loan

     On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provided for a delayed draw term loan of up to $70 million and a term of one-year.
     Availability under the New Term Loan was limited to a maximum of four draws with a minimum of $5 million per draw.
      Subject to certain exceptions, the Company’s obligations with respect of the New Term Loan were secured by liens on and security
interests in all collateral securing the 10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment
with those liens and security interests granted pursuant to the Indenture governing the 10.5% Notes. Interest payments were due
quarterly in arrears.
      On March 18, 2020, we drew on the facility and received $70.0 million less a 1% original issue discount fee. In May 2020 the
lenders agreed to grant the Company the option to extend the maturity date to August 5, 2021. The Term Loan was classified as long-
term debt as of December 31, 2020. This loan was repaid on February 2, 2021 with some of the proceeds received from issuance and
sale of the 10.875% Notes.

     ABL

     TPCGI is the lead borrower under the ABL and certain domestic subsidiaries of TPCGI are co-borrowers (or may be designated
co-borrowers) on a joint and several basis.


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     The ABL is composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” tranche (the
ABL FILO). Commitments under the ABL FILO will be reduced, and commitments under the ABL Revolver equally and
simultaneously increased, by $2.5 million on each of the first three anniversaries of the August 2019 amendment and restatement.
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.
    As of December 31, 2021, we had $114 million of borrowings outstanding on the ABL and a $50 thousand letter of credit. The
combined ABL Revolver and ABL FILO borrowing bases did not provide us with the ability to borrow additional funds as of that date.
      The ABL Revolver commitments may be increased by an aggregate principal amount of not more than $150 million, subject only
to the consent of the new or existing lenders providing such increases. The lenders under this facility are under no obligation to provide
any such additional commitments, and any increase in commitments will be subject to customary conditions precedent.
Notwithstanding any such increase in the facility size, TPCGI’s ability to borrow under the facility will remain limited at all times by
the borrowing base (to the extent the borrowing base is less than the commitments).
      Loans under the ABL Revolver bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate
equal to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR
rate plus 1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be
1.75% (and may subsequently decrease to 1.50% or increase to 2.00% depending on average excess availability) and with respect to
base rate borrowings will initially be 0.75% (and may subsequently decrease to 0.50% or increase to 1.00% depending on average excess
availability).
      Loans under the ABL FILO bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate equal
to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR rate plus
1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be 3.00% (and
may subsequently decrease to 2.75% or increase to 3.25% depending on average excess availability) and with respect to base rate
borrowings will initially be 2.00% (and may subsequently decrease to 1.75% or increase to 2.25% depending on average excess
availability).
      The ABL provides for all applicable margins to be reduced by 0.25% during any fiscal quarter for which the Total Leverage Ratio,
as defined in the ABL credit agreement, as of the last day of the immediately preceding fiscal quarter, is less than 5.0 to 1.0.
      In addition to paying interest on outstanding principal under the ABL, TPCGI is required to pay a commitment fee at an initial rate
of 0.500% per annum in respect of the unutilized commitments thereunder. The commitment fee rate subsequently may be reduced to
0.375% depending on the amount of excess availability under the ABL. TPCGI must also pay customary letter of credit fees and
fronting fees for each letter of credit issued.
      If, at any time, (i) an Event of Default is continuing or (ii) Excess Availability is less than the greater of (x) 12.5% of Availability
and (y) $12.5 million, TPCGI shall comply with a minimum Fixed Charge Coverage Ratio for the most recent period of four consecutive
fiscal quarters of at least 1.0 to 1.0. Such requirement shall continue until the date that no Event of Default exists, and Excess
Availability shall have been not less than the greater of (x) 12.5% of Availability and (y) $12.5 million for a period of 21 consecutive
calendar days.
      If at any time the aggregate amount of loans and letters of credit outstanding under either the ABL Revolver or under the ABL
FILO exceeds the lesser of (a) the applicable total commitments and (b) the applicable borrowing base, TPCGI will be required to prepay
loans outstanding and/or cash collateralize outstanding letters of credit in an aggregate amount equal to the amount of any such excess,
without any reduction of the commitments. Under certain circumstances, if the aggregate amount available under the ABL is less than
the greater of (1) 12.5% of the lesser of (i) the total commitments under such facility and (ii) the borrowing base and (2) $12.5 million
for 5 consecutive business days, or if certain defaults occur, all collateral proceeds collected through the cash management system in
favor of the collateral agent will be swept to a collection account and applied daily to repay outstanding loans and cash collateralize
letters of credit under the ABL.



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       TPCGI may voluntarily repay loans outstanding under the ABL Revolver and under the ABL FILO at any time without premium
or penalty other than customary “breakage” costs with respect to LIBOR loans. All outstanding loans under the ABL Revolver must
be repaid before any loans outstanding under the ABL FILO may be repaid. Any subsequent borrowings under the ABL would be
made first under the ABL FILO (subject to availability) and next under the ABL Revolver (subject to availability). We may elect at
any time to reduce the unutilized portion of the commitment amount under the ABL. We may elect at any time to terminate the ABL
FILO commitments in full (but not in part) provided that 30 Day Excess Availability, as defined in the Credit Agreement and calculated
on a pro forma basis, would not be less than the greater of (a) 17.5% of availability and (b) $25 million if the Fixed Charge Coverage
Ratio is at least 1.0 to 1.0 or 30 Day Excess Availability would not be less than 22.5% of availability if the Fixed Charge Coverage Ratio
is less than 1.0 to 1.0.
      Pursuant to a Guarantee, dated as of August 2, 2019, among Parent, TPCGI, the other guarantors party thereto and Bank of
America, N.A., as administrative agent and collateral agent, all obligations under the Senior Secured Asset-Based Revolving Credit
Agreement are unconditionally guaranteed by substantially all existing and future, direct and indirect, wholly-owned material restricted
domestic subsidiaries of TPCGI, subject to certain exceptions, including, any applicable legal, regulatory or contractual constraints and
to the requirement that such guarantee will not cause material adverse tax consequences.
     The borrowers under the ABL are jointly and severally liable for all borrowings and other obligations thereunder. Pursuant to a
Pledge and Security Agreement, dated as of August 2, 2019, among Parent, TPCGI, the subsidiary grantors and Bank of America, N.A.,
as administrative agent and collateral agent, and any additional borrowers that may become party thereto from time to time, such
obligations and the guarantees of such obligations are secured, subject to permitted liens and other exceptions, by:

     •   a first-priority lien on the following:

                  (a)       accounts receivable, including those arising from the sale of inventory and other goods and services
                            (including related contracts and contract rights, inventory, tax refunds, cash and cash equivalents);
                  (b)       inventory;
                  (c)       intercompany notes and intellectual property and other intangible assets to the extent attached to or necessary
                            to sell any of the foregoing;
                  (d)       deposit and investment accounts (and all cash, checks and other negotiable instruments, funds and other
                            evidences of payment held therein, but not any identifiable proceeds of Notes First Priority Collateral (as
                            defined below));
                  (e)       to the extent evidencing, governing, securing or otherwise related to any of the foregoing and the other
                            Revolver First Priority Collateral (as defined below), all documents, general intangibles (excluding
                            intellectual property), instruments, investment property (but not stock in subsidiaries or equity interest in any
                            limited liability company or other entity constituting Notes First Priority Collateral), commercial tort claims,
                            letters of credit, supporting obligations and letter of credit rights;
                  (f)       all loans payable by a grantor to any other grantor to the extent made using proceeds of advances under the
                            ABL Facility;
                  (g)       books and records, documents, supporting obligations, chattel paper, instruments, payment intangibles and
                            general intangibles relating to any of the foregoing; and
                  (h)       all proceeds and products of any or all of the foregoing in whatever form received, in each case above subject
                            to certain qualifications and exclusions (collectively, the “Revolver First Priority Collateral”); and

     •   a second-priority lien on assets not constituting Revolver First Priority Collateral subject to certain qualifications and
         exclusions (the “Notes First Priority Collateral”).

    The ABL contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the ability of
TPCGI and certain of its subsidiaries to:

     •   incur additional indebtedness;
     •   create liens;


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     •    engage in mergers or consolidations;
     •    sell or transfer assets;
     •    pay dividends and distributions or repurchase its capital stock;
     •    make investments, loans or advances;
     •    prepay certain indebtedness;
     •    engage in certain transactions with affiliates;
     •    designate certain subsidiaries as restricted or unrestricted by the covenants; and
     •    change its lines of business.

      In addition, at any time when an event of default is continuing or the aggregate amount available under the ABL is less than the
greater of (a) 12.5% of the lesser of (1) the total commitments and (2) the borrowing base and (b) $12.5 million (or a lesser amount if a
significant asset sale has occurred), TPCGI will be required to maintain a minimum fixed charge coverage ratio of 1.0:1.0.
      The ABL also contains a customary “holding company” covenant that restricts Parent’s ability to take certain actions and contains
certain customary additional affirmative covenants, representations and warranties, conditions to making loans, indemnification
provisions and events of default, including (subject in certain cases to customary grace and cure periods) material inaccuracy of
representations, non-payment of obligations under the ABL, violation of affirmative and negative covenants, non-payment or
acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of the credit documents (or the assertion
by Parent or a borrower of any such invalidity), change of control and loss of lien perfection or priority.
      On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.5% Notes

     The 10.5% Notes are due August 1, 2024 and interest will be paid semi-annually in arrears on February 1 and August 1.

      Indenture Governing the 10.5% Notes

     On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 02, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.5% Indenture”).
     The 10.5% Notes are guaranteed by all of TPCGI’s existing or future direct and indirect domestic subsidiaries other than certain
excluded subsidiaries (the “guarantors”) that guarantee obligations under the ABL.
       The 10.5% Notes are TPCGI’s and the guarantees are the guarantors’ senior secured obligations and rank senior in right of payment
to all of TPCGI’s and the guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally
in right of payment with all TPCGI’s and the guarantors’ existing and future liabilities that are not so subordinated, including the ABL.
The 10.5% Notes and the guarantees are structurally subordinated to all existing and future liabilities and preferred stock of any of its
subsidiaries that do not guarantee the 10.5% Notes effectively senior to TPCGI’s and the guarantors’ indebtedness that is unsecured or
that is secured by junior liens to the extent of the value of the assets securing the 10.5% Notes and the guarantees, and effectively junior
to TPCGI’s ABL to the extent of the value of the assets that secure TPCGI’s ABL on a first-priority basis.
      The 10.5% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the guarantors’ assets
(in each case, other than TPCGI’s and the guarantors’ assets that secure the ABL on a first-priority basis), subject to certain exceptions
and permitted liens. Subject to certain exceptions and permitted liens, the 10.5% Notes and the guarantees are also secured on a second-
priority basis by TPCGI’s and the guarantors’ assets that secure our ABL on a first-priority basis.
      The 10.5% Notes became redeemable as of August 1, 2021 at the redemption prices specified in the 10.5% Indenture. The
redemption price for the period from (and including) August 1, 2021 through July 31, 2022 is 107.875% and for the period from (and
including) August 1, 2022 through July 31, 2023 is 103.938%. The 10.5% Notes become redeemable at par as of August 1, 2023.
Unless otherwise redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an
offer to repurchase the 10.5% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if



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any. In addition, at any time prior to August 1, 2021, TPCGI may redeem, subject to certain conditions, up to 35% of the 10.5% Notes
at a redemption price of 110.50% with the net cash proceeds from one or more equity offerings.
      The 10.5% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted subsidiaries
to (subject to certain exceptions):

     •    incur additional debt, issue disqualified stock or issue certain preferred stock;
     •    pay dividends on or make certain distributions and other restricted payments;
     •    create certain liens or encumbrances;
     •    sell assets;
     •    enter into transactions with affiliates;
     •    limit ability of restricted subsidiaries to make payments to TPCGI;
     •    consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •    designate TPCGI’s subsidiaries as unrestricted subsidiaries.

      The 10.5% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.5% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.5% Notes to be due and payable.
      On February 2, 2021 we issued $153 million of 10.875% Senior Secured Notes and repaid the $70 million New Term Loan we
had in place with Apollo Global Management to provide additional liquidity against any uncertainty around timing of future insurance
recoveries, including business interruption recoveries, over the next year. In connection with the issuance of the 10.875% Notes, the
10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875% Notes and to make certain
other changes to certain covenants contained therein.

     10.875% Notes

       On February 2, 2021 TPCGI issued and sold $153 million aggregate principal amount of 10.875% Notes to certain holders of the
10.5% Notes. The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by
all of the Company’s existing or future direct and indirect domestic subsidiaries, other than certain excluded subsidiaries (collectively,
the “Subsidiary Guarantors”).
      The net proceeds from the offering were used to repay and terminate the $70 million New Term Loan, to pay all fees and expenses
related to the transactions and for general corporate purposes. Interest on the 10.875% Notes began accruing on the issue date and is
payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each year, commencing on May 1, 2021. The 10.875
% Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness and
the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes are effectively subordinated to the ABL
Facility and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by assets or properties not
constituting collateral securing the 10.5% Notes to the extent of the value of such assets and properties. The 10.875% Indenture contains
certain covenants, agreements and events of default which are customary with respect to non-investment grade debt securities, including
limitations on our ability to incur additional indebtedness, pay dividends on or make other distributions or repurchase our capital stock,
make certain investments, enter into certain types of transactions with affiliates, create liens, sell certain assets or merge with or into
other companies.




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NOTE I – REVENUE

     We operate in two principal business segments, C4 Processing and Performance Products. The following table disaggregates
revenue for each segment by major activity and by domestic and foreign.

                                                                           Year Ended December 31,
                                                                    2021            2020           2019
                      Revenue by segment
                       C4 Processing
                           Product sales                        $    764,038    $    382,557     $    889,744
                           Process revenue                             2,699           2,228            6,208
                           Terminalling revenue                       12,121           7,164            8,916
                           Service fees                                4,264           2,386            5,818
                           Shipping and handling                      11,349          12,846           11,518
                                                                $    794,471    $    407,181     $    922,204

                       Performance Products
                           Product sales                             476,342         328,160          524,213
                           Terminalling revenue                          -                75              150
                           Shipping and handling                      18,233          15,974           18,359
                                                                $    494,575    $    344,209     $    542,722
                                                                $ 1,289,046     $    751,390     $ 1,464,926

                      Revenue by geographic location
                       United Sates                             $ 1,237,060     $    711,818     $ 1,341,470
                       All foreign countries                         51,986           39,572         123,456
                                                                $ 1,289,046     $    751,390     $ 1,464,926


NOTE J – PORT NECHES INCIDENT

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took place August 5-6, and 19-20,
2021. The citations were not resolved, and OSHA filed its complaint on September 9, 2021. The proceeding has been bifurcated into
two separate trials, the first of which will take place in Q4 2022 and the second of which will occur in Q1 2023.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management Compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for

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cost recovery, and/or claims for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,700 property claims have been resolved and approximately 1,400 additional eligible claims are pending action by the claimant in the
claims process. The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial
statements. The Company also provided an emotional support hotline staffed by licensed professional counselors from Samaritan
Counseling Center of Southeast Texas.
       In addition to the property claims, approximately 190 private party lawsuits, including five class actions, are pending in Texas
state court related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass.
Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court
cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th
District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to file short-
form petitions in the MDL proceeding, which currently includes approximately 7,640 individual plaintiffs. Approximately 640
individual plaintiffs have cases pending in Jefferson County, Texas (some of which are duplicative with cases in the MDL) which have
not yet been non-suited or abated. Additionally, more than 820 properties are the subject of litigation as a result of subrogation claims
filed by insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case Management
Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and a revised schedule
will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2 and Q3 2021 adding additional defendants
and many of those additional defendants have either moved to dismiss the claims against them or filed jurisdictional challenges. A
hearing on class certification is not expected before the second half of 2022 at the earliest.
      Four different sets of insurance policies in effect at the time of the incident provide coverage for costs and losses incurred as a
result of the Port Neches incident.
      On an event to date basis as of December 2021, TPC has incurred a loss amount of $436.6 million associated with the PNO Event.
This amount consists of both response related costs and associated write offs. TPC anticipates recovering $259.6 million of this loss
through insurance proceeds to be paid directly to the Company. The estimate is subject to change as claims are evaluated. As of
December 31, 2021, we have collected $537.6 million dollars of insurance proceeds and have paid out $342.3 million. Information
received in the fourth quarter of 2021 that categorizes the proceeds and assurance that this amount is a floor amount, allowed a
reclassification of proceeds from a Deferred Gain to a Recognized Gain. The gain is due to the recoverable value of assets being more
than the book value.
         The following table summarizes the PNO Event spend and reimbursements, event to date, as of December 31, 2021 (in
millions):

                                                                 Loss          Anticipated       Net      Proceeds                                  Invoices
                         Insurance Policies                     Amount          Recovery         Loss     Collected           GAIN         BI         Paid
           Property/Business Interuption (BI) (1)(2)           $    129.1       $    93.8    $     35.3   $   376.6       $    183.5   $    99.7    $    94.3
           Liability                                                164.3           100.0          64.3       100.0              -              -       133.4
           Defense                                                   60.2            35.2          25.0        35.2              -              -        59.3
           Pollution                                                 51.5            25.0          26.5        25.0              -              -        50.5
           Inventory                                                  6.6             5.6           1.0         2.5              -              -         -
           Not Recoverable (3)                                       24.9             -            24.9         -                -              -         6.5
                                 Total                         $    436.6       $   259.6    $    177.0   $   539.3       $    183.5   $    99.7    $   344.0

           (1) Includes $1.7 million paid to 3rd party.
           (2) Includes asset write-offs of $34.4 million
           (3) Includes turnaround amortization write-off of $18.8 million

                                                                                                                      .

     Property/Business Interruption Policies

      Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible is $10.0
million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying for business


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interruption coverage. As of December 31, 2021, we have incurred a cumulative loss amount of $129.1 million which includes asset
write-offs of $34.4 million. We have paid $94.3 million of invoices related to this policy. We have directly collected $374.9 million
and had another $1.7 million paid on our behalf to a third party under these policies, of which $99.7 million has been identified as
business interruption coverage and $275.2 million as property loss coverage which includes a gain of $183.5 million on assets where
recoverable value is greater than book value. Reimbursable costs under this policy recorded in 2019 and 2020 were $52.4 million and
$58.8 million, respectively. In 2021, reimbursable costs were reduced by $17.4 million due to a change in accounting estimate for
probable insurance proceed recovery. This change was based on proposed adjustments from insurance carriers for which we have
supported positions that counter their assessment. We currently estimate that $93.8 million will be recoverable under this policy for
property losses.

     Liability/Defense Policies

      Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of December 31, 2021, we have accrued third-party claim amounts of $164.3 million, have paid $133.4
million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $60.2 million and we
have collected $35.2 million of this amount. This is the total that we anticipate collecting for defense costs. Costs recorded under
these policies in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 additional amounts were
incurred for claims of $3.1 million and for defense costs of $35.6 million. During 2021, liability claims have been reduced by $0.7
million with additional $10.3 million in defense costs incurred. To date we have paid $59.3 million of these defense cost amounts.

     Environmental/Pollution Policies

      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of December 31, 2021, we have
incurred and paid $51.5 million of costs, paid $50.5 million of those costs and have collected the full $25.0 million of coverage under
this policy. We incurred $23.1 million, $28.0 million and $0.4 million of these costs in 2019, 2020 and 2021, respectively.

     Inventory Policy

     We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We are also pursuing
recovery of another $2.8 million in logistics costs under this policy. We expect to recover the fair market value at the time of the event
on these materials which is estimated to be $4.5 million plus the logistics costs of another $1.1 million.
     Not Recoverable

      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits.

NOTE K – COVID-19 EXPENSES

      The $0.7 million and $1.9 million of COVID-19 expenses at December 31, 2021 and December 31, 2020 respectively relate to
costs incurred as a result of precautionary measures taken by the Company to prevent the spread of COVID-19 at TPC sites. The costs
include protective gear for employees, increased sanitation of TPC sites, and enhancements to workspaces to promote safety.

NOTE L – FAIR VALUE

      Within the framework for measuring fair value, ASC 820, Fair Value Measurements and Disclosures, establishes a fair value
hierarchy, which requires an entity to maximize the use of observable inputs and minimize the use of unobservable inputs when
measuring fair value. The standard defines the three levels of inputs used to measure fair value as follows:

         •   Level 1: Inputs are unadjusted quoted prices for identical assets or liabilities in active markets, which primarily consist
             of financial instruments, traded on exchange or futures markets.



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         •    Level 2: Inputs are other than quoted prices in active markets (included in Level 1), which are directly or indirectly
              observable as of the financial reporting date, including derivative instruments transacted primarily in over-the-counter
              markets.
         •    Level 3: Unobservable inputs, which include inputs derived through extrapolation or interpolation that cannot be
              corroborated by observable market data.

      As of December 31, 2021, and 2020, we had no outstanding assets or liabilities measured at fair value on a recurring basis except
for the fair value of our pension plan assets and short-term investments which were measured using Level 1 and Level 3 inputs.

NOTE M – INCOME TAXES

         The significant components of deferred tax assets and liabilities are shown below as of the dates presented (in thousands):

                                                                                         December 31,
                                                                                  2021                    2020

                       Deferred tax assets:
                        Loss and credit carryforwards                      $           74,243      $           94,580
                        Disallowed interest                                            61,149                  47,761
                        Accrued and other expenses                                      5,325                   8,648
                        Inventory                                                       2,414                   2,678
                             Total deferred tax assets                                143,131                153,667
                         Less: Valuation allowance                                    (24,971)               (27,703)
                       Deferred tax assets less valuation allowance        $          118,160      $         125,964
                       Deferred tax liabilities:
                        Property, plant and equipment                      $          (99,216)     $        (101,651)
                        Insurance proceeds receivable                                  (6,434)               (10,610)
                        Deferred turnaround costs                                      (7,026)                (8,512)
                        Prepaid expenses                                               (4,696)                (4,462)
                        Intangible assets                                                (788)                  (729)
                              Total deferred tax liabilities                         (118,160)              (125,964)
                              Net deferred tax liability                   $               -       $              -


          We analyze both positive and negative evidence available to us to provide a reasonable basis for us to assess the realizability
of our deferred tax assets. ASC 740 “Accounting for Income Taxes” requires that a valuation allowance be established for a deferred
tax asset if it is more likely than not that the related tax benefit will not be realized. Realization of deferred tax assets depends on the
existence of sufficient taxable income of the appropriate character within the carryback and carryforward period available under the tax
law. Our assessment of the realizability of our deferred tax assets considered the following four sources of future taxable income:

          •    Future reversal of existing temporary differences;
          •    Future taxable income exclusive of reversing temporary differences and carryforwards;
          •    Taxable income in prior carryback years; and
          •    Tax planning strategies.

      Reversal of exiting taxable temporary differences existing at December 31, 2021 would not generate sufficient taxable income to
utilize our deferred tax assets as of that date as we were in a net deferred tax asset position of $25.0 million.
     Regarding future taxable income, we considered our annual net operating losses since 2014 and the uncertainty of sufficient future
taxable income to be objective evidence that is it more likely than not that the benefit of our deferred tax assets will not be fully realized.
      We have no taxable income in carryback periods and do not have tax planning strategies that provide positive evidence that our
deferred tax assets will be realized.


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      As a result of our analysis we have concluded that it is more likely than not that we will not realize the full benefit of our deferred
tax assets and have therefore established a deferred tax asset valuation allowance of $25.0 million at December 31, 2021.
      The primary components of our deferred tax assets at December 31, 2021 were $74.2 million related to net operating losses and
credit carryforwards and $61.1 million related to the amount of temporarily disallowed interest deductions. Our cumulative pretax net
operating losses of $337.0 million consisted of $281.0 million of pre-2018 net operating losses and post-2017 pretax net operating losses
of $56.0 million. Pretax disallowed interest deductions for 2021, 2020 and 2019 were $47.8 million, $85.4 million, and $101.7 million,
respectively. All pre-2018 net operating losses have a 20-year carryforward period and can be used to offset up to 100% of future
taxable income in any year. All post-2017 net operating losses and disallowed interest deductions can be carried forward indefinitely;
however, the use of post-2017 net operating losses will be limited to 80% of future taxable income in any year.
      Our deferred tax liabilities consist primarily of the tax effect of temporary differences between the book and tax basis of property
plant and equipment, due to cumulative differences between book and tax depreciation, and the tax effect of cumulative differences
between book and tax treatment of insurance proceeds in 2019, 2020 and 2021 related to the Port Neches incident.
      Our net taxable income for 2021 was $106.8 million, which reflects our pretax book income of $18.6 million which was increased
by taxable temporary differences of $19.9 million related to differences in book and tax treatment of insurance proceeds related to the
Port Neches incident and disallowed interest expense of $47.8 million. The pretax book income reflects the significant gain recognized
on insurance proceeds received from the Port Neches incident.

      We have conducted an evaluation of tax positions taken on previous tax returns. Based on that evaluation, we concluded that it
is more likely than not, based on the technical merits of our tax positions, that we are entitled to the economic benefits resulting from
positions taken on our tax returns. Consequently, we have not recorded any liabilities related to uncertain tax positions and have not
reversed any benefits previously recognized. Therefore, we have not recognized any interest or penalties related to uncertain tax
positions.
     We file a consolidated federal income tax return and state tax returns in Texas and Louisiana.
     IRS audits of 2011, 2012 and 2013 were concluded during 2015 and by letter dated July 1, 2015, we were notified by the IRS that
no changes would be needed to the tax returns filed for those years. All years subsequent to 2013 remain open for examination and we
have not been notified by the IRS of any impending examinations.
      In 2012, the Texas Comptroller of Public Accounts completed franchise tax audits for the fiscal years ended June 30, 2007, 2008
and 2009. Based on the results of those audits, the Texas Comptroller of Public Accounts and the Company reached a settlement
pursuant to which the Company paid a total of $0.3 million in additional taxes and interest related to the three years covered by the
audit. All years subsequent to fiscal 2009 remain open for examination and we have not been notified by the Texas Comptroller of
Public Accounts of any impending examinations.
     Our income tax benefit was comprised of the following for the periods presented (in thousands):

                                                                                  Year Ended December 31,
                                                                              2021         2020         2019
                            Current:
                             Federal                                      $      -       $ (2,079)    $   (2,079)
                             State                                             1,457          (71)           494
                            Deferred
                             Federal                                            2,203     (41,214)        (8,936)
                             State                                                130         (84)           283
                            Valuation allowance                                (2,738)     27,703            -
                            Income tax expense (benefit)                  $    1,052     $ (15,745)   $ (10,238)




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     The provision for income taxes differs from the amount computed by applying the statutory federal income tax rate to income
before income taxes. The reasons for this difference are as follows for the periods presented (in thousands):

                                                                                              Year Ended December 31,
                                                                                   2021                2020                  2019
          Income (loss) before income taxes                                    $       18,589       $       (203,909)    $    (51,729)
          Statutory federal income tax rate                                               21%                    21%              21%
          Computed "expected" federal income tax benefit                                3,904                (42,821)         (10,863)
          Increase (decrease) in tax resulting from:
            Credit for increasing research and development activities                  (1,376)                 (305)                (150)
            State tax, net of federal benefit                                           1,254                  (122)                 614
            Other, net                                                                      8                  (200)                 161
          Valuation allowance                                                          (2,738)               27,703                  -
          Total income tax expense (benefit)                                   $        1,052       $        (15,745)    $    (10,238)



NOTE N – SUPPLEMENTAL DISLOSURES OF CASH FLOW INFORMATION

     Cash paid (received) for interest and taxes, for the periods presented, were as follows (in thousands):

                                                                                              Year Ended December 31,
                                                                                       2021              2020         2019
             Interest payments, net                                                $    110,149         $     104,245    $    52,099
             Income tax payments (refunds), net                                              25                (1,662)        (1,912)


NOTE O – COMMITMENTS AND CONTINGENCIES

      We lease office space, dock space, tank cars, barges, tugboats and various types of equipment under non-cancelable operating
leases expiring on various dates through December 2033. The future minimum lease payments under non-cancelable operating leases,
typically in excess of one year, at December 31, 2021 consisted of the following (in thousands):

                                                    2022                           $      40,558
                                                    2023                                  36,000
                                                    2024                                  29,163
                                                    2025                                  27,498
                                                    2026                                  23,764
                                                    2027 and thereafter                   76,203
                                                                                   $    233,186


      Rent expense included in operating expenses and general and administrative expenses was $20.5 million, $14.0 million and $13.7
million for 2021, 2020 and 2019, respectively. Rent expense included in cost of sales was $62.1 million, $61.1 million and $53.6
million for 2021, 2020 and 2019, respectively.

     1.      Purchase Commitments

     We have purchase commitments incident to the ordinary conduct of business. The prices of such purchase commitments are
based on indices, which are determined from the prevailing market rates for the associated products. These commitments generally
have provisions permitting cancellation upon satisfaction of notification requirements.

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     2.    Legal Matters

      From time to time, we are party to routine litigation incidental to the normal course of our business, consisting primarily of claims
for personal injury or exposure to our chemical products or feedstocks, and environmental matters. We intend to defend these actions
vigorously and believe, based on currently available information, that adverse results or judgments from such actions, if any, will not
be material to our financial condition, results of operations or cash flows. We record reserves for contingencies when information
available indicates that a loss is probable, and the amount of the loss is reasonably estimable. Management’s judgment may prove
materially inaccurate, and such judgment is subject to the uncertainty of litigation. Many of the personal injury or product exposure
lawsuits to which we are a party are covered by insurance subject to certain self-insured retention amounts.
      Our contractual arrangements with our customers and suppliers are typically very complicated and can include, for example,
complex index-based pricing formulas that determine the price for our feedstocks or finished products. Due to the complicated nature
of our contractual arrangements, we can, from time to time, be involved in disputes with our customers and suppliers regarding the
interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the normal course of our business,
seldom result in actual formal litigation, and are typically resolved in the context of the broader commercial relationship that we have
with the customer or supplier.
     On December 10, 2020, the Company received a notice from a customer asserting a purported breach of the parties’ MTBE sales
agreement. The customer asserted that it had properly exercised the right of first refusal provided in the sales agreement and that the
Company’s subsequent agreement with another customer constituted a breach of the sales agreement. While the Company disputes the
claim, the parties have reached a commercial resolution of the matter that includes a new supply agreement and release of claims.
      As described above, we record reserves for contingencies when information available indicates that a loss is probable, and the
amount of the loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment is subject to
the uncertainty of the dispute resolution or litigation process. As of December 31, 2021, we have not recognized any material reserves
related to unresolved disputes with customers and suppliers.
       In addition to the property claims, approximately 190 private party lawsuits, including five class actions, are pending in Texas
state court related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass.
Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court
cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th
District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to file short-
form petitions in the MDL proceeding, which currently includes approximately 7,640 individual plaintiffs. Approximately 640
individual plaintiffs have cases pending in Jefferson County, Texas (some of which are duplicative with cases in the MDL) which have
not yet been non-suited or abated. Additionally, more than 820 properties are the subject of litigation as a result of subrogation claims
filed by insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case Management
Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and a revised schedule
will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2 and Q3 2021 adding additional defendants
and many of those additional defendants have either moved to dismiss the claims against them or filed jurisdictional challenges. A
hearing on class certification is not expected before the second half of 2022 at the earliest.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
     Because these lawsuits, which we intend to vigorously defend, are in their early stages, we are unable to determine if a loss is
probable or estimate the amount or range of potential loss and therefore have not established any reserves, but we believe the amounts
involved may be material.
     Beyond the matters in active litigation, the Company has received other claims and demands, through its formal claims process


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and otherwise, from individuals, companies, and insurers claiming damages as a result of the incident. The Company is in the process
of reviewing these claims. It is possible some of these claims may result in additional litigation.

     3.       Environmental and Safety Matters

      Our Company is subject to federal, state, local and foreign laws, regulations, rules and ordinances from various governing agencies
that regulate human health, safety, security and the environment. These include, for example:

          •     The federal Resource Conservation and Recovery Act (“RCRA”) and comparable state laws that impose requirements for
                the generation, handling, transportation, treatment, storage, disposal and cleanup of waste from our facilities.
          •     The federal Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”) also known as
                “Superfund,” and comparable state laws that regulate the cleanup of hazardous substances that may have been released at
                properties currently or previously owned or operated by us or locations to which we have sent waste for disposal.
                    ▪    Under CERCLA and comparable State of Texas Laws, at this time TPC has not identified any liability of material
                         significance for previously disposed substances and wastes, or for remediation of contaminated property to
                         prevent future contamination.
          •     The federal Clean Water Act (“CWA”) and analogous state laws and regulations that impose detailed permit requirements
                and strict controls on discharges of wastewater from our facilities.
          •     The federal Clean Air Act (“CAA”) and comparable state laws and regulations that impose obligations related to air
                emissions, including federal and state laws and regulations that recently took effect or are currently under development to
                address greenhouse gas (“GHG”) emissions.
                    ▪    At this time, we anticipate that the Environmental Protection Agency’s (“EPA”) recently adopted Boiler
                         Maximum Achievable Control Technology (“MACT”) regulation package will only require the Company to
                         implement work practices, recordkeeping, and reporting, and will not require any substantial capital investments.
                    ▪    Regarding GHG emission requirements, the Company is subject to annual reporting of emissions and to air
                         permitting for projects but currently is not subject to any other requirements.
                    ▪    Air quality standards intended to protect the environment, including the National Ambient Air Quality Standards
                         (“NAAQS”) promulgated by the EPA to address ambient air quality concerns, continue to evolve. The federal
                         CAA requires that the EPA periodically review the science upon which the NAAQS are based and the standards
                         themselves. As a result of this review, the EPA has in recent years lowered certain NAAQS, including the
                         standards for sulfur dioxide, ozone and particulate matter, and may do so again in the future, for these or other
                         pollutants. Changes to the NAAQS may increase the cost of our operations, require the installation of emissions
                         controls, or reduce or delay available business opportunities.
          •     Chemical product safety regulation including the federal Toxic Substances Control Act (“TSCA”) and the Emergency
                Planning and Community Right-to-Know Act (“EPCRA”) that impose notification, reporting, record-keeping and testing
                requirements, and restrictions relating to chemical substances and/or mixtures as well as certain reporting on the storage,
                use and releases of hazardous chemicals to federal, state, and local governments.
                    ▪    TSCA reform legislation was enacted in June 2016, expanding EPA’s authority to review and regulate new and
                         existing chemicals. EPA’s implementation of this legislation may increase the cost of our operations, require
                         changes to our supply chain and logistics practices or delay available business opportunities.
                    ▪    Similar compliance laws related to chemical product safety in jurisdictions outside the United States where our
                         products are distributed such as the European Union’s regulatory framework concerning the Registration,
                         Evaluation and Authorization of Chemicals (known as REACH), may increase the cost of our operations, require
                         changes to our supply chain and logistics practices or delay available business opportunities.
                    ▪    In June 2013, the EPA finalized its second list of chemicals subject to its Endocrine Disruptor Screening Program
                         (“EDSP”) and included MTBE, a major product for the Company, in this final list. EPA will issue test orders to
                         manufacturers of MTBE at some time in the future, at which time TPC will be required to embark on an initial
                         two-year test program along with other MTBE manufacturers. TPC has joined a consortium with the other major
                         manufacturers of MTBE to manage the test program and share costs. Based on the results of the initial testing


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                      to determine if MTBE exhibits endocrine disrupting properties, EPA may decide some years in the future to
                      include MTBE in a second round of tests to evaluate MTBE’s potency as a potential endocrine disruptor.
         •   The Occupational Safety and Health Act and comparable state statutes, laws and regulations including OSHA’s Process
             Safety Management standard which imposes requirements on regulated entities relating to the management of hazards
             associated with highly hazardous chemicals.
                  ▪   The Company expects to incur capital expenditures in the future as part of our ongoing baseline capital
                      expenditure program to address the findings of ongoing process hazard assessments, including expenditures to
                      upgrade equipment and instrumentation.
         •   United States Department of Homeland Security’s Marine Transportation Security Act (“MTSA”) which establishes
             standards for security at marine-based chemical facilities.
      We are committed to maintaining compliance with applicable environmental, health, safety (including process safety) and security
(“EHS&S”) legal requirements, and we have developed policies and management systems intended to identify the various EHS&S legal
requirements applicable to our operations and facilities. We work to enhance and assure compliance with applicable requirements,
ensure the safety of our employees, contractors, community neighbors and customers, and minimize the generation of wastes, the
emission of air contaminants and the discharge of pollutants. These EHS&S management systems also serve to foster efficiency and
improvement and to reduce operating risks.
      In the ordinary course of business, we undertake frequent environmental inspections and monitoring and are sometimes subject to
investigations by governmental authorities. In addition, our production facilities require a number of environmental permits and
authorizations that are subject to renewal, modification and, in certain circumstances, revocation. Actual or alleged violations of
environmental laws or permit requirements or the discovery of releases of hazardous substances at or from our facilities could result in
restrictions or prohibitions on plant operations, significant remedial expenditures, substantial civil or criminal sanctions, as well as,
under some environmental laws, the assessment of strict and/or joint and several liability. Moreover, changes in environmental
regulations or the terms of our environmental permits could inhibit or interrupt our operations or require us to modify our facilities or
operations. Accordingly, environmental or regulatory matters may cause us to incur significant unanticipated losses, costs or liabilities.
      The Company has agreed to indemnify third parties for environmental and other liabilities pursuant to various agreements,
including asset divestiture agreements and leases. Many of these obligations contain monetary and/or time limitations, but others do
not provide for those limitations. The Company is not aware of any probable and reasonably estimable losses associated with any of
these obligations.
      Multiple federal, state and local government agencies responded to and are continuing to investigate the 2019 Port Neches incident.
The Company is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The
Occupational Safety and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant
in December 2019. OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three
willful citations with total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly
disagree with the characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took place August
5-6, and 19-20, 2021. The citations were not resolved, and OSHA filed its complaint on September 9, 2021. The proceeding has been
bifurcated into two separate trials, the first of which will take place in Q4 2022 and the second of which will occur in Q1 2023.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.




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NOTE P – EMPLOYEE BENEFITS

      1.    Retirement Plan

     We sponsor a defined contribution plan that is available to all full-time employees on the date of hire. The plan allows employees
to contribute up to 60% of their base compensation to a tax-deferred fund not to exceed $19,500 for 2021 and 2020 and $19,000 for
2019.
     For non-represented employees, we match at the rate of one dollar for each dollar contributed by the employee up to 5% of the
employee’s annual earnings. Non-represented employees also participate in our discretionary plan which, based on business
performance, may contribute up to 6% of the employee’s annual earnings.
     For represented employees, we match at a rate of one dollar for each dollar contributed by the employee up to 7% of the employee’s
annual earnings. Represented employees do not participate in the discretionary plan.
      Company contributions for both non-represented and represented employees vest immediately.
     Our expense to match employee contributions, including discretionary contributions, during the years ended December 31, 2021,
2020 and 2019 was $2.6 million, $2.0 million, and $5.6 million, respectively.

      2.    Stock Compensation Plans

      On December 29, 2012, Parent adopted the 2012 Long-Term Incentive Plan (the “2012 Plan”), which permits it to grant awards
of profit interests to certain of the Company’s officers and employees, in the form of Class B Management Interests and Class C
Management Interests (“Class B and Class C Interests,” collectively). The Class B and Class C Interests under the 2012 Plan constitute
performance-based awards, and the amount of payouts for these awards is based on the amount of distributable assets available upon
the occurrence of an Exit Event (defined below) to the general and limited partners at the time of their disposal, distribution or sale of
their ownership stake in the Company.
       We utilized a Monte Carlo simulation model to estimate the grant date fair value of Class B and Class C Interests granted on
December 29, 2012. The key factors that will create value in these awards include: (1) the year of the “Exit Event” (either an initial
public offering or subsequent public offering of the equity of the Company, or the merger, consolidation, sale of interests or sale of the
Company), (2) the probability that an Exit Event will occur in a particular year, which is based on management’s assessment of when
this is likely to occur, (3) the probability that the Exit Event will result in a sufficient return on invested capital to trigger a payout to the
Class B and Class C Interests, (4) the risk-free interest rate, which is based on the U.S. Treasury yield curve in effect at the time of grant
with maturities equal to the grant’s expected life, and (5) the ultimate exit value of the Company, which was estimated using a Monte
Carlo simulation.
     As of December 31, 2012, based on the results of the Monte Carlo simulation, we determined that no Exit Event timing or valuation
is more probable than any other and, therefore, were unable to determine a grant date fair value for the awards granted under the 2012
Plan and did not recognize any expense related to the awards in the year ended December 31, 2012. Additionally, there have been no
changes in events or circumstances since that original assessment as of December 31, 2012 that allowed us to determine an Exit Event
timing or valuation that is more probable than any other and, therefore, have been unable to determine a grant date fair value for any
awards granted under the 2012 Plan. Consequently, we did not recognize any expense related to the awards for the years ended
December 31, 2021, 2020 and 2019.
     The Company will continue to review the assumptions used to assess value of the awards granted under the 2012 Long-Term
Incentive Plan and if at any point in the future we are able to determine a probable timing or valuation of an Exit Event we will value
the awards and recognize compensation expense.

   3. Defined Benefit Pension Plan

      We sponsor a cash balance plan (the “Cash Balance Plan”) for the benefit of represented employees at the Port Neches facility.
Participation in the Cash Balance Plan is subject to terms of negotiated contracts. For participating employees, the Cash Balance Plan
benefit formula provides annual pay credits from 4% to 12% of eligible pay, depending on age and service, plus accrued interest. The
plan’s assets are maintained by trustees in separately managed portfolios consisting of equity and fixed income securities.




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     Provided below, as of and for the years ended, were the components of the changes in the benefit obligation and plan assets and a
reconciliation of the funded status to the liabilities recognized in the consolidated balance sheets (in thousands):

                                                                                               December 31,
                                                                                           2021           2020
                    Change in benefit obligation:
                     Benefit obligation at beginning of period                         $    18,207         $   22,647
                     Service cost                                                              703                946
                     Interest cost                                                             303                429
                     Benefits paid                                                          (2,752)            (6,231)
                     Actuarial loss                                                           (671)             1,119
                     Plan amendments                                                             -               (703)
                      Benefit obligation at end of period                                   15,790             18,207
                    Change in plan assets:
                     Fair value of plan assets at beginning of period                         9,714            14,777
                     Actual return on plan assets                                               654               317
                     Employer contributions                                                   2,487               851
                     Benefits paid                                                           (2,752)           (6,231)
                      Fair value of plan assets at end of period                            10,103              9,714
                    Unfunded status, end of period                                 $         (5,687)   $       (8,493)

                    Reconciliation of accrued liability:
                     Accrued liability at beginning of period                          $     (2,529)       $     (367)
                     Net periodic pension cost for the period                                  (784)           (1,174)
                     Total one-time costs                                                      (799)           (1,839)
                     Employer contributions                                                   2,487               851
                      Accrued liability at end of period                                     (1,625)           (2,529)
                    Accumulated amounts recognized in OCI (before tax)                       (4,062)           (5,964)
                    Net liability recognized in Consolidated Balance Sheets        $         (5,687)   $       (8,493)




    The net pension liability at both December 31, 2021 and 2020 were recorded in accrued liabilities.

     On April 30, 2020, the Company terminated 68 employees as part of a Reduction in Force (“RIF”) resulting from the Port Neches
incident. The Cash Balance Plan was re-measured as of April 30, 2020 to reflect settlement accounting, retroactive plan amendments,
and the RIF.
     Two plan amendments were executed in 2020 and resulted in a $702.2 million decrease in the projected benefit obligation .
       The one-time costs incurred of $1.8 million relate to the RIF and the resulting changes to the Cash Balance Plan. A curtailment
gain of $0.5 million was triggered at the April 30, 2020 RIF when the Cash Balance Plan’s expected future years of service decreased
by 54%. Additionally, settlement accounting was triggered initially on April 30 th when eligible employees elected a lump sum payment
and the lump sum payouts from the Cash Balance Plan exceeded the expected sum of the plan’s service cost and interest cost.
Settlement accounting was triggered two more times in 2020, for total settlement charges of $2.4 million, and three times in 2021, for
total settlement charges of $0.8 million.




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     Provided below, for the periods presented, were the components of net pension expense (in thousands):

                                                                             Year Ended December 31,
                                                                          2021             2020            2019
                          Components of net pension expense:
                           Service cost                             $          703     $        946    $     1,006
                           Interest cost                                       303              429            652
                           Expected return on assets                          (603)            (753)          (681)
                           Amortization of prior service cost                  (47)             (43)           (35)
                           Amortization of net actuarial loss                  428              595            443
                                                                    $            784   $    1,174      $     1,385


     The projected net pension expense for the year ending December 31, 2022 consists of the following components (in thousands):

                                Service cost                                                 $          647
                                Interest cost                                                           340
                                Expected return on assets                                              (622)
                                Amortization of prior service costs                                     (47)
                                Amortization of net actuarial loss                                      321
                                                                                             $         639



     The following actuarial assumptions were used to determine benefit obligations as of the dates presented:

                                                                              December 31,
                                                                          2021           2020

                              Discount rate                               2.29%            1.81%
                              Rate of compensation increase               4.00%            4.00%


     The following actuarial assumptions were used to determine net periodic benefit cost for the periods presented:

                                                                            Year Ended December 31,
                                                                     2021             2020          2019

                            Discount rate                           1.81%              2.70%           3.81%
                            Expected return on plan assets          6.50%              6.50%           6.50%
                            Rate of compensation increase           4.00%              4.50%           4.50%


     The measurement date for our Cash Balance Plan is as of the end of our fiscal year. Our Cash Balance Plan assets are managed
by outside investment managers. Our investment strategy with respect to the Cash Balance Plan assets is to maximize returns while
preserving principal. At December 31, 2021, Cash Balance Plan assets were invested 89.1% in equity mutual funds, 7.9% in fixed
income mutual funds and 3.0% in cash equivalents. The expected return on assets assumption was determined based on the anticipated
performance of the various asset classes in the Cash Balance Plan’s portfolio.
      The following table presents the Cash Balance Plan assets using the fair value hierarchy as of December 31, 2021. The fair value
hierarchy has three levels based on the reliability of the inputs used to determine fair value. See Note L Fair Value for a brief description
of the three levels under the fair value hierarchy.




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                           Category                              Total             Level 1           Level 2             Level 3

                           Cash and equivalents              $        304      $         304     $       -           $       -
                           Mutual funds - equity                    8,999              8,999             -                   -
                           Mutual funds - fixed income                800                -               -                   800

                                                             $ 10,103          $       9,303     $       -           $       800

     Provided below, for the periods presented, are benefit payments expected to be paid to eligible plan participants under our Cash
Balance Plan (in thousands):
                                              2022                                 $         1,933
                                              2023                                           1,541
                                              2024                                             533
                                              2025                                           1,737
                                              2026                                           1,281
                                              2027 and thereafter                            7,444

NOTE Q – CONCENTRATION RISKS

     We had sales to customers outside the United States during years ended December 31, 2021, 2020 and 2019 of $52.0 million,
$39.6 million and $123.5 million, respectively. Our top five customers accounted for an aggregate of 51.0%, 47.2%, and 43.3% of our
revenues for the years ended December 31, 2021, 2020 and 2019, respectively.
     Sales to customers who accounted for at least 10% of our sales for the periods presented were as follows:

                                                                             Year Ended December 31,
                                                                         2021         2020         2019
                             Trafigura Trading, LLC                      17%              15%                 *
                             Goodyear - SRI Global                       10%               *                 10%
                             Afton Chemical Corporation                   *               11%                 *
                             Lukoil Pan Americas, LLC                     *                *                 14%


                           * Less than 10%

     We perform ongoing credit evaluations of our customers and generally do not require collateral for accounts receivable.
Historically, our credit losses have been minimal.
     Customers who accounted for at least 10% of our accounts receivable balance, as of the dates presented were as follows:

                                                                                           December 31,
                                                                                       2021           2020
                           BASF TOTAL Petrochemicals LLC                               16%                      *
                           Afton Chemical Corporation                                  12%                     18%
                           Goodyear - SRI Global                                       10%                     12%

                           * Less than 10%

     A small number of suppliers for our feedstocks account for a significant percentage of our feedstock purchases. Our top five
suppliers accounted for an aggregate of 62.5%, 65.6%, and 48.3% of our vendor feedstock purchases in the years ended December 31,
2021, 2020 and 2019, respectively.


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                                                           TPC Group Inc.
                          NOTES TO CONSOLIDATED FINANCIAL STATEMENTS – (Continued)

      Some of the employees at our Port Neches facility are covered by collective bargaining agreements that expire on January 31,
2022. To the extent that we experience work stoppages in the future as a result of labor disagreements, a prolonged labor disturbance
at one or more of our facilities could have a material adverse effect on our operations.

NOTE R – SUBSEQUENT EVENTS

     Forbearance Agreement

     On February 3, 2022, after missing approximately $53 million in total interest payments due on February 1, 2022 on the Company’s
secured notes, the Company entered into a forbearance agreement with a group representing nearly 90% of the Company’s 10.875%
Notes and approximately 80% of the Company’s 10.5% Notes (the “Ad Hoc Group”). Under the forbearance agreement, the Ad Hoc
Group agreed to forbear from exercising remedies relating to the event of default for the Company’s failure to make the February 1
coupon payments within a 30-day grace period. The forbearance agreement is effective until April 18, 2022 and may be extended by
the Ad Hoc Group.
      In connection with the forbearance agreement, the Ad Hoc Group also agreed to provide the Company with approximately $52
million of additional liquidity in the form of a commitment to purchase additional 10.875% senior secured priming notes due 2024 (the
“Additional Notes”). On March 2, 2022, the Company entered into a Note Purchase Agreement, by and among the Company, TPC
Holdings, Inc. (“Holdings”), the subsidiary guarantors party thereto (the “Subsidiary Guarantors” and, together with Holdings, the
“Guarantors”) and the purchasers named therein, relating to the issuance and sale of $27,030,000 aggregate principal amount of the
Company’s additional 10.875% Senior Secured Notes due 2024. On March 11, 2022, the Company entered into a subsequent Note
Purchase Agreement, by and among the Company, Holdings, the Subsidiary Guarantors, and the purchasers named therein, relating to
the issuance and sale of $25,500,000 aggregate principal amount of the Company’s additional 10.875% Senior Secured Notes due 2024.
Proceeds from the sale of the Additional Notes will be used to support ongoing operations and to pay fees and expenses associated with
the transaction.
     Interest on the Additional Notes begins accruing on March 2, 2022, the issue date of the Additional Notes. Interest on the Notes
accrues at a rate of 10.875% per year, payable quarterly in arrears on February 1, May 1, August 1 and November 1 of each year,
commencing on May 1, 2022.

     Credit Agreement Amendment

      On March 2, 2022, the Company entered into Amendment No. 2 (the “ABL Amendment”) to Amended and Restated Credit
Agreement, dated as of August 2, 2019 (the “Existing ABL Credit Agreement”, as amended by Amendment No. 1, dated February 2,
2021, and the ABL Amendment, the “ABL Credit Agreement”) among the Company, the other subsidiary borrowers party thereto,
Holdings, the subsidiary guarantors party thereto, the lenders party thereto and Bank of America, N.A., as administrative agent. The
ABL Amendment, among other things, amended certain covenants contained in the Existing ABL Credit Agreement to permit the
incurrence of the Notes under the ABL Credit Agreement and to reflect certain other modifications.

     Insurance Proceeds - Proof of Loss

      On March 8th, 2022 we executed an additional unallocated Proof of Loss for $35.0 million under our property and business
interruption policies. As of the date of this filing, we have received $20.9 million and expect to receive the remainder of the proceeds
by the end of April 2022.




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               TPC Group Inc.
         QUARTERLY REPORT
           Quarter ended March 31, 2022




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Exhibits

Exhibit I – TPC Group Inc. Annual Report for the year ended December 31, 2021




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                                                      DEFINITIONS OF TERMS

     Capitalized and other terms used throughout this Quarterly Report, unless the specific context otherwise requires or indicates, have
the meanings ascribed to them below:

     •    ABL – our asset-based loan facility originally entered in December 2012, which was repaid, amended, and restated in
          conjunction with the refinancing of our debt on August 2, 2019 and again amended on February 2, 2021 to permit the issuance
          of the 10.875% Notes. The ABL is scheduled to mature in August 2024. For a detailed description of the ABL see Note G
          to our condensed consolidated financial statements on pages 31-37 of this Quarterly Report for the quarter ended March 31,
          2022;
     •    ASC - Accounting Standards Codification, which is the sole source of authoritative generally accepted accounting principles
          in the United States, other than rules and regulations issued by the Securities and Exchange Commission (SEC) that apply to
          SEC registrants;
     •    ASU - Accounting Standards Update, which the Financial Accounting Standards Board (FASB) issues to communicate
          changes to the ASC. ASUs are not authoritative standards;
     •    Company, us, we, and our - TPC Group Inc. and its subsidiaries;
     •    GAAP – Generally Accepted Accounting Principles in the United States;
     •    Gross profit contribution (“GPC”) - as used herein, is defined as revenue less cost of sales as reported in our consolidated
          statements of operations and comprehensive income. GPC is the residual amount that is available, after deducting the
          variable costs to produce and distribute our products from revenue, to cover all other expenses;
     •    Holdings - TPC Holdings Inc., a Delaware corporation, which, upon consummation of the Merger, became the direct parent
          of TPCGI. Holdings and Parent are affiliates of our Sponsors formed by investment funds affiliated with our Sponsors in
          order to acquire TPCGI;
     •    Merger – the December 20, 2012 merger of Sawgrass Merger Sub Inc., a Delaware corporation, which merged with and into
          TPCGI, with TPCGI surviving the Merger as a direct wholly-owned subsidiary of Holdings and an indirect wholly-owned
          subsidiary of Parent;
     •    New Term Loan – the Delayed Draw Term Loan Facility entered into on February 3, 2020, which provided for a delayed
          draw term loan of up to $70 million for a term of one year, and which the outstanding balance of $70 million was repaid with
          the net proceeds from issuance of the 10.875% Notes;
     •    Old Term Loan – the Senior Secured Delayed Draw Term Loan Facility, scheduled to mature in December 2020, for which
          the outstanding balance of $50 million was repaid with the net proceeds from issuance of the 10.5% Notes and which was
          terminated in conjunction with the refinancing of our debt on August 2, 2019;
     •    Parent - Sawgrass Holdings LP, a Delaware limited partnership, which, upon consummation of the Merger became the direct
          parent of Holdings and indirect parent of TPCGI. Parent and Holdings are affiliates of our Sponsors formed by our Sponsors
          in order to acquire TPCGI;
     •    Sponsors – investment funds sponsored by each of First Reserve Management, L.P. and SK Capital Partners;
     •    TPCGI - TPC Group Inc., a Delaware corporation, not including any of its subsidiaries;
     •    TPCGLLC - TPC Group LLC, a Texas limited liability company and the principal subsidiary of TPCGI;
     •    TPCPF - TPC Phoenix Fuels LLC, a Texas limited liability company and wholly owned subsidiary of TPCGLLC.
     •    8.75% Notes – the $805 million principal amount of Senior Secured Notes due in December 2020, which were redeemed
          with the net proceeds from issuance of the 10.5% Notes in conjunction with the refinancing of our debt on August 2, 2019;
     •    10.5% Notes – the $930 million principal amount of Senior Secured Notes due August 1, 2024 issued in conjunction with the
          refinancing of our debt on August 2, 2019. For a detailed description of the 10.5% Notes see Note G to our condensed
          consolidated financial statements on pages 31-37 of this Quarterly Report for the quarter ended March 31, 2022;
     •    10.875% Notes – the $153 million principal amount of Senior Secured Notes due August 1, 2024, which were issued on
          February 2, 2021 and for which a portion of the proceeds were used to repay and terminate the New Term Loan. Additional
          10.875% Notes were issued in March 2022 for an incremental $51.5 million. For a detailed description of the 10.875% Notes
          see Note G to our condensed consolidated financial statements on pages 31-37 of this Quarterly Report for the quarter ended
          March 31, 2022.

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                                                          Explanatory Note

       This Quarterly Report is highly confidential and has been prepared pursuant to the terms of the Indenture (the “10.5% Indenture”)
dated as of August 2, 2019, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and U.S.
Bank, National Association, as trustee and collateral agent, with respect to the 10.5% Notes, as amended by the Supplemental Indenture
dated as of February 2, 2021, and the Indenture (the “10.875% Indenture” and collectively with the 10.5% Indenture, the “Indentures”)
dated as of February 2, 2021, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and the
U.S. Bank, National Association, as trustee and collateral agent, with respect to the 10.875% Notes. Unlike companies with securities
that are registered under the Securities Exchange Act of 1934 (the “Exchange Act”) or traded on a national securities exchange, the
Company is not required to file reports with the Securities and Exchange Commission and, except as provided under the Indentures, the
Company is not required to deliver any reports to holders of its securities. As a result, this Quarterly Report does not include all the
information that would be required to be included in a Quarterly Report on Form 10-Q that is filed pursuant to the Exchange Act,
including, among other things, a description of the material risks faced by the Company. Moreover, this Quarterly Report does not
include all the information that may be material to holders of the Company’s securities, including the 10.5% Notes and the 10.875%
Notes, and should not be relied upon by any person in making an investment decision with respect to the Company’s securities. Except
as strictly required pursuant to the terms of the Indentures, the Company undertakes no obligation to update or revise any information
contained in this Quarterly Report. The Company’s Annual Report for the year ended December 31, 2021, which is attached hereto as
Exhibit I, is included for informational purposes only and has not been updated or revised.

      This Quarterly Report shall not constitute an offer to sell, or the solicitation of an offer to buy, any securities of the Company,
including the 10.5% Notes and the 10.875% Notes. Distribution of this Quarterly Report to any person other than holders of the 10.5%
Notes and the 10.875% Notes is unauthorized and any disclosure of any of its contents without the Company’s prior written consent is
prohibited. By accepting delivery of this Quarterly Report, you agree to the foregoing and not to make any photocopies, in whole or in
part, of this Quarterly Report or any documents or materials relating to the Company that are provided in connection with this Quarterly
Report.




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                           CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS

      This Quarterly Report contains forward-looking statements that do not directly or exclusively relate to historical facts. You can
typically identify forward-looking statements by the use of forward-looking words, such as “will,” “may,” “might,” “should,” “can,”
“could,” “project,” “believe,” “anticipate,” “expect,” “estimate,” “continue,” “potential,” “plan,” “forecast” and other words of similar
import. Forward-looking statements include information concerning possible or assumed future results of our operations, including the
following:

         •   business strategies;
         •   operating and growth initiatives and opportunities, including proposed capital projects;
         •   existing and expected competition and competitive position;
         •   market outlook and trends in our industry;
         •   expected financial condition;
         •   future cash flows, including insurance proceeds;
         •   liquidity needs, financing sources and availability;
         •   expected results of operations;
         •   future capital and other expenditures;
         •   availability and price of raw materials and inventories;
         •   the business cyclicality of the petrochemicals industry;
         •   effects of seasonality;
         •   plans and objectives of management or the sponsors;
         •   future compliance with orders and agreements with regulatory agencies;
         •   environmental matters;
         •   the impact of the COVID-19 pandemic on the global economy;
         •   expected outcomes of insurance settlements, legal, environmental or regulatory proceedings and their expected effects on
             our results of operations;
         •   expectations, strategies and plans for individual assets and products (including the ability to maintain plant utilization
             rates), business segments and the company as a whole;
         •   anticipated restructuring, divestiture and consolidation activities;
         •   cost reduction and control efforts and targets;
         •   compliance and other costs and potential disruption or interruption of production or operation due to accident, fires,
             explosions, interruptions in sources of raw materials, cyber security incidents, terrorism, political unrest, natural disasters
             or other unforeseen events;
         •   uncertainties relating to our Chapter 11 Cases, including but not limited to:
                      o our ability to obtain Bankruptcy Court approval with respect to motions in the Chapter 11 Cases;
                      o the effects of the Chapter 11 Cases on us and our various constituents;
                      o the impact of Bankruptcy Court rulings in the Chapter 11 Cases;
                      o our ability to develop and implement the Plan, whether that Plan will be approved by the Bankruptcy Court
                           and the ultimate outcome of the Chapter 11 Cases in general;
                      o the length of time we will operate under the Chapter 11 Cases;
                      o attendant risks associated with restrictions on our ability to pursue our business strategies;
                      o risks associated with third-party motions in the Chapter 11 Cases;
                      o the potential adverse effects of the Chapter 11 Cases on our liquidity;
                      o the potential material adverse effect of claims that are not discharged in the Chapter 11 Cases;
                      o uncertainty regarding our ability to retain key personnel; and
                      o uncertainty and continuing risks associated with our ability to achieve our stated goals and continue as a
                           going concern; and



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         •   any other statements regarding future growth, future cash needs, future operations, business plans and future financial
             results.

      These forward-looking statements represent our intentions, plans, expectations, assumptions and beliefs about future events and
are subject to risks, uncertainties and other factors, including risks and uncertainties such as volatility in the petrochemicals industry,
limitations on the Company’s access to capital, the timing and amount of insurance proceeds received, the effects of competition,
leverage and debt service, general economic conditions, third-party claims, governmental litigation and investigations, and extensive
environmental, health and safety laws and regulations. Many of those factors are outside of our control and could cause actual results
to differ materially from the results expressed or implied by the forward-looking statements.
      In light of these risks, uncertainties and assumptions, the events described in the forward-looking statements might not occur or
might occur to a different extent or at a different time than we have described. Except as may be required by applicable law or
agreement, we undertake no obligation to update or revise any forward-looking statements, whether as a result of new information,
future events or otherwise.




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                                                    EBITDA AND ADJUSTED EBITDA

      EBITDA and Adjusted EBITDA are not measures computed in accordance with GAAP. A non-GAAP financial measure is a
numerical measure of historical or future financial performance, financial position or cash flows that excludes amounts, or is subject to
adjustments that have the effect of excluding amounts, that are included in the most directly comparable measure calculated and
presented in accordance with GAAP in the balance sheets, statements of operations, or statements of cash flows (or equivalent
statements); or includes amounts, or is subject to adjustments that have the effect of including amounts, that are excluded from the most
directly comparable measure so calculated and presented.
      We are including a presentation of EBITDA and Adjusted EBITDA in this Quarterly Report because their presentation is required
under the Indenture governing the New Notes. In addition, the Indenture governing the New Notes contains debt incurrence ratios that
are calculated by reference to Adjusted EBITDA. Non-compliance with the debt incurrence ratios contained in the Indenture would
prohibit us from being able to incur additional indebtedness other than pursuant to specified exceptions.
      We calculate EBITDA as earnings before interest, taxes, depreciation and amortization and we calculate Adjusted EBITDA as
EBITDA, adjusted to remove or add back certain items, including the impact of butadiene price changes. These items are identified
below in the reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss), the GAAP measure most directly comparable to
EBITDA and Adjusted EBITDA. Our calculation of EBITDA and Adjusted EBITDA may be different from the calculations used by
other companies; therefore, they may not be comparable to other companies.
     The following table provides a reconciliation of EBITDA and Adjusted EBITDA to Net Loss for the periods specified (in
thousands).

                                                                                   Three Months Ended March 31,
                                                                                      2022             2021
                Net loss                                                       $          (42,697)     $          (73,291)
                   Income tax benefit                                                      (5,492)                (18,756)
                   Interest expense, net                                                   33,110                  28,157
                   Depreciation and amortization (1)                                       19,209                  19,328
                EBITDA                                                                      4,130                 (44,562)
                   Impact of butadiene price changes (2)                                    1,412                     (55)
                   Port Neches Incident (3)                                                (1,986)                  4,927
                   Non recurring items (4)                                                 18,128                  63,508

                Adjusted EBITDA                                                $           21,684      $           23,818


    (1) Includes depreciation, amortization of deferred turnaround and catalyst costs and amortization of patents for all periods presented.
    (2) Adjustment to remove the estimated temporary impact on our operating results of month-to-month changes in the contract price of butadiene.
        For further discussion see “Management’s Discussion and Analysis of Financial Condition and Results of Operations”.
    (3) Adjustment to remove the losses and costs incurred, net of actual and probable insurance recoveries, for the three months ended March 31,
        2022 and 2021, respectively, as a direct result of the Port Neches incident (discussed on pages 10-12).
    (4) Adjustments to remove the impact of certain non-recurring items for 2022 include $17.9 million of restructuring costs and incremental
        expenses directly related to our response to the COVID-19 pandemic and other miscellaneous costs of $0.2 million.




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MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

     The following discussion and analysis of our financial condition and results of operations should be read in conjunction with the
unaudited condensed consolidated financial statements and accompanying notes included in this Quarterly Report for the quarter ended
March 31, 2022, as well as the audited consolidated financial statements and related notes included in our Annual Report for the year
ended December 31, 2021 (attached as Exhibit I).

     Recent Development – Bankruptcy

      On June 1, 2022, we and certain of our subsidiaries filed voluntary petitions (the “Chapter 11 Cases”) for relief (the “Bankruptcy
Filing”) under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”).

      We are currently operating as debtors-in-possession in accordance with the applicable provisions of the Bankruptcy Code. We
have filed first day motions requesting the authority to pay employee wages and benefits, and pay certain vendors and suppliers in the
ordinary course of business. Under the Bankruptcy Code, we are authorized as a debtor-in-possession, to conduct normal business
activities and pay all associated obligations for the period following the Bankruptcy Filing. During the pendency of the Chapter 11
Cases, all transactions outside the ordinary course of business require the prior approval of the Bankruptcy Court.

      For the duration of the Chapter 11 Cases, our operations and ability to develop and execute our business plan are subject to the
risks and uncertainties associated with the Chapter 11 process. As a result of these risks and uncertainties, our assets and liabilities could
be significantly different following the outcome of the Chapter 11 Cases, and the description of our operations, properties and capital
plans included in this report may not accurately reflect our operations, properties and capital plans following the Chapter 11 Cases.

      During the Chapter 11 Cases, we expect our financial results to continue to be volatile as various restructuring activities and
expenses, contract terminations and rejections, and claims assessments significantly impact our consolidated financial statements. As a
result, our historical financial performance is likely not indicative of our financial performance after the date of the Bankruptcy Filing.
In addition, we have incurred significant professional fees and other costs in connection with preparation for the Chapter 11 Cases and
expect that we will continue to incur significant professional fees and costs throughout our Chapter 11 Cases.

     Overview

     We are a leading North American producer of value-added products derived from petrochemical raw materials such as C4
hydrocarbons. Our products are sold to producers of a wide range of performance, specialty and intermediate products, including
synthetic rubber, fuels, lubricant additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 10-12).
     We also provide critical infrastructure and logistics services along the Gulf Coast. Both our Houston processing facility and our
terminals provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers and
raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and ocean-
going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served by
barges.
     The primary drivers of our businesses are general economic and industrial growth. For a more detailed discussion, see page 9 of
our Annual Report for the year ended December 31, 2021 (attached as Exhibit I).

Material Industry and Business Trends

     For a detailed historical perspective of material industry trends, see “Management’s Discussion and Analysis of Financial
Condition and Results of Operations’ on pages 9, 10 and 11 of our Annual Report for the year ended December 31, 2021 (attached as
Exhibit I).

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Current Market and Business Conditions

     The effects of COVID-19 on our operating results have dissipated in 2022. However, we are watching the shutdowns currently
happening in Shanghai and other parts of China. So far, we have not seen any material impact on our business.
      Demand in all but one of our business segments is strong and is now back at, or above, pre-COVID-19 levels. The one exception
is our raffinate business used in the production of alkylate, a key octane blend stock in premium gasoline. Recent refinery operating
changes are generating additional alkylate feedstock within the refineries. This is causing them to reduce their outside purchases taking
us back to demand levels we saw in the second and third quarters of last year. Alternative outlets that we developed last year have been
secured to keep inventory at reasonable levels.
      With the onset of hostilities between the Ukraine and Russia, commodity pricing has seen a significant increase with WTI crude
reaching a high of $123 per barrel, currently sitting in the $100-$110 per barrel range. Crude oil and natural gas prices are now well
above pre-COVID-19 levels and are supportive of stronger prices and margins in all of our businesses. Supply-demand fundamentals
are strong in our butadiene, butene-1, PIB, DIB, and MTBE businesses. Strong industry demand along with planned industry outages
for butadiene producers late in the first quarter and through May of 2022 should provide continued support for the current pricing levels
through the second quarter of 2022 for this key product line. Butadiene pricing hit its low point in January but has since moved up 3
cents per pound in each of February and March to 68 cents per pound. With solid demand and industry supply constraints continuing,
the April contract price settled up 11 cents to 79 cents per pound. May pricing has settled at a rollover from April.
      We have largely recovered from the operating issues that plagued our HNO operations during much of 2021. We have
successfully restored our utility boiler operations and brought steam production back toward nameplate capacities. In concert with this,
we have significantly improved our water quality management system. One of our boilers (boiler 11) has been constrained by a faulty
economizer which reduces steam production by 10%-15% but otherwise the boiler is running fine. We still intend to replace our oldest
boiler (boiler 9) with a new boiler (boiler 12) by the end of 2023 or first half of 2024 but until that is completed, the reliability of boiler
9 is a risk. We also completed three significant turnarounds in the fourth quarter, one in our butadiene system bringing butadiene
capacity back to full capacity, one on our turbogenerator, and the other in our hydrotreating unit. The work on the hydrotreating unit
has now allowed us to achieve an increase in butene-1 production levels here early in the first quarter of 2022. The new catalyst we
installed in the hydrotreater has not yet allowed for the full increased production we had expected, but as work continues to optimize
the new catalyst, we expect to get closer to our targeted production levels. We just completed a successful catalyst skim and mini
turnaround on our dehydro unit in the February-March period. We are in the process of optimizing production rates with the new
catalyst installed during the turnaround.
      Production under the long-term contract with BASF-TOTAL Petrochemical (“BTP”) for crude C4 processing that TPC signed in
early 2021 began on a small scale in mid first quarter 2021 and grew steadily throughout the rest of the year. Work continues at our
Port Neches terminal to upgrade our capabilities as BTP is expected to be in position to take an additional step change in crude C4
processing by mid-year 2022, after BTP completes its 69-day planned turnaround of its C4 processing unit. The BTP turnaround has
limited butadiene production since its shut-down in mid-March. The higher processing rates expected post the turnaround are part of
our overall plan to restore TPC’s butadiene production levels back to pre-PNO incident levels. Cracking of very light feedstocks by
the ethylene industry and a number of unplanned outages at some of our CC4 suppliers has further limited CC4 supply and thus butadiene
production. We have been able to move available crude C4 from Port Neches with the BTP turnaround over to our Houston plant in
order to run our butadiene extraction at capacity. This combined with the import of BD from Asia has allowed us to maintain BD sales
close to contract levels.
     MTBE margins, which ended 2021 on a strong note, have continued to strengthen in early 2022. Current MTBE-isobutane
spreads have grown to surpass the past five-year highs reaching over 200 cents per gallon. This combined with slight price reductions
in methanol in the first quarter from its peak pricing in the fourth quarter are helping margins in this key product area for TPC.
      Demand for PIB was at record levels in the first quarter of 2022, with March being an all-time sales record. Forecasted demand
for the balance of the year is strong. However, we continue to watch miles driven data with the significant uptick in fuel pricing as this
could impact demand for fuel and lubricant additives, a key segment for demand of PIB. Likewise, demand for DIB is at record levels
supported by very strong domestic and export sales. Non-formula pricing for PIB and DIB products moved up in March and again in
April driven by rising feedstock costs and supported by strong demand.

     The Company is seeing various pressures which are impacting the costs and timing of its capital projects and turnarounds. These
pressures include credit concerns, supply chain constraints and general inflationary pressures. It is likely that certain projects will be
more expensive and will be delayed from the Company’s 2022 annual operating and long-range plans.




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Dock Incident – 2018

      On June 13, 2018, an ocean-going bulk carrier navigating in the Port of Houston Ship Channel veered off course and struck a barge
stationed at our primary Houston facility dock. The incident caused substantial damage to both the barge and the dock facilities. There
were no significant injuries and there was no environmental impact from the incident.
      The damaged dock was returned to full barge and ship service in August 2018 after temporary repairs of approximately $5 million
which, excluding a $0.25 million deductible, were reimbursed from insurance proceeds in September 2018. The insurance proceeds
were accounted for as an offset to the actual dock repair costs. The total amount of the insurance deductible and uninsured logistics
and legal expenses recognized in our reported 2018 earnings was $1.5 million and the margin on estimated lost sales volume was
approximately $6.0 million. The revenue and cost of sales related to the lost sales volume for the C4 Processing segment were estimated
to be $4 million and $2 million, respectively, and for the Performance Products segment were estimated to be $13 million and $9 million,
respectively.
     We have reached an agreement with insurers on the scope of the rebuild and we are preparing for construction bids. The
expectation is to begin construction late in the second quarter of this year. We anticipate that the entire cost, which we currently
estimate to be $30-$35 million, will be reimbursed by our insurance carriers.

Port Neches Incident – 2019

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took place August 5-6, and 19-20,
2021. The citations were not resolved, and OSHA filed its complaint on September 9, 2021. The proceeding has been bifurcated into
two separate trials, the first of which will take place in Q4 2022 and the second of which will occur in Q1 2023.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management Compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,700 property claims have been resolved and approximately 1,400 additional eligible claims are pending action by the claimant in the
claims process. The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial
statements. The Company also provided an emotional support hotline staffed by licensed professional counselors from Samaritan
Counseling Center of Southeast Texas.
       In addition to the property claims, approximately 190 private party lawsuits, including five class actions, are pending in Texas
state court related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass.
Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court
cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th
District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to file short-
form petitions in the MDL proceeding, which currently includes approximately 7,800 individual plaintiffs. Approximately 322
individual plaintiffs have cases pending in Jefferson County, Texas (some of which are duplicative with cases in the MDL) which have
not yet been non-suited or abated. Additionally, more than 820 properties are the subject of litigation as a result of subrogation claims
filed by insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case Management
Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and a revised schedule

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will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2 and Q3 2021 adding additional defendants
and many of those additional defendants have either moved to dismiss the claims against them or filed jurisdictional challenges. The
jurisdictional motions have been argued to the MDL pre-trial Court and the parties await rulings. The Plaintiffs have also indicated
that they intend to add a new defendant to the litigation which will likely result in only further delays. A hearing on class certification
is not expected before the second half of 2022 at the earliest.
      Four different sets of insurance policies in effect at the time of the event provide coverage for costs and losses incurred as a
result of the Port Neches incident.
      On an event to date basis as of March 31, 2022, TPC has incurred a loss amount of $435.4 million associated with the PNO Event.
This amount consists of both response related costs and associated write offs. TPC anticipates recovering $260.3 million of this loss.
The estimate is subject to change as claims are evaluated. As of March 31, 2022, we have collected $568.1 million dollars of insurance
proceeds and have paid out $347.2 million. Information received in the fourth quarter of 2021 that categorizes the proceeds and
assurance that this amount is a floor amount, allowed a reclassification of proceeds from a Deferred Gain to a Recognized Gain. The
gain is due to the recoverable value of assets being more than the book value. Additional insurance collected in first quarter 2022 is
currently designated as unallocated and $27.6 million will be reflected as a deferred gain until more detail is received as to the final
allocation of those proceeds.
     The following table summarizes the PNO Event spend and reimbursements, event to date, as of March 31, 2022 (in millions):

                                          Loss       Anticipated       Net         Proceeds    Deferred                                 Invoices
              Insurance Policies         Amount       Recovery         Loss        Collected    GAIN              GAIN         BI         Paid
      Property/Business Interuption
      (BI)                               $   125.8    $     94.6   $        31.2   $   405.4   $   27.6       $    183.5   $    99.7    $    94.2
      Liability                              164.0         100.0            64.0       100.0       -                -               -       134.6
      Defense                                 62.4          35.2            27.2        35.2       -                -               -        60.6
      Pollution                               51.7          25.0            26.7        25.0       -                -               -        51.3
      Inventory                                6.6           5.5             1.1         2.5       -                -               -        -
      Not Recoverable                         24.9          -               24.9         -         -                -               -         6.5
                    Total                $   435.4    $    260.3   $    175.1      $   568.1   $   27.6       $    183.5   $    99.7    $   347.2

                                                                                                          .

     Property/Business Interruption Policies

      Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible is $10.0
million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying for business
interruption coverage. As of March 31, 2022, we have incurred a cumulative loss amount of $125.8 million which includes asset write-
offs of $34.4 million. It also includes a $3.9 million sale of metals that we recovered from PNO catalyst. We have paid $94.2 million
of invoices related to this policy. We have directly collected $403.7 million and had another $1.7 million paid on our behalf to a third
party under these policies, of which $99.7 million has been identified as business interruption coverage and $275.2 million as property
loss coverage which includes a gain of $183.5 million on assets where recoverable value is greater than book value. Additional proceeds
collected in the first quarter of 2022 are considered unallocated and the $27.6 million that does not directly offset costs is reflected as a
deferred gain at this time. We currently estimate that $94.6 million will be recoverable under this policy for property losses.

     Liability/Defense Policies

      Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of March 31, 2022, we have accrued third-party claim amounts of $164.0 million, have paid $134.6
million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $62.4 million and we
have collected $35.2 million of this amount. This is the total that we anticipate collecting for these defense costs. To date we have
paid $60.6 million of these defense cost invoices.

     Environmental/Pollution Policies

     Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of March 31, 2022, we have incurred
$51.7 million of costs, paid $51.3 million of those costs and have collected the full $25.0 million of coverage under this policy.

     Inventory Policy

     We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with

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a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We are also pursuing
recovery of another $2.8 million in logistics costs under this policy. We expect to recover the fair market value at the time of the event
on these materials which is estimated to be $4.5 million plus the logistics costs of another $1.0 million.

     Not Recoverable

      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits. As of March 31, 2022, this amount is $24.9 million. $18.8 million of this is a non-cash impact related to
the write off of turnaround amortization and $6.5 million of invoices have been paid.

Coronavirus – 2022

      On March 11, 2020, the World Health Organization declared the ongoing COVID-19 outbreak a pandemic and recommended
containment and mitigation measures worldwide. For employees who are considered essential and are working in plants, we adhere to,
at a minimum, government recommended protocols and best practices related to social distancing, hygiene and the use of additional
personal protective equipment. TPC’s Crisis Management Team (“CMT”) has helped to safely mitigate exposure risk by quickly
identifying and isolating any confirmed cases amongst our employees. These measures have not only enabled us to continue to operate
our facilities safely but have also helped TPC maintain a largely consistent supply chain. Additionally, the CMT has worked closely
with senior leadership to tailor a comprehensive Return to Workplace plan and TPC employees have returned to their onsite locations.
We continue to review the level of new cases as our employees' health and well-being remain a key priority.
      The effects of COVID-19 on our operating results have dissipated with government restrictions across the world easing and the
availability of vaccines to help prevent COVID-19 infections. We continue to monitor and assess the potential impact of COVID-19
and the possibility of future variants on our staff and operations and have implemented appropriate mitigation plans and will take
additional precautions as we believe are warranted. We also work with our suppliers to understand any potential impacts to our supply
chain, and at this time, we have not identified any material risks.

Technical Center Fire - 2021

       Early on the morning of January 9, 2021, the Technical Center, located on the southwest side of the Houston facility, which
contains quality control and research and development activities, had a fire in the mechanical room. TPC’s Emergency Response Team
responded and coordinated with local officials and emergency responders to quickly resolve the issue. There were no injuries to TPC
employees and no offsite or environmental impacts as a result of the event; however, one emergency responder sustained an ankle injury
while responding to the event. As a result of the fire, there is considerable damage to the facility and the housed equipment. In the
absence of a functioning laboratory facility, the Company had to secure short term outsourcing solutions for all of the quality control
testing needs immediately following the event. Since late February 2021, however, we have salvaged over 75% of the lab equipment
in the Technical Center and replaced the majority of the outsourced testing with in-house testing in a combination of TPC and rental
facilities, thereby substantially reducing the incremental costs. To reestablish the full necessary laboratory functionality for research
and development as well as quality control, we are evaluating options including expanded leased facilities, rebuild of the Technical
Center or new construction onsite.

February Weather Event (Uri) – 2021

      In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter weather.
Due to abnormally low temperatures for an extended period of time, facilities in the region experienced disruption to their operations,
resulting in lost production and additional maintenance costs. This event also caused the HNO plant to experience upset conditions
resulting in multiple days of unauthorized air emissions. The TCEQ has investigated this emission event and referred it to the Texas
Attorney General for civil enforcement. The Attorney General filed suit seeking civil penalties in connection with this event on
February 23, 2022. The incremental costs for repairs, higher energy costs and lost volumes related to this freeze event has resulted in
a cumulative loss of over $76 million.
Insurance Renewal

      We seek to maintain comprehensive insurance coverage at commercially reasonable rates. Although we carry property and casualty
insurance to cover certain risks, our insurance policies do not cover all types of losses and liabilities, and our insurance may not be
sufficient to cover the full extent of losses or liabilities for which we may be liable. Despite persistently tight insurance market
conditions, we have renewed all our expiring insurance coverages on substantially the same terms, however, at much higher premiums.
We have financed the premiums through an affiliate of our broker, requiring us to pay 25% of the premium upfront with the remainder


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payable in monthly installments through the end of May 2022. Although we have been able to replace our insurance in 2021, we may
not be able to do so or may not be able to finance the premiums in the future.

Results of Operations

     Contractual linkages of raw material costs and selling prices of finished products to commodity indices

      Most of our raw material feedstock costs and finished product selling prices are determined by application of contractual formulas
linked to commodity market indices and, in most cases, the indices used to determine raw material feedstock costs are the same indices
used to determine finished product selling prices.
     As of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model and which is more commensurate with the valuable and consistent service we
provide to the industry.
      Although linkage of most of our raw material costs and selling prices to the same indices and our restructured crude C4 supply
contracts provide some degree of consistency in our average material margin per pound (which we define as the difference between
average revenue per pound and average raw material cost per pound) during periods in which the underlying commodity indices are
relatively stable, there are various factors that can have a significant impact on our average material margin per pound, including those
listed below. Moreover, even a relatively minor increase or decrease in average material margin per pound can have a significant
impact on our overall profitability given the magnitude of our sales volumes.
         •   We may purchase raw material feedstocks in a given month based on market indices for that month, and then sell the
             related finished products in a later month based on market indices for the later month. Changes in selling prices of finished
             products, based on changes in the underlying market indices between the month the raw material feedstocks are purchased
             and the month the related finished products are sold causes variation in our average material margin per pound. For
             example, we may purchase the components of a crude C4 stream based on formulas that reflect the respective January
             commodity indices but then sell the finished products at pricing formulas based on the respective February commodity
             indices. If the indices for January and February are the same, we would expect to realize substantially the same unit
             margins regardless of the absolute value of the indices. However, for any components of the stream for which the
             respective index increases between January and February, we would expect to realize a temporary margin expansion until
             pricing stabilizes; and conversely, if the index decreases, we would expect to realize a temporary margin contraction. The
             magnitude of the effect on the average material margin per pound and the material margin percentage in a given month
             depends on the magnitude of the change in the underlying indices compared to the prior month and the quantity of inventory
             at the end of the prior month as a result of its impact on the moving average cost of finished products sold in the subsequent
             month.
         •   Although most of our supply and sales contracts contain index-based formulas, varying proportions of our raw material
             purchases and finished product sales are done on a spot basis or otherwise negotiated terms. In addition, while many of
             the index-based formulas in our contracts are simply based on a percentage of the relevant index, others apply adjustment
             factors to the market indices that do not fluctuate with changes in the underlying index. As supply and sales contracts are
             renegotiated, the amounts of such adjustment factors can change, thus the average material margin per pound would be
             impacted.
         •   Under some of our raw material purchase contracts, the cost of the raw materials is based on a percentage of the relevant
             market index, and under some of our sales contracts, the selling price of the related finished product is based on a higher
             percentage of the same market index. As a result, the average material margin per pound tends to be higher during periods
             in which the market indices are higher and tends to be lower during periods when the market indices are lower.
         •   Finished product selling price formulas under some of our sales contracts, primarily in the Performance Products segment,
             are based on commodity indices not for the period in which the sale occurs but for either a prior or subsequent period.
             The effect on average material margin per pound of the selling price formulas can be significant during times of rapidly
             increasing or decreasing market indices.

     Butadiene Price Impact

     As discussed above, a substantial portion of our finished product selling prices and raw material costs are linked to the same
commodity indices and this linkage mitigates, to varying degrees, our exposure to volatility in our profit margins. As also documented
above, as of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model, which are more commensurate with the valuable and consistent service we
provide to the industry. However, the stabilizing effect of these factors on our profit margins is lessened when we do not purchase the

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feedstock and sell the finished product in the same period. Regarding butadiene, which has historically been the largest individual
product line in our C4 Processing segment, the linkage between our raw material cost and finished product selling price is the published
contract price for butadiene. As a result of purchasing crude C4 in one month and selling finished butadiene in the subsequent month,
the GPC per pound we report in the subsequent month will expand when the price of butadiene increases and will contract when the
price of butadiene declines due to the impact of beginning inventory (quantity and unit cost) on the moving average cost of finished
butadiene sold in the subsequent month.
      As shown in the presentation of EBITDA and Adjusted EBITDA on page 7 of this Quarterly Report, we adjust EBITDA to remove
the estimated temporary impact on our reported GPC of the month-to-month changes in the contract price of butadiene. The rationale
for the adjustment is that the temporary impacts of butadiene price changes distort the underlying business performance.
     The table below shows, for each period presented, the impact on our reported GPC (in millions) of purchasing crude C4 in one
period and selling finished butadiene in a later period at higher or lower butadiene contract prices. The impact on reported GPC for
each period is the sum of the monthly impacts, which are dependent on the magnitude of the contract price change each month and the
quantity of butadiene inventory at the beginning of each month.
                                                                                        Three Months Ended
                                                                                             March 31,
                                                                                         2022        2021
                     Positive (negative) impact on GPC                                 $        (1)    $     -


     Average material margin per pound

     The table below provides the average material margin per pound (defined above) for each period presented.

                                                                                 Three Months Ended
                                                                                      March 31,
                                                                                   2022       2021

                              Average revenue per pound                           $    0.61     $     0.42
                              Average raw material cost per pound                      0.40           0.22
                              Average material margin per pound                        0.21           0.20

      As discussed above, our material margin per pound and reported GPC reflect the temporary impact of month-to-month changes in
the contract price of butadiene. As provided in the table above, and in the discussion of cost of sales for the first quarter of 2022
compared to the first quarter of 2021 on page 17, the impact of butadiene price changes on GPC was a negative $1 million in the current
year quarter and neutral in the prior year quarter. Excluding the temporary impact of butadiene price changes on both the current and
prior year quarters, average material margin per pound was $0.22 and $0.20 each of the three months ended March 31, 2022 and 2021,
respectively.




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   The following table summarizes the primary indices which impact our revenues and raw material costs by segment.

    Segment / Finished Product                            Revenues                         Raw Material Costs

C4 Processing Segment
 Butadiene                                  Butadiene                                Butadiene
 Butene – 1                                 Unleaded regular gasoline                Unleaded regular gasoline
 Raffinates                                 Unleaded regular gasoline                Unleaded regular gasoline

Performance Products Segment
 Polyisobutylene                            Isobutane                                Butane
 Diisobutylene                              Isobutane                                Butane
 MTBE                                       MTBE                                     Isobutane, methanol




   The following table summarizes the average commodity index prices for each period presented.

                                                                              2022            2021           % Chg.
             Average commodity prices:
              Butadiene (cents/lb) (1)                                          65.0              43.9           48%
              Unleaded regular gasoline (cents/gal) (2)                        277.6             174.3           59%
              Normal butane (cents/gal) (3)                                    158.8              94.1           69%
              Isobutane (cents/gal) (3)                                        160.4              93.0           72%
              MTBE (cents/gal) (2)                                             305.6             183.4           67%
              Methanol (cents/gal) (4)                                         184.8             148.2           25%

   (1) Industry pricing was obtained through IHS.
   (2) Industry pricing was obtained through Platts.
   (3) Industry pricing was obtained through Oil Price Information Service.
   (4) Industry pricing was obtained through J. Jordan.




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      The following table provides unaudited sales volumes, revenue, cost of sales, GPC and operating expenses by operating segment
(amounts in thousands) for the three-month periods ended March 31, 2022 and 2021. Please refer to this information, as well as our
unaudited condensed consolidated financial statements and accompanying notes included elsewhere in this Quarterly Report for the
quarter ended March 31, 2022, when reading our discussion and analysis of results of operations below. All information provided in
the table below, except sales volumes, is derived from our unaudited Condensed Consolidated Statements of Operations.

                                                                                      Three Months Ended
                                                                                           March 31,
                                                                                       2022        2021

                                   Sales volumes (pounds) (1):
                                     C4 Processing                                     407,165       275,064
                                     Performance Products                              267,268       187,455
                                                                                       674,433       462,519
                                   Revenue:
                                    C4 Processing                                 $ 246,013      $ 109,763
                                    Performance Products                            167,850         82,052
                                                                                  $ 413,863      $ 191,815
                                   Cost of sales (2):
                                    C4 Processing                                 $ 199,132      $    83,974
                                    Performance Products                            122,987           52,896

                                                                                  $ 322,119      $ 136,870

                                   GPC:
                                    C4 Processing                                 $     46,881   $    25,789
                                    Performance Products                                44,863        29,156

                                                                                  $     91,744   $    54,945

                                   Operating expenses (2):
                                    C4 Processing                                 $     36,348   $    31,404
                                    Performance Products                                24,171        19,860
                                                                                  $     60,519   $    51,264




    (1) Sales volumes represent product sales volumes only and do not include volumes of products delivered under tolling or similar arrangements,
        in which we do not purchase the raw materials, but process raw materials for another party for a specified fee.
    (2) Cost of sales does not include operating expenses, and cost of sales and operating expenses do not include depreciation and amortization
        expenses.




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Three months ended March 31, 2022 versus three months ended March 31, 2021

     Revenue

      Total revenue for the first quarter of 2022 was $413.9 million compared to $191.8 million for the first quarter of 2021. The
increase of $222.1 million, or 116%, reflected a 46% increase in overall sales volume and a 48% increase in average revenue per pound.
The higher overall sales volume reflected increased sales volumes in both operating segments. The increase in overall average revenue
per pound relates to an increase in average revenue per pound for both the C4 Processing segment and the Performance Products
segment. Variances in average selling prices for both operating segments mirror the variances in the commodity market indices to
which a substantial portion of our finished product selling prices are linked (see “Contractual linkages of raw material costs and selling
prices of finished products to commodity indices” on pages 13 - 14 and the table of commodity indices to which a substantial portion of
our selling prices are linked on page 15).
       C4 Processing segment revenue of $246.0 million for the first quarter of 2022 increased $136.2 million, or 124%, compared to
first quarter of 2021 revenue of $109.8 million. The higher revenue for the current year quarter reflected the combined impact of a
48% increase in sales volume, which had a positive impact of $63.5 million, and a 51% increase in average revenue per pound, which
had a positive impact of $72.7 million. The increase in sales volume relates to the Houston plant being offline for half of the first
quarter of 2021 due to the February freeze event. By the first quarter of 2022, the operational issues were resolved. The higher average
selling price for the segment reflected increases in the average benchmark price for butadiene and the average price of unleaded regular
gasoline of 48% and 59%, respectively (see the table of commodity indices to which a substantial portion of our C4 Processing segment
selling prices are linked on page 15).
      Performance Products segment revenue for the first quarter of 2022 was $167.9 million compared to $82.1 million for the
comparable prior year quarter. The $85.8 million, or 105%, increase in revenue was driven by a 43% increase in sales volume, which
had a positive impact of $36.6 million. Again, the sales volumes were impacted by the February freeze event in first quarter of 2021.
Average revenue per pound for the segment increased 43% resulting in a positive impact of $49.2 million. The higher average revenue
per pound reflects substantial increases in the prices of butane and MTBE of 69% and 67%, respectively (see the table of commodity
indices to which a substantial portion of our Performance Products segment selling prices are linked on page 15).

     Cost of Sales

      Total cost of sales for the first quarter of 2022 was $322.1 million compared to $136.9 million for the first quarter of 2021. The
overall increase reflected the combined impact of higher sales volumes, as discussed above, and the increase in the average cost of raw
materials included in the average cost of our finished products for both operating segments. Variances in raw material costs for both
operating segments reflected the variances in the commodity market indices to which a substantial portion of our raw material costs are
linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 13-14
and the table of commodity indices to which a substantial portion of our raw material costs are linked on page 15).
      C4 Processing segment cost of sales in the first quarter of 2022 was $199.1 million versus $84.0 million for the comparable prior
year quarter, resulting in an increase of $115.1 million. The increase is the combined impact of a 48% increase in sales volume,
discussed above, and an 84% increase in raw material costs. The raw material pricing on a cents per pound basis was higher in the first
quarter of 2022 than the first quarter of 2021 due to increases in the average benchmark price for butadiene and the average price of
unleaded regular gasoline of 48% and 59%, respectively (see the table of commodity indices to which a substantial portion of our C4
Processing segment raw material costs are linked on page 15). As discussed above, in spite of the linkage between the cost of crude
C4 we purchase and the price at which we sell finished butadiene, our average raw material costs and profit margins in a given period
are impacted by purchasing crude C4 in one period and selling finished butadiene in a subsequent period during times of butadiene price
volatility. As a result of such month-to-month movements in the contract price of butadiene, our profit margins in the first quarter of
2022 reflected a negative butadiene pricing impact of $1.4 million.
      Performance Products segment cost of sales was $123.0 million in the first quarter of 2022 compared to $52.9 million for the
comparable prior year quarter. The $70.1 million increase reflected a 43% increase in sales volume, as discussed above. There was
also an 88% increase in the average cost of the raw material component of the finished products sold. The higher average cost of raw
materials reflected increases in the average price of butane, isobutane, and methanol of 69%, 72% and 25%, respectively (see the table
of commodity indices to which a substantial portion of our Performance Products segment raw material costs are linked on page 15).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in the overall average revenue per pound and average raw material cost per pound for the first quarter of 2022 compared
to the first quarter of 2021



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     Operating Expenses

     Operating expenses incurred in the first quarter of 2022 were $60.5 million compared to $51.3 million for the prior year quarter.
The $9.2 million increase reflected $5.0 million higher manufacturing expenses, $0.9 million higher 401K costs, $0.4 million higher
benefits, $0.8 million higher insurance, $0.6 million higher property taxes, $ 0.7 million higher sales and use taxes, $0.5 million higher
supply chain costs and higher selling expenses of $0.3 million.

     General and Administrative Expenses

     General and administrative expenses in the first quarter of 2022 were $9.4 million compared to $8.3 million in the first quarter of
2021. The increase of $1.1 million included increases across several teams including human resources, accounting, legal, information
technology, 401K and other administrative costs. This was partly offset by $0.8 million lower incentive compensation expense.

     Depreciation and Amortization

      Depreciation and amortization expense in the first quarter of 2022 was $19.2 million compared to $19.3 million for the comparable
prior year quarter. The $0.1 million decrease reflected lower net turnaround and higher catalyst amortization of $0.3 million partly
offset by $0.2 million higher depreciation. The $0.2 million increase in depreciation reflected the net impact of depreciation on capital
additions less retirements. Higher depreciation on operating plant assets was partly offset by lower depreciation on technology and
leasehold improvement assets.

     Restructuring Costs and Restructuring Support Agreement

      Restructuring costs of $17.9 million incurred in the first quarter of 2022 relate to the ongoing discussions with financial
stakeholders to strengthen the Company’s financial structure for the long term. Some of these costs are incurred in part in connection
with the Restructuring Support Agreement, under which certain holders of the 10.5% Notes and the 10.875% Notes, and certain other
parties named therein, agreed to implement a restructuring pursuant to a chapter 11 plan of reorganization (the “Plan”). The agreement
contemplates that such holders will vote in favor of the Plan, and also contemplates certain other transactions. For more on the
Restructuring Support Agreement, see Note R – Subsequent Events.

     Loss (gain) on Port Neches Incident, net

      The quarter over quarter change from first quarter 2021 to first quarter 2022 was a gain of $6.9 million. This was driven by a sale
of metals recovered from PNO Catalyst in first quarter 2022 of $3.9 million as well as a reduction in the amount of claims by $3.5
million which was overstated in the first quarter of 2021 for commercial claims. These reductions were somewhat offset by an
additional $0.5 million of Environment, Defense, and Non-Recoverable costs incurred during the first quarter 2022.

     COVID-19 Expenses

     The expense of $0.1 million represents the incremental expenses directly related to our response to the COVID-19 pandemic.

     Gain on Disposal of Assets, net

      The Company recognized a net gain on disposal of assets of $0.5 million for the first quarter of 2022. The net gain is the excess
of property loss insurance proceeds collected over the book of certain assets impacted by the PNO incident.

     Freeze Event Expenses

     The $0.2 million of freeze event expenses for the three months ending March 31, 2022 relate to costs incurred as a result of extreme
winter weather experienced in February 2021 by large parts of the southern United States, including Texas and Louisiana where the
Company’s operations are located. The costs include extensive emergency repairs, utility costs and overtime personnel costs.

     Technical Center Event Expenses

     In January of 2021 a fire occurred in the Technical Center at the Houston Plant. The Technical Center is used for quality control
and research and development activities. The $0.3 million of Technical Center fire expenses for the three months ending March 31,
2022 relates to costs incurred as a result of a fire.


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     Interest Expense

      Interest expense for the first quarter of 2022 was $33.1 million compared to $28.2 million for the first quarter of 2021. The $4.9
million increase was primarily due to $3.1 million higher interest expense on the 10.875% Notes, higher ABL interest of $0.7 million
and the absence of favorable prior year net deferred financing costs of $1.6 million on the New Term Loan as exit and extension fee
costs were not exercised as originally anticipated. This was partly offset by $0.5 million lower all other interest which includes $0.6
million lower interest on the New Term Loan which was repaid in 2021 with the net proceeds from issuance of the 10.875% Notes.


     Income Tax Benefit

     The effective income tax rates for the first quarters of 2022 and 2021 were the projected effective rates for the full years 2022 and
2021 of 11.4% and 20.4%, respectively. The projected effective rate for the full year 2022 and 2021 reflected the federal statutory rate
of 21% on a projected pretax loss, reduced by the projected state income taxes and permanent differences.

Liquidity and Capital Resources

      As of March 31, 2022, our financing arrangements consisted primarily of the 10.875% Notes, the 10.5% Notes, and our ABL
credit facility. In addition, we financed our 2021 insurance renewal premiums through Aon Premium Finance LLC, an affiliate of our
Broker, Aon PLC.
      At March 31, 2022, we had total long-term debt of $1,224.0 million (including deferred financing costs of $14.0 million and debt
discount of $3.0 million), which consisted of the 10.875% Notes of $205.5 million and the 10.5% Notes of $930.0 million. Cash on
hand was $110.5 million (excluding $1.3 million of restricted cash) and we had no short-term money market investments (with maturities
of less than three months) or short-term investments (with original maturities between 90 days and one year).
     As of March 31, 2022, we had $105.5 million of borrowings outstanding on the ABL and a $50 thousand letter of credit. The
combined ABL Revolver and ABL FILO borrowing bases as of that date provided approximately $25.6 million of additional borrowing
capacity, which, together with our unrestricted cash, provided us with approximately $136 million of liquidity.
      We are currently engaged in discussions with our stakeholders, including our lenders and noteholders and their advisors and other
economic stakeholders, regarding optimizing our capital structure. In connection with these discussions, on February 3, 2022, the
Company entered into a forbearance agreement (the “Forbearance Agreement”) with a group representing nearly 90% of the Company’s
10.875% Notes and approximately 80% of the Company’s 10.5% Notes (the “Ad Hoc Group”). The Company did not make
approximately $53 million in total interest payments due on the 10.875% Notes and the 10.5% Notes on February 1, 2022: the payments
are subject to a 30-day grace period. Under the Forbearance Agreement, the Ad Hoc Group agreed to forbear from exercising remedies
relating to the event of default that occurred when the Company did not make the February 1 coupon payments within the 30-day grace
period. The Forbearance Agreement was initially effective until March 18, 2022 but was extended on March 16, 2022 until April 18,
2022, further extended on April 10, 2022 until May 23, 2022 and further extended by subsequent amendments until June 1, 2022. The
Forbearance Agreement was further amended on April 28, 2022 and May 11, 2022 such that the Ad Hoc Group agreed to forbear from
exercising remedies relating to the event of default related to failing to pay the May 1 coupon payment and from certain specified
reporting defaults. In connection with the Forbearance Agreement, the Ad Hoc Group also agreed to provide the Company with
approximately $52 million of additional liquidity in the form of a commitment to purchase additional 10.875% senior secured priming
notes due 2024 (the “Additional Notes”). On March 2, 2022 and March 11, 2022, TPC Group Inc. issued the additional 10.875% Senior
Secured Notes due 2024. Proceeds from the sale of the Additional Notes will be used to support ongoing operations and to pay fees
and expenses associated with the transaction. As discussed in Note D Going Concern to our 2021 Audited Consolidated Financial
Statements (attached as Exhibit 1), if we do not have sufficient liquidity from cash flow, proceeds from the Additional Notes, ABL
availability and proceeds from insurance policies to conduct our business operations in future periods, we may be required, but unable,
to refinance all or part of our existing debt, seek additional covenant relief from our lenders, sell assets, incur additional indebtedness,
or issue equity on terms acceptable to us, if at all. Therefore, our ability to continue our planned principal business operations would
be dependent on the actions of our lenders or obtaining additional debt and/or equity financing to repay outstanding indebtedness of the
secured notes and ABL.
      In addition, we have entered into a Restructuring Support Agreement with certain holders of the 10.5% Notes and the 10.875%
Notes, and certain other parties named therein. As a result of the restructuring pursuant to the Plan, we expect our financial results to
continue to be volatile as restructuring activities and expenses and claims assessments significantly impact our consolidated financial
statements. As a result, our historical financial performance is likely not indicative of our financial performance after the anticipated
chapter 11 filing. For more on the Restructuring Support Agreement, see Note R – Subsequent Events.




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     New Term Loan

      On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provided for a delayed draw term loan of up to $70.0 million and a term of one-year. Availability
under the Term Loan was limited to a maximum of four draws with a minimum of $5.0 million per draw. Subject to certain exceptions,
the Company’s obligations with respect of the Term Loan were secured by liens on and security interests in all collateral securing the
10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment with those liens and security interests
granted pursuant to the 10.5% Indenture. On March 18, 2020, we drew on the facility and received $70.0 million less a 1% original
issue discount fee. In May 2020 the lenders agreed to grant the Company the option to extend the maturity date to August 5, 2021.
This loan was repaid on February 2, 2021 with some of the proceeds received from issuance and sale of the 10.875% Notes.

     ABL Facility

      The ABL was initially composed of a $192.5 million revolving tranche (the “ABL Revolver”) and a $7.5 million “first-in-last-
out” tranche (the “ABL FILO”). Commitments under the ABL FILO were and will be reduced, and commitments under the ABL
Revolver equally and simultaneously increased, by $2.5 million on each of the first three anniversaries of the August 2019 amendment
and restatement of the ABL. Accordingly, the ABL is composed of a $197.5 million revolving tranche and a $2.5 million FILO tranche
as of March 31, 2022.
        The credit agreement governing the ABL contains covenants that impose restrictions on, among other things, additional
indebtedness, liens, investments, advances, guarantees and mergers and acquisitions. These covenants also place restrictions on asset
sales, sale and leaseback transactions, dividends, payments between us and our subsidiaries and certain transactions with affiliates
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable of the borrowers at such time and (b) the lesser of (1) 80% of the value of eligible
inventory and (2) 85% of the net orderly liquidation value of eligible inventory, of the borrowers at such time, less customary reserves.
The ABL includes a sub-limit for letters of credit.
      Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable of the borrowers and (b) 10% of the net orderly liquidation value of eligible inventory
of the borrowers at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.
     On February 2, 2021, the ABL was amended to permit the Company to issue $153 million of 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

      On March 2, 2022, the ABL was further amended to permit the Company to issue $52.53 million of additional 10.875% Notes, to
make certain changes in the amounts of permitted debt the Company can incur and to add certain additional covenants. This amendment
also limits the type of borrowings on the ABL to “base rate” loans and adjusted the applicable margins used to determine the interest
rate on loans.

     10.5% Notes

      The 10.5% Notes were issued on August 2, 2019 in conjunction with the refinancing of our debt. The net proceeds from the
issuance of the 10.5% Notes were $918.3 million after underwriters and other fees and expenses of $11.7 million. The net proceeds
from the issuance of the 10.5% Notes were used to redeem and pay accrued interest due on the 8.75% Notes of $816.2 million, to repay
the outstanding loan balance and pay accrued interest due on the Old Term Loan of $50.3 million and to repay the outstanding loan
balance and pay accrued interest due on the ABL of $35.9 million.
     The 10.5% Notes are due August 1, 2024 and interest is paid semi-annually in arrears on February 1 and August 1.
      The 10.5% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.
     On February 2, 2021 the 10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875%
Notes and to make certain other changes to certain covenants contained therein.

      The Company elected not to make the interest payment due February 1, 2022 on the 10.5% Notes and on February 3, 2022 entered
into a Forbearance Agreement with the 10.5% note holders as described above.


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     10.875% Notes

       On February 2, 2021 TPCGI issued and sold $153 million aggregate principal amount of 10.875% Notes to certain holders of the
10.5% Notes. The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by
all of the Company’s existing or future direct and indirect domestic subsidiaries, other than certain excluded subsidiaries (collectively,
the “Subsidiary Guarantors”).
      The net proceeds from the offering were used to repay and terminate the $70 million New Term Loan, to pay all fees and expenses
related to the transactions and for general corporate purposes. Interest on the 10.875% Notes began accruing on the issue date and is
payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each year, commencing on May 1, 2021. The 10.875
% Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness and
the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes are effectively subordinated to the ABL and
the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by assets or properties not constituting collateral
securing the 10.5% Notes to the extent of the value of such assets and properties. The 10.875% Indenture contains certain covenants,
agreements and events of default which are customary with respect to non-investment grade debt securities, including limitations on our
ability to incur additional indebtedness, pay dividends on or make other distributions or repurchase our capital stock, make certain
investments, enter into certain types of transactions with affiliates, create liens, sell certain assets or merge with or into other companies.
      The Company elected not to make the interest payment due February 1, 2022 on the 10.875% Notes and on February 3, 2022
entered into a Forbearance Agreement with the 10.875% note holders. At the same time, the 10.875% Indenture was amended to permit
the Company to issue additional 10.875% Notes and to make other changes to certain covenants contained therein. The Company also
elected not to make the interest payment due May 1, 2022 on the 10.875% Notes and on April 28, 2022, the Forbearance Agreement
was amended such that the Ad Hoc Group agreed to further forbear from exercising remedies relating to the event of default related to
failing to pay the May 1 coupon payment.
      Pursuant to the 10.875% Notes Indenture, upon the occurrence of, and solely during the continuation of, the Events of Default
relating to the missed coupon payments, the interest rate on the 10.875% Notes was increased by 2.00% per annum.
     On March 2, 2022 and March 11, 2022, TPCGI issued and sold approximately $26.5 million and $26.0 million of additional
10.875% Senior Secured Notes, respectively. The net proceeds from these offering were used to pay transaction expenses and for
general corporate purposes.

     Insurance Premium Financing

     As of March 31, 2022, we have $2.9 million remaining of the insurance premiums we financed through Aon Premium Finance
LLC. The first down payment and the first installment were paid in July 2021 and the remainder is payable in monthly installments
following the applicable renewal date through the end of May 2022.

     Sources and Uses of Cash

      Our principal sources of liquidity are our existing cash and cash equivalents, short-term investments, cash generated from
operations and borrowings under our ABL. In addition to these sources, another source of liquidity over the near-term will be insurance
proceeds received under our various insurance policies, including our property damage and business interruption policies. Business
interruption coverage became effective on January 12, 2020 after the forty-five-day deductible period and from that date on will replace
the earnings the Port Neches plant would have contributed except as a result of the explosion incident on November 27, 2019 that shut
down the plant. The timing of receipt of additional insurance proceeds under our policies is uncertain at this time. We may also, from
time to time, generate cash from opportunistic sales of non-core assets. Our principal uses of cash are to provide working capital, meet
certain debt service requirements, fund capital expenditures and finance our strategic plans, including possible acquisitions. We may
also seek to finance our capital expenditures under capital leases or other debt arrangements that provide liquidity or favorable borrowing
terms. Our business may not generate sufficient cash flows from operations and future borrowings under our ABL may not be available
to us in an amount sufficient to enable us to pay our indebtedness or to fund our other liquidity needs. Our ability to generate sufficient
cash depends on, among other factors, prevailing economic conditions, many of which are beyond our control. In addition, upon the
occurrence of certain events, such as a change in control, we could be required to repay or refinance our indebtedness. Any future
acquisitions, joint ventures or other similar transactions may require additional capital and there can be no assurance that any such
capital will be available to us on acceptable terms or at all.
      Our liquidity requirements will be significant primarily due to the annual debt service requirements on the 10.5% Notes, which
are estimated to be $97.7 million, annual debt service requirements on the 10.875% Notes, which are approximately $22.4 million, our
baseline capital expenditures, which fall within the range of $70 to $80 million per year but were $111.6 million in 2021 and forecast to
be approximately $107.5 million in 2022, our turnaround and catalyst costs, which would typically be in the range of $20 to $30 million


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in years we do not perform a dehydro unit turnaround and $35 to $40 million in years we do perform a dehydro unit turnaround, and
cash requirements related to the Port Neches incident in advance of insurance recoveries or in excess of insurance coverage limits.

     Cash Flow Summary

     The following table summarizes changes in cash and cash equivalents for the periods indicated (in thousands):

                                                                              Three Months Ended
                                                                                   March 31,
                                                                               2022        2021
                              Cash flows provided by (used in):
                               Operating activities                           $ (57,189)     $ (12,970)
                               Investing activities                             (23,009)       (23,723)
                               Financing activities                              29,407         64,830
                              Change in cash and cash equivalents             $ (50,791)     $ 28,137

     Operating Activities

      For the three months ended March 31, 2022, net use of cash for operating activities was $57.2 million. The net loss of $42.7
million, deferred turnaround and catalyst costs of $21.3 million, deferred income tax benefit of $5.5 million and an increase in working
capital of $36.0 million were partially offset by non-cash expenses of $48.3 million. Non-cash expenses consisted of depreciation and
amortization of $19.2 million, amortization of debt issuance costs of $1.6 million and non-cash expenses related to the Port Neches
incident of $27.5 million.
      Trade accounts receivable were $135.5 million at March 31, 2022 compared to $126.6 million at December 31, 2021. The
increase of $8.9 million reflected higher revenue of $19.7 million in March 2022 compared to December 2021 and a decrease in days
of sales outstanding from 31 days at December 31, 2021 to 29 days at March 31, 2022. Trade accounts receivable were 94 % and 98%
current at March 31, 2022 and December 31, 2021, respectively.
      Our inventory at March 31, 2022 was $91.0 million compared to $74.5 million at December 31, 2021. The $16.5 million
increase in inventory value reflected a 1% increase in total volume, which had an impact of $1.1 million, and a 20% increase in overall
average cost per pound, which had an impact of $15.4 million.
      For the three months ended March 31, 2021, net use of cash for operating activities was $13.0 million. The net loss of $73.3
million, deferred turnaround and catalyst costs of $0.8 million, and deferred income tax benefit of $18.8 million were partially offset by
non-cash expenses of $57.0 million and a decrease in working capital of $22.9 million. Non-cash expenses consisted of depreciation
and amortization of $19.3 million, amortization of debt issuance costs of $3.7 million and non-cash expenses related to the Port Neches
incident of $34.0 million.

     Investing activities

      During the quarters ended March 31, 2022 and 2021, we invested $23.0 million and $23.7 million, respectively, in the form of
capital expenditures.

     Financing activities

      Cash of $29.4 million was generated during the first quarter of 2022 from net proceeds of $51.5 million from issuance of the
Additional Notes, net payments of $8.5 million on the ABL, repayment of $11.5 million of financed insurance premiums, and debt
issuance costs of $2.1 million. Cash of $64.8 million was generated during the first quarter of 2021 from net proceeds of $150.0 million
from issuance of the 10.875% Notes partially offset by repayment of the $70.0 million New Term Loan, repayment of $9.8 million of
financed insurance premiums, and debt issuance costs of $5.4 million.

     Off-Balance-Sheet Arrangements

      We do not currently utilize any off-balance-sheet arrangements to enhance our liquidity and capital resource positions, or for any
other purpose.


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              CONDENSED CONSOLIDATED FINANCIAL STATEMENTS



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                                                                     TPC Group Inc.
                                               CONDENSED CONSOLIDATED BALANCE SHEETS
                                                 (In thousands, except share and per share amounts)

                                                                                                   March 31,      December 31,
                                                                                                     2022             2021
                                                                                                  (Unaudited)

                                                       ASSETS

            Current assets:
             Cash and cash equivalents                                                        $       110,472     $    159,313
             Restricted cash                                                                            1,298            3,248
             Trade accounts receivable                                                                135,525          126,645
             Insurance receivable - Port Neches incident                                                3,000            3,402
             Inventories                                                                               90,974           74,487
             Other current assets                                                                      33,592           41,371

                   Total current assets                                                               374,861          408,466

            Property, plant and equipment, net                                                        754,788          755,390
            Intangible assets, net                                                                      3,880            3,880
            Operating lease right-of-use assets, net                                                  148,662              -
            Other assets, net                                                                          82,608           55,521

                   Total assets                                                               $      1,364,799    $   1,223,257

                                  LIABILITIES AND STOCKHOLDER'S DEFICIT

            Current liabilities:
             Accounts payable                                                                 $       166,088     $    208,561
             Accrued liabilities                                                                      111,093           94,456
             Operating lease liabilities - current                                                     25,148              -
             Short-term debt                                                                            2,932           14,424
             Accrued liabilities - Port Neches incident                                                62,462           34,907

                   Total current liabilities                                                          367,723          352,348

            Long-term debt, net of deferred financing costs                                          1,224,032        1,181,528
            Operating lease liabilities - non current                                                  131,852              -
            Deferred income taxes                                                                       (5,492)             -

                   Total liabilities                                                                 1,718,115        1,533,876

            Commitments and contingencies

            Stockholder's deficit:
              Common stock, $0.01 par value, 2,000 shares authorized,
                1,030 issued and outstanding                                                               -               -
              Additional paid-in capital                                                               478,314         478,314
              Accumulated deficit                                                                     (830,471)       (787,774)
              Accumulated other comprehensive loss                                                      (1,159)         (1,159)

                   Total stockholder's deficit                                                        (353,316)       (310,619)

                   Total liabilities and stockholder's deficit                                $      1,364,799    $   1,223,257




The accompanying notes are an integral part of these condensed consolidated financial statements.
                                                                                      $           -               $           -




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                                                         TPC Group Inc.
           CONDENSED CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE LOSS
                                                           (In thousands)
                                                           (Unaudited)


                                                                                         Three Months Ended
                                                                                              March 31,
                                                                                         2022         2021
                   Revenue                                                            $ 413,863      $   191,815
                   Cost of sales (excludes items listed below)                          322,119          136,870
                   Operating expenses                                                    60,519           51,264
                   General and administrative expenses                                    9,385            8,259
                   Depreciation and amortization                                         19,209           19,328
                   Restructuring costs                                                   17,864              -
                   Loss on Port Neches incident, net of insurance recovery               (1,530)           4,927
                   COVID-19 expenses                                                        105              252
                   Gain on disposal of assets, net                                         (457)             -
                   Freeze event expenses                                                    160           29,849
                   Technical Center fire event expenses                                     274            4,956
                   Income (loss) from operations                                          (13,785)       (63,890)
                   Other expense:
                    Interest expense                                                       33,110         28,157
                    Other, net                                                              1,294            -
                   Loss before income taxes                                               (48,189)       (92,047)
                   Income tax benefit                                                      (5,492)       (18,756)
                   Net loss                                                           $ (42,697)     $   (73,291)

                   Comprehensive loss                                                 $ (42,697)     $   (73,291)




The accompanying notes are an integral part of these condensed consolidated financial statements.




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                                                         TPC Group Inc.
                             CONDENSED CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                           (In thousands)
                                                            (Unaudited)




                                                                                          Three Months Ended
                                                                                               March 31,
                                                                                         2022            2021


       Cash used in operating activities                                             $      (57,189)   $   (12,970)
       Cash flows from investing activities:
        Capital expenditures                                                                (23,009)       (23,723)
             Cash used in investing activities                                              (23,009)       (23,723)
       Cash flows from financing activities:
        Proceeds from issuance of 10.875% Notes                                              51,500        150,000
        Payment of Term Loan                                                                    -          (70,000)
        Net payments on ABL Facility borrowings                                              (8,500)           -
        Insurance finance repayments                                                        (11,492)        (9,778)
        Debt issuance costs                                                                  (2,101)        (5,392)
             Cash provided by financing activities                                          29,407          64,830
       Net Increase (decrease) in cash and cash equivalents                                 (50,791)        28,137
       Restricted cash, beginning of period                                                   3,248             -
       Cash and cash equivalents, beginning of period                                      159,313          18,452
       Restricted cash, end of period                                                         1,298             -
       Cash and cash equivalents, end of period                                      $     110,472     $    46,589




       stop here




The accompanying notes are an integral part of these condensed consolidated financial statements.




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                            NOTES TO CONDENSED CONSOLIDATED FINANCIAL STATEMENTS
                                                               (Unaudited)

NOTE A – BASIS OF PRESENTATION

     1.      Definition of Terms

      Certain terms used throughout these unaudited condensed consolidated financial statements and accompanying notes are defined
on page 3 of this Quarterly Report, which should be referred to when reading these interim unaudited condensed consolidated financial
statements and accompanying notes.

     2.      Organization

      The accompanying consolidated financial statements include the accounts of TPCGI and its direct wholly owned and indirect
subsidiaries. TPCGI’s direct wholly owned subsidiaries include TPCGLLC and Texas Petrochemicals Netherlands B.V., and its
indirect subsidiaries, which are all wholly owned subsidiaries of TPCGLLC, include Texas Butylene Chemical Corporation, Texas
Olefins Domestic International Sales Corporation, Port Neches Fuels LLC, TP Capital Corp., TPC Pipeline Holding Company LLC and
TPC Pipeline Company LLC.

     3.      Principles of Consolidation

     The Company’s unaudited condensed consolidated financial statements include the accounts of TPCGI and its direct and indirect
subsidiaries, after the elimination of all significant intercompany accounts and transactions. The unaudited condensed consolidated
financial statements presented have been prepared by us in accordance with GAAP.

     4.      Interim Financial Statements

     The unaudited condensed consolidated financial statements have been prepared in accordance with GAAP. Our December 31,
2021 Condensed Consolidated Balance Sheet data was derived from audited financial statements.

     The unaudited condensed consolidated financial statements contained in this Quarterly Report include all material adjustments of
a normal and recurring nature that, in the opinion of management, are necessary for a fair statement of the results for the interim periods.
The results of operations for the interim periods presented in this Quarterly Report are not necessarily indicative of the results to be
expected for a full year or any other interim period.

     The interim condensed consolidated financial statements should be read together with the audited consolidated financial statements
and related notes thereto included in TPC Group Inc.’s Annual Report for the year ended December 31, 2021, which is attached to this
Quarterly Report as Exhibit I.

      5.     Going Concern

       The consolidated financial statements of the Company have been prepared on a going concern basis, which contemplates the
realization of assets and the discharge of liabilities in the normal course of business. Our ability to actually continue on a going concern
basis is contingent on the Bankruptcy Court’s approval of the Plan and our ability to successfully implement the Plan and obtain exit
financing, among other factors. While operating as debtors-in-possession under Chapter 11, we may sell or otherwise dispose of or
liquidate assets or settle liabilities, subject to the approval of the Bankruptcy Court or as otherwise permitted in the ordinary course of
business, for amounts other than those reflected in the accompanying condensed consolidated financial statements. Further, the Plan
could materially change the amounts and classifications of assets and liabilities reported in the condensed consolidated financial
statements. The factors noted above raise substantial doubt about our ability to continue as a going concern. The accompanying
condensed consolidated financial statements do not include any adjustments related to the recoverability and classification of assets or
the amounts and classification of liabilities or any other adjustments that might be necessary should we be unable to continue as a going
concern or as a consequence of the Bankruptcy Filing.


NOTE B – DESCRIPTION OF BUSINESS
           See Note B to our Annual Report for the year ended December 31, 2021, which is attached to this Quarterly Report as Exhibit
I.

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NOTE C – RISKS AND UNCERTAINTIES RELATED TO THE COVID-19 PANDEMIC

       In March 2020, the World Health Organization declared the outbreak of coronavirus (COVID-19) to be a pandemic. The ultimate
impact and the extent to which the COVID-19 pandemic will continue to affect the business, results of operation and financial condition
is difficult to predict and depends on numerous evolving factors outside of the Company’s control including: the duration and scope of
the pandemic; government, social, business and other actions that have been and will be taken in response to the pandemic; and the
effect of the pandemic on short and long-term general economic conditions. This uncertainty also affects management’s accounting
estimates and assumptions, which could result in greater variability in a variety of areas that depend on these estimates and assumptions.

      Though government restrictions across the world (such as travel bans and restrictions, border closures and quarantines) have
generally eased and vaccines have become available to help prevent COVID-19 infections, a return to a more ordinary course of
economic and business activity is still dependent on the effectiveness of containment efforts, including the spread of additional virus
variants such as Delta and Omicron.

      The COVID-19 outbreak has impacted the addressable market for the Company’s products, and the Company’s business continues
to be exposed to risks and uncertainties related to the pandemic. The Company continues to work with our stakeholders (including
customers, suppliers, employees, business partners, and local communities) to mitigate the impact of the pandemic on our business.
Protecting the health and safety of our employees and their respective work locations while simultaneously maintaining business
continuity with our customers and suppliers continue to be key operational objectives.

NOTE D – RECENT ACCOUNTING DEVELOPMENTS

Accounting Guidance Issued but Not Yet Adopted as of March 31, 2022

        Accounting Standard Updates (ASU’s) issued in 2022, which include changes in accounting for derivatives, do not currently
impact or are applicable to TPC’s financials.

Accounting Guidance Issued and Adopted as of March 31, 2022

       Leases – As required for private companies, TPC implemented ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases are classified as finance or operating leases, with classification affecting
the timing and classification of expense recognition. TPC had no finance leases for the current reporting period. Additional lease
disclosures have been added in accordance with the requirements of the standard.

      Defined Benefit Plans – ASU 2018-14, Compensation—Retirement Benefits, amends disclosure requirements for employers that
sponsor defined benefit pension or other postretirement plans. For public business entities, the amendments are effective for fiscal years
ending after December 15, 2020. For all other entities the amendments are effective for fiscal years ending after December 15,
2021. Early adoption is permitted. The Company anticipates some changes to the disclosures required to comply with this standard.

      Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management does not expect that changes required by the new standard will materially impact the Company's financial statements and
related disclosures.

NOTE E – DETAIL AND DISCUSSION OF CERTAIN CONDENSED CONSOLIDATED BALANCE SHEET CAPTIONS

     Cash

     Our cash balances as of March 31, 2022 are comprised of cash and cash equivalents and restricted cash. Cash and cash equivalents
included amounts on deposit with banks, cash invested temporarily in investments with original maturities of three months or less, and
cash on hand. Restricted cash included amounts on deposit with a bank, held in escrow as defined by contractual agreements for the
purpose of funding our committed portion of contractual agreements for capital projects to be completed in less than one year. We
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maintain cash balances that are insured by the Federal Deposit Insurance Corporation (“FDIC”). As of March 31, 2022, we had $110.5
million in cash and cash equivalents and $1.3 million in restricted cash, totaling $111.8 million in total cash on deposit with banks,
which were subject to a $0.25 million per account FDIC insurance coverage limit. We believe the likelihood of any loss of cash and
cash equivalents is remote and that we are not exposed to any significant credit risk on cash and cash equivalents.

     Inventories
     Inventories, as of the dates presented, were as follows (in thousands) :

                                                                                    March 31,            December 31,
                                                                                     2022                   2021

                        Finished goods                                          $         50,302         $       41,444
                        Raw materials and chemical supplies                               40,672                 33,043
                                                                                $         90,974         $       74,487


     The $16.5 million increase in inventory value reflected a 1% increase in total volume, which had an impact of $1.1 million, and a
20% increase in overall average cost per pound, which had an impact of $15.4 million.

     Other Current Assets
     Other current assets, as of the dates presented, were as follows (in thousands):

                                                                                        March 31,            December 31,
                                                                                         2022                   2021
                   Prepaid insurance premiums                                       $          12,328        $       22,002
                   Spare parts inventory                                                       17,661                16,916
                   Prepaid expense and other                                                    3,603                 2,453
                                                                                    $          33,592        $       41,371

     Property, Plant and Equipment
     Property, plant and equipment, as of the dates presented, were as follows (in thousands):

                                                                                             March 31,       December 31,
                                                                                              2022              2021

                   Land and land improvements                                            $       52,839      $       52,839
                   Plant and equipment                                                        1,160,127           1,141,740
                   Construction in progress                                                     147,144             155,817
                   Other                                                                         60,467              58,073
                                                                                              1,420,577           1,408,469
                     Accumulated depreciation                                                  (665,789)           (653,079)
                                                                                         $     754,788       $      755,390




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     Intangible Assets
      There were no changes in the carrying amount of our intangible assets, for the three months ended March 31, 2022. The gross
carrying amounts and accumulated amortization of intangible assets, as of the dates presented, were as follows (in thousands):

                                                                           Gross                                Net
                                                                          Carrying         Accumulated        Carrying
                                                                           Value           Amortization        Value
                      March 31, 2022
                       Technology license                               $     3,880        $          -      $      3,880
                       Patents                                               23,100               (23,100)              -
                                                                        $    26,980        $      (23,100)   $      3,880


     Other Assets
     Other assets, as of the dates presented, were as follows (in thousands):

                                                                                       March 31,         December 31,
                                                                                        2022                2021
                             Deferred turnaround costs                             $        47,367       $       33,229
                             Catalyst and solvent costs                                     13,705               12,129
                             Other deferred charges                                         21,536               10,163
                                                                                   $        82,608       $       55,521


       The increase in the deferred turnaround and catalyst costs reflected the Dehydro mini turnaround and catalyst skim completed in
first quarter 2021. The increase in other deferred charges relates to the BASF-TOTAL Petrochemical (“BTP”) contract. Cash paid to
BASF and TOTAL to fund the construction of the pipeline are accounted for as a deferred asset, which TPC will amortize over the life
of the project once the pipeline becomes operational. Construction is scheduled to be completed in 2022. These cash outlays are not
treated as capital as TPC will not own the asset.

     Accrued Liabilities

     Accrued liabilities, as of the dates presented, were as follows (in thousands):
                                                                                           2022              2021
                           Accrued interest                                            $    74,192       $       43,917
                           Property and sales tax                                           11,575               14,154
                           Accrued payroll and benefits                                      3,152               10,705
                           Freeze related energy accrual                                     8,365                8,790
                           Accrued freight                                                   6,728                7,974
                           Net pension liability                                             5,584                5,687
                           Other                                                             1,497                3,229
                                                                                       $   111,093       $       94,456




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     Accrued Liabilities – Port Neches Incident

     Accrued liabilities for the Port Neches Incident, as of the dates presented, were as follows (in thousands):

                                                                                          March 31,              December 31,
                                                                                           2022                     2021

                  Total of losses and costs recognized                                $       435,324            $       436,573
                  Deferred gain on insurance                                                   27,639                        -
                  Invoices / settlements paid                                                (347,216)                  (343,952)
                  Unpaid invoices included in payables                                           (282)                      (758)
                  Sale of precious metals                                                       3,953                        -
                  Asset write-offs                                                            (56,956)                   (56,956)
                                                                                      $        62,462            $        34,907

                  Accrued response / clean-up costs                                   $        32,155            $         4,065
                  Estimated claims liability                                                   30,307                     30,842
                                                                                      $        62,462            $        34,907
                                                                                                             .

NOTE F – SHORT-TERM DEBT

     Our short-term financing arrangements at March 31, 2022 and December 31, 2021 included insurance premium financing. As of
March 31, 2022, we have $2.9 million of insurance premiums financed through Aon Premium Finance LLC. The first down payment
and the initial installment were paid in July 2021 and the remainder was payable in monthly installments following the applicable
renewal date through May of 2022. Our major insurance renewals are anticipated in the June 2022 through August 2022 timeframe.

NOTE G – LONG-TERM DEBT

     Outstanding debt as of the dates presented, was as follows (in thousands):
                                                                                      March 31,          December 31,
                                                                                        2022                 2021
                      10.5% Notes                                                 $        930,000       $           930,000
                      10.875% Notes                                                        205,530                   153,000
                      ABL                                                                  105,500                   114,000
                      Unamortized discount on Notes                                         (2,994)                   (2,214)
                      Total long-term debt                                                1,238,036              1,194,786
                        Less: deferred financing costs                                      (14,004)                 (13,258)
                      Long-term debt net of deferred financing costs              $       1,224,032      $       1,181,528




     Our financing arrangements at March 31, 2022 were comprised of the 10.875% Notes, the 10.5% Notes, and the ABL. As of
March 31, 2022, we were in compliance with all covenants set forth in the Indentures governing the 10.875% Notes and the 10.5%
Notes, subject to the Forbearance Agreement discussed above in this report.

     New Term Loan

     On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provided for a delayed draw term loan of up to $70 million and a term of one-year.

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     Availability under the New Term Loan was limited to a maximum of four draws with a minimum of $5 million per draw.

      Subject to certain exceptions, the Company’s obligations with respect of the New Term Loan were secured by liens on and security
interests in all collateral securing the 10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment
with those liens and security interests granted pursuant to the Indenture governing the 10.5% Notes. Interest payments were due
quarterly in arrears.

      On March 18, 2020, we drew on the facility and received $70.0 million less a 1% original issue discount fee. In May 2020 the
lenders agreed to grant the Company the option to extend the maturity date to August 5, 2021. The Term Loan was classified as long-
term debt as of December 31, 2020. This loan was repaid on February 2, 2021 with some of the proceeds received from issuance and
sale of the 10.875% Notes.

     ABL

     TPCGI is the lead borrower under the ABL and certain domestic subsidiaries of TPCGI are co-borrowers (or may be designated
co-borrowers) on a joint and several basis.
      The ABL was initially composed of a $192.5 million revolving tranche (the “ABL Revolver”) and a $7.5 million “first-in-last-
out” tranche (the “ABL FILO”). Commitments under the ABL FILO were and are reduced, and commitments under the ABL Revolver
equally and simultaneously increased, by $2.5 million on each of the first three anniversaries of the August 2019 amendment and
restatement. Accordingly, the ABL is composed of a $197.5 million revolving tranche and a $2.5 million FILO tranche as of March
31, 2022.
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable of the borrowers at such time and (b) the lesser of (1) 80% of the value of eligible
inventory and (2) 85% of the net orderly liquidation value of eligible inventory, of the borrowers at such time, less customary reserves.
The ABL includes a sub-limit for letters of credit.
      Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable of the borrowers at such time and (b) 10% of the net orderly liquidation value of eligible
inventory of the borrowers at such time, less customary reserves established from time to time to the extent not deducted in calculating
availability under the ABL Revolver.
     As of March 31, 2022, we had $105.5 million of borrowings outstanding on the ABL and a $50 thousand letter of credit. The
combined ABL Revolver and ABL FILO borrowing bases as of that date provided approximately $25.6 million of additional borrowing
capacity.
      The ABL Revolver commitments may be increased by an aggregate principal amount of not more than $150 million, subject only
to the consent of the new or existing lenders providing such increases. The lenders under this facility are under no obligation to provide
any such additional commitments, and any such increase in commitments will be subject to customary conditions precedent.
Notwithstanding any such increase in the facility size, TPCGI’s ability to borrow under the facility will remain limited at all times by
the borrowing base (to the extent the borrowing base is less than the aggregate commitments).
      On February 2, 2021, the ABL was amended to permit the Company to issue $153 million of the 10.875% Notes and to make
certain changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.
      On March 2, 2022, the ABL was further amended to permit the Company to issue $52.53 million of additional 10.875% Notes, to
make certain changes in the amounts of permitted debt the Company can incur and to add certain additional covenants. This amendment
also limits the type of borrowings on the ABL Facility to “base rate” loans and adjusted the applicable margins used to determine the
interest rate on loans. Loans under the ABL Revolver bear interest at a rate equal to the highest of (a) the federal funds rate plus 0.50%,
(b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR rate plus 1%, plus an applicable margin. The applicable margin
now ranges from 1.50% to 2.00% depending on monthly average excess availability.
     Loans under the ABL FILO bear interest at a rate equal to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America
N.A.’s “prime rate” and (c) the one-month LIBOR rate plus 1%, plus an applicable margin. The applicable margin with respect to
Loans under the ABL FILO now ranges from 2.75% to 3.25% depending on average monthly excess availability).
      In addition to paying interest on outstanding principal under the ABL, TPCGI is required to pay a commitment fee at an initial rate
of 0.500% per annum in respect of the unutilized commitments thereunder. The commitment fee rate subsequently may be reduced to

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0.375% depending on the monthly average unused amount of the commitments under the ABL. TPCGI must also pay customary letter
of credit fees and fronting fees for each letter of credit issued.
     If at any time the aggregate amount of loans and letters of credit outstanding under either the ABL Revolver or under the ABL
FILO exceeds the lesser of (a) the applicable total commitments and (b) the applicable borrowing base, TPCGI will be required to prepay
loans outstanding and/or cash collateralize outstanding letters of credit in an aggregate amount equal to the amount of any such excess,
without any reduction of the commitments. In circumstances when the aggregate amount available under the ABL is less than the greater
of (1) 12.5% of the lesser of (i) the total commitments under such facility and (ii) the borrowing base and (2) $12.5 million for 5
consecutive business days, or if certain defaults occur, all collateral proceeds collected through the cash management system in favor of
the collateral agent will be swept to a collection account and applied daily to repay outstanding loans and cash collateralize letters of
credit under the ABL until the availability has exceeded the applicable threshold for a period of 30 consecutive calendar days or until
such default ceases to be continuing.
     TPCGI may voluntarily repay loans outstanding under the ABL Revolver and under the ABL FILO at any time without premium
or penalty. All outstanding loans under the ABL Revolver must be repaid before any loans outstanding under the ABL FILO may be
repaid. Any subsequent borrowings under the ABL would be made first under the ABL FILO (subject to availability) and next under
the ABL Revolver (subject to availability). We may elect at any time to reduce the unutilized portion of the commitment amount under
the ABL.
      Pursuant to a Guarantee, dated as of August 2, 2019, among Parent, TPCGI, the other guarantors party thereto and Bank of America,
N.A., as administrative agent and collateral agent, all obligations under the ABL are unconditionally guaranteed by substantially all
existing and future, direct and indirect, wholly-owned material restricted domestic subsidiaries of TPCGI, subject to certain exceptions,
including, certain applicable legal, regulatory or contractual constraints and to the requirement that such guarantee will not cause material
adverse tax consequences.
     The borrowers under the ABL are jointly and severally liable for all borrowings and other obligations thereunder. Pursuant to a
Pledge and Security Agreement, dated as of August 2, 2019, among Parent, TPCGI, the subsidiary grantors and Bank of America, N.A.,
as administrative agent and collateral agent, and any additional borrowers that may become party thereto from time to time, such
obligations and the guarantees of such obligations are secured, subject to permitted liens and other exceptions, by:

     •    a first-priority lien on the following:

                  (a)       accounts receivable, including those arising from the sale of inventory and other goods and services
                            (including related contracts and contract rights, inventory, tax refunds, cash and cash equivalents);
                  (b)       inventory;
                  (c)       intercompany notes and intellectual property and other intangible assets to the extent attached to or necessary
                            to sell any of the foregoing;
                  (d)       deposit and investment accounts (and all cash, checks and other negotiable instruments, funds and other
                            evidences of payment held therein, but not any identifiable proceeds of Notes First Priority Collateral (as
                            defined below));
                  (e)       to the extent evidencing, governing, securing or otherwise related to any of the foregoing and the other
                            Revolver First Priority Collateral (as defined below), all documents, general intangibles (excluding
                            intellectual property), instruments, investment property (but not stock in subsidiaries or equity interest in any
                            limited liability company or other entity constituting Notes First Priority Collateral), commercial tort claims,
                            letters of credit, supporting obligations and letter of credit rights;
                  (f)       all loans payable by a grantor to any other grantor to the extent made using proceeds of advances under the
                            ABL Facility;
                  (g)       books and records, documents, supporting obligations, chattel paper, instruments, payment intangibles and
                            general intangibles relating to any of the foregoing; and
                  (h)       all proceeds and products of any or all of the foregoing in whatever form received, in each case above subject
                            to certain qualifications and exclusions (collectively, the “Revolver First Priority Collateral”); and



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     •    a second-priority lien on assets not constituting Revolver First Priority Collateral subject to certain qualifications and
          exclusions (the “Notes First Priority Collateral”).

    The ABL contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the ability of
TPCGI and certain of its subsidiaries to:

     •    make certain restricted payments;
     •    incur additional indebtedness and preferred equity;
     •    create liens;
     •    engage in mergers or consolidations;
     •    sell or transfer assets;
     •    pay dividends and distributions or repurchase its capital stock;
     •    make investments, loans or advances;
     •    prepay certain indebtedness;
     •    engage in certain transactions with affiliates;
     •    designate certain subsidiaries as restricted or unrestricted by the covenants;
     •    change its lines of business;
     •    modify or extend the forbearance agreement;
     •    take certain actions with respect to litigation in respect of the Port Neches incident; and
     •    use of insurance proceeds relating to the Port Neches incident.
      In addition, at any time when an event of default is continuing or the aggregate amount available under the ABL is less than the
greater of (a) 12.5% of the lesser of (1) the total commitments and (2) the borrowing base and (b) $12.5 million (or a lesser amount if a
significant asset sale has occurred), TPCGI will be required to maintain a minimum fixed charge coverage ratio of 1.0:1.0. Such
requirement shall continue until the date that no event of default exists, and excess availability shall have been not less than the greater
of (x) 12.5% of availability and (y) $12.5 million for a period of 21 consecutive calendar days.
      The ABL also contains a customary “holding company” covenant that restricts Parent’s ability to take certain actions and contains
certain customary additional affirmative covenants, representations and warranties, conditions to making loans, indemnification
provisions and events of default, including (subject in certain cases to customary grace and cure periods) material inaccuracy of
representations, non-payment of obligations under the ABL, violation of affirmative and negative covenants, non-payment or
acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of the credit documents (or the assertion
by Parent or a borrower of any such invalidity), change of control and loss of lien perfection or priority.

     10.5% Notes

     The 10.5% Notes are due August 1, 2024 and interest will be paid semi-annually in arrears on February 1 and August 1.

      Indenture Governing the 10.5% Notes

     On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 02, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.5% Indenture”).
     The 10.5% Notes are guaranteed by all of TPCGI’s existing or future direct and indirect domestic subsidiaries other than certain
excluded subsidiaries (the “guarantors”) that guarantee obligations under the ABL.
       The 10.5% Notes are TPCGI’s and the guarantees are the guarantors’ senior secured obligations and rank senior in right of payment
to all of TPCGI’s and the guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally
in right of payment with all TPCGI’s and the guarantors’ existing and future liabilities that are not so subordinated, including the ABL.
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The 10.5% Notes and the guarantees are structurally subordinated to all existing and future liabilities and preferred stock of any of its
subsidiaries that do not guarantee the 10.5% Notes effectively senior to TPCGI’s and the guarantors’ indebtedness that is unsecured or
that is secured by junior liens to the extent of the value of the assets securing the 10.5% Notes and the guarantees, and effectively junior
to TPCGI’s ABL to the extent of the value of the assets that secure TPCGI’s ABL on a first-priority basis.
      The 10.5% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the guarantors’ assets
(in each case, other than TPCGI’s and the guarantors’ assets that secure the ABL on a first-priority basis), subject to certain exceptions
and permitted liens. Subject to certain exceptions and permitted liens, the 10.5% Notes and the guarantees are also secured on a second-
priority basis by TPCGI’s and the guarantors’ assets that secure our ABL on a first-priority basis.
       The 10.5% Notes became redeemable as of August 1, 2021 at the redemption prices specified in the 10.5% Indenture. The
redemption price for the period from (and including) August 1, 2021 through July 31, 2022 is 107.875% and for the period from (and
including) August 1, 2022 through July 31, 2023 is 103.938%. The 10.5% Notes become redeemable at par as of August 1, 2023.
Unless otherwise redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an
offer to repurchase the 10.5% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if
any. In addition, at any time prior to August 1, 2021, TPCGI may redeem, subject to certain conditions, up to 35% of the 10.5% Notes
at a redemption price of 110.50% with the net cash proceeds from one or more equity offerings.
      The 10.5% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted subsidiaries
to (subject to certain exceptions):
     •   incur additional debt, issue disqualified stock or issue certain preferred stock;
     •   pay dividends on or make certain distributions and other restricted payments;
     •   create certain liens or encumbrances;
     •   sell assets;
     •   enter into transactions with affiliates;
     •   limit ability of restricted subsidiaries to make payments to TPCGI;
     •   consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •   designate TPCGI’s subsidiaries as unrestricted subsidiaries.
      The 10.5% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.5% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.5% Notes to be due and payable.
      On February 2, 2021 we issued $153 million of 10.875% Senior Secured Notes and repaid the $70 million New Term Loan we
had in place with Apollo Global Management to provide additional liquidity against any uncertainty around timing of future insurance
recoveries, including business interruption recoveries, over the next year. In connection with the issuance of the 10.875% Notes, the
10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875% Notes and to make certain
other changes to certain covenants contained therein.

      The Company elected not to make the interest payment due February 1, 2022 on the 10.5% Notes and on February 3, 2022 entered
into a Forbearance Agreement with a group representing nearly 90% of the Company’s 10.875% Notes and approximately 80% of the
Company’s 10.5% Notes (the “Ad Hoc Group”). Under the Forbearance Agreement, the Ad Hoc Group agreed to forbear from
exercising remedies relating to the event of default that will occur if the Company does not make the February 1 coupon payments
within the 30-day grace period. The Forbearance Agreement was initially effective until March 18, 2022 but was extended on March
16, 2022 until April 18, 2022, on April 10, 2022 until May 23, 2022 and by subsequent amendments until June 1, 2022 and may be
further extended by the Ad Hoc Group. On March 2, 2022, the 10.5% Indenture was amended to permit the Company to issue additional
10.875% Notes and to make other changes to certain covenants contained therein.




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     10.875% Notes

     On February 2, 2021 TPCGI issued and sold $153 million aggregate principal amount of 10.875% Notes to certain holders of the
10.5% Notes. The net proceeds from the offering of the 10.875% Notes were used to repay and terminate the $70 million New Term
Loan, to pay all fees and expenses related to the transactions and for general corporate purposes. The 10.875% Notes are due August 1,
2024 and interest will be paid quarterly in arrears on February 1, May 1, August 1 and November 1.
     On March 2, 2022 and March 11, 2022, TPCGI issued and sold approximately $26.5 million $26.0 million of additional 10.875%
Senior Secured Notes, respectively. The net proceeds from these offering were used to pay transaction expenses and for general
corporate purposes.

      Indenture Governing the 10.875% Notes

     On February 2, 2021, TPCGI and the guarantors entered into the Indenture, dated as of February 2, 2021, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.875% Indenture”).
     The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by all
subsidiary guarantors.
     The 10.875 % Notes are effectively senior to all of the Company’s and the subsidiary guarantors’ existing and future unsecured
indebtedness and the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.875% Notes are effectively
subordinated to the ABL and the Company’s and the subsidiary guarantors’ existing and future indebtedness secured by assets or
properties not constituting collateral securing the 10.875% Notes to the extent of the value of such assets and properties.
       The 10.875% Notes are TPCGI’s and the guarantees are the guarantors’ senior secured obligations and rank senior in right of
payment to the 10.5% Notes and all of TPCGI’s and the guarantors’ future debt that is expressly subordinated in right of payment to the
10.875% Notes and rank equally in right of payment with all TPCGI’s and the guarantors’ existing and future liabilities that are not so
subordinated, including the ABL. The 10.875% Notes and the guarantees are structurally subordinated to all existing and future
liabilities and preferred stock of any of its subsidiaries that do not guarantee the 10.875% Notes effectively senior to TPCGI’s and the
guarantors’ indebtedness that is unsecured or that is secured by junior liens to the extent of the value of the assets securing the 10.875%
Notes and the guarantees, and effectively junior to TPCGI’s ABL to the extent of the value of the assets that secure TPCGI’s ABL on a
first-priority basis.
      The 10.875% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the guarantors’
assets (in each case, other than TPCGI’s and the guarantors’ assets that secure the ABL on a first-priority basis), subject to certain
exceptions and permitted liens. Subject to certain exceptions and permitted liens, the 10.875% Notes and the guarantees are also
secured on a second-priority basis by TPCGI’s and the guarantors’ assets that secure our ABL on a first-priority basis.
      The 10.875% Notes are redeemable at the redemption prices specified in the 10.875% Indenture. The 10.875% Notes are
redeemable prior to August 2, 2022 at a price equal to 100% of the principal amount of the Notes to be redeemed, plus accrued and
unpaid interest to, but excluding, the redemption date, plus the applicable “make-whole premium.” The redemption price for the period
from (and including) August 2, 2022 through February 1, 2023 is 108.1563% and for the period from (and including) February 2, 2023
through August 1, 2023 is 104.0781%. The 10.875% Notes become redeemable at par as of August 2, 2023. Unless otherwise
redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an offer to repurchase
the 10.875% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if any.
      In addition, upon the sale of certain assets or the receipt of insurance proceeds in connection with certain casualty events, in each
case, in which TPCGI and its subsidiaries do not apply the proceeds as required, the holders of the 10.875% Notes may require TPCGI
to purchase for cash all or a portion of its 10.875% Notes at a purchase price equal to 100% of the principal amount of the 10.875%
Notes, plus accrued and unpaid interest, if any, to, but excluding, the repurchase date.
     The 10.875% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted
subsidiaries to (subject to certain exceptions):
     •   incur additional debt, issue disqualified stock or issue certain preferred stock;
     •   pay dividends on or make certain distributions and other restricted payments;
     •   create certain liens or encumbrances;
     •   sell assets;
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     •   enter into transactions with affiliates;
     •   limit ability of restricted subsidiaries to make payments to TPCGI;
     •   consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •   designate TPCGI’s subsidiaries as unrestricted subsidiaries.
      The 10.875% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.875% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.875% Notes to be due and payable.
      The Company elected not to make the interest payment due February 1, 2022 on the 10.875% Notes and on February 3, 2022
entered into a Forbearance Agreement with the 10.875% note holders. At the same time, the 10.875% Indenture was amended to permit
the Company to issue additional 10.875% Notes and to make other changes to certain covenants contained therein. The Company also
elected not to make the interest payment due May 1, 2022 on the 10.875% Notes and on April 28, 2022 the Forbearance Agreement was
amended such that the Ad Hoc Group agreed to forbear from exercising remedies relating to the event of default related to failing to pay
the May 1 coupon payment.
      Pursuant to the 10.875% Notes Indenture, upon the occurrence of, and solely during the continuation of, the Events of Default
relating to the missed coupon payments, the interest rate on the 10.875% Notes was increased by 2.00% per annum.

NOTE H – LEASES

      We lease office space, dock space, tank cars, barges, tugboats and various types of equipment under non-cancelable operating
leases expiring on various dates through December 2033. We had no finance leases as of March 31, 2022. The lease discount rate of
10.5% is TPC’s incremental borrowing rate (IBR) based on our borrowings on Notes. This IBR was applied to all leases; TPC did not
take a portfolio approach to determining the IBR for separate categories of leases. TPC elected the effective date transition method of
accounting for leases, where TPC will carryforward all lease disclosures required for ASC 840 for comparative periods prior to the
effective date, for both interim and annual financial statements issued in the year of adoption. The company has elected not to revise
financial statements for comparative periods prior to the adoption date of ASC 842.

         The following table provides the maturities of lease liabilities as of March 31, 2022 (in thousands):

                                                                                          March 31,
                                                                                            2022


                                         2022                                         $        30,344
                                         2023                                                  36,453
                                         2024                                                  29,611
                                         2025                                                  27,728
                                         2026                                                  23,962
                                         Thereafter                                            75,911
                                         Total lease payments                                 224,009
                                           Less: Imputed interest                             (67,009)
                                         Present value of lease liabilities           $       157,000


                                         Operating lease liabilities - current        $        25,148
                                         Operating lease liabilities - non current            131,852
                                         Total lease liabilities                      $       157,000




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        The components of lease cost for operating leases for the three months ended March 31, 2022 were as follows (in thousands):

                                                                                Three Months Ended
                                                                                      March 31,
                                                                                       2022

                                       Operating lease cost                     $           10,666
                                       Short-term lease cost                                12,564

                                       Total lease cost                         $           23,230



        The weighted-average remaining lease term and discount rate for leases recorded in the consolidated balance sheet at March
31, 2022 are provided below:


                                                                                      March 31,
                                                                                        2022

                                   Weighted-average remaining lease term
                                     Operating leases                                    7.3 years
                                   Weighted-average discount rate
                                     Operating leases                                       10.5%




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NOTE I – REVENUE

     We operate in two principal business segments, C4 Processing and Performance Products. The following table disaggregates
revenue for each segment by major activity and by domestic and foreign for each period presented (in thousands):

                                                                             Three Months Ended
                                                                                  March 31,
                                                                             2022           2021
                            Revenue by segment
                             C4 Processing
                                 Product sales                           $   236,138      $     103,822
                                 Process revenue                                 862                524
                                 Terminalling revenue                          3,171              2,293
                                 Service fees                                  1,800                774
                                 Shipping and handling                         4,042              2,350
                                                                         $   246,013      $     109,763
                              Performance Products
                                  Product sales                              162,963             77,626
                                  Shipping and handling                        4,887              4,426
                                                                         $   167,850      $      82,052
                                                                         $   413,863      $     191,815

                            Revenue by geographic location
                             United States                               $   388,150      $     178,906
                             All foreign countries                            25,713             12,909
                                                                         $   413,863      $     191,815


NOTE J – RESTRUCTURING COSTS

      These expenses, primarily consisting of various advisory and professional fees related to the restructuring of the Company, are
recorded under the caption “Restructuring costs” on the condensed consolidated statements of operations. As of March 31, 2002,
restructuring expenses totaled approximately $17.9 million.

NOTE K – PORT NECHES INCIDENT

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took place August 5-6, and 19-20,
2021. The citations were not resolved, and OSHA filed its complaint on September 9, 2021. The proceeding has been bifurcated into
two separate trials, the first of which will take place in Q4 2022 and the second of which will occur in Q1 2023.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
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events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management Compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,700 property claims have been resolved and approximately 1,400 additional eligible claims are pending action by the claimant in the
claims process. The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial
statements. The Company also provided an emotional support hotline staffed by licensed professional counselors from Samaritan
Counseling Center of Southeast Texas.
       In addition to the property claims, approximately 190 private party lawsuits, including five class actions, are pending in Texas
state court related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass.
Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court
cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th
District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to file short-
form petitions in the MDL proceeding, which currently includes approximately 7,800 individual plaintiffs. Approximately 322
individual plaintiffs have cases pending in Jefferson County, Texas (some of which are duplicative with cases in the MDL) which have
not yet been non-suited or abated. Additionally, more than 820 properties are the subject of litigation as a result of subrogation claims
filed by insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case Management
Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and a revised schedule
will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2 and Q3 2021 adding additional defendants
and many of those additional defendants have either moved to dismiss the claims against them or filed jurisdictional challenges. The
jurisdictional motions have been argued to the MDL pre-trial Court and the parties await rulings. The Plaintiffs have also indicated
that they intend to add a new defendant to the litigation which will likely result in only further delays. A hearing on class certification
is not expected before the second half of 2022 at the earliest.
      Four different sets of insurance policies in effect at the time of the event provide coverage for costs and losses incurred as a
result of the Port Neches incident.
      On an event to date basis as of March 2022, TPC has incurred a loss amount of $435.4 million associated with the PNO Event.
This amount consists of both response related costs and associated write offs. TPC anticipates recovering $260.3 million of this loss.
The estimate is subject to change as claims are evaluated. As of March 31, 2022, we have collected $568.1 million dollars of insurance
proceeds and have paid out $347.2 million. Information received in the fourth quarter of 2021 that categorizes the proceeds and
assurance that this amount is a floor amount, allowed a reclassification of proceeds from a Deferred Gain to a Recognized Gain. The
gain is due to the recoverable value of assets being more than the book value. Additional insurance collected in first quarter 2022 is
currently designated as unallocated and $27.6 million will be reflected as a deferred gain until more detail is received as to the final
allocation of those proceeds.

     The following table summarizes the PNO Event spend and reimbursements, event to date, as of March 31, 2022 (in millions):

                                          Loss       Anticipated          Net         Proceeds    Deferred                                 Invoices
              Insurance Policies         Amount       Recovery            Loss        Collected    GAIN              GAIN         BI         Paid
      Property/Business Interuption
      (BI)                               $   125.8    $     94.6      $        31.2   $   405.4   $   27.6       $    183.5   $    99.7    $    94.2
      Liability                              164.0         100.0               64.0       100.0       -                -               -       134.6
      Defense                                 62.4          35.2               27.2        35.2       -                -               -        60.6
      Pollution                               51.7          25.0               26.7        25.0       -                -               -        51.3
      Inventory                                6.6           5.5                1.1         2.5       -                -               -        -
      Not Recoverable                         24.9          -                  24.9         -         -                -               -         6.5
                    Total                $   435.4    $    260.3      $    175.1      $   568.1   $   27.6       $    183.5   $    99.7    $   347.2

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     Property/Business Interruption Policies

      Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible is $10.0
million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying for business
interruption coverage. As of March 31, 2022, we have incurred a cumulative loss amount of $125.8 million which includes asset write-
offs of $34.4 million. It also includes a $3.9 million sale of metals that we recovered from PNO catalyst. We have paid $94.2 million
of invoices related to this policy. We have directly collected $403.7 million and had another $1.7 million paid on our behalf to a third
party under these policies, of which $99.7 million has been identified as business interruption coverage and $275.2 million as property
loss coverage which includes a gain of $183.5 million on assets where recoverable value is greater than book value. Additional proceeds
collected in the first quarter of 2022 are considered unallocated and the $27.6 million that does not directly offset costs is reflected as a
deferred gain at this time. We currently estimate that $94.6 million will be recoverable under this policy for property losses.

     Liability/Defense Policies

      Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of March 31, 2022, we have accrued third-party claim amounts of $164.0 million, have paid $134.6
million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $62.4 million and we
have collected $35.2 million of this amount. This is the total that we anticipate collecting for these defense costs. To date we have
paid $60.6 million of these defense cost invoices.

     Environmental/Pollution Policies

     Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of March 31, 2022, we have incurred
$51.7 million of costs, paid $51.3 million of those costs and have collected the full $25.0 million of coverage under this policy.

     Inventory Policy

     We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We are also pursuing
recovery of another $2.8 million in logistics costs under this policy. We expect to recover the fair market value at the time of the event
on these materials which is estimated to be $4.5 million plus the logistics costs of another $1.0 million.

     Not Recoverable

      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits. As of March 31, 2022, this amount is $24.9 million. $18.8 million of this is a non-cash impact related to
the write off of turnaround amortization and $6.5 million of invoices have been paid.

NOTE L – COVID-19 EXPENSES

     The $0.1 million of COVID-19 expenses for the three months ending March 31, 2022 relate to costs incurred as a result of
precautionary measures taken by the Company to prevent the spread of COVID-19 at TPC sites. The costs include protective gear for
employees, increased sanitation of TPC sites, and enhancements to workspaces to promote safety.

NOTE M – FREEZE EVENT EXPENSES

      The $0.2 million of freeze event expenses for the three months ending March 31, 2022 relate to costs incurred as a result of extreme
winter weather experienced in February 2021 by large parts of the southern United States, including Texas and Louisiana where the
Company’s operations are located. The costs recorded in the first quarter of 2022 are the final billings for certain repairs completed in
the fourth quarter of 2021.



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NOTE N – TECHNICAL CENTER FIRE EVENT EXPENSES

     In January of 2021 a fire occurred in the Technical Center at the Houston Plant. The Technical Center is used for quality control
and research and development activities. The $0.3 million of Technical Center fire expenses for the three months ending March 31,
2022 relates to costs incurred as a result of the fire.

  NOTE O – INCOME TAXES

     The effective income tax rates for the first quarters of 2022 and 2021 were the projected effective rates for the full years 2022 and
2021 of 11.4% and 20.4%, respectively. The projected effective rate for the full year 2022 and 2021 reflected the federal statutory rate
of 21% on a projected pretax loss, reduced by the projected state income taxes and permanent differences.

NOTE P – COMMITMENTS AND CONTINGENCIES (see Note Q of Exhibit I for additional discussion)

     Legal Matters

      From time to time, we are party to routine litigation incidental to the normal course of our business, consisting primarily of claims
for personal injury or exposure to our chemical products or feedstocks, and environmental matters. We intend to defend these actions
vigorously and believe, based on currently available information, that adverse results or judgments from such actions, if any, will not
be material to our financial condition, results of operations or cash flows. We record reserves for contingencies when information
available indicates that a loss is probable, and the amount of the loss is reasonably estimable. Management’s judgment may prove
materially inaccurate, and such judgment is subject to the uncertainty of litigation. Many of the personal injury or product exposure
lawsuits to which we are a party are covered by insurance subject to certain self-insured retention amounts.
      Our contractual arrangements with our customers and suppliers are typically very complicated and can include, for example,
complex index-based pricing formulas that determine the price for our feedstocks or finished products. Due to the complicated nature
of our contractual arrangements, we can, from time to time, be involved in disputes with our customers and suppliers regarding the
interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the normal course of our business,
seldom result in actual formal litigation, and are typically resolved in the context of the broader commercial relationship that we have
with the customer or supplier.
      As described above, we record reserves for contingencies when information available indicates that a loss is probable, and the
amount of the loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment is subject to
the uncertainty of the dispute resolution or litigation process. As of December 31, 2021, we have not recognized any material reserves
related to unresolved disputes with customers and suppliers.
       In addition to the property claims, approximately 190 private party lawsuits, including five class actions, are pending in Texas
state court related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass.
Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court
cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th
District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to file short-
form petitions in the MDL proceeding, which currently includes approximately 7,800 individual plaintiffs. Approximately 322
individual plaintiffs have cases pending in Jefferson County, Texas (some of which are duplicative with cases in the MDL) which have
not yet been non-suited or abated. Additionally, more than 820 properties are the subject of litigation as a result of subrogation claims
filed by insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case Management
Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and a revised schedule
will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2 and Q3 2021 adding additional defendants
and many of those additional defendants have either moved to dismiss the claims against them or filed jurisdictional challenges. The
jurisdictional motions have been argued to the MDL pre-trial Court and the parties await rulings. The Plaintiffs have also indicated
that they intend to add a new defendant to the litigation which will likely result in only further delays.   A hearing on class certification
is not expected before the second half of 2022 at the earliest.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident.
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      In February 2022, the Texas Attorney General also filed a lawsuit in state court in Austin against the Company for alleged
violations of the Texas Clean Air Act and the Texas Water Code, pertaining to certain emissions events in 2020 and 2021 at the
Company’s HNO Facility.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
     Because these lawsuits, which we intend to vigorously defend, are in their early stages, we are unable to determine if a loss is
probable or estimate the amount or range of potential loss and therefore have not established any reserves, but we believe the amounts
involved may be material.
      Beyond the matters in active litigation, the Company has received other claims and demands, through its formal claims process
and otherwise, from individuals, companies, and insurers claiming damages as a result of the incident. The Company is in the process
of reviewing these claims. It is possible some of these claims may result in additional litigation.

     Environmental and Safety Matters

      Our Company is subject to federal, state, local and foreign laws, regulations, rules and ordinances from various governing agencies
that regulate human health, safety, security and the environment
      We are committed to maintaining compliance with applicable environmental, health, safety (including process safety) and security
(“EHS&S”) legal requirements, and we have developed policies and management systems intended to identify the various EHS&S legal
requirements applicable to our operations and facilities. We work to enhance and assure compliance with applicable requirements,
ensure the safety of our employees, contractors, community neighbors and customers, and minimize the generation of wastes, the
emission of air contaminants and the discharge of pollutants. These EHS&S management systems also serve to foster efficiency and
improvement and to reduce operating risks.
      In the ordinary course of business, we undertake frequent environmental inspections and monitoring and are sometimes subject to
investigations by governmental authorities. In addition, our production facilities require a number of environmental permits and
authorizations that are subject to renewal, modification and, in certain circumstances, revocation. Actual or alleged violations of
environmental laws or permit requirements or the discovery of releases of hazardous substances at or from our facilities could result in
restrictions or prohibitions on plant operations, significant remedial expenditures, substantial civil or criminal sanctions, as well as,
under some environmental laws, the assessment of strict and/or joint and several liability. Moreover, changes in environmental
regulations or the terms of our environmental permits could inhibit or interrupt our operations or require us to modify our facilities or
operations. Accordingly, environmental or regulatory matters may cause us to incur significant unanticipated losses, costs or liabilities.
     In addition to the requirements imposed upon us by law, we also enter into other agreements from time to time with state and local
environmental agencies either to avoid the risks of potential regulatory action against us or to implement improvements that exceed
current legal requirements.
      The Company has agreed to indemnify third parties for environmental and other liabilities pursuant to various agreements,
including asset divestiture agreements and leases. Many of these obligations contain monetary and/or time limitations, but others do
not provide for those limitations. The Company is not aware of any probable and reasonably estimable losses associated with any of
these obligations.
      Multiple federal, state and local government agencies responded to and are continuing to investigate the 2019 Port Neches incident.
The Company is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The
Occupational Safety and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant
in December 2019. OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three
willful citations with total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly
disagree with the characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took place August
5-6, and 19-20, 2021. The citations were not resolved, and OSHA filed its complaint on September 9, 2021. The proceeding has been
bifurcated into two separate trials, the first of which will take place in Q4 2022 and the second of which will occur in Q1 2023.
     The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas

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                   NOTES TO CONDENSED CONSOLIDATED FINANCIAL STATEMENTS – (Continued)
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Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
      Additionally, in February 2022, the Texas Attorney General also filed a lawsuit in state court in Austin against the Company for
alleged violations of the Texas Clean Air Act and the Texas Water Code, pertaining to certain emissions events in 2020 and 2021 at the
Company’s HNO Facility.

NOTE Q – DEFINED BENEFIT PENSION PLAN

     For the periods presented, periodic pension expense consisted of the following components (in thousands):

                                                                               Three Months Ended
                                                                                    March 31,
                                                                               2022         2021
                               Components of net periodic pension cost:
                                Service cost                               $      162    $       182
                                Interest cost                                      85             75
                                Expected return on assets                        (155)          (159)
                                Amortization of prior service cost                (12)           (12)
                                Amortization of actuarial loss                     80            126
                                                                           $      160    $      212


NOTE R – SUBSEQUENT EVENTS

     We evaluated subsequent events through June 1, 2022. The financial statements were issued on May 15, 2022[ and re-issued on
June 1, 2022].

     Bankruptcy

     On June 1, 2022, we and certain of our subsidiaries filed the Chapter 11 Cases with the Bankruptcy Court. For a more detailed
description of the Chapter 11 Cases and the Bankruptcy Filing, see in this report “Management’s Discussion and Analysis of Financial
Condition and Results of Operations – Recent Developments – Bankruptcy.”

     Forbearance Agreement

      On February 3, 2022, after missing approximately $53 million in total interest payments due on February 1, 2022 on the Company’s
secured notes, the Company entered into a forbearance agreement (the “Forbearance Agreement”) with a group representing nearly 90%
of the Company’s 10.875% Notes and approximately 80% of the Company’s 10.5% Notes (the “Ad Hoc Group”). Under the
Forbearance Agreement, the Ad Hoc Group agreed to forbear from exercising remedies relating to the event of default for the Company’s
failure to make the February 1 coupon payments within a 30-day grace period. The Ad Hoc Group and the Company have agreed to
extend the Forbearance Agreement through and including June 1, 2022. The Company also elected not to make the interest payment
due May 1, 2022 on the 10.875% Notes and on April 28, 2022 the Forbearance Agreement was amended such that the Ad Hoc Group
agreed to further forbear from exercising remedies relating to the event of default related to failing to pay the May 1 coupon payment.
On May 11, 2022, the forbearance agreement was further amended, pursuant to which the Ad Hoc Group agreed to further forbear from
exercising remedies related to the events of default related to certain specified reporting obligations.

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                                                               (Unaudited)

     Restructuring Support Agreement
      On May 9, 2022, we entered into a Restructuring Support Agreement, which was amended on May 16, 2022. On May 31, 2022,
we entered into a Restructuring Support Agreement (the “RSA”) with the Ad Hoc Group (collectively, the “Supporting Noteholders”)
and certain other parties named therein and simultaneously terminated the previously executed Restructuring Support Agreement. Under
the terms of the RSA, the Company, the Supporting Holders, our equity sponsors, among others agreed to implement a restructuring
(the “Restructuring”) pursuant to a chapter 11 plan of reorganization (the “Plan”) and the various related transactions set forth in or
contemplated by the RSA that will strengthen the Company’s financial structure.
     Subject to the terms of the RSA and in compliance with all applicable securities laws and/or provisions of the Bankruptcy Code
and orders of the Bankruptcy Court:

               • the holders of the Priming Notes claims will have their claims rolled into a $323 million senior secured priming new
         money debtor-in possession delayed-draw term loan facility which will also include commitments of up to $85 million in new
         money financing, subject to customary conditions (the “DIP Facility”) or otherwise paid in full under the Plan;
               • the holders of the 10.5% Notes claims will receive, in full and final satisfaction of their claims (A) cash in the amount
         of $350 million plus all unrestricted cash, if any, in the debtors on the effective date of the Plan in excess of $50 million (less
         any amounts drawn and letters of credit issued under an ABL exit facility and less reserves required for distribution under the
         Plan), (B) 100% of the new common stock to be issued by the reorganized Company (the “New Common Stock”), subject to
         dilution as described in the RSA , and (C) 100% of the Equity Subscription Rights and 100% of the Debt Subscription Rights
         (as described below);
               • we will issue $350 million of new notes (the “Exit Notes”) and, if we are unable to place any of the Exit Notes, then
         the debtors shall have the right, subject to the terms and conditions set forth in the RSA, to cause certain Supporting Noteholders
         to purchase such Exit Notes;
               • our parent company, TPC Holdings, Inc., (as subsequently reorganized, “Reorganized Holdings”) will commence an
         equity rights offering (the “Equity Rights Offering”) pursuant to which eligible holders of the 10.5% Notes will be offered the
         right to purchase, in cash, New Common Stock for an aggregate purchase price of $165 million, with the subscription rights to
         participate in the Equity Rights Offering (the “Equity Subscription Rights”) being allocated pro rata amongst the holders of the
         10.5% Notes;
               • Reorganized Holdings will commence a debt rights offering (the “Debt Rights Offering” and, together with the Equity
         Rights Offering, the “Rights Offerings”) pursuant to which eligible holders of the 10.5% Notes will be offered the right to
         purchase, in cash, $82.5 million in aggregate principal amount of $230 million of paid-in-kind notes issued by Reorganized
         Holdings and guaranteed by Reorganized Holdings only (the “HoldCo Notes”), with the subscription rights to participate in
         the Debt Rights Offering (the “Debt Subscription Rights”) being allocated pro rata amongst the holders of the 10.5% Notes;
               • if less than all of the shares under the Equity Rights Offering or if less than all of the $82.5 million in aggregate
         principal amount of Reorganized Holdings’ HoldCo Notes are subscribed for, we will have the right to cause certain of the
         Supporting Noteholders to purchase any such shares or HoldCo Notes, respectively, that are not subscribed for in the respective
         Rights Offerings, in accordance with the terms and subject to the conditions set forth in separately negotiated backstop
         agreements;
               • certain Supporting Noteholders will purchase for cash, $135 million of New Common Stock and $67.5 million in
         aggregate principal amount of HoldCo Notes in the Rights Offerings pursuant to direct allocations; and
               • we will obtain a $200 million asset-based revolving debtor-in-possession facility from Eclipse Business Capital, LLC
         and other third-party lenders, with the Company’s option to convert such facility into an exit asset-based revolving facility,
         subject to customary conditions.

      The RSA is not an offer or acceptance with respect to any securities or a solicitation of acceptances of a chapter 11 plan within the
meaning of Section 1125 of the Bankruptcy Code and any such offer or solicitation will only be made in compliance with all applicable
securities laws and provisions of the Bankruptcy Code. It contains certain covenants binding the Company and the Supporting Holders,
including limitations on the parties’ ability to pursue alternative transactions, commitments by the Supporting Holders to vote in favor
of the Plan, and commitments of the Company and the Supporting Holders to cooperate in good faith to finalize the documents and
agreements contemplated by the RSA. The RSA also provides for certain conditions to the obligations of the parties and for termination
upon the occurrence of certain events, including, without limitation, the failure to achieve certain milestones and certain breaches or
other actions by the parties under the RSA, and customary releases of certain parties.



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      Although we intend to pursue the Restructuring in accordance with the terms set forth in the RSA, there can be no assurance that
we will be successful in completing a restructuring or any other similar transaction on the terms set forth in the RSA, on different terms
or at all.




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                                                                  Exhibit I




            TPC GROUP INC.
             ANNUAL REPORT
       YEAR ENDED DECEMBER 31, 2021




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                                                   DEFINITIONS OF TERMS

     Capitalized and other terms used throughout this Annual Report for the year ended December 31, 2021, unless the specific context
otherwise requires or indicates, have the meanings ascribed to them below:

     •   ABL – our asset-based loan facility originally entered in December 2012, which was repaid, amended, and restated in
         conjunction with the refinancing of our debt on August 2, 2019 and again amended on February 2, 2021 to permit the issuance
         of the 10.875% Notes. The ABL is scheduled to mature in August 2024. For a detailed description of the ABL see Note H
         to our audited financial statements on pages 47-51 of this Annual Report for the year ended December 31, 2021;
     •   ASC - Accounting Standards Codification, which is the sole source of authoritative generally accepted accounting principles
         in the United States, other than rules and regulations issued by the Securities and Exchange Commission (SEC) that apply to
         SEC registrants;
     •   ASU - Accounting Standards Update, which the Financial Accounting Standards Board (FASB) issues to communicate
         changes to the ASC. ASUs are not authoritative standards;
     •   Company, us, we, and our - TPC Group Inc. and its subsidiaries;
     •   GAAP – Generally Accepted Accounting Principles in the United States;
     •   Gross profit contribution (“GPC”) - as used herein, is defined as revenue less cost of sales as reported in our consolidated
         statements of operations and comprehensive income. GPC is the residual amount that is available, after deducting the
         variable costs to produce and distribute our products from revenue, to cover all other expenses;
     •   Holdings - TPC Holdings Inc., a Delaware corporation, which, upon consummation of the Merger, became the direct parent
         of TPCGI. Holdings and Parent are affiliates of our Sponsors formed by investment funds affiliated with our Sponsors in
         order to acquire TPCGI;
     •   Merger – the December 20, 2012 merger of Sawgrass Merger Sub Inc., a Delaware corporation, which merged with and into
         TPCGI, with TPCGI surviving the Merger as a direct wholly-owned subsidiary of Holdings and an indirect wholly-owned
         subsidiary of Parent;
     •   New Term Loan – the Delayed Draw Term Loan Facility entered into on February 3, 2020, which provided for a delayed
         draw term loan of up to $70 million for a term of one year, and which the outstanding balance of $70 million was repaid with
         the net proceeds from issuance of the 10.875% Notes;
     •   Old Term Loan – the Senior Secured Delayed Draw Term Loan Facility, scheduled to mature in December 2020, for which
         the outstanding balance of $50 million was repaid with the net proceeds from issuance of the 10.5% Notes and which was
         terminated in conjunction with the refinancing of our debt on August 2, 2019;
     •   Parent - Sawgrass Holdings LP, a Delaware limited partnership, which, upon consummation of the Merger became the direct
         parent of Holdings and indirect parent of TPCGI. Parent and Holdings are affiliates of our Sponsors formed by our Sponsors
         in order to acquire TPCGI;
     •   Sponsors – investment funds sponsored by each of First Reserve Management, L.P. and SK Capital Partners;
     •   TPCGI - TPC Group Inc., a Delaware corporation, not including any of its subsidiaries;
     •   TPCGLLC - TPC Group LLC, a Texas limited liability company and the principal subsidiary of TPCGI;
     •   TPCPF - TPC Phoenix Fuels LLC, a Texas limited liability company and wholly owned subsidiary of TPCGLLC.
     •   8.75% Notes – the $805 million principal amount of Senior Secured Notes due in December 2020, which were redeemed
         with the net proceeds from issuance of the 10.5% Notes in conjunction with the refinancing of our debt on August 2, 2019;
     •   10.5% Notes – the $930 million principal amount of Senior Secured Notes due August 1, 2024 issued in conjunction with the
         refinancing of our debt on August 2, 2019. For a detailed description of the 10.5% Notes see Note H to our audited financial
         statements on pages 47-51 of this Annual Report for the year ended December 31, 2021;
     •   10.875% Notes – the $153 million principal amount of Senior Secured Notes due August 1, 2024, which were issued on
         February 2, 2021 and for which a portion of the proceeds were used to repay and terminate the New Term Loan. For a
         detailed description of the 10.875% Notes see Note H to our audited financial statements on pages 47-51 of this Annual Report
         for the year ended December 31, 2021.
                                                     EXPLANATORY NOTE

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       This Annual Report is highly confidential and has been prepared pursuant to the terms of the Indenture (the “10.5% Indenture”)
dated as of August 2, 2019, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and U.S.
Bank, National Association, as trustee and collateral agent, with respect to the 10.5% Notes, as amended by the Supplemental Indenture
dated as of February 2, 2021, and the Indenture (the “10.875% Indenture” and collectively with the 10.5% Indenture, the “Indentures”)
dated as of February 2, 2021, among TPC Group Inc., a Delaware corporation (the “Company”), the guarantors party thereto and the
U.S. Bank, National Association, as trustee and collateral agent, with respect to the 10.875% Notes. Unlike companies with securities
that are registered under the Securities Exchange Act of 1934 (the “Exchange Act”) or traded on a national securities exchange, the
Company is not required to file reports with the Securities and Exchange Commission and, except as provided under the Indentures, the
Company is not required to deliver any reports to holders of its securities. As a result, this Annual Report does not include all the
information that would be required to be included in an Annual Report on Form 10-K that is filed pursuant to the Exchange Act,
including, among other things, a description of the material risks faced by the Company. Moreover, this Annual Report does not include
all the information that may be material to holders of the Company’s securities, including the 10.5% Notes and the 10.875% Notes, and
should not be relied upon by any person in making an investment decision with respect to the Company’s securities. Except as strictly
required pursuant to the terms of the Indentures, the Company undertakes no obligation to update or revise any information contained
in this Annual Report.

      This Annual Report shall not constitute an offer to sell, or the solicitation of an offer to buy, any securities of the Company,
including the 10.5% Notes and the 10.875% Notes. Distribution of this Annual Report to any person other than holders of the 10.5%
Notes and the 10.875% Notes is unauthorized and any disclosure of any of its contents without the Company’s prior written consent is
prohibited. By accepting delivery of this Annual Report, you agree to the foregoing and not to make any photocopies, in whole or in
part, of this Annual Report or any documents or materials relating to the Company that are provided in connection with this Annual
Report.




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                            CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS


      This Annual Report contains forward-looking statements that do not directly or exclusively relate to historical facts. You can
typically identify forward-looking statements by the use of forward-looking words, such as “will,” “may,” “might,” “should,” “can,”
“could,” “project,” “believe,” “anticipate,” “expect,” “estimate,” “continue,” “potential,” “plan,” “forecast” and other words of similar
import. Forward-looking statements include information concerning possible or assumed future results of our operations, including the
following:

         •   business strategies;
         •   operating and growth initiatives and opportunities, including proposed capital projects;
         •   existing and expected competition and competitive position;
         •   market outlook and trends in our industry;
         •   expected financial condition;
         •   future cash flows, including insurance proceeds;
         •   liquidity needs, financing sources and availability;
         •   expected results of operations;
         •   future capital and other expenditures;
         •   availability and price of raw materials and inventories;
         •   the business cyclicality of the petrochemicals industry;
         •   effects of seasonality;
         •   plans and objectives of management or the sponsors;
         •   future compliance with orders and agreements with regulatory agencies;
         •   environmental matters;
         •   the impact of the COVID-19 pandemic on the global economy;
         •   expected outcomes of insurance settlements, legal, environmental or regulatory proceedings and their expected effects on
             our results of operations;
         •   expectations, strategies and plans for individual assets and products (including the ability to maintain plant utilization
             rates), business segments and the company as a whole;
         •   anticipated restructuring, divestiture and consolidation activities;
         •   cost reduction and control efforts and targets;
         •   compliance and other costs and potential disruption or interruption of production or operation due to accident, fires,
             explosions, interruptions in sources of raw materials, cyber security incidents, terrorism, political unrest, natural disasters
             or other unforeseen events;
         •   any other statements regarding future growth, future cash needs, future operations, business plans and future financial
             results; and
         •   our ability to continue to operate as a going concern.

      These forward-looking statements represent our intentions, plans, expectations, assumptions and beliefs about future events and
are subject to risks, uncertainties and other factors, including risks and uncertainties such as volatility in the petrochemicals industry,
limitations on the Company’s access to capital, the timing and amount of insurance proceeds received, the effects of competition,
leverage and debt service, general economic conditions, third-party claims, governmental litigation and investigations, and extensive
environmental, health and safety laws and regulations. Many of those factors are outside of our control and could cause actual results
to differ materially from the results expressed or implied by the forward-looking statements.
      In light of these risks, uncertainties and assumptions, the events described in the forward-looking statements might not occur or
might occur to a different extent or at a different time than we have described. Except as may be required by applicable law or
agreement, we undertake no obligation to update or revise any forward-looking statements, whether as a result of new information,
future events or otherwise.

                               SELECTED HISTORICAL CONSOLIDATED FINANCIAL DATA


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     The following table presents selected historical consolidated financial data (in thousands) at the dates and for the periods indicated.
This selected historical consolidated financial data should be read in conjunction with “Management’s Discussion and Analysis of
Financial Condition and Results of Operations” and the historical consolidated financial statements, together with the related notes,
included elsewhere in this Annual Report.
      The Balance Sheet and Statements of Operations and Cash Flows Data presented below have been derived from the Company’s
audited consolidated financial statements. The “Other Financial Data” presented below is unaudited, non-GAAP information.
Consolidated Balance Sheets as of December 31, 2019, 2018 and 2017 and Consolidated Statements of Operations and Comprehensive
Loss and Consolidated Statements of Cash Flows for the years ended December 31, 2018 and 2017 are not included in this Annual
Report.




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                                                                                                     Year Ended December 31,
                                                                         2021             2020                 2019               2018               2017


Statements of Operations Data:
Revenue                                                          $       1,289,046    $    751,390         $   1,464,926      $   1,626,835      $   1,609,068
Cost of sales (excludes items listed below)                              1,005,322         519,063             1,031,833          1,253,054          1,256,669
Operating expenses                                                        221,556          181,059              179,936            183,328            176,963
General and administrative expenses                                        29,981           27,970               28,695             26,337             32,202
Depreciation and amortization                                              75,503           74,155               81,002            141,708            139,904
Loss on Port Neches incident, net of insurance recovery                    34,988           50,141               91,895                   -                 -
Net gain on asset disposal                                                (183,465)              -                     -                  -                 -
Business interruption insurance recovery                                   (87,592)         (12,100)                   -                 (567)              -
Freeze event                                                               40,293                -                     -                  -                 -
Tech Center event                                                            7,401               -                     -                  -                 -
COVID-19 expenses                                                               726           1,896                    -                  -                 -
Capital project write-offs                                                   2,287               -                     -                  -                 946
Repair and other expenses related to dock incident                              -                -                     -             1,459                  -
Gain on sale of HRVOC allowances                                                -                -                     -                  -             (6,152)
Hurricane Harvey expenses                                                       -                -                     -                  -             7,512
  Income (loss) from operations                                           142,046           (90,794)             51,565             21,516              1,024
Interest expense                                                          120,980          112,933              101,729             89,305             81,662
Other (income) expense                                                       2,476               182               1,565                 (889)          1,270
  Income (loss) before income taxes                                        18,590          (203,909)             (51,729)           (66,900)           (81,908)
Income tax expense (benefit)                                                 1,052          (15,745)             (10,238)           (13,698)           (56,094)
  Net income (loss)                                              $         17,538     $    (188,164)       $     (41,491)     $     (53,202)     $     (25,814)



Statements of Cash Flows Data:
Cash flows from operating activities                             $         66,424     $     (88,865)       $    117,354       $     30,817       $     36,478
Cash flows from investing activities
  Capital expenditures                                                    (111,637)         (55,889)             (53,957)           (63,717)           (45,652)
  Proceeds from sale of assets                                                  -                -                     -                  -                 -
Cash flows from financing activities
  Proceeds from issuance of 10.5% Notes                                         -                -              930,000                   -                 -
  Proceeds from issuance of 10.875% Notes                                 150,000                -                     -                  -                 -
  Redemption of 8.75% Notes                                                     -                -              (805,000)                 -                 -
  Repayment of Old Term Loan                                                    -                -               (50,000)                 -                 -
  Net proceeds from (paydowns on) ABL                                     114,000                -               (40,000)           32,000             (12,500)
  Proceeds from New Term Loan                                                   -           69,300                     -                  -                 -
  Repayment of New Term Loan                                               (70,000)              -                     -                  -                 -
  Insurance finance borrowings                                             46,115           42,492                     -                  -                 -
  Insurance finance repayments                                             (44,788)         (29,395)                   -                  -                 -
  Debt issuance costs                                                       (6,005)          (4,344)             (14,902)                (502)          (5,149)
  Equity contributions (returns), net                                           -                    (6)              (141)               -                  19
  Proceeds from Old Term Loan borrowings                                        -                -                     -                  -            25,000



Balance Sheet Data (end of period):
Cash and cash equivalents                                        $        159,313     $     18,452         $     85,159       $          995     $      2,397
Restricted cash                                                              3,248               -                     -                  -                     -
Trade accounts receivable                                                 126,645           73,477               83,882             93,962             95,833
Insurance receivable - Port Neches incident                                  3,402          23,289              185,477                   -                     -
Inventories                                                                74,487           45,435               52,058             68,092             72,564
Property, plant and equipment, net                                        755,390          703,273              684,844            702,090            749,442
Total assets                                                             1,223,257         964,749             1,173,502           976,706            999,579
Current liabilities                                                       352,348          309,087              387,164            171,816            162,336
Long-term debt, net of deferred financing costs                          1,181,528         985,321              915,772            882,362            844,821
Deferred income taxes                                                           -                -               13,271             22,276             36,740
Total liabilities                                                        1,533,876        1,294,408            1,316,207          1,076,454          1,043,897
Total equity (deficit)                                                    (310,619)        (329,659)            (142,705)           (99,748)           (44,318)




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(1) EBITDA and Adjusted EBITDA are not measures computed in accordance with GAAP. A non-GAAP financial measure is a numerical
    measure of historical or future financial performance, financial position or cash flows that excludes amounts, or is subject to adjustments that
    have the effect of excluding amounts, that are included in the most directly comparable measure calculated and presented in accordance with
    GAAP in the balance sheets, statements of operations, or statements of cash flows (or equivalent statements); or includes amounts, or is
    subject to adjustments that have the effect of including amounts, that are excluded from the most directly comparable measure so calculated
    and presented.
     We are including a presentation of EBITDA and Adjusted EBITDA in this Annual Report because their presentation is required under the
     Indentures. In addition, the Indentures contain debt incurrence ratios that are calculated by reference to Adjusted EBITDA. Non-
     compliance with the debt incurrence ratios contained in the Indentures would prohibit us from being able to incur additional indebtedness
     other than pursuant to specified exceptions.
     We calculate EBITDA as earnings before interest, taxes, depreciation and amortization and we calculate Adjusted EBITDA as EBITDA,
     adjusted to remove or add back certain items, including the impact of butadiene price changes. These items are identified below in the
     reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss), the GAAP measure most directly comparable to EBITDA and
     Adjusted EBITDA. Our calculation of EBITDA and Adjusted EBITDA may be different from the calculations used by other companies;
     therefore, they may not be comparable to other companies.
 The following table provides a reconciliation of EBITDA and Adjusted EBITDA to Net Income (Loss) for the periods specified.

                                                                                  Year Ended December 31,
                                                         2021              2020            2019           2018                   2017


 Net income (loss)                                  $       17,538    $     (188,164)   $      (41,491)   $      (53,202)   $      (25,814)
   Income tax expense (benefit)                              1,052           (15,745)         (10,238)          (13,698)          (56,094)
   Interest expense, net                                   120,980           112,933          101,729            89,305            81,662
   Depreciation and amortization (1)                        75,503            74,155           81,002           141,708           139,904
 EBITDA                                                    215,073           (16,821)         131,002           164,113           139,658
   Impact of butadiene price changes (2)                    (4,057)            5,211             8,014            (3,709)          18,540
   Port Neches Incident (3)                               (148,476)           50,141            91,895               -                -
   Other non-recurring items (4)                            81,373             7,344               507             6,917           11,816

 Adjusted EBITDA                                    $      143,913    $       45,875    $     231,418     $     167,321     $     170,014



(1) Includes depreciation, amortization of deferred turnaround and catalyst costs and amortization of patents for all periods presented.
(2) Adjustment to remove the estimated temporary impact on our operating results of month-to-month changes in the contract price of butadiene.
    For further discussion see “Management’s Discussion and Analysis of Financial Condition and Results of Operations”.
(3) Adjustment to remove the losses and costs incurred, net of actual and probable insurance recoveries as a direct result of the Port Neches
    incident (discussed on pages 12-14).
(4) Adjustments to remove the impact of certain non-recurring items for 2021 include $76.9 million of costs and volume adjustments related to
    February’s freeze, incremental expenses directly related to our response to the COVID-19 pandemic of $0.7 million, and business
    optimization expenses of $3.8 million. Adjustments to remove the impact of certain non-recurring items for 2020 include incremental
    expenses directly related to the impact of Hurricane Laura and Tropical Storm Beta of $0.5 million, the estimated impact of lost sales due to
    Hurricane Laura and Tropical Storm Beta of $4.4 million, the incremental expenses directly related to our response to the COVID-19
    pandemic of $1.9 million, and refinancing optimization expenses of $0.5 million. The adjustment for 2019 removes refinancing optimization
    expenses incurred in advance of refinancing our debt on August 2, 2019. The adjustment for 2018 removes a $0.6 million business
    interruption insurance recovery related to Hurricane Harvey and the insurance deductible and uninsured logistics and legal expenses related
    to the Houston dock incident (discussed on page 12) of $1.5 million and adds $6.0 million of estimated margin impact of lost sales volume
    as a direct result of the dock incident. The adjustment for 2017 removes incremental expenses directly related to the impact of Hurricane
    Harvey of $7.5 million, certain corporate optimization initiatives of $1.6 million and a gain from the sale of environmental emissions credits
    of $6.1 million and adds $8.8 million of estimated impact of lost sales due to Hurricane Harvey.




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  MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

     The following discussion and analysis of our financial condition and results of operations should be read in conjunction with the
consolidated financial statements and accompanying notes, which are included elsewhere in this Annual Report.

     Overview

     We are a leading North American producer of value-added products derived from petrochemical raw materials such as C4
hydrocarbons. Our products are sold to producers of a wide range of performance, specialty and intermediate products, including
synthetic rubber, fuels, lubricant additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
      In our C4 Processing segment, we process the crude C4 stream into higher value components, namely butadiene, butene-1 and
raffinates. Butadiene is primarily used to produce synthetic rubber that is mainly used in tires and other automotive products; butene-
1 is primarily used in the manufacture of polyethylene plastic resins and synthetic alcohols; and raffinates are primarily used in the
production of alkylate, a component of premium unleaded gasoline.
      In our Performance Products segment, we process isobutylene, which we purchase as a raw material and also produce internally,
to produce polyisobutylene (“PIB”), diisobutylene (“DIB”), and methyl tertiary-butyl ether (“MTBE”). PIB is primarily used in the
production of fuel and lubricant additives, caulks, adhesives, sealants and packaging; DIB is primarily used in the manufacture of
surfactants, plasticizers and resins; and MTBE is primarily used as a gasoline blending stock.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (discussed on pages 12-14). The Houston plant, in addition to processing crude C4, also produces PIB, DIB,
and MTBE. The raw material isobutylene processed at our Houston facility is sourced from processing crude C4, third-party supply
and internal on-purpose production. The feedstock for our on-purpose isobutylene production is isobutane, which is a plentiful natural
gas liquid resulting from shale gas development. As discussed in more detail under “Current Market and Business Conditions” below,
in order to replace the lost crude C4 processing capacity at our Port Neches plant, in early 2021 we entered into a long-term contract
with a third-party to process a substantial portion of our crude C4 supply and return butadiene and raffinate to us.
     We also provide critical infrastructure and logistics services along the Gulf Coast. Both our Houston processing facility and our
terminals provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers and
raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and ocean-
going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served by
barges.
      The primary drivers of our businesses are general economic and industrial growth. Our results are impacted by the effects of
economic upturns or downturns on our customers and our suppliers and our ability to achieve on stream time and production targets in
our operating units. Our results are also dependent on our own costs to produce, sell and deliver our products. Our customers generally
use our products in their own production processes; therefore, if our customers curtail production of their products, our results could be
materially affected. In particular, our feedstock costs and product prices are susceptible to volatility in pricing and availability of crude
oil, natural gas, natural gas liquids such as isobutane and oil-related products such as unleaded regular gasoline. Prices for these
products tend to be volatile as well as cyclical, as a result of global and local economic factors, worldwide political events, weather
patterns and the economics of oil and natural gas exploration and production, among other things.

Material Industry Trends

      We receive crude C4 feedstock for our C4 Processing segment from steam crackers, which are designed to process naphtha and
natural gas liquids (“NGL’s”) as feedstocks for ethylene production. Crude C4 is a by-product of the ethylene production process, and
the volume of crude C4 produced by the process is driven by both the volume of ethylene produced and the composition of the steam
cracker feedstock. Some major ethylene producers have the flexibility to shift from light feedstocks, such as NGL’s (ethane, propane
and butane), to heavier feedstocks, such as naphtha, or vice versa depending on the economics of the feedstock. When ethylene
producers process heavier feedstock, greater volumes of crude C4 are produced. However, when light feedstocks (i.e. NGL’s) are
inexpensive relative to heavy feedstocks, the producers may choose to process those light feedstocks instead, a process referred to as
“light cracking,” which results in lower volumes of crude C4 production but higher concentration of butadiene in the crude C4 stream.

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In recent years, lighter cracking by domestic ethylene producers has been prevalent as a result of an abundant supply of cost advantaged
NGL feedstocks (particularly ethane), and we experienced the largest impact of the shift from heavier to lighter ethylene cracker
feedstocks between 2007 and 2009. In 2015, we experienced an increase in domestic delivery rates, which reflected more favorable
economics for propane and butane cracking compared to the lighter ethane feedstock. However, over the course of 2016 and 2017,
ethane feedstock economics were generally more favorable, which again resulted in relatively lower domestic delivery rates of crude
C4’s. Domestic delivery rates were positively impacted beginning the latter part of 2017 as newly constructed ethylene crackers in
North America came on-line, making more crude C4 feedstock available. Domestic crude C4 feedstock supply continued to grow in
2019 as additional new North American ethylene crackers came on-line. Those crackers produced additional C4 feedstock in 2020 as
they ramped up rates and ran for the full year. Some constraints regarding our ability to process all of the incremental crude C4 available
arose in 2020 due to the outage at our Port Neches facility. Some amount of the crude C4 produced by the ethylene crackers needed to
be consumed through suppliers recycling the material (referred to as co-cracking) because of short-term limitations in butadiene
extraction capacity. TPC has taken steps to minimize the impact of the Port Neches outage. We ramped up production rates on our
largest butadiene extraction unit and converted one of our butadiene extraction trains (the furfural unit) at our Houston plant, which had
been in butane removal service for our raffinate business since 2014, back to butadiene extraction service. We also restarted our
hydrotreating unit, which converts crude C4’s to butylenes, and are operating the unit at maximum rates in an effort to consume a larger
volume of crude C4’s from our suppliers. This unit has also gone through significant optimization throughout 2021 further increasing
crude C4 consumption. In the fourth quarter of 2021, we had a turnaround in this unit where we changed catalyst to enable higher
selectivity for butene-1 production in the total stream which will help us significantly increase our supply of butene-1 to our customer
base in 2022.
     The supply of butadiene is driven by ethylene cracker operating rates and feedstock composition. Because butadiene is a small
co-product stream in relation to the quantity and value of ethylene and propylene produced in a cracker, butadiene supply is relatively
insensitive to its demand and/or price. In addition, butadiene cannot be stored for long periods of time. Therefore, the price of
butadiene can be highly volatile based on relatively small changes in supply or demand.
      As an example, our Port Neches plant outage in late November 2019 curtailed the domestic supply of butadiene, which contributed
to a 25% increase in the contract price over the first two months of 2020. However, as a result of temporary weakened global demand
linked to the COVID-19 pandemic, the price of butadiene declined by 50% through July of 2020 as automotive and tire plants shutdown
for much of the second quarter. As the economy began to recover in the second half of 2020, so did the price of butadiene, rising 130%
from its low point of 19.6 cents per pound in June-July to 49 cents per pound in January 2021. There was a brief pricing dip in February-
March to 41.5 cents per pound. However, the Winter Storm Uri freeze that hit the Gulf Coast in February of 2021, shutdown most of
the petrochemical industry causing significant shortages of supply. Butadiene was one of products that was hit hard. This shutdown,
along with continued industry operating issues throughout much of 2021, led to the steady increase of butadiene pricing from the March
level of 41.5 to 97 cents per pound by September. With imports into the region and U.S. industry operating issues subsiding by Q4,
despite continued strong demand, the price of butadiene began to decrease reaching 65 cents per pound in December and its ultimate
low point of 62 cents per pound in January 2022. In February 2022 the price had moved back up to 65 cents per pound, while the
March price settled at 68 cents per pound.
      The North American region continued to be a net importer of butadiene and its derivatives (synthetic rubber and tires) in 2021 and
we expect this trend to continue in 2022; however, as we look forward, we expect strong global economic growth, combined with the
continued ramp-up of new North American tire plants, to provide growth for the additional butadiene supply that has come from the
new ethylene crackers. We expect the amount of imports over the next few years will remain steady and may even grow later this year
as the U.S. government moves forward with its efforts to bring nitrile rubber glove manufacturing back to the United States as part of
their efforts to combat impacts from health industry shortages created by the COVID-19 pandemic. To support nitrile rubber glove
manufacturing in the U.S., the U.S. government is providing grants not only to new glove plants, but also to build plants that will produce
the key raw material, nitrile butadiene rubber latex (NBR Latex). Current estimates are for close to 600 million pounds of “wet” NBR
Latex capacity to be built in the U.S. over the next 15-18 months, increasing the demand for butadiene by another 200 million pounds
annually. Further, as we look forward, we expect NGL’s, due to shale gas, to continue to provide favorable ethylene production
economics to North America leading to additional ethylene crackers being built in the future (2027-2029) and bringing additional crude
C4’s and butadiene to market. This should lead to additional butadiene consuming derivative plants being built over the next 6-8 years
in North America.
      Beginning in the latter part of 2016 and through 2019, we successfully restructured our C4 processing business by renegotiating
essentially all of our crude C4 supply contracts. As of the end of 2021, approximately 95% of our contracted crude C4 volume was
under the new business model. The primary objective of the restructured business model was to create more stability in the profit
margins we realize on all components of the entire crude C4 streams commensurate with the valuable service we provide to our suppliers.
The restructured model minimizes our downside risk during periods of weaker prices for the commodities upon which the values of our
products are based, as it provides us with a fixed processing margin and energy recovery fee sufficient to cover our processing costs and
a sustainable minimum profit margin. The restructured model also provides us with upside margin sharing with our suppliers when the
value of crude C4 streams, which is based on the value we receive for our products, exceeds a floor value. The margin sharing


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mechanism of the restructured contracts is accomplished through direct linkage between the value we receive for the extracted products
and what we pay our suppliers for the components of the crude C4 stream.
     In addition to the margin stability, risk mitigation and upside sharing in the supplier margins, the restructured crude C4 supply
contracts also provide for larger discounts on the price we pay for contained butane as well as an energy fee for having to process larger
volumes of butane in our system. The larger discounts and energy fee offset the cost we incur to remove the butane and/or the negative
impact on the value of and margins realized on our raffinate streams when the contained butane exceeds certain minimum levels.
      The remainder of our crude C4 supply continues to be purchased on a component basis under contractual arrangements not based
on the restructured model and on a spot basis. Under these supply arrangements, we are exposed to more commodity risk as they do
not provide the same downside protection as the restructured contracts and there is no direct linkage between the value we receive for
the extracted products and what we pay for various components of the crude C4. Under these arrangements, the profit margins on our
raffinates, which are the second largest part of the crude C4 stream after butadiene, are directly impacted by the price of unleaded regular
gasoline (ULR) since we buy and sell the butylenes contained in the raffinate streams based on a factor of ULR. The price of ULR
impacts the margins on the raffinate we produce from these streams in two ways. One impact is dependent on the absolute price of
ULR, which impacts the spread between what we pay for the contained butylenes and what we sell them for. We buy and sell the
butylenes on a percentage of ULR basis, so a higher ULR price results in a wider spread and a more positive impact on our margins.
The other impact is dependent on the quantity of inventory and the magnitude of volatility in the ULR price from period to period as we
may purchase the contained butylenes in one period and then sell them in a subsequent period.
      Our MTBE margins in 2021 were negatively impacted by the effects of COVID-19 starting in March and reached a low point in
April due to the MTBE to unleaded regular gasoline (ULR) spread falling from an average of 42 cents per gallon in the first quarter to
4.5 and 2.2 cents per gallon in the second and third quarters, respectively. High raw material isobutane and methanol costs in relation
to the value of MTBE also had a negative impact on MTBE margins during this period. Starting at the end of the third quarter of 2020,
margins for MTBE began to expand as the MTBE-ULR spread grew to 11.3 cent per gallon in the fourth quarter. However, the strength
of methanol and butane pricing tempered the margin expansion. Methanol continued to strengthen in early 2021, starting at 149 cents
per gallon in the first quarter and averaging 194 cents per gallon in the fourth quarter. Isobutane did the same, starting at 93 cents per
gallon in the first quarter and averaging 146 cents per gallon in the fourth quarter. MTBE-ULR spreads started 2021 at 11 cents per
gallon, grew slightly to 15 cents per gallon in the second quarter but fell to zero in the third quarter before rebounding to 23 cents per
gallon in the fourth quarter. However, MTBE-isobutane spreads (a key indicator of MTBE profitability) grew from 62 cents per gallon
in the fourth quarter 2020 (and an average of 69 cents for all of 2020) to 90 cents in the first quarter of 2021, 121 cents in the second
quarter, dipping to 85 cents in the third quarter and then rebounding to 104 cents in the fourth quarter for a total year 2021 average of
100 cents per gallon.

Current Market and Business Conditions

      For the most part, the effects of COVID-19 on our operating results have dissipated in 2022. Demand in all but one of our business
segments is strong and is now back to pre-COVID-19 levels. The one exception is our raffinate business used in the production of
alkylate, a key octane blend stock in premium gasoline. Recent refinery operating changes are generating additional alkylate feedstock
within the refineries, which have reduced their outside purchases taking us back to demand levels we saw in the second and third quarters
of last year. With the onset of hostilities between the Ukraine and Russia, commodity pricing has seen a significant increase with WTI
crude reaching a high of $123 per barrel. Crude oil and natural gas prices are now well above pre-COVID-19 levels and are supportive
of stronger prices and margins in all of our businesses. Supply-demand fundamentals are strong in our butadiene, butene-1, PIB, DIB,
and MTBE businesses. Strong commodity pricing along with planned industry outages for butadiene producers late in the first quarter
and through May of 2022 should provide continued demand and pricing strength through the second quarter of 2022 for this key product
line. Butadiene pricing hit its low point in January but has since moved up 3 cents per pound in each of February and March to 68 cents
per pound. With solid demand and industry supply constraints continuing, there will likely be further increases in April.
      We have recovered from the operating issues that plagued our HNO operations during much of 2021. We have successfully
restored our utility boiler operations and steam production back to nameplate capacities. We also completed three significant
turnarounds in the fourth quarter, one in our butadiene system bringing butadiene capacity back to full capacity, one on our
turbogenerator, and the other in our hydrotreating unit. The work on the hydrotreating unit has now allowed us to achieve an increase
in butene-1 production levels here early in the first quarter of 2022. The new catalyst we installed in the hydrotreater has not allowed
for the full increased production we had expected, but as work continues to optimize the new catalyst, we will get closer to our targeted
production levels. In our fuels segment, up until the middle of September last year, demand was weak in our raffinate business. With
lesser jet and diesel fuel demand, refiners adjusted their operations, producing more of their own butylenes for alkylation and, thus,
impacting our sales. We built significant inventory during the second and early third quarters and the expected lower net realizable
value has resulted in the lower of cost or net realizable value adjustment in our financial statements. We did find new outlets for
raffinate sales during the third quarter. This along with increased demand from one of our largest customers due to Hurricane Ida issues
limiting their normal butylene supply, helped control inventory build. Due to our operating issues combined with this stronger demand,


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we saw inventories fall by almost half from the peak level we experienced early in the third quarter and by year end 2021 inventories
were actually slightly below target levels. Due to the above referenced raffinate demand issues coming back to affect our sales in early
2022, we are once again pursuing sales to the different outlets we found last year.
      We have experienced some constraints on BD production in the first quarter due to the ethylene industry cracking very light
feedstocks and a number of unplanned outages at some of our CC4 suppliers. As our contract manufacturer (BTP) for butadiene enters
their 60-day planned turnaround in mid-March and our CC4 suppliers recover from operating problems in February and March, CC4
supply will allow us to move back to nameplate capacities at our Houston plant in both our butadiene units and our hydrotreating unit
in March.
      MTBE margins, which ended 2021 on a strong note, have continued to strengthen in early 2022. Current MTBE-isobutane
spreads have grown to over 150 cents per gallon reaching as high as 200 cents per gallon when crude oil topped $120 a barrel. This
combined with slight price reductions in methanol from its peak pricing in the fourth quarter are helping margins in this key product
area for TPC. Non-formula pricing for PIB and DIB products moved up in March.
      Production under the long-term contract with BASF-TOTAL Petrochemical (“BTP”) for crude C4 processing that TPC signed in
early 2021 began on a small scale in mid first quarter 2021 and grew steadily throughout the rest of the year. Work continues at our
Port Neches terminal and BTP is expected to be in position to take an additional step change in crude C4 processing by mid-year 2022
after BTP completes a planned turnaround of their C4 processing unit. These higher production rates, once up and running, is part of
our overall plan to restore TPC’s butadiene production levels back to pre-PNO incident levels.
     Demand for PIB was at record levels in the first quarter of 2022 and forecasted demand for the balance of the year is strong.
Likewise, demand for DIB is at record levels supported by very strong domestic and export sales.

Dock Incident – 2018

      On June 13, 2018, an ocean-going bulk carrier navigating in the Port of Houston Ship Channel veered off course and struck a barge
stationed at our primary Houston facility dock. The incident caused substantial damage to both the barge and the dock facilities. There
were no significant injuries and there was no environmental impact from the incident.
      The damaged dock was returned to full barge and ship service in August 2018 after temporary repairs of approximately $5 million
which, excluding a $0.25 million deductible, were reimbursed from insurance proceeds in September 2018. The insurance proceeds
were accounted for as an offset to the actual dock repair costs. The total amount of the insurance deductible and uninsured logistics
and legal expenses recognized in our reported 2018 earnings was $1.5 million and the margin on estimated lost sales volume was
approximately $6.0 million. The revenue and cost of sales related to the lost sales volume for the C4 Processing segment were estimated
to be $4 million and $2 million, respectively, and for the Performance Products segment were estimated to be $13 million and $9 million,
respectively.
     We are close to finalizing approvals with the insurance carriers around the rebuild of the dock and we expect to commence the
project in the second quarter of 2022.

Port Neches Incident – 2019

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took place August 5-6, and 19-20,
2021. The citations were not resolved, and OSHA filed its complaint on September 9, 2021. The proceeding has been bifurcated into
two separate trials, the first of which will take place in Q4 2022 and the second of which will occur in Q1 2023.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
    The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek

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information about the incident as well as the Company’s Risk Management Compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,700 property claims have been resolved and approximately 1,400 additional eligible claims are pending action by the claimant in the
claims process. The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial
statements. The Company also provided an emotional support hotline staffed by licensed professional counselors from Samaritan
Counseling Center of Southeast Texas.
       In addition to the property claims, approximately 190 private party lawsuits, including five class actions, are pending in Texas
state court related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass.
Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court
cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th
District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to file short-
form petitions in the MDL proceeding, which currently includes approximately 7,640 individual plaintiffs. Approximately 640
individual plaintiffs have cases pending in Jefferson County, Texas (some of which are duplicative with cases in the MDL) which have
not yet been non-suited or abated. Additionally, more than 820 properties are the subject of litigation as a result of subrogation claims
filed by insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case Management
Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and a revised schedule
will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2 and Q3 2021 adding additional defendants
and many of those additional defendants have either moved to dismiss the claims against them or filed jurisdictional challenges. A
hearing on class certification is not expected before the second half of 2022 at the earliest.
      Four different sets of insurance policies in effect at the time of the event provide coverage for costs and losses incurred as a
result of the Port Neches incident.
      On an event to date basis as of December 2021, TPC has incurred a loss amount of $436.6 million associated with the PNO Event.
This amount consists of both response related costs and associated write offs. TPC anticipates recovering $259.6 million of this loss
through insurance proceeds to be paid directly to the Company. The estimate is subject to change as claims are evaluated. As of
December 31, 2021, we have collected $537.6 million dollars of insurance proceeds and have paid out $342.3 million. Information
received in the fourth quarter of 2021 that categorizes the proceeds and assurance that this amount is a floor amount, allowed a
reclassification of proceeds from a Deferred Gain to a Recognized Gain. The gain is due to the recoverable value of assets being more
than the book value.
         The following table summarizes the PNO Event spend and reimbursements, event to date, as of December 31, 2021 (in
millions):
                                                                  Loss        Anticipated       Net      Proceeds                                  Invoices
                          Insurance Policies                     Amount        Recovery         Loss     Collected           GAIN         BI         Paid
            Property/Business Interuption (BI) (1)(2)           $    129.1     $    93.8    $     35.3   $   376.6       $    183.5   $    99.7    $    94.3
            Liability                                                164.3         100.0          64.3       100.0              -              -       133.4
            Defense                                                   60.2          35.2          25.0        35.2              -              -        59.3
            Pollution                                                 51.5          25.0          26.5        25.0              -              -        50.5
            Inventory                                                  6.6           5.6           1.0         2.5              -              -         -
            Not Recoverable (3)                                       24.9           -            24.9         -                -              -         6.5
                                  Total                         $    436.6     $   259.6    $    177.0   $   539.3       $    183.5   $    99.7    $   344.0

            (1) Includes $1.7 million paid to 3rd party.
            (2) Includes asset write-offs of $34.4 million
            (3) Includes turnaround amortization write-off of $18.8 million

                                                                                                                     .

     Property/Business Interruption Policies

      Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible is $10.0
million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying for business
interruption coverage. As of December 31, 2021, we have incurred a cumulative loss amount of $129.1 million which includes asset

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write-offs of $34.4 million. We have paid $94.3 million of invoices related to this policy. We have directly collected $374.9 million
and had another $1.7 million paid on our behalf to a third party under these policies, of which $99.7 million has been identified as
business interruption coverage and $275.2 million as property loss coverage which includes a gain of $183.5 million on assets where
recoverable value is greater than book value. Reimbursable costs under this policy recorded in 2019 and 2020 were $52.4 million and
$58.8 million, respectively. In 2021, reimbursable costs were reduced by $17.4 million due to a change in accounting estimate for
probable insurance proceed recovery. This change was based on proposed adjustments from insurance carriers for which we have
supported positions that counter their assessment. We currently estimate that $93.8 million will be recoverable under this policy for
property losses.
     Liability/Defense Policies

      Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of December 31, 2021, we have accrued third-party claim amounts of $164.3 million, have paid $133.4
million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $60.2 million and we
have collected $35.2 million of this amount. This is the total that we anticipate collecting for these defense costs. Costs recorded
under these policies in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 an additional amount
was incurred for claims of $3.1 million and for defense costs of $35.6 million. As of the end of December 2021, liability claims have
been reduced $0.7 million and an additional $10.3 million in defense costs were incurred. To date we have paid $59.3 million of these
defense cost invoices.
     Environmental/Pollution Policies
      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of December 31, 2021, we have
incurred and paid $51.5 million of costs, paid $50.5 million of those costs and have collected the full $25.0 million of coverage under
this policy. We incurred $23.1 million, $28.0 million and $0.4 million of these costs in 2019, 2020 and 2021, respectively.
     Inventory Policy

     We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We are also pursuing
recovery of another $2.8 million in logistics costs under this policy. We expect to recover the fair market value at the time of the event
on these materials which is estimated to be $4.5 million plus the logistics costs of another $1.1 million.
     Not Recoverable

      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits.

Coronavirus – 2021

      On March 11, 2020, the World Health Organization declared the ongoing COVID-19 outbreak a pandemic and recommended
containment and mitigation measures worldwide. For employees who are considered essential and are working in plants, we adhere to,
at a minimum, government recommended protocols and best practices related to social distancing, hygiene and the use of additional
personal protective equipment. TPC’s Crisis Management Team (“CMT”) has helped to safely mitigate exposure risk by quickly
identifying and isolating any confirmed cases amongst our employees. These measures have not only enabled us to continue to operate
our facilities safely but have also helped TPC maintain a largely consistent supply chain. Additionally, the CMT has worked closely
with senior leadership to tailor a comprehensive Return to Workplace plan for each site. At the time of this filing, a significant portion
of TPC’s workforce (non-essential workers) are still working remotely from their homes. We continue to review the level of new cases
and are hopeful that in early 2022 we will have employees return to site work on a more regular basis. Our employees' health and well-
being remain a key priority.
      For the most part, the effects of COVID-19 on our operating results have dissipated with government restrictions across the world
easing and the availability of vaccines to help prevent COVID-19 infections. We continue to monitor and assess the potential impact
of COVID-19 and the possibility of future variants on our staff and operations and have implemented appropriate mitigation plans and
will take additional precautions as we believe are warranted. We also work with our suppliers to understand any potential impacts to
our supply chain, and at this time, we have not identified any material risks to our supply chain.




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Technical Center Fire - 2021

       Early on the morning of January 9, 2021, the Technical Center, located on the southwest side of the Houston facility, which
contains quality control and research and development activities, had a fire in the mechanical room. TPC’s Emergency Response Team
responded and coordinated with local officials and emergency responders to quickly resolve the issue. There were no injuries to TPC
employees and no offsite or environmental impacts as a result of the event; however, one emergency responder sustained an ankle injury
while responding to the event. As a result of the fire, there is considerable damage to the facility and the housed equipment. In the
absence of a functioning laboratory facility, the Company had to secure short term outsourcing solutions for all of the quality control
testing needs immediately following the event. Since late February 2021, however, we have salvaged over 75% of the lab equipment
in the Technical Center and replaced the majority of the outsourced testing with in-house testing in a combination of TPC and rental
facilities, thereby substantially reducing the incremental costs. To reestablish the full necessary laboratory functionality for research
and development as well as quality control, we are evaluating options including expanded leased facilities, rebuild of the Technical
Center or new construction onsite.

February Weather Event (Uri) – 2021

      In February 2021, large parts of the southern United States, including Texas and Louisiana, experienced extreme winter weather.
Due to abnormally low temperatures for an extended period of time, facilities in the region experienced disruption to their operations,
resulting in lost production and additional maintenance costs. This event also caused the HNO plant to experience upset conditions
resulting in multiple days of unauthorized air emissions. The TCEQ has investigated this emission event and referred it to the Texas
Attorney General for civil enforcement. The Attorney General filed suit seeking civil penalties in connection with this event on
February 23, 2022. The total financial impact of this freeze event, between incremental costs for repairs, higher energy costs and lost
volumes, has been upwards of $76 million.
Insurance Renewal

      We seek to maintain comprehensive insurance coverage at commercially reasonable rates. Although we carry property and casualty
insurance to cover certain risks, our insurance policies do not cover all types of losses and liabilities, and our insurance may not be
sufficient to cover the full extent of losses or liabilities for which we may be liable. Despite persistently tight insurance market
conditions, we have renewed all our expiring insurance coverages on substantially the same terms at premium increases in line with
market conditions. We have financed the premiums through an affiliate of our broker, requiring us to pay 25% of the premium upfront
with the remainder payable in monthly installments through March 2022. Although we have been able to replace our insurance in
2021, we may not be able to do so or may not be able to finance the premiums in the future.

Results of Operations

     Contractual linkages of raw material costs and selling prices of finished products to commodity indices

      Most of our raw material feedstock costs and finished product selling prices are determined by application of contractual formulas
linked to commodity market indices and, in most cases, the indices used to determine raw material feedstock costs are the same indices
used to determine finished product selling prices.
     As of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model, and which is more commensurate with the valuable and consistent service
we provide to the industry.
      Although linkage of most of our raw material costs and selling prices to the same indices and our restructured crude C4 supply
contracts provide some degree of consistency in our average material margin per pound (which we define as the difference between
average revenue per pound and average raw material cost per pound) during periods in which the underlying commodity indices are
relatively stable, there are various factors that can have a significant impact on our average material margin per pound, including those
listed below. Moreover, even a relatively minor increase or decrease in average material margin per pound can have a significant
impact on our overall profitability given the magnitude of our sales volumes.

         •   We may purchase raw material feedstocks in a given month based on market indices for that month, and then sell the
             related finished products in a later month based on market indices for the later month. Changes in selling prices of finished
             products, based on changes in the underlying market indices between the month the raw material feedstocks are purchased
             and the month the related finished products are sold causes variation in our average material margin per pound. For
             example, we may purchase the components of a crude C4 stream based on formulas that reflect the respective January
             commodity indices but then sell the finished products at pricing formulas based on the respective February commodity


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             indices. If the indices for January and February are the same, we would expect to realize substantially the same unit
             margins regardless of the absolute value of the indices. However, for any components of the stream for which the
             respective index increases between January and February, we would expect to realize a temporary margin expansion until
             pricing stabilizes; and conversely, if the index decreases, we would expect to realize a temporary margin contraction. The
             magnitude of the effect on the average material margin per pound and the material margin percentage in a given month
             depends on the magnitude of the change in the underlying indices compared to the prior month and the quantity of inventory
             at the end of the prior month as a result of its impact on the moving average cost of finished products sold in the subsequent
             month.
         •   Although most of our supply and sales contracts contain index-based formulas, varying proportions of our raw material
             purchases and finished product sales are done on a spot basis or otherwise negotiated terms. In addition, while many of
             the index-based formulas in our contracts are simply based on a percentage of the relevant index, others apply adjustment
             factors to the market indices that do not fluctuate with changes in the underlying index. As supply and sales contracts are
             renegotiated, the amounts of such adjustment factors can change, thus the average material margin per pound would be
             impacted.
         •   Under some of our raw material purchase contracts, the costs of the raw materials are based on a percentage of the relevant
             market index, and under some of our sales contracts, the selling price of the related finished product is based on a higher
             percentage of the same market index. As a result, the average material margin per pound tends to be higher during periods
             in which the market indices are higher and tends to be lower during periods when the market indices are lower.
         •   Finished product selling price formulas under some of our sales contracts, primarily in the Performance Products segment,
             are based on commodity indices not for the period in which the sale occurs but for either a prior or subsequent period.
             The effect on average material margin per pound of the selling price formulas can be significant during times of rapidly
             increasing or decreasing market indices.

Butadiene Price Impact

      As discussed above, a substantial portion of our finished product selling prices and raw material costs are linked to the same
commodity indices and this linkage mitigates, to varying degrees, our exposure to volatility in our profit margins. As also discussed
above, as of the end of 2017 we completed a restructuring of our C4 Processing business model, which provides the segment with higher
and more stable earnings compared to the previous model, which are more commensurate with the valuable and consistent service we
provide to the industry. However, the stabilizing effect of these factors on our profit margins is lessened when we do not purchase the
feedstock and sell the finished product in the same period. Regarding butadiene, which has historically been the largest individual
product line in our C4 Processing segment, the linkage between our raw material cost and finished product selling price is the published
contract price for butadiene. As a result of purchasing crude C4 in one month and selling finished butadiene in the subsequent month,
the GPC per pound we report in the subsequent month will expand when the price of butadiene increases and will contract when the
price of butadiene declines due to the impact of beginning inventory (quantity and unit cost) on the moving average cost of finished
butadiene sold in the subsequent month.
      As shown in the presentation of EBITDA and Adjusted EBITDA on page 8 of this Annual Report, we adjust EBITDA to remove
the estimated temporary impact on our reported GPC of the month-to-month changes in the contract price of butadiene. The rationale
for the adjustment is that the temporary impacts of butadiene price changes distort the underlying business performance.
     The table below shows, for each period presented, the impact on our reported GPC (in millions) of purchasing crude C4 in one
period and selling finished butadiene in a later period at higher or lower butadiene contract prices. The impact on reported GPC for
each period is the sum of the monthly impacts, which are dependent on the magnitude of the contract price change each month and the
quantity of butadiene inventory at the beginning of each month.

     Impact on reported GPC as of the dates presented, was as follows (in millions):

                                                                                 Year Ended December 31,
                                                                               2021        2020       2019

                         Positive (negative) impact on GPC                 $        4    $        (5)   $     (8)




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     Average material margin per pound

     The table below provides the average material margin per pound (defined above) for each period presented.


                                                                                         Year Ended December 31,
                                                                                  2021            2020           2019

                    Average revenue per pound ($)                            $       0.53     $       0.30    $        0.40
                    Average raw material cost per pound ($)                          0.35             0.16             0.24
                    Average material margin per pound ($)                            0.18             0.14             0.16



      As discussed above, our material margin per pound and reported GPC reflect the temporary impact of month-to-month changes in
the contract price of butadiene. As provided in the table above, and in the discussion of cost of sales for 2021 versus 2020 on page 19
and for 2020 versus 2019 on pages 21-22, the impact of butadiene price changes on GPC was a positive $4 million in 2021, a negative
$5 million in 2020, and a negative $8 million in 2019. Excluding the temporary impact of butadiene price changes on all three years,
average material margin per pound would be $0.19 for 2021, $0.15 for 2020 and $0.16 for 2019.

     The following table summarizes the primary indices which impact our revenues and raw material costs by segment.

     Segment / Finished Product                              Revenues                             Raw Material Costs

 C4 Processing Segment
  Butadiene                                    Butadiene                                   Butadiene
  Butene – 1                                   Unleaded regular gasoline                   Unleaded regular gasoline
  Raffinates                                   Unleaded regular gasoline                   Unleaded regular gasoline

 Performance Products Segment
  Polyisobutylene                              Isobutane                                   Butane
  Diisobutylene                                Isobutane                                   Butane
  MTBE                                         MTBE                                        Isobutane, methanol




     The following table summarizes the average commodity index prices for each period presented.

                                                              Year Ended December 31,                  Year Ended December 31,
                                                            2021       2020       % Chg.             2020       2019       % Chg.
          Average commodity prices:
           Butadiene (cents/lb) (1)                            66.2        30.6            116%        30.6        44.0       -30%
           Unleaded regular gasoline (cents/gal) (2)          207.5       114.7             81%       114.7       171.6       -33%
           Butane (cents/gal) (3)                             117.9        58.6            101%        58.6        65.2       -10%
           Isobutane (cents/gal) (3)                          117.6        58.5            101%        58.5        73.9       -21%
           MTBE (cents/gal) (2)                               217.8       127.7             71%       127.7       197.5       -35%
           Methanol (cents/gal) (4)                           167.3       101.3             65%       101.3       116.3       -13%



     (1) Industry pricing was obtained through IHS.
     (2) Industry pricing was obtained through Platts.
     (3) Industry pricing was obtained through Oil Price Information Service.
     (4) Industry pricing was obtained through J. Jordan.




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      The following table provides sales volumes, revenue, cost of sales, GPC and operating expenses by operating segment (amounts
in thousands) for the years ended December 31, 2021, 2020 and 2019. Please refer to this information, as well as our consolidated
financial statements and accompanying notes included elsewhere in this Annual Report, when reading our discussion and analysis of
results of operations below. All information provided in the table below, except sales volumes, is derived from our Consolidated
Statements of Operations. Sales volumes for all periods presented constitute unaudited information.

                                                                                    Year Ended December 31,
                                                                     2021                 2020                    2019

                  Sales volumes (pounds) (1):
                    C4 Processing                                      1,439,319             1,474,078              2,326,067
                    Performance Products                                 977,235             1,055,889              1,379,245
                                                                       2,416,554             2,529,967              3,705,312

                  Revenue:
                   C4 Processing                              $         794,471      $         407,181      $         922,204
                   Performance Products                                 494,575                344,209                542,722
                                                              $        1,289,046     $         751,390      $       1,464,926

                  Cost of sales (2):
                   C4 Processing                              $         660,375      $         300,342      $         700,421
                   Performance Products                                 344,947                218,721                331,412
                                                              $        1,005,322     $         519,063      $       1,031,833
                  GPC
                   C4 Processing                              $         134,096      $         106,839      $         221,783
                   Performance Products                                 149,628                125,488                211,310
                                                              $         283,724      $         232,327      $         433,093
                  Operating expenses (2):
                   C4 Processing                              $         138,241      $         109,916      $         112,870
                   Performance Products                                  83,315                 71,143                 67,066
                                                              $         221,556      $         181,059      $         179,936




    (5) Sales volumes represent product sales volumes only and do not include volumes of products delivered under tolling or similar arrangements,
        in which we do not purchase the raw materials, but process raw materials for another party for a specified fee.
    (6) Cost of sales does not include operating expenses, and cost of sales and operating expenses do not include depreciation and amortization
        expenses.

Year ended December 31, 2021 versus year ended December 31, 2020

     Revenue

      Total revenue for 2021 was $1,289.0 million compared to $751.4 million for 2020. The increase of $537.6 million, or 72%,
included a 4% decrease in overall sales volume and an 80% increase in average revenue per pound. The lower overall sales volume
reflected decreases for both the C4 Processing segment and the Performance Products segment. The higher overall average revenue
per pound was due to higher average selling prices for both operating segments. Variances in average selling prices for both operating
segments reflected variances in the commodity market indices to which a substantial portion of our finished product selling prices are
linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 15-16
and the table of commodity indices to which a substantial portion of selling prices are linked on page 17).
      C4 Processing segment revenue of $794.5 million for 2021 increased $387.3 million, or 95%, compared to 2020 revenue of $407.2
million. The higher revenue for 2021 was caused by a 2% decrease in sales volume, which had a negative impact of $6 million, and a
100% increase in average revenue per pound, which had a positive impact of $393 million. The decrease in sales volume for 2021 was
the result of the Houston plant being offline for half of the first quarter due to the February freeze event, the operational issues with our
BD finishing tower in the second quarter, and issues with our steam system in the third and fourth quarters impacting production of
butadiene, butene-1 and raffinate. The overall 100% increase in average revenue per pound for the segment was due to a 116% increase
in the average benchmark price for butadiene and an 81% increase in the average price of unleaded regular gasoline (see the table of
commodity indices to which a substantial portion of our C4 Processing segment selling prices are linked on page 17).

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      Performance Products segment revenue for 2021 was $494.6 million compared to $344.2 million for the prior year. The $150.4
million, or 44%, increase in revenue reflected an overall 7% decrease in sales volume due to lower MTBE sales, but still resulted in a
positive impact of $6 million, due to increased PIB sales, and a 55% increase in average revenue per pound, which had a positive impact
of $144 million. The increase in average revenue per pound was caused by increases in the prices of isobutane and MTBE of 101%
and 71%, respectively (see the table of commodity indices to which a substantial portion of our Performance Products segment selling
prices are linked on page 17). Although the sales volumes were impacted by the February freeze event in the first quarter of 2021, the
effect on PIB sales was somewhat muted by our inventory position as of the end of January and PIB demand continued to climb during
the second quarter. The effect on MTBE volumes, when compared to 2020, was offset by the absence of a Dehydro Turnaround in
2021.

     Cost of Sales

      Total cost of sales for 2021 was $1,005.3 million compared to $519.1 million for 2020. The significantly higher cost of sales in
the current year period reflected the substantial increase in the average cost of raw materials included in the average cost of finished
products sold by both operating segments offset slightly by the overall decrease in sales volumes discussed above. The increases in
raw material costs for both operating segments reflected increases in the commodity market indices to which a substantial portion of our
raw material costs are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity
indices” on pages 15-16 and the table of commodity indices to which a substantial portion of our raw material costs are linked on page
17).
      C4 Processing segment cost of sales for 2021 was $660.4 million versus $300.3 million for the prior year. The increase reflected
the impact of a 168% increase in the average cost of the raw material component of the finished products sold. The higher average cost
of raw materials was caused by increases in the average benchmark price for butadiene and the average price of unleaded regular gasoline
of 116% and 81%, respectively (see the table of commodity indices to which a substantial portion of our C4 Processing segment raw
material costs are linked on page 17). As discussed above, in spite of the linkage between the cost of crude C4 we purchase and the
price at which we sell finished butadiene, our average raw material costs and profit margins in a given period are impacted by purchasing
crude C4 in one period and selling finished butadiene in a subsequent period during times of butadiene price volatility. As a result of
such month-to-month movements in the contract price of butadiene, our profit margins in 2021 reflected a positive butadiene pricing
impact of $4 million and our profit margins in 2020 reflected a negative butadiene pricing impact of $5 million, which resulted in a
favorable year-over-year impact on profit margins of $9 million.
      Performance Products segment cost of sales was $344.9 million for 2021 compared to $218.7 million for 2020. The $126.2
million, or 58%, increase reflected a 7% decrease in the sales volume discussed above and a 76% increase in the average cost of the raw
material component of the finished products sold. The higher average cost of raw materials was driven by increases in the average
price of butane, isobutane and methanol of 101%, 101% and 65%, respectively (see the table of commodity indices to which a substantial
portion of our Performance Products segment raw material costs are linked on page 17).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in overall average revenue per pound and average raw material cost per pound for 2021 compared to 2020.

     Operating Expenses

      Operating expenses incurred during 2021 were $221.6 million compared to $181.1 million incurred during 2020. The $40.5
million increase included higher manufacturing costs of $23.5 million (primarily driven by unplanned boiler and VCU outages as well
as the unplanned 1D-120 tower cleaning leading to unanticipated repair and maintenance costs and higher thermal oxidizer rental costs),
$20.1 million higher insurance costs primarily due to the PNO incident, $1.0 million higher sales and use taxes, and $2.9 million higher
incentive compensation and 401-K costs. This was partially offset by $5.2 million lower property taxes, as well as $1.8 million lower
employee benefits.

     General and Administrative Expenses

      General and administrative expenses for 2021 were $30.0 million versus $28.0 million for the prior year. The $2.0 million
increase consisted primarily of incentive compensation expense. This was partially offset by lower other administrative costs.

     Depreciation and Amortization

     Depreciation and amortization expenses were $75.5 million in 2021 compared to $74.2 million in 2020. The $1.3 million increase
included the following: (i) higher depreciation of $1.5 million, which in general varies due to the net impact of capital additions less


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retirements and write-offs; (ii) higher turnaround and catalyst amortization of $2.7 million where Dehydro related costs drove a
significant portion of the increase and (iii) an offset of $2.9 million related to lower patent amortization, as the patent related to the
butadiene extraction process used at our Port Neches facility was fully amortized at the end of 2020.

     Loss (gain) on Port Neches Incident, net

      The year over year change from 2020 to 2021 was a gain of $198.6 million. This was primarily driven by a gain on proceeds
recovery for assets of $183.5 million offset by an estimate of unrecoverable property costs of $24.7 million. Costs incurred for liability
were adjusted down $3.9 million due to an overstatement of commercial claims. Environment, Defense, and Non-Recoverable costs
incurred during the year were lower by $35.9 million
     Business Interruption Insurance Recovery

      As of December 31, 2021, the Company had secured $99.7 million in business interruption insurance proceeds to reimburse for
lost profits. This amount is preliminary but is deemed a floor amount which allowed us to recognize the difference between this floor
amount and the previously recorded business interruption insurance proceeds of $12.1 million during the fourth quarter of 2021. Floor
amounts are $64.1 million for 2020, $25.5 million for first and second quarters of 2021, and $10.1 million for the third quarter 2021.
We expect to ultimately recover significantly more than the floor amount already recorded.

     COVID-19 Expenses

      The expenses of $0.7 million for 2021 and $1.9 million for 2020 represent the incremental expenses directly related to our response
to the COVID-19 pandemic.

     Interest Expense

      Interest expense for 2021 was $120.9 million compared to $112.9 million for 2020. The $8.0 million increase reflected an increase
of $15.2 million in interest on the 10.875% Notes which were issued in February 2021 and higher other net interest costs of $3.9 million
which includes $2.2 million higher ABL related interest expense. This was partly offset by $4.6 million lower interest on the New
Term Loan which was paid off with the proceeds of the 10.875% Notes and $6.5 million lower deferred financing amortization related
to the New Term Loan.
     Other, Net

     Other net expenses for 2021 included true ups for receipted amounts, business optimization expenses and other miscellaneous
immaterial income and expense items. Similarly, 2020 and 2019 both included various miscellaneous income and expense items, none
of which were individually significant.

     Income Tax Expense (Benefit)

      The effective income tax expense (benefit) rates for 2021 and 2020 were 5.7% and 7.7%, respectively. The effective rates for
both periods reflected the federal statutory rate of 21% and state income taxes, net of federal benefit, adjusted for the impact of permanent
book/tax differences, the credit for increasing research activities and adjustments for prior year permanent book/tax differences that
were identified upon completion of the tax return for each year. The lower effective tax rate for 2021 reflected a decrease in the
valuation allowance to $25.0 million.
      Prior to recording the valuation allowance, we had a net deferred tax asset at December 31, 2021 of $25.0 million, which included
deferred tax assets of $143.1 million and deferred tax liabilities of $118.1 million. Based on an assessment of both positive and negative
evidence, we have concluded that it is more likely than not that the Company will not be able to realize the benefit of the deferred tax
assets recorded at December 31, 2021. In the event that the actual outcome of future tax consequences differs from management
estimates and assumptions, the resulting change to the provision for income taxes could have a material impact on the consolidated
results of operations and statements of financial position. Please refer to Note M Income Taxes.
      Our net taxable income for 2021 was $106.8 million, which reflects our pretax book income of $18.6 million which was increased
by taxable temporary differences of $19.9 million related to differences in book and tax treatment of insurance proceeds related to the
Port Neches incident and disallowed interest expense of $61.6 million. The pretax book income reflects the significant gain recognized
on insurance proceeds received from the Port Neches incident.




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Year ended December 31, 2020 versus year ended December 31, 2019

     Revenue

      Total revenue for 2020 was $751.4 million compared to $1,464.9 million for 2019. The decrease of $713.5 million, or 49%,
reflected a 32% decrease in overall sales volume and a 25% decrease in average revenue per pound. The lower overall sales volume
reflected decreases for both the C4 Processing segment and the Performance Products segment. The lower overall average revenue per
pound reflected lower average selling prices for both operating segments. Variances in average selling prices for both operating
segments reflected variances in the commodity market indices to which a substantial portion of our finished product selling prices are
linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages 15-16
and the table of commodity indices to which a substantial portion of selling prices are linked on page 17).
      C4 Processing segment revenue of $407.2 million for 2020 was down $515.0 million, or 56%, compared to 2019 revenue of $922.2
million. The lower revenue for 2020 reflected a 37% decrease in sales volume, which had a negative impact of $354 million, and a
30% decrease in average revenue per pound, which had a negative impact of $161 million. The decrease in sales volume for 2020
primarily reflected a combination of the loss of our crude C4 processing capacity resulting from the shutdown of our Port Neches facility
and customer demand impact from COVID, which would have been mitigated with connectivity to butadiene and raffinate customers
from our PNO location. Sales volume for 2019 was driven by strong demand for all products, and raffinate demand for alkylation by
our refinery customers was especially strong over the last three quarters of the year. The 30% decrease in average revenue per pound
for the segment reflected a 30% decrease in the average benchmark price for butadiene and a 33% decrease in average price of unleaded
regular gasoline (see the table of commodity indices to which a substantial portion of our C4 Processing segment selling prices are
linked on page 17).
      Performance Products segment revenue for 2020 was $344.2 million compared to $542.7 million for the prior year. The $198.5
million, or 37%, decrease in revenue reflected a 23% decrease in sales volume, which had a negative impact of $109 million, and a 17%
decrease in average revenue per pound, which had a negative impact of $90 million. The decrease in average revenue per pound
reflected decreases in the prices of isobutane and MTBE of 21% and 35%, respectively (see the table of commodity indices to which a
substantial portion of our Performance Products segment selling prices are linked on page 17). The lower sales volume was driven
primarily by weaker PIB demand due in large part to the global slowdown in new car sales. MTBE sales volume was down 28% which
reflected lower production volumes as we elected to move feedstock used for MTBE production into our raffinate business because of
significant margin erosion on MTBE and the effects of the 2020 first quarter turnaround.

     Cost of Sales

      Total cost of sales for 2020 was $519.1 million compared to $1,031.8 million for 2019. The significantly lower cost of sales in
the current year period reflected the overall decrease in sales volume discussed above and the substantial decline in the average cost of
raw materials included in the average cost of the finished products sold by both operating segments. Variances in raw material costs
for both operating segments reflected the variances in the commodity market indices to which a substantial portion of our raw material
costs are linked (see “Contractual linkages of raw material costs and selling prices of finished products to commodity indices” on pages
15-16 and the table of commodity indices to which a substantial portion of our raw material costs are linked on page 17).
      C4 Processing segment cost of sales for 2020 was $300.3 million versus $700.4 million for the prior year. The decrease reflected
the impact of the 37% decrease in sales volume discussed above and a 44% decrease in the average cost of the raw material component
of the finished products sold. The lower average cost of raw materials reflected decreases in the average benchmark price for butadiene
and the average price of unleaded regular gasoline of 30% and 33%, respectively (see the table of commodity indices to which a
substantial portion of our C4 Processing segment raw material costs are linked on page 17). As discussed above, in spite of the linkage
between the cost of crude C4 we purchase and the price at which we sell finished butadiene, our average raw material costs and profit
margins in a given period are impacted by purchasing crude C4 in one period and selling finished butadiene in a subsequent period
during times of butadiene price volatility. As a result of such month-to-month movements in the contract price of butadiene, our profit
margins in 2020 reflected a negative butadiene pricing impact of $5 million and our profit margins in 2019 reflected a negative butadiene
pricing impact of $8 million, which resulted in a favorable year-over-year impact on profit margins of $3 million.
      Performance Products segment cost of sales was $218.7 million for 2020 compared to $331.4 million for 2019. The $112.7
million, or 34%, decrease reflected a 23% decrease in the sales volume discussed above and a 19% decrease in the average cost of the
raw material component of the finished products sold. The lower average cost of raw materials reflected decreases in the average price
of butane, isobutane and methanol of 10%, 21% and 13%, respectively (see the table of commodity indices to which a substantial portion
of our Performance Products segment raw material costs are linked on page 17).
      As discussed above, variations in the market indices used in our index-based finished products selling prices and raw material
costs (including the temporary impact of butadiene price changes), as well as the impact of product mix, were the main drivers behind
the variations in overall average revenue per pound and average raw material cost per pound for 2020 compared to 2019.

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     Operating Expenses

      Operating expenses incurred during 2020 were $181.1 million compared to $179.9 million incurred during 2019. The $1.2 million
increase included $19 million higher insurance costs primarily due to the PNO incident, $2.3 million higher sales and use taxes, $1.2
million higher property taxes, as well as $0.8 million higher employee benefits. This was partially offset by lower fixed supply chain
expenses of $3.9 million, lower 401-K and incentive compensation costs of $7.6 million, $10.1 million lower manufacturing overhead
costs and $0.5 million lower selling costs. Lower manufacturing costs of $10.1 million included $13.7 million lower PNO facility costs
and $1.4 million lower support group costs, partially offset by higher maintenance expenses which included inspections and repairs.
The lower fixed supply chain expenses largely reflected lower pipeline repair and inspection expenses.

     General and Administrative Expenses

     General and administrative expenses for 2020 were $28.0 million versus $28.7 million for the prior year. The $0.7 million
decrease consisted primarily of lower personnel-related expenses.

     Depreciation and Amortization

      Depreciation and amortization expenses were $74.2 million in 2020 compared to $81.0 million in 2019. The $6.8 million decrease
reflected lower depreciation of $3.8 million and lower turnaround amortization of $4.5 million partly offset by higher catalyst
amortization of $1.5 million. The $3.8 million decrease in depreciation expense primarily represents a $4.7 million decrease in certain
technology assets that were fully depreciated in early 2020 offset by $0.9 million increase in deprecation for assets put into service in
2020. In general, depreciation expense varies due to the net impact of capital additions less retirements and write-offs. The $4.5
million net decrease in turnaround amortization reflects the lower dehydro turnaround amortization as a result of the lower total
turnaround cost of the unit’s third scheduled turnaround during the first quarter of 2020. In addition, the write-off of deferred turnaround
costs related to the Port Neches incident in the fourth quarter of 2019, lowered the turnaround amortization in future periods.

     Loss on Port Neches Incident, net

      For the current year, the $50.1 million loss related to the Port Neches incident (discussed on pages 12-14) reflected $129.4 million
in losses and incurred costs offset by $79.3 million of insurance proceeds. The net amount of $50.1 million included estimated liability
claims expected to be in excess of our liability insurance coverage of $3.1 million. Additionally, the net amount of response cost losses
of $47.2 million represents costs incurred directly related to the ongoing incident response and cleanup activities for which insurance
coverage was not considered probable or costs were in excess of certain insurance coverage limitations.
       For the prior year, the comparative loss related to the Port Neches incident (discussed on pages 12-14) was $91.9 million. This
loss reflected the amount of asset write-offs and costs incurred as a direct result of the Port Neches incident, net of insurance
reimbursement received and for which future receipt was considered to be probable. The net loss consisted of $19.0 million for the
write-off of deferred turnaround costs related to the Port Neches site, insurance deductibles of $11.1 million, and estimated third-party
liability claims expected to be in excess of insurance policy coverage of $61.8 million.

     Business Interruption Insurance Recovery

      The $12.1 million of business interruption insurance recovery represents the amount received on our PNO incident business
interruption claim.

     COVID-19 Expenses

     The expense of $1.9 million represents the incremental expenses directly related to our response to the COVID-19 pandemic.

     Interest Expense

      Interest expense for 2020 was $112.9 million compared to $101.7 million for 2019. The $11.2 million increase primarily reflected
the impact of the refinancing of our debt on August 2, 2019 and consisted of a net increase in interest expense on the 10.5% Notes
compared to the 8.75% Notes of $7.4 million, an increase in interest expense on the New Term Loan of $3.7 million and higher net
other interest expense of $0.4 million which included interest on the financing of insurance premiums. This was partially offset by
lower interest on the ABL facility of $0.3 million.
     The $7.4 million higher interest on the Notes reflected $13.5 million higher interest, partially offset by $6.1 million lower deferred
financing and discount costs versus prior year. The $3.7 million higher interest on the Old Term Loan included $1.8 million higher

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interest and $1.9 million higher deferred financing cost amortization in conjunction with the refinancing of this loan on February 3,
2020.

     Other, Net

     Other than refinancing optimization expenses in 2019 of $0.5 million, both the current and prior year amounts included various
miscellaneous income and expense items, none of which were individually significant.

     Income Tax Benefit

      The effective income tax benefit rates for 2020 and 2019 were 7.7% and 19.8%, respectively. The effective rates for both periods
reflected the federal statutory rate of 21% and state income taxes, net of federal benefit, adjusted for the impact of permanent book/tax
differences, the credit for increasing research activities and adjustments for prior year permanent book/tax differences that were
identified upon completion of the tax return for each year. The lower effective benefit rate for 2020 reflected the establishment of a
$27.7 million valuation allowance.
      Prior to recording the valuation allowance, we had a net deferred tax asset at December 31, 2020 of $27.7 million, which reflected
deferred tax assets of $153.7 million and deferred tax liabilities of $126.0 million. Based on assessment of both positive and negative
evidence, we have concluded that it is more likely than not that the Company will not be able to realize the benefit of the deferred tax
assets recorded at December 31, 2020. In the event that the actual outcome of future tax consequences differs from management
estimates and assumptions, the resulting change to the provision for income taxes could have a material impact on the consolidated
results of operations and statements of financial position. Please refer to Note M Income Taxes.
      Our net operating loss for 2020 was $9.0 million, which reflects our pretax book loss of $203.9 million which was substantially
offset by taxable temporary differences of $135.1 million related to differences in book and tax treatment of insurance proceeds related
to the Port Neches incident and disallowed interest expense of $69.5 million. The book pretax loss reflects the significant loss of
production and distribution capability resulting from the Port Neches incident as well as the negative impact of COVID-19 on demand
for our products and the overall economy.

Liquidity and Capital Resources

     Net Debt and Liquidity

     As of December 31, 2021, our financing arrangements consisted primarily of the 10.875% Notes, the 10.5% Notes and our ABL
Credit Facility. In addition, we financed our 2021 insurance renewal premiums through Aon Premium Finance LLC, an affiliate of our
Broker, Aon PLC.
      At December 31, 2021, we had total long-term debt of $1,181.5 million (including deferred financing costs of $13.3 million and
debt discount of $2.2 million), which consisted of the 10.875% Notes of $153.0 million and the 10.5% Notes of $930.0 million. Cash
on hand was $159.3 million (excluding $3.2 million of restricted cash) and we had no short-term money market investments (with
maturities of less than three months) or short-term investments (with original maturities between 90 days and one year).
     As of December 31, 2021, we had $114 million in borrowings outstanding on the ABL and the combined ABL Revolver and ABL
FILO borrowing bases were insufficient to support additional borrowings. As of December 31, 2021, we were in compliance with all
covenants set forth in the Indentures governing the 10.875% Notes and the 10.5% Notes.
      We did not have additional borrowing capacity under the ABL at December 31, 2021, therefore cash on hand reflected total
liquidity of $159.3 million (excluding restricted cash) at December 31, 2021.

     New Term Loan

      On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provided for a delayed draw term loan of up to $70.0 million and a term of one-year. Availability
under the Term Loan was limited to a maximum of four draws with a minimum of $5.0 million per draw. Subject to certain exceptions,
the Company’s obligations with respect of the Term Loan were secured by liens on and security interests in all collateral securing the
10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment with those liens and security interests
granted pursuant to the 10.5% Indenture. On March 18, 2020, we drew on the facility and received $70.0 million less a 1% original
issue discount fee. In May 2020 the lenders agreed to grant the Company the option to extend the maturity date to August 5, 2021.
This loan was repaid on February 2, 2021 with some of the proceeds received from issuance and sale of the 10.875% Notes.



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     ABL Facility

     The ABL Facility is available on a revolving basis to finance our working capital needs and for general corporate purposes. The
ABL Facility was composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” revolving
tranche (the ABL FILO) when amended and restated on August 2, 2019. Commitments under the ABL FILO reduce, and commitments
under the ABL Revolver equally and simultaneously increase, by $2.5 million on each of the first three anniversaries of the August 2,
2019 amendment and restatement.
        The credit agreement governing the ABL Facility contains covenants that impose restrictions on, among other things, additional
indebtedness, liens, investments, advances, guarantees and mergers and acquisitions. These covenants also place restrictions on asset
sales, sale and leaseback transactions, dividends, payments between us and our subsidiaries and certain transactions with affiliates
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.

     On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.5% Notes

      The 10.5% Notes were issued on August 2, 2019 in conjunction with the refinancing of our debt. The net proceeds from the
issuance of the 10.5% Notes were $918.3 million after underwriters and other fees and expenses of $11.7 million. The net proceeds
from the issuance of the 10.5% Notes were used to redeem and pay accrued interest due on the 8.75% Notes of $816.2 million, to repay
the outstanding loan balance and pay accrued interest due on the Old Term Loan of $50.3 million and to repay the outstanding loan
balance and pay accrued interest due on the ABL of $35.9 million.
     The 10.5% Notes are due August 1, 2024 and interest is paid semi-annually in arrears on February 1 and August 1.
      The 10.5% Indenture contains certain covenants, agreements and events of default which are customary with respect to non-
investment grade debt securities, including limitations on our ability to incur additional indebtedness, pay dividends on or make other
distributions or repurchase our capital stock, make certain investments, enter into certain types of transactions with affiliates, create
liens, sell certain assets or merge with or into other companies.
     On February 2,2021 the 10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875%
Notes and to make certain other changes to certain covenants contained therein.

     10.875% Notes

       On February 2, 2021 TPCGI issued and sold $153 million aggregate principal amount of 10.875% Notes to certain holders of the
10.5% Notes. The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by
all of the Company’s existing or future direct and indirect domestic subsidiaries, other than certain excluded subsidiaries (collectively,
the “Subsidiary Guarantors”).
      The net proceeds from the offering were used to repay and terminate the $70 million New Term Loan, to pay all fees and expenses
related to the transactions and for general corporate purposes. Interest on the 10.875% Notes began accruing on the issue date and is
payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each year, commencing on May 1, 2021. The 10.875
% Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness and
the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes are effectively subordinated to the ABL
Facility and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by assets or properties not
constituting collateral securing the 10.5% Notes to the extent of the value of such assets and properties. The 10.875% Indenture contains
certain covenants, agreements and events of default which are customary with respect to non-investment grade debt securities, including
limitations on our ability to incur additional indebtedness, pay dividends on or make other distributions or repurchase our capital stock,
make certain investments, enter into certain types of transactions with affiliates, create liens, sell certain assets or merge with or into
other companies.


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     Insurance Premium Financing

      As of December 31, 2021, we have $14.4 million of the insurance premiums we financed through Aon Premium Finance LLC.
The first down payment and the first installment were paid in July 2021 and the remainder is payable in monthly installments following
the applicable renewal date through March of 2022.

      Sources and Uses of Cash

      Our principal sources of liquidity are our existing cash and cash equivalents, short-term investments, cash generated from
operations and borrowings under our ABL. In addition to these sources, another source of liquidity over the near-term will be insurance
proceeds received under our various insurance policies, including our property damage and business interruption policies. Business
interruption coverage became effective on January 12, 2020 after the forty-five-day deductible period and from that date on will replace
the earnings the Port Neches plant would have contributed except as a result of the explosion incident on November 27, 2019 that shut
down the plant. The timing of receipt of the additional insurance proceeds under our policies is uncertain at this time. We may also,
from time to time, generate cash from opportunistic sales of non-core assets. Our principal uses of cash are to provide working capital,
meet debt service requirements, fund capital expenditures and finance our strategic plans, including possible acquisitions. We may also
seek to finance our capital expenditures under capital leases or other debt arrangements that provide liquidity or favorable borrowing
terms. Our business may not generate sufficient cash flows from operations and future borrowings under our ABL Facility may not be
available to us in an amount sufficient to enable us to pay our indebtedness or to fund our other liquidity needs. Our ability to generate
sufficient cash depends on, among other factors, prevailing economic conditions, many of which are beyond our control. In addition,
upon the occurrence of certain events, such as a change in control, we could be required to repay or refinance our indebtedness. Any
future acquisitions, joint ventures or other similar transactions may require additional capital and there can be no assurance that any
such capital will be available to us on acceptable terms or at all.
       We are currently engaged in discussions with our stakeholders, including our lenders and noteholders and their advisors and other
economic stakeholders, regarding optimizing our capital structure. In connection with these discussions, on February 3, 2022, the
Company entered into a forbearance agreement with a group representing nearly 90% of the Company’s 10.875% Notes and
approximately 80% of the Company’s 10.5% Notes (the “Ad Hoc Group”). The Company did not make approximately $53 million in
total interest payments due on the 10.875% Notes and the 10.5% Notes on February 1, 2022; the payments are subject to a 30-day grace
period. Under the forbearance agreement, the Ad Hoc Group agreed to forbear from exercising remedies relating to the event of default
that will occur if the Company does not make the February 1 coupon payments within the 30-day grace period. The forbearance
agreement was initially effective until March 18, 2022 but was extended until April 18, 2022 on March 16th and may be further extended
by the Ad Hoc Group. In connection with the forbearance agreement, the Ad Hoc Group also agreed to provide the Company with
approximately $52 million of additional liquidity in the form of a commitment to purchase additional 10.875% senior secured priming
notes due 2024 (the “Additional Notes”). On March 2, 2022 and March 11, 2022, TPC Group Inc. issued the additional 10.875% Senior
Secured Notes due 2024. Proceeds from the sale of the Additional Notes will be used to support ongoing operations and to pay fees
and expenses associated with the transaction. As discussed in Note D Going Concern to our Audited Consolidated Financial Statements
included in this Annual Report, if we do not have sufficient liquidity from cash flow, proceeds from the Additional Notes, ABL
availability and proceeds from insurance policies to conduct our business operations in future periods, we may be required, but unable,
to refinance all or part of our existing debt, seek additional covenant relief from our lenders, sell assets, incur additional indebtedness,
or issue equity on terms acceptable to us, if at all. Therefore, our ability to continue our planned principal business operations would
be dependent on the actions of our lenders or obtaining additional debt and/or equity financing to repay outstanding indebtedness secured
notes and ABL. These factors raise substantial doubt about our ability to continue as a going concern.
      In connection with the forbearance agreement, the Ad Hoc Group also agreed to provide the Company with approximately $52
million of additional liquidity in the form of a commitment to purchase additional 10.875% Notes, which amounts were funded in March
2022. See Note R Subsequent Events to our Audited Consolidated Financial Statements included in this Annual Report for further
information.
      Our liquidity requirements will be significant primarily due to the annual debt service requirements on the 10.5% Notes, which
are estimated to be $97.7 million, annual debt service requirements on the 10.875% Notes, which are approximately $16.6 million, our
baseline capital expenditures, which fall within the range of $70 to $80 million per year but were $111.6 million in 2021 and forecast to
be approximately $107.5 million in 2022, our turnaround and catalyst costs, which would typically be in the range of $20 to $30 million
in years we do not perform a dehydro unit turnaround and $35 to $40 million in years we do perform a dehydro unit turnaround, and
cash requirements related to the Port Neches incident in advance of insurance recoveries or in excess of insurance coverage limits.
      As market conditions warrant and subject to the Company’s contractual restrictions and liquidity position, we, our affiliates and/or
our equity holders, including the Sponsors and their affiliates, may from time to time repurchase the Company’s outstanding debt
securities in privately negotiated or open market transactions, by tender offer or otherwise. If in the future we should decide to engage
in such transactions, any such purchases may be funded by incurring new debt, including borrowings under our ABL. Any new debt


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may also be secured debt. We may also use available cash on our balance sheet or new equity capital. The amounts involved in any
such transactions, individually or in the aggregate, may be material. Further, any such purchases may result in us acquiring and retiring
a substantial amount of the 10.875% Notes or the 10.5% Notes, with the attendant reduction in the trading liquidity of any such Notes.

     Cash Flow Summary

     The following table summarizes changes in cash and cash equivalents for the periods indicated (in thousands):

                                                                              Year Ended December 31,
                                                                2021                   2020                   2019
              Cash flows provided by (used in):
               Operating activities                      $           66,424      $         (88,865)     $         117,354
               Investing activities                                (111,637)               (55,889)               (53,957)
               Financing activities                                 189,322                 78,047                 20,767
              Change in cash and cash equivalents        $          144,109      $         (66,707)     $            84,164


     Operating Activities

      For the year ended December 31, 2021, net cash provided by operating activities was $66.4 million. Net income of $17.5 million,
depreciation and amortization of $75.5 million, amortization of debt issuance costs of $8.2 million, write-off of capital projects of $2.3
million and a decrease in working capital of $16.3 million was partially offset by deferred turnaround and catalyst costs of $17.0
million, deferred income tax of $0.4 million and $36.0 million of non-cash expenses related to the Port Neches incident.
      Trade accounts receivable were $126.6 million at December 31, 2021 compared to $73.4 million at December 31, 2020. The
$53.2 million increase primarily reflected higher revenue of $537.6 million in December 2021 compared to December 2020 and an
increase in the days outstanding from 29 days at December 31, 2020 to 31 days at December 31, 2021. Trade accounts receivable were
99% current at both December 31, 2021 and 2020.
      Our inventory at December 31, 2021 was $74.5 million compared to $45.4 million at December 31, 2020. The increase of $29.1
million reflected a 79% increase in overall average cost per pound, which accounted for $32.8 million of the increase, and a 9% decrease
in physical inventory volumes, which accounted for an offset of $3.7 million. The increase in average cost per pound was driven
primarily by a 116% increase in the benchmark price of butadiene comparing the prices for December 2021 to December 2020.
      For the year ended December 31, 2020, net cash used in operating activities was $88.9 million. The net loss of $188.2 million,
deferred turnaround and catalyst costs of $28.0 million, deferred income tax benefit of $13.6 million and an increase in working capital
of $6.6 million were partially offset by non-cash expenses of $147.5 million. Non-cash expenses consisted of depreciation and
amortization of $74.1 million, amortization of debt issuance costs of $8.4 million and non-cash expenses related to the Port Neches
incident of $65.0 million.
      For the year ended December 31, 2019, net cash generated from operating activities was $117.4 million. The net loss of $41.5
million, deferred income tax benefit of $8.7 million and deferred plant turnaround and catalyst costs of $29.6 were more than offset by
non-cash expenses of $164.8 million and a $32.4 million decrease in working capital. Non-cash expenses consisted of depreciation
and amortization of $81.0 million, amortization and write-off of debt issuance costs of $12.5 million and non-cash expenses related to
the Port Neches incident of $71.3 million.

     Investing Activities

      During 2021, 2020, and 2019 we invested $111.6 million, $55.9 million, and $54.0 million, respectively, in the form of capital
expenditures, which consisted primarily of baseline spending. In addition to baseline capital investment, 2021 included operational
improvements to the steam system, 2020 included replacing capacity due to the volumes lost as a result of the Port Neches incident, and
2019 included infrastructure improvements in preparation for the increased crude C4 supply from the new ethylene crackers coming on
line.

     Financing Activities

      Cash of $189.3 million was generated in 2021 from net borrowings on the 10.875% Notes of $144.0 million, net borrowings on
the ABL facility of $114.0 million, and $1.3 million in net borrowings to finance our insurance premiums. These amounts were partially
offset by the repayment of the term loan of $70.0 million.


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      Net cash generated from financing activities in 2020 was $78.0 million, which consisted of $69.3 million from net borrowings on
the New Term Loan and net borrowings to finance our insurance premiums of $13.0 million. These amounts were partially offset by
debt issuance costs of $4.3 million.

      Net cash generated from financing activities in 2019 was $20.8 million, which consisted of $35.0 million of net borrowings due
to the refinancing on August 2, 2019 and the related debt issuance costs of $14.0 million.

     Off-Balance-Sheet Arrangements

      We do not currently utilize any off-balance-sheet arrangements to enhance our liquidity and capital resource positions, or for any
other purpose.

Critical Accounting Policies and Estimates

      In preparing our financial statements in conformity with accounting principles generally accepted in the United States of America,
we make certain estimates and assumptions about future events that could significantly affect the amounts of reported assets, liabilities,
revenues and expenses, as well as the disclosure of contingent assets and liabilities in the financial statements and accompanying notes.
Some of our accounting policies require the application of significant judgment by management to select the appropriate assumptions
to determine these estimates. By their nature, these judgments are subject to an inherent degree of uncertainty; therefore, actual results
may differ significantly from estimated results. We base our judgments on our historical experience, knowledge of the business and
industry, advice from experts and consultants, business forecasts and other available information, as appropriate.
      Our most critical accounting policies, which reflect significant management estimates and judgment to determine amounts reported
in our consolidated financial statements, are as follows:

     Inventory Cost

      Our inventories consist of raw materials and finished products and are valued at the lower of average cost or net realizable value.
Costs of finished products include raw materials, energy, labor and manufacturing overhead. We may enter into product exchange
agreements with suppliers and customers for raw materials and/or finished goods in the normal course of business. Under these
arrangements we deliver product volumes to the exchange partner to be delivered in-kind back to us or receive product volumes to be
delivered in-kind by us to the exchange partner in the future, generally in the short term. Product exchanges typically benefit both
parties from a logistical perspective and provide for additional flexibility regarding both receipt of raw materials from suppliers and
delivery of finished goods to customers. Exchange balances due to or from exchange partners are recorded in inventory at the lower of
average cost or net realizable value and do not impact the consolidated statements of operations and comprehensive income, as they are
recognized at the carrying amount. Our inventory levels can vary significantly depending on availability of raw materials, especially
crude C4, plant operations, customer demand and seasonality. In addition to potential fluctuations in the amounts of physical
inventories we carry, we can be exposed to potential devaluations in net realizable value of our inventories, especially our fuel-related
products, during periods of rapidly declining unleaded regular gasoline prices and demand for fuel-additive products. A significant
amount of judgment is required to determine the appropriate normal range of plant production activity and plant operating expenses
regarding plant overhead cost absorption and to determine the appropriate market valuation of inventories to assess recoverability of the
carrying cost of our inventory. Use of different estimates and assumptions to determine the appropriate amounts of overhead absorption
and market value for inventory valuation purposes, when such market is below cost, could have a significant impact on our financial
condition and results of operations from period to period.

      The average cost of our inventory at the end of any period reflects the carrying cost of raw materials and finished goods inventory
on hand at the beginning of the period and the actual cost of raw material purchases and finished goods production during the period.
The actual costs of most of our raw materials are based on contractual arrangements which, in various ways, link the purchase costs to
a commodity price index. Downward movement in commodity price indices between the times raw materials are purchased and the
related finished products are sold can result in reductions in realizable value of the inventory prior to the sale of our finished products.
Such reductions in realizable value can occur despite the index-based pricing in our contracts, because the effect of using matching
indices is lessened when we do not purchase the feedstock and sell the finished product in the same period. If it is determined at the
balance sheet date that the carrying value of the inventory will not be recovered based on management’s best estimates and assumptions
regarding inventory turnover rates and future selling prices, the carrying value of the inventory is written down to net realizable value
through lower of cost or net realizable value adjustments.

     Plant Turnaround Costs



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       We use the deferral method to account for costs of major scheduled plant turnarounds. Plant turnarounds are scheduled and
require partial or complete shutdowns of chemical processing units for significant overhaul and refurbishment, for periods typically
lasting from two to four weeks. Under the deferral method, we defer the cost of a turnaround project and amortize the cost over the
period between the completion of the turnaround and the next scheduled turnaround, which typically occurs from three to five years
after the most recently completed turnaround. If the next scheduled turnaround occurs sooner than originally anticipated, any remaining
deferred cost from the previous turnaround is charged to expense at that time. If the next scheduled turnaround occurs later than
originally anticipated, the amortization period for the previous turnaround cost is not extended. The deferral method of accounting for
turnaround costs requires judgment as to the specific costs to be included in a major turnaround project and requires estimates and
assumptions regarding the period of time over which the costs will be amortized. Use of different estimates and assumptions could
have a significant impact on our financial condition and results of operations from period to period.

     Income Tax Assets and Liabilities

      We account for income taxes in accordance with ASC 740, Income Taxes. Determination of tax related assets and liabilities to
be recorded and the appropriate recognition of tax positions taken on tax returns requires a significant amount of judgment. Regarding
realization of our deferred tax assets and the need for a valuation allowance against deferred tax assets at each balance sheet date, we
consider both positive and negative evidence of sufficient taxable income within the carry-back and/or carry-forward periods as provided
under applicable tax law. Based on our significant net deferred tax asset position and future reversals of existing taxable temporary
differences, as well as our historical operating results, we have concluded that a valuation allowance should be recorded for the entire
amount of the deferred tax asset. Regarding assessment of taxable income exclusive of reversing temporary differences and carry-
forwards, we consider both our recent historical operating results, as well as our expectations of future operating results; however,
historical results are given more weight than our expectations of future profitability, which is inherently uncertain.

     Revenue Recognition

      We recognize revenue in accordance with ASC 606, Revenue from Contracts with Customers. We adopted ASC 606 as of January
1, 2019 and applied the modified retrospective transition method to all contracts not completed as of the adoption date. The new
revenue recognition standard provides a five-step analysis of transactions to determine when and how revenue is recognized. The
premise of the guidance is that a company should recognize revenue to depict the transfer of promised goods or services to customers
in an amount that reflects the consideration to which the entity expects to be entitled in exchange for those goods or services. The
impact of the new standard on our consolidated financial statements was immaterial.

     Contingent Liabilities

       We record reserves for contingent liabilities when information available indicates that a loss is probable, and the amount of the
loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment may be subject to the
uncertainty of dispute resolution or litigation. Contractual arrangements with our customers and suppliers are typically complicated
and can include, for example, complex index-based pricing formulas that determine the price for our feedstocks or finished products.
Due to the complicated nature of our contractual arrangements, we can, from time to time, be involved in disputes with our customers
and suppliers regarding the interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the
normal course of our business, seldom result in actual formal litigation and are typically resolved in the context of the broader
commercial relationship that we have with the customer or supplier. Regarding any such disputes, we record reserves for contingent
liabilities when information available indicates that a loss is probable, and the amount of the loss is reasonably estimable.

     Benefit Plans

       We sponsor a noncontributory defined benefit pension plan for approximately 91 union-represented employees at our Port Neches
facility. The actuarial determination of the projected benefit obligation and related benefit expense requires certain assumptions,
including discount rate, expected return on plan assets, rate of future compensation increases and mortality rates. These assumptions
require considerable judgment and can have a significant impact on the amount of the obligation and periodic expense recognized.

Recent Accounting Developments

     Accounting Guidance Issued but Not Yet Adopted as of December 31, 2021

      Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification


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affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company has evaluated its population of leases and is
continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting for
logistics equipment (barge and terminal leases). The Company expects to recognize operating lease liabilities of approximately $166
million and corresponding right-of-use assets of approximately $157 million with the difference recognized as a benefit to retained
earnings over the life of the leases
      Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management, in discussion with our tax consultants, have concluded that changes required by the new standard will not impact the
Company's financial statements and related tax disclosures.




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                     CONSOLIDATED FINANCIAL STATEMENTS



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                                                                                Grant Thornton LLP
REPORT OF INDEPENDENT CERTIFIED PUBLIC ACCOUNTANTS                              700 Milam Street, Suite 300
                                                                                Houston, TX 77002
                                                                                T 832.476.4600
                                                                                F 713.655.8741
Board of Managers of Sawgrass Holdings GP LLC
Board of Directors and Stockholders of TPC Group Inc. and Subsidiaries

Opinion
We have audited the accompanying consolidated financial statements of TPC Group Inc.
(a Delaware corporation) and subsidiaries (the “Company”), which comprise the
consolidated balance sheets as of December 31, 2021 and 2020, and the related
consolidated statements of operations and comprehensive income (loss), changes in
stockholder’s deficit, and cash flows the three years then ended, and the related notes to
the financial statements.

In our opinion, the accompanying consolidated financial statements present fairly, in all
material respects, the financial position of the Company as of December 31, 2021 and
2020, and the results of its operations and its cash flows for the three years then ended in
accordance with accounting principles generally accepted in the United States of America.

Basis for opinion
We conducted our audits of the consolidated financial statements in accordance with
auditing standards generally accepted in the United States of America (US GAAS). Our
responsibilities under those standards are further described in the Auditor’s
Responsibilities for the Audit of the Financial Statements section of our report. We are
required to be independent of the Company and to meet our other ethical responsibilities
in accordance with the relevant ethical requirements relating to our audits. We believe that
the audit evidence we have obtained is sufficient and appropriate to provide a basis for our
audit opinion.

Substantial doubt about the company’s ability to continue as a going concern
The accompanying consolidated financial statements have been prepared assuming that
the Company will continue as a going concern. As discussed in Note D to the financial
statements, the Company’s assessment of forecasted cash flow and available liquidity for
2022 includes significant insurance receipts, the amount and timing of which is uncertain
and largely outside the Company’s control, the Company failed to make their February 1,
2022 coupon payments causing an event of default on their Notes and has stated that
substantial doubt exists about the Company’s ability to continue as a going concern.
Management’s evaluation of the events and conditions and management’s plans regarding




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these matters are also described in Note D. The consolidated financial statements do not
include any adjustments that might result from the outcome of this uncertainty. Our opinion
is not modified with respect to this matter

Responsibilities of management for the financial statements
Management is responsible for the preparation and fair presentation of the consolidated
financial statements in accordance with accounting principles generally accepted in the
United States of America, and for the design, implementation, and maintenance of internal
control relevant to the preparation and fair presentation of consolidated financial
statements that are free from material misstatement, whether due to fraud or error.

In preparing the consolidated financial statements, management is required to evaluate
whether there are conditions or events, considered in the aggregate, that raise substantial
doubt about the Company’s ability to continue as a going concern for one year after the
date the financial statements are issued.

Auditor’s responsibilities for the audit of the financial statements
Our objectives are to obtain reasonable assurance about whether the consolidated
financial statements as a whole are free from material misstatement, whether due to fraud
or error, and to issue an auditor’s report that includes our opinion. Reasonable assurance
is a high level of assurance but is not absolute assurance and therefore is not a guarantee
that an audit conducted in accordance with US GAAS will always detect a material
misstatement when it exists. The risk of not detecting a material misstatement resulting
from fraud is higher than for one resulting from error, as fraud may involve collusion,
forgery, intentional omissions, misrepresentations, or the override of internal control.
Misstatements are considered material if there is a substantial likelihood that, individually
or in the aggregate, they would influence the judgment made by a reasonable user based
on the consolidated financial statements.


In performing an audit in accordance with US GAAS, we:


    •   Exercise professional judgment and maintain professional skepticism throughout
        the audit.
    •   Identify and assess the risks of material misstatement of the consolidated financial
        statements, whether due to fraud or error, and design and perform audit
        procedures responsive to those risks. Such procedures include examining, on a
        test basis, evidence regarding the amounts and disclosures in the financial
        statements.
    •   Obtain an understanding of internal control relevant to the audit in order to design
        audit procedures that are appropriate in the circumstances, but not for the purpose
        of expressing an opinion on the effectiveness of the Company’s internal control.
        Accordingly, no such opinion is expressed.



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                     •       Evaluate the appropriateness of accounting policies used and the reasonableness
                             of significant accounting estimates made by management, as well as evaluate the
                             overall presentation of the consolidated financial statements.
                     •       Conclude whether, in our judgment, there are conditions or events, considered in
                             the aggregate, that raise substantial doubt about the Company’s ability to continue
                             as a going concern for a reasonable period of time.


               We are required to communicate with those charged with governance regarding, among
               other matters, the planned scope and timing of the audit, significant audit findings, and
               certain internal control–related matters that we identified during the audit.




             Houston, Texas
             March 24, 2022




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                                                    CONSOLIDATED BALANCE SHEETS
                                                (In thousands, except share and per share amounts)


                                                                                                            December 31,
                                                                                                     2021                  2020
                                                      ASSETS
          Current assets:
           Cash and cash equivalents                                                             $    159,313       $        18,452
           Restricted cash                                                                              3,248                   -
           Trade accounts receivable                                                                  126,645                73,447
           Insurance receivable - Port Neches incident                                                  3,402                23,289
           Inventories                                                                                 74,487                45,435
           Other current assets                                                                        41,371                41,123
                  Total current assets                                                                408,466               201,746
          Property, plant and equipment, net                                                          755,390               703,273
          Intangible assets, net                                                                        3,880                 3,880
          Other assets, net                                                                            55,521                55,850
                  Total assets                                                                   $   1,223,257      $       964,749
                              LIABILITIES AND STOCKHOLDER'S DEFICIT
          Current liabilities:
           Accounts payable                                                                      $    208,561       $       113,092
           Accrued liabilities                                                                         94,456                92,635
           Short-term debt                                                                             14,424                13,098
           Accrued liabilities - Port Neches incident                                                  34,907                90,262
                  Total current liabilities                                                           352,348               309,087
          Long-term debt, net of deferred financing costs                                            1,181,528              985,321
                  Total liabilities                                                                  1,533,876             1,294,408
          Commitments and contingencies
          Stockholder's equity (deficit):
            Common stock, $0.01 par value, 2,000 shares authorized,
              1,030 issued and outstanding                                                                -                     -
            Additional paid-in capital                                                                478,314               478,314
            Accumulated deficit                                                                      (787,774)             (805,312)
            Accumulated other comprehensive loss                                                       (1,159)               (2,661)
                  Total stockholder's deficit                                                        (310,619)             (329,659)
                  Total liabilities and stockholder's deficit                                    $   1,223,257      $       964,749




The accompanying notes are an integral part of these consolidated financial statements.




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             CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE INCOME (LOSS)
                                                               (In thousands)


                                                                                           Year Ended December 31,
                                                                                      2021          2020           2019
 Revenue                                                                         $    1,289,046     $   751,390     $   1,464,926
 Cost of sales (excludes items listed below)                                          1,005,322         519,063         1,031,833
 Operating expenses                                                                     221,556         181,059           179,936
 General and administrative expenses                                                     29,981          27,970            28,695
 Depreciation and amortization                                                           75,503          74,155            81,002
 Loss on Port Neches incident, net of insurance recovery                                 34,988          50,141            91,895
 Net gain on asset disposal                                                            (183,465)            -                 -
 Business interruption insurance recovery                                               (87,592)        (12,100)              -
 Freeze event                                                                            40,293             -                 -
 Tech Center event                                                                        7,401             -                 -
 Capital projects write off                                                               2,287             -                 -
 COVID-19 expenses                                                                          726           1,896               -
 Income (loss) from operations                                                            142,046        (90,794)         51,565
 Other (income) expense:
  Interest expense                                                                        120,980       112,933          101,729
  Other, net                                                                                2,476           182            1,565
 Income (loss) before income taxes                                                         18,590       (203,909)         (51,729)
 Income tax expense (benefit)                                                               1,052        (15,745)         (10,238)
 Net income (loss)                                                                         17,538       (188,164)         (41,491)

 Change in funded status of defined benefit plan, net of tax
  effect of ($399), ($323) and $352, respectively                                           1,502          1,216           (1,325)
 Comprehensive income (loss)                                                     $         19,040   $   (186,948)   $     (42,816)




The accompanying notes are an integral part of these consolidated financial statements.




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                                               CONSOLIDATED STATEMENT OF STOCKHOLDER’S DEFICIT
                                                                        (In thousands)

                                                                                                                          Accumulated
                                                                                      Additional                             Other
                                                       Common Stock                    Paid-in           Accumulated     Comprehensive        Total
                                                      Shares     Amount                Capital             Deficit       Income (Loss)        Deficit

 Balances - December 31, 2018                                  1         -                478,461            (575,657)          (2,552)         (99,748)

 Net loss                                                  -             -                     -              (41,491)             -            (41,491)
 Return of equity contributions                            -             -                   (141)                -                -                (141)
 Change in funded status of defined
  benefit plan, net of tax benefit of $352                 -             -                     -                  -             (1,325)           (1,325)

 Balances - December 31, 2019                                  1             -            478,320            (617,148)          (3,877)        (142,705)

 Net loss                                                  -             -                     -             (188,164)             -           (188,164)
 Return of equity contributions                            -             -                         (6)            -                -                    (6)
 Change in funded status of defined
  benefit plan, net of tax expense of ($323)               -             -                     -                  -              1,216            1,216

 Balances - December 31, 2020                                  1    $    -       $        478,314        $   (805,312)   $      (2,661)   $    (329,659)

 Net income                                                -             -                     -              17,538               -             17,538
 Change in funded status of defined
  benefit plan, net of tax expense of ($399)               -             -                     -                  -              1,502            1,502

 Balances - December 31, 2021                                  1    $    -       $        478,314        $   (787,774)   $      (1,159)   $    (310,619)




The accompanying notes are an integral part of this consolidated financial statement.




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                                          CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                                      (In thousands)


                                                                                                      Year Ended December 31,
                                                                                           2021                2020           2019

               Cash flows from operating activities:
                Net income (loss)                                                      $     17,538        $   (188,164)    $    (41,491)
                Adjustments to reconcile net income (loss) to cash flows provided
                   by operating activities:
                  Depreciation                                                               48,577              47,075           50,931
                  Turnaround amortization                                                    19,656              17,851           22,353
                  Catalyst amortization                                                       7,270               6,341            4,831
                  Patent amortization                                                           -                 2,888            2,887
                  Port Neches incident, net of cash expense                                 (35,990)             65,021           71,325
                  Amortization/write-off of debt issuance costs                               8,211               8,443           12,501
                  Deferred income taxes                                                        (400)            (13,594)          (8,653)
                  Deferred turnaround cost                                                  (12,579)            (22,505)         (20,956)
                  Deferred catalyst cost                                                     (4,411)             (5,537)          (8,745)
                  Capital projects write-off                                                  2,287                 -                -
                Changes in assets and liabilities:
                  Accounts receivable                                                       (53,198)             10,435           10,080
                  Inventories                                                               (29,416)              7,633           11,592
                  Accounts payable                                                          104,999             (19,698)         (32,278)
                  Other assets and liabilities, net                                          (6,120)             (5,054)          42,977
                    Cash provided by (used in) operating activities                          66,424             (88,865)        117,354
               Cash flows from investing activities:
                Capital expenditures                                                       (111,637)            (55,889)         (53,957)
                    Cash used in investing activities                                      (111,637)            (55,889)         (53,957)
               Cash flows from financing activities:
                Proceeds from issuance of 10.5% Notes                                           -                   -            930,000
                Proceeds from issuance of 10.875% Notes                                     150,000                 -                -
                Payment of 8.75% Notes                                                          -                   -           (805,000)
                Payment of Term Loan                                                        (70,000)                -            (50,000)
                Net proceeds from (paydowns on) ABL Facility                                114,000                 -            (40,000)
                Proceeds from Term Loan                                                         -                69,300              -
                Insurance finance borrowings                                                 46,115              42,492              -
                Insurance finance repayments                                                (44,788)            (29,395)             -
                Debt issuance costs                                                          (6,005)             (4,344)         (14,092)
                Equity contributions (returns), net                                             -                     (6)           (141)
                    Cash provided by financing activities                                   189,322              78,047          20,767
               Net Increase (decrease) in cash and cash equivalents                         144,109             (66,707)         84,164
               Restricted cash, beginning of period                                               -                 -                -
               Cash and cash equivalents, beginning of period                                18,452              85,159              995
               Restricted cash, end of period                                                  3,248                -                -
               Cash and cash equivalents, end of period                                $    159,313        $     18,452     $    85,159


               stop here




The accompanying notes are an integral part of these consolidated financial statements.



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                                   NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

NOTE A – BASIS OF PRESENTATION

     6.    Definition of Terms

    Certain terms used throughout these consolidated financial statements and accompanying notes are defined on page 3 of this
Report, which should be referred to when reading these consolidated financial statements and accompanying notes.

     7.    Organization

      The accompanying consolidated financial statements include the accounts of TPCGI and its direct wholly owned and indirect
subsidiaries. TPCGI’s direct wholly owned subsidiaries include TPCGLLC and Texas Petrochemicals Netherlands B.V., and its
indirect subsidiaries, which are all wholly owned subsidiaries of TPCGLLC, include Texas Butylene Chemical Corporation, Texas
Olefins Domestic International Sales Corporation, TPC Phoenix Fuels LLC, Port Neches Fuels LLC, TP Capital Corp., TPC Pipeline
Holding Company LLC and TPC Pipeline Company LLC.

      8.   Principles of Consolidation

     The Company’s consolidated financial statements include the accounts of TPCGI and its direct and indirect subsidiaries, after the
elimination of all significant intercompany accounts and transactions. The financial statements presented have been prepared by us in
accordance with GAAP.

NOTE B – DESCRIPTION OF BUSINESS

     We are a leading North American producer of value-added products derived from petrochemical raw materials such as C4
hydrocarbons. Our products are sold to producers of a wide range of performance, specialty and intermediate products, including
synthetic rubber, fuels, lubricant additives, plastics and surfactants.
      We operate as a value-added merchant processor and marketer, linking our raw material providers with our diverse customer base
of chemical, refinery and fuels consumers. We believe this position has resulted in stable supplier and customer bases and has enhanced
our growth and expansion opportunities.
     We operate in two principal business segments, C4 Processing and Performance Products.
      In our C4 Processing segment, we process the crude C4 stream into higher value components, namely butadiene, butene-1 and
raffinates. Butadiene is primarily used to produce synthetic rubber that is mainly used in tires and other automotive products; butene-
1 is primarily used in the manufacture of polyethylene plastic resins and synthetic alcohols; and raffinates are primarily used in the
production of alkylate, a component of premium unleaded gasoline.
      In our Performance Products segment, we process isobutylene, which we purchase as a raw material and also produce internally,
to produce polyisobutylene (“PIB”), diisobutylene (“DIB”), and methyl tertiary-butyl ether (“MTBE”). PIB is primarily used in the
production of fuel and lubricant additives, caulks, adhesives, sealants and packaging; DIB is primarily used in the manufacture of
surfactants, plasticizers and resins; and MTBE is primarily used as a gasoline blending stock.
       We have one principal processing facility located in Houston and two terminal facilities located in Port Neches, Texas and Lake
Charles, Louisiana. We previously had two processing facilities; however, on November 27, 2019, the Port Neches facility, which had
historically been approximately half of our crude C4 processing capacity, was shut down indefinitely due to significant damage to the
site from an explosion (see Note J Port Neches Incident). The Houston plant, in addition to processing crude C4, also produces PIB,
DIB, and MTBE. The raw material isobutylene processed at our Houston facility is sourced from processing crude C4, third-party
supply and internal on-purpose production. The feedstock for our on-purpose isobutylene production is isobutane, which is a plentiful
natural gas liquid resulting from shale gas development. In order to replace the lost crude C4 processing capacity at our Port Neches
plant, we recently entered into a long-term contract with a third-party to process a substantial portion of our crude C4 supply and return
butadiene and raffinate to us.
     We also provide critical infrastructure and logistics services along the Gulf Coast. Both our Houston processing facility and our
terminals provide convenient access to other Gulf Coast petrochemicals producers and are connected to several of our customers and
raw materials suppliers through an extensive pipeline network. Our Houston facility is serviced by rail, tank truck, barge and ocean-



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                                                             TPC Group Inc.
                           NOTES TO CONSOLIDATED FINANCIAL STATEMENTS – (Continued)

going vessel. We have similar capabilities at our Port Neches terminal while the Lake Charles terminal currently is only served by
barges.
      The primary drivers of our businesses are general economic and industrial growth. Our results are impacted by the effects of
economic upturns or downturns on our customers and our suppliers and our ability to achieve on stream time and production targets in
our operating units. Our results are also dependent on our own costs to produce, sell and deliver our products. Our customers generally
use our products in their own production processes; therefore, if our customers curtail production of their products, our results could be
materially affected. In particular, our feedstock costs and product prices are susceptible to volatility in pricing and availability of crude
oil, natural gas, natural gas liquids such as isobutane and oil-related products such as unleaded regular gasoline. Prices for these
products tend to be volatile as well as cyclical, as a result of global and local economic factors, worldwide political events, weather
patterns and the economics of oil and natural gas exploration and production, among other things.

NOTE C – RISKS AND UNCERTAINTIES RELATED TO THE COVID-19 PANDEMIC

      In March 2020, the World Health Organization declared the outbreak of coronavirus (COVID-19) to be a pandemic, and as the
pandemic continues for a second year, the ultimate impact and the extent to which the COVID-19 pandemic will continue to affect the
business, results of operation and financial condition is difficult to predict and depends on numerous evolving factors outside of the
Company’s control including: the duration and scope of the pandemic; government, social, business and other actions that have been
and will be taken in response to the pandemic; and the effect of the pandemic on short and long-term general economic conditions.
This uncertainty also affects management’s accounting estimates and assumptions, which could result in greater variability in a variety
of areas that depend on these estimates and assumptions.

      Though government restrictions across the world (such as travel bans and restrictions, border closures and quarantines) have
generally eased and vaccines have become available to help prevent COVID-19 infections, a return to a more ordinary course of
economic and business activity is still dependent on the effectiveness of containment efforts, including the spread of additional virus
variants such as Delta and Omicron.

      The COVID-19 outbreak has impacted the addressable market for the Company’s products, and the Company’s business continues
to be exposed to risks and uncertainties related to the pandemic. The Company continues to work with our stakeholders (including
customers, suppliers, employees, business partners, and local communities) to mitigate the impact of the pandemic on our business.
Protecting the health and safety of our employees and their respective work locations while simultaneously maintaining business
continuity with our customers and suppliers continue to be key operational objectives.

NOTE D – GOING CONCERN

     The consolidated financial statements of the Company have been prepared on a going concern basis, which contemplates the
realization of assets and the discharge of liabilities in the normal course of business. When preparing financial statements, management
has the responsibility to evaluate whether there are conditions or events, considered in the aggregate, that create substantial doubt about
the Company’s ability to continue as a going concern within one year after the date that the financial statements are issued. In applying
the accounting guidance, the Company considered its current financial condition and liquidity sources, including current funds available,
forecasted future cash flows and its unconditional obligations due over the next 12 months.

      The Company has sustained operating losses due to the Port Neches plant explosion in 2019, as a result of market complications
from COVID-19 and the effects of Winter Storm Uri in 2021. While the Company’s assessment of forecasted cash flow and available
liquidity for 2022 includes significant PNO-related insurance receipts, the amount and timing are uncertain and largely outside of the
Company’s control. The Company can exercise some control over capital spending, but there is no guarantee that alternate forms of
additional capital will be available. On February 3, 2022, after missing approximately $53 million in total interest payments due on
February 1, 2022 on the Company’s 10.875% Notes and 10.5% Notes, the Company entered into a forbearance agreement with a group
representing nearly 90% of the Company’s 10.875% Notes and approximately 80% of the Company’s 10.5% Notes (the “Ad Hoc
Group”). Under the forbearance agreement, the Ad Hoc Group agreed to forbear from exercising remedies related to the event of
default for the Company’s failure to make the February 1 coupon payments within a 30-day grace period. The forbearance agreement
is effective until April 18, 2022 and may be extended by the Ad Hoc Group.

      In connection with the forbearance agreement, the Ad Hoc Group also agreed to provide the Company with approximately $52
million of additional liquidity in the form of a commitment to purchase additional 10.875% senior secured priming notes due 2024 (the


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“Additional Notes”). On March 2, 2022 and March 11, 2022, TPC Group Inc. issued the additional 10.875% Senior Secured Notes
due 2024. Proceeds from the sale of the Additional Notes will be used to support ongoing operations and to pay fees and expenses
associated with the transaction.

       If we do not have sufficient liquidity from cash flow, proceeds from the Additional Notes, ABL availability and proceeds from
insurance policies to conduct our business operations in future periods, we may be required, but unable, to refinance all or part of our
existing debt, seek additional covenant relief from our lenders, sell assets, incur indebtedness, or issue equity on terms acceptable to us,
if at all. Therefore, our ability to continue our planned principal business operations would be dependent on the actions of our lenders
or obtaining additional debt and/or equity financing to repay outstanding indebtedness, secured notes and ABL. These factors raise
substantial doubt about our ability to continue as a going concern.

     The accompanying Consolidated Financial Statements do not include any adjustments to reflect the possible future effects of this
uncertainty on the recoverability or classification of recorded asset amounts or the amounts or classification of liabilities.

NOTE E– SIGNIFICANT ACCOUNTING POLICIES

     1.    Use of Estimates

     The preparation of financial statements in conformity with generally accepted accounting principles requires management to make
estimates and assumptions that affect the reported amount of assets and liabilities and disclosure of contingent assets and liabilities at
the date of the financial statements and the reported amounts of revenues and expenses during the reporting periods. Significant
estimates include liabilities and insurance proceeds related to the Port Neches incident (see Note J Port Neches Incident), impairment
considerations, allowance for doubtful accounts, inventory valuation, pension plan assumptions, environmental and litigation reserves
and provision for income taxes. Actual results could differ from those estimates.

     2.    Cash and Cash Equivalents

       Our cash balances as of December 31, 2021 are comprised of cash and cash equivalents and restricted cash. Cash and cash
equivalents included amounts on deposit with banks, cash invested temporarily in investments with original maturities of three months
or less, and cash on hand. Restricted cash included amounts on deposit with a bank, held in escrow as defined by contractual agreements
for the purpose of funding our committed portion of contractual agreements for capital projects to be completed in less than one year.
We maintain cash balances that are insured by the Federal Deposit Insurance Corporation (“FDIC”). As of December 31, 2021, we had
$159.3 million in cash and cash equivalents and $3.2 million in restricted cash, totaling $162.5 million in total cash on deposit with
banks, which were subject to a $0.25 million per account FDIC insurance coverage limit. We believe the likelihood of any loss of cash
and cash equivalents is remote and that we are not exposed to any significant credit risk on cash and cash equivalents

     3.    Accounts Receivable

      We extend credit to our customers in the normal course of business and generally do not require collateral for trade accounts
receivable. We perform ongoing credit evaluations of our customers and, in some instances, require letters of credit or additional
guarantees in support of contracted amounts. We review the collectability of trade receivables and use the allowance method to record
bad debt expense for amounts that we believe may be uncollectible. We believe no allowance was necessary as of December 31, 2021
and 2020. Write-offs are recorded at the time a customer receivable is deemed uncollectible.

     4.    Inventories

      Inventories consist of raw materials and finished goods and are valued at the lower of average cost or net realizable value. Costs
of finished products include raw materials, energy, labor and manufacturing overhead. We may enter into product exchange agreements
with suppliers and customers for raw materials and/or finished goods in the normal course of business. Under these arrangements we
deliver product volumes to the exchange partner to be delivered in-kind back to us or we receive product volumes to be delivered in-
kind by us to the exchange partner in the future, generally in the short term. Product exchanges typically benefit both parties from a
logistical perspective and provide for additional flexibility regarding both receipt of raw materials from suppliers and delivery of finished
goods to customers. Exchange balances due to or from exchange partners are recorded in inventory at the lower of average cost or net
realizable value and do not impact the consolidated statements of operations and comprehensive loss, as they are recognized at the


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carrying amount. At December 31, 2021 we had no exchange receivable position and our exchange payable position was $4.1 million.
At December 31, 2020 we had no exchange receivable position and our exchange payable position was $0.6 million.

     5.    Property, Plant and Equipment

     Property, plant and equipment are stated at depreciated historical cost. Depreciation of property, plant and equipment is computed
using the straight-line method over estimated useful lives ranging from five to forty-five years for financial reporting purposes and
accelerated methods for income tax purposes. Maintenance and repairs and minor renewals are charged to expense as incurred while
major improvements, renewals and betterments are capitalized.
     Upon retirement or sale of an asset, the asset cost and the related accumulated depreciation are removed from the accounts and
any resulting gain or loss is reflected in results of operations.

     The estimated useful lives for our main categories of fixed assets are shown in the table below.

                                                                                               Estimated Useful Lives
                                                                                                     (in years)
                   Plant equipment                                                                     5 - 35
                   Pipelines                                                                          15 - 40
                   Buildings and land improvements                                                    15 - 45
                   Technology assets                                                                   5 -6

     6.    Intangible Assets

     Our intangible assets include patents and a technology license for the butadiene extraction process used at our Port Neches facility.
Patents are amortized using the straight-line method over their useful lives. Our technology license has no legal, regulatory, contractual,
competitive, economic, or other factors that would limit its useful life; consequently, we have determined its useful life to be indefinite.

     7.    Impairment

    We follow ASC 350, Intangibles—Goodwill and Other, regarding impairment of the carrying value of our intangible assets and
ASC 360, Property, Plant and Equipment, regarding impairment of the carrying value of our property, plant and equipment.
      An impairment loss is recognized only if the carrying value of a long-lived asset or asset group is not recoverable and is measured
as the excess of the carrying value over the fair value. The carrying amount of a long-lived asset or asset group is considered not
recoverable if it exceeds the sum of the undiscounted cash flows expected to result from the use of the long-lived asset or asset group.
Because our long-lived intangible asset (one technology license) is fundamental to and inseparable from the respective long-lived
manufacturing assets, we assess impairment of the technology license together with the respective long-lived manufacturing assets based
on the undiscounted future cash flows related to the respective manufacturing processes.
      We assess our indefinite lived intangible asset and the associated plant, property, and equipment for impairment annually, during
the fourth quarter of each year using a measurement date of December 31 or more frequently if events or changes in circumstances
indicate that the carrying amount of these assets may not be recoverable. Based on our analysis, projected cashflows generated by long-
lived assets, less associated operating costs, significantly exceed the current net book value of the assets. Therefore, no impairment is
required at this time.

     8.    Plant Turnaround Costs

      Plant turnarounds are major scheduled events and require partial or complete shutdowns of chemical processing units for
significant overhaul and refurbishment, for periods typically lasting from two to four weeks. We use the deferral method to account
for the cost of turnarounds. Under the deferral method the costs of major scheduled plant turnarounds are deferred on the balance sheet
and charged to depreciation and amortization expense on a straight-line basis during the period until the next scheduled turnaround.




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     9.    Debt Issuance Costs

      Direct costs incurred in connection with the issuance of long-term debt or modification of a credit facility, if the borrowing capacity
of the new arrangement is greater than or equal to the borrowing capacity of the previous arrangement, are deferred and amortized as
interest expense over the term of the debt or credit facility. Deferred debt issuance costs are reported as an offset to long-term debt on
our consolidated balance sheets.

     10. Revenue Recognition

         We recognize revenue in accordance with ASC 606, Revenue from Contracts with Customers, which we adopted as of January
1, 2019. We applied the modified retrospective transition method to all contracts not completed as of the adoption date. This revenue
recognition standard provides for a five-step analysis of transactions to determine when and how revenue is recognized. The premise
of the guidance is that a company should recognize revenue to depict the transfer of promised goods or services to customers in an
amount that reflects the consideration to which the entity expects to be entitled in exchange for those goods or services.
     Substantially all our revenues are derived through contractual arrangements with customers. We consider contractual
arrangements to be in place when both parties have approved the contract, are committed to perform, the rights of the parties and payment
terms have been identified, the contract has commercial substance and collectability is probable.
     Revenue is recognized when the obligations under the terms of a contractual arrangement with the customer have been satisfied.
This generally occurs at the point in time when performance obligations are fulfilled and control transfers to the customer. Revenue is
measured as the amount of consideration we expect to receive in exchange for transferring goods. Customer incentives are generally
based on volumes purchased and recognized over the period earned.

     11. Insurance Recoveries

      If an insurance claim as of the balance sheet date relates to a recovery of incurred losses, we recognize the recovery up to the
amount of the loss incurred, if the recovery is probable. Such recognized insurance proceeds are recorded as a receivable and an offset
to the related losses incurred. We do not recognize any net gains related to insurance proceeds unless the proceeds have been received
and any contingencies related to the proceeds have been adequately resolved.

     12. Environmental Remediation Costs

     Anticipated expenditures related to investigation and remediation of contaminated sites, which include operating facilities and
waste disposal sites, are accrued when it is probable a liability has been incurred and the amount of the liability can be reasonably
estimated.

     13. Comprehensive Income (Loss)

      Comprehensive income (loss) is reported in accordance with ASC 220, Comprehensive Income. Our comprehensive income
(loss) is defined as net income adjusted for the change (net of tax) in the funded status of our defined benefit pension plan.

     14. Income Taxes

     We account for income taxes in accordance with ASC 740, Income Taxes.
      We recognize deferred taxes at enacted tax rates on temporary differences between the carrying amounts of assets and liabilities
for financial and tax reporting purposes.
     We record a valuation allowance on net deferred tax assets when it is more likely than not that these assets will not be realized.
      We recognize interest and penalties related to uncertain tax positions taken or to be taken as part of income tax expense. We
incurred no penalty or interest expenses in 2021, 2020 or 2019.




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     15. Asset Retirement Obligations

      We follow ASC 410, Asset Retirement and Environmental Obligations, regarding accounting for obligations associated with the
retirement of tangible long-lived assets and the associated asset retirement costs. The provisions of this statement apply to legal
obligations associated with the retirement of long-lived assets that result from the acquisition, construction, development and/or normal
operation of a long-lived asset.
       We have asset retirement obligations with respect to certain of our chemical processing assets due to various legal obligations to
clean and/or dispose of various components of the chemical plants at the time they are retired. However, these components can be used
for extended and indeterminate periods of time as long as they are properly maintained and/or upgraded. It is our practice and current
intent to maintain our chemical processing assets and continue making improvements to those assets based on technological advances.
As a result, we believe our facilities have indeterminate lives for purposes of estimating asset retirement obligations because dates or
ranges of dates upon which we would retire chemical processing assets cannot reasonably be estimated at this time. When a date or
range of dates can reasonably be estimated for the retirement of any component part of a chemical plant, an estimate of the cost of
performing the retirement activities will be provided and a liability will be recorded for the fair value of that cost using established
present value techniques. We did not record any asset retirement obligations related to the retirement of any component parts of our
facilities as of December 31, 2021 and 2020.

     16. Shipping and Handling Costs

     We account for shipping and handling costs as a fulfillment activity and not a separate performance obligation. Shipping and
handling costs billed to customers in conjunction with sale transactions are recorded as a component of revenue and shipping and
handling costs incurred by us are included in cost of sales in the Consolidated Statements of Operations and Comprehensive Loss.

     17. Financial Instruments

      The carrying amounts for cash and cash equivalents, receivables and payables approximate fair value because of the short maturity
of these instruments. At December 31, 2021, our long-term debt consisted of (i) the fixed rate 10.5% Notes, which had a carrying
amount of $930.0 million and a fair value of approximately $672.1 million; (ii) the 10.875% Notes, which had a carrying amount of
$153.0 million and a fair value of approximately $162.5 million; and (iii) $114 million of ABL borrowings. At December 31, 2020,
our long-term debt consisted of the fixed rate 10.5% Notes, which had a carrying amount of $930.0 million and a fair value of
approximately $774.2 million. ABL borrowings at December 31, 2021 were $114 million, there were no borrowings at December 31,
2020.

     18. Fair Value Option

       ASC 825, Financial Instruments, allows entities to choose, at specified election dates, to measure eligible financial assets and
liabilities at fair value that are not otherwise required to be measured at fair value. If a company elects the fair value option for an
eligible item, changes in that item's fair value in subsequent reporting periods must be recognized in current earnings. We have not
elected to measure any of our eligible financial assets and liabilities at fair value.

     19. Recent Accounting Developments

     Accounting Guidance Issued but Not Yet Adopted as of December 31, 2021
      Leases – As required for private companies, we will implement ASC 842, Leases as of January 1, 2022. The new guidance
establishes a right-of-use (“ROU”) model that requires a lessee to recognize a ROU asset and corresponding lease liability on the balance
sheet for all leases with a term longer than 12 months. Leases will be classified as finance or operating leases, with classification
affecting the timing and classification of expense recognition. In June 2020, the FASB issued ASU 2020-05 “Revenue from Contracts
with Customers (Topic 606) and Leases (Topic 842)”, in response to the COVID-19 pandemic. This new pronouncement extends the
effective date of implementation for entities within the “all other” category for fiscal years beginning after December 15, 2021, and
interim periods within fiscal years beginning after December 15, 2022. The Company continues to evaluate its population of leases and
is continuing to assess all potential impacts of the standard, but currently believes the most significant impact relates to its accounting
for logistics equipment. The Company expects to recognize operating lease liabilities of approximately $166 million and corresponding
right-of-use assets of approximately $157 million with the difference recognized as a benefit to retained earnings over the life of the
leases

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      Income Taxes – In December 2019, the FASB issued ASU 2019-12 Income Taxes - Simplifying the Accounting for Income Taxes:
as part of its initiative to reduce complexity in accounting standards which removes certain exceptions and provides simplification to
specific tax items. This standard is effective for public business entities, for fiscal years beginning after December 15, 2020 and for all
other entities, for fiscal years beginning after December 15, 2021. Adoption methods vary based on the specific items impacted.
Management, in discussion with our tax consultants, have concluded that changes required by the new standard will not impact the
Company's financial statements and related tax disclosures.


NOTE F – DETAIL AND DISCUSSION OF CERTAIN CONSOLIDATED BALANCE SHEET CAPTIONS

     Inventories

     Inventories, as of the dates presented, were as follows (in thousands) :
                                                                                                    December 31,
                                                                                                2021           2020

                     Finished goods                                                       $       41,444       $     24,665
                     Raw materials and chemical supplies                                          33,043             20,770
                                                                                          `                    `
                                                                                          $       74,487       $     45,435


     The increase of $29.1 million reflects the impact of a $32.8 million price increase year over year, largely in Crude C4, Butadiene
and PIB, partially offset by a $3.7 million 9% decrease in physical inventory volumes. The overall increase in the average cost per
pound was 79% and reflected substantial price increases among virtually all inventoried products when comparing the prices for
December 2021 to December 2020.


     Other Current Assets

     Other current assets, as of the dates presented, were as follows (in thousands):

                                                                                               December 31,
                                                                                        2021                  2020
                     Prepaid insurance premiums                                  $        22,002       $        21,002
                     Spare parts inventory                                                16,916                15,741
                     Prepaid expense and other                                             2,453                 4,380
                                                                                 $        41,371       $        41,123


      Other Current Assets was relatively flat year over year. Fluctuations in prepaid expense and other include raw material price
adjustments and rent allowances receivable that were higher in the prior year.

     Property, Plant and Equipment

     Property, plant and equipment, as of the dates presented, were as follows (in thousands):




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                                                                                              December 31,
                                                                                          2021           2020

                      Land and land improvements                                    $       52,839    $       52,839
                      Plant and equipment                                                1,141,740         1,108,577
                      Construction in progress                                             155,817            93,903
                      Other                                                                 58,073            52,464
                                                                                         1,408,469         1,307,783
                           Accumulated depreciation                                       (653,079)         (604,510)
                                                                                    `                 `
                                                                                    $     755,390     $     703,273


     The $52.1 million net increase in Property, Plant and Equipment primarily reflects significant spend on key expansion, reliability
and safety initiatives as the company seeks to better position itself to meet the growing demands of the market.

     Intangible Assets

     The gross carrying amounts and accumulated amortization of intangible assets, as of the dates presented, were as follows (in
thousands):

                                                                         Gross                              Net
                                                                        Carrying     Accumulated          Carrying
                                                                         value       amortization          value
                         December 31, 2020
                          Technology license                         $     3,880     $         -      $      3,880
                          Patents                                         23,100           (23,100)              -
                                                                     $    26,980     $     (23,100)   $      3,880
                         December 31, 2021
                          Technology license                         $     3,880     $         -      $      3,880
                          Patents                                         23,100           (23,100)              -
                                                                     $    26,980     $     (23,100)   $      3,880


      The technology license is related to the butadiene extraction process at the Port Neches facility, which was shut down indefinitely
due to the explosion incident on November 27, 2019 (see Note J Port Neches Incident). Our current position is that it is more likely
than not that this licensed process will be used in the future, so we do not consider the carrying value of the intangible to be impaired.
If future facts and/or circumstances indicate an impairment of the carrying value of this asset, we will recognize an impairment charge.
Patents were fully amortized as of December 31, 2020.




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     Other Assets

     Other assets, as of the dates presented, were as follows (in thousands):

                                                                                          December 31,
                                                                                   2021                  2020
                           Deferred turnaround costs                          $        33,229     $        40,308
                           Catalyst and solvent costs                                  12,129              13,693
                           Other deferred charges                                      10,163               1,849
                                                                              $        55,521     $        55,850


      The decrease in deferred turnaround costs primarily represents spend (net of amortization) for the twelve months ended December
2021. In this instance, amortization outpaced spend on new turnarounds. The DH2 turnaround was one of the significant new
turnarounds that occurred in 2020, and as a result helped fuel the increase in the account balance in 2020, however that balance has
declined in 2021 due to amortization until the next turnaround which is planned for 2022.
      The increase in other deferred charges relates to the BTP contract. Cash paid to BASF and TOTAL to fund the construction of
the pipeline are accounted for as a deferred asset, which TPC will amortize over the life of the project once the pipeline becomes
operational. Construction is due to be complete in 2022. These cash outlays are not treated as capital as TPC will not own the asset.
     Accrued Liabilities
     Accrued liabilities, as of the dates presented, were as follows (in thousands):
                                                                                         December 31,
                                                                                  2021                   2020

                        Accrued interest                                  $         43,917       $          41,231
                        Property and sales tax                                      14,154                  13,991
                        Accrued payroll and benefits                                10,705                  17,537
                        Freeze related energy accrual                                8,790                     -
                        Accrued freight                                              7,974                   5,875
                        Net pension liability                                        5,687                   8,493
                        Other                                                        3,229                   5,508
                                                                          $         94,456       $          92,635

      As part of the Company’s cash preservation measures due to COVID-19, incentive compensation payments for the year ended
December 31, 2019 were deferred in 2020 and were paid in 2021 instead, thus leading to a decrease in accrued payroll and benefits.
Actuarial gains and plan contributions reduced the net pension liability during 2021 versus 2020. Freeze related energy costs were
incurred due to Winter Storm Uri in February 2021. Accrued interest was fairly consistent year over year and the slight increase largely
reflects higher interest on the new 10.875% Notes. Interest on the $930 million principal amount of the 10.5% Notes is paid
semiannually on February 1 and August 2.




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     Accrued Liabilities – Port Neches Incident

     Port Neches incident accrued liabilities, as of the dates presented, were as follows (in thousands):

                                                                                     December 31,           December 31,
                                                                                        2021                   2020

                   Total of losses and costs recognized                             $       436,573         $     416,817
                   Deferred gain on insurance                                                   -                  36,694
                   Invoices / settlements paid                                             (343,952)             (293,874)
                   Unpaid invoices included in payables                                        (758)              (12,507)
                   Asset write-offs                                                         (56,956)              (56,868)
                                                                                    $        34,907         $      90,262

                   Accrued response / clean-up costs                                $         4,065         $     46,258
                   Estimated claims liability                                                30,842               44,004
                                                                                    $        34,907         $     90,262
                                                                                                        .

    The above reconciliation reflects $436.6 million and $416.8 million of losses and costs related to the Port Neches incident as of
December 31, 2021 and December 31, 2020 respectively (see Note J Port Neches Incident). The reconciliation provides the main
components of the accrued liability for each year. These amounts are shown on the accompanying consolidated balance sheet at
December 31, 2021 and December 31, 2020.
      For 2021, the amount of loss on the Port Neches incident, net of insurance recoveries, of $35.0 million showing on the Consolidated
Statements of Operations and Comprehensive Loss is the total amount of additional losses and costs of $18.1 million incurred during
the year plus an increase of $16.9 million in estimated insurance recovery as a result of lowering the probable recovery amount based
on feedback from insurers. TPC still maintains a position that these costs are recoverable and will continue to pursue collection. The
Consolidated Statements of Operations and Comprehensive Income (Loss) also reflects a $183.5 million gain on asset disposal related
to the insurance recovery for the PNO assets.

      For 2020, the amount of loss on the Port Neches incident, net of insurance recoveries, of $50.1 million showing on the Consolidated
Statements of Operations and Comprehensive Loss is the total amount of additional losses and costs of $129.4 million incurred during
the year less $56.0 million of insurance recoveries received related to 2020 losses and costs and probable insurance recoveries receivable
of $23.3 million at December 31, 2020.

NOTE G – SHORT-TERM DEBT

     Our short-term financing arrangements at December 31, 2021 and December 31, 2020 included insurance premium financing. As
of December 31, 2021, and December 31, 2020 we have $14.4 million and $13.1 million respectively of insurance premiums we financed
through Aon Premium Finance LLC. The first down payment and the first installment were paid in July 2021 and the remainder is
payable in monthly installments following the applicable renewal date through March of 2022.




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NOTE H – LONG-TERM DEBT

     Outstanding debt as of the dates presented, was as follows (in thousands):
                                                                                  December 31,        December 31,
                                                                                      2021                2020
                  10.5% Notes                                                     $      930,000         $   930,000
                  10.875% Notes                                                          153,000                 -
                  New Term Loan                                                              -                70,000
                  ABL                                                                    114,000                 -
                  Unamortized discount on New Term Loan                                      -                  (286)
                  Unamortized discount on Notes                                           (2,214)                -
                  Total long-term debt                                                 1,194,786             999,714
                    Less: deferred financing costs                                       (13,258)            (14,393)
                  Long-term debt net of deferred financing costs                  $    1,181,528         $   985,321

                  .                                                                                  .
      Our financing arrangements at December 31, 2021 were comprised of the 10.5% Notes, the 10.875% Notes and the ABL. As of
December 31, 2021, we were in compliance with all covenants set forth in the Indenture governing the 10.5% Notes, the 10.875% Notes
and the credit agreement governing the ABL.

     New Term Loan

     On February 3, 2020, the Company and its subsidiaries entered into a credit agreement with funds managed by affiliates of Apollo
Global Management, LLC, which provided for a delayed draw term loan of up to $70 million and a term of one-year.
     Availability under the New Term Loan was limited to a maximum of four draws with a minimum of $5 million per draw.
      Subject to certain exceptions, the Company’s obligations with respect of the New Term Loan were secured by liens on and security
interests in all collateral securing the 10.5% Notes, which liens and security interests ranked pari passu in priority and right of payment
with those liens and security interests granted pursuant to the Indenture governing the 10.5% Notes. Interest payments were due
quarterly in arrears.
      On March 18, 2020, we drew on the facility and received $70.0 million less a 1% original issue discount fee. In May 2020 the
lenders agreed to grant the Company the option to extend the maturity date to August 5, 2021. The Term Loan was classified as long-
term debt as of December 31, 2020. This loan was repaid on February 2, 2021 with some of the proceeds received from issuance and
sale of the 10.875% Notes.

     ABL

     TPCGI is the lead borrower under the ABL and certain domestic subsidiaries of TPCGI are co-borrowers (or may be designated
co-borrowers) on a joint and several basis.
     The ABL is composed of a $192.5 million revolving tranche (the ABL Revolver) and a $7.5 million “first-in-last-out” tranche (the
ABL FILO). Commitments under the ABL FILO will be reduced, and commitments under the ABL Revolver equally and
simultaneously increased, by $2.5 million on each of the first three anniversaries of the August 2019 amendment and restatement.
      Availability under the ABL Revolver is subject to a borrowing base. The borrowing base at any time will be equal to the sum of
(a) 85% of the value of eligible accounts receivable and (b) the lesser of (1) 80% of the value of eligible inventory and (2) 85% of the
net orderly liquidation value of eligible inventory, of the borrowers under the facility at such time, less customary reserves. The ABL
includes a sub-limit for letters of credit.
     Availability under the ABL FILO is subject to a borrowing base. The borrowing base at any time will be equal to the sum of (a)
5% of the value of eligible accounts receivable and (b) 10% of the net orderly liquidation value of eligible inventory of the borrowers
under the facility at such time, less customary reserves established from time to time to the extent not deducted in calculating availability
under the ABL Revolver.

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    As of December 31, 2021, we had $114 million of borrowings outstanding on the ABL and a $50 thousand letter of credit. The
combined ABL Revolver and ABL FILO borrowing bases did not provide us with the ability to borrow additional funds as of that date.
      The ABL Revolver commitments may be increased by an aggregate principal amount of not more than $150 million, subject only
to the consent of the new or existing lenders providing such increases. The lenders under this facility are under no obligation to provide
any such additional commitments, and any increase in commitments will be subject to customary conditions precedent.
Notwithstanding any such increase in the facility size, TPCGI’s ability to borrow under the facility will remain limited at all times by
the borrowing base (to the extent the borrowing base is less than the commitments).
      Loans under the ABL Revolver bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate
equal to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR
rate plus 1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be
1.75% (and may subsequently decrease to 1.50% or increase to 2.00% depending on average excess availability) and with respect to
base rate borrowings will initially be 0.75% (and may subsequently decrease to 0.50% or increase to 1.00% depending on average excess
availability).
      Loans under the ABL FILO bear interest at a rate equal to, at the borrower’s option, either (i) a LIBOR rate or (ii) a base rate equal
to the highest of (a) the federal funds rate plus 0.50%, (b) Bank of America N.A.’s “prime rate” and (c) the one-month LIBOR rate plus
1%, plus, in either case, an applicable margin. The applicable margin with respect to LIBOR borrowings will initially be 3.00% (and
may subsequently decrease to 2.75% or increase to 3.25% depending on average excess availability) and with respect to base rate
borrowings will initially be 2.00% (and may subsequently decrease to 1.75% or increase to 2.25% depending on average excess
availability).
      The ABL provides for all applicable margins to be reduced by 0.25% during any fiscal quarter for which the Total Leverage Ratio,
as defined in the ABL credit agreement, as of the last day of the immediately preceding fiscal quarter, is less than 5.0 to 1.0.
      In addition to paying interest on outstanding principal under the ABL, TPCGI is required to pay a commitment fee at an initial rate
of 0.500% per annum in respect of the unutilized commitments thereunder. The commitment fee rate subsequently may be reduced to
0.375% depending on the amount of excess availability under the ABL. TPCGI must also pay customary letter of credit fees and
fronting fees for each letter of credit issued.
      If, at any time, (i) an Event of Default is continuing or (ii) Excess Availability is less than the greater of (x) 12.5% of Availability
and (y) $12.5 million, TPCGI shall comply with a minimum Fixed Charge Coverage Ratio for the most recent period of four consecutive
fiscal quarters of at least 1.0 to 1.0. Such requirement shall continue until the date that no Event of Default exists, and Excess
Availability shall have been not less than the greater of (x) 12.5% of Availability and (y) $12.5 million for a period of 21 consecutive
calendar days.
      If at any time the aggregate amount of loans and letters of credit outstanding under either the ABL Revolver or under the ABL
FILO exceeds the lesser of (a) the applicable total commitments and (b) the applicable borrowing base, TPCGI will be required to prepay
loans outstanding and/or cash collateralize outstanding letters of credit in an aggregate amount equal to the amount of any such excess,
without any reduction of the commitments. Under certain circumstances, if the aggregate amount available under the ABL is less than
the greater of (1) 12.5% of the lesser of (i) the total commitments under such facility and (ii) the borrowing base and (2) $12.5 million
for 5 consecutive business days, or if certain defaults occur, all collateral proceeds collected through the cash management system in
favor of the collateral agent will be swept to a collection account and applied daily to repay outstanding loans and cash collateralize
letters of credit under the ABL.
       TPCGI may voluntarily repay loans outstanding under the ABL Revolver and under the ABL FILO at any time without premium
or penalty other than customary “breakage” costs with respect to LIBOR loans. All outstanding loans under the ABL Revolver must
be repaid before any loans outstanding under the ABL FILO may be repaid. Any subsequent borrowings under the ABL would be
made first under the ABL FILO (subject to availability) and next under the ABL Revolver (subject to availability). We may elect at
any time to reduce the unutilized portion of the commitment amount under the ABL. We may elect at any time to terminate the ABL
FILO commitments in full (but not in part) provided that 30 Day Excess Availability, as defined in the Credit Agreement and calculated
on a pro forma basis, would not be less than the greater of (a) 17.5% of availability and (b) $25 million if the Fixed Charge Coverage
Ratio is at least 1.0 to 1.0 or 30 Day Excess Availability would not be less than 22.5% of availability if the Fixed Charge Coverage Ratio
is less than 1.0 to 1.0.
     Pursuant to a Guarantee, dated as of August 2, 2019, among Parent, TPCGI, the other guarantors party thereto and Bank of
America, N.A., as administrative agent and collateral agent, all obligations under the Senior Secured Asset-Based Revolving Credit
Agreement are unconditionally guaranteed by substantially all existing and future, direct and indirect, wholly-owned material restricted


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domestic subsidiaries of TPCGI, subject to certain exceptions, including, any applicable legal, regulatory or contractual constraints and
to the requirement that such guarantee will not cause material adverse tax consequences.
     The borrowers under the ABL are jointly and severally liable for all borrowings and other obligations thereunder. Pursuant to a
Pledge and Security Agreement, dated as of August 2, 2019, among Parent, TPCGI, the subsidiary grantors and Bank of America, N.A.,
as administrative agent and collateral agent, and any additional borrowers that may become party thereto from time to time, such
obligations and the guarantees of such obligations are secured, subject to permitted liens and other exceptions, by:

     •   a first-priority lien on the following:

                  (a)       accounts receivable, including those arising from the sale of inventory and other goods and services
                            (including related contracts and contract rights, inventory, tax refunds, cash and cash equivalents);
                  (b)       inventory;
                  (c)       intercompany notes and intellectual property and other intangible assets to the extent attached to or necessary
                            to sell any of the foregoing;
                  (d)       deposit and investment accounts (and all cash, checks and other negotiable instruments, funds and other
                            evidences of payment held therein, but not any identifiable proceeds of Notes First Priority Collateral (as
                            defined below));
                  (e)       to the extent evidencing, governing, securing or otherwise related to any of the foregoing and the other
                            Revolver First Priority Collateral (as defined below), all documents, general intangibles (excluding
                            intellectual property), instruments, investment property (but not stock in subsidiaries or equity interest in any
                            limited liability company or other entity constituting Notes First Priority Collateral), commercial tort claims,
                            letters of credit, supporting obligations and letter of credit rights;
                  (f)       all loans payable by a grantor to any other grantor to the extent made using proceeds of advances under the
                            ABL Facility;
                  (g)       books and records, documents, supporting obligations, chattel paper, instruments, payment intangibles and
                            general intangibles relating to any of the foregoing; and
                  (h)       all proceeds and products of any or all of the foregoing in whatever form received, in each case above subject
                            to certain qualifications and exclusions (collectively, the “Revolver First Priority Collateral”); and

     •   a second-priority lien on assets not constituting Revolver First Priority Collateral subject to certain qualifications and
         exclusions (the “Notes First Priority Collateral”).

    The ABL contains a number of covenants that, among other things, limit or restrict, subject to certain exceptions, the ability of
TPCGI and certain of its subsidiaries to:

     •   incur additional indebtedness;
     •   create liens;
     •   engage in mergers or consolidations;
     •   sell or transfer assets;
     •   pay dividends and distributions or repurchase its capital stock;
     •   make investments, loans or advances;
     •   prepay certain indebtedness;
     •   engage in certain transactions with affiliates;
     •   designate certain subsidiaries as restricted or unrestricted by the covenants; and
     •   change its lines of business.


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      In addition, at any time when an event of default is continuing or the aggregate amount available under the ABL is less than the
greater of (a) 12.5% of the lesser of (1) the total commitments and (2) the borrowing base and (b) $12.5 million (or a lesser amount if a
significant asset sale has occurred), TPCGI will be required to maintain a minimum fixed charge coverage ratio of 1.0:1.0.
      The ABL also contains a customary “holding company” covenant that restricts Parent’s ability to take certain actions and contains
certain customary additional affirmative covenants, representations and warranties, conditions to making loans, indemnification
provisions and events of default, including (subject in certain cases to customary grace and cure periods) material inaccuracy of
representations, non-payment of obligations under the ABL, violation of affirmative and negative covenants, non-payment or
acceleration of other material debt, judgment defaults, bankruptcy, ERISA defaults, invalidity of the credit documents (or the assertion
by Parent or a borrower of any such invalidity), change of control and loss of lien perfection or priority.
      On February 2, 2021, the ABL Facility was amended to permit the Company to issue the 10.875% Notes and to make certain
changes in the amounts of permitted debt the Company can incur and permitted investments the Company can make.

     10.5% Notes

     The 10.5% Notes are due August 1, 2024 and interest will be paid semi-annually in arrears on February 1 and August 1.

      Indenture Governing the 10.5% Notes

     On August 2, 2019, TPCGI and the guarantors entered into the Indenture, dated as of August 02, 2019, with U.S. Bank National
Association, as trustee and collateral agent, for the Notes (the “10.5% Indenture”).
     The 10.5% Notes are guaranteed by all of TPCGI’s existing or future direct and indirect domestic subsidiaries other than certain
excluded subsidiaries (the “guarantors”) that guarantee obligations under the ABL.
       The 10.5% Notes are TPCGI’s and the guarantees are the guarantors’ senior secured obligations and rank senior in right of payment
to all of TPCGI’s and the guarantors’ future debt that is expressly subordinated in right of payment to the 10.5% Notes and rank equally
in right of payment with all TPCGI’s and the guarantors’ existing and future liabilities that are not so subordinated, including the ABL.
The 10.5% Notes and the guarantees are structurally subordinated to all existing and future liabilities and preferred stock of any of its
subsidiaries that do not guarantee the 10.5% Notes effectively senior to TPCGI’s and the guarantors’ indebtedness that is unsecured or
that is secured by junior liens to the extent of the value of the assets securing the 10.5% Notes and the guarantees, and effectively junior
to TPCGI’s ABL to the extent of the value of the assets that secure TPCGI’s ABL on a first-priority basis.
      The 10.5% Notes and the guarantees are secured on a first-priority basis by substantially all of TPCGI’s and the guarantors’ assets
(in each case, other than TPCGI’s and the guarantors’ assets that secure the ABL on a first-priority basis), subject to certain exceptions
and permitted liens. Subject to certain exceptions and permitted liens, the 10.5% Notes and the guarantees are also secured on a second-
priority basis by TPCGI’s and the guarantors’ assets that secure our ABL on a first-priority basis.
       The 10.5% Notes became redeemable as of August 1, 2021 at the redemption prices specified in the 10.5% Indenture. The
redemption price for the period from (and including) August 1, 2021 through July 31, 2022 is 107.875% and for the period from (and
including) August 1, 2022 through July 31, 2023 is 103.938%. The 10.5% Notes become redeemable at par as of August 1, 2023.
Unless otherwise redeemed, upon the occurrence of certain events constituting a change of control, TPCGI may be required to make an
offer to repurchase the 10.5% Notes at a price equal to 101% of their aggregate principal amount, plus accrued and unpaid interest, if
any. In addition, at any time prior to August 1, 2021, TPCGI may redeem, subject to certain conditions, up to 35% of the 10.5% Notes
at a redemption price of 110.50% with the net cash proceeds from one or more equity offerings.
      The 10.5% Indenture contains covenants limiting, among other things, TPCGI’s ability and the ability of its restricted subsidiaries
to (subject to certain exceptions):

     •    incur additional debt, issue disqualified stock or issue certain preferred stock;
     •    pay dividends on or make certain distributions and other restricted payments;
     •    create certain liens or encumbrances;
     •    sell assets;
     •    enter into transactions with affiliates;


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     •    limit ability of restricted subsidiaries to make payments to TPCGI;
     •    consolidate, merge, sell or otherwise dispose of all or substantially all of TPCGI’s assets; and
     •    designate TPCGI’s subsidiaries as unrestricted subsidiaries.

      The 10.5% Indenture also provides for customary events of default (subject in certain cases to customary grace and cure periods),
which include nonpayment, breach of covenants in the 10.5% Indenture, payment defaults or acceleration of other indebtedness, failure
to pay certain judgments and certain events of bankruptcy and insolvency. Generally, if an event of default occurs, the Trustee or
holders of at least 25% in principal amount of the then outstanding 10.5% Notes may declare the principal of and accrued but unpaid
interest, including additional interest, on all the 10.5% Notes to be due and payable.
      On February 2, 2021 we issued $153 million of 10.875% Senior Secured Notes and repaid the $70 million New Term Loan we
had in place with Apollo Global Management to provide additional liquidity against any uncertainty around timing of future insurance
recoveries, including business interruption recoveries, over the next year. In connection with the issuance of the 10.875% Notes, the
10.5% Indenture was amended by a Supplemental Indenture to permit the Company to issue the 10.875% Notes and to make certain
other changes to certain covenants contained therein.

     10.875% Notes

       On February 2, 2021 TPCGI issued and sold $153 million aggregate principal amount of 10.875% Notes to certain holders of the
10.5% Notes. The 10.875% Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on a senior secured basis by
all of the Company’s existing or future direct and indirect domestic subsidiaries, other than certain excluded subsidiaries (collectively,
the “Subsidiary Guarantors”).
      The net proceeds from the offering were used to repay and terminate the $70 million New Term Loan, to pay all fees and expenses
related to the transactions and for general corporate purposes. Interest on the 10.875% Notes began accruing on the issue date and is
payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each year, commencing on May 1, 2021. The 10.875
% Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness and
the 10.5% Notes to the extent of the value of the 10.5% Notes collateral. The 10.5% Notes are effectively subordinated to the ABL
Facility and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by assets or properties not
constituting collateral securing the 10.5% Notes to the extent of the value of such assets and properties. The 10.875% Indenture contains
certain covenants, agreements and events of default which are customary with respect to non-investment grade debt securities, including
limitations on our ability to incur additional indebtedness, pay dividends on or make other distributions or repurchase our capital stock,
make certain investments, enter into certain types of transactions with affiliates, create liens, sell certain assets or merge with or into
other companies.




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NOTE I – REVENUE

     We operate in two principal business segments, C4 Processing and Performance Products. The following table disaggregates
revenue for each segment by major activity and by domestic and foreign.

                                                                           Year Ended December 31,
                                                                    2021            2020           2019
                      Revenue by segment
                       C4 Processing
                           Product sales                        $    764,038    $    382,557     $    889,744
                           Process revenue                             2,699           2,228            6,208
                           Terminalling revenue                       12,121           7,164            8,916
                           Service fees                                4,264           2,386            5,818
                           Shipping and handling                      11,349          12,846           11,518
                                                                $    794,471    $    407,181     $    922,204

                       Performance Products
                           Product sales                             476,342         328,160          524,213
                           Terminalling revenue                          -                75              150
                           Shipping and handling                      18,233          15,974           18,359
                                                                $    494,575    $    344,209     $    542,722
                                                                $ 1,289,046     $    751,390     $ 1,464,926

                      Revenue by geographic location
                       United Sates                             $ 1,237,060     $    711,818     $ 1,341,470
                       All foreign countries                         51,986           39,572         123,456
                                                                $ 1,289,046     $    751,390     $ 1,464,926


NOTE J – PORT NECHES INCIDENT

     On November 27, 2019, our Port Neches facility suffered significant damage from a large explosion and subsequent series of fires,
which resulted in the complete shutdown of the facility.
       Multiple federal, state and local government agencies responded to and are continuing to investigate the incident and the Company
is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The Occupational Safety
and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant in December 2019.
OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three willful citations with
total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly disagree with the
characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took place August 5-6, and 19-20,
2021. The citations were not resolved, and OSHA filed its complaint on September 9, 2021. The proceeding has been bifurcated into
two separate trials, the first of which will take place in Q4 2022 and the second of which will occur in Q1 2023.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management Compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an


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investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
      The Company quickly established a claims center to deal with and expedite community claims regarding evacuation expenses,
damages to homes and other structures and debris removal. Nearly 19,000 evacuation claims have been processed and paid. Over
5,700 property claims have been resolved and approximately 1,400 additional eligible claims are pending action by the claimant in the
claims process. The total amount of the estimates for these claims are reflected in the total cost of the incident on the financial
statements. The Company also provided an emotional support hotline staffed by licensed professional counselors from Samaritan
Counseling Center of Southeast Texas.
       In addition to the property claims, approximately 190 private party lawsuits, including five class actions, are pending in Texas
state court related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass.
Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court
cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th
District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to file short-
form petitions in the MDL proceeding, which currently includes approximately 7,640 individual plaintiffs. Approximately 640
individual plaintiffs have cases pending in Jefferson County, Texas (some of which are duplicative with cases in the MDL) which have
not yet been non-suited or abated. Additionally, more than 820 properties are the subject of litigation as a result of subrogation claims
filed by insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case Management
Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and a revised schedule
will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2 and Q3 2021 adding additional defendants
and many of those additional defendants have either moved to dismiss the claims against them or filed jurisdictional challenges. A
hearing on class certification is not expected before the second half of 2022 at the earliest.
      Four different sets of insurance policies in effect at the time of the incident provide coverage for costs and losses incurred as a
result of the Port Neches incident.
      On an event to date basis as of December 2021, TPC has incurred a loss amount of $436.6 million associated with the PNO Event.
This amount consists of both response related costs and associated write offs. TPC anticipates recovering $259.6 million of this loss
through insurance proceeds to be paid directly to the Company. The estimate is subject to change as claims are evaluated. As of
December 31, 2021, we have collected $537.6 million dollars of insurance proceeds and have paid out $342.3 million. Information
received in the fourth quarter of 2021 that categorizes the proceeds and assurance that this amount is a floor amount, allowed a
reclassification of proceeds from a Deferred Gain to a Recognized Gain. The gain is due to the recoverable value of assets being more
than the book value.
         The following table summarizes the PNO Event spend and reimbursements, event to date, as of December 31, 2021 (in
millions):

                                                                 Loss          Anticipated       Net      Proceeds                                  Invoices
                         Insurance Policies                     Amount          Recovery         Loss     Collected           GAIN         BI         Paid
           Property/Business Interuption (BI) (1)(2)           $    129.1       $    93.8    $     35.3   $   376.6       $    183.5   $    99.7    $    94.3
           Liability                                                164.3           100.0          64.3       100.0              -              -       133.4
           Defense                                                   60.2            35.2          25.0        35.2              -              -        59.3
           Pollution                                                 51.5            25.0          26.5        25.0              -              -        50.5
           Inventory                                                  6.6             5.6           1.0         2.5              -              -         -
           Not Recoverable (3)                                       24.9             -            24.9         -                -              -         6.5
                                 Total                         $    436.6       $   259.6    $    177.0   $   539.3       $    183.5   $    99.7    $   344.0

           (1) Includes $1.7 million paid to 3rd party.
           (2) Includes asset write-offs of $34.4 million
           (3) Includes turnaround amortization write-off of $18.8 million

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     Property/Business Interruption Policies

     Our quota-share property and business interruption policies provide up to $850.0 million of coverage. The deductible is $10.0

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million, with varying coverage sub-limits for certain categories of costs, as well as a 45-day waiting period before qualifying for business
interruption coverage. As of December 31, 2021, we have incurred a cumulative loss amount of $129.1 million which includes asset
write-offs of $34.4 million. We have paid $94.3 million of invoices related to this policy. We have directly collected $374.9 million
and had another $1.7 million paid on our behalf to a third party under these policies, of which $99.7 million has been identified as
business interruption coverage and $275.2 million as property loss coverage which includes a gain of $183.5 million on assets where
recoverable value is greater than book value. Reimbursable costs under this policy recorded in 2019 and 2020 were $52.4 million and
$58.8 million, respectively. In 2021, reimbursable costs were reduced by $17.4 million due to a change in accounting estimate for
probable insurance proceed recovery. This change was based on proposed adjustments from insurance carriers for which we have
supported positions that counter their assessment. We currently estimate that $93.8 million will be recoverable under this policy for
property losses.

     Liability/Defense Policies

      Our commercial general liability policies have provided $100.0 million to cover third-party claims after our $5.0 million self-
insurance retention amount. These policies also provide coverage in addition to the $100 million coverage limit for defense costs
related to third-party claims. As of December 31, 2021, we have accrued third-party claim amounts of $164.3 million, have paid $133.4
million of these claims and have collected $100.0 million of related insurance proceeds. The defense costs total $60.2 million and we
have collected $35.2 million of this amount. This is the total that we anticipate collecting for defense costs. Costs recorded under
these policies in 2019 were $161.8 million for liability claims and $14.2 million for defense costs. In 2020 additional amounts were
incurred for claims of $3.1 million and for defense costs of $35.6 million. During 2021, liability claims have been reduced by $0.7
million with additional $10.3 million in defense costs incurred. To date we have paid $59.3 million of these defense cost amounts.

     Environmental/Pollution Policies

      Our pollution policy provides $25.0 million of coverage above a $1.0 million deductible. As of December 31, 2021, we have
incurred and paid $51.5 million of costs, paid $50.5 million of those costs and have collected the full $25.0 million of coverage under
this policy. We incurred $23.1 million, $28.0 million and $0.4 million of these costs in 2019, 2020 and 2021, respectively.

     Inventory Policy

     We are also pursuing a claim under our Marine Cargo/Inventory policy. This policy provides up to $35.0 million of coverage with
a $50 thousand deductible. The book value of the process materials destroyed during the event is $3.8 million. We are also pursuing
recovery of another $2.8 million in logistics costs under this policy. We expect to recover the fair market value at the time of the event
on these materials which is estimated to be $4.5 million plus the logistics costs of another $1.1 million.
     Not Recoverable

      Costs that we will not recover from insurance include turnaround amortization, fines, excluded incident response costs, certain
consulting and legal costs as well as any costs that may exceed various applicable sub-limits within the policies and any costs that exceed
the policy coverage limits.

NOTE K – COVID-19 EXPENSES

      The $0.7 million and $1.9 million of COVID-19 expenses at December 31, 2021 and December 31, 2020 respectively relate to
costs incurred as a result of precautionary measures taken by the Company to prevent the spread of COVID-19 at TPC sites. The costs
include protective gear for employees, increased sanitation of TPC sites, and enhancements to workspaces to promote safety.

NOTE L – FAIR VALUE

      Within the framework for measuring fair value, ASC 820, Fair Value Measurements and Disclosures, establishes a fair value
hierarchy, which requires an entity to maximize the use of observable inputs and minimize the use of unobservable inputs when
measuring fair value. The standard defines the three levels of inputs used to measure fair value as follows:

         •   Level 1: Inputs are unadjusted quoted prices for identical assets or liabilities in active markets, which primarily consist
             of financial instruments, traded on exchange or futures markets.


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         •    Level 2: Inputs are other than quoted prices in active markets (included in Level 1), which are directly or indirectly
              observable as of the financial reporting date, including derivative instruments transacted primarily in over-the-counter
              markets.
         •    Level 3: Unobservable inputs, which include inputs derived through extrapolation or interpolation that cannot be
              corroborated by observable market data.

      As of December 31, 2021, and 2020, we had no outstanding assets or liabilities measured at fair value on a recurring basis except
for the fair value of our pension plan assets and short-term investments which were measured using Level 1 and Level 3 inputs.

NOTE M – INCOME TAXES

         The significant components of deferred tax assets and liabilities are shown below as of the dates presented (in thousands):

                                                                                         December 31,
                                                                                  2021                    2020

                       Deferred tax assets:
                        Loss and credit carryforwards                      $           74,243      $           94,580
                        Disallowed interest                                            61,149                  47,761
                        Accrued and other expenses                                      5,325                   8,648
                        Inventory                                                       2,414                   2,678
                             Total deferred tax assets                                143,131                153,667
                         Less: Valuation allowance                                    (24,971)               (27,703)
                       Deferred tax assets less valuation allowance        $          118,160      $         125,964
                       Deferred tax liabilities:
                        Property, plant and equipment                      $          (99,216)     $        (101,651)
                        Insurance proceeds receivable                                  (6,434)               (10,610)
                        Deferred turnaround costs                                      (7,026)                (8,512)
                        Prepaid expenses                                               (4,696)                (4,462)
                        Intangible assets                                                (788)                  (729)
                              Total deferred tax liabilities                         (118,160)              (125,964)
                              Net deferred tax liability                   $               -       $              -


          We analyze both positive and negative evidence available to us to provide a reasonable basis for us to assess the realizability
of our deferred tax assets. ASC 740 “Accounting for Income Taxes” requires that a valuation allowance be established for a deferred
tax asset if it is more likely than not that the related tax benefit will not be realized. Realization of deferred tax assets depends on the
existence of sufficient taxable income of the appropriate character within the carryback and carryforward period available under the tax
law. Our assessment of the realizability of our deferred tax assets considered the following four sources of future taxable income:

          •    Future reversal of existing temporary differences;
          •    Future taxable income exclusive of reversing temporary differences and carryforwards;
          •    Taxable income in prior carryback years; and
          •    Tax planning strategies.

      Reversal of exiting taxable temporary differences existing at December 31, 2021 would not generate sufficient taxable income to
utilize our deferred tax assets as of that date as we were in a net deferred tax asset position of $25.0 million.
     Regarding future taxable income, we considered our annual net operating losses since 2014 and the uncertainty of sufficient future
taxable income to be objective evidence that is it more likely than not that the benefit of our deferred tax assets will not be fully realized.
      We have no taxable income in carryback periods and do not have tax planning strategies that provide positive evidence that our
deferred tax assets will be realized.


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      As a result of our analysis we have concluded that it is more likely than not that we will not realize the full benefit of our deferred
tax assets and have therefore established a deferred tax asset valuation allowance of $25.0 million at December 31, 2021.
      The primary components of our deferred tax assets at December 31, 2021 were $74.2 million related to net operating losses and
credit carryforwards and $61.1 million related to the amount of temporarily disallowed interest deductions. Our cumulative pretax net
operating losses of $337.0 million consisted of $281.0 million of pre-2018 net operating losses and post-2017 pretax net operating losses
of $56.0 million. Pretax disallowed interest deductions for 2021, 2020 and 2019 were $47.8 million, $85.4 million, and $101.7 million,
respectively. All pre-2018 net operating losses have a 20-year carryforward period and can be used to offset up to 100% of future
taxable income in any year. All post-2017 net operating losses and disallowed interest deductions can be carried forward indefinitely;
however, the use of post-2017 net operating losses will be limited to 80% of future taxable income in any year.
      Our deferred tax liabilities consist primarily of the tax effect of temporary differences between the book and tax basis of property
plant and equipment, due to cumulative differences between book and tax depreciation, and the tax effect of cumulative differences
between book and tax treatment of insurance proceeds in 2019, 2020 and 2021 related to the Port Neches incident.
      Our net taxable income for 2021 was $106.8 million, which reflects our pretax book income of $18.6 million which was increased
by taxable temporary differences of $19.9 million related to differences in book and tax treatment of insurance proceeds related to the
Port Neches incident and disallowed interest expense of $47.8 million. The pretax book income reflects the significant gain recognized
on insurance proceeds received from the Port Neches incident.

      We have conducted an evaluation of tax positions taken on previous tax returns. Based on that evaluation, we concluded that it
is more likely than not, based on the technical merits of our tax positions, that we are entitled to the economic benefits resulting from
positions taken on our tax returns. Consequently, we have not recorded any liabilities related to uncertain tax positions and have not
reversed any benefits previously recognized. Therefore, we have not recognized any interest or penalties related to uncertain tax
positions.
     We file a consolidated federal income tax return and state tax returns in Texas and Louisiana.
     IRS audits of 2011, 2012 and 2013 were concluded during 2015 and by letter dated July 1, 2015, we were notified by the IRS that
no changes would be needed to the tax returns filed for those years. All years subsequent to 2013 remain open for examination and we
have not been notified by the IRS of any impending examinations.
      In 2012, the Texas Comptroller of Public Accounts completed franchise tax audits for the fiscal years ended June 30, 2007, 2008
and 2009. Based on the results of those audits, the Texas Comptroller of Public Accounts and the Company reached a settlement
pursuant to which the Company paid a total of $0.3 million in additional taxes and interest related to the three years covered by the
audit. All years subsequent to fiscal 2009 remain open for examination and we have not been notified by the Texas Comptroller of
Public Accounts of any impending examinations.
     Our income tax benefit was comprised of the following for the periods presented (in thousands):

                                                                                  Year Ended December 31,
                                                                              2021         2020         2019
                            Current:
                             Federal                                      $      -       $ (2,079)    $   (2,079)
                             State                                             1,457          (71)           494
                            Deferred
                             Federal                                            2,203     (41,214)        (8,936)
                             State                                                130         (84)           283
                            Valuation allowance                                (2,738)     27,703            -
                            Income tax expense (benefit)                  $    1,052     $ (15,745)   $ (10,238)




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     The provision for income taxes differs from the amount computed by applying the statutory federal income tax rate to income
before income taxes. The reasons for this difference are as follows for the periods presented (in thousands):

                                                                                              Year Ended December 31,
                                                                                   2021                2020                  2019
          Income (loss) before income taxes                                    $       18,589       $       (203,909)    $    (51,729)
          Statutory federal income tax rate                                               21%                    21%              21%
          Computed "expected" federal income tax benefit                                3,904                (42,821)         (10,863)
          Increase (decrease) in tax resulting from:
            Credit for increasing research and development activities                  (1,376)                 (305)                (150)
            State tax, net of federal benefit                                           1,254                  (122)                 614
            Other, net                                                                      8                  (200)                 161
          Valuation allowance                                                          (2,738)               27,703                  -
          Total income tax expense (benefit)                                   $        1,052       $        (15,745)    $    (10,238)



NOTE N – SUPPLEMENTAL DISLOSURES OF CASH FLOW INFORMATION

     Cash paid (received) for interest and taxes, for the periods presented, were as follows (in thousands):

                                                                                              Year Ended December 31,
                                                                                       2021              2020         2019
             Interest payments, net                                                $    110,149         $     104,245    $    52,099
             Income tax payments (refunds), net                                              25                (1,662)        (1,912)


NOTE O – COMMITMENTS AND CONTINGENCIES

      We lease office space, dock space, tank cars, barges, tugboats and various types of equipment under non-cancelable operating
leases expiring on various dates through December 2033. The future minimum lease payments under non-cancelable operating leases,
typically in excess of one year, at December 31, 2021 consisted of the following (in thousands):

                                                    2022                           $      40,558
                                                    2023                                  36,000
                                                    2024                                  29,163
                                                    2025                                  27,498
                                                    2026                                  23,764
                                                    2027 and thereafter                   76,203
                                                                                   $    233,186


      Rent expense included in operating expenses and general and administrative expenses was $20.5 million, $14.0 million and $13.7
million for 2021, 2020 and 2019, respectively. Rent expense included in cost of sales was $62.1 million, $61.1 million and $53.6
million for 2021, 2020 and 2019, respectively.

     1.      Purchase Commitments

     We have purchase commitments incident to the ordinary conduct of business. The prices of such purchase commitments are
based on indices, which are determined from the prevailing market rates for the associated products. These commitments generally


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have provisions permitting cancellation upon satisfaction of notification requirements.

     2.    Legal Matters

      From time to time, we are party to routine litigation incidental to the normal course of our business, consisting primarily of claims
for personal injury or exposure to our chemical products or feedstocks, and environmental matters. We intend to defend these actions
vigorously and believe, based on currently available information, that adverse results or judgments from such actions, if any, will not
be material to our financial condition, results of operations or cash flows. We record reserves for contingencies when information
available indicates that a loss is probable, and the amount of the loss is reasonably estimable. Management’s judgment may prove
materially inaccurate, and such judgment is subject to the uncertainty of litigation. Many of the personal injury or product exposure
lawsuits to which we are a party are covered by insurance subject to certain self-insured retention amounts.
      Our contractual arrangements with our customers and suppliers are typically very complicated and can include, for example,
complex index-based pricing formulas that determine the price for our feedstocks or finished products. Due to the complicated nature
of our contractual arrangements, we can, from time to time, be involved in disputes with our customers and suppliers regarding the
interpretation of these contracts, including the index-based pricing formulas. These disputes occur in the normal course of our business,
seldom result in actual formal litigation, and are typically resolved in the context of the broader commercial relationship that we have
with the customer or supplier.
     On December 10, 2020, the Company received a notice from a customer asserting a purported breach of the parties’ MTBE sales
agreement. The customer asserted that it had properly exercised the right of first refusal provided in the sales agreement and that the
Company’s subsequent agreement with another customer constituted a breach of the sales agreement. While the Company disputes the
claim, the parties have reached a commercial resolution of the matter that includes a new supply agreement and release of claims.
      As described above, we record reserves for contingencies when information available indicates that a loss is probable, and the
amount of the loss is reasonably estimable. Management’s judgment may prove materially inaccurate, and such judgment is subject to
the uncertainty of the dispute resolution or litigation process. As of December 31, 2021, we have not recognized any material reserves
related to unresolved disputes with customers and suppliers.
       In addition to the property claims, approximately 190 private party lawsuits, including five class actions, are pending in Texas
state court related to the incident. The petitions allege a variety of claims including negligence, gross negligence, nuisance, and trespass.
Limited discovery has taken place. The multidistrict litigation panel granted the Company’s motion to transfer the Texas state court
cases to one pre-trial court to limit inconsistent rulings and excessive and duplicative discovery. The panel has designated the 128th
District Court of Orange County as the pre-trial court to be assigned the cases. Per the Court’s instructions, plaintiffs are to file short-
form petitions in the MDL proceeding, which currently includes approximately 7,640 individual plaintiffs. Approximately 640
individual plaintiffs have cases pending in Jefferson County, Texas (some of which are duplicative with cases in the MDL) which have
not yet been non-suited or abated. Additionally, more than 820 properties are the subject of litigation as a result of subrogation claims
filed by insurance companies. The Court has been conducting monthly status conferences. The Court entered a Case Management
Order on November 17, 2020 setting a schedule and parameters for discovery. That schedule is no longer in effect, and a revised schedule
will likely be entered in 2022 because the plaintiffs have filed amended master petitions in Q2 and Q3 2021 adding additional defendants
and many of those additional defendants have either moved to dismiss the claims against them or filed jurisdictional challenges. A
hearing on class certification is not expected before the second half of 2022 at the earliest.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code, pertaining to the November 2019 incident at our Port Neches plant. The lawsuit also includes
claims arising from previously investigated emission events that occurred at the Port Neches facility from January 2018 through
September 2019. Although these events had been the subject of administrative settlements with TCEQ, the agency withdrew those
settlements in the wake of the Port Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.
     Because these lawsuits, which we intend to vigorously defend, are in their early stages, we are unable to determine if a loss is
probable or estimate the amount or range of potential loss and therefore have not established any reserves, but we believe the amounts


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involved may be material.
      Beyond the matters in active litigation, the Company has received other claims and demands, through its formal claims process
and otherwise, from individuals, companies, and insurers claiming damages as a result of the incident. The Company is in the process
of reviewing these claims. It is possible some of these claims may result in additional litigation.

     3.       Environmental and Safety Matters

      Our Company is subject to federal, state, local and foreign laws, regulations, rules and ordinances from various governing agencies
that regulate human health, safety, security and the environment. These include, for example:

          •     The federal Resource Conservation and Recovery Act (“RCRA”) and comparable state laws that impose requirements for
                the generation, handling, transportation, treatment, storage, disposal and cleanup of waste from our facilities.
          •     The federal Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”) also known as
                “Superfund,” and comparable state laws that regulate the cleanup of hazardous substances that may have been released at
                properties currently or previously owned or operated by us or locations to which we have sent waste for disposal.
                    ▪    Under CERCLA and comparable State of Texas Laws, at this time TPC has not identified any liability of material
                         significance for previously disposed substances and wastes, or for remediation of contaminated property to
                         prevent future contamination.
          •     The federal Clean Water Act (“CWA”) and analogous state laws and regulations that impose detailed permit requirements
                and strict controls on discharges of wastewater from our facilities.
          •     The federal Clean Air Act (“CAA”) and comparable state laws and regulations that impose obligations related to air
                emissions, including federal and state laws and regulations that recently took effect or are currently under development to
                address greenhouse gas (“GHG”) emissions.
                    ▪    At this time, we anticipate that the Environmental Protection Agency’s (“EPA”) recently adopted Boiler
                         Maximum Achievable Control Technology (“MACT”) regulation package will only require the Company to
                         implement work practices, recordkeeping, and reporting, and will not require any substantial capital investments.
                    ▪    Regarding GHG emission requirements, the Company is subject to annual reporting of emissions and to air
                         permitting for projects but currently is not subject to any other requirements.
                    ▪    Air quality standards intended to protect the environment, including the National Ambient Air Quality Standards
                         (“NAAQS”) promulgated by the EPA to address ambient air quality concerns, continue to evolve. The federal
                         CAA requires that the EPA periodically review the science upon which the NAAQS are based and the standards
                         themselves. As a result of this review, the EPA has in recent years lowered certain NAAQS, including the
                         standards for sulfur dioxide, ozone and particulate matter, and may do so again in the future, for these or other
                         pollutants. Changes to the NAAQS may increase the cost of our operations, require the installation of emissions
                         controls, or reduce or delay available business opportunities.
          •     Chemical product safety regulation including the federal Toxic Substances Control Act (“TSCA”) and the Emergency
                Planning and Community Right-to-Know Act (“EPCRA”) that impose notification, reporting, record-keeping and testing
                requirements, and restrictions relating to chemical substances and/or mixtures as well as certain reporting on the storage,
                use and releases of hazardous chemicals to federal, state, and local governments.
                    ▪    TSCA reform legislation was enacted in June 2016, expanding EPA’s authority to review and regulate new and
                         existing chemicals. EPA’s implementation of this legislation may increase the cost of our operations, require
                         changes to our supply chain and logistics practices or delay available business opportunities.
                    ▪    Similar compliance laws related to chemical product safety in jurisdictions outside the United States where our
                         products are distributed such as the European Union’s regulatory framework concerning the Registration,
                         Evaluation and Authorization of Chemicals (known as REACH), may increase the cost of our operations, require
                         changes to our supply chain and logistics practices or delay available business opportunities.
                    ▪    In June 2013, the EPA finalized its second list of chemicals subject to its Endocrine Disruptor Screening Program
                         (“EDSP”) and included MTBE, a major product for the Company, in this final list. EPA will issue test orders to


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                      manufacturers of MTBE at some time in the future, at which time TPC will be required to embark on an initial
                      two-year test program along with other MTBE manufacturers. TPC has joined a consortium with the other major
                      manufacturers of MTBE to manage the test program and share costs. Based on the results of the initial testing
                      to determine if MTBE exhibits endocrine disrupting properties, EPA may decide some years in the future to
                      include MTBE in a second round of tests to evaluate MTBE’s potency as a potential endocrine disruptor.
         •   The Occupational Safety and Health Act and comparable state statutes, laws and regulations including OSHA’s Process
             Safety Management standard which imposes requirements on regulated entities relating to the management of hazards
             associated with highly hazardous chemicals.
                  ▪   The Company expects to incur capital expenditures in the future as part of our ongoing baseline capital
                      expenditure program to address the findings of ongoing process hazard assessments, including expenditures to
                      upgrade equipment and instrumentation.
         •   United States Department of Homeland Security’s Marine Transportation Security Act (“MTSA”) which establishes
             standards for security at marine-based chemical facilities.
      We are committed to maintaining compliance with applicable environmental, health, safety (including process safety) and security
(“EHS&S”) legal requirements, and we have developed policies and management systems intended to identify the various EHS&S legal
requirements applicable to our operations and facilities. We work to enhance and assure compliance with applicable requirements,
ensure the safety of our employees, contractors, community neighbors and customers, and minimize the generation of wastes, the
emission of air contaminants and the discharge of pollutants. These EHS&S management systems also serve to foster efficiency and
improvement and to reduce operating risks.
      In the ordinary course of business, we undertake frequent environmental inspections and monitoring and are sometimes subject to
investigations by governmental authorities. In addition, our production facilities require a number of environmental permits and
authorizations that are subject to renewal, modification and, in certain circumstances, revocation. Actual or alleged violations of
environmental laws or permit requirements or the discovery of releases of hazardous substances at or from our facilities could result in
restrictions or prohibitions on plant operations, significant remedial expenditures, substantial civil or criminal sanctions, as well as,
under some environmental laws, the assessment of strict and/or joint and several liability. Moreover, changes in environmental
regulations or the terms of our environmental permits could inhibit or interrupt our operations or require us to modify our facilities or
operations. Accordingly, environmental or regulatory matters may cause us to incur significant unanticipated losses, costs or liabilities.
      The Company has agreed to indemnify third parties for environmental and other liabilities pursuant to various agreements,
including asset divestiture agreements and leases. Many of these obligations contain monetary and/or time limitations, but others do
not provide for those limitations. The Company is not aware of any probable and reasonably estimable losses associated with any of
these obligations.
      Multiple federal, state and local government agencies responded to and are continuing to investigate the 2019 Port Neches incident.
The Company is fully cooperating with each agency’s respective investigations, assessments, and requests for information. The
Occupational Safety and Health Administration (OSHA) initiated its inspection of the November 2019 incident at our Port Neches plant
in December 2019. OSHA completed its inspection and issued citations on May 26, 2020, including ten serious citations and three
willful citations with total proposed penalties of approximately $0.5 million. The Company has appealed these citations. We strongly
disagree with the characterization of some of the alleged violations as “willful.” Mandatory settlement conferences took place August
5-6, and 19-20, 2021. The citations were not resolved, and OSHA filed its complaint on September 9, 2021. The proceeding has been
bifurcated into two separate trials, the first of which will take place in Q4 2022 and the second of which will occur in Q1 2023.
      The Texas Attorney General has filed a lawsuit in state court in Austin against the Company for alleged violations of the Texas
Clean Air Act and the Texas Water Code pertaining to the incident. The lawsuit also includes claims arising from previously
investigated emission events that occurred at the Port Neches facility from January 2018 through September 2019. Although these
events had been the subject of administrative settlements with TCEQ, the agency withdrew those settlements in the wake of the Port
Neches incident.
       The United States Environmental Protection Agency (EPA) is investigating the Company as a result of the 2019 incident. The
Company has been served with two separate information requests under Section 114 of the federal Clean Air Act. The requests seek
information about the incident as well as the Company’s Risk Management compliance program at both the Port Neches and Houston
facilities. Such requests are typically the first step in EPA enforcement. Separately, the Department of Justice is conducting an
investigation in connection with the 2019 incident. We anticipate that there likely will be additional enforcement matters, claims for
cost recovery, and/or claims for natural resource damages from these and other similar agencies.


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NOTE P – EMPLOYEE BENEFITS

      1.    Retirement Plan

     We sponsor a defined contribution plan that is available to all full-time employees on the date of hire. The plan allows employees
to contribute up to 60% of their base compensation to a tax-deferred fund not to exceed $19,500 for 2021 and 2020 and $19,000 for
2019.
     For non-represented employees, we match at the rate of one dollar for each dollar contributed by the employee up to 5% of the
employee’s annual earnings. Non-represented employees also participate in our discretionary plan which, based on business
performance, may contribute up to 6% of the employee’s annual earnings.
     For represented employees, we match at a rate of one dollar for each dollar contributed by the employee up to 7% of the employee’s
annual earnings. Represented employees do not participate in the discretionary plan.
      Company contributions for both non-represented and represented employees vest immediately.
     Our expense to match employee contributions, including discretionary contributions, during the years ended December 31, 2021,
2020 and 2019 was $2.6 million, $2.0 million, and $5.6 million, respectively.

      2.    Stock Compensation Plans

      On December 29, 2012, Parent adopted the 2012 Long-Term Incentive Plan (the “2012 Plan”), which permits it to grant awards
of profit interests to certain of the Company’s officers and employees, in the form of Class B Management Interests and Class C
Management Interests (“Class B and Class C Interests,” collectively). The Class B and Class C Interests under the 2012 Plan constitute
performance-based awards, and the amount of payouts for these awards is based on the amount of distributable assets available upon
the occurrence of an Exit Event (defined below) to the general and limited partners at the time of their disposal, distribution or sale of
their ownership stake in the Company.
       We utilized a Monte Carlo simulation model to estimate the grant date fair value of Class B and Class C Interests granted on
December 29, 2012. The key factors that will create value in these awards include: (1) the year of the “Exit Event” (either an initial
public offering or subsequent public offering of the equity of the Company, or the merger, consolidation, sale of interests or sale of the
Company), (2) the probability that an Exit Event will occur in a particular year, which is based on management’s assessment of when
this is likely to occur, (3) the probability that the Exit Event will result in a sufficient return on invested capital to trigger a payout to the
Class B and Class C Interests, (4) the risk-free interest rate, which is based on the U.S. Treasury yield curve in effect at the time of grant
with maturities equal to the grant’s expected life, and (5) the ultimate exit value of the Company, which was estimated using a Monte
Carlo simulation.
     As of December 31, 2012, based on the results of the Monte Carlo simulation, we determined that no Exit Event timing or valuation
is more probable than any other and, therefore, were unable to determine a grant date fair value for the awards granted under the 2012
Plan and did not recognize any expense related to the awards in the year ended December 31, 2012. Additionally, there have been no
changes in events or circumstances since that original assessment as of December 31, 2012 that allowed us to determine an Exit Event
timing or valuation that is more probable than any other and, therefore, have been unable to determine a grant date fair value for any
awards granted under the 2012 Plan. Consequently, we did not recognize any expense related to the awards for the years ended
December 31, 2021, 2020 and 2019.
     The Company will continue to review the assumptions used to assess value of the awards granted under the 2012 Long-Term
Incentive Plan and if at any point in the future we are able to determine a probable timing or valuation of an Exit Event we will value
the awards and recognize compensation expense.

   3. Defined Benefit Pension Plan

      We sponsor a cash balance plan (the “Cash Balance Plan”) for the benefit of represented employees at the Port Neches facility.
Participation in the Cash Balance Plan is subject to terms of negotiated contracts. For participating employees, the Cash Balance Plan
benefit formula provides annual pay credits from 4% to 12% of eligible pay, depending on age and service, plus accrued interest. The
plan’s assets are maintained by trustees in separately managed portfolios consisting of equity and fixed income securities.


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     Provided below, as of and for the years ended, were the components of the changes in the benefit obligation and plan assets and a
reconciliation of the funded status to the liabilities recognized in the consolidated balance sheets (in thousands):

                                                                                               December 31,
                                                                                           2021           2020
                    Change in benefit obligation:
                     Benefit obligation at beginning of period                         $    18,207         $   22,647
                     Service cost                                                              703                946
                     Interest cost                                                             303                429
                     Benefits paid                                                          (2,752)            (6,231)
                     Actuarial loss                                                           (671)             1,119
                     Plan amendments                                                             -               (703)
                      Benefit obligation at end of period                                   15,790             18,207
                    Change in plan assets:
                     Fair value of plan assets at beginning of period                         9,714            14,777
                     Actual return on plan assets                                               654               317
                     Employer contributions                                                   2,487               851
                     Benefits paid                                                           (2,752)           (6,231)
                      Fair value of plan assets at end of period                            10,103              9,714
                    Unfunded status, end of period                                 $         (5,687)   $       (8,493)

                    Reconciliation of accrued liability:
                     Accrued liability at beginning of period                          $     (2,529)       $     (367)
                     Net periodic pension cost for the period                                  (784)           (1,174)
                     Total one-time costs                                                      (799)           (1,839)
                     Employer contributions                                                   2,487               851
                      Accrued liability at end of period                                     (1,625)           (2,529)
                    Accumulated amounts recognized in OCI (before tax)                       (4,062)           (5,964)
                    Net liability recognized in Consolidated Balance Sheets        $         (5,687)   $       (8,493)




    The net pension liability at both December 31, 2021 and 2020 were recorded in accrued liabilities.

     On April 30, 2020, the Company terminated 68 employees as part of a Reduction in Force (“RIF”) resulting from the Port Neches
incident. The Cash Balance Plan was re-measured as of April 30, 2020 to reflect settlement accounting, retroactive plan amendments,
and the RIF.
     Two plan amendments were executed in 2020 and resulted in a $702.2 million decrease in the projected benefit obligation .
       The one-time costs incurred of $1.8 million relate to the RIF and the resulting changes to the Cash Balance Plan. A curtailment
gain of $0.5 million was triggered at the April 30, 2020 RIF when the Cash Balance Plan’s expected future years of service decreased
by 54%. Additionally, settlement accounting was triggered initially on April 30 th when eligible employees elected a lump sum payment
and the lump sum payouts from the Cash Balance Plan exceeded the expected sum of the plan’s service cost and interest cost.
Settlement accounting was triggered two more times in 2020, for total settlement charges of $2.4 million, and three times in 2021, for
total settlement charges of $0.8 million.




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     Provided below, for the periods presented, were the components of net pension expense (in thousands):

                                                                             Year Ended December 31,
                                                                          2021             2020            2019
                          Components of net pension expense:
                           Service cost                             $          703     $        946    $     1,006
                           Interest cost                                       303              429            652
                           Expected return on assets                          (603)            (753)          (681)
                           Amortization of prior service cost                  (47)             (43)           (35)
                           Amortization of net actuarial loss                  428              595            443
                                                                    $            784   $    1,174      $     1,385


     The projected net pension expense for the year ending December 31, 2022 consists of the following components (in thousands):

                                Service cost                                                 $          647
                                Interest cost                                                           340
                                Expected return on assets                                              (622)
                                Amortization of prior service costs                                     (47)
                                Amortization of net actuarial loss                                      321
                                                                                             $         639



     The following actuarial assumptions were used to determine benefit obligations as of the dates presented:

                                                                              December 31,
                                                                          2021           2020

                              Discount rate                               2.29%            1.81%
                              Rate of compensation increase               4.00%            4.00%


     The following actuarial assumptions were used to determine net periodic benefit cost for the periods presented:

                                                                            Year Ended December 31,
                                                                     2021             2020          2019

                            Discount rate                           1.81%              2.70%           3.81%
                            Expected return on plan assets          6.50%              6.50%           6.50%
                            Rate of compensation increase           4.00%              4.50%           4.50%


     The measurement date for our Cash Balance Plan is as of the end of our fiscal year. Our Cash Balance Plan assets are managed
by outside investment managers. Our investment strategy with respect to the Cash Balance Plan assets is to maximize returns while
preserving principal. At December 31, 2021, Cash Balance Plan assets were invested 89.1% in equity mutual funds, 7.9% in fixed
income mutual funds and 3.0% in cash equivalents. The expected return on assets assumption was determined based on the anticipated
performance of the various asset classes in the Cash Balance Plan’s portfolio.
      The following table presents the Cash Balance Plan assets using the fair value hierarchy as of December 31, 2021. The fair value
hierarchy has three levels based on the reliability of the inputs used to determine fair value. See Note L Fair Value for a brief description
of the three levels under the fair value hierarchy.



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                           Category                              Total             Level 1           Level 2             Level 3

                           Cash and equivalents              $        304      $         304     $       -           $       -
                           Mutual funds - equity                    8,999              8,999             -                   -
                           Mutual funds - fixed income                800                -               -                   800

                                                             $ 10,103          $       9,303     $       -           $       800

     Provided below, for the periods presented, are benefit payments expected to be paid to eligible plan participants under our Cash
Balance Plan (in thousands):
                                              2022                                 $         1,933
                                              2023                                           1,541
                                              2024                                             533
                                              2025                                           1,737
                                              2026                                           1,281
                                              2027 and thereafter                            7,444

NOTE Q – CONCENTRATION RISKS

     We had sales to customers outside the United States during years ended December 31, 2021, 2020 and 2019 of $52.0 million,
$39.6 million and $123.5 million, respectively. Our top five customers accounted for an aggregate of 51.0%, 47.2%, and 43.3% of our
revenues for the years ended December 31, 2021, 2020 and 2019, respectively.
     Sales to customers who accounted for at least 10% of our sales for the periods presented were as follows:

                                                                             Year Ended December 31,
                                                                         2021         2020         2019
                             Trafigura Trading, LLC                      17%              15%                 *
                             Goodyear - SRI Global                       10%               *                 10%
                             Afton Chemical Corporation                   *               11%                 *
                             Lukoil Pan Americas, LLC                     *                *                 14%


                           * Less than 10%

     We perform ongoing credit evaluations of our customers and generally do not require collateral for accounts receivable.
Historically, our credit losses have been minimal.
     Customers who accounted for at least 10% of our accounts receivable balance, as of the dates presented were as follows:

                                                                                           December 31,
                                                                                       2021           2020
                           BASF TOTAL Petrochemicals LLC                               16%                      *
                           Afton Chemical Corporation                                  12%                     18%
                           Goodyear - SRI Global                                       10%                     12%

                           * Less than 10%

     A small number of suppliers for our feedstocks account for a significant percentage of our feedstock purchases. Our top five
suppliers accounted for an aggregate of 62.5%, 65.6%, and 48.3% of our vendor feedstock purchases in the years ended December 31,
2021, 2020 and 2019, respectively.


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      Some of the employees at our Port Neches facility are covered by collective bargaining agreements that expire on January 31,
2022. To the extent that we experience work stoppages in the future as a result of labor disagreements, a prolonged labor disturbance
at one or more of our facilities could have a material adverse effect on our operations.

NOTE R – SUBSEQUENT EVENTS

     Forbearance Agreement

     On February 3, 2022, after missing approximately $53 million in total interest payments due on February 1, 2022 on the Company’s
secured notes, the Company entered into a forbearance agreement with a group representing nearly 90% of the Company’s 10.875%
Notes and approximately 80% of the Company’s 10.5% Notes (the “Ad Hoc Group”). Under the forbearance agreement, the Ad Hoc
Group agreed to forbear from exercising remedies relating to the event of default for the Company’s failure to make the February 1
coupon payments within a 30-day grace period. The forbearance agreement is effective until April 18, 2022 and may be extended by
the Ad Hoc Group.
      In connection with the forbearance agreement, the Ad Hoc Group also agreed to provide the Company with approximately $52
million of additional liquidity in the form of a commitment to purchase additional 10.875% senior secured priming notes due 2024 (the
“Additional Notes”). On March 2, 2022, the Company entered into a Note Purchase Agreement, by and among the Company, TPC
Holdings, Inc. (“Holdings”), the subsidiary guarantors party thereto (the “Subsidiary Guarantors” and, together with Holdings, the
“Guarantors”) and the purchasers named therein, relating to the issuance and sale of $27,030,000 aggregate principal amount of the
Company’s additional 10.875% Senior Secured Notes due 2024. On March 11, 2022, the Company entered into a subsequent Note
Purchase Agreement, by and among the Company, Holdings, the Subsidiary Guarantors, and the purchasers named therein, relating to
the issuance and sale of $25,500,000 aggregate principal amount of the Company’s additional 10.875% Senior Secured Notes due 2024.
Proceeds from the sale of the Additional Notes will be used to support ongoing operations and to pay fees and expenses associated with
the transaction.
     Interest on the Additional Notes begins accruing on March 2, 2022, the issue date of the Additional Notes. Interest on the Notes
accrues at a rate of 10.875% per year, payable quarterly in arrears on February 1, May 1, August 1 and November 1 of each year,
commencing on May 1, 2022.

     Credit Agreement Amendment

      On March 2, 2022, the Company entered into Amendment No. 2 (the “ABL Amendment”) to Amended and Restated Credit
Agreement, dated as of August 2, 2019 (the “Existing ABL Credit Agreement”, as amended by Amendment No. 1, dated February 2,
2021, and the ABL Amendment, the “ABL Credit Agreement”) among the Company, the other subsidiary borrowers party thereto,
Holdings, the subsidiary guarantors party thereto, the lenders party thereto and Bank of America, N.A., as administrative agent. The
ABL Amendment, among other things, amended certain covenants contained in the Existing ABL Credit Agreement to permit the
incurrence of the Notes under the ABL Credit Agreement and to reflect certain other modifications.

     Insurance Proceeds - Proof of Loss

      On March 8th, 2022 we executed an additional unallocated Proof of Loss for $35.0 million under our property and business
interruption policies. As of the date of this filing, we have received $20.9 million and expect to receive the remainder of the proceeds
by the end of April 2022.




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                                                                                EXECUTION VERSION



                          COLLATERAL AGENT JOINDER AGREEMENT

                 COLLATERAL AGENT JOINDER AGREEMENT NO. 2, dated as of February 2, 2021,
(the “Joinder Agreement”) to the INTERCREDITOR AGREEMENT, dated as of August 2, 2019 (the
“Intercreditor Agreement”), among BANK OF AMERICA, N.A., acting in its capacity as administrative
and collateral agent under the ABL Agreement (together with its successors and assigns in such capacity,
the “ABL Representative”) for the ABL Secured Parties, U.S. BANK NATIONAL ASSOCIATION,
acting in its capacity as trustee and collateral agent (the “Existing Notes Representative”) for the Notes
Secured Parties, and TPC GROUP INC., a Delaware corporation (“TPC”), each other Grantor party
thereto and each Notes Representative from time to time party thereto.

        A.      Capitalized terms used herein but not otherwise defined herein shall have the
 meanings assigned to such terms in the Intercreditor Agreement.

          B.      TPC proposes to issue or incur Notes Obligations and the Person identified in the
 signature pages hereto as the “Notes Representative” (the “Notes Representative”) will serve as the
 collateral agent, collateral trustee or a similar representative for the additional secured parties in
 respect of the relevant Additional Debt. The Notes Obligations are being designated as such by TPC in
 accordance with Section 10.5(b) of the Intercreditor Agreement.

         C.      The Notes Representative wishes to become a party to the Intercreditor Agreement and
 to acquire and undertake the rights and obligations of a “Notes Representative” thereunder. The Notes
 Representative is entering into this Joinder Agreement in accordance with the provisions of the
 Intercreditor Agreement in order to become a Notes Representative thereunder.

                 The Notes Representative and TPC agree as follows:

         1.      Accession to the Intercreditor Agreement. The Notes Representative (a) hereby
 accedes and becomes a party to the Intercreditor Agreement as a Notes Representative in respect of the
 relevant Additional Debt, (b) agrees to all the terms and provisions of the Intercreditor Agreement and
 (c) shall have all the rights and obligations of a Notes Representative under the Intercreditor
 Agreement. From and after execution of this Joinder Agreement, the Additional Debt shall be Notes
 Obligations for all purposes under the Intercreditor Agreement. The Notes Representative has been
 designated as the Designated Notes Representative for purposes of the Intercreditor Agreement.

         2.       Representations, Warranties and Acknowledgement of the Additional Collateral
 Agent. The Notes Representative represents and warrants to each Notes Representative and ABL
 Representative that (a) it has full power and authority to enter into this Joinder Agreement, in its
 capacity as a Notes Representative and (b) this Joinder Agreement has been duly authorized, executed
 and delivered by it and constitutes its legal, valid and binding obligation, enforceable against it in
 accordance with the terms of this Joinder Agreement (subject to the effects of bankruptcy, insolvency
 or similar laws effecting creditors’ rights generally and general equitable principles).
         3.     Counterparts. This Joinder Agreement may be executed in multiple counterparts, each
 of which shall constitute an original, but all of which when taken together shall constitute a single
 contract. This Joinder Agreement shall become effective when the ABL Representative and each
 Notes Representative shall have received a counterpart of this Joinder Agreement that bears the
 signature of the Notes Representative. Delivery of an executed signature page to this Joinder
 Agreement by facsimile or other electronic transmission shall be effective as delivery of a manually
 signed counterpart of this Joinder Agreement.

         4.      Benefit of Agreement. The agreements set forth herein or undertaken pursuant hereto
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are for the benefit of, and may be enforced by, any party to the Intercreditor Agreement.

      5.   Governing Law. THIS JOINDER AGREEMENT SHALL BE GOVERNED BY
AND CONSTRUED AND INTERPRETED IN ACCORDANCE WITH THE LAWS OF THE
STATE OF NEW YORK.

         6.       Severability. In case any one or more of the provisions contained in this Joinder
Agreement should be held invalid, illegal or unenforceable in any respect, none of the parties hereto
shall be required to comply with such provision for so long as such provision is held to be invalid,
illegal or unenforceable, but the validity, legality and enforceability of the remaining provisions
contained herein and in the Intercreditor Agreement shall not in any way be affected or impaired. The
parties hereto shall endeavor in good-faith negotiations to replace the invalid, illegal or unenforceable
provisions with valid provisions the economic effect of which comes as close as possible to that of the
invalid, illegal or unenforceable provisions.

        7.      Notices. All communications and notices hereunder shall be in writing and given as
provided in Section 10.9 of the Intercreditor Agreement. All communications and notices hereunder to
the Notes Representative shall be given to it at the address set forth under its signature hereto, which
information supplements Section 10.9 of the Intercreditor Agreement.

        8.     Expense Reimbursement. The Grantors agree to reimburse each Notes Representative
and the ABL Representative for their reasonable and documented out-of-pocket expenses in
connection with this Joinder Agreement, including the reasonable fees, other charges and
disbursements of counsel.


                                       [Signature Pages Follow]
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                                                                                  EXECUTION VERSION
                            Designation Agreement and Officer’s Certificate

                                           February 2, 2021

       Pursuant to Section 10.5(b) of the Intercreditor Agreement, dated as of August 2, 2019 (as
amended, amended and restated, supplemented or otherwise modified from time to time, the
“Intercreditor Agreement”; capitalized terms used but not defined herein shall have the meanings given
to such terms in the Intercreditor Agreement), among TPC Group Inc., a Delaware corporation (the
“Company”), the other grantors party thereto, Bank of America, N.A., as the ABL Representative (as
defined therein), U.S. Bank National Association, as the Existing Notes Representative (as defined
therein), and in connection with (i) the Company’s entry into the Indenture, dated as of February 2, 2021
(the “Indenture”), among the Company, the guarantors party thereto and U.S. Bank National
Association, as trustee (in such capacity, the “Trustee”) and as collateral agent (in such capacity, the
“Notes Collateral Agent”), relating to the Company’s $153,000,000 aggregate principal amount of
10.875% Senior Secured Notes due 2024 (the “Notes”); (ii) the Company’s entry into the Pledge and
Security Agreement, dated as of February 2, 2021 (the “Security Agreement”), among the Company, the
other grantors party thereto and the Notes Collateral Agent, relating to the Notes; (iii) the designation of
the Indenture as an “Additional Notes Agreement,” as defined in, and for all purposes under, the
Intercreditor Agreement; (iv) the designation of indebtedness of the Company in respect of the Indenture
as “Additional Debt,” as defined in, and for all purposes under, the Intercreditor Agreement and (v) the
joinder of the Trustee and the Notes Collateral Agent, as a Notes Representative, to the Intercreditor
Agreement pursuant to that certain Collateral Agent Joinder Agreement to be executed in connection
with the Indenture (the “Intercreditor Joinder”).

       (I)      the Company hereby:

           (a) designates the Indenture as an “Additional Notes Agreement,” as defined in, and for all
       purposes under, the Intercreditor Agreement;

           (b) designates the indebtedness of the Company and the Guarantors in respect of the
       Indenture and the other Notes Documents (including, without limitation all Secured Obligations
       (as defined in the Security Agreement)), as “Additional Debt” as defined in, and for all purposes
       under, the Intercreditor Agreement; and

           (c) designates the Security Agreement and each other “Security Document” (as defined in
       the Indenture) as a “Notes Security Document” as defined in, and for all purposes under, the
       Intercreditor Agreement.

       (II) the undersigned Officer of the Company hereby certifies as follows:

           (a) incurrence of the Notes and the related Liens (including the priority thereof) is permitted
       pursuant to the terms of the ABL Agreement and the Notes Documents, and the obligations under
       the Notes are permitted by the ABL Agreement and the Notes Agreements to be subject to the
       provisions of the Intercreditor Agreement as Notes Obligations; and

             (b) the Company and the Notes Collateral Agent have executed the Intercreditor Joinder.

                                        [Signature Page Follows]
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        IN WITNESS WHEREOF, the undersigned has executed this Designation Agreement and
Officer’s Certificate as of the date first written above.

                                                  TPC GROUP INC.



                                                  By:
                                                        Name: Andrew Grygiel
                                                        Title: Vice President and Treasurer
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From:                                Carras Holmstead <carras.holmstead@pgim.com>
Sent:                                Tuesday, November 10, 2020 2:45 PM
To:                                  de Jong, Bart; Grygiel, Andrew; Hurt, Patrick A.
Cc:                                  Brian Clapp; Jake Kemeny; Stefanie Greer; Raval, Abhilash M.; Fleck, Casey
Subject:                             ***External E-Mail*** Secured Notes Term Sheet
Attachments:                         TPC-Secured Notes Term_Sheet (4834-0556-1553-4).docx



CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the
sender and their e-mail address and know the content is safe.

Bart, Andrew and Patrick:
Attached is a high level term sheet we have prepared for TPC Group which will address both the Apollo term loan
maturity and additional cash on the balance sheet. Please let us know when you would like to get on the phone to
discuss and plan out next steps.

Thank you

-Carras



To learn about our privacy policies, please use this link to read PGIM Fixed Income's Privacy Notice




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                                                                                           Milbank draft 11/10/2020


                                                Senior Secured Notes
                                                    Term Sheet1


Issuer:2                                      [TPC Newco, LLC], a wholly owned subsidiary of TPC Group, Inc.
                                              (“TPC Group”)3

Issue:                                        Senior Secured Notes due 2024 (“New Secured Notes”)

Principal Amount:                             $[253.0] million

Purchase Price:                               100%

Use of Proceeds:                              Refinance existing Apollo Term Loan ($70.0 million);
                                              Refinance $148.0 million of Existing Secured Notes owned by the
                                              Investors;
                                              Provide additional cash to balance sheet ($35.0 million)

Interest Rate:                                The New Secured Notes will bear cash interest payable semi-
                                              annually, in arrears, at a rate equal to 9.5% per annum. 4

Default Rate:                                 With respect to overdue principal and interest, the applicable
                                              interest rate plus 2.00% per annum.

Ranking:                                      The New Secured Notes will be senior secured obligations of the
                                              Issuer.

Guarantees:                                   The New Secured Notes will have guarantees (the “Guarantees”)
                                              by guarantors (the “Guarantors”) similar to the TPC Existing
                                              Secured Notes.5

Security:                                     The New Secured Notes and the Guarantees will be secured on
                                              a first-priority basis by substantially all of the Issuer’s and the
                                              guarantors’ assets (in each case, other than the Issuer’s and the
                                              guarantors’ assets that constitute ABL Priority Collateral, which

1
  This preliminary, non-binding term sheet is provided for discussion purposes only and is not a commitment to
provide capital or make a loan. No binding commitment with respect to a transaction will be provided until all
approvals are obtained, including approval of PGIM’s credit committee.
2
  NTD: Discuss whether a corporate co-issuer is possible.
3
  The Issuer will not be a Wholly Owned Domestic Restricted Subsidiary for purposes of TPC’s existing 10.50%
Senior Secured Notes due 2024 (the “TPC Existing Secured Notes”). TPC Group will contribute substantially all of
its assets, including all of its direct and indirect subsidiaries (or have the assets of all of its direct and indirect
subsidiaries contributed) to the Issuer> The assets of the Issuer and its subsidiaries will not be collateral for the
TPC Existing Secured Notes.
4
  NTD: Interest rate based on blended average rate of 8% for $105 million of new capital and 10.5% roll-over of
$148 million of Existing Secured Notes held by the Investors.
5
  The Guarantors will not guarantee the TPC Existing Secured Notes.
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                                 will secure the ABL Facility on a first-priority basis), subject to
                                 certain exceptions and permitted liens. Subject to certain
                                 exceptions and permitted liens, the New Secured Notes and the
                                 Guarantees will also be secured on a second-priority basis by
                                 the Issuer’s and the guarantors’ assets that constitute ABL
                                 Priority Collateral. The collateral securing the New Secured
                                 Notes and the Guarantees will not secure the TPC Existing
                                 Secured Notes and related guarantees.

Offer to Purchase from
Asset Sale Proceeds:             Similar to the TPC Existing Secured Notes.

Offer to Purchase upon
Change of Control:               Similar to the TPC Existing Secured Notes, except that “Change of
                                 Control” shall be defined to include the existing equity holders
                                 dropping below [90]% ownership, directly and indirectly, of the
                                 Issuer.

Optional Redemption:             Non-call for 2 years after issue date, except pursuant to make-
                                 whole redemption, then callable at a redemption premium equal
                                 to three quarters of the coupon until 12 months prior to
                                 maturity.

Defeasance and Discharge
Provisions:                      Similar to the TPC Existing Secured Notes.

Modification:                    Similar to the TPC Existing Secured Notes.

Registration Rights:             None (144A-for-life).

Events of Default:               Similar to the TPC Existing Secured Notes. Redemption
                                 Premium shall be due upon acceleration of the New Secured
                                 Notes.

Governing Law and Forum:         New York.

Investors:                       [PGIM]

Counsel to Investors:            Milbank LLP (“Milbank”)


Expense Reimbursement:           Whether or not any transaction is consummated, the Issuer shall
                                 reimburse the Investors for all out-of-pocket expenses in
                                 connection with the transactions contemplated by this
                                 Preliminary Term Sheet, including the expenses of Milbank. The
                                 Definitive Documentation will provide for the Issuer to pay all
                                 expenses of the Trustee and in connection with making the New
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                                                                                       Milbank draft 11/10/2020


                                            Secured Notes eligible for book entry transfer at DTC, including
                                            the expenses of a settlement agent (which can be the trustee),
                                            reasonably acceptable to the Issuer and the Investors.6




6
  This Preliminary Term Sheet is not a commitment to extend credit or to make an investment. Any commitment
will only arise after completion of due diligence regarding the Issuer and negotiation of definitive documentation
in connection with the New Secured Notes.
